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                             NON-CONFIDENTIAL
                     2017-2149, -2152, -2153, -2202, -2203, -2206

                                           In the
                   United States Court of Appeals
                                    For the Federal Circuit

                      HORIZON PHARMA IRELAND LIMITED, HZNP
                        LIMITED, HORIZON PHARMA USA, INC.,

                                                            Plaintiffs-Appellants
                                             v.

                        ACTAVIS LABORATORIES UT, INC.,

                                                       Defendant-Cross-Appellant
              ______________________________________________
                     2017-2149, -2152, -2153, -2202, -2203, -2206
              ______________________________________________
                   Appeal from the United States District Court for the
               District of New Jersey in Nos. 1:14-cv-07992-NLH-AMD,
                 1:15-cv-05025-NLH-AMD, 1:15-cv-06131-NLH-AMD,
                 1:15-cv-06989-NLH-AMD, 1:15-cv-07742-NLH-AMD,
               1:16-cv-00645-NLH-AMD, Judge Noel Lawrence Hillman.


       CORRECTED PRINCIPAL BRIEF OF PLAINTIFFS-APPELLANTS
                      (NON-CONFIDENTIAL)

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                        CERTIFICATE OF INTEREST

      Counsel for Plaintiffs-Appellants Horizon Pharma Ireland Limited, HZNP

Limited and Horizon Pharma USA, Inc. certifies the following:

       The full name of every party or amicus represented by me is: Horizon

         Pharma Ireland Limited, HZNP Limited and Horizon Pharma USA, Inc.

       The name of the real party in interest (if the party named in the caption is

         not the real party in interest) represented by me is: N/A.

       All parent corporations and any publicly held companies that own 10

         percent or more of the stock of the party or amicus curiae represented by

         me are: Horizon Pharma plc, Horizon Pharma, Inc.

       The names of all law firms and the partners or associates that appeared

         for the party or amicus now represented by me in the trial court or agency

         or are expected to appear in this court are:

John E. Flaherty                              Robert F. Green
Ravin R. Patel                                Christopher T. Griffith
Guillermo C. Artiles                          Caryn C. Borg-Breen
McCARTER & ENGLISH                            L. Scott Beall
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Dated: August 16, 2017                 Respectfully submitted,

                                       /s/ Caryn C. Borg-Breen
                                       Caryn C. Borg-Breen

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Parties
Horizon                    Plaintiffs-Appellants Horizon Pharma Ireland Ltd.,
                           HZNP Ltd., and Horizon Pharma USA, Inc.
Actavis                    Defendant-Cross-Appellant Actavis PLC, Actavis, Inc.,
                           and/or Watson Laboratories, Inc. (later known as
                           Actavis Laboratories UT, Inc.)
Defined Terms
Actavis’s ANDA             Actavis’s ANDA No. 207238 filed with FDA
Actavis’s labeling         Actavis’s proposed labeling for Actavis’s ANDA
                           product described in ANDA No. 207238
ANDA                       Abbreviated New Drug Application
Br. Ph.                    British Pharmacopoeia
C.A. No(s).                Civil Action Number(s)
Court                      United States Court of Appeals for the Federal Circuit
District Court             United States District Court for the District of New
                           Jersey
DMSO                       Dimethyl Sulfoxide
Eur. Ph.                   European Pharmacopoeia
FDA                        The United States Food and Drug Administration
HPC                        hydroxypropylcellulose
HPLC                       High Performance Liquid Chromatography
MPEP                       Manual of Patent Examining Procedure
Orange Book                FDA’s Approved Drug Products with Therapeutic
                           Equivalence Evaluations




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Patents-in-Suit          the ’838 patent, the ’078 patent, the ’450 patent, the
                         ’164 patent, the ’613 patent, the ’809 patent, the ’913
                         patent, the ’591 patent, and the ’110 patent
PENNSAID® 2%             Horizon’s PENNSAID® (diclofenac sodium topical
                         solution) 2% w/w product
POSA                     A Person of Ordinary Skill in the Art
PTO                      United States Patent and Trademark Office
the ’450 patent          United States Patent No. 8,546,450
the ’164 patent          United States Patent No. 8,618,164
the ’078 patent          United States Patent No. 8,217,078
the ’110 patent          United States Patent No. 9,132,110
the ’838 patent          United States Patent No. 8,252,838
the ’613 patent          United States Patent No. 8,563,613
the ’809 patent          United States Patent No. 8,871,809
the ’913 patent          United States Patent No. 9,066,913
the ’591 patent          United States Patent No. 9,101,591
the ’304 patent          United States Patent No. 9,168,304
the ’305 patent          United States Patent No. 9,168,305
the ’784 patent          United States Patent No. 9,220,784
the ’450 patent family   the ’450 patent, the ’078 patent, and the ’110 patent
the ’838 patent family   the ’838 patent, the ’613 patent, the ’809 patent, the
                         ’913 patent, the ’591 patent, the ’304 patent, the ’305
                         patent, and the ’784 patent
USP                      United States Pharmacopoeia




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       STATEMENT REQUESTING ORAL ARGUMENT

Horizon requests oral argument in this appeal.




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                     STATEMENT OF RELATED CASES

      No appeal in or from the same civil actions or proceedings in the lower court

was previously before this or any other appellate court.

      Counsel for the Plaintiffs-Appellants are aware of the following cases

presently pending before the United States District Court for the District of New

Jersey that may directly affect or be affected by this Court’s decision:

          Horizon Pharma Ireland Ltd., et al. v. Lupin Ltd., et al., No. 15-3051;

          Horizon Pharma Ireland Ltd., et al. v. Lupin Ltd., et al., No. 15-5027;

          Horizon Pharma Ireland Ltd., et al. v. Lupin Ltd., et al., No. 15-6935;

          Horizon Pharma Ireland Ltd., et al. v. Lupin Ltd., et al., No. 15-7745;

          Horizon Pharma Ireland Ltd., et al. v. Lupin Ltd., et al., No. 16-732;

          Horizon Pharma Ireland Ltd., et al. v. Actavis Labs. UT, Inc., et al.,

             No. 16-5051;

          Horizon Pharma Ireland Ltd., et al. v. Lupin Ltd., et al., No. 16-5054;

             and

          Horizon Pharma Ireland Ltd., et al. v. Actavis Labs. UT, Inc.,

             No. 17-3342.

At issue in these cases are the validity of certain claims from U.S. Patent Nos.:

8,217,078; 8,252,838; 8,546,450; 8,563,613; 8,618,164; 8,741,956; 8,871,809;

9,066,913; 9,101,591; 9,132,110; 9,168,304; 9,168,305; 9,220,784; 9,339,551;


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9,339,552; 9,370,501; 9,375,412; 9,539,335. As some of these patents are related

to the patents at issue in this appeal, these cases may directly affect or be affected

by this Court’s decision. Fed. Cir. R. 47.5.




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                       JURISDICTIONAL STATEMENT

      This is an appeal from six related patent infringement cases before Judge

Noel L. Hillman of the United States District Court for the District of New Jersey.

The District Court exercised subject matter jurisdiction over these cases pursuant

to 28 U.S.C. §§ 1331, 1338(a), 2201, 2202 and 35 U.S.C. § 271.

      Final judgment was entered on May 23, 2017. Horizon timely appealed on

June 9, 2017. This Court has jurisdiction under 28 U.S.C. § 1295(a).




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                       STATEMENT OF THE ISSUES

1.   Did the District Court err in finding no induced infringement, on the basis

     that Actavis’s labeling does not constitute an instruction, encouragement, or

     recommendation to practice the methods of claims 10, 11, 15, and 17 of the

     ’450 patent, claim 14 of the ’078 patent, and claims 3, 11, and 13 of the ’110

     patent?

2.   Did the District Court err when it applied the Nautilus standard of

     definiteness to the basic and novel properties of the invention, finding the

     claim term “consisting essentially of” indefinite and claims 49-52 and 55-61

     of the ’838 patent, claims 12-15, 17, 19, 24, and 25 of the ’591 patent,

     claims 2-5 and 8-11 of the ’304 patent, claims 2-5 and 9-12 of the ’305

     patent, and claims 2-5 and 9-12 of the ’784 patent invalid?

3.   Did the District Court err in finding that a POSA could not determine with

     reasonable certainty whether adding an additional ingredient to the claimed

     formulations would materially alter the basic and novel properties of the

     invention of claims 49-52 and 55-61 of the ’838 patent, claims 12-15, 17, 19,

     24, and 25 of the ’591 patent, claims 2-5 and 8-11 of the ’304 patent, claims

     2-5 and 9-12 of the ’305 patent, and claims 2-5 and 9-12 of the ’784 patent

     on the basis that the basic and novel properties “better drying time” and

     “favorable stability” are indefinite?


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4.    Did the District Court err in failing to consider the definiteness of the claim

      term “consisting essentially of” on a claim-by-claim basis, when finding

      claims 49-52 and 55-61 of the ’838 patent, claims 13-14 of the ’591 patent,

      claims 9-11 of the ’304 patent, claims 10-12 of the ’305 patent, and claims

      10-12 of the ’784 patent, indefinite on the basis that the basic and novel

      property “better drying time” is indefinite?

5.    Did the District Court err in finding the claim terms “the formulation

      degrades by less than 1% over 6 months” in claims 1-5, 9-19, and 22-23 of

      the ’613 patent and claims 10, 11, and 19 of the ’591 patent, and “the

      formulation degrades by less than 0.5% over 6 months” in claim 24 of the

      ’613 patent indefinite, on the basis that the patents lack guidance as to how

      to evaluate degradation?

6.    Did the District Court err in finding the claim term “the topical formulation

      produces less than 0.1% impurity A after 6 months at 25°C and 60%

      humidity” in claim 4 of the ’913 indefinite, on the basis that the identity of

      “impurity A” is unknown?

                          STATEMENT OF THE CASE

      Actavis filed Actavis’s ANDA with FDA seeking approval to market a

generic version of PENNSAID® 2% prior to the expiration of the Patents-in-Suit.

APPX8388-8389, -8420, ¶196. HZNP Limited is the sole owner of the Patents-in-


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Suit. APPX573, ¶¶36-41; APPX15956, ¶43; APPX16007, ¶43; APPX16069, ¶43;

APPX16127, ¶¶ 43, 45; APPX16853, ¶43.

      Pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV), Actavis certified to FDA that

the Patents-in-Suit, Orange Book listed relative to PENNSAID 2%, are invalid,

unenforceable, and/or will not be infringed by the manufacture, use or sale of

Actavis’s ANDA product. APPX8420, ¶199. Pursuant to 21 U.S.C. §

355(j)(2)(B), in letters dated November 12, 2014, March 25, 2015, July 29, 2015,

September 8, 2015, and October 8, 2015, Actavis notified Horizon that it filed 21

U.S.C. § 355(j)(2)(A)(vii)(IV) certifications with respect to each of the Patents-in-

Suit. APPX8420, ¶200.

      On December 23, 2014, Horizon filed C.A. No. 1:14-07992-NLH-AMD

against Actavis, asserting infringement of the ’078 patent, the ’838 patent, the ’450

patent, the ’613 patent, the ’164 patent, and the ’809 patent. APPX566; APPX573-

574. On June 30, 2015, August 11, 2015, and September 17, 2015, Horizon filed

C.A. Nos. 1:15-cv-05025-NLH-AMD, 1:15-cv-06131-NLH-AMD, and 1:15-cv-

06989-NLH-AMD against Actavis, asserting infringement of the ’913 patent, the

’591 patent, and the ’110 patent, respectively. APPX15949, -15956; APPX16000,

-16007; APPX16062, -16069. On September 30, 2015, C.A. Nos. 1:14-07992-

NLH-AMD, 1:15-cv-05025-NLH-AMD, 1:15-cv-06131-NLH-AMD, and 1:15-cv-

06989-NLH-AMD were consolidated. APPX810-812. On October 27, 2015,



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Horizon filed C.A. No. 1:15-cv-7742-NLH-AMD against Actavis, asserting

infringement of the ’304 patent and the ’305 patent. APPX16120, -16127. On

February 5, 2016, Horizon filed C.A. No. 1:16-cv-00645-NLH-AMD against

Actavis, asserting infringement of the ’784 patent. APPX16886, -16893.

      The parties disputed the meanings of certain claim terms appearing in the

’838, ’613, ’809, ’913 and ’591 patents. Horizon and Actavis agreed that these

claim terms would have the same meaning in the ’304 patent, the ’305 patent, and

the ’784 patent. Following a Markman hearing held March 3, 2016, the District

Court ruled that claim terms (1) “consisting essentially of,” (2) “the topical

formulation produces less than 0.1% impurity A after 6 months at 25°C and 60%

humidity,” and (3) “the formulation degrades by less than 1% over 6 months” were

indefinite. APPX1-28; see also APPX29-30; APPX31-39.

      On January 27, 2017, Actavis filed a Motion for Summary Judgment

asserting the claims of the ’450 patent family are not infringed. The District Court

granted Actavis’s Motion on March 16, 2017. APPX40-61.

      This is an appeal from the Judgment entered May 23, 2017, as well as the

underlying Orders: (a) granting Actavis’s Motion for Summary Judgment that the

claims of the ’450 patent family are not infringed, and (b) finding the claim terms

“the topical formulation produces less than 0.1% impurity A after 6 months at




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25°C and 60% humidity,” “the formulation degrades by less than 1% over 6

months,” and “consisting essentially of” invalid as indefinite. APPX62-64.

                         STATEMENT OF THE FACTS

I.    PENNSAID® 2%

      PENNSAID® 2% is the first and only twice-daily topical formulation

approved by FDA for the treatment of the pain of osteoarthritis of the knee(s).

APPX7878. PENNSAID® 2% provides the same relief of knee pain despite being

administered via only two pumps, twice daily (i.e., every 12 hours), relative to the

prior PENNSAID® 1.5% product which requires the application of 40 drops per

knee, four times daily (i.e., every 6 hours for a total of 160 drops per knee).

Compare APPX6649 with APPX6923.

II.   ACTAVIS’S ANDA PRODUCT

      Actavis filed Actavis’s ANDA with FDA seeking approval to market a

generic version of PENNSAID® 2%.1 APPX7999; APPX8025-8026. Actavis’s

labeling describes its generic product as “Diclofenac Sodium Topical Solution”

and states “[d]iclofenac sodium topical solution 2% is a nonsteroidal anti-

inflammatory drug indicated for the treatment of the pain of osteoarthritis of the

knee(s).” APPX5873; APPX5888. Actavis’s labeling instructs patients to (1)



1
 At the time of filing with FDA, the ANDA holder was Watson Laboratories, Inc.
The name was later changed to Actavis. See APPX695.

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apply Actavis’s ANDA product to clean, dry skin of the knee, (2) protect the

treated knee(s) from natural and artificial sunlight because studies in animals

indicated topical diclofenac treatment resulted in an earlier onset of ultraviolet

light-induced skin tumors, and (3) wait until the area is completely dry before

covering with clothing or applying sunscreen, insect repellant, cosmetics, topical

medications, or other substances. APPX5873-5899, -5875-5876, -5881, -5898.

III.   THE ’450 AND ’838 PATENT FAMILIES

       PENNSAID® 2% is protected by the ’450 patent family and the ’838 patent

family, both of which are listed in the Orange Book.

       A.    The ’450 Patent Family

       The patents in the ’450 patent family are from the same patent family and

have substantially similar specifications. APPX66; APPX152; APPX294. The

’450 patent is directed to methods of safely administering topical diclofenac

compositions containing DMSO which do not increase systemic exposure of

environmental toxins (e.g., oxybenzone (active ingredient in sunscreen), DEET

(active ingredient in insect repellant), and 2,4-D (pesticide agent)) present in

subsequently applied topical products, wherein the subsequently applied topical

product is not applied until the area treated with the topical diclofenac composition

is dry. See, e.g., APPX163-164, 4:20-28, 4:60-5:7; APPX165-166, 8:65-9:20;

APPX180-181, 38:60-39:28; APPX182, 41:1-11; APPX187, 51:55-60.



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      B.     The ’838 Patent Family

      The patents in the ’838 patent family are from the same patent family and

share the same specification. APPX121; APPX201; APPX231; APPX263;

APPX376; APPX409; APPX440. The ’838 patent is directed to diclofenac sodium

gel formulations that have certain advantages over the prior art PENNSAID® 1.5%

product, referred to as the “comparative liquid formulation,” including (a) better

drying time, (b) higher viscosity, (c) increased transdermal flux, and (d) greater

pharmacokinetic absorption in vivo. APPX136, 4:22-27. In some embodiments,

the formulations of the invention also have favorable stability compared to the

prior art. See, e.g., APPX145, 21:6-14; APPX146, 24:22-28.

      “Better Drying Time.” The inventive formulations of the ’838 patent are

thickened formulations of diclofenac sodium having shorter drying times than the

“comparative liquid formulation.” The ’838 patent outlines two tests for

comparing drying times including an in vivo test in which the drying time

difference is evaluated when equal amounts of the two products are tested on

opposite limbs and an in vitro test in which differences in drying rate and drying

time are evaluated by placing equal amounts of the formulation in weighing dishes.

APPX139, 10:16-30. This in vitro method is described in the ’838 patent as being

more quantitative than the in vivo method. APPX139, 10:22-23. All the inventive

formulations tested had shorter drying times than the “comparative liquid



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formulation.” APPX133, Fig. 11; APPX139, 10:5-30; APPX145-146, 21:39-

23:27. All the inventive formulations comprising HPC as the thickening agent

further dried faster at all time points than the “comparative liquid formulation,”

under both the in vitro method and the in vivo method. See, e.g., APPX145-146,

Table 12.

       “Favorable Stability.” The ’838 patent states that, in addition to better

drying time, higher viscosity, increased transdermal flux and greater

pharmacokinetic absorption in vivo, “the preferred diclofenac sodium gel

formulations of the present invention provide other advantages,” including

“favorable stability at six (6) months as reflected in the lack of any substantial

changes in viscosity, the absence of phase separation and crystallization at low

temperature, and a low level of impurities.” APPX136, 4:27-32. The ’838 patent

describes “favorable stability” as including metrics, such as aspects of physical

stability, in addition to evaluation of degradation of the active ingredient to form

impurities such as “impurity A.” See, e.g., APPX142, 16:40-42.

      “Degradation.” A POSA would understand that degradation in the context

of the ’838 patent refers only to degradation of diclofenac sodium. The patent

states: “Additional features of the preferred formulations include decreased

degradation of diclofenac sodium, which degrades by less than 0.04% over the

course of 6 months and a pH of 6.0-10.0, for example around pH 9.0.” APPX137,



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5:50-53 (emphasis added). Similarly, the ’838 patent states that the inventive

formulations provide “improved stability of the active agent … as evidenced in a

formulation which degrades by less than 0.034% or 0.09%, over 6 months ….”

APPX146, 24:23-27.

      “Impurity A.” A POSA would understand that impurity A in the context of

the ’838 patent is a degradation product of diclofenac sodium and refers to the

known impurity “A” having the chemical name [N-(2,6-dichlorophenyl)indolin-2-

one], also known as reference standard “USP Diclofenac Related Compound A

RS.” Example 6 of the ’838 patent, the only example setting forth data concerning

degradation, describes that degradation of diclofenac sodium is determined by

measuring production of a degradant known as “impurity A.” APPX146, 23:48-

58. Consistent with other discussions of degradation in the ’838 patent, Example 6

concludes that the inventive gel formation “provides improved stability of the

active agent … as evidenced in a formulation which degrades by less than 0.034%

or 0.09%, over 6 months…,” wherein 0.034% and 0.09% refer to “Percent

‘impurity A’” according to Table 13. APPX146, 23:62-24:10, 24:23-28 (emphasis

added).

      The USP, Eur. Ph. and Br. Ph. available to a POSA as of 2006 identify

impurity “A” as a degradation product of diclofenac sodium defined as [N-(2,6-

dichlorophenyl)indolin-2-one], also named 1-(2,6-dichlorophenyl)-1,3-dihydro-



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2H-indol-2-one, having the chemical formula C14H9Cl2NO. See APPX1654-1655;

APPX1650-1652; APPX2878; APPX1657-1661; APPX1663-1666; APPX3665-

3669; see also APPX1533-1534, -1545-1546, ¶¶47-54, -1562; APPX4641, -4654-

4655, ¶¶37-38, -4659. The USP identifies [N-(2,6-dichlorophenyl)indolin-2-one]

as a reference standard “USP Diclofenac Related Compound A RS.” See

APPX1654-1655; APPX1650-1652; APPX2878. Actavis’s expert, Dr. Michniak-

Kohn, admits that USP Related Diclofenac Compound A RS “was a known

impurity of diclofenac sodium at the time of the earliest priority application that

led to the ’838, ’613, ’916, and ’591 patents.” APPX2010, -2032-2034, ¶55 (citing

APPX2878).

                       SUMMARY OF THE ARGUMENT

      The District Court committed legal and factual errors in granting Actavis’s

motion for summary judgment of noninfringement and in finding the claim terms

(1) “consisting essentially of,” (2) “the topical formulation produces less than 0.1%

impurity A after 6 months at 25°C and 60% humidity,” and (3) “the formulation

degrades by less than 1% over 6 months” indefinite.

      First, the District Court erred in granting Actavis’s motion for summary

judgment of noninfringement because Actavis’s labeling instructs, encourages, or

recommends the practice of the methods claimed in the ’450 patent family.

Indeed, the “Indications and Usage” section of Actavis’s labeling closely tracks the


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language of these claims, as Actavis’s labeling instructs that a patient is to “[w]ait

until the area is completely dry before covering with clothing or applying

sunscreen, insect repellent, cosmetics, topical medications, or other substances.”

Such language in Actavis’s labeling is not “indifferent” to how subsequent topical

agents, such as sunscreen, insect repellant, and topical medications, are applied.

Rather, this language explicitly instructs that other topical agents should only be

applied after waiting for Actavis’s ANDA product to dry.

      Second, the District Court erred in holding the “consisting essentially of”

claim term indefinite. In so holding, the District Court was the first court to

evaluate an invention’s “basic and novel properties” for definiteness pursuant to 35

U.S.C. § 112, ¶ 2 and the standard set forth in Nautilus. There is no legal support

for the application of the definiteness requirement to “basic and novel properties”

of an invention, nor is there legal support for the proposition that “basic and novel

properties” are part and parcel of claim language that defines claim scope. The

evolution of the concept of “basic and novel properties,” which was created as a

tool by PTO Examiners for evaluating claims containing “consisting essentially

of,” underscores that they are not part of the claim language. Courts typically

consider the “basic and novel properties” only as part of a validity or infringement

analysis—and not subject to the definiteness requirements of 35 U.S.C. § 112, ¶ 2.




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      However, even if the District Court did not err in subjecting the “basic and

novel” properties of the invention to the requirements of 35 U.S.C. § 112, ¶ 2, the

District Court did err in finding the basic and novel properties “better drying time”

and “favorable stability” indefinite. With respect to “better drying time,” the

District Court erred because it relied upon intrinsic data irrelevant to whether an

additional ingredient added to the claimed formulations will have a material effect

on the “drying time” of that composition. The District Court also improperly

conflated “drying rate” and “better drying time,” and based its holding on

Actavis’s expert testimony concerning “drying rate,” as neither party presented any

expert testimony concerning “better drying time.” Additionally, the District Court

erred in not evaluating the definiteness of “better drying time” on a claim-by-claim

basis, as there is no evidence of any inconsistent “drying time” results when the

inventive formulations containing HPC are tested.

      With respect to “favorable stability,” the District Court erred because it

failed to cite any evidence supporting its opinion that “favorable stability” is

indefinite, and ignored the ample evidence provided by Horizon that a POSA

would be able to determine with reasonable certainty whether an unlisted

ingredient has a material effect on the basic and novel property “favorable

stability.” The District Court also improperly equated “favorable stability” with

the “degrades” claim terms.



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      Third, the District Court erred in holding the “degrades” terms and “impurity

A” indefinite. The District Court improperly interchanged the “degrades” claim

terms with the concept of stability, despite clear teachings in the specification that

degradation is a subset of a formulation’s overall stability. A POSA would

understand that the “degrades” claim terms refer to the degradation of the active

ingredient, diclofenac sodium, into “impurity A,” as the specification discusses

degradation only in the context of the degradation of diclofenac sodium, and

includes degradation data only with respect to the production of “impurity A.”

      Moreover, a POSA would understand that “impurity A” means “USP

Diclofenac Related Compound A,” and the District Court committed both legal

and factual error in holding otherwise. The specification indicates that “impurity

A” is a degradant of diclofenac sodium, and Horizon presented ample evidence

that a POSA would know, based on the pharmacopeias available at the time of the

invention, that “impurity A” is a known diclofenac impurity defined as [N-(2,6-

dichlorophenyl)indolin-2-one] or “USP Related Diclofenac Compound A RS.”

                            STANDARD OF REVIEW

      This Court owes no deference to the District Court’s judgment of

noninfringement of the ’450 patent family. Summary judgment is only appropriate

if Actavis demonstrates no genuine issue of material fact as to whether the asserted

claims are infringed. Fed. R. Civ. P. 56(a). In deciding, and reviewing, a motion


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for summary judgment, “[t]he evidence of the non-movant is to be believed, and all

justifiable inferences are to be drawn in his favor.” Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 255 (1986).

      This Court reviews the grant of summary judgment under the law of the

regional circuit, here, the Third Circuit. Frolow v. Wilson Sporting Goods, Co.,

710 F.3d 1303, 1308 (Fed. Cir. 2013). The Third Circuit reviews a grant of

summary judgment of noninfringement de novo. Id. (citing Nicini v. Morra, 212

F.3d 798, 805 (3d Cir. 2000) (en banc)). This Court should therefore review de

novo the District Court’s grant of summary judgment that Actavis does not infringe

the claims of the ’450 patent family.

      This Court also reviews a finding of indefiniteness under 35 U.S.C. § 112,

¶ 2 without deference. Cox Commc’ns, Inc. v. Spring Commc’n Co., 838 F.3d

1224, 1228 (Fed. Cir. 2016), cert. denied No. 16-1106, 2017 WL 978188 (U.S.

June 19, 2017); Howmedica Osteonics Corp. v. Tranquil Prospects, Ltd., 401 F.3d

1367, 1370 (Fed. Cir. 2005). The conclusion that a claim is invalid as indefinite is

a legal conclusion and, as such, is subject to de novo review. Cox, 838 F.3d at

1228 (citing Eidos Display, LLC v. AU Optronics Corp., 779 F.3d 1360, 1364

(Fed. Cir. 2015)). The analysis of intrinsic evidence underlying the determination

of indefiniteness is also subject to de novo review. See Teva Pharm. USA, Inc. v.

Sandoz, Inc., 135 S.Ct. 831, 840-41 (2015).



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       The District Court’s underlying factual determinations based on extrinsic

evidence are reviewed for clear error. Teva, 135 S. Ct. at 841. Clear error only

applies if the District Court actually made a factual finding—it is not enough that

the District Court simply heard extrinsic evidence during a claim construction

proceeding. CardSoft v. Verifone, Inc., 807 F.3d 1346, 1350 (Fed. Cir. 2015);

Teva Pharm. USA, Inc. v. Sandoz, 789 F.3d 1335, 1342 (Fed. Cir. 2015) (“Teva

cannot transform legal analysis about the meaning or significance of the intrinsic

evidence into a factual question simply by having an expert testify on it.”); see also

Teva, 135 S. Ct. at 840 (“[S]ubsidiary fact-finding is unlikely to loom large in the

universe of litigated claim construction.”). And even then, this Court may

nevertheless review the District Court’s constructions de novo if the intrinsic

record provides the proper scope of the disputed claim terms. CardSoft, 807 F.3d

at 1350; Eidos, 779 F.3d at 1365 (“To the extent the district court considered

extrinsic evidence in its claim construction order or summary judgment order, that

evidence is ultimately immaterial to the outcome because the intrinsic record is

clear.”).




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                                   ARGUMENT

I.    THE DISTRICT COURT ERRED IN FINDING THAT ACTAVIS’S
      LABELING DID NOT INDUCE INFRINGEMENT OF THE ’450
      PATENT FAMILY

      A.     The PENNSAID® 2% Labeling and Actavis’s Labeling Closely
             Tracks the Claim Language of the ’450 Patent Family

      Actavis’s labeling for its generic version of PENNSAID® 2% constitutes an

instruction, encouragement, or recommendation to practice the methods of the ’450

patent family. Thus, Actavis’s labeling constitutes evidence of induced

infringement.

      Use by a patient of PENNSAID® 2% in accordance with its labeling is

described by the asserted claims of the ’450 patent family. APPX118-119;

APPX198; APPX373-374; APPX6649-6652, §§ 1, 2, 3, -6661-6662, §11, -6665,

§17; APPX5705-5709, ¶12, -5711-5712, ¶17, -5719-5720, ¶32, -5740-5742,

¶69, -5852-5853, ¶¶445-452, -5860; APPX5976-5992, -6000, -6006, -6015;

APPX5425-5434, ¶16, -5441-5443, ¶43-46, -5448-5450, ¶¶67-71; -5455-5460,

¶¶96-115, -5468-5472, ¶¶146-157; -5474-5479, ¶¶170-185; APPX5872-5876,

§§ 1, 2, 3, -5888, §11, -5892, §17. A table comparing the PENNSAID® 2%

labeling with claim 10 of the ’450 patent (selected as illustrative of the asserted

claims) is set forth below. Compare APPX198, 73:35-74:10 with APPX6649-6652

at Highlights, §§ 1, 2, 3, -6661-6662, §11.




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’450 Patent, Claim 10                        PENNSAID® 2% Labeling
A method for applying topical agents         1 INDICATIONS AND USAGE
to a knee of a patient with pain, said       PENNSAID is a nonsteroidal anti-
method comprising: applying a first          inflammatory drug (NSAID) indicated
medication consisting of a topical           for the treatment of the pain of
diclofenac preparation to an area of the     osteoarthritis of the knee(s). (1)
knee of said patient to treat
osteoarthritis of the knee of said patient   2 DOSAGE AND
                                             ADMINISTRATION
                                             Apply diclofenac sodium topical
                                             solution, PENNSAID to clean, dry
                                             skin. (2.1)

wherein the topical diclofenac          3 DOSAGE FORMS AND
preparation comprises a therapeutically STRENGTHS
effective amount of a diclofenac salt   • 2% w/w topical solution (3)
and 40-50% w/w dimethylsulfoxide
                                        11 DESCRIPTION
                                        PENNSAID contains 2% w/w
                                        diclofenac sodium… Each 1 gram of
                                        solution contains 20 mg of diclofenac
                                        sodium. In addition, PENNSAID
                                        contains the following inactive
                                        ingredients: dimethyl sulfoxide USP
                                        (DMSO, 45.5% w/w), ethanol,
                                        purified water, propylene glycol, and
                                        hydroxypropyl cellulose.

Waiting for the treated area to dry;         2 DOSAGE AND
                                             ADMINISTRATION
                                             Wait until the treated area is dry
                                             before applying sunscreen, insect
                                             repellant, lotion, moisturizer,
                                             cosmetics, or other topical medication
                                             to the same knee you have just treated
                                             with PENNSAID

Subsequently applying a sunscreen, or        2 DOSAGE AND
an insect repellant to said treated area     ADMINISTRATION
after said treated area is dry, wherein

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 said step of applying a first medication    Wait until the treated area is dry before
 does not enhance the systemic               applying sunscreen, insect repellant,
 absorption of the subsequently applied      lotion, moisturizer, cosmetics, or
 sunscreen or insect repellant               other topical medication to the same
                                             knee you have just treated with
                                             PENNSAID


 Wherein said subsequent application         1 INDICATIONS AND USAGE
 occurs during a course of treatment of      PENNSAID is a nonsteroidal anti-
 said patient with said topical diclofenac   inflammatory drug (NSAID) indicated
 preparation.                                for the treatment of the pain of
                                             osteoarthritis of the knee(s). (1)


      The importance of the PENNSAID® 2% labeling instruction regarding

drying before application of another agent, such as sunscreen, is clear from the

development history of the product. The inventive method of the asserted patents

was discovered by the inventors at Nuvo Research, following extensive clinical

research conducted to respond to FDA’s concerns. APPX7097-7103, -7099;

APPX7362-7365, -7362; APPX7422-7427, -7440, -7454; APPX7201-7210, -7252-

7257; APPX7634-7637, -7645, -7651, -7662; APPX7704, -7712; APPX7520-

7564; APPX7585-7632. Nuvo discovered that repeated application of the topical

diclofenac compositions containing DMSO did not result in increased systemic

absorption of environmental toxins (i.e., sunscreen, insect repellant and pesticide)

so long as the treated area was first allowed to dry completely. Id. Subsequently,

FDA requested that the PENNSAID® labeling include instructions in the Dosage

and Administration, Drug Interactions, and Patient Counseling Information

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sections that patients should and “wait until the treated area is completely dry”

“[b]efore applying sunscreen, insect repellant, cosmetics, topical medications, or

other substances.” APPX7634-7637, §2.2, -7650-7651, §7.9, -7661-7662, §17.5.

This labeling is in stark contrast to the earlier labeling approved for prior

PENNSAID® 1.5% product sold in Canada before these clinical tests were

performed. Instead of setting forth the instructions for safe use with subsequent

topical agents, the prior labeling set forth an instruction prohibiting the application

of any other topical agent. APPX6875-6876, -6888, -6897-6898. That label

stated, “Do not apply any other medication to the treated area” and “Do not apply

any other topical medication together with PENNSAID®.”

APPX6888, -6898, -6903.

      Actavis’s labeling is substantially the same as that for PENNSAID® 2%.

APPX5441, ¶43; APPX5853, ¶¶448-449; APPX5872-5876, §§ 1, 2, 3, -5888, §11,

-5892, §17; APPX5976-5992, -6000, -6006, -6015. The first page of Actavis’s

labeling, under “Highlights Of Prescribing Information,” instructs patients to

“[d]ispense 40 mg (2 pump actuations) directly onto the knee or first into the hand

and then onto the knee. Spread evenly around front, back and sides of the knee”

and then “[w]ait until the area is completely dry before covering with clothing or

applying sunscreen, insect repellent, cosmetics, topical medications, or other

substances.” APPX5873. Actavis’s labeling provides numerous other instructions



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in the Full Prescribing Information regarding safe application of a second topical

agent (such as sunscreen) as follows:

           “Wait until the treated area is dry before applying sunscreen, insect

             repellant, lotion, moisturizer, cosmetics, or other topical medication to

             the same knee you have just treated with diclofenac sodium topical

             solution.” APPX5876, §2.2.

           “Instruct patients to wait until the area treated with diclofenac sodium

             topical solution is completely dry before applying sunscreen, insect

             repellant, lotion, moisturizer, cosmetics, or other topical medication.”

             APPX5892, §17.

           “After you use diclofenac sodium topical solution: Do not … put

             sunscreen, insect repellant, lotion, moisturizer, cosmetics, or other

             topical medicines on your knee until it is completely dry.”

             APPX5898.

      Actavis’s labeling, just like the PENNSAID® 2% labeling, further instructs

patients to “[p]rotect the treated knee(s) from natural and artificial sunlight” and

“[i]nstruct patients to avoid exposure to natural or artificial sunlight on treated

knee(s) because studies in animals indicated topical diclofenac treatment resulted

in an earlier onset of ultraviolet light-induced skin tumors.” APPX5876,

§2.2, -5881, §5.14.


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      The Full Prescribing Information of Actavis’s labeling also warns patients in

Section 6 that the two most significant adverse reactions to PENNSAID® 2% are

“dry skin” and “contact dermatitis,” just as in the PENNSAID® 2% labeling – skin

conditions that call for topical corticosteroid. Compare APPX5882-5883, Table 2,

with APPX6657-6658, Table 2; APPX5449-5450, ¶70; APPX5612-5613, 337:9-

339:16. In fact, Actavis’s labeling contains all the same instructions regarding safe

use of the product for the treatment of pain of osteoarthritis of the knees as are

found on the PENNSAID® 2% labeling. APPX5976-5992, -6000, -6006, -6015.

      Actavis’s labeling includes a “Dosage and Administration” section that

instructs patients to “apply diclofenac sodium topical solution,” “protect the treated

knee(s) from natural and artificial sunlight,” and then “[w]ait until the area is

completely dry before covering with clothing or applying sunscreen, insect

repellent, cosmetics, topical medications, or other substances.” APPX5873, -5875-

5876, §§ 2.1, 2.2. This instruction, together with other similar instructions

appearing throughout Actavis’s labeling, evidences Actavis’s specific intent to

induce infringement of the asserted claims of the ’450 patent family.

      B.     The District Court Erred When It Found That Actavis’s Labeling
             Does Not Recommend, Encourage, or Promote the Claimed
             Method

      While not every patient will have a “need” to apply sunscreen, or insect

repellant, or another topical medication, when such a “need” arises, Actavis’s



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instructions inevitably lead a patient to wait for the topical diclofenac composition

to dry before applying the sunscreen, insect repellant, or another topical

medication. APPX5617-5620, ¶6, -5638-5639, ¶¶41-44, -5641, ¶¶47-48;

APPX5716-5717, ¶26, -5727-5729, ¶46, -5841, ¶402, -5845, ¶417, -5849,

¶430, -5855, ¶¶454-455; APPX8141-8153; APPX6970-6975, ¶¶7-26.

      Actavis noticeably has not disputed that patients who will use Actavis’s

ANDA product may have a “need” to apply sunscreen, insect repellant, or another

topical medication to the area of treatment. Actavis also has not disputed that if

patients follow Actavis’s labeling instruction regarding application of a second

topical such as sunscreen, the patients will infringe the claimed method of

treatment of pain of osteoarthritis of the knee. Actavis’s labeling clearly

establishes that Actavis has taken “affirmative steps” through its labeling “to foster

infringement.” Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S.

913, 919, 125 S.Ct. 2764, 2770 (2005).

      Despite the clear instructions in Actavis’s labeling, the District Court

granted summary judgment of non-infringement, holding that “Horizon has not

met its burden to show that Actavis’s label recommends, encourages, or promotes

a use of its ANDA product with the intent to directly infringe on Horizon's claimed

methods.” APPX55. To reach this decision, the Court improperly relied on two

cases, Shire LLC v. Amneal Pharms., LLC, Civ. No. 11-3781, 2014 WL 2861430,



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at *5 (D.N.J. June 23, 2014), aff’d in part, rev’d in part, 802 F.3d 1301 (Fed. Cir.

2015) and In re Depomed Patent Litigation, Civ. No. 13-4507, 2016 WL 7163647,

at *58 (D.N.J. Sept. 30, 2016), appeal docketed, No. 17-1153 (Fed. Cir. Nov. 3,

2016). APPX55-58. The District Court held that, “[j]ust like the generic’s

labeling in Shire and In re Depomed, no evidence in this case demonstrates that

Actavis’s proposed label does more than simply permit, rather than require or

direct, the post-product application of sunscreen, insect repellant, or a second

topical medication.” APPX58.

      Shire is factually distinguishable because Actavis’s labeling is not

“indifferent” to infringement. Shire, 2014 WL 2861430, at *5. In Shire, this Court

concluded that Amneal’s label instruction to take the drug “with or without food”

was insufficient evidence to support induced infringement because the statement

was “indifferent to which option is selected.” Id. In this case, Actavis’s labeling is

not indifferent to how subsequent topical agents (sunscreen, insect repellant,
--


topical medications) are to be applied. To the contrary, Actavis’s labeling

explicitly instructs that other topical agents should only be applied after waiting for

Actavis’s ANDA product to dry. APPX5873, -5876, §2.2, -5892, §17, -5898;

APPX5633, ¶¶31-32, -5636-5643, ¶¶37-51. Indeed, Actavis’s labeling cannot be

indifferent because FDA is not indifferent to issues of safety. See, e.g.,

APPX5623-5633, ¶¶12-32; APPX5792-5794, ¶¶252-258; APPX7097-7103, -7099;



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APPX7362-7365, -7362; APPX7422-7427, -7440, -7454; APPX7201-7210, -7252-

7257; APPX7634-7637, -7645, -7651, -7662; APPX7704, -7712; APPX7520-

7564; APPX7585-7632.

      In re Depomed is also not relevant. That case, like many others relied upon

by Actavis, relates to a scenario wherein the patentee is asserting infringement of a

patent that covers an indication that is not in the ANDA holder’s label. In re

Depomed, 2016 WL 7163647, at *60. That is not the present situation. Actavis’s

labeling clearly sets forth steps which infringe the asserted claims. See, e.g.,

APPX5440-5444, ¶¶37-46; -5448-5450, ¶¶67-71, -5455-5460, ¶¶96-103, 107-109;

APPX5468-5472, ¶¶147-157, -5474-5479, ¶¶ 170-185; APPX5633-5643, ¶¶31-32,

37-51; APPX4891-4892, ¶¶ 1-2; APPX5873, -5875, §§ 1-3, -5892.

      When the District Court’s factual findings are viewed under this Court’s

precedent, those findings actually support a holding in Horizon’s favor. The

District Court found, “[t]he medical reason for specifying ‘sunscreen, insect

repellant, and other topical medications’ is important,” and then concluded that

“[t]he proposed product label directs a patient on how to apply the ANDA product,

and provides guidance to the patient on how to proceed from there if he wishes to

have anything else come in contact with [his] knee afterward.” APPX59-60. The

“anything else” on the label includes the claimed application of sunscreen and




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insect repellants, and the “how to apply” certainly includes the “wait until the

treated area is dry” instruction.

      The District Court properly referred to this Court’s guidance with respect to

finding specific intent, acknowledging that “the question is not whether a patient

following the instructions on the packaging may end up using the medication in an

infringing way, but rather whether the proposed label instructs the patient to

perform the patented method,” citing this Court’s decision in AstraZeneca LP v.

Apotex, Inc., 633 F.3d 1042, 1060 (Fed. Cir. 2010), which in turn cites to Vita-Mix

Corp. v. Basic Holding, Inc., 581 F.3d 1317, 1329 n.2 (Fed. Cir. 2009). APPX52.

      But the District Court did not follow this Court’s guidance. Instead, the

District Court appears to have relied upon another decision from this Court, where

the asserted specific intent was being tied not to the label itself, but rather to

activities outside of the label. The District Court turned to Warner-Lambert Co. v.

Apotex Corp., 316 F.3d 1348, 1365 (Fed. Cir. 2003) (“[W]here a product has

substantial noninfringing uses, intent to induce infringement cannot be inferred

even when the [alleged inducer] has actual knowledge that some users of its

product may be infringing the patent.”). APPX52.

      In Warner Lambert Co., this Court affirmed the grant of Apotex’s motion

for summary judgment on the basis of no induced infringement because Warner

Lambert’s patent covered only the use of the drug (gabapentin) for treating



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neurodegenerative diseases (e.g., stroke, Alzheimer’s, Huntington’s, Parkinson’s),

a use not approved by FDA, whereas Apotex sought approval only for use in the

treatment of epilepsy, a use covered by a previously-expired patent. Warner-

Lambert, 316 F.3d at 1352. That decision is not relevant to the present facts—and

neither is the issue of the purported presence of “substantial noninfringing uses.”

The fact that a patient may apply clothing, cosmetics or other substances is simply

not relevant.

      The presence of intent to induce infringement based on Actavis’s labeling is

especially compelling when the focus is on the application of sunscreen. Actavis’s

labeling states in Section 5.14 that patients should be instructed to “avoid exposure

to natural or artificial sunlight on treated knee(s) because studies in animals

indicated topical diclofenac treatment resulted in an earlier onset of ultraviolet

light-induced skin tumors.” APPX5881, §5.14. Application of sunscreen as a

second topical agent is medically necessary because of the increased risk of

photosensitization and tumors in the skin, per the warning in Actavis’s labeling.

APPX5641-5643, ¶¶48-51; APPX8289-8292, -8343-8344, 211:2-213:10, 215:8-

21.

      In this regard, this case is analogous to AstraZeneca where this Court

affirmed a finding of induced infringement on the basis that AstraZeneca’s claimed

method of “once-daily” dosing would be infringed by some, but not all, users of



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the generic Apotex product because the Apotex labeling included language in the

“Dosage and Administration” section recommending to “downward-titrate to the

lowest effective dose” – a recommendation that meant some users would infringe

because the product was only available in two dosage strengths. AstraZeneca, 633

F.3d at 1057. Once-daily dosing was inevitable for some users of the Apotex

product because of Apotex’s recommendation of downward titration. Id. at 1060.

Similarly, that some patients will apply sunscreen or insect repellent or another

topical medication, following the instructions on Actavis’s labeling (and thus the

asserted patent claims), is inevitable for those patients. Actavis’s instruction is that

it is safe to do so after waiting for Actavis’s ANDA product to dry completely.

APPX5442-5443, ¶46, -5449-5450, ¶70, -5457-5458, ¶¶99-100, -5470-5471, ¶150,

-5475-5476, ¶173, -5478-5479, ¶181; APPX5633, ¶¶31-32, -5636-5640, ¶¶37-46.

      The present case also is similar to Eli Lilly & Co. v. Teva Parenteral

Medicines, Inc., wherein this Court affirmed a finding of induced infringement

because Eli Lilly’s claimed method of administering the chemotherapy drug

pemetrexed together with folic acid and vitamin B12 to avoid side effects would be

infringed because the Teva labeling included language recommending vitamin

supplementation in the “Physician Prescribing Information” section. 845 F.3d

1357, 1366 (Fed. Cir. 2017).




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      It is further submitted that induced infringement should be found in the

present action if this Court applies the standard as expressed in Braintree Labs.,

Inc. v. Breckenridge Pharm., Inc., -- F. App’x –, 2017 WL 1829140 (Fed. Cir.

2017) (unpublished). In that case, this Court found, “Breckenridge’s labeled

indication for colon cleansing ‘recommends or suggests to physicians that the drug

is safe and effective for administration to patients for the purposes of inducing

[purgation].’” Braintree, 2017 WL 1829140, at *4 (citing Bayer Schering Pharma

AG v. Lupin, Ltd., 676 F.3d 1316, 1322 (Fed. Cir. 2012)). This Court then found

that “[b]ecause Breckenridge’s ANDA label ‘instruct[s] how to engage in an

infringing use, [it] show[s] an affirmative intent that the product be used to

infringe.’” Braintree, 2017 WL 1829140, at *4 (quoting AstraZeneca, 633 F.3d at

1059). Because Actavis’s labeling clearly instructs how to engage in a use that

infringes the asserted claims, the label is evidence of induced infringement.

      C.     The District Court Erred in Granting Summary Judgment in
             Favor of Actavis Because There Exist Questions of Material Fact

      Actavis’s summary judgment motion should have been denied because there

exist questions of material fact regarding whether Actavis’s labeling constitutes an

instruction, encouragement or recommendation to practice the methods claimed by

the ’450 patent family.

      Horizon presented expert evidence by Dr. Marco Pappagallo that: (1) while

not all patients will have a “need” to apply sunscreen, or insect repellant, or


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another topical medication such as a corticosteroid following application of

Actavis’s ANDA product, those patients who have such a “need” will inevitably

infringe because of Actavis’s instructions in its labeling (APPX5633-5643, ¶¶31-

32, 33-36, 37-51; APPX8342-8343, 206:20-208:4, 212:13-213:10, -5608, 281:5-

15); (2) the language placed prominently on the first page of Actavis’s labeling

under “Highlights of Prescribing Information” creates no doubt that the “wait until

completely dry” step is important and is an instruction rather than a mere warning

(id.); (3) the “wait until completely dry” instruction is not conditional, but is an

instruction that must be followed to ensure the safe use of the topical diclofenac

product (id.); and (4) Actavis’s labeling provides an instruction to apply sunscreen,

because the labeling also warns of the risk of photosensitization and tumors in skin

resulting from sun exposure, and sunscreen is medically necessary in view of that

warning (APPX5636-5643, ¶¶37-51; APPX5876, §2.2, -5881, §5.14).

      The District Court, in reviewing the summary judgment motion, should have

viewed Dr. Pappagallo’s testimony in the light most favorable to Horizon and

denied Actavis’s motion. Instead, the District Court ignored Dr. Pappagallo’s

testimony. To the extent this Court concludes that there exist questions of fact, the

grant of the summary judgment of no infringement should be reversed and the case

remanded. Should this Court conclude that there are no issues of material fact in

dispute, this Court should grant summary judgment that Actavis is liable for



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induced infringement of claims 10, 11, 15, and 17 of the ’450 patent, claim 14 of

the ’078 patent, and claims 3, 11, and 13 of the ’110 patent.

II.   THE DISTRICT COURT ERRED WHEN IT FOUND THE CLAIM
      TERM “CONSISTING ESSENTIALLY OF” INDEFINITE

      The District Court committed legal and factual errors in holding the term

“consisting essentially of” indefinite and claims 15, 49-52 and 55-61 of the ’838

patent, claims 13-14 of the ’591 patent, claims 9-11 of the ’304 patent, claims 10-

12 of the ’305 patent and claims 10-12 of the ’784 patent invalid under 35 U.S.C. §

112, ¶ 2. APPX14-27; APPX63. The District Court improperly applied the law

when it held, as a matter of first impression, that “basic and novel properties”

identified in connection with the transitional phrase “consisting essentially of”

must satisfy the requirements of 35 U.S.C. § 112, ¶ 2 and the accompanying

“reasonable certainty” standard set forth in Nautilus, Inc. v. Biosig Instruments

Inc., 134 S. Ct. 2120, 2124 (2014). APPX23. The District Court erred because (a)

there is no legal support for the District Court’s application of 35 U.S.C. § 112, ¶ 2

to the basic and novel properties, and (b) the basic and novel properties are not part

and parcel of the language of the claims that define claim scope.

      A.     The District Court’s Opinion

      The District Court recognized that “consisting essentially of” is a transitional

phase having a well-established legal meaning: it requires that the invention

necessarily includes the listed ingredients and is open to the inclusion of additional


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unlisted ingredients “that do not materially affect the basic and novel properties of

the invention.” APPX14-15 (citing PPG Indus. v. Guardian Indus. Corp., 156

F.3d 1351, 1354 (Fed. Cir. 1998)). Because the “basic and novel properties” were

in dispute, the District Court concluded it was necessary to identify the “basic and

novel properties” so as “to delineate what must be shown for the purposes of

infringement or invalidity.” APPX15. The District Court found that the “basic and

novel properties” of the invention were set forth in the ’838 patent and identified

the “basic and novel properties” of the invention as including: (1) better drying

time; (2) higher viscosity; (3) increased transdermal flux; (4) greater

pharmacokinetic absorption; and (5) favorable stability. APPX23.

      Even though no court had ever before applied the definiteness standard of 35

U.S.C. § 112, ¶ 2 to “basic and novel properties,” the District Court proceeded to

assess definiteness of the “basic and novel properties” under 35 U.S.C. § 112, ¶ 2,

applying the Supreme Court’s “reasonable certainty” standard under Nautilus. The

District Court found that two of the “basic and novel properties” of the invention –

“better drying time” and “improved stability” – were indefinite, and therefore

concluded that because the “group of properties” did not have the requisite

“reasonable certainty,” the term “consisting essentially of” was indefinite.

APPX23-27; APPX36-39.




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      B.     The Legal Standard

      “Consisting Essentially Of.” Transitional phrases, such as “comprising,”

“consisting of,” and “consisting essentially of,” are terms of art in patent law that

“define the scope of the claim with respect to what unrecited additional

components or steps, if any, are excluded from the scope of the claim.” MPEP

2111.03; accord Vehicular Techs. Corp. v. Titan Wheel Int’l, Inc., 212 F.3d 1377,

1382-83 (Fed. Cir. 2000). The phrase “consisting essentially of” is a partially open

transition phrase that signals that the invention necessarily includes the listed

ingredients and is open to unlisted ingredients that do not “materially affect the

basic and novel properties of the invention.” PPG Indus., 156 F.3d at 1354.

      Determination of Infringement of “Consisting Essentially Of.”

Evaluating infringement is a two-step analysis: First, the patent claim must be

properly interpreted, a step imposing a question of law. Second, the accused

product must be compared to the properly-interpreted claim, a step imposing a

question of fact. Presidio Components, Inc. v. Am. Tech. Ceramics Corp., 702

F.3d 1351, 1358 (Fed. Cir. 2012). The analysis of infringement of a “consisting

essentially of” claim similarly involves a two-step process. First, the basic and

novel properties are determined as a matter of law, using the same sources of

evidence as used for claim construction. AK Steel Corp. v. Sollac and Ugine, 344

F.3d 1234, 1239-40 (Fed. Cir. 2003); PPG Indus., 156 F.3d at 1355. Second, if the



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accused product or asserted prior art contains an ingredient not recited in the

claims, the fact finder must determine whether that unrecited ingredient materially

affects those basic and novel properties. PPG Indus., 156 F.3d at 1354-55.

Because the evaluation of infringement (or validity) of “consisting essentially of”

claims involves questions of fact, courts generally do not engage in such analysis

in the context of Markman proceedings. See infra Section C.2.

      Standard for Indefiniteness. “The Patent Act requires that a patent

specification ‘conclude with one or more claims particularly pointing out and

distinctly claiming the subject matter which the applicant regards as [the]

invention.’” Nautilus, 134 S. Ct. at 2124 (quoting 35 U.S.C. § 112, ¶ 2). The

Supreme Court recently interpreted § 112, ¶ 2 holding “that a patent is invalid for

indefiniteness if its claims, read in light of the specification delineating the patent,

and the prosecution history, fail to inform, with reasonable certainty, those skilled

in the art about the scope of the invention.” Id. “[D]efiniteness is to be evaluated

from the perspective of someone skilled in the relevant art.” Id. at 2128.

      Terms of degree are not inherently indefinite. “As long as claim terms

satisfy [the Nautilus] test, relative terms and words of degree do not render patent

claims invalid.” One-E-Way, Inc. v. Int’l Trade Comm’n., 859 F.3d 1059, 1062

(Fed. Cir. 2017). The Supreme Court has accommodated the inclusion of terms of

degree due to “the inherent limitations of language” and in recognition of the fact



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that “absolute precision is unattainable” during the drafting process. Nautilus, 134

S. Ct. at 2129. This Court has even recognized that when quantitative values are

available, a qualitative term is still adequate. See One-E-Way, 859 at 1066 (“[T]he

lack of a technical definition does not render [a] term [of degree] indefinite.”).

      Burden of proof. Actavis must prove by clear and convincing evidence that

the claims are invalid for failure to meet the requirements of § 112, ¶ 2. 35 U.S.C

§ 282(a); Nautilus, 134 S. Ct. at 2130 n.10. The fact that a claim may include one

or more limitations that require measuring a variable (e.g., drying time) does not

alter Actavis’s burden. Dow Chem. Co. v. Nova Chem. Corp. (Canada), 809 F.3d

1223, 1227 (Fed. Cir. 2015) (per curiam) (Moore, Newman, O’Malley, Taranto, &

Chen, JJ., concurring). Actavis must establish, by clear and convincing evidence,

not only that multiple methods of measuring the variable (e.g., drying time) existed

at the time the patent application was filed, but that a POSA would not be able to

choose among those methods in order to evaluate whether the patent claims were

infringed. See Ethicon Endo-Surgery, Inc. v. Covidien, Inc., 796 F.3d 1312, 1319

(Fed. Cir. 2015) (“If such an understanding of how to measure the claimed average

pressures was within the scope of knowledge possessed by one of ordinary skill in

the art, there is no requirement for the specification to identify a particular

measurement technique.”).




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      C.     The District Court Committed Legal Error When It Applied the
             Nautilus Definiteness Standard to the Basic and Novel Properties
             of the Claimed Invention

      The District Court committed legal error in extending 35 U.S.C. § 112, ¶ 2

and applying the requirement of definiteness to the “basic and novel properties” of

the invention. The District Court’s finding of invalidity due to indefiniteness of

one or more “basic and novel properties” should be reversed.

             1.     There is No Legal Basis to Apply the Definiteness
                    Requirements To “Basic and Novel Properties”

      As the District Court acknowledged, until its ruling below, no court had ever

evaluated the definiteness of “basic and novel properties,” let alone found the term

“consisting essentially of” invalid under 35 U.S.C. § 112, ¶ 2 on the basis that the

“basic and novel properties” were indefinite.2 APPX17. Because there is no legal

basis to apply the requirements of 35 U.S.C. § 112, ¶ 2 to the “basic and novel

properties” of an invention, the District Court’s ruling that “consisting essentially

of” is indefinite because the “basic and novel properties” are indefinite should be

reversed as a matter of law. Notably the District Court undertook the task of

determining whether the “basic and novel properties” are definite, even though


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 Since the District Court issued its opinion, two other district courts have
addressed the definiteness of “basic and novel properties” but neither found the
“basic and novel properties” indefinite. See Prostrakan, Inc. v. Actavis Labs. UT,
Inc., Civ. No. 16-cv-0044, 2017 WL 3028876, at *8-9 (E.D. Tex. July 15, 2017);
Mayne Pharma Int’l Pty Ltd. v. Merck & Co., Inc., Civ. No. 15-438, 2016 WL
7441069 (D. Del. Dec. 27, 2016).

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Actavis’s ANDA product does not contain any “unspecified ingredients.”

APPX4888-4894, APPX4891-4892, ¶2. The District Court had no need to decide

whether an “unspecified ingredient” had a material effect on the basic and novel

properties.

      The District Court cited to PPG Industries, but PPG Industries does not

compel or sanction application of the requirements of 35 U.S.C. § 112, ¶ 2 to the

“basic and novel properties” of an invention. APPX18-20; PPG Indus., 156 F.3d

at 1354. PPG Industries does not involve analysis of the definiteness of

“consisting essentially of” or the “basic and novel properties.” Instead, this Court

considered whether the district judge “improperly construed the term ‘consisting

essentially of’” before instructing the jury on its meaning. PPG Indus., 156 F.3d at

1354. PPG argued that the district court erred in (a) failing to determine, as a

matter of claim construction, “whether iron sulfide has a ‘material effect’ on the

invention,” and (b) failing to construe the term “material effect” in a manner

consistent with the patent specification. This Court analyzed whether iron sulfide

had a “material effect” on the invention and concluded that the “proper allocation

of tasks of construing a claim and determining infringement in which a claim

contains an imprecise limitation” is to construe the claim term consistent with the

intrinsic record and then to make a factual determination of infringement. Id. at

1355. This Court did not address 35 U.S.C. 112, ¶ 2 apart from a general comment



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that claim language must comply with that section. Id. Thus, PPG Industries fails

to support the District Court’s statement that the “lesson to be applied to this case,

therefore, is that a court’s assessment of the basic and novel properties may be

performed at the claim construction phase because under certain circumstances the

basic and novel properties of an invention are part of the construction of a claim

containing the phrase ‘consisting essentially of.’” APPX21.

      Though not expressly stated, the District Court appears to be attempting to

extend the reasoning of AK Steel, yet AK Steel also does not compel or sanction

application of the definiteness requirements of 35 U.S.C. § 112, ¶ 2 to the “basic

and novel properties” of an invention. AK Steel involved unique facts, wherein this

Court considered whether the district court erred when it found, as a matter of

claim construction, that the term “consisting essentially of” did not permit an

amount of silicon in excess of 0.5% in the aluminum coating. AK Steel Corp., 344

F.3d at 1239. This Court found that the specification clearly identified “good

wetting” as the “basic and novel property,” and that the specification contained

clearly limiting statements which drew “a precise line” “demarking the exact

percentage of silicon that the inventors considered to be too much silicon” to

achieve the goal of “good wetting.” Id. at 1239-40. In this case, there are no such

clearly limiting statements concerning the effect of additional components on the

“basic and novel properties” of the claimed composition.



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      The District Court also relied upon Nautilus in its opinion, but Nautilus does

not compel or sanction application of the definiteness requirements of 35 U.S.C. §

112, ¶ 2 to the “basic and novel properties” of an invention. APPX21-23. Nautilus

nowhere discusses the term “consisting essentially of”—let alone address the

concept of “basic and novel properties.” Nautilus merely sets forth an

indefiniteness standard for claim terms stating, “a patent is invalid for

indefiniteness if its claims, read in light of the specification delineating the patent,

and the prosecution history, fail to inform, with reasonable certainty, those skilled

in the art about the scope of the invention.” Nautilus, 134 S. Ct. at 2124 (emphasis

added).

             2.     Because “Basic and Novel Properties” Are Not Part and
                    Parcel of the Language of the Claims, 35 U.S.C. § 112, ¶ 2
                    Does Not Apply

      It is well-settled law that it is the language of the claims that defines the

scope of the invention. “It is a ‘bedrock principle’ of patent law that ‘the claims of

a patent define the invention to which the patentee is entitled the right to

exclude.’” Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc).

“We look to the words of the claims themselves ... to define the scope of the

patented invention.” Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582

(Fed. Cir 1996). “The written description part of the specification itself does not

delimit the right to exclude. That is the function and purpose of claims.”



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Markman v. Westview Instruments, Inc., 52 F.3d 967, 980 (Fed. Cir. 1995) (en

banc).

         “Basic and novel properties” are not part of the language of the claims.

“Basic and novel properties” are a tool conceived by PTO Examiners to evaluate

claims containing “consisting essentially of” language against prior art disclosures

and potentially infringing products. The meaning of “consisting essentially of”

was first construed in Ex parte Davis, an appeal of the PTO Examiner’s final

rejection of the appellants patent claim to a sealing tape having an adhesive

composition “consisting essentially of” three components, which the PTO

Examiner rejected as lacking invention over prior art describing the same three

components together with a fourth component. Ex parte Davis, 80 U.S.P.Q. 448,

450 (Pat. Office Bd. App. 1948). Finding no authoritative decision construing

“consisting essentially of,” the Board adopted a “code of terms for use in

compositions to aid uniformity of practice” used by a group of Primary Examiners

at the PTO, whereby recital of “essentially” along with “consisting of” was

construed as “rendering the claim open only for the inclusion of unspecified

ingredients which do not materially affect the basic and novel characteristics of the

composition.” Id..

         The Board’s definition of “consisting essentially of” was later adopted by

the United States Court of Customs and Patent Appeals (C.C.P.A.) and used for the



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same purpose. Subsequent C.C.P.A. cases evaluated the “basic and novel

properties” as a means for determining whether the appellant patentee had

provided sufficient evidence to show that the additional elements described by the

prior art should be excluded by the “consisting essentially of” limitation of the

claims at issue. See In re Janakirama-Rao, 317 F.2d 951, 953 (C.C.P.A. 1963); In

re De Lajarte, 337 F.2d 870, 873-874 (C.C.P.A. 1964); In re Garnero, 412 F.2d

276, 279 (C.C.P.A. 1969); In re Herz, 537 F.2d 549, 552 (C.C.P.A. 1976). The

C.C.P.A. never considered definiteness of the “basic and novel properties.”

      This Court also considers “basic and novel properties” solely as a part of the

factual determinations of validity and infringement. See, e.g., Atlas Powder Co. v.

E.I. du Pont De Nemours & Co., 750 F.2d 1569, 1574 (Fed. Cir. 1984); PPG

Indus., 156 F.3d at 1354; AK Steel Corp., 344 F.3d at 1239; Depuy Mitek, Inc. v.

Arthrex, Inc., 297 Fed. Appx. 995, 997 (Fed. Cir. 2008). In no case has this Court

held or even suggested that “basic and novel properties” are part of the language of

the claims such that they are subject to the definiteness requirements of 35 U.S.C.

§ 112, ¶ 2.

      Unlike the District Court in this case, district courts generally have little

enthusiasm for “consisting essentially of” and “basic and novel properties.” As

one court recognized, “consisting essentially of” “is a turgid, difficult nook of

patent law.” Trs. Of Boston Univ. v. Everlight Elecs. Co., Ltd., 23 F.Supp.3d 50,



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64 (D. Mass. 2014). Most courts simply construe “consisting essentially of”

according to its well-established legal meaning and stop, without identifying the

“basic and novel properties.” Depomed, Inc. v. Sun Pharma Global FZE, C.A. No.

11-3553 (JAP), 2012 WL 3201962, at *13 (D.N.J. Aug. 3, 2012); Biovail Labs.

Int’l SRL v. Abrika, LLLP, No. 04-61704, 2006 WL 6111777, at *18 (S.D. Fla.

Aug. 24, 2006); Classified Cosmetics, Inc. v. Del Labs., Inc., No. 03-4818-AHM,

2004 WL 56465578, at *5 (C.D. Cal. June 14, 2004); Senju Pharm. Co., Ltd. v.

Lupin Ltd., 162 F.Supp.3d 405, 421 (D.N.J. November 18, 2015). When courts are

forced to identify “basic and novel properties” because they are disputed by the

parties, the analysis consists solely of identification of “basic and novel

properties,” with issues relating to infringement or validity being addressed only

after a full record is developed. L’Oreal S.A. v. Johnson & Johnson Consumer

Cos., Inc., No. 12-98-GMS, 2014 U.S. Dist. LEXIS 190268, *4, Docket Item 196,

slip op. at 2 (D. Del. Nov. 5, 2014); Trs. Of Boston Univ., 23 F.Supp.3d at 65;

Momentus Golf, Inc. v. Swingrite Golf Corp., 312 F.Supp. 2d 1134, 1144 (S.D.

Iowa 2004); Kim v. Conagra Foods, Inc., No. 01-2467, 2003 WL 2122266, at *8

(N.D. Ill. May 23, 2003).

      The reason that courts, prior to the District Court, did not address

definiteness of “basic and novel properties” is that they have never been

considered “part and parcel” of the claims. “Basic and novel properties” have



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always been understood to simply be a tool for assessing whether, as a matter of

fact, claims with “consisting essentially of” limitations are either invalid in view of

prior art or infringed.

      D.     The District Court Erred in Finding the Basic and Novel Property
             “Better Drying Time” Indefinite

      The District Court committed both legal and factual errors in holding that

the basic and novel property “better drying time” is indefinite.

      The District Court erred when it relied upon the intrinsic evidence relating

only to the comparison of the inventive compositions to the prior art “comparative

liquid formulation,” in determining that the basic and novel property “drying time”

is indefinite because a POSA would not have “reasonable certainty” about whether

an additional ingredient would materially alter the basic and novel property “better

drying time.” APPX24-27. This Court should review these factual findings de

novo. Because this evidence does not address the question of whether an

additional ingredient will have a material effect on “drying time” it cannot be used

to conclude that the basic and novel property “better drying time” is indefinite.

      The District Court also committed legal error in failing to evaluate

definiteness of the basic and novel property “better drying time” on a claim-by-

claim basis. The District Court’s findings are based on data showing that the F971

formulation did not demonstrate a faster drying rate than the prior art “comparative

liquid formulation” at time points less than 4 hours. APPX25-26 (discussing


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Example 5). The District Court erred in failing to recognize that claims 49-52 and

55-61 of the ’838 patent, claims 13-14 of the ’591 patent, claims 9-11 of the ’304

patent, claims 10-12 of the ’305 patent, and claims 10-12 of the ’784 patent do not

encompass the F971 formulation, and accordingly, the alleged inconsistencies

identified by the District Court do not apply. Indeed, the District Court did not

find any inconsistencies concerning the formulations of the invention containing

HPC, which are the subject of those claims. See APPX25-26.

         The District Court further erred because during its review of the intrinsic

evidence it confused “drying rate” with “drying time” and failed to understand the

data being presented. The Court should review these factual findings de novo.

The District Court erroneously found that (1) the methods described in the

specification for evaluating “better drying time” did not “provide consistent results

at consistent times,” and (2) “the claimed results are not seen across all

formulations of the claimed invention, and when ‘dryness’ is evaluated at any time

shorter than four hours, not all formulations of the claimed invention actually

exhibit ‘better drying time.’” APPX26-27. Contrary to the District Court’s

findings, the methods described in the ’838 patent provide consistent results for

“drying time,” and all formulations of the claimed invention exhibit “better drying

time.”




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      The District Court further erred when it relied upon expert testimony relating

to the claim term “greater drying rate,” rather than the basic and novel property

“better drying time.” As the District Court noted, the parties only briefed the

definiteness of the claim term “a greater drying rate” in their Opening Briefs.

APPX24, fn. 9. Importantly, the parties did not brief the definiteness of “better

drying time,” and there was no expert discovery concerning this property. The

District Court’s findings based upon extrinsic evidence, specifically the opinions of

Actavis’s expert Dr. Michniak-Kohn, which relate only to “drying rate,” should be

disregarded as clear error.

             1.     The District Court Erred in Relying on Data in the Intrinsic
                    Record Irrelevant to the Effect of Additional Components
                    on “Drying Time”

      There is no evidence that a POSA would be unable to test whether an

“additional ingredient” alters the “drying time” when added to a formulation

otherwise within the scope of the claims. The District Court erroneously relied on

data presented by the inventors to demonstrate that the inventive formulations had

improved properties over the prior art “comparative liquid formulation.” APPX23-

27; see also APPX139, 10:6-11. The District Court’s analysis of this data reads

more like an analysis of whether the data presented in the patent support the

description of the claimed inventions, rather than an assessment of whether the

method can be used to assess whether an unrecited additional component will have



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a “material effect” on drying time. APPX23-27. For example, the District Court

states “the claimed results are not seen across all formulations of the claimed

invention, and when ‘dryness’ is evaluated at any time shorter than four hours, not

all formulations of the claimed invention actually exhibit ‘better drying time.’”

APPX26.

      None of these data address the question of whether an additional ingredient

will have a material effect on “drying time.” None of the data has any bearing on

whether the basic and novel property “better drying time” is indefinite. Thus, there

remains a question of fact concerning whether a POSA would have “reasonable

certainty” about whether an additional ingredient would materially alter the basic

and novel property of “better drying time.” Where a patent is alleged to disclose

multiple methods of evaluating a limitation, a claim may not be held invalid based

on a hypothetical possibility for inconsistent results. See Purdue Pharm. Prods.

L.P. v. Actavis Elizabeth LLC, No. 12-5311 JLL, 2015 WL 5032650, at *57

(D.N.J. Aug. 25, 2015) (concluding post-Nautilus, “[h]ere, the only credible and

pertinent evidence before the Court showed consistent results. The Court will not

appease Defendants and find indefiniteness based on a hypothetical possibility for

inconsistent results. Such is far from the clear and convincing standard. As the

Federal Circuit has previously held, there is the potential for inconsistent results




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even within the same method of measurement, but that surely does not render a

claim indefinite.”) (internal quotation omitted.))

               2.   The District Court Erred in Failing to Evaluate the
                    Definiteness of “Better Drying Time” on a Claim-By-Claim
                    Basis

      The District Court erred in not evaluating validity (definiteness) of the

“consisting essentially of” claim term, and the related “basic and novel properties,”

on a claim-by-claim basis. It is well settled that evidence of invalidity must be

considered on a claim-by-claim basis. See Dayco Prods., Inc. v. Total

Containment, Inc., 329 F.3d 1358, 1370 (Fed. Cir. 2003) (quoting 35 U.S.C. § 282

(2000)) (“each claim of a patent (whether in independent, dependent, or multiple

dependent form) shall be presumed valid independently of the validity of other

claims….”); Custom Accessories, Inc. v. Jeffrey-Allan Indus., Inc., 807 F.2d 955,

961 (Fed. Cir. 1986) (“The burden is on the party asserting invalidity to prove the

invalidity of each claim … with facts supported by clear and convincing

evidence.”).

      As outlined above, the District Court found “better drying rate” indefinite

based on alleged inconsistencies between the data for the F971 (Carbopol)

formulations of the invention and the prior art. APPX24-27. However, many of

the asserted claims do not encompass the F971 formulation but rather are limited to

formulations where the polymer is HPC, instead of a Carbopol polymer as used in



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F971. For the “consisting essentially of” claims that are limited to HPC, there is

no evidence of, nor does the District Court cite any, inconsistent results based on

either the method of measuring the results (e.g., in vivo v. in vitro), or the timing of

such measurements (e.g., after 5 minutes, 4 hours, or 24 hours).

APPX4641, -4648-4649, ¶¶20-21, -4659; APPX145-146, 22:31-23:27.

      A POSA would understand that (1) the inventive HPC formulations (the

F14/2 gels) exhibit better drying at all time points under either method of

comparing drying, and (2) the difference in the degree of drying at 30 minutes

across the two alleged tests is irrelevant. APPX4647-4649, ¶¶19-21; APPX139,

10:16-30. Specifically, based on the data in Table 12, at all time points after time

zero, the formulations F14/2 gel 2.5% and F14/2 gel 4.0% containing, among other

ingredients, HPC, demonstrated more rapid drying than the comparative liquid

formulation. APPX4648, ¶20; APPX146, 23:10-27.

      Because the District Court failed to assess validity (definiteness) on a claim-

by-claim basis, the District Court’s finding of invalidity due to indefiniteness of

“better drying time” should be reversed as to each of those claims that exclude the

F971 formulation and instead require the polymer to be HPC (i.e., claims 49-52

and 55-61 of the ’838 patent, claims 13-14 of the ’591 patent, claims 9-11 of the

’304 patent, claims 10-12 of the ’305 patent, and claims 10-12 of the ’784 patent).




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             3.    The District Court Improperly Conflated “Drying Rate”
                   with “Better Drying Time”

      The District Court erred in failing to distinguish between “drying rate” (how

quickly it dries) and “drying time” (how long it takes to dry) during its review of

the intrinsic evidence. Actavis’s expert agrees that “drying time” and “drying

rate,” are two different, albeit related, drying properties. APPX2010-2011, -2016-

2017, ¶¶21-22, -2033-2034. And both are discussed in the ’838 patent. For

example, the ’838 patent states that the formulations of the invention have “a better

drying time” and “improved properties of drying time” than the prior art

comparative formulation. APPX136, 4:24-25; APPX138, 7:36 (emphasis added).

The ’838 patent also states that when the formulations of the invention are applied

to the skin, “the drying rate is quicker … than previously described compositions.”

APPX137, 5:46-49 (emphasis added). The section titled “Drying Time”

referenced in the District Court’s opinion addresses the relationship between

“drying rate” and “drying time,” noting that the compositions of the invention “dry

quicker,” resulting in a “drying time difference” that can be observed within thirty

(30) minutes using an in vivo test method. APPX139, 10:6-21. The ’838 patent

states that after thirty minutes the composition of the invention is “almost

completely dry,” whereas a “significant amount” of the comparative liquid

formulation remained. Id., 10:17-21.




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         The alleged inconsistencies in the in vitro test data of Example 5, which are

identified by the District Court as supporting indefiniteness of “better drying time,”

reflect differences in drying rate at early time points (e.g., time points of 4 hours or

less) rather than inconsistencies concerning the drying time of the inventive

formulations as compared to the prior art.3 Much of the data presented in Example

5 and Table 12 of the ’838 patent relates to “drying rate,” a fact made clear by the

Table 12 description which states, “The gels of this invention showed faster drying

kinetics than the comparative liquid formulation, with F14/2 showing the fastest

drying rate.” APPX146, 23:6-9. The data in Table 12 show that none of the

formulations tested were dry after 5 minutes, 1 hour or even 4 hours, since each of

the formulations continued to undergo evaporation even after the 4-hour time

point. APPX146, 23:19-27. Because the formulations were not yet dry at 4 hours,


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    The District Court also noted an inconsistency between the inventors’ statement

that “the three gel formulations displayed more rapid drying than the liquid

formulation” within the first five minutes and the data presented in Table 12.

APPX26. This inconsistency does not render “drying time” indefinite, as it is

apparent from the data presented that the statement is erroneous, and regardless

relates only to “drying rate” and not “drying time.” APPX145, 21:63-22:6;

APPX146, 23:20-27.



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a POSA would understand that the time points earlier than 4 hours do not reflect

drying time, but rather reflect drying rates that can change over time. APPX2016,

¶21.

         Both the “in vivo test” and the “in vitro test” demonstrated that the drying

time (i.e., time to dryness) was shorter for the formulations of the invention than

for the “comparative liquid formulation.” 4 Using the “in vivo test,” the

compositions of the invention were “almost completely dry” after thirty minutes,

unlike the “comparative liquid formulation” for which “a significant amount”

remained. APPX139, 10:18-21. Using the more quantitative “in vitro test” of

Example 5, the inventors observed that a difference in drying rate became dramatic


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    The District Court’s observation that “there is an apparent problem in the

assertion … in the specification that the claimed invention would be drier within

thirty minutes” reflects the District Court’s failure to comprehend the differences

in the two test methods. APPX25. The statement regarding a difference in drying

time after thirty minutes is based upon the results of the “in vivo test.” APPX139,

10:16-21. The fact that the same formulation evaluated using the “in vitro

method” was not “almost completely dry” after 30 minutes does not render the

term “drying time” indefinite because both methods establish that the inventive

formulations had a shorter drying time than the prior art. APPX139, 10:22-30.



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at 4 hours and even more so at 24 hours, at which point only a small percentage of

the applied formulations of the invention remain as compared to the prior art

formulation. APPX145, 21:63-22:13.

             4.    The District Court Erred in Relying on Dr. Michniak-
                   Kohn’s Expert Testimony Relating to “Drying Rate”
                   Rather Than “Drying Time”

      The District Court clearly erred in relying upon the testimony of Actavis’s

expert, Dr. Michniak-Kohn, to support its finding that the basic and novel property

“better drying time” was indefinite. Dr. Michniak-Kohn’s expert declaration

analyzed the claim term “a greater drying rate” not “drying time.” APPX2015-

2022, ¶¶19-31. Dr. Michniak-Kohn’s declaration goes to great length to

distinguish “drying rate” from “drying time,” finding these terms not equivalent.

APPX2016-2017, ¶¶21-22. Dr. Michniak-Kohn’s declaration describes “drying

rate” as the “rate at which moisture leaves a material,” which changes over time.

APPX2016, ¶21. Dr. Michniak-Kohn also describes how the ’838 patent discusses

both “drying rate” and “drying time.” APPX2017, ¶22. Dr. Michniak-Kohn then

discusses why in her opinion the claim term “a greater drying rate” is indefinite,

arguing that the ’838 patent describes two different tests for “comparing the

relative drying rates of a given formulation” and complaining that the patent does

not inform a POSA which test method or time point to use for determining “rate.”

APPX2017-2022, ¶¶23-31.



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      The District Court found Dr. Michniak-Kohn’s opinions persuasive and

relied upon them in finding the basic and novel property “better drying ---
                                                                        time”

indefinite. APPX27. The District Court’s own reasoning closely parallels and

uses the same citations to the specification as Dr. Michniak-Kohn. Compare

APPX24-26 with APPX2017-2022, ¶23-31. Because the District Court’s

conclusion that the basic and novel property “drying time” is indefinite is based in

large part upon expert testimony concerning “drying rate” instead of “drying time,”

the District Court’s findings should be reversed for clear error.

             5.     The District Court Erred in Not Hearing Expert Testimony
                    Relating to “Drying Time”

      The District Court found the need “to look beyond the patent’s intrinsic

evidence and to consult extrinsic evidence in order to understand, for example, the

background science or the meaning of a term in the relevant art during the relevant

time period.” Teva, 135 S.Ct. at 841. However, the District Court consulted the

wrong extrinsic evidence, i.e., evidence that discussed the wrong term, “a greater

drying rate.” As discussed above, this constitutes error.

      Once the District Court made the decision to rely on extrinsic evidence to

understand the meaning of a term, the District Court should have sought extrinsic

evidence to understand the meaning of the correct term, “better drying time.” The

District Court did not hear any testimony to understand the meaning of the term

“better drying time” in the relevant art during the relevant time period. In fact,


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there was no testimony for the District Court to rely upon because the record does

not contain any testimony as to the meaning of the term “better drying time.”

Horizon’s expert, Dr. Kenneth Walters, did not provide any opinion concerning the

basic and novel property of “better drying time,” and the District Court rejected Dr.

Walter’s opinions concerning the definiteness of “a greater drying rate.” APPX26-

27. The District Court committed clear error in not seeking expert testimony to

understand the meaning of the basic and novel property “better drying time” in the

relevant art during the relevant time period before rendering its decision that the

term is indefinite.

      E.     The District Court Erred in Finding the Basic and Novel Property
             “Favorable Stability” Indefinite

      The District Court committed both legal and factual errors in holding that

the basic and novel property “favorable stability” is indefinite. The District Court

did not address the definiteness of the basic and novel property “favorable

stability” in its opinion on claim construction. APPX37. The District Court first

addressed “favorable stability” in its opinion denying Horizon’s motion for

reconsideration, holding that the indefiniteness of “consisting essentially of” was

“confirmed by the finding that the stability and degradation claims are indefinite,”

referencing the earlier claim construction opinion finding that the “degrades” claim

terms and “impurity A” were indefinite. APPX37-39.




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      In so doing, the District Court committed clear legal error in failing to cite

any evidence in support of its opinion that “favorable stability” is indefinite (id.),

and in ignoring the ample evidence provided by Horizon that a POSA would be

able to determine with reasonable certainty whether an unlisted ingredient has a

material effect on the basic or novel property of “favorable stability” (see

APPX4656-4657, ¶¶41-46). The only citation in this section of the District Court’s

opinion is to its prior Markman decision concerning the “degrades” terms.

APPX37-38.

      The District Court erred in equating the basic and novel property “favorable

stability” with the “degrades” claim terms, which the District Court found

indefinite, for the reasons set forth at length in Section III.A. below. APPX37-38.

The District Court erred because the specification refers to degradation as a subset

of, rather than the same thing as, “stability.” See APPX136, 4:27-32. The District

Court should have conducted a separate definiteness analysis for the basic and

novel property “favorable stability,” not merely bootstrapping its conclusion that

“favorable stability” is indefinite because the “degrades” claim terms are

indefinite.

      Additionally, the District Court ignored the ample evidence and expert

testimony offered by Horizon that a POSA would be able to determine with

reasonable certainty whether an unlisted ingredient has a material effect on the



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basic or novel property of “favorable stability.” See APPX4656-4657, ¶¶41-46.

Namely, Horizon offered expert testimony that a POSA would understand the ’838

patent as describing “favorable stability” as reflecting “[1] the lack of any

substantial changes in viscosity, [2] the absence of phase separation and

crystallization at low temperature, and [3] a low level of impurities.” APPX4656,

¶41; APPX136, 4:27-32. Horizon also offered expert testimony that a POSA

would be able to (1) measure with reasonable certainty the viscosity and any

changes thereto by using the method for measuring viscosity agreed-upon by the

parties (APPX4656, ¶42; APPX136, 4:27-32, -140, 12:53-55), (2) determine with

reasonable certainty the absence of any phase separation with the commonly-used

visual test and whether there was crystallization at low temperature using the well-

known freeze-thaw cycling method (APPX4656-4657, ¶¶43-4), and (3) determine

the level of total impurities using well-known HPLC or other analytical methods

(APPX4657, ¶45). The District Court did not consider any of this evidence in its

opinion. As such, the District Court committed legal error.

III.   THE DISTRICT COURT ERRED WHEN IT FOUND THAT THE
       “DEGRADES” CLAIM TERMS AND “IMPURITY A” ARE
       INDEFINITE

       The District Court committed both legal and factual errors in holding that

the “degrades” and “impurity A” claim terms are indefinite. The District Court

committed clear factual error when it found that the specification refers to


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“stability” and “degradation” interchangeably, and the District Court erred as a

matter of law when it found that because “stability” is indefinite, so, too, are the

“degrades” claim terms. APPX13-14. The specification makes clear that the

“degrades” terms refer to the degradation of diclofenac sodium into “impurity A,”

and that such degradation is a subset of the overall “stability” of the inventive

formulations.

      The District Court committed legal error when it failed to consider the

evidence presented by Horizon concerning how a POSA would understand

“impurity A.” A POSA would understand that the “impurity A” referenced in the

specification is USP Diclofenac Related Compound A RS, as set forth in the USP,

the Eur. Ph., and the Br. Ph. Thus, the District Court committed legal error in

finding the term “impurity A,” and in turn, the “degrades” terms, indefinite.

      A.     The District Court Erred When It Found That the Intrinsic
             Evidence Equates Degradation with Stability

      The specification refers to degradation as a subset of, rather than the same

thing as, “stability.” APPX136, 4:27-32. The District Court committed clear

factual error in finding that the specification equated stability and degradation. See

APPX13. The District Court looked only to intrinsic evidence to make this

determination. As such, this factual finding should be reviewed de novo. See

Teva, 135 S.Ct. at 840.




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      The portions of the intrinsic record cited by the District Court to support its

finding that the specification equates stability with degradation do not support such

a finding. Rather, these portions support the opposite—that degradation is just one

aspect of stability. The District Court recognized this, stating that “stability is

referred to as a catch all for a number of things,” and referenced the portion of the

specification that lists the things encompassed by “stability”—namely, no phase

separation, negligible shift in pH, and low amounts of degradation products. See

APPX13. Yet, the District Court then inexplicably concludes that stability and

degradation “are two sides of the same coin.” Id.

      Throughout the specification, it is clear that the two terms are not used

interchangeably. For example, the specification states that “the preferred

diclofenac sodium formulations of the present invention provide other advantages

including favorable stability,” and then states that “favorable stability” is “reflected

in the lack of any substantial changes in viscosity, the absence of phase separation

and crystallization at low temperatures, and a low level of impurities.” APPX136,

4:27-32; APPX4656, ¶41. Similarly, Example 3 describes the stable gels of the

invention as “demonstrating . . . no phase separation, negligible shift in pH, and

low amounts of degradation products.” APPX142, 16:39-41. The intrinsic record

is clear—degradation is just one aspect of stability. The District Court erred in




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equating stability and degradation, then using this finding to support a finding of

indefiniteness.

      B.     The Intrinsic Evidence Shows That the “Degrades” Claim Terms
             Refer to the Degradation of Diclofenac Sodium into Impurity A

      A POSA reading the claims in light of the specification would understand

that the “degrades” claim terms refer to the degradation of the active ingredient,

diclofenac sodium, and not the degradation of any of the excipients used in the

inventive formulations. APPX1533-1534, -1544, ¶44, -1562; APPX137, 5:50-52;

APPX139, 9:66-10:4. The specification discusses degradation in the context of the

degradation of diclofenac sodium. For example, the specification states that “[a]

feature” of the inventive gel formulations is decreased “[d]egradation of diclofenac

sodium.” APPX137, 5:50-51; see also APPX1544, ¶44. The specification does

not mention degradation of any other ingredient.

      Additionally, a POSA reading the claims in light of the specification would

understand that the “degrades” claim terms refer to the appearance of impurity A,

also known as Diclofenac Related Compound A RS. APPX1543-1546, ¶¶42-54.

Example 6 is the only example that sets forth specific data regarding degradation.

APPX146, 23:30-24:34; see also APPX1544-1545, ¶45. Example 6 looks to the

production of impurity A. Id. A POSA would understand that the “degrades”

claim terms are referring to the degradation of diclofenac sodium into impurity A.




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APPX1543-1546, ¶¶42-54. Indeed, the District Court properly found as such.

APPX13.

      Table 13 in Example 6 further supports such an interpretation. Example 6

refers to the degradation of “a formulation,” and then indicates that this

“formulation . . . degrades by less than 0.034% or 0.09%, over 6 months.”

APPX146, 24:26-27; see also APPX1544-1545, ¶45. Table 13 includes these

same numbers, 0.034% and 0.09%, as the “[p]ercent ‘impurity A’ after 6 months of

storage (wt/wt).” Id., Table 13, 23:62-64. Example 6 makes clear that the

degradation discussed in the specification is the degradation of diclofenac sodium

into impurity A.

      C.     The District Court Erred When It Found That “Impurity A” Is
             Indefinite

      A POSA would know that the term “impurity A” means “USP Diclofenac

Related Compound A.” APPX1545-1546, ¶¶47-54; APPX4653-4654, ¶36. The

District Court committed both legal and factual error in holding that “[t]he identity

of ‘impurity A’ is unknowable to a reasonable certainty to a POSA,” and that the

term “impurity A” is indefinite. APPX12. The District Court’s overall

determination that the term “impurity A” is indefinite is subject to de novo review

by this Court, while the District Court’s underlying factual determinations

concerning “impurity A” are subject to the clear error standard. Cox, 838 F.3d at

1228; Teva, 135 S.Ct. at 840.


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      The District Court erred as a matter of law in failing to accept that a POSA

would know the meaning of “impurity A,” based on the intrinsic evidence and the

definition of a POSA. Nautilus, 134 S. Ct. at 2128 (“[D]efiniteness is to be

evaluated from the perspective of someone skilled in the relevant art.”). The law of

this Court is that the hypothetical POSA is “presumed to be aware of all the
                                                                      --
pertinent prior art.” Standard Oil Co. v. Am. Cyanamid Co., 774 F.2d 448, 454,

227 USPQ 293, 297 (Fed.Cir.1985) (emphasis added). The specification indicates

that “impurity A” is a degradant of the inventive formulations. APPX1544, ¶44;

APPX4653-4654, ¶36; APPX146, 23:55-56. Horizon presented ample evidence

that a POSA would know, from the pertinent pharmacopeias available at the time

of the invention, that “impurity A” is a known impurity of diclofenac sodium

defined as [N-(2,6-dichlorophenyl)indolin-2-one], also named 1-(2,6-

dichlorophenyl)-1,3-dihydro-2H-indol-2-one, or “USP Related Diclofenac

Compound A RS,” having the chemical formula C14H9Cl2NO. See APPX1650-

1652; APPX1654-1655; APPX1657-1661; APPX1663-1666; APPX3665-3669;

APPX4654-4655, ¶¶37-8; APPX1545-1546, ¶¶47-54; APPX3644-3645, -3647,

¶¶11-12, -3651. See also Standard Oil Co., 774 F.2d at 454 (the hypothetical

POSA is “presumed to be aware of all the pertinent prior art.”)

      A POSA would have known that when the specification refers to

degradation of the formulation, it is referring to degradation of diclofenac sodium,



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as opposed to the degradation of any excipients in the inventive formulations,

because the only component of the inventive formulations, including the active

ingredient and all excipients, with a known impurity that is referred to as “impurity

A” is diclofenac sodium. APPX137, 5:50-53; APPX4653-4655, ¶¶36-38;

APPX1545-1546, ¶¶47-54. Actavis’s expert, Dr. Michniak-Kohn, admits that USP

Related Diclofenac Compound A RS “was a known impurity of diclofenac sodium

at the time of the earliest priority application that led to the ’838, ’613, ’916, and

’591 patents.” APPX2032, ¶55. The Ph. Eur. uses the term “impurity A” and

contains the same identification of USP Related Diclofenac Compound A RS as

the USP, only naming it 1-(2,6-dichlorophenyl)-1,3-dihydro-2H-indol-2-one.

APPX1660; APPX1666; APPX4654-4655, ¶¶37-8; APPX1545-1546, ¶¶47-54.

Indeed, “Diclofenac Sodium Related Compound A” is acknowledged by Watson

(now Actavis) as a degradation product of diclofenac sodium in its FDA

documents. APPX24691, -24724-24726. “Impurity A” was so well-known even

at the time of the invention that the USP made it available as a reference standard,

denoted by the “RS” in “USP Related Diclofenac Compound A RS.” APPX1652;

APPX1655.

      Rather than accepting Horizon’s evidence, which is not disputed, the District

Court engaged in a lengthy discussion regarding HPLC data and testing conditions.

APPX9-11. For all the reasons discussed above, a POSA would not need to



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consider HPLC data to know that “impurity A” is referring to USP Related

Diclofenac Compound A RS. APPX4654-4655, ¶¶ 37-38. Moreover, because the

identity of “impurity A” was already known, a POSA would understand that the

HPLC data was not included in the specification for purposes of identifying

“impurity A.” Rather, the HPLC data was include in the specification for

quantification purposes, i.e., to determine how much diclofenac sodium has

degraded to “impurity A.” APPX146, Table 13; APPX3650, ¶20. Thus, the

intrinsic and extrinsic evidence supports Horizon’s proposed construction, and the

District Court erred in finding the term “impurity A,” and in turn, the “degrades”

terms, to be indefinite.




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IV.   CONCLUSION REGARDING DEFINITENESS AND
      INFRINGEMENT

      For the reasons above, the District Court’s judgment that the claim terms

“consisting essentially of,” “degrades” and “impurity A” are indefinite and the

claims of the ’450 patent family are not infringed, should be reversed.

                                              Respectfully submitted,

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                                              HZNP Limited and Horizon
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CERTIFICATE OF SERVICE
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                CERTIFICATE OF SERVICE AND FILING

UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

       I hereby certify that on August 16, 2017, the foregoing CORRECTED
PRINCIPAL BRIEF OF PLAINTIFFS-APPELLANTS was filed electronically
with the U.S Court of Appeals for the Federal Circuit by means of the Court’s
CM/ECF system. I further certify that the foregoing was served on the following
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CERTIFICATE OF COMPLIANCE
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         CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME
             LIMITATION, TYPEFACE REQUIREMENTS,
                 AND TYPE STYLE REQUIREMENTS

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Dated:       August 16, 2017                     /s/ Caryn C. Borg-Breen
                                                 Caryn C. Borg-Breen




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       UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

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                 (State whether representing appellant, appellee, etc.)

                                   August 16, 2017
                                         (Date)
      Case: 17-2149   Document: 36   Page: 85   Filed: 08/16/2017




Horizon Pharma Ireland Limited, HZNP Limited, Horizon Pharma USA, Inc.
                                  v.
                     Actavis Laboratories UT, Inc.,
              17-2149, -2152, -2153, -2202, -2203, -2206


                          Addendum
1. August 17, 2016 Opinion, Horizon
   Pharma Ireland Limited, et al. v.
   Actavis Laboratories, UT, Inc.,
   14-cv-7992 (D.N.J.)……..…………………………………………A-A

2. August 17, 2016 Order, Horizon
   Pharma Ireland Limited, et al. v.
   Actavis Laboratories, UT, Inc.,
   14-cv-7992 (D.N.J.)……………………………..………………….A29-A30

3. January 6, 2017 Opinion, Horizon
   Pharma Ireland Limited, et al. v.
   Actavis Laboratories, UT, Inc.,
   14-cv-7992 (D.N.J.)………………………………………………..A31-A39

4. March 16, 2017 Opinion and Order, Horizon
   Pharma Ireland Limited, et al. v.
   Actavis Laboratories, UT, Inc.,
   14-cv-7992 (D.N.J.)……………………………………………...…A40-A61

5. May 23, 2017 Final Judgment, Horizon
   Pharma Ireland Limited, et al. v.
   Actavis Laboratories, UT, Inc.,
   14-cv-7992 (D.N.J.)……………………………………………...…A62-A64

6. United States Patent No. 8,217,078…………….……………..…..A65-A119

7. United States Patent No. 8,252,838……………………………...A120-A150

8. United States Patent No. 8,546,450……………………………...A151-A199
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9. United States Patent No. 8,563,613……………………………...A200-A229

10.United States Patent No. 9,066,913……………………………...A230-A261

11.United States Patent No. 9,101,591……………………………...A262-A292

12.United States Patent No. 9,132,110……………………………...A293-A374

13.United States Patent No. 9,168,304……………………………...A375-A407

14.United States Patent No. 9,168,305……………………………...A408-A438

15.United States Patent No. 9,220,784…………………………...…A439-A471


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      GLUHFWTXRWHVIURP$FWDYLV VODEHOLQJIRU$FWDYLV V$1'$
      SURGXFW
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                       Addendum 1

August 17, 2016 Opinion, Horizon Pharma Ireland Limited, et al. v.
                 Actavis Laboratories, UT, Inc.,
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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

      HORIZON PHARMA IRELAND
      LIMITED, et al.,                      Civil No. 14-7992 (NLH/AMD)

                     Plaintiffs,
                                            OPINION
            v.

      ACTAVIS LABORATORIES, UT,
      INC., et al.,

                     Defendants.


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                                    APPX1
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  HILLMAN, District Judge

         Presently before the Court in this Hatch-Waxman Act 1 action

  is the dispute over the construction of claims in nine patents

  relating to PENNSAID® 2%, which is the first FDA-approved twice-

  daily topical diclofenac sodium formulation for the treatment of

  the pain of osteoarthritis (“OA”) of the knees.          Plaintiff

  Horizon (Horizon Pharma Ireland Limited, HZNP Limited and


  1   The Third Circuit Court of Appeals recently explained,

         With the Drug Price Competition and Patent Term Restoration
         Act of 1984, Pub. L. No. 98–417, 98 Stat. 1585, commonly
         known as the Hatch–Waxman Act, Congress attempted to
         balance the goal of “mak[ing] available more low cost
         generic drugs,” H.R. Rep. No. 98–857, pt. 1, at 14–15
         (1984), reprinted in 1984 U.S.C.C.A.N. 2647, 2647–48, with
         the value of patent monopolies in incentivizing beneficial
         pharmaceutical advancement, see H.R.Rep. No. 98–857, pt. 2,
         at 30 (1984), reprinted in 1984 U.S.C.C.A.N. 2686, 2714.
         The Act seeks to accomplish this purpose, in part, by
         encouraging “manufacturers of generic drugs . . . to
         challenge weak or invalid patents on brand name drugs so
         consumers can enjoy lower drug prices.” S. Rep. No. 107–
         167, at 4 (2002).

  King Drug Co. of Florence, Inc. v. Smithkline Beecham Corp., 791
  F.3d 388, 394 (3d Cir. 2015).



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  Horizon Pharma USA, Inc.) is the current owner and assignee of

  the patents-in-issue, and of the PENNSAID® 2% New Drug

  Application (“NDA”); all rights therein were acquired from third

  parties.    These patents are:     U.S. Patent Nos. 8,252,838 (“the

  ’838 patent”), 8,563,613 (“the ’613 patent”), 8,871,809 (“the

  ’809 patent”), 9,066,913 (“the ’913 patent”), 9,101,591 (“the

  ’591 patent”), 8,546,450 (“the ’450 patent”), 8,217,078 (“the

  ’078 patent”), 8,618,164 (“the ’164 patent”) and 9,132,110 (“the

  ’110 patent”).

        The patents may be segregated into groups in accordance

  with their related specifications.        The first group of Horizon

  patents - the ’838, ’613, ’809, ’913 and ’591 patents - share

  substantially identical specifications and claim priority to the

  same provisional application filed on October 17, 2006.

  According to Horizon, the inventors recognized a significant

  unmet need for, inter alia, topical OA pain treatments suitable

  for chronic use that will deliver the active agent to the

  underlying tissue in sufficient concentration.          The second group

  of Horizon patents - the ’450, ’078, ’164 and ’110 patents -

  also share substantially identical specifications, and claim

  priority to the same provisional application filed on October

  31, 2012.   Horizon states that the inventors recognized a need

  for, inter alia, improved methods of dosing topical diclofenac

  formulations.



                                    APPX3
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        Horizon has filed several Hatch-Waxman actions alleging

  patent infringement against generic companies seeking to market

  copies of Horizon’s PENNSAID® 2% formulation prior to the

  expiration of Horizon’s patents.        This particular action

  concerns claim construction issues relevant to Actavis

  Laboratories UT, Inc. (“Actavis”).        Horizon brought this action

  in response to Actavis’ assertion that the generic copy of

  PENNSAID® 2% described in Actavis’ Abbreviated New Drug

  Application No. 207238 (“ANDA”), if approved by the FDA, would

  not infringe any valid and enforceable patent owned by Horizon. 2

        A claim construction hearing was held on March 3, 2016.

  Following the conclusion of the parties’ arguments, the Court

  directed the parties to submit supplemental briefing, and on

  June 7, 2016, the Court, having considered the entire record and

  additional briefing and argument by counsel, issued an oral

  Opinion on the Court’s final construction of the patent claims.

  This Opinion formally memorializes the Court’s findings as to

  its construction of the patent claims at issue pursuant to

  Markman v. Westview Instruments, Inc., 517 U.S. 370 (1996).




  2 This Court has jurisdiction over the subject matter of this
  action pursuant to 28 U.S.C. §§ 1331, 1338(a), 2201, 2202 and 35
  U.S.C. § 271.



                                    APPX4
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  I.    LAW OF CLAIM CONSTRUCTION

        Claim construction is “an issue for the judge, not the

  jury.”   Markman v. Westview Instruments, Inc., 517 U.S. 370, 391

  (1996); see also Teva Pharms. USA, Inc. v. Sandoz, Inc., 135 S.

  Ct. 831, 841 (2015) (“This ultimate interpretation is a legal

  conclusion.”).    “[T]he words of a claim ‘are generally given

  their ordinary and customary meaning.’”          Phillips v. AWH Corp.,

  415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc) (quoting

  Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed.

  Cir. 1996)).    “[T]he ordinary and customary meaning of a claim

  term is the meaning that the term would have to a person of

  ordinary skill in the art [the “POSA”] in question at the time

  of the invention.”       Id. at 1313.     Claim construction begins with

  the intrinsic evidence of the patent -- the claims, the

  specification, and the prosecution history -- and may require

  consultation of extrinsic evidence to understand the state of

  the art during the relevant time period.              Teva Pharms., 135 S.

  Ct. at 841.

        As part of construing claims, the Court can assess whether

  a claim term is indefinite, and reach “‘a legal conclusion that

  is drawn from the court’s performance of its duty as the

  construer of patent claims.’”        In re Aoyama, 656 F.3d 1293, 1299

  (Fed. Cir. 2011) (quoting Personalized Media Commc’ns, L.L.C. v.

  Int’l Trade Comm’n, 161 F.3d 696, 705 (Fed. Cir. 1998)).                    For a



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  claim term to be definite under 35 U.S.C. § 112, ¶ 2 (2012), 3 “a

  patent’s claims, viewed in the light of the specification and

  prosecution history, [must] inform those skilled in the art

  about the scope of the invention with reasonable certainty.”

  Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120,

  2129 (2014).

        It is permissible to read in testing conditions from the

  specification without violating the basic canon of construction

  not to import limitations from the specification into the

  claims, but only where this will “reconcile[ ] the ambiguous

  claim language with the inventor’s disclosure.”          Chimie v. PPG

  Indus., Inc., 402 F.3d 1371, 1378–79 (Fed. Cir. 2005).            Where,

  however, the specification discloses multiple methods for

  evaluating a claim limitation without guidance to a person of

  ordinary skill in the art about which method to use, the claim

  limitation is indefinite.      Dow Chem. Co. v. Nova Chems. Corp.

  (Can.), 803 F.3d 620, 634–35 (Fed. Cir. 2015); Teva Pharms. USA,

  Inc. v. Sandoz, Inc., 789 F.3d 1335, 1344–45 (Fed. Cir. 2015),

  on remand from 135 S. Ct. 831 (2015).




  3 The statute has been subsequently amended under the Leahy-Smith
  America Invents Act (“AIA”), Pub. L. No. 112-29, 125 Stat. 284
  (2011), such that this provision has been replaced by 35 U.S.C.
  § 112(b). Because the applications predate the AIA, the pre-AIA
  version of § 112 applies. Biosig Instruments, Inc. v. Nautilus,
  Inc., 783 F.3d 1374, 1377 n.1 (Fed. Cir. 2015), on remand from
  134 S. Ct. 2120 (2014).


                                    APPX6
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  II.   DISPUTED TERMS

        As set forth above, there are nine patents asserted in this

  matter.     Of these, five patents - U.S. Patent Nos. 8,252,838;

  8,563,613; 8,871,809; 9,066,913; and 9,101,591 - are part of the

  “’838 Patent Family” and all agreed to have the same

  specification.      The other four patents - U.S. Patent Nos.

  8,546,450; 8,217,078; 8,618,164; and 9,132,110 - are part of the

  “’450 Patent Family” and similarly agreed to have the same

  specification.

        All of the disputed terms for the Court to construe are

  contained within the ’838 Patent Family, thus all references to

  the specification will be to the specification of the ’838

  Patent.

        A.     “the topical formulation produces less than 0.1%
               impurity A after 6 months at 25°C and 60% humidity”

   Horizon’s Proposed                       Defendants’ Proposed
   Construction                             Construction
   Less than 0.1% of Impurity A             This term is indefinite
   (USP Diclofenac Related                  because it does not inform a
   Compound A RS) present in a              person of ordinary skill with
   formulation sample after the             reasonable certainty of what
   sample was maintained at 25°C            is claimed. If impurity A is
   and 60% humidity for 6 months            construed to mean USP
                                            Diclofenac Related Compound A
                                            RS, then the remainder of the
                                            term should be given its plain
                                            and ordinary meaning.

  Court’s construction:       indefinite as to the identity of
  “impurity A”




                                     APPX7
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          Horizon’s construction seeks to equate the claim term

  “impurity A” with USP Diclofenac Related Compound A RS (“USP

  Compound A”). 4    Horizon acknowledges that no reference to USP

  Compound A exists in the intrinsic evidence, but relies on the

  fact that a POSA would know that “impurity A” would refer to USP

  Compound A.    Actavis submits that the language of the

  specification and absence of testing information within the

  specification make the identity of “impurity A” impossible to

  know.    Actavis also argues that even if “impurity A” is

  knowable, the verb “produces” mandates an assessment of the

  amount of “impurity A” before storage to determine a baseline

  amount to compare against the amount of “impurity A” after the

  six month storage period to calculate what was “produced” during

  the storage period, as opposed to what was present as a result

  of the synthesis of diclofenac sodium.

          Looking to the specification, as mentioned, USP Compound A

  is never mentioned.       Horizon’s position is that because the

  relevant pharmacopoeias at the time -- the U.S. Pharmacopoeia

  (“USP”), the European Pharmacopoeia (“Ph. Eur.”), and the




  4 The chemical name for this compound is either N-(2,6-
  dichlorophenyl)indolin-2-one (see USP (26th ed. 2003) at 1975
  (Pl.’s Ex. 16); USP (24th ed. 2000) at 1786 (Pl.’s Ex. 17)) or
  1-(2,6-dichlorophenyl)-1,3-dihydro-2H-indol-2-one (see Ph. Eur.
  (5th ed. 2004) at 1420 (Pl.’s Ex. 18); Ph. Eur. (6th ed. 2005)
  at 1687 (Pl.’s Ex. 19)). The literature references referred to
  by both experts refer to USP Compound A by both names.


                                     APPX8
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  British Pharmacopoeia (“BP”) -- identify five degradants for

  sodium diclofenac by letters (e.g., A, B, C), a POSA would know

  that “impurity A” meant the first impurity for sodium

  diclofenac, which is disclosed in the USP as USP Compound A.

  Actavis does not appear to disagree that this is a possibility,

  but it argues that without any further identifying information

  given about “impurity A,” it would be impossible for a POSA to

  know what “impurity A” is.

         The only identity information provided for “impurity A” in

  the specification are retention times derived from a high

  performance liquid chromatography (“HPLC”) characterization.

  However, the specification merely says “the samples were tested

  for impurities by high performance liquid chromatography

  (HPLC).”   ’838 Patent at 23:50–52.       The specification provides

  no additional information about the conditions under which the

  HPLC experiment were undertaken -- most notably, details

  regarding the column, the mobile phase, and the flow rate are

  not given.    (See Marvin C. McMaster, HPLC:        A Practical User’s

  Guide 53–56 (2d ed. 2007).)

         Actavis’ expert explains that the disclosure is

  insufficient for a POSA to replicate and understand the HPLC

  results to identify “impurity A.”       (Michniak-Kohn Decl. ¶¶ 52–

  54.)   Dr. Kohn also explains that the specification fails to

  inform a POSA whether “impurity A” is produced as a result of



                                    APPX9
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  the diclofenac, or as a result of any of the other excipients in

  the formulation.     (Id. ¶ 51.)    Horizon’s expert responds that

  the literature available at the time would demonstrate that

  “impurity A” was USP Compound A.         (Walters Resp. Decl. ¶ 16–20.)

          Dr. Walters assumes that the HPLC experiment was carried

  out using a pharmacopoeia chromatographic system (see Walters

  Resp. Decl. ¶ 16), but the specification does not support this

  position.    The word “pharmacopoeia” appears nowhere in the ’838

  Patent, and Dr. Walters has not explained why a POSA would know

  that the HPLC tests described in the ’838 Patent were undertaken

  using a pharmacopoeia chromatographic system.           Looking to the

  pharmacopoeia excerpts submitting by Horizon, they do not

  comport with the HPLC characterization data disclosed in the

  specification.     Both editions of the Ph. Eur. and the USP

  provide detailed descriptions of a reference solution, the

  mobile phase, the flow rate, and details about the column.               (See

  Ph. Eur. (6th ed. 2005) at 1686–87; Ph. Eur. (5th ed. 2004) at

  1421; USP (26th ed. 2003) at 595–96; USP (24th ed. 2000) at

  546.)    Further, even assuming that the HPLC experiment in the

  ’838 Patent was undertaken using pharmacopoeia chromatographic

  systems, the relative retention times disclosed in the

  specification only comport with the characterization of

  diclofenac given in the USP (0.6 for USP Compound A and 1.0 for




                                     APPX10
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  diclofenac), 5 and do not comport with the information given in

  the Ph. Eur. (0.48 for USP Compound A and 1.0 for diclofenac). 6

  The specification provides no guidance as to which of the

  proposed pharmacopoeia chromatographic systems a POSA could use

  to evaluate the identity of “impurity A.”

        Further, in neither of the literature references relied

  upon by Dr. Walters that he asserts use pharmacopoeia

  chromatographic systems does the reference omit the details of

  the HPLC experiment (see Roy (2001) at ACT-PENN0014822

  (explicitly relying on the BP for the HPLC conditions while

  still explaining in detail the conditions used); Hajkova (2002)

  at HZNPENN_00071424 (explicitly relying on the USP for baseline

  HPLC conditions while also disclosing conditions for a newly

  described HPLC experimental setup)) or identify USP Compound A

  by anything other than its actual chemical formula and/or

  structure (see Roy (2001) at ACT-PENN0014821 (“a stable

  intermediate, 1-(2,6-dichlorophenyl)indolin-2-one, which is

  commonly known as the indolinone derivative”); Hajkova (2002) at




  5 This corresponds to 6.6 minutes for “impurity A” and 11 minutes
  for diclofenac as disclosed in the specification.

  6 This would correspond to either an elution of “impurity A” at
  5.28 minutes if diclofenac eluted at 11 minutes as disclosed, or
  an elution of diclofenac at 13.75 minutes if “impurity A” eluted
  at 6.6 minutes as disclosed.


                                    APPX11
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  HZNPENN_00071423 (“The main impurity, 1-(2,6-

  dichorophenyl)indolin-2-one (DPI, Fig. 1) . . . .”)).

        The identity of “impurity A” as claimed in claim 4 of the

  ’913 Patent is unknowable to a reasonable certainty to a POSA.

  Accordingly, “impurity A” is indefinite.              The Court need not

  reach the issue of whether “produces” requires an assessment of

  the amount if “impurity A” before storage to provide a baseline

  to compare against the amount of “impurity A” after the six

  month storage period.

        B.     “the formulation degrades by less than 1% over 6
               months”

   Horizon’s Proposed                       Defendants’ Proposed
   Construction                             Construction
   Less than 1% of Impurity A               This term is indefinite
   (USP Diclofenac Related                  because it does not inform a
   Compound A RS) present in a              person of ordinary skill with
   formulation sample after the             reasonable certainty of what
   sample was maintained at 25°C            is claimed. If construed, the
   and 60% humidity for 6 months            term should be given its plain
                                            and ordinary meaning.

  Court’s construction:       indefinite

        Horizon seeks to do two things in their construction:

  (1) explain storage conditions by relying on Example 6 of the

  specification; and (2) explain what it means if something

  “degrades” by using “impurity A” from Example 6.               Actavis

  responds that this is improper importation of limitations from

  the specification into the claims, and that even if this were

  permissible, the specification provides multiple methods of




                                    APPX12
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  storage without specifying when one is proper, making the terms

  indefinite.

        Having already concluded that the identity of “impurity A”

  is indefinite, this term must also be indefinite.           No other

  explanation for how to identify the means of degradation is

  provided.    Even if the Court were to try to identify another way

  to evaluate degradation, the specification does not provide

  guidance.    The specification refers to stability and degradation

  as two sides of the same coin, a point which Horizon also made

  during the hearing.      (See Hr’g Tr. at 45:22–46:1.)        However,

  stability is referred to as a catch all for a number of things,

  especially in Example 3 when the gels “remain stable for at

  least six months demonstrating:         no phase separation, negligible

  shift in pH, and low amounts of degradation products (<0.04%).”

  ’838 Patent at 16:39–41; see also id. at 12:56–58 (referring to

  discoloration and phase separation in the context of stability),

  20:37–64 (referring to appearance for stability), 23:30–24:32

  (referring to production of “impurity A” for stability).             For

  purposes of claim construction, it is presumed that claim terms

  are used consistently throughout a patent.           Phillips, 415 F.3d

  at 1314.    Thus, it is unclear when “stability” and therefore

  “degradation” is referring to production of “impurity A,” or

  something else, such as appearance, phase separation, and/or pH

  shift.



                                    APPX13
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         Thus, no matter how the Court tries to interpret the term,

  the result is indefiniteness.         Either degradation is equated

  with “impurity A”, which has already been deemed indefinite, or

  the Court is presented with multiple methods for how to evaluate

  stability -- and accordingly how to evaluate degradation --

  without further guidance, rendering the term indefinite.

         The Court need not reach the issue of whether Horizon’s

  proposed construction would impermissibly import limitations

  from the specification with respect to storage conditions.

         C.     “consisting essentially of”

   Horizon’s Proposed                        Defendants’ Proposed
   Construction                              Construction
   Legal issue – no construction             Comprising; if interpreted
   needed in Markman phase; also,            otherwise, the claims are
   meaning cannot be ascertained             invalid as indefinite and/or
   in the absence of proper                  lacking adequate written
   context                                   description under 35 U.S.C.
                                             § 112

  Court’s construction:        indefinite due to indefiniteness of the

  basic and novel properties of the invention

                1.    “Consisting Essentially Of” and the “Basic and
                      Novel Properties” Require Construction

         “Consisting essentially of” is a transitional phrase that

  has a well-established legal meaning in Federal Circuit case

  law.   “By using the term ‘consisting essentially of,’ the

  drafter signals that the invention necessarily includes the

  listed ingredients and is open to unlisted ingredients that do

  not materially affect the basic and novel properties of the



                                      APPX14
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  invention.”    PPG Indus. v. Guardian Indus. Corp., 156 F.3d 1351,

  1354 (Fed. Cir. 1998).      This presents a middle ground between

  the open-ended “comprising” that does not exclude any unrecited

  claim elements and the closed “consisting of” that excludes any

  elements not explicitly recited in the claim.          AK Steel Corp. v.

  Sollac & Ugine, 344 F.3d 1234, 1239 (Fed. Cir. 2003).

        When asked to construe this term, courts have generally

  declined to construe the term, or declined to provide any

  further construction beyond the well-established legal meaning

  of the term.     See, e.g., Depomed, Inc. v. Sun Pharma Global FZE,

  Civ. No. 11-3553 (JAP), 2012 WL 3201692, at *13 (D.N.J. Aug. 3,

  2012); Biovail Labs. Int’l SRL v. Abrika, LLLP, No. 04-61704,

  2006 WL 6111777, at * 18 (S.D. Fla. Aug. 24, 2006); Classified

  Cosmetics, Inc. v. Del Labs., Inc., No. 03-4818, 2004 WL

  5645578, at *5 (C.D. Cal. June 14, 2004).

        When, however, the “basic and novel properties” themselves

  are in dispute, courts have construed the term in order to

  define the “basic and novel properties” to delineate what must

  be shown for the purposes of infringement or invalidity.            See,

  e.g., AK Steel, 344 F.3d at 1239–40 (determining the basic and

  novel property of the invention by referring to the

  specification); L’Oreal S.A. v. Johnson & Johnson Consumer Cos.,

  Inc., No. 12-98-GMS, Docket Item 183, slip op. at 1 n.2 (D. Del.

  Nov. 5, 2014) (“As with claim construction, the court determines



                                    APPX15
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  the basic and novel properties of an invention as a matter of

  law, while resorting to the same sources of evidence used for

  claim construction.”); Trs. of Boston Univ. v. Everlight Elecs.

  Co., Ltd., 23 F. Supp. 3d 50, 63–65 (D. Mass. 2014) (noting that

  “[t]he caselaw is somewhat unclear as to how to determine the

  ‘basic and novel properties’ of an invention” and that “[t]his

  is a turgid, difficult nook of patent law”); Momentus Golf, Inc.

  v. Swingrite Golf Corp., 312 F. Supp. 2d 1134, 1144 (S.D. Iowa

  2004) (identifying “[t]he novel property” of the claimed

  invention in construing “consisting essentially of”), rev’d, 187

  F. App’x 981 (Fed. Cir. 2006) (reversing judgment of

  noninfringement for misconstruing what would materially alter

  the basic and novel property); Kim v. Conagra Foods, Inc., No.

  01-2467, 2003 WL 2122266, at *8 (N.D. Ill. May 23, 2003)

  (identifying “the novel property of the claimed invention” in

  discussing claim construction); General Elec. Co. v. Hoechst

  Celanese Corp., 698 F. Supp. 1181, 1187 (D. Del. 1988) (holding

  that “the determination of the basic and novel characteristic of

  [the asserted patent] is part of determining the scope of the

  claim” and then declining to do so due to a disputed issue of

  fact under pre-Markman case law).        It further appears that where

  the parties can agree on the basic and novel properties, then

  the issue of what materially affects those properties is not

  raised until the infringement and invalidity analyses.            See,



                                    APPX16
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  e.g., PPG Indus., 156 F.3d at 1354 (“[The parties] agreed that

  the basic and novel characteristics of the glass are color,

  composition, and light transmittance.”).

        Based on the weight of authority, the Court will construe

  “consisting essentially of” in accordance with the well-

  established legal meaning, “consisting of only the specified

  materials and those that do not materially affect the basic and

  novel properties of the claimed invention.”          Because the parties

  dispute what those basic and novel properties or characteristics

  are, the Court will go on to identify them. 7


              2.    Nautilus Applies to the “Basic and Novel
                    Properties”

        A major dispute between the parties is whether the Nautilus

  standard applies to the determination of the “basic and novel

  properties.”     The parties agree that no court has yet to apply

  the Nautilus standard for indefiniteness to this issue, and the

  Court has been unable to identify any.         Accordingly, this is an

  issue of first impression.       Horizon submits that because

  Nautilus applies only to the bounds of claims that it should not

  be read so broadly as to apply to the basic and novel properties

  in construing “consisting essentially of.”           Actavis counters

  that because the basic and novel properties are part of defining



  7 The Court will not address the timing issues variously raised
  by the parties about the basic and novel properties.


                                    APPX17
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  the scope of the claim, Nautilus should apply to them as well.

  The Court agrees with Actavis that the basic and novel

  properties are part of the scope of the claim, and as such are

  part and parcel of the claims.

          As a primary matter, the Federal Circuit has found that the

  definiteness requirement of 35 U.S.C. § 112, ¶ 2 applies to a

  “consisting essentially of” claim.        See PPG Indus., 156 F.3d at

  1354–55.    For example, in PPG Industries, PPG held a patent for

  tinted glass used in automobiles, and filed an infringement

  action against Guardian, claiming that Guardian’s glass product

  infringed PPG’s patent.      At the Markman phase, the district

  court was tasked with construing the following claim term:               “A

  green tinted, ultraviolet absorbing glass having a base glass

  composition consisting essentially of: [various specific

  ingredients] and a colorant portion consisting essentially of:

  [various specific ingredients].”         Id. at 1352.    The parties

  agreed that that the basic and novel characteristics of PPG’s

  glass were color, composition, and light transmittance.             Id. at

  1354.    Guardian argued that its glass contained iron sulfide, an

  ingredient not listed in PPG’s patent, as a colorant, and it

  therefore did not infringe.       Id. at 1353.

          PPG argued that the district court was required to

  determine as a part of claim construction whether iron sulfide

  could have a material effect on the basic and novel



                                    APPX18
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  characteristics of the claimed glass.         Id. at 1354.    If iron

  sulfide did not materially affect PPG’s patented glass product,

  then Guardian’s glass could be found to be infringing.            The

  Federal Circuit affirmed the district court, which left the

  material-effect determination for the jury.          The Federal Circuit

  explained,

        Claims are often drafted using terminology that is not as
        precise or specific as it might be. As long as the result
        complies with the statutory requirement to “particularly
        point[ ] out and distinctly claim[ ] the subject matter
        which the applicant regards as his invention,” 35 U.S.C. §
        112, para. 2, that practice is permissible. That does not
        mean, however, that a court, under the rubric of claim
        construction, may give a claim whatever additional
        precision or specificity is necessary to facilitate a
        comparison between the claim and the accused product.
        Rather, after the court has defined the claim with whatever
        specificity and precision is warranted by the language of
        the claim and the evidence bearing on the proper
        construction, the task of determining whether the construed
        claim reads on the accused product is for the finder of
        fact.

  Id. at 1355.     The Federal Circuit emphasized that PPG’s patent

  “contained some inherent imprecision resulting from the use of

  the term ‘consisting essentially of.’”         Id.   It also emphasized

  that “PPG was entitled to provide its own definition for the

  terms used in its patent claim, including the transition phrase

  ‘consisting essentially of,’” and that “PPG could have defined

  the scope of the phrase ‘consisting essentially of’ for purposes

  of its patent by making clear in its specification what it

  regarded as constituting a material change in the basic and




                                    APPX19
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  novel characteristics of the invention.”         Id.    The Federal

  Circuit found that because PPG failed to do so at the claim

  construction phase, whether the iron sulfide present in

  Guardian’s glass materially affected the basic and novel

  properties of PPG’s glass was for a jury to decide.             Id.

        The PPG Industries case affirms that claims containing the

  phrase “consisting essentially of” must meet the definiteness

  requirement of 35 U.S.C. § 112, ¶ 2, but the case also

  recognizes that the phrase itself is imprecise.            In order to

  assess the definiteness of a patent claim that contains an

  imprecise phrase, the construction of the term “consisting

  essentially of” can be separated into two categories: (1) the

  specific listed ingredients or steps, and (2) the unlisted

  ingredients or steps that do not materially affect the basic and

  novel properties of the invention.        At the claim construction

  phase, a court may construe the second category of a “consisting

  essentially of” claim term as long as the patent holder shows,

  through the specification and prosecution history, that a person

  skilled in the art would know that a particular unlisted

  ingredient could materially affect the basic and novel

  properties of the patent.       If the patent holder fails to do so,

  a jury must determine whether an unlisted ingredient or step

  materially affects the basic and novel properties of the

  invention.


                                    APPX20
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        The lesson to be applied to this case, therefore, is that a

  court’s assessment of the basic and novel properties may be

  performed at the claim construction phase because under certain

  circumstances the basic and novel properties of an invention are

  part of the construction of a claim containing the phrase

  “consisting essentially of.”

        The Supreme Court’s decision in Nautilus simply reaffirms

  the long-established requirement that a patent’s claims must be

  definite.    The Supreme Court issued such a decision to make

  clear that centuries-old precedent applying the definiteness

  requirement of 35 U.S.C. § 112, ¶ 2, is still the standard

  today.    See Nautilus, 134 S. Ct. at 2124, 2130 (finding that the

  current terminology “can leave the courts and the patent bar at

  sea without a reliable compass”).        The Supreme Court directed,

  “In place of the ‘insolubly ambiguous’ standard, we hold that a

  patent is invalid for indefiniteness if its claims, read in

  light of the specification delineating the patent, and the

  prosecution history, fail to inform, with reasonable certainty,

  those skilled in the art about the scope of the invention.”              Id.

        Through this direction, the Supreme Court recognized the

  delicate balance between the inherent limitations of language

  and the need for language precise enough to afford clear notice

  of what is claimed in order to avoid a zone of uncertainty for

  inventors.    Id. at 2129.    Indeed, the Supreme Court observed


                                    APPX21
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  that “absent a meaningful definiteness check . . . patent

  applicants face powerful incentives to inject ambiguity into

  their claims,” and that “[e]liminating that temptation is in

  order.”    Id. (citations omitted).      The Supreme Court noted that

  the “patent drafter is in the best position to resolve the

  ambiguity in patent claims.”       Id. (citation omitted).

        After setting forth the redefined standard for assessing

  definiteness under 35 U.S.C. § 112, ¶ 2, the Supreme Court

  remanded the case to the Federal Circuit so that it could apply

  the standard to the claim at issue:        a heart rate monitor that

  “‘comprise[s],’ among other elements, an ‘elongate member’

  (cylindrical bar) with a display device; ‘electronic circuitry

  including a difference amplifier’; and, on each half of the

  cylindrical bar, a live electrode and a common electrode

  ‘mounted ... in spaced relationship with each other.’             Id. at

  2126 (noting that parties presented differing views on the

  definiteness of the term “spaced relationship”).

        The Nautilus decision replaced the Federal Circuit’s

  amorphous standard for assessing whether a claim is indefinite

  with a standard that will allow only claims that meet the

  statutory definiteness requirement to stand.          Because the basic

  and novel properties of an invention are part of the

  construction of a claim containing the phrase “consisting

  essentially of,” the Nautilus standard applies to the assessment



                                    APPX22
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  of an invention’s basic and novel properties.          Accordingly, the

  construction of the basic and novel properties is governed by 35

  U.S.C. § 112, ¶ 2 and the accompanying analysis from Nautilus.


              3.    The Basic and Novel Properties of the Claimed
                    Invention Are Indefinite

        Horizon has identified five basic and novel properties for

  the claimed invention, relying on the specification of the ’828

  Patent:    (1) better drying time; (2) higher viscosity; (3)

  increased transdermal flux; (4) greater pharmacokinetic

  absorption; and (5) favorable stability.         ’838 Patent at 4:24–

  35, 9:1–10:47.     Actavis argues that these are not identified as

  the basic and novel properties in the specification, and that

  these comparative terms do not provide the “reasonable

  certainty” required by Nautilus.

        Relying on the canons of claim construction, the Court

  agrees with Horizon that the specification does identify these

  five properties as the “Characteristics of the Gel Formulation.”

  ’838 Patent at 9:1–10:47.       Further, these characteristics are

  identified early on in the summary of the invention as being the

  characteristics that demonstrate improvement over the prior art.

  ’838 Patent at 4:23–35.      This is sufficient to identify these as

  the basic and novel properties of the claimed invention.             See




                                    APPX23
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  L’Oreal, slip op. at 1 n.2 (identifying basic and novel

  properties even when not clearly titled as such). 8

        The focus now shifts to Actavis’ position that the

  identified basic and novel properties are indefinite under 35

  U.S.C. § 112, ¶ 2.       Actavis argues that these generic

  comparative terms are too imprecise to be definite.            As an

  exemplar of their argument, Actavis points to the first

  identified basic and novel property -- better drying time. 9

        In the section of the specification that identifies the

  basic and novel properties, under the subheading for “Drying

  Time,” the specification explains that “[r]elative to previously

  disclosed [liquid] compositions . . . the compositions of the

  invention dry quicker . . . . The drying time difference is

  evident when equal amounts of the two products are tested on

  opposite limbs.     Within thirty (30) minutes the compositions of

  the invention are almost completely dry whereas a significant

  amount of the previously described liquid formulation remains.”




  8 Even if the Court were to accept Actavis’ invitation to
  extrapolate out the requirements of means-plus-function claiming
  under 35 U.S.C. § 112, ¶ 6 to require a clear identification,
  which it does not do so, the ’838 Patent would accomplish this.

  9 The parties briefed the definiteness of the claim term “a
  greater drying rate” in their opening Markman briefs and
  submitted expert declarations on the issue. Subsequently,
  Horizon dropped claims including this term, and the issue was
  not briefed again in responsive Markman briefs or in responsive
  expert declarations.


                                    APPX24
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  ’838 Patent at 10:5–21.      No data is ever provided in the

  specification for this on-limb testing.         This section of the

  specification then discusses how to test for drying time more

  quantitatively and refers to data from an example later in the

  specification.     See ’838 Patent at 10:22–30. 10

        Turning to Example 5 and Table 12 which discuss drying

  time, there is an apparent problem in the assertion from earlier

  in the specification that the claimed invention would be drier

  within thirty minutes.      Example 5 is conducted using the “more

  quantitative[ ]” method, wherein the formulations are spread on

  a plate and weighed at various time intervals, with “dryness”

  being determined by the percentage of weight remaining on the

  plate.    See ’838 Patent at 21:38–22:49.       Example 5 discusses

  three different gel compositions, all of which are embodiments

  of the claimed invention of the ’838 Patent.          See id.    Of the

  three gel compositions, only two of the described compositions

  are “drier” than the prior art liquid comparative at thirty


  10The specification refers to Table 11 and Figure 10. ’838
  Patent at 10:29–30. However, these contain transdermal flux
  data and not weight and drying time, whereas Table 12 and Figure
  11 contain the weight and drying time data. Accordingly, the
  Court finds this is a typographical error and one a POSA
  reviewing the ’838 Patent would readily understand to look to
  Table 12 and Figure 11 rather than Table 11 and Figure 10. Cf.
  Lucent Techs., Inc. v. Gateway, Inc., 525 F.3d 1200, 1215 & n.8
  (Fed. Cir. 2008) (permitting courts to redraft claim language
  “when there is an obvious administrative or typographical error
  not subject to reasonable debate”) (citing Hoffer v. Microsoft
  Corp., 405 F.3d 1326, 1331 (Fed. Cir. 2005)).


                                    APPX25
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  minutes.    ’838 Patent at Table 12.       The third formulation shows

  100% of the weight remaining at thirty minutes as compared to

  the prior art liquid comparative which shows 95.6% of its weight

  remaining.    Id.   Only at four hours does the third formulation

  begin to show that it is drier than the prior art liquid

  comparative (86.8% vs. 93%).        Id.

        The contradictions specifically within Example 5 are even

  more problematic.        Example 5 claims that “even within the first

  five minutes, the three gel formulations displayed more rapid

  drying than the liquid formulation.”         ’838 Patent at 21:63–65.

  This is simply not supported by the data, which shows that at

  five minutes the third formulation had 100.3% of its weight

  present as compared to 98.1% of the prior art liquid

  comparative.     ’838 Patent at Table 12.

        In short, the specification describes two different methods

  for evaluating “better drying time,” and the two methods do not

  provide consistent results at consistent times.            Further, the

  claimed results are not seen across all formulations of the

  claimed invention, and when “dryness” is evaluated at any time

  shorter than four hours, not all formulations of the claimed

  invention actually exhibit “better drying time.”            Horizon’s

  expert urges the Court to only evaluate the drying rate at the

  twenty-four hour mark.       (See Walters Opening Decl. ¶¶ 89–96.)

  However, Dr. Walters’ reasoning does not comport with the plain



                                     APPX26
            Case: 17-2149   Document: 36   Page: 114   Filed: 08/16/2017

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  language of the specification, as explained.          Even considering

  his references to the prosecution history, these still do not

  provide any clarity on the appropriate time frame under which to

  evaluate the drying rate.       (See id. ¶ 92; Walters Ex. P.)           More

  persuasive is Dr. Kohn’s reasoning that a POSA would not know

  under what standard to evaluate the drying rate of the claimed

  invention.     (See Michniak-Kohn Decl. ¶¶ 23–31.)

          The result is that the “better drying rate” basic and novel

  property is indefinite.      If a POSA reading the patent would

  understand the five principles identified by Horizon to be the

  basic and novel properties of the claimed invention, then once

  one of them is indefinite, they all become problematic.             As

  stated, the purpose of the requirement of 35 U.S.C. § 112, ¶ 2

  is to “inform those skilled in the art about the scope of the

  invention with reasonable certainty.”         Nautilus, 134 S. Ct. at

  2129.    Once one property does not have “reasonable certainty,”

  it follows that the group of properties itself does not have the

  requisite “reasonable certainty.”        Consequently, the term

  “consisting essentially of” must be construed as indefinite due

  to the inability for a POSA to have “reasonable certainty” about

  what the basic and novel properties of the invention are, and

  thus the POSA would lack “reasonable certainty” about whether an

  additional ingredient would materially alter the basic and novel

  properties of the claimed invention.



                                    APPX27
           Case: 17-2149   Document: 36   Page: 115   Filed: 08/16/2017

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  III. CONCLUSION

        For the foregoing reasons, the disputed terms are all held

  to be indefinite under 35 U.S.C. § 112, ¶ 2.




  Date:   August 17, 2016                    s/ Noel L. Hillman
  At Camden, New Jersey                    NOEL L. HILLMAN, U.S.D.J.




                                    APPX28
 Case: 17-2149    Document: 36    Page: 116   Filed: 08/16/2017




                      Addendum 2

August 17, 2016 Order, Horizon Pharma Ireland Limited, et al. v.
                Actavis Laboratories, UT, Inc.,
                     14-cv-7992 (D.N.J.)

                           A29-A30
           Case: 17-2149   Document: 36   Page: 117   Filed: 08/16/2017

Case 1:14-cv-07992-NLH-AMD Document 189 Filed 08/17/16 Page 1 of 2 PageID: 5465



                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

     HORIZON PHARMA IRELAND
     LIMITED, et al.,                      Civil No. 14-7992 (NLH/AMD)

                    Plaintiffs,
                                           ORDER
           v.

     ACTAVIS LABORATORIES, UT,
     INC., et al.,

                    Defendants.



       For the reasons expressed in the Court’s Opinion filed

 today,

       IT IS on this       17th      day of     August       , 2016

       ORDERED that the Court’s construction of the disputed claim

 terms in U.S. Patent Nos. 8,252,838 (“the ’838 patent”),

 8,563,613 (“the ’613 patent”), 8,871,809 (“the ’809 patent”),

 9,066,913 (“the ’913 patent”), 9,101,591 (“the ’591 patent”),

 8,546,450 (“the ’450 patent”), 8,217,078 (“the ’078 patent”),

 8,618,164 (“the ’164 patent”) and 9,132,110 (“the ’110 patent”)

 is as follows:

          1. “the topical formulation produces less than 0.1%
             impurity A after 6 months at 25°C and 60% humidity” is
             indefinite as to the identity of “impurity A”

          2. “the formulation degrades by less than 1% over 6
             months” is indefinite

          3. “consisting essentially of” is indefinite due to
             indefiniteness of the basic and novel properties of

                                   APPX29
          Case: 17-2149   Document: 36   Page: 118   Filed: 08/16/2017

Case 1:14-cv-07992-NLH-AMD Document 189 Filed 08/17/16 Page 2 of 2 PageID: 5466



             the invention.


                                            s/ Noel L. Hillman
 At Camden, New Jersey                    NOEL L. HILLMAN, U.S.D.J.




                                   APPX30
  Case: 17-2149    Document: 36    Page: 119   Filed: 08/16/2017




                       Addendum 3

January 6, 2017 Opinion, Horizon Pharma Ireland Limited, et al. v.
                 Actavis Laboratories, UT, Inc.,
                      14-cv-7992 (D.N.J.)

                            A31-A39
           Case: 17-2149   Document: 36   Page: 120   Filed: 08/16/2017

Case 1:14-cv-07992-NLH-AMD Document 234 Filed 01/06/17 Page 1 of 9 PageID: 6484



                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


     HORIZON PHARMA IRELAND                Civil No. 14-7992 (NLH/AMD)
     LIMITED, et al.,

                    Plaintiffs,            OPINION

           v.

     ACTAVIS LABORATORIES, UT,
     INC., et al.,

                    Defendants.


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                                   APPX31
          Case: 17-2149   Document: 36     Page: 121   Filed: 08/16/2017

Case 1:14-cv-07992-NLH-AMD Document 234 Filed 01/06/17 Page 2 of 9 PageID: 6485



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 HILLMAN, District Judge

       Before the Court is the motion of Plaintiff Horizon

 (Horizon Pharma Ireland Limited, HZNP Limited and Horizon Pharma

 USA, Inc.) for reconsideration (Docket No. 192) of the Court’s

 August 17, 2016 Markman Opinion (Docket No. 188).            Horizon is

 the current owner and assignee of the patents-in-issue and of

 the PENNSAID® 2% New Drug Application, which is the first FDA-

 approved twice-daily topical diclofenac sodium formulation for

 the treatment of the pain of osteoarthritis of the knees.

       Horizon has filed several Hatch-Waxman actions alleging

 patent infringement against generic companies seeking to market

 copies of Horizon’s PENNSAID® 2% formulation prior to the

 expiration of Horizon’s patents, and this particular action

 concerns Horizon’s claims against Actavis Laboratories UT, Inc.




                                       2
                                   APPX32
            Case: 17-2149   Document: 36   Page: 122   Filed: 08/16/2017

Case 1:14-cv-07992-NLH-AMD Document 234 Filed 01/06/17 Page 3 of 9 PageID: 6486



 (“Actavis”). 1     Horizon brought this action 2 in response to

 Actavis’ assertion that the generic copy of PENNSAID® 2%

 described in Actavis’ Abbreviated New Drug Application No.

 207238 (“ANDA”), if approved by the FDA, would not infringe any

 valid and enforceable patent owned by Horizon.

       In the Markman phase of the case, 3        the Court was tasked

 with construing the following terms in the ’838 Patent Family 4:

       A.     “the topical formulation produces less than 0.1%
              impurity A after 6 months at 25°C and 60% humidity”

       B.     “the formulation degrades by less than 1% over 6
              months”

       C.     “consisting essentially of”


 1 Another group of cases filed by Horizon against a generic
 company seeking to market copies of Horizon’s PENNSAID® 2%
 formulation prior to the expiration of Horizon’s patents is
 against Lupin Ltd. and Lupin Pharmaceuticals, Inc. Because the
 Court’s findings in the Actavis actions directly impact the
 claims in the Lupin actions, Lupin filed a brief in opposition
 to Horizon’s motion for reconsideration and appeared at the
 January 4, 2017 hearing on that motion. (See Civil Action No.
 15-3051, Docket No. 137.)
 2 This Court has jurisdiction over the subject matter of this
 action pursuant to 28 U.S.C. §§ 1331, 1338(a), 2201, 2202 and 35
 U.S.C. § 271.
 3
  Claim construction is “an issue for the judge, not the jury.”
 Markman v. Westview Instruments, Inc., 517 U.S. 370, 391 (1996).
 4
  There are nine patents asserted in this matter. Of these, five
 patents - U.S. Patent Nos. 8,252,838; 8,563,613; 8,871,809;
 9,066,913; and 9,101,591 - are part of the “’838 Patent Family”
 and all agreed to have the same specification. The other four
 patents - U.S. Patent Nos. 8,546,450; 8,217,078; 8,618,164; and
 9,132,110 - are part of the “’450 Patent Family” and similarly
 agreed to have the same specification.

                                       3
                                    APPX33
          Case: 17-2149   Document: 36      Page: 123   Filed: 08/16/2017

Case 1:14-cv-07992-NLH-AMD Document 234 Filed 01/06/17 Page 4 of 9 PageID: 6487



       The Court found each of these terms to be indefinite.

 (Docket No. 188 at 12, 14, 27.)           Specially with regard to

 “consisting essentially of,” the Court noted that Horizon

 identified five basic and novel properties for the claimed

 invention: (1) better drying time; (2) higher viscosity; (3)

 increased transdermal flux; (4) greater pharmacokinetic

 absorption; and (5) favorable stability.           (Id. at 23.)      The

 Court found that the basic and novel property of “better drying

 time” was indefinite, which therefore caused the term

 “consisting essentially of” to be indefinite.            (Id. at 27.)

       Horizon has filed the instant motion for reconsideration,

 arguing that the Court erred in two ways:

            The Court did not consider the alleged “indefiniteness”
       on a claim-by-claim basis, but instead broadly held the term
       “consisting essentially of” to be indefinite. When claims
       requiring use of hydroxypropyl cellulose (HPC) as a
       thickening agent are considered as independent inventions,
       those claims should not be found to be indefinite because the
       test results for such inventions are consistent. The only
       evidence of alleged inconsistent testing results was in the
       context of different claimed inventions that require carbopol
       thickening agents; and

             The Court’s finding of indefiniteness is based on
       allegedly “unrebutted” expert testimony that the patent
       discloses two methods for comparing drying rates, which
       provide inconsistent results. However, Horizon’s responsive
       expert evidence on this issue was not presented to the Court
       because of an agreement between the parties to not brief the
       definiteness of “greater drying rate” in Responsive Markman
       briefs.   At the time of the Markman briefing and Markman
       Hearing, Actavis had not sought leave to amend their
       contentions to include the argument that the basic and novel
       properties were themselves indefinite. Indeed, to date, the
       only indefiniteness argument presented with respect to

                                       4
                                   APPX34
          Case: 17-2149   Document: 36     Page: 124   Filed: 08/16/2017

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       “consisting essentially of” in Actavis’ Contentions is that
       a person of ordinary skill (“POSA”) cannot identify the basic
       and novel properties.

 (Docket No. 192-1 at 7.)      Horizon also objects to the Court’s

 application of Nautilus, Inc. v. Biosig Instruments, Inc., 134

 S. Ct. 2120, 2129 (2014) to the analysis of the invention’s

 basic and novel properties.       (Docket No. 192-1 at 10.)

       The Court will grant Horizon’s request that it reconsider

 its Markman decision, but after having fully considered the

 parties’ briefing and oral argument, the Court stands by its

 prior findings. 5

       With regard to Horizon’s argument that it was precluded

 from fully presenting its evidence to support its construction


 5
  A motion for reconsideration may be treated as a motion to
 alter or amend judgment under Fed. R. Civ. P. 59(e), or as a
 motion for relief from judgment or order under Fed. R. Civ. P.
 60(b), or it may be filed pursuant to Local Civil Rule 7.1(i).
 The purpose of a motion for reconsideration “is to correct
 manifest errors of law or fact or to present newly discovered
 evidence.” Max's Seafood Cafe ex rel. Lou–Ann, Inc. v.
 Quinteros, 176 F.3d 669, 677 (3d Cir. 1999). A judgment may be
 altered or amended only if the party seeking reconsideration
 shows: (1) an intervening change in the controlling law; (2) the
 availability of new evidence that was not available when the
 court granted the motion for summary judgment; or (3) the need
 to correct a clear error of law or fact or to prevent manifest
 injustice. Id. A motion for reconsideration may not be used to
 re-litigate old matters or argue new matters that could have
 been raised before the original decision was reached, P.
 Schoenfeld Asset Mgmt., L.L.C. v. Cendant Corp., 161 F.Supp.2d
 349, 352 (D.N.J. 2001), and mere disagreement with the Court
 will not suffice to show that the Court overlooked relevant
 facts or controlling law, United States v. Compaction Sys.
 Corp., 88 F.Supp.2d 339, 345 (D.N.J. 1999).

                                       5
                                   APPX35
          Case: 17-2149   Document: 36     Page: 125   Filed: 08/16/2017

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 of the term “better drying time,” the Court does not agree.               The

 timeline of events, detailed by Actavis in its presentation at

 the January 4, 2017 hearing, demonstrates that Horizon had ample

 notice of Actavis’s indefiniteness challenge to “better drying

 time,” and several opportunities – including during the two

 Markman hearings on March 2, 2016 and June 7, 2016, the

 supplemental briefing in between, and during the ten weeks after

 the second Markman hearing and the issuance of the Court’s

 Markman Opinion on August 17, 2016 – to voice its concerns about

 presenting all of its evidence to support its construction of

 “better drying time.”

       Similarly, Horizon chose to present its position on the

 `838 Patent Family as a whole, and has only raised the request

 that each claim of every patent should be considered

 individually in its motion for reconsideration.            It is clear

 that Horizon was not “sandbagged” by the course of the claim

 construction process that took place over many months.

       Even considering, however, Horizon’s belated arguments to

 support its construction of “better dying time” and request for

 claim-by-claim construction, the Court comes to the same

 conclusion as detailed in the Markman Opinion.            As the Court

 summed up its analysis, (1) the specification describes two

 different methods for evaluating “better drying time,” and the

 two methods do not provide consistent results at consistent

                                       6
                                   APPX36
          Case: 17-2149   Document: 36     Page: 126   Filed: 08/16/2017

Case 1:14-cv-07992-NLH-AMD Document 234 Filed 01/06/17 Page 7 of 9 PageID: 6490



 times, (2) the claimed results are not seen across all

 formulations of the claimed invention, and when “dryness” is

 evaluated at any time shorter than four hours, not all

 formulations of the claimed invention actually exhibit “better

 drying time,” and (3) Horizon’s expert Dr. Walters’ reasoning

 does not comport with the plain language of the specification,

 and his references to the prosecution history do not provide any

 clarity on the appropriate time frame under which to evaluate

 the drying rate, while Actavis’ expert Dr. Kohn is more

 persuasive that a POSA would not know under what standard to

 evaluate the drying rate of the claimed invention.             (Docket No.

 188 at 26-27.)     Thus, Horizon’s requested relief in its motion

 for reconsideration, even if granted, does not change the

 Court’s conclusion.

       Putting aside the construction of “better drying time,” the

 finding that the term “consisting essentially of” is indefinite

 is also confirmed by the finding that the stability and

 degradation claims are indefinite.         As noted above, one of the

 basic and novel properties of Horizon’s claimed invention is

 “favorable stability.”      The Court did not specifically address

 this term in the context of assessing the definiteness of the

 basic and novel properties, but earlier in the Markman Opinion

 the Court extensively analyzed the terms “the topical

 formulation produces less than 0.1% impurity A after 6 months at

                                       7
                                   APPX37
          Case: 17-2149   Document: 36      Page: 127    Filed: 08/16/2017

Case 1:14-cv-07992-NLH-AMD Document 234 Filed 01/06/17 Page 8 of 9 PageID: 6491



 25°C and 60% humidity” and “the formulation degrades by less

 than 1% over 6 months.”      In construing those terms, the Court

 found that the identity of “impurity A” was unknowable to a

 reasonable certainty to a POSA.           (Docket No 188 at 7-12.)          The

 Court further found that the patent did not provide guidance on

 how to evaluate degradation because it was either equated with

 “impurity A”, which had already been deemed indefinite, or could

 be determined by multiple methods for how to evaluate stability

 without further guidance.       (Id. at 7-13.)         Thus, the Court

 concluded that both terms relating to stability were indefinite. 6

       The finding that the claim terms relating to stability are

 indefinite renders the claim term “consisting essentially of”

 indefinite.    This is because the basic and novel property of

 “favorable stability” is indefinite.          As stated in the Court’s

 Markman Opinion, if a POSA reading the patent would understand

 the five principles identified by Horizon to be the basic and

 novel properties of the claimed invention, then once one of them

 is indefinite, they all become problematic.             (Id. at 27.)        When

 one property does not have “reasonable certainty,” it follows

 that the group of properties itself does not have the requisite

 “reasonable certainty.”      Consequently, the term “consisting




 6
  Horizon has not specifically challenged this finding in its
 motion for reconsideration.

                                       8
                                   APPX38
           Case: 17-2149   Document: 36    Page: 128   Filed: 08/16/2017

Case 1:14-cv-07992-NLH-AMD Document 234 Filed 01/06/17 Page 9 of 9 PageID: 6492



 essentially of” must be construed as indefinite due to the

 inability for a POSA to have “reasonable certainty” about what

 the basic and novel properties of the invention are, and the

 POSA would lack “reasonable certainty” about whether an

 additional ingredient would materially alter the basic and novel

 properties of the claimed invention.         (Id.)    Thus, regardless of

 the Court’s construction of “better drying time,” the

 indefiniteness of the stability terms also warrants the finding

 that “consisting essentially of” is indefinite.

         Finally, with regard to Horizon’s argument that the

 standard for an indefiniteness analysis reiterated by the

 Supreme Court in Nautilis should not be performed as to the

 basic and novel properties, the Court stands by its Markman

 Opinion, which explained why Nautilis should, and does, apply

 here.    (Id. at 17-23.)

         Horizon’s bases for reconsideration were ably briefed and

 argued at the January 4, 2017 hearing, such that Horizon

 persuaded the Court to reconsider its August 17, 2016 Markman

 Opinion.    But after reconsideration, the Court is not persuaded

 to disturb the prior result.

         An appropriate Order will be entered.



 Date:   January 6, 2017                      s/ Noel L. Hillman
 At Camden, New Jersey                     NOEL L. HILLMAN, U.S.D.J.


                                       9
                                   APPX39
       Case: 17-2149    Document: 36   Page: 129   Filed: 08/16/2017




                            Addendum 4

March 16, 2017 Opinion and Order, Horizon Pharma Ireland Limited, et al. v.
                     Actavis Laboratories, UT, Inc.,
                          14-cv-7992 (D.N.J.)

                                A40-A61

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     Case: 17-2149     Document: 36   Page: 130   Filed: 08/16/2017




                     UNITED STATES DI STRI CT COURT
                        DISTRICT OF NEW JERSEY


   HORIZON PHARMA IRELAND
   LIMITED, et al.,                    Civil No. 14-7992 (NLH/AMD)

                Plaintiffs,
                                       OPINION
         v.                            FILED UNDER SEAL

   ACTAVIS LABORATORIES, UT,
   INC . , et al . ,

                De fendants.


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                                APPX40
      Case: 17-2149       Document: 36   Page: 131   Filed: 08/16/2017




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HILLMAN , Di s tri c t Judg e

      This is a Hatch-Waxman Act 1 action that concerns the

Abbreviated New Drug Application No. 207238 ("ANDA") filed by

Defendant, Actavis Laboratories UT, Inc . , for its generic copy

of PENNSAID® 2%.      Plaintiff Horizon (Horizon Pharma Ireland

Limited, HZNP Limited and Horizon Pharma USA, Inc.) is the



1
    Prior to 1984, both name - brand and generic drug manufacturers
    were required to go through the same NDA process . That year,
    Congress passed the Drug Price Competition and Patent Term
    Restoration Act, also known as the Hatch-Waxman Act. The Act
    loosened the approval rules for generics by creating an
    Abbreviated New Drug Application ("ANDA") process. The ANDA
    process permits generic drug companies to rely on a name -
    brand drug company's original NDA approval for a particular
    drug in order to gain quicker, less costly FDA approval of a
    generic version of the drug. By enabling generic
    manufacturers to piggy- back on a brand drug ' s scientific
    studies and the significant costs associated with their NDA,
    Hatch-Waxman speeds the introduction of low- cost generic
    drugs to market, thereby furthering drug competition.

Mylan Pharmaceuticals Inc . v. Warner Chilcott Public Limited
Company, 838 F.3d 421, 427 (3d Cir. 2016) (internal quotations
and citations o mitted) .




                                  APPX41
     Case: 17-2149   Document: 36    Page: 132    Filed: 08/16/2017




current owner and assignee of the patents-in-issue, 2 and of the

PENNSAID® 2% New Drug Application ("NDA").       PENNSAID® 2%

(hereinafter "PENNSAID") is the first FDA-approved twice-daily

topical diclofenac sodium formulation for the treatment of the

pain of osteoarthritis ("OA") of the knees.

     The patents-in-suit fall into two patent famil ies: the '838

formulation patent family and '450 method of treatment patent

family.   The current matter before the Court is Actavis's motion

for summary judgment [245] on Horizon's claims that Actavis's

ANDA product, through its package labeling, will, if placed into

t he market, infringe on t hree patents in the '450 method of

treatment patent family. 3   For the reasons expressed below,


2
 U.S. Patent Nos. 8,252,838 ("the '838 patent"), 8,563,613 ("the
'613 patent"), 8,871,809 ("the '809 patent"), 9,066,913 ("the
'913 patent"), 9,101,591 ("the '591 patent"), 8,546,450 ("the
'450 patent"), 8,217,078 ("the '078 patent"), 8,618,164 ("the
'164 patent") and 9,132,110 ("the '110 patent").
3
 The FDA will not give final approval to produce a generic
version of a drug that is entitled to non-patent exclusivity
under the Hatch-Waxman Act, and it "cannot authorize a generic
drug t hat would infringe a patent." In re Modafinil Antitrust
Litigation, 837 F .3d 238, 243 (3d Cir. 2016) (citation omitted).
Brand manufacturers are required to include the patent number
and expiration date of the patent t hat covers the drug or that
covers a method of using that drug in their NDAs, which are then
published by the FDA in the Orange Book, more formally known as
the Approved Drug Products with Therapeutic Equivalence
Evaluations.   Id. (citations omitted). Once a patent has been
listed in the Orange Book, the generic manufacturer is free to
file an ANDA if it can certify that its proposed generic drug
will not actually violate the brand manufacturer's patents . Id.
(citation omitted). Under 21 U.S.C. § 355(j) (2) (A) (vii), there
are four ways in which a generic manufacturer can make this




                              APPX42
       Case: 17-2149       Document: 36   Page: 133   Filed: 08/16/2017




Actavis's mot ion will be granted.

                                  DISCUSSION

       A.        Subject matter jurisdiction

       This Court has jurisdiction over the subject matter of this

action pursuant to 28 U.S . C. §§ 133 1, 1338(a), 2201, 2202 and 35

u . s.c.    §   271.



certification: (I) that such patent information has not been
filed, (II) that such patent has expired, (III) of the date on
which such patent wi ll expire, or (IV) t hat such patent is
invalid or will not be infringed by the manufacture , use, or
sale of the new drug for which the application is submitted. An
ANDA with a paragraph IV certification may only be filed after
the expiration of the fourth year of the New Chemi ca l Entity
 ("NCE") five-year exclusivity period.       Id . (citing 21 U.S .C . §
355(j) (5) (E) (ii)) . The paragraph IV route automatically counts
as patent infringement.       Id. (citing 35 U.S.C . § 27l(e) (2) (A))
 (quotations and other citations omitted). As a result, thi s
often "means provoking litigation" inst ituted by the brand
manufacturer.      Id . (citation omitted) . If the brand
manu facturer initiates a patent infringement suit, the FDA must
withhold approval of the generic for at least 30 months while
the parties litigate the validity or infringement of the patent;
if the suit has concluded at the end of this 30-month period,
t hen the FDA will follow the outcome of the litigation.        Id .
 (citations omitted).      In response, an ANDA applicant sued for
patent i nfringement may "assert a counterclaim seeking an order
requiring t he [brand) to correct or delete t he patent
information submitted by the [brand) under subsection (b) or (c)
 [of§ 355) on the ground that the patent does not claim either-
" (aa) the drug for which the [brand's NDA) was approved; or
"(bb) an approved method of using the drug." 21 U.S.C. §
355(j) (5) (C) (ii) (I). The counterclaim thus e nables a generic
compet it or to obtain a judgment directing a brand to "correct or
delete" certain patent information that i s blocking the FDA's
approval of a generic product. Caraco Pharmaceutical
Laboratories, Ltd. v. Novo Nordisk A/S , 566 U . S . 399, 408-09
( 2 012)

     This action is a "paragraph IV" case, Actavis has asserted
counterclaims, and the 30-month period expires on May 14, 2017.




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     B.    Summary judgme nt standard

     Summary judgment    i s appropriate where the Court is

satisfied t h at the materia l s in the record, including

deposit i ons, documents, electronical l y stored inf ormation,

a ff idavits or declarations, stipulations, admissions, or

interrogatory answers, demonstrate t hat t h ere is no genuine

issue as to any material fact and that t h e moving party is

entitled to a judgment as a matter of law.         Celotex Corp. v.

Catrett, 477 U.S. 317, 330 ( 1 986); Fed. R. Civ. P. 56(a).

     c.   Analysis

     The '450,    '078, and '110 patents-in-suit are a ll from t he

same method patent f amily and share substantially s i milar

specifications.    Th e particul ar c l aims at i ssu e are : '450

pat ent, claims 1 0 , 11, 1 5, 1 7; '078 patent, claim 14; '110

patent, claims 3, 11, 13.

     Horizon alleges that Actavis's ANDA product woul d

improperly induce i nfringement of its patents i n viol ation of 35

U. S.C. § 271(b), wh ich states,   "Whoever actively i ndu ces

infringement of a patent shall be l i able as an infringer."

Spec i fically, Horizon alleges that t h e FDA-approved use of

PENNSAID and the use sought by Actavi s i s the same use that         is

claimed in Horizon's '450, '078, and '11 0 patents.         Horizon

furt h er claims that Act avis's proposed labeling for its generic

version of PENNSAID constitut es an instruction, encouragement,




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or recommendation to practice t he methods of Horizon's '450,

'078, and '110 patents, and t h e labeling therefore constitutes

i nduced infringement.              Actavis argues that it is entitled to

summary judgment on these allegat ions because Horizon cannot

demonstrate Actavis's specific intent to induce infringement .

Actavis a l so contends that Horizon cannot refute t h at its

labeling does not induce infringement because its c l aimed method

is different from the methods claimed i n Horizon's p atents.

       In order to de termine whether Actavis's labeling induces a

use of its p roduct that infringes on Horizon's method patents,

the Court must first look to the relevant claims in the method

patent s .

'450 patent
     10. A method for applying topical agents to a knee of a patient with pain, said method
     comprising:
 applying a first medication consisting of a topical diclofenac preparation to an area of the
    knee of said patient to treat osteoarthritis of the knee of said patient, wherein the topical
    diclofenac preparation comprises a therapeutically effective amount of a diclofenac salt
    and 40- 50% w/w dimethyl sulfoxide;
  waiting for the treated area to dry;
 subsequently applying a sunscreen, or an insect repellant to said treated area after said treated
    area is dry, wherein said step of applying a first medication does not enhance the
    systemic absorption of the subsequently applied sunscreen, or insect repelJant;
 and wherein said subsequent application occurs during a course of treatment of said patient
    with said topical diclofenac preparation.

'078 patent
     14. A method for applying topical agents to a knee of a patient with pain, said method
     comprising:
 applying a first medication consisting of a topical diclofenac preparation to an area of the
    knee of said patient to treat osteoarthritis of the knee of said patient, wherein the topical




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      diclofenac preparation comprises a therapeutically effective amount of diclofenac and 40-
      50% w/w dimethyl sulfoxide;
  waiting for the treated area to dry; and
 subsequently applying a second medication consisting of a topical medication, which is other
    than said first medication and comprises a corticosteroid, to said treated area after said
    treated area is dry, wherein said subsequent application occurs during a course of
    treatment of said patient with said topical diclofenac preparation.

  '110 patent
   1. A method for applying topical agents to a knee of a patient with pain, the method
   comprising:
    (a) a patient obtaining a topical diclofenac preparation;
(b) the patient being informed to:


         i) apply a first medication consisting of the topical diclofenac preparation to an area
        of the knee of said patient to treat osteoarthritis of the knee of said patient, wherein the
        topical diclofenac preparation comprises a therapeutically effective amount of
        diclofenac, or a pharmaceutically acceptable salt thereof, and 40-50% w/w dimethyl
        sulfoxide;

        ii) wait for the treated area to dry;

        iii) subsequently apply a sunscreen, an insect repellant or a second medication
        consisting of a topical medication, which is other than said first medication, to said
        treated area after said treated area is dry, wherein said subsequent application occurs
        during a course of treatment of said patient with said topical diclofenac preparation,
        and then

(c) the patient carrying-out steps i-iii as informed.

3. The method according to claim 1, wherein said therapeutically effective amount of
diclofenac, or a pharmaceutically acceptable salt thereof, is 2% w/w diclofenac sodium.

10. A method for applying topical agents to a knee of a patient with pain, said method
comprising:
(a) providing a topical diclofenac preparation;

(b) providing information to:
       i) apply a first medication consisting of the topical diclofenac preparation to an area of
        the knee of said patient to treat osteoarthritis of the knee of said patient, wherein the
        topical diclofenac preparation comprises a therapeutically effective amount of
       diclofenac, or a pharmaceutically acceptable salt thereof, and 40-50% w/w dimethyl
       sulfoxide;




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        ii) wait for the treated area to dry;

        iii) subsequently apply a sunscreen, an insect repellant or a second medication
        consisting of a topical medication, which is other than said first medication, to said
        treated area after said treated area is dry, wherein said subsequent application occurs
        during a course of treatment of said patient with said topical diclofenac preparation,
        and then

(c) the patient conducting steps i-iii in accordance with published material.

11. The method according to claim 10, wherein said therapeutically effective amount of
diclofenac is 2% w/w diclofenac sodium.

 12. A method for applying topical agents to a knee of a patient with pain, said method
comprising:

(a) providing a topical diclofenac preparation to the patient;
      (b) informing the patient to:
        i) apply a first medication consisting of the topical diclofenac preparation to an area of
        the knee of said patient to treat osteoarthritis of the knee of said patient, wherein the
        topical diclofenac preparation comprises a therapeutically effective amount of
        diclofenac, or a pharmaceutically acceptable salt thereof, and 40-50% w/w dimethyl
        sulfoxide;

        ii) wait for the treated area to dry;

        iii) subsequently apply a sunscreen, an insect repellant or a second medication
        consisting of a topical medication, which is other than said first medication, to said
        treated area after said treated area is dry, wherein said subsequent application occurs
        during a course of treatment of said patient with said topical diclofenac preparation,
        and then

(c) administering the first medication to the knee conducting steps i-iii in accordance with a
medium providing information.

13. The method according to claim 12, wherein said therapeutically effective amount of
diclofenac is 2% w/w diclofenac sodium.

(Docket No. 246 at 11 . )

       Next, the Cou rt must consider the package labeling.                               Th e

relevant portions of Horizon's labe l provides:




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 ----------------------------INDICATIONS AND USAGE ------------------------
 PENNSAID is a nonst eroidal anti-inflammatory drng indicated for the
 trnatment of the pain of o~tcoartbritis of the knee(s). (1)
----------- ------- DOSAGT:!: ANll _,.\Dl\-UNISTRATION - --------------
 Use the lowest effective dosage for the shortest duration consistent with
 individual patient lN atm~nt goals.
 '111e recommended dose is 2 pump acmations on each painful knee, 2 times a
 day . (2)
  • Apply PENNSAlD, to clean. dry skin. (2.1)
  • Dispense 40 mg (2 pump actuations) directly onto the knee or first into
       the hand and then onto th~ knee. Spread evenly around front. back and
       sides of the lrn~e. (2.1)
  •    \Vash hands contplctely after administering the product. (2.2)
 •   \Vait until the urea is completely dry hdc,re covering with clothing or
     applying sunscreen, insect repellent~ cosmetics, topical medications, or
     other :substances. (2.2)
 •   Until the treated k.nee(s) is completdy dry, avoid skin•to-skin contact
     between other people and the treah:d knee(s). (2.2)
 •   Do not get PENNSAlD in your eyes, nose, or m()uth (2.2).




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      2   DOSAGE AND ADMINISTRATION
      2.1 General Dosing 'Instructions
      Use the lowest cffccthc dosage for the shorlcst durntfot1 consistent ,~ilh individual patient treatment goals [sci! Wamin_g.f
      anJ Preccnr1iti11s (5. .?Ji

      For relief of the pain of osteoar1hritis (OA) of the lmcc(s). the rcconum:ndcd dose is 40 mg of diclofcnac sodium (2 pump
      actu.1tious) on each painful knee, 2 times o day.

      Apply PENNSAID lo clcnn. dry skin.

      The pump must be primed before lirst use. Instruct patients to fully depress the pump mcchanisrn (actuation) 4 t.imes
      "hilc holding lhc boltlc in an uprighl position. This portion should be discarded lO ensure proper priming of !he pump. No
      further priming of the boulc should be required.

      A.Iler the priming procedure, PENNSAID is properly dispensed by c-0mplctcly dcprcssir1g the pump 2 t.imcs to achic\'e the
      pres<:ribed dosage for one knee. Deliver the product din:ctly into the palm of the hand and then apply evenly around front,
      back, aud sides or the knee.

      Application of PEN'NSAID in an amount exceeding or less than t11c recommended do:;c has not been studied ond is
      therefore not reeonm1cndcd,

      2.2 Special PrccautiolJS
            A\'oid showcringibathing for ot least 30 minutes after the application of PENN SAID to 1he treated knee,
            Wash and dry hands alkr use.
            Do not apply PENNSAID to open wounds.
            Awid contact of PENNSAl D with C\'CS and mucous mcmbr:tn\.'S.
            Do not apply cxlcmal heat and/or oc~lusivc dressings 10 lreatcd knees.
            Avoid wearing clothing over lhc PEN NSAID-lrcatcd 1..,icc(s) unti l the lrcatcd knee is dry.
            f>rotccl tl1c treated kncctsl from natural and artificial sunlight
             Woil until the treated area is~' before applying sunscreen, insect repcllant, lotion, moiS1urizcr. cosmetics, or other
            topical medication 10 the same knee you have j ust trcntcd with PENNSAID.
            Until the trcn.ted knec(s) is completely dry, a,·oid skin-to-skin contact bctwcc11 other people and the trcritcd kncc(s).
            Do not use combination thcrnpy with PENNSAID nnd nn oral NSAID unless the benefit outweighs the risk
            and conduct periodic labQratory c, aluations.

(Docket No. 255 at 11-12 . )

     The primary language in dispute is, "Wait until t h e area is

completely dry before covering with clothin~ or applying

sunscreen, insect repellant, cosmetics , topical medications, or

other substances" and "Wait until the treated area is dry before

applying sunscreen, insect repellant, lotion, moisturizer,

cosmetics, or other topi ca l medication to the same knee you h ave

just treated with PENNSAID."

     Federa l law prevents generic drug manufacturers from




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                       &21),'(17,$/0$7(5,$/
                         +$6%((120,77('

changing their labels.      Mutual Pharmaceutical Co., Inc. v.

Bartlett, 133 S. Ct. 2466, 2476 (U.S. 2013)          (21 U.S.C.   §


35S(j) (2) (A) (v)   ("[T]he labeling proposed for the new drug is

the same as the labeling approved for the [approved brand - name )

drug.")   (other citations omi t ted).




      With the patent claims and the product labeling in mind,

the Court must now determine whether Actavis's proposed labeling

would induce a patient4 to infringe on Horizon 1 s patents. s         The



4
  A party being induced to infringe a patent may be, among
others, the patient using the drug, a doctor prescribing the
drug, or a pharmacist who advises a customer on how to use the
drug . For simplicity, the Court will refer to "the patient 11 as
the alleged induced party .
5
  Actavis argues that judgment should be entered in i ts favor
because Horizon has not shown that any acts of infringement have
actually occurred as a result of Actavis's label . Such evidence
would be an impossibility at this time because Actavis's ANDA
product has not yet been approved for the public . The Federal
Circuit has explained that 35 U.S.C . § 271(e) (2) (A)

     provides an " artificial' act of infringement that creates
                                1



     case-or-controversy jurisdiction to enable the resol ution
     of an infringement dispute before the ANDA applicant has
     actually made or marketed the proposed product. Once
     jurisdiction is established, however, the substantive
     determination whether actual infringement or inducement
     will take place is determined by traditional patent
     infringement analysis, just the same as it is in other
     infringement suits, including those in a non-ANDA context,




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Federal Circuit has set forth the analysis of a§ 27l(b) induced

inf ringement claim in the context of ANDA proposed package

labeling :

     The sale of a lawful product by lawful means, with the
     knowledge that an unaffiliated, third party may infringe,
     cannot, in and of itself, constitute inducement of
     infringement.   The accused infringer must have knowingly
     aided and abetted direct infringement. . .     [T]here is no
     indirect infringement when a defendant merely sells a
     commercial product suitable for some lawfu l use.
     Infringement only exists where there is evidence that goes
     beyond a product's characteristics or the knowledge that it
     may be put to infringing u ses.  Inducement can be found
     where there is evidence of active steps taken to encourage
     direct infringement, which can in turn be found in
     advertising an infringing use or instructing how to engage
     in an infringing use. But such instructions need to
     evidence intent to encourage infringement. The question is
     not just whether instructions describe the infringing mode,
     but whether the instructions teach an infringing use of the
     device such that we are willing to infer from those
     instructions an affirmative intent to infringe the patent.
     Merely describing an infringing mode is not the same as
     recommending, encouraging, or promoting an infringing use,
     or suggesting that an infringing use should be performed.

Takeda Pharmaceuticals U.S.A., Inc. v. West-Ward Pharmaceutical

Corp., 785 F. 3d 625, 630-31 (Fed. Cir. 2015)    (internal

quotations, alterations, and citations omitted).     With regard to



     the only d ifference being that t he inquiries now are
     hypothetical because the allegedly infringing product has
     not yet been marketed. The plain language of 35 U.S.C. §
     27l(e) (2) (A) does not alter a patentee's burden of proving
     infringement. The proper inquiry under§ 27l(e) (2) (A) is
     whether, if a particular drug were put on the market , it
     would infringe the relevant patent.

Warner-Lambert Co. v. Apotex Corp., 316 F.3d 1348, 1365-66 (Fed.
Cir. 2003) (internal citations omitted).




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finding specific intent, the question is not whether a patient

following the instructions on the packaging may end up using the

medication in an infringing way, but rather whether t h e proposed

label instructs the patient to perform the patented method.

AstraZeneca LP v. Apotex, Inc., 633 F . 3d 1042, 1060 (Fed . Cir.

2010)    (citing Vita-Mix Corp. v. Basic Holding, Inc., 581 F . 3d

1317, 1329 n.2 (Fed. Cir. 2009)); Warner-Lambert Co. v. Apotex

Corp., 316 F.3d 1348, 1365 (Fed. Cir. 2003)        (" [W]here a product

has subs t antial noninfringing uses, intent to induce

infringement cannot be inferred even when the [alleged inducer]

has actual knowledge that some users of its product may be

infringing the patent.") .    Thus, Hor i zon has the burden of

proving that Actavis's instructions in its proposed package

labeling teach an infringing method of applying its ANDA product

such that those i nstructions infer Actavis's affirmative intent

to infri nge Horizons' patents.

        Actavis argues that its labeling does not compel

infringement because Horizon's patents present three methods by

which PENNSAID must be applied, and those methods are different

from its method.

        Horizon's methods instruct:

        (1) apply medication to the knee;

        (2) wait for treated area to dry; and

        (3) subsequently apply sunscreen or insect repellant ('450




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                     &21),'(17,$/0$7(5,$/
                       +$6%((120,77('

patent)

     (3) subsequently apply a second medication consisting of a

topical medication ('078 patent)

     (3) subsequently apply a sunscreen, an insect repellant or a

second medication consisting of a topical medication ('110

patent).

     Actavis contends that these three steps are required when

applying PENNSAID in accordance with the methods claimed in

Horizon's patents.    Actavis states that its ANDA product only

requires steps one, and it does not require the subsequent

application of sunscreen, insect repellant, or a second topical

medication.   Actavis argues that its package labeling does not

induce infringement, therefore, because the language -




not implicate steps two and three.
                                        --
                                     is a warning that may or may

                                       In other words, Actavis

argues that the label contemplates an "if/then" scenario:        If a

patient wants to cover the treated area with clothing or wishes

to apply sunscreen, insect repellant, cosmetics, topical

medications, or any other substance to the treated area, then

the patient should wait until the treated area is dry.       Actavis

argues that unlike the methods claimed in Horizon's patents, the

patient using Actavis's ANDA product is not required by its




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label or its ANDA product's claimed methods to do any of these

things if the patient does not wish to do them.

     In response, Horizon argues that step t hree is not required

by its patents - i.e., its patents do not require that a patient

must apply sunscreen or insect repellant or a second topical

medication.   Horizon contends that the only reason those three

items are specified in its method patents' claims is because of

the treated area's increased photosensitivity (hence the need

for sunscreen), and to prevent PENNSAID from "dragging in" to

the patient's skin dangerous pesticides or another topical

medication.   Horizon further argues that Actavis's labeling will

induce infringement because inevitably at some point in time a

patient will want to apply sunscreen, insect repellant, or a

second topical medication to the treated area.     When that

patient does so in accordance with Actavis' package labeling ,

Horizon contends that Actavis has induced that patient to

infringe on Horizon's patents .

     When a generic version's package label ing is required to be

materially identical to the brand's, it would seem difficult for

a generic's proposed ANDA labeling to escape a claim of induced

infringement unless the brand's underlying patent claims are

deemed invalid or determined to be distinguishable from the ANDA

product's claims.    The issue of inval idity is not currently




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before t he Court, 6 but a construction of Hori zon's method claims

strongly suggests that t hose claims require the post-PENNSAID

application of sunscreen, insect repellant, or a second topical

medication .   The Court does not need to directly rule on either

of these issues in order to resolve Actavis's motion for summary

judgment, however, because Horizon has not met its b u rden to

show that Actavis's label recommends, encourages, or promotes a

use of its ANDA product with the intent to directly infringe on

Horizon's claimed methods.

     Illustrat ive are two cases that analyzed similar arguments

presented in t h is action.   In one case, the brand patent holder

alleged that the generic's ANDA product labeling constituted a

violation of 35 U . S . C. § 271(b) because it would induce a

patient to directly infringe on the brand's method patent claim,

which provided,   "A method of treating an adult subject having

attention deficit hyperactivity disorder, said method comprising

orally administering to said subject a pharmaceutically

effective amount of L-lysine-d-amphetamine or a pharmaceutically

acceptable sa l t thereof with intake of food by said subject . "

Shire LLC v. Amneal Pharmaceuticals, LLC, 2014 WL 2861430, at *5

(D.N.J. 2014), affirmed in part, reversed in part and remanded



6
  Actavis contends that the method claims in Hor izon's patents
are invalid due to obviousness. That issue is to be decided
during a b ench trial before this Court .




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on other grounds, 802 F.3d 1301 (Fed. Cir. 2015).      The proposed

product label provided that the medication was to be t aken "with

or without food," and the brand claimed that the generic label

would induce infringement of its claim that the medication was

to be "with intake of food."     The court rejected the brand's

argument:

     The problem is that t he statement that the medication may
     be taken with or without food cannot be reasonably
     understood to be an instruction to engage in an infringing
     use. As Defendants contend, it is indifferent to which
     option is selected. At most, it may be understood t o
     permit an infringing use, but permission is different from
     encouragement. Plaintiffs point to the statements of their
     expert, . . . but none of his conclusory assertions get
     around the simple fact that the proposed label does not
     contain any instruction to take the medication with food.
     Plaintiffs have fai led to raise a material factual dispute
     over whether the proposed label encourages infringement of
     method claims requiring administration with food.

Shire, 2014 WL 2861430, at *5.

     Similarly, the court in In re Depomed Patent Litigation,

2016 WL 7163647, at *58 (D.N.J. 2016) was tasked with

determining whether the generic's proposed ANDA product label

would induce a party to infringe on the brand's method patent

claim, which pr~vided,   "1. A method of treating polyneuropathic

pain in a subject suffering theref rom, said method comprising

administering to said subject an effective polyneuropathic pain

inhibiting amount of (1R,2R) -3-(3-dimethylamino - 1-ethyl-2 -

methyl-propl)phenol o r a pharmaceutically acceptable salt

thereof."   The proposed label provided, "Tapendadol extended-




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release is an opioid agonist indicated for the management of:

Pain severe enough to require daily, arou nd - the-clock, long-term

opioid treatment and for wh ich alternative treatment options are

inadequate."      In re Depomed Patent Litigation, 2016 WL 7163647,

at *59.

        The brand argued that the gener i c spec i fically intended for

its product to be used to treat polyneuropathic pain, because

polyneuropathi c pain often manifests as severe chronic pain and

that it is l ikely that some doctors, pharmacists, and patients

will use the generic's ANDA product to treat polyneuropath i c

pain.     Id.   The court found that the brand could not meet i ts

burden on induced infringement, explaining:

        As the instruction in [the generic's] label only instructs
        the u ser to administer the drug to treat severe chronic
        pain, which undisputedly includes nociceptive pain, it
        cannot reasonably be u nderstood to be an instruction to
        engage in the infringing use of administering the drug to
        treat polyneuropathi c pain. Thus, even if the label
        permits administration for polyneuropathic pain, permission
        is different from encou ragement.

        Plaintiffs rely heavily on the language of the Federal
        Circuit in AstraZeneca LP v. Apotex, Inc . , where the court
        stated: "[T]he district court found that [the defendant]
        had the requisite specific intent to induce infringement
        because [the defendant] included instructions in its
        proposed label that wi l l cause at least some users to
        infringe the asserted method claims." 633 F . 3d, 1042, 1060
        (Fed. Cir. 2010).  Pl aintiffs contend that [the generic's]
        label fits this description. However, even if "some users"
        may use [the generic's] product to treat polyneuropathic
        pain in a way that infringes,       . the Court does not
        agree that [the generic's] label "includes instructions .
        . that will cause" those users to infringe.    I n Apotex, the
        court determined that fo l lowing the label instruction to




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                     &21),'(17,$/0$7(5,$/
                       +$6%((120,77('

     utitrat[e] down from the recommended starting doses would
     necessarily lead t o [the infringi ng] once-daily usage."
     Here, on the other hand, doctors can and likely will follow
     the instructions on [the generic's] label to prescribe [the
     generic's] product for noninfringing purposes, such as
     treating nociceptive and mononeuropathic pain.
     Furthermore, to the extent doctors prescribe [the
     generic's] product for infringing pol yneuropathic pain
     treatments, it wi ll not be because they have been
     encouraged by [the generic's] label to do so.

Id . at *63-64 (some i nternal and other citations omitted) .

     Just like the generic's labeling in Shire and In re

Depomed, no evidence in this case demonstrates that Actavis's

proposed label does more than simply permit, rather than require

or direct, the post-product application of sunscreen, insect

repellant, or a second topical medication.        While both labels

direct the application of the product, what the label i nstructs

the patient to do after the product is app l ied is much broader

than the claims in Horizon's patents.




                                            Horizon's claims only

concern the method of the post-PENNSAID application of

sunscreen, insect repellant , and other top ical medications.

      Although                       REDACTED
                                in the proposed labe l may be




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                       &21),'(17,$/0$7(5,$/
                         +$6%((120,77('

understood to permit an infringing use, and accepting that it is

inevitable that at some point a patient will

                      after using the ANDA product, that permission

does not amount to encouragement because

                of what a patient might wish to apply to his knee

after treatment, if anything is to be applied at all.         The

medical reason for specifying -
                                                                    -
                               is important, but the post - treatment

application of clothing, water, lotions, cosmetics, and any

other substances before t he area is dry ostensibly has other

medical implications.     Horizon, however, has only claimed the

application of its product in connection with the subsequent

application of "sunscreen, insect repellant, and other topical

medications," which is a different method than the post-

treatment application of nothing, or the application of anything

else. 7

      In short, no material disputed facts exist as to whether

the proposed product label recommends, encourages, or promotes

an infringing use, or suggests that an infringing use should be




7
  Horizon argues that Actavis could have avoided infringement if
                                                              was
replaced by an ins truction prohibiting application of any other
topical agent . (Br. 28 . ) The suggestion that Horizon's claims
cover a ll "subsequent topical agents" appears too broad.




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performed.   The proposed product label directs a patient on how

t o apply the ANDA product, and provides guidance to the patient

on how to proceed from there if he wishes to have anything else

come in contact with is knee afterward.        Actavis's proposed

product label does not constitute induced infringement in

violation of 35 U .S.C .   §   271(b).

                                 CONCLUSION

     For the foregoing reasons, Actavis's motion for summary

judgment on Horizon 's claims that Actavis's p roposed ANDA

product label induces infringement of Horizon's '450, '078, and

'110 patents under 35 U.S.C. § 2 7l(b) must be granted.          An

appropriate Order will be entered following oral argument on

Tuesday, March 21, 2017 regarding the parties' differing

positions on when the Order on this motion, as wel l as other

Court Orders, shall be docketed .

     This Opinion shall remain under seal until the resolution

of the parties' consol idated motion to seal their submissions

relating to Actavis's motion for summary judgment.          In their

motion to seal, the parties shall indicate which, if any,

portions of this Opinion should be redacted in accordance with

Local Civil Rule 5.3.



Date:   March 16, 20 17                   s/ Noe l L . Hillman
At Camden, New Jersey                    NOELL. HILLMAN, U.S.D.J.




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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

   HORIZON PHARMA IRELAND
   LIMITED, et a l .,                   Civi l No. 14-7992 (NLH/AMD)

                 Plaintiffs,
                                        ORDER
         v.

   ACTAVIS LABORATORIES, UT,
   INC. , et al . ,

                 Defendants .


     For the reasons expressed in the Court's Opinion filed

today,

     IT IS on this      16th    day of __M_a_r_c_h___ , 2017

     ORDERED that entry of the Order resolving the MOTION for

Summary Judgmen t by ACTAVIS LABORATORIES, UT , INC.      (245 ] be, and

the same hereby is, CONTINUED pending oral argument on Tuesday,

March 21 , 2017 regarding the parties' differing positions on

when the Order on this motion should be entered .




                                        s/ Noel L. Hillman
At Camden, New Jersey
                                                        ---
                                      NOELL. HILLMAN, U.S.D.J.




                                APPX61
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                         Addendum 5

May 23, 2017 Final Judgment, Horizon Pharma Ireland Limited, et al. v.
                    Actavis Laboratories, UT, Inc.,
                         14-cv-7992 (D.N.J.)

                              A62-A64
         Case: 17-2149           Document: 36          Page: 153         Filed: 08/16/2017


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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

   HORIZON PHARMA IRELAND LIMITED,
   HZNP LIMITED and HORIZON PHARMA USA,
   INC.,                                                      Civil Action No. 1:!4-cv-07992; l:15-
                                                              cv-07742; 1: 16-cv-00645-NLH-AMD
                             Plaintiffs,

                 v.

   ACTAYIS LABORATORIES UT, INC.,

                            Defendant.


                                           FINAL JUDGMENT

          This matter having been tried before this Court from March 21 , 2017 through March 30,

   2017, the Court having heard testimony on behalf of Plaintiffs Horizon Pharma Ireland Limited,

   HZNP Limited and Horizon Pharma USA, Inc. ("Plaintiffs"), and Defendant Actavis

   Laboratories UT, Inc. ("Defendant"), the Court having considered the written post-trial

   submiss ions of the parties, and the Court having issued its Opinion on May 12, 2017 (Dkt. 371);

          The Court having held Markman hearings on March 3, 2016 and June 7, 2016, the Court

   having cons idered the written submissions of the parties, and the Court having issued Opinions

   and Orders on August 17, 2016 (Dkts. 188, 189) and January 6, 2017 (Dkt. 234);

          The Court having received Defendant' s Motion for Summary Judgment ofNon-

   Infri ngement of U.S. Patent Nos. 8,217,078, 8,546,450, and 9, 132, 110 (Dkt. 245), the Court

   having considered the written submissions of the parties, and the Court having issued an Opinion

   granting Defendant' s Motion for Summary Judgment on March 16, 2017 (Dkt. 300);




                                              APPX62
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          IT lS ORDERED AND ADJUDGED, for the reasons set forth in the Court' s Opinion

   dated May 12, 2017, i hat Judgment is entered in favor of Plaintiffs and against Defendant on all

   claims and counterclaims regardirtg the validity of claim 12 of U.S. Patent No. 9,066,913:

          IT IS ORDERED AND ADJUDGED, pursuant to the Stipulation And Order Regarding

   Infringement (Dkt. 233), that the use, offer for sale, or sale of Actavis' ANDA Product (i.e. , the

   generic version of PENN SAID® 2% that is the subject of Acta vis' ANDA No. 207238,

   submitted under .35 U.S.C, § 27l(e}(2)(A)) within the United States or administration of Actavis'

   ANDA Product for the treatmeht ofthe pain of osteoarthritis of the knee(s) according to its

   prescribing information within the United States would infringe claim 12 of U.S. Patent No.

   9,066,913;

           lT IS ORDERED AND AD.RTDGED, for the reasons set fo1th in the Court' s Opinions

   dated August 17, 2016 and Jamiary 6, 2017 (Dkts. 188, 189, 234), that Judgment is entered in

   favor of Defendant a11d against Plaintiffs on a ll claims and counterclaims regarding the invalidity

   of claims 49-52 and 55-6 l of U.S. Patent No. 8,252,838, claim s 1-5, 9-1 9, and 22-24 of U.S.

   Patent No. 8,563,613, claim 4 of U.S. Patent No. 9,066,913, claims 10-1 5, 17, 19, 24, and 25 of

   U.S. Pate nt No. 9, ]Q I,591 , claims 2-5 and 8-11 of U.S. Patent No. 9,168,304, c laims 2-5 and 9-

   12 of U.S. Patent No. 9,168,305, and c laims 2-5 and 9-12 of U.S. Patent No. 9 ,220,784;

          lT IS ORDERED AND ADJUDGED, for the reasons set forth in tbe Court's Opinion

   dated March 16, 2017 (0 kt. 300), that Judgment is entered in favor of Defendant and against

   Pla intiffs on all claims and counterclaims regarding the noninfringement of claims IO. 11, 15,

   and 17 of tJ.S. Patent No. 8,546,450, claim 14 of U.S. Patent No. 8,217.078, and claims 3, l l ,

   and 13 of U.S. Patent No.9, 132.1 10; and




                                               APPX63
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           l T TS ORDERED AND AD.TTJD GED, t hat all c laims for infringement of any claim of

   the following patents that is not expressly enumerated above are dismissed with prejudice: U.S.

   PatentNos. 8~217,078; 8,252,838; 8,546,450; 8,563,613; 8,618,164; 8,871,809; 9,066,913;

   9, IO l ,59 J; 9, 132, 110; 9,168,304; 9_,168,305; and 9,??0, 784;

           IT IS ORDERED AND ADJUDGED, that a ll counterclaims for any claim of the

   fo llowing patents that is not expressly enumerated above are d ismissed without prejudice: U.S.

   Patent Nos. 8,21 7,078; 8,252,838; 8,546,450; 8,563,613; 8,6 18, 164; 8,871.809; 9,066.913:

   9,10 Js591 ; 9,132,110; 9, 168,304; 9,1 68,305; and 9.220,784;

           ORDERED that, pursuant to 35 U.S.C. § 271 (e)(4)(A), the effective date of any final

   approval by the United States food and Drug Adm inistration ("FDA") of Defendant's ANDA

   No. 207238 shall be a date which Is oat earlier than the expiration of U.S. Patent No. 9,066,913,

   or any later expiration or exclusivity to which P laintiffs are or become entitled~ and it is further,

           ORDERED that, pursuant to 35 V.S.C. § 27l(e)(4)(B), Defendant and its officers, agents

   and employees. and those acting in privity or in concert with any of them, and their successors-

   and assigns, are enjoined from engaging in the cominercial use, offer for sale or sale within the

   United States, of products that are the subject of Acta vis' ANDA No. 207238 until the expiration

   of U.S. Patent No. 9,066,913.

                   ,_I;__
   Dated this 2 2. d&y of May, 2017




                                                            Honorable Noel L. Hill man
                                                            United States District Court Judge




                                                 APPX64
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                   Addendum 6

                U.S. Patent No. 8,217,078

                       A65-A119
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                     UNITED STATES DEPARTMENT OF COMMERCE
                         United States Patent and Trademark Office

. •                                            May 27, 2015
"':!


          THIS IS TO CERTIFY THAT ANNEXED HERETO IS A TRUE COPY FROM
          THE RECORDS OF THIS OFFICE OF:




          U.S. PATENT: 8,217,078
          ISSUE DATE: July 10, 2012




                           By Authority of the
                           Under Secretary of Commerce for Intellectual Property
                           and Director of the United States Patent and Trademark Office



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                                               ?~_fl/ ___
                                               P. R. GRANT -        ~~
                                               Certifying Officer




                                                                                  HZNPENN_00000198
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            OF A TOPICAL SOLUTION CONTAINING f.5% w/w DICLOFENAC SODIUM AND 45.5% DMSO
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                 FIG. JOA




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                  Figure 1. Dispense 10 drops of PENNSAID® at a time


                 FIG. JOB




                   Figure 2. Spread PENNSAID® evenly on the front, and sides of your knee
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                 FIG.JOG
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                    Figure 3. Spread PENNSAID® evenly on the back of your knee




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                                                                                                   HZNPENN_00000210
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                                      1                                                                                                                                                                       2
              mEATMENT OF PAIN WITH TOPlCAL                                    !\Ires, subluxation, dislocation, crush tnJunes, prolonged
                     DlCLOFENAC                                                immobilization (e.g., immobilization of a joint in a cast or
                                                                               splint), and paralysis.
                     CROSS-REFERENCE TO RELATED                                    When non-pharmacological measures arc not sufficient to
                                APPLICATIONS                                s control the symptoms of osteoarthritis, current evidence-
                                                                               based guidelines support pharmacological treatment with
            This application is a continuation application claiming pri-       acetaminophen or oral oonsteroidal anti-inflammatory drugs
       ority to U.S. patent application Ser. No. 12/660,865, filed             (''NSAJD"s) (American College of Rhewnatology Subcom-
       Mar. 4, 2010, which is a continuation-in-part of U.S. patent            mittee on Osteoarthritis Guidelines. Recommendations for
       application Ser. No. 12/459,998, filed Jul. 10, 2009, which in to the medical management of osteoarthritis ofthb hip and knee:
       tum claims the benefit of priority under 35 USC §119(e) to              2000 update. Arthritis Rheum. 2000; 43:1905-15; National
       U.S. Provisional Application No. 61/2ll,600, filed Mar. 31,             Collaborating Centre for Chronic Conditions. Osteoarthritis:
       2009, the disclosures all of which are incorporated herein by            National clinical guideline for care and management in
       reference in their entirety for all purposes.                            adults. London: Roy-.il College Physicians, 2008. Available
                                                                            1s at:                      http://www.nicc.org.uk/nicemedia/pdf/
                                      FIEiLD                                    CG059Ful1Guidelinc.pdf.; Zbang W, et al., Osteoarthritis
                                                                              · Cartilage2001; 15:981-1000; ZbangW, etal.,Osteoarthritis
            The field involves the delivery of compounds useful for             Cartilage 2008; 16:137-62.Acetaminophen bas been linked
       pain relief, includingdiclofenac formulations, methodsofuse              with an increased risk of hepatic, hypertensive and cardiovas-
       thereof, articles of manufacture and kits that include provid- 20 cular adverse effects (e.g., Chan AT, et al., Circulation. 2006;
       ing novel preclinical, clinical and other information to users.          113:1578-87. Epub2006 Mar. 13; PiocusT, etal.,Ann Rheum
                                                                                Dis. 2004; 63:931 -9).
                                 BACKGROUND                                         NSAJDs are more effective (Towheed T E, J. Rheumatol.
                                                                                2006; 33:567-73) and carry more well-known gastrointesti-
            The following includes information that may be useful in 2s nal and cardiovascular risk (e.g., Antman E M, el al. Use of
        understanding the present invention. It is not an admission             nonsteroidal anti-ioilalillllatory drugs: an update for Clini-
        that any of the information provided herein is prior art, or            cians: a scientific statement from the American Heart Asso·
        relevant, to the presently described or claim.ed inventions, or         ciation. Circulation. 2007; 115:1634-42; Chan AT, et al.
        that any publication ordocumenl that is specifical ly or implic-        Nonsteroidal anti-inflammatory drugs, acetaminophen, and
        itly referenced is prior art.                                       30 the risk of cardiovascular events. Circulation. 2006; 113:
             Today, pain has become the universal disorder, a serious            I 578-87), The attempt to minimize the risk of both morbidity
        and costly public health issue, and a challenge for family,             and potential mortality by prescribing COX-2 selective
        friends, and health care providers who must give support to             NSA!Ds ('coxibs') has not achieved the goal (Kearney PM,
        the individual suffering from I.he physical as well as the emo-         et al. BMJ. 2006; 332: 1302-8; Mamdani M, et al., BMJ. 2004;
         tional consequences of pain. In general, there are two basic 35 328: 14 I 5-6).
         types ofpain, acute and chronic.Acute pain, for the most part,             Diclofenac is used, most commonly, as the sodium or
         results from disease, inflammation, or injury to tissues. Tbis          potassium salt for relief from pain and inflammation such as
         type of pain generally comes on suddcn.ly, for example, after           musculoskeletal and joint disorders including rheumatoid
         trauma or surgery. In some instances, it can become chronic.            arthritis, osteoarthritis, and ankylosing spondylitis. U.S. Pat.
        Chronic paio is widely believed to represent disease itself. 40 Nos. 4,575,515 and 4,652,557 disclose topical NSAID com·
        Chronic pain persists over a locger period of time than acute            positions, one of which, consisting of 1.5% diciofenac
         pain and is resistant to most medical treatments. It can, and           sodium, 45.5% dimethylsulphoxide ("DMSO"), ethao.ol,
'i      often docs, cause severe problems for patients.                          propylene glycol, glycerine, and water, has been shown to be
:j           Arthritis is considered to be one of the most pervasive             effective in the treatment of chronic osteoarthritis (e.g.,
         diseases in the United States and a leading cause ofdisability. 4S Towheed, Journal of Rheumatology 33:3 567-573 (2006);
         According to the Centers for Disease Control and Prevention,            Oregon Evidence Based Practice Center entitled "Compara-
         it is estimated that 1 of every 3 Americans is affected by one          tive Safety and Effectiveness of Analgesics for Osteoarthri-
         or more of the more than 100 types of arthritis. Pain, particu-         tis," AHRQ Pub. No. 06-EHC09-EF).
         larly of the joints throughout the body, characterizes arthritis.           The skin provides a protective barrier against foreign mate-
         Psoriasis, primarily a skin disorder, can progress to psoriatic so rials and infection. In mammals Ibis barrier is created prima-
         arthritis if left untreated. Rheumatoid arthritis, osteoarthritis,      rily by the outermost epidermal layer, the stratum comeum.
         and ankylosing spoudylitis are all examples of degenerative             The stratum corneum is comprised of flat, extended, enuclc-
         arthritic diseases.                                                     ated cells, termed corncocyies, the periphery of which com-
              In addition to, for example, art.hritic causes, normal func-       prises a highly insoluble protein and lipid structure, called the
   I      tion of a joint and its movement, and other portions of the 55 cornified envelope ("CE"), surrounded by lipids. (Downing et
• .I      body, can be severely impaired as a result of trawna or fol-            al., Dermatology in General Medicine, Fitzpatrick, et al.,
ti        lowing orthopedic and other sw&ical procedures. This may                eds., pp. 210-221 (1993); Ponec, M, Toe Keratinocyte Hand-
          result in tenderness, aching, pain, and lengthy recovery times,         book, Leigh, et al., eds., pp. 351-363 {1994)). Toe CE is
          as well as loss ofjoint mobility or reduced range of motion,            composed of polar lipids, such as ceram.ides, sterols, and fatty
          tooicity, or elasticity of the joint/articular struc!Ures, such as 60 acids, and a complicated network of cross-liaked proteins;
          for example, muscle, tendon, capsule, bone, or ligament.                however, the cytoplasm of stratum coroeum cells remains
          Reduced joint mobility may a.1so involve pennanently altered            polar and aqueous. The stratum comeum is extremely thin
          or shortened joint or tissue architecture. t,ltered or abno_rmal        (S-Ome 20-microns) but provides a S\lbstantial barrier. Never-
          joint mobility or joint architecture may also be associated             theless, tbe skin bas been considered-as a rnute for tltc admio-
          with or caused by a variety of injuries and conditions such as, 6S istration of drugs. Various transdermal delivery systems
           for example, metabolic diS-Orders, ischemia, injury to joint,          achieve epidermal penetration by using a skill penetration
          capsule, bone, cartilage, tendon, ligament or muscle, frac-             enhancing vehicle.




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                                                                                                                                                                                                                                                                                                                                HZNPENN_00000211
                                                                       APPX78
                                                   Case: 17-2149                                          Document: 36                                                                  Page: 171                                               Filed: 08/16/2017
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                                                    Topical NSAl Os present a safer potential al lernativ', to oral    A, el al . EITe<:t of a topical diclofcnac solution for relieving
                                               therapy, with decreased systemic exposure to lbc active                 symptoms ofprimaryosteoarlhriris of the knee: a randomized
                                               NSAID molecule. While previous reviews (Mason L, el al.,                controlled trial. CMAJ. 2004; 171:333-8).
                                               BMC Musculoskelet Disord. 2004; 5:28) have suggested that                    There remains a need in lhe art for melhods of dosing
                                               topical NSAIDs are effective for osteoarthritis, Lin el al. 5 topical diclofenac formulations, and providing users and pre-
                                               (BMJ. 2004; 329:324-6) io their meta-analysis of the same               scribers with infonnatioo regarding drug product attributes
·.1                                            sniclies stressed tbal the various products sh.owed symptom             aod desired lhernpeutic cffe<:ts as well as instructions on uses
 ·,
                                               relief at I or 2 weeks but loss of benefit at 4 weeks, and              in conjunction with other topical agents. Such needs are met
                                               rejected lhem as lhere was insufficieat evidence to justify a           by lhe inventions and discoveries provided herein-
                                               rccommeodatioo of long-term use.                                     10
                                                    Subsequently published randomized controlled studies                                        BR1EF SUMMARY
                                               have described II penetrating topical diclofenac solution in a
                                               dimelhyl sulfoxidc (DMSO)-cootaining vehicle us effica-                      Toe inventions described and claimed herein have many
                                               cious and safe in relieving the symptoms of primary osteoar-             attributes and embodiments including, but not limited to,
                                                thritis of the knee over 4-, 6-, and 12-weck treatment periods 15 those set forth or described or referenced in this Brief Sum-
                                                (Baer P A, et al. BMC Musculoskele1 Dison/. 2005; 6:44;                 mary. ll is not intended to be all-inclusive and lhe inventions
-~....                                          Bookman A A, ct al. CMAJ. 2004; 171:333-8; Rolh S H,                    described and claimed herein are not limited to or by the
                                                Shainhouse J Z. Arch Intern Med. 2004; 164:2017-23; Tug-                featuies or nonlimiting embodiments identified in this Brief
                                                well PS, cl al. J Rheumatol. 2004; 31:2002-12). Recent                  Summary, which is included for purposes of illustration only
                                                topical NSAlD reviews and meta-analyses (Banning M., Br J 20 and not restric1ion.
                                                Community Nurs 2006; 11 :487-92; Banning M., Expert Opin                     Disclosed herein arc methods oflreatment and mclhods of
                                                Pharmacorh~r 2008; 9:2921 -9; Biswal S, ct al.,JRheumatol               maoufacturing aod usiog a topical diclofenac pharmaceutical
                                                2006; 33:1841-4; Haynes S, Gemmell H., Clinical Chiro-                  product and related articles and kits. Also disclosed herein are
                                                practic2001; 10:126-38; Moore RA, et al., Rheum Dis Clin                methods of preventing or treating pain, including joint pain,
                                                N Am 2008; 34:415-32; Ozguncy I, Expert Opin Pham,aco- 25 and arthritis, including osteoarthritis.
                                                ther 2008; 9:1805-16; Towboed TE, J. Rheumatol. 2006;                        lo one nonlimiting embodiment, a method ofusing topical
                                                33 : 567-73; Zacher J, et al., Cummt Medical Research and               diclofenac, and related metbod.s of treatment , comprises
                                                 Opinions 2008; 24(4):925-950) have evaluated lhedata from              informing a user of certain information regarding topical
                                                 lhese topical diclofenac solu1ion studies, and subsequently             diclofenac, for example, a topical diclofenac solution com-
                                                 published national guidelines (Chou R, et al. Comparative JO prising or consisting essentially of 1.5% dic)ofeo:ic sodium
                                                 Effectiveness and Safety of Analgesics for Osteoarthritis.              (2-((2,6-dichlorophcoyl)amino]benzeneacetic acid, monoso-
                                                 Comparative Effectiveness Review No. 4. Rockville, Md.:                 dium salt), 45.5% OMSO, ethanol, propylene glycol, gly~r-
                                                 Agency for Healthcare Research and Quality. September                   ine, and water (sometimes referred to herein as "Pennsaid"),
                                                 2006. Available at www.elTectivehealthcare.ahrq.gov/re-                 said information comprising one or moreof lhe following: (1)
                                                 ports/final.cfm; National Collaborating Centre for Chronic 35 clinical effects of topical diclofen.ic dosing, including. for
                                                 Conditions. OstC08J1hritis: National clinical guideline for             example, (a) lhe effects of particular four times per day
                                                 care and management in adults. London: Royal College Phy-               ("QID'? dosing; (b) the effects of QlD dosing in one or more
                                                 sicians, 2008. Available at: http:/lwww.nicc.org.uk/niccme-             clinical trials; (c) results from a 12-weck, double-blind con-
                                                 dia/pdf)'CG059Ful1Guideline.pdf; Tannenbaum H, et al., J                 trolled trial of topical diclofenac in a solution containing
                                                  Rheumatol. 2006; 33:140-57; Zhang W, el al. 2007, supra;                                                                  "°
                                                                                                                          dio1elhyl sulfoxide iD subjects with osteoarthritis of the knee
                                                  Zhang W, et al. 2008 supra) have cited lhese s1udics as evi-            which compared the perfonnance of said topical diclofenac
                                                  dence for lhe use of topical NSAIDs as first line therapy for           solution against a vcbiclesolutioncontaining45.5%dimcthyl
                                                  osteoarthriris. Topical cliclofeoac solution is used for lhe            sulfoxide and a placebo solution containing 2.3% dimethyl
                                                  treatment of osteoarthritis and i&currently approved for sale           sulfoxide; (d) pharmacokinetic results from one or more stud-
                                                  in Canada and several European countries.                          4S ies in which single and multiple doses of a topical diclofenac
                                                      Toe efficacy of topical NSAJDs, such as topical diclofenac          in a solution containing dimelhyl sulfoxidc was applied topi-
                                                  solution, is thought to be due to local action of the active            cally to heallhy human volunteers; (2) an adverse event pro-
                                                  NSAJD molecule following its penetration through !he skin to             file of a topical cliclofenac, including, for example (a) that
                                                  lhe tissue sires of inflammation and pain. Diclofeoac sodiwn            concomitant use of oral NSAIDs with topical diclofenac
                                                  is a member of the arylacanoic acid group of NSAJDs with so resulted in a higher rate of rectal hemorrhage, more frequent
                                                   lipophilie properties that limit its perculaJJeous penetration         abnormal creatinine, urea and hemoglobin; (b) !hat in a con-
                                                   (Nishihata T, el al., Chem. Phom,. Bull 1981; 35:3807-12).              trolled trial, a higher rate of contact dermatitis with vesicles
                                                  The biological property of DMSO to eohaoce skin penetra-                 was observed after treatment of 152 subjects wilh the com-
                                                   tion of bolh hydrophilic and lipophilic molecules is known              bination of topical diclofenac and oral diclofenac; (c) the
                                                   (WilliamsAC, BarryB W,AdvDrugDe/ivRev2004; 56:603- 5S results of a clinical study demonstrating that the addition of
                                                    18), with reGent research focusing on the mechanism of                 topical diclofon3c to oral cliclofenac did not cause ao eleva-
 -~
 •t                                                enhancement (Gurtovenko A A, Anwar J, J Phys Chem B                     tion ofliver transaminases in osteoarthritis patients over use
                                                   2007; 111:10453-60). The percutaneous absorption of                     of oral diclofenac alone; (3) preclinical study results with
                                                   diclofenac following a multidose regimen of a topical                   topical diclofeoac, inclucliog, for example, !he results of an
                                                   diclofenac solution (based on a DMSO-containing vehicle) 60 animal study in which oo advcne ocular effects were
                                                   was significantly enhanced compared to an aqueous                       observed after multiple-daily dermal application to rats for26
                                                   diclofeoac formulation without DMSO (Hewitt, P G, et al.,                weeks and minipigs for 52 weeks of DMSO al twice the
                                                    Pharmncol Res. 1998: 15:988-92). Within the extensive lit-              conccr:itration found io a t<>pic11l diclofenac solution (e.g.,
                                                    erature on DMSO are unsubstantiated claims of therapeutic               l'~said®); and (4) ~ s1ateme111 lbat, once dry, sunscreen,
                                                    efficacy in the trealmenl of osteoarthritis, but no efficacy of 6S insect repellant, lotion, moisrurizer, cosmetics, and/or other
                                                    DMSO vehicle was shown in a previous, 4-week randomized                 topical products can be applied to an area previously frcated
                                                    controlled study ofa topical diclofeoac solution (Bookman A             with a topical diclofcnac solution (e.g., Peonsaid®).




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                                                                                                                                                    APPX79
            Case: 17-2149                       Document: 36                     Page: 172                                      Filed: 08/16/2017
                                                                                • • • •!,; . !• •• •• ••• ...,.... "' ..... .. . . . ......, . ........- • .,..,,,., -,; ,p;,,~•v••,o•'l.'•._, ""••   ••1•.-•,.._~.,._.,--.....,;_.,.,,.,:· •• ~•.,•~•''




                                                                US 8,217,078 Bl
                                         s                                                                                           6
             In another nonlimiting embodiment, a method of using             sulfoxidc; (d) pharrnacokinetic results from one or more srud·
           topical diclofenac for the treatment of osteoarthritis, and        ies in which single and multiple doses of a topical diclofenac
           related melhods of treatment, comprises providing a patient        in a solution containing dimethyl sulfoxide was applied topi-
           with said topical diclofenac and providing certain infonna-        cally to.healthy human volu11teers; (2) an adverse evcol pro-
           tion to !he patient regarding said topical diclofenac, for         file of topical diclofenac, including, for example (a) that
           example, a topical diclofeuac solution comprising or consist-      concomitant use of oral NSA!Ds with topical diclofeoac
           ing essentially of 1.5% diclofenac sodium (2-[(2,6--dicWo-         resulted in a higher rate of rectal hemorrhage, more frequent
           rophenyl)amino]benzcneacetic acid, monosodium salt),               abnonlllll creatinine, urea and hemoglobin; (b) !hat in a con-
           45.5% DMSO, ethanol, propylene glycol, glycerine, and              trolled trial, a higher rate of contact dermatitis with vesicles
           water (sometimes referred lo herein as "Penasa.id"), said t0 was observed after treatment of 152 subjects with the com-
           infomllltion comprising one or more of the following: (1)          bination of a topical diclofeoac and o ral diclofcoac; (c) the
           clinical effects of topical diclofeoac dosing, including, for      results of a clinical s tudy demonstrating that the addition of
           example, (a) the effects of particular four times per day          topical diclofenac to oral diclofenac did not cause an eleva-
           ("QID") dosing; (b) the effects of QlD dosing in one or more       tion of liver traosaminases in osteoarthritis patients over use
           clinical trials; (c) results from a 12-week, double-blind con- 1s of oral diclofenac alone; (3) preclinical srudy results with
            trolled trial of topical diclofenac in a sol11tion containing      topical diclofcnac, including, for example, the results of an
            dimethyl sulfoxide in subjects wilhosteoarthritis of the knee     animal study in which no adverse ocular effects were
            which compared the perfonnance of said t-opical diclofenac         obse.rved aftermultiple-<lailydermalapplication to rats for26
            solution against a vehicle solution containing 45.5%dimethyl       weeks and mioipigs for 52 wee.ks of OMSO at twice the
            sulfoxide and a placebo solution containing 23% dimethyl 20 concentration fo_uod in a topical diclofcnac solution (e.g.,
            sulfoxide; (d) pharmacokinetic results from oneormorestud-         Pennsaid®); and (4) a statemeot that, once dry, sunscreeo,
            ies in which single and multiple doses of a topical diclofenac     insect repellant, lotion, moisturizer, cosmetics, and/or other
            in a solution containing dimethyl sulfoxide was applied topi-      topical products can be applied to an area previously treated
            cally to healthy human volunteers; (2) an adverse event pro-       with a topical diclofenac solution (e.g., Pennsaid®).
            file of a topical diclofenac, including, for example (a) that 25        In still yet aoother nonlimiting embodiment, a method of
            co11comitant use of oral NSAJDs with topical diclofeoac            using topical diclofenac, for example, a topical diclofenac
            resulted in a higher rate of rectal hemorrhage, more frequent      solution comprising or consisting essentially of 1.5%
            abnormal creatinine, urea and hemoglobin; (b) that in a COil·      diclofenac sodium, 45.5% DMSO, ethanol, propylene glycol,
            trolled lrial, a higher rate of contact dermatitis with vesicles   glycerine, and water, and related methods of treatment, com-
            was observed after treatment of 152 subjects with lhe com- JO prises providing a user with topical diclofeoac, and informing
            bination of topical diclofeoac and oral d.iclofeoac; (c) the        the user ofone or more of the following: (I) clinical effects of
             resull6 of a clinical study demonstrating that the addition of    topical diclofeuac dosing, including, for example, (a) the
             topical diclofeoac to oral diclofenac did not cause an eleva-     effects of particular QID dosing; (b) the effects of QIO dosing
             tion of liver transaminases in osteoarlhritis patients over use    in one or more clinical trials; (c) results from a 12-week,
             of oral diclofenac alone; (3) preclinical srudy results with JS double-blind controlled trial of topical diclofeoac in a solu-
             topical diclofcnac, including, for example, the results of an      tion containing dimethyl sulfoxide in subjects with osteoar-
             animal srudy in which 110 adverse ocular effects were              thritis of the knee which compared the performance of said
             observed after multiple-daily dermal application to rats for 26    topical diclofeoae solution against a vehicle solution contain-
             weeks and minipigs for 52 weeks of DMSO at twice the               ing 45.5%dimelhyl sulfoxide and a placebo solutioncootain-
             concentration found in a topical diclofenac solution (e.g., 40 ing 2.3% dimethyl sulfoxide; (d) phannacokinetic results
             Pen.osaid®); and (4) a statement that, once dry, sunscreen,        from one or more studies in which single and multiple doses
             insect repellant, lotion, moisturizer, cosmetics, and/or other     of a topical diclofenac in a solution containing dimethyl sul-
             topical products can be applied to an area previously treated      foxidewas applied topically to healthy human volunteers; (2)
             with a topical diclofenac solution (e.g., Penosaid®). In one       anadverseeventprofileofa topical diclofenac, includiQg, for
             ooolimiting embodiment the method is used to treat osteoar- 45 example (a) that concomitant use oforal NSAIDs with topical
             thritis in patients wilh osteoarthritis of the knee. In another    diclofenac resulted in a higher rate of rectal hemorrhage,
             non-limiting embodiment the patient is further iruormed of          more frequent aboonnal creatinine, urea and hemoglobin; (b)
             the resu.lts of pharmacokinetic · srudics of said topical           that in a controlled trial, a higher rate of contact dermatitis
             diclofeoac solution in healthy human volunteers in which the        with vesicles was observed after treatment of 152 subjects
              measured plasma half life of diclofenac following a single so with the combination of topical diclofenac and oral
      1:      dose application was shorter lhan said the measured plasma         diclofeoac; (c) tile results of a clinical study demonstrating
      f       halflife of diclofcnac following a multi.<Jose application.
                 In another nonlimiting embodiment, a method of using
                                                                                 !hat the addition of topical diclofenac to oral diclofenac did
                                                                                 not cause an elevation of liver tra.osaminases in osteoarthritis
              topical diclofenac, for example, a topical diclofenac solution     patients over use of oral diclofeoac alone; (3) preclinical




      I
              comprising or consisting essentially of 1.5% diclofenac ss study results with topical diclofeoac, including, for example,
              sodium, 45.5% DMSO, ethanol, propylene glycol, glycerine,          the results of an animal study in which no adverse ocular
;-j           and water, and related methods of treatment, comprises             effects were observed after multiple-daily dermal application
              obtaining topical diclofenac from a container providing infor-     to rats for 26 weeks and mioipigs for 52 weeks of DMSO at
                                                                                 twice the concentration found in a topical diclofenac solution


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              mation regarding (I) clinical effects of topical diclofenac
              dosing, including, for example, (a) the effects of particular 60 (c._g., Pcnnsaid®); and (4) a statement that, once dry, sun-
              QID dosing; (b) the effects of QID dosing in one or more           screen, insect repellant, lotion, moisturizer, cosmetics, and/or
       f      clinical trials; (c) results from a 12-week, double-blind con-     other topical products can be applied to an area previously
      .F      trolled trial of topical diclofenac in a solt1tion containing       treated with a topical diclofenac solutio(I (e.)!,. Pennsaid®).
              dimethyl sulloxide in subjocts with osteoarthritis of the knee         111 another ouolimiling embodiment, a method of using
              which compared the perfonnance of said topical diclofeoac 6S topical diclofenac, for example, a topical diclofenac solution
              solution against a vehicle solution containing 45.5%dimethyl        comprising or consisting essentially of 1.5% diclofenac
              sulfoxide aod a placebo solutio11 containing 2.3% dimethyl          sodium, 45.5% DMSO, ethanol, propylene glycol, glycerine,
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                                                                                                                                                                                      HZNPENN_00000213
                                                                   APPX80
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                                                                US 8,217,078 Bl
                                        7                                                                      8
         aod v.-ater, and related methods of treatment, comprises                with the combination of topical diclofeoac and oral
         administering a topical diclofenac DMSO formulation to a                diclofenac; (c) the results of a c linical study demonst.rating
         patient, wherein the administration provides a therapeutic              that the addition of topical diclofeoac to oral diclofenac did
         diclofenac concentration by application (of, for example,               not cause an elevation of liver traosamioases in osteoarthritis
         about 40 drops) to one or both knees to a subject having 5 patients over use of oral diclofenac alone; (3) preclinical
         osteoarthritis of the knees, and the user is informed with              study results with topical diclofenac, iocluding, for example,
         regard to one or more of the following: ( 1) clinical effects of        the results of an animal study in which no adverse ocular
         topical diclofenac in DMSO dosing, including, for example,              effects were observed after multiple-daily dennal application
         (a) the effects of particularQID dosing; (b) the effects ofQID          to rats for 26 weeks and mioipigs for 52 weeks ofDMSO at
         dosing in one or more clinical trials; (c) results from a 10 twice the concentration found in a topical diclofenac solution
         12-week, double-blind controlled trial of topical diclofcnac
                                                                                 (e.g., Penosaicl®); and (4) a statement that, once dry, sun-
         in a solution containing DMSO in subjects with osteoarthritis
                                                                                 screen, insect repellant, lotion, moisturizer, cosmetics, and/or
         of the knee which compared the performance of said topical
                                                                                 other topical products can be applied to an area previously
         diclofenac solution against a vehicle solution containing
         45.5% dimethyl sulfoxide and a placebo solution containing t5 treated with a topical diclofenac solution (e.g., Pennsaid®).
         2.3% dimethyl sulfoxide; (d) phannacokinetic results from                   lo one oonlimiting embodiment, an article of manufacture
         one or more studies in which single and multiple doses of a             comprises a container containing a dosage form of topical
         topical diclofenac in a solution containing dimethyl sulfoxide          diclofenac, for example, a topical diclofenac solution com-
         was applied topically to healthy human volunteers; (2) an               prising or consisting essentially of 1.5% diclofenac sodium,
         adverse event profile of a topical diclofenac io DMSO, 20 45.5% DMSO, ethanol, propylene glycol, glycerine, and
         including. for example (a) that concomitant use of oral                 water, wherein the container is associated with published
         NSAIDs with topical dielofenac resulted in a higher rate of             material providing some or aJI of the following information:
         rectal hemorrhage, more frequent abnormal creatinine, urea              (I) clinical effects of topical diclofeoac dosing, including, for
         and hemoglobin; (b) that in a controlled trial, a higher rate of        example, (a) tbe effects of particular QID dosing; (b) the
         contact dermatitis with vesicles was observed after treatment 25 effect.s ofQIDdosing in one or more clinical trials; (c) results
         of 152 subjects with the combination of to_pical diclofenac              from a 12-week, double-blind controlled trial of topical
         and oral diclofenac; (c) the results of a clinical study demon-         dic!ofenac in a solution containing dimethyl sulfoxide in
          strating that the addition of topical dielofeoac to oral                subjects with osteoarthritis of the knee which compared the
          diclofenac did not cause an elevation ofliverti:ansam.ioases in         performance of said topical diclofenac solution against a
          osteoarthritis patients over use of oral diclofenac alone; (3) JO vehicle solution cootaioiog 45.5% dimethyl sulfoxide and a
          preclinical srudy results with topical diclofenac, including,           placebo solution containing 2.3% dimethyl sulfoxide; (d)
          for example, the results of an animal study in which no                 pbarmacokinetic results from one or more studies in which
          adverse ocu.l areffects were observed after multiple-daily der-         single and multiple doses ofa topical diclofenac in a solution
          mal application to rats for 26 weeks and minipigs for 52                containing dimethyl s ulfoxide was applied topically to
          weeks ofDMSO at twice the concentration found in a topical 35 healthy human volunteers; (2) an adverse event profile of a
          diclofenac solution (e.g., Pcnnsaid®); and (4) a statement              topical diclofenac, including, for example (a) that concomi-
          that, once dry, sunscreen, insect repellant, lotion, moisturi:r.cr,     tant use of oral NSAlDs with topical diclofeoac resulted in a
          cosmetics, and/or other topical products can. be applied to an          higher rate of rectal hemorrhage, more frequent abnormal
          area previously treated with a topical diclofenac solution              creatinine, urea and hemoglobin; (b) that in a controlled trial,
          (e.g., Pennsaid®).                                                  40 a higher rate ofcontact dermatitis with vesicles was observed
             lnyetanotheroonlimitingembodiment,amethodofmanu-                     after treatment of 152 subjects with the combination of topi-
          facturing a topical diclofenac pharmaceutical product com-              cal diclofenac and oral diclofeoac; (c) the results of a clinical
::J       prises packaging a topical diclofenac dosage form, for                  study demonstrating that the addition of topical diclofeoac to
..::i.    example, a topical diclofenac solution comprising or consist-           oral diclofenac did not cause an elevation of liver transami-
          ing essentially of I .5% diclofenac sodium (2-[(2,6-dicblo- 45 nases in osteoarthritis patients over use of oral diclofeoac
          rophenyl)amioo]beozeneacetic acid, monosodium salt),                    alone; (3) preclinical study results with topical diclofenac,
.•.:
          45.5% DMSO, ethanol, propylene glycol, glycerine, and                   including, for example, the results of an animal study in
··::,
..        water, with some or all oftbe following information, in writ-           which no adverse ocular effects were observed after multiple-
          ten or electronic fonn: (1) clinical effects of topical                 daily derol81 application to rats for 26 weeks and mini pigs for
          diclofenac dosing, including, for example, (a) the effects of 50 52 weeks of DMSO at twice the concentration found in a
          particular QID dosing; (b) the effects ofQID dosing in one or           topical diclofenac solution (e.g., Pconsaid®); and (4) a state-
          more clinical trials; (c) results from a 12-weck, double-blind          ment that, once dry sunscreen, insect repellant, lotion, mois-
          controlled trial of topical diclofenac in a solution containing          turizer, cosmetics, and/or other topical products can be
          dimethyl sulfoxide in subjects with osteoartbritis of the knee          applied to an area previously treated with a topical diclofenac
 ·:i      which compared the performance of said topical diclofenac 55 solution (e.g., Pennsaid®).
:-i·:1    solution against a vehicle solution containing 45 .5% dimethyl
           sulfoxide and a placebo solution containing 2.3% dimethyl
                                                                                      In oneooolimiting embodiment, information regarding the
                                                                                   clinical effects of dosing of a topical diclofenac solution
           sulfoxide; (d) pbannacokinetic results from one or more stud-           includes the effects of 40-drop QID dosing of said topical
           ies in which single and multiple doses of a topical diclofcnac          diclofenac solution, and/or the effects of40-drop QID dosing
           in a vehicle solution containing dimethyl sulfoxide was 60 of.said topical diclofeoac solution in one or more clinical
           applied topically to healthy human volunteers; (2) an adverse           trials.
           event profile of a topical diclofenac, including, for example              lo one noolimitiog embodiment, the article of manufacture
           (a) that concomitant use . of oral NSATDs with topical                  is a kit. Thus, one aspect of the invention provides a novel kit
           diclofouac resuhc<l in a higher rate of rectal hemorrhage,              of partscomprismg topical diclofcnac (for cxampl", a topical
           more frequent abnormal creatinine, urea and hemoglobin; (b) 6S diclofenac solution or gel as described, or referenced, herein)
           that in a controlled trial, a higher rate of oontact dermatitis         and information informing a user or prescriber of novel
 :1        with vesicles was observed after treatment of 152 subjects              results from preclinical and clinical studies.
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                                                                    APPX81
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                      In one noolimiting embodiment, or in aoy of the method
                                                                                      s         glycol, glycerine, and water is statistically significantly
                  described herein, the user or prescriber is informed of                                                                                            dif-
                                                                                  the           ferent depending on whed1erthesolution is applied as a single
                  results of or more preclinical st\ldies in which concomitant                  dose or as multiple doses.
                  use of topical dicloferuic with other topical products, includ·                   lo one aonlimiting embodiment, lbe user or prescriber
                  i.og DEET (active ingredient in insect repellent), 2,4-D (active                                                                                       is
                                                                                                infonned of the results of a clinical study demonstrating
                 ingredient in commonly used pesticides) and oxybeozone                                                                                              that
                                                                                                the addition of topical diclofenac to oral diclofeoac did
                 (active ingredient in sunscreens), was investigated. In                                                                                              not
                                                                                one             increase the incidence of ccnain systemic adverse events
                 aspect of this embodiment, the user or prescriber is informe                                                                                           in
                                                                                     d         osteoart   hritis patients    . In one  aspect of this embodiment, the
                 thlll repeated application of topical diclofenac did                          user   or prescrib   er is further    informe d that the combination of
                                                                                 not
                 enhance the systemic absorption of these products. In
                                                                          another 10 topical diclofcoae and oral dielofcnac did not increase the
                 aspect of this embodiment, the user or prescriber is informe                  incidence of digestive system events over oral diclofen
                                                                                    d                                                                                  ac
                 that before applying sunscreen, insect repellaot, lotion, mois-              alone. In aoother nonlimiting embodiment, the user or
                                                                                                                                                                    pre-
                 turizer, cosmetics, or other topical medication to the same                  scriber is informed of a study showing that administration
                                                                                                                                                                       of
                skin surface of the knee treated with topical diclofenac,                      topical diclofcnac results in less frequent adverse events asso-
                                                                               one IS ciated
                should wait witil the treated area is wy, wh.ich occurs most                           with the NSAJD class than oral diclofcoac alone and/or
                often witb.infromabout 10-15 orabout30 minutes. In another                    the results of a clinical study demonstrating that the addition
                aspect of Ibis embodiment, inehiding in any of the method                     of topical diclofcnac to oral diclofeoac did not cause an eleva-
                                                                                    s         tion of liver transaminases in osteoarthritis patients over
                described herein, the user or prescriber is informed that con-                                                                                       use
                comitant use of topical diclofenac and sunsccecos and insect                  of oral diclofenac alone.
;,I             repellants is safe. In another aspect of this embodiment,
                                                                                        20         lo another   nonlimi    ting embodiment, the user or prescriber
                                                                                              is informed of the results of a clinical trial in which one knee
                including in any of the methods described herein, the user
                                                                                 or           was    success  fully  treated with topical diclofcnac even though
                prescriber is informed that use of topical diclofcnac does
                                                                                not           most subjects bad bilateral osteoarthritis of the knees. lo
               reduce the efficacy of a sunscreen. Tn another aspect of                                                                                             one
  I                                                                           this           aspect     of this  embodiment, the user or prescriber is further
  !             embodiment, including in any of the methods describe
                                                                                   d 2s informed that topical diclofenac may be applied to
               herein, the user or prcscnoer is informed that use of topical                                                                                  only one
  i
  ;
               diclofenac does not reduce the efficacy of an tnsect repellan
                                                                                   t.
                                                                                             knee despite the existence of bilateral osteoarthritis.
                                                                                                  lo another nonlimiting embodiment, the user or prescrib
  I                  In one noolimiting embodiment, or any of the method                                                                                              er
                                                                                    s        is informed that a regimen of topical diclofeo.ac and
               described herein, a user may also be informed of the effects                                                                                        oral
               use of other topical products io conjunction with topical
                                                                                 of          diclofcn    ac is useful for treating an individual witb persistent
                                                                                        30 or breakthrough knee pain despite using
               diclofenac in DMSO, including, for example, that concom                                                                            an oral NSAID.
                                                                                  i-              Jo another nonlimiting embodiment, the us~ror prescrib
               tant topical use of diclofeoac in DMSO by repeated opplica-                                                                                            er
               tion with other topical products, including DEET, 2,4 ·D and/                 is informed that topical diclofenac, or a l\."'gimeo of topical
                                                                                             diclofenac and oral diclofenac, is useful when topical
              or oxybenz.one (active ingredient in sunscreens) did
                                                                              not            diclofenac is applied to only one knee of a subje¢t
              enhance the systemic absorption of these prod'Ucts; and/or                                                                                          with
                                                                               (b) JS osteoarthritis even though both knees ofan individu
              the effect ofthe use oftopical diclofcnac in DMSO on absorp·                                                                                  al may be
                                                                                             affected.
              1ion of environmental toxins, including, for example,
              results of a study showing that repeated topical applicationthe                     lo yet another nonlimiting embodiment, the user
                                                                                                                                                               is pro-
                                                                                of           vided with some or all of the topical diclofcnac clin.ical
              diclofenac in DMSO did not increase systemic environmental                                                                                           and
              toxin exposure.                                                               preclini   cal   informa    tion    describe d  herein for purposes of
                                                                                       40 enhancing the safety profile of topical
                    In one noolimiting embodiment, or in any of the method                                                                     diclofenac.
                                                                                  s              The topical diclofenac composition will compris
             described herein, the user or prescriber is informed of                                                                                                   e
-··1   'I
              results of a traosepidermal water loss study in which
              alteration in skin barrier function following chronic use
                                                                              the
                                                                               no
                                                                                            diclofco
                                                                                            in   an
                                                                                                        ac
                                                                                                     amount
                                                                                                           and   at least
                                                                                                               sufficien   t
                                                                                                                            one
                                                                                                                              to
                                                                                                                                  transder mal penetration enhancer
                                                                                                                                 aid in the delivery of a therapeuti-
       I                                                                       of          cally effective amount of diclofeoac to a desired area.
=1     l
             topical diclofeaac was fowid In one aspect of Ibis embodi
                                                                                  - 4S topical diclofenac may also include one or more pharma
                                                                                                                                                                  The
             ment, including in any of the methods described herein,                                                                                             ceu-
:,!
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.,
       l
       r
             user or prescriber is informed that the study was performed
             human volunteers' skin.
                   In one noolimiting embodiment, or in any of the method
                                                                             the
                                                                              on
                                                                                            tically    accepta  ble
                                                                                           agents, dispersants, etc.
                                                                                                 In certain  embodi
                                                                                                                      carriers, thickening agents, solubilizing

                                                                                                                       ments, the diclofcoac is ill the fonm of a
·\           described herein, the user or prescriber is in.formed of
                                                                                 s         pharmaceutically acceptable salt or free acid. Bxamplcs
                                                                                                                                                                    of
                                                                             the so pharmaceutically acceptable salts include metal salts,
             phannacokinetic results from studies in which single                                                                                             includ-
                                                                            and            ing    alkali metal, alkaline earth metal, and nitrogen-based salts
             multiple doses of a topical diclofeoac in a ve.bicle solution
                                                                                           such as ammonium salts. Sodium, potassium, epolamioc
             containing dimethyl sulfoxide was applied topically                                                                                                  and
                                                                               to          dietbylamine salts are preferred. Jo one preferred embodi
             healthy human volunteers;                                                                                                                                -
                                                                                           ment the diclofenac is diclofeaac mooosodium salt.
                  In one noolim.iting embodiment, or in any of the method
 j           described herein, the user or prescriber is informed that s ss                     lo one ooolimiting embodiment, the topical diclofeaac is
                                                                                                                                                                     a
                                                                               in          solution.
·J          clinical trials the combination of topical diclofenac and
                                                                           oral                In another noolimiting embodiment, the topical diclofenac
  i         diclofcoac, compared to oral diclofonac aJone, resulted
                                                                           in a           isa gel.
  i         higher rate of rectal hemorrhage (3% vs. less alum I%),
            more frequent abnormal creatinine (12% vs. 7%), urea (20%
                                                                            and                lo onenonlimitiog embodiment, the topical diclofenac is
                                                                                     60 solution that comprises or consists essentially
                                                                                                                                                                     a
  !         vs.12%), and bemoglobin(l3%vs. 9%), but no difference
                                                                              in          and between about 40"/o and about 85% DMSO by weight
                                                                                                                                                       of diclofcnac
            elevation of liver transamiuases.                                                                                                                      of
                                                                                          the solution, preferably between about 40% and about 60"/o
                 In one nonlimiting embodiment. or in any of the method                   DMSO by weight of the soluli<'n. more 11referahly hetwecn
                                                                                s
            described herein, the user or prescriber is infonued that
                                                                            1l1c          about 40% um! aboul 50% OMSO by wcil',lll ol the solution
            diclofenac balflife and elimination constant          K.,
                                                                  for a topical 6S still more preferably between about 42.5% and
            diclofenac solution comprising or consisting essentially                                                                                   about 48.5%
                                                                                                                                                                     ,
                                                                             of           DMSO by weight oftlic solution, and most preferably about
            J.5% diclofenac sodium, 45.5% DMSO, ethanol, propylene                       45.5% DMSO by weight of the solution; a polyalcohol, pref-




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                                                                 US 8,217,078 Bl
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             erably having 3-5 carbon atoms, for lhe retention of moisture        Jo certain embodiments, tbe above-described topical
              in the skin, which in certain embodiments is glycerol or         dic!ofcnac gel formulations include 1-5% glycerol. lo such
             glycerine; a dispersant for assisting to disperse the compo-      embodimeolS, the gel formulation will have a drying rate and
             nents in solution to provide a homogeneous solution when          a transdermal 0ux that are greater than a comparative liquid
             applied to the skin and wbeo penetrating the skin, which in 5 topical diclofcoac formulation. In other embodiments, the
             one embodiment is propylene glycol; and water.                    above-described topical diclofenac gel formulations will
                 In one nonlimiting e.mbodimeat, the topical diclofenac is a   have a pH of about 6.0 to about I 0.0.
             solution comprisiog or consisting essentiatly of 1.5% w/w            In another nonlimiting embodiment, the topical diclofeoac
            diclofenac sodium (2;[(2,6-<lichlorophenyl)amino)benzene-          is a gel formulation comprising dic!ofenac (e.g., diclofenac
             acetic acid, monosodium salt) and 45.5% w/w dimelhyl sul- to sodium), ethanol, dimethyl sulfoxide, propylene glycol,
             foxide.                                                          bydroxypropylcellulose and water. In one aspect of this
                 In another nonlimiting embodiment, lhe topical diclofcnac    embodiment, the hydroxypropylcellulose is substituted with
             is a solution that comprises or consists essentially of 1.5%     a!klycel!ulose, bydroxyalkylcellulose, carboxyalkylccllu-
            dic!ofenac sodium (2-((2,6-dichlorophenyl)amino ]benzene-          lose, or sodium carboxyalkJyccllulosc, where alkyl is methyl,
            acetic acid, mon!)$0dium salt), 45.5% DMSO, ethanol, pro- 15 ethyl or propyl , or a mixture thereof.
                                                                                  lo another aspeel of the present ioveotioo, some or all ofthe
            pylene glycol, glycerine, and water.
                                                                              user ioformalioo described herein is provided and pain is
                 In another nonlimiting embodiment, the topical diclofenac
                                                                              reduced in a suppol1ing body structure ofa subject, inc!odiog
             is a gel formulation according to PCf/US2007/081674 (In-         joints, muscles, tendons, ligaments, cartilage and skin, by
             ternational Publication No. WO 2008/049020 A2), the·coa- 20 topically administering to a subject in neod thereof a
                                                                                                                                      phanna-
            tents of which arc incorporated herein in their entirety by this  ccutical composition comprising a therapeutically effective
            reference. The topical diclofcnac may be any of the formula-      amount of diclofenac in dimethyl sulfoxide, preferably
            tions described or claimed therein. In another aonlimiting        45.5% w/w dimethyl su!foxide, or a pharmaceutical compo-
            embodiment, lhe topical dic!ofcnac is a gel formulation           sition comprising a therapeutically effective amount of
            according to US Patent Application No. 20080300311 (pub- 25 dic!ofeaac in a gel formulation, as described herein, in PCf/
            !isbed Dec. 4, 2008), the contents of which are incorporated      US2007/08J674, or in US Patent Application No.
            herein in their entirety by this reference. The topical           20080300311. In another noolimiting cmboclimeot, pain in
            d~lofeoac may be any of the fonnulations describod or             the musculoskeletal system of a subject is reduced. In another
            claimed therein.                                                  noolimiring embodiment, pain in a supporting body structure
                 In another nonlimitingembodiment, the topical diclofenac 30 ofa subject and/or in the musculoskeletal system of a subject
            is a gel formulation comprising diclofe.nac (e.g., diclofcnac     is reduced.
            sodium), dimelhyl sulfoxidc, elhllnol, propylene &)ycol, one          Various uses of the information provided herein following
            or more thickening agents, and water. In one aspect of this       new clinical and preclinical studies include uses for treat-
           embodiment, the topical diclofenac gel folllllllatioo funher       ment, or in the manufacrure or preparation of formulations,
           comprises glycerol. In another aspect, the thickening agent is )S compositions, articles of manufacture: and kits.
            selected from lhe group consisting of cellulose polymers,            lbe invention also includes methods employing topical
            carbomer polymers, acarbomerdcrivativc, a celluloscdcriva-       diclofcoac, kits and articles of manufacture useful for pain
            tivo, polyvinyl alcohol, poloxamers, polysaccharides, and        relief or prevention in the treatment of a subject, including in
            mixtures thereof.                                                the treatment of a subject following an invasive medical pro-
                In another noolimiting embodiment, the topical diclofenac «> cedure or surgery, including an 011bopedic procedure or sur-
            is a gel formulation comprising or consisting essentially of     gery, or a subject predisposed to or olherwise at risk for pain,
            1-5% w/w dic!ofcoac (preferably diclofeaac mooosodium);          wherein said melhods, kits and articles of manufacture com-
 :i.'J     30-60% w/w dimethyl sulfoxide; 1-50% w/w ethanol; 1-15%           prise some or all of the user information described bereio. The
           w/w propylene glycol; a thickener; and water (added to make       topical diclofeoac described herein is administered to a site of
 ·1         100% w/w). Ina preferred aspect ofthis embodiment, the gel 4S pain (acute or chronic, for example) and/or proximally
    }      fonnulatioo bas a viscosity of I 0-50,000 centipoise.             thereto (including, for example, areas of reflected or second-
       l        In another oonlimiting embodiment, the topical diclofenac    ary pain). Thus, for example, some oral! oftbeuserioforma-
  ·i       is a gel formulation comprising or consisting essentially of      tioo described herein is provided and the topical diclofenac is
       I   about 2% w/w dic!ofenac (preferably diclofenac monoso-            administered to the skin at a site of pain and/or to skin loca-
           dium); about 45.5% w/w dimethyl sulfoxide; about 23-29% so tions proximal !hereto in a supporting body s1rucrurc of a
           w/w ethanol; about 11% w/w propylene glycol; about 0-6%           subject, including joints, muscles, tendons, ligaments, carti-
           w/w hydroxypropylcellulose (HYI 19); and water (added to          lage and skin (includinganyooeo.r more of these, together, or
           make 100% w/w). In a preferred aspect of this embodimeo.t,        in any combination), and/or in the musculoskeletal system,
           the gel formulation has a viscosity of 500-5,000 ceotipoisc.      by topical administration as provided herein, whereby pain is
                lo another nonlimiting embodiment, the topical diclofcnac ss reduced.
           is a gel formulation comprising or consisting essentially of          lo one aspect, the present invention is directed to a melhod
           diclofenac (preferably diclofeoac moDosodium) at a concen-        for reducing pain in a supporting body structure of a subject,
           tration selected from the group consisting of I. 1.5, 2 and 3%    comprising topically administering to said subject in need
           w/w; dimethyl sulfoxide at a coocentration selected from the      thereof a pharmaceutical composition comprising a therapeu-
           group consisting of 42, 43, 44, 45, 45.5 46, 47, 48 and 49% 60 tically effective amount of a traosdermal diclofeoac
                                                                                                                                      solution
           w/w and fractions in between; ethanol at 23-29% w/w; pro-         or gel formulation comprising DMSO, whereby pain is
           pylene glycol at a concentration selected from lhc group          reduced, and providing to a user some or all ofthe clinical and
           consistingof9. 10, 11. 12, l3%w/wandfractionsinbetwcen:           preclinical information describod herein. According 10 one
           hydroxypropy!cc!lu!ose (HY 119) al 0-6% w/w; and water            nonho1itin11, l.!mbodimcm, the suppo11ing body structure is a
           (included in an amount sufficient to make 100"/4 w/w). Jo a 6l joint.According to another ooolimiting embodiment, the sup-
           preferrod aspect of this embodiment, the gel formulation bas      poniog body structure is selected from the group consisting
           a viscosity of about 500-5000 ceotipoisc.                         of muscles, bones, tendons, ligaments and cartilage. lbese




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                                      13                                                                        14
         methods are suitable for 1reating a subject suffering from               diclofenac solution against a vehicle solution containing
         artbrilis. Conditions which may be lrcated i nclude osleoar-             45.5% dimethyl sulfoxide and a placebo solution containing
         thritis, rheumatoid arthritis, and anklyosing spondylitis.               2.3% dimethyl suJfoxide; and (iv) pharmacokinetic results
            In a further nonlimiting embodiment this method is suit-              from one or more studies in which single and multiple doses
         able for treating a subject suffering from acute pain. Suitable     5    of a topical diclofonae in a solution containing dimethyl sul·
         pain conditioos for treatment by this method include back                foxidc was applied topically to healthy human volunteers; (b)
         pain, knee pain, hip pain, shoulder pain, ankle or leg pain,             an adverse event profile for a topical diclofenac solution
         hand pain or finger pain, in which a user is also provided with          comprising 1.5% w/w diclofenac sodiwn and 45.5% w/w
       . some or all of the clinical and preclinical information                  dimethyl sulfoxide, including, (i) concomitant use of oral
         described herein. In an alternate nonlimiting embodiment, the       Io   NSA!Ds with topical diclofenac resulted in a higher rate of
         subject is suffering from chronic pain, which may include                rectal hemorrhage, more frequent abnormal creatinine, ·urea
         back pain, knee pain, hip pain, shoulder pain, ankle or leg              and hemoglobin; (ii) that in a controlled trial, a bigherrateof
         pain, band painorfingerpain. lnanothernonl imitingembodi-                contact dermatitis with vesicles was observed after treatment
         ment, the subject is suffering from postoperative pain.                  of 152 subjects with the combination of topical diclofenac
            lo another aspect, the present invention is directed to a        Is   and oral diclofenac; and (iii) results of a clinical study dem-
         method forapplyingmultiple topical agents toan subject with              onstrating that the addition ofsaid topical diclofcnac solution
         pain comprising topically administering a pharmaceutical                 10 oral diclofenac did not cause an elevation ofliver transanti-
•·.·
·--      composition comprising a therapeutically effective amount of             nases over use of oral diclofenac alone; (c) preclinical study
         a topical diclofeoaccomprisingdiclofcnac in DMSO, waiting                results for a topical formulation comprising dimethyl sulfox-
         for the treated area to dry (the time for which can be depeo-       20   ide, including for example, the results of an animal study in
         dent on individual skin characteristics, environmental condi-            which no adverse ocular effects were observed after multiple-
         tions such as temperature and hwnidity, and surface area,                daily dermal application to rats for 26 weeks and mini pigs for
         being often about 5-30 minutes, or about 5-20 minutes, for               52 weeks of DMSO at twice the concentration found in a
         example, or typically about 10 minutes or less for a topical             topical diclofenac solution (e.g., Penns aid®); and (d) a state-
         diclofenac preparation, including a topical <liclofeoac solu-       2s   ment that, once dry, sunscreen, insect repellant, lotiou, mois-
         lion as described in the Examples), and applying another                 turizer, eosmetics, and/or other topical products can be
         topical agent(s). In one nonlimiting embodiment, the subject             applied to an area previously treated with a topical diclofooac
         bas osteoarthritis. In another nonlimiting embodiment, the               solution (e.g., Peonsaid®).
         subject has osteoarthritis of the knee. In one embodiment, the              In another aspect, a method of treating osteoarthritis oftbe
         topical agent administered after the topical diclofenac is a        JO   knee is provided which comprises supplying a topical
         sunscreen or an insect repellant.                                        diclofenac preparation and the Attachment to the patient.
          Jo another nonlimiting embodiment, tbe invention includes                  Also provided is a method of obtaining marketing autho-
         a method of protecting a subject with osteoarthritis from UV             rization from a regulatory authority for a·topical diclofenac
         exposure and alleviating the signs and symptoms of osteoar-              product comprising referencing the kit of information.
         thritis in the subject comprising 1be steps of applying a them-     JS      In another embodiment, a method for distribution of a
         peutically effective amount of a transdermal diclofenac solu-            topical diclofenac product is provided, comprising the steps
         tion or gel formulation comprising diclofenac in DMSO;                   of (a) obtaining marketing authorization from a regulatory
         waiting for the treated area lo dry (the time for which can be           authority for a topical diclofenac product comprising refer-
         dependent on individual skin characteristics, environmental              encing the kit of information; and providing said topical
         conditions such as temperat\lre and humidity, and surface           40   diclofenac product 10 one or more distributors.
         area, being often about 5-30 minutes, or about 5-20 minutes,                These and other aspects of the present inventions, which
         for example, or typically about IO minutes or less fora topical          are not limited to or by the information in this BriefSwrunary,
         diclofcnac preparation, including a topical <liclofeaac solu-
:~                                                                                are provided below.
...      tion as described in the Examples), and applying sunscreen to
         all or a portion of the same area of treatment.                     45          BRJEF DESCRIPTION OF THE DRAWINGS
=.i         In a further aspect, provided is an article of manufacture
         comprising a topical diclofenac preparation (e.g~ a solution               FIG.1 shows mean TEWLscores for Retin-A® by Day-
         or gel formulation for transdermal administration as                     !TI.
         described herein) and a packaging material, wherein said                   FIG.2showsmeanTEWLScoresforPennsaid®byDay-
         topica) diclofenac preparation comprises a pain relief etfec-       so rrr.
         tive amount of diclofenac in DMSO, wherein said packaging                 FIG. 3 shows mean plasma concentration-time profile for
         material comprises a label or insert that indicates that said          diclofenac sodium (ng/mL).
         composition may be used for reducing pain in a supporting                 FIG. 4 shows mean plasma concentration-time profile for
         structure, and wherein a user is also provided with some or all        dimethyl sulfoxide (µg/mL).
         of the clinical and preclinical information described herein.       55    FIG. 5 shows mean plasma concentration-time profile for
            In another aspect, a kit of information concerning a topical        diclofeoac sodium (ng/mL).
         dielofenac product comprising diclofenac and dimethyl sul-                FIG. 6 shows mean plasma concentration-time profile for
         foxide is provided, said kit comprising information about (a)          dimethyl sulfoxide (µg/mL).
         clinical effects of closing of a topical diclofenac solution              FIG. 7 shows mean plasma concentration-time profile for
         comprising 1.5% w/w diclofenac sodium and 45.5% w/w                 60 dimethyl sulfone (µg/mL).
         dimethyl sulfoxide, including (i) the effects of (for example,            FIG. 8 shows log diclofenac plasma concentration versus
         40-drop) Q!D dosing of said topical diclofeoac solution; (ii)          time after single and multiple dose application of a topical
       . the effects of (for example, 40-drop) ·QID dosing of said              solution containing. 1.5% w/w diclofenac sod ium and 45.5%
         topical diclofonac solution in one or more clinical trials; (iii)      OMSO.
         results from a 12-week, double-blind, controlled trial of said      65    FIG. 9 shows an analysis of elim.illlltion rate constant (IQ)
         topical diclofcnac solution in subjects with osteoarthritis of         after single and multi dose application of a topical solution
         the knee wbich compared the performance of said topical                containing 1.5% w/w diclofenac sodium and 45.5% DMSO.




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                   FlG. lOA shows diagram ofFIG.1. Dispense 10 drops of              between entities, for profit or not. Examples of ph.armaceuti-
                 PENNSAID® at a time.                                                cal suppliers include pharmaceutical distributors, pharmacy
                   FIG. 108 shows diagram ofFlG. 2. Spread PENNSAJD®                 chains, pharmacies (online or physical), hospitals, HMOs,
                 evenly on the front, and sides of your knee.                        supermarkets, the Veterans Administration, or foreign busi-
                   FIG. lOC shows diagrnm of FIG. 3. Spread PENNSAJD®                nesses or individuals importing topical diclofenac into the
                 evenly on the back of your knee.                                    United States.
                                                                                        As used herein, "preventing" or "prevention" means pre-
                                   DETAILED DESCRIPTION                              venting in whole or in part, or ameliorating, reducing or
                                                                                    controlling.
                     As used herein, a "disorder" is any disorder, disease, or 10       A "product" or "pharmaceutical product" means a dosage
                 condition involving pain lhat would benefit from topical            form of topical diclofenac plus published material and
                 diclofcnac.                                                        optionally packaging.
                     "Enhancing the safety profile" oflopical diclofenac means          "Providing" means giving, administering, selling, distrib-
                  implementing actions or articles designed or intended to help      uting, transferring (for profit or not), manufacturing, com-
                  reduce the incidence of adverse events associated with IS pounding, or dispensing.
                 administrntion of topical diclofenae, including adverse                "Published material" means a medium providing informa-
                 effects associated with patient-related factors (e.g., age, gen-    tion, including printed, audio, visual, or electronic medium,
                 der, ethnicity, race, target illness, abnormalities of cardiovas-   for example a flyer, an advertisement, a product insert, printed
                 cular, gastrointestinal, renal or hepatic function, co-morbid       labeling, an internet web site, an internet web page, an inter-
                 illnesses, characteristics such as pregnancy or environment, 20 net pop-up window, a radio or television broadcast, a compact
                 including sun exposure) and topical diclofenac-related fac-        disk, a DVD, a podcast, an audio recording, or other recording
                  tors (e.g., dose, plasma level, durntion of exposure, or con-     or electronic medium.
                 comitant medication).                                                  "Safety" means lbe incidence or severity of adverse events
                     "Informing" means referring to or providing, pu)>lished        associated wiU1 administrntion of topical diclofenac, includ-
                  material including in electronic form, for example, providing 2s ing adverse effects associated with patient-related factors,
                  published material to a user; or presenting information orally,   including as noted above, and topical diclofenac-related fac-
                 for example, by presentation at a seminar, conference, or           tors, including as noted above.
                 other educational presentation, by conversation between a              As used herein, "subject" refers to any mammal, including
                  pharmaceutical sales representative and a medical care            humans, domestic and farm animals, and zoo, sports, or pet
                  worker, or by conversation between a medical care worker JO animals, such as dogs, horses, cats, sheep, pigs, cows, etc.
                 and a pa.tient; or demonstrating the intended infonnation to a     Non-limiting preferred mammals are a human, including
                  user for the purpose of comprehension. "Published" material       adults, children, and the elderly. Non-lim.itilli!, preferred
                 may be in any form, including printed and electronic forms.        sports animals arc horses and dogs. Non-limiting preferred



       I
                 Electronic forms include material stored in any memory or          pet animals are dogs and cats.
                 data storage format or medium (e.g., memory stick, CD, JS              As used herein, "supporting body strucrure of a subject"
                 DVD, or other machine readable form), as well as materials         refers to skeletal elements, joints, muscles, tendons, liga-
                 a,•ailable or accessible via the Internet oronlinedatabases, for   ments, cartilage, and skin of that subject. Particularly useful
                 example.                                                           applications of the present invention include the prevention or
                     A "medical care worker" means a worker io the heallb care      treatment of pain in and around joints, including shoulders,
                 field who may need or utilize information regarding topical 40 hips, knees, elbows, bands and fingers. Other particularly
                 diclofenac including a dosage form thereof, including infor-       useful applications of the present invention include the pre-
                 mation on safety, efficacy, dosing, administration, or pharma-     vention or treatment ofpain in the knee, including pain result-
                 cokinetics. Examples of medical workers include physicians,        ing from osteoarthritis of the knee. Each of these may be
                 pharmacists, physician's assistants, nurses, aides, caretakers     treated separately, as may each ofjoints, muscles, tendons,
                 (which can include family members or guardians), emer- 4S ligaments, cartilage, and skin be the subject of separate treat-
                 gency medical workers, and veterinarians .                         ment for pain.
.:i                  As used herein, "musculoskelctal system" (also known as            As used herein, a "therapeutically effective amount" or
:'!              the locomotor system) refers to the system that gives animals      "effective amount" in reference to the compounds or compo-
                 the ability to physically move using the muscles and the           sitions of the instant invention refers to an amount sufficient
                 skeletal system. The musculoskeletal system includes the so to induce a desired biological, pharmaceutical, or therapeutic
                 skeleton, made by bones attached to other bones with joints        result. That result can be alleviation of the signs, symptoms,
                 and ligaments, and skeletal muscle anached to the skeleton by      or causes of a disease or disorder or condition, or any other
                 tendons. Particularly useful applications of the present inven-    desired alteration of a biological system. lo the present inven-
                 tion include the prevention or treatment of musculoskeletal        tion, the result will involve preventing pain.
                 pain, including paint.bat affects the joints, muscles, ligaments ss The term "topical", as used herein, means lbe epicutaocous
                 and tendons, along with bones.                                     application of an agent to the skin.
                    As used herein, "pain" includes acute pa in and chronic             Topical diclofenac solutions include any of the diclofenac
                 pain.                                                              solutions described or claimed herein (or described or
                    A "patient" means a subject in need of medical treatment.       claimed in U.S. Pat. No. 4,575,515 or 4,652,557), which arc
                 Me<lical treatment can include treatment of a:o existing con- 60 useful for the transdermal administration of diclofenac to a
                 dition, such as a disease or disorder, prophylactic·or preven-     subject, including, for example, a formulation containing
                 tative treatment. lo some embodiments the patient is a human       1.5% w/w/ diclofcnac sodium (2-((2,6-dicWorophenyl)
                 patient.                                                           amino]benzeneacetic acid, monosodium salt) and 45.5% w/w
                    A "phannact:utical supplier" meaos a person (o!hcr than a       l)MSO, and a fonnulatiou contaiuing 1.5% w/w/ diclo!enac
                 medical care worker), business, charitable organization, gov- 65 sodium (2·((2,6-dichloropbcnyl)amino]benuneacetic acid,
                 ernmental organization, or other entity involved in the trans-     mooosodium salt), 45.5% w/w DMSO ethanol, propylene
                 fer of topical diclofenac, including a dosage form thereof,        glycol, glycerine, and water.




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             Topical diclofenac gel formulations include any one or                         topical diclofenac and oral diclofenac, compared to
          more of the diclofenac gel formulations described or claimed                      oral diclofenac alone, resulted in a higher rate ofrectal
          herein (or described or claimed in PC'T/US2007/081674 or                          hemorrhage (3% vs. less than 1%), and more frequent
          US Patent Application No. 200803003 l I), which arc useful                        abnormal creatinine (12% vs. 7%), urea (20% vs.
          for the transdermal administration of diclofeoac to a subject.                     12%), and hemoglobin (13% vs. 9%));
             The term "transdermal", as used herein, means the delivery                  b. that in a controlled trial, a higher rate of contact
          of an agent into and/or through the skin for therapy.                             dermatitis with vesicles was observed after treatment
             The terms "treating" and "treatment" mean implementa-                           of 152 subjects with the combination of topical
          tion of therapy with the inientioo of reducing the severity or                     diclofeoac and oral diclofenac;
          frequency of symptoms. As used herein, the terms "treating"        10
                                                                                         c. that in clinical trials; (d) the results of a clinical study
          and "treatment'' refer to both therapeutic treatment and pro-                      demonstrating that the addition of topical diclofenac
          phylactic or preventative measures.
                                                                                             to oral diclofenac did not cause an elevation of liver
             A "user" means a patient, a medical care worker, or a
                                                                                             traosarninases in osteoarthritis patients over use of
          phannaceutical supplier.
                                                                                             oral diclofenac alone;
             Disclosed herein are methods of using topical diclofenac        tS
          formulations, articles of manufacture incorporating topical                 3. A preclinical study profile for topical diclofcnac, includ-
          diclofenac formulations, and kits. Specifically disclosed are                   ing, for example, the results ofan animal study in·which
          methods of using topical diclofenac aod informing users of                      no adverse ocular effects were observed after multiple-
          certain preclinical and/or clinical information.                                daily dermal application to rats for 26 weeks and
             In one nonlimiting embodiment, a method is prqvidcd in          20           minipigs for 52 weeks of DMSO at twice the concentra-
          which a subject is treated for a disorder with a t.ransdermally                 tion found in a topical diclofcnac solution (e.g.,
          delivered therapeutically effective amount of topical                           Pennsaid®);
          diclofenac and a user is provided with some or all of the user              4. A statement that, once dry, sunscreen, insect repellant,
          information described herein. In another nonlimiting                            lotion, moisturizer, cosmetics, and/or other topical prod-
          embodiment, a method is provided in which a support.i ng           2s           ucts can be applied to an area previously treated with a
          body structure or the musculoskeletal system of a subject is                    topical diclofeoac solution (e.g., Pcnnsaid®)
          treated for a disorder with topical diclofeoac and a user is              This information, which may relate, for example, to a topical
          provided with some or all of the user information described               diclofenac containing 1.5% diclofenac sodium (2-[(2,6-
           herein. In another nonlimiting embodiment, the supporting                dichlorophenyl)amino]benzeneacetic acid, monosodium
           body structure is selected from joints, muscles, tendons, liga-    JO    salt), 45.5% DMSO, ethanol, propylene glycol, glycerine,

     !i    ments, cartilage and skin, and includes treatment of pain in
          and around joinlS; includiog shoulders, hips., knees, elbows,
                                                                                    and water, is sometimes referred to herein as the "Informa-
                                                                                    tion."
          hands and fingers, as well as the back, particularly the lower               Other adverse event infonnation may include that admin-



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          back. In one nonlimiting embodiment the pain is acute pain.
          In one nonlimiting embodiment the pain is chronic pain. In JS
          one nonlimiting embodiment the pain is treated. In another
          nonlimiting embodiment the pain is prevented. In one pre-
          ferred nonlimiting embodiment, the pain results from
                                                                                    istration of topical diclofcnacdocs not increase the incidence
                                                                                    of systemic adverse events over use of oral diclofenac alone;
                                                                                    that the addition of topical diclofenac to oral diclofenac does
                                                                                    not increase the incidence of systemic adverse events in
                                                                                    osteoarthritis patients; the results of a clinical study demon-
          osteoarthritis oft.he knee. Preferably, the subject is a human            strating that the addition of topical diclofeoac to oral
          subject.                                                             40   diclofenac did not increase the incidence of systemic advecse
             In one nonlimiting embodiment, information provided to                 events in osteoarthritis patients; and, the results of a clinical
          the user consists of, consists essentially of, or comprises               study showing that no eye lens abnormalities were observed
             I. A clinical profile for topical diclofenac including, for            with DMSO-vchicle or topical diclofenac solution treatment;
                example                                                             that administration of topical diclofenac results in less fre-
                a. the effects of particular QID dosing of diclofenac;         45   quent adverse events associated with the NSAJD class than
:i               b. the effects ofQID dosing in one or more clinical trials;        oral diclofenac alone; and, the results of a clinical study
                 c. results from a 12-wcek, double-blind controlled trial           demonstrating that the addition of topical diclofeoac to oral
                    oftopical didofeoac in a solution containing dimethyl           diclofenac did not cause an elevation ofliver t.ransaminases in
                    sulfoxide in subjects with osteoarthritis of the knee           osteoarthritis patients over use of ordl diclofenac alon.e .
                    which compared the performance of said topical so                   Other preclinical profile information may include the
                    diclofenac solution against a vehicle solution contain-         effect of the use of topical diclofenac on absorption of envi-
                     ing 45.5% dimethyl sulfoxide and a placebo solution            rownental toxins, including, for example, the results of a
                    containing 2.3% dimethyl sulfoxidc (for example, a              study showing that repeated application of topical diclofenac
                     12-week, double-blind, double-dummy, randomized                solution did not increase systemic environmental toxin expo-
                     controlled trial of topical diclofcnac in a vehicle solu- ss   sure; and the effects of use of other topical products in con-
                     tion containing dimethyl sulfoxide in 775 subjects);           junction with topical diclofenac, including, for example, that
                 cl phannacokinetic results from one or more studies in             concomitant use of diclofenac topical solution by repeated
                     which single and multiple doses of a topical                   application with other topical products, including DEET (ac-
                     diclofenac in a vehicle solution containing dimethyl            tive ingredient in insect repellent), 2,4-D (active ingredient in
                     sulfoxide was applied topically to healthy human vol- 60        commonly used pesticides) and oxybenzone (active ingredi-
                     untccrs;                                                        ent in sunscreens) did oot enhance the systemic absorption of
              2. An adverse event profile for a topical diclofenac, includ-          these products.
                 ing, for example                                                       Other information rrovided to the user mav include the
                 a. that coucomitant use uf oral NSAIDs with topical                 pl1.1nuacoki11e1ic nm,hs irom oue or mor~ sllljiC:S i,; which
                     diclofeoac resulted in a higher rate of rectal hemor- 65        single and multiple doses of a topical diclofenac in a vehicle
                     rhage, and more frequent abnormal crcatinine, urea              solution containing dimer.by! sulfoxide was applied topically
                     and hemoglobin (including that a combination of                 to healthy human volunteers;




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                      Other information provided to tbe user may include that tltc        In still another nonlimi1ing embodiment, information pro-
                   diclofenac half life and elimination constant K,1 for a topical     vided comprises information regarding the clinical cffccls of
                   diclofenac solution comprising or consisting essentially of         topical  diclofenac dosing, information regarding the adverse
                   1.5% diclofeoac sodium, 45.5% DMSO, ethanol, propylene              event profile of topical diclofenac, and/or information regard-
                   glycol, glycerine, and water is statistically significantly dif-    ing preclinical study results with topical diclofenac, as
                   ferent depending on whether the solution is applied as a single     described herein, wherein the topical diclofenac contains
                   dose or as multiple doses.                                          1.5% diclofenac sodium (2·[(2,6-dicblorophenyl)amino)
                      ln one nonlimiting embodiment, a user is provided with the       bcnz.cncacctic acid, monosodium salt), 45.5% DMSO, etha-
                   Information, or with some or all of the Information, or witb        nol, propylene glyc9l, glycerine, and water.
                                                                                          In one nonlimiling embodiment, lhe diclofcnac is in the
                   some or all of the topical diclofenac clinical and preclinical 10
                                                                                       form of a topical diclofeuac solution formulation. lo another
                   information described herein and in the Examples, for pur-
                                                                                       nonlimiting embodiment, the diclofenac is in the form of a
                   poses of enhancing the safety profile of topical diclofenac         topical diclofeoac gel formulation.
                   and/or enhancing its application to or by a subject in need            Diclofenac sodium is a beozene-acelic acid derivative that
                   thereof.                                                            is a nonsteroidal anli-inflammatory drug, designated chemi-
                      In one nonlimiting embodiment, information provided to 1s cally as 2-[(2,6-dicbloropheoyl)amino]benzeneacetic acid,
                   tbe user comprises information regarding the clinical effects       monosodium salt, and may be prepared by-means known in
                   of dosing a topical diclofenac containing 1.5% diclofenac           the art. See, for example, U.S. Pat. No. 4,575,515.
                   sodium (2-((2,6-dicbloropbenyl)amino]ben.zeneacctic acid,              Following synthesis a topical diclofenac solulion may be
                   monosodium salt}, 45.5% DMSO, ethanol, propylene glycol,            fonnulalcd by methods known io the art as 1.5% w/w
                   glycerine, and.water, including, for example, (I) the effects of 20 diclofenac sodium in DMSO (45.5% w/w). It is a clear, col-
                   particular QID dosing of dic.lofenac; (2) tbe effects of QID        orless to faintly pink-orange solution for topical application.
                   dosing in one or more clinical trials iocludiog the results from    Each 1 mL of solution may contain 16.05 mg of diclofenac
                   a 12-week, double-blind, double-dummy, randomized con-              sodium. In addition, the topical diclofenac solution will pref-
                   trolled trial of topica l diclofcnac in a vehicle solution con-     erably contain the following inactive ingredients: propylene
                   taining dimethyl sul foxide in 77 5subjects with radiologically .2S glycol, alcohol, glycerin and purified water.
                   confumed, symptomatic primary osteoarthritis of the knee;              In this disclosure, examples relating to new preclinical and
                   (3) the effect of treating osteoarthritis of the knee in one or     clinical discoveries regarding topical diclofenac are pro-
                   more clinical trials, including the effect of lreating one knee     vided.
                   when both knees are affected with osteoarfhritis; and/or (4)           While topical non-~'teroidal anti-inflammatory drugs are
                   results of a human volunteer study on trans-epidermal water 30 considered safe, their long-term efficacy for osteoarthrilis bas
                    loss in which no alteration in skin barrier function was            been suspect. Example 1 describes the results of a 12-week,
                    observed.                                                                            double-blind, double-dummy, randomized controlled 1rial of
                      In another nonlimitingembodiment, information provided            a topical diclofenac solution containing 1.5% diclofeoac
                    comprises information regarding the adverse event profile of        sodium (2-[(2,6-dicblorophenyl)amino ]benzencacetic acid,
                    a topical diclofenac containing 1.5% diclofenac sodium (2- JS monosodium salt), 45.5% DMSO, ethanol, propylene glycol,
                    ((2,6-dicbloropheny!)amino]ben.zeneacetic acid, mono so-            glycerine, and water was conducted in 775 subjects with
                    dium salt}, 45.5% DMSO, ethaool, propylene glycol, glycer-          radiologically confirmed, symptomatic primary osteoarthri-
                    ine, and water, including, for example (l) that administration      tis of tbe knee. This 5-arm study compared the topical
                    of topical diclofenac does not increase the incidence of sys-       diclofenac solution with a placebo solution, DMSO vehicle,
                    temic adverse events over use of oral diclofenac alone; (2) 40 oral diclofenac and a combinalion of the topical diclofenac
                    that the addilion of topical diclofcoac to oral diclofenac does     solution+oral diclofenac for relieving the signs and symp·
                    not increase the incidence of systemic adverse events in            toms of knee osteoarthritis. Subjects applied study solution,
                    osteoarthritis patients; (3) the results of a clinical study dem-   40 drops QID (four limes daily}, and took one srudy tablet
                    onstrating that the addition of topical diclofenac to oral          daily for I 2 weeks. Co-primary efficacy variables were West-
                    diclofenac did not increase the incidence of:systemic adverse 4S ern Ontario McMaster Universities Osteoarthritis lndex
                    events in osteoarthritis patients; and/or ( 4) the results of a     C'WOMAC") pain and physical function scores and a patient
.,                  clinical study showing that no eye lens abnormalities were          overall health assessment. Secondary variables were
                    observed with DMSO-vebiclc or topical diclofenac solu1ion           WOMAC stiffness and patient global assessment ("PGA'') of
                    treatment.                                                          the knee osteoarthritis. The topical diclofenac solution was
                       In yet another nonliroitiog embodiment, informalion pro- so superior to placebo forpain(-6.0 vs. -4.7, P=0.015),physical
                    vided comprises information regarding preclinical study             function (-15.8 vs. - 12.3, P=0.034), overall health (-0.95 vs.
                    results with a topical diclofeoac containing 1.5% diclofenac        -0.37, P<0.0001), and PGA(-1.36 vs. -1.01, P=0.016), and
                    sodium (2·[(2,6-dicbloropbeoyl)amino]beozeneacetic acid,            was superior to DMSO vehicle for all efficacy variables. The
                    monosodium salt), 45.5% DMSO, ethanol, propylene glycol,            most common adverse event was dry skin (18.2%). Surpris-
                    glycerine, and water, including, for ex.ample, (I) the effect of ss ingly, no significant difference was observed between DMSO
                    !he use of the topical diclofenac on absorption of environ-         verucle and placebo or between the topical diclofenac solu-
                    mental toxins, including, for example, the results of a study       tion and oral diclofenac, yet fewer digestive system and labo-
                    showing thal repeated application of the topical diclofenac         ratory abnormalities were observed with topical diclofenac
                    did not increase sys1emic environmental toxin exposure; and,         than oral diclofenac. Further, addition of the 1opical
                    (2).1he effects of use of other lopical products in conjunction 60 diclofenac solution to oral diclofenac did not increase the
                    with the topical diclofenac, including, for example, that con-       incidence of systemic adverse events. Additionally, adminis-
                    comitant use ofdiclofenac topical solution by repeated appli-        tration of topical diclofenac resulted in less frequent adverse
                    cation with 01her 1opical products, including. DBET (ac1ive         events associated with the NSAlD classsthan oral diclofenac· -
                    ingredienl in insecl repellem), 2,4-D (active ingredient ID         alone, and the addition of topical diclofenac to oral diclofenac
                    commonly used pesticides} and oxybeozone (active iogredi- 65 did not cause an elevation of liver transamioases in osteoar-
                    ent in suoscreens) did not enbaocc tbe systemic absorption of        thritis patients over use oforal diclofeoac alone. Users may be
                     these products.                                                    apprised of the above information according to tbe invention.




     _,, ~ - -- - - - - ---,,C,-o_p_y_p-ro- v'"'i""de_d..,. ,.b_y..,.U"'S""P"T
                                                                             ''"'O,...,..
                                                                                      fr_o_m_t..,.b-e-:P:-:-IR=s=-=-1m-a-ge--=o-a.,.ta..,.b-a-se_ o_n'"'o-=s"'11-=s"'12'"'0"'1"'s_ _ _ _ _ _ _ _ _ _ __ __ _ __


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        A further unexpected discovery of the study, the results for         following a 12-week postdose obseNation period in male and
        which are provided as Example I, is that in the study the            female Sprague-Dawley rats. No test article-related ophthal-
        topical diclofenac solution was applied to only one knee.            mological abnormali ties were detected in any animal during
        Most patients suffer from osteoarthritis equally in both knees,      the pretest, terminal, and recovery opbtbalmoscopic exami-
        yet single knee application yielded a clinical benefit in both      nations.
        knees. Users or prescribers may be further apprised of this             Examples 7 and 8 describe studies to evaluate the pharma-
        additional information according to the invention.                  cokinetics ofdiclofenacsodium,dimethyl sulfoxide(DMSO)
            Topical diclofenac in a OMSO vehicle is an effective treat.     and dimethyl sulfone(the major met.abol ite ofDMSO) after a
=~.   . mentoption forosteoarthritisofthe knee with efficacy similar        single- atrd multiple-dose applications o f a topical diclofenac
        to, but tolerability betterthan,oral diclofenac. DMSOvehicle to preparation containing 1.S¾ d iclofenac sodium (2-((2,6-
        was no more efficacious than placebo. According to the inven-       dichlorophenyl)amino)benzeneacctic acid, monosodium
                                                                            salt), 45.5% DMSO, ethanol, propylene glycol, glycerine,
        tion, users may be apprised of this information with regard to      and water. These data provide compelling evidence that the
        use of topical diclofenac, particularly with regard to the use of   systemic exposure to diclofenac caused by use of the topical
        a topical diclofeoac solution comprising 1.5% w/w rs diclofenac to treat osteoarthritis of the knee (40 drops per
        diclofenac sodium and 45.5% w/w DMSO, which also                    knee QID) is much lower than that caused by a typical oral
        optionally contains propylene glycol, alcohol, glycerin and         dose ofdiclofenac used in treatment of osteoarthritis (e.g., 50
        purified water as inactive ingredients.                             mg three times per day or "TID"). The fact that the topical
            Examples 2 and 3 describe the results of environmental          diclofenac can be shown to be comparable to oral diclofenac
        toxin studies. Surprisingly in lig)J.t ofthe efficacy ofDMSO in 20 sodium for treatment ofosteoarthritis (sec Example I) i's very
        facilitating the skin penetration of diclofenac, these studies      surprising in view of these facts, especially as it is widely
        show that concomitant, repeated use of a topical diclofenac         believed that NSAIDs, such as diclofcnac, exert their analge-
        solution containing 1.5% diclofenac sodium (2-[(2,6-dicblo-         sic effects both locally and centrally. From the data in
        rophenyl)amioo ]benz~eacetic acid, monosodiurn salt),               Example 8 ii also can be computed that Cm= oforally admin-
        45.5% DMSO, ethanol, propylene glycol, glycerine, and 2s istered diclofenac is more than one hundred fold big)J.er than
        water, with other topical products, including DEET (active          Cmox for the topical diclofenac.
        ingredient in insect repelleut), 2,4-D (active ingredient in            Example 9 describes a study to assess the drying time of a
        com.mooly used pesticides) and oxybenzone (active ingredi-          topical diclofcnac solution containing 1.5% diclofenac
        ent in sunscreens), did not enhance the systemic absorption of      sodium, 45.5% DMSO, ethanol, propylene glycol, glycerine,
        these products. According lo the invention, users may be 30 and water when applied topically to the skin surface of the
        apprised of this information with regard lo use of topical          knee following a single dose application, from which it can be
        diclofeoac, particularly with regard to the use of a topical        concluded that the mean drying time for the topical
        diclofcnac solution containing 1.5% diclofenac sodium (2-           diclofenac solution following a single dose application was
        ((2,6-dichlorophenyl)amino]benzeneacetic acid, monoso-              approximately 15 minutes, with considerable variability
        dium salt), 45.5% DMSO, ethanol, propylene glycol, glycer- JS among subjects and dryness occurring as early as 10 minutes
        inc, and water.                                                     in most subjects. A 30 minute drying time prior to the appli-
            Example 4 describes the results of a transepidermal water       cation of other topicals is considered safe. The results of the
        loss ("TSWL") study performed on human volunteers' skin.            study further indicate that it is appropriate to instruct a user
        TEWL is a parameter useful for measuring changes to stril·          that a patient using a topical diclofenac solution should wait
        tum comeum barrier function. Unexpectedly given the role of 40 at least 30 minutes after putting the topical diclofenac solu-
        DMSO in permeabilizing the skin for diclofenac uptake, the          tion on the knee(s) before, for example, taking a shower o r
        results show no alteration in skin barrier function following       bath or otherwise wetting the koee(s).
        chronic use oftopical diclofenac. According to the invention,           Example l Odescribes a study comparing the elimination
        users may be apprised of this information w ith regard to use       constantaftersingleandmultipledoseapplicationofatopical
        of topical diclofenac, particularly with regard to the use of a 45 solution containing I .5% diclofenac sodium and 45.5%
        topical diclofenac solution comprising 1.5% w/w diclofenac          DMSO.
        sodium and 45.5% w/w DMSO, which also optionally con-                   Example I I describes a multi-dose, comparative, exposure
'1      tains propylene glycol, alcohol, glycerin and purified water as     study under maximum use conditions per labeling of both
        inactive ingredients. Users may also be infonned that, before       Pennsaid® Topical Solution (Diclofenac Sodium topical
        applying sunscreen, insect repel13Jlt, lotion, moisturizer, cos- so solution 1.5% w/w and 45.5% w/w DMSO) and Solaraze®
        metics, or other topical medication to the same skin swface,        Gel (Diclofenac Sodium 3%).
        for example, a knee, that has been treated with topical                 In one nonlim.iting embodiment, the user is provided w ith
        diclofenac, the user should wait until the treated area is dry,     information in the faun of (or substantially in the form of) the
        which occurs most often within 10 minutes.                          Attachment. In another nonlimiting embodiment, the infor-
           Example 5 describes the results of a study to evaluate the 55 mation in the Attachment is provided in a form that has been
       ophthalmologic effects of topically applied DMSO in a                modified where appropriate to refer to the subject product as
        52-week non-occluded dermal toxicity study in Gottingen             a topical diclofenac gel or other formulation rather than a
       minipigs. Jt provides information about the ocular safety pro-       topical solution.lnanothernonlimitingembodiment, the user
        file of dermally applied formulations containing purified           is provided with information comprising or consisting essen-
        OMSO. Results showed that there was no iocreased risk for 60 tially of in the Attachme!lt. In another noolimiting embodi-
       dcvelopment oflens opacities or changes in refractive indices        ment, the user is provided with information consisting esscn-
       associated with DMSO. In fact no test article-related ophthal-       ti ally of the Attachment.
        rnoscopic abnormalities were detected during the sn,dy.                 Many embodiments are suitable for treatment of subjects
           example 6 describes the results o J'a study 10 evaluate the      e1tJ1.:r as a prnvcutive Uleasure (e.g., to avo id pain) o r as a
       toxicity of test articles containing 9, 45.5, and 90% w/w 6S therapeutic composition to treat subjects who are suffering
       DMSO after dermal administration for 26 weeks, three times           from acute or chronic pain. In one nonlimiting embodiment,
       per day, and to evaluate reversibility of any observed changes       for example, a method of treatment or prevention of pain,




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            including pain associated with an arthritic condition, and         more or all of Examples 1-8. In another nonlimiting embodi-
            related kits and articles of manufacture, comprises using a        ment, such noolirn.iting information provided to a user
            topical diclofenac solution or topica 1 gel fonnulation            i.ncludcs the information described in two or more or all of
            described herein together with some or all of the clinical         Examples 1-11.
            and/or preclirucal infonnation described berein. Arthritic             In yet another nonlimiting embodiment, such nonlimiting
            conditions include the various forms of arthritis, including       information provided to a user is the information in the
            rheumatoid arthritis, osteoarthritis, and ankylosing spondyli-     Attachment.
            tis.                                                                    In one embodiment, such nonlimiting information pro-
                Disclosed herein are topical diclofenac formulations, kits,    vided to a user is or comprises the information i.o one or more
            anci methods of using topical diclofenac and topical 10 or all of Sections 6 ("Adverse Reactions"), 7.8 ("Oral Non-
            diclofenac formulations. Specifically disclosed are methods        steroidal Anti-inflammatory Drugs"), 7 .9 ("Topical Treat-
            of using topical diclofeoac and iofonniog the user of certain      ments"), 12.3 ("Pharmacokioetics), 13.2 ("Aniinal Toxicol-
            information as provided herein. With the knowledge of the          ogy and/or Pharmacology")aod 14 ("Clinical Studies") ofthe
            particular infonnatioo, the administration of topical              Attachment.
            diclofenac to the patient can beoptimiiccl to provide safer and I 5 Topical diclofeoac can be fonnulatcd for adminisuation
            more effective use of topical diclofeoac, alone or together        where the formulation generally contains DMSO and one or
            with oral diclofenac. As used herein, topical dic!ofeoac for-      more pharmaceutically acceptable excipients. As used herein,
            mulations include topical diclofeoac solutions and topical         "pharmaceutically acceptable excipient" means any other
            diclofenac gel formulations, including a topical diclofeoac        component added to the pharmaceutical formulation other
            preparation containing 1.5% diclofeoac sodium (2·((2,6- 20 than the diclofenac and the DMSO. Excipients may be added
            dichloropheoyl)amino]benzeneacetic acid, monosodium                to facilitate manufacture, cohance stability, control release,
            salt), 45.5% DMSO, ethanol, propylene glycol, glycerine,           enhance product characteristics, enhance bioavailability,
            and water.                                                         enhance patient acceptability, etc. Pharmaceutical excipients
                Topical diclofeoac therapy C8Jl be considered optimal           include, for example, carriers, fillers, binders, disi.otegrants,
             when combined with the new clinical, preclinical, adverse 25 lubricants, glidants, colors, preservatives, suspending agents,
            event information provided and described herein. Disclosed         dispersing agents, film formers, buffer agents, pH adjusters,
             herein are methods of using topical diclofenac for transder·      preservatives etc.
             ma! administration, which may provide an increase in the               In certain embodiments, the diclofenac is in the form of a
            safety or efficacy of topical diclofenac treacment. Extensive       pharmaceutically acceptable salt or free acid. Examples of
             research has been performed on administering topical 30 pharmaceutically acceptable salts include metal salts, includ-
            diclofenac that now reveal several developments relating to         ing alkali metal, alkaline earth metal, and nitrogen-based
             improvements i.o safe and effective treatment using topical        salts, such as ammo.nium salts. Sodium, pQtassium, epola-
            diclofenac. In certain preferred embodiments, the topical           mine and diethylarnine salts are preferred. In one preferred
            diclofenac for transdermal ad.ministration is in the fonn of a      embodiment the diclofenac is diclofenac monosodium salt.
       I
            solution or a gel.                                              JS      Jo one nonlinuting embodiment, the topical diclofcoac is a
                 In one noolimitiog embodiment, such ooolimiting infor-         solution.
       r.    mation provided to a user includes the infonnation described           lo another non.limiting embodiment, the topical dielofenac

  I    [     in Example I, or a summary thereof.
                 In another ooolimiti.og embodiment, such ooolimiting
                                                                                is a gel.
                                                                                    In one embodiment, the topical diclofenac is 1.5% w/w
             infonnatioo p.rovided to a user includes the information 40 diclofeoac sodium in a vehicle solution containing DMSO
  !          described in Examples 2 and/or 3, or a summary thereof.
                 In another noolirnitiog embodiment, such nonlimiting
                                                                                45.5% w/wandotherexcipieots. loooe aspect of this embodi-
                                                                                ment, the other excipieots comprise propylene glycol, alco-
.-.1         information provided to a user includes the information            hol, glycerin and purified water.
             described i.o Example 4, or a summary thereof.                          lo one nonlimiting embodiment, the topical diclofenac is a
·;·~             In a.oother noolimitiog embodiment, such nonlirniting 45 gel formulation according to PCT/US2007/08J674 (Interna-
             infonnatioo provided to a user includes the infonnation            tiooal Publication No. WO 2008/049020 A2), the contents of
 .,          described in Example S, or a summary thereof.                      which are incorporated herein in their entirety by this refer-
                 In another nonlimiting embodiment, such oonlimitiog            ence. The topical diclofenac may be aoy of the gel formula-
---~         information provided to a user includes the information            tions described or claimed therein. In another oonlimiting
             descnoed in Example 6, or a summary thereof.                   so embodiment, the topical diclofenac is a gel formulation
                 In another nonlirniting embodiment, such nonlimiting           according to US Patent Application No. 20080300311 (pub-
             information provided to a user includes the information             lished Dec. 4, 2008), the contents of which are incorporated
             described in Examples 7 and/or 8, or a summary thereof.            herein in their entirety by this reference. The topical
                 In another nonlimiti.og embodiment, such oon!imiting           diclofenac may be any of the gel formulations described or
             information provided to a user includes the information ss claimed therein.
             described in Example 9, or a summary thereof.                           In another oonlimiting embodiment, the topical diclofeoac
                 Io another nonlimiting embodiment, s·uch oonlimiting            is a gel fomtulatioo comprising diclofeoac sodium, dimethyl
             information provided to a user includes the information             sulfoxide, ethanol, propylene glycol, one or more thickening
             described in Example I 0, or a summary the.reof.                    agents, and water. In one aspect of this embodiment, t.he
                 Io another nonlimiting embodimenJ, such oonlimiting 60 topical diclofeoac gel formulation further comprises glyc-
              information provided to a user includes the information            erol. In another aspect, the thickening agent is selected from
             described in Example 11, or a summary thereof.                      the group consisting of cellulose polymers, carbomer poly-
                 In another nonlimiting embodiment, such nonlimiting             mers. a carbomer derivative ..a cellulose derivative, polyvinyl
              informaliou provided to n user includes the iulonuatio11           alcohol, poloxamers, polysaccharides, and mixtures thereof.
             described io two or more or all of Examples 1-6, In another 6S          lo another oonlirniting embo_diment, the topical diclofenac
             non!irniting embodiment, such nonlimiting information pro-          is a gel formulation comprising or consisting essentially of
             vided to a user in.eludes the information described in two or       1-5% w/w diclofeoac sodium; 30-60% w/w dimethyl sulfox-




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                                                             ide; 1-50% w/w ethanol; 1-15% w/w propylene glycol; a                  present in an amount by weight of I% to 70"/o, and more
                                                             thickener; and water (added to make 100% w/w). In a pre-               preferably, between 25% and 60%, such as 25, 30, 40, 45, 50,
                                                             ferred aspect of this embodiment, the gel formulation has a            55, or 60% w/w. Preferably, DMSO is used in the present
                                                             viscosity of I0-50,000 centipcise.                                     invention at a concentration of about 40 to about 50% w/w,
                                                                In another nonlimiting embodiment, the topical diclofenac      s    such as 41 , 42, 43, 44, 45, 46, 47, 48, 49 and 50% and all
                                                             is a gel fonnulation comprising or consis1ing essentially of           fractions in between sucbas44, 44.5, 45, 45.5, 46, 46.5%,and
                                                             about 2% w/w diclofenac sodium; about 45 .5% w/w dimethyl              the like. In certain embodiments, the gel formulation includes
_.,
                                                             sulfoxide; about 23-29% w/w ethanol; about l 1% w/w pro-               a lower alkanol, such as methanol, ethanol, propanol, butanol
                                                             pylene glycol; about 0-6% w/w bydroxypropylcellulose                   or mixtures thereof. In certain embodiments, lhe alkanol is
                                                             (HYI 19); and water (added to make 100% w/w). In a pre-           to   present at about I to about 50"/o w/w. Preferably, ethanol is
                                                             fcrrcd aspect of this embodiment, the gel formulation has a            used at about 1-50"/o w/w, such as l, 5, 10, 15, 20, 25, 30, 35,
                                                             viscosity of 500-5,000 centipoise.                                     40, 45, or 50"/o wlw, and all fractions in between. lo certain
                                                                In another nonlimiting embodiment, the topical diclofenac           embodiments, the gel fonnulation includes a polyhydric alco-
                                                             is a gel formulation comprising or consisting essentially of           hol, such as a glycol. Suitable glycols include ethylene glycol,
                                                             diclofenac sodium at a concentration selected from the group      Is   propylene glycol, butyleoe glycol, dipropylenc glycol, hex-
                                                             consisting of I, 1.5, 2 and 3% w/w; dimethyl sulfoxide at a            anctriol and. a combination thereof. Preferably, propylene
                                                             concentration selected from the group consisting of 42, 43,            glycol is used at about at 1-15% w/w, such as I , 2, 3, 4, 5, 6,
                                                             44, 45, 45.546, 47, 48 aod 49% w/w and fractions in between;           7, 8, 9, 10, 11, 12, 13, 14, or 15% w/w, and all fractions in
                                                             ethanol at 23-29% w/w; propylene glycol at a concentration             between. l.ll certain embodiments, the gel formulation
                                                             selected from the group coo.sistingof9, JO, 11, 12, 13% w/w       20                                      to
                                                                                                                                    includes glycerol (also referred as glycerine) at a concen-
                                                             and fractions in between; bydroxypropylcellulose (HYJJ9)               tration of0-12% w/w. Preferably, glycerol is used at 0-4%
                                                             at 0-6% w/w; and waler (included in an amount sufficient to            w/w, such as 0, I, 2, 3, or 4% w/w, and all fractions in
                                                             make 100% w/w). In a preferred aspect of this embodiment,              between. In some embodiments, no glycerol is used in tbe
                                                             the gel formulation bas a viscosity of about 500-5000 centi-           formulation. In a preferred embodiment, the gel formulation
                                                             poise.                                                            is   provides comprises a diclofeoac solution and at least one
                                                                lo certain embodiments, the above-described topical                 thickening agent to make a gel. Toe al least one thickening
                                                             diclofenac gel formulations include 1-5% glycerol. In such             agent of the present invention may be an acrylic polymer (for
                                                             embodiments, the gel formulation will have a drying rate and           example, Carbopol polymers, Noveon polycarbopbils and
                                                             a transdermal flux that are greater than a comparative liquid          Pemulen polymeric emulsifiers available commercially from
                                                             topical diclofenac formulation. In other embodiments, the         JO   Noveon Inc. of Cleveland, Ohio), an acrylic polymer deriva-
                                                             above-described topical diclofcnac gel formulations will               tive, a cellulose polymer, a cellulose polymer derivative,
                                                             have a pH of about 6.0 to about I0.0.                                  polyvinyl alcohol, poloxamers, polysaccharides or mixtures
                                                                In another nonlimiting embodiment, the topical cliclofenac          thereof. Preferably the at least one thickening agent is
                                                             is a gel formulation comprising diclofenac sodium, ethanol,            hydroxypropylcellulose (HPC) used such that the end viscos-
                                                             DMSO, propylene glycol, hydroxypropylce.llulose and water.        JS   ity is between I 0and 50000centipoise(cps). More preferably
                                                             In one aspect of this embodiment, tbe hydroxypropylcellu-              the end viscosity is between 500 and 20000 cps. Toe gel
                                                             lose is substituted with alklycellulose, hydroxyalkylcellu-            formulation may optionally include at least one antioxidant
                                                             lose, carboxyalh.-ylcellulose, or sodium carboxyalklycellu -           and/or one chelating agent. Preferred antioxidants may be
                                                             lose, where al!..-yl is methyl, ethyl or propyl, or a mixture          selected from the group consisting ofbutylated hydroxytolu-
                                                             thereof. In a further aspect of this embodiment, the said alk-    40   ene (BHT), butylated hydroxyanisole (BHA), ascorbyl
                                                             lycellulose, hydroxyalkylcel lulose, carboxyalkylcel lulose, or        linoleate, ascorbyl dipalmitate, ascorbyl tocopherol maleate,
                                                             sodium carboxyalklycellulose is replaced in whole or in part           calcium ascorbate, carotenoids, kojic acid, tbioglycolic acid,
..                                                           by an acrylic polymer (for example, Carbopol polymers,                 tocopberol, tocopberol acetate, tocophereth-5, tocophereth-
···1                                                         Noveon polycarbophils and Pemulen polymeric emulsifiers                12, tocopheretb-18, tocophereth-80, and mixtures thereof.
 .,                                                          available commercially from Noveon Inc. of Cleveland,             45   Prefe.rred chelating agents may be selected from the group
                                                             Ohio), an acrylic polymer derivative, a cellulose polymer              consisting ofethylenediami.oe tetraacetic acid (EDTA), diam-
                                                             derivative, polyvinyl alcohol ("PVA"), polyvinylpyrrolidooe            monium EDTA, dipotassium EDTA, calcium clisodium
                                                             ("PVP"), a poloxamer, a polysaccharide, or a mixture thereof.          EDTA, HEDTA, TEA-EDTA, tetrasodium EDTA, tripotas-
                                                                In another aspect, gel fonnulations useful in the invention         sium EDTA, trisodium phosphate, diammonium citrate,
                                                             are NSAID gel formulations, such as a topical diclofenac gel      so   galactaric acid, galaeturonic acid, gluconic acid, glucuronic
                                                             formulation, and components of the formulations are as fol-            acid, humic acid, cyclodextrin, potassium citrate, potassium
                                                             lows: The gel formulations comprise ao active agent, prefer-           ethylenediaminetetramethylenephospbonic                     acid
                                                             ably a non•steroidal anti-inflammatory drug or pharmaceuti-            ("EDTMP"), sodium citrate, sodium BDTMP, and mixtures
                                                             cally acceptable salts thereof. More preferably, the non-              !hereof. ln addition, the topical gel formulations can also
                                                             steroidal anti-inflammatory is diclofenac in the form of a        ss   comprise a pH adjusting agent. In one particular embodiment,
·.-.                                                         pharmaceutically acceptable salt or free acid. Examples of             the pH adjusting agent is a base. Suitable pH adjusting bases
                                                             pharmaceutically acceptable salts include metal salts, includ-         include bicarbonates, carbonates, and hydroxides such as
                                                             ing alkali metal, alkaline earth metal, and nitrogen-based             alkali or alkaline earth metal hydroxide as well as transition
                                                             salts, such as ammonium salts. Sodium., potassium, epola-              metal hydroxides. Alternatively, the pH adjusting agent can
                                                             mioe and diethylamine salts are preferred. In one preferred       60   also be an acid, an acid salt, or mixtures thereof. Furth(\r, the
                                                             embodiment the diclofenac is diclofenae monosodium salt.               pH adjusting agent can also be a buffer. Suitable buffers
                                                                lna preferred embodiment, the sodium salt ofdiclofenac is           include citrate/citric acid buffers, acetate/acetic acid buffers,
                                                             used. Diclofennc may be present io a range of approximately            phosphate/phosphoric acid buffers. formate/formic acid buff-
                                                             0.1% to 10%, such as l, 2, 3, 4, or 5% wiw. In another                 ers, propiona1d propionic acid buOcrs, Jac1atc/llictic acid
                                                             embodiment, the present invention includes a penetration          65   buffers, carbonate/carbonic acid buffers, ammonium/ammo-
                                                             enhancer. Toe penetration enhancer may be dimethyl sulfox-             nia buffers, and the like. The pH adjusting agent is present in
                                                             ide ("DMSO") or derivatives thereof. The DMSO may be                   an amount sufficient to adjust the pH of the composition to




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                                                                      27                                                                          28
                                  between about pH 4.0 to about 10.0, more preferably about                        disclosed, summari:red or otherwise provided herein, includ-
                                  pH 7.0 to about 9.5. In certain embodiments, the unadjusted                      ing the information provided in any of Examp les 1-4.
                                  pH of the admixed compooco.ts is between 8 and I0, such as                          In anolher oonlimiting embodiment, an article of manufac-
                                  9, without the need for the addition of any pH adjusting                         rure comprises a container containing a dosage form of topi-
                                  agents.                                                                 s        cal diclofenac, wherein the co01aioer is associated wilb pub-
                                     The present invention includes a method for applying mul-                     lished material informing the user of some of all of the
                                  ciple topical agents to a subjt.-ct with pain com prising topically              Information. Additional information can include the informa-
                                  administering a pharmaceutical composition comprising a                          tion disclosed, summari1.ed or otherwise provided herein,
                                  therapeutically effective amount of a topical diclofenac in                      including lbe information provided in any of Examples 1-4.
                                  DMSO, wai1ing for the treated area to dry (the time of which            to          In one nonlimitingembodiment of the melbods and articles
                                  can be dependent on individual skin characteristics, environ-                    of manufacture provided herein, a topical diclofenac dosage
                                                                                                                   form can comprise abou1 40 drops per knee, QID. lo one
                                  mental conditions such as temperarure and humidity, and
                                                                                                                   aspect of this embodiment, a diclofenac oral dosage form may
                                  surface area, often about 5-30 minutes, about 5-20 minutes,                      also be provided or recommended or included within the
                                  for example, and typically about 10 minutes or less for a               IS       methods and articles of manufacture provided herein. !n
                                  topical diclofenac preparation, including a topical diclofenac                   another nooJimiting embodiment of1he methods and articles
                                  solution as described in the Examples), and applying another                     of manufacture provided herein, a 1opical diclofenac dosage
                                  topical agents. 1n one nooJimiting embodiment, the subject                       form can comprise application of a topical diclofenac gel
  ·.•
. .,                              bas osteoarthritis. In another nonlimiling embodiment, the                       formula1ion twice daily.
                                  subject has osteoarthritis oftbe knee. In one embodiment, !he           20          lo anolher nonlimiting embodiment of the methods and
i=l                               topical agent administered after the topical diclofeoac is a                     articles of manufacture provided herein, a kit of information
                                  sunscreen or ao insect repellant. In another oonlimitiog                         concerning a topical diclofenac product comprising
                                  embodiment, the invention includes a method of protecting a                      diclofenac and dimelbyl sulfoxide is prepared and/or pro-
                                  subject with osteoarthritis from W exposure and alleviating                      vided, said kit comprising information about (a) clinical
                                  the sig.os and symptoms of osteoarthritis in the subject com-           2s       effects of dosing of a topical diclofenac solution comprising
                                  prising the steps of applying a lhcrapeu tically effective                       1.5% w/w diclofenac sodium and 45.5% w/w dimethyl sul-
                                  amount of a topical diclofenac in DMSO; waiting for the                          foxide, including (i) lhe effects of40-drop QJD dosing of said
                                  treated area to dry (lhe time of which can be dependent on                       topical diclofeoac solution; (ii) the effects of 40-drop QID
                                  individual skin characteristics, environmental conditions                        dosing of said topical diclofenac solution in one or more
                                  such as temperarure and humidity, and surface area, often               30       clinical trials; (iii) results from a 12-week, double-blind, con-
                                  about 5-30 minutes, about 5-20 minutes, for example, and                         trolled trial ofsaid topical diclofeoac solution in subjects with
                                  typically about 10 minutes or less for a topical dielofenae                      osteoarthritisof the knee which compared the perfoll!lAllce of
                                  preparation, including a topical dii:lofeoac solution as                         said topical diclofenac solution against a vehicle solution
                                  described in !he Examples), applying sunscreen to lhe same                       containing 45.5% dimelhyl sulfoxide and a placebo solution
                                  area of treacment.                                                      3S       containing 2.3% dimethyl sulfolcide; and (iv) pharmacoki-
                                      Also included herein arc pharmaceutical products (kits)                      netic results from ooe or more srudies in which single and
                                  useful, for example, for lhe treatment or preveo1ioo of pain,                    multiple doses of a topical diclofenac in a solution containing
                                  including pain caused by arthritis, such as osteoarthritis, for                  dimelbyl sulfox ide was applied topically to healthy human
                                  example, which comprise one or more containers containing                        volunteers; (b) an adverse event profile for a topical
                                  a topical diclofeoac formulation and information or published           40       diclofenac solution comprising 1.5% w/w diclofenac sodium
                                  material, e.g., as product inserts or product J.abels. The infor-                and 45.5% w/w dimethyl sulfoxide, including, (i) concomi-
                                  mation can indicate quantities of the components lo be                           tant use of oral NSAlDs with topical diclofeoac resulted in a
                                  administered, guidelines for administration, safety issues,                      higher rate of rectal hemorrhage, more frequent abnormal
                                  and the like, all as disclosed and provided herein.                              creatinine, urea and hemoglobin; (ii) that in a controlled trial,
                                      The kits may further comprise one or more conventional              45       a higher rate of contact dermatitis with vesicles was observed
.'                                pharmaceutical kit components, such as, for example, ooc or                      after treatment of 152 subjects with the combination of topi-
::1
                                  more containers to aid in facilitating compliance with a par-                    cal diclofenac and oral diclofenac; and (iii) results of a clini-
                                  ticular dosage regimen, etc. Exemplary kits can be in the form                   cal srudy demonstrating that lhe addition of said topical
                                  of a package. Suitable packages and packaging are known in                       diclofenac solution to oral diclofenac did not cause an elcva-
                                  the art or easily asccrtaioed by ooe of ordinary skill in the art.      so       tion ofliver lransaminases over use of oral diclofenac alone;
                                      In one nonlimiting embodiment, the topical diclofeoac for-                   (c) preclinical study results for a topical formulation compris-
                                  mulation is packaged with information informing the user                          ing dimelbyl sul foxide, including for example, the results of
                                  that the topical diclofenac solution will oot cause an uptake of                 an animal study in which oo adverse ocular effects were
                                  one or more environmental toxins. In another nonlimitiog                         observed after multiple-daily dermal application to rats for26
.·.:                              embodiment, the topical diclofenac formulation is packaged              ss       weeks and minipigs for 52 weeks of DMSO at twice the
                                   with information that includes reference to a Jack of antici-                   concentration found in a topical diclofenac solution (e.g.,
,·]                                pated or eXpected adverse events or adverse reactions in                         Peoosaid®); and (d) a statement that, once dry, sunscreen,
                                  patients from exposure to one or more environmental toxins                        insect repellant, lotion, moisturizer, cosmetics, and/or other
                                  following !he acute and/or chronic use of a topical diclofcoac                    topical products can be applied to an area previously treated
                                  solution, for example a topical diclofenac preparation con-             60       with a topical diclofenac solution (e.g., Peoosaid®).
                                   taining 1.5% diclofenac sodium (2-((2,6-dichloropheuyl)                             Yet another oonlimiting embodiment is a melhodofobtain-
                                  amino]benzeneacetic acid, monosodiwn salt), 45.5%                                 ing marketing authorization from a regulatory authority for a
                                   DMSO. ethanol. propylene glycol. glycerine, and water.                           topical diclofeoac product comprising referencing. the kit of
                                      In one noulim.iting cmbodimcnr, a melhod of mauufoctur-                       inform.atiou.
                                   ing a topical diclofenac pharmaceutical product comprises              6S           In another embodiment, a method for distribution of a
                                   packaging a topical diclofenac dosage form with the Infor-                       topical diclofenac product is provided, comprising lbc steps
                                   mation. Additional information can include lhe information                      of (a) obtaining marketing authorization from a regulatory




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                                                                                                                                                                              HZNPENN_00000224
                                                                                                  APPX91
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                                                           authority for a topical diclofenac product comprising refer-          study knee), and then randomized into the trial by receiving
                                                           encing said kit of the invention; and providing said topical          the next numbered study kit at that clinic for that stratum.
                                                           diclofenac product to one or more distributors.                       Each study kit contained topical solution and oral tablets for
                                                                The following examples further illustrate the invention but,     one of the five treatment regimens: (i) Topical Diclofenac
                                                           of course, are not to be construed as in any way limiting its 5 Solution [Pennsaid® Topical Solution, Nuvo Research Inc.,
                                                           scope.                                                                Mississauga, Canada) plus oral placebo tablets, (ii) 'DMSO
 .;                                                                                                                              vehicle'; vehicle solution plus oral placebo tablets (vehicle
                                                                                       EXAMPLES                                  solution was the complete carrier, including 45.5% DMSO
:'J                                                                                                                              and other excipients, with no diclofenac), (iii) 'placebo';
                                                                                        Example I                             to placebo solution plus oral placebo tablets (placebo solution
                                                                                                                                 was a modified vehicle solution with only 2.3% OMSO, for
                                                                        12-Week, Double.Blind, Double-Dummy,                      blinding purposes, and no cliclofenac), (iv) 'oral diclofenac';
                                                                   Randomized Controlled Trial of Topical Diclofonac             placebo solution plus oral diclofenac tablets (I 00 mg slow
                                                                                         Solution                                 release), or (v) 'topical diclofcnac+oral diclofenac' ; Topical
                                                                                                                              15 Diclofenac Solution plus oral diclofenac tablets. Subjects
                                                                This Example describes novel clinical information that.          applied 40 drops of solution (approximately 1.2 mL) around
                                                           may, for example, be provided to a user according to the               the entire circumference of the study knee, without massage,
                                                           present invention, comprising safety and efficacy results from         4 times daily, and took one study tablet daily for up to 12
                                                                                                                                  weeks.
·.,.,'                                                     a 12-week, double-blind, double-dummy, randomized con-
                                                            trolled trial of a topical diclofenac preparation containing 20 Concomitant· analgesic and anti-inflammatory medica-
\i                                                          1.5% diclofenac sodium (2-((2,6-dicblorophenyl)amino]                 tions, including over the counter NSAIDs and other analge-
    l                                                       benzeneacctic acid, monosoclium salt), 45.5% DMSO, etha-              sics, were prohibited. Continuation of stable treatment with
                                                            nol, propylene glycol, glycerine, and water ("Topical                 glucosami.oe, cbondroitin, anti-depressants or a proton pump
                                                            Diclofenac Solution") in 775 subjects with radiologically             inhibitor (previous 90 days), or low-dose (~325 mg/day)
                                                            confirmed, symptomatic primary osteoarthritis of the knee. 25 acetylsalicylic acid (previous 30 days) was permitted.
                                                            The study included a placebo arm to establish efficacy, a             Acetaminophen was provided, and permitted (up to four 325-
                                                            DMSO vehicle arm to address possible OM.SO efficacy, an               mg caplets per day) except during the 3 days before each
                                                            oral diclofenac arm for comparison with the topical                   efficacy assessment. Other topical products on the knee,
                                                            diclofeoac solution, and a combinationofTopical Diclofenac             including skin emollients, were prohibited. A patient with a
                                                            Solution plus oral cliclofenac to assess combined treatment. JO gastrointestinal adverse event was allowed to start a proton
                                                                 Study Subjects: This randomized, double-blind, double-            pump inhibitor. Compliance with the treatment regimen was
                                                            dummy, placebo·, vehicle· and active-controlled study was              assessed by weighing the solution bottles and cowiting study
                                                            conducted at 40outpatieotcenters ioCanada and 21 centers in            ta.blets at each clinic visit.
                                                             the United States following approval by the appropriate insti-            All scudy solutions appeared as identical clear, colorless
                                                             tutional review boards. Eligible subjects, after written 35 liquids. It was expected that some subjects applying Topical
                                                             in.formed consent, included men and non-pregnant women                Diclofeoac Solution or DMSO vehicle would report a garlic
                                                             aged 40-85 with primary OA of tbe knee based oo (i) standard          taste or odor fromexhalingdimethyl sulfide, a volatile DMSO
                                                             radiological criteria for OA (Altman, R D, et al., Atlas of           metabolite; therefore, a (oken amount of DMSO (2.3%) was
                                                             individual radiographic features in osteoarthritis. Osteoar-          included in the placebo solution. Previous trials with topical
                                                             thritis Cartilage 1995; 3 (Suppl A):3-70) on a recent (within 40 diclofenac confirmed the success of this blinding procedu.re
                                                             3 months) examination, (ii) pain, with regular use of an              as the incidence of ·taste perversion' adverse events was no
                                                              NSAlD or other analgesic medication (at least 3 days a week          different with placebo solution from topical diclofcnac. Oral
                                                             for the previous month) and (iii)a flare of pain and minimum          diclofenac and placebo tablets appeared identical (Novop-
                                                              Likert pain score of8 (40 on a scale normalized to 0-100; see        harm® Inc.). Each study kit was assembled accorcling to a
                                                              below, Efficacy Measures) at baseline, following washout of 45 computer-generated randomization schedule created by an
                                                              that medication. A flare was defined as an increase io total         external statistician for each stratum using a block size of 5.
                                                              Likert pain score of25% and at least 2, and a score of at least      The randomization sequence was concealed from investiga-
                                                              moderate on one or more of the five items/questions of the            tors, subjects and the sponsor's clinical research personnel
                                                              WOMAC LK3.l pai.osubscale (Bellamy, N, et al., Validation             until after data lock.
                                                              study of WOMAC: a health status instrument for measuring 50               Efficacy Measures: Each subject completed a full efficacy
                                                              clinically important patient relevant outcomes to antirheu-           assessment questionnaire after randomization at baseline and
                                                              matic drug therapy in patients with osteoarthritis ofthe hip or       at 4, 8 and 12 weeks, or at drop out. The co-primary efficacy
                                                              knee. J. Rheumatol. 1988 December; 15(12):1833-40). All               variables (Bookman A A, et al., Effect ofa topical diclofeoac
                                                              knee films were reviewed by a single radiologist and each             solution for relieving symptoms of primary osteoarthritis of
                                                              compartment was scored (none=!, rnild=2, moderate-=3, 55 the knee: a randomized controlled trial. CMAJ. 2004; 171:
                                                              severe=4). Only one knee was treated; where both knees met            333-8) were defined a priori as WOMAC pain and physical
                                                              all entry criteria, the more painful koee (or dominant knee if        function, measured by the 5-point Likert scale (Biswal S, et
                                                              !hey scored the same) was selected. Standard exclusion cri-           al., Longterm efficacy of topical nonsteroidal anti-inflamma-
                                                              teria were employed, as described in Roth SH, Shainhouse J            tory drugs in knee osteoarthritis: metaanalysis of randomized
                                                               Z. Efficacy and safety of a topical diclofenac solution 60 placebo controlled clinical trials. J. Rheumatol. 2006;
                                                               (Pennsaid®) in the treatment of primary osteoarthritis of !he        33: 1841-4), and patient overall health assessment ("POHA").
                                                               knee: a randomized, double-blind, vehicle-controlled clinical        The POHA asked the question, "Considering all the ways
                                                               trial. Arch lntem Med. 2004: 164:2017,2'.\.                          your ostcoarthritic (study) knee and its treatment affect you,
                                                                  Study Oesigu: lilig,ble subjects were stratified by the            i11cludi11g both positive and negative ellects, how would you
                                                               investigator at baseline into stratum I (no pain and normal 65 rate your overall state of health io the past 48 hours?" Sec-
                                                               radiological examioation in the non-study knee) or stratum 2          ondary efficacy variables were WOMAC stiffness and paticot
                                                               (pain and/or abnormal radiological examination in the non-            global assessment ("PGA") of knee osteoarthritis. The PGA




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        ..   • , • ..... •   •   •   •   0   •   0   •   . . ,_ •   >,. • • > •   o   <, • •   • "   • •   ..   ~   •   0   ... A   • '•   . . . .. ., ,   ••




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                                                                                                                                                                31                                                                             32
                                                                              asked the question, .. How bas lhe osteoarthritis in your study    noo-completcrs by reason ofon adverse event or lack of effect
                                                                             joint been over the last 48 hours7"1ne POHA and PGA were            and for subjects excluded from mlTI.
                                                                              scored on a 5-point Liken scale. There was DO assessment of           Secondary comparisons included topical diclofcoac vs.
                                                                              the non-treated knee. Safety Measures: At all visits, vital        placebo for the socondary variables, and topical diclofcoac
                                                                              signs were measured, dennatological ev-dluatiou of the study s vs. DMSO vehicle and DMSO vehicle vs.
                                                                                                                                                                                                  placebo for all
                                                                              knee was done according to a standard nwnerical (0-4) scale        variables. A post hoc efficacy analysis compared topical
   I                                                                         (Shirley H H, et al. Efficacy and safety ofa tropicaldiclofenac     diclofcoac vs. oral diclofenac and topical diclofcoac+oral
..J,                                                                         solution (Peno.said®) in the treatment of primary ostcoanhri-       dictofcnac vs. oral diclofeoac. For a missing final score, last
.-:.!                                                                         tis of the knee: a randomized, double-blind, vehicle-con-          observntion was carried forward ("LOCF"). Safety analyses
                                                                              trolled clinical trial. A.rel,. lntem. Med. 2004; 164:2017-23) 10 were performed on all subjects
                                                                                                                                                                                  who received even one dose of
                                                                             and adverse events were solicited using open-ended ques-            either study medication. There was oo imputation of missing
                                                                             tioas. Adverse events were categorized acccrding to Coding          safety data. Results were as follows.
                                                                             Symbols for Thesaurus of Adverse Reaction Terms ("COS-                 St\ldy Subjects: Of 1396 subjects screened, 775 were ran-
                                                                             TART'). Blood and urine samples were obtained for routine           domized to one of the 5 twltment arms and 527 subjects
                                                                             laboratory analysis at baseline, 4 and 12 weeks. Ocular 1s completed treatment. Over 95%
                                                                                                                                                                                    of patients had bilateral dis-
                                                                             examination (visual acuity test, slit lamp examination aod          ease (pain or abnormal radiological examination al.so io DOD·
                                                                             lens assessment) was conducted at the baseline aod final visit.     study knee) with pain in the c:ontralateral k:nce in 90"/4. A total
;-j                                                                              Statistical Analysis Plan: All planned ana lyscs were speci-   of88% of subjects met the modified (Hochberg MC, et al.,
                                                                             fied a priori. Analysis of the Likert efficacy data was by         Guidelines for the Medical Management of Osteoarthritis
                                                                             modified intent to 1reat ("mlIT'), excluding o!lly those sub· 10 Patt "Osteoarthritis of the Knee. A.rthrilis
                                                                                                                                                                                                 & Rheumatism
:·~                                                                         jeers who had DO baseline data or did not administer at least        1995;38(1):1541-1546)ADlericanCollcgeofRbeumatology
    j                                                                        one dose of both study solution and tablets. Statistical tests     (ACR) criteria (Alllllao R, et al., Development of criteria for
                                                                             were two-sided at lite 5% level of significance, All efficacy
   I                                                                         analyses were by analysis ofcovariance of the change in score
                                                                                                                                                the c lassificatioo and reporting ofosteoarthri1is: classi6cation
                                                                                                                                                ofosteoanbritis of the knee. Arthritis Rheum. 1986; 29: I039-
   i                                                                         from baseline to landmark fiml assessment, with baseline 1s 1049) for osteoarthritis, pain
                                                                             score as the covariate. Subjects io both randomization slrata
                                                                                                                                                                                    and osteopbytes, and the
                                                                                                                                                remaining had pain with either joint space narrowing or sub-
   '                                                                        were combined for all analyses.                                     cbondral sclerosis. Subjects in each lrealment arm bad similar
                                                                                 Toe primary efficacy comparison was topical diclofenac         demogr-Jphic and baseline characteristics, duration of expo·
                                                                             vs. placebo for the primary efficacy variables, with oo cor-       sure and compliance (>89% of expected use for topical solu-
                                                                             rection for analysis of multiple primary variables (regulatory JO tion and oral tablets). Withdrawals
                                                                                                                                                                                      for an adverse event were
                                                                            design required superiority for each primary variable). The         similar among treatment groups. Withdrawals for lack of
                                                                            sample size required 10 show the superiority of topical             effect were similar among lopical diclofenac, placebo and
                                                                            diclofeoac over placebo was 142 subjec1s ~ arm, based oo            DMSO vehicle anns, but fewer with the ocal diclofeoac arms.
                                                                            an estim:lte from previous trials of the difference (standard          There were 772 subjects included in the
                                                                            deviatioo) between groups forthe change in scoreof l.5 (4.5) JS Excluded were 3 subjects who did not take at mlTT group.
                                                                                                                                                                                                least one dose of
                                                                            for pain, 5.0 (15) for physical func1ioo and 0.4 (1.2) for POA,     both topical and oral medication, or had no data. Individual
                                                                            power of80% and Type I error rate of a,o().052 .,.11..- (Baer P     subjects who omined baseline assessment for a specific effi-
                                                                            A, et al., Treatment ofosteoarthritis of the knee with a topical    cacy variable were excluded from that analysis.
                                                                            diclofenac solution: a randomised controlled, 6-week trial             Efficacy: The primary efficacy analyses, as shown in the
                                                                            flSRCTN53366886]. BMC Muscu/oskelet Disord, 2005; 40 below Table 2 ("Efficacy Variable Scores"),
                                                                                                                                                                                                show the superi-
                                                                            6:44; Bookman A A, et al., Effect of a topical diclofenac          ority of topical diclofeoac over placebo for the three co-
                                                                            solution for relieving symptoms of primary osteoarthritis of
.,                                                                          the knee: a randomized c:onll'Olled trial. CMAJ. 2004; 171:
                                                                                                                                                primary variables-pa in (Pa().015), physical function
                                                                                                                                                (P~.034), and POHA (P<0.0001). Superiority was observed
                                                                            333-8; Roth SH, Shaiohouse Efficacy and safety of a Topical         also for the secondary variable PGA (P-0.016), but not for
                                                                            Diclofeoac Solution (Pcnosaid®) in the treatment of primary 4.S stiffuess. There was greater
                                                                                                                                                                                   improvement with topical
                                                                            osteoarthritis of the knee: a randomiz.ed, double-blind,           dictofeoac (P<0.05) compared to DMSO vehicle for all five
                                                                            vehicle-controlled clinical trial. Arch Intern Med. 2004; 164:     variables (Table 2). A post-hoc BOCF sensitivity analysis of
                                                                            2017-23).                                                          the primary efficacy data of all 775 patients did not change
                                                                                A post hoc sensitivity analysis of the primary efficacy data   any of lhe conclusions of superiority of topical diclofenac
                                                                            was performed by imputing no improvement (i.e., baseline so compared with placebo (pain,
                                                                                                                                                                                   P--0.031; physical function,
                                                                            score carried forward and imputed as final score ("BOCF") to       P..0.041; POHA, P,o().0001).
                                                                                                                                                                                                               TABLE2
                                                                                                                                                                                                         Efflctcy variable xoru"
    I
::j                                                                                                                                                                                                                                                           Pv,.b.ie

                                                                                                                                                                                                                                    TDido•        TDiclo"'- TOiclo vs. TDoclovs.
                                                                                                                                                                          TDielo.         placd>o•      OMS<>"        ODic:lo•      OI>iclo•       placebo   OMS()      ODiclo
                                                                                                                                                   WOMACP&ID              (•• IS4)        (• • lSS)     (0 • 161)     (n-tSl)       (••!St)
                                                                                                                                                   8.'\.SC.li.ne ICOlC     13.2 (3,4)     12.9 ().3)     13.0 (3.2)   13.2 (3.0)     13.2 (3.4)
                                                                                                                                                  Cbuge i.a scote.~       - 6.0 (4.S)     -4.7 (4.4)    -4.7 (4.3)    - 6.4 (4.1)   -7.0 (4.8)      0.01,S    0.009      0429
                                                                                                                                                  Wffil,I('               in - l \4)      (n •   t<)I   , •• 1r.l)                  In. t~))
                                                                                                                                                  Pbysksl fw,ctioa
                                                                                                                                                  Base.lice score         41.7 ( 12.8)
                                                                                                                                                                                                                      '"·'""
                                                                                                                                                                                          41.6 (lt.7) 41.4 (ll.4) 42.1 (12.0) 41.0 (11.2)
                                                                                                                                                  Chat1ge in ,core•      -tS.8 (IS.I)    -12.3 (14.7) -ll.1 (14,6) -17.S ( 14.J) -18.7 (14,0)       0.034     0.Ol6      0.319




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                                                                                       TABLE 2-cominued


                                                                                                                                                            P value

                                                                                                                           TOicfo +       TOiclo vs. TDiclo vs. TDielo vs.
·.'·                                                                                   DMso•                               OOiclo•         placebo    DMSO       OOiclo
=·:                   POHA
                      &se.liDe
                                                 (o• 154)      (• • 152)    (n • l60)         150)      <•·
                                                                                                      (n • 143)
                                               · 2.)4 (1 .02) 2.22 (1.03) 2.JO (1.14) 2.23 (1.12) 2.19 (1.04)
                      Chan.go Ul score"'        -0.95 (1.30) - 0.37 (1.04) -0.65 (1.12) -0.&& (1.31) -0.95 (1.21) <0.0001                                   0.016         0.956
                      POA                        (a• 154)      (o• 153)     (••161)      (n • 151)    (o• 150)
                      -line                       3.12 (0.78) 3.04 (0.82) 3.13 (0.74) 3.04 (0.87) 3.08 (0.Sl )
                      Cha.age io -s«>re'"       - IJ6 (1.19) -1.01 (1.18) -1.07 (1.10) -1.42 (!.29) -1.53 (1.27) 0.016                                      0.018         0.439
                      WOMAC                      (n• 154)      (n • 153)    (n • 161)    (n•l51)      (a• 150)
                      Stiffuess
                      Baseline                    S.14 (1.63) 5.01 (1 .70) 5.12 (l.61) S.21 (1.72) S.07 (1.53)
                      Cbaoge in SQOre'"         - 1.93 (2.01) -1.52 (2.05) -1.48 (2.07) -2.07 (2.02) -2.30 (2.00)                            0.112          0.035         0.596

                      Abbtcviatiom: TDiclo, Topical Dic&orccae Sol<;1tico _P!1,1s OBI placebo; pl~e.t,,.,.. topical pl,c.cbo   e,I'" oral p.!.ccbo: DMSO. top!ICII dimethyl wlfC>m•
                      ~t.~;e:!;~~~\b~~ 8~~~i;:'tt~1'0:Co~l:!~~K)~~t,ito~f1~T:&:!~:r~nPG.t~~~~~1~°f!~:~~ai~
                      I.be seudy luxe
                      -0.t'l~p,eKated~sm"°'(S'O). Max£mum scotc for p,in, 20; pbysicalfuftcticc.6,t; POI-µ and POA,4• uiCfnc.1-,._8,
                      6Ttie n~b« or sllb_;cd, (n) varied by c:ffx:.acy plnmc:tcr bc:c:iinc iodivi(M;l ,ubj«ts c6d l)Ol Si.bruit, f?JU boicb nscts.tc-cot.
                      "fioal score minut b;liClioe lCore



                      Additionally, the Efficacy Variable Score shows that no sig-                                         adverse events was similar in topical diclofcnac+oral
                      nificant efficacy advantage of the DMSO vehicle over pla-                                            diclofenac, and lower in placebo, and oral diclofenac anns.
                                                                                                                      25
                      cebo was observed for the primary or secondary variables,                                            The rate with DMSO velricle was intermediate between topi-
                      except for lhe POHA Furthermore, a comparison of oral                                                cal diclofenac and placebo. Only 5 (3.2%) subjects in topical
                      diclofenac vs. topical diclofenac found no statistical differ-                                       diclofenac withdrew due to an application site reaction.
                      ence for any of the 5 efficacy variables. The combination of
                      topical diclofenac+oral diclofenac was no better than oral                                           Importantly, as shown in the below Table 3 ("Incidence of
                      diclofenac alone for all variables (pain, P'=0.30; physical                                     30   Adverse E.vents") the incidence of adverse events of the
                      function, M.33; POHA, J>,,0.43; stiffness, P=0.16; PGA,                                              digestive system with topical diclofenac was no greater lhan
                      P=0.50).                                           .                                                 placebo and much lower than oral diclofenac and topical
                        Mean [SD) acetaminophen use with topical diclofcoac                                                diclofeoac+oral diclofeoac. Withdrawal due to a digestive
                      (0.64 (0.83) caplets per day) was lower than with placebo                                            system adverse event was higher in oral diclofenac (11
                      (0.95 [1.14], P>-0.005) and DMSO vehicle (0.99 [I.I J].                                         35
                                                                                                                           [7.3%]) vs. topical dicloferul.c (4 [2.6%}) and placebo (3
                      P=0.002), and was not different than that for oral diclofenac
                      (0.55 (0.82), P--0.4 I) or topical diclofenac+oral diclofenac                                        (1.9%)). Additionally, as shown in the below Table 3, the
                      (0.46 [0.70]; P=0.10).                                                                               combination topical diclofenac+oral diclofenac did not
                         Safety: Skin adverse events predominated wilh topical                                             increase the incidence of digestive system events over oral
                      diclofenac, most being dry skin. The overall incidence of skin                                       diclofenac alone.
                                                                                                                                         TABLE3
·~-,.,
     '
                                                                                                                                 lnddcoce of adve~ event"
:_:!
·-1                                                                                                                                     TDiclo        pl.._.bo         DMSO         OOiclo         TDiclo + ODiclo
                                                                       Advem Event                                                     (n•JS4)       (o•IS7)          (o•l61)      (n•l51)            (n • 152)

                                                                       Any adverse event                                                96 (62.3) 90 (57.3) 97 (60.2) 94 (62.J)                      98 (64.5)
                                                                       Abnorma.l wte sensa.tion or odor                                  0 (0.0)       I (0.6)         I (0.6)      0 (0.0)           I (0.7)
                                                                       Any digcst·i,·e system event                                     10 (6.S)      IS (9.6)        18 (11.2)    36 (23.8)         39 (25,7)
                                                                       Ab<lominal pllio                                                  5 (J.2)       1 (0.6)         5 (3.1)     II (7..J)          3 (2.0)
                                                                       Oyspep•i•                                                         4 (2.6)       6 (J.S)         6 (3,7)      6 (4.0)           5 (3J)
                                                                       Oianltea                                                           2 (1.3)      J (1.9)         2 (1.2)      7 (4.6)          12 (7.9}
                                                                       U \'cr f'wiction ties.ts abnonna.l                                 3 (1.9)      I (0.6)         6 (3.7)     12 (7.9)          11 (7.2)
                                                                       Recial bemottbage                                                  I (0,6)      0 (0.0)         0 (0.0)      0 (0.0)           5 (3.3)
                                                                       Nause&                                                            0 (0.0)       0 (0.0)         1 (0.6)      3 (2.0)           5 (J.3)
                                                                       Any skin/append.ages event                                       4 1 (26.6)    12 (7,6)        27 (16.8)    II (7.3)           41 (30.9)
                                                                       Ory skin (application site)                                      28 (18.2)      S (3.2)        18 (11.2)     4 (2.6)           JO   (19.7)
                                                                       Conta<t dennatitis (appticatioo site)                              4 (2.6)      I (0.6)         S (3.1)      I (0.7)           12   (7.9)
                                                                       Rash                                                              4 (2.6)       0 (0.0)         2 (1.2)      0 (0.0)            0   (0.0)
                                                                       Cont.a.et denna.titis with veciclcs (application site)             3 (1.9)      0 (0.0)         0 (0.0)      l (0.7)            6   (3.9)
                                                                       ?ruritis (application site)                                        2 (1.3)      0 (0.0)         0 (0.0)      0 (0.0)            I   (0.7)
                                                                       Other system event"

                                                                       i-!codtche                                                       27 (17.S) IS (11.5)           21 (13.0)    26   (17.2)        21 (IJ.8)
                                                                       !Ja<;k pain ,                                                    IS (9.7) , 10 (~.4)           _IS (9.3)    II   (7J)           4 (2.6)
                                                                       A11hr:1l!!,ia                                                    14 (9.1)   I ~ (9.o)          ! 5 ( 1551   L?   ( ;',(fl       7 (4.61
                                                                       Pain                                                              7 (4.5)     5 (J.2)          l 1 (6.8)     8   (5.3)          I (0.7)
                                                                       Respin:ory di.sorder                                              S (3.2)    6 (3.8)             4 (2.5)     8   (SJ)           7 (4.6}
                                                                       Accidental iojwy                                                  4 (2.6)    6 (3.8)            7 (4.3)      4   (2.6)          6 (J.9)




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                                                                                                                                                                                                                 HZNPENN_00000227
                                                                                                           APPX94
                                                                         Case: 17-2149                                       Document: 36 Page: 187                                                                                Filed: 08/16/2017
~~~     .._.._   ..._. -·-·.•.......,..,· •·•········............. ............... ·--· ...: .. ....·.:~~· .................... . ............ .•... ·:·. -.-.......,,....................... ........ ..... .. -~·.. ..·..
                                                           ,                       ·.;                                                     ._                                          '                          ;       •            ..................... ............................,.......   . . ,...._




                                                                                                                                                          US 8,217,078 Bl
                                                                                                                  35                                                                                                                  36
                                                                                                                                TABLE 3-contioued
                                                                                                                               Jpejdence of &dvep;-c ey;en('

                                                                                                                                        TDiclo           placebo           DMSO             ODiclo          TDiclo + OOiclo
                                                               Advc1$C Event                                                          (n • lS4)         (n • 157)        (n • 161)         (n • 15l)              (• • 152)
                                                               Abno.rrn,J vision                                                         4 (2.6)           5 ().2)          4 (2.S)           4 (2.6)             1 (0.7)
                                                               Conjunctivitis                                                            4 (2.6)           1 (0.6)          0 (0.0)           3 (2.0)             0 (0.0)
                                                               Abl::ttviflio01; Ttnclo, Topk~I Oiclofeoae Solution plCKon.l pt.«bo; pla«bo,, topie4J placebo plus onl plkebo; DMSO, 1opica1 dimcU;l)'I
                                                               rulfo,clcle-co.aiaia.i.og \'Chicle p!tnor.d placebo; 00,clo,OCiild.ielofc.mc plus top~1J pl1cebo;1Diclo+ ODi-c~ Topical Didofcnae Sot,Ajoo phis
                                                               or2ld1clofen.te
                                                               "'OJta are pres.co.led n t1M1bct(%)ofsubj«ts,
                                                               ~ ach,"trw cve:att wttb tnackaee ~2% in t.'ic T'Dk,Jo group


                                                               No difference between treatment groups was observed for                                                             brovascular accident, I fractured hip, 1 dislocated prosthetic
                                                               cardiovascular events, which were <2% in each treatment                                                       IS
                                                                                                                                                                                   b.ip), l inDMSOvehicle(acutcenterilis), 1 inoral diclofeoac
                                                               group. The incidence of hypertension was similar for all                                                            (post-polypectomy lower gastrointestinal bleed, 8 days after
                                                               groups ( 1.3% for Topical Diclofenac Solution, Ord!
                                                                                                                                                                                   withdrawal of study medication) and 3 in topical diclofenac+
                                                               diclofenac and Topical Diclofenac Solution+oral diclofeoac;
                                                                                                                                                                                   oraldiclofenac(l legcellulitis, I unstable angina, I transient
                                                               1.2% for DMSO veb.icle; 0.6% for placebo). The~e was no                                                             ischcmic anack).
                                                               difference among the groups in reports of m abnormal taste                                                   20
                                                               sensation or odor, confirming the success of the blinding
                                                               procedure for DMSO.                                                                                                  Changes in key NSAID-relatcd laboratory parameters are
                                                                 There was no serious adverse event in the Topical                                                                shown in the below Table 4 ("Analysis of Change in Labora-
                                                               Diclofenac Solution arm, 4 in placebo (1 anemia, I cere-                                                           tory Para meters").

                                                                                                                                                                                                        TA8LE4

                                                                                                                                                                                  Analysis ofchugc• in labontory parameters


                                                                                                                                                                                    TOiclo                                     DMSO              OOido             TDiclo + ODiclo
                                                                                                                                                                                  (n • 145)                                   (n• lSO)          (n • 138)                (n . 141)

                                                                                                                                    AST


                                                                                                                                    Mean ch&ngc, tJ/L                             -0.9 (10.3)          -0.6 (S.2)              0.2 (8.S)          2.5 ( 10 .9)             4.1 (29.6)
                                                                                                                                    Nonn.al to aboonnal°', N (%)                     10 (6.9)               S (3.S)              8 (5.3)           27 (19.6)               20 (14.2)
                                                                                                                                    ALT


                                                                                                                                    MCAil change, Ull.                            -1.0 (11.7)          -0.) (9.9)             -0.6 (9.8)         7.2 (2S.3)               8.2 (68.9 )
                                                                                                                                    Norm,,J to abnonnal, N (%)                        6 (4.1)              4 (2.8)               2 (1.3)           26 (18.8)               24 (17.0)
                                                                                                                                    Hemo-globin


                                                                                                                                    Mean cJwige, glL                              -l.7 (6.2)           -0.8 (6.2)             --0.4 (6.S)      -3.8 (7.1)               -4.8 (6.8)
                                                                                                                                   Notnlal to abnormal, N (%)                         3 (2,1)              7 (4.9)               S ().3)            8 (S.8)                18 (12.6)
                                                                                                                                   Crcati.nloc


                                                                                                                                   Mean change, jl!llOI/L                         -0.4 (10. S)          0 .8 (9.0)             0.3 (10.3)        ) .l (11.0)              4.4 (11.2)
                                                                                                                                   Nonna! to abnom1AI, N (%)                          4 (2.8)              8 (S.6)               6 (4.0)          10 (72)                  IS (10.6)
                                                                                                                                   CreatillUJe Clearanoe.('


.I
..·:-1·,,                                                                                                                          Mean dwige., mUmin                              0.4 (10.J)         --0.S (8.6)             --0.S (8.3)      -2.4 (8.7)               -3.3 (9.7)
                                                                                                                                   Normal to abnormal, N (%)                         l l (7.6)             8 (S.7)               9 (6.0 )         10 (7.2)                 16 (ll.4)



                                                                                                                                   =~~:~~~~!;!=I~~~~!~~                     !~r;:J:()~f:~~1:i·f=~==1t~~'f~1=i:•~i:t:J~c~·-:-:~:
                                                                                                                                   Oictofemc Solutioo phis onl diclofc-nac;ALi, alanioc aminotn..otfC'tlff; AST, •,paa.tc uriinotn0$(crne.
                                                                                                                                   ~•~(SO) ucknolhcrwise iodieatcd.Ooly$1.1bjc-ct.wieb botb:a btk!ioc aod 6mlfa'bVl..loe fotlbc ponmc:t« areibown.
                                                                                                                                   •Chinsic (h,moorrml at bo,elinoc tO.Jbovc upper limit o(nonnal (ot AST, ALT, C."'eatin.inc, OT below lowtr limit o(oonn,J                             fot
                                                                                                                                   f:<t,~~,:.1-:•hin. ,.•u,:..11in.i~ .:•1..~.t1:i1t.:,·.'
                                                                                                                                  "C:alc::ubuccJ ,u per Cockcto!\ OW a.ud O,ult MW, Pr«lictJQn o(cceatinioCI de::lrtDCc &om WIV.cn ett.1tfoioe, Ncpbroa 1976;
                                                                                                                                   16,J l-41,



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                                                                                                                                                                                                                                                                                     HZNPENN_00000228
                                                                                                                                                               APPX95
                                                                                   Case: 17-2149                                                                             Document: 36                     Page: 188   Filed: 08/16/2017
~~       ...... .•.. ,-·. ;.·;.,..·: ..-...'i....,·.~·.·.-..... ....... .,.,. .., ..,._ •.,..,................ ·.............. .. i •• ~.-. .. ...... ,. .... .. . ..... ............   .... -~·




                                                                                                                                                                                                   US 8,217,078 Bl
                                                                                                                                                       37                                                                 38
                                                                             Overall, the mean change in the laboratory value aod the              Despite these elements in trial design the efficacy of Topical
                                                                             number of subjects developing an aboonnality showed no                Diclofenac Solution was robustly established.
                                                                             difference between topical diclofenac and placebo or DMSO                The response of patients in the oral diclofenac group in this
                                                                             veb.icle, but a greater mean change and higher incidence of           srudy (40-48% improvement in variable score) was the same
                                                                             abnormality occurred with. the oral diclofenac anns. With oral 5 as seen in other oral NSAID trials (Bellamy N, Buchanan w
                                                                             diclofeoac compared wi th topical diclofeoac, there was a             Wet al., A multicenter study of tenoxicam and diclofeoac in
                                                                             greater mean change in hemoglobin, alanine aminotrans-
                                                                             ferase, gamrua-glutamyl transpeptidase, creatinioe and crea-          patients with osteoarthritis of the knee. J. Rheum. 1993;
                                                                             ti nine clearance, and a greater number of subjects developing        20:999-1004; Yocum D, et al., Safety and efficacy of meloxi-
                                                                             an abnormality for these parameters. With respect to the tran-        cam in the treatment of osteoarthritis. Arch lru Med. 2000;
                                                                                                                                                10
                                                                             saminases ALT (alanine aminotransferase) and AST (aspar-              160:2947-54), providing a powerful ~xtemal audit on the
                                                                             tate aminotransferase), there was no statistically significant        validity of the trial design and conduct, and furtberconfirma-
                                                                             change in mean values between the oral diclofenac and ora I           tion of the sustained efficacy ofTopical Diclofenac Solution.
                                                                             plus topical diclofenac treatment arms. Development of                Topical Oiclofenac Solution was found to be as effective as
                                                                             abnormal laboratory parameters was geoerally below clin.i-            oral diclofcnacal relieving thesymptomsofkneeosteoarthri-
                                                                             cally relevant levels. No subject developed a clinically sig- 15 tis with less NSAJD-rclatcd systemic toxicity than oral
                                                                             nificant change in hemoglobin or creatinine. An increase in
                                                                             any liver enzyme 10 three times the upper limit of normal             diclofenac. These observations support the safety and effi-
                                                                             occurred in 1 subject with placebo, t with DMSO vehicle, 2            cacy results of a previous equivalence study of Topical
 .·,                                                                         with oral diclofenac and 3 with topical diclofenac+oral               Diclofeoac Solution vs. oral diclofenac .
·:.::                                                                        diclofenac, but none with topical dicloferiac.                     20     Claims of therapeutic efficacy for DMSO itself in osteoar-
:~:
   .                                                                             Ocular examination at baseline and final revealed no
                                                                             change in visual acuity (data not shown) and no difference io
                                                                                                                                                   thrilis were discounted in an earlier, 4-week trial with topical
                                                                                                                                                   diclofenac (Bookman AA, et al., Effect ofa topical diclofcnac
                                                                             the development of leas abnormality (catara-ct) with placebo          solution for relieving symptoms of primary osteoarthritis of
                                                                              (4 (2.6%) subjects) vs. topical diclofenac (2 (1.3%]) or             the knee: a randomized coolrolled trial. CMAJ. 2004; 171:
                                                                              DMSO vehicle (6 [3.8%)).                                          25 333-8) and are furtherdisproven by this 12-week study.
                                                                                 Cooclusions:Theresultsoftbisclinicalstudyclearlysbow                  There was no apparent difference between Topical
                                                                              the effectiveness ofTopical Diclofeoac Solution applied lopi-        Diclofenac Solution and placebo in NSAJD-associated gas-
                                                                              cally to treat the symptoms of osteoarthritis of the knee.            troiotestinal adverse events (the incidence was actually lower
                                                                                 Topical Diclofenac Solution was superior to both topical          with Topical Diclofenac Solution). Jo this srudy, no eye leas
                                                                              comparator groups (placebo and DMSO vehicle) for all 3 JO abnormalities were observed with OMSO-vehicle or Topical
                                                                              primary efficacy variables, pain, function an.d patient overall       Diclofcnac Solution treatment. The combination Topical
                                                                              health. Efficacy was confirmed by a conscrva·tivc BOCF sen•           Diclofenac Solution+oral dielofeoac showed oo increase in
                                                                              sitivity analysis.                                                    adverse events relative to Topical Diclofenac Solution or oral
                                                                                 The WOMAC physical function questionnaire asks                     diclofenac alone. TIie blood level o f diclofooac following
                                                                              patients to score physical function in areas such as difficulty JS topical application as Topical Diclofenac Solution is only
                                                                              descending stairs, difficulty ascending stairs, difficulty rising     about 12 ng/ml, and the incremental increase with the com-
                                                                              from sitting, difficulty standing and difficulty walking oo a         bina1ioo would be negligible compared with tb.e predicted
                                                                              flat surface. The superiority of topical dic]ofenac solution          level of 1500 nglmL that is reported with oral diclofeuac.
                                                                              over placebo was surprising given that {i) the physical func-         Although combined treatment with Topical Oiclofenac Solu-
                                                                              tions measured in tbe WOMAC physical function question- 40 tion+oral diclofcnac did not provide a statistical advantage
                                                                              naire are generally accomplished with the use of both knees,          over oral diclofenac alone, this regimen could be a reasonable
                                                                              (ii) only one knee was treated in the srudy, (iii) 95% of             treatment paradigm in an individual with persistent or break-
                                                                              patients had disease in both knees (with pain in the contralat-       through knee pain despite using an oral NSAlD.
                                                                              eral knee occurring in 90% oftb.e study population) and (iv)             In conclusion, this c xamplesbows that Topical Diclofenac
                                                                              the blood levels of diclofenac produced by the topical 45 Solution provides durable improvement in the symptoms of
                                                                              diclofenac solution when treating one knee are far below tb.e         osteoarthritis of the knee, and that reliefis not contributed by
                                                                              levels achieved by oral administration of the drug and                the DMSO-carrier. Efficacy of Topical Diclofenac Solution
 :-:                                                                          regarded as necessary to achieve a systemic effect (see               was comparable to that achieved with oral diclofenac. For the
                                                                               Examples 7 and 8 below). Remarkably, there was no statisti-          patient initiating pharmacological therapy for relief of symp-
                                                                              cal difference between topical diclofenac solution treatment so toms associated with osteoarthritis oftbe knee based oo cur-
                                                                              of one knee and oral diclofenac (which would provide treat-           rent treatment guidelines, Topical Diclofenac Solution is a
                                                                               ment for both knees) for the physical function efficacy vari-        viable, evidence-based treatment option.
                                                                              able.
                                                                                  This study followed a typical 12-wcck oral NSAID trial                                       Examplc2
                                                                              design, namely, primary osteoarthritis of th.e knee with pain ss
                                                                               and abnormal radiological findings. Although most subjects                   Influence of a Topical Diclofcnac Solution on
                                                                               had bilateral osteoarthritis, only one painful knee was treated               Percutaneous Absorption Of Three Different
                                                                               with topical solution. Inasmuch as outcome measures of                     Environmental Toxins after Repeated Epicutaneous
                                                                               physical function and overall patient health assessment are                             Administration to mio.ipigs
                                                                               likely to be negatively influenced by symp1oms in the non- 60
                                                                               treated knee, this trial design biased against Topical                  This Example describes novel preclinical information that
                                                                               Diclofenac Solution. lo any oral NSAJD trial, and in this             may, for example, be provided to a user according to the
                                                                               srudy's oral diclofenac arms, subjects au1omatically treat            present invent ion. which relates to the influence of a topical
                                                                               both knees, avoiding these factors. ]he inclusion of oral             diciofcnac solution contaiuiog J .5% diclofonac sodium (2-
                                                                               therapy for all groups added a second placebo effect to tbe 6S ((2,6-dichlorophenyl)ami no )benzeneacetic acid, monoso-
                                                                               topical comparator arms, imposing a yet higher burden to              dium salt), 45.5% DMSO, ethanol, propylene glycol, glycer-
..·                                                                            prove efficacy of Topical Oiclofenac Solution over placebo.           ine, and water ("Topical Diclofenac Solution") on the
   ··1
 ·.·•




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                                                                                                                                                                                                     APPX96
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                                                                      US 8,217,078 Bl
                                          39                                                                              40
        percutaneous absorption of three different environmental tox-                           Prior to the start of the study, lhe administration sites were
        ins, as evaluated in a study involving repeated epicutaneous                       cleared of bristles, if present. The remaining hairs were
        administration to minipigs.                                                         clipped. The toxin was spread onto the administration area
            llle Test Item was Topical Diclofenac Solution                                  using a syringe. The administration area was not covered wilh
        [PellJlSaid® Topical Solution, Nuvo Research Inc., Missis-                          any dressing. Following administratioo the animals were
        sauga, Canada). The environmental 1oxins selected for use in                        restrained for at least l hour (until the toxin bad completely
        lhe study were oxybenzone (in the form of Equaline SPF 23                           dried) in slings which allowed free movement of the bead but
.,      faces sunscreen; active compound 6% oxybenzone), DBET,                              prevenled a complete body turn in order to prevent access by
;..,•   i.e., N,N-diethyl-m-toluamide (in the form of Deep woods                            the animals to the toxins.
        OFF!® pump spray; active compound 25% N,N-dielhyl-m- 10 Toe six treatment groups were assigned to receive toxins,
        toluamide), and 2,4-D, i.e., 2,4-0, dimethylamine salt (in the                      Test Items and Controls as sei forth in the following table.
        form of Spectracide Weed Stop 2x For Lawns Concentrate;
        active compound 7.57% 2,4-D, dimethylamine salt). Toe
        control items used in the study were Retin-A 0.1% (tretinoin)
        cream, Men's Rogaine® Bxtra Strength Topical Solution IS Group Toxln No. (Name) Test Ilern/Control
        (minoxidil .5% w/v), both of which are approved and mar-
        keted in lhe United States. Both control products have skin                                   I (oxybcm.one)      Topica.J Dielofoo.Ae Solution (Test Item)
                                                                                                      2 (DEET)            Topica.l Diclofenac Solution ("fest Item)
        permeation enhancing capabilities and were selected for                                       3 (2,4-D)           'fopical Diclo(cn-ae Solution (Tcsc Item)
        comparison to the Topical Diclofenac Solution in the                                     4    I (oxybcnwne)        Retin-A (ConlJOI no. t)
        cohancemeot of environmental toxins. Retin-A (tretinoin) 20                              5    2(DEET)              Rogoine ® (Control 00. 2)
        stimulates mitotic activity and increased turnover of follicular                         6    3 (2,4-D)            Rogainc ® (Conuol oo. 2)
        epithelial cells, resulting in disruption of the skin barrier
         function with consequent enhancement of transcpidennal                                 On test day 21, Topical Diclofenac Solution(Test Item) or
         water loss. Compromising skin barrier function can cause                           Rogaine Topical Solution (Control No. 2), respectively, was
        enhancement in permeation of molecules through the skin. 2s applied 30 mioules before toxin administration based on a
        Toe skin permeation enhancement of Rogaine is associated                            pre-specified schedule. No administration of Retin-A (Con-
         with its high content of propylene glycol (50%), a known skin                       trol No. I) was scheduled for test day 21. On test day 21 the
         permeation enhancer.                                                                toxin adroinjstralion was carried out after the Test Item/Con-
             Methods: In this study, performed according to Good                             trol administration according to the foUowiog schedule:
         Laboratory Practices ("GLP"), I 8 female Gottiogeo 30
                                                                                            Groups I , 2 and 3: 30 minutes after Test Itern/Omtrol-admin-
         Minipigs, a commonly used non-rodent species for phanna-
                                                                                             istration; Group 4: after an overnight break; Groups 5 and 6:
         cokioetic studies, were selected for'eotry into the study based
         on the results of a satisfacto,y preliminary beaJth screening.                      30  minutes after Test Item/Control administration.
         There were six treatment groups with 3 female animals per                              In sum, Test Item/Control application was as follows: Topi-
         group. Animals were allocated employing a pseudo-random JS cal Diclofenac Solution (fest ltem), 0.22 mUadmiwstration
         body weight stratification procedure that yielded groups with                       site four times daily from test days 6 to 20 (7:30, 12:30, 17:30,
         approximately equal mean body weighL                                                22:30) and one single dose on day 21 (7:30); Retin-A 0.1 %
             Toe Test Item and lhe controls were supp!jed ready-to-use.                      cream (Control No. I), 112.5 mg/administration site once
         Toxin No. I (sunscreen) was applied undiluted. Toxins Nos. 2                        daily from test days 610 20 (22:30); Roga.ine ES (Control No.
         (DEET) and 3 (2,4-D) were diluted in etbanol and water, 40 2), 0.8 mUadministration site twice daily from test days 6 to
   I
   .I
         respectively, before use on test day l according to the below
         dilution scheme. The same toxin admiwstration solutions
                                                                                             20 (7:30, 17:30) and one single dose on day 21 (7:30). The
                                                                                             administration site of the Test hero or Controls was exactly
.:.:1    were used on test day I, 21, 28 and 35. Between the admin-                          the same as for the toxins, i.e. 150 cm2 on lhe animal's back
. ·,     istrations, the solutions were stored at +2° C. to +4° C .                          between the fore and hind extremities, as noted above. Toxin
                                                                                         45 dose levels were selected based upon available human envi-
                                                                                             ronmental and occupational exposure data. Dose levels for
  ·i                                                                                         the Test Item or Controls were based on the recommended
                          Preparation of the toxin administ.ra.tion dose                     doses of the products in humans.
                               Strength of        Targ,ted        Difu··   Volume or
                                                                                                The Test Item or Control was spread onto the administra-
                    Act.ive oaiveempd           exposure of       ti,oo diluted toxin to so tion area using a syringe. Toe administration area was not
            Toxin   com•       in the toxin actlvecmpd to of the be applied to               covered with aoy dressing. Following admiwstration the ani-
             No.    poo.nd         (w/v)       ISOcm2 (µgl to·xi.n 150cm'(mLl                 mals were restrained for at least I hour (until the test item and
                     o,:y-           6%          300000                                      controls had completely dried) in slings which allowed free
                   bcoz,one                                                                   movement of the head but prevented a complete body turn in
              2     DEFT            25%            6723              40       1.08       55 order to prevent access by the animals to the Test Item or
              3     2.4-D         7.57%               13.35       5000        0,8$
                                                                                             Controls.
                                                                                                 Any cootact of the test areas with water was avoided
             Toxin was applied by epicutaneous admiwstratioo via                              throughout the whole experiment.
          syringe onto tile back region. There was a single administra-                          Observations: Observations related to individual animals
          tion on test day I (before administration of the Test Item o.r the 60 made throughou1 the study included clinical signs, body
         Controls) and single administration on days 21, 28 and 35                            weigh! and food/water consumption.
          (after adminiscratioo of the Test Item or the Controls). The                           For evaluation of local tolerance, skin reactions were
                                                   2
         administration area was 150 cm /animal. TI1e administration                          examined once daily throug.hou1 the sn,dy. prior to-each
          site was situated on the animal's b,ick between lhc fore and                        adminlstrntiou (eud of tl1e respective exposure period), if
          lhe bind extremities. Toe surface area of the application site 65 applicable. Reactions, namely, erytbema, escbar and oedema
          was selected to provide a high toxin exposure that would                            formation were·scored based on Draize J H, Appraisal of the
          ensure measurable systemic levels of the toxins.                                    Safety ofChemicals in Food, Drugs and Cosmetics, Associa-




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~    .........., . , .... ··\•'............ . .......\'!' . . ..... ·• ..... ........... . . •• ..· . ... _ ,,, .. . .. . ...........,.,... •• ..... ......   • . .. . . - .· . . ...... ............. -~.- .. .... .................. -· "l". • ,••••.,...... . ' - . .. .. . .... ............. . . ...... .. ,.




                                                                                                                                                                                          US 8,2 17,078 Bl
                                                                                                                                       41                                                                                                                                              42
                                                                    tioo ofFood and Drug Officials of the United States, Austin,         partmentally by means of C.,.,, (maximum observed plasma
                                                                    Tex., 1959. Any other lesions were also recorded, if any             concentration), tmax (time of Cm.,. after application of the
                                                                    occwred.                                                             toxin), and the AUCo.., 8 (the trapezoidal area under tbe time
                                                                        Blood sampling for pharmacokinetics was undectakeo for           course of the plasma concentrations up to 48 hours after
                                                                    each animal at predetermined sampling times and processed 5 application).
                                                                    for at least 2 mL Li-Heparin plasma/sample, which were                   Based oo the ANOVA of the log-transformed AUCo..,8, the
                                                                    split into two aliquots of I mL each.                                area exposure to oxybenzone for the animals treated with
                                                                        The area under the concentration-time curve ("AUC'') from        Topical Diclofenac Solution was statistically significantly
                                                                    time zero to 48h, AUCo.•8h• for each toxin was calculated for        lower (p~0.05) on days 21, 28 and 35 compared with the
                                                                    each minipig after each toxin admiuistratioa on test days 1, 10 animals treated with the control (Retin-A), whereas there was
                                                                    21, 28 and 35 using a linear trapezoid metbod. Descriptive           no statistically significant difference between the treatments
                                                                    statistics (arithmetic mean, standard deviation) of non-trans-       groups on day I (before the start of the 1reatments with the test
                                                                    formed AUCo-,,ih and natural log•transfonnedAUCo.., 8• were          and control items). No statistically significant differences
                                                                    calculated for each treatment group for the administration           were noted for the Topical Diclofeuac Solution or control
                                                                    days on test days 1,21, 28and35. Log-transformedAUCOAa• 15 (Retin-A) treated animals of groups I and 4, respectively, for
                                                                    wtre compared using the repeated measurements employing              C.,., and AUC-values of test day I compared to test days 21,
·1                                                                  a generalized linear model of variance using treatment group         28 and 35.
                                                                    and administration day as covariates. The achievement of                 Conclusions: Epicutaneous appl ication of Topical
                                                                    steady state of diclofenac was assessed by using repeated            Diclofenac Solution four times daily from test day 6 to 20
                                                                     measurements employing analysis of variance ("ANOVA") 20 with a single dose applied on the morning of day 21, while
                                                                     with log-transformed trough concentrations o.n test days 19,        resulting in relevant systemic exposure to diclofeoac, did not
                                                                     20 and 21. All statistical analyses were two-sided and in all       induce relevant local or systemic untoward changes. Treat·
                                                                    analyses the Type I (alpha) error was fixed at the 5% level.         meot with Topical Diclofeoac Solution, however, did not
                                                                        Results: With regard to clinical signs, o.o signs of local       amplify the exposure of oxybcnzone, an cpicutaneously
                                                                     intolerance reactions were observed in any of the minipigs 25 applied toxin.
                                                                    after repeated epicutaneous administration of 0.22 mL Topi-              That systemic diclofenac steady state was reached by day
                                                                    cal Oiclefenac Solutio.o/animal (approx. 3.:5 mg diclofenac           19 indicates that a maximum degree of skin permeabilizatioa
                                                                     sodium/animal) and any of the Toxin Nos. I, 2 or 3. Addi-           for diclofenac by the Topical Diclofeoac Solution vehicle bas
                                                                     tionally, no signs oflocal intoleranc-e reactions were observed      been reached after 14 days of treatment with Topical
                                                                     in any of the minipigs after repeated epicut aneous adminis- JO Diclofenac Solution.
                                                                     tration of either Coutrol No. 1 or Control No. 2.                       Results also showed that there was 110 quantifiable sys-
                                                                        Additionally, no signs of systemic intolerance reactions          temic absorption of DEBT or 2,4-D at baseline (prior to
                                                                     were observed in any of the mini pigs after repeated cpicuta-        treatment with Topical Diclofenac Solution or Rogaine) or
                                                                     neous administration of 0.22 mL Topical Diclofeoac Solu-             following a 15-day pre-treatment wit.h Topical Diclofenac
                                                                     tion/animal (approx. 3.5 mg diclofeoac sodium/animal) and 35 Solution or Rogaioe (Treatment Groups 2, 3, 5 and 6).
                                                                     any of the three toxins. No signs of systemic intolerance               According to the results, sysiemic absorption of oxyben-
                                                                     reactions were observed in any of the minipigs after repeated        zone occurred prior to treatment with Topical Oiclofenac
                                                                     epicutaneousadministration ofeither 112.5 mg Retin-A 0.1 %           Solution and Retin·A control (days t-3) aud this level thus
                                                                     (tretiooin) cream/animal (control no. I) or 0.8 mL Men's             represents baseline systemic absorption of oxybcn7..one.
                                                                     Rogaine® Extra Strength Topical Solutioo/animal (control 40 There was oo significant difference in baseline oxybenzone
                                                                     no. 2) and any of the three toxins.                                  systemic levels and systemic levels obtained following a 14
                                                                        The body weight was in the normal range throughout the            day pre-treatment period with Topical Oiclofenac Solution
                                                                     course of the study in all animals after repeated epicutanoous       and it is therefore concluded Topical Oiclofenac Solution did
                                                                     administration of 0.22 mL Topical Diclofeoac Solution/ani-           not enhance the systemic absorption of oxybenzone. How-
                                                                     mal (approx. 3.5 mg diclofenac sodium/animal) or the two 45 ever, there was a significant difference in baseline oxyben-
                                                                     controls and any of the three toxins.                                rone systemic levels and systemic levels obtained following a
                                                                         No influence on the food consumption was noted for any of        14 day pre-treatment period with Retin-A Control. Therefore,
                                                                     the animals after repeated epicutaneoos administration of            Retin-A enhances the systemic absorption of oxybeozooe.
                                                                     0.22 mL Topical Oiclofenac Solution/animal (approx. 3.5 mg              It can be concluded that a 15-day repeat dose treatment
                                                                     diclofenac sodium/animal) or the two controls and any of the 50 with Topical Diclofenac Solution, QIO, while resulting in a
                                                                      three toxins.                                                       maximum degree of skin permeabilization for diclofonac,
                                                                         The visual appraisal of the drinking water consumption did       does not enhance the systemic absorption of oxybenrooe.
                                                                      not reveal any Test Item-related influence.
                                                                         Pharmacokinetic data results indicated that systemic                                        Example3
                                                                     diclofenac steady state was reached by day 19.                   SS
                                                                         Due to limitation in the sensitivity of the analytical meth-              Influence of a Topical Diclofenac Solution on
                                                                     ods employed io the study, no DEET (Toxin no. 2) or 2,4-D                       Percutaneous Absorption of Two Different
                                                                     (Toxin no. 3) could be quantified in plasma for any of the                 Environmental Toxins after Repeated Epicutancous
                                                                     animals treated with the Topical Diclofenac Solution or the                            Administration to Minipigs
                                                                      Rogaine so no finn conclusions could be drawn from the 6-0
                                                                     study concerning the enhancement of systemic absorption of              This Example describes novel preclinical information that
                                                                      these toxins. A subsequent study (described in Example 3             may, for example, be provided to a user according to the
                                                                      below) using higher concentrarions of DEBT and 2.4-D was             present invention. which relates to the influence of a topic.11
                                                                      lberefore conducted.                                                diclofonac preparation containing 1.5% diclulcnac sodium
                                                                         In contrast, the exposure to oxybenzo11e could be well 65 (2-((2,6-dichlorophenyl)amino]benzeneacetic acid, monoso-
                                                                     quantified on all application days. The cour~es of the plasma        dium salt), 45.5% DMSO, ethanol, propylene glycol, glycer-
                                                                     concentrations of oxybenzone were surnmari7.ed non-<:001·             ioe, and water ("Topical Diclofenac Solution") on the percu-




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        1aneous absorption of two environmental toxins from                 Solution/animal (approx. 3.5 mg diclofeoac sodium/animal)
        Example 2, evaluated at higher doses in a study involving           and Toxin No. 2 revealed a very slight to well defined
        repeated epicutaneous administration to minipigs. lo                erythema on test days 7 to I 4. Animal nos. 7 and 8 (group 3)
        Example 2 the dose levels for the toxins were selected based        treated with 112.5 mg Retin-A 0 . I% (tretinoin) cream/animal
        on the available human environmental a.od occupational s and Toxin No. I revealed a well defined erythema on test days
        exposure data but the results did not provide systemic expo-        21 and 22 aod a very slight to well defined erythema on test
        sure above !he limit of quantitation. Thus, lo increase the         day 35. Animal no. 12 (group 4) treated with 112.5 mg
        poteDlial systemic exposure of the toxin, the maximum der-          Retin-A 0.1% (tretinoin) cream/animal and toxin no. 2 (group
        mal exposure to the toxin was selected for this study. As in        4) revealed a modCl'ate to severe crythema on test day 21 and
        Example 2, the Test Item was Topical Oiclofenac Solution. 10 a well defined erythema on test day 35.
            Toe two environmental toxins OEET, i.e., N,N-diethyl-m-             No signs of systemic intolerance were noted for any of the
        toluamide (in the form of Deep woods OFF!® pump spray;              mini pigs after repeated epicutaneous administration of either
        active compound 25% N,N-<liethyl-m-toluamide) and 2,4-D,
                                                                            0 .22 mL Topical Diclofenac Solution/animal (approx. 3.5 mg
        i.e., 2,4-D, dimethylamine salt (in !he form of Spectracide
                                                                            diclofeoac sodium/animal) or the Control Item and the two
        Weed Stop 2>< For Lawns Concentrate; a<:tive compound ts
        7.57% 2,4-D, dimethylarnine salt). The single Control Item          tox.ins. Additionally, none of the animals died prematurely;
        used in the study was Retin-A 0.1% (tretinoin) cream.               the body weight was in the normal range in all animals
             Methods: The study was carried out as described in             throughout the course of the study; and no inilucoce was
        Example 2 using 12 miuipigs (four groups of three female             noted on the food and drinking water consumption for any of
        minipigs each). Animals of groups J and 2 were treated with 20 the animals.
        the Test Item from the morning of day 6 until the momin_g of             Epicutaneous application of Topical Diclofenac Solution
        day 21; groups 3 and 4 were treated with Retin-A 0.1% (the           four times daily from test day 6 to 20 with a single dose
        Control Item) from the evening of day 6 until the evening of         applied on the morning ofday 21 resulted in relevant systemic
        day 20.                                                              exposure to diclofenac.
             Single doses of the toxins were administered on the mom- 25         Conclusions: Epicutaoeous application of Topical
         ing of days I, 21, 28, and 35. Groups no. I (Test Item) and 3       Diclofenac Solution four times daily from test day 6 to 20
         (Control Item) were investigated with Toxin no. I (DEET),           with a single dose applied on the morning of day 2 I, while
         whereas the animals of groups 2 (fest item) and 4 (Control          resulting in relevant systemic exposure 10 diclofcnac, did not
         Item) WCl'e investigated with Toxin no. 2 (2,4-D). Toe volume       induce relevant local or systemic untoward changes. The
         of the toxin formulation applied was I mL on day I and 1.5 30 achievement of steady state levels of diclofenac by day 21
         mL on subsequent doses starting on day 21. In oontrast to           indicates that that a maximum degree of skin pcrmeabili1.a-
         Example 2,,the 1.5 mL 1oxiA volume resulted in an adminis-          tio11 for. dic;Jofepac had been reached. In contrast to Retin-A,
         tered dose of DEBT (loxin No. I) of 375,000 µg and an               treatment with Topical Diclofenac Solution did not amplify
         administered dose of2,4-D (foxin No. 2) of I 13,550 µg.             the toxic risk of epicutaneously applied toxins such as 2,4-D
             The Test Item, Control Item and Toxins were administered 35 andDEET.
         as follows. The Test Item was administered four times daily
         from test days 6 to 20 (7:30, 12:30, 17:30, 22:30); one single                                  Examplc4
         dose on day 21 (7:30). The Control Item was administered
         once daily from test days 6 to 20 (22:30). Toxin Nos. I and 2                Effect on Stratum Comeum Barrier Function of
         were admi.n.istered once on test day I (before administration 40            Multiple Doses of Topical Diclofeoac Solution as
         of !he Test Item or the Controls) and onoe on test days 21                       Measured by Transepidermal Water-Loss
         (after administration of the Test Item), 28 and 35.
             Results: Exposure to DEET could be weU-quantified on all            11J.is Example describes novel preclinical information that
         application days. In the Topical Diclofenac Solution arm, the        may, for example, be provided to a user according to the
          dose-normalized area exposure to DEET (AUCcµs) on days 45 present invention, which comprise information regarding an
          21, 28, and 35 was on average 1.18, 1.61, and 1.44 times            assessment of the effect on stratum comeum barrier function,
 •, '
          higher than on day 1, respectively; but was not statistically       as measured by transepidermal water loss ("TEWL"), ofmul-
          significantly different. Under the Retin-A Control treatment,       tiple doses of a topical diclofeoac preparation containing
          the dose normalized area exposure on these days was on              1.5% diclofeoac sodium (2-[(2,6-dichlorophenyl)amioo]
          average 1.56, 1.83, and 1.30 times higher than on day I and 50 benzeoea<:etic acid, monosodium salt), 45.5% DMSO, etha-
          were statistically significantly different on test day 28.          nol, propylene glyool, styccrine, and water ("Topical
              Exposure to 2,4-D could be well-quantified on all applica-      Diclofenac Solution") compared with a positive control,
          tion days. Under the Testtreatmeut, the dose normalized area        Retin-A®, and an untreated site as a negative control.
          exposure to 2,4-Dondays 21, 28, and 35 was on average 2.04,             Study Design: The study was oonducted as a four-period,
           J.27, and l.16times lower than on day I, respectively, but was 55 open label, paired comparison in a single group. Period One
          not statistically significantly different. Under the Control        (Baseline) was a period of one week prior to the first appli-
          1.reatment, the dose normalized area exposure on these days         cation on Day I. Al Period Two (Treatment), subjects applied
          was on average 10.84,8.86, and 7.29timeshighertbaoonday             test articles (fopical Diclofenac Solution or Retin-A®) for a
           I and were statistically significantly different. Accordingly,     period of six weeks. At Perind lbree (Reoovery), subjects
          there is a distinct.amplification of the 2,4-0 exposure in the 60 underwent a recovery period of two weeks following the
          control group (Retin-A), but not in the animals treated with         treatment period. At Period Four (Retin-A® Challenge) sub-
           the Test treatment (Topical Diclofenae Solution).                  jects applied Retin-A® under occlusion to the same test site
              No signs of local intolerance reactions were observed for        as during Period Two for.a period ofup to two weeks.-Thus.
          a ny of !he minipigs al\er repeat..:! epicutaneous administra-       lht: total study durotion was approximately 12 weeks, with
           tion of0.22 mL Topical Diclofenac Solution/animal (approx. 65 eight 1.reatment weeks spread between Period Two (six-week
           3.5 mg diclofenac sodium/animal) and Toxin No. 1. Animal            treatment period) and Period Four (two-week 1.reatment
           no. 4 (group 2) treated with 0.22 mL Topical Diclofenac             period).




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                                       45                                                                           46
          Protocol: Al Period One (Baseline), baseline measure-                          encc from untreated site) for tbc Treatment Period, and cor-
      ments oITEWL were performed on Days -7, -S, and -3 prior                           relotion analyses between TEWL and tbe variables: skin irri-
      to the lint application on Day I . At Period Two (Treatment),                      tation score, temperature and humidity.
      subjects   applied    test articles   for  a period    of six weeks.   TEWL            Safety: Safely was assessed through evaluation of the
      was measured on each           of tile  test sites   (4  cmx4  cm)  immedi-     5  safety   variable.~: adverse events, skin irritation score, labora-
      alely before applicatiou of the momiog dose ofl~'Sl articles on                                     and vital signs. Safety analysis was carried out
      Days 1,3, s, 8, 15, 22,      29,36and43        . Eachsubjcct     appliedone        tory  analysis
      drop (approximately 30 µL) oITopical                Diclofenac    Solution  to     on   lhe data  of every subject who received at least one tzcat-
       a test site on the right or left volar foreann (as randomized)                     meal with study anicle.
                                                                                                                              for treatment with Topi~-al
       fourtimesad ayfors.ixweeks,a1approxima1cly08:00, 13:00, 10 TEWL Results: The resuhs
       18:00 and 23:00 hours. The dose ofTopical Diclofenac Solu-                         Diclofcnac Solution indicate that it did 001 cause an increase
       lion utilized in lhis study (approximately 30 µL to a surface                      in TEWL relative to lhe untreated site following 6 weeks of
       area  of  16 cm  2
                          )  was    calculaled     to  approximate      lhe  Topical      treatment at a dose, that applied QIO to the knee, is shown in
       Diclofenac    Solution       dose   lhat   applied     QID   to the   knee  is     Example I tobee!Tcctivefortreatmentofthepainandsymp·
       shown in Example          I to be  effective     for  treatment   of the pain  ts  toms of knee osteoarthritis. No difference between Topical
       and symptoms of knee osteoanhritis                ,  namely   40  drops  (ap-      Oiclofenac Solution and Retin-A® was noted during the
       proximately 1.2 mL) to a knee surface area of approximately                        Treatment Period (neither caused an increase in TEWL dur-
        800 cm2• Each subject applied a dab (about 12 mg) ofRetin-                         ing this period of the study).
        A® to a separate test site on the opposite volar forearm once
        per 'day for six weeks, at approximately 08:00 hours. Toe 20                          DuringtheChallcngePcriodwilhRe1in-A®,skinirritation
        subject used his/her fingcrto spread tbetestarticles overthcir                    was DOied (see Safety Resu.lts) and a significant increase in
        respective test sites. Each forearm had a test area that was left                  TEWL relative to the untreated site was observed. These
        untreated as a negative control. The subjects allowed the test                     results for the Challenge Period validate the study design by
        articles to dry  before    covering      lhc test   sites wilh clolhingaod         showing that th.e subjects were responsive to tbis positive
        avoided sunlight      exposure     to  lhe test  sites  during the  study.At   u   control,  a known skin irritant.
        Period Three (Recovery), subjects underwent 3 recovery                                Mean TEWL time profiles are shown in PIG. 1(Retin-A®)
        period of two weeks following the treatment period. TSWL                            and FIG. 2 (Topical Diclofeoac Solution). Review of PJG. l
        wasmeasurcdoneacbofthetestsitesonthemoroingofDays                                   sbows 30 increase in TEWL for the Retia-A® treated site
        45, 47, SO, and 58. At Period Four (Retin-A~ ChaUenge)                     on
                                                                                                                                         cuntreatedsite, and
         Days 58-7!, Retin-A® was applied under oc<:lusion to lhe 30 duringthcChallcngePcriodrclativctotb
         same test site to which Retin-A® had been applied during                           no difference between treated and untreated sites for Topical
         Period Two. A designated member of tlH: study stair applied                        Diclofenac Solution and Rctin-A® during the Treatment
       two dabs (about24 mg)ofRetin-A®tothe Retin-A®test site,                     Period.
       once daily for 14 days, at approximately 08:00 hours. The                       Safety Results: There were a total of 51 adverse events
                                                                                                                              of adverse events were
       Retin-A® test site was occluded using polyetliyleae film (Sa- JS reported by 12 subjects. Toe majority
       ran Wrap®) for 15 hours followingcacll application. TEWL                    classified as mild in severity (35 events) and classified as
       was measured on the Rctin-A® site and the witrcated control                 probably related to the test article (32 events). Tbe majority of
       site of the same ann on the morning of Days 59-72.                          the adverse C\'eots reported consisted of skin irritation
           TEWL:    TEWL     analysis was   carried  out on  the data  of the      responses (i.e. contact dennatitis, dry skin, pruritus). These
        intent-to-treat  ("!Tf")   analysis    group.   The    ITT   analysis  40  were observed at the Retin-A® application test sites for all
       group included    all enrolled subjeccs   who   received  at least one      subjects except for one who reported lbe adverse event 'dry
        dose of test article. TEWL    was  qu:intified  us iag a VapoMeter,        skin' that occurred at the Topical Diclofenae Solution treated
        a closed chamber evaporimeter. Change in TEWL between                      lest site.
        the treated and untreated sites was monitored over time.
        Descriptive statistics (arithmetic mean, standard deviation, 4S                 TI1e frequency of worst skin irritation score during the
        coefficient of variation, median, minimum, and maximum)                    Treatment Period for Topical Diclofenae Solution revealed 14
        for the TEWL data was summarized for each treatment. lndi-                  of 15 subjects with a worst score of zero, indicating no skin
        vidual  and  mean   TEWL    time   profiles  were   plotted  by treat-      irritation. One subject had a score of0.5 (dryness or 8:iking)
         meat and period    on a      r
                                 linea.  scale.                                     for lhe Topical Diclofenac Solution treated site. For Retin-
            To assess the validity of   the  study  to  measure   changes   in  so  A®,     no skin irritation was observed during the Treatment and
        TEWL, the post-treatment results for the positive control,                  Recovery Periods. During the Challenge Period, 7 subjects
         Retin-A®, were compared to the untreated site on the same                  had a worst score of3 (erytbema with iodurdtion and vcsicu-
         arm using repeated measures analysis of covariance ("AN-                    lation) and one subject had a score of I (erytbema) for the
         COVA") with the average pre-treatment TEWL measure as                       Retin-A®treated site. The occurrence ofskin irritation for the
                                                                                                                          this positive control.
         the covariate. During conduct of lhe study and preliminary ss Retin-A® sites was expected for
         review ofthe data, it appeared that the positive control was not               Two subjects experienced changes in clinical laboratory
         causing skin irritation to the expected degree. In order to                 evaluations (glucose, ALT and AST elevations) that were
         validate the study, a Reign-A® Challenge Period was added                   documented as adverse events. AJI three adverse events were
         via a protocol amendment as described above, and the                        considered mild and not related to the test articles.
         ANCOVA analysis was repeated for the Challenge Period 60
          using Day 58 TBWL measure as tbe baseline covariate. The                       There were no clinically significant findings related to
         TEWL response for the Topical Diclofeoac Solution sitedur-                   blood pressure, pulse or respiration rates.
          ing the Treatment Period was compared to the untreated site                    (',onclusions: TI1e objective of this smd:, was to cvnluate
         on the s.imc arm us10g l'\.-pt,ated measures ANCOVA with the                 the clfoct on stratwn corncun barrier lu11<..1ioo, us m<:aSurecl
                                                                                                                          oITopical Diclofeoac Solu-
          average pre-treatment TEWL measure as tbc covariate. Sec- 65 by TEWL, ofcbronie application
          ondaty analyses included comparisons between Topical                        tion as compared with a positive control, Retin·A®, and an
          Diclofenac Solution and Retin-A® change in TEWL {differ-                    untreated site as a negative control.
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                                                                                                                                                                                       HZNPENN_00000233
                                                                      APPX100
                                                                                               Case: 17-2149                                                                                              Document: 36                                                                Page: 193                                                 Filed: 08/16/2017
J'; . :·. . . . . . .".~·   c . . . . . . . . . . ., .   . . . . . .. . . .. . . . . . . . . . . . . . . . . . . . . . . .. . . . _   . . . . . ... _   .... .   •   - .. • •   , . . ,. ;   •• _   • •. . . . .· - ~ ·          ;i.
                                                                                                                                                                                                                          .. . ...     .!.,;,.~:. ! :, : ::.: •.,   ='\;..   ... ...._,..... ..... .. •• • • • • .. .. .. • • •.• .. • ....... ....... .... ..... ...   •



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·i
                                                                                                                                                                                                                                                 US 8,217,078 Bl
                                                                                                                                                                                     47                                                                                                                                                           48
                                                                                          The dose of Topical Oiclofcnac Solution utilized in this
                                                                                       study (approximately 30 µL lo a surface area of 16 cm') was
                                                                                                                                                                                               Grouo A.ffisn."!Jots
                                                                                       calculated to approximate tha1 shown in Example 1 to be
                                                                                       effe<:tive for trca1ment of the pain and symptoms of knee                                                                             Numberor Animals
                                                                                       os1coarthritis when applied QID 10 the knee (40 drops (ap- s
                                                                                       proximately 1.2 ml.) to a knee surface area ofapproximately
                                                                                                                                                                   o-p~r 0... Co-.matioo                          ~)        Male        Panak

                                                                                                2
                                                                                       800 cm ). Following chronic dosing     with Topical Oiclofcnac
                                                                                                                                                                            2"
                                                                                                                                                                                                     0
                                                                                                                                                                                                     9
                                                                                                                                                                                                                              6
                                                                                                                                                                                                                              6
                                                                                                                                                                                                                                           6
                                                                                                                                                                                                                                           6
                                                                                                                                                                                                                                                                                                        ••
                                                                                       Solutioo for 6 weeks in this sll1dy, oo significant increase in                      3•                      45.S                      6            6
                                                                                       TEWL was observed. As measurement ofTEWL bas been 10                                 4•                      90                        6            6
                                                                                       shown to be a validated method for assessing skin barrier                            s•                       0                        6            6
                                                                                                                                                                            6.                      90                        6            6
                                                                                        fWJ<:tioo (Fluter J W, Feingold K R, Elias P M. Transepider-
                                                                                        m.il water loss reflects permeability status: validation in        ~owa,iirml~ WffC OCCf'Optted•lkr S2 w«b otedm:aistntioo.
                                                                                        human aod rodent in vivo and ex vivo models. Exp Oennatol          Two ,arumahl,ula,oup rcrmiMd oo ttudy lot a 4-wcck. ,~cry pcnod,
                                                                                                                these results  indicate  that Topical    S -Vou,   aotn:Ml'lhcxllJO',I> wqc ric«C)pWcd •flu )9 'tlo<ecki ot admi.nisntioo.
                                                                                        2006; 15:483-492),                                              1
                                                                                                                                                           1\r.'O animahJ\u/poup tccmincd oo wdy ror • 4-montb recowry period.
                                                                                        Oiclofeoac Solution did not alter the stratum comewn barrier
:_:•
                                                                                        function.                                                               Compositions of the control and test articles were as fol-
                                                                                           Treatment with Rctin-A®, used as a positive control in this      lows
                                                                                        study, in the Cha llenge Period confirmed skin irritation fol-
                                                                                        lowing Retin-A® treatment and a resulting increase in 20
                                                                                        TEWL, thus validating the study.                                    -----                      --------------
                                                                                                                                                                                   Coouol Vebicle
                                                                                           lo con<:lusion, the resuhs of this study demonstrate    that
                                                                                                                                                                                   Elhaool (9N v/V)                       tl.79%Mw
                                                                                         following chronic dosing with Topical Oiclofeoac Solution,                                Propyleoe Olyc:ol                      ll.20o/o w/w
                                                                                         no significant increase in TEW[, was observed, indicating lS                              OlyceriD                               ll.20%w/w
                                                                                                                                                                                                                          6S.81%w/w
                                                                                         that Topical. Oiclofcoac Solution did not substantially alter                             Purified Ww.r
                                                                                                                                                                                   9%DMS0
                                                                                         the stratum corneum barrier function.
                                                                                                                                                                                                                                                                                                                   ElhaJ>ol (9S"' v/v)                                      ll.79%w/w
                                                                                                                                                                                                                                                                                                                   Propylene Olywl                                          ll.20%w/w
                                                                                                                                                                                Example 5                                                                                                                          Otyecrin                                                 I l.20'/4w/w
                                                                                                                                                                                                                                                                             JO                                                                                               9.00¾w/w
                                                                                                                                                                                                                                                                                                                   DMSO
                                                                                                                                                                                                                                                                                                                   Puriliod ww.,                                            S6.81%w/w
                                                                                                         Ophlhalmologic Effects ofTopically Applied DMSO                                                                                                                                                           4S.S~DMSO
                                                                                                         in a 52-Wcek Non-Occluded Denna! Toxicity Study                                                                                                                                                           £1hanol (9S% v/v)                                        ll.79%w/w
                                                                                                                       in G0llingcn Minims                                                                                                                                                                         Propyleoe Glycol                                         ll.20%w/w
                                                                                                                                                                                                                                                                             JS                                    Glycerin                                                 ll.203/•w/w
                                                                                                                                                                           DMSO                     4S.SO'iw/w
                                                                                                 This Example describes novel pre<:lioical information that                Purili,dWaur              20.31%w/w
                                                                                             may, for example, be provided to a user according to the                      90%DMSO
                                                                                             present invention, comprising the results of a study that was
                                                                                                                                                                           Etlwlol (9S% v/v)          2.00°/ow/w
                                                                                             conducted on minipigs which provides information about tho 40                 Propylene 01)'<>01         2.00%wlw
                                                                                             ocular safety profile of dennally applied formulations con-                   Glycerin                   2.00%w/w
                                                                                             taining purified OMSO.                                                        DMSO                      90.00% ..-/w
                                                                                                                                                                           Purified Water             •.00%w/w
                                                                                                 The broad aim of the study was to evaluate the potential
                                                                                             dermal toxicity of OMSO when administered topically to
                                                                                             four groups of G011ingen Minipigs® for 52 weeks at concen- 45      Observations for morbidity, mortality, injury, and the avail-
·.· j                                                                                        trations of 0, 9%, 45.5% and 90% (w/w) and to evaluate          ability of food and water were conducted twice daily for all
.i                                                                                           reversibility, progression, or delayed appearance of any        animals. Clinical obscrvatioos were conducted weekly. At the
·"i                                                                                          observed changes following a I-month postdose observation       end of the each treatment and recovery period, oe<:ropsy
                                                                                              period. Two additional groups ofGottingen Minipigs® were       examinations were pe.rformed, organ weights were recorded,
                                                                                             dosed topically for 39 weeks at 0% and 90% followed by a so and selected tissues were microscopically examined.
                                                                                              4-month recovery post dose observation period.                    One female at 90% DMSO was cutbanized in extremis on
                                                                                                  Four groups consisting of six animals/sex/group rec:eived  Day I 5 I of the study. The cause of the morbidity of this
                                                                                              DMSO atrespectivedoselevels of0, 9, 45.:5, or90%(w/w) by       animal was determined to be respiratory distress and this was
                                                                                              dermal application three times a day for 364 consecutive       considered incidental to treatment and not test article-related.
                                                                                                                                                                                               to their scheduled tennina-
    .·3                                                                                       days. Following 52 weeks ofadministration, two animals/sex ss All remaining animals survived
 .!                                                                                           at 0, 9, 45.5, and 90% dose levels were maintained for a       tioo at the terminal necropsy al 39 Or 52 weeks and the
                                                                                              4-weck recovery period. Two additional g,oups consisting of    4-week and 4-month n:covery periods.
                                                                                              six animals/sex/group received the control or 90''/4 (w/w)         Ophthalmoscopic examioations were conducted pretest,
                                                                                              DMSO by dennal application three times a day for 273 con-       and during Weeks 26, 39, and 52. Examinations were per-
                                                                                                                                                                                                                   Diplomate,
                                                                                              secucive days. Following 39 w1.-eks of administration, two 60 formed by a doctor of veterinary mcdicioc with
                                                                                              animals/sex at 0 and 90% dose levels were maintained for a 4    American College of Veterinary Ophthalmologists creden-
                                                                                              month recovery period. Toe control or test article was admUl-   tials.
                                                                                               is1ered to all groups at a dose volume of 4.5 mUdose/appli-       Unexpectedly given the resu Its of earlier studies on non-
                                                                                              ca1ion sit" {0.015 ml.Jcm2; 300 cm' application si te) lutti l  primate species, uo increased risk ror development of lens
                                                                                                                                                                                                                  with DMSO
                                                                                               Week 20. Beginning Week 20 the control or test article was 6S opacities or refractive index changes associated
                                                                                              administered to all groups al a dose volume 5.6 ml.Jdosc/       were observed. lo fact, no test artiele-related ophthalmo-
   I                                                                                                                                   2
                                                                                              application site (0.01S mIJcm2; 375 cm application site).       scopic abnormalities of any kind were detected during the
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                                                                                                                                                                                                                                                                                                                                                                                           HZNPENN_00000234
                                                                                                                                                                                                                                                       APPX101
                                                                                   Case: 17-2149                                                                                    Document: 36                                                               Page: 194                                                   Filed: 08/16/2017
. ... .-•• , ,.-. ......... . . -.. •V • . , . , . , • • • • ..,. · _,,..,•._• •   • • . • . , . . . ..,.,., ,._ ., , ,. • .,..,., , • ...., ,,..,_,.,,,._.., .._..,.• ,, • .,. •   •••.- •'•   • ' ' ••,• · ~ " "' •; . •,.. ..... . ..,,.,.   • • ,.,., •   • • . ••,• • •.•. • •,, _.. ,. • •, , , ,, ,_,._ ,-. .,, , ._, .. • • • •   •••, ,   , ,,.-• . , ..•   ..... _..   , .._. .,, • • .... ....., • ..,....._. , , , ,   I




                                                                                                                                                                                                                      US 8,217,078 Bl
                                                                                                                                                           49                                                                                                                                                               50
                                                                             study. One female in the control group (i.e. an animal that had                                                                                                             present invention, comprising the results of study conducted
                                                                             oot been exposed to DMSO) bad a posterior cortical axial                                                                                                                    to evaluate the pharmacokioetics of diclofeoac sodium, dim-
                                                                             cataract with equatorial extrusion at the Week 39 ophthalmo-                                                                                                                ethyl sulfoxide (DMSO) and dimethyl sulfooe (the major
                                                                             scopic examination. One male at 45.5% DMSO, one male at                                                                                                                     metabolite of DMSO) after a single-dose application of a
                                                                             90% DMSO, and one control female had conjunctivitis io one                                                                                                           s      topical diclofenac preparation containing 1.5% diclofenac
                                                                             or both eyes only at the pretest examination. No other abnor-                                                                                                               sodium (2-((2,6-<iichlorophcnyl)amino]benzeneacetic acid,
                                                                             malities were detected in any male or female at any of the                                                                                                                  monosodium salt), 45.5% DMSO, ethanol, propylene glycol,
                                                                             ophtbalmoscopic examinations.                                                                                                                                               glycerine, and water ("Topical Diclofenac Solution"
                                                                                                                                                                                                                                                         [Pennsaid® (Nuvo Research line, Mississauga, Ontario
                                                                                                                                                 Example6                                                                                         10     Canada]). The study followed a one-period, open-label,
                                                                                                                                                                                                                                                         single-dose design in 18 normal, healthy, non-smoking male
                                                                                            Ophthalmologic Effects of DMSO in a 26-Week                                                                                                                  and female subjccrs io which Topical Diclofenac Solution
                                                                                            Dermal Toxicity Study in Sprague-Dawley Rats                                                                                                                 was applied to both knees of each subject in 1he study.
                                                                                               Followed by a 12-Week Recovery Period                                                                                                                        The 18 subjects enrolled in the study consisted of 14 Cau-
                                                                                                                                                                                                                                                  1s     casians, I Asian and 3 Blacks (9 males, 9 females) with a
···:                                                                            This Example describes novel preclirucal information that                                                                                                                mean age of33 years (rangC"'22 to 46 years). The subjects'.
. ·:                                                                         may, for example, be provided to a user according to the                                                                                                                    mean height was 174 cm (raoge=l 63to 188cm)andthemean
                                                                             present invention, comprising the results of a study conducted                                                                                                              weight was 75 kg (range=54 to 90 kg).
                                                                             to evaluate the toxicity oftest articles cootaiDing DMSO afte.r                                                                                                                 Each subject was instructed to apply Topical Diclofenac
                                                                             dermal administration for 26 weeks, three times per day, and 20                                                                                                             Solution to clean knees, 1otal 40 drops per knee: IO drops each
                                                                             to evaluate reversibility of any observed changes following a                                                                                                               to the front of the knee, to each s ide and to the back. To avoid
                                                                             12-week post-dose observation period. Three treatment                                                                                                                       spillage, the subject was instructed 10 apply and spread 5
                                                                             groups of 25 male and 25 female CD® [Crl:CD® (SD))                                                                                                                          drops at a time, directly onto his/her hand, and then onto the
                                                                             Sprague-Dawley rats were administered the lest article, Dim-                                                                                                                site. The application left the area visibly wet for several
                                                                             ethyl sulfoxide (DMSO), at respective dose concentrations of 2s                                                                                                             minutes and was applied without massaging. Topical
                                                                             9, 45.5, and 9!Y'/4w/w. One additional groupof25animals/sex                                                                                                                 Diclofeoac Solution was applied to both knees; the order of
                                                                             served as the control and received the vehicle. Compositions                                                                                                                application did not matter. After each dosing, subjects waited
                                                                             of the test articles and control were identical to those used in                                                                                                            for the application site to dry prior to dressing. The subject
                                                                             Example 5 above. The vehicle or test article was administered                                                                                                               washed his/her bands after complete application to both
                                                                             to all groups epicutaneously, three times a day for 182 con- 30                                                                                                             knees.
                                                                             secutivedays, at a dose volumeof0.65 mL. Prior to test article                                                                                                                  The subjects fasted overnight for at least ten hours prior to
                                                                              administr.nion, lhe hair was clipped from the back of the                                                                                                                  Topical Diclofcnac Solution administration and at least four
                                                                              animal comprising no less than 1!Y'/4 of the total body surface                                                                                                            hours following dosing. The treatments were administered
                                                                              area as estimated using the equation A~9.6*W213 where A                                                                                                                    topically to both knees in each subject starting at 7:00 a.m.
                                                                              was the estimated total body surface in square centimeters 3S                                                                                                              (0.0 hour), with three-minute intervals between subjects.
                                                                              and W was the body weight in grams. TI1e area was adjusted                                                                                                                     Subjects were infonned not to take any prescription medi-
                                                                              weekly by group based on the mean body weight for each sex.                                                                                                                cation, other than hormonal contraceptives, from at least 14
                                                                              Following 182 days of administration, 5 animals/sex/group                                                                                                                  days prior to the study until the end ofthe study. Subjects were
                                                                              were mainlaioed for a 12-week recovery period.                                                                                                                             also advised not to take any over-lhe-couoterdrugs, except for
                                                                                Observations for morbidity, mortality, injury, and the avail- 40                                                                                                          spermicidal barrier contraceptive products, for at least seven
                                                                              ability of food and water were conducted twice daily for all                                                                                                               days prior to the study up u.ntil the cod of tbc study. They were
                                                                              animals. Ophthalmoscopic examinations were conducted                                                                                                                        specifically reminded that this included cold preparations,
                                                                              pretest on all animals and prior to the terminal and recovery                                                                                                               Aspirin®, Buffcrin®, Excedrin®, Anacin®, etc., herbal/
                                                                              oecropsies on all main study animals by doctors of veterinary                                                                                                               natural supplements, vitamins and antacid (magnesium and
                                                                              medicine with Diplomate, American College of Veterinary 4S                                                                                                                  aluminum hydroxide) preparations. Subjects were informed
                                                                              Ophthalmologists credentials.                                                                                                                                               that concomitant medication, whether prescription or over-
                                                                                 One female al 9% DMSO (Low dose), two males and one                                                                                                                      the-counter, was not permitted during the study. Subjects
                                                                              female at 90% DMSO (High dose) died, and two females at                                                                                                                     were requested to abstain from grapefruit products, xanthine-
                                                                              45.5% DMSO (Mid dose), and one female at 9/Y'/4 DMSO                                                                                                                        and caffeine-<:ontaining foods and beverages (this included
                                                                              were euthanizcd in extremis during the study. None of these so                                                                                                              tea, coffee, chocolate and cola drinks) for24 hours prior to the
                                                                              deaths were considered to be related to treatment.                                                                                                                          start of the study and until after the final blood draws for the
                                                                                 No test article-related ophthalmoscopic abnormalities                                                                                                                    study. Subjects were also requested to abstain from alcohol
                                                                              were detected in any animal during the pretest, terminal, and                                                                                                               products for 48 hours prior to the start of the study and until
                                                                              recovery ophthalmoscopic examinations. At the recovery                                                                                                                      after the final blood draws of the study.
                                                                              ophthalrooscopic examination, one female at 45.5% DMSO ss                                                                                                                      Blood samples were collected at 0.0 hour (pre-<lose), 1.0,
                                                                              was seen with superficial keratitis in both eyes. This isolated                                                                                                             2.0, 4.0, 6.0, 8 .0, 10.0, 12.0, 24.0, 36.0,48.0, 60.0, 72.0. 96.0,
                                                                              common finding was considered incidental to treatment.                                                                                                                       120.0, 144.0, 168.0, 192.0, 216.0 and 240.0 (hours post-
                                                                                                                                                                                                                                                          dose).
                                                                                                                                                   Example7                                                                                                  The blood samples were kept in an ice bath prior to cen-
                                                                                                                                                                                                                                                   60     trifugation and were centrifuged as soon as possible (within
                                                                                           A Single-Dose Pharmacokinetic Evaluation of a                                                                                                                  30 minutes) under refrigerated conditions at 3,500 rpm for
                                                                                          Topical Solution Containing 1.5% w/w Diclofenac                                                                                                                 seven minutes. The plasma was removed from each blood
                                                                                            Sodium and 45.5% DMSO in Normal-Healthy                                                                                                                       c0llcction tube and aliqoolted into pre-cooled: labeled. dupli·
                                                                                              Noo-Sllloking Male and Female Subjects                                                                                                                      catc, polypropylene tubes, kcpt in an ice butl1 prior to being
                                                                                                                                                                                                                                                   65     flash frozen in an upright position, in a dry-ice acetone bath
                                                                                This Example describes novel clinical information that                                                                                                                    and stored frozen at minus(-) 70° C.±10° C. The tubes were
                                                                               may, for example, be provided to a user according to the                                                                                                                   labeled with the study number, dosing period, subject num-
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                                                                                                                                                                                                                                                                                                                                                                                                 HZNPENN_00000235
                                                                                                                                                                                                                             APPX102
                                                  Case: 17-2149                              Document: 36                             Page: 195                                  Filed: 08/16/2017
~.:::_   ' · ·· ·· ·· .,.. . .. .... ... ...                           ·.   •   ·    · · '    ·       • ' .-.:   · ...,_ ·   - ·-· ·· .... ·-··"· .. · · .--. ·•   ... _... ..,... _ _....... • · ..._.·..,.-~.. ,. .. .... ~r · ,-•....,.,...,. . .., ..v .. ~···.....,. ... . · ..... •._,•   ··~--~ ·j............




                                                                                                           US 8,217,078 Bl
                                                                                51                                                                                                52
                                               ber, study period, sampling lime point, aliquol/tube number                                                  Example 8
                                               and matrix. Upon completion of the clinical portion of lhe
                                               study, all samples were transported in dry-ice to an analytical                           A Multi-Dose Pharmacokine1ic Evalualion of a
                                               laboratory (Maxxam Analy1ics lnc.) for the analysis of                                  Topical Solution Containing 1.5% w/w Diclofeoac
                                               diclofenac sodium, dimethyl sulfoxide and dimethyl sulfonc 5                               Sodium and 45.5% DMSO in Normal Healthy
                                               using validaled analytical melllods.                                                         Non-Smoking Male and Female Subjects
                                                    Dime1hyl sulfone was below lhe limit of quanlitatioo in
                                               mosl samples and lhcreforc pharmacokinelic .analysis was not                         This Example describes novel clinical infonnation lhat
                                               conducted. Graphs showing 1he average measured diclofenac 10
                                               sodium concenlf1!tioo and OMSO coocen1ratio11 in the sub-                         ::~:~;n::::~~~o~:ri7:::e~::1~s~;aa;::::~~c:'.:
                                               jects as a function of lime arc provided in FLGS. 3 and 4.                        to evaluate lhe pharmacokinetics of diclofenac sodium, dim-
                                                                                                                                 ethyl sulfoxide and dimethyl sulfone after multiple doses of a
                                                    Pharmacokinctic analysis of the data was conducted using                     topical diclofenac preparation containing 1.5% diclofeoac
                                               WinNonlin version 4.0 (Pharsight, Carry, US). 1ne principal                       sodium (2-((2,6-dichlorophenyl)amino)beozeneacetic acid,
                                               statislical software used was SAS®, version 8.00 (Statis1ical                 15
                                                                                                                                 monosodium sail), 45.5% DMSO, ethanol, propylene glycol,
                                               Analysis System). Results for pharmacolcinetic parameters                         glycerine, and water ("fopical Diclofenac ·solution"
                                               are summarized in the following tables.                                           (Pennsaid® (Nuvo Research lnc, Mississauga, Ontario
                                                                                                                                 Canada)) which, as in the previous Example 7, was applied to
                                               _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ __ _ _                                         20 both knees of each subject. lbis study followed a one-period,
                                                                                                                                 open-label, multiple-dose design in 20 normal b.ealthy, non-
                                                       SingJc-dose Pbumacokinttic Pm.meters for Oiclofcnsc:. Sodium
                                                                             (for lWO lwee applicalion)                          smoking male and female subjects.
                                                                                                                                     Twenty subjects (10 males, 10 females)witha mean age of
                                                                                     PENNSAJD ® TOPICAL SOLlJTION                33 years (raoge~ I8 to 43 years) were enrolled in this study.
                                                      Phamw;okinetic                         •- 18                           25 Toe subjects' mcanheightwas 171 cm(rang,:;!57to 185cm)
                                                                                                                                 and their me.an weight was 69 kg (range=48 to 87 kg). The
                                                      Puametcr                                        Meau,,SD
                                                                                                                                 subjects consisted of 1S Caucasians, 3 Asians and 2 Blacks.
                                                      A\JC._, (ng · hrhnL)                         177.51 "'72.62                    Toe 1reatmeot (40 drops, applied on the knee four times a
                                                      AUCo....-(ng · hr/mL)t                       i96.27 • 68.47                day) was carried on for 7 days, and the pharmacokinetic
                                                      c_(nglmL)                                       8.05 • 5.94            30 proftle was characterized on Day 8 after the 29th adminislra-
                                                      T_(hr)                                         11.01 "'6.44                 tion. Each dose ofTopical Diclofenac Solution was applied to
                                                      t,,,(br)t                                     36.7h20.S2                    the knee following the procedure described previously in
                                                      K,,(br-')1                                    0.024 • 0.0098                Example 7.
                                                      CUF(J.Jht)t                                 244.66 • &4-.72                     Doses were applied either at a clinic or at home according
                                                - - -- - -- - - - -- - - - -- - - - 35 to following schedule:
                                                10-13                                                                                 Days 1 and 6: The subjects applied the first dose ofTopical
                                                                                                                                  Diclofenac Solution to both knees in the clinic under super-
                                                                                                                                  vision. Toe subjec1s applied the second, third and fourth doses
                                                                                                                                  of Topical Diclofenac Solution at home.
                                                        Single--do.se Pha.rmacokiDetic Pa.nunetcl'$ for Dimcthyi Sulfo,tide  40       Days 2 to 5: Toe subjects applied all four doses of Topical
                                                                              (for tw0 knee application)                          Diclofeoac Solution at home.
                                                                                                                                      Day 7: The subjec1s applied the first dose of Topical
                                                                                   PENNSAIO®TOPICAL SOLUTlON                      Diclofenac Solution in lbe clinic and then exited. Toe second
                                                       Phannacokinelic                                   D • 18
                                                      Pa.rametcr                                      MCOD•SD
                                                                                                                                  and third doses wcre applied at home. The fourth dose was
                                                                                                                             45 applied in the clinic.
                                                                                                     8.719 • 4.61 I                   Day 8: The subjects applied the last dose of Topical
                                                                                                     9.t74 • 3.75 1
                                                                                                                                  Diclofeoac Solution to both knees in the clinic following an
                                                                                                     0.475 • 0.335
                                                                                                     8.45t • 2.708                overnight fast of at least ten hours.
                                                                                                     8.422 • 7.307                    Blood samples were drawn according to the following:
                                                                                                   0.1136 • 0.0470            50      Days J and Day 6: 0.0 hour (pre-dose).
                                                                                                   163.49 • 64.14
                                                                                                                                      Day 7: 0.0 hour (pre-dose).
                                                                                                                                      Day 8: 0.0 hour (pre-dose), 1.0, 2.0, 4.0, 6.0, 8.0, 12.0,
                                                                                                                                  24.0, 36.0, 48.0, 60.0, 72.0, 96.0, 120.0, 168.0, 216.0, 264.0,
                                                     Meanings of each of the parameters in the tables above are                    3 J2.0 and 360.0 hours post 0.0 hour post-drug admioisU11tion
                                                 as follows:                                                                  55 Day 8.
>i                                                                                                                                    Blood samples were processed and analyx.ed using the
:-.i
                                                                                                                                   methods described previously in Example 7.
                                                                                                                                      One subject dropped out of the study for personal reasons
                                                 AUCo-,           A1':a under the 00nce111ntion,1irne curve uom lime zero IO       so plasma concenlratioo data from the 19 subjects who
                                                 AUCo.ief
                                                                  timeorlsstsamptingtimcpoint
                                                                  AJu Wider the ooneemmion-lime curve from time""'° 10
                                                                                                                                        · ed h ,. ·      D' ,        sJ •
                                                                                                                              60 rece1v t e ·,op,cal. 1clo,enac o ut,on and wbo COIDP et .
                                                                                                                                                                                             J ed
                                                                  infiniiy                                                         the study' period were used in the pharmacokinetic analyses.
                                                 c_               Maxirnwn plasm• co11<Cntra1ion after dooing                         Steady state was achieved on Day 6 (after 20 doses) for the
                                                _T_               1imetooccurrenGeofCm,x                                           3 molec11lar entities anAlyzed. On Day R, diclQfenac sodium
                                                 l u~             .•\J)p:m·nt d imlu:ninn h:1l1"-hrc                                     •
                                                 K~               ,\j)pa=lelimio•tioo rat•consw,t                                  rcmatncd mensurable up lo 360 hours post-dose iJ.1 11 sub-
                                                 Cl..lf           Appa,eot1otalbodyol....,.ec                                 6S jeclS. On Day 8, DMSO and dimethyl sulfooe ("DMSO2")
                                                 - - - - - -- - -- - -- - - - - - -                                                remained measurable up to 120 hours (10 subjects) and 216
                                                                                                                                   hours (9 subjects) post-dose, respectively.




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                                                                                                                                                                                                                                            HZNPENN_00000236
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i:..._·...·..·...·.·...·... . ·..·.... .;...... :. .......,....,.,:,.i;..;"";':::. '."-:.·.· ...;:.• ·.• . . ........ . .... . ......... . .................. .....................-..... . .... .   .    . .    .,.., , . _.,.,. - - ..............    · ...... .   . ·•. ·--..      ~   .. -· ·-   ----




                                                                                                                                                                                US 8,217,078 Bl
                                                                                                                              53                                                                                                                         54
                                                                  Plots of Diclofcnac, DMSO and DMSO 2 concentrations                                                                                       mean Cmax of 2270 nglmL for subjects taking 50 mg of oral
                                                              a.re provided in FIGS. 5-7.                                                                                                                   dielofcnac TID. Assuming the effects of additional doses of
                                                                 The pharmacokinetic analysis was conducted using Win-                                                                                      Topical Dic!ofenac Solution are additive, one would conclude
                                                              Nonlin Version 4.0 (Pbarsight, Carry, US). The principal sta-                                                                                 from the AUCo.,n/ provided in Example 7 that the Topical
                                                              tistical software used was SAS®, version 8.00. Results for                                                                                 5 Diclofenac Solution osteoarthritis dose results in only about
                                                              important pbannacokinctic parameters are provided in the                                                                                      20% of the systemic exposure to the active provided by the
                                                              tables below.                                                                                                                                 oral drug. The fact that Topical Diclofenac Solution is shown
                                                                                                                                                                                                            to be comparable in efficacy to oral diclofonac sodium for
                                                                                                                                                                                                            treatment of osteoarthritis (see Example I) is very surprising
                                                                                                                                                                                                         10 in view of these facts, especially as it is widely believed that
                                                                        Multiple-Dose Pbanna.cokinetic Pa"Mletm for Oicto.rcn.ac Sodium                                                                     NSAlDs, such as diclofenac, exert their analgesic effects both
                                                                                                            (for two·k:n~c application)                                                                     locally and centrally. Using the data from Example 8 it also
                                                                                                                         PENNSA!D ® TOPICAL SOLt.mON                                                        can be computed that C,.,0 , of orally administered diclofeoac
                                                                        Pbamw:okill<tic                                                                                                                     is more 1han one hundred fold higher than C,.,.,.. for Topical
                                                                                                                                                     · - 19
                                                                        Paro.meter                                                               Mean •SD                                                ts Diclofenac Solution.
                                                                        AUC0 • (ng · hr/mL)                                               695.398 • 34S.l!66
                                                                        AUCo.;.,,(ng · hrlml)f                                            745. 192 ,<374.740                                                                                           Example9
                                                                        c_()'g/mL)                                                         t9.41S,a9.326
                                                                        T_(hr)                                                              4.00Sz6.S41                                                          Assessment of Drying Time Following Application
                                                                        ,,,,(hr)t                                                          78.9TI z JS.133
                                                                                                                                                                                                         20       ofa Topical Formulation Containing Diclofenac
                                                                         K,1(111" 1)t                                                      O.OtOS z 0.0040
                                                                                                                                                                                                                           Sodium to Nonna! Subjects
                                                                t•• IS
                                                                                                                                             Toe objective of this study was to assess the drying time of
                                                                                                                                          a topical diclofenac solution containing 1.5% diclofenac
                                                                                                                                      2s sodium, 45.5% DMSO, ethanol, propylene glycol, glycerine,
                                                                                                                                          and water ("Topical Diclofenac Solution") when applied
                                                                     Multiple-Dose Phllnl=okinet;c Pt.ramclen for Dimethyl Sutfoxide
                                                                                          ((or t\\'0--knee ap2lication)                   topically to the skin surface of the knee following a single
                                                                                                                                          dose application.
                                                                                                             PENNSAID ® TOPICAL               Using a pre-designed template, the knee application area
                                                                                                                      sournoN         30 (100 cm2 centered just above the patella) was outlined in ink
                                                                      Plwmaookillc<ie                                     n• 19
                                                                      Parameter                                        MeuzSD             (the choice of knee was assigned by randomization). Each
                                                                                                                                          subject received an applied dose, 0.15 mL, of Topical
                                                                      Aue;,. (ug • hr/mL)                           31.887 • t 5.520      Diclofenac Solution to the JOO cm2 area on his/her knee and
                                                                      AUCo,..r(ug · brlmL)t                         )5.979< 15.419
                                                                      c_(ug/ml)                                       1.206 • O.S75
                                                                                                                                          spread the test article using his/her fingers to completely
                                                                      T_(hr)                                          3.842 • ,.468   JS cover the application area just up to the margin of the demar-
                                                                      t,,,(br)t                                     4).12) • 22.968       cation (this amount ofdrug product corresponding to a typical
                                                                      K,1 (1,r')t                                   0.0213 • 0.0124       areal dose of Topical Diclofenac Solution used in the treat-
                                                                                                                                          meal ofosteoarthritis of the knee). Toe applied dose remained
                                                                                                                                           un-occluded throughout the study duration.
                                                                                                                                      40      Visual and blotted assessments were made at pre-dose,
                                                                                                                                           immediately following dose application (approximately 2
                                                                                                                                           minutes post-dose) and at 5, 10, 15, 20, 30, 60, 120, and 240
.. \;                                                                   Multiple-Dose Plwmacokinc<ie Pazom<tm for Dimethyl Sulfooe
                                                                                           (for tW()-knee ~pplication)
                                                                                                                                           minutes after dose application to the treated knee. Assess-
:.j                                                                                                                                        ments were conducted on 9 separate 3 cmx3 cm test sites
:.1
                                                                                                             PENNSAID<I> TOPICAL      45 within the I00 cm2 dosed area. The pre-dose assessment was
                                                                                                                       SOurrION            performed on the test site in the center of the dosed area. The
··-                                                                   Pbamw:olcinetie                                     D • 19
                                                                                                                                           9 post-dose assessments we.re conducted on the 9 test sites, in
• •..'.                                                                                                                 Mc&n cSD
                                                                       Parameter
'··~                                                                                                                                       sequence starting at one comer. Only one test site was
                                                                      AUCo. (us· hr/mL)                          t 525.292 • 1065.245      assessed for each post-dose assessment time point.
                                                                      AUC,,, ..,(us · hrlmLJt                   2339.190 • I276.S55            Four parameters were defined in the protocol to assess
                                                                                                                                       50
                                                                      C_(ug/mLJ                                      t 8.033 • 10.587
                                                                      T_(hr)                                           9.397" 13.341
                                                                                                                                           drying time. These included the weight of the tissue/vial
                                                                       ,,,,(hr)t                                     61.287 • 18.376       combination, Visual Appearance Score, Visual Adhesion
                                                                       K.,(lu" 1)t                                   0.0123. 0.0039        Score and Visual Adsorption Score as explained further
                                                                                                                                            below. The visual examination of the test sites was scored
                                                                  1•• 11
                                                                                                                                       S5 using the sea.le below.
                                                                     Quant.ities reported in the above tables have the meanings             Visual Appearance Score:
                                                                  provided previously in Example 7. Origin of time (t"'-()) for                1. Wet, shiny with a clear look of physical solution being
                                                                  calculation of AUC.,., and AUC...,,vis time of the last dose of           present,
                                                                  drug OD Day 8.                                                               2. Damp, shiny, visible film with no visible solution
                                                                     It will be appreciated that the data provided in Examples 7 60 present,
                                                                  and 8 evidence that the systemic exposure to diclofenac                      3. Damp, matte appearance, visible film,
                                                                  caused by use of Topical Diclofenac Solution to treat osteoar-               4. Dry, matte appearance, visible film,
                                                                  lhritis ofthe knee (40 drops per knee QID) is much lowerthan                 5. Dry, no visible film
                                                                  tl1at caosed by a typical oral dose ol diclofonac used iu treat-             Following tJ1c visual assei;smeut, the dos~d sit.: was tested
                                                                  ment ofosteoarthritis (e.g. 50 mg TIO). For example the label 65 for adsorption or adherence to a 3 cmx3 cm square laboratory
                                                                  ofVoltaren®Gel(http://www.voltarengel.com/pdf/Voltarcn-                   tissue (e.g. Kim.Wipes). Using forceps, the tissue was
                                                                  PI-10-19.pdf) repoI1s mean AUCa.,4~3890 ng·h/mL and                       removed from a sealed, previously weighed vial and gently
·,j


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                                                                                                                                                                                                                                                                                   HZNPENN_00000237
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                                                                                                                                                                                                                                                                                             •: ,•w•,•,• ,•.•.I' -..,;.   • .... , ,,. .. ..,, ,,\,.\ ,,•   ... , ,. .,, .... ,_ •"• -   •• ••   h

                                                                            ,•::,,.•,,:.'.... -..: · .:..""·' '.;.! ~ • • ....-.• .•.-.,.-.•,v,. ~-•,• • • . ,.,   ·...,sv-•• .•• •   • • A'• :-,._ •• • ... •• •• ..(,• • ...... , ' -:"..... _.. . ..............._ . ......   , .J ,. • • •
~,.;.. :...·~ ,.,. .. ,.•.. ·••   _., ._._,. .._~,"".· .... _-,.... :, ..




                                                                                                                                                                                          US 8,217,078 Bl
                                                                                                                                         55                                                                                                                                             56
                                                                            placed onto the test site. After five seconds, the tissue was                                      Example 10
                                                                            removed using forceps by one comer while monitoring its
                                                                            adhesion to the site. Adherence ofthe tissue to the test site was            Comparison of Blimination Constant after Single and
                                                                            scored using the scale below.                                                   Multiple Dose Application of a Topical Solution
                                                                                                                                                            Containing 1.5% Oiclofen3C Sodium and 45.5%
                                                                            Visual Adhesion Score:                                                                                DMSO
                                                                                 I. Distinct adhesion to the full test site,
                                                                                2. Light to moderate adhesion to all or a portion of the test           It has been discovered that the elimination constant K.,
                                                                            site,                                                                   (which is inversely related to the half life through K,,.. ln(2Y
                                                                                                                                                10 T,,J for the topical diclofeoac solution of Examples 7 and8
                                                                                3. No adhesion to the test site.                                    is highly statistically significantly different depending on
                                                                            The tissue was visually inspected for fluid adsorption to the           whether the solution is applied as a single dose or as multiple
                                                                             tissue and the adsorption was scored using tbe scale below.            doses. In general it would be reasonable to assume that the
                                                                             Visual Adsorption Score:                                               effects of multiple doses of the topical solution would have
                                                                                                                                                IS additive effects on the pbannacokinetics with the result that
                                                                                 I. Demonstrates Ouid adsorption to the tissue   to the size of     the half-life and      would be independent of dosage regime.                                           K.,
                                                                             the test area,                                                         Intriguingly, Examples 7 and 8 demonstrate that the apparent
                                                                                 2. Demonstrates fluid adsorption to the tissue 10 a size less      plasma halflifcofdiclofenac is increased after multiple doses
                                                                             than the test area,                                                    oftbe solution are applied as is evident in the log-linear plot
                                                                                                                                                20 showing average diclofenac plasma concentration after dis-
                                                                                 3. Demonstrates no fluid adsorption to lbe tissue.
                                                                                                                                                    continuance ofapplication of drug following the protocols of
                                                                                 The tissue was placed back into its labeled vial and tbe vial      the previous examples. The table below provides the halflife
                                                                             was sealed to prevent evaporation. Within 2 hours of collec-           and elimioation constant for ca<:h subject in the studies (NC
                                                                              lion the vial was re-weighed and the weight recorded.                  indicates that half life was not determined due to difficulties
                                                                                 A tolal of 12 healthy adult male and female subjects par- 2S in ideotifying an exponential tail in the expe.rimeotal data).
                                                                              ticipated in the study. The study was successfully completed
                                                                              by all 12 subjects enrolled. Data for these subjects were used
                                                                              in the statistical analysis, except where one subject was                          Ml!l!j~                         Sieg!e I!!!!$
                                                                              removed as a statistical outlier.
                                                                                                                                                 30                                     Subject# T v.,(hr) K,,(bf')
                                                                                 The results of this study indicate that dryness occurred as           SUbjcct# T,,.(hr)    K.,(hr')
                                                                              early as 10 minutes post~ose in most subj~ts, as ijbowo by                    I      68.8     0.010075        I      15.96       0,009125
                                                                              visual appearance of dryness (7/11 subjects), no adhesion of                  2      66.8S    0.010369        2       NC            NC
                                                                              the tissue to the test site (11/11 subjects) and no Huidadsorp-               3      NC          NC           )      19.61       0.03S347
                                                                                                                                                            4      4).41    0.Ot:!967       4      21.7S       0.031869
                                                                              lion to the tissue (10/12 subjects). A summary of the drying JS               s      NC          NC           s       NC            NC
                                                                              lime data for e:ich of the drying time parameters is shown                    6     128.94    0.005376        6       NC            NC
                                                                               below:                                                                       7       NC         NC           7      23.6J       0.029333
                                                                                                                                                            9      72.74    0.009529        3       NC            NC
                                                                                                                                                                                                                                    10              90.29              0.007677                            9              21.72          0.031913
                                                                                                                                                                                                                                    It               NC                      NC                           10              66.44          0.0 10433
                                                                                                                                                                                                                    40              12             tSl.36              0,004S79                           ti              NC                  NC
                                                                                                                                                    Tune, millutcs IMcu (9S'4 Cl)J                                                  t3              SO.II              O.OtJ81l                           12              34.21          0.020262
                                                                                                                                                                                                                                    14              46.64              0.014862                           t)              41.6S          0.016642
                                                                                       VISUl!-ofd,yn ess                                                           lS.O   (9.6-20.A)
                                                                                       No Adhesion to the test site                                                10.0   (N,',)                                                    IS              86.11              o.oosos                            14              28.tl          0.024641
                                                                                                                                                                                                                                    16               77.4'             0.()()g946                         15              J0.29          0.022884
                                                                                       No rtuid adsorption to the tissue                                           10.4   (8-8· 12.t)                                                                                                                                     23.23
                                                                                                                                                                          (8.3-20.1)                                                17              S2.36              0.013238                           t6                             0.029838
                                                                                       Time to t0%orLeuofPealt                                                     14.2
                                                                                                                                                                                                                                    18              43.36              0.015986                           17              71.69          0.009669
                                                                                       Weight Recover«!                                                                                                             4.S                                                                                                                  0.0)6481
                                                                                                                                                                                                                                    19             tS7.2S              0.004408                           18              19
                                                                                                                                                                                                                                    20              43.11              0.014201
                                                                                                                                                                                                                                   Mu              157.l               0.0160                           Mu                76.0           0.036S
 -1                                                                                Cons;dering the data for all the study parameters, it can be         Mi.a     43.4                    Mill   19.0    0.0091                                                         0.0044
      I                                                                        concluded that the mean drying time for Topical Diclofenac               Mwi       79.0                  Mea.a   36.7    0.0237                                                         0.0105
                                                                                                                                                                                       Std Dev  20.8    0.0()98                                                        0.0040
                                                                               Solution following a single dose application was approxi- so Sid Dev 38.1
                                                                               mately 15 minutes, but there was considerable variability            - - -- - - -- -- -- - -- - - - - -
                                                                               amoogsubjeets with dryoessoccurringasearlyas JO minutes                 The distribution of the elimination constant K., is well
                                                                               in most subjects.                                                    represented by a Nocmal distribution as shown in FIG. 9,
                                                                                   Beyond the 30 minute time point all visual appearance            which compares the cumulative distribution function of the
                                                                               scores were 5 for all subjects, visual adsorption scores were 3, ss       values from each study with cumulative distribution func-           K.,
                                                                               and differences between postdose and prcedosc tissue/vial            lions for a Gaussian using mean and standard deviation (Std
                                                                               weights were measured as 0.00 mg. Once the drug product              Dev) values provided in the table above. A t-test was per-
                                                                               has dried on the 51.lrtace of the skin it is anticipated that        fonned and K, 1 was found to be highly significantly different
                                                                               residual unabsorbed diclofenac will be crysmllized on the            (p<0.00 I) depending on whether a single or multiple dosing
                                                                               skin surface will not be bioavailable. Therefore a patieot 60 regime oftbe topical solution was applied.
                                                                               being treated with Topical Diclofenac Solution can wash and              The reasons for the differences in diclofenac half life and
                                                                               shower after the product is dried without materially impacting       K.1on dosingregime are at present unknown. In general drugs
                                                                                the efficacy of the dnig.. The results oflhe study indicate that     with longer halflives will tend 10 show more uniform plasma
                                                                                it is appropriate to 111struc1 a user that a patient using ·topical concentration,; as a funclionol time and may have improved
                                                                                Diclofenac Solution should wait at least 30 minutes after 6S safety profiles by reducing the maximum plasma cooccntra-
                                                                                puttiog Topical Oiclofenac Solution oo the knec(s) before            lion that a patient experieoces and allowing efficacy to be
                                                                                taking a shower or bath.                                             achieved with a lower overall dose. This point is particularly




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                                                                                                                                                                                                                                                                                                                                                  HZNPENN_00000238
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                                                                        Case: 17-2149                                                                Document: 36                                                           Page: 198                                        Filed: 08/16/2017
:_............:,: •..,.,.-..,,. ..... .:::. !:_,._.......~••~... -............. ."'.,,:.• ~·• .-.,-... >.. - .• .-;. .·_.... .... . .......·............. ... .. ..... ~ .................. ,. ..... , ..:. ..... , .. ·~,.. .. .. ...... ~.;o:. .. :. . ·• . . .. .   : ..: . .   ..f.. ,   .   ..........,.. ..~ .. . ..... . . ,.. •   ,   -~ ·   •. _· ·   . , ~ , ... , ........ .. .......

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                                                                                                                                                                                      US 8,217,078 Bl
                                                                                                                                   57                                                                                                                                          58
                                                                   important for patients lhat will use a relatively high risk drug    lated over the dosing interval of 0-6 hours, and for Solaraze®,
                                                                   such as diclofcoac on long-tenn basis to treat a chronic con-       AUCitss> was calculated over the dosing interval of 0-12
                                                                   dition such as osteoarthritis. It will therefore be appreciated     hours. For each trcatmentAUCT(n) was adjusted to a 24-hour
                                                                   that lhc extension of half-life obseived with the multiple          exposure parameter, AUCo.z•<u> (calculated as AUCT(,s)x2
                                                                   dosing regime of the topical diclofenac solution containing s for Solaraze® an9 AUCTC.., x4 for PBNNSAJD®), so that a
                                                                                                                                                                          1
                                                                   DMSO is an unexpected but fortuitous property of the solu-          comparison between the exposure of each treatment was
                                                                   tion.                                                               assessed on a daily basis.
                                                                                                                                          Steady-state of plasma diclofenac was attained within 8
                                                                                             Example 11
                                                                                                                                       days for PENNSAJD®                   within 28 days for Solaraze®.                                                               and
                                                                        A Multi-Dose, Comparative, Exposure Study Under             to The calculated C,_.c,.,1, Cm;•c..,>• C••&<ss>• AUCTC,,> and
                                                                           Maximum use Conditions Per Labeling of Both                 AUC,,.2 4(u) of diclofenac were substantially lower and
                                                                          Peo.asaid® Topical Solution (Diclofenac Sodium               T,,...<u> was shorter following the maximum therapeutic dose
                                                                        Topical Solution 1.5% w/w and 45.5% w/w DMSO)                  of PENNSAID® compared to that observed following the
                                                                            and Solarazc® Gel (l)iclofenac Sodium 3%)               15 application of Solaraze® as per label as summarized in the
                                                                                                                                       table below.
                                                                      A study was to conducted compare the exposure under
                                                                   maximum use conditions per labeling of diclofenac sodium
                                                                   following multiple applications of PENNSAJD® Topical                             Swnma,y Sutistic:s of Plwmacolc.inetic Paramcicre•
                                                                   Solution (diclofenac sodium topical solution) 1.5% w/w and 20                                       {me.. rson
                                                                   Solarazc® Gel (diclofeoac sodium 3%).                               - --------"'=-==---------
                                                                      The study was a two-period, open-label, non-randomized,                                             PENNSAID®              Sol.,,..e®
                                                                   crossover study. All subjects applied PENNSAlD® to both                        PK Parameter                N - 30               N • 27
                                                                   knees for l week during Period I and Solaraze® lo their                  c_.o(SS) (ng/mL)                 3S.O (28.6)         125.? (119.3)
                                                                   aciinic keratosis lesions for 4 weeks during Period 2. A 2s              C.......,   (Dg/rnL)             16.7 (t0.4)          30.4 (19.4)
                                                                   3-week washout period was observed between I.be last appli-                          (og/rnL}             24.2 ( 16.3)         72.J (6J.S}                  c..,....,,
                                                                                                                                            AUC7lSSl (ng • h/mL}            144.9 (98.0)         868.1 (762.2)
                                                                   cation of Period I and the first application of Period 2.                A~,.(SS) (og · h/mL)            579.7 (392.2)       1736.J (1524.4)
                                                                      Thirty subjects were enrolled into the study. Thirty subjects         T__,.. (h)                          1.0                  2.S
                                                                   completed Period I and 27 subjects completed Period 2.
                                                                   Pharmacokinetic and statistical analyses we;e performed on JO ._.,_.., for ,urf,.,.....,
                                                                   data obtained from the 27 subje?Cts that completed the entire       ..mcdiutotT~
                                                                   study.                                                                 The analysis of the PENNSAID®/Solaraze® ratio (and
                                                                       The study population consisted of male and female sub-          corresponding 90% confidence intetval [Cl}) of the geomet-
                                                                   jects diagnosed with actinic keratosis (AK) affecting at least      ric mean for 1.n-transformcd C.,"-"<u> andAUCo. 4<=> for both
                                                                   500 cm2 of skin on the face, head, scalp, neck, shoulders, JS uncorrected and corrected for surface area data2 (i.e. making
                                                                   arms, aod/or upper trunk, not necessarily continuous, of
                                                                                                                                       comparison C.,..,C.ul and AUC,,.24<..,> per unit area of skin
                                                                   which at least I 00 cm2 of the total affected area was on the
                                                                                                                                       treated) revealed the rate and extent of bioavailabilty of
                                                                    face, bead or scalp. Subjects were required to nave a total of
                                                                                                                                       diclofenac following the maximum therapeutic dose of
                                                                   at least 20 nou-hypertropnic AK lesions oa all areas com-
                                                                   bined and a total ofat least 6 non-hypertropb.icAK lesions on 40 PENNSAJD® were approximately '/2 that ofSolaraze®, with
                                                                   I.be face, head or scalp.                                           upper confidence limits well below the 80-125% range.
                                                                         During Period l subjects applied 40 drops (approx. 1.2
                                                                   mL) q.i.d. of PENNSAID® Topical Solu1ion (diclofenac
                                                                   sodium topical solution) 1.5% w/w (Novo Research Inc.) to                     Mean Relative Bio•V>Jlability Plwmacolw>ctic Parameters'
                                                                   each knee, 80 drops total per application, on Days I to 7 and 45 - - - - -- ~{l~•~==~ro"":m~ed"",,...N'-•;;.2.,.7.,_)_ _ _ __ __
                                                                   dosed once on the morn.ia.g of Day 8.
                                                                      During Period 2 subjects applied 0.02 'ifcm2 b.i.d of             Pan.meter      PENNSAID®              Solt.raze®     R&tio, % (90% Cl)
                                                                   Solaraze® Gel (diclofcnac sodium 3%) to the area of skin                                            Uncam,ctcd
                                                                   affec;ted by actinic keratosis, up to a maximum of 1000 cm2
                                                                   area on Days I to 27 and once on the morning of Day 28.           so C-<ss,              26.9                91.8                29.4
                                                                                                                                                                                                (21.7-39.7)
                                                                      Using a validated HPLC method, plasma diclofenac                                    474.2               1346.2                35.2
                                                                   sodium was analy7.cd from blood samples collected at lhe                                                                     (27,6-45.0)
                                                                   following timepoints (relative to first dose of the day):                                    Com:cted for SUri&ce Arca
                                                                      Period I (PENNSAID®):
                                                                   Day I: 0.0hour(pre-dose)                                          ss C...,.ss,            0.02S               0.0739             34.2
                                                                                                                                                                                                (25.0-46.9)
                                                                   Day 6 and 7: 0.0 hour (pre-dose)                                                          0.39                 1.24              Jt.S
                                                                   Day 8: 0.0 hour(pre-dose), 0.5, l.0, 1.5, 2.0,2.5, 3.0, 3.5, 4.0,                                                            (24.4-40.7)
                                                                   5.0 and 6.0 hour
                                                                      Period 2 (Solaraze®):
                                                                   Day 1:.0.0 hour (pre-dose)                                        60
                                                                   Day 26 and 27: 0.0 hour (pre-dose)                                                              ATTACHMENT
                                                                   Day 28: 0.0 hour (pre-dose), 1.0, 1.5, 2.0, 2 .5, 3.0, 3.5, 4.0,
                                                                   5.0. 6,0. ·8.0, 10.0 and 12.0 hour ·                                 HIGHLIGHTS OF PRESCRIBING'INFORMJ\TION
                                                                      l'lrnnuacokinctic parameters for pia~ma diclofonac sodium         These highlighls do uot include all the information needed to
                                                                   were calculated for each treatment period by standard non- 65 use PBNNSAJD® Topical Solution safely and effectively.
                                                                   compartmental methods: Cm..,(,sJ• C.,1.c,,J• C0 ~,,>• AUCTC,..l•     See full prescribing information for PENNSAID Topical
                                                                   AUCo.24,,,, T.,.,t.,>· Fnr PENNSAID®,AUCTCu> was calcu-              Solution.
:I

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                                                                                                                                                                                                                                                                                                                                    HZNPENN_00000239
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                                                              US 8,2 17,078 Bl
                                     59                                                                      60
      PENNSAID Topical Solution (diclofcnac sodium topical                PENNSAJD Topical Solution in patients with known CV
      solution) 1.5% w/w is for topical use only.                         disease or risk factors for CV disease. (5.1)
      Initial U.S.Approval: 1988                                               NSAIDs can cause serious gastrointestinal (GI) adverse
      WARNING: CARDIOVASCULAR AND GASTROINTBS-                            events including inflanuuatioa, bleeding, ulceration, and per-
      TINAL RISK                                                       5 foration. Prescribe. PENNSAID Topical Solution with cau-
      See full prescribing infonnationforcomplete boxed warning.           tion in ·those with a prior history of ulcer disease or gas-
      Cardiovascular Risk                                                  trointestinal bleeding. (5.2)
         Non steroidal anti-inflammatory drugs (NSAIDs) lllllY                 Elevation of one or more liver tests may occur during
      cause an increased risk of serious cardiovas:cular thrombotic        therapy with NSAJDs. Discontinue PE~SAJD Top.ical
      events, myocardial infarction, and stroke, which can be fatal. tO Solution immediately if abnormal liver tests persist or
      Patients with cardiovascular disease or risk factors for caroio-     worsen. (S.3)
      vascular disease may be at greater risk. ((5.1)                          Hypertension can occur with NSAID treatment. Monitor
          PENNSAID Topical Solution is contraindicated for the             blood pressure closely with PENNSAID Topical Solution
      treatment of peri-operative pain in the setting of coronary          treatment. (5.4)
                                                                       15      Use PENNSAJD Topical Solution with caution in patients
      artery bypass graft (CABG) surgery. (4)
      Gastrointestinal Risk                                                with fluid-retention or heart failure. (S.S)
         NSA!Ds, including PENNSAID Topical Solution, cause                    Long-tenn admioistratioo of NSA!Ds cao result in renal
      an increased risk of serious gastrointestinal adverse events         papillary necrosis and other renal injury. Use PENNSAID
      including bleeding, ulcuation, and perforation of the stom-          Topical Solution with caution in patieots at greatest risk of
.:j                                                                    20 this reaction, including the elderly, those with impaired renal
      ach or intestines, which can be fatal. These events can occur
·'i   at any time during use and without warning symptoms. Eld-            function, heart failure, liver dysfunction, and those taking
                                                                           diuretics and ACE inhibitors. (S.6)
 II
      erly patients are at greater risk for serious gastrointestinal
      events. (5.2)                                                            Anaphylactoid reactions may occur in patients with the
                                                                           aspirin triad or in patierus without prior exposure to
  !                                                                    25 PENNSAID Topical Solution. E (5.7)
                       INDICA11ONS AND USAGE
  I
                                                                               NSAIDs can cause serious skin adverse events such as
       PENNSAID Topical Solution is a nonsteroidal anti-inflam-            exfoliative dcnnatitis, Stevens-Johnson Syndrome (SJS), and
       matory drug (NSAID) indicated for the treatment of signs and         toxic epidermal necrolysis (TEN), which can be fatal. (S.8)
       symptoms of osteoarthritis of the knee(s).                              Not for use during pregnancy (5.9)
                                                                       30      Do not administer to patieDls with aspirin sensitive asthma
       (I)
                                                                           and use with caution in patients with preexisting asthma.
                   DOSAGE AND ADMlNlSTRATION                               (5.10)
                                                                               Avoid exposure of treated knee(s) to natural or artificial
       For the relief of the signs and symptoms of osteoarthritis of        sunlight (5.11)
       the knee(s), the recommended dose is 40 drops on each pain-     35       Avoid contact of PENNSAID Topical Solution with eyes
       fuJ knee, 4 times a day. (2)                                         and mucosa (5.12)
          Apply PENNSAID Topical Solution lo clean, dry skin.                   Avoid concurrent use with oral NSAIDs (5.13)
       (2.1.)
          Dispense PENNSAID Topical Solution 10 drops at a time                               ADVERSE REACTIONS
       either directly onto the knee or first into the band and then 4o
       onto the knee. Spread PENNSAID Topical Solution evenly               The   most common   adverse events with PENNSAID Topical
       around front, back and sides of tbe knee. Repeat this proce-         Solution are application site reactions. (6.1)
.·,    dure until 40 drops have been appfied and the knee is com-           To report SUSPECTED ADVERSE REACTIONS, contact
-·j    pletely covered with solution. (2.1)                                 Mallinckrodt Brand Pharmaceuticals, Inc. at 1-8()().xxx-xxxx
                                                                       45 or FDA at 1-800-FDA-l 088 or www.fda.gov/medwatcb.
           Wash hands completely after administering the product.
          Wait until the area is completely dry before covering with
 ·'    clothing or applying sunscreen, insect repellent, cosmetics,                           DRUG INTERACTIONS
':]    topical medications, or other substances.
  I                                                                             Concomitant administration of diclofeuac and aspirin is
          Do not get Pennsaid in your eyes, nose o r mouth.
                                                                        50 not generally recommended because of the potential of
                  DOSAGEFORMSANDSTRENGTiiS                                   increased adverse effects including increased Gl bleeding.
                                                                             (7.1)
           1.5% w/w topical solution (3)                                        Concomitant use of anticoagulants and diclofenac have a
                                                                             risk of serious GI bleeding nigher than users of either drug
                          CONTRAINDJCATIONS                             SS alone. (7 .2)
:;j
  I       Known hypersensitivity to diclofenac sodium. (4)                                   USE IN SPECIFIC POPULATIONS
          History of asthma, urticaria, or allergic·t)'J)C reactions after
       taking aspirin or other NSAIDs. (4)                                           Pregnancy: Not recommended for use during pregnancy.
          Use io the periopcrative period of coronary artery bypass          60   (8.1)
       graft (CABG) surgery. (4)                                                     Nursing Mothers: ·use with caution, as ·it is not known if
                                                                                  diclofenac is excreted in human milk. (8.3)
                    WARNINGS AND ?RF.CAUTIONS                                     Sec I'~ for PATIENT COUNSELING INFORMATION and
                                                                                  Medication Guide. Revised: 02/200<)
         Serious and potentially fatal cardiovascular thrombotic             65   FULL PRESCRIBING INFORMATION: CONTENTS•
       events, myocardial infarction, and stroke can occur with                   WARNING: CARDIOVASCULAR AND GASTROINTES-
       NSAJD treatmenl. Use the lowest effective dose of                          TINAL RISK




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                                                            US 8,217,078 Bl
                                     61                                                                 62
         INDICATIONS AND USAGE                                          Sections or subsections omitted from tbc full prescribing
         DOSAGE AND ADMJNISTRATION                                      information are not listed.
         2. I General Instroctions                                      FULL PRESCRJBING INFORMATION
         2.2 Special Precautions                                         WARNING: CARDIOVASCULAR AND GASTROINTES-
         DOSAGE FORMS AND STRENGTHS                                 s TINALR1SK
         CONTRAJNDICATIONS                                              Cardiovascular Risk
'•;.     WARNINGS AND PRECAUTIONS                                          Noostcroidal anti-inflammatory dnlgs (NSAJDs) may
..i
         5.1 Card.iovascu lar Thrombotic Events
..·:;,   5.2 Gastrointestinal Effects-Risk of GI Ulceration, Bleed-
                                                                              cause an increased risk of serious cardiovascular throm-
                                                                              botic events, myocardial infarction, and stroke, which
         ing, and Perforation                                       10
                                                                              can be fatal. This risk may increase with duration of use.
         5.3 Hepatic Effects
                                                                              Patients with cardiovascular disease or risk factors for
         5.4 Hypertension                                                     cardiovascular disease may be at greater risk [see Warn-
         5.5 Congestive Heart Failure and Edema                               ings and Precautions (5.1 )].
         5.6 Reoal Effects
                                                                           PENNSAJD Topical Solution is contraindicated in the
         5.7 Anaphylactoid Reactions                                lS
                                                                              peri--0perative setting of coronary artery bypass graft
         5.8 Skin Reactions
                                                                              (CABG) surgery [see Contraindications (4)).
         5.9 Pregnancy
         5.1 0 PreexistingAsthma                                         Gastrointestinal Risk
 .-.1     5.1 1 Sun Exposure                                                NSAJDs cause an increased risk ofserious gastrointestinal
'.·,!     5.12 Eye Exposure                                         20         adverse events including bleeding, ulceration, and per-
':l       5.13 Oral Nonsteroidal Anti-inflammatory Drugs
          5. I 4 Corticosteroid Treatment
                                                                               foration of the stomach or intestines, which can be fatal.
                                                                               These events can occur at any time during use and wiU1-
   I      5.15 Inflammation
          5.16 Hematological Effects
                                                                               out warning symptoms. Elderly patients are at greater
                                                                               risk for serious gastrointestinal events [see Warnings and
          5.17 Monitoring                                           2S         Precautions (5.2)).                                   ·
          ADVERSE REACTIONS                                              J. Indications and Usage
          6.1 CliJlical Studies Experience                                  PBNNSAJD Topical Solution is a noosteroidal anti-in-
          6.2 Postmarketing Experience                                         flammatory drog (NSAJD) indicated for the treatment of
          DRUG INTERACTIONS                                                    sigos and symptoms ofosteoarthritis of the knec(s).
          7.J Aspirin                                                30
                                                                         2. Dosage and Administration
          7.2 Anticoagulants
                                                                            2.1 General Instructions
          7.3 ACE-Inhibitors
          7.4 Diuretics                                                     For the reliefof the signs and symptoms ofosteoarthritis of
                                                                               the knee(s), the recommended dose is 40 drops per knee,
          7.5 Litruum
          7 .6 Methotrexate                                          3S        4 times a day.
          7.7 Cyclosporine                                                  Apply PENNSAID 1opical Solution to clean, dcy skin.
          7 .8 Oral Nonsteroidal Anti-inflammatory Drugs                    To avoid spillage, dispense PENNSAJD 10 drops at a lime
          7.9 Topical Treatments                                               either directly onto the knee or first ioto the hand and
           USE JN SPECIFIC POPULATIONS                                          then ooto the knee. Spread PBNNSAIDTopical Solution
          8.1 Pregnancy                                              40        evenly around front, back and sides of the knee. Repeat
          8.2 Labor and Delivery                                                this procedure until 40 drops have been applied and lhe
           8.3 Nursing Mothers                                                  knee is completely covered with solution.
           8.4 Pediatric Use                                                To treat the other knee, if symptomatic, repeat the proce-
           8.5 Geriatric Use                                                    dure.
           10. OVERDOSAGE                                            45      Application of PENNSAJD Topical Solution in an amount
           11. DESCRIPTION                                                      exceeding or less than the recommended dose has not
 ...·1     I 2. CLINICAL PHARMACOLOGY                                           beeo studied and is therefore not recommeodcd.
           12.1 Mechanism of Action                                          2.2 Special Precautions
           12.2 Pbarmacodynamics
           12.3 Pharmacokioelics                                     so Avoid showering/bathing for at least 30 minutes after the
                                                                                application of PENNSAlD Topical Solution to the
           12.4 Platelets
                                                                                 treated knee.
           NONCLINICAL TOXICOLOGY
           13.1 Carcinogenesis, Mutagenesis, Impairment ofFertility          Wash and dcy hands after use.
           13.2 Animal Toxicology and/or Phannacology                        Do not apply PENNSAJD Topical Solution to open
           14. CLlNICAL STUDIES                                       ss         wounds.
            14.1 Pivotal Studies in Osteoarthritis ofth.e Knee               Avoid contact of PENNSAJD Topical Solution with eyes
            16. HOW SUPPLIBD/STORAGEAND HANDLING                                 and mucous membranes.
            17. PATIENT COUNSELING INFORMATION                               Do not apply external heat and/or occlusive dressings to
            17.1 Medication Guide                                                treated knees.
            17.2 Cardiovascular Effects                               60
                                                                             Avoid wearing clothing over the PENNSAIDTopical Solu-
            17.3 Gastrointestinal Effects                                         tion-treated knee until the treated knee is dry.
            17.4 Hepatotoxicity
            17.S Adverse Skin Reactions .                                    Protect the treated kneels) from sunlight
            I 7.6 Weight Gain and Edema                                      Wait until th~ treated area is dry before applying sunscreen,
            J7.7 ~aphylactoid Reactions                               65         insect repellant, lotion, moisturizer, cosmetics, or other
            17 .8 Effects during Pregnancy                                        topical medi~tion to the same knee you havejust treated
            17.9 Eye Exposure                                                     with PENNSAJD Topical Solution.




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                                                                                                                                   HZNPENN_00000241
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                                                                                                                                                    US 8,217,078 Bl
                                                                                                               63                                                                         64
                                                         3. Dosage Forms and Streoglhs                                                                           neither of these risk factors. Other factors that increase
                                                            1.5% w/w topical solution                                                                            the risk of GI bleeding in patients treated with NSAIDs
                                                         4. Contraindications                                                                                    include concomitant use of oral corticosteroids or anti-
                                                            PENNSAID Topical Solution is contraindicated in patients                                             coagulants, longer duration of NSAID therapy, smok-
                                                               with a known hypersensitivity to diclofenac sodium or                                             ing, use of alcohol, older age, and poor general health
                                                               any other component of PENNSAID Topical Solution.                                                 status. Most spontaneous reports of fatal GI events arc in
                                                            PENN SAID Topical Solution is contraindicated in patients                                            elderly or debilitated patients and therefore, use special
                                                               who have experienced asthma, urticaria, or allergic-type                                          care when treating this population.
                                                               reactions after taking aspirin or other NSAIDs. Severe, .                                      To minimize the potential risk for an adverse GI event, use
                                                               rarely fatal, anaphylactic-likc reactions to NSAIDs have to                                       the lowest effective dose for the shortest possible dura-
                                                                been reported in such patients [see Warnings and Pre-                                            tion. Remain alert for signs and symptoms of GI ulcer-
                                                               cautions (5.7, 5.10)).                                                                            ation and bleeding during diclofenac therapy and
                                                            PENNSAID Topical Solution is contraindicated in the set·                                             promptly initiate additional evaluation and treatment if a
                                                               ting of coronary artery bypass graft (CABG) surgery                                               serious GI adverse event is suspected. For high-risk
                                                                [see Warnings and Precautions (5.J)].                         IS                                 patients, consider alternate therapies that do not involve
                                                         5. Warnings and Precautions                                                                             NSAIDs.
                                                            S. l Cardiovascular Thrombotic Events                                                             5.3 Hepatic Effects
                                                            Clinical trials of several oral COX-2 selective and nonse-                                        Borderline elevations (less than 3 times the upper limit of
._.;                                                            lective NSA!Ds of up to three years duration have shown                                          the normal [ULN] range) or greater elevations of lrrul·

:,~                                                             an increased risk of serious cardiovascular (CV) tbrom- 20
                                                                botic events, myocardial infarction (.Ml), and stroke,
                                                                which can be fatal. All NSAJDs, including PENNSAJD
                                                                                                                                                                 saminases occurred in about 15% of oral diclofen.ac-
                                                                                                                                                                 treated patients in clio.ical trials of indications other than
                                                                                                                                                                 acute pain. Of the markers of hepatic function, ALT
  I                                                             and COX-2 selective and nooselective orally adminis-                                             (SGPT) is recommended for the monitoring of liver
  !                                                             tered NSAIDS, may have a similar risk. Patients with                                             injury.                                         .
  ;                                                             known CV disease or risk factors for CV disease may be 2S                                     In clinical trials of a oral diclofcnac- misoprostol combi-
                                                                at greater risk. To minimize the potential risk for an                                           nation product, meaningful elevations (i.e., more than 3
                                                                adverse CV event in patients treated with an NSAID, use                                          times the ULN) ofAST (SG01) occurred in about 2% of
                                                                the lowest effective dose for the shortest duration pos-                                         approximately 5,700 patients at some time during
                                                                sible. Physicians and patieats should remain alert for the                                       diclofeoac treatment (ALT was 001 measured in all stud-
                                                                development of such events, even in the absence of pre- 30                                        ies).
                                                                vious CV symptoms. Inform patients about the signs                                            lo an open-label, controlled trial of3,700 patients treated
                                                                and/or symptoms of serious CV events and the steps to                                             for 2-6 months, patients with oral diclofenac were moni-
                                                                talce if they occur.                                                                              tored first at 8 weeks and 1,200 patients were monitored
                                                            Two large, controlled, clinical trials of an ordlly adminis-                                         again at 24 weeks. Meaningful elevations ofALT and/or
                                                                 tered COX-2 selective NSAID for the treatment of pain 3S                                         AST occurred in about 4% of the 3,700 patients and
                                                                in the first I 0-14 days following CABG surgery found an                                          included marked elevations (>8 times the ULN) in about
                                                                increased incidence of myocardial infarction and stroke                                           1% of the 3,700 patients. Jo this open-label study, a
                                                                [see Contraindications (4)).                                                                      higher incidence of borderline (less than 3 times the
                                                            There is no consistent evidence that concurrent use of                                                ULN), moderate (3-8 times the ULN), and marked (>8
                                                                aspirin mitigates the incre3sed risk of s-erious CV throm- 40                                     times the ULN) elevations ofALT or AST was observed
                                                                 botic events associated with NSAID use. The concurrent                                           in patients receiving diclofenac when compared to otber
                                                                 use of aspirin and NSAIDs, such as diclofenac, docs                                              NSAIDs. Elevations in transaminases were seen more
                                                                increase the risk of serious GI events [see Warnings and                                          frequently in patients with osteoarthritis than in those
                                                                 Precautions (5.2)].                                                                              with rheumatoid arthritis. Almost all meaningful eleva-
                                                            5.2 Gastrointestinal Effects- Risk of GI Ulceration, 4S                                               tions in transaminases were detected before patients
                                                          Bleeding, and Perforatioa                                                                               became symptomatic.
                                                             NSAIDs, including diclofen.ac, can cause serious gas-                                            Abnormal tests occurred during the first 2 montbs of
                                                                 trointestinal (GI) adverse events including bleeding,                                            tberapywithoral diclofenac in42ofthe 51 patients in all
                                                                 ulceration, and perforation of the stomach, small intes-                                         trials who developed marked transaminaseelevations. In
                                                                 tine, or large intestine, which can be fatal. These serious so                                   postmarketing reports, cases of drug-induced hepato-
                                                                adverse events can occur al any time, with or without                                              toxicity have been reported in the first month, and in
                                                                 warning symptoms, in patients treated with NSAIDs.                                               some cases, the first 2 months of NSAID therapy.
                                                                 Only one in five patients who develop a serious upper GI                                      Postmarketing surveillance bas reported cases of severe
                                                                 adverse event on NSAID therapy is symptomatic. Upper                                              hepatic reactions, including liver necrosis,jaundice, ful-
                                                                 GI ulcers, gross bleeding, or perforation caused by 55                                           minant hepatitis with and without jaundice, and liver
                                                                 NSAIDs occur in approximately I% of patients treated                                             failure. Some of these reported cases resulted in fatali-
                                                                 for 3-6 rnonths, and in about 2-4%of patients treated for                                         ties or liver transplantation.
                                                                 one year. These trends continue with longer duration of                                       In a European retrospective population-based, case-con-
                                                                 use, increasing the likelihood of developing a serious GI                                         trolled study, l 0 cases of oral diclofenac associated
                                                                 event at some time during the course of therapy. How- 60                                          drug-induced liver injury with current use compared
                                                                 ever, even short-term therapy is not without risk.                                                with non-use of diclofeoac were associated with a sta-
                                                             Prescribe NSAIDs, including Pcnnsaid, with extreme cau-                                               tistically significant 4-fold adjusted odds ratio of liver
                                                                  tion in those with·.a prior history of ulcer disease or                                          injury. In this particular study. based on an overall OU!ll·
                                                                 gastrointestiruu bleeding. Patients witlh a prior history of                                      ber of 10cascs of liver uyury ~ssociated with diclofouac,
                                                                  peptic ulcer disease and/or gastrointestilllll bleeding 65                                       the adjusted odds ratio increased further with female
                                                                  who use NSAIDs have a greater than 10-fold increased                                             gender, doses of I SO mg or more, and duration ofuse for
                                                                  risk for developing a GI bleed compared to patients with                                         more than 90 days.




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                                                                                                                                                     APPX109
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                                                                                            65                                                                                                                                          66
                                                    Measure transaminases (ALT and AST) periodically in                                                                          mended in patients with advanced renal disease. If
                                                       patients receiving loog-tenn therapy with diclofenac,                                                                      PENNSAID Topical Solution therapy is initiated, close
                                                       because severe bcpatotoxicity may develop without a                                                                        monitoring of the patient's renal function is advisable.
                                                       prodrome of distinguishing· symptoms. The optimum                                                                      5. 7 Anaphylactoid Reactions
                                                       times for making the first and subsequent transaminase s                                                               As with other NSAJDs, anaphylactoid reactions may occur
                                                       measurements al'C not known. Based on clinical trial                                                                       in patients without prior exposure to PENNSAJD Topi-
                                                       data and postmarketing experiences, monitor transami-                                                                      cal Solution. Do not prescribe PENNSAJD Topical
                                                       nases within 4 to 8 weeks after initiating treatment with                                                                  Solution to patients with the aspirin triad. This symptom
""·                                                    diclofenac. However, severe hepatic reactions can occur                                                                    complex typically occurs in asthmatic patients who
                                                       at any time during treatment with dtclofcnac. If abnor- 10                                                                 experience rhinitis with or without nasal polyps, or who
                                                       ma! liver rests persist or worsen, if clinical signs ancVor                                                                exhibit severe, potentially fatal bronchospasm after tak-
                                                       symptoms consistent with liver disease develop, or if                                                                      ing aspirin or other NSA1Ds [see Contraindications (4)
                                                       systemic manifestations occur (e.g., eosinophilia, rash,
                                                                                                                                                                                  and Warnings and Precautions (5.10]. Seek emergency
                                                       abdominal pain, diarrhea, dark urine, etc.), discontinue
                                                                                                                                                                                  help in cases where an anaphylactoid reaction occurs.
                                                       PENNSAJD immediately.                                        ts
                                                    To minimize the possibility that hepatic injury will become                                                               5.8 Skin Reactions
                                                       severe between transaminase measu.rcments, inform                                                                      Do not apply PENNSAJD Topical Solution to open skin ·
                                                       patients of the warning signs and symptoms of bcpato-                                                                      wounds, infections, inflammations, or exfoliative der-
                                                       loxicity (e.g., nausea, fatigue, lethargy, diarrhea, pruri-                                                                matitis, as it may affect absorption and tolerability oflbe
                                                        tus,jaundioe, right upper quadrant tenderness, and "flu- 20                                                               drug.
                                                        like" symptoms), and the appropriate action to take if                                                                NSAIDs, including PENNSAID Topical Solution, can
                                                        these signs and symptoms appear.                                                                                          cause serious skin adverse events such as exfoliative
                                                    To minimize the potential risk for an adverse liver-related                                                                   dermatitis, Stevens-Johnson Syndrome (SJS), and toxic
                                                       event in patients treated with PENNSAJD, use the low-                                                                      epidermal necrolysis (TEN), ·which can be fatal. These
                                                       est effective dose for the shortest duration· possible. 25                                                                 serious events may occur without warning. Inform
                                                        Exercise caution when prescribing PENNSAJD with                                                                           patients about the signs and symptoms of serious skin
                                                        concomitant drugs that are known to be potentially hepa-                                                                   manifestations, and discontinue use of the drug at the
                                                        lotoxic (e.g. acetaminophen, certain antibiotics, antiepi-                                                                 first appearance of skin rash or any other signs of hyper-
                                                        leptics). Caution patients to avoid taking unprescribed                                                                    sensitivity.
                                                        acetaminophen while using Pennsaid.                          30                                                       5.9 Pregnancy
                                                    5.4 Hypertension                                                                                                          PENNSAID Topical Solution should not be used by preg-
                                                    NSAIDs, including diclofenac, can lead to new OD.Set or                                                                        nant or nursing women or those intending to become
                                                        worseoiog of preexisting hypertension, either of which
                                                                                                                                                                                   pregnant.
                                                        may contribute to the incceased incidel)Ce of CV events.
                                                                                                                                                                              5.10 Preexisting Asthma
                                                        Use NSAJDs, including Pennsaid, with caution in 3S
                                                                                                                                                                               Patients with asthma may have aspirin-sensitive asthma.
                                                        patients with hypertension. Monitor blood pressure (BP)
                                                        closely during the initiation of NSAJD treatment and                                                                       The use of aspirin in patients with aspirin-sensitive
                                                         throughout the course of therapy.                                                                                         asthma bas been associated with severe bronchospasm,
                                                    ·Patients taking ACE inhibitors, thiazides: or loop diuretics                                                                  which can be fatal. Since cross-reactivity, including
                                                         may have impaired response to these therapies when 40                                                                     bronchospasm, berween aspirin and other nonsteroidal
                                                         taking NSATDs.                                                                                                            anti-inflammatory drugs has been reported in such aspi-
                                                     5.5 Congestive Heart Failure and Edema                                                                                        rin-sensitive patients, do not administer PENNSAJD
                                                     Fluid retention and edema have been observed in some                                                                          Topical Solution to patients with this form of aspirin
                                                         patients treated with NSAIDs, including PENNSAID                                                                          sensitivity and use with caution in patients with preex-
                                                         Topical Solution. Use PENNSAID Topical Solution 45                                                                         isting asthma.
                                                         with caution in patients with fluid retention or heart                                                                5.1 I Sun Exposure
                                                         failure.                                                                                                              Instruct patients lo avoid exposure to natural or artificial
                                                     5.6 Renal Effects                                                                                                              sunlight on treated knee(s) because studies in animals
                                                     Use caution when initiating treatment with Pennsaid in                                                                         indicated topical diclofenac treatment resulted in an ear-
                                                         patients with considerable dehydration.                     50                                                             lier onset of ultraviolet light-induced skin tumors. The
                                                     Long-term administxation ofNSAlDs has resulted in renal                                                                        potential effects ofPENNSAID Topical Solution on skin
                                                         papillaiy necrosis and other renal injury. Reaal toxicity                                                                  response to ultraviolet damage in humans are not
                                                         has also been seen in patients in whom renal prostaglan-                                                                   known.
                                                         dins have a compensatory role in the maintenance of                                                                   5.12 Eye Exposure
...
.....                                                    renal perfusion. lo these patients, administration of an 55                                                           Avoid contact of PENNSAJD Topical Solution with eyes
                                                          NSAJD may cause a dose-dependent reduction in pros-                                                                       and mucosa. Advise patients that if eye contact occurs,
                                                         taglandin formation and, secondarily, in renal blood                                                                       immediately wash out the eye with water or saline and
                                                          flow, which may precipitate overt renal decompensation.                                                                   consult a physician·ifirritation persists for more than an
                                                         Pati,ents at greatest risk of this reaction are those with                                                                 hour.
                                                          impaired renal.function, heart failure, liver dysfunction, 60                                                        5.13 Oral Nonsteroidal Anti-inflammatory Drugs
                                                         those taking diuretics and ACE inhibitors, and the eld-                                                               Concomitant use of oral NSAIDs witli PElNNSAJD Topi-
                                                         erly. Discontinuation ofNSAJD therapy is usually fol-                                                                      cal Solution resulted in a higher rate of rectal hemor-
                                                          lowed by recovery to theprelreatment state.·                                                                               rhage, more frequent abnormal crcatinine. urea and
                                                     No inforn1ation is available from controlled clinical studies                                                                   hemoglobin. Therefore, do not ·use combination therapy
                                                          regarding the use of PENNSAID Topical Solution in 65                                                                       with PENNSAJD Topical Solution and an oral NSAJD
                                                          patients with advanced .renal disease. Therefore, treat-                                                                   unless the benefit outweighs the risk and conduct peri-
                                                          ment with PENNSAJD Topical Solution is n.ot recom-                                                                        odic laboratory evaluations.




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..:·
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                                             67                                                                                     68
           5.14 Corticosteroid Treatment                                                the following: dryness, erythema, induration, vesicles,
           PENNSAJD Topical Solution cannot be cxpecte(l to sub-                        paresthesia, proritus, vasodilatioo, acne, and urticaria.
              stil\lte for corticosteroids or to treat corticosteroid insuf-            The most frequent of these reactions were dry skin
              ficiency. Abrupt discontinuation of corticosteroids may                   (32%), contact dermatitis characterized by skin
              lead to exacerbation of corticosteroid-response illo.ess.                 crythema and induration (9%), contact dermatitis with
              For patients on prolonged corticosteroid therapy, taper                    vesicles (2%) and pruritus (4%). ln one controlled trial,
              slowly if a decision is made to discontinue corticoster-                   a higher rate of contact dermatitis with vesicles (4%)
....'!
              oids.                                                                      was observed after treatment of 152 subjects with the
           5.15 Inflammation                                                             combination of PENNSAID Topical Solution and oral
           ThepharmacologicalactivityofPENNSAIOTopicalSolu- to                           diclofenac. In the opeo label uncontrolled long-term
               lion in reducing inflammation, and possibly fever, may                    safety study, contact dermatitis occurred in 13% and
               diminish the utility of these diagnostic si_gns in detecting              contact dermatitis with vesicles in 100/o of patients, gen-
               complications of presumed noninfectious, painful con-                     erally within the first 6 months of exposure, leading to a
               ditions.                                                                  withdrawal rate for an application site event of I 4%.
            5.16 Hematological Effects                                         is Adverse Events Common to _the NSAID Class.
           The effects of PENNSAJD Topical Solution on platelet
                                                                                      In controlled trials, subjects treated with. PENNSAID Topi-
               function were studied in 10 healthy subjects adminis-
                                                                                         cal Solution experienced some adverse events associ-
               tered 80 drops four times a day for 7 days. There was no
               significant change in platelet aggregation following one                  ated with the NSAID class more frequently than subjects
                week of treatment [see Clinical Pbannacology (12.4)]. 20                  using placebo (constipation, diarrhea, dyspepsia, nau-
  .,        Anemia is sometimes seeo in patients receiving NSAlDs.                        sea, flatulence, abdominal pain, edema; see Table l ).
               This may be due to fluid retention, occult or gross GI                     The combination of PENNSAID Topical Solution and
                blood loss, or an incompletely described effect upon                      oral diclofonac, compared 10 oral cliclofenac alone,
                erytbropoiesis. Check hemoglobin oi:- hematocrit of                       resulted in a b.igher·rate of rectal hcmonbage (3% vs.
                patients on PENNSAlD Topical Solution if they exhibit 2s                  less than 1%), aod more frequent abnormal creatinine
                any signs or symptoms of anemia or blood loss.                            (12% vs. 7%), urea (20% vs. 12%), and hemoglobin
            NSAlDs inhibit platelet aggregation and have been shown                       (13% vs. 9%), but no difference in elevation of liver
                to prolong bleeding time in some patients. Unlike aspi-                   transaminases.
                rin, tb.eireffect oo platelet function is quantitatively less,        Table l lists all adverse reactions occurring in i1: I% of
                of shorter duration and reversible. Carefully monitor JO                   patients receiving PENNSAID Topical Solution, where
                patients receiving PENNSAID Topical Solution wb.o                          the rate in the PENNSAID Topical Solution group
                may be adveroely affe1:ted by alterations inplatelet~-                     excetlded placebo, from seven <:o.ntrol!cxl studies con-
                 tion, such. as those with coagulation disorders or patients               ducted in patients with osteoarthritis. Since these trials
                 receiving anticoagulants.                                                 were of different durations, these percentages do not
             5. 17 Monitoring                                                   JS         capture cumulative rates of occurrence.
             Because serious GI tract ulcerations aod bleeding can
                occur without warning symptoms in patients taking                                                         TABLE I
                 NSAlDs, monitor patients for signs or symptoms of GI
                                                                                             Adven:e      Rcection:s  OCC'UJTing i.o ~ 1% of pa.tieots ttea.te<i with
                 bleeding. Check CBC and a chemist!}' profile periodi-
                                                                                                   PENNSAID ® Topictl Solution in plaubo and oral
                 cally in patients on long-term treatment with NSAlDs. 40                                         diclofenso-controlled trial.s.
                 Discontinue PENNSAID Topical Solution if abnormal
                 liver tests or renal tests persist or worsen.                                                                           PENNSA!D®                  Topical
                                                                                                                                        Topical Solution           Pla<ebo
          6. Adverse Reactions
  -~
··:i
             6.1 Clinical Studies Experience
                                                                                   Tre&lmeut Group:
                                                                                   Adverse Re&ction1
                                                                                                                                            N•9ll
                                                                                                                                              N(%)
                                                                                                                                                                   N-332
                                                                                                                                                                    N(%)
             Because clinical trials are conducted under widely varying 4S
                                                                                                                                             292   (32)             17   (S)
 .,              conditions, adverse reaction rates observed in the clini-         O,y Slcin (Application Site)
                                                                                                                                                                      6 (2)
                                                                                   Contact Del11Utitis (Application Site)                     83 (I>)
 il              cal trials of a drug cannot be directly compared to rates         Dyspepsia                                                  72 (8)                13 (4)
    I             in the clinical trials of another drug and may not reflect       Abdominal Pali>                                            S4 (6)                10 (3)
                  the rates observed in practice.                                  Fll!\llente                                                JS (4)                  I(<!)
                                                                                                                                                                      7 (2)
             The data described below reflect exposure to PENNSAID, so Pruritus (Application Site)                                             34 (4)
                                                                                                                                                                      7 (2)
                                                                                   Oianhea                                                     33 (4)
                  Topical Solution of 911 patients treated between 4 and           NAU.Se&                                                     33 (4)                 3 (1)
                   12 weeks (mean duration of 49 days) in seven Phase 3            Plwyngitis                                                  40 (4)                13 (4)
                  controlled trials, as well as exposure of 793 patients           Constipation                                                29 (J)                 1 (<t)
                  treated in an open-label study, including 463 patients           Edema                                                       26 (3)                 0
                  treated for at least 6 months, and I 44 patients treated for ss Ruh (Non-Application Site)
                                                                                                                                               2S   (3)               s   (2)
  .,                                                                               Infection                                                   2S (J)                 g (2)
·:1               at least 12 months. The population mean age was                  Ec<:hymosis                                                 19 (2)                 1   (<l)
;1                                                                                                                                                                     t (<l)
 ·1               approximately 60 years, 89% of patients were Cauca-               O,y Skin (Non-Application Site)                            19 (2)
                                                                                   Contaiet   Desma.titis,    vesicles                         18 (2)                 0
                  sians, 64% were females, and all patients had primary
                                                                                    (Application Site)
                  osteoarthritis. The most common adverse events with               Parc,thesia (Non-Application Site)                         14 (2)                  3 (<I)
                   PENNSAID Topical Solution were application site skin 60 Accidental Injury                                                   22 (2)                  7 (2)
                   reactions. These events were the moS'I common reason             Pruritus (Non-Application Site)                             tS  {2)                2 (<I)
                                                                                    Sinusitis                                                   tO (1)                 2 (<I)
                   for withdrawing from the studies.                                                                                            ti (t)                 I(<!)
                                                                                    Halitosis.
    ' ·       Application Site Reactioo.s:                                          Applica1ior. Sili: R~.u:1io11                               11 (II                 .l (' I·)
    i         1u controlled trials, the most common u-eaunent-relaied               (not olherwise specified)
                   adverse events in patients receiving PENNSAJDTopical 65
                   Solution·were application site skin reactions. Applica-           tPrcfcrrcd Tffll'.I •ccordiog to COS"tA.RT
    I
··1
                   tion site reactions were characterized ·by one or more of
.i


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                                       69                                                                      70
           6.2 Poslmarkcting Experience                                                 renal prostaglandin synthesis by the NSAID. "Thus,
           ln non-US post-marketing surveillance, the following                         when NSAIDs, iuclurung diclofenac, and lithium are
              adverse reactions have been reported during post-ap-                      administered concurrently, observe patients carefully
              proval use of PENNSAID Topical Solution. Because                          for signs of lithium toxicity.
              these reactions are reported voluntarily from a popula-               7.6 Metbotrexate
               tion of uncertain size, it is not always possible to reliably        NSAIDs have been reported to competitively inhibit meth-
              estimate their frequency or establish a causal relation-                  otrcxate accumulation in rabbit kidney slices. This may
              ship 10 drug exposure.                                                    indicate that they could enhance tbc toxicity of mcthotr-
           Body as a whole: abdominal pain, accidental injury, aller-                  exate. Use caution when NSAIDs, includingdiclofenac,
              gic reaction, asthenia, back pain, body odor, cbest pain, 10             are administered concomitantly with methotrexatc.
              edema, f.lce edema, halitosis, headache, lack of drug                 7.7 Cyclosporioe
              efi'ec:1, neck rigidity, pain                                         Diclofeoac, like other NSA!Ds, may affect renal prostag-
           Cardiovascular: palpitation, e&diovascular disorder                          laodins and increase the toxicity ofcertain drugs. There-
           Digestive: diarrhea, dry mouth, dyspepsia, gastroenteritis,                 fore, coocomitaot therapy with diclofenac may increase
              decreased appetite, mouth ulceration, nausea, rectal IS                  cyclosporinc's nephrotoxicity. Use caution wlieo
              hemorrhage, ulcerative stomatitis                                        diclofenac is administered coocomitaotly with
           Metabolic aod Nutritional: creatinioe increased                             cyclosporioc.
           Musculoskeletal: leg cramps, myalgia                                     7.8 Oral Noo.steroida! Anti-io.ftammatory Drugs
           Nervous: depression, diziiocss, drowsiness, lethargy, par-               Concomitant use of oral NSAJDs with PBNNSAID Topi-
              esthesia, paresthesia at application site                      20        cal Solution has been evaluated in one Phase 3 con·
           Respiratory: asthma, dyspnea, lal)'ngismus, laryngitis,                     trolled trial and in combination with oral diclofenac,
              pharyngitis                                                              compared to oral diclofeoac alone, resulted in a highec
           Skin aod Appendages: At the Application Site: contact                       rate of rectal bemont.age (3% vs. less than 1%), aod
              dennatitis, contact dermatitis with vesicles, dry skin,                  more frequent aboocmal creatinine (12% vs. 7%), urea
              pruritus, rash; Other Skin and Appendages Adverse 2s                     (20% vs. 12%) aod hemoglobin (13% vs. 9%). There-
              Reactions: eczema, rash, pruritus, skin discoloration,                   fore, do not use combination therapy with PENNSAID
              urticaria                                                               Topical Solution and ao oral NSAID uoless tbe benefit
           Special senses: abnormal vision, blurred vision, cataract,                  outweighs the risk aod conduct periodic laboratory
              ear pain, eye disorder, eye pain, taste perversion                       evaluations.                              '
        7. Drug Interactions                                                 lO    7.9 Topical Treatments
           Drug interactions v.ith the use of PENNSAJD Topical                      Instruct patients that before applying sunscreen, insect
              Solution have not been studied. The following drug                       repellant, lotion, moisturizer, cosmetics, or other topical
              interactions [sections 7.1 to 7.7] are noted for oral                    medication to tbe same skin surface of the knee treated
             diclofenoc sodium.                                                       with PENNSAJD Topical Solution, they must wait until
           ?.I.Aspirin                                                       JS        the treated area is completely dry.
           When diclofeoac is administered with aspirin, the binding            8. Use in Specific Populations
              of diclofeoac to protein is reduced, although the clear-             8. I Pregnancy
             ance of free diclofenac is not ahe,:ed. The clinical sig-             Pregnancy Category C prior to 30 weeks gestation; Cat-
             nificaocc of this interaction is oot koowo; however, as                  egory D sturting 30 weeks gestation.
             with other NSAJDs, coocomitanl administrotion of -40 Teratogenic Effects:
             diclofcoac and aspirin is not generally recommended                   There are oo adequate and well-controlled studies of
             because of the potential of increased adverse effects.                   PENNSAID Topical Solution in pregnant women.
           7.2 Anticoagulants                                                          PENNSAJD Topical Solution should not be used by
··,-;
           The effects ofanticoagulants such as warfarin and NSAIDs                    pregnant women as its safe use bas not been adequately
             on GI bleeding are synergistic, such that users of both ~s               determined and starting at 30 weeks gestation,
..,          drugs together have a risk of serious GI bleeding higher                 diclofeoac and other NSAlDs should be avoided by
             than users of either drug nlooe.                                         pregnant WOIJICD as premature closure of the ductus
          7.3 ACE-Inhibitors                                                          arteriosus in the fCIUs may occur. Developmental studies
           NSAJDs may diminish the antihypertensive effect of                         io animals demonstrated that diclofeo.ac sodium admin-
             angiotensin converting enzyme (ACE) inhibitors. Coo- so                   istration did not produce teratogeoicity despite the
             sider this interaction io patients taking NSAIDs con-                    induction of maternal toxicity and fetal toxicity in mice
             coruitru1tly with ACE-inhibitors.                                        at doses up to 20 mg.lkglday (0.6-fold the maximum
          7.4 Diuretics                                                               recommended human dose [MRHD) of 154 mg/day
          Oioical studies, as well as post-marketing observations,                    based on body surface area comparison), and io rats and
             have shown that NSAJDs can reduce the oatriuretic ss                     rabbits at doses up to IO mg/kg/day (approximately 0.6-
             effect of furosemide aod thia?.ides in some p3tients. The                fold aod 1.3-fold the MRI-ID, respectively). Published
             response bas been attributed to inhibition of renal pros-                reproductive and developmental studies ofdimethyl sul-
             taglaodio synthesis. Duri11g coocoruit:ant therapy with                  foxide (DMSO, the solvcot used in PENNSAID Topical
             NSAIDs, ob$crve the patient closely for signs of renal                   Solution) are equivocal as to potential teratogenicity.
             failure [see Warnings aod Precautions (5.6)], as well .as 60          Nonteratogenic Effects
             to assure diuretic efficacy.                                          In rats, maternally toxic doses of diclofenac were associ-
          7.5 Lithium                                                                 ated with dystocia, prolonged gestation, reduced fetal
          NSAIDs have produced an elevation of plasma lithium                         weights end growth. -and reduced feral surviwl.
             levels and a reduction in renal lithium clearance. The               8.2 Labor and Delivery
             mean minimum lithium concentration increased 15% 6-1                 The effects of PENNSAJD Topical Solut.ioo on labor and
             and the renal clearance was decreased by approximately                   delivery io pregnant women are unkoown. lo rat srudies
             20%. These effects have been anributed to inhibition of                  maternal exposure to diclofenac, as with other NSAID




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              drugs, known to inhibit prostaglandin syothesis,                         weight is 318.14. Its molecular formula is
              increased the incidence ofdystocia, delayed parturition,                 C , 4H 10Cl 2NNaO2 and it has the following stcuctural
              and decreased offspring survival.                                        formula:
          8.3 Nursing Mothers
           It is not known whether this drug is excreted in human
              milk; however, there is a case report in the literature                                                                                    107
              indicating that diclofenac can be detected at low levels in
              breast milk. Because many drugs are excreted in human
              milk and because of the potential for serious adverse
              reactioos in nursing infants from PENNSAJD Topical tO
              Solution, a decision should be made whether to discon-
              tinue nursing or to discontinue the drug, taking into
              account the importance of the drug to 1he mother.
           8.4 Pediatric Use                                               l5
           Safety and effectiveness in pediatric patients have not been
·,:- ·        established.                                                         Each I mL of solution contains 16.05 mg of diclofenac
           8.5 Geriatric U se                                                         sodium. In addition, PENNSAID Topical Solution con-
                                                                                      tains the following inactive ingredients: dimethyl sul-
  ..
;-', I
           Of the 91 l patients treated with PENNSAJD Topical Solu-
             . tioo in seven controlled, Phase 3 clinical trials, 444 sub- 20         foxide USP (DMSO, 45.5% w/ w), propylene glycol,
                                                                                      alcohol, glycerin and purified water.
<~            jects were 65 years of age and over. There was no age-
                                                                                 12. Clinical Pharmacology
               related difference in the incidence of adverse events. Of
               the 793 patients treated with PENNSAJD Topical Solu-                12.1 Mechanism of Action
               tion in one open-labeled safety trial, 334 subjects were            The mechanism of action of diclofeoac is similar to that of
               65 years of age a·nd over including 107 subjects 75 and is             other oonsteroidal anti-inflammatory ~gs. Diclofenac
               over. There was no difference in the incidence ofadverse               inhibits the enzyme, cyclooxygenasc (COX), an early
               events with long-term exposure to PENNSAlD Topical                     component of the arachidonic acid cascade, resulting in
               Solution for th.is eldt!rly population. As with any                    the reduced formation of prostaglandins, thromboxanes
               NSAlD, use caution in treating the elderly (65 years and               and prostacylin. It is not completely understood how
               older) and it may be useful to monitor renal function 30               reduced synthesis of these compounds results in thera-
               since they are more likely to have decreased baseline                  peutic efficacy.
               renal fUDction.                                                      12.2 Pharmacodynamics
            10. Overdo Sage                                                         Diclofenac, the active component ofPENNSAJD Topical
           There have been no known experiences of overdose with 35                   Solution has anti-inflammatory, aoti-nociception, and
               PENNSA1D 1bpical Solution.                                             antipyretic effects.
           Symptoms following acute NSAID overdose are usually                      12.3 Pharmacokioetics
               limited to lethargy, drowsiness, nausea, vomiting, and               After topical administration to healthy human volunteers
               epigastric pain, which are generally reversible with sup-              of single and multiple maximum doses of PENNSAlD
                                                                                      Topical Solution, 40 drops (approximately l .2 mL) to
               portive care. Gastrointestinal bleeding can occur. Hyper- 40
                                                                                      each knee (80 drops total dose), the following diclofenac
               tension, acute renal failure, respiratory depression and
                                                                                      phacmacokinetic parameters were obtained: (see Table
               coma may occur, but are rare. Anaphylactoid reactions
                                                                                      2).
               have been reported with therapeutic ingestion of
               NSAIDs, and may occur following an overdose.                                                     TABLE 2
           Manage patients using symptomatic and supportive care 4S              --------------------
               following an NSAID overdose. Tber-e are no specific                Singlc-<lose (80 drops) and Multiple Dose (80 drops lour times daily for 7
               antidotes. Emesis is oot recommended due to a possibil-                days) PENNSAJD TopleaJ So~ution Ph.um.acolcinetie P&ra.meters:
                ity of aspiration and subsequent respiratory irritation by                                             Oiclofenac sodium
                DMSOcoo.t ained in PENNSA1OTopical Solution. Acti-
               vated charcoal (60 to 100 g in adults, 1 to 2 g/kg in so                                                            NomwAdults[N• l9J
                                                                                                       Nonna!AdullS [N • 18)        (Age: t8-5S yctit)
               chilclren) aud/or osmotic cathartic may be indicated in           Pfwmacokinctie          (Age: t8-55 yea,s}            MultiplcD<=
               patients seen within 4 hours ofingestion wi_th symptoms           Pan.meters                 Swglc Dose           four times dally for 7 d&ys
               or following a large overdose (5 to 10 times the usual
                                                                                 AUCo.,                177.S t72.6 ng·h/mL         695.4 t 348.9 ng • himL
               dose). Forced diuresis, alkalioi:r.ation of urine, hemodi-        Aue...,,
                                                                            ss                         1963 t 68.S ng · h/mL       74S.2 t 374.7 ng · hlmL
               alysis, or hemoperfusion may not be useful due to high            PlasmaC_..               8.t t 5.9 ng/mL              19.4 t93 ng/mL
               protein binding.                                                  Plasm• T-(h)               11.0t6.4                      4.0 >c6.S
                                                                                 Pl..,ma 1112 (h)           36.7 t 20.8                 79.0 "'38.1
            For additional information aj,out overdose treat.meat, call a        K, ,(b" ')                0.024 t0.010                O.Ot 1 t 0.004
                poison control center (1-800-222-1222).                          CUF (LJb}                 244.7 t 84.7 1
         11. Description .                                                 60    JAppucnl tocalbody~      c
            PENNSAlD Topical Solution is a clear, colorless to faintly
                pink-orange solution for topical application.                       Absorption
            PENN~AID .To pical Solution conta ins 1.5% w/w                          Oiclofonac sy.s tcmic exposure fr9m PF.:NNSAJD _a pplic,i-
              · diclofonac sodiwu, a bt!nzene-acetic acid derivative lbat             tioo (4 times daily for J week) wa s approxima tely 'h of
                is a noosteroidal anti-inflammatory drug (NSA1D), des- 65             the diclofenac systemic exposure from the Solaraze (di-
                ignated chemically as 2-[(2,6-dichlorophenyl)am.inoJ                  clofenac topical gel) application (twice daily for 4
                benzeneacetic acid, monosodium salt. The molecular                    weeks).




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         Distribution                                                              up 10 0.035% dic.lofenac sodium (a 43-fold lower
         Diclofeoac is more than 99% bound to human serum pro-                     diclofenac sodium concentration than present in
            teins, primarily to albumin.                                           PENNSAJD Topical Solution) resulted in ao earlier
         Oiclofeoac diffuses into and out of tbc synovial fluid. Dif-              median time of onset of tumors.
            fusion into the joint occurs when plasma levels are          5
                                                                                Mutagenesis: Diclofenac was not mutageoic orclastogenic
            highe.r than those in the synovial fluid, after which the              in a bancry of geootoxicity tests that included the bac-
            process reverses and synovial fluid levels are higher than
                                                                                   terial reverse mutation assay, in vitro mouse lymphoma
            plasma levels. It is not known whether diffusion into the
                                                                                   point mutation assay, chromosomal aberration studies in
            joiot plays a role in the effectiveness of diclofeoac.
                                                                                   Chinese hamster ovarian cells in vitro, and in vivo rat
         Metabolism                                                      10
         Five diclofenac metabolites have been identified io human                 chromosomal aberration assay of bone marrow cells.
            plasma and urine. The metabolites include 4'-hydroxy-,              lmpairment of Fertility: Fertility studies have not been
            5-hydroxy-, 3'-hydroxy-, 4',5-dihydroxy- and 3'-hy-                    conducted with Pennsaid Topical Solution. Diclofeoac
            droxy-4'-methoxy diclofe.nac. Toe major diclofenac                     sodium administered to male and female rats at doses up
            metabolite, 4'-bydroxy-diclofenac, has very weakphar-        JS        to 4 mg/kg/day (I .4-fold of the MRHD of PENNSAID
            macologic activity. The formation of 4'-hydroxy                        Topical Solution based on apparent bioavailability and
            diclofenac is primarily mediated by CPY2C9. Both                       body surface area· comparison) did not affect fertility.
            diclofeoac and its oxidative metabolites undergo glucu-                Studies have not been conducted to determine the safety
            ronidation or su lfation followed by biliary excretion.                of DMSO on fertility.
            Acylglucuronidatioo mediated by UGT287 and oxida-            20     13 .2 Animal Toxicology and/or Pharmacology
            tioo mediated by CPY2C8 may also play a role in                     Ocular Effects
            diclofenac metabolism. CYP3A4 is responsible for the                No adverse effects were observed using indirect ophthal-
            formation of minor metabolites, 5-hydroxy and 3'-hy-                   moscopy after multiple-daily dermal application to rats
            droxy-diclofcnac.                                                      for 26 weeks and m.ioipigs for 52 weeks of DMSO at
         Excretion                                                       2S        twice the concentration found in PENNSAID Topical
         Diclofenac is eliminated through metabolism and subse-                    Solution. Published studies of dermal or oral adminis-
            quent urinary and biliary excretion of the glucuronide                 tration of DMSO to rabbits, dogs and pigs described
            and the sulfate conjugates of the metabolites.                         refractive changes of lens curvature and cortical fibers
         Linle or no free unchanged diclofenac is excreted in the                  indicative of myopic changes and/or incidences of lens
            urine.                                                       JO        opacity or discoloration when evaluated using slit-lamp
         Special Populations                                                       biomicroscopy examination, although oo ocular abnor-
         Pediatric: The phannacokinetics of PENNSAID has oot                       malities .were observed in rhesus monkeys during daily
            been investigated in pediatric patients.                               oral or dennal treatment with DMSO for 9 to 18 months.
         Race: Phannacokinetic differences due to race have not               14. Clinical Studies
            been studied.                                                JS     14.I Pivotal Studies in Osteoarthritis of the Knee
          12.4 Platelets                                                        The use of PENNSAJD Topical Solution for the treatment
         The effect of PENNSAJD Topical Solution on platelet                       of the signs and symptoms of osteoarthritis of the knee
            function was evaluated in 10 healthy human volunteers                  was evaluated in two double-blind controlled trials con-
            as a sub-study ofa multiple-dose phannacok:inetic study                ducted in the US and Canada, involving patients treated
            [see Pharmacokinetics (12.3)). Average (range) platelet      40        with PENNSAJD Topical Solution at a dose of 40 drops
            aggregation time following stimulation with adeoosine                  four times a day for 12 weeks. PENNSAID Topical
            di phosphate, collagen, epinephrine and arachidonic acid               Solution was compared to topical placebo (2.3% DMSO
            was 101.3% (73.3-128.1), 99.8% (69.6-112.9), 109.9%                    with other excipients) and/or topical vehicle solution
-.·         (66.2-178.1) and 99 .0% (I 5.5-126.6) of baselioe value,               (45.5% w/w DMSO with other excipients), applied
,           respectively. These results indicate that there was no       4S        directly to the study koee. In both trials, PENNSAJD
            effect on platelet aggregation after application of the                Topical Solution treaunent resulted in statistically sig-
            maximum clinical dose for 7 days [see Phannacokinet-                   nificant clinical improvement compared to placebo and/
            ics (12.3)].                                                           or vehicle, in all three primary efficacy variables-pain,
      13. Nonclinical 1oxicology                                                   physical function(Western Ontario and McMaster Uni-
         13.1 Carcinogenesis, Mutagenesis, Impairment of Fertil-         so        versities LK3.l OA Index (WOMAC) pain and physical
      ity.                                                                         functiondimensious )and Patient Overall Health Assess-
         Carcinogenicity studies in mice and rats administered                     ment (POHAYl'atient Global Assessment (PGA).
            diclofenac sodium as a dietary constituent for 2 years                 Numerical results are summarized in Tables 3 and 4.
            resulted in no significant increases in tumor incidence at
            does up to 2 mg/kgl'day correspondiog to approximately       ss                               TABLE3
·l          0.35- and 0. 7-fold (mouse and rat, respectively) of the          - - - - - - - - - - - - - - -- - --
 J
.•          maximum recommended human topical dose (MRHD)                        Cbaage io trc&lment outcome, after 12 wula oft=nncnt in one
                                                                                              srudv of elfica.cy of PENNS AID ® Topical Solution
            of PENNSAJD Topical Solution (based on apparent bio-
            availa]lility and body surface area comparison).                                                                  SIUdyl
         In a. dermal carcinogenicity study conducted in albino          60                               Mean baseline score a.nd mean cbacge in efficacy
                                                                                                                      variables after 12 week.~oftmritmcnt
            mice, daily topical appHcatious ofdiclofenac sodium for
            two years at concentrations up to 0.035% diclofenac                                            McA.11                              Topic.>l      Topical
            sodium (a-43-fold lower diclofcnac sodium concentra-                                         ,8:t.Seline       PENNSAID_®         pl:\oeho 1     vcJ,icle-'
            tion !ban present in PENNSAJD Topical Solution) <lid              ~irtca,.;y\:1.t,:ib1,_.      11/COtt•          ~- 154            s. ~ .i .')   ). • 161
            not increase neoplasm incidence.                             65 WOMAC pain score                 13                 -6.0            -4.7              --4.7
         In a photococarcinogenicity study conducted in hairless            (Ul<ert3.!,0-20)
            mice, topical application of diclofenac sodium at doses




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                                                                                                          US 8,217,078 Bl
                                                            75                                                                                                      76
                                          TABLE 3-continucd                                                                                Although serious CV events can occur without warning
                                                                                                                                           symptoms, .instroct patients to be alert for the signs and
                       Change- in t.reatmeot outoomes after 12 weeks of t.ruUnent in one                                                   symptoms of chest pain, shortness of breath, weakness,
                             study of eff!?7( orPENNS,\1O ~ Topi.cat Solutinn
                                                                                                                                           slurring of speech, and to ask for medical advice when
                                                              Study I                                                                      observing any indicative sign or symptoms. Inform
                                          Mean baseline score Md mca.o change in e.fficac:y                                                patients of the importance of this follow-up [see Warn-
                                                    vuiab!e.1 aft.er 12 weeks oftreatmenl
                                                                                                                                           ings and Precautions (5.J)].
                                          Mesn                                               Topical           Topical                  17.3 Gastrointestinal Effects
                                         Boscline            PENNSAID ~                     pl&eebo I          vehicle'                 PENNSAID Topical Solution, like other NSAIDs, may
              Ell!eacy Variable           score                   N • 154                   N • 1SS            N • 161          10
                                                                                                                                           cause GI discomfort and, rarely, serious GI side effects,
              WOMAC physical                42                      -15.7                      -123              -12.1                     such as ulcers and bleeding, which may result in hospi·
              function(Likcrt 3.1,                                                                                                         tali1.ation and even death. Although serious GI tract
              0-68)
              PORA (0-4)                      2.3                     -1.0                      -0.4               -0.6                    ulcerations and bleeding can occur without warning
                                                                                                                                IS         symptoms, inform patients to be alert for tb.e signs and
              1
               placcbo formulation indudcdl.3% DMSO                                                                                        symptoms of ulceration and bleeding, and to ask for
              Z...cbidc fOfmula:tk>o included 4S•.S% OM.SO
                                                                                                                                           medical advice when observing any indicative sign or
                                                                                                                                           symptoms including epigastric pain, dyspepsia, melena,
                                                     TABLE4                                                                                and hemateroesis. lostroct patients of the importance of
                                                                                                                                           this follow-up (sec Warnings and Precautions (5 .2)].
·.·               Change in tre&tment outcomes after l2 weeks oftn:atmcnt ln one $ludy
                                                                                                                                20
                                                                                                                                        17 .4 Hepatoxicity
                               o( efficacy o(PllNNSAID Topical Sol.,tion
                                                                                                                                        Inform patients of the wam.ing signs and symptoms of
                                                                                   Study Ir                                                hepatotoxicity (e.g., nausea, fatigue, lethargy, pruritus,
                                           Mean b&sclioe score and mean cb&ng.e iil efficacy                                               jaundice, right upper quadrant tenderness, and "flu-Like"
                                          - - - 'v.,,,ar.,.,iab=.l,.,,es,.,a,.,,R,acrc..,1"'2-"w"'cc"'lcs=or,.,treat="'m"'cn,.,t__ 25
                                                                                                                                           symptoms). lf these occur, instruct patients to stop
                                            Meu Baseline                PENNSAlO                Topical ,·chicles'                         therapy with PENNSAJD Topical Solution and seek
              Efficacy Vuiablc                      tc0rc                N•164                      Nol62                                   immediate medical therapy (see Warnings and Precau-
              WOMAC pain                             13                        -S.9                        - 4,4                            tions (5.3)).
                 (Lis.cit 3.1,
              $<Or<:                                                                                                                    17.5 Adverse Skin Reactions
              0.20)                                                                                                             30      PENNSAID Topical Solution, like other NSA1Ds, can
              WOMAC physical                        42                       -15.3                       -10.J
              functioo(Likert                                                                                                              cause serious systemic skin side effects such as exfolia-
              J.1,0-68)                                                                                                                     tive dermatitis, SJS, and TEN, whlcb.may result in bos-
              PGA (0-4)                               3.1                      - 1.J                       -1.0                             pitalii.ations and even death. Although serious systemic
              1
               vchklc fom,ublion iDdudcd4S.S% O~.SO                                                                                        skin reactions may occur wilhout warning, instroct
                                                                                                                                JS
                                                                                                                                            patients to be alert for the signs and symptoms of skin
              16. How Supplied/Storage and Handling                                                                                         rash and blisters, fever, or other signs of hypersensitivity
                PENNSAID .Topical Solution is supplied as a clear, color-                                                                  such as itching, and to ask for medical advice when
                   less to faintly pink-orange solution containing I 6.05 mg                                                                observing any indicative signs or symptoms. [see Warn-
                   ofdiclofenac sodium per mL ofsolution, in a white high                                                       40          ings and Precautions (5.8)].
                   density polyethylene bottle with a white low-density                                                                 Advise patients to stop PENNSAlD Topical Solution
                   dropper cap.                                                                                                             immediately if they develop any type of generali1..ed rash
.. ,            16.J NOC Nwnber & Size                                                                                                      and contact their physicians as soon as possible.
·.·~J.
                                                                                                                                        PENNSAID Topical Solution can cause a localized skin
                                                                                                                                 4S         reaction at the application site.Advise patients to contact
         !:                                                                                                                                 their physicians as soon as possible if they develop any
                             1S mL bottle (pb)'Jiciu ..mplc)                  NOC lfl363.S-3 HH 1
                             60mLbottJc                                       NOCl/l363S-310-60                                             type of localized application site rash.
                            lS0mLbottlc                                       NOC 1123635·310.IS                                        Instruct patients not to apply PENNSAIO Topical Solution
                                                                                                                                            to open skin wounds, infections, inflammations, or exfo-
                                                                                                                                 so         liative dermatitis, as it may affect absorption and reduce
                16.2 Storage                                                                                                                tolerability of the drug.
                Store at 25° C. (77° F. ); excursions permitted to 15-30° C.                                                            Instruct patients to wait until the area treated with Pennsaid
                   (59-86° F.) [See USP ControUed Room Temperature].                                                                        topical solution is completely d,y before applying sun-
              17. Patient Counseling Information                                                                                            screen, insect repellant, lotioo, moisturizer, cosmetics,
.i '                                                                                                                             S5         or other topical medication.
·.,_            See Medication Guide.
                                                                                                                                        Instruct patients to minimize or avoid exposure of treated
..?:,           17.l Medication Guide
                loform patients of the following information before initi-
                                                                                                                                             knee(s) to oarural or artificial sunlight.
                                                                                                                                         17.6 Weight Gain and Edema
                   ating therapy with an NSAID and periodically during                                                                   Instruct patients to promptly report to their physician signs
                   the course of ongoing therapy. Encourage patients to                                                          60         or symptoms of unexplained weight gain or edema fol-
                   read the NSAJD Medication Guide that accompanies                                                                         lowing treatment with PENNSAID Topical Solution
                   each prescription dispensed prior to using PENNSAJD                                                                      [see Warnings and Precautions (5.5)].
                   "(opi_cal.Solution.                                                                                                   17 .7Anaphylactpid Reactions
                17.2 Cardiovascul~r Ellects                                                                                              lo.form patients of the signs of an auapbylactoid reaction
                PE!'lNSAID Topical Solution, like other NSAJDs, may                                                              6S         (e.g., difficulty breathing, swelling of the face or throat).
                   cause serious CV side effects, such as Ml or stroke,                                                                      lfthese occur, instruct patients to seek immediate erner·
                   which may result in hospita}jzation. and even death.                                                                     gency help [see Warnings and Precautions (5.7)).




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·.<
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                                    77                                                                            78
         17.8 Effects During Pregnancy                                         Do not take an NSAJD medicine:
         Instruct patients who are pregnant or intending to beoome                 if you had an asthma attack, hives, or other allergic
           pregnant not to use Pennsaid Topical Solution. [see Use                    reaction with aspirin or any other NSAID medicine
           in Specific Populations (8.1 )and Impairment of Fertility               for pain right before or after heart bypass surgery
            (13.1)]                                                          Tell your healthcare provider:
         17.9 Eye Exposure                                                     about all of your medical conditions.
:.~      Instruct patients to avoid contact of PENNSAID Topical                about all of the medicines you take. NSAIDs and some
           Solution with the eyes and mucosa. Advise patients that                 other medicines can inte.ract with each other and cause
            if eye contact occurs, immediately wash out the eye with               serious side effects. Keep a list of your medicines to
                                                                        10
           water or saline and consult a physician if irritation per-              show to your healthcare provider and pharmacist.
            sists for more tba.n an hour.                                       if you are pregnant. NSAJD medicines should not be used
       Revised -02/2009r                                                           by pregnant women late in their pregnancy.
       Manufactured for:                                                        if you are breastfeeding. Talk to your doctor.
       Mallinckrodt Brand Phannaceuticals, Inc.                              What are lhe possible side effects of Non-Steroidal Anti-
       Ha:zelwood, Mo. 63042 USA                                        15   Inflamma1ory Drugs (NSAJDs)?
.:.•
       Manufactured By:
       Nuvo Manufacturing (a division ofNuvo Research Inc.)
       Varennes, Quebec, Canada J3X l P7                                                  Seriour side effects OOude:
                                                                        20
                            Medication Guide                                              beart&lUek
                                                                                          suoke
                                                                                          high blood pJtSSUre
                                    For                                                   hca:1 flilwc f1<1m body swelling (fluid i,:tcntion)
                                                                                          kidooy problems including kidoey failure
                                                                                          bleeding and ulccn ill the stomach a.od intesliae
           Non-steroidal Anti-Inflammatory DruS$ (NSAJDS)               2s                 low o,d blood eells (tnania)
                                                                                           life-thre&tcnUl:g $kin reactions
           (See the End of this Medication Guide for a List of                            life-tb.reatcni.og allergic rcac:tio.ns
                    Prescription NSAJD Medicines.)                                         li'\'erptob!cms including li,·er failure.
                                                                                          asthma attacks in people who hAvc asthma
                                                                                           Other ride effects iucludc:
       What is the most important information I should know about 30
       medicines called Non-Steroidal Anti-J.nfl:ammatory Drugs                           ru,macl, pai.D
                                                                                          COD.Stipa.tiOD
       (NSA!Ds)?
                                                                                           c!larrlie&
         NSAJD medicines may increase the cliance of a heart
           attack or stroke that can lead to death_ This chance
           increases:
           with longer use of NSAJD medicines
                                                                    JS                    .84$
                                                                                           bcsrtburo
                                                                                             .,_
                                                                                           vomiting
                                                                                           dinincss
           in people who have heart disease
         NSAID medicines should never be used right before or
           after a bean surgery called a "coronary artery bypass             Get emergency help right away if you have any of lhe follow-
           graft (CABG)."                                           40       ing symptoms:              ·
         NSAJD medicines can cause ulcers and bleeding in the
           stomach and intestines at any time during treatment.
           Ulcers and bleeding:
                                                                                   sbortn= ofbrellh or trouble         slu.m"1 speech
           can happen without warning symptoms                                     bn:athing                           swelling of the fa<c or throat
           may cause death                                          4S             chest pain
         The chance of a person getting an ulcer or bleeding                       weakness in one part or side
           increases with:                                                         of your body
           taking medicines called uoorticosteroids" and "antico-
              agulants"                                                      Stop your NSAID medicine and call your healthcare provider
           longer use                                               so       right away if you have any of the following symptoms:
           smoking
           drinking alcohol
           older age
           having poor health                                                    nausea                                 there i, blood in your bowel
                                                                                 more tired or wea.ku th.4tl usual      movement or it is bltlck &.ad
         NSAID medicines should only be used:                       ss           itcbing                                sticky like tar
.·.i       exactly as prescribed                                                 your skin or eyes look ycUow           unUS'UJJ weight gain
           at the lowest dose possible for your treatment                        stomach pain                           skin sub or bli£tet$ with fever
           for the shortest time needed                                          ftu-like symptoms                      swelling of the anns and legs,
                                                                                 vomit blood                            hands and feet
         What are Non-Steroidal Anti-Inflammatory Drugs
           (NSAIDs)?.         .                                     60
         NSAJD medicines are used to treat pain and redness, swell-          These are not all lhe side effects with NSAJD medicines. Talk
           ing, and heat (inflammation) from medical conditions              to your healthcare provider or pharmacist for more in.fonna-
           such a~:                                                          1ion apout N.S/,TI:> medicines.              ..      .
           diilerent typ~$ of arthritis                                      Olher·inforu1a1iou about Non-Steroidal Ami-lnllamwa1ory
            menstrual cramps and other types of short-term pain      6S      Drugs (NSAJDs):
         Who should not take a Non-Steroidal Anti-Inflammatory                  Aspirin is an NSAJD medicine but it does not increase the
            Drug (NSAJD)?                                                         chance of a heart attack. Aspirin can cause bleeding in




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                                                  79                                                                                      80
           the brain, stomach, and intestines.Aspirin can also cause                                      Step 2. Your total dose for each knee is 40 drops of
           ulcers in the stomach and intestines.                                                            PENNSAID® Topical Solution. You will use IO drops at a
         Some of these NSAID medicines are sold in lower doses                                              time. Put I 0drops of PENNSAID® 1bpical Solution either
           without a prescription (over-the-counter). Talk to your                                          on your hand or directly on your knee. See FIG. 10A.
           healthcare. provider before using over-the-counter                                             FIG. I. Dispense 10 drops of PENNSAID®at a time
           NSAIDs for more than 10 days.                                                                  Step 3. Spread PENNSAID Topical Solution evenly on the
        NSAID Medicines lhat Need a Prescription                                                            front, back and sides of your knee. Repeat thls step 4 times
                                                                                                            so that your knee is completely covered wilh a total of 40
                                                                                                            drops of PENNSAID®Topical Solution.
                                                                                                       to   See FIGS. 10B & l0C.
        Ccneric:Namo              Tmdename                                                                FIG. 2. Spread PENNSAID®evenly on the front, and sides of
                                                                                                          your knee
        Celocoxib                 Celebrex
        Diclofcnac                F1ector, Cuafwn, ¼>ltarett. Arthro1cc nt                                FIG. 3. Spread PENNSAJD®eveolyon the back ofyour knee
                                  (combined wilh misop?OOtol), PENNSAID                                   Step 4. Repeat steps 2 and 3 for the other knee if needed.
                                  Topical Solution                                                     1s After you use PENNSAID® Topi!:lll Solution:
        Oiftwusal                 Dolobid                                                                 Doaot
        Etodolac                  Lodu,e, LodincXL
 .,     Fenoprofen
        Flurbirofen
                                  Nalfon, Na!foo200
                                  Ansaid
                                                                                                            cover your knee with clothing until your knee is completely
                                                                                                                 dry
        Ibuprofen                 Motrio, Tab-Profca, Vioopro(en• (combined                                    put sunscreen, insect repellant, lotion, moisturizer, cosmet-
                                  with hyd.rocodonc). Combu.nox,.,.
                                  (combined wilh oxycodooe)
                                                                                                       20         ics, or othCE topical medicines on your knee until it is
        llldo01elhacin            lndocio. 1;,~inSR, lodo-Lcmmoo "'•                                              completely dry
                                  lndomcthog,.o""                                                              take a shower or a balh for at least 30 minutes after you put
        l<eloprofco               OruvajJ                                                                         PENNSATD® Topical Solution on your knee(s).
        Kctorola.c                Toradol
        MefenamieAcid             Ponstcl
                                                                                                               use heating pads or apply bandages to the skin where you
        Mefox.icam                Mobic                                                                25         have applied PENNSATD® Topical Solution.
        Nallumetone               Rel&feo                                                                      expose your skin to sunlight or artificial light (tanning
        Naproxen                  Naprosyo,AJUprox,AMj)roxDS, EC·Naproxyn,                                        booths) where you have put PENNSAID® Topical Solu-
                                  Nap,ela,,, Naprspac (copawgcd wilh !Ansopm:ole)                                 tion.
        Oxaproijn                 Daypro
        Pirox.ieam                FeldClle                                                                  How should X store PENNSAID® Topica l Solution?:
        Sulinc!ac                 Clinoril                                                             JO      Store PENNSAlD®TopicaJ Solution between 59° F. to 86°
        Tolmetin                  Tolccw,, Tolectin OS, Tolcctin600                                               F. (15° C. to 30° C.).
        •Vi,collfOfU!I w,ttiM I.be ume do«4fibupf'oft.5tt:6Ytf-tbt-toueta(OTC) NSA.ID. l.ilid it-
                                                                                                            Keep PENNSAID® Topical Solutionand all mcdicini;s out of
        usualtyu\Cd r« kw. tb-.n 10 day, to ttta1 J»lo. 1bt arc NSAID f•bc.l warm I.bat l003 tl:'"rm        the reach of children.                                   ·
        contirruoui Uk: m11y increase: tbc risk o(bcut t !Uc:k or 10"~
                                                                                                               All patents, publications, scientific articles, web sites, and
        This Medication Guide bas been approved by the U.S. Food 1s                                         other documents and materials referenced or mentioned
        and Drug Administration.                                                                            herein are indicative of the levels ofskill ofthose skilled in the
        Revised: Month Year                                                                                 art to which the invention pertains, and each such referenced
                                                                                                            document and material is hereby incorporated by reference to
                                Patien_t Instructions for Use                                               lhe same extent as if it had been incorporated by reference in
                                                                                                       40   its entirety individually or set forth herein in its entirety.
                                    PENNSAID (peu/sed]                                                      Applicants reserve the right to physically incorporate into thls
                                                                                                            specification any and all materials aod information from any
                                      (diclofenac sodium)                                                   such patents, publications, scientific articles, web sites, elec-
=.1
                                                                                                            tronically available iafonnation, and other referenced mate-
..~1,                                    Topical Solution                                              45   rials or documents.
  ;-,                                                                                                          The written description portion of this J)lltent includes all
:J      Your doctor has prescribed PENN SAID® Topical Solution to                                           claims. Furthermore, all claims, including all original claims
.-.     treat yonr pain from osteoarthritis in your knee(s) and help                                        as well as all claims from any and all priority documents, are
        you manage your daily activities better.                                                            hereby incorporated by reference in their entirety into the
        Before you use PENNSAID® Topical Solution:                      so                                  written description portion of the specification, and Appli-
           Apply PENNSAID® Topical Solution exactly as your doc-                                            cants reserve the right to physically incorporate into the writ-
              tor tells you . Do not apply PENNSAID® Topical Solu-                                          ten description or any other portion ofthe application, any and
              tion anywhere on your body other than where your doc-                                         all such claims. Thus, for example, under no circumstances
              tor tells you.                                                                                may the patent be interpreted as allegedly not providing a
           Apply PENNSAID® Topical Solution on dean, dry skin 55                                            writtendcscriptionforaclaimontheassertionthattheprecise
              that does not have any cuts, infections or rashes.                                            wording of the claim is not set forth in haec verba in written
           Use PENNSAID® Topical Solution 4 times each day on                                               description portion of the patent.
              your knee(s).                                                                                    The claims will be interpreted according to law. However,
           Do not get PENNSAID® Topical Solution in your eyes,                                              and notwithstanding the alleged or perceived ease or diffi-
              nos~ or mouth. Ooly use PENNSAJD® Topical Solutiou 60                                         culty of interpreting any claim or portion thereof,_under no
              on your skin (topical use). If- you get PENNSAID®                                             circumstances may any adjustment or ameadment of a claim
              Topical Solution in your eyes, rinse your eyes right away                                     or any portion thereofduring prosecution ofthe application or
              with water or saline. Call your doctor if your eyes are                                       applications leading to this patent be int_ef"P.rcted as.having
              irritated for more than ooe hour.                                                             forteited any right 10 any and all equivalems !hereof that do
        Steps for using PBNNSAID® Topical Solution:                     65                                  not form a part of the prior art .
        Step 1. WashyourhandswithsoapandwateC'beforeandafter                                                   All of the features disclosed in this specification may be
           applying PENNSAID® Topical Solution.                                                             combined in any combination. Thus, unless expressly stated




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                                                                                                                                                                        HZNPENN_00000250
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                                      81                                                                     82
       otherwise, eacb feature disclosed is only .in example of a           specifically to any individual member or any subgroup of
       generic series of equivalent or similar features.                    members of the Markusb group.
           It is to be understood that while the invention bas been            Other nonlimiting embodiments are within the following
       described in conjunction with the detailed description               claims. The patent may not be interpreted io be limited to the
       thereof, the foregoing description is intended to illustrate and 5 specific examples or nonlim.iting embodiments or methods
       not limit the scope of the invention, which is defined by the        specifically and/or expressly disclosed herein. Under no cir-
       scope of the appended claims. Thus, from the foregoing, it           cumstances may the patent Ix: interpreted to be limited by any
       will be appreciated lhat, although specific nonlimiting              statement made by any Examiner or any other official or
       embodiments of the invention have been described herein for          employee of tbe Patent and Trademark Office u.nless such
       the purpose of illustration, various modifications may be 10 statement is specifically and without qualification or reserva-
       made wilhout deviating from the spirit and scope ofthe inven-        tion expressly adopted in a responsive writing by Applicants.
       tion. Other aspects, advantages, and modifications are within            What is claimed is:
       the scope of the following claims and the present invention is          1. A method for applying topical agents to a knee of a
       not limited except as by the appended claims.                        patient with pain, said method comprising:
           Toe specific methods and compositions described herein 15           applying a first medication consisting of a topical
       are representative of preferred nonlimiting embodiments and                 diclofenac preparation to an area of the knee of said
       are exemplary and not intended as limitations on the scope of                patient to treat osteoarthritis of the knee of said patient,
       the invention. Other objects, aspects, and embodiments will                 wherein the topical diclofenac preparation comprises a
       occur to those skilled in the art upon consideration of this                therapeutically effective amount of diclofenac and
       specification, and are encompassed within the spirit of the 20              40-50% w/w dimethyl sulfoxide;
       invention as defined by the scope of the claims. It will be              waiting for the treated area to dry; and
       readily apparent to one skilled in the art that varying substi-          subsequently applying a second medication consisting ofa
       tutions and modifications may be made to rhe invention dis-                  topical medication, which is other than said first medi-
       closed herein without departing from the scope and spirit of                cation and is selected from the group consisting of an
       the invention. The invention illustratively described herein 25              NSAJD, tretinoin, minoxidil, a corticosteroid, to said
       suitably may be practiced in the absence of any element or                   treated area after said treated area is dry, wherein said
       elements, or limitation or limitations, which is not specifi-                subsequent application occurs during a course of treat-
       cally disclosed herein as essential. Thus, for example, in each              ment of said patient with said topical diclofenac prepa-
       instanc-e herein, in noolimiting embodimen1s or examples of                  ration.
       the present invention, the terms "comprising", "including", 30           2. The method according to claim 1, wherein said
       "containing", etc. are to be read expansively and without            diclofenac preparation comprises about 45.5% w/w dimethyl
        limitation. The methods and processes illustratively                sulfoxidc.
       described herein suitably may be practiced i'n differing orders          3. The method according to claim 1, wherein said thera-
       of steps, and that they are not necessarily restricted to the        peutically effective amount of diclofenac is 1.5% w/w
       orders of steps indicated herein or in th.e claims.               35 diclofenac sodium.
            The te.rms and expressions that have been employed are              4 . The method according to claim 1, wherein said
        used as terms ofdescription and not of limitation, and there is     diclofenac preparation further comprises ethanol, propylene
        no intent in the use of such terms and expressions to exclude        glycol, glycerine, and water.
        any equivalent of the features shown and described or por-              5. The method according to claim 1, wherein said thera-
        tions 1hereof, but it is recognized that various modifications 40 peutically effective amouat of diclofenac comprises a phar-
        are possible within the scope of the invenlion as claimed.           maceutically acceptable sah of diclofenac selected from a
        Thus, it will be understood that ah hough the present invention . sodium salt, a potassium salt, a diethylamine salt, or an epo-
        has been specifically disclosed by various nonlimiting               lamine salt.
        embodiments and/or preferred nonlimiting embodiments and                 6. The method according to claim 1, wherein said step of
        optional features, any and all modifications and variations of 45 subsequently applying comprises subsequently applying said
        the concepts herein disclosed tbat may be re$orted to by those       second medication, which is an NSAID.
        skilled in the art are considered to be within the scope of this         7. The method according to claim 6, wherein said topical
        invention as defined by the appended claims.                         medication other than said first medication comprises a medi-
            The invention bas been described broadly and generically         cal compound or composition in an amount sufficient to
        herein. Each of the narrower species and subgeneric group- 50 induce a desired biological, pharmaceutical, or therapeutic
        ings falling within the generic disclosure also form part of the     result, wherein the result relates to alleviation of a sign, a
         invention. This includes the generic description of the inven-      symptom, or a cause of a disease or disorder or condition, or
        tion with a proviso or negative limitation removing any sub-         any other desired alteration of a biological system.
        ject maiter from the genus, regardless of whether or not the             8. The method according to claim 1, wherein the topical
 .'!    excised mate.rial is specifically recited herein.                S5 medication other than said first medication is tretinoin.
=j          It is also to be unde~tood that as used herein and in the            9. Toe method according to claim 5, wherein said thera-
=='j    appended claims, the singular forms "a," "an," and "the"             peutically effective amount of diclofenac comprises
         include plural reference unless the context clearly dictates        diclofenac sodium.
        otherwise, the term "X and/or Y'' means ''X" or "Y" or both              10. The method according to claim 1, wherein the topical
        "X" and "Y", and the letter "s" following a noun designates 60 medication other than said first medication is minoxidil.
         both the plural and singular forms of that noun. In addi'tion,          11. The method according to claim 1, wherein the topical
        whe.re features or aspects of tbe invention are described in          medication other than said first medication is a corticosteroid.
         terms of Markush groups. it is intended. and those skilied in          ,12, A method for applying topical agents to a knee of a
         the arl will recognize, that the inwntion embraces and is also       patient with pain, said lll"tuoo cornprismg:
         thereby described in terms of any individual member and any 6S          applying a first medication consisting of a topical
        subgroup of members of lhe Markush group, and applicants                    diclofenac preparation to an area of the knee of said
         reserve the right to revise the application or claims to refer              patient to treat osteoarthritis of the knee of said patient,




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                                                          US 8,217,078 Bl
                                   83                                                                 84
           wherein the topical diclofcnac preparation comprises a            patient to treat osteoarthritis oftbe knee of said patient,
           therapeutically effective amount of diclofcnac and                wherein the topical diclofenac preparation comprises a
           40-50% w/w dimethyl sulfoxide;                                    therapeutically effective amouot of diclofeoac and
        waiting for the treated area to dry; and                             40-50% w/w dimethyl sulfoxide;
        subsequently applying.a second medication consisting of a s       waiting for the treated area.to dry; and
           topical medication, which is other tba.o said first medi-      subsequently applying a second medication consisting o f a
           cation and comprises an NSAID, to said treated area               topical medication, wbicb is other than said first m.:di-
           after srud treated area is dry, wherein srud subsequent           cation and comprises a corticosteroid, to said treated
           application occurs during a course of treatment of srud           area after said treated area is dry, wherein said subse-
           patient with said topical diclofeoac preparation.         10      quent application occurs during a coUise of treatment of
         13. The method according to claim 12, wherein said thera-           S&d patient with said topical diclofcnac preparation.
      peutically effective amount of diclofenac is 1.5% w/w                15. The method according to claim 14, wherein said thera·
      dielofenac sodium.                                                peutically effective amount of diclofenac is 1.5% w/w
         14. A method for applying topical agents to a knee of a        diclofenac sodium.
      patient with pain, said method comprising:                     1s
        applying a first medication consistin.g of a topical
·,·
,.         diclofenac preparation to an area of the knee of said                                • • * • •




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                   Addendum 7

                U.S. Patent No. 8,252,838

                       A120-A150
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          UNITED STATES DEPARTMENT OF COMMERCE
              United States Patent and Trademark Orfice

                                                May 19, 2015

THIS IS TO CERTIFY THAT ANNEXED HERETO IS A TRUE COPY FROM
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U.S. PATENT: 8,252,838
ISSUE DATE: August 28, 2012




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                   Under Secretary of Commerce for Intellectual Property
                   and Director of the United States Patent and Trademark Office


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                                                 M. TARVER
                                                Certifying Officer


                                                                         Defendants'
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                                            APPX120
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c12)   United States Patent                                                                                 (JO)   Patent No.:     US 8,252,838 B2
       Kisak et al.                                                                                         (45)   Date of Patent:     Aug. 28, 2012

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                                     DICLOFENAC TOPICAL FORMVLATION                                  been shown to be effec!Jve m chronic OA treatment See
                                                                                                     Towheed, Joumal ofR.heumatology 33.3 567-573 (2006) and
                                             CROSS-REFERENCES TO RELATED                             also Oregon Evidence Based Practice Center enutled ··com-
                                                     APPLICATIONS                                    parative Safety and Effectiveness of Analgesics for Ostcoar-
                                                                                                s    thnns", AHRQ Pub. No 06-EHC09-EF. Tlus particular com-
                               Tws application claims priority to U S. Provisional Appli-            position 1s referred to hen:m as ..comparative liquid
                           cation No 60/829,756, filed Oct. 17, 2006, the teachings of               fonnulat1on" or "comparative" in the Examples section.
                           whlch are mcorporaled herein hy reference in 1ts entirety for             However, the compositions of these prior inventions have
                           all purposes.                                                             drawbacks in that they are slow to dry and runny. They also
                                                                                                10   require frequent dosing ofthree to four t=es a day to achieve
                                                  FIELD OF TI-IE INVENTION                           efficacy m OA, which increases exposure to potential skin
                                                                                                     irntants and in.creases the risk. o f ~ imlation
                             The present invention relates generally to compositions                    In general, the failure of topical NSAIDs to fulfill the1r
                           and methods for treating osteoarthntis                                    promise in OA may be due in part to the difficulty associated
                                                                                                1s   withdehveringamoleculethroughtheslcinmsufficientquan-
                                            BACKGROUND OF THE INVENTION                              tities to exert a therapeutic effect and in a manner that makes
                                                                                                     the treatment itself tolerable It is generally believed that
                              I Osteoarthritis                                                       clinical efficacy in OA requires absorption ofthe active ingre•
                              Osteoarthritis (OA) 1s a chronic joint disease cbaractenzed            client and its penetration in sufficient quantities into underly-
                           by progreS6ive degeneration of articular cartilage. Symptoms         20   ing inflamed tissues including the synovmm and synovial
                           include jomt pam and impeired movement. OA is one of the                  fluid of;oiots. See Rosenstein, Topical agents in the treatment
                           leading causes of disability worldwide and a major financial              of rheumatic <hsorders, Rheum. Dis C/m North Am • 25:
                           burden to healthcare systems It is estimated to affect over IS            899-918 (1999)
                           million adults in the United States alone. See Bah L E.                       However, the skin is a significant barrier to drug perme-
                           Osteoarthritis. In· DtPiro J. T, Talbert R. L , Yee G. C , et al ,   25   ation, and despite neatly four decades of extensive research,
                           editors. Pharmacatherapy- a pathophys1ological approach.                  the success oftransdermal drug delivery in general rematos
                           4th ed. Norwalk (CT)· Appleton & Lange, pp 1441-59                        fairly limited with only a small number oftransdermal drug
                           (1999).                                                                   products commercially available.
                              Oral non-steroidal anti-inflammatory drugs (NSAIDs) are                    In connection with topical dosage forms applied to the
                           a mainstay in the management ofOA They have analges,c,               )o   skin, a number of interactions can occur including vehicle-
                           anti-mflammatory and antipyretic effects and are useful in                skin, vehicle-drug, and drug-skin Each can affect the release
                           reducing pain and mflammatlon. NSAJDS are however asso-                   ofan active agent from a topical dosage form (Roberts, M S.
                           ciated witb senous potenhal side effects includ.wg nausea,                Structure-permeab1hty consuicrations in percutaneous
                           vomiting, peptic ulcer disease, Gl haemorrhage, and cardio-               absorpbon. InPred1ct1on ofPercutaneous Penerrotwn, ed. by
                           vascular events                                                      35   R. C. Scott et al, vol. 2, pp 210-228, IBCTechmcal Services.
                              Topical NSAJDs offer the possibility of achleving local                London, 199 l ). Thus various factors can affect absorption
                           therapeutJ<: benefit while reducing or eliminating the risk of            rates and penetration depth includmg the active ingn,d1ent,
                           systern,c side effects There bas been widespread interest in              the vehicle, the pH, and the relative solub1hty oftbe active m
                           this approach lo treating OA, but data m support of the effi·             the vehicle versus the slan (Ostrenga J. et al. Significance of
                           cacy oftop,cal NSAIDs in the treatment ofOA is linntcd. For          •o   vehicle composition I: relationship between topical vehicle
                           mstance, a study of 13 rando=zed placebo controlled trials                composition, skin penetrabihty, and chrucal efficacy, Journal
                           (RCT's)ofvenous topical NSA!Ds tested specifically for use                of Phannaceut,cal Sc:ences, 60: 1175-1179 (1971)) More
                           m the rreallllent ofOA concluded that they were nol generally             spec1fically, drug attributes such as solub1hty, size and charge,
                           efficacious for chronic use in OA (Lm et al , Efficacy of                 as well as, vehicle attributes such as the drugdissolullon rate,



   ,
                           top1cal non-steroidal anti-mflammatory drug., in the treat-          45   spreading-ability, adhesion, and ability lo alter membrane
    t                      ment of osteoarthritis: meta-analysis of randomized con-                  permeability can have significant effects on penneabtlity.
    f                      trolled tnals, BMJ, d01.IO.l l36/bmj.38159.639028.7C                          There is significam variability observed from seemingly
                           (2004)).                                                                  minor variation• In formulations For instance, Naito demon-
                              There are generally three outcomes used lo measure the                  strates significant variab1li1y in penetration among topical
                           efficacy of an OA treatment: palll, physical function, and a         so   NSAID formulations s:unply by changmg the gelling agent
    ~                      patient global assessment. See Bellamy N , Kirwan J , Boers               used in the compositions (Naito et al, Pen:utaneous absorp-
                           M , Brooks P., Suand V., Tugwell P, el al Recommendations                 tion ofd1clofenac sodium ointment, Int. Jour. ofPharmaceu-
                           for a core set ofoutcome meesures for future phase lllchnical             t1cs, 24. 115-124 (1985)). Smularly, Ho noted significant
                           truils m knee, hip and hand osteoarthritis. Consensus devel-              variab1hty in penetration by changing the proportions ofalco-
                           opment at OMERACT Ill ,JRheumau,J. 24:799-802 (1997).                ss   bol, propylene glycol, and water (Ho et al , The influence of
                           To be suitable for chrome use, a therapy must generally show               cosolvents on lhe m-v1tro percutaneous peneuation of
                           efficacy on these three variables over a sustamed period of                d1clofenac sodium from a gel system, J Ph arm Pharmacol,
                           llme. In !be U.S. for instance, the Food and Drug Admirus-                 46 636-642 (J 994)) ]t was noted that the changes affected
                           tration (FDA) requires OA therapies ro show superionty over                three distmct variables: (1) the solubility of th.e drug m the
                           placebo over a 12 week penod Notwithstanding the signifi-            50    vehicle, (ii) the partition coefficient. and (iii) effects on alter•
                            cant potential fortop1cal NSAJDs in the treatment ofOA, as                ahon of slcin slrncture
                            of the time offilmg this apphcalJon, none have been approved                 Ho ct al (1994) also noted that(,) the pH ofthe vehicle, (11)
                            for ~uch treatment in the U S                                             the dm![ solubihty. and (iii) the v,scosiry of a !lCl matrix c,in
                               U .S !'at. Nu, 4,575,515 an<l 4,652,557 tl1s<-lu•" Lup1cJI             mlluencc pcnelr.lllun Jrom .i gd do,Jgc Jonn I h~ pl I v.,Juc
                            NSAJD compos1bons, one of which, consistmg of I 5%                  65    affects the balance between 10ruzed and non-ioruzed forms of
                            diclofenac sodium, 45.5% d,methylsulphoxide, l l .79%etha-                the drug, which have different penetration properties (Obata,
                            nol, J1 2% propylene glycol, 11.2% glycenne, and water, has               International Joun,a/ of Pharmaceullcs, 89: 191-198




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th<: sel malnx and teleas-= oft.be drug (ruin th<: vehicle uilo the       None of the previous references disclose the compositions
skin The solubJ1ty of the drug in the vehicle will affect the           of the invention or their use u>. the neatmcut of OA Ralb.cr,
partition coeffieient of the drug between the fonnulauon and            these refu<'.nces highlight tbe sign.iticant unmet need with
the rec1p,ent membraneltts.sue (Ho et al. 1994).                     > respect to topical OA treatments for chrome use aod the
     Cbem.ical pecetration enhaocers are one means for revers-         complexity    oftnmsdennal transport in general, where sign.ifi-
ibly lowermg the skin barrtt:r 0th.,,- methods ,ncllxlc 10.nto-        cant variability m permeation is observed by cbanging com•
phoresis, ullnlsound, ele<.'1roporatiou, b~-..t, and micmn-            position element• or their relauve proport1011s.
eedles At least 250 cheauc.,ls have been identified as                    Jn light of the foregoing, there is a considerable need for
eoharu:ers that can increase skin penneab1lity Geueral cot- 10 itnpnwement in the development ofa topical NSAlD suitable
eg<me$ include pyrrolidones, fatty acids, esters and aleohols,         for long telJil use ID the treulrru:nt ofOA. The challenge ha,
sulfox1des, C$Soential oils, lerpe,,es, oxazold.i.oes. surfactants,    been to develop an optu:nal formulation which will deliver the
                                                                       actl\,e agent to the \lllde:rlyjog tissue in sufficient concentra.-
polyols, a:rone aod derivatives, and epjde.rmal e02.ymc,,.
     Toe mechanisms by which penelration eul1ancer.; reduce            tion   to treat OA on a long t = basis, while reducing or
                                                                    15 mintmi7.ing the incidence of1ntolerahle skin imtation caused
the skin bamer function are not well understood (see W1ll-             by d.isrupuog rhe skt.n bcmer and while providing a formula-
iains and Barry "Penetra11on Enhancers» Advanced Drug
                                                                       tion and dmRge that leads to and encour3ges patient compli-
~I/wry Rsvftnvs 56: 603-618 (2004)) although it has been               ance. The present 1nvcn1;on satisfies these and otber need9
propased lb.at th& mecbaniSDlS can be grouped iuto three
broad categories: bpid dis.rupbon, increasing corueocyte per- 20                 BRIEF SUMMARY OF THE JNVENTJON
uic,,bility, and proinoting partttioning of 1he drug into the
tj:;.:tue.                                                                The pre,;ent invention overcotll~ the disadvantages oftbe
     The challenge w,th use of chemical penetration enhancers          prior art by pmvichng d1clofen.ae sodium gel formulattons for
is that few see,n to mduce a s1gruflcant or therapeutic                the treatmeut of osteoarthritis that display a better drying
enhancement of drug transport at tolerable levels This is 2, time, higher viscosity, UJ<:reascd transdermal llux, and greater
because the act of d.,scuptl.QI! the skin barrier will have the        phannaco.kmetic absorption m v,vo when cotnpared to pre-
potential of causing skin im~tion. With increased d,sruphon.           v1ow;ly descnbo:d composttinns. Furthermore, 1hc preferred
s)cjn imt.ation will become a gTedter issue ·nus is pnrticulorly       d1clofenac sodm.m 11,el formulations of the present UlVtmtion
problematic with top1c.il OA treatments where the !!.081 is 10         pro-.,dc other 3dvantages includmg favorable stability at six
have ihe "etive penetn,tc wto J0I.Ot tissue and whe.re tbe drug )O (6) months as reflect<:d Ul the lack ofuny ,ubstaullal ch.dngc•
must be uulizcd oa a long-term basis due to lhe narure of the          in viscosity, the absence of phase separation and crystalliui-
disease. Tbe inventor.a have developed methods and compo-              tinn at low temperatures, and a low level ofimpunues. More-
                                                                       over, the present gel formulations atlhere well to the skin,
sitions that dehver more ac1tve ingrcdieat ~-r unit dose than
                                                                       spread c:,,s1ly, dry quicker. and sbo"' greater I.I\ vivo absorp-
previmlKly known compositions, and th,s would be expected ,
                                                                    3 tion in oompansoo to previously described composihons.
to lead to a lower inc,denee of skin 11Titatton.                       Thus, the gel fmmulalions of the present invenc1on provide
    Th" oomposit.ioo& of the uwenhnn u,w: dtclofcoae sodium            supenor meaus for dehvcry of diclofen.ac sodium through the
which•~ a commonly used NSA lD Diclc.fenac has four d1f•               slon for tbe 1re.1tmen1 of osteoarthnti$, as compared to prcvi-
ferent salts that show significant vonab1hty u>. the degree of         muly descnbed formulations.
permeation in solutions using different solvents Minghcni, 40             As such, in one embodnnent, the preseot invention pro-
for instaDce, teaches that a <1.tclofenac salt with an o,w,ruc         vides a gel fonnulahon coinprising. consi•llng csscntia Uy of,
base is best tor topical appli<;aUon6 (Mmgbeni ct al , Ex vivo         or consisting of
study of trandermal penue~tion of four diclofcrn,c salts from             (1) diclofenac sodiwn;
different veb.icl<:$, Jow: r,f Pho~m. Sci, DOI J0.1002/                   (u)DMSO;
Jps.20770 (2007)).                                                  45    (ii) ethanol;
    Olhec research pou>.ts to coic.roecnuls100 fonnulations aK a          (iii) propylene glycol;
means for delivery of dieloti!nac sodlu.a, (Kan10rci et al , In           (v) a tb.ickeniug agent,
vitro penneation of diclofepac sodium from novel micro-                   (vi) opho.nally glycerol; and
emulsion formulations 1hrous)J rabb,r skin, Dn,g Develop-                 (vii)wat~
ment R,w,:ard,, 65 17-25 (2005), and Sarigullu I et al., Trans- so        ln another embodiment, the present mvention provides a
d<:nlUII delivery of didofcnac wdium tnrougb r.,t skm fmm              method of lteallng osteoartbnns in a subject suffimng from
various formulanon.s, APS Phann Sc, Tech, 7(4) At11cle 8S,             artu,ular pal.D, the metho<l comprismg the top1cal adtrurustl""·
61-E7 (2006))                                                          tion to an affllctc<l Joint an:a of a subJtx:t a tbcrapeuhcally
    Other topical diclofeuac couipositions arc disclosed ,n a          effective amount of a gel formulation con1prising, coo.si~ ting
number of patents i.rleluding US Pat. No. 4,543,251 , lJ S .s~ essentially of, or cons,~ing of:
PM, l'lo 4,670,2~4, US. P~I No 5,374,661, IJ.S, Pat. No                   (1) dt~lof~na~ stidium,
5,738,869, U .S P,,t. No. 6,3!>'),093 and US Pat No 6,004,                (1i)DMSO,
566 United States Patent Application No. 20050)58348                      (1i) etbanol,
point, out that vanous solvent.& are widely used for gel ptcpa-           (111) propyl<.:nc glycol,
rarioo.s, but ootes tbat they are hmited m patenual due to sklo 60        (v) a thlclceu1ng agent;
trrita1ion. Thi& reference al~o nntc:.s that gel composnions Me           (v1) opt1oruilly glycerol; and
associated with fast terminatiou of action os Ille active pre-            (v1) water,
cipitntes from solu11e>n m the llJ>per ~km lnycr~ hm11inj!. nnh -      thereby 1rcating oxl<..·nrtrthntu:
mJ'lanun..1tory J.ClJOll 1n deeper u,..,ue.:..   n,,~ gds oJ t~ pl~sent   ,\ J-urthcr enlbo<l1m4,:nt prov1dt>b lnr Lhc 11:,.l.! ul c.l1clt1 lenac
mveotion are designed to aecornphsh the opposite, namely 65 sodium m the preparalion of a mcd1camcnt for the trc,itmenl
prolonged action and aoti-1nfbrnmatory action in the deeper of pain, lhe medicament cornpris111g a gel fomiulaliou c-ocn-
tissues                                                     pris10g, cons1st1og esiaentially of, or consisting of·




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.,

                                                                           US 8,252,838 B2
          !
                                                 5                                                                            6
          t      (i) diclofcnac sodium;                                                          "Ihe.se and other objects, crubodimcnts, and advantages
          i      (n)DMSO;                                                                      will become more apparent when read with tb1: ligun.-s and
          '      (ii) etha.nol;                                                                detailed description which follow.


      l          (iu) propylent< glycol;
                 (v) a thickening agent;
                 (vi) optionally glycerol; and
                                                                                        s             BRlcl:' DESCRlPTION OF THE ORAWINGS




      I
                 (vli) wo·tcr                                                                      FIG. I sbowsa bar graph offtuxrnte ofHF,C and PVP gels.
                 In yet a furthtt a11bodi me:nl.1he present invention provides                 Fr:-a.nz diffusion cells were dosed at 15 ing per Franz ecll
              a gel formulation comprising, consi•ting essentially of, or                          FIG 2 shows e bar g.raph of tlu,c rate of gels made with
              consisting of: a diclofenac sodium solutiOJl and at leost on.e           JO      CrubopoJ 9gJ and Ultrez JO Franz ctiffuSJon gels were dosed
              thickening agent, which can be selected from cellulose poly-                     with 200 µ] pee Franz cell
      fI      mer, a carl>o.mcr polymer, a c11roome.- derivntive, o ccllulo:;c
              derivative, polyvinyl alcohol, poloxamer.i, polysacchandc.,,
                                                                                                   FIG 3 show• a bar graph of flux rate of carbopOl 971 and
                                                                                               carbopol 981 gels. Franz diffusion cells were dosed at 50 µI
              8Dd mixtures tbereof.                                                        s   per cell.



     II
                                                                                       1
                 1n an aspect of this embodiment, lh.e d1clofenac sodium                           FIG 4 shows a bar graph of .Rux rate of various gels and a
              solution oomprises, coos,sls essentially of, or consists of:                     compa.rauve liquid formul11t1on. Franz ..-ells wc,e dosed at 10
                 (i) chclofenoo sodium;                                                        rng per Fra= cell.
                 (ii)DMSO;                                                                         PIO. 5 showsa bar-g,aph illustrating tbeeffe<:t ofthe ptl of
                 (ii) <:tba.Dol;                                                       20      various gels and a comparative liquid lfonnulation o.o. flux
                 (iii) propylene glycol;                                                       rate. Franz diffusion c,:lls were dosed at 7 mg per eell.
·1               (iv) optionally glycerol; and                                                     FIG. 6 shows a bar graph of flux rate:i ofvarious gel• Franz
                 (v)water.                                                                     cells were dosed al 7 mg per Franz cell.




     I
                 1n ao aspect of the ~hove embodiments, the thickening                             FIO. 7 show• a bar-graph of flu,c rates of various dJclofenac
              1tgeots cam be selected from cellulose polyme.rs, carbomer               2s      fonnulatJo.o.s. The comparative hqu.id foxni.ulatton (I 5%
              polymers, a cacbomer der1vat1Ve, n cellulose derivative, poly-                   diclofe.oae sodnun) wa~ dosed at 20 mg per Frn.o.z e,,11,
              vinyl alcobol, poloxame.rs, polysaccbandes, aud m.ixnues                         Solareze® (a commerr.,ally av..ilable 3% diclofene.e &odium
              thezcof.                                                                         gel) was do$ed at 1 O mg per Fr:mz cell, and a formulatioo of
                 Io an aspect of the ,obove gel embod1meors, d1clofeoac                        the invt::ntioa, F 14/2, was dosed at 15 mg per !'ram: cliffullon
              sodlum ,s pte1ent at J -5% wlw, such as 1, 2, 3 , 4, or 5% w/w,          30      cell. At this doswg, all cells WE<re do~cd with equivalent
     f        DMS01spreseotat30-60%w/w,cthllnol1sprcsentat J-50%                               amounts of diclofenac sodium
              w/w; propylene glycol is prt<Se.ut al 1-15% w/w, glyceml 1s                          FIG. 8 shows a bar graph of flux rata in multidosing
              P""'""t at 0-15% w/w, a thickerung agent is present su~h that                    cxpcrimeots The comparative hquid fommlation wa.s dosed
              the e.o d viscosity of the gel is betwee.o. JO and 50000 cen1i-                  at 0.9 mg per Franz cell at 0, 4, 8, and I 2 hrs. A fonnulallon
     f.       p0ise, and walcc i.s added 10 make J 00% w/w. Io other aspects,          JS      of the invention, 1'14/2, was dosed a1 1.5 mg per Fraa.z cell at
              glycerol i9 present al 0-4% w/w. ln further aspects, no glyc-                    Oand6hn
              erol i& prei;eot.                                                                    FIG. 9 shows a bar gtaphofflux rates ofvarious diclofenac
                 1n another a•peet of the above embodiments, dklofew,c                         formulat,ons Fra02 cells were dosed at 20 mg per cell
              sodium 1s present at 2% w/w, OMSO is pres<.-nt at 45 5% w/w,                         FIG. 10 sbows a bar graph of data ou d1clofeoac flux rates
              etha.ool fa prcsc:ntet2..1-29%wlw,propylene glycolis present             4Q      ft:o.m gels discl~d in Beboota et al. aoo gels of this 1DVen-
              at 10-12% w/w; hydrox:ypropykellulo..: (HYl 19) 1s present                       llon Fnwz cells were dosed at 4 mg per cell
              at 0-6% w/w; glycerol is present at 0-4%, a.ad water is ackk:d                       FIG ll shows the drying profile <.>ver time of three gel
              to make I 00% w/w In other a~pects, tbr.r-e is oo glycerol w lhe                 fonnulat1ons Mod ooe liquid formulation of diclofenae
              gel fonnul,at,o.o. Ju further aspects, the end viscosity of the gel              sodium.
              1s 500-5000 centipoise.                                                              PIO. l 2 shows !he LD vivo steady state plasma eonce.otra-
                 A feature of the above gel formulallon• is tbat when such                     tions of diclofcnac sodium aftc, adouoistrntioa of either "
              fonnulaoons are applied to the sic.in, the drying rate is quicker                liqu,d or gel formulation.
              and transdennal flux is bigbe, than previously described com-
              positions, •ucb as those in US Pat. Nos 4,575,515 and                                DETAILED DESCRJPTION OF TI!E INVENTION
              4,652,557. Additioo.al features of the prcfcrre<l fonnulauon s           so
              include decre,osed degradation of d.iclofeoec solliuru, which                        DcfLD.iuons
              degrades by less than 0.04% over the course of 6 months and                                                    usoo
                                                                                                    The tenn ''transdexmal" is        herein lo gcnc:,all)' include
              a pH of 6.0-J O 0, for cxumph: around pH 9.0.                                     a process that occurs through the skin. The terms "transder-
                 In certain erobodiments, the gel fonnuletions oftbc 10v<.-o-                   !ll.a)" and "percutaneous" are used mtercbang.,..bly through-
              tion comprise l-5% glycerol, whe.rein tbe gel formulation                      ss out this specification.
              when apphed w the skin has a drying rate and troosdermal                              The ten:o "topical fonnulatioo.'' 1s used herein to generally
              flux greater r.ban a comparative liquid formulation ln some                       include a formulation that can be applied 10 skin or a mucosa
              aspects, the dzyi.og rate results i.n a residue ofat most 50% of                  Topiesl formulations may, for example, be u~ed to confer
              a starting amount 111\er 24 hours and tbe tronsdermol           nux
                                                                               ,s               d1enipeu1ic benefit to a poticol ur c:osmetn; hc:ncfits to a con-
              I 5 or more greater than " compar,rtive liquid fonnulatlon as                  «> sumer. 'ropice.l fonuulatioas can be used for boU, topical uod
              determined by Franz cell procedure at fioite or inflllite dosing                  trallSdermal admim•tration of substa.nces
              or botb                                                                               "!be term "topical adminisu-ation" i~ used hcrcin to gener-
                 In oilier embndiments the ~el fonn11IAt1ons ~nd methods of                     olly include the dehvery of a suhstance ,n1eh ns" therape11ti-
              1hear ui:.e pruvtdc d r...:<lu... t1ol\ ol pdjn uvc::r J2 ""eek~ -.,..Jicn lhc    cally acuvo, "t:.""', tu th" skuwr a Jo~alJL<XI regiunol th" bv<ly
              formulations are applied topically lo vanous a~pects, the gel 65                      The term ··transdennal administration" is \1$ed herein tc,
              formulations are applied twice daily aod the pain can be due                      gent<rally include adm i.i:uslration through the skll\. Traasder-
              to osteoarthnt,s.                                                                 mal administration 1s oO.,n applied where systemic delivery




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                                                              US 8,252,838 B2
                                     7                                                                            8
     of ao active 1s desu-ed, although it may also be useful for                or I.'OJxturcs tlu,reQf Ju certwn embodiments, the al.kanol is
     delrvering an active to tissues underlying lhe skm w,th uuni-              J>resent i,t about 1 to about 50% w/w. l'refer.ibly, ethanol is
     mal systeinic absorption.                                                  used at about J-50%w/w, such as I, 5, JO, IS, 20, 2.S, 30,35,
        1be te.nn "penetrat;on enhc1ncer,. is used ht=reUl to gc..."ncr-        40, 45, oc SO% w/w, and all fractions ,n between.
     a)Jy ,nc)u<lo, an agent that improves lhe transport ofmolecules        s      In urtain embodl.lXleots, the present invent100 includes a
     such as OJ> active agent (cg. a m.,dic111e) 11110 or through the           polyhydnc alcohol, such a• a glycol. Suitable glycols incluclc
     skin. Vanous oooditions may 0<.-cur at diffCJ"ent sites in the             ethylene glycol, propylene glycol, butylene glycol, dJp,ropy-
     body dtber in the skin or below th.e skin creating a need 10               leoe glycol, bexaoetnol and a combination thereof. Prefer·
     largt:t delivery of compounds For example, J.U ~ treatment for
                                                                                ably, p.tuJ>ylene s]yco] is u•edat about at 1-15% w/w, sucha.s
     osteoaitbritis, the delivery of the active agent into relatively      10
                                                                                l, 2, :l, 4, 5, 6, 7, K, 9, 10, l I, 12, 13, 14, or 15% w/w, and all
     <W<.'P underlyiog jomt tissu" may he oecc,;so,y to ~chieve
                                                                                :fractions in betwccu
     lhcrapeuhc benefit. Thus, a "penetration enhance,.. may be
     u.sed to assist in the delivery of an active ageot ilircctly to the           ln certam embodiments, the present mvenbon includes
     5kin or underlying hssu" or iowrcctly to the site of thedisea$e            glycerol (also referred to herem as glycerine) at a concent,a-
     throllgla-ystcmicdntribution A pcuetra!lon .:nhancer may be           IS
                                                                                uou ofQ.J2% w/w Pn:fenibly, glycerol is used al 0-4% w/w,
     a rare substance or may compns<l a mixcure of different                    sucb as 0, 1, 2, 3, or 4% w/w, and all :fractions ID between ln
     chemical cotitii:s.                                                        some embod,ments, no glycerol ,s used u, the formulol>On.
        The tenu-fioitedosing" is us.:d herein to generally iaclude                1 n a preferred e01bodunc::at, the p~~t iovention prov,dcs
     an appliconon of o limited reservoir of an act,ve agent. Tbe               a fonnulation comprismg a rliclofeoac solution and ~t least
     reservoir of the oct,ve ogcnt ,s depleted with tune J~djog to a       20   OD<: thickeniug agent to make a gel. To.:: at least one thicken-
     tapenng off of the aenve absorption rate after a maxJJDuxn                 ing agent of the prcseut i1IVcotion may he ao acrylic polymer
     absorption rote is reached                                                 (for ex;u:nple, Carhopol polymer.<, Noveon polycarbophils
        1be tenn "inftnite dosing" is used herein to generally                  and Pemulen polymeric emulsifiers 3V8ilable commer,cially
     include an application of" large reservoir ofao »ct1ve agenl               from No,•con Inc. of CJevelaot!, Ohio), an acrylic polymer
     1be reservoir is not siS,QJfieantly d~ple1erl with ll!De, thcrehy     ,,   derivatwc, a cellulose polymer, a cellolose polymer deriva-
     providing a long term, contu1uous ste:idy st"\" of achve                   hve, polyvh,yl elcobol, poloxamers, polysacehandes or mix-
     ab$orption.                                                                tures thereof Pref~rably the at le.,SI one thickening agent ,s
        As used herein, thetenn "comparative hquid fonnation" or                hydroxypropykcllulose (HPC) used such that the end viscos·
     "comparauve" refers to 3 formulabon such as that described                 1ty is betw.,.,n 10aod50(J00centipoise(cps). Morepreferahly
     tn U .S. l>;,t Nns. 4,575,5 J 5 and 4,6!>2,557 cooS1>la<K<>f I 5%     )0   the cod viscosity is between 500 and 20000 cps
     diclofenac 110dium. 4:S.5% dimethylsulfox1de, 11.79°/., etba·                 The prcsenl gel formulaoon may optionally include at least
     nol, 11 2% propylene glycol, I 1.2% glycerine, :ind water                  one antioxidant and/or ooe chelatmg agent.
     JI. Ucl Fonnul a lions                                                        Prcferrc<l :intmxidanls for use 1n the present irrvenllon may
        J. Companents of the Gel Formulations                                   be selected from the group consisting of butylated bydroxy-
        1n order to provide a diclofenac sodium g~I fonnul1>l1on           35   10Jue11e (Bffl), butylaterl hydroxynOJsole (OHA), ascorbyl
     having improved properties ol drymg time, increased trans-                 hnoleate, ascorbyl d,palmitJtte, ascorbyl tocopherol malcatt!.
     dermal flux and greater pharm3coki0P-he absorption in vivo,                calcium ai;corbate, caro1enoids, koJ 1c acid, thioglycol,c actrl,
     b,gber visc:os1ty, good adherence to the skin, «nd ready                   tocophet't.,I, tocopherol   ttCC~tc~   1ocophereth-S, tocophercth--
     spre.adabtlity, while maintairuo~ suib1hty over time, the                12, tocopberetb·l8, tocophereth-80, and mixtures thereof
     111venton have discovered thAt u surpnsingly ad11w1tageous            40   Preferred chelattag agents may be se)ech,d frorn the group
     combio.atioo of the followlll~ componcuts can be used Lil lbc            consistiog of etbylenedfominetetr.iocetic acid (EDTA), diam-
     preparation of the gel compositions of the presen.t iJJvenbon.           OlOlUttrn ill>TA, dipotassium EDTA, calcium d1sodium
        Toe J'<e$e:Qt i.nventt<in prov,d.es ge'I formulations eompris-        EDTA, HEPTA, TE.A-EDTA, tetrasodium EDTA, tnpotas-
     mg an active agent, pNfcrably a ooo-stcro1dal Mh-inffanJJno-             sium ED"IA, lrlsodium phosphate, d,aru.01oruum citrate,
     loty wug or phanna~eohcDlly acceptable salts thereof More             4S galaclaric acid. galac:turonic :icid, glucouic ac1d, p,lucuronic
     preferably, the non-steroidal anti-lDflanunatory is d1clofenac,          acid, humic acid, cyclodextri.D., potassium c,ttate, potaS$iWXI
     whkh can exist in a vanety of salt forms, inclodjng sodiu01,             EDTMP, so<huru cttratc, sodium EDTMP, and ll:l.ixtureS
     potassium, and diethylaml.De form.s In a preferred embodi-                 thereof
     ment, the sochum salt of diclofenac is used Dielofenae                       ln addition, the topical fonnulatioos oftbe present inven-
     sodium may be pie$Col m a range of app.roxi.tnately 0.1 % to          .so uon can also comprise a pH adjusl.Ulg agent. !none panicul3r
     10%, such as l, 2, 3, 4, or 5%..,./w Useofthesod,um salrhas                etnbodmicot, the pH ad;usting 3gent ts a base Sui1able pf!
     been lcnowo to cre.ite" cballenge wJth respect 10 siabi.hty or             adjusting bases mcludc b1carbo011tes, carbonate.s, and
     an aqueous gel in that higher salt cooceoballons can cause a               hydroxJ<k-~ such as alkuli or allcalme eMth metal hydroxide a•
     breakdown ,n the &t'I m~tnx through interaction with certain               well as tnms1tion wetal hydroxides. Altemutivdy, lhe pH
     Chickening agents.                                                    .J5 adJusttng agcnr can also be an acid.. an acid saJt, or mixtures
        ln another croboclimcot, the: present iu~ention mcludcs a        thereof Further. the pH ad_ru,tmg agent can also be a buffe.-
     penetration enhancer The pt:nelration enhancer may be dim-          Suitable buffer.; include e1tralc/cit.m: acid buffer.., acetat<:/
     ethyl »ulfox ><.le ("OMSO..) or derivatives thereof TI,e DMSO       acetic acid buffers, pho•p.bnte/rhosrhoi·1c: acid buffe~. for-·
     may be prese11t in an amount by W<."lght of J % to 70%, and         mate/fonwc oc,d buffers, propionate/propioruc acid buffers,
     m()re pteft;.tah)y, between 25'% and 60¾,, such as 25, 30, 40,   dO lactate/lacllc acid buffers, carbouatc/c:vbowc acid h11ffc,~.
     45, SO, S.5, or 60% w/w Prcfembly, DMSO ,s used 10 the              aznm01lium/ammonia buffel"s, and the hke The pH adjt>Stin.g
     presoont invention at a concentration ofHbout 40 to about SO%       agent is present        in"''
                                                                                                amount suffic,cnt to adjust the pH of the
     w/w such as 41. 42, 4'\ 44 45. 46 47 48. 49 Md 50% and all          ,.: omposition t<> betw~n nbout pH 4 0 t<> nh<>nt JOO more
     traction.~ m bc\wc-cJ1::i.u<.J1..1~~~.44 5.4$,45 5,4<>,46 5%,and    prelerably .11.>outpU 7 .0 lt>dboot!i 5 Jncetl~u1.:mlxxl11ue,11s,
     thehlce                                                          ~) the unac\j usted pH of the admixed compoocots is between 8
        1n ci:t\ein embodunents, Ole preseflt inve011on 111clode$ a      ~nd 10, such as 9, without rhe need for the addition ofaoy pH
     lower alkanol, such as metbauol, ethanol, propanol, butanol         adJusting agents




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                                     9                                                                                 10
    2. ChMacterisr1cs of the Gel Fon:nulation                                      less lb.a.ti l % over the coun;e of 6 monlhs at room temperature.
    a) Transdennal Flux                                                            Mon: preferably, lbe rate of degract..tion is less \ban O 9, 0.8,
    As shown below in the Examples, the present invention                          0.7, O 6, OS, 0.4, 0.3,02, uT l<:.S$lb..n01%, nr,d all fraa,ons
provides cilclofeosc sodium gel fonnulatJoos that display sur•                     in between, over the course of 6 mool.bs at room tempcmture.
 prisingly eftecuve rates of tra.nsdermal llux when compared                     5    d) Drying Time
 to previously described formulauoo.s.                                                Rel3tive to previ.ov.sly disclosed compoaitions, auch as
    Accordingly, in one embodiment, the present gel formub-                        those in U.S. P11t Nos 4,575,515 and 4,652,557 (tenned
 rit>ocomprisec a nt>n-steroidal anti-inffai:nmatory and at le-dsl                 herein as "comparative liquid forxnulatiop" or •·compara-
onc lh,ckening agent IID<I having a flux, •• Jctennux.-d by a                      live"}, the cowpositlon.s of lbe wvention dry quicker wlule
finite dose Franz cell procedure, equal to or greater than the                  10 aelllevingh.igher transdeomal ftux of true drug. It i• surpn•mg
 ffux of a comparative liquid fonnulatioo. Preferably, the flux                    that big.her flux rate :ind quicker dtying can be achii,vcd
is g,ea1er than the flux of the oompannive liquid formulation                      together as skin hydration 15 known to .i.ocrea.se transdennal
 More preterably, the flux is at least l 5 times greater than the
ftuxof1he comparatr,e liquidformulaboo. lnotherworos, the                          flux or penetration The d?ymg of the &l<.1ll caused by rapid
ntiu of: (i) the flux of tbe gel foanulatioo C>Otnpnsing the                    lS evaporation would telld to reduce th.etrawdermal 1Ta.nspor1 of
non-neroldal an1i-10tlammotory ..ad at least one fbiclo.-"ning                     drug remaining on the skin, The dJyu:ig tune Jrlforence is
age.ur to (jj) the ftux of th" cos,,parativc liquid formuJ.,tion i•                evident when equal amounts of the TWO products are te.,ted on
 pref.,..,.bly g,eatertl,...o J O, and more prefer.ably at Jeasr about             opposite linib,i. Within thirty (30) m.,nutes the compos1Hons
 ) .5.                                                                             of the i.nvCJl.tion are almost completely dry whereas a signifi-
    Ina fiut~embodiment, thepn,scntiovcntion further pro-                       20 CM! :.mount oflhe previously Jescnbcd liquid fonnulation
 vidcs a d.iclofenac sodium gel fonoulation compn,ting a                           remains.
d1clofen,,c solu11on and at least one lbickerun.g agent and                           To compare the drying times more quantilauvcly, s,de-by·
 having H fiux os detenn.ined by the 11.o.Jtc Fnmzcell procedure                   sjde comparisons were conducted. To accoropl.i6h thi•, the
at !C11st ,:qutvalenl to the flux.of the diclofeuoc solubon alono,.                inventors .rne,,rored the residual weight of fonnlllati0ll$ by
 Preferably, the diclofenac sodium gel formulation has" flux                    25 placing equal amounts (100 mg)ofa prior art formulation "ad
that i• at Icast 2 0 tunes greater compared to tbe flux of the                     compositions ofche uwe.nlion in wdghing d.,,ibes over l 0 cm2
diclofenac sodJUfll soluuon alone, More preferably. the                            area$ aaJ weiglung lhe amount remainiag over time. Us,ng
 present invention prov;des e diclofcna.c sodiu,n gel fo.nnula-                    this methodology, a difference i» immediately noticeable, ood
tionb,rv,ng a flux that i• at least 4.0 times greater compared to                  becomesdr,nnaucally differcot by 4 hours (Table 11 and FlG
 the flux of the djcJofcr.13c: sochurn solution alOJ\e. In other                JO   10).
 words, the reuo of. (1) the l!ux of the diclofenac: sodmm gel                          e) P'hannacokineti1;1;
formubtion to (ji) the fiux of the dic)ofenac sodium solution                           A comparison of the absorpuon of Jiclofe,.,,c sodiwn of
i• at le11s1 about 1.0, preferably at last about 2 O, mnrc pref·                     compositions oflhe iuvwtioo and a cowparableco.oiposition
erably at least about 4.0.                                                           from US. Pat. Nos. 4,515,515 and 4,652,557 was cooducted
    1n a yet further embodiment, the present invention provides                 3S in anunals The gels of the invcnllou wecc shown to hove
a diclofenac sodium gel formulation compnsu:ig diclofcnac                           improved ab«>rJ'ho.n on a per dose b83ts than lhc comparative
socilum. and at JCMst one Ch.ickcoiag ggeDI end bavmg a flux 11,                    Jjqu1J eomposiuons of tbese patents. 1n absolute tern1s, the
detc,,nined by lhc multiple finite dosiug Franxce)I procedure                       clinical dose of the gels oflhe wventJondclivered a maximum
(dosing at 2.5 mg/cm2 at O and 6 hours) of at least 0.1 11g/hrl                     observed plasma c:onceo1muoo (Cm0 , ) at steady Shlte of 81
c.m2 at 24 boun, preferably at least 0.2 µgihr/cm:2 at 24 hours.                • o ng/ml and an area under the curve (AUC..   1 of 584 ng/ml. nus
    b) Viscosity                                                                    compared 10 12 ng/m.l and 106 og/ml for the comparator
    ln anoth.,,- embodiment, the present mve1>t1on provides a                       composttJOJlS.
gel formulation c<>ropri•ing a non-steroidal snh-ioflaQ).Dla·                          ·fhese result, ,p.,..._k lo the pruperuei< of the vehicle in
 tory drug (NSAID) and at least one thick.ewng agent, the gel                       delivering tbe active agent 'Ibe higher numbers for gel were
formulauon haVJog a visoosity of at least 100 cP. Prcfel"ilbly,                 4) seen even though the solution coropos11ion was dosed four (4)
the gel fonnuJat,oo has a viscosity of at least 500 cP More                         times per day (toml 5.2 ml) eomparc:J ro twiee (2) per <by
prefenbly, the gel fonnulahonba&a viscosity ofat le,,st 1000                        (total 4 0 rol) fo.r the gels.
cP. In othei- embodiment•, the viscosity 1s 5000·10,000,                            111 Preparallon of Gel F0<muletioll8
 J0,000·15,000, or 15,000-20,UOOcP.                                                    Io another embodimeJlt, the present inven11on provides 11
    In a further embodiment, the present 10vention provides o                   50 method for making go,l formulations of diclofenac sodium
diclofepae gel fonnulellon co.mpnsi1>g e dielofenae solution                        "Ibe gel fonnulatioc.s of the present Ul1te1>tion 'Ire preferably
and at least one thicke11ing agent, rbe gel formulation having                      made by canying oul lhc follnwing steps: (i) dispersing the
a viscosrty of around 1000 cP end a flux of at least 0.2                            thickener, derivative thereof and/or mixture tliereof in diro-
µg/cm21brasdetermined by the multtple finite dose Franz eel!                        e1byl sulfoxide and stimng for 1 hour; (11) dJ3Solving
procedure (2.5 mg/cm" ar 0 and 6 hours) at 24 holll$.                           55 diclofCDBC sodium in au ,rqueous alcohol millture (e.s., ""
    c) Stabjlity                                                                    ethanol/water mixture), (hi) dispersing propylc,ic 2,lycol and
    The s1ab1lity of a drug product compositlon can bnve a                          glycerol 10to the NSAJD solution from (il), and (1v) miiung
sig.01ficao1 impact on the Jmgtb and oost of drug develop-                          the resulting NSAJO solutJOn into the thickener/d,melhyl
ment, the nature of the stud.I~ requ r.ced to support n ..-gulalt'lly               sulfo,ude blend and slim.D.g for l llou1 at ambient tempen,·
submission•, and the ultitnale s.ifcty and appn,vab1hty.                        GO rure. Alternatively, the gd formulations of the present ioven-
    It 1s 1mportan1 for instance to rrunirruze the amount of                        uon may be mpde by carrying out lite follow,ng steps· (i)
irnpunties or degradation products that fonn over time due to                       disoolvwg the NSAID (cg., diclofcwoc sodium) i.uao alcohol
intCTa,:t,ons belwccn the va,ivus iu~t<=<.lienrs in n compo.,.                      sol\ltioo ofDMSO (e g an ethnnolld,methyl sulfoxide mix·
tJUJl lh1s c ..u1 b~ p ,u LlcuJorJy 11llpurtc.U1l 111 co111p:>!'!1tmn~ th.J I        tur~J, (Ji) Ws11e:~rs1ng the Llm:J...em:r, dcnV4'11\'c: th.er~vf u.nd/or
arc designed t<J 1ncrees1?: slon penn..ability               ~, m,xture the.reof,n a solution ofwater/propylene glycol/glyc-
   ·mus, 1.tl some embodiments, the presenr .i uH:ution pro-    Cf01 and stir-ring for 1 hour; (ui) niixing lhe NSAIO solulion
vidc.~ a diclofenac sodium gel formulation that degrades by     fml'll (i) into the tb,ckencc b lend from (1i) and stml.llg fot I




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                                                                 DTX001.020                                                                     HZNPENN_00000020



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                                                                      US 8,252,838 B2
                                       11                                                                                        12
hour at ambient temperature Heating can also be used during                                                           TABLE I -eontinued
these auxing processes to help facilitate the gel formation
    Diclofenac sodium may be present in a range of approxi•
mateJy 0.1% to 10% w/w, such as 0.5, l.O, I 5, 2.0, 2.5, 3.0.                             Abbr         Chem1ta.l            FW       So=           Vend0r#     CAS
3 5, 4 0, 5.0, 60, 7.0, 8 0, and9 0% wlw.                                            5
IV Methods of Use                                                                         CIU'b!->74   CAl"bope>l 974                Noveoo        Carbc,poJ   9003·01-'I
                                                                                                                                                   974
    Compositions of the invenhon are particularly suited for                              Carb981      Carl>opol 981                 Noveo.n       Cubopol     9003-01-'I
use in treating osteoarthritis tOA) chronically They may also                                                                                      981
be u~eful for the treatment of other chronic joint diseases                               Ca.rl>IJ42   Carl>opol                     Novoon        Carl>opol   9003--01--4
charactenzed by joint pain, degeneration of articular cam-                           JO                1)42                                        1342
                                                                                          D1clo        D1clofcna.c           318.I   LMJoch,m                  15307-79-6
!age, impatred movement, and stifli:tess Suitable Joints                                               Sodmm
include the knee, elbow, hand, wrist and !up.                                             DMSO         Dimethyl               78 1 Oaylcn!         EM-2951     67-68-5
     Due to the proper11es of higher flux and grr.,te:r in vivo                                        S'\tlfoXJde
abso,ptioo, it is believed that the formulations oftbe present                                         (USP)
                                                                                     15   EDTA         01sod111.m                    VWR           MKIJ9S04 6381-92-6
J.Qvenhon can beadm.inist~ at lower dosing than prevtausly                                             EthyJCJIC•
descnbed formulations. In particular, it is expected that the                                          d1&mUIC-
compositions of the invention can be used at twice a day                                               <etn.ac«&le
dosing or once a day dosing 1n the treatment of OA. This                                               O.hydtatc
                                                                                          EtOH         Ethanol                46 1 Spcctnm         OIOIS       64-17-5
 would represent a signjficant improvement as lower dosing is                                          (USP)
 as50Ciated with better J>8!1eot cOl'llpliance, au imponant factor                   20 Gly            Glyc.nn                92 l Proctor&;       SllperolY S6·Sl-5
 m treatmg chronic conditions.                                                                         flJSP)                      Gamble
     Suitableamounls per admuustration will generally depend                              Gwu          Ciua.r g\lm                    Sp~c:tnun    Gll>44      9000-JO-O
                                                                                          HEC          Hydroxy-                       Hctcule:.    Na.trasol   90CH·6:?-0
 on the size of the joint, which vanes per individual and per                                          ethyl                                       2SOM
Joint, however a suitable amount may range from 0.5 µI/cm"                                             oe-llutose .
 to 4 0 µl/cm2 • Prefenibly the amount ranges from 2 0 to 3.0                        25                N&tnLsol
 µ1/cm'.                                                                                               250M
                                                                                          !IPMC        Hydro-.y.                      Dow          Mclhocel    9004-65- 3
     Compositions of the present 1nvent1on may, if desired, be                                         propyl                         Chem.1t.ll   134M
 presented in a bonle or jar or other contamer approved by the                                         methyl
 FDA, wlucb may coatam one or more uwt dosage forms                                                    ccllulote
                                                                                     JO HY117          H)dmt..·            95.000     Specl.J\&m   HYJl7       9004-64 -2
 containing the active 1Dgredient The pack or dispenser may
                                                                                                       propyl
 also be accomparued by a notice associated with the conta1Der                                         ceJlulo$C
 io. a form prescnbed by a governmental :igency regulating the                            HYll9        Hydffl,-           370,000     Spe<UWTI     HY119       9004-64-2
 manufacture, use or sale of pharmaceuticals, winch notice                                             propyl
 indicates approval by the agency of the form of the composi-                                          c ellulose
                                                                                          L<,cu        Loewt~                         Spcc,,wn     LllJS       9000-40--2
 lions for human or veterinary administration Such notice, for                       JS
                                                                                                        gum
 example, may be oflabehng approved by the U.S. Food and                                  PcgJOO        roly(cthylellC      -300      SpeCtt\lm    P0108        25322•68--3
 DrugAdmmistratJon for prescriphon drugs, orofan apJ>roved                                              &)ycot) JOO
 product insert. Compositions compnsing a preparation ofthe                                             (USP)
                                                                                          PG            Propyh:uc              76 I 0 -                        57-55·6
  invention formulated 1n a compatible pharmaceutical earner                                           Glycol (USP)                 ChcoucaJ
 may also be prepared, placed man appropriate contamer, and                          40 PVA            Po!yvwyl                441 S,gma.          81386        9002-89-5
  labeled for treatment of an mdtcated condition                                                       alcohol
     The following examples are offered to illustrate, but not to                          PVJ'        Polyv.nyl          360,000     Sigma        Sl440        9003-39--R
                                                                                                        pyrrobdono
  lillllt, the claimed 11:rvention                                                         P407         Pohi::am.er 407               Spectrum     Pll25        9003· 11-6
                                                                                           UltrezlO     Vlue:z I 0                    Novcon       UltrczlO     900)-01--4
                                 EXAMPLES                                            45


                                   Ex.ample 1                                          Toe general m.etbodology for prcparnllon of each example
                                                                                    provided ,s as follows, unless otherwise mdicated
                          Materials and Methods
                                                                                       Final weight for each formulation was 25 g prepared m
                                                                                 50
    Table 1 proV!des a list of the matenals used Ill the examples
                                                                                    50-mL     glass vials. Vortexing or magnetic sl!r bars were used
 provjded below:                                                                    to mix the gels.
                                                                                       Viscosity was measured at 22° C using Brookfidd DV-lll
                                TABLE I                                             Ultra, programmable Rheometer with LV Spindle #31 at 10
                                                                                 55 rpm. For stab1hty testing, gels "ere stored at ambient tem-
                                    aterials
                                                                                    J)Crature or in an incubator at 50° C Oiscolorauon or changes
 Abbr         Che.mica.I        FW      Sou.rec:      Vendor# CAS                   m appearance includmg phase separation over time were
                                                                                    evaluated
 BHA          Butylatorl       180 24 Stgm.o          B1253        25013-l~S
              hydro•y-                                                           60    The concentration ofthe DMSO was consisteot ma II oflhe
              =I•                                                                   experiments (45 5% w/w) Propylene glycol was at either I I
 BHT          Butyla.10d      220 36 Spc<:trum BHI 10-07 128-37-0
              hyds-mc.y-                                                            or l l 2% w/w Ethanol concentration vaned from I l % 10
              toluene-                                                              30% w/w Gl}cerol concentrattons were van~d frllm O lo
 \ nt--,1.;,1 r ,•N,p,1l;J41•           '-t ' ~ 1.lJ, < ,rt'! p,,I ',110}- ·l·-l     11 2 1~0 WI\\ l hi::: c..111.;luil.:n..e(,. )VJnun 1..-u11(....;uu,n11.JJ.l \.\. , 1:, dl
                                                      940
 Carb97I      Corbopol 971              Novo::,r,     Carl>opol    900l..Ol--4 65 either 1.5% (w/w) or 2% (w/w) Water was adjusted to com·
                                                      971                           pensate for the amount of inactives, thlckerung agents, and
                                                                                    d1clofcnac sodium present tn solution.




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                                                                  DTX001.021                                                                          HZNPENN_00000021


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                                                                           US 8,252,838 B2
                                                  13                                                                      14
                     Franz diffusion cell experiments were used to analyze         file, the gels are yellowish m color and are susceptible to
                  diclofenac sodium fiUl( rates of varying gel formulations        phase separation over extended periods of storage. Table 2
                  across a substrate membcane. Franz diffusion cells are a com-    shows the composillons ofthese formulations, and the result-
                  mon and well known method for measuring trnnsdermal flux         ing flux values of these compos.it,ons as compared w i th a
                  rates. The general Franz cell procedure is described in Franz, 5 comparative liquid formulation are shown in FIG. 1.
                  T. J ., Percutaneous absorption: on tbe relevance of in VJ.lro      PVP thickening agents: PVP was added at up lo 8% w /v
                  data. J /m,est Derm, 64· 190-195 (1975). The following was       after all other components of the comparative liquid base
                  the methodology used in the present Examples.                    formulation were mixed. PVP gels are clear in nature, but
                     Franz cells with a 3 ml receptor well volume were used in     suffer from an undesirable tacky feel when drying Table 2
                  conjunction with sphtthicknesscadaverslcm(0 OIS"-0.018", 10 and FIG. 1 shows the composition and ffux data for this gel. In
                  AlloSource). The donor well hBd en area of-0.5 cm2 Recep-        this example, Franz diflusion cells were dosed at 15 mg per
                  tor wells were filled with isotonic phosphate buffered saline    Franz cell. As can be seen in FIG. 1, PVP gels performed
                  (PBS) doped with O OJ% sodium azide The flanges of the           reasonably well, but their undesirable aesthetic qualities do
                  Franz cells were coated with vacuum grease to ensure a
                                                                                   not make them ideal for a commercial embodiment.
                  complete seal and were clamped togethe,with uniform pres- 15
                  sure using a pinch clamp (SS 1118 VWR 80073-350) After
                  Fram cells were assembled, the skm was allowed to pre-                                        TABLE2
                  hydrate for 45 minutes with PBS PBS was then removed and             Compon~ ofliEC and PVP geJs. used to gcP:eratc tbe flWI r&te data
                  an appropriate amount of formulation is added to the skin                                   shown 1n FIG. 1.
                  Dosing levels varied from 2 mg/cm2 (considered finite dose)
                  to 200 mg/cml (considered infinite dose) The donor well was io                                        Fonnula!J.011 ~
                  then capped to prevenl evaporation. Receptor wells of the
                                                                                                                                                     Com-
                  Fram cells wexe maintained a, 37° C (temperature on lhe                               Hoclb     Hec..2b     PVl'lb    Pl'54      pantbvc
                  surface of the skin is -3 l ° C ) m a stirring dry block with    Percentages lo      ww,,,% wt/wt%                   wt/wt% wt/ wt%
                  continual agitatton via a stir bar Samples were drawn from                                                 ""'"" %
                  the receptor wells at varying time points Measurements were 2S Watu                   18 81      18 81       18 81    18.31        1881
                                                                                   Du:nethyl Sulfoxule  45 5      •S  5        4S S     45 5         45 5
                  made in six-fold replicates. The concentration of diclofenac     Propy!CDC glycol     ll 2       II 2                 II 2
                                                                                                                               11 2                  112
                  in the samples was analyzed using high performance liquid        EthaDol              I 1.19     11 79       I J.79   11.79        II 79
                  chromatography. The invenllve formulations performed bet-        Glycez-me            11 2       II 2        II 2     11.2         II 2
                  ter than the comparator at the hmits of finite dosrng-firute     D1clofeaac Sod&wn      LS        IS           IS      2            I 5
                  dosing being a much benerpredictor of the performance of a JO Thlck.enu                HEC       HEC          PVP    Cubopol       oonc
                   formulation rn an m vivo s1tuahon as opposed to infinite                                                              971
                                                                                   wlvol % t.lucb:ne.r    I.I       I3           8        I
                  dosing.                                                          added to soluhon

                        A) Gel Formulations Derived from a Comparative
                                    Liquid Base Solution                                  Carbopol thickening agents Carl,opol gels were fanned
                                                                                       by· (l) d1spe1"Sing an acrylic polymer into a mixture of water,
                                              Example2
                                                                                       glycerol, and propylene glycol followed by stirring for I hour,
                          Gel Formulations Using Vanous Thic).:eners in a              (2) preparing a second solution of l 5% diclofenac sodium
                          Comparative Liquid Fonnulallon Base Solution                 dissolved in ethanol and DMSO, (3) rotxing the diclofenac
                                                                                    40 solution into the carbopol phase Ao alternate method for
                      Initially, several thiclceners incluwng carbomer:;, polyvinyl    formmg carbopol gels is as follows (l) dispet"Sing the car-
                   pyrrohdone, locust gum, cellulose polymers and polyvinyl            bopol into dimethyl sulfoxide and stimng, for I hour; (2)
                   alcohol were tested for their effectiveness at forming a            dissolving diclofenac sodium in an ethanol/water/propylene
                   dtclofenac sodium gel using the comparative liquid formula-
                   tion as a base solution I.a the gel formulat10ns of this 45
                   Example, a compamtive hquid formulation solution was pro-
                                                                                           ~%:~~:~:~)    ~xid~::::!1~:::.~;:::~:t:i~:~~~
                                                                                       mer/dimethyl sulfoxide blend, aud stirring for l hour at ambi-
                   duced and a thickener was then added directly to this base. In
                   order to facihlate the u,corporahon of the thickener, soruca-       ent temperature. These methods of m;,.ing can be camed out
                   tion and heatmg (at 60" C.), along with vigorous vortex,ngl         at room temperature, or elevated temperature 1fdesued. Vary-
                   homogemzation were performed.                                    so ing carbopols were used to malce gels including: Carbopol
                      Some thickeners, specifically guar gwn, locust bean gum,         1342, 941,971, 981, 974 and Ultrez 10 (Noveon, Inc.). All
                   me thocel (HPMC), polyvinyl alcohol, and poloxamer 407              carbopol gels were clear, proved Slable to bolh freeze-thaw
                   faded to form stable ge!J. Inpart1cular, immediate separation,      cycling and incubation at elevated temperature (50° C) for
                   inefficient thickenmg, and insolubility of the thickeners was       one month, and had good flow characteristics. Tables 2, 3, and
                   noted. Gels were fa.med that showed im\Jal stab1hty wllh
                                                                                    55 4 show the composition of these g els, and FIGS 1, :Z, and 3
                   several cellulose polymers includmg hydm,cyethyl cellulose          sbowtheir relative ftux.Astable and clear gel could be formed
                   (Natrosol HID{) aod hydroxypropylcellulose (HY119)                  al carbopol concentrations of->O 3% w/w when making gels
                   Other tluckenen that showed an 1wtially stable gel were PVP,        wrth 1.5% w/w diclofenac sodium. For gels with 2% w/w
                   and acrylic polymer thickeners The specifics of gel formu-          diclofenac sodium, - >-0 9"/4 w/w carbopol was needed to
                   lation foe each thiclcener are provided below:                      make a stable gel. The exact amount of carbopol needed to
                      HEC thickening agents A lower weight molecularweigbl 60 from a gel depended on the type of carbopol used
                   hydroxyethyl cellulose (sp,:cifically Hydroxyelhyl Cellulose
                   (HEC) Type 250 M Pharm (Natrosol®)) v. as dispersed Ill lhe             For the formulations of Table 3, F,anz diffusjon gels were
                   ,n,-,m,re of <hmcthyl snlfox,clc. pmpyknc ttlycol. glvccnnc         dosed with 200 ul per Frnnz cell Carbopol gels uniformly
                   ancl water and dllowed Lo swell Jor about I hour. D1cl0Jenuc        showed incr~abcd llu"X.rale!) O\.Cr Lhe co1111.M1-auv~ fonuulalll)ll
                   sodium was dissolved in ethanol and added to the HEC/ 6S (see FIG :Z). Trucker gels (i.c gels with higher w eight percent
                   solvent blend to obtain a final formulation. Allhougb HEC           carbopols) tended to have less flux than a composition with a
                   gels form relatively easily and demonstrate a good flux pro-        lower we,ght percentage of the same carbopol.


'
1--------------eo=-_p_y_p_ro_v"'id"'ed---,-,b-y-u=s"'P"'T"'Oc-:-t,-o-m---,t'"he-:P:-:l-::R"'S,..l,..mag--e--=o=-a""'t-a""b_a_s_e_o_n_,,,05"'t1=s"'12"0"'1'"'5,-------------------

                                                                          DTX001.022                                                           HZNPENN_00000022


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                                                                                            US 8,252,838 B2
                                                             15                                                                                     16
                                                                       TABLE3
                                      Compo11e:ists of g,:I; mAdit 11. ~rh ~atbopoJ 981 &fld lfltTc2 IO used to geocrue
                                                             tbC flwt pte data s)low.11 m f'IO 2



                                                                                     ..
                                                                                YopnuletJOD na,ne

                                                 P'UA       fUB       l'UC       ~            P98lb         P981c         Compa.rot&vc
                      Puccwaau,                ""'wt'~ 'Mlwt% -.'tlwt%          wtfwt%       wtl'Wt¾      wtfwt%            wVv.1.%

                      War.r                      1881      )881      1881        UBI          1111         18 81             18 81
                      Dm"t:thy~ S'Ulfo,mle       4S.S      45 S      45.S        4S s         4S.5         45 5              4S S
                       l'roJl7lenc Rl)'COI       11.2      11 2      II 2        II 2         11 2         ll 2              11 2
                       Etbt.nol                  11 79     ll.79     1179        I I 79       11 79        II 19             11 79
                       Otyceru,c                 11 2      11 2      112         11 2         11 2         11.2              ll 2
                       Dlc)ufbnac Sod,um          I 5        u        ls           t .S         J 5         ls                ls
                       TI»ck.eo,;,              vi=        Uhtt:2    Ultre2     C,,,b 9SI    C,,.,b981    C"1b9Rl             none
                       w/vol % thlci.mt.r         0.90       l 0)     116            90         I 06        122
                       ..Jdcd to :t0h.1t,QA



                           Antioxidants and chelating agents can also be added to the                            nol, 10-12% propylene glycol, 10 -4% glycerine, 2"/4
                       carbopol, HEC, or PVP gels The add1tion of EDTA to car· 20 diclofenac sodmm, tbic\cener and water added to 100% w/w
                       bopol gets by ,tsclfleads to a shghtlycloudy gel. BHA gels
                       turned color with incuba11ou at higher temperarure The mix-                                  Several thickeners were tested in lhls o,:w base solution A
                       ture of BHT and EDJ:A to carbopol geJs did not show any                                   number of these thickeners faded to fonn swble gels; 1u
                       d1S<.-oloration and remained clear For lhe formulations of B pa.mcular, carbopol gels rlid nOI rema,n stable. How<.-ver,
                       Table 4, Franz diffiJS1on ccHs were dosed at 50 µl per cell.                              cellulose gels were uniformly effective at fonrung gels. The
                                                                                                                 most aestllet1cally pleas10g of these Keis was formed with
                       FTG. 3 shows fluit .rates fmm these gels. Additions of chelat-
                                                                                                                 bydroxypropylcellulose (HYll7, HY119, HYl21), These
                       ing ag1;:11ts and pr~servatives bad oo effect ou flux rotes.
                                                                                                                 gels spread easrly, were urufonn "'ru>1ure, <iriedqU1ckly, aud
                                                                                                              JO demonstrated good flow chomctenstics.
                                                          TABLE4
                                C.ompo.ceote cf g~l!t m""4e w,th e&l'bopo) 911 aod t.a.rbopol 98l                   Hydroxypropylcellulose gels were formed by mixing all
                       _ _ _ _o..,clJ uacd 10 pc.ner.te tbe ftux nte d.at.a S:ho\li.'11 tn flQ 3                 the constituent parts and then adding the thickener at the end
                                               ______.F<>,....rm,.u..i.,...,io..,g_,rlfll'S.,..------ 3$ followt:d by ~e,i,ition. The gel can also be form"'1 by d1spers-
                                                                                                                 ing the hydroxyprapylcellulose iJl the aqueous pbase pnor to
                                                                                              Cotnpan.t,v..::
                                                   PPS1          l'PS2          PP'$l              2%
                                                                                                                 solvent addition Heat can be used to facilitate gel formation.
                       Pcr«m.a,scs io            wt/wt%        wt/wt%         wtfwt•fJ          v.'t/_t,e        Ilyd,oxypropylccllulose gels were clear and flowed easily.
                       W•tcr                          qs           qs              q~             18 JI
                                                                                                                 11,cy n<rnain stable for at least six months demoostr<1ung: no
                                                                                                              40
                        Dim•t.byl Sulfo,udc:       4S $         4S 5           4$-'              45 $            phase separation, negligible slut\ I.D pH, and lo"' amounts of
                        Prol')'len• gly<ol          11 2         11 2           It 2              11 2
                                                                                                                 degradation products (<O 04%} The dalll Ul FIGS. 4-9,
                       Edw!.ol                     11.79         11 ·19         11 8              11 79
                       Oi)'conoe                    11 2         II 2           1l 2              11 2           denved frou, the formulatJons oTiabl<..-s 5-10, mdrc,otc that the
                        Dic1ofCAae Sodiwn             2            1              l                ?             byilroxypropylcellulose gel fannulsnons of d iclofenac
                        ll!IT                        01                           O.l
                                                                                                              45 sodium of the present invention also provide a IIaJlSden:n.el
                       E.!ITA                        oos                          0 0S
                       Tlocl:cncr                Carbopol Ca,t,q,ol          Cubopol              noac           llux rate that 1s as much as 4-fold higher tban a comparauve
                                                     911          ~7 1            981
                        ~ % thn:ltacr                 l            l              09
                                                                                                                 liquid formula11on.

                                                                                                           50    Studies wcre performed 10 determine the relative u-aosder-
                                               B. Cornpurahve Examples                                        mal flux of various diclofenac gel funnulatrous oftbe pre,cnt
                                                                                                              i.uvL-ntion wheo compared with a CQrnpa.rative liquid formu-
                                                         E=u•plc 3                                            fation ofU S. Pal Nos 4,575,515 and 4,652,557 (''CoJnpara-
                                                                                                           ss tivett iu Tohlcs 5-10) Acoordingly, tl,e fl':ln:t. cell procedure
                                                                                                              described above was used to compare diclofen~c flux l"!tes of
                              Comparison ofTraasdermal Flux of Vanous DMSO                                    vanous d1clofen,..,, gel formulations with comra.rattve lrquid
                               <Jel Fomiulations Versus a Comparattve Liquid                                  fonnulations.
                                                Formulation
                                                                                                           60       For the fonnulations orTabJe 5, fr.,nz cells were dosed at
                            A series of rliclofenac gd lormul•tio1rs were made wherein                 10 rng per Fraoz cdl. A llCW gel (Fl 4/2) has an olteied base
                        the base soluuon was changed from the comparative base                         solution over tl,ccornpMall~C liqurd fonnulat1ou and demon-
                        (n,rmut11il)l1 111 r.1rncu•.1r the ,, ,·1ght 11':t ...~ n l of pn1pyl...:n..:: ;11. ,t~, \J;1l h 1..••1 - 1 \lc;Pt~ , ' tll<..'"i .m<J N.•\',._1 :h . k u!(.'tJC'\ l'-iCC
                        glycol, elhonol, glycerine. w-.ster, and clr;Jofer,ac weir varied. 65 FJO 4). 1be llux rates for these gels 1s not as high a• the
                        Jo tht:s.c new formnlahons. the weight pcrceot ofthe COnsllt\l-                carbopol gels (F971), hut the <lryiog rate is suhstoouaJJy
                        ent ch:emicals was as follows: 45 5% DMSO, 2O-300/o etha-                                faster.

   I




1------------c=o=-py:-:-:p-:::ro:::v::;i,::;d:::-e-::d-;:b:-:-y~U~S;:-P;;T;,0:::-:1:".'.'ro~m=1::-h-e-:P::l-:::R:::S-:l-m_a_g'."'.e"".O;;a:::tab=-a-s_e_o_n-,o:-:S/1=s-::-120=,,..1s=----------------

                                                                                          DTX001.023                                                                   HZNPENN_00000023


                                                                                            APPX142
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                                                                                             US 8,252,838 B2
                                                   17                                                                                                   18
                                              TABLES                                                                 For the fonnulauons of Table 8, the comparative liquid
                                                                                                                  formulation (1.5% diclofeuac sodium) w .., dosed at 20 mg
            Co.tnponenb OfYatlOU8 gels and             &   compan.bYe lu1,.u d fonnulatlon                        per Franz cell. Solaraze<I) (a commeroally available 3%
                     u,ed to perate the flux tale d.a.ta. s.t,o,,wn m FlO 4                                       diclofenac sodium gel)was dosed at IO mg per Franz cell, and
                                                           Fonnulat1on oamc
                                                                                                          s       FI4/2 was dosed at 15 mg per Franz diffusion cell. At this
                                                                                                                  dosmg, all cells were dosed with equivalent amounts of
                                                        Fl4/2              F14'2                                  didofenac sodium. Fl 4/2 continued to show increased per-
                                 Comparative           gel 2.5%           8<'140%             F971                fonnance over other funnulatiom (see FIG. 7).
     Fcn::ieato.ges Ll).           "Cli't/'o¥t 0/,gt   wVwto/o            wt/,a,t%           wt/wt%
                                                                                                          10
                                                                                                                                                   TABLE&
     Water                            18.81                 12 S            12.S              1716
     Dunetbyl Sulfoxide               45.S                  4SS             4.l..5            4S S                           Compoa,m.tn ofvaJ'lous d1clofcnac fomrula.boll!!i UKd to
     Propylene g!y<,ol                11-2                  11              11                11 l                               generate the flux rate data shown m FIO. 7
     Et.banol                         11 79                 26.5            25                1179
     Gly<eline                        11 2                                                    11 2
                                                                                                          15
     Dic:lofc.a.sc Sodium               IS                   2                2                2
     'Ouc.uner                        none                 HY119                                                                            Companuvc        Solanzc®         Fl4/2 gel 2.5%
                                                                           HYl!9             Cubop0l
                                                                                                                  Perce.ntsgcs in              wr/wt%          wt/wt%            wt/wt%
                                                                                               1>"71
     ""11-at % thickener                                      2 S            4                  1 JS         Wa.tu                              18 81                               12 5
                                                                                                             Ouneth:rl Sulfoxide                45 S                                45 5

.[     For the formulations ofTable 6, Franz d1ffus1on cells were
                                                                                                          20 Propylene glycol
                                                                                                             Elhanol
                                                                                                             Glycc.nne
                                                                                                                                                112
                                                                                                                                                11.19
                                                                                                                                                11.2
                                                                                                                                                                                    11
                                                                                                                                                                                    26 5

     dosed et 7 mg per cell. Lowering the pH shows a marked                                                  DlClofcnac Sodium                   IS                                     2
     mcrease in flux rates (see FIG S).
                                                             TABLE6

                     CompoAClltl ofva.r,ous gels: and .a.compa.n.uve liqU&d formulanon. used to
                                   ~acnr.e the fJux rate data. shown t.D FIG. 5

                                                                          Formu1auon name

                                                            F1412           FJ.4/2                          Fl4n gel
                                 Cotnpantt1Ve              gel 2.5%       gel41JG.-b          F971         2S%+HCL
     Percentages UL                  wt/wto/o              wVwt%           ~"Wt:%            wt/wt%               ~wt%

     Water                             18 81                12 S            12 S              17 16               12 5
     DunetbyJ Sulfox1de                4S S                 45 5            45 5              45 5                4S 5
     Propyfenc: gly«>l                 11 2                 II              11                11 2                 II
     Ethanol                           ll 79                26 S            25                11 79                26 S
     Glyccnoo                          11 2                                                   ll.2
     D1c:Jofe.oac SOW.um                 IS                  2                                                  2
     conccntml.Cd HCL                                                                                   ••• addod to pH .5 3
     pH                                  9                    9 4)           9.61              6.77             53
     Thlckencc                          DDllC               HY119          HY!l9             CaM71            HY!l9
     wt/wt % tJacke.a~
                                                              2'            4                  I.IS             25




         For the fonnufations of Table 7, Franz cells were dosed at
      7 mg per Frenz cell. The resulting flux rates for each of these
      formulations is shown in FIG 6
                                                                          TABLE7
                           Component:, ofvanau:s gels used to gc-neratc the flux zar.c d&tasbown. 1n FlG 6

                                                                                     Fonnul&tlon name

                                  Compa.rat1ve             F1412gc:.J 2 5%            Ha.Ca.2             Ha.Ca             Fl412 gel pH S 3
      Pcscenta,gea LD                wt/wt%                                           "'1/wt%
      Water                             IS 8l
                                                              ""'"""'
                                                                 12 S                  22 3
                                                                                                         wt/wt%

                                                                                                          263
                                                                                                                                wt/wto/'o

                                                                                                                                    12.5
      Dimethyl SUl(oxu:le               4S 5                     45..5                 45 5               455                       4S.5
      Propylene gly<:<>I                11 2                     11                    II 2               112                        II
      Ethanol                           11 79                    26.5                  12                 12                        26 S
      Glycenn.c                         11 2                                            6                  2
      Dlclofennc Sodu1m                  I 5                                            2                  2                        2
      ooncentmted HCL                                                                                                     ..... added 10 pH 51
                                                                   ,,,n
      pl!
      ThLcltencr
                                          9
                                        .none                    HY119
                                                                                         Go
                                                                                  Carbopol 971
                                                                                                           6 71
                                                                                                       Carbopol 911                   "
                                                                                                                                    HYl19
      wt/wt •Ai, uudccncr                                         2.5                    I                    I                       25




                                    Coov orovided bv USPTO from the PIRS lmaqe Database on 05/1512015



                                                                                                DTX001.024
                                                                                                                                                                                  HZN PENN_00000024


                                                                                                     APPX143
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                                                                                                                                           ,   ..... ·.....
                                                                                                                                                  ~                • • ~ .•.r. ' -~·,. •




                                                                                            US 8,252,838 B2
                                                    19                                                                                                        20
                                      TABLE 8-contwued                                                             lat,cws, such HS the dicJofenac dietbyla.mJne gel forttmlatioo
                                                                                                                   described by Baboota (Baboota et ,.J., Methods I-lnd. Exp
                     Compo11e1>-tt ol variou.f d,1;Jofen ..o follnlll111to.M tc:,-ed to
                          a,cnc;11tc thi flu-x W~ Wlta,sbown. m FJG 7                                              C'-lm. />h,,rmacol, 28· 109-114 (2006)). Accordia.gly, th.e
                                                                                                             ,     Fran:,. cell procedure described above wes used to compare
                                                                                                                   flux rates of three of'the d.lclofca.oc fo.rmuLlltious dcs<:nbc<l by
                                     Comp.,n1,ve                                 FJ412 gol 2.1%                    8H boot;, with a gel vehicle of the present ioventio11. The
                                      wt/wt"                                           wt/.,.%                    dicthylamiue form of diclofenac was u,;e,d as the active agent,
                                          .....                                        HYJl9
                                                                                            H                IQ
                                                                                                                   as lbat fa the fora, used by Baboobl The exact coi:nposit1011s
                                                                                                                  oftbe formulations used in tlus study are shown in Table 11
                                                                                                                   below, Toe Baboota form11Jat1011s are labeled FYl, FY2, and
        For the fonnulatiuos of Table 9, the comparative liquid                                                   FY3, while a gel formulation us111g thevducle oftbe present
     forrnulatio11 was dosed at 0.9 mg per Fran.7. cell at 0, 4, &, and                                            invc.nt,on w,tb didofenac diethy!a.o:uru, as I.be active 1s
     12 hrs Fl4/2was dosed at 1.5mgpe;rfr.uucell at Oaud6hrs.                                                 ,   labeled Gl4/2_m. A compnratrve liquid fo=ulation was also
                                                                                                             1
     Tb~ aocumulated dose from the gel was considerably higher                                                    included in thls study (''Comparabvc"). Among the prin,,.,y
     in comparison to the comparative sohltion, proV1dmg a J S                                                    d.iffen.:nces betwe,en the compo,;1tion ofBaboota's fonnula-
     fold wcrease in flux (see FJG. 8)                                                                            tiou and !hat disclosed 10 !be presen.t mventio11 is the lugbet
                                                                                                                  DMSO co11cc0tratu,os in the presei,.t formulations (45.5%
                                               TA8Le9                                                        20   w/w versus I 0% w/w ).
                                                                                                                      As 1s apparent fmQ:1 the dat;,~hown ig FlG, 10, 1Jtlwvgh tbe
                      CompooC4\I of fo.m,a,La.uom used 1b tht muludosuig
     ----------"'"""=•,,n,,_n,t'!nt:,of.,_f ,,]Q"-'8'-----
                                                                                                                  Baboota Jormulation is also a gel, the vehicle of the p~nt
                                                                                                                  invention provides a s1gnifkantly greater flux r.ne, After 12
                                                                                                                  hours. the gel of the present mve.nuon provides a.u accumu-
                                                                                                             25   lated dose of 26 8 µg/cm 2 versus 8 9 µg,'cm 2 for Baboota's
                                     <.:omp1nu-vc       f 14".2 gel   2.,.,..   1'14'2 S•l pH S j
     rercclll.Sgts    Ul               wtfwt..,o            WVtl/t ~~                  'M/wt¾                     best perfomung ll,el. Thus, the gel of the present rnvcnhon h~s
     Wit.er                              18 81                 12 5                        45.S                   a nearly 3·fold great.,,- rate uf ftu,c end accomulatioa of
     D~tr\.Ctbyl Sul(o:1,ctde            4~.s                  4S5                         11                     diclofenai; tlian a sini.ilar g"1, as descnbed by Baboola Note
     Propyelcno gly,:ol                  112                   11                          265                    that these experiments were conducted at brute tlol<ing wh.ich
     Etbuol                              ll ?9                 265                         12 5              JO
     Olyc:en.oa                          n     2                                                                  is more representathe of clinical dosing o.f a 11on-occluded
     D,clofeDAC Sod.tum                    1.5                                                                    cmnpo~IJon thal 1s applied pc:nod1ca1Jy but which ,s not
     ~n.ecntl'Atod HCL                                                          ••• Added to pH
                                                                                      8.5
                                                                                                                  rncaut to be in <:Out,nuous contact w,th !heskm.Add1l1on,.lJy,
     TJ•1ck.e.o-tr                       no.no               HYIJ9                     f-!Yll9                    the Baboota gels also contained. a h1gber perce.utage of rbc
     'Nt.%lb,cUJ:lC1                                            ~s                      412 5             JS      active a~ent, 3 4% w/w a~ compared to 2% w/w for the
                                                                                                                  <:Ompos111ous usmg the ve)ncle of the mveollon,
         Fortbe formulations of'fable 10, Franz cells were dosed at                                                   Other advantages were also observed, ,nclud,ng lbe co1'·
     20 mg per cell Tbe resultmg ftux r:it,es for th~ .formulations                                               sistcocy and stab1hty of the gel of the present 1uveo1Jon when
     1s shown in FIG. 9                                                                                           compared with the Babool~ gel. In contrast to the smooth alld
                                                          TABLElO
                       ftwt results fio,n Vlll)'J.DI d.1,c~ofc:nac formvlataons J,'r.m:& cclb ,.,CJc: do~
                                                        &I ?Oms cicr cell,
,                                                                     FOffl'tul&t\pfl n<'MT'p
j
                                                                                                  r.c.\mpa.&.tl\<C
                                   FM/lgel) S%          f1417 t.olubon           F97J                   2%         Comp.aralivc
     Petce.otfit,t::t•n                wt/wt °'A,          wl/wt 0A             wt/wt~~              wtJ~-tq.4i,     WI/ wt 0/4

     W:na                                l2 5                 ,2 5               I"' l6              18 31               18 8l
     D.mcthyl Sv,Jfox,dc                 4S s                 •S 5               ~s s                45 S                4SS
     Propylone sJVT:ol                    ll                  ll                 ll 2                11 1-               11:,
     Elhu,ol                             lS 5                 29                 11 ?9               11.79               11,79
     Gt)'Cel'l,Qe
     Du::fvfCD-c Sodl\lrn                  ,                    2
                                                                                 11
                                                                                   2
                                                                                       2             )J 2
                                                                                                      2
                                                                                                                         ll 2
                                                                                                                           ls
     Tb,okcn<r                          HYl19                 non•              Cout>97l             noar;               DC'DC
     w1/w\%th1c).e-3c,-                    l 5                                     Ll



                                               Example'!                                                     urufonn consistency of the present gel, the Baboota gel for-
-[                                                                                                        60 UJulauoos were cloudy aod luwpy, thus, unable to maintain a
            Comperative Dobt on Tram,,cler1-:nal Flux ofV.artou:;                                            gel-hke co11sistc:ncy For th•• reason, the Bal,oo1~ cca,pusi•
                                        l)iclofc.nac Gets                                                    uoos would be expccwd to have .<om" stab1hty issues and a
                                                                                                                  ... :,011 ,ltd l J1 1e
       Studies were performed to determine the rdativc transder-                                          65         Thus, despite both. betng gel formulahons, when a head·
     ma! flux of the diclofenac gel fomiulat1oos of the present                                                   to-heart comp.in~on ,s performed, usiog o linu.c dosmg pro·
     mvent,on "'bro compared with previously dJselosed fonnu-                                                     tocol, the formulation of the present i.uvenlJOD 1s sig.oificantly




                                   Copy provided by USPTO from the PJRS lma!Je Oalabaso on OS/1S/2015




                                                                                                                                                                                           HZNPENN_00000025
                                                                                                DTX001.025

                                                                                                   APPX144
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                                                                                     us 8,252,838 82
                                                  21                                                                                     22
    more effective at lbe traDsden:c.al deJiv"1')' of a diclofenac        time. By 24 hour.;, thJs difference was evenu:iorepi:onounced,
    ac11ve agent, when cn.mpared w,tb another go,J formulation,           as shghtly over 20"/4 and 30% of the weight of the two gel
    that described by Baboota et al Furthermore, as ~bow.n 111            formulations collhtining 2% aod 4% HPC, re.spec1wely,
    FJG. 7, the formulatioo of the present invention also per-
    formed remarkably better when compared to a diclofeni,c go,l,
    Soloro,.e<!!>, a product C'Un'CJltly sold oo the 11>31Ut. Thus, tbe
                                                                          ::::::.:~ ~i~::;p:1::06:~
                                                                          formulation whfoh remo;,,ed. Tbis is a surprising result, as
                                                                                                                                               ::::o:;;~~~f!e1r:~!
    present invention proVJdes a diclofenac sodium gel formula-           one would have expected the liquid formulation to lose
    non that bas ~pectedl_y superior pmper11es (e g, with                 weight more qu.ielcly, and !bus bsve a shorter drying time, as
    respect to panu:neters such as IIJ'anSdemllll flux rales, favonblc 10 co.mpared to a semi-solid go,) fol"Jllulation_ Thus, thls example
    composition consistency, and greater stability and self life)         deino.nsl13tes lb.at the gel compositions of the present UXVeJl-
    when compared to the previously disclosed dielofenae                  tian dispfoy superior dryiog ebar...:teri<ties as compared lo a
    dielhylao:iinc gel formulation descn"bed by Baboota or the            comparable liquid formulehon.
    diclofen;,c sodium formulation embodied by the Solaraze®                 Thus, in eer1ain embodiments, Ihe prest:nt invention J)l"O-
    gel.                                                                  vidc:s .. formulation which bas a dryins time such that, al
                                                             TABLE II
                             C'ompoot.cb of d,ck>fc:.o~ dtetbylllffllnt gel$ uSoCd to ~OC7Gtc \)'le tlUA
                              rue data &hewn w iFIO 10 for the fom1ul.11Jon1ofT&bJo11. Franz
                                        fl1~~n c.ell• were firu1a da.cd at 4 me p•r ~U
j
l                                                                          1'offlNl&h0n AMX>F

                                                     FVl         ~Y2         FYJ        Gl4/2_m        CompAJ11,11vt....m
    Pcn;c:nta.gallL                                wV,..1CJ.i   wt/wt,..   "'1w<%       1¥t/wl ~           ...v'wt o/.

    t>vneth)'l Sulfox1de                             10           10         JO            4S 5             45.S
    F.4haaoJ                                         25          15          2.5           26 S             lJ.?9
    1'80400                                          u            u           lS
    Propyh·.n~ g1yt;.0\                               I.I         15          IS           II                ll 2
    tru:lha.nola.'71.l.lle                             OS          OS          OS
    DMSO
    Water                                              q>          'lO        1')$         !l.5              1881
    Sodnm1 cuboxymelrty1cdluJose                                               6
    Oly~e
    TlucJ<cner
    -wt"-Tluc.k.6.ner
                                                   C-,t,940
                                                      1
                                                                 NA
                                                                  20
                                                                           C.ut,4-40
                                                                               o.s
                                                                                         H'Yll9
                                                                                           25
                                                                                                             ......
                                                                                                             ll.2


    Ac.UY~                                             J.4         34          3-4         2                  1,
    JM;,(o(c1u.i,;; (laahyJaman,e "'1. %




                                             ExamplcS                                                  ruos-t, a 50"/o weight of the starting ~moUl)t .l'el!WJnS as a
                                                                                                  40
                                                                                                       N>sidue oiler 24 houn of drying 1Jmo,, p.refcrabl)I a 30-40% or
           Co,np-OriliOn of Drying Time/Residual Weight of a                                           IC$$ weieht of the •1artme, amoupt remaiwl as a .residue after
          Comparal.Jve Liquid Fom1ulation Solution Versus the:                                         24 hours of drying time.
                           Corresponding Gel                                                              The i,:nproved drying tune of the g"'I fom:nilauons of the
                                                                                                       prcse.1>t invention proVJdes inlproved e,,ise of u3e and i•
       ltl order to <..-valuate Ibo, drying time of a companmve liqwd ~j                               e>1pccled to lead tu better patient corupltanc e. Thus, ws
    formulation solution as compared to the corre•ponding gel,                                         invent:loD provide$ a gel fonnularion with i.o,.proved drying
    the study described in th.,s example wa• performed. Equal                                          characterislles while also prov1d.tng improved drug dclivery,
    wcight amouuts (100 mg) of eilher lbe co.mpo.rotive liquid                                         as evidenced by tbe advanta~us transdermal flux data
    formulation solution or diclofenac .odium gel formulations                                         shown tn the e,<ampl,:s above
    weremeawredon to plast.ic: we1glldisbes and spread over a JO so
    cm 2 are.a, and then left exposed to ambient c:o.Ddillons. At                                                                TABLE 12
    selected lime points, the plastic weighing dishes were again                                                                  t>,ywii tune.
    wejghed 1o de1£fT1lme the mmx of the compo1:ition ,emajn,jng                                   Osylll8 tunes for Qels &ad & c«>mp.anr,vc bq_uid formulalloD ._,Jut.loo
    on thewcighin&dish As shown by Ihedal.a 111 Table 12 below                                       llqual ,..,g1,uor..,,b f01,nulwOJ1       w.,.  mtuwedud ,prod on
    and in FJG. 11, n was surpnstng)y found Ihat even af\er a :24 ))                                         u.:.•;e!:!:w;i!',=~;~::!::';';'.;!,{.~';;"~;~:;;.,
                                                                                                                  1
    hour drying penod, almost oil (nearly 90%) of the weight of                                    dry,ng lunct,cs tlla.n U.c co111pasa1Jvc hquld formul1tioJ1, w,tb 1'1412
    the irucially applied comparative liquid fom,ulalion com po-                                       ,bowing iho r..,.,. d.ll••s ,.,._ Th ... &•I• alao ha:! mip,..-,ed
    s1tion remained on the weigh,'18 dish Thus, the weight of the
    oompa.nuive liquid fo.rmulatioo. changed very little over Ihe
                                                                                                       -1p,cadabihi·        ::r~==~°!.,,":::::Y
                                                                                          ____________....:._ _ _ _ _....:,...;::....._ _ _ _ _ _ _ __
                                                                                                                                                              con1nb•"
                                                                                                                                                                        d

                                                                                       60
    time points .tne-a5Ured, indicating that the drying of the hquid                                                                        f•>«nuJat,on flAlo•
    formulation o~wrcd very slowly                                                                                                          Fl4/2        Fl4/2
       In conlta.t, e'llen "'ithm the first five minutes, the three gel                                                 Compv..tlve 11.d25% ~cl 4~/.o                   ~-Y-/l
    JurmuJ..tll\)lb di.-.p]..a) t.."tJ 1110.rc n1pu1 d.ryrns ,lt.111 tlu.:: )h..pllt.l    1•, , .. ~11111,.. -. 111       ,,L,Y.l 11it    \\l\',t .....
                                                                                                                                                        "'-''''4)    \'1.f\11,, ....


    fonnula11on 70"/4 of the weignt ofth« two gels th"! contained 6S Wau::r                                                 1881             12 S         12.S          17.16
    2% oc 4% HPC remaUled, as compared 10 the over 90%ofthe                               D1,ntthyl Su.Jfb,t&               4S S             •SS          •S, S        -4SS
    liquid fonnulotion which rcmai.Ged, a.fl.er 4 hours of drying




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                                                                                       DTX001.026                                                                      HZNPENN_00000026



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                                                                                 US 8,252,838 B2
                                            23                                                                                                24
                             TABLE 12-contwued                                                                                   TABLE 13-contmued
                                     Drymgtuncs
                                                                                                                                                              Peroe.nt ••unpunr::y A 0
      Dryi.Pe umea ror gels a.1:1d • c.omplll1luvc ltqwd fonnul£1.Jon solutmn.
        EqulJ.I "-IClg.h.ls of each formu.llll10o wen::: measured ud q,rca.d on                                                                                 Jl,cr6monthsof
          weigh dtsbes The "'1'c1gbt. of each ~rrvwung rorrnul&lJ<in. Vrid.S                    5    Compos,uon                                                  star&ge. (wt/wt)
        then. folia.-eid.._,th   t.wu: The gebil oft.bi s 1n"Ven'hOA .sb~d futer
       diyulg h.nelJc:s than the. compuauve hqwd fo.nnula1Joa,. a.-1th Fl41l
                                                                                                     2.0% dJclofCIJaC sod,wn .u1 0.91h Carbopol                       0 09".{,
           UCJVoiJ.Dg the fa5tcst dryUlg ,ate TbeSIC eels also bed unproved
            ""S"preadab.altty'9 ehar&et.ensllCS. wMb most hkcly coJ\ll'lblltcd                       gel
                            to th11 lfllp.rovcmeot m dry mg n.tes                                    2 0-/~ d.ic1ofen,c wod1wn m 3 .S% HPC gel                        001%
                                                                                                10
ProP')lekDC glyeol               11 2            JI            11                  11 2
EtbODol                          ll 79           26 5          2.5                 11 79
Gly~c                            11 2                                              JI 2               Thus, as indicated by the data in Table 13, while having a
Dtclofcuac Sodium                 1S                2            2                  2              higher concentrallon of the active agent, diclof- sodJum, a
TluCKN:r                         none          HY119         HYt:9               Cart,opol
                                                                                   971          IS
                                                                                                   gel formulation of !he present invention contairung 3 .5%
wt/wt % t)uctenu                                    ZS           4                 I IS            HPC shows a higher degree of stability, as reflected in the
                                               % Remaw1011                                         appearance of a lower percent.age of "impurity A" as com-
                                                                                                   pared to a comparable liquid formation. 1lle data shown 10
    Tomc(br)          Compan.uve         fl4/2 gel 2 St'A   FJ412 gel 4 0%              F97l
                                                                                                   Table 13 also sho" s that the HPC gel formatJon is more stable
      0000               100                  100                100                   100      20 than a comparable gel formation cont.aiwog 0 ,S>0/4 Carbopol,
      0083                981                  93                 92 6                 100 3
      0167                96 7                 92<>               91 8                 100 3
                                                                                                   as the HPC gel formation demoo.strates an at least 4-fold
      033]                95 7                 921                   9J                100 2       reduction in the level of ,mpunty A Thus, a gel fonnatJoa of
      0500                95 6                 92 7                  9))               100         the presentmvenllon provides unproved s1ab1hty oftheact!'Ve
      0 7SO               95 5                 92 J                  92 J               9!> 8
      1 000               95 9                 92                    91 8               99 7    25 agent as compared to the reference formulations as evidenced
      4 000               9)                   71                    70 7               86 8       m a formulation which degrades by Jess than O 034% or
     24000                88 7                 32 4                  2) S               SB 8
                                                                                                   0 09%, over 6 months, as was observed for the reference
                                                                                                   formulation~ Furthennore, the amount of "rmpurity A"
                                                                                                JO found in the gel formulation of the present mvet1tion after a 6
                                        Example6
                                                                                                   month storage penod would result in an exposure leve l well
          Comparison of Stability Cbarncterist,cs of a                                             below lumts that would rtquire add111onal nonclinical testing
        Comparative Liquid Formulation Versus Diclofenac                                           testing of the rmpunty
                   Sodium Gel FormulatJons
                                                                                                35
                                                                                                     Exarnple7
    Tots example provides a companson o fthe s tabthty of the
compos,ltonsofthe present iavention tested against reference
fonnulabons at room temperature over a six mouth pcncxl. It                     Compar1soo of m Vivo Epicutaneous Absorpllon of
was unexpectedly found !hat wlu le the composition< of the 40                             Liqrud Ver.ius Gel Fonnulations
1DVen1,on contain a lugber concentration ofac11ve ag~nl, they
l.D fact resulted in a lower concentra11on of a degradahon
                                                                              A study "'as conducted to compare systemic absorption
impunty as compared to the reference lt was also unexpect-
                                                                          after topical apphcat,on (also referred to as epicut.aneous
edly found that compos1tioas using bydcoxypropylccllulose
                                                                          absorption) of a comparative solution with a gel of the inven-
(HPC) as the gelling agent had a significantly lower quan1ity 4S
                                                                          tion A parallel design was employed with 6 uindTace pigs per
of th.ts impurity as comparal lo composltlons mode using
carbomer gelling agents.                                                  ann Drug was applied for 7 days wnh an additional dose on
    1n this srudy, .samples oftbe test compositiOll$ were placed          Day 8 Blood was sampled on Day I to determine a baselme;
into plastic screw cap bottles wmch were sealed and held at               Day 6, Day 7 and Day 8 samples were taken to confum steady
                                                                       50 st.ale, and additional samples were takt:n at Ohr, 2 hr, 5 hr, 7 hr,
25° C . at 60% bmnid1ty for 6 months. Afler the 6 month
storage penod, the samples were tested for 1mpuril1es by high             12 hr, 15 hr, and 24 hr on Day 7 to determine a 24 bour steady
perfo rmance hquid chromatography (HPLC). The acllve                      s tate profile; samples taken from Days 8 -13 were used to
agent. diclofenac sodiwn, was found to elute by HPLC with                 de1erm.ine an c]un1112t1on profile
an e lution time of about 11 ,runutes lt was found !hat upon 6 55             The doses used in tlus study were as follows Toecompara-
months of storage, an iwpunty, termed ..impunty A'', was                  ttve solution group n:ceived 3 85 mg diclofenac sodnun per
seen to elute at about 6.6 mwutes ,n vary mg amounts for the              admirustration and awmal 4 limes da,Jy, the gel Group
venous co.a1pos1tions as shown m Table 13 below.                          recetvcd 8 08 mg d,clofenac sodium per administration and
                                                                       60 arumal 2 t11Des daily, the adm.irustration area was 5 cmx!O
                            TABLE 13
                                                                          cm/aounal TI1ese amounts represent the scaled human cliru-
                                           Pe,J1;CnC"1ff\pur,ty ,,,...    c:il doses.
                                                             :iftr.:r 6 moulhs ('If
l v,up, ,.. ,1 •• u                                           • I l t I~'- I\\\ .~II                    '>uni~1t..·n1 b h.•lld \\ ,1-. ..:nil\.!Cl~d frPn'I ,..:.1-.. h .i1,1 PH1I per saJn-
1 S% d1clofenac. sod1um :as acompan.t.J.vc
                                                                                                65   piing ttme and processed for at least 2mL Li-Hcpann plasma/
                                                                  0 DJ-1°..-t.
hqUJd formul&1.1on .solution                                                                         sample, wluch were spht mto two ahquols of I mL each.
                                                                                                     Blood was withdrawn from all arumals as shown in Table 14.




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                                                                                       DTX001.027                                                                            HZNPENN_00000027


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                                                                               US 8,252,838 B2
                                               25                                                                                             26
                                                   TAT\LB 14


                                                                                         No or No of
                                                                                        11>tunplaoc ol"!\<Ob

                l          0 (r.nor to~ edml.JI.Utnt.rioo)                                  24        4g
                6          0 (pno,- tQ fltst ed/l\lDW&~OD),                                24         48
                7          O (pi.Q,t to f\ta Jdln1ntblnltoft).                             168       )36
                           2 b.r post fin< doou,g.
                           S bl pa:R t\nt dotu,g (pnor to second ...1n:unu:t?112.io.n
                           fo,On,up 1),
                           71,,-ponllnldor"'a.
                            JO ht poa t\,st d~mg (p,Jor 10 rlmJ ~J\11'i.w-at1on
                            for Oroup 1 o.od si,r,o: {O ,ocvod a,da,~oA for
                           c;...,.,. 2, J, and 4 >
                            12 llrpO<t fintdco..g
                            1.5 .hr poet f\ral doc-•~ (p,,or ,o Rm.n.b.
                           odn1w1rttebo.u for Group 1)
                           O (p~-'docc), -4, 8, 12. 24. 4&~ '12,. 96, a.ad l:ZO hr         21G
                           post&dmU:UIU'lllOD

       Tota.l numbc.r o(                                                                   •32       86"
·I           nmpld
.j
1

        Pbannacokinetic c:valuaflon of tbi: pl~l;.ma data was per·                               K,1 (eliminalion half-life)
     formed using TopF,t 2 11. A non-compartmer,I model was
     used forlhecalculationoflhe terminal balflifeand area under 2s                              T 112 (plasma eli.tD.inauou half-hfe)
     lhe curve (AUC). Elimioation rate constants (K.1) .ind plasma                                 The ach.levemem of steady state was assessed by using
     elitllin.ation hall:Jives {1,,,) were calcul~ted by huear regr~-s-                          repeated measuresANOVJ\ w1thlog-tra.osformed 1rough con.-
     s1onanaJysigofthe logllioearportionofthe individual plasma                                  ceutratton» on Test Days 6, 7, and 8 as the dL-peodent vanable,
     con<;CD.\ration-time curves (e-,,,eoncentn,rion, 1""1ime). Half-                            time as the inck.,>cndc.nl variable, subJecl •• a random effect,
     life was dt.-termincd usn:,g rhe fomiulae·                         JO
                                                                                                 and day as:, fixed effect.
             ,,.,-Jn 2tK.,[1,J
                                                                                                   The data,. shown i.u FIG.12 ond Tables 16 ax,d 17. Com-
             ,t,:/,t,-.(K.,Xe)[h/.
                                                                                                 pos111ons oflhe inven,ioo show s1gn.ifica.ntly more absorption
       Azea Wider the curve (AUC) value$ were calculated using                                   of diclofenoc S<>dium as measured by the mel!Jl AUC. Th>•
     lhc hneartrapczoic:lal method and e,<lrapolated to mJirutc time                             result bolds even when adjusting for dose
                                                                                                                           TABLE 15
                                                                                                                            Ql!l'.lD   fD


                                                                                                                                    Dose ofU:c           t>sdor.-
                                                                                                 O.\;'°fe~      ~aor                pJOduc.t pct          SodtUff)      N-Jtn~r      o..1or..,..
                                                                                                  SodlUlll     apphc1l1on           appJ.caUQII          pcrdoa,        ofdOSie:$     pordAy
                                                                                                  %(,./w)        (cm')                 (mL)               (rrtR.)       petrln.y       (~,,.)

                                                                                 Gel
                                                                                 Co.mpa.n.ovc
                                                                                                    lO
                                                                                                    IS
                                                                                                                  ,oso                 0.40
                                                                                                                                        0 i4
                                                                                                                                                           8.08
                                                                                                                                                           J.AS
                                                                                                                                                                          b,d           16l
                                                                                                                                                                                        !S4
                                                                                                                                                                          q•d
                                                                                 Soluoon




     by divi<IU1g the last measurable plasma conc:e.ct,;ation by the                                                                   1A.BLE 16
     terminal cliolioation rate coastant Plus[llll conccntrauons al so
     ttme v,ro weze taken to be tho~c at the pre-do-s e blood sam-
     phng li<ne on Test Day 8 Anea unde< the curve (AUC) was
     calculated using the formula
                                                                                                     ___,                eK owftlc Ma1Cfdx n14c on Dav 7

                                                                                                                           irubJec:t
                                                                                                                                            1 .JT'll\K
                                                                                                                                               (bl
                                                                                                                                                            c:mox
                                                                                                                                                           (pit/ml)
                                                                                                                                                                             Al.JC 0-24
                                                                                                                                                                             (pg. html)

                    ,.,,
             .A1JC-(fcd.t)(l>a,'ml.)(b), uuegralcd fn,m    •= <o ,.tin-                    ss        Ocl                      L3               H             UJ79                13?818
                                                                                                                              J4               10             8570               l7S862
       The following pharmacolanetie paramete~ for dicloferuic                                                                IS                 s            6014               104122
     &odiUJJl were calculated:                                                                                                16                 s           4871                   6)842
                                                                                                                             17                15          43-48%9              16$9165
     AUC0 • 14 (fest Day 7)                                                                                                   JR               14           14434                23141"'
     AUC.,_, (Tci;t Doy 8)                                        60                                                       Mcaa                11           80684                )84151
     AUC0 .~/(fe..t Day 8)                                                                                                   SJ)                1          17lS49               10))866
     Tm.,. (Test Days 7, 8) (time to rcucb Cm=)                                                      Comp&r&bYC                 I              ,o             8J02               107122
     C,,... (Te-;t Doys 7. 8) (nin,umurn <>bscrv~-d phsma concen-
     lt•llou)
                                                                                                     ~IUhOn
                                                                                                                                               ,..           ~,J l ••            I"; ~,: $
                                                                                                                                               15            )4743               l6U2!)4
     c •.,w ('lest Days 7, 8) (ro1ni,n.,.J observ.,d plasma coocentra-                     65                                  4                0             4350                  44267
     tlon)                                                                                                                     5               24             9552               1124(.0
     C(,-,.,>) (Test Days        6, 7, aad 8) (!Tough plasma concentralJon)




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                                                                               DTX001.028                                                                                           HZNPENN_00000028


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                                                                       US 8,252,838 B2
                                      27                                                                                28
                         TABLE 16-continued                                               dimensions· pam, stiffness and physical function and will be
                                                                                          used as an efficacy vanable in this study.
                     PK profile •t ..tcady stJtte on Day 7                                   In a preferred embodiment of the invention, application of
                                     Tmax         Cuax            AUC0-24
                                                                                          the gel formulations oftbe invention when applied topically
                        SUbJ~l        (h)        (pg/ml)          {pg• h/ml)        5     will ,,..ult in a reduction of pam or physical function on the
                                                                                          WO!\1AC scale of al least I Lilc.ert scale mtit over a 12 weelc:
                          6             12         862&              77861                period. Eve.c, mace pceferably, a reduction of 2, 3, or 4 Li.ken
                         Meo            12        11714             105924
                          so             8         7185              40865                scale uruts will result. Most preferably, applicauon of the gel
                                                                                          fonnulauons of the invenlton will result in complete relief of
                                                                                    to    pain and complete or nearly complete restoration of physical
                                                                                          funcuon.
                                 TABLE 17                                                    To assess safety, the frequency of advel"5e effects will be
      kelntJve b1ouA1.!ab1hty and exposu:c ta a compa.141.rVe IJqu1d
                                                                                          tabulated, the worst skm irritation score will be documented,
    fonnullltlon Ul c:ompU'lfQ:J'I to the U:lrre:s'pC>Ut:hng gel 8.1 Steady ~ e           and change in vital signs and laboratory parameters will be
                                                                                    15    assessed
                                   Ratio Gd.lCompant.llvc Soluuoo o/o                        The foregoing chscusston of the invention has been pre-
    c_                                              167 7                                 sented for purposes of illustration and description The fore-
    C-/()ose                                        161 5                                 going 1s not intended lo limit the invention to the form or
    AUC0-24                                         241.1                                 forms disclosed herein Although the descnplionoftheinven-
    AUC 0-24/Dooe                                   2l2.2
                                                                                    20    tion has included descnption of one or more embodiments
                                                                                          and certain vam,tioos and modifications, otber variations i,nd
                                                                                          modificabons are withla. the scope of 1be inventjon, e g, as
                                 Example 8                                                may be within the skill and kno"' ledge of those w the art, after
                                                                                          understanding the presc n1 disclosure Jt is intended 10 obtain
    Clinical Trials ofDiclofeoac Gel in the Treatment of                            2s    rights wluch include alternative embodiments to the extent
                       Osteoarithrills                                                    permitted, md udrng alternate, interchangeable, and/or
                                                                                          equwalen.t structures~ functions, ranges, or steps to those
   A clinici,I tnal will be performed to evaluate the safety and                          claimed, whether or not such alternate, mtercbangeable, and/
efficacy of a gel formulation of the present invention 1n sub-                            or equivalent struclUres, functions, ranges, or steps are d is-
jects with symptoms of primary osteoartbritu (OA) of the                            30    closed he.rein, and without intend.mg to pubhcly dedicate any
knee Specifically, a 2-ann, double-blinded, placebo-con-                                  patentable subjec1 matter
trolled, randomi2Jed, 12-week Phase Ill clirucal trial will be                                All publications, patents and patent applications referred to
perfonned in 300 subjects randomized to receive either a                                  hLTcin are incorporated by reference in their enltrety to the
diclofenac gel formulatJon, placebo gel (the gel carrier con-                             same extent as ifeach IBchv1dua) publical:Jon, patent or patent
la1ningno d1clofenac) Subjects will apply 2 mLofstudy gel                           H     apPlication was specifically and mcliv,dually md,cated to be
to their OA knee per applicanon.                                                           incorporated by reference in ,ts entirety
   The primary variables for assessment of efficacy will be the
WOMAC LK3 I pain am! phy sical function and Pahent                                         What is clanncd is:
Overall Health Assessment. Secondary van ables will be the                                  1. A topica l formulallon, s aid lop,c al formulation consist-
WOMAC sutfness and P3tient Global Assessment The pn-                                4()111g essentially of.
mary efficacy analyses will be the comparison of the change                                (1) diclofenac sodium pcesent at 1-2% w/w,
from baseline to .final assessment of the primary efficacy                                 (n) DMSO present at 40-50% w/w,
variables for subjects ,n the chclofenac sochurn gel arm ve~us                             (m) ethanol pre sent at 23-29% w /w;
the placebo gel arm.                                                                       (1v) propylene glycol present at 10-12% w/ w;
   More specifically, the efficacy of diclofeuac gel on knee                        45     (v) optionally glyc.,rine,
OA symptoms will be measured by the subJeC11ve response of                                 (vi) a t hlckening agec>t, wherein "3id thickening agent is
subjects es detcrmmed by an efficacy variables qucstJonnairc                                   hydroxypropyl cellulose, the topical formulahon having
which includes the WOMAC LK3 l OA Index (pain, pbys,cal                                        a viscosity of 500-5000 cenupo1se, aod
functioa, and stiffness d1measions), a Patient Overall Health                              (v,i) water, wherein ,a,d topical fonnulaUon when applied
Assessment, and a Patieot Global Assessment (See Bellamy,                           50         to the skm bas
N, WOMA C Osteoarthritis Index User's Guide IV, Queen-                                         a) a greater drymg rate, and
sland, Australia (2003)).                                                                      b) a transdennal flux of 1 5 times or greater than a
   The WOMAC LK3 I, Patient Overall Health Assessment                                             comparative liquid formulation as determined by a
and Patient Global Assessment questionnaires wil I be base d                                      Franz cell procedure at finite or mfin.ite dosing,
on tbe five-pomt Likert scale Numerical values will be                              ss            wherein the comparahve hqmd formu lation consists
assigned to WOMAC LK.3 J scores, Patient Global Assess-                                           of 1.5% diclofenac sodrnm, 45 5% dimelhylsulfox-
ment scores and Patient Overall Health Assessment scores, as                                      1de, 11 79% ethanol, 11 2 % propylene glycol, 11 2%
follows:                                                                                          glycerine, and water
 Patient Overall Health Assessment and                                                      2 The top1cal fonnul ahon o f c laim J, whe.rein the ethanol
 WOMAC LIO l Patten! Global A ssessment                                             60 is present at 26 5%.
 Non!>"'0 Vei:y Good~ 0                                                                     3 The topical formulahon ofc laim 1, wberem the ethanol
 M.tld~I Good=!                                                                        1s present at 25°/o.
 Modern1e - 2 Frn r=-2                                                                      4 "Jbe t0p1cal fonnula1 mn of claim t, wli<>rem lhe ethanol
 Severe- 3 Pvor -3                                                                     1s. preseJ1t <ll 2S 5%
 Extrerne=4 Very Poor=4                                                             65      5. The topical formulation ofcla1m 1, wherein said drying
   The WOMAC LK3. l OA Index ,s a segregated, multldt-                                 f'd te results m a residue of at most 50% o f a starting amount
 mensional, self-administered mdcx w ith three mdependent                              aftcc 24 houcs.




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                                                                            DTX001.029                                                        HZNPENN_00000029


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                                                                                                                       .   '   .   ,   .. -   ......,. ......   ,.   .......... __ ,. ..· ~· ... . ---... ,. .. . . . . ...




                                                                  US 8,252,838 B2
                                       29                                                                           30
       6. The topi.:al fo.tmulation of cJaim 5, wherein silld Pean,;                     2S. The topical formulauon of clam, 1:4, wheie1n the al
     cell procedure is performed at i.nfinue ru1.iog.                                 least one thickeruog agent is selected from ilu, group consist-
       7 . The topical follJlulatioo of clall'.D 1, wherein sa,d                      ing of a carbome.- polymer, a carbomer derivative and ,n1x-
     diclofeooc sodium degn,des by less lhan O 04% over the                           1ur<.>a thereof.
     course of 6 months.                                                                 26. The topical formulation of claun 25, whi:rein the al
        8.    n. topical formulation of claim 1, whercin sa,d topical                 least one t.h!ckeoiog ageut is 1,elec1ed from tbc group co11s1st-
     formulation has a pH of 6.0-10.0.                                                ing of carbopol 971, corbopol 98 I, carbopol 94 I, carbopol
        9. Tbe topical foi:mula11on of chum 1, wherein said IOpico.1                  1342 and ulttez 1 0
     forn:iulation when applied topically provides a reduction of                        27 The topical furmulation of clau:n 24, whei:em the at
     pain over 12 weeks.                                                         10   least one thickeoing agent is bydroxypropyl cellulose.
        10. The wp1cal fonnuli,tion of claw 9, wherein said top,cal                      28. The formul~tion of claim 24, whercin the Franz cell
                                                                                      procedure jg performed at finite dosmg,
     formulation 1s applied tw1ee daily.
                                                                                         29 Tbt: formulahon of claim 24, wherein the Franz cell
        11. lbetopical formulationofcJaun 9, wherein saidpaio is                      p,ocedure JS performed al infinite dosing.
     duetoosteoarduili,;.                                                        1s      .lO. Toe fonnulaiion of claw:. 24, whe.-e:u1 traosdenoi,I ftux
        12. The fonnuJatlon of claim l, havipg a v1scos1ty of at                      is measured at a tiroc of 14 houn, or l 8 hours, or 28 hours, or
     least I 000 centipoiK.                                                           l l bows or 40 hours or 42 hours after plac,ng tbe formula-
        13 Tbc formulation of claim 1, wherefo the l:'raoz cell                       tions in the Franz cell.
     pro<:«lu.re is perfonned et fi.n11e dosiQS.                                         .ll. The formulation of claim 24, wherefa transdermal flux
        14. The formulation of claim 1, wherd.n \be Franz cell                   ;o   is at lea•t 2 0 tw:,es gn,atcr than the co.cnp<trative hqu,d for-
     p~edurc ia pcrfOIIJled at infinite dosJDg                                        mulatioo.
        15 The formulation of clai.ru 1, where10 transdermal flu,c 1s                    .l2. "Jbe fotmulotion of cloim 24, wherein transdcrmal flux
     measwed at a rune of 14 hours, or J 8 hours, or 28 hours, or 31                  is ~t least 4.0 times greatc..-r than the c01J1parative hqwd for-
     boucsor 40 bouJ's or 42 hours ofter p~cmg the formulation• in                    mulalloo.
     the Fra.o.z cell.                                                           25      33 Thcfonnulationofclairu 14, whereintheformulation1s
        16. The formulation of claun 1, wherein transdermal Hux is                    dosed at IO mg per Franz cell and the cell bas an area of 0.5
     at least 2.0 times greater than the oomparativ" liquid fom1u-                    cm2 •
     lation                                                                              34. Tbt: fonnulBtion of claiw 24, wherein the elhanol 1s
        17, The formulation of claUD 1, wheccin tronsclcrmol flux is                  present at 11 2'¾, w/w.
     at least 4.0 times greater than the comparative liqmd fonnu-                30
                                                                                         .lS The formulation ofclaun 24, where,n the conamtralion
     lation.                                                                          of diclofenac sodium is a member selected from group con-
                                                                                      sist.i ng of l %, 1.5% and 2% w/w, and all f racliom: in between.
        18. The fonnulation of claim 1, whe:rem the formulation is                       36. The tonnulauon ofclaun 24, wherein the con~D1r.ltion
     doS<.ld flt 10 01g per Franz cell and 1be cell ba• BD ""'"' ofO 5                of DMSO is a membt:r scl«t<.'<.1 frorn group consisting of
     Ctn2 •
                                                                                      40%, 4 1%, 42%, 43%, 44%, 45%, 46%, 47%, 48%, 49% aud
        19. Tbe formulauon ofclaim l , whecein the hydru,cypropyl                JS   50"/4 w/w, and g]I fractions m hctw""-'1
     cellulose i$ pres..a1 at 2.5% w/w                                                   .l7. The formulation of cla,rn 24, wherein the fonnulauon
        20 The formulation ofcl.,,m 1, wb.,.,in lhebydroxypropyl                      lu>s a v,sc-osity of al lea,st l 000 eenupoi$c
     cellulose jg present at 3 5% wtw.                                                   38 TI,e formulauon of claim 24, whcrelJl tbe at least one
        21 The formulation of claim l, wherein tho: ooncen!rdtion                     tbii:keninp, age111 is a cellulose polymer
     of dic;Jofen.ac sodium is a member 9elect.,d frocn group coo-               •o      ;l!>. Theformulat10uofch<i.m.24, wherein the concentration
     stolltlg of I%, 1.5% and 2% w/w, and all fmctions in between.                    of glycerine is 0- I 2% w/w.
        22. The fonnula11on of cl,ua, 1, wherein lbe conoeou-ation                       40 The fo,roulation of claim 24, wherein tbe fonnulation
     of DMSO is a member selected from group coUS1sting ol                            has a pH of6 to 10.
     40%. 41%, 42%, 43%, 44%, 45%, 46%, 47%, 48%, 49% ..nd                               41. The formulation of cl~im 24, whcn,in the propylene
     50% w/w, "nd 1111 fracllons 1n between.                                     ~5   glycol i• present at 11 % w/w.
        23. Tbe formular,on of<:la11111, wherein tbecooccntro1ion                        42 The formulation of claim 24, wherein the DMSO is
     ofgly<.--erioe is 0.12% wlw.                                                     present at 45.5% w/w
        24. A topical formulation consisting es,sent1ally of·                            43. Toe formulation of claim 14, wb.etelD. the hydroxypro·
        (i) 1-2% wlw dlclofenac sod.iwn;                                              pyl cellulose 1• present al 2.5% w/w
        (ii) 40-50"/4 w/w DMSO;                                                  so      44 Tbe formulation of claim 24, wherein the hydroxypro-
        (iu) 10-12% w/w propylene glycol,                                             pyl cc:lluJose is p,es,;nt al 3 5% w/w,
        (iv) 1-30%w/w ethanol:                                                           4S. The formulation of claim 24, wherein the hyd,oxypro-
        (v) optionally glyceri11<:;                                                   pyl cellulose is present et 4% w/w.
        (vi) water; and                                                                  46. The fon:nu1ation of clajm 24, wherem the ethl!Dol is
        (vii) at leost one tbicketllDg agent selected from the group             ~~   present ~1 25% w/w
           eonsistlllg of a cellulose polymer, a cart>omer polymer, a                    47. The fonnulauon of claim 24, wber,,in tbe ethanol is
           carbomerderivativc, a cellulose denvalJVe, hydroxypJO ·                    present at 25.5% w/w.
           pyl cellulose end mixlures the!'Eof, the topical formula·                     48. The formulation of drum 24, wherein tbe ethanol is
lI         non having a viscosity of500-5000cenhpo1se, wherein                        pre!!enl ~t 26 S% w/w.
           said topical formulotion when applied lo the •kin hac.                60      49. A topical fonnulat,on eonsistiog esseotlollly of-
        a) a greater drymg rate, and                                                     1-2% w/w dJelo(enac sodium;
        b) a tra.nsdcnnal flux of 1 5 t&mc> or greater »s determm4'd                     40-50% w/w DMSO;
           by a Fr<1nz cell procedure at finneor infirntc dosing th;tn                   2:\-29% w/w ctb~n<>I
           a cornp...u-..uivt: l1qu1d lorn1ula11vn v. hic:tt1n the c;un1pJ111-            10-12·:o v. , w prupykm.: glyc<>I,
           tive liquid fonnulation consists of 1.5% diclofoni,c                  6~      bydroxypmpyl cellulose; and
           sod,um, 45 5% dn11ethylsu)fo,c1de, 11.79% ethanol,                           water to make looP/o w/w, whereiD che top\CA! fonnufabon
            J 1.2% propylene glycol, I J.2o/o glycerine, and water,                        hos o v,scosity of 500-5000 ccntipoisc.




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                                                                    DTX001.030                                                                                  HZNPENN_00000030



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                                                        US 8,252,838 B2
                                 31                                                                32
       50 The formulatton of clalDl 49, whcrem the propylene                mers, car~omer polymers, a carbomer derivatJve, a cel-
     glycol IS pre,ent at 11 % w/w.                                         lulose denvatJve and nuxturcs then:of, wherein the topi-
        SI. The formuJation of cla,m 49, wherein the DMSO 1s                cal formulation has a VJSCOSJty of 500-5000 centipotse
     present at 45 5% w/w                                                   and                                                    '
        52. lbe formulation ofclaJ.Dl 49, wherein the hydroxypro· 5       (vn) water, whereID said topical formulation when apphed
     pyl cellulose is present at 2.5% w/w.                                  to the skin has
        53. lbe formulation ofclaim 49, wherein the hydroxypro-             a) a greater drymg rate; and
     pyl cellulose JS present at 3.5% w/w                                   b) a transde.nnal flux of 1.5 times or greater than a
                                                                               comparallve liquid for01ulatton as determmed by a
        54. The formulation ofclaun 49, wherein thehydroxypro-
                                                                               Franz cell procedure at finite or infinite dosing,
     pyl cellulose 1s present at 4% w/w                            to
                                                                               wherem the comparative liqwd formulatton consists
        55 lbe formulation of claim 49, wherein tbe ethanol is
                                                                               of 1.5% cbclofenac sodium, 45 5% dimethylsulfox-
     present at 25% w/w                                                        ide, 11_ 79% ethanol, 11 2% propylene glycol, 11.2%
        56. lbe formulation of claim 49, wherein the ethanol is                glycenne, and water thereby treating osteoarthritis
     present at 25.5% w/w                                          15     63 The method of claim 62, wherein d1clofenac sodium JS
        57 lbe formulation of claim 49, wherein the ethanol is        present at a concentratJOD selected from the group consisttng
     present at 26 5% w/w.                                            of 1, I 5, and 2 w /w, DMSO is present at a conccntratton
        58 The formulation of claim 49, having a viscosity of at
                                                                      selected from the group consistmg of 42, 43, 44, 45, 45.S, 46,
     least I 000 centipo1se                                           47, and 48% w/w and fractions ,n between; ethanol is present
        59. Theformulationofclaun49, wherein the concentration
                                                                   20 at 26 5% w/w. propylene glycol is present at a concentration
·!   of diclofenac sodium 1s a member selected from group con-        selected from the group consisting of 10, 11, and 12, % and
i    s1sting ofl %, I 5% and 2% w/w, and all fractions tn between     fracllons in between w/w; the lb.Jckening agent 1s hydrox-
        60. The formulation ofclaim 49, wherein the concentration     ypropylcellulose (HY 119), and water is added to make l 00%
     of DMSO 1s a member selected from group consisting of
                                                                      w/w.
     40%, 41 %, 42%, 43%, 44%, 45%, 46%, 4 7%, 48%, 49% and
                                                                   25     64 The method of claim 62, wherem said drying rate
     50% Y./w, and all fracLions m ber,,,een
                                                                      results ma residue of at most 50%, of a starting amount after
        61 The formulation of claim 49, wherein the formulation
                                                                      '.!4 hours
     has a pH of 6 to 1 O                                                 65 The method of claim 64, wherem said Franz cell pro·
     . 62 A met!1od of treating osteoarthntis in a subject suffer-    cedure Js performed at infinite dosmg .
     .mg from articular paJn> sa,d method compris ing tbe topical 0       66. 1he method of clau:n 62, wherein said diclofenac
     admtn.istnmon to an afflicted jomt area of said subJcct a ' sodmm
                                                                                degrades by Jess than 0 04% over the course of 6
     the rapeutically effective amount of a topical formulabon
                                                                      months.
     comprising:                                                          67 The method of claun 62, wherein said topical formu-
        (i) diclofenac soclium present at 1-2% w/w·
                                                                      lation has a pH of6 0-10 0
        (ii) DMSO present at 40-50% w /w ;          '              JS     68. The method of claun 62, wherein satd topical admin·
        (iii) ethanol present at 1-30% w/w,                           istration provides a reduction of pam over 12 weeks.
        (iv) propylene glycol present at 10- 12% w/ w,                    69. The method of claun 68, wherein said topical fonnu-
        (v) optionally glyccnne;
        (vi) a lluckening agent, wherein said tluckenmg agent ts
           selected from the group con•isting of cellulose poly-                             . .. . . .
                                                                      latJon 1s applied twice daily




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                                                           DTX001.031                                                    HZNPENN_00000031


                                                             APPX150
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                   Addendum 8

                U.S. Patent No. 8,546,450

                       A151-A199
           Case: 17-2149       Document: 36            Page: 245          Filed: 08/16/2017

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             U.S. PATENT: 8,546,450
             rsSUE DATE: October 01, 2013




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                               and Director of the United States Patent and Trademark Office




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                                                     Certifying Officer




                                                                                           HZNPENN_00000149
                                            APPX151
                   Case: 17-2149                               Document: 36                            Page: 246                     Filed: 08/16/2017

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               U.S. Patent                Oct. I, 2013                                           Sheet 7 of7                                                                                   US 8,546,450 Bl




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                    TREATMENT OF PAIN WITH TOPICAL                                acetaminophen or oral nonsteroidal anti-inflammatory drugs
                        DICLOFENAC COMPOUNDS                                      ("NSA1D"s) (American College of Rheuinatology Subcom-
                                                                                  mittee on Os1eoanhri1is Guidelines. Recommendations for
                          CR:OSS-REFERENCE TO RELATED                             the medical manag,ement ofosteoarthritis of the hip and knee:
                                    APPLICATIONS                               5 2000 update. Ar1hritis Rheum. 2000; 43:1905-15; National
                                                                                  Collaborating Centre for Chronic Conditions. Osteoarthritis:
                 This applicarion claims priority under 35 USC I 19 to U.S.       National clinical guideline for care and inanagemenl in
              Provisional Application 61 /211,600 filed. Mar. 31, 2009.           adults. London: Royal College Physicians, 2008. Available
                                                                                  at: http://www.nice.org.uk/nicemedia/pdf7CG059Ful1Guide-
                                            FIELD                              10 line.pdf.; Zhang W, el al., Osteoarthritis Cartilage 2007;
                                                                                   15:981-1000; Zhang W, el al., Osteoarihritis Cartilage 2008;
                 "The field involves the delivery of compounds useful for          16: 137-62.Aceraminopben has been linked with an increased
              pain relief, iocludingdiclofcnacfonnulations, methods ofuse         risk of hepatic, hypertensive and cardiovascular adverse
              thereof, articles of manufacture and kits that include provid-      elfocts(e.g.,CbanA T,ctal.,Circulation. 2006; 113:1578-87.
              ing novel preclinical, clinical and other information to users. 15 Epub 2006 Mar. 13; Pincus T, et al., Ann Rheum Dis. 2004;
                                                                                  63:931-9).                            .
·.::.                                BACKGROUND                                       NSAIDs are more effective (Towbeed T E, J. Rheumatol.
                                                                                  2006; 33:567-73) and carry more well-known gastrointesti-
                 Tbe fo!Jowing includes information that may be useful in          nal and cardiovascular risk (e.g., Antman EM, et al. Use of
              understanding the present invention. It is not an admission 20 nonsteroidal anti-inflammatory drugs: an update for Clini-
              tbat any of rhc information provided herein is prior art, or         cians: a scientific statement from the Americarl Heart Asso-
              relevant, to the presently described or claimed inveotions, or       ciatioo. Circulation. 2007; 115: 1634-42; Chan A T, et al.
              tbatanypublicationordocumcnttbat is specifically or implic-          Nonsteroidal anti-inflammatory drugs, acetaminophen, aud
              itly referenced is prior rut.                                        the risk of cardiovascular events. Circulation. 2006; 113:
                 Today, pain has become tbc universal disorder, a serious 25 1578-87). The attempt to minimize the risk of both morbidity
              and costly public beallh issue, and a challenge for family,          and potential mortality by prescribing COX-2 selective
              friends, and health care providers who must give support to          NSAIDs ('coxiris') bas not achieved the goal (Kearney PM,
              the individual suffering from the physical as well as tbe emo-       et al. BMJ. 2006; 332: 1302-8; Mamdani M, et al., BMJ. 2004;
              tional consequences of pain. In genernl. there are two basic         328: 1415-6).
              types of pain, acute and chronic. Acute pain, for the most part, JO     Diclofenac is used, most commonly, as the sodium or
              results from disease, inflammation, or injury to tissues. This       potassium salt for relief from pain and inflammation such as
              typeofpaingenerallycomesonsuddenly, for example, after               musculoskeletal and joint disorders including rlleumatoid
              tralllll1l or surgery. In some instances, it can become chronic.     arthritis, osteoarthritis, and ankylosing spondylitis. U.S. Pat.
              Chronic pain is widely believed lo represent disease itself.         Nos. 4 ,575,515 and 4,652,557 disclose topical NSAID com-
              Chronic paio persists over a longer period of time than acute 35 positions, one of which, consisting of l.5% diclofenac
              pain and is resistant to most medical treatments. It can, and        sodium, 45.5% dimethylsulpboxide ("DMSO"), ethanol,
              often does, cause severe problems for patients.                      propylene glycol, glycerine, and water, has been shown to be
                  Arthritis is considered to be one of the most pervasive          effective in the treatment of chronic osteoarthritis (e.g.,
              diseases in the United States and a leading cause ofdisability.      Towheed, Journal of Rhcumatology 33:3 567-573 (2006);
              According to the Centers for Disease Control and Prevention, 40 Oregon Evideoce Based Practice Center entitled "Compara-
              it is estimated that I of every 3 Americans is affected by one       tive Safety and Effectiveness of Analgesics for Osteoarthri-
              or more of the more than 100 types of arthritis. Pain, particu-      tis," AHRQ Pub. No. 06-EHC09-EF).
              larly of the joints throughout the body, characterizes arthritis.        The skin provides a protective barrier against foreign mate-
              Psoriasis, primarily a skin disorder, can progress 10 psoriatic      rials and infection. In mammals this barrier is created prima-
              arthritis ifleft untreated. Rheumatoid arthritis, osteoarthritis, 4S rily by tbe outermost epidermal layer, the stratum corneum.
              and ankylosiog spoodylitis are all examples of degenerative          The stratum comeum is comprised of flat, extended, enucle-
              arthritic diseases.                                                  ated cells, termed corneocytes, the periphery of which com-
                  In addition to, for example, arthritic causes, normal func-      prises a highly insoluble protein and lipid structure, called the
              tioo of a joint and its movement, and other portions of the          coroified envelope ("CE''), surrounded by lipids. (Downing et
              body, can be severely impaired as a result of trauma or fol- 50 al., Dermatology in General Medicine, Fitzpatrick, et al.,
              lowing orthopedic and other surgical procedures. This may            eds., pp. 210-22 l ( 1993); Ponee, M, The Keratinocyte Hand-
              result in tenderness; aching, pain, and lengthy recovery times,       book, Leigh, et al., eds., pp. 351-363 (1994)). The CE is
              as well as loss ofjoint mobility or reduced range of motion,         composed ofpolar lipids, sucl1as ceramides, sterols, and fatty
              tonicity, or elasticity of the joint/articular structures, such as   acids, and a complicated network of cross-linked proteins;
              for example, muscle, tendon, capsule, bone, or ligament. 55 however, the cytoplasm of stratum comeum cells remains
              Reduced joint mobility may also involve permanently altered           polar and aqueous. The stratum comewn is extremely thin
              or shortened joint or tissue architecture. Altered or abnormal        (some 20 microns) but provides a substantial barrier. Never-
              joiot mobility or joint architecture may also be associat.ed          thcless, the skin has beeo considered as a route for the admin-
              with or caused by a variety of injuries and conditions such as,       isr.ration of dn,gs. Various transdennal delivery systems
               for example, metabolic disorders, ischemia, injury_to joint, 60 ach.ieve epidermal penetration by using a skin penetration
              capsule, bone, cartilage, tendon, ligament or muscle, frac-           enhancing vehicle.
               tures, subluxation, dislocation, crush injuries, prolonged              Topical NSAIDs present a safer potential alternative to oral
               immobiliUltion (e.g... immobilization o f a. joint in a cast or      therapy. with decreased systemic expos ure to the active.
               spliut), and paralysis.                                              NSAll) mo l<:cuk. While previous reviews (Mason L, el a l.,
                  When non-pharmacological measures are not sufficient to 65 BMC Muscu/oskelet Disord. 2004; 5:28) have suggested that
               control the symptoms of osteoarthritis, current evidence-            topical NSA!r:is are effective for osteoarthritis, Lin et al.
 :_,           based guidelines support pharmacological treatment with              (BMJ. 2004; 329:324-6) in their meta-analysis of the same
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        studies stressed !hat the various products showed symptom               and desired therapeutic effects as well as instructions on uses
        relief at I or 2 weeks but loss of benefit :at 4 weeks, and             in conjunction with other topical agents. Such needs are met
        rejected them as there was insufficient evideoce to justify a           by the inventions and discoveries provided herein.
        recommendation oflong-tcrm use.
           Subsequently published randomized controlled studies            s                         BRIEF SUMMARY
        have described a peoetrating topical diclofc:nac solution in a
        dimethyl sulfoxide (DMSO)-containing vehicle as effica-                     The inventions described and claimed herein have many
        cious and safe in relieving the symptoms of primary osteoar-            attributes and embodiments including, but not limited to,
        thritis of the knee over 4-, 6-, and 12-weck treatment periods           those set forth or described or referenced in this Brief Sum-
        (Baer P A, et al. BMC Musculoskelet Disord. 2005; 6:44;            10    mary. It is not intended to be all-inclusive and !he inventions
        Bookman A A, et al. CMAJ. 2004; 171:333-8; Roth SH,                     described "and claimed herein are not limited to or by the
        Shainhouse J Z. Arch Intern Med. 2004; 164:2017-23; Tug-                 features or nonlimiting embodiments identified in this Brief
        well PS, et al. J Rheumatol. 2004; 31:2002-12). Recent                   Summary,whichisincludedforpuiposesofillustrationooly
        topical NSAID reviews and meta-analyses (Banning M., Br J                and not restriction.
        Community Nurs 2006; 11 :487-92; Banning M., Expert Opin           Is       Disclosed herein are methods of treatment and methods of
        Pharmacother 2008; 9:2921-9; Biswal S, et al., J. Rheumacol.             manufacturing and using a topical diclofenac pharmaceutical
        2006; 33:1841-4; Haynes S, Gemmell H., Clinical Chiro-                   productandrelatedarticlesandkits.Alsodisclosedhereioare
        practic 2007; 10: 126-38; Moore RA, ct al., Rheum Dis Clin               methods of preventing or treating pain, including joint pain,
        N Am 2008; 34:415-32; Ozguoey l, Expert Opin Pharmaco-                   and arthritis, including osteoarthritis .
      . ther 2008; 9:1805-16; Towheed TE, J RJreumatol. 2006;              20       loonenonlimitingembodiment,amethodofusingtopical
        33:567-73; Zacher J, et al., Current Medic.a l Research and              diclofenac, and related methods of treatment, comprises
        Opinions 2008; 24(4):925-950) have evaluated the data from               informing a user of certain information regarding topical
        these topical diclofooac solution studies, and subsequently             _diclofenac, for eitample, a topical diclofeoac solution com-
        published national guidelines (Chou R, et al. Comparative                prising or consisting essentially of 1.5% d iclofeoac sodium
        Effectiveness and Safety of Analgesics for Osteoarthritis.         2s    (2-[(2,6-dichlorophenyl)amioo)be07.-eneacetic acid, monoso-
        Comparative Effectiveness Review No. 4: Rockville, Md.:                  dium salt), 45.5% DMSO, ethanol, propylene glycol, glycer-
        Agency for Healthcare Research and Quality. &:ptember                    inc, and water, said infonnation comprising one or more of
        2006. Available at: www.effectivehealthcare.ahrq.gov/re-                 the following: (J) the clinical effects of topical diclofenac
        ports/final.cfm; National Collaborating Centre for Chronic               dosing, including, for example, (a) the effects of particular
        Conditions. Osteoarthritis: National clinical guideline for        30    four ti.mes per day ("QID") dosing; (b) the effects of QID
        care and management in adults. London: Royal College Phy-                dosing in ooe or more clinical trials; (c) the results from a
        sieia.ns, 2008. AVllilable at: ht1p:/lwww.nice.org.uk/11ieeme-           12-week, double;bJirtd, double-dummy, randomized coo-
        dia/pdf/CG059Fu11Guideline.pdf; Tannenbaum H, ct al., J.                 trolled trial of topical diclofenac in a vehicle solution coo-
        Rheumatol. 2006; 33:140-57; Zhang W, et al. 2007, supra;                 tainingdimethylsulfoxidein775subjectswithrJdiologically
        Zhang W, et al. 2008 supra) have cited these srudies as evi-       JS    confirmed, symptomatic primary osteoarthritis of the knee;
        dence for the use of topical NSA!Os as first line therapy for            (d) !he effect of treating osteoarthritis of the knee in one or
        osteoarthritis. Topical diclofenac solution is used for the              more clinical trials, including the effect of treating one knee
        treatment of osteoarthritis and is currently approved for sale           when both knees are affe<:ted with osteoarthritis; and (e)
        in Canada and several European countries.                                results ofa human volunteer study on trans-epidermal water
           The efficacy of topical NSAIDs, such as topical diclofcnac      40    loss in which no alteration in skin barrier fuoclioo was
        solution, is thought 10 be due lo local action of the active             observed; (2a) the adverse event profile of topical diclofenac,
        NSAJD moleculefollowingitspenetrationthroughtheskinto                    including, for example (a) that administration of topical
        the tissue sites of inflammation and pain. Diclofeoac sodium             diclofenac does not increase the incidence of systemic
        is a member of the arylacanoic acid group of NSAJDs with                 adverse events over use of oral diclofenac alone; (b) that the
        lipophilic properties !hat limit its percutaneous penetration      4S    addition of topical diclofenac to oral diclofeoac does not
        (Nishihata T, et al., Chem. Pharm. Bull 1987; 35:3807-12).               increase the incidence of systemic adverse events in osteoar-
:.·     The biological property of DMSO to enhance skin penelra-                 lhritis patients; (c) the results of a clinical study demonstrat-
        tion of both hydrophilic and lipopbilic molecules is known               ing that the addition of topical diclofenac to oral diclofenac
        (Williams AC, Barry B W,AdvDrugDeliv Rev2004; 56:603-                    did not increase the incidence of systemic adverse events in
        18), with recent research focusing on the mechanism of             so    osteoarthritis patients; and (d) the results of a clinical study
        enhancement (Gurtovenko A A, Anwar J, J Phys Chem B                      showing that no eye Jens abnormalities were observed with
        2007; 11 I :10453-60). The percutaneous absorption of                    DMSO-vehicle or topical diclofenac in DMSO treatment;
        diclofenac following a multidose regimen of a topical                    (2b)theadverseeventprofileoftopicaldiclofenac,including,
        diclofenac solution (based on a DMSO-<:ontaioing vehicle)                for example (a) that administration of topical diclofenac
        was significantly enhanced compared to an aqueous                  ss    results in less frequent adverse events associated with the
        diclofenac formulation without DMSO (Hewitt, PG, et al.,                 NSAID class than oral diclofenac alone; (b) the results of a
        Pharmacol Res. 1998; 15:988-92). Within 1he extensive lit-               clinical study demonstrating that the addition of topical
        erature on DMSO are unsubstantiated claims of therapeutic                diclofenac to oral diclofenac did not cause an elevation of
        efficacy in the treatment of osteoarthritis, but no efficacy of          liver transaminases in osteoarthritis patients over use of oral
        DMSO vehicle was shown in a previous, 4-week randomized            60    diclofcnac alone; (3) preclinical study results with topical
        controlled studyofa topical diclofenac solution(BookmanA                 diclofenac, including, for example, (a) the effect of the use of
        A, et al . Effect of a topical diclofenac solution for relieving         topical diclofenac on absorption of environmental toxins,
        symptomsofprimaryosteoarthritis ofthe knee: a randomized                 including, for example, the results of a study showing that
        controlled trial. (..i\1AJ. 2004; 17 I :333-8).                          repeat~'<! application of topical diclofenac did not increase
           There remains a need in the art for methods of dosing           6S    systcmicenvironmentaltoxinexposure;and,(b)thee.ffectsof
        topical diclofenac formulations, and providing users and pre-            use of other topical products in conjunction with topical
        scribers with information regarding drug product attributes              diclofenac, including, for example, that concomitant use of




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                                                               APPX163
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        diclofenac topical solution by repeated application with other            12-week, double-bli.od, double-dummy, randomi1,ed con-
        topical products, including N,N-diethyl-m-toluamine                      trolled trial of topical diclofenac in a vehicle solution con-
        ("DEET"-active ingredient in insect repellent), 2,4-dichlo-              taining dimethyl sulfoxidein 775subjectswith radiologically
        ropheooxy acetic acid ("2,4-D"-active ingredient in com-                 confirmed, symptomatic primary osteoarthritis of the knee;
        monly used pesticides) and oxybenzooc (active ingredient in              (d) the effect of treati.og osteoarthritis of the knee in one or
        sunscreens) did not enhance the systemic absorption of these             more clinical trials, including the effect of treating one knee
;'. .   products.                                                                when both knees are affected with osteoarthritis; and (e)
           In another nonlimiting embodiment, a method of using                  results ofa human volunteer study on !rans-epidermal water
        topical diclofenac, for example, a topical diclofenac solution           loss in which no alteration in skin barrier function was
        comprising or consisting essentially of 1.5% diclofenac             10   observed; (2a) theadverseeventprolileoftopical diclofenac,
        sodium, 45.5% DMSO, ethanol, propylene glycol, glycerine,                including, for example (a) that administration of topical
        and water, and related methods of treatment, conlprises                  diclofenac does not increase the incidence of systemic
        obtaining topical diclofenac from a container providing i.ofor-          adverse events over use of oral diclofenac alone; (b) that the
        mation regarding (1) the clinical effects of~opical diclofcnac           addition o f topical diclofeoac to oral diclofenac does not
        dosing, including, for example, (a) the effects of particular       1s   increase the incidence of systemic adverse events in osteoar-
..,,    QID dosing; (b) the effects of QID dosing in one or more                 thritis patients; (c) the results of a clinical study demonstrat-
        clinical trials; (c) the results from a 12-week, double-blind,           ing that the addition of topical diclofenac to oral diclofenac
        double-dummy, randomized controlled trial of topical                     did not increase the incidence of systemic adverse events in
        diclofcnac in a vehicle solution containing dimethyl sulfox-             osteoanhritis patients; and (d) the results of a clinical study
.-.~    ide in 775 subjects with radiologically conli.rmcd, symptom-        20   showing that no eye lens abnormalities were observed with
;.;     atic primary osteoarthritis of the knee; (d) the effect of treat-        DMSO-vehicle or topical diclofenac in DMSO treatment;
        i.og osteoarthritis of the knee in one or more clinical trials,          (2b) the adverse event profile oftopical diclofenac, including,
        including the effect oftreating one knee when both knees are             for example (a) that administration of topical diclofenac
        affected with osteoarthritis; and (e) results of a human volun-          results in less frequent adverse events associated with the
        teer study on trans-epidermal water loss in which no alter-         2s   NSATD class than oral diclofenac alone; (b) the resu lts of a
        ation in skin barrier function was observed; (2a) the adverse            clinical study demonstrating that the addition of topical
        event profile of topical diclofeoac, including, for example (a)          diclofeoac to oral diclofcnac did not cause an e levation of
        that administration of topical diclofenacdoes not increase the           liver transaminases in osteoarthritis patients over use of oral
        incidence of systemic adverse events over use of oral                    diclofenac alone; (3) preclinical study results with topical
        diclofenac a lone; (b) that the addition of topical diclofenac to   JO   diclofenac, including, for example, (a) the effect of the use of
        oral diclofenac does not increase the incidence of systemic              topical diclofenac on absorption of environmental toxins,
        adverse events in osteoarthritis patients; (c) the results of a          including, fo.r example, the results of a study showing thal
        clinical study demonstrating that the addition of topical                repeated application of topical diclofenac did not increase
        diclofcnac to oral diclofenac did not increase the incidence of          systemic environmental toxin exposure; and, (b) the effects of
        systemic adverse events in osteoarthritis patients; and (d) the     3S   use of other topical products in conjunction with topical
        results of a clinical study showing that no eye lens abnonnali-          diclofenac, including, for example, that concomitant use of
        ties were obsetved with DMSO-vehiclc or topical diclofeoac               diclofenac topical solution by repeated application with other
        in DMSO treatment; (2b) the adverse event profile of topical             topical products, including DEET (active ingredient in insect
        diclofenac, including, for example (a) that administration of            repellent), 2,4-D (active ingredient in commonly used pesti-
        topical diclofenac results in less frequent adverse events asso-    40   cides) and oxybenrone (active ingredient in sunscreens) did
        ciated with the NSAID class than oral diciofenac alone; (b)              not enhance the systemic absorption of these products.
    I   the results of a clinical study demonstrating that the addition             In another nonlimiting embodiment, a method of using
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        oftopical diclofenac to oral dielofenac did not cause an eleva-
        tion of liver transaminases in osteoanhritis patients over use
        of oral diclofenac alone; (3) preclinical study results with        4S
                                                                                 topical diclofenac, for example, a topical diclofenac solution
                                                                                 comprising or consisting essentially of 1.5% diclofenac
                                                                                 sodium, 45.5% DMSO, ethanol, propylene glycol, glycerine,
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...·,
        topicaldiclofenac, including, for example, (a) the effect of the
        use of topical diclofenac on absoi:ption of environmental tox-
                                                                                 and water, and related methods of treatment, comprises
                                                                                 administering a topical diclofenac DMSO formulation to a
        ins, including, for example, the results ofa study showing that          patient, wherein the administration provides a therapeutic
        repeated application of topical diclofenac did not increase              diclofeoac concentration by application of about 40 drops to
        systemic environmental toxin exposure; and, (b) the effects of      so   one or both knees to a subject having osteoarthritis of the
        use of other topical products in conjunction with topical                knees, and the user is informed with regard to one or more of
        diclofcnac, including, for example, that concomitant use of              the following: (I) the clinical effects of topical diclofenac in
        diclofeuac topical solution by repeated application with other           DMSO dosing, including, for example, (a) the effects of
        topical products, includingDEET (active ingredient io insect             particular QID dosing; (b) the effects ofQID dosing in one or
,,j     repellent), 2,4-D (active ingredient in commonly used pesti-        ss   more clinical trials; (c) the results from a 12-week, double-
.:,1    cides) and oxybcnzone (active ingredient in sunscreens) did              blind, double-dummy, randomized controlled trial of topical
  ·.!   not enhance the systemic absorption of these products.                   diclofenac in a vehicle solution containing DMSO in 775
           lo still yet another nonlimiting embodiment, a method of              subjects with radiologicalJy confirmed, symptomatic primary
        using topical diclofenac, for example, a topical diclofenac              osteoarthritis of the knee; (d) the effect of treating osteoar-
        solution comprising or consisting essentially of 1.5%               60   thritis of the knee in one or more clinical trials, including the
        diclofeoacsodiwn, 45.5% DMSO, ethanol, propylene glycol,                 effect of treating one knee when both knees are affected with
        glycerine, and water, and related methods of treatment, com-             osteoarthritis; (2a) the adverse event profile of topical
        prises providing a user with-topical diclofenac. and informing           diclofcnac in DMSO, including, for example (a) that adrnin-
        the user of one or more of the following: (I) the clinical               isLrution of topical diclol'i,uac does 1101 incr.,.asc 1itc incideoce
        effects of topical diclofenac dosing. including, for example,       6S   of systemic adverse events; (b) that the addition of topical
        (a) the effects of particular QID dosing; (b) the effects ofQ!D          diclofenac in DMSO to oral diclofenac does not increase the
        dosing in one or more clinical trials; (c) the results from a            i.ocidence of systemic adverse events in osteoarthritis




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                                                            US 8,546,450 Bl
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      patients; (c) tlie results ofa clinical study demonstrating that     application of topical diclofeoace did not increase environ-
      the addition of topical diclofenac in DMSO to oral diclofenac        mental systemic toxin exposure; and, (b) the effects of use of
      did not increase the incidence of systemic adverse events in         other topical products in conjunction with topical diclofcnac,
      osteoarthritis patients; (2b) the adverse event profile of topi-     including, for example, that concomitant use of diclofenac
      ca! diclofCJ1ac, including, for example (a) that administration      topical solution by repeated application with other topical
      of topical diclofcnac results in less frequent adverse events        products, including DEBT (active ingredient in insect repel-
      associated with the NSAID class than oral diclofcnac alone;          lent), 2,4-D (active ingredient in commonly used pesticides)
      (b) the resulls of a clinical study demonstrating that the addi-     and oxybenzone (active ingredient in sunscreens) did not
      tion of topical diclofenac to oral diclofeoac did not cause an       enhance the systemic absorption of these products.
      elevation of liver transam.ioases in osteoarthritis patients over 10     In one nonlimiting embodiment, an article of manufacture
      use of oral diclofenac alone; (3) preclinical study results with     comprises a container containing a dosage form of topical
      topical diclofenac in DMSO, including, for example, (a) of           diclofenac, for example, a topical diclofenac solution com-
      the effects ofuseofothertopical products in conjunction with         prising or consisting essentially of 1.5% diclofenac sodium,
      topical diclofenac in DMSO, including, for example, that             45.5% DMSO, ethanol, propylene glycol, glycerine, and
      concomitant topical use of diclofenac in DMSO by repeated t5         water,   wherein the container is associated with published
      application with other topical products, including DEET (ac-         material providing some or all of the following information:
 ..   tive ingredient in insect repellent), 2,4-D (active ingredient in    (I) the clinical effects oftopical diclofeoac dosing, including,
-':
      commonly used pesticides) and oxybenzone (active ingredi-            for example, (a) the effects of particular QID dosing; (b) the
      ent in sunscreens) did not enhance the systemic absorption of        effects ofQfD dosing in one or more clinical trials; (c) the
j.,   these products; (b) the effect of the use of topical diclofenac 20 results from a 12-weck, double-blind, double-dwnmy, ran-
      in DMSO on absorption of environmental toxins, including,            domized controlled trial of topical diclofcnac in a vehicle
      for example, the results of a study showing that repeated            solution containing dimethyl sulfoxide in 775 subjects with
      topical application of diclofeoac in DMSO did not increase           radiologically confirmed, symptomatic primary osteoarthri-
      systemic environmental toxin exposure; ( 4) of the results ofa       tis of the knee; (d) the effect of treating osteoarthritis of the
      human volunteer study on trans-epidermal water loss in 25 knee in one or more clinical trials, including the effect of
      which no alteration in skin barrier function was observed.           treating one knee when both knees are affected with osteoar-
          lnyctanothernoolimiting embodiment, a method ofmanu-             thritis; and (c) results of a human volunteer study on trans-
      facturing a topical diclofenac pharmaceutical product com-           epidermal water loss in which no alteration in skin barrier
      prises packaging a topical diclofenac dosage form, for               function was observed; (2a) the adverse event profile of topi-
      example, a topical diclofenac solution comprising or consist- 30 cal diclofenac, including, for example (a) that administration
      ing essentially of 1.5% diclofeoac sodium (2-[(2,6-dichlo-           of topical diclofena<: does not increase the incidence of sys-
      rophenyl)amiilo]befi.Zeneaeetic acid, m.onosodium salt),             temic adverse events over use of oral diclofenac alone; (b)
      45.5% DMSO, ethanol, propylene glyco·I, glycerine, and               that the add it.i on of topical diclofenac to oral diclofenac does
      water, with some or all of the following information, in writ-       oot increase tbe incidence of systemic adverse events in
       ten or electronic form: (I) the clinical effects of topical 35 osteoarthritis patients; and, (c) the results of a clinical study
      diclofenac dosing, including, for example, (a) the effects of        demonstrating that the addition of topical diclofenac lo oral
       particular QID dosing; (b) the effects ofQIID dosing in one or      diclofenac did not increase the incidence of systemic adverse
      more clinical trials; (c) the results from a 12-weck, double-        events in osteoarthritis patients; (2b) the adverse event profile
       blind, double-dummy, randomized controlled trial oftopieal          of topical diclofenac, including, for example (a) that admin-
      diclofenac in a vehicle solution containing dimethyl sulfox- 40 istration of topical diclofenac results in less frequent adverse
       ide in 775 subjects with radiologically confirmed, symptom-         events associated with the NSA1D class than oral diclofeoac
       atic primary ostcoanhritis of the knee; (d) the effect of treat-    alone; (b) the results ofa clinical study demonstrating that the
       ing osteoarthritis of the knee in one or more clinical trials,       addition of topical diclofenac to oral diclofenac did not cause
       including the effect of treating one knee when both knees are       an elevation of liver transaminases in osteoarthritis patients
       affected with osteoarthritis; aod (e) results ofa human volun- 45 over use oforal diclofenac alone; (3) preclinical study results
       teer study on trans-epidermal water loss in which oo alter-          with topical diclofenac, including, for example, (a) the effect
       ation io skin barrier function was observed; (2a) the adverse        ofthe use of topical diclofeoac on absorption of environmen-
       event profile of topical diclofeoac, including, for example (a)      tal toxins, including, for example, the results ofa study show-
       that administration of topical cliclofenac does not increase the     ing that repeated application of topical diclofeoac did not
       incidence of systemic adverse events over use of oral 50 increase systemic environmental toxin exposure; and, (b) the
       diclofenac alone; (b) that the addition of topical diclofeoac to     effects of use of other topical products in conjunction with
       oral diclofenac does not increase the incidence of systemic          topical diclofenac, including, for example, that concomitant
       adverse events in osteoarthritis patients; and, (c) the results of   use of diclofenac topical solution by repeated application
       a clinical study demonstrating that the addition of topical          with other topical products, including DEET (active ingredi-
··:    diclofenac to oral diclofenac did not increase the incidence of ss ent in insect repellent), 2,4-D (active ingredient in commonly
J•     systemic adverse events in osteoarthritis patients; (2b) the
       adverse event profile of topical diclofeoac, including, for
                                                                            used pesticides) and oxybenzone (active ingredient in sun-
                                                                            screens) did not enhance the systemic absorption of these
       example (a) that administration of topical cliclofenac results       products.
       in less frequent adverse events associated with the NSAID                In one nonlimiting embodiment, the article of manufacture
       class than oral cliclofcoac alone; (b) the results of a clinical 60 is a kit. Thus, one aspect of the invention provides a novel kit
       study demonstrating that the addition oftopical·diclofeoac to        of parts comprising topical diclofenac (for example, a topical
       oral diclofenac did not cause an elevation of liver transami-        diclofenac solution or gel as described, or referenced, herein)
       nases in osteoarthritis patients over use of oral diclofenac         and· information informing -a user or prescriber of novel
       alone; (3) preclinical study results with topical diclofonae,         results from preclinical and clinical studies.
       including, for example, (a) the effect of the use of topical 65          In one noolimiting embodiment, the user or prescriber is
       dielofeoac on absorption of eovironmental toxins, including,          informed of the results ofor more preclinical studies in which
       for example, the ,:csults of a study showing that repeated            concomitantuseoftopical diclofenac with other topical prod-
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         ucts, including DEET (active ingredient in insect repellent),          topical diclofeoac may also include one or more pharmaceu-
         2,4-D (active ingredient in commonly used pesticides) and              tically acceptable carriers, thickening agents, solubiliziog
         oxybeozone (active ingredient in sunscreeos), was investi-             agents, dispersants, etc.
         gated. In one aspect of this embodiment, the user or prescriber              In certain embodiments, the diclofenac is in the fonn of a
         is i afonncd !hat repeated application oftopical diclofenac did s pharmaceutically acceptable sail or free acid. Examples of
         not enhance the systemic absorption of these products. In              pharmaceutically acceptable salts include metal salts, includ-
         another aspect of this embodiment, the user or prescriber is           ing alkali metal, alkaline earth metal, and nitrogen-based salts
         ulfonned that before applying sunscreen, insect repellant,             such as ammonium salts. Sodium, potassium, cpolamine and
·::      lotion, moisturi7.er, cosmetics, or olber topical medication to        diethylamine salts are preferred. In one preferred embodi-
         the same skin surface of the knee treated with topical to ment the diclofenac is diclofenac mooosodium salt.
         diclofenac, one should wait until the treated area is dry, wb.ich             lo one nonlimiting embodiment, the topical diclofenac is a
         occurs most often within IO minutes. lo another aspect of this
                                                                                solution.
         embodiment, the user or prescriber is infonncd that concomi-
                                                                                       In another nonlimiting embodiment, the topical diclofenac
          tant use of topical diclofenac and sunscreens and insect repel-
                                                                                 is a gel.
          laols is safe. In another aspect of this embodiment, the user or 1 s
          prescriber is informed that use of topical diclofeoac docs not               In one nonlim.iting embodiment, the topical dielofenac is a
          reduce the efficacy of a sunscreen. In another aspect of this          solution that comprises or consists essentially of diclofenac
          embodiment, the user or prescriber is informed that use of             and between about 40% and about 85% DMSO by weight of
          topical diclofenac does not reduce the efficacy of an insect           lbe solution, preferably between about 40% and about 60%
-"1       repellaot.                                                         20 DMSO by weight of the solution, more preferably between
:J             lo one noolimiting embodiment, the user or prescriber is          about 40% and about 50% DMSO by weight of lbe solution,
·1        informed of the results ofa transepidennal water loss study in         still more preferably between about 42.5% and about 48.5%
          which no alteration in skin barrier function following chronic         DMSO by weight of the solution, and most preferably about
    i     use of topical diclofenac was found In one aspect of this              45.5% DMSO by weight of the solution; a polyalcobol, pref-
          embodiment, lbe user or prescriber is infonncd that the study 2s erably having 3-5 carbon atoms, for the retention of moisture
          was performed on human volunteers' skjn.                                in lbe skin, which in certain embodiments is glycerol or
               In one noolimiting embodiment, the user or prescriber is          glycerine; a dispersant for assisting to disperse the compo-
           informed of the results of a clinical study demonstrating that         nents in solution to provide a homogeneous solution when
           the addition of topical diclofeoac to oral diclofeoac did not          applied to the skin and when penetrating the skin, which in
           increase the incidence of systemic adverse events in osteoar- 30 one embodiment is propylene glycol; and water.
           lbritis patients. In one aspect of this embodiment, the user or              In one nonlim.iting embodiment, the topical diclofenac is a
           prescriber is further informed that the combination of topical         solution comprising or consisting essentially of 1.5% w/w
           diclofenac and oral diclofenac did not increase the incidence          diclofcnac sodium (2-{(2;6-dichlorophenyl)amioo]ben7.ene-
           of digestive system events over oral diclofenac alone. In              acetic acid, monosodium salt) and 45.5% w/w dimethyl sul-
           another nonlimiling embodiment, the user or prescriber is JS foxide.
           informed of a study showing that adm.inis1ration of topical                  In another nonl imiting embodiment, the topical diclofenac
           diclofenac results in less frequent adverse events associated           is a solution that comprises or consists essentially of 1.5%
           with the NSAID class than oral diclofcnac alone and/or the             diclofcnac sodium (2-[(2,6-dicbloropheoyl)amino]benzcne-
            results of a clinical study demonstrating that the addition of         acetic acid, monosodiwn salt), 45.5% DMSO, ethanol, pro-
            topical diclofenac lo oral diclofenac did not cause an eleva- 40 pylene glycol, glycerine, and water.
            tion of liver transaminases in osteoarthritis patients over use             In another nonlim.iting embodiment, the topical diclofenac
           of oral diclofeoac alone.                                               is a gel formulation according to PCT/US2007/081674 (ln-
  •i            In another nonlim.iting embodimeot, the user or prescriber         temation.al Publication No. WO 2008/049020 A2), the con-
 ·!
._.',j      is informed of the results of a clinical trial in which one knee       tents of which are incorporated herein in their entirety by this
            was successfully treated with topical diclofen.ac even though 4S reference. The topical diclofenac may be any of the fonnula-
            most subjects bad bilateral osteoarthritis of the knees. lo one        tions described or claimed therein. In another noolimiting
            aspect of Ibis embodiment, the user or prescriber is further           embodiment, the topical diclofeoac is a gel formulation
            informed that topical diclofenac may be applied 10 only one            according to US Patent Application No. 20080300311 (pub-
            knee despite the existence of bilateral osteoarthritis.                 lished Dec. 4, 2008), the contents of which are incorporated
                In another oonlim.iting embodiment, the user or prescriber so herein in their entirety by this reference. Toe topical
            is informed that a regimen of topical diclofen.ac and oral             diclofeoac may be any of the formulations described or
            diclofeoac is useful for treating an individual with persistent         claimed therein.
            or breakthrough knee pain despite using ao oral NSAID.                       In another nonlim.iting embodiment, the topical diclofeoac
                 lo another oonlim.iting embodiment, the user or prescriber         is a gel formulation comprising diclofen.ac (e.g., diclofenae
             is informed that topical diclofenac, or a regimen of topical 5S sodium), dimethyl sulfoxide, ethanol, propylene glycol, one
 :J         diclofenac and oral diclofenac, is useful when topical                  or more thickening agents, and water. lo one aspect of this
--'l        diclofenac is applied to only one knee of a subject with                embodiment, the topical diclofenac gel formulation further
            osteoarthritis even though both knees ofan individual may be            comprises glycerol. ln another aspeel, the thickening agent is
            affected.                                                               selected from the group consisting of cellulose polymers,
                 lo yet another nonlimiting embodimen~, the user is pro- 60 carbomerpolymers, a Cl)lbomerderivative, a cellulose deriva-
             vided with some or all of the topical diclofenac clinical and           tive, polyvinyl alcohol, poloxamers, 'polysaccharides, and
             preclinical information described herein for purposes of                mixtures thereof.
             enhancing the safety profile of topical diclofenac.                         lo another nonlimitin~ embodiment. the_lopical diclofcnac
                 The topical diclohmac composition will comprise                     is a sel fonuulation comprising or consisting .:sselllially of
             diclofenac and at least one transdermal pcoetration enhancer 65 1-5% w/ w diclofeoac (preferably diclofenac monosodiwn);
             in an amount sufficient to aid in the delivery of a therapeuti-        30-60% w/w dimethyl sulfoxide; 1-50% w/w ethanol; 1-15%
 ._,'        cally effective amount of diclofenac to a desired area. The             w/w propylene glycol; a thickener; and water (added lo make




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             100% w/w). In a prefen-ed aspect of this embodiment, lhe gel            pain (acute or chronic, for example) and/or proximally
             formulation has a viscosity of 10-50,000 centipoise.                    thereto (including, for example, areas of reflected or second-
                lo another nonlimiting embodiment, the topical diclofenac            ary pain). Thus, for example, some or all of the user informa·
             is a gel formulation comprising or consisting essentially of            tion described herein is provided and the topical diclofenac is
             about 2% w/w diclofenac (preferably die lofenac moooso-                 administered to 1he skin a1 a site of pain and/or to skin loca-
             dium); about 45.5% w/w dimethyl sulfoxide; about 23-29%                 tions proximal thereto in a supporting body structure of a
             w/w ethanol; about 11 % w/w propylene glycol; about 0-6%                subject, including joints, muscles, tendons, ligaments, carti-
             w/w hydroxypropylceUulose (HYI 19); and water (added to                 lage and skin (including any one or more of these, together, or
             make 100% w/w). In a preferred aspect of this embodiment,
                                                                                     in any combination), and/or in the musculoskeletal system,
             the gel formulation has a viscosity of 500-5,000 centipoise.       to
                                                                                     by topical administration as provided herein, whereby pain is
                lo another nonlimiting embodiment, the topical diclofenac
                                                                                     reduced.
             is a gel formulation comprising or consisting essentially of
             diclofenac (preferably dielofenac monosodium) at a concen-                 lo one aspect, the present invention is directed to a method
             tration selected from the group consisting of I, 1.5, 2 and 3%          for reducing pain in a supporting body structure of a subject,
             w/w; dimethyl sulfoxide at a concentration selected from the       ts   comprising topically administering to said subject i.n oeed
             group consisting of 42, 43, 44, 45, 45.5 46, 47, 48 and 49%             thereofa pharmaceutical composition comprising a therapeu-
             w/w and fractions in between; ethanol at 2 3-29% w/w; pro-              tically elTectivc amount of a lr.tnsdermal diclofeaac solution
        !    pylene glycol at a concentration selected from the group                or gel formulation comprising DMSO, whereby pain is
 .I     i    consistingof9, 10, 11 , 12, 13%w/wandfractionsinbetween;                reduced, and providing to a user some or all of the clinical and
 "j
        ·\   hydroxypropylcellulosc (HY I 19) at 0-6% w/w; and water            20   preclinical information described herein. According to one
        :    (included in an amount sufficient to make 100% w/w). In a               nonlimiting embodiment, the supporting body structure is a
             preferred aspect of this embodiment, the gel formulation bas            joint. According to another nonlimiting embodiment, the sup-
             a visco~ity of about 500-5000 centipoise.                               porting body slructure is selected from the group consisting
                In certain embodiments, the above-described topical                  of muscles, bones, tendons, ligaments and cartilage. These
             diclofenac gel formulations include 1-5% glycerol. In such         25   methods are suitable for treating a subject suffering from
             embodiments, the gel formulation will have a drying rate and            arthritis. Conditions which may be treated include osteoar-
             a transdermal flux that are greater than a comparative liquid           thritis, rheumatoid arthritis, and anklyosing spondylitis.
             topical diclofenac formulation. In other embodiments, the                  lo a further nonlimiting embodiment this method is suit-
             above-described topical diclofenac gel formulations will                able for treating a subject suffering from acute pain. Suitable
             have a pH of about 6.0to about 10.0.                               30   pain conditions for treatment by this method include back
                In another nonlimiting embodiment, the topical diclofenac            pain, knee pain, hip pain, shoulder pain, ankle or leg pain,
             is a gel formulation comprising diclofcnac (e.g., diclofeoac            hand pain or finger pain, in which a user is also provided with
             sodium), ethanol, dimethyl sulfoxide, propylene glycol,                 some or all of the clinical and preclinical information
             bydroxypropylcellulose and water. 1n one aspect of this                 describedherein. loanalternatenonlimitingembodiment, the
             embodiment, the hydroxypropylcellulosc is substituted witb         35   subject is suffering from chronic pain, which may include
             alklycellulose, hydroxyalkylcellulose, carboxyalkylccllu-               back pain, knee pain, hip pain, shoulder pain, ankle or leg
             lose, or sodium carboxyalklycellulose, where alkyl is methyl,           pain, hand pain or finger pain. In another non limiting embodi-
             ethyl or propyl, or a mixture thereof.                                  ment, the subject is suffering from postoperative pain.
                lnanotheraspectofthe present invention, some or all of the              In another aspect, the present invention is directed to a
             user information described herein is provided and pain is          40   method for applying multiple topical agents to an subject with
             reduced in a supporting body slructure of a subject, including          pain comprising topically administering a pharmaceutical
             joints, muscles, tendons, ligaments, cartilage and skin, by             composition comprising a therapeutically etTectiveamount of
             topically administering to a subject in need thereofa pharma-           a topical diclofenac comprisingdiclofenac in DMSO, waiting
             ceutical composition comprising a therapeutically effective             for the treated area to dry (the time for which can be depen-
             amount of diclofenac in dimethyl sulfoxide, preferably             4S   dent on individual skin characteristics, environmental condi-
             45.5% w/w dimethyl su\fox.ide, or a phannaceutical compo-               tions such as temperature and hum.idity, and surface area,
             sition comprising a therapeutically effective amount of                 being often about 5-30 minutes, or about 5-20 minutes, for
             diclofenac in a gel formulation, as described herein, in PCT/           example, or typically about IO minutes or less for a topical
             US2007/081674, or in US Patent Application No.                          diclofeoac preparation, including a topical diclofenac solu-
             20080300311 . In another nonlimiting embodiment, pain in           so   tion as described in the Examples), and applying another
             the musculoskeletal system ofa subject is reduced. In another           topical agent(s). In one nonlimiting embodiment, the subject
             nonlimitingembodiment, pain in a supporting body s1ructure              bas osteoarthritis. In an.other nonlimiting embodiment, the
             of a subject and/or in the musculoskeletal system of a subject          subject has osteoarthritis ofthe knee. In one embodiment, the
             is reduced.                                                             topical agent administered after the topical diclofeaac is a
·,j             Various uses of the information provided herein following       ss   sunscreen or an insect repellant.
 ·1
             new clinical and preclinical studies include uses for treat-               Io another nonlimiting embodiment, the invention includes
             ment, or in the manufacture or preparation of formulations,             a method of protecting a subject with osteoarthritis from UV
             compositions, articles of manufacture and kits.                         exposure and alleviating the signs and symptoms of osteoar-
                The invention also includes methods employing topical                thritis in the subject comprising the steps of applying a thera-
             diclofenac, kits and articles of manufacture useful for pain       60   peutically effective amount ofa transdermal diclofenac solu-
             reliefor prevention in the treatment ofa subject, including in          tion or gel formulation comprising diclofenac in DMSO;
             the treatment of a subject following an invasive medical pro-           waiting for the treated area to dry (the time for which can be
             cedure or surgery. including an orthopedic procedure or sur-            dependent on individual skin characteristics. environmental
             gery, or a subject predisposed lo or otherwise at risk for pain,        conditions such as tcmpen,ture anti humidity, an<l surface
             wherein said methods, kits and articles of manufacture com-        6S   area, being often about 5-30 minutes, or about 5-20 minutes,
             prisesomeoraU oftheuserinformationdescribed herein.The                  for example, or typically about IO minutes or less fora topical
             topical diclofenac described herein is administered to a site of        diclofenac preparation, including a topical diclofenac solu-




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        tion as described in the Examples), and applying swiscroen to          As used herein, "musculoskelctal system" (also known as
       all or a portion of the same area of treatment.                      the locomotor system) refers to tbc system that gives animals
            In a further aspect, provided is an article of manufacture      the ability to physically move using the muscles and the
       comprising a topical diclofeoac preparation (e.g., a solution       skeletal system. The musculoskcletal system includes the
       or gel fonnulation for transdennal administration as s skeleton, made by bones a!Ulched to other bones with joints
       described herein) and a packaging material, wherein said            and ligaments, and skeletal muscle attached to the skeleton by
       topical diclofenac preparation comprises a pain relief effec-        tendons. Particularly useful applications of the present inven-
        tive amount of diclofenac in DMSO, wherein said packaging           tion include the prevention or treatment of musculoske.letal
        material comprises· a label or insert that indicates that said      pain, including pain that affects the joints, muscles, ligaments
       composition may be used for reducing pain in a supporting 10 and tendons, along with bones.
       structure, and wherein a user is also provided with some or all         As used herein, "pain" includes acute pain and chronic ·
                                                                           pain.
       of th.e clinical and preclinical infor:mation described herein.
                                                                               A "patient" means a subject in need of medical treatment.
           These and other aspects of the present inventions, which
                                                                            Medic.ii treatment can include treatment of an existing con-
       are not limited to or by the information in this 13riefSummary,
                                                                        15 dition, such as a disease or disorder, prophylactic or preven-
:_;.   are provided below.
                                                                           tative treatmenl lo some embodiments the patient is a human
                                                                           patient.
                BRIEF DESCRIPTION OP THE ORAWINGS
                                                                               A "pharmaceutical supplier" means a person (other than a
                                                                           medical care worker), business, charitable organization, gov-
           FIG. 1 shows mean TEWL scores for Retin-A® by Day- 20 ernmental o,ganizatioo, or other entity involved in !he trans-
       ITT.                                                                fer of topical diclofenac, including a dosage form thereof,
           FIG. 2 shows mean TEWL Scores for E>ENNSAJD® by                 between entities, for profit or not. Examples of pharmaceuti-
       Day-ITT.                                                            cal suppliers include pharmaceutical distributors, pharmacy
           FIG. 3 shows mean plasma concentration-time profile for         chains, pharmacies (online or physical), hospitals, HMOs,
       diclofenac sodium (ng/mL).                                       25 supermarkets, the Veterans Administration, or foreign busi-
           PIG. 4 shows mean plasma concentration-time profile for         nesses or individuals importing topical dielofenac into the
       dimethyl sulfoxide (µgimL).                                         United States.
           FIG. 5 shows mean plasma concentration-time profile for             As used be.rein, "preventing" or "prevention" means pre-
       diclofenac sodium (ng/mL).                                          venting in whole or in part, or ameliorating, reducing or
           FIG. 6 shows mean plasma concentration-time profile for 30 controlling.
       dimethyl sulfoxide (µg/mL).                                             A "product" or "phannaceutical product" means a dosage
           FJG. 7 shows p1ea1i plasma cot1centratioo-time profile for      fonn of topical diclofcnac plus published materia I and
       dimethyl sulfooe (µg/mL).                                           optionally packaging.
                                                                               "Providing" means giving, administering, selling, distrib-
                         DETAILED DESCRJPTlON                           35 uting, transferring (for profit or not), manufacturing, com-
                                                                           pounding, or dispensing.
           As used herein, a "disorder" is any disorder, disease, or           "Published material" means a medium providing informa-
       condition involving pain that would ben.efit from topical           tion, including printed, audio, visual, or electronic medium,
       diclofenac.                                                         for example a flyer, anadvcnisemeot, a product insert, printed
           "Enhancing the safety profile" of topical diclofenac means 40 labeling, an internet web site, an internet web page, an inter-
       implementing actions or articles designed or intended to help       net pop-up window, a radio or television broadcast, a compact
       reduce the incidence of adverse events associated with              disk, a DVD, a podcast, an audio recording, or other recording
       administration of topical diclofenac, including adverse             or electronic medium.
       effects associated with patient-related factors (e.g., age, gen-        "Safety" means the incidence or severity of adverse events
       der, ethnicity, race, ta,get illness, abnormalities ofcardiovas- 45 associated with administration of topical diclofenac, includ-
       cular, gastrointestinal, renal or hepatic function, co-morbid       ing adverse effects associated with patient-related factors,
• .1
       illnesses, characteristics such as pregnancy or environment,        including as noted above, and topical diclofenac-related fac-
• .I
       including sun exposure) and topical diclofenac-rclated fac-         tors, including as noted above.
       tors (e.g., dose, plasma level, duration of exposure, or con-           As used herein, "subject" refers to any mammal, including
       comitant medication).                                            50 humans, domestic and farm animals, and zoo, sports, or pet
           "Informing" means referring to or providing, published          animals, such as dogs, horses, cats, sheep, pigs, cows, etc.
       material, for example, providing published material to a user;      Non-limiting preferred mammals are a human, including
       or presenting information orally, for example, by presentation      adults, children, and the elderly. Non-limiting preferred
       at a seminar, conference, or other educational presentation,        sports animals are horses and dogs. Non-limiting preferred
•.,    by conversation between a pharmaceutical :sales representa- 5S pct animals are dogs and cats.
J.,    tive and a medical care worker, or by conversation between a
       medical care worker and a patient; or demonstrating the
                                                                               As used herein, "supporting body structure of a subject''
                                                                           refers to skeletal elements, joints, muscles, tendons, liga-
       intended information to a user for the purpose of comprehen-        ments, cartilage, and skin of that subject. Particularly useful
       sion.                                                               applications oflhe present invention include the prevention or
           A "medical care worker" meaos a workerin the health care 60 treatment of pain in and around joints, including shoulders,
       field who may need or utiliz.c information regarding topical        hips, knees, elbows, hands and fingers. Other particularly
       diclofenac including a dosage form thereof, including infor-        use.Ii.ti applications of the present invention include the pre-
       mation 011 safety. efficacy, dosing, administration, orpharrna-     vention or treatment of pain in the knee, including pain result-
       cokiuetics. Examples of medical workers include physicians,         ing from osteoarthritis of the knee. bacb or these may be
       pharmacists, physician's assistants, nurses, aides, caretakers 6s treated separately, as may each of joints, muscles, tendons,
  ;I   (which can include family members or guardians), emer-              ligaments, cartilage, and skin be the subject of separate treat-
       gen~-y medical workers, and veterinarians.                          ment for pain.
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                                                                    US 8,546,450 8 I
                                           15                                                                        16
                As used herein, a "therapeutically effective amount" or                      c. the resuhs from a 12-week, double-blind, double-
            "effective amount" in reference to the compounds or compo-                           dummy, randomized controlled trial of topical
            sitions of the instant invention refers to an :amount sufficient                     diclofenac in a vehicle solution containing dimethyl
            to induce a desired biological, pharmaceutical, or therapeutic                       sulfoxide in 775 subjects with radiologically con-
            result. That result can be alleviation of the :signs, s ymptoms,                     finned, symptomatic primal)' osteoanbritis of the
            o r causes· of a disease or disorder or condition, or any other                      knee;
            desired alteration of a biological system. In ithe present inven-                d. the effect oflrcating osteoarthritis ofthe knee in one or
:.i         tion, the result will involve preventing pain.
                The term "topical", as used herein, means the epicutaneous
                                                                                                 more clinical trials, including lhe effect of treating
                                                                                                 one knee when both knees arc affected with osteoar-
            application of an agent to the skin.                                  10
                                                                                                 thritis; and
                Topical diclofcnac solutions include any of the diclofenac
            solutions described or claimed herein (or described or                           e. results of a human volunteer study on trans-epidem1al
            claimed in U.S. Pat. Nos. 4,575,515 or4 ,652,557), which are                         water loss in which no alteration in skin barrier func-
            useful for the transdenrull administration o f diclofcnac to a                       tion was observed;
            subject, including, for example, a formulation containing             15      2. An adverse event profile for topical diclofenac, includ-
    :                                                                                        ing, for example
             I .5% w/w/diclofenac sodiwn . (2·((2,6-dichlorophenyl)
            amino]benzeneacetic acid, monosodium salt) and 45.5% w/w                         a. that administration of topical diclofea.ac does not
:           DMSO, and a formulation containing 1.5% w/w/diclofenac                               iucrease the incidence o f systemic adverse events
        j
            sodium (2·{(2,6-dichlorophenyl)aminojbeozeneacetic acid,                             over use of oral diclofenac alone;
..      I   monosodium salt), 45.5% w/w DMSO ethanol, propylene                   20         b. that lhe addition of topical diclofenac to oral

        I
        I
            glycol, glycerine, and water.
                Topical diclofenac gel formulation.~ ioclude any one or
            more of the diclofenac gel formulations described or claimed
            herein (or described o r claimed in PCT/US2007/081674 or
                                                                                                 diclofenac does not increase the incidence of systemic
                                                                                                 adverse events in osteoarthritis patients;
                                                                                             c. the results of a clinical study demonstrating that the
        !   US Patent Application No. 20080300311 ), which are useful             25
                                                                                                 addition of topical diclofenac to oral diclofcnac did
                                                                                                 not increase the incidence ofsystemic adverse events
        l   for the transdermal administration of diclofenac to a subject.                       in osteoarthritis patients; and,
        !       The term "transdermal", as used herein, means the delivery                   d. the results of a cli nical study showing !hat no eye lens
        i   of an agent into and/or through the skin for lherapy.                                abnormalities were observed witb DMSO-vehicle or
                Tue terms "treating" and "1reatment" mean implementa-                            topical diclofenac solution treatment;
            tion of therapy with the intention of reducing the severity or        30      3. An adverse event profile for said topical diclofenac solu-
             frequency of symptoms. As used herein, the terms "treating"                     tion, including, for example,
            and "treatment'' refer to both therapeutic treatmertt and pro-                   a. that administration of topical diclofcnac results in less
            phylactic or preventative measures.                                                  frequent adverse events associated with the NSAID
                A "user" means a patient, a medical care worker, or a                           c lass than oral diclofenac a lone; and,
            pharmaceutical s upplier.                                             35         b. the results of a clinical st11dy demonstrating that the
                Disclosed herein arc methods of using to pical diclofenac                       addition of topical diclofenac to oral diclofenac did
            formulations, articles of manufacture incorporating topical                          001 cause an elevation of liver transamioases in
            diclofenac fonnulations, and kits. Specifically disclosed are                       osteoarthritis patients over use of oral d iclofenac
            methods of using topical diclofenac and informing users of                           alone;
            certain preclinical and/or clinical information.                      40      4. A preclinical study profile for topical diclofenac, includ-
                1n one nonlimiting embodiment, a metb.o d is provided in                     ing, for example,
            which a subject is treated for a djsorder with a transdcnnally                   a. the effect of the use of topical diclofcnacon absorption
            delivered therapeutically effective amount of topical                                of environmental toxins, including, for example, the
'1          diclofenac and a user is provided with some or all of the user                       resuhs of a study showing that repeated application of
    i       information described herein. In ano!her noulimiting                  45             topical diclofenac solution did not increase systemic
• 1         embodiment, a method is provided in which a supporting                              environmental toxin exposure; and,
:-:I        body structure or the musculoskeletal system of a subject is                     b. theeffectsofuseofotbertopical products in conjunc-
    1       treated for a disorder with topical diclofenac and a user is                         tion with topical diclofenac, including, for example,
            provided with some or all of the user information described                          that concomitant use ofdiclofenac topical solution by
            herein. Jo another nonlimiting embodiment, the supporting             50             repeated application with other topical products,
            body strucrure is selected from joints, muscles, tendons, liga-                      including DEBT (active ingredient in insect repel-
            ments, cartilage and skin, and includes treatment of pain in                         lent), 2,4-D (active ingredient in commonly used pe:s-
            and around joints, including shoulders, hips, knees, elbows,                         ticides) and oxybenzone (active ingredient in sun-
            bands and fingers, as well as the back, particularly the lower                       screens) did oot enhance the systemic absorption of
            back. In one nonlimiting embodiment the pain is acute pain.           55             these products.
            In one nonlimiting embodiment the pain is chronic pain. In                 This information, which relates to a topical diclofenac con-
            one nonlimiting embodiment the pain is treated. In another                 taining 1.5% diclofenac sodium (2·((2,6-dich.loropheoyl)
            nonlimiting embodiment the pain is prevented. In one pre-                  amino]benzeneacetic acid, monosodium salt), 45.5%
            ferred nonlimiting embodiment, the pain results from                       DMSO, ethanol, propylene glycol, glycerine, and water, is
            osteoarthritis of the knee. Preferably, the subject is a human        60   sometimes referred to herein as the "lnfonnation."
            subject.                                                                      Jn one nonlimiting embodiment, a user is provided with the
                In one nonlimiting embodiment, information provided to                 Information, or with some or all of the Information, or with
            the user consists of. consists essentially o f. or comprises               some or-a ll o f the topical diclofenac clinical and preclinical
                 I. ·A cliuical prolilt: for topica l diclofonac including, for        information described hel'cin and in 1111, Examplc:s, for pur-
                     example                                                      65   poses of enhancing the safety profile of topical diclofenac
                     a. the effects of particular QID dosing of diclofenac;            and/or enhancing its application to or by a subject in need
                     b. the effects ofQIDdosinginoneor more clinical trials;           thereof.




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                                                                 US 8,546,450 BI
                                        17                                                                       18
              In one nonlimiting embodiment, infonuation provided to                   Diclofenac sodium is a benzene-acetic acid derivative that
          the user comprises infonuation regarding rne clinical effects            is a nonsteroidal anti-inflammatory drug, designated chemi-
          of dosing a topical diclofenac containing 1.5% diclofenac                cally as 2-((2,6-<lichlorophenyl)amino)benzeoeacetic acid,
          sodium (2·((2,6-dicblorophenyl)amino]benz.eneacetic acid,                monosodium salt, and may be prepared by means known in
          moaosodium salt), 45.5% DMSO, ethanol, propylene glycol,            s    the art. Sec, for example, U.S. Pat. No. 4,575,515.
          glycerine, and water, including, for example, (I) the effects of             Following synthesis a topical diclofenac solution may be
          particular QID dosing of diclofenac; (2) the effects of QID              formulated by methods known in the art as I .5% w/w
          dosing in one or more clinical trials including the results from         diclofenac sodium in DMSO (45.5% w/w). It is a clear, col-
          a  12-week, double-blind, double-dummy, randomized con·                  orless to faintly pink-orange solution for topical application.
          1tolled trial of topical diclofcnac in a vehicle solution oon·      10   Each I mL of solution may contain 16.05 mg of diclofcnac
          tainingdimethyl sulfoxidcin 775 subjects with radiologically             sodium. In addition, the topical diclofenac solution wi ll pref.
                                                                                   erably contain the following inactive ingredients: propylene
          confinned, symptomatic primary osteoarthritis of the knee;
                                                                                   glycol, alcohol, glyce.rin and purified water.
          (3) the effect of treating osteoarthritis of the knee in one or
                                                                                       In this disclosure, examples relating to new preclinical and
          more clinical trials, including the effect of treating one knee
                                                                              IS   clinical discoveries regarding topica l diclofenac are pro·
          when both knees are affected with osteoarthritis; and/or (4)             vided.
          results of a human volunteer study on trans-epidermal water                  While topical non-steroidal anti-inflammatory drugs are
          loss in which no alteration in skin barrier function was                 considered safe, their long-term efficacy for osteoarthritis has
_.,'      observed.                                                                been suspect. Example I describes the results ofa 12-week,
.-i           In auother nonlimiting embodiment, information provided         20   double-blind, double-dummy, randomi1,eci controlled trial of
";,":
          comprises information regarding the adverse event profile of             a topical dic!ofenac solution containing 1.5% diclofenac
          a topical diclofenac containing 1.5% diclofenac sodium (2·               sodium (2·[(2,6-dichlorophenyl)amino]benzeneacetic acid,
          [(2,6-dichlorophenyl)amino]benzencacetic acid, monoso-                   monosodium salt), 45.5% OMSO, ethanol, propylene glycol,
          dium salt), 45.5% OMSO, ethanol, propylene glycol, glycer·               g lycerine, and water was conducted in 775 subjects with
          ine, and water, including, for example (I) that administration      2s   radiologically confirmed, symptomatic primary osteoarthri-
          of topical diclofenac does not increase the incidence of sys-            tis of the knee. This 5-ann study compared the topical
          temic adverse events over use of oral diclofenac alone; (2)              diclofenac solution with a placebo solution, OMSO vehicle,
          that the addition of topical diclofenac to oral diclofenac docs          oral diclofenac and a combination of the topical diclofenac
          not increase the incidence of systemic adverse events in                 solution+oral diclofenac for relieving the signs and symp-
          osteoarthritis patients; (3) the results of a clinical study dem-   30   toms of knee osteoarthritis. Subjects applied study solutioo,
          ons1tating that the addition of topical diclofenac to oral               40 drops QJO (four times daily), and took one study tablet
          dielofenac did not increase the incidellce ofsysteillic adverse          daily for 12 weeks. Co-primary efficacy variables were West-
          events in osteoarthritis patients; and/or (4) the resu"tts of a          ern Ontario McMaster Universities Osteoarthritis Index
          clinica l study showing that no eye lens abnormalities were              ("WOMAC") pain and physical function scores and a patient
          observed with OMSO-vehicle or topical diclofenac solution           JS   overall bealth assessment. Secondary variables were
          1reatmeot.                                                               WOMAC stiffness and patient global assessment ("PGA'') of
             In yet another nonlimiting embodiment, information pro-               the knee osteoarthritis. The topical diclofenac solution was
          vided comprises information regarding preclinical study                  superior to placebo for pain (-6.0 vs.-4.7, P=0.015), physical
          results with a topical diclofenac containing 1.5% diclofenac             function (-15.8 vs.-12.3, P.:-0.034), overall health (-0.95
          sodium (2·[(2,6-dichloropbenyl)am.ino]beozeoeacetic acid,           40   vs.-0.37, P<0.0001), and PGA (-1.36 vs.-1.01, Pr.0.016),
          monosodium salt), 45.5% DMSO, ethanol, propy lene glycol,                and was superior to DMSO vehicle for all efficacy variables.
          glycerine, and water, including, for example, (1) the effect of          The most common adverse event was dry skin (I 8.2%). Sur-
          the use of the topical diclofenac on absorption of environ-              prisingly, no significant difference was observed between
..:--,·   mental toxins, including, for example, the results of a study            DMSO vehicle and placebo or between the topical diclofenac
          s.bowing that repeated application of the topical diclofenac        4S   solution a ud oral diclofenac, yet fewer digestive system and
          did not increase systemic envirorunentaJ toxin exposure; and,            laboratory abnormalities were observed with topical
          (2) the effects ofuse of other topical products in conjunction           diclofenac than oral diclofcnac. Further, addition of the topi·
          with the topical diclofenac, including, for example, that oon-           cal diclofenac solution to oral diclofenac did not increase the
          comitant use of diclofenac topical solution by repeated appli-           incidence of systemic adverse events. Additionally, adm.inis-
          cation with other topical products, inc!udiog DEET (active          so   lfation of topical diclofenac resulted in less frequent adverse
          ingredient in insect repellent), 2,4-0 (active ingredient in             events associated with the NSAID class than oral diclofeoac
          commonly used pesticides) and oxybc020ne (active ingredi-                a lone, and the addition of topical diclofenac to oral diclofenac
          ent in sunscreens) did not enhance the systellllic absorption of         did not cause an elevation of liver transaminases in osteoar-
          these products.                                                          thritis patientsoveruseoforal diclofenac alone. Usen; may be
             In still another nonlimiting embodiment, information pro·        ss   apprised of the above information according to the invention.
          vided oomprises information regarding the clinical effects of            A further unexpected discovery of the study, the results for
          topical diclofenac dosing, information regarding the adverse             which are provided as Example I, is that in the study the
          event profile of topical diclofenac, and/or information regard-          topical diclofenac solution was applied to only one knee.
          ing preclinical srudy results with topical diclofenac, as                Most patients suffer from osteoarthritis equally in both knees,
          described herein, wherein the topical diclofenac oontaios           60   yet single knee application yielded a clinical benefit in both
          1.5% diclofenac sodium (2·((2,6-dicblorophenyl)amino]                    knees. Users or prescribers may be further apprised of this
          benzeneacctic acid, monosodium salt), 45.5% OMSO, etha-                  additional information according to the invention.
          nol, propylene glycol , glycerine. and water.                               Topical diclofenac in a DMSO vehicle is an effective treat- ·
             In one 1101tlimiting embodiment, the dicJofonac is in the             ment option forosteoarthritisoftheknee wit h dlicacy si,uilar
          form of a topical diclofenac solution formulation. In another       6S   to, but tolerability better than, oral diclofenac. OMSO vehicle
          nonlimiting embodiment, the diclofenac is in the form of a               was no more efficacious than placebo. According to the inven-
          topical diclofenac gel formulation.                                      tion, users may be apprised of this iofonnation with regard to




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                                                          US 8,546,450 B1
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     use oftopical diclofeoac, particularly with regard to the use of     systemic exposure to diclofenac caused by use of the topical
     a topical diclofenac solution comprising 1.5% w/w                    diclofenac to treat osteoarthritis of the knee (40 drops per
     diclofenac sodium and 45.5% w/w DMSO, which also                     knee QlD) is much lower than that caused by a typical oral
     optionally contains propylene glycol, alrohol, glycerin and          dose of diclofenac used in u-ea1ment ofosteoarthritis (e.g., 50
     purified water as inactive ingredients.                              mg three times per day or "110"). The fact that the topical
          Examples 2 and 3 describe the results of environmental          diclofenac can be shown to be comparable to oral diclofenac
     toxin studies. Surprisingly in ligl.tt of the efficacy ofDMSO in     sodium for treatment ofosteoarthritis (see Example 1) is very
     facilitating the skin penetration of diclofenac, these studies       surprising in view of these facts, especially as it is widely
     show that concomitant, repeated use of a topical diclofcnac           believed that NSAJDs, such as diclofe.oac, exert their analgc-
     solution containing 1.5% diclofenac sodium (2·((2,6-dichlo- 10 sic effects both locally and centrally. From the data in
     rophenyl)amino)benzeneacetic acid, monosodium sa lt),                Example 8 it also can be computed.that Cm,._.of orally admio-
     45.5% OMSO, ethanol, propylene glycol, glycerine, and                istered diclofenac is more than one hundred fold higher than
     water, with other topical products, including OEET (active           Cm., for the topical diclofenac.
     ingredient in insect repellent), 2,4-0 (active ingredient in              lo one nonlimiting embodiment, the user is provided with
     commonly used pesticides) and oxybcnzone (active ingredi- IS information in the fom1 of(orsubstantially in theformol) the
     ent in sunscreens), did not enhance the systemic absorption of       Attachment. In another nonlimiting embodiment, the infor-
     lhese products. According to !he invention, users may be             mation in !he Attachment is provided in a form that bas been
     apprised of this information with regard to use of topical            modified where appropriate to refer to the subject product as
     diclofenac, particularly with regard to the use of a topical         a topical diclofenac gel or other formulation ratb.er than a
     diclofenac solution containing J.5% diclofenac sodium (2- 20 topicalsolution. lnanothernonlimitingembodiment,theuser
"j   ((2,6-<licbloropbenyl)amino]ben.zeoeacetic acid, monoso-
     dium salt), 45.5% DMSO, ethanol, propyleoc glycol, glycer-
                                                                           is provided with information comprising or consisting essen-
                                                                           tially of in the Attachment. In another oonlimiting embodi-
     inc, and water.                                                       mcnt, the user is provided with information consisting esseo-
 I        Examplc 4 describes the results of a transepidermal water
     toss ("fEWL") study performed on human volunteers' skin. 2s
                                                                           tially of the Attachment.
                                                                               Many embodiments are suitable for treatment of subjects
 i   TEWL is a parameter useful for measuring changes to stra-             either as a preventive measure (e.g., to avoid pain) or as a
     tumcomeumbarrierfuoction. Unexpectedlygiventheroleof                  therapeutic composition to treat subjects who are suffering
     DMSO in permeabilizing the skin for diclofeoac uptake, the            from acute or chronic pain. In one nonlimiting embodiment,
     results show no alteration in skin barrier function following         for example, a method of trealment or prevention of pain,
     chronic use of topical diclofenac. According to the invention, 30 including pain associated with an arthritic condition, and
     users may be apprised of this information with regard to use          related kits and ar1icles of manufacture, comprises using a
     of topical diclofenac, pa.rt.icularly\1/ith regard to the use of a    topical diclofenac solution or topical get formulation
      topical diclofenac solution comprising 1.5% w/w diclofenac           described herein together with some or all of the clinical
      sodium and 45.5% w/w DMSO, which also optionally ron-                and/or preclinical information described herein. Arthritic
      tainspropyleneglycol,alcobol,glycerinandpurifiedwateras JS conditions include the various forms of arthritis, including
      inactive ingredients. Users may also be ioformed that, before         rheumatoid arthritis, osteoarthritis, and ankylosiog spoodyli-
      applying sunscreen, insect repcllant, lotion, moisruri1..er, cos-     tis.
      metics, or other topical medication to the same skin surface,             Disclosed herein are topical diclofenac formulations, kits,
      for example, a knee, that has been treated with topical               and methods of using topical diclofcoac and topical
      diclofeoac, the user should wait until the treated area is dry, 40 diclofenac formulations. Specifically disclosed are methods
      which occurs most often within 10 minutes.                            of using topical diclofenac and informing the user of certain
          Example 5 describes the results of a study to evaluate the        information as provided herein. With the knowledge of the
      ophthalmologic effects of topically applied DMSO in a                 particular information, the administrdtion of topical
      52-wcek non-occluded dermal toxicity srudy in Gottingeo               diclofenac to the patient can be optimized to provide safer and
      mini pigs. It provides information about the ocular safety pro· 45 more effective use of topical diclofenac, alone or together
       file of dermally applied formulations containing purified            with ora.1diclofeoac. M used herein, topical diclofenac for-
      DMSO. Results showed that thei:e was no increased risk for            mutations include topical diclofeoac solutions and topical
      developmentoflensopacitiesorchaoges in refractive indices             diclofenac gel formulations, including a topical diclofenac
      associated with DMSO. lo fact no testarticle-relatedophthal-          preparation containing 1.5% diclofenac sodium (2·((2,6-
       moscopic abnormalities were detected dnring the study.           so dicbloropbenyl)amino Jbeozeneacetic acid, monosodium
           Example 6 describes the results of a study to evaluate the       salt), 45.5% DMSO, ethanol, propylene glycol, glycerine,
       toxicity of test articles containing 9, 45.:5, and 90% w/w           and water.
       DMSO after dermal administration for 26 weeks, three times               Topical diclofeoac therapy can be considered optimal
       perday,andtoevaluatereversibilityofanyobservedchaoges                when combined with the new clinical, preclinical, adverse
       following a 12-weck postdoseobservation period in male and ss event information provided and described herein. Disclosed
       female Sprague-Dawley rats. No test article-related ophthal-         herein are methods of using topical diclofeoac for transder-
       mological abnormalities were detected in any animal during            mat administration, which may provide an increase in the
       the pretest, terminal, and recovery ophthatmoscopic exami-           safety or efficacy of topical diclofenac trea1meot. Extensive
       nations.                                                              research has been performed on administering topical
           Examples 7 and 8 describe studies to evaluate the pharma- 60 diclofenac that now reveal several developments relating to
       cokineticsofdiclofenacsodium,dime1hylsulfoxide(DMSO)                  improvements in safe and effective treatment using topical
       and dimethyl sulfone (the major metabolite of DMSO) after a          diclofeoac. In certain preferred embodiments, the topical
       ~ingle- and multiple-dose applications ofa ropical diclofenac .       diclofenac for transdennaf,idministration is in the fonn of a
       preparaLion containing 1.5% diclofonac socliwn (2-[(2,6 -             solution or a gel.
       dichlorophenyl)aroioo)beozeneacetic acid, monosodium 6S                   In ooe nonlimiting embodiment, such noolimiting infor-
       salt), 45.5% DMSO, ethanol, propylene glycol, glycerine,              mation provided to a user includes the information described
       and water. These data provide compelling evidence that the            in Example I, or a summary thereof.




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                                                              US 8,546,450 Bl
                                      21                                                                   22
            ln another nonlinuting embodiment, such nonlirniting              lisbed Dec. 4, 2008), lhe contents of which are incorporated
        information provided to a user includes the information               herein in their entirety by this reference. The topical
        described in Examples 2 and/or 3 , or a swumary thereof.              diclofenac may be any of the gel formulations described or
             ln another nonlinuting embodiment, such nonlinuting              claimed therein.
        information provided to a user includes the information s                  In another nonlimiting embodiment, the topical diclofenac
        described in Example 4, or a summary thereof.                         is a gel formulation comprising diclofenac sodium, dimethyl
             ln another nonlimiting embodiment, such nonlimiling              sulfoxide, ethanol, propylene glycol, one or more thickening
        information provided to a user includes the information               agents, and water. ln one aspect of this embodiment, the
        described in Example 5, or a summary thereof.                         topical diclofenac gel formulation further comprises glyc-
             In another nonlimiting embodiment, such nonlimiting 10 erol. ln another aspect, the thickening agent is selected from
        information provided to a user includes the information               lhe group consisting of.cellulose polymers, carbomer poly-
        described in Example 6, or a summary thereof.                         mers, a carbomer derivative, a cellulose derivative, polyvinyl
             In another nonlimiting embodiment, such nonlimiting              alcohol, poloxamers, polysaccharides, and mixtures thereof.
        information provided to a user includes lhe information                    In another nonlimiting embodiment, the topical diclofenac
        described in Examples 7 and/or 8, or a summary thereof.            ts is a gel formulation comprising or consisting essentially of
             In .another nonlimiting embodiment, such nonlimiting              1-5% w/w diclofenac sodium; 30-60% w/w dimethyl sulfox-
         information provided to a user includes the information               ide; 1-50% w/w ethanol; 1-15% w/w propylene glycol; a
        described in two or more or all of Examples 1-6. ln aoother            thickener; and water (added 10 make JOO% w/w). In a pre-
         oonlimiting embodiment, such nonlimiting information pro-             ferred aspect of this embodiment, the gel formulation has a
         vided to a user includes the information described in two or 20 viscosity of I 0-50,000 centipoise.
         more or all of Examples 1-8.                                              lo another noolimiting embodiment, the topical diclofenac
              In yet another nonlimiting embodiment, such nonlimiting          is a gel formulation comprising or consisting essentially of
         information provided to a user is the information in the              about 2% w/w diclofenac sodium; about 45 .5% w/w dimethyl
         Attachment.                                                           sulfoxide; about 23-29% w/w ethanol; about 11% w/w pro·
              lo one embodiment, such nonlimiting information pro- 25 pylene glycol; about 0-6% w/w hydroxypropylcellulose
         vided to a user is or comprises !he information in one or more        (HYI 19}; and water (added to make 100% w/w). In a pre-
         oral Iof Sections 5.9 ("Ophlhamologic Effects"), 6 ("Adverse          ferred aspect of this embodiment, the gel formulation has a
         Reactions"), 7 .8 ("Oral Nonsteroidal Anti-inflammatory               viscosity of 500-5,000 centipoise.
         Drugs"), 7.9 C'Topical Trea1ments"), 12.3 ("Pharmacokinet-                 In another nonlimiting embodiment, the topical diclofcnac
         ics) and 14 ("Clinical Studies") oftheAnaclunent.                 JO is a gel formulation comprising or consisting essentially of
              Topical diclofenac can be formulated for administration          diclofenac sodium at a concentration selected from the group
         where the fonnulation generally contains DMSO and one or              consisting of 1, 1.5, 2 and 3% w/w; dimethyl sulfoxidc at a
         more pharmaceutically acceptable excipienrs.As used herein,           concentration selected from the group consisting of 42, 43,
         "pharmaceutically acceptable excipient" mea.ns any other              44, 45 , 45.5 46, 47, 48 and49% w/w and fractions in between;
         component added to the phannaceutical formulation other JS ethanol at 23-29% w/w; propylene glycol at a concentration
          than the diclofenac and tbe DMSO. Excipients may be added             selected from the group consisting of 9, JO, II, 12, 13% w/w
          to facilitate manufacture, enhance stability, control release,        and fractions in betweco.; hydroxypropylcellulose (HYI 19}
         cohance product characteristics, enhance bioavailability,              at 0-6% w/w; and water (included in an amount sufficient to
          enhance patient acceptability, etc. Pbannaceutical excipients         make 100% w/w). In a preferred aspect of this embodiment,
          include, for example, carriers, fillers, binders, disintcgrants, 40 the gel formulation has a viscosity of about 500-5000 ceoti-
          lubricants, glidants, colors, preservatives, suspending agents,       poise.
          dispersing agents, film formers, buffer agents, pH adjusters,             Jo certain embodiments, the above-described topical
          preservatives etc.                                                    diclofenac gel formulations include 1-5% glycerol. In such
               In certain embodiments, the diclofenac is in the form of a       embodiments, the gel formulation will have a drying rate and
          pharmaceutically acceptable salt or free acid Examples of 45 a transdermal flux that are greater than a comparative liquid
          pharmaceutically acceptable salts include metal salts, includ-        topical diclofenac formulation. In other embodiments, the
           ing alkali metal, alkaline earth metal, and nitrogen-based           above-described topical diclofeoac gel formulatioos will
          salts, such as am.moniun1 salts. Sodium, potassium, epola-            have a pH of about 6.0 to about 10.0.
           mine and diethylamine salts are preferred. In oo.e preferred              In another nonlimitingembodiment, tbetopical diclofcnac
          embodiment the diclofenac is diclofenac monosodium salt. so is a gel foonulation comprising diclofenac sodium, ethanol,
               In ooe oonlimiting embodiment, the topical diclofenac is a        DMSO, propylene glycol, bydroxypropylcellulose and water.
          solution.                                                             ln one aspect of this embodiment, tbe hydroxypropylcellu-
               In another nonlimiting embodiment, the topical diclofenac         lose is substituted with alklycellulose, hydroxyalkylcellu-
           is age!.                                                              lose, carboxyalkylcellulose, or sodium carboxyalklycellu-
  I
.i             In one embodiment, the topical diclofenac is 1.5% w/w ss lose, where alkyl is methyl, ethyl or propyl, or a mixture

,::'J      dic!ofenac sodium in a vehicle solution containing DMSO
           45.5%w/w andotherexcipients. Inoneasp,ectofthiserobodi-
           ment, the other excipients comprise propylene glycol, alco-
                                                                                 thereof. lo a further aspect of this embodiment, the said alk-
                                                                                 lycellulose, hydroxyalky ]cellulose, carboxyalkylcel lulose, or
                                                                                 sodium carboxyalklycellulose is replaced in whole or in part
           hol, glycerin and purified water.                                     by an acrylic polymer (for example, Carbopol polymers,
               In one uonlimiting embodiment, the topical diclofenac is a 60 Noveon polycarbophils and Pemulen polymeric emulsifiers
           gel formulation according to PCT/US2007/081674 (Interna-              available commercially from Noveon Inc. of Cleveland,
           tional Publication No. WO 2008/049020 A2), tbe contents of            Ohio), an acrylic polymer derivative, a cellulose polymer
           which are incorporated herein in their entirety by .this refer-       derivative, polyvinylalcohol ("PVA"), pc,lyvinylpyrrolidone
           ence. The topical diclofcuac may be auy or tbe gel fonnula-           ("PY P"), a poloxamer, a puly:;accharide, ura mixture thereof.
           tioas descrjbed or claimed therein. In another noolirniting 65            In another aspect, gel formulations useful in the invention
           embodiment, tbe topical diclofenac is a gel formulation               are NSAID gel formulations, such as a topical diclofenac gel
           according to US Patent Application No. 20080300311 (pub-               formulation, and components of the formulations are as fol-




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           lows: The gel formulations comprise an active agent, prefer-        elhylencdiaminetetrarnethylenepbosphonic                    acid
           ably a non-steroidal anti-inflamrnn1ory drug or pbannaceuti-        ("EDTMP"), sodium citrate, sodiwn ElDTMP, and mixtures
           cally acceptable salts thereof. More preferably, the non-           thereof. In addition, the topical gel formulations can also
           steroidal anti-in0ammatory is diclofenac io the fonn of a           compriseapHadju stingageot. lnoneparticularCl llbodiment,
           pharmaceutically acceptable salt or free acid. Examples of s the pH adjusting agent is a base. Suitable pH adjusting bases
           pharmaceutically acceptable salts include metal salts, includ-      include bicarbonates, carbonates, and hydroxides such as
           ing alkali metal, alkaline earth mel81, and nitrogen-based          alkali or alkaline earth metal hydroxide as well as tronsition
,,.,       salts, such as ammonium sails. Sodium, potassium, epola-            metal hydroxides. Alternatively, the pH adjusting agent can
           mine and diethylamine salts are preferred. In one preferred         also be an acid, an acid salt, or mixtures thereof. Further, the
           embodiment the diclofenac is diclofenac monosodium salt. 10 pH adjusting agent can also be a buffer. Suitable buffers
              In a preferred embodiment, the sodium salt of diclofenac is      include citrate/citric acid buffers, aoetatc/ace1ic acid buffern,
           used. Diclofenac may be present in a range of approximately         phosphate/phosphoric acid buffern, formate/formic acid buff-
           0.1% to 10%, such as I, 2, 3, 4, or 5% w/w. 1n another             ern, propionate/propionic acid buffern, lactatc/lactic acid
           embodiment, the present invention includes a penetration            buffers, carbonate/carboni c acid bufTern, ammonium/ammo -
           cnhancer. TI1e penetration enhancer may be dimethyl sulfox- 15 oia buffers, and lhc like. The pH adjusting agent is present
                                                                                                                                              in
           ide ("DMSO") or derivatives thereof. The DMSO may be                an amount sufficient to adjust the pH o f the composition to
           present in an amount by weight of lo/o lo 700/4, and more           between about pH 4.0 to about 10.0, more preferably about
           preferably, beiwecn25% and 60%, such as 25, 30, 40, 45, 50,         pH 7.0 to about 9.5. lo certain embodiments, the unadjusted
           S5, or 60% w/w. Preferably, DMSO is used in the present            pH of the admixed components is be1wcen 8 and I 0, such as
           invention al :i concentration of obout 40 10 :about 50% w/w, 20 9, without the need for the addition of any pH adjusting
           such as 41, 42, 43, 44, 45, 46, 47, 48, 49 and 500/4 end all       agents.
           fractions in between such as 44, 44.5, 45, 45.5, 46, 46.5%, and        The present invention includes a me1hod for applying mul-
          the like. In catlin embodiments, the gel fonnulation includes       ti pie topical agents toa subject with pain comprising topically
          a loweralkanol,suc bas methanol ,etbanol,propanol , butanol         administering a pbarmaceu6cal composition comprising a
          or mixtures thereof. In certain embodiments, the alkanol is 25 therapeutically effective amount of a topical diclofcnac
                                                                                                                                             in
          present at about I 10 about 50% w/w. Preferably, ethanol is         DMSO, waiting fort he treated area to dry (the time of which
          used at about 1-500/4 w/w, such as I, 5, 10, 15, 20, 25, 30, 35,    can be dependent on individual skin characteristics, cnviron-
          40, 45, or 500/4 w/w, and all fractions in between. In certain      mental conditions such as temperature and humidity, and
          embodiments, the gel formu.latioo includes a polyhydricalco-        surface area, often about 5-30 minutes, about 5-20 minutes,
          hol, such as a glycol. Suitable glycols includeethylene glycol, JC for example, and typically about IO minutes or less for
                                                                                                                                               a
          propylene glycol, butylene glycol, dipropylene glycol, hex-         topical diclofeaac preparation, including a topical diclofenac
          anetriol and a combination thereof. Preferably, propylene           solution as described in the Examples), and applying another
          glycol is used al about at 1-15% w/w, such as I, 2, 3, 4, 5, 6,     topical agents. In one nonlimiting embodiment, the subject
          7, 8, 9, 10, 11, 12, 13, 14, or I 5% w/w, and all fractions in      bas osteoarthritis. In another oonlimiting embodiment, the
          between. In certain embodiments, the gel formulation 35 subjecthasosteoa nhritisofthekncc. lnoneembodimen
                                                                                                                                          t,the
          includes glycerol (also referred 10 as glycerine) at a concen-      topical agent administered after the topical diclofen:1c is a
          tration of0-12% w/w. Preferably, glycerol is used at 0-4%          sunscreen or an in.~cct repellant, In another nonlimitiog
          w/w, such as 0, I, 2, 3, or 4% w/w, and all fractions in           embodiment, the invention includes a method of protecting a
          between. In some embodiments, no glycerol is used in the           subject with ostooanhritis from UV exposure and alleviating
          formulation. In a preferred embodiment, the gel formulation 40 the signs and symptoms of osteoarthritis in the subject com-
          provides comprises a diclofcoac solution and at least one           prising the steps of applying a therapeutically effective
          thickening agent to make a gel. The at least one thickening         amount of a topical diclofeoac in DMSO; waiting for the
         agent of the present invention may be an acrylic polymer (for        treated area lo dry (the time of which can be dependent on
         e,cample, Carbopol polymers, Noveon polycarbopbils and              individual skin characteristics, environmental conditions
          Pemulen polymeric emulsifiern available commercially from ~.s such as temperoturc and humidity, and surface area, often
 :,
          Noveon Inc. of Cleveland, Ohio), an acrylic polymerderiva-
.,
.:,
          tive, a cellulose polymer, a cellulose polymer deriva6ve,
                                                                             about 5-30 minutes, about S-20 minutes, for example, and
                                                                             typically about 10 minutes or less for a topical diclofeoac
 ·.j
         polyvinyl alcohol, poloxamers, polysaccharides or mixtures          preparation, including a topical diclofenac solution as
         thereof. Preferably the at least one thickening agent is            described in the Examples), applying sunscreen to the same
         bydroxypropylcellu lose (HPC)usedsuch that the end viscos- 50 area of treatment.
         ity is between 10and50000centi poise(cps). More preferably              Also included herein are pharmaceutical products (kits)
         the end viscosity is between 500 and 20000 cps. The gel             useful, for ex.ample, for the treatment or prevention of pain,
         formulation may optionally include al least one 3Dlioxidant         including pain caused by arthritis, such as osteoarthritis, for
         and/or one cbelatiog agent Preferred antioxidants may be            example, whichcompriseo neormorccontain erncootaioiog
         selected from the group consisting ofbutylatcd hydroxytolu- ss a topical diclofcnac formulation and information or published
         enc (BHT), butylated hydroxyuoisole (BHA), ascorbyl                 material, e.g., as product inserts or product labels. The infor-
         linoleate, ascorbyl dipalmitate, ascorbyl tocopherol maleatc,       mation can indicate quantities of the components to be
         calcium ascorbate, caroteooids, kojic acid, thioglycolic acid,      administered, guidelines for administration, safety issues,
         tocopherol, toeopherol acetate, tocopberelb-5, tocophereth-        and the like, all as disclosed and provided herein.
         12, tocopbereth-18, tocopbereth-80, and m.ixt~ thereof. 60              The kits may further comprise one or more conventional
         Preferred chelating agents may be selected from the group           pharmaceutical kit components, such as, for example, one or
         consisling ofethylenediamine tetraacctic acid (EDTA), diam-         more cootaincrn to aid in facilitating compliance with a par-
         monium EDTA. dipota~sium EDTA, calc:ium disodium                    ticulardosage regimen. etc. Exemplary kits can be in the fomi
         l:Dli\, HEOTA, l'l!.A-E01A, tctmsodium b!Jli\., 1r1po1as-           ol a package. Suitable packages and packagingaroe known in
         sium EDTA, trisodium phosphate, diammonium citrate, 6S theartoreasilyasc ettainedbyoneof ordioaryskill intheart.
         galactaric acid, galacturonic acid, glucon.ic acid, gluc;uron.ic        In one oonlimiting embodiment, the topical diclofenac for.
 •.1     acid, hum.ic acid, cyclodexlrin, potassium citrate, potassium       mulation is packaged with infomiatioo informing the user




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        that the topical diclofenac solution will not cause an uptake of       the United States following approval by the appropriate insti-
        one or more environmental toxins. In another nonlimiting               tutional review boards. Eligible subjects, after written
        embodiment, the topical diclofenac formulation is packaged             informed consent, included men and non-pregnant women
        with information that includes reference to a lack of antici-          aged 40-85 with primary OA of the knee based on (i) standard
        pated or expected adverse events or adverse reactions in               radiological criteria for OA (Altman, R D, et al., Atlas of
        patients from exposure 10 one or more environmental toxins             individual radiographic fearures in osteoarthritis. Osteoar-
        following the acute and/or chronic use of a topical diclofenac         thritis Cartilage 1995; 3 (Suppl A):3-70) on a recent (within
        solution, for example a topical diclofenac preparation con-            3 months) examination, (ii) pain, with regular use of an
        taining 1.5% diclofenac sodium (2-((2,6-dicWoropheoyl)                 NSAID or other analgesic medication (at least 3 days a week
                                                                           to fortbe previous month) and (iii) a flare of pain and minimum
        amino)bcozcoeacetic acid, wonosodium salt), 45.5%
                                                                               Likert pain scoreof8 (40ona scalenoanalized to 0-100; see
        DMSO, ethanol, propylene glycol, glycerine, and water.
                                                                               below, Efficacy Measures) at baseline, following washout of
           In one nonlim.iting embodiment, a method of manufacrur-
                                                                               that medication. A flare was defined as an increase in total
        ing a topical diclofeoac pharmaceutical product oomprises              Likert pain soore of25% and at least 2, and a score of at least
        packaging a topical diclofenac dosage form with the Infor-         15 moderate on one or more of the five items/questions of the
        mation. Additional information can include the information             WOMAC LK3.J pain subscale (Bellamy, N, et al., Validation
        disclosed, summarized or otherwise provided herein, includ-            study of WOMAC: a health status instrument for measuring
        ing the information provided in any of Examples 1-4.                   clinically important patient relevant outcomes to antirheu-
           In another nonlimiting embodiment, an article of manufac-            matic drug therapy in patients with.osteoarthritis of the hip or
·.:..
        ture comprises a container containing a dosage form of topi-       20 knee. J. Rheumalo/. 1988 December; 15(12):1833-40). All
        cal diclofeoac, wherein the contain.e r is associated with pub-         knee films were reviewed by a single radiologist and each
        lished material informing lhe user of some of all of the               compartment was soared (none=!, mild='.2, modcratc~3,
        Information. Additional information can include the informa-           severe=4). Only one knee was treated; where both knees met
        tion disclosed, summarized or otherwise provided herein,               all entry criteria, the more painful knee (or dominant knee if
        including the information provided in any of Examples 1-4.         2s Ibey scored the same) was selected. Standard exclusion cri-
            In one nonlimiting embodiment of!he methods and articles           teria were employed, as described in Roth SH, Shainhouse J
        of manufacture provided herein, a topical diclofenac dosage            Z. Efficacy and safety of a topical diclofeoac solution
        form can comprise about 40 drops per knee, QID. 1n one                 (Pcnnsaid®) in the treatment of primary osteoarthritis oftbe
        aspect of this embodiment, a diclofenac oral dosage form may            knee: a randomized, double-blind, vehicle-controlled clinical
        also be provided or recommended or included within the             JC trial. Arch Intern Med. 2004; 164:2017-23.
        methods and articles of manufacture provided herein. Io                     Study Design: Eligible subjects were st.ratified by the
        another nonlimiting embodiment of lhe methods and articles              investigator at baseline into stratum I (no pain and normal
        of manufacture provided herein, a topical diclofcnac dosage             radiological examination in the non-srudy knee) or stratum 2
         form can comprise application of a topical diclofeoac gel              (pain and/or abnormal radiological examination in the non-
         formulation twice daily.                                          J S study knee), and then randomized into the trial by receiving
            The following examples further illustrate the invention but,        lhe next numbered srudy kit at that clinic for that stratum.
        of course, are not 10 be construed as in any way limiting its           Each study kit contained topical solution and oral tablets for
        scope.                                                                 one of the five treatment regimens: (i) Topical Diclofenac
                                                                                Solution [Pennsaid® Topical Solution, Nuvo Research Inc.,
                                                                           40 Mississauga, Canada] plus oral placebo tablets, (ii) 'DMSO
                                                                                vehicle'; vehicle solution plus oral placebo tablets (vehicle
                                 EXAMPLES                                       solution was the oomplete carrier, including 45.5% DMSO
                                                                                and otlier excipients, with no diclofenac), (iii) 'placebo';
                                  Example 1                                     placebo solution plus oral placebo tablets (placebo solution
                                                                           4S was a modified vehicle solution with only 2.3% DMSO, for
                12-Wcek, Double-Blind, Double-Dummy,                            blinding purposes, and no diclofenac), (iv) 'oral diclofeoac';
            Randomized Controlled Trial of Topical Diclofenac                   placebo solution plus oral diclofenac tablets (100 mg slow
                               Solution                                         release), or (v) 'topical diclofeoac+oral diclofeoac'; Topical
                                                                                Diclofeoac Solution plus oral diclofe.nac tablets. Subjects
           This Example describes novel clinical information that          50 applied 40 drops of solution (approximately 1.2 mL) around
        may, for example, be provided to a user according to !he                the entire circumference of the study knee, without massage,
        present invention, comprising safety and efficacy results from          4 times daily, and took one study tablet daily for up to 12
        a I 2-week, double-blind, double-dummy, randomized con-                 weeks.
        trolled trial of a topical diclofcnac preparation containing                Concomitant analgesic and anti-inflammatory medica-
        1.5% diclofenac sodium (2-[(2,6-clicWoropheoyl)amino)               ss tions, including over the counter NSA!Ds and other analge-
        ben:zcncacetic acid, monosodium salt), 45.5% DMSO, etha-                sics, were prohibited. Continuation of stable treatment with
        nol, propylene glycol, glycerine, and water ("Topical                   glucosamioe, choodroitin, anti-depressants or a proton pump
        Diclofenac Solution") in 775 subjects with radiologically                inhibitor (previous 90 days), or low-dose (.:325 mg/day) ace-
        confirmed, symptomatic primary osteoarthritis of !he knee.               tylsalicylic acid (previous 30 days) was permitted. Acetami-
        The study included a placebo arm to establish ef(lcacy, a          60 oophen was .provided, and permitted (up to four 325-mg
        DMSO vehicle arm to address possible DMSO efficacy, an                  caplets per day) except during the 3 days before each efficacy
        oral diclofenac arm for comparison with the topical                      assessment. Other topical products on lhe knee, including
        diclofenac solution. and a combination of-Topical Diclofonac            skin emollients. were rrohibited. A patient with a j!.astrointes-
        Solution plus ordl diclofenac 10 assess combined treatment.              linal adven;e ewm was allowed lO start a proton pu,up inllibi-
           Study Subjects: This randomized, double-blind, double-           65 tor. Compliance with the treatment regimen was assessed by
        dummy, placebo-, vehicle- and active-controlled study was                weighing the solution bottles and counting study tablets at
        conducted at 40outpatientcenters in Canada and 21 centers in             each clinic visit.




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            AJI study solutions appeared as identica l clear, colorless       rection for analysis of multiple primary variables (regulatory
         liquids. It was expected that some subjects applying Topical        design required superiority for each primary variable). The
        Diclofcnac Solution or DMSO vehicle would report a garlic             sample size required to show the superiority of topical
        taste or odor from exhaling dimethyl sulfide, a volatileDMSO         diclofcnac over placebo was 142 subjects per ann, based oo
        metabolite; therefore, a token amount ofDMSO (2.3%) was 5 an estimate from previous trials of the difference (standard
        included in the placebo solution. Previous trials with topical       deviation) between groups for the change in score of 1.5 (4.5)
        diclofenac confirmed the success of this blinding procedure           for pain, 5.0 (15) for physical function and 0.4 (I .2) for PGA,
        as the incidence of 'taste perversion' adverse events was no         powerof80% and Type I error rate ofa"().05 2.,. ,,, ABaer PA,
        different with placebo solution from topical diclofenac. Oral        cl al., Treatment of osteoarthritis of the knee with a topi~-al
        diclofeoac aod placebo tablets appeared identical (Novop- to diclofeoac solution: a randomised controlled, 6-week trial
        harm® Inc.). Each study kit was assembled according to a             [1SRCTN53366886]. BMC Musculoskelet Disord. 2005;
        computer-generated randomization schedule created by an              6:44; Bookman A A, eE al., Effect of a topical diclofenac
        external statistician for each stratum using a block size of 5.      solution for relieving symptoms of primary osteoarthritis of
        The randomization sequence was concealed from investiga-             the knee: a randomized controlled trial. CMAJ. 2004; 171:
        tors, subjects and the sponsor's clinical research personnel 15 333-8; Roth S H, Shainhouse J Z. Efficacy and safety of a
        until after data lock.                                               Topical Oiclofcnac Solution (Pennsaid®) in the treatment of
            Efficacy Measures: Each subject completed a full efficacy        primary osteoarthritis of the knee: a randomized, double-
        assessment questionnaire after randomization at baseline and         blind, vehicle-controlled clinical trial. Arch Intern Med.
                                                                             2004; 164:2017-23),
     · al 4, 8 and 12 weeks, or at dropout. The co-primary efficacy
                                                                         20     A post hoc sensitivity analysis of the primary efficacy data
        variables (Bookman A A, et al., Effect ofa topical diclofenac        was performed by imputing no improvement (i.e., baseline
       solution for relieving symptoms of primary osteoarthritis of          score carried forward and imputed as final score ("BOCF") to
        the knee: a randomized controlled trial. CMAJ. 2004; 171:            non-completers by reason ofan adverse event or lack ofeffect
       333-8) were defined a priori as WOMAC pain and physical               and for subjects excluded from mITT.
        function, measured by the 5-poiot Likert scale {Biswal S, et 25         Secondary comparisons included topical diclofenac vs.
        al., Loogtenn efficacy of topical nonsteroidal anti-inflamma-        placebo for the secondary variables, and topical diclofenac
        tory drugs in knee osteoarthritis: metaanalysis o f randomized       vs. DMSO vehicle and OMSO vehicle vs. placebo for all
        placebo controlled clinical trials. J. Rheumatol. 2006;              variables. A post hoc efficacy analysis compared topical
       33:1841-4), and patient overall health assessment ("POHA") .          diclofenac vs. oral diclofenac and topical diclofenac+oral
                                                                         JO diclofcoac vs. oral diclofeoac. For a missing final score, last
       The POHA asked the question, "Considering all the ways
                                                                             observation was carried forward ("LOCF'? · Safety analyses
        your osteoarthritic (study) knee and its treatment affect you,       were performed on all subjects who received even one dose of
        including both positive and oegative effects, how would you          either study medication. There was no imputation of missing
        rate your overall state of health in the past 48 hours?" Sec-        safety data. Results were as follows.
       ondary efficacy variables were WOMAC stiffness and patient 35            Study Subjects: Of 1396 subjects screened, 775 were ran-
       global assessment ("PGA'') of knee osteoarthritis. The PGA           domiz.ed to one of the 5 treatment anns and 527 subjects
       asked the question, "How has the osteoarthritis in your study        completed treatment. Over 95% of patients had bilateral dis-
       joint been over the last 48 hours?'" The POHA and PGA were            ease (pain or abnormal radiological examination also in non-
       scored on a 5-point Likert scale. There was no assessment of         sntdy knee) with pain io the contra lateral knee in 90%. A total
                                                                        40 of88% of subjects met the modified (Hochbeig MC, et al. ,
       the non-treated knee. Safety Measures: At all visits, vital
                                                                            Guidelines for the Medical Management of Osteoarthritis
       signs were measured, dermatological evaluation of the study
                                                                            Part II. Osteoarthritis of the Knee. Arthritis & Rheumatism
       knee was done according to a standard numerical (0-4) scale           1995; 38( I): l 54J- 1546)American CollegeofRheumatology
       (Shirley H H, et al. Efficacy and safety ofa tropical diclofeoac     (ACR) criteria (AJtmao R, et al., Development of criteria for
       solution (Penns aid®) in tbe treatment of priwary osteoarthri- 45 the classification and reporting ofosteoarthritis: classification
       tis of the knee: a randomized, double-blind, vehicle-con-            ofosteoarthritis of the knee. Arthritis Rheum. 1986; 29:J 039-
       trolled clinical trial. Arch. Intern. Med. 2004; 164:2017-23)         1049) for osteoarthritis, pain and ostcophytes, and the
       ruid adverse events were solicited using open-ended ques-            remaining had pain with either joint space narrowing or sub-
       tions. Adverse events were categorized according to Coding           chondral sclerosis. Subjects in each treatment arm had similar
       Symbols for Thesaurus of Adverse Reaction Terms ("COS- so demographic and baseline characteristics, duration of expo-
       TART''). Blood and urine samples were obtained for routine           sure and compliance (>89% of expected use for topical solu-
                                                                            tion and oral tablets). Withdrawals for an adverse event were
       laboratory analysis at baseline, 4 and 12 weeks. Ocular
                                                                            similar among treatment groups. Withdrawals for lack of
       examination (visual acuity test, slit lamp examination and           effect were similar among topical diclofeoac, placebo and
       lens assessment) was conducted at the baseline and final visit. 55 DMSO vehicle arms, but fewer with the oral diclofeoac aims.
           Statistical Analysis Plan: All planned analyses were speci-          There were 772 subjects included in the mlTT group.
       fied a priori. Analysis of the Likert efficacy data was by           Excluded were 3 subjects who did not take at least one dose of
       modified intent to treat ("mlIT'), excluding only those sub-         both topical and oral medication, or had no data. Individual
      jects who had no baseline data or did not administer at least         subjects who omitted baseline assessment for a specific effi-
      one dose of both study solution and tablets. Statistical tests 60 cacy variable were excluded·from that analysis.
      were two-sided at the 5% level of significance. All efficacy              Efficacy: The primary efficacy analyses, as shown in the
      analyses were by analysis of covariance ofthe change in score         below Table 2 ("Efficacy Variable Scores"), show the superi-
       from baseline to landmark final assessment, with baseline            ority of topical diclofenac over placebo for the three co -
      score as the covariate. Subjects in both randomiuition strata         primary variables-pain (l>~O.O 15), physical function
      were combined for all analyses.                                   6s (P='().034), and POHA (P<0 .0001 ). Superiority was observed
           The primary efficacy comparison was topical diclofcnac           also for the secondary variable PGA (P"().016), but oot for
      vs. placebo for the primary efficacy variables, with no cor-          stiffness. There was greater improvement with topical




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       r                                                29
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                                                                                                                                                            30
           diclofenac (P<0.05) compared to DMSO vehicle for all five                                            (0.55 (0.82), P-'0.41) or topical diclofenac+oral diclofco.ac
           variables (Table 2). A post-hoc BOCF sensi1ivity analysis of                                         (0.46 [0.70] ; P=0.10).
           the primary efficacy data of all 775 patients did not change                                           Safety: Skin adverse evCJ11s predominated with topical
           any of the conclusions of superiority of topical diclofenac                                          diclofenac, most being dry skin. Tue overall incidence of skin
           compared with placebo (pain, P=0.031; physical function,                                             adve.r se events was similar in topical diclofenac+oral
           P=0.041; POHA, ?9).0001).                                                                            diclofenac, and lower in placebo, and oral diclofenac arms.
                                                                             TABLE2

                                                                       Efficacy varia.hlc scores"

                                                                                                                                 P value

                                                                                                                  TOicl.o        TD1e1o           TOic.lo
                                                                                                  TDiclo+                           vs.
                                      TDiclo"        pt-1,o•           DMso•       OOiclo•        ODiclo•            ""·
                                                                                                                  placcl,o       OMSO
                                                                                                                                                   vs.
                                                                                                                                                  ODiclo
t:·:
           WOMAC Pain                (D • l.S4) (• • ISS) (n• 161)                (••!51) (o • 151)
           Bueline ~'GOrc            13.2 ().4) 12.9 (3.3) 13.0(3.2)              !3.2 (3.0) 13.2(3.4)
           Chlnge in ttorc~          -6.0 (4.5) -4.7 (4.4) -4.7(4.3)              - 6.4(4.1) -7.0 (4.8)            0.015          0.009           0.429
           WOMAC                     (D • 154) (D • 153) (n • 16 1)

J
                                                                                  (o • !SI) (D • 150)
           Physical
           Function
           B.scline score              41.7           41.6           41.4           42.1             41.0
                                      (12.8)         (ll.7)         (1 1.4)        (12.0)           (1 1.2)
           Change in sooret-         - 15.8          -12.3          -12.1          -17.S           -18.7           0.034          0.026           0.319
                                      (IS.!)         ( 14.7)        (14.6)         (M.3)            (1 4.0)
           POHA                      (•· 154)       (• • 152)      (•• 160)       (n• 150)        (n• 148)
           Baseline                      2.34           2.22           2.30          2.23              2.19
                                        ( 1.02)        (1.03)         (1.14)          (1.12)         (1.04)
           ChADge io scoret-           -0.95          -0.37          -0.65           - 0.88        -0.95         <O.OOOt          0.016           0.956
                                        (1.30)         (1.04)         (1.12)          (1.31)        (1.21)
           POA                       (n • 154)      (D• 153)       (n • 161)       (n • 151)      (D• 150)
           Baseline                      3.12           3.04           3.13            3.04          3.08
                                        (0.78)         (0.82)           (0.74)       (0.87)          (0.8 1)
           Change Wscore"             - 1.36          - 1.01         -1.07           -1.42         -1.53           0.016          0.018           0.439
                                       (1.19)          ( I.IS)        (1.10)         (1.29)         (1.27)
           WOMAC                     (n• 154)       (• • 153)      (n • 161)      (n•ISl)         (o•l50)
           Stiffness
           Bueline                       S.14          5.01              s.12         5.21            5.07
                                        (1.63)        (l.70)            (l.61)       (!.72)          (I.SJ)
           Cha.nge in $(:Ore"           -1 .93        -1.52            -1.48         -2.07          - 2.30         0.112          0.035           0.5%
                                        (2.01)         (2.05)           (2.07)       (2.02)          (2.00)

           Abbrcvi:atiom.:
           i.:),cJo, Top~! Oic.Jo(c_asc. Solutioo plus 01111 pbccbo;

.,
:.1        placebo, topical pl.eel» plus on.I placebo;
           OMSO, lopiul dimethyl wlfoxide,contaim.og vcb;cJc plin or2! pbccbo;

'·l        ,O;clo • OOic.lo. Topical Dklofctiac Soludoo ph1' oral dic.lofe:oac:
            WOMAC. Wtskro Ontario McMlt.?a Uan'trd1in LK3,I ~ t i t !ode~;
           POHA, p.11.ient cwmJlhca!tb 1uasmcnt
            ~ p i l ic:c.t 5*o~!•S$('Sffllc.otoftbestudyk;occ
           'Data •re prc$CD!e:d u mean (SO). Mn.imuru sco~ ror paio, 20; p'bys.ictl (uadioo,, 6&; POHA a.od PGA. 4; stiffo«s, 8,
           'The Dtlffl.btt or~bjten(,o) vuk,d by d'l'incy pan.meter bce21)k ;iadivtd\Jal subjects. did oot s~ba)k • futt t,Qt,CW)C auc:m:oc:ul.
           tfioal sc:«c Glll)1n ~sclioe KOtc



           Additionally, the Efficacy Variable Score shows that no sig-      The rate with DMSO vehicle was intermediate between topi-
           nificant efficacy advantage of the DMSO veb.icle over pla-        cal diclofeoac and placebo. Only 5 (3.2%) subjects in topical
           cebo was observed for the primary or secondary variables,      55
                                                                             diclofenac withdrew due to an application site reaction.
           except for the POHA. Furthermore, a com.parison of oral           Importantly, as shown in the below Table 3 ("Incidence of
           diclofcnac vs. topical diclofenac found no statistical differ-    Adverse Events') the incidence of adverse events of the
           ence for any of the 5 efficacy variables. ·n.e combination of     digestive system with topical diclofenac was no greater than
           topical diclofenac+oral diclofenac was no better than oral        placebo and much lower than ora l diclofenac and topical
                                                                          60
           diclofenac alone for ·au variables (pain, P=0.30; physical        diclofellllC+oral diclofeoac. Withdrawal due to a digestive
           function, Pa.().33; POHA, Pa.().43; ~tiffness, 1"'0.16; PGA,      system adverse event was higher in oral diclofenac (I I
           P,-0.50).                                                         [7.3%1) vs. topical diclofenac· (4 [2.6%]) and placebo (3
              Mean [SOJ aceiruuinophen use with topical diclofonac           l l.9%l). Adtlilionully, as ,ho"n in the bck,-., liible 3, the
           (0.64 (0.83) caplets per day) was lower than with placebo 65 combination topical . diclofcoae+oral diclofenac did not
           (0.95 [1.14), M.005) and DMSO vehicle (0.99 [I.II),               increase the incidence of digestive system events over oral
           P=0.002), and was not different than lbat for oral diclofenac     diclofenac alone.




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                                                  31                                                                                            32
                       Table 3. Incidence of Adverse Events•

                                                           TABLE3
                                                  Incidence of adverse cvcn1s4

                                                                                                                 1T>iclo+
                                                       TDicJo        pla<:ebo       DMSO           ODiolo         ODiclo
                                                      (o • 154)     (n• ,51)       (n• 161)       (D • ISi)         152)
                                                                                                                 (n •

        Adverse Event

        Any advme event                                96 (62.3) 9(_) (S7.3) 97 (60.2) 94 (62.3) 98 (64.S)
        Abnonnat l4$te se.nsatfon or odor               0(0.0)     I (0.6)    I (0.6)   0(0.0)    I (0.7)
        AJly digestive system event                    10 (6.S) 15 (9.6) 18 (11.2) )6 (2).8) 39 (25.7)
        Abdominal pain                                  S ().2)    I (0.6)    s (3.1) 11 (7.3) J (2.0)
        Dyspepsia                                       4 (2.6)    6 ().8)    6 ().7)   6 (4.0)   5 ().))
        Diurbu                                          2 (I.J)    J (1.9)    2 (1.2)   7 (4,6) 12 (7,9)
        Llvet fu.oetion tests abconnaJ                  3 (1.9)     I (0.6)   6 (3.7)  12  (7.9) 11 (7.2)
        Reci.&l hemorrhage                              I (0.6)    0 (0.0)    0 (0.0)   0 (0.0)   5 (3.3)
        Nau=                                            0 (0.0)    0 (0.0)    I (0.6)   3 (2.0)   s ().))
        Any •kiolappcnd•ges event                      4! (26.6) 12 (7.6)    27 (16.8) 11 (7,J) 47 (J0.9)
        Ory skjn (tppli<:atioo site)                   28 (18.2) 5 (').2) 18 (11.2) 4 (2.6) 30 (19.7)
        Contact dennat.itis (applica.tioo site)         4 (2.6)     I (0.6)   S (3.1)   I (0,7) 12 (7.9)
·,:,·   Rash                                            4 (2.6)    0 (0.0)    2 (1.2)   0(0.0)    0 (0.0)
        Cont.set dcnnatitis with vesicles               3 (1.9)    0 (0.0)    0 (0.0)    I (0.7)  6 (3.9)
        (applic.atio11 site)
        Pru.rit.iS' (AppliCAtioo site)                  2 (1.3)        0 (0.0)        0 (0.0)        a co.OJ        I (0.7)
        Other ~em event•

        Headache                                       27 (17.S)      18 (11.S) 21          (13.0) 26 (17.2) 21 (l).8)
        Back pain                                      15 (9.7)       10 (6A) IS            (9.3) 11 (7.3)    4 (2.6)
        Arthralgia                                     14 (9.1)       IS (9.6) 2S           (lS.S) 12 (7.9)   7 (4.6)
        Pain                                            7 (4.S)        S (3.2)  II          (6.8)   8 (S.3)   I (0,7)
        R.espLtato.ry disorder                          S ().2)        6 (3.8)   4          (2.S)   8 (S.3)   7 (4.6)
        AcddetU.al injwy                                4 (2.6)        6 (3.8)   7          (4.3)   4 (2.6)   6 (3.9)
        Abnormal vision                                 4(2.6)         S (3.2)   4          (2.S)   4 (2.6)   l (0.7)
        Conjunctivitis                                  4 (2.6)        I (0.6)   0          (0.0)   J (2.0)   0 (0.0)

        Abl:wcviatiom.: 11>iclo, Topictl Oidoftmc Sol!Aion plus «al pJa«b«       l,beebo.    topical pla«bo plus onl pJaecbo;
        OMSO, toical dimethyl wlfoxidc:.coatail'l.ii.,g: vcbklc: pl1tt oul pl1:tc:bo; Dido, oraldklof~nac ptu, top.:11 placebo;
        Ti:>i:clo• Di,lo. Topical Dic.lofcmc. SokitioopJ1Aor.11d.Clof<e1K
        -0.ta 11c pt<katcd n number(%) of1,ubj«ts.
        ~ , adverse cvr:11ts with itKMlecc:c a.9% ltl the TDic:Jo goup



        No difference between treatmenl groups was observed for        brovascular accident, 1 fracrured hip, I dislocated prosthetic
        cardiovascular events, which were <2% in each treatment        hip), I in DMSO vehicle (acute enteritis), I in oral diclofenac
        group. The incidence of hypertension was similar for all
                                                                       (post-polypectomy lower gastrointestinal bleed, 8 days after
        groups {1.3% for Topical Diclofenac Solution, oral 40
                                                                       withdrawal of study medication) and 3 in topical diclofenac+
        diclofenac and Topical Diclofenac Solution+oral diclofenac;
        1.2% for DMSO vehicle; 0.6% for placebo). There was no         oral diclofenac {l leg cellulitis, I unstable angina, J transient
        difference among the groups in reports of am abnormal taste    ischemic attack).
        sensation or odor, confirming the success of the blinding
                                                                          Changes in key NSAIO-related laboratory parameters are
        procedure for DMSO.                                         4S
           There was no serious adverse event in the Topical           shown in the below Table 4 ("Analysis of Change in Laborn·
        Diclofenac Solution arm, 4 in placebo (l anemia, l cere-       tory Parameters").

                                                                                                                                  TABLE4

                                                                                                              Analysis or change• in laboratory puamcters

                                                                                                                                                                           TDiolo+
                                                                                                                  T0i(lo           placebo      DMSO          ODiclo        OOiclo
  ,j
                                                                                                                 (•- 145)         <•· 142)      (•• ISO)     (n • 138)     (n • 141)


ii                                                                        AST


 i                                                                        M= clm,gc, Un.
                                                                          Nonna! to •bnom,aJ.. N (%)
                                                                                                                 .0.9 (10.3)
                                                                                                                   10 (6.9)
                                                                                                                                  -0.6 (5.2)
                                                                                                                                     s ().S)
                                                                                                                                                 0.2 (8.S)
                                                                                                                                                   8 (S.3)
                                                                                                                                                              2.S (10.9)
                                                                                                                                                              27 (19.6)
                                                                                                                                                                            4.1 (29.6)
                                                                                                                                                                             20 (14.2)
                                                                          ALT

                                                                          Mean cbangc, Un.                       -1.0 (ll.7)      - 0.3 (9.9)   -0.6 (9.8)    7.2 (25.3)    8.2 (68.9)
                                                                          Normal to abnomul, N (%)                  6 (4,1)           4 (~.8)      2 (t.3)     26 (18.8)     24 (17.0)
                                                                          J-fcmop.lC'lhin

                                                                          MC40 change, glL                       - 1.7 (6.2)      -0.8 (6.2)    -0.4 (6.S)   -).8 ·(?.1)   -4.8 (6.8)
                                                                          Nonna! to abnormal, N (%)                  3 (2.1)         7 {4.9)       S (3.3)      8 (5.8)      18 (12.6)




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                                                  33                                                                                           34
                                                      TABLE 4-continued


                                                                                                                  TDiclo+
                                               TD,cl<>          plioebo          DMSO              OOicl<>        ODldo
                                              (• • l4S}        (a• 142)         (a • ISO}        (a• 13')        (• • 141)
         Crcthninc

         M... c!,u,gc, ""'ol/1.               -0.4 (10.S)       0.8 (9.0)        0.) (10.3)        ).t (11.0)      4.4 (11.2}
         Normal to al>nonnal, N ~)                4 (28)          8 (S.6}          6 (4.0)          10 (7.2)        IS (10.6}
         Ctt.atinine Cleannc:c"

         M... clwiii', ml/mu,                  0.4 (10.3)     -0.S (1.6}        ..o.s (8.))      -24 (&.7}       -).) (9,7)
         Normal to abnomw, N ~)                 It (7.6}         8 (S.7)           9 (6.0}        10 (7.2)         16 (tl.4)


         ~~:=~o;~1:;r::=~~p._,~-:..~
                              .           pws--z:,;
         Abtxcviatiom... TDJdo. Topical Oiclofcoac Sohitioo     on1 pl.accbo; plxd10. eo,.eal plaiubl>                 DMSO.
                                    A~•=ami:tott~~:
         ~cu (SO) unlffl otb(fwtf.C iadicat«t. Ody ~ 1 1 wtTh both• baw:?iDc
                                                                             and &.I lab vtlu. for I.be. pemoc.tcr 11tt1 lhowD.
         ~!:,=Plc.: 'c::'!:1c-t ~::~ above llr,,ct liniitofoont1al for AST.ALT.
                                                                                CRotimc.c, o, bcl.3w lower lunit of oonDJI (o,
         -C.icvb:ed H pa Cxkuoft OW Md O.Ult M W , ~ of a ~
         1976,16'll~ I.                                                         c . ~ from k:rw:11 e r ~ . N,,,.-0,S

..·
··.t
                                                                                                  20
           Overall, the mean change in the laboratory value and the
                                                                                 diclofenac solution when treating one knee are far below the
           number of subjects developing an abnorma lity showed no
                                                                                 levels achieved by oral administration of the deus and
           dilTcreoce between topical diclofenac and placebo or DMSO
                                                                                 regarded as necessary to achieve a systemic effect {see
           ,-ehicle, but a ~ter mean ch3llge aod higher incidence of
                                                                                 Examples 7 and 8 below). Remarkably, there wa.s no statisti-
           abnormality occuJTCd with the oral diclofenac arms. With oral 21
                                                                                 cal di trereoce between topical diclofenac solution treatment
           diclofenac compared with topical diclofenac, there was a
                                                                                of one knee and oral diclofeoac (which would provide treat-
           greater mean change in hemoglobin, alanine amiootrans-
                                                                                 ment for both knees) for the physical function efficacy vari-
           ferase, gomma-glu tamyl trnnspeptidase, creatinioe and crea-
                                                                                able.
          1inineclearaoee,an dagreaternwnber ofsubjectsdeveloping
                                                                           30      This study followed a typica.l 12-week oral NSAID trial
          an abnormality for these parameters. With respect to the Iran·
                                                                                design, namely, primary osteoarthritis of the knee witb paio
          saminases ALT (alanine aminotransferase) and AST (aspar·
                                                                                and abnormal radiological findings. Although most subjects
          tale aminotransferase), there was no statistically significan
                                                                        t       had bilateral osteoarthritis, only one painful knee was treated
          change in mean values between the oral diclofenac and or,d
                                                                                with topical solution. Inasmuch as outcome measures of
          plus topical diclofcnac treatment arms. Development of 3S
                                                                                physical function and overall patient health assessment are
          abnormal laboratory parameters was generally below clini-
                                                                                likely to be ocg,11ively influenced by symptoms in the non-
          cally relevant levels. No subject developed a clinically sig·
                                                                                treated knee, ibis trial design biased against Topical
          nificant change io hemoglobin or crcatinine. An increase in
                                                                                Diclofenac Solution. In any oral NSAID tria.l, and in this
          any liver eozyme to three limes the upper limit of normal
                                                                               srudy's oral diclofeoac arms, subjects automatically treat
         occur.eel in I subject with placebo, I with OMSO vehicle, 2 40
                                                                               both knees, avoiding these factors. The inclusion of oral
          with oral diclofcnac and 3 with topical diclofonac+oral
                                                                               therapy for all groups added a second placebo effect to the
         diclofenac, but none with topical diclofenac.
• I                                                                            topical comparator arms, imposing a yet higher burden lO
             Ocular examination at baseline and final revealed no
.'·i
.,       change i.o visual acuity (data not shown) and no dilfcreoce in
                                                                               prove efficacy of Topical Oiclofenac Solution over placebo .
                                                                               Despite these elements in trial design the efficacy ofTopical
  •      the development oflens abnormality (cataract) with placebo 4S
                                                                               Diclofenac Solution was robustly established.
         (4 [2.6%) subjects) vs. topical diclofcnac (2 (1.3%]) or                 The response of patients in !he oral diclofeoacgroup in this
         OMSO vehicle (6 (3.8%1).
                                                                               srudy (40-48% improvement in variable score) was the sarne
             Conclusions: The results oftbisclinical study clearly show        as seen in other oral NSAID trials {Bellamy N, Buchanan W
         the effectiveness ofTopical Diclofenac Solution applied topi-
                                                                               W et al., A muhiceoter study of tenoxicam and diclofenac
        cally to treat tbe symptom s of osteoarthritis o f the knee.                                                                         in
                                                                          so patients with osteoarthritis of the knee. J. Rhtum. 1993;
             Topical Oiclofeoac Solution was superior ~ both topical          20:999· l 004; Yocum D, et al., Safely aod efficacy of meloxi-
        comparator groups {placebo and OMSO vehicle) for all 3
                                                                              cam in the treatment of osteoarthritis. Arch lnr Med. 2000;
        primary efficacy variables, pain, functioo and patient overall
                                                                               160:2947-54), providing a powerful external audit on the
        health. Efficacy was confirmed by a conservative BOCF sen·
                                                                              validity of the trial design and cooduet, and furtberconfirma.
        sitivity analysis.                                                ss tion of the sustained efficacy of Topical Diclofenac Solution.
            The WOMAC physical function questionnaire asks                    Topical Diclofe.nac Solution was found to be as effective as
        patients to score physical fuoction in areas such as difficulty
                                                                              oral diclofenac at relieving the sympioms ofkneeosteoarthri·
       descendingstairs,difficultyascendingstairs,difficul1yrising
                                                                              tis with less NSAIO-related systemic tol(icity than oral
        from sitting, difficulty standing and difficulty walking on a
                                                                              diclofeoac. These observations support the safety and efli.
       flat sw-face. The superiority of topical diclofenac solution 60
                                                                              cacy results of a previous equivaleoce study of Topical
       over placebo was su1prising given that {i) the physical fuoc.
                                                                              Diclofenac Solution vs. oral diclofenae.
       tions measured in the WOMAC physical function question·
                                                                                  Claims of therapeutic efficacy for OMSO itsel fin ostcoar-
       nnirc are ttenerally nccomrlished with the use of both knees.
                                                                             thritis were discounted ioan earlier. 4-week 1rinl with topical
       tu) oaly one knee was 1.rca1ed in the s1u<ly, {iii) 95% ol
                                                                             d1clolenac(Uooknu111.\A,ctal., l!Jlcc10fo10p11:11ld1clofonac
       patients had disease in both knees (with pain in the contralat- 6S
                                                                             solution for relieving symptoms of primary osteoarthritis of
       era! knee occurring in 90% of the study population) and (iv)
                                                                             the knee: a randomized controlled trial. CMA./. 2004; 171:
 ·i    the blood levels of diclofcnac produoed by the topical
                                                                             333-S) and arc further disprovcn by this 12-week study.
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                              35                                                                       36
   There was no apparent difference between Topical               The skin penneation enhancement of Rogaine is associated
Diclofenac Solution and placebo in NSAID-associatcd gas-          with its high content of propylene glycol (50%), a known skin
trointestinal adversecvcots (the incidence was acrually lower     permeation enhancer.
witl1 Topical Oiclofeoac Solution). lo this study, no eye lens       Methods: In this sludy, performed according to Good
abnonnalities were observed with DMSO-vehicle or Topical s Laboratory Practices ("GLP"), 18 female Goningeo
Diclofeoac Solution treatment. The combination Topical            Minipigs, a commonly used non-rodenl species for pharma-
Diclofeoac Solution+oral diclofcoac showed no increase in         cokinetic srudies, were selecled for entry into lhe study based
adverse events relative 10 Topical Oiclofenac Solution or oral    on the rcsuhs of a satisfactory preliminary health screening.
diclofenac alone. The blood level of diclofeoac following         There were six treatment groups with 3 female animals per
topical application as 1bpical Diclofenac Solution is only tO group. A.o.i.mals were allocated employing a pseudo-random
about 12 og/mL and the incremental increase with the com-         body weight stratification procedure that yielded groups with
bination would be negligible compared with the predicted          approximately equal mean body weight.
level of 1500 og/mL that is reported with oral diclofeoac.           The Test Item and the controls were supplied ready-to-use.
Although combined treatment with Topical Diclofenac Solu-         Toxin No. I (sunscreen) was applied undiluted. Toxins Nos. 2
tion+oral diclofenac did oot provide a statistical advantage IS (DEE1) and 3 (2,4-D) were diluted in ethanol and water,
over ora l diclofenac alone, this regimen cou ld be a reasonable  respectively, before use on test day '! according to the below
treatment paradigm io an individual with persistent or break-     dilu1ion scheme. The same toxin adm.ioistration solutions
through knee pain despite using an oral NSAJD.                    were used oo test day 1, 21, 28 and 35. Between the admin-
   In conclusion, this Example shows that Topical Oiclofeoac      istrations, the solutions were stored at +2° C. to +4° C.
Solution provides durable improvement in the symptoms of 20
osteoarthritis of the knee, and that relief is not contributed by
the DMSO-carricr. Efficacy of Topical Oiclofcnac Solution
was comparable to that achieved with oral diclofenac. For the                    Prgw:ation ofthe toxin •dministratinr. dose
patient initiating pharmacological therapy for relief of symp·
                                                                                          StnAgth       Tugetecl              Volwne
 toms associated with osteoarthritis of the knee based on cur- 2s                         of active    expo,=:               of diluted
 rent treatment guidelines, Topical Diclofenac Solution is a                               cmpd in      of a.ctive Dilution tox.iA.tobe
viable, evidence-based treatment option.                            Toxin      Active     l.hetoxi._n   cmpdto        oftbe  applied to
                                                                         No.     compound      (w/v)    1S0cm1 [~g)   toxin   150cm1 [mLl
                          Example 2                                             oxybco:r.on~     6%     300000           1       s
                                                                   30              DEET         25%         6723        40       1.08
       Influence of a Topical Oiclofenac Solution on                               2,4-D       1S1%           13.JS   5000       0.88
        Percutaneous Absorption of Three Different
     Environmental Toxins after Repeated Epicutaocous                   Toxin was applied by cpicutancous administration via
                Administration lo Minipigs                           syringe onto the back region. There was a single administra-
                                                                 JS tionontestday 1{beforeadministrationoftheTcstltemorthe
   This Example describes novel preclinical infonnation that         Controls) and single administration on days 21, 28 and 35
may, for example, be provided to a user according to the             (after administration of the Test Item or the Controls). The
presenl invention, which relates to the influence of a topical       administration area was I 50 cm 2/animal. The administration
diclofenac solution containing 1.5% diclofenac sodium (2-            site was situated on the animal's back between the fore and
[(2,6-d.icWorophenyl)amino]benz.encacetic acid, moooso- 40 the hind extremities. The surface area of the application site
dium salt), 45.5% DMSO, ethanol, propylene glycol, glycer-           was selected to provide a high toxin exposure that would
ine, and water ("Topical Diclofenac Solution") oo lhe                ensure measurable systemic levels of the toxins.
percutaneous absorption ofthree different environmental tox-            Prior to the start of the study, the adm.ioistration sites were
ins, as evaluated in a srudy involving repeated epicutaneous         cleared of bristles, if present. The remaining hairs were
administration to minipigs.                                      4
                                                                   s clipped. The toxin was spread onto the administration area
   The Test Item was Topical Diclofenac Solution                     using a syringe.The administration area was not covered with
[Pennsaid® Topical Solution, Nuvo Research Inc., Missis-             any dressing. Following administration the animals were
sauga, Canada]. The environmental toxins selected for use in         restrained for at least I hour (until the toxin had completely
the study were oxybcnzone (in the form of Equaline SPF 23            dried) in slings which allowed free movement of the head but
faces sunscreen; active compound 6% oxybenzone), DEBT, so prevented a complete body rum in order to prevent access by
i.e., N,N-d.iethyl-m-toluamide (in the form. of Deep woods           the animals to the toxins.
OFF!® pump spray; active compound 25% N,N-diethyl-m-                    The six treatment groups were assigned to receive toxins,
toluamide), and 2,4-D, i.e., 2,4-D, dimethylam.ioe salt (in the      Test Items and Controls as set forth in the following table.
form of Spcctracide Weed Stop 2x For Lawns Concentrate;
active compound 7.57% 2,4-D, dimethylam.ioe salt). The ss
control items used in the study were Retin-A 0.1% (tretiooin)        - - - - - - - - - - - - - - - - -- - -
cream, Men's Rogaine® Extra Strength Topical Solution                  Group Toxin No. (Name) Test Item/Control
(minoxidil 5% w/v), both of which are approved and mar-
                                                                              I (oxyi)enwne)      Topical Diclofenac Solution (rc,t Item)
keled in the United States. Both control products have skin                   2(DEET)             Topical Dicloferu« Solution (Test Item)
permeation enhancing capabilities and were selected for 60                    3(2,4-0)            Topical Diclofenac Solutioo (Test Item)
comparison 10 the Topical Diclofenac Solution in the                     4    1 (oxyben20ne)      Retin-A (Control no. I)
enhancement of environmental toxins. Retin-A (tretinoin)                 s 2(DEET)                R~e ® (Control no. 2)
slimulates mitotic activity nnd increased tu mover of follicular         6    3(2,+D)             Rogainc_® (Cootrol no. 2)

epilhelial cells, resuhin& in disn,ption of the skiu barrier
function with consequent enhancement of transepidermal 6S               On test day 21, Topical Diclofeoac Solution (Test Item) or
water loss. Compromising skin barrier function can cause             Rogaine Topical Solution (Control No. 2), respectively, was
enhancement in permeation of molecules through the skin.             applied 30 minutes before toxin adm.ioistration based on a




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pre-specified schedule. No administration of Retin·A (Con·              cal Diclefenac Solution/animal (approx. 3.5 mg diclofcnac
trol No. I) was scheduled for test day 21. On test day 21 the           sodium/animal) and any of !he Toxin Nos. l, 2 or 3. Addi-
toxinadminislration was carried out after the Test Item/Con·            tionally, no signs oflocal intolerance reactions were observed
!J'OI administration according 10 the following schedule:               in any of !he mi.nipigs after repeated epicutancous adminis-
Groups I, 2 and 3: 30 minutes after Tes! hem/Control admin· 5 tration of either Control No. 1 or Control No. 2.
istration; Group 4: after au overnight break; Groups 5 and 6:               Additionally, no signs of systemic intolerance reactions
30 minutes after Test Item/Control administration.                      were observed in any of the mini pigs after repeated epicuta-
    1n sum, Test Item/Control application was as follows: Topi-         neous administration of 0.22 mL Topical Oiclofenac Solu-
cal Diclofenac Solution (lest Item), 0.22 mUadmi.nistration             tion/animal (approx. 3.5 mg diclofenac sodium/animal) and
site four times daily from testdays6to20(7:30, 12:30, 17:30, 10 any of the three toxins. No signs of systemic intolerance
22:30) and.one single dose on day 21 (7:30); Retin-A 0.1%
                                                                        reactions were observed in any of the minipigs after repeated
cream (Con1rol No. I), 112.5 mg/adminis1ra1ion site once
                                                                        epicutaneous administration ofeither 112.5 mg Retin-A 0.1 %
daily from test days 6 to 20 (22:30); Rogaine ES (Control No.
                                                                        (lretinoin) cream/animal (control no. I) or 0.8 mL Men's
2), 0.8 mUadministration site twice daily from test days 6 to
20 (7:30, 17:30) and one single dose on day 21 (7:30). The is Rogaine® Extra Strength Topical Solution/animal (cootrol
administration site of the Test Item or Controls was exactly            oo. 2) and any of the three toxins.
the same as for the toxins, i.e. 150 cm2 on the animal's back               The body weight was 'in the nonnal range throughout the
between the fore and hind extremities, as noted above. Toxin            course of the study in all animals after repeated epicutaneous
dose levels were selected based upon avaitable human envi-              administration of 0.22 mL Topical Diclofenac Solution/ani-
ronmental and occupational exposure data. Dose levels for 20 mal (approx. 3.5 mg cliclofenac sodium/animal) or the two
the Test Item or Controls were based on the recommended                 controls and any of the three toxins.
doses of the products in humans.                                            No inllueoce on the food consumption was noted for any of
    The Test Item or Control was spread onto the administr.t·           the animals after repeated epicutaneous administration of
 lion area using a syringe. The administration area was not             0.22mL Topical DiclofenacSolution/aoimaJ (approx. 3.5 mg
covered with any dressing. Following administration the ani- 25 diclofenac sodium/animal) or the two controls and any of tbc
 mals were restrained for at least I hour (until the test item and       three toxins.           ·
controls bad completely dried) in slings which allowed free                 The visual appraisal ofthe drinking water consumption did
 movement of the bead but prevented a complete body turn in              not reveal any Test Item-related influence.
 order 10 prevent access by the animals to the Test Item or                 Pharmacokinetic data results indicated that systemic
 Controls.                                                           30 diclofeoac steady stale was reached by day 19.
    Any contact of the test areas with w.ater was avoided                   Due to limitation in the sensitivity of the analytical metb·
 throughout the wbole experiment                                         ods employed in the study, no DEET (Toxin no. 2) or 2,4-D
    Observations: Observations related to individual animals             (Toxin no. 3) could be quantified in plasma for any of the
 made throughout the study included clinical signs, body                 animals treated with the Topical Diclofenac Solution or the
 weight and food/water consumpiioo.                                  35 Rogaine so no firm conclusions could be dr.iwn from the
     For evaluation of local 1olcrancc, skio reactions were              study concerning the enhancemeot of systemic absorption of
 examined once daily throughout the study, prior to each                 these toxins. A subseque.ut study (described io Example 3
 administration (end of the respective exposure period), if              below) using higher concentrations of DEET and 2,4-D was
 applicable. Reactions, namely, erytbcma, escbar and oedema              therefore conducted.
 formatioo were scored based on Oraizc J H, Appraisal of the 40             In contrast, !he exposure to oxybenzone could be well
 Safety of Chemicals in Food, Drugs and Cosmetics, Associa-              quantified on all application days. The courses of the plasma
 tion of Food and Drug Officials of the Uni led States, Austin,          concentrations of oxybenzone were summarized non~0m·
 Tex., 1959. Any other lesions were also recorded, if any                partmeotally by means of Cm.,. (maximum observed plasma
 occurred.                                                               concentration), tmax (time of C..,.. after application of the
     Blood sampling for pharmacokinetics was undertaken for 4S toxin), and the AUC0 _..8 (the trapezoidal area under the time
 each animal at predetermined S31Dpling times and processed              course of the plasma concentrations up to 48 hours after
 for at least 2 mL Li-Heparin plasma/sample, which were split             application).
  into two aliquots of 1 mL each.                                            Based on the ANOVA of the log-transformed AUC.,_.8 , the
     The area under the concentration-time curve("AUC") from              area exposure to oxybenzone for the animals treated with
  time zero to 48 b, AUC0 .,. 81,, for each toxin was calculated for SO Topical Diclofenac Solution was statistically significantly
 each minipig after each toxin administration on test days 1,             lower (p.s0.05) on days 21, 28 and 35 compared with the
  21, 28 and 35 usiog a linear trapezoid method. Descriptive              animals treated with the control (Rctin-A), whereas there was
 statistics (arithmetic mean, standard deviation) of non-trans·           no statistically significant difference between the treatments
 formedAU¼-4a• and oatural log-transfonnedAUC0-4 8• were                  groups on day I (beforethestartofthe treatments with the test
 calculated for each treatment group for the administration 55 and control items). No statistically signi6cant differences
 days on test days l, 21, 28 and 35. Log-tran.sformedAUC0..8•             were noted for the Topical Diclofcnac Solution or control
  were compared using the repeated measurements employing                 (Retin-A) treated animals of groups I and 4, respectively, for
 a generalised linear model of variance using treatment group             Cm...- and AUC-values of test day 1 compared to test days 21,
 and adminis1ration day as covariates. The achievement of                 28 and 35.
  steady state of diclofenac was assessed by using repeated 60               Conclusions: Epicutaneous application of Topi.cal
  measurements employing analysis of variance ("ANOVA")                   Diclofenac Solution four times daily from test day 6 to 20
  with log-transformed trough cooceotrations on test days 19,             with a single dose applied on the morning of day 21, while
  20 and 21 . All statistical analyses were two-sided and .in all         resulting-in relevant systemic.exposure to diclofcnac.. did not
  analyses the Type 1 (alpha) error was lixccl al th~ 5% Jewl.            induce rclevaut local or systemic wnoward changes. Treat-
     Results: With regard to clinical signs, no signs of local 65 ment with Topical Diclofenac Solution, however, did not
  intolerance reactions were observed in any of the minipigs              amplify the exposure of oxybenzone, an epicutaneously
  after repeated epicutaneous administration of0.22 mL Topi-              applied toxin.




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           That systemic diclofenac steady st.ate was reached by day           Single doses of the toxins were administered on the morn-
       19 indicates that a max.imum degree of skin pcrmcabilization        ing of days I, 21, 28, and 35. Groups no. I (Test Item) and 3
       for diclofenac by the Topical Diclofenac Solution vehicle bas       (Control Item) were investigated with Toxin no. l (DEET),
       beeo reached after 14 days of treatmem with Topical                 whereas the animals of groups 2 (Test item) and 4 (Control
       Oiclofenac Solution.                                             5 Item) were investigated with Tax.in no. 2 (2,4-D). The volume
            Results also showed that there was no quantifiable sys-        of the tax.in formulation applied was I mL on day l and 1.5
       temic absorption of OBET or 2,4-0 at baseline (prior to             mL on subsequent doses starting on day 21. In contrast to
..j,   1reatment with Topical Diclofenac Solution or Rogaine) or           Example 2, the J .5 mL tax.in volume resulted in an adminis-
       following a 15-day pre-treatment with Topical Diclofenac            tered dose of DEET·(Tox.in No. I) of 375,000 µg and an
                                                                        10
       Solution or Rogaine (Treatment Groups 2, 3, 5 and 6).               administered dose of2,4-D (Tax.in No. 2) of 113,550 µg.
            According to the results, systemic absorption of oxybcn-           The Test Item, Control Item and Toxins were adminis1ered
       zone occurred prior to treatment with Topical Diclofenac            as follows. Tue Test Item was administered four times daily
       Solution and Retin-A control (days 1-3) and this level thus         from test days 6 to 20 (7:30, 12:30, 17:30, 22:30); one single
       represents baseline systemic absorption of oxybenzone. 15 dose on day 21 (7:30). The Control ltern was administered
       There was no significant difference in baseline oxybenzone          once daily from test days 6 to 20 (22:30). Toxin Nos. I and 2
       systemic levels and systemic levels obtained following a 14         were aclminis1ei:ed once on test day I (before administration
       day pre-treatment period with Topical Diclofenac Solution           of the Test Item or the Coutrols) and once on test days 21
 ·'    and it is therefore concluded Topical Diclofenac Solution did       (after administration of the Test Item), 28 and 35.
       not enhance the systemic absorption of oxybenzone. How- 20              Results: Exposure to DEET could be well-quantified on all
       ever, there was a significant difference in baseline oxyben-        application days. In the Topical Diclofenac Solution ann, the
       zone systemic levels and systemic levels obtained following a       dose-uormalized area exposure to DEET (AUCo.., 8) on days
        14 day pre-treatment period with Retin-A Control. Tue.reface,       21, 28, and 35 was on average 1.18, 1.61, and 1.44 times
        Retin-A enhances the systemic absorption of oxybenzooe.             higher than on day I, respectively; but was not statistically
            It can be concluded that a 15-<lay repeat dose treatment 2s significantly different. Under the Retin-A Control treatment,
        with Topical Diclofenac. Solution, QIO, while resulting in a        the dose normalized area exposure on these days was on
        maximum degree of skin penneabilizatioo for diclofenac,             average 1.56, J.83, and 1.30 times higher than on day I and
       does not enhance the systemic absorption of oxybenzone.              were statistically significantly different on test day 28.
                                                                               Exposure to 2,4-D could be well-quantified on all applica-
                                  Example3                              30 tion days. Under the Test trealment, the dose normalized area
                                                                            exposure to 2,4-Dondays 21, 28, and35 was onaverage2.04,
                 lnfluenee of a Topical Diclofenac Solution on              1.27, and I .I 6 times lower than ou day I, respectively, but was
                   Percutaneous Absorption of Two Different                 not statistically significantly different. U11der lhe Control
               EnviroODleotal Toxins after Repeated Epicutaneous            treatment, the dose normalized area exposure on lbesc days
                           Administration to Minipigs                   3S was on average I 0.84, 8.86, and 7 .29 times higher than on day
                                                                             I and were statistically significantly different. Accordingly,
            This Example describes novel preclioicat information that       there is a distinct amplification of the 2,4-D exposure in the
        may, for example, be provided to a user .according to the           control group (Retin-A), but not in the animals treated with
        present invention, which relates to the influence of a topical      the Test treatment (Topical Diclofenac Solution).
       diclofeoac preparation containing 1.5% diclofeoac sodium 40 No signs of local intolerance reactions were observed for
        (2-[(2,6-dicbloropbenyl)amino]benzeneaceticacid, monoso-            any of the minipigs after repeated epicutaneous aclministra·
        dium salt), 45.5% DMSO, ethanol, propylene glycol, glycer-          tioo of0.22 mL Topical Diclofenac Solution/animal (approx.
        ine, and water ("Topical Diclofenac Solutiou") on the pcrcu-        3.5 mg diclofcnac sodium/animal) and Toxin No. I. Animal
        taneous absorption of two environmental toxins from                 no. 4 (group 2) treated with 0.22 mL Topical Diclofenac
        Example 2, evaluated at higher doses in a study involving 4S Solution/animal (approx. 3.5 mg diclofeoac sodium/animal)
        repeated epicut.aneous administration 1-0 minipigs. ln              and Tax.in No. 2 revealed a very slight to well defined
        Example 2 the dose levels for the toxins were selected based        erythema on test days 7 to 14.Animal nos. 7 and 8 {group 3)
        on the available human environment.al and occupational               treated with 112.5mgRetin-AO.l%(trctinoin)cream/animal
        exposure data but the results did not provide systemic expo-         and Tax.in No. I revealed a well defined erythema 011 test days
        sure above the limit of quaotit.ation. 'Thus, to increase the so 21 and 22 and a very slight 10 well defined erythema on test
        potential systemic exposure of the toxin, !be maximum der-           day 35. Animal no. 12 (group 4) treated with 112.5 mg
        coal exposure to the toxin was selected for this study. As in        Retin-A 0.1 % (tretinoin) cream/animal and toxin no.2 (group
        Example 2, the Test Item was Topical Diclofenac Solution.            4) revealed a moderate to severe erythema on test day 21 and
            The two environmental toxins DEET, i.e., N,N-diethyl-m-          a well defined erytherna on test day 35.
        toluamide (in the form of Deep woods OFF!® pump spray; ss               No signs of systemic intolerance were noted for any of the
        active compound 25% N,N-diethyl-m-toluamide) and 2,4-0,              mini pigs after repeated epicutaneous administration of either
        i.e., 2,4-D, dimethylamine salt (in the form of Spcctracide          0.22mL Topical DiclofenaeSolutio.n/animal (approx. 3.5 mg
        Weed Stop 2x For Lawns Concentrate; active compound                  dielofeoac sodium/animal) or the Control Item and the two
        7.57% 2,4-D, dimethylamine salt). The single Control Item            toxins. Addjtionally, none of.the animals died prematurely;
         usedinthest.udywasRetin-A0.1%(tretiooin)cream.                  60 the body weight.was in the normal range in all anima.ls
             Methods: Tue study was carried out as described in              throughout the course of the study; and no influence was
        Example 2 using 12 minipigs (four groups of three female             11oted on the food and drinking water consumption for any of
         minipigs each). Animals of i roups I and 2 were treated with        the animals.
         tl1e Test Item from the mooting of day 6 u,r1i l the moming of         Epicutaneous application of 1opical Diclofeuac Sot111ion
        day 21; groups 3 and 4 were treated with Rctin-A 0.1% (the 65 four times daily from test day 6 to 20 with a single dose
        Control Item) uom the evening of day 6 until the evening of          applied outhe morning ofday 21 resulted in relevant systemic
 •j     day 20.                                                              exposure to diclofenac.
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                   Conclusions: Epicutaneous application of Topical                    avoided sunlight exposure to the test sites during the study. At
                Diclofenac Solution four times daily from test day 6 to 20             Period Three (Recovery), subjects underwent a recovery
                with a single dose applied on tbe morning of day 21 , while            period of two weeks following the treatment period. TEWL
                resulting in relevant systemk exposure to diclofenac, did not          was measured on each of the test sites on the morning of Days
                induce relevant local or systemic untoward changes. The                45, 47, 50, and 58. At Period Four (Retin-A® Challenge) on
                achievement of steady state levels of diclofenac by day 21             Days 58-71 , Retin-A® was applied under occlusion to the
                indicates !hat that a maximum degree of skin pcrmeabiliza-             same test site to which Retin-A® had been applied during
                tion for diclofenac had been reached. In contrast to Retin-A,          Period Two. A designated member of the study staff applied
                treatment with Topical Diclofenac Solution did not amplify             two dabs (about 24 mg)ofRetin-A®totheRetin-A®testsite,
                the toxic risk of epicutancously applied toxins such as 2,4-D 10
                                                                                       once daily for 14 days, at approximately 08:00 hours. The
                andDEET.
                                                                                       Retin-A® test site was occluded using polyethylene film (Sa-
                                            Example4                                   ran Wrap®) for 15 hours following each application. TEWL
                                                                                       was measured on the Retin-A® site and the untreated control
                        Effect on Stratum Corneum Barrier Function of               ts site of the same arm on the morning of Days 59-72.
                       Multiple Doses of Topical Diclofenac Solution as                   TEy.,L: TEWL analysis was carried out on the data of the
                           Measured by Transepidermal Water-Loss                       int.,,nt-to-treat (''l'IT') analysis group. The ITT analysis
                                                                                       group included all enrolled subjects who received at least one
                   This Example describes novel preclinical information that           dose oftest article. TEWL was quantified using a VapoMcter,
                may, for example, be provided to a user according to the 20 a closed cha,nber evaporimeter. Change in TEWL between
j               present invention, which comprise information regarding ao             the treated and untreated sites was monitored over time .
 ..I
                assessment of the effect on stratum corneum. barrier function,         Descriptive statistics (arithmetic mean, standard deviation,
     II         as measured by transepidermal water loss ("TEWL"), of mu!-
                tip le doses of a topical diclofenac preparation containing
                                                                                       coefficient of variation, median, minimum, and maximum)
                                                                                       for the TEWL data was summarized for each treatment. {ncJj.
     I          1.5% diclofenac sodium (2-((2,6-dichlorophenyl)amino] 2s vidual and mean TEWL time profiles were plotted by treat·
     !          benz.cncacctic acid, ruonosodium sail), 45.5% DMSO, ctha-              ment and period on a linear scale.
                not, propylene glycol, glycerine, and water ("Topical                     To assess the validity of the study to measure changes in
                Diclofenac Solution") compared with a positive control,                TEWL, the post-treatment results for the positive control,
                Retin-A®, and an untreated site as a negative control.                 Retin-A®, were compared to the untreated site on the same
                   Study Design: The study was conducted as a four-period, 30 ann using repeated measures analysis of covariance ("AN-
                open label, paired comparison in a single group. Period One            COVA") with the average pre-treatment TEWL measure as
                (Baseline) was a period of one week prior to the first appli-          the covariate. During conduct of the srudy and preliminary
                cation on Day l. At Period Two (Treatment), subjects applied           review of the data, it appeared that thepositivecontrol was nol
                test anicles (Topical Diclofenac Solution or Retin-A®) for a           causing skin irritation to the expected degree. In order to
                period of six weeks. At Period Three (Recovery), subjects JS validate the study, a Retin-A® Challenge Period was added
                underwent a recovery period of two weeks following the                 via a protocol amendment as described above, and the
                treatment period. At Period Four (Retin-A® Challenge) sub-             ANCOVA analysis was repeated for the Challenge Period
                jects applied Retin-A® under occlusion to the same test site           using Day 58 TEWL measure as tbe baseline covariate. The
                as during Period Two for a period of up to two weeks. Thus,            TEWL response for the Topical Diclofenac Solution site dur-
                the total study duration was approximately 12 weeks, with 40 iog the Treatment Period was compared to the untreated site
                eight treatment weeks spread between Period Two (six-week              on the same arm using repeated measuresANCOVA with the
                treatment period) and Period Four (two-week treatment                  average pre-treatment TEWL measure as the covariate. Sec-
                pcriod).                                                               ondary analyses included comparisons between Topical
                   Protocol: At Period One (13aseline), baseline measure-              Diclofenac Solution and Retin-A® change in TEWL (diffcr-
                ments ofTEWL were performed on Days-7, -5, and-3 prior 4S cnce from untreated site) for the Treatment Period, and oor-
                to the first application on Day I. At Period Two (freatmeot),          relation analyses between TEWL and the variables: skin irri-
                subjects applied test articles for a period of six weeks. TBWL         tation score, temperature and humidity.
                was measured on each of the test sites (4 cmx4 cm) immedi-                Safety: Safety was assessed through evaluation of the
                ately before application ofthe morning dose oftest articles on         safety variables: adverse events, skin initation score, labora-
                Days 1,3, 5,8, 15, 22, 29,36and43. Eachsubjectappliedooe so tory analysis and vital signs. Safety analysis was carried out
                drop (approximately30 µL) ofTopical DiclofenacSolutioo to              on the data of every subject who received at least one treat-
                a test site on the right or left volar forearm (as randomized)         meat with study article.
                fourtimesadayforsixweeks,atapproximately08:00, 13:00,                     TEWL Results: The results for treatment with Topical
                l 8:00 and 23:00 hours. TI1e dose ofTopical Diclofenac Solu-           Diclofenac Solution indicate that it did not cause an increase
                lion utiliz.ed in this study (approximately 30 µL to a surface ss in TEWL relative to the 11Dtreated site following 6 weeks of
:'....·!        area of 16 cm2) was calculated to approximate the Topical              treatment at a dose, that applied QID to the knee, is shown in
                Diclofenac Solution dose that applied QJD to the knee is               Example I tobeeffectivefortreatmentofthepainandsymp-
                shown in Example I to be effective for treatment of the pain           toms of knee osteoarthritis. No difference between Topical
                and symptoms of knee osteoarthritis, namely 40 drops (ap-              Diclofenac Solution and Retin-A® was noted during the
                proximately 1.2 mL) to a knee surface area of approximately 60 Treatment Period (neither Cl!Used an increase in TBWL dur-
                                                a
                800 cm2 • Each subject applied dab (about 12 mg) ofRetin-              ing this period of the study).
                A® to a separate test site on the opposite volar forearm once             During tbe Challenge Period with Retin-A®, skin irritation
                per day for six weeks. ·a1 approximately 08:00 hours. The              was noted (1<ee Safety Results) and a s ignificant increase in
                subject uscdbistllerfingertospre;idthetes tarticlesovertheir           TEWL relative to tbe untreated site was <>bsccvcd. These
                respective test sites. Each forearm had a test area that was left . 65 results for the Challenge Period validate the study design by
                untreated as a negative control. The subjects allowed the test         showing that the subjects were responsive to this positive
                articles to dry before covering the test sites with clothing and       control, a known skin initant.
 ·I

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                                                         US 8,546,450 B 1
                                43                                                                          44
   Mean TEWL time profiles are shown in FIG. l (Retin-A®)                                               cxample5
and FIG. 2 (fopical Diclofcnac Solution). Review of FIG. 1
shows an increase in TEWL for the Retin-A® treated site                       Ophthalmologic Effects ofTopically Applied DMSO
during the Challenge Period relative to the untreated site, and               in a 52-Week Non-Occluded Dermal Toxicity Study
no difference between treated and untreated sites for Topical s                             in Gottingen Minipigs
Diclofenac Solution and Retin-A® during the Treatment
Period.                                                               This Example describes novel preclinical information that
   Safety Results: There were a total of 51 adverse events         may, for example, be provided 10 a user according to the
reported by 12 subjects. The majority of adverse events were 10    present invention, comprising tbe results of a study that was
                                                                   conducted oo mioipigs which provides information about the
classified as mild in severity (35 events) aod c.lassified as
                                                                   ocular safety profile of dennally applied formulations con-
probably related to the test article (32events). The majority of
                                                                   taining purified DMSO.
the adverse events reported consisted of skin irritation              Tue broad aim of tbe study was to evaluate the potential
 responses (i.e. contact dermatitis, dry skin, pruritus). These    dennal toxicity of DMSO when administered topically to
 were observed at the Retin-A® application test sites for all 15   four groups of Gottingen Mini pigs® for 52 weeks at concen-
subjects except for one who reported the adverse event 'dry .      trations of 0 , 9"/o, 45.5% and 90% (w/w) and to evaluate
skin' that occurred at the Topical Diclofcnac Solution treated     reversibility, progression, or delayed appearance of aoy
 test site.                                                        obserwd changes following a 1-mooth postdose observation
   The frequency of worst skin irritation :score during the        period. Two additional groups ofGottingen Minipigs® were
                                                                20 dosed topically for 39 weeks at 0% and 90% followed by a
Treatment Period for Topical Diclofenac Solution revealed 14
of 15 subjects with a worst score of 7..ero, indicating no skin    4-month recovery post dose observation period.
irritation. One subject bad a score of0.5 (dcyness or flaking)         Four groups consisting of six animals/sex/group received
for the Topical Diclofenac Solution treated site. For Retin-       DMSO at respective dose levels ofO, 9, 45.5, or900/o (w/w) by
A®, no skin irritation was observed during (he Treatment and 25 dermal application three times a day for 364 consecutive
                                                                   days. Following 52 weeks ofadmillistration, two animals/sex
Recovery Periods. During the Challenge Period, 7 subjects
                                                                   at O, 9, 45.5, and 90% dose levels were maintained for a
had a worst scorcof3 (erythema with induration and vesicu-
                                                                   4-week recovery pe.riod. Two additional groups consisting of
lation) and ooe subject had a score of l (erytbema) for the        six animals/sex/group received the control or 90% (w/w)
Retin-A® treated site. Tue occurrence ofskin irritation for the     DMSO by dennal application three times a day for 7/3 coo-
Retin-A® sites was expected for this positive control.          JO secutive days. Following 39 weeks of administration, two
    Two subjects experienced changes in clinical laboratory        animals/sex at Oand 90% dose levels were maintained for a 4
evaluations (glucose, ALT and AST elevations) that were             month recovery period. Thecontroi or test article was admin-
documented as adverse events.All three adverse events were          istered to all groups at a dose volume of 4.5 mUdose/appli-
                                                                                                 2          2
considered mild and not related to the test articles.           35 cation site (0.015 mUcm ; 300 cm application site) until
                                                                    Week 20. Beginning Week 20 the control or test article was
    There were no clinically significant findings related to
                                                                    administered to all groups at a dose volume 5.6 mI.Jdose/
blood pressure, pulse or respiration rates.                         application site (0.015 mUcm2 ; 375 cm2 application site).
    Conclusions: The objective of this study was to evaluate
the effect oo stratum comeum barrier function, as measured
 by TEWL, ofchronic application ofTopical Diclofenac Solu- 40                                Group Assignments
 tion as compared with a positive control, Retin-A®, and ao
 untreated site as a negative control.                                    Group       Dose Concentration       Number gfApim,alt

    Tue dose of Topical Diclofenac Solution utilizcl in this              Number                  (%)                   Male               Female
 study (approximately 30 µL to a surface area of J 6 cm2) was
                                                                45           1•                    0                       6                   6
 calculated to approximate that shown in Example I to be                     2•                                            6                   6
                                                                                                   9
 effective for treatment of the pain and symptoms of knee                    3•                   45.S                     6                   6
 osteoarthritis when applied QID to the knee (40 drops (ap-                  4•                   90                       6                   6
 proximately 12 mL) to a knee surface area of approximately                  s•                     0                      6                   6
                                                                             6.                   90                       6                   6
 800 cm2 ). Following chronic dosing with Topical Diclofenac
 Solution for 6 weeks in this study, no signi 6cant increase in ;o -Four a.cnmal'1ta/group were ate:opsicd after S2 w«kt o( .da,illis:trstioa.
 TEWL was observed. As measurement ofTEWL bas been                 Two acimilYsex/poup rcrc,Ulcd on ,tudy fos a ,C..W<'ck rcoovuy period.
 shown to be a validated method for assessing skin barrier         ~our anU?Dh/\Ot/group wcce DtlC'fO~ed afttt 39 wee.ks ofadministrltioo.
                                                                   T"'"O uimaklkJt/$fOUprt:m:a.iced oo stod/ tor• 4-mo;idt r ~ period.
 function (Fluhr J W, Feingold KR, Elias PM. Transepidermal
 water loss reflects penneability status: validation in human          Compositions of the control and test articles were as fol-
 and rodent in vivo and ex vivo models. Ex:p Dermatol 2006; ss lows
 15:483-492), these results indicate that Topical Diclofenac
 Solution did not aller the stratum comeum barrier function.
    Treatment with Retin-A®, used as a positive control in this                                         Con1ro1 Vehicle
 study, in the Challenge Period confirmed :skin irritation fol- 60
                                                                                      Ethanol (95% v/v)                   tl.79'/4 w/w
 lowing Retin-A® treatment and · a resulting increase io                              Propylene Gtyt0l                    U.20%wiw
 TEWL, thus validating the study.                                                     Olyceri.n                           tt.20%w/w
    In -conclusion, U1e results ·of.this study demonstrate that                        Purifi~ Wa.tcr                     6S.81%w/w
 following chronic dosing with 1opical l)iclofenac Solution,
 no significant increase in TEWL was observed, i.adicatiog 65                          Eth&nol (95% v/v)                  tl.79%wlw
 that Topical Oiclofenac Solution did not substantially alter                          Propyle.o,: Glycol                 ll.20%w/w
 the stratum comeum barrier function.




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                                                                         US 8,546,450 Bl
                                              45                                                                  46
                                           -continued                                oflhe test articles and control were identical to those used in
                     Gl)"<RA                             ll.20%wlw
                                                                                     Example Sabove. Thevehicleor:est article was administered
                     DMSO                                9.()(1',f,wfw               to all groups epicutaneously, three times a day for 182 con-
                     Purified Water                     S6.81%wlw                    secutivcdays,atadose volumeof0.65 mL. Prior to test article
                                           •5.5%DMSO                             s administration. the hair was clipped from the back of tile
                     l:lha.ool (9S% v/v)                                             animal comprising no less than I 0% ofth.e total body surface
...~
                     Propylene Glycol
                                                        ll.7!1%wlw
                                                                                    area as estimated using the equation Ac9.6• W213 where A
·~1                  Glyce""
                                                        11.20% w/w
                                                        ll.20%w,.,                  was the estimated total body surface in square centimeters
                     DMSO                               ,s~w/w
                     Purified Wa1cr
                                                                                    and W was the body weight in grams. The area was adjusted
                                                        20.31 o/• w/w
                                           90%0MS0
                                                                                10 weekly by group based on the mean body weight foreacb sex.
                                                                                    Following 182 days of administration, 5 animals/sex/group
                     Ellu.nol(9S% v!v)                   2.~w/w                     were maintained fora 12-weelc recovery period.
                     Propylene Glycol                    2.00% wlw                     Observations for morbidity, mortality, injury, and the aV3i l-
                     Olyccri.o                           2.00% w/w
                     DMSO                               90.00IW.w/w
                                                                                    ability of food and water were conducted twice daily for all
  •.                 Purified Waler                      4.00,,.o,/w            ts animals. Opllthalmoscopic examioatioos were conducted
 ·•·                                                                                pretest on all animals and prior 10 the terminal and recovery
......
.•                                                                                  necropsies on all main study animals by doctors ofveterinary
              Observations for morbidity, mortality, injuzy, and the avail-         medicine with Diplomate, American College of Veterinary
           ability of food aod water were conducted twice daily for all            OphlbalmologiSls credeoJials.
           animals. Clinical observations were conducted weekly. At the         20 One female at 9% DMSO (Low dose), two males and one
           end of the each treatment aod recovery period, necropsy                  female at 90% DMSO (High dose) died, and iwo females at
           examin:ltions were performed, oigao weights were recorded,              4S.S% DMSO (Mid dose), and one female at 90% DMSO
          and selected tissues were microscopically examined.                      were euth:ulized in extremis during the study. None of these
              Ooe female at 90% DMSO was eulbanized in extremis on                 deaths were considered to be related 10 1rea1mco1.
           Day IS I of the study. The cause of the morbidity of this           2s No test article-related ophthalmoscopic abnormalities
          animal was determined to be respiratory distress and this was            were detected in any animal during tbe pretest, terminal, and
          considered incidental to treatment and not test article-rcla led.        recovery ophthalmoscopic examinations. Al the recovery
          Al l remaining animals survived 10 their scheduled tennina-              opbthalmoscopic examination, ooe female at 4S.S% DMSO
          tiooat the terminal necropsy at 39 or 52 weeks and the 4-week            was seen with superficial keratitis in both eyes. This isolated
          and 4-month recovery periods.                                        JO common finding was considered incidental to treatment.
             Ophthalmoscopic examinations were conducted pretest,
         and during Weeks 26, 39, and 52. Examinations were per-
                                                                                                             Example7
          formed by a doctor of veterinary medicine with Diplomate,
         American College of Veteriuary Ophthalmologists creden-                        A Single-Dose Pharmacokinctic Evaluation of a
          tials.                                                            JS         Topical Solution Containing 1.5% w/w Diclofenac
             Unexpectedly given the results of earlier studies on non-                   Sodium and 45.5% DMSO in Normal Healthy
         primate species, no increased risk for development of lens                        Non-Smoking Male and Female Subjects
         opacities or refractive index changes associated with DMSO
         were observed. la fact, no test article-related opbthalmo-                  This Example describes novel clinical information that
         soopic abnonnalities of any kind were detected during the 40              may, for example, be provided to a user according to the
         study. One female in the control group (i.e. an animal that had           present invention, comprising the results of study conducted
         not been exposed 10 DMSO) bad a posterior cortical axial                 to evaluate the pbarmacokinctics of diclofenac sodium, dim-
         cataract witll equatorial extrusion at the Week 39 ophthalrno-           eth.yl sulfoxide (DMSO) and dimethyl sulfone (the major
         scopic examination. One male at 45.5% DMSO, one male at                  metabolite of DMSO) after a single-dose application of a
         90% DMSO,aodonecontrol femalebadcoojunctivitis in one 4S                 topical diclofenac preparation containing LS% diclofeoac
         or both eyes only at tbe pretest examination. No other abnor-            sodium (2·[(2,6-dichlorophenyl)amino]beozeneacetic acid,
...'i,   malities were detected io any male or female at any of the
         opbtbalmoscopic exam.inatioos.
                                                                                  monosodium salt), 45.5% DMSO, ethanol, propylene glycol,
                                                                                  glycerine, and water ("Topical Oiclofcnac Solution"
                                                                                  [Pennsaid® (Nuvo Research Joe, Mississauga, Ontario
                                      Example6                                so Canada]). The study followed a one-period, open-label,
                                                                                  single-dose design in 18 normal, healthy, non-smoking male
               Ophthalmologic Effects of DMSO in a 26-Week                        and female subjects in which Topical Diclofenac Solution
               Dermal Toxicity Study in Sprague-Dawley Rats                      was applied to both knees of each subject in the study.
                  Followed by a I2-Week Recovery P,criod                             The 18 subjects enrolled in the study consisted of 14 Cau-
                                                                              ss casians, I Asian and 3 Blacks (9 males, 9 females) with a
            This Example describes novel preclinical informatioo that             mean age of33 years (raoge-22 to 46 years). The subjects'
         may, for example, be provided to a user ac,cording to the               mcaobeight was 174cm(ra ngerl63to 188cm)aodtbemean
         present invention, comprising the results of a study conducted          weight was 7S l:g (range=<54 10 90 ks).
         to evaluate tbe toxicity oftest articles containing DMSO after              Each subject was instructed 10 apply Topical Diclofeoac
         dermal administration for 26 weeks, three times per day, and         60 Solution 10 clean knees, total 40drops per knee: IO drops
         lo evaluate reversibility of any observed changes following a                                                                       each
                                                                                 10 the front of the knee, to each side and to the back. To avoid
         12-weck post-dose observation period Three treabD~t                     spillage, the subject was iostructed to apply and spread 5
         groups of25 male and 25 female CO® [Crl:CD®(SD)) Spra-                  drops at a time. directly onto his/her hand. and then onto the
         guc.l)~wley rats were admii1is1ered the test article, Dimethyl          site. 111e applic.ition lel\ the area visibly wet for S<.'Veral
         sulfoxide (DMSO), at respective dose concentrations of 9,            6' minutes and was applied without massaging. Topical
         45.S, and 90"/4 w/w. One additional group of25 animals/sex              Diclofenac Solution was applied 10 both k.oees; the order of
         served as the control and received the vehicle. Compositions            application did not matter. Aller each dosing, subjects waited




                                                                                                                                               HZNPENN_00000182
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                                                                     US 8,546,450 B 1
                                       47                                                                     48
        for lhe application sile to dry prior to dressing. Tue subject                                     -continued
        washed his/her hands after complete application to both
        knees.                                                                                               PENNSAID ® TOPICAL SOLUTION
                                                                                       Pha.rmacokinctic                    n • IS
           ·1ne subjects fasted ovemiglll for at least ten hours prior to              Pa..rameter                        MWlzSD
        Topical Diclofonac Solution administration and at least four          5
        hours following dosing. The treatments were administered                      c_
                                                                                      T_(b,)
                                                                                            (nglmL)                       8.0S • S.94
                                                                                                                         11.01 2c6.44
.
, .;    topically to both knees in each subject starting at 7:00 a.m.                 1,,,(lul1                          J6.72 • 20.s2
        (0.0 hour), wilh three-minute intervals between subjects.                     K., (&,- )t                   0.024 • 0.0098
           Subjects were informed not to take any prescription medi-               __c_LJF
                                                                                       __  (IJ_1u_>_t_ _ _ __ _ _ _2_44_.66_•_84_._12_ _ __
                                                                              10
        cation, other lhan hormonal contraceptives, from at least 14
        days prior lo the study until theendofthcstu,dy. Subjects were
        also advised not to take any over-the-counter drugs, except for            Single-Dose Pbarmacokinetic Parameters for Diclofcnac
        spermicidal baniercontracepiive products, for at least seven               Sodium (for Two KneeApplication)
        days prior to thestudyupunlil theendofthe.study. They were            ts
        specifically reminded that this included ,cold preparations,
        Aspirin®, Bufferin®, Excedrin®, Anacin®, etc., herbaV                                                PENNSAJD ® TOPICAL SOLUTION
        natural supplements, vitamins and antacid (magnesium and                       ~9::;:kinetic                      M:.;; !8so
        ~uminium h~droxi~ pre_parati~1sh.Subjects -:-e_re informed            20
                                                                                   _U_c-..-, (µg
                                                                                 __A                 - ,-m-L )-- -- - --_-t-.- _- - - - - -
                                                                                             - , .- hr
           al conconu1an1 m cation, w et er prescnption or over-                     UC        , ... hr      )t        8_7 9 , 4_611
_.:-:                                                                                                                  9 174 3 751
        the-counter, was not permincd during the study. Sub;ects      ,
                                                                                   A       ·o-"'""' ·
                                                                                   c_(JJglml..)
                                                                                                         lmL
                                                                                                                       0.475 • 0.335
        were reques1ed to abstain from grapefruit products, xanthine-              T_ (b,)                             8.451 " 2.708
        and caffeine-containing foods and beverages (this included
        tea, coffee, cbocolateandcola drinks) for24 hours prior to the        2s
                                                                                       ~:t~t)t
                                                                                      CUF (Ul,r)t
                                                                                                                     /i~~!: 6:~~o
                                                                                                                        163.49 ,.64.1 4
        start of the study and until after the final blood draws for the
        study. Subjects were also requested to abstain from alcohol
        products for48 hours prior to the start of the study and until           Single-Dose Pharmacokioetic Parameters for Dimethyl Sul-
        after the final blood draws of the srudy.                                foxide (for Two Knee Application)
                                                                              30
            I31ood samples were collected at 0.0 hour (pre-dose), 1.0,              Meanings of each of the parameters in the tables above are
        2.0, 4.0, 6.0, 8.0, 10.0, 12.0, 24.0, 36.0, 48.0, 60.0, 72.0, 96.0,      as follows:
        120.0, 144.0, 168.0, 192.0, 216.0 and 240.0 (hours post-                    AUC0. , Area under the concentration-time curve from time
        dose).                                                                         rero to time of last sampling time point
            111e blood samples were kept in an ice bath prior to cen-
                                                                              35    AUC0.,n/ Area under the concentration-time curve from
        trifugation and were centrifuged as soon as possible (within
                                                                                       time :z.ero to infinity
    !   30 minutes) under refrigerated conditions at 3,5-00 rpm for
        seven minutes. The plasma was removed from each blood                       C,..,. Maximum plasma concentration after dosing
    i   collection tube and aliquotted into pre-cooled, labeled, dupli-             T.,•• Time to occurrence of Cmax
    i   cate, polypropylene tubes, kept in an ice bath prior to, being              1112 Apparent elimination half-life
    i   flash frozen in an upright position, in a dry-ice acetone bath
        and stored frozen at minus(-) 70° C.:i:10° C. The tubes were
                                                                              40
                                                                                    K,1 Apparent elimination rate constant
                                                                                    CUF Apparent total body clearance
         labeled with the study number, dosing period, subject num-
}!      ber, study period, sampling time point, aliquot/rube number
        and matrix. Upon completion of the clinical portion of the
                                                                              45
        study, all samples were transported in dry-ice to an analytical
   ·:    laboratory (Maxxam Analytics Inc.) for the analysis of                                            Example8
        diclofenac sodium, dimethyl sulfoxide and dimethyl sulfone
        using validated analytical methods.
                                                                                         A Multi-Dose Pharmacokinetic Evaluation of a
            Dimethyl sulfone was below the limit of quantitation in                     Topical Solution Containing 1.5% w/w Diclofenac
        most samples and therefore pharmacokinetic analysis was not           so          Sodium and 45.5% DMSO in Normal Healthy
        conducted. Graphs showing the average measured diclofenac
                                                                                            Non-Smoking Male and Female Subjects
        sodium concentration and DMSO concentration in the sub-
        jects as a function of time are provided in PlGS. 3 and 4.
            Pharmacokinetic analysis of the data was conducted using                This Example describes novel clinical information that
         WinNonlin version 4.0 (Pharsight, Carty, US). The principal          ss may,  for example, be provided to a user according to the
        statistical software used was SAS®, version 8.00 (Statistical            present invention, comprising the results ofa study conducted
        Analysis System). Results for pharmacok.ioetic parameters                to evaluate the pbarmacokinetics of diclofenac sodium, dim-
        are summarized in the following tables.                                  ethyl sulfoxide and dimethyl sulfone after multiple doses ofa
                                                                                 topical diclofenac preparation containing 1.5% diclofenac
                                                                              60 sodium (2-((2,6-dichlorophenyl)amino]ben:z.eneacetic acid,
                                                                                 monosodiwn salt), 45.5% DMSO, ethanol, propylene glycol,
                                     PENNSAID ® TOPICAL SOLUTION                 glycerine, and water ("Topical Oiclofenac Solution"
            Pharma.cokinetie                   • n • 18                          fPennsaid(~ (Nuvo Research Inc. Mississauga. Ontario
            l':U'3JW,:!J.!f                      M ~ .'llLI.   SI)
                                                                                 Canadu])wbich, as i11lhe previous J;xampJc 7, was applied lO
            AUC., (ng • hr/ml..)                177.St "72.62                 6S both knees of each subject. This study followed a one-period,
            A~4..,(ng · lu/ml.)f                196.27 "6&.47                    open-iabel, multiple-dose design in 20 normal healthy, non-
                                                                                 smoking male and female subjects.
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                                       49                                                                   50
               Twenty subjects(IO males, 10 femalcs)witha mean age of            Multiple-Dose Pbarmacokinetic Parameters for Diclofcoac
           33 years (range~! 8 to 43 years) were enrolled in this study.         Sodium (forTwo-KoeeApplication)
           '!be subjects' mean height was 171 cm(range~ 157 to 185cm)
           and their mean weight was 69 kg (range=48 to 87 kg). The
           subjects consisted of 15 Caucasians, 3 Asians and 2 Blacks. 5                                      l'F.NNSA!D Cl!> TOPICAL SOLUTION
               Toe treaLment (40 drops, applied on the knee four times a               Phannacokinetic                         n • 19
                                                                                       Parameter                           Mun•SD
          day) was carried on for 7 days, and the phannacokinetic
          profile was characterized on Day 8 after the 29lh administra-               AtlC._,(ug ·h,/mL)               31.8a7 • 15.S20
           tion. Each dose ofTopical Diclofenac Solution was applied to               AUC....,.(ug · br/ml.)t          35.979 • 15.419
          the knee following the procedure described previously in tO
                                                                                     c_(uglmL)                           1.206 .o.s1s
                                                                                      T_,{ht)                            3.842 • 3.4<58
           Example 7.                                                                 l 1n(hr)t                        43. 123 • 22.968
               Doses were applied either at a clinic or at home according             K,1 (br')t                       0.0213 •0.0124
          to following schedule:                                                 tn• ll
               Days land 6: The subjects·applied lhe firstdoseofTopical
                                                                            IS
          Diclofenac Solution to both kn<ees in the clinic Ullder super-         Multiple Dose Pharmacokinetic Parameters for Dimethyl
          vision. The subjects applied the second, third and fourth doses        Sulfoxide (for Two-Knee Application)
          of Topical Diclofeoac Solution at home.
               Days 2 to 5: The subjects applied all four doses of Topical
          Diclofenac Solution at home.                                      20
::1•.·         Day 7: The subjects applied the first dose of Topical
                                                                                                              PENNSA!D Cl!> TOPICAL SOLtrrlON

                                                                                     Parameter                                · - 19
                                                                                                                          Me.ut•SD
          Diclofenac Solution in the clinic and then exited. Tue second
          and third doses were applied at home. The fourth dose was                  At/Co.,(ug  · brlmL)            !SlS.292 • 1065.24S
          applied in the clinic.                                                     AUC.,..,.(ug • hr/mL)t          2339.190 • 1276.555
                                                                                     c_(uglmL)                         I 8.033 • 10.S87
•i           . Day 8: The s_ubjects applied the last dose of Topical 25              T_(br)                              9.397 • 13.341
    i     D1clofenac Solut10n to both knees in the clinic following an               ,,,,(lll)t                        61.287 • 18.376
          overnight fast of at least ten hours.                                      K..,(hr"')t                       0.0123 •0.0039
               Blood samples were drawn according to 'the followi.ng:
               Days I and Day 6: 0.0 hour (pre-dose).
               Day 7: 0.0 hour (pre-dose).                                  30 Multiple-Dose Pbarmacokinctic Parameters for Dimethyl
               Day 8: 0.0 hour (pre-dose), J.O, 2.01 4.0 1 6.0, 8.0, 12.0,      Sulfone (forTwo-KoecApplication)
          24.0, 36.0, 48.0, 60.0, 72.0, 96.0, 120.0, 168.0, 216.0, 264.0,          Q~antities r~porte<! in the above tables have the meanings
          312.0and360.0hourspost0.0llourpost-drugaclministration                prov1d~ previously ID Example 7. Origin of time (t=-0) for
          Day 8.                                                                calculauon of AUCo., and AUCo.;.fis time of the last dose of
              Blood samples were processed aod analyzed using the 35 drug on Day 8.
          methods described previously in Example 7.                               It will ~e appreciated that the data provided in Examples 7
              One subject dropped out of the study for !Personal reasons        and 8 evidence that the systemic exposure to diclofeoac
          so plasma concentration data from the l9 subjects who                 caused by useofTopical Diclofeoac Solution to treatosteoar-
         received the Topical Diclofenac Solution and who completed             thritis of the knee (40 drops per knee QID) is much lower than
         the s tudy period were used in the pharmacokinetic analyses. 40 that caused by a typical oral dose of diclofenac used in treat-
              Steady state was achieved 00 Day 6 (after 20 doses) for the       mcnt of osteoarthritis (e.g. 50 mg TID). For example the label
         3 molecular entities analyzed On Day 8, diclofenac sodium             ofVoltaren® Gel (http://www.voltarengel.com/pdJ7Voltaren-
         remained measurable up to 360 hours post-dose in ll sub-               Pl-l0-19.pdf) reports mean AUC0 •2. =3890 og·h/mL and
         jects.. On Day 8, DMSO and dimethyl sulfone ("DMS0 ")                  ~ean C,..., of2270 ng/mL for subjects taking 50 mg of oral
                                                                       2
         remallled measurable up 10 120 hours ( 10 subjects) and 216 45 diclofenac TIO. Assuming the effects of additional doses of
         hours (9 subjects) post-dose, respectively.                           Topical Diclofenac Solution are additive, one would conclude
              Plots of Diclofenac, DMSO and DMSO2 concentrations                fr?m the AUCo.,y provided in Example 7 that the Topical
         are provided in FIGS. S-7.                                            D,clofenac Solution osteoarthritis dose results in only about
             Th~ phan_nacokinetic analysis was conducted using Win-            20% of the systemic expos_urc tD_ the active provid~ by the
         Nonlin Vcrs.1on 4.0 (Pharsight, Carry, US). The principal sta- so oral drug. The fact tbat Topical Dsclofenac Solution 1s shown
         tistical software used was SAS®, version 8.00. Results for            to be comparable ID efficacy to oral diclofenac sodium for
         important pharmacokinetic parameters are provided in the              ~ea~ent of osteoarthritis (sec Example I) is very surprising
         tables below.                                                         m view of these facts, especially as it is widely believed that
                                                                               NSA!Ds, such as diclofenac, exert their analgesic effects both
~1                                                                         ss locally and centrally. Using the data from Example 8 it also
:'i
                                                                               can be computed that C,..._. of orally administered diclofenac
d                                      P.ENNSAJD Cl!> TOPICAL SOLUTION         is _more than one hundred fold higher than C,.... for Topical
               Phanna,:ofcfo<tic                       n • l9                  Dsclofenac Solution.
            Puamc:ter                          Mean.SD
            At/C0• (ng • Ill/ml)
                              69S.398 • 348.866                          60                         ATTACHMENT
            AUC...,,(ng • hr/mL)t
                              74S.l92 • 374.740
            c_,(nglmL)         19.41 S •9.326                                                 Full Prescribing Information
            T~.,-(hr)           4.00S • 6. 541
            t 1,:,:\hr,t       1~.9n : 3a;,. 1·.n
              K,,(ht"')f       o.o1os .o.0040                                 Wanting: Cardiovascular and Gastroimestinal Risk
         - - - - - - - - - - -- -- - --                         - - 6S        Cardiovascular Risk
         ta• IS                                                                 Nons1eroidal anti-inflammatory drugs (NSA!Ds) may
                                                                                  cause an increased risk ofserious cardiovascular throm-




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            botic events, myocardial infarction, and stroke, which                   PBNNSAJD®Topical Solution should oot be administered
           can be fatal. This risk may increase with duration of use.                   in patients who have experienced asthma, urticaria, or
            Patients with cardiovascular disease or risk factors for                    allergic-type reactions after taking aspirin o r olher
           cardiovascular disease may be at greater risk (see Warn-                     NSAJDs. Severe, rarely fatal, anapbylactic-like reac-
            ings and Precautions (5.1)).                                                lions 10 NSA!Ds have been reported in such patients [see
         PENNSAID® Topical Solution is coot.-aindicatcd in the                          Warnings and Precautions (5.7, 5.14)].
            peri-operative setting of coronary artery bypass graft                   PENNSAID® Topical Solution is contraindicated in the
           (CABG) surgery/see Contraindications (4)).                                   setting of coronary artery bypass graft (CABG) surgery
       Gastrointestinal Risk                                                            (see Warnings and Precautions (5. 1)].
         NSA!Os cause an increased risk of seriou.s g,istroinlestinal       to   5- Warnings and Precautions
                                                                                    5.1 Cardiovascular Thrombotic Events
           adverse events including bleeding, ulceration, a nd per-                 Clinical trials of several oral COX-2 selective and noose,.
              foration of the stomach or intestines, which can be fatal.               lective NSA!Ds ofup to three years duration bavesbown
              These events can occur at any time during use and with-                  an increased risk of serious cardiovascular (CV) lhrom-
              out warning symptoms. Elderly patients are at greater         1s          botic events, myocardial infarction (Ml), and stroke,
 ,•
              risk for serious gastrointestinal events/see Warnings and                which can be fatal. All NSAIDs, including
·.:~
              Precautions (~.2)).                                                      PENNSAID® and COX-2 selective and nonselective
       I . Indications and Usage                                                       orally administered NSAIDS, may have a similar risk.
           PENNSAJD® Topical Solution is a nonsteroidal anti-in-                       Patients with known CV disease or risk factors for CV
              flammatorydrug(NSAlD)indicatedforthetreatment of              20         disease may beat greater risk. To minimize the potential
              signs and symptoms of osteoarthritis of the koee(s),                     risk for an adverse CV event in patients treated with an
              including pain and impairocl ability 10 perform daily                     NSAID, lhe lowest effective dose should be used for the
              activities.                                                              shortest duration possible. Physicians and patients
       2. Dosage and Administration                                                    should remain alert for the development of such events,
           2.1 General Instructions                                         2s         even in the absence of previous CV symptoms. Patients
           For the relief ofthe signs and symptoms ofosteoarthritis of                 should be informed about the signs and/or symptoms of
              the knee(s), the recommended dose is 40 drops per knee,                  serious CV events and the steps to take if they occur.
              4 times a day. Apply PENNSAID® Topical Solution to                    There is no consistent evidence that concurrent use of
              clean, dry skin. Wash the hands before and after appli-            aspirin mitigates lhe increased risk of serious CV thrombotic
              cation of PENNSAID®Topical Solution. To avoid spill-          JO   events associated wilh NSAID use. The concurrent use of
              age, dispense PENNSAJD® JO drops. at a time eilher                 aspirin and NSAJDs, such as diclofcnac, does increase-the
              directly on!o the knee or first into the hand and then onto        risk 01 serious GI events [see Wamings and Precautions
              the knee. Spread PENNSAID®Topical Solution evenly                  (5.2)].
              around front, back and sides of the knee. Repeal this                 Two large, controlled, clinical trials of an orally adminis-
              proccdure until 40 drops have been applied and the knee       lS   tered COX-2 selective NSAID for the treatment of pain in the
              is completely covered with solution. To treat the other            first 10-14 days following CABG surgery found an increased
              knee, if symptomatic, repeal the procedw-e. Application            incidence of myocardial infarction and stroke [see Contrain-
              of PENNSAJD® Topical Solution in am amount exceed-                 dications (4)].
              ing or less than the recommended dose has not been                    5.2 Gastrointestinal Effects-Risk of GI Ulceration,
              studied and is therefore not recommended.                     40   Bleeding, and Perforation
           2.2 Special Precautions                                                  The controlled studies of topically-applied PENNSAJD®
          Showering/bathing should be avoided for at least 30 min-                     Topical Solution have demonstrated a profile of sys-
,.·
              utes after theapplicationof PENNSAID®Topical Solu-                       temic adverse events similar to that of orally adminis-
::i           tion to the treated knee.                                                tered diclofenac sodium, including adverse gastrointes-
 i         Patient should wash his/her hands after use.                     4S         tinal effects, but at a significantly lower incidence (see
          PENNSAI.D® Topical Solution should 1101 be applied to                        Adverse Reactions (6.1)).
              open wounds.                                                          NSAJDs, including diclofenac, can cause serious gas-
          Contact of PBNNSAID® Topical Solution with eyes and                          trointestinal (GI) adverse events including bleeding,
              muoous membranes should be avoided.                                      ulceration, and perforation of the stomach, small intes-
          Extemal heat and/or occlusive dressi ng.s should noi be           so         tine, or large intestine, which can be fatal. These serious
             applied to treated knees.                                                 adverse events can occur al any time, with o r without
          The wearing of clothing over the PENNSAIDi> Topical                          warning symptoms, in patients treated with NSAJDs.
              Solution-treated knee should be avoided until the treated                Only one in five patients who develop a serious upper GI
              knee is dry.                                                             adverse event on NSAID therapy is symptomatic. Upper
          Exposure of the treated knee(s) to sunlight should be             ss         GI ulcers, gross bleeding, or perforation caused by
             avoided.                                                                  NSA!Ds occur in approximately 1% of patients treated
          Wait until the treated area is dry before applying sunscreen,                for 3 -6 months, and in about 2-4% ofpatients treated for
             insect repellant, lotion, moisturizer, cosmetics, or otber                one year. These trencls continue wilh longer duration of
             topical medication to the same knee you havejust treated                  use, increasing the likelihood ofdeveloping a serious GI
             with PENNSAJD® Topical Solution.                               60         event at some time during the course of therapy. How-
       3. Dosage Forms and Strenglhs                                                   ever, even short-term lhctapy is not wilhout risk.
          1.5% w/w topical solution                                                 NSAlDs should be prescribed with extreme caution in
       4. Conttaindications                                                            those with a prior history of ulcer disease or gastrointcs -
          Tbe use of PENNSAU)® fopical Solution is contraindi-                         tinal bleeding. f'a1ie111s with a prior histocy of peptic
             cated in patients witb a known hypersensitivity to             65         ulcer disease and/or gastrointestinal bleeding who use
             diclofenac sodium or any other component of                               NSAIDs have a greater than I 0-fold increased risk for
             PENNSAJD® Topical Solution.                                               developing a GI bleed compared to patients with neither




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         of these risk factors. Olber factors that increase the risk      pruritus, jaundice, rigbJ upper quadrant tenderness, and
         of GI bleeding in patients treated with NSA!Ds include           "ftu-lil<e" symptoms), and the appropriate action
         concomitant use of oral corticosteroids or anticoagu-            patients should take if lhese signs and symptoms appear.
          lants, longer duration of NSAlD therapy, smoking, use        5.4 Hypertension
         of alcohol, older age, and poor general health status. 5      No difference in hypertension was detected between
          Most spontaneous reports of fatal GI events are in eld-         PENNSAlD® Topical Solution and placebo in con-
         erly or debilitated patients and therefore, special care         trolled clinical studies (see Adverse Reactions (6.1 )).
          should be taken in treating this population.                 NSA!Ds, including PENNSAID® Topical Solution, can
       To minimize the potential risk for an adver~e GI event, ~c         lead to the onset of new hypertension or worsening of
          lowest effective dose should be used, for the shortest 10       preexisting hypertension, either of wh.ich may contrib-
          possible duration. Patients and physicians should               ute to the increased incidence of CV events. Patients
          remain alert for signs and symptoms of GI ulceration            taking tbia:r;ides or loop diuretics may have impaired
          and bleeding during diclofenac therapy and promptly             response to these therapies when laking NSAlDs.
          initiate additional evaluation and treatment if a serious       NSAlDs, including PENNSAID® Topical Solution,
          GI adverse event is suspected. For high-risk patients, 1s       should be used with caution in patients with hyperten-
          alternate therapies that do not involve NSAIDs should           sion. As with all NSA!Ds, blood pressure should be
:.~
  ·       be considered.                                                  monitored closely du.-iog the initiation of therapy with
       5.3 Hepatic Effects                                                PENNSAlD® Topical Solution and throughout the
       The controlled studies of topically-applied PENNSAID®              course of therapy.
          Topical Solution have demonstrated a profile of sys- 20      5.5 Congestive Hean Failure and Edema
          temic adverse events similar to that of orally adminis-      Fluid retention and edema have been observed in some
          tered diclofenac sodium, including adverse hepatic              patients treated with NSAIDs, including PENNSAID®
          effects (increased transaminases), but at a significantly       Topical Solution. PENNSAID® Topical Solution
          lower incidence [see Adverse Reactions (6.1)).                  should be used wilh caution in patients with fluid reten-
       Inaddition to the borderline elevations ofoneor more liver 25      tion or heart failure.
          tests that may occur in up to 15% of patients taking oral    5.6 Renal Effccts
          NSA!Ds, in clinical trials of oral diclofenac of up 10 3     Toe controlled studies of topically-applied PENNSAlD®
          years in duration, notable elevations of ALT or AST             Topical Solution have demonstrated a profile of sys-
          (approximately three or more times the upper limjt of           temic adverse events similar to that of orally adminis-
          normal) have been reported in 1-5% of patients ioclud- JO       tereddiclofenac sodium, including adverse renal effects,
          ing elevations of more than 8 times the ULN. In addition        but at a lower incidence [see Adverse Reactions (6.1)).
          to enzyme elevations seen in clinical trials, poslmarket-    Long-term administration ofNSAlDs bas resulted in renal
          ing surveillance has reported cases of severe hepatic           papillary necrosis and other renal injury. Renal toxicity
          reactions, including liver necrosis, jaundice, fulminant        has also been seen in patients in whom renal prostaglan-
          hepatitis with and without jaundice, and liver failure 35       dins have a compensatory role in the maintenance of
          with rates generally bigher than for other NSAlDs.              renal perfusion. In these patients, administration of an
          Someofthese reported cases resulted io fatalities or liver      NSAlD may cause a dose-<lependent reduction in pros-
          transplantation. Physicians should measure transami-            taglandin formation and, secondarily, in renal blood
          nases periodically in patients receiving long-term               flow, which may precipitate overt renal decnmpensation.
          therapy with oral diclofenac, because severe hepatotox- 40       Patients at greatest risk of this reaction are those with
          icily may develop without a prodrome of distinguishing           impaired renal function, heart failure, liver dysfonction,
          symptoms. Toe optimum times for making the first and             those taking diuretics and ACE inhibitors, and the eld-
          subsequent transaminase measurements are not known.             erly. Discontinuation of NSAlD therapy is usually fol-
          In one U.S. trial (open-label) of oral diclofenac that           lowed by recovery to the pretreatment state.
          involved 3,700 patients monitored first at 8 weeks and 45    No information is available from controlled clinical studies
           1,200 patients monitored again at 24 weeks, almost all         regarding the use of PENNSAID® Topical Solution in
          meaningful elevations in transaminases were detected            patients with advanced renal disease. Therefore, treat-
 ·.1      before patients became symptomatic_ In 42 of the 51             ment with PENNSAlD® Topical Solution is not recom-
           patients in all trials who developed marked transaminase       mended in patients with advanced renal disease. If
          elevations, abnormal tests occurred during the first 2 so        PENNSAlD® Topical Solution therapy is initiated,
           months of therapy with diclofenac. Postmarketing expe-         close monitoring of the patient's renal function is advis-
           rience has shown severe hepatic reactions can occur at         able.
          any time during treatment with oral diclofenac. Cases of     5.7 Aoaphylactoid Reactions
          drug-induced hepatotoxicity have been reported in the        As with other NSAJDs, anaphylactoid reactions may occur
          first month, and in some cases, the first 2 months of 5S         in patients without prior exposure to PENNSAlD®
=,I        therapy. Based on these experiences, transam.inases            Topical Solution. PENNSAlD® Topical Solution
·I
          should be monitored within 4 to 8 weeks after initiating         should not be given to patients with the aspirin triad.
  i        treatment with oral diclofenac.                                1bis symptom complex typically occurs in asthmatic
  !    If abnormal liver tests persist or worsen, if clinical signs        patients who experience rhinitis with or without nas.il
  '       and/or symptoms consistent with liver disease develop, 60        polyps, or who exhibit severe, potentially fatal broncho-
          or if systemic manifestations occur (e.g., eosinophilia,         spasm after taking aspirin or other NSAlDs [ see Con-
           rash), PENN SAID® Topical Solution :should be discon-           traindications (4) and Warnings and Precautions
           tinued immediately.                                             (5.14)]. Emergency help should· be sought in cases
       ·1o minimize the possibility that bepa1ic irtjury will become       where un anaphylactoid reaction occurs.
          severe between transaminase measurements, physicians 65      5.8 Skin Reactions
          should infonn patients of the warning signs and symp-        No serious skin adverse events have been ·reported in clini-
           toms of hepatotoxicity (e.g., nausea, fatigue, lethargy,        cal trials with PENNSAlD® Topical Solution.
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                                      PENNSAID® Topical Solutioo should not be applied to                       NSA!Ds inhibit platelet aggregation and have been shown
                                      open skin wounds, infections, inflammations, or e)(fo-                       to prolong bleeding time in some patients. Unlike aspi-
                                      liative dermatitis, as it may affect absorption and toler-                   rin, their effect on platelet function is quantitatively less,
                                      ability of the drug.                            ·                           of shorter duration and reversible. Patients receiving
                                  NSA!Os, including PENNSAJD® Topical Solution, can                  S             PENNSAlD® Topical Solution who may_be adversely
                                      cause serious skin adverse events such as exfoliative                       affected by alterations in platelet functioo, such as those
                                      dermatitis, Stevens-Jobnsoo Syndrome (SJS), and toioc                        with coagulation disorders or patients receiving antico-
                                      epidermal necrolysis (fEN), which can be fatal. These                       agulants, should be carefully monitored.
                                      serious events may occur without warning: Patients                        5.14 PreexistingAslhma
                                      should be informed about the signs and symptoms of             10         Patients with asthma may have aspirin-sensitive asthma.
                                      serious skin manifestations, and the use of the drug                        The use of aspirin in patients with aspirin-sensitive
                                                                                                                   asthma has been associated with severe bronchospasm,
                                      should be discontinued at the first appearance of skin
                                                                                                                  wb.ich can be fatal. Since cross-reactivity, including
                                      rash or any other signs of hypersensitivity.
                                                                                                                   bronchospasm, between aspirin and other nonstcroidal
                                  The effect of PENNSAID® Topical Solution under occlu-              15            anti-inflammatory drugs has been reported in such aspi-
                                    . sive dressing has not been evaluated, and should be                          rin-sensitive patients, PENNSAID® Topical Solution
                                      avoided.                                                                     should not be administered to patients with this form of
                                  5.9 Ophthalmologic Effects                                                       aspirin sensitivity and should be used with caution in
                                  In a recent 26 week rat study and a 52 week mini pig study,                      patients with procxisting asthma.
:_:
                                      conducted according to cWTent GLP and using the same           20         5.15 Sun Exposure
 ,•,                                  source of purified DMSO as in PENNSAID® Topical                           Patients should minimize or avoid CKposurc to natural or
                                      Solution, no abnormal eye changes were observed. In                          artificial sunlight on treated knee(s) because studies in
                                      human clinical studies of PENNSAID® Topical Solu-                            animals indicated topical diclofenac treatment resulted
                                      tion with treatment for up 10 one year, no abnormal.                         in an earl ier onset of ultraviolet light-induced skin
                                      changes other than normal age-related findings were            2s            tumors. The potential effects of PBNNSAID® Topical
                                      observed. Some early studies (I 960s-1970s) in rabbits,                      Solution on skin response to ultraviolet damage in
                                      dogs and pigs and one study in monkeys demonstrated                          humans are not known.
                                      an increased risk for development oflens opacities and                    5.16 Eye E)(posure
                                      changes in refractive indeK associated with DMSO.                         Contact of PENNSAID® Topical Solution with eyes and
                                      Three other monkey studies ofup to one year showed no          30            mucosa, although 001 studied, should be avoided.
                                      abnormality.                                                                 Patients should be advised that if eye contact occurs,
                                  5.10 Pregnancy                                                                   Ibey should immediately wash qut th<;: eye with water or
                                  As with other NSA!Ds, PENNSAID® Topical Solution                                 saline and consult a physician if irritation persists for
                                      should be avoided because it may cause premature clo·                        more than an hour.
                                      sure of the ductus arteriosus. ·!be effect of DMSO on the      35         5.1 7 Laboratory Tests
                                      human fet1JS is unknown.                                                  The controlled studies of topically-applied PENNSAID®
                                  5.11 Corticosteroid Treatment                                                    Topical Solution have demonstrated a profile of sys-
                                  PENN SAID® Topical Solution cannot be e"pected to sub-                           temic adverse events similar to that of orally adminis-
                                      stitute for corticosteroids orto treat corticosteroid insuf-                 tered diclofenac sodium, including abnormal laboratory
                                      ficiency. Abrupt discontinuation of corticosteroids may        40            tests, but at a significantly lower incidence [see Adverse
                                      lead to exacerbatioo of corticosteroid-response illness.                     Reactions (6.1)].
                                      Patients on prolonged corticosteroid therapy should                       Because serious GI tract ulcerations and bleeding can
                                      have their therapy tapered slowly ifa decision is made to                    occur without warning symptoms in patients taking
                                      discontinue corticosteroids.                                                 NSA!Ds, physicians should monitor for signs or symp-
                                  5.12 Inflammation                                                  4S            toms of GI bleeding. Patients on long-term treatment
                                  The pharmacological activity of PENNSAID® Topical                                with NSA!Ds, should have their CBC and a chemistry
.,                                    Solution in reducing inflammation, and possibly fever,                       profile checked periodically. If abnormal liver tests or
:•                                    may diminish the utility of these diagnostic signs in                        renal tests persist or worsen, PENNSAID® Topical
                                      detecting complications of presumed noninfectious,                           Solution should be discontinued.
                                      painful conditions.                                            so      6. Adverse Reactions
                                  5. 13 Hematological Effects                                                   6.1 Clinica.l Studies faperience
                                  No difference in hemoglobin abnonnaliay was detected                          Because clinical trials are conducted under widely varying
                                      between PENN SAID® Topical Solution and placebo in                           conditions, adverse reaction rates observed in the clini-
                                      controlled clinical studies ( seeAdverseReactions (6.1 )).                   cal trials of a drug cannot be directly compared to rates
·i                                The effects of PENNSAID® Topical Solution on platelet              ss            in the clinical trials of another drug and may not reflect
                                      function were studied in IO healthy subjects adminis-                        the rates observed in practice .
.•!                                   tered 80 drops four times a day for 7 days. There was no                  The data described below reflect e"posure to
                                      significant change in platelet aggregation following one                     PENNSAJD® Topical Solution of 911 patients treated
                                      week of treatment [see Clinical Pharmarology (12.4)].                        between 4 and 12 weeks (mean duration of 49 days) in
                                  Anemia is sometimes seen in patients receiving NSAIDs.             60            seven Phase 3 controlled trials, as well as exposure of
                                      This may be due to fluid retention, occult or gross GI                       793 patients treated in anopeo label study, including 463
                                      blood loss, or an incompletely described effect upon                         patients treated for at least 6 months, and 144 patients
                                     ·erythropoiesis. Patients on long-term rreatmenl with                         treated for al least 12 months. The population mean age
                                      NSAlDs, including PENNSAJ[}!y 'fopical Solution,                             was approximately 60 years, 89% of patients were Cau-
                                      should have their hemoglobin or hematocrit checked if          65            casians, 64% were females, and all patients had primary
                                      they eJChibit any signs or symptoms of anemia or blood                       osteoarthritis. The most common adverse events with
 j                                    loss.                                                                        PENNSAID® Topical Solution were application site




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                skin reactions. These events were the most common                  Table I lists all adverse reactions occurring in ,:1% of
                reason for withdrawing from the studies.                             patients receiving PENNSAID® Topical Solution,
           Application site reactions:                                               where the rate in the PENNSAID® Topical Solution
           In the controlled trials, the most c:ommon treatment-related              group exceeded placebo, from seven controlled studies
               adverse events in patients receiving PENNSAID®Topi- s
                                                                                     conducted in patients with osteoarthritis. Since these
               cal Solution were application site skin reactions. Appli-
                                                                                     trials were of different durations, these
               cation site reactions were characterized by one or more
               of the following: dryness, erythema, induration,
               vesicles, paresthesia, pruritus, vasodilation, acne, and                                          TABLE I
               urticaria. The most frequcru of these reactions were dry 10                           Adverse lleactio:isoc:cwrl.QS i.n 2-I~
               skin (32%), contact dermatitis characterized by skin                             ofpa1,cn11UU!cdwilh PENNSA10~T0pical
               erythema and induration (9%), contact dermatitis with                        Solution ig placebo ud oraJ didofcruc-controlled tnalJ.
               vesicles (2%) and pruritus (4%). In one controlled trial,
                                                                                                                                 Trcannem. Group;
               a rughcr rate of contact dermatitis with vesicles (4%)
               was observed after treatment of 152 subjects with the ts                                               PENNSAJ04'
               combination of PENNSAID® Topical Solution and oral                                                       Top-I                 Topical     On!
               diclofenac. In the open label uocontrolled loog-tenn                                                      Sotulioo             r1acc1>o didolb:ac
                                                                                                                          N•911           N • ll2        N•'62
               safety study, contact dennatitis occurred in 13% and            AdvcrH Rcaetion'                           N~)              N(%)          N~)
               contact dennatitis with vesicles in I0% of patients, gen-
               erally within the first 6 months of exposure, leading to a 20   Ory Skin (Applioation Sito)                292 ()2)            17 (S)      8 (2)
                                                                               Contact Dermatitis {Application             83 (9)              6 (2)      6 (I)
               withdrawal rate for an application site event of 14%.           Site)
          Adverse events common lo the NSAlD class:                            Oytpepeg                                    7l (I)             13  (4)    87   (19)
           In controlled trials, subjects treatcxl with PENNSAlD®              Abdc>cniul !'&ill                           SC (6)             10  ())    71   (17)
                                                                               Fl&wlcocc                                   JS (4)              I  (<I)
               Topical Solution experienced some adverse C11eots asso-         Pruritu, (,\pplicot,oo Site)
                                                                                                                                                         S2   (Ill
               ciated with the NSAID class more frequently than sub- 25                                                    34 (4)              7  (2)     2   (<!)
                                                                               Diarrhea                                    JJ (4)              1 (2)     61   (13)
              jects using placebo (constipation, diarrhea, dyspepsia,          Nausea                                      JJ (4)              ) ( I)    44   (10)
               nausea, flatulence, abdominal pain, edema; see Table l ).
               In direct comparative trials these adverse events
                                                                               Pbuyoaitis
                                                                               Constipation
                                                                                                                           "°29 (J)
                                                                                                                              (4)             13 (4)
                                                                                                                                               I (<I)
                                                                                                                                                          4
                                                                                                                                                         ))
                                                                                                                                                              (< I)
                                                                                                                                                              (7)
                                                                               Edema                                       26 ())                0       Tl   (6)
              occurred less frequently with PENNSAJD® Topical                  lt.ub                                       2S ())             s   (2)     7   (2)
               Solution than with oral diclofenac (sec Table I). The 30        Infection                                   2S ())              8 (2)     18   (4)
               adverse event hypertension was reported less frequently         Ecchymos-is                                 19 (2)              I (<I)     9   (2)
                                                                               D,ySkill                                    19 (2)              1 (<!)     1 (<I)
               with PENNSAID®Topical Solution (less than lo/o) thau            Contaa Dennatitit. vesicles:                18 (2)                  0      l (<I)
              oral diclofenac (2%), and W-JS not different from placebo        (Application Site)
              (less lban 1%). Based oo a clinical definition of hyper-         P~ia                                        14 (l)             3 (<I)      4   (<!)
              tension (20% increase in diastolic blood pressure or 3S          AcctdcDall.ojtuy                            22 (2)             7 (2)      II   (2)
                                                                               Pturind                                     IS (2)             2          10   (2)
              increase in blood pressure to > 150'100), less hyperten-         SJnt11it11
                                                                                                                                                (<I)
                                                                                                                           10 (I)             2 (<I)      6   (I)
              sion was detected with PBNNSAID® Topical Solution                Ha.lito1is                                  II (1)             I (<l)      I   (<I)
              (4%) than oral diclofcnac (7%), and no difference was            App1icatjon Site Reaction                   II (I)             J (<I)      0   (0)
              found compared to placebo (3%). Serious adverse
                                                                               '"Prckncd Teno ICCOldq to COSTART
              events were observed in the controlled and open label AO
              long-tcnn trial in less than I% of patients (upper and             6.2 Postmarketing Experience
              lower GI hemorrhage, partial small bowel obstruction,              Over 6 million boules of PENNSAID® Topical Solution
              myocardial infarction, angina, cerebrovascular acci-
.,.                                                                                 have bcco prescribed io non-US countries. In non-US
              dent, transient ischemic attack).
                                                                                    post-marketing surveillance, tbe followi.og adverse reac-
   ;      Some laboratory abnormalities associated wilb the NSAlD 4S
                                                                                   tions have been reportcxl during post-approval use of
 -:           class were detected more frequently with PENNSAlD®
                                                                                   PENNSAID® Topical Solution. Because these reac-
              Topical Solution than with placebo (abnormal serum
              sodium, chloride and urea). Some NSAID-rclated labo-                 tions are reported voluntarily from a population of
              ratory aboonnalities were not different between                      uncertain size, it is not always possible to reliably esti-
              PENNSAID® Topical Solution and placebo (abnormal 50                  mate their frequency or establish a causal relationship to
              hemoglobin, traosamin.ases, and creatiuine). Elevation               drug exposure.
              in liver function tests oocurred marginally more frc.              Body as a whole: abdominal pain, accidental injury, aller-
             qucntJy with PENNSAJD!I Topical Solution (ALT,                        gic reaction, asthenia, back pain, body odor, chest pain,
              4.1%; AST, 3.7%) than with placebo (ALT, 2.4%; AST,                  edema, face edema, halitosis, headache, lack of drug
              2.3%). In direct comparative trials laboratory abnor- ss             effect, neck rigidity, pain
             malities associated with the NSAJD class oocurred less              Cardiovascular: palpitation, cardiovascular disorder
              frequently with PENNSAID® Topical Solution than                    Digestive: diarrhea, dry mouth, dyspepsia, gastroenteritis,
             with oral diclofenac {hemoglobin, 3% vs. 9%;ALT, 4%                   decreased appetite, mouth ulceration, nausea, rectal
             vs. 17%;AST, 4%vs. l3%;creatinioe,3%vs. ?%; urea,                     hemorrhage, ulcerative stolll3titis
             9%vs. 12%).                                                  60     Metabolic and Nutritional: crcatinine increased
          The combination of PENNSAlD® Topic.al Solution and                     Musculoskeletal: leg cramps, myalgia
             oral diclofenac, compared to oral diclofeoac alone,                 Nervous: depression, dizziness, drowsiness, lethargy, par-
             resulted in a higher rate of rectal hemorrhage (3% vs.                esthesia. parcsthesia at application site ·
             less than 1%), and more lrequeot abnonnal creatinine                Rcspir,<tury: astluua, dyspnca, laryogismu,, laryngitis,
             (1 2% vs. 7%), urea (20% vs. 12%), and hemoglobin 6S                  pharyngitis
             (13% vs. 9%), but no difference in elevation of liver               Skin and Appendages: At the Application Site: contact
             transanl.inases.                                                      dennatitis, contact dem1atitis with vesicles, dry skin,




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              pruritus, rash; Other Skin Md Appendages Adverse                      tolt:rated but resulted in a higher rate of rectal hemor-
              Reactions: ec7.ema, rash, pruritus, skin discoloration,               rhage (3% vs. less than 1%), and more frequent abnor-
              urticaria                                                             mal creatinine (12% vs. 7%), urea (20% vs. 12%) aoo
          Special senses: aboormal vision, blurred vision, catarac1,                hemoglobin (13% vs. 9"/4). Patients on combinarion
              ear p:iin, eye disorder, eye pain, taste perversion                  therapy wilh PENNSAID® Topical Solution and an oral
          Urogenital: breast enl:ugement                                           NSAID should have periodic laboratory evaluations, as
       7. Drug lnrcractions                                                        for any long-term treatment with an oral NSAJD.
          Drug interactions with the use of PENNSAID® Topical                   7.9 Topical Trealments
             Solution have nor been studied. The following drug                Concomitant use of PENNSAID® Topical Solution with
              interactions are noted for oral diclofenac sodium.         10        other topical products, including DEET (active ingiedi-
          7.1 Aspirin                                                              ent in insect repellent), 2,4-0 (active ingredient in com-
          Wbeo diclofcnac is adminisrercd with aspirin, the binding                monly used pcsticides)and oxybenzooe (active ingredi-
             of diclofenac to protein is reduced, although the clear-              ent in sunscreens), on the same skin site has been tested
              ance of free diclofeoac is not altered. The clinical sig-            in the minipig. The results sbow that repeated applica-
              nificance of this interaction is not kn1>Wn; however, as 15          tion of PENNSAID® Topical Solution did not enhance
              with other NSAIDs, coocomitant administr.ition of                    the systemic absorption of these products. ·
             diclofenac and aspirin is not generally rccommeoded                In addition, a tran.sepidermal warer loss study was per-
             because of tbe polential of increased adverse effects.                formed on human volunteers' skin and found no alter-
          7.2 Anticoagulants                                                       ation in skin barrier function following chronic use of
          The effecls ofanticoagulan1s such as warfarin nnd NSAIDs 20              PENNSAID® Topical Solution.
             on GI bleeding are synergistic, such lhat users of both           &fore applying sunscreen, insect repellant, lotion, mois-
             drugs together have a risk of serious GI bleeding higher              rurizer, cosmetics, or other topical medication to the
             than users of either drug alone.                                      same skin surface of the knee you have just 1re:11ed with
          7.3 ACE-Inhibitors                                                       PENNSAID® Topical Solution, wait until the treated
          NSAJDs may diminish the antihypcrtensivc effect of 2s                    area is dry, which occurs mosr oflen within IO minutes.
             angiotensin converting enzyme (ACB) inhlbitors. This           8. Use in Specific Populations
             interaction should be given consideration in parients             8.1 Pregnancy
             taking NSAIOs concomitantly with ACE-inhibitors.                  The safety of PENNSAID® Topical Solution bas not been
         7.4 Diuretics                                                             established during pregnancy. There are no adequate and
         Oinical studies, as well as post-Ol3rkcting observations, l O             well-controlled studies of diclofenac in pregnant
             have shown that NSAJDs can reduce the natriuretic                     women. Human and animal studies indicate that
             effect of furosemide and thinides in some patients. The              diclofenac crosses the placenta. As with other NSAJDs,
             response has been attribu1ed to inhlbit ion of renal pros-           PENNSAJD® Topical Solution should be avoided dur-
             taglandin synlhesis. DuriJlg concomicant therapy with                 ing prcgnaocy because it may cause premature closure
             NSAIDs, the patient should be observed closely for )S                of the ductus a11eriosus.
             signs of renal failure (see Warnings and Precautions              Teratogenic Effects
             (5.6)], as well as to assure diureric efficacy.                   Pregnancy Category C: Studies in lllice administered
         7.5 Lithium                                                              diclofenac at doses up to up to 20 mg/kg/day and in rats
         NSAlDs have produced ao elevation of plasma lithium                      and rabbits at doses up 10 IO mg/kg/day resulted in no
             levels and a reduction in renal lithium clearance. The .a            evidence of developmental teratogenicity despite the
            merui minimum lithium concentration increased 15%                     inductioo of maternal toxicity and fetal toxicity. DMSO
            and lhc renal clearance was decreased by approximately                administered orally to pregnant female rats during days
            20%. These effects bave bcco attributed to iuhibitioo of              6-15 of gestation was not teratogenic at doses up to 5
            renal prostaglandin synthesis by the NSAJD. Thus,                     g/kg/day. OMSO administered orally to pregnant female
            when NSAJDs, including diclofenac, and lithium are 41                 rabbits during Day 7 to Day 28 post-coitum of gestation
....        administered concurreotly, patients should be observed                was not teratogenic at doses up to I 000 mg/kg/day.
            carefully for signs of lithium toxicity.                           Nonteratogen.ic Effects
         7.6 Methotrexate                                                      Because of lhc koowo effects of NSAIDs on the fetal
         NSAIDs have been reported to competitively inhibit meth-           cardiovascular system (closure of ductus arteriosus) and
            otrexate accumulation in rabbit kidney slices. This Ol3Y so unknown effect of DMSO on the hulllllD fetus, use of
            indicate that they could enhance the toxicity of Mcthotr-       PENNSAJD® Topical Solution during pregnancy should be
            exate. Caution should be used when NSAIDs, including            avoided.
            diclofenac, are administered coocomilalltly with meth-            8.2 Labor and Delivery
            otrexate.                                                          Jo rat studies with oral NSAJOs, including diclofenac, as
         7.7 Cyclosporinc                                               ss        with other drugs known to inhlbit prostaglandin synthe-
         Diclofenac, like other NSAIDs, may affect renal prostag-                 sis, there is an increased incidence of dyslocia and
            landins and increase the toxicity ofcertain drugs. There-             delayed parturition with exposure corresponding in
            fore, concomitant therapy with diclofe.nac may increase               humans to the Ol3ximwn recommended clinical dose
            cyclosporinc's oepbrotoxicity. Camion should be used                  (based oo bioavailability aod body surface area compari-
            when diclofenac is administered coocomitantly with 60                 son). The effects of PENNSAID® Topical Solution on
            cyclosporinc.                                                         labor and delivery io pregnant women are unknown.
         7.8 Oral Nonstcroidal Anti-inflammatory Drugs                        8.3 Nursing Mothers
         ConcomitMt useofoml NSAIDswith PENNSAID®Topi-                        Tr is not known whelher diclofcnac is excrered in human
            cal Soluuon has been cvalualed in o.nt: rtwse 3 con-                  milk following appbcation ot l'cNNSAJ.I.)&) Topical
            trolled trial and was generally well tolernted. The com- 6S           Solution. Studies in animals detected diclofeoac in the
            binatioo of PENNSAl~ Topical Solution and oral                        milk after oral administration. Because maoy drugs are
            diclofenac, compared to oral diclofeoac alone, was well               excreted in human milk and because of the potential for




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             serious adverse reactions in nursing infants, a decision
             should be made whether to discontinue nursing or to
             discontinue PENNSAID®TopicaJ Solution, taking into



                                                                                                   <Ot"-9
             account the importance of the drug to the mother.
                                                                         5
          8.4 Pediatric Use
          Safety and effectiveness in pediatric patients have not been
                                                                                                           Cl           CH2COONa
             established.
          8.5 Geriatric Use
                                                                         to Each I mL of solution contains 16.05 mg of diclofenac
          Of the 911 patients treated with PENNSAID® Topical
                                                                            sodium. In addition, PENNSAID®Topical Solution contains
             Solution in seven controlled, Phase 3 clioical trials, 444
                                                                            the following inactive ingredients: dimethyl sulfoxide
             subjects were 65 years of age and over. There was no
                                                                            (DMSO, 45.5% w/w), propylene glycol, alcohol, glycerin
             age-related difference in the incidence ofadverse events.
                                                                            and purified water. The DMSO used in PENNSAID® Topical
             Of the 793 patients treated with l'ENNSAID® Topical t 5 Solution is manufactured under cGMP conditions and con-
·"-:,        Solution in one open-labeled safety trial, 334 subjects
             were65 years of age and over including 107 subjects 75
                                                                            forms to USP specifications.
                                                                            12. Clinical Pharmacology
             and over. There was no difference in the incidence of              I 2.1 Mechanism of Action
             adverse events with long-tenn exposure to                         The mechanism of action of diclofeoac is similar to that of
              PENNSAID® Topical Solution for th.is elderly popula- 20              other nonsteroidal anti-inflammatory drugs. Diclofenac
              tion.As with any NSAJD, caution should be exercised in               inhibits the enzyme, cyclooxygenase (COX), an early
              treating the elderly (65 years and, older) and it may be             component of the arnchidooic acid cascade, resulting in
             useful to monitor renal function since they are more                  the reduced formation of prostaglandins, tbromboxanes
              likely to have decreased baseline renal function.                    and prostacylin. It is not completely understood how
                                                                         25        reduced synthesis of these compounds results in thera-
        10. Overdosage
                                                                                   peutic efficacy.
          There have been no known experiences of overdose with                 12.2 Pharmacodynamics
              PENNSAID® Topical Solution.                                       Diclofenac, the active component of PENNSAJD® Topi-
           In the event of accidental oral ingestion of PENNSAID®                  cal Solution bas anti-inflammatory, anti-nociception,
              Topical Solution, the maximum exposure from an entire 30             and ant.ipyretic effects. The diclofenac sodium in
              60mL bonle is 963 mgof diclofeoacand 29 gofDMSO.                     PENNSAJD® Topical Solution is formulated in a solu·
                                                                                   tion ba.s e ~ontaining DMSO, which enhances diclofcnac
          Symptoms following acute NSAID overdose are usually
                                                                                   penetration through the skin.
              limited to lethargy, drowsiness, nausea, vomiting, and            I 2.3 Pbarmacokinetics
              epigastric pain, which are generally reversible with sup- 3S      After topical administration to I 8 healthy bu.man volun-
              portive care. Gastrointestinal bleeding can occur. Hyper-            teers of a single maximum dose of PENNS AID® Topi-
              tension, acute renal failure, respiratory depression and             cal Solution, 40 drops (approximately 1.2 mL) to each
              coma may occur, but are rare. Anaphylactoid reactions                knee (80 drops total dose), the peak plasma concenlra·
              have been reported with therapeutic ingestion of                     tion ofdiclofenac sodium was 8. I :tS.9 ng/mL. (sec Table
              NSAJDs, and may occur following an overdose.               40        2).
           Patients should be managed by symptomatic and support-               After topical administration to 19 healthy human volun-
              ive care following an NSAID overdose. There arc no                   teers of multiple maximum doses of PENNSAJD®
              specific antidotes. Emesis is not reco=endcd due to a                Topical Solution, 40 drops (approximately 1.2 mL) to
                                                                                   each knee (80drops total dose) q.i.d. for 7 days, the peak
              possibility of aspiration and subsequent respiratory irri- 45
                                                                                   plasma concentration of diclofenac sodium was
              tation by DMSO contained in PENNSAID® Topical
.•!                                                                                 19.4:t9.3 ng/mL (see Table 2} .
   '          Solution.Activated charcoal (60 to 100 gin adults, 1 to
              2 g/kg in children) and/or osmotic cathanic may be
                                                                                                             TABLE2
              indicated in patients seen within 4 hours of ingestion
              with symptoms or following a large overdose (5 to 10 50            Siagle-dose (80 dsops) and Multiple Dose (80 drops q.i.d. for 7 days)
              times the usual dose). Forced diuresis, alkalinization of              P£N'NSAlD ® Topical Solulion PhumACotinetie Pmrn.cte,s
               urine, bemodialysis, or bemoperfusioa may not be use-
                                                                                                                    Qicl<>fcrute sodium
              ful due to high protein binding.
           For additional information about overdose treatment, call a                            Nonna! Adults IN• 18)         Normal Adults [N• l9J
                                                                                                                                   (Age: 18-SS ycaa)
               poison control center (1-800-222-1222).                   ss Pb.&nnacok.iJ1aic
                                                                             Pan.meters
                                                                                                     (Age: IS•SS yurt)
                                                                                                        Single Do«                   Multiple Dose
        1I . Description
                                                                            AUCo.,.                177.5 • 72.6 og • b.imL       695.4 • 348.9 ng · bhnL
           PENNSAJD® Topical Solution is a i:lear, colorless to             Aue.....,              t96.3 • 68.S og • h/mL        74S.2 • )74.7 og • h/mL
              faintly pink-orange solution for topical application.          PlasmaC_.                 8.l • S.9 og/mL               19.4 • 9.3 ng/mL
                                                                             Plasma T _, (h)             lt.0,6.4                       4.0 • 6.5
           PENNSAID® Topical Solution contains 1.5% w/w 60 Plasmal,a (h)                                 36.7,<20.8                    79.0<38.I
              diclofeoac sodium, a ben7,ene-acetic acid derivative that      K_,(h"')                  0 .024 • 0.010                 0.011 .0.004
              is a oonsteroidal anti-inflammatory drug (NSAlD), des-        CUF(Ub)                    244.7 • 84.7 1
              ignated chemically as 2-[(2.6-dichlorophcnyl)aminoJ
               benzencacclic acid, monosodium sail. The molecular
               weight is 318.l 4. lts molecular formula is 65                   Maximum plasma concentration of diclofenac appears to
              C,4 H 10Cl 2 NNaO2 and it has the following structural                be significantly lower with use of PENNSAID® Topical
              formula:                                                             Solution than with comparable treatment using oral




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                   diclofenac. Literature review indicates that, following        Oiclofenac has been shown to be neither mutage.nic nor
                   oral administration of a sioglo dose of 50 mg diclofenac          clastogenic in a battery of genotoxicity tests that
                   sodium, tho observed diclofenac mean plasma concen-               included the bacterial reverse mutation assay, in vitro
                   tration was 1,500-1,600 ng/mL. This level is approxi-
                                                                                     mouse lymphoma point mutation assay, chromosomal
                   mately 185-198 times rugbcr than the level observed s
                   following a single 1opical application of 40 drops                aberration studies in Chinese hamster ovarian cells in
                   PENNSAID® Topical Solution lO both knees.                         vitro, and in vivo rat chromosomal aberration assay of
                                                                                     bone marrow cells. Published studies indicated DMSO
 :;.t           12.4 Platelets
               The effect of PENNSAID® Topical Solution on platelet                  was not mutagcnic in theAmcs test. PENNSAID®Topi-
                   function was evaluated in JO healthy human volunteers 10          cal Solution was not clastogcnic in the in vivo mouse
                   as a sub-s!Udy ofa multiple-dose pharmacokinetic study            micronucleus assay at doses close to the maximum tol-
                   [seePharmacolcinetics (12.3)).Average (range) platelet            erated dose of 12 mLJkg (cortcsponding to 178 mg/lcg
                   aggreg11tion time following stimulation with adenosinc            diclofcnac and 5.86 g/kg DMSO administered to the
                  dipbosphate, collagen, epinephrine and aracrudonic acid            mouse).
                  was 101.3% (73.3-128.1), 99.8% (69.6-112.9), 109.9% IS         Fertility s!Udies have not been conducted with
                  (66.2-178.1 ) and 99.0%(15.S-126.6) of baseline value,             PENNSAID® Topical Solution. For dic:lofeoac, male
                   respectively. lbese results indicate that there was no           and female rats orally administered 4 mg/kg/day did not
                  effect on platelet aggregation after application of the            affect fertility. In rats, maternal toxic doses were asso-
                  maximum clinical dose for 7 days [see Pharmacokinet-              ciated with dystocia, prolonged gestation, reduced fetal
  •'
                  ics (12.3)].                                                20    weights and growth, and reduced fetal survival. Rabbits
            13, Nonclinical Toxicology                                              treated with oral doses of5 or 10 mg/animal/day during
·---~
               13.1 Carcinogeoesis, Mutagencsis, Impairment of Fertil-              the gestation period resulted in a dose-dependent
           ity.                                                                     increase in resorptions, reduced fe!Us weights, and
               Long-term s!Udies in animals 10 evaluate the carcinogenic            abnormal skeletons.
                  potential of PENNSAID® Topical So lution have not 25 14. Cli nical Studies
                  been performed.                                                14. I Pivotal Studies in Osteoarthritis of the Kitee
               In rats, a lifetime (2-year) oral administration of diclofenac    The use of PENNSAlD® Topical Solution for the treat-
                  up to 2 mg/kg/day resulted in 110 significant increases in        ment of tbe signs and symptoms of osteoarthritis of the
                  tumor incidence, al though there was a slight increase in         knee was evaluated in two pivotal double-blind con-
                  benign mammary fibroadenomas in females of the mid- 30            trolled trials conducted in the US and Canada, involving
                 dose (0.5 mg/leg/day) group. The high-dose female                  patients treated with PENNSAID®Topical Solution~! a
                  group had excessive mortality and could not be evalu-            dose of 40 drops four times a day for 12 weeks.
                  ated. A similar lifetime (2-year) oral administration of          PENNSAlD® Topical Solution was compared to topical
                 diclofcrutC io mice at doses up to 0.3 mg/kg/day io males          placebo (2.3% OMSO with other cxcipients) and/or
                 aod I mg/leg/day in females also resulted in no signifi- JS       topical vehicle solution (45.5% w/w DMSO with other
                 cant increase in tumor incidence.                                 excipients), applied directly to the study knee; in addi-
              In a dermal carcinogenicity s!lldy conducted in albino               tion ooe s!Udy also had an oral diclofcnac {100 mg SR)
                 mice, daily topical applications of a dic1ofonac sodium           arm and a combination oral diclofenac: plus
                 gel product for two years at concentrations up to 0.035%          PENNSAID® Topical Solution treatment aan. In both
                 diclofenac sodium (a 43-fold lower diclofenac sodium 40           trials, PENNSAID®Topical Solution treatment resu lted
                 concentration than present in PENNSAID® Topical                   in statistically significant clinical improvement com-
                 Solution) did not increase neoplasm incidence.                    pared to placebo and/or veh.icle, io all throe primary
 :i           In a photococarcinogenieity study conducted in hairless              e.fficacy variables- pain, physical function (Western

..:.,'l,
                 mice, topical application of a diclofenae sodium gel              Ontario and McMaster Universities LK3.1 OA Index
                 product at doses up to 0.035% diclofenac sodium (a 45             (WOMAC) pain and physical function dimensions) and
                 43-fold lower diclofenac sodium concentration than                Patient Overall Health Assessment (POHAYPatient
                 present in PENNSAID®Topical Solution) resulted in an              Global Assessment (PGA) and the secoodaiy variable
:l               earlier median time of onset of tumors.
    I                                                                              stiffness.
                                                                                                   TABLE3
                                                                        Change.in trcA1mt.ntoutcomcs after 12 weeks oflreallncnt in two
                                                                            s!Udicl of ellicat:y of PENNSAID ~ Topical Soluttoa

                                                                                       Mcao baselUie score and mean chu,go lll effice.c:y
                                                                                            variable$ after 12 weeboftreatrneot




                                                                  Meoa              Topical Topical      Oral     Mean              Topical
                                                Bllicat:y        &sclloe PENNSAIO~ pi.c.cbo2 vehicle' diclofenac BucliM PEl'INSAID*
                                                                                                                                    vcbicte'
                                                Variable          scoie    N•lS4   N•tSS N•l6l N•tSI              ''"""   N • l64   N • l62
                                                WOMAC              13          - 6.0        -4.7       -4.7       -6.4         13           - 44
                                                paw SCOr&
                                                (illcrt J. I ,
                                                0·20)




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                                                     65                                                                                    66
                                                           TABLE 3-continued
                                      Clwlge   u,-.. oulCOmes aftu 12 wedso(tru lnlGl in two
                                            S1ud1.-sofcffic:g ofPF.NJ:I SAID•I!'P i?l Soly1too

                                                       Mea.n buelitle a«>rc and mun cbngc ia efficacy
                                                             yariphtet aftg t 2 •etb of'trutment

,:\·-·~                                                 Stud     1
                                                                                                               SI\Jdy 11 1
;-.,
                              Meao                  Topical ToplCOI      0..1     Mcaa
           Elf,caey         llasetiao PENNSAID II> plllC<bo' vcb,cle1 diclofcnae DA1tline               Topical
          V&ritb!c                                                                        Pi>NNSAIO 11> vehicle'
                              ,coro     N•IS4      N•ISS 1'1•161 N•lSI            ,core      N • 164    N-162
          W<ls\/lAC           42             -U.7           - 12.3     - 12.1        - 17.S                     -IS.J             -10.3
          ?bys,eaJ
          function
          (Lil«n3.l,
          M8)
          i'OHAIPGA             2.3           -t.0           -0.4        -0.6         -0.9         3.1           -1.3              -1.0
          (0-4)4
          WOMAC                               -1.9           - 1.S       -1.S         -2.1
          Jtiflbess                                                                                              -1.8             -1.3
          (L1ke1t3.1,
          0-8)

                                * .. ,.._.., ........ uu. ~ - - p. o.o,,; POHA. p < 0.0001:
          ......,... i'El>'l/SAID
          SNdy l: PEN'NSAID«i v, w:biclt:: pi\!\ p • 0.009: pcyJIC•l fuoC'fion, P                               '""""" •• o., I
                                                                                  • o.02~ PORA., .. 0.016: Kll'Tl,cu. p • O,OlS
          PEN'NSAU> C> v,, o~l-dtdo(cNc: paiQ, p • O.•:J: pbyli,ul f\md*- p •
                                                                                  O.)lo POHA. p •0,96: \.lilmc'M. p • 0.60
          Sl\ldy II; PE:1/NS,JDt>,.. - k , poio, p• OJJ02. p1,y,...i-. ;.-. p
                                                                                   • 0.002. PGA, p •OOOS; ...n"..,,. p •O.G09
          'i,1o«oo , _ io<w.d ?.J% l>MSO
          ~chicle fonoul11ion inctudcd 4S5% DMSO
          'PollA {hticol Ova-all Hc1IU. A~oQ (ti:' Study I; PO.A. (P ,tics
                                                                                Olot.l AHusmcot) fo, Study 0


            PENNSAID® Topical Solution provided statistically sig-          16. How Supplied/Storage aod Handling
                nificant improvement in signs and symptoms of osteoar- 30
                                                                              PENNSAJD® Topical Solution is supplied as a clear, col-
                thritis of the knee, including pain, impaired ability to
                                                                                   orless to faintly pink•orange solution containing 16.05
                perform daily activities and reduced quality of life, in           mg of diclofenac sodium per mL of solution, in a white
                both Study I and Study II (fable 3).                               high density polyethyleoe bottle with a white low-den-
            In Study I, a 12.weck, 5-ann, double-blinded, double-                  sity dropper cap.
               dummy, vehicle-, placebo- and oral diclofeoac-con- 35
                trollcd study, patients with primary osrcoarthritis of the
               knee were treated with application ofa topical solution
               (PENNSAlD® Topical Solution, vehicle-control solu-                                      NOC Number & Size
               tion containing 45.5% DMSO, or placebo solution), plus                    IS mL bottle (pb)'$iciu11amplc)   NOC#
                I oral tablet (diclofenac JOO mg SR or oral placebo). 40                 60 mL bottle                      NOC #
               Only one painful knee, the designated study knee, was                    1SO mL bottle                      NOC #
.,:            treated regardless of symptoms in the contralateral knee
;;~            (97% patients had bilateral knee OA). Statistically           Storage
    I          greater improvement in three primary efficacy vari- 45 Store at 25° C.
                                                                                                (17° F.); excursions pe=ittod to I 5-30" C.
              ables-pa in, physical function and Patient Overall                  (59-86° F.) [See USP Controlled Room Temperature].
               Health Assessment- was observed following 12 weeks          17. Patient Counseli ng Information
              of treatment with PENNSA.LD® Topical Solution com-
              pared to placebo and vehicle--controll ed solution. In         Sec Medication Guide.
              relief of stiffuess, PENNSAJD® Topical Solution was so         17. I Medication Guide
              superior to vehicle but not placebo. There was no statis-      Patien1s should be informed of the following information
              tical difference between PENNSAID®Topical Solution                 before initiating therapy with an NSAID and periodi-
              and oral diclofenac on any oftbc primruy efficacy vari·            cally during the course of ongoing therapy. Patiellls
              ables.                                                             should also be encouraged to read the NSAJD Medica-
           In Study ll, PENNSAID® Topical Solution treatment ss                  tion Guide that accompanies each prescription dis-
·:;           resulted in statistically signi.tlcantly greater improve·          pensed prior 10 using PEiNNSAIO®Topical Solution.
·'l           mcnt over vcbicle-<:ootrol solution in all four variables
              measured (pain, physical function, Patient Global
                                                                             I 7.2 Cardiovascular Effec:ts
                                                                             PENNSAJD® Topical Solution, like other NSAJDs, may
             Assessment and stiffness).                                         cause serious CV side effec:ts, such as Ml or stroke,
           Due to PENNSAID® Topical Solution's unique formula- 60
                                                                                which may result in hospitalization and even death.
             tion properties, which includes the penetration enhancer           Although serious CV events can occur without warning
             DMSO (manufactured under cGMP conditions and con-                  symptoms, patients should be alert for the signs and
             fonning to USP specifications). these efficacy data                symptoms of chest pain, sbortnes.~ of breath. weakness,
             should not b.: gencrnlized to other topical NSAlUs.                slurring of sp..:och, and should ask for ml!dical advice
             Topical NSAJDs should not be considered a homage- 65               when observing any indicative sign or symptoms.
             neous class and findiog,s with one product may oot apply           Patients should be apprised of the importance of this
             to olhers.
                                                                                follow.up [see Warnings and Precautions (5.1)].




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                                          67                                                                  68
               17.3 Gastrointestinal Effects                                       I 7.9 Eye Exposure
               PENNSAID® Topical Solution, like other NSAIDs, may                  Patients should be instructed to avoid contact of
                 cause GI discomfort and, rarely, serious GI side effects,            PENNSAlD® Topical Solution with the eyes and
                 suclias ulcers and bleeding, which may result in hospi-              mucosa. Patients should be advised that if eye contact
                 talization and even death. Although serious GI tract        5        occurs, they should immediately wash out the eye with
                 ulcerations and bleeding can occur without warning                   water or saline and consult a physician if irritation per-
                 symptoms, patients should be alert for the signs and                 sists for more than an hour.
,.
:."              symptoms ofulceration and bleeding, and should ask for
                                                                                               Medication Guide For Non-Steroidal
                 :~~:~:d:~1:;~::;:::~:a:;d;~i::;~~                 ;~t;n::
                 and bematemesis. Patients sliould be apprised for the
                                                                              lO               Anti-Inflammatory Drugs (NSAIDS)

                 imponanceoftbis follow-up [see Warnings and Preca11-               (See the cod of this Medication Guide for a list ofprescrip-
                 tions (5.2)].                                                   tion NSAID medicines.)
               17.4 Hepatoxicity                                                    What is the most important information I should know
                                                                              15
               Patients should be informed of the warning signs and              about medicines called Non-Steroidal Anti-Inflammatory
                 symptoms ofhepatotoxicity (e.g., nausea, fatigue, leth-         Drugs (NS;XJDs)?
                 argy, pruritus,jaundicc, right upper quadrant tenderness,          NSAID medicines may increase the chance of a heart
                 and "flu-like" symptoms). If these occur, patients should             attack or stroke that can lead to death. This chance
                 be instructed to stop therapy with PENNSAID® Topical 20               increases:
                 Solution and seek i.nunediate medical therapy (see                    with longer use ofNSAJD medicines
                  Warnings and Precautions (5.3)].                                     in people who have heart disease
               17.5 Adverse Skin Reactions                                          NSAID medicines should never be used right before or
               PENNSAID® Topical Solution, like 0th.er NSAlDs, can                     after a heart surgery called a "coronary artery bypass
                 cause serious systemic skin side effects such as exfolia- 25          graft (CABG)."
                  tive dermatitis, SJS, and TEN, which may result in hos-           NSA.I D medicines can cause ulcers and bleeding in the
                  pitalizations and even death. Although serious systemic              stomach and intestines at any time during treatment.
                  skin reactions may occur without warning, patients                   Ulcers and bleeding:
                  should be alert for the signs and symptoms of skin rash              can happen without warning symptoms
                  and blisters, fever, or other signs ofhypcrscnsitivity such 30       may cause death
                  as itching, and should ask for medical advice when                The chance of a person gening an ulcer or bleeding
                  observing any indicative signs or symptoms. [ses Warn-                increases with:            ·         ·
                  ings a.n d Precautions (5.8)).                                        taking medicines called "corticosteroids" and "antico-
               Patients should be advised to stop PENNSAlD® Topical                        agulants"
                  Solution immediately if they develop any type of gener- JS
                                                                                        longer use
                  alized rash and contact their physicians as soon as pos-
                                                                                        smoking
                  sible.
               PENNSAID® Topica l Solution can cause a localized skin                   drinking alcohol
                  reaction at the application site. Patients should be                  older age
                  advised to contact their physicians as soon as possible if 40         liaving poor health
                  they develop any type of localir.ed application site rash.         NSAJD medicines should only be used:
               Patients should be instructed not lo apply PENNSAlD®                     exactly as prescribed
                  Topical Solution to open skin wounds, infections,                     at the lowest dose possible for your treatment
.,                inflammations, orcxfoliative dcanatitis, as it may affect             for the shortest time needed
·-i               absorption and tolerability of the drug.                    45     What are Non-Steroidal Anti-Inflammatory Drugs
:j             Before applying sunscreen, insect repellaot, lotion, mois-               (NSAIDs)?
·: 1
                   turizer, cosmetics, or other topical medication to the            NSAID medicines are used to treat pain and redness, swell-
:1                same knee you liave just treated with PENNSAID®                       ing, and heat (inflammation) from medical conditions
  '               Topical Solution, wait until the treated area is dry.                 such as:
               Patients should be instructed to minimize or avoid expo- so              different types of arthritis
                  sure of treated kneels) to natural or anjficial sunlight.             menstrual cramps and other types of short-term pain
                17.6 Weight Gain and Edema                                           Who should not take a Non-Steroidal Aoti-loJlammatory
               Patients should promptly report to their physician signs or               Drug (NSAlD)?
                  symptoms of wiexplained weight gain or edema follow-               Do not take an NSAlD medicine:
                  ing treatment with PENNSAlD®Topical Solution [see ss
                                                                                        if you bad an asthma atlllck, hives, or other allergic
                   Warnings and Precautions (5.5)].
                                                                                           reaction with aspirin or any other NSAID medicine
                17.7 Anapbylactoid Reactions
                                                                                        for pain right before or after heart bypass surgery
               Patients should be informed of the signs ofan anaphylac-
                   toid reaction (e.g., difficulty breathing, swelling of the     Tell your healthcare provider.
                   face or throat). If these occur, patients should be 60 about all of your medical conditions.
                   instructed to seek immediate emergency help [see Warn-            about ·an of the medicines you take. NSAIDs and some
                   ings and Precautions (5.7)].                                         other medicines can interact with each other and cause
                17.8 Effects During Pregnancy             .                             serious s_ide effects. _l(ecp a list of your medicines to
               ln late preguaucy, as with other NSAIDs, Pt::NNSAli)(l.l)                show lo your hcallhc,,re providc,r and phurmacisl.
                  Topical Solutioo should be avoided because it will cause 65        if you are pregnant. NSAJD medicines should not be used
                   premature closurcof theductus aneriosus [see Warnings                 by pregnant women late in their pregnancy.
•I                 and Precautions (5.10)).                                          if you are breastfeeding. Talk to your doctor.
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                                              69                                                                                            70
        What are the possible side effects of Non-Steroidal Anti-                                                                      -continued
        lnllam.matory Drugs (NSAIDs)?
                                                                                                  Gc.ncrtCName,
                                                                                                  lndomcthacia              lodocin ®, (nd()(:U) ®SR, lndo·Lern.moo TM,
                                                                                             5                              tndomethag&U '™
        Serious side effects include:                         Other side cff'«:ts inctudc:        Kctoprofe.n               Oruvail®
                                                                                                  Kctorola.c                Tot'lldol <!l
        bcart attack                                          stomach pain                        McfcuamicAcid             Ponstel®
        stroke                                                c:Onstipatjon                       Meloxieam                 Mooic®
        high blood pressure                                   dianb..                             N~wnctooe                 Relafen<II>
        heart failure (rom body swelling (Ru.id rctcntto11)   g~                                                            Naprosyn ®· Anaprnx ®, Anaprnx ®OS,
        kidney problems including kidney failurt              be&rtbum
                                                                                             tO   Naprox.c.n
                                                                                                                            EC-N>proxyn ®· Nopre!.. ®· Naprapac ®
        bleeding &nd ulcers in the stomach &nd intt$1.inc     nausea                                                        (copaclaged with IM<0pruolc)
        low t<d blood cells (anemi•)                          YOrniting                           Oxaprozin                 O&yprn®
        1:re--t.hreatcning skin n-:actions                    di1.2iness                          Pi.roxiCAtn               Feldcnc®
        life~lhrwcru.n3 allergic react.ions                                                       S\llindll<:               Clinoril®
        liver problems includi.og liver fa.ilure
        asthma a.ttat.ks io people who have uthrm                                            IS Tobnetin                    ToleetiA <II>, To!t<:tln OS®, Tolcctin ®600

                                                                                                  •v,coprorcc comaUH I.be same dose of itq,cofcoas ov«·lhe-<-ouatc, (OTC) NSAJO, lUld is
                                                                                                  ug,ia!Jy used for l«s Ul.l.rl JO~ le> treat pain,. TI,c, OTC NSAJD latte I ~ tb:at l0J1g term
        Get emergency help right away if you have aoyofthe follow-                  CM'li.:luou~ ~ may~ the ri,k orbc2..1 anack or cro-kc.

        ing symptoms:
            shortness of breath or trouble breathing                             20                       Patient Instructions for Use
            chest pain
            weakness in one part or side of your body                               Your doctor has prescribed PENNSAID®Topical Solution to
            slurred speech                                                          relieve your pain, limited function, mobility, and ability to
                                                                                    manage your daily activities caused by osteoarthritis in your
            swelling of the face or throat
                                                                                    knee(s). This medicine will help you only as long as you
        Stop your NSAID medicine and call your healthcare provider 2s continue to use it as directed.
        right away if you have any of the following symptoms:                          Use PENNSAID® Topical Solution exactly how your doc-
             nausea                                                                          tor prescribes it for you. Do not apply PENNSAJD®
             more tired or weaker than usual                                                 Topical Solution anywhere other than where your doctor
             itching                                                                         instructs you.
             your skin or eyes look yellow                                       JO    The dose for your knee is 40 drops (equivalent to 1.2 mL)
             stomach pain                                                                    of PENNSAID® Topical Solution every time you apply
             Ou-like symptoms                                                                it.
                                                                                        Apply PENNSAJD® Topical Solution 4 times a day
             vomit blood
                                                                                             directly to the skin of symptomatic knee(s).
             there is blood in your bowel movement o r it is black and JS               Apply PENNSAID® Topical Solution to clean, dry skin
                 sticky like tar
                                                                                             that does not have any cuts, infections or rashes.
             unusual weight gain                                                        Do not use heating pads or apply bandages to the skin
             skio cash or blisters with fever                                                where you have applied PENNSAlD® Topical Solution.
  i          swelling of the arms and legs, hands and feel
        These are not all the side effects with NSAID medicines. Talk 40
                                                                                        Avoid exposing skin where you apply PENNSAJD® Topi-
                                                                                             cal Solution to sunlight and artificial light, such as tan-
    !   ro your healthcare provider or pharmacist for more informa-
         tion about NSAlD medicines.
                                                                                             ning booths.
                                                                                        Before applying sunscreen, insect repellant, lotion, mois-
,.].,   Other information about Non-Steroidal Anti-Inflammatory                              rurizer, cosmetics, or other topical medication 10 the
·:;      Drugs (NSAIDs):
             Aspirin is an NSAID medicine but it does not increase the 45
                                                                                             same knee you have just treated with PENNSAID®
                                                                                             Topical Solution, wait until the treated area is dry.
:]                chance of a heart attack. Aspirin can cause bleeding io               Do not get PENNSAID® Topical Solution in your eyes,
:l                the brain, stomach, and intestines. Aspirin can also cause                 nose or mouth. PENNSAID® Topical Solution is only to
                  ulcers in the stomach and intestines.                                      be used on your skin (topical use). If you get
             Some of these NSAJD medicines are sold in lower dOSC$                            PENNSAID® Topical Solution in your eyes, rinse your
                  without a prescription (over-the-counter). Talk to your 50                 eyes right away with water or saline. Talk with your
                  healthcare provider before using over-the-counter                          doctor if eye irritation lasts for more than one hour.
                  NSAfDs for more than IO days.                                      What to do if you miss a dose:
         NSAIO medicines that need a prescription                                       If you miss a dose of PENNSAJD® Topical Solution,
                                                                                             continue with your next scheduled dose using the pre-
                                                                                 5S           scribed amount of PENNSAlO® Topical Solution.
                                                                                        Do not double the dose the next time you apply
        Generic Name            Tradewnc
                                                                                              PENNSAID® Topical Solution.
        Cclcooxib               Cclcbrcx®                                            Applying PENNSAID® Topical Solution:
         Dtclofe.na.c           Fleetor, C&ta.fla.m ®, Volwen ®· Arthrorec ™-            I. The dose for each knee is 40 drops of PENNSAJD®
                                (eorobined wilb misoprostol), PENNSA!D ® Top;cal
                                Solution                                         60           Topical Solution.
         OiHunislll             Oolobid®                                                2. Apply PENNSAID® Topical Solution 4 times a day,
         Etodol&e               L<xlwe®, Lodine®XL                                            spaced evenly throughout the day. PENNSAID® treat-
         Fenoprofen             Nolfon ®, N•lfon ®200                                         ment has no relationship to food intake.
         r.11:bil'C'((.'II       \u,:i,t!1:.
         Ibuprofen              Motrin ®, Ta.b-Profeo ®, v,coprofen (8)..
                                                                                        3. To measure the right amoum or PENNSAIL>® Topical
                                (combined with bydrocodooo), Combunox nc                      Solution, it is reco=ended to dispense IO drops of
                                (combined wilb oxycodonc)                                     PENNSAID® into the band, or directly onto the knee;
                                                                                              spread PENNSAID® evenly around front, back and




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                 sides of the knee; then repeal this procedUfe until 40          invention as defined by the scope of the claims. 11 will be
                 drops have been applied and the knee is completely              readily apparent to one skilled in the art that varying substi-
                 covered. lo lreal the other knee, repeal th.is exact proce-     rutioos and modifications may be m.ade 10 the invention dis-
                 dure.                                                           closed herein without departing from the scope and spirit of
              4. Wash your hands after applying PENNSAID® Topical 5 the invention. The invention illustratively described herein
                 Solution.                                                       suitably may be practiced in the absence of any element or
              5. Do not shower or bathe for al least 30 minutes after            elements, or limitation or limitations, which is 001 specifi-
                 application of PENNSND® Topical Solution to the                 cally disclosed herein as essential. Thus, for example, in each
                 treated kncc(s).                                                instance herein, in nonfaniting embodiments or examples of
              6. Wait until the treated knee area is completely dry before 10 the prcsen.t invention, the terms "comprising", "including",
                 covering the treated knee with clothing.                        "containing", etc. are to be read expansively and without
           Store PENNSAJD® Topical Solulion at room temperarure,                 limitation. The methods and processes illustratively
           59° F. to 86° F. (15° C. to 30° C.).                                  described herein suitably may be practiced in diJJeriog orders
              All patents, publicat ions, scientific articles, web sites, and    of steps, and that they arc not necessarily restricted 10 the
           other documents and materials referenced or mentioned ts orders of steps indicated herein or in the claims.
           bereinare indicativcofthclcvelsofskill ofthoseskilled in the              Toe tenns and expressions that have been employed are
           art to which the invention pertains, and each such referenced         used as terms ofdescription and not of limitation, and there is
           document and material is hereby incorporated by reference 10          no intent in the use of such terms and expressions to exclude
           the same extent as ifit had been incorporated by reference in         any equivalent of the features shown and described or por-
           its entirety individually or set forth hereio in its entirety. 20 tions tbcreof;-but it is recognized that various modifications
           Applicants reserve the right 10 physically incorporate into this      are possible within the scope of the invention as claimed.
           specification any and aU materials and information from any           Thus, it will be understood that although tbe present invention
           such patents, publicMions, scientific articles. web sites, elec-      has been specifically disclosed by various noolimiling
           tronically available infonnation, and other referenced mate-          embodiments and/or preferred noolimiting embodiments and
           rials or documents.                                                25 optional features, any and all modifications and variations of
              The written description portion of this patent includes all        the concepts herein disclosed that may be resorted to by those
           claims. Furthennore, all claims, including all original claims        skilled in the art are considered to be within the scope of this
           as well as all claims from any and all priority documents, are        invention as defined by the appended claims.
           hereby incorporated by reference in their entirety into the               The invention has been described broadly and generically
           written description portion of the specification, and Appli- JO herein. Each of the narrower species and subgeneric group-
           cants reserve the righl to physically incorporate into the writ-      ings falling within the generic disclosure also form part oft he
           ten description or any other portion of the application, any and      invention. This includes the generic description of the inven-
           all such claims. Thus, for example, under no circumstances            tion with a proviso or negative limitation removing any sub-
           may the patent be imerpreted as allegedly not providing a             ject mailer from the genus, regardless of whether or not the
           wril1en description for a claim on the assertion that the precise 35 excised material is specifically recited herein.
           wording of the claim is not set forth in haec verba in written            It is also to be understood that as used herein and in the
           description portion of the patent.                                    appended claims, the siogular forms "a," "an," and "the"
              The claims will be interpreted according to law. However,          include plural reference unless the context clearly dictates
           and notwithstanding the alleged or perceived case or diffi-           otherwise, the tenn "X and/or Y" means "X" or "Y" or both
           culty of interpreting any claim or poJ1ion thereof, under no 40 "X" and "Y", and the letter "s" following a noun designates
           circumstances may any adjustment or amendment of a claim              both the plural and singular fonns of that noun. lo addition,
           or any portion thereofduring prosecution of tibc application or       where features or aspects of the invention are described in
           applications leading lo this patent be interpreted as having           terms of Markush groups, ii is intended, and those skilled in
           forfeited any right to any and all equivalents thereof that do        the art will recognize, that the invention embraces and is also
           not form a part of the prior art.                                  45 thereby described in terms of any individua l member and any
              All of the fearures disclosed in this specification may be         subgroup of members of the Markush group, and applicants
           combined in any combination. Thus, unless expressly stated            reserve the right to revise the application or claims 10 refer
           otherwise, each feature disclosed is only an example of a             specifically to any individual member or any subgroup of
           generic series of equivalent or similar featur,es.                     members of the Markush group.
              lt is to be understood that while the invention has been ;o Other nonlimiting embodiments are within the following
           described in conjunction with the detailed description                claims. The patent may not, be interpreted to be limited to the
           thereof, the foregoing description is intended to illustrate and       specific examples or ooolimitiog embodiments or methods
           not limit the scope of the invention, which is defined by the          specifically and/or expressly disclosed herein. Under no cir-
           scope of the appended claims. Thus, from the foregoing, it            cwnstances may the patent be interpreted to be limited by any
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           will be appreciated that, although specific nonlimiting 55 statement made by any Examiner or any other official or
           embodiments of the invention have been described herein for            employee of the Patent and Trademark Office uoless such
1          the purpose of illustration, various modifications may be              statement is specifically and without qualification or reserva-
           made without deviating from the spirit and se-0peofthe inven-          tion expressly adopted in a responsive writing by Applicants.
           tion. Other aspects, advantages, and modifications are within
           the scope of the following claims and the present invention is 60         We claim:
           not limited except as by the appended claims.                             l. A method for treating a patient with combination
              The specific methods and compositions described herein              therapy, said combination therapy comprising:
           are represenlalive of preferred nonlimiting. embodiments and              administering aJhcrapcutically effective amount of an oral
           are exemplary and n<.Jl imcnded as limilalions on the scope of                NSAllJ; and
            lhe invention. Other objects, aspects, and embodiments will 6S           applying a topical diclofenac preparation to a koee of said
           occur to those skilled in the art upon consideration of this                  patient to treat osteoarthritis of the koee of said patient,
           specification, and arc encompassed within the spirit of the                   wherein said topical diclofenac preparalion comprises a



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              therapeutically effective amount ofa dielofenac salt and                  therapeutically effective amount of a diclofcnac sail and
              40-50% w/w dimethyl sulfoxide,                                            40-50"/o w/w dimethyl sulfoxide;
           wherein the therapeutically effective amount of oral                      waiting for the treated area to dry;
              NSAID is the amount required 10 achieve a therapeutic                  subsequently applying a sunscreen, or an insect repellant to
              effect in the absence of applying a topical diclofenac         s          sa!d treated area after said treated area is dry, wherein
                                                                                        said step of applying a first medication does not enhance
              preparation.                                                              the systemic absorption of the subsequently applied sun-
 ...•      2. The method according to claim 1, wherein the patient is                   screen, or insect repellant; and
r       treated for severe knee pam.
           3. The method according lo claim 1, wherein the patient is
                                                                                     wherein said subsequent application occurs during a
                                                                                        course of treatment of said patient with said topical
                                                                             1
        treated for breaktbrougb knee pain.                                   0         diclofenac preparation.
           4. The method according to claim I , furtber comprising:                  11. The method according to claim 10, wherein said
           conducting periodic laboratory evaluations regarding said              diclofenac preparation comprises about 45.5% w/w dimethyl
              patient and the combination therapy.                                sulfoxide.
           5. The method according to claim 1, wherein said                          12 . The method according to claim 10, wherein said thera-
                                                                             15   peutically effective amount of diclofenac is 1.5% w/w
        diclofenac preparation comprises about 45.5% w/w dimethyl
        sulfoxide.                                           ·                    diclofenac sodium.
           6. The met.bod according to claim 1, wherein said                         13. The method according to claim 10, wherein said
        diclofenac preparation further comprises ethanol, propylene               diclofcnac preparation further comprises ethanol, propylene
        glycol, glycerine, and water.                                             glycol, glycerine, and water.
                                                                             20      i4. The method according to claim 10, wherein said thera-
           7. The method according to claim I, wherein said thera-
        peutically effective amount of diclofenac comprises a phar-               peutically effective amount of diclofenac comprises a phar-
                                                                                  maceutically acceptable salt of diclofenac selected from a
        maceutically acceptable salt of diclofenac selected from a
        sodium salt, a potassium salt, a diethylamine sail or an epo-             sodi_um salt, a potassium salt, a diethylamine salt, or an cpo-
        lamine salt.                                           '                  lanune sail.
                                                                             25      15. The method according to claim 10, wherein said step of
           8. The method according to claim 1, wherein said thera-
        peutically effective amount of diclofenac is 1.5% w/w                     subsequently applying comprises subsequently applying said
        dic.lofenac sodium.                                                       sunscreen.
           9. The method according to claim 1, wherein said oral                     16. The m~thod according to claim 15, wherein said sun-
                                                                                  screen compnses oxybenzone.
        NSAID is a member selected from the group consisting of a            30       17. The method according to claim 10, wherein said step of
        COX-2 selective NSAJD, diclofenac, tenoxicam, meloxicam,
        celccoltib, di~ll!li~;il, etodo!ac, fenoprofen, flurbiprofen, ibu-        ~ub5e9,ucntly applying comprises subsequently applying said
        profen, indomethacin, kctoprofon, kctorolac mcfcnamic                      msect repellant.
        acid, nabumetone, naproxeo, oxaprozin, piroxic:im, suliodac,                  18. The method according to claim 17, wherein said insect
                                                                                  repe.llaot comprises N,N-dielhyl-m-toluamide (DEET).
        and tolmetin.                                                        ~5
           10. A method for applying topical agen.ts to a knee of a                   19. The method according to claim J 7, wherein said insect
                                                                                  repellant comprises 2,4 D dimetbylamine salt (2,4 D).
        patient with pain, said method comprising:
                                                                                      20. The method according lo claim 14, wherein said thera-
           applying a first medication consisting of a topical
              diclofcnac preparation to an area of the knee of said                peutically effective amount of diclofenac comprises
                                                                                   diclofenac sodium.
               patien~ to treat ~steoa~britis of the knee of said patient,
               wherein the topical d1clofcnac preparation comprises a                                    • * •      •   *




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                                     UNITED STATES PATENT AND TRADEMARK OFFICE
                                          CERTIFICATE OF CORRECTION
       PATENTNO.                  : 8,546,450 Bl                                                                                        Page 1 of l
       APPLICATION NO.            : 12/459998
       DATED                      : October 1, 2013
       INVENTOR(S)                 : Singh et al.

       It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


                In the "References Cited" Section:

                On the title page, second column, item (56), in the "OTHER PUBLICATIONS" subsection, line 13 of
                that paragraph: please delete "presribing'' and insert --prescribing--.


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                                                                                    Twenty-eighth Day of October, 2014



                                                                                                            Michelle JZ. I.cc
                                                                                   Depul)' Director of the United States Patent and Trademark Office




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Case: 17-2149   Document: 36   Page: 294    Filed: 08/16/2017




                   Addendum 9

                U.S. Patent No. 8,563,613

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                                                          THIS IS TO CERTIFY THAT ANNEXED HERETO IS A TRUE COPY FROM
                                                          THE RECORDS OF THIS OFFICE OF:




                                                           U.S. PATENT: 8,563,613
                                                           ISSUE DATE: October 22, 2013




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·-·                                                                              By Authori ty of the
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                                                                                 and Director of the United States Patent and T rademark Office




                                                                                                     T. LAWRENCE
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                c12>    United States Patent                                                            {IO)   Patent No.:     US 8,563,613 B2
                        Kisak et al.                                                                    {45)   Date of Patent:    *Oct. 22, 2013

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                                   Singh, Toronto (CA)                                            JP                61 -254519              ll/1986
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                (73)     Assignee: Nuvo Research lnc., Mississau&3,                                JP               62-163122              ·11/1987
                                   Ontario (CA)                                                    JP                3-291222               12/1991
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                  WU:l,·00~2226     AI    5.- 2003    S:unow- el al.                                e rties, which may be used for the lopical treaun~nt of pain,
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                  2005/0239894      AI  l 0/2005      Steiger
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                                                                                     DICLOFENAC TOPICAL FORMULATION                                                                                                                 U.S. Pat. Nos. 4,575,515 and 4,652,557 disclose topical
                                                                                                                                                                                                                                NSAID compositions, one of which, consisting of 1.5%
                                                                                               CROSS-REFERENCES TO RELATED                                                                                                      diclofenacsodium, 45.5%dimethylsulphoxide, l l.79%etha-
                                                                                                       APPLICATIONS                                                                                                             nol, 11 .2% propylene glycol, 11.2% glycerine, and water, b.as
                                                                                                                                                                                                                         s      been shown to be effective in chronic OA treatment. See
                                                                          This application is a continuation of U.S. application Ser.                                                                                           Towb.eed,Journal ofRheumatology 33:3 567-573 (2006)and
                                                                       No. 12/134,121 , filed Jun. 5, 2008, now issued as U.S. Pat.                                                                                             also Oregon Evidence Based Practice Center entitled "Com-
                                                                       No. 8,252,838, which application is a continuation of PCT/                                                                                               parative Safety and Effectiveness of Analgesics for Osteoar-
                                                                       US2007/081674, filed Oct. 17, 2007, which. application                                                                                                   thritis", ABRQ Pub. No. 06-EHC009-EF. This particular
                                                                       claims priority to U.S. Provisiooal Application No. 60/829, 10                                                                                           composition is referred to herein as "comparative liquid for-
                                                                       756, filed Oct. 17, 2006, the teachings all of wh.ich are incor-                                                                                         mulation" or "comparative" in the Examples section. How-
                                                                                                                                                                                                                                ever, the compositions of these prior inventions have draw-
                                                                       porated herein by reference in their entireties for all purposes.
                                                                                                                                                                                                                                backs in that they are slow to dry and runny. lbey also require
                                                                                                           FIELD OF THE INVENTION                                                                                               frequent dosing of three to four times a day to achieve efficacy
                                                                                                                                                                                                                        ts      in OA, which increases exposure to potential skin initants and
                                                                                                                                                                                                                                increases the risk of skin irritation.
                                                                          The present invention relates generally to compositions
                                                                                                                                                                                                                                    In general, the failure of topical NSA!Ds to fulfi!J their
                                                                        and methods for treating osteoarthritis.
                                                                                                                                                                                                                                promise in OA may be due in part to the difficulty associated
::J                                                                                                                                                                                                                             with delivering a molecule through the skin in sufficicntquan-
                                                                                              BACKGROUND OP THE INV!Wr!ON
::J                                                                                                                                                                                                                     20      tities to exert a therapeutic effect and in a manner that makes
--                                                                                                                                                                                                                              the treatment itself tolerable. It is generally believed that
                                                                           L Osteoarthritis                                                                                                                                     clin.ical efficacy in OA requires absorp1ion of the active ingre-
                                                                           Osteoartb.ritis (OA) is a chronic joint disease cb.aracterized                                                                                       dient and its penetration in sufficient quantities into underly-
                                                                        by progressive degeneration of articular cart;Jage. Symptoms                                                                                            ing inflamed tissues including the synovium and synovial
                                                                        include joint pain and impaired movement. OA is one of the                                                                                      2s      fluid ofjoints. See Rosenstein, Topical agents in the treatment
                                                                        leading causes of disability worldwide and a major financial                                                                                            of rheumatic disorders, Rheum. Dis. C/in North Am., 25:
                                                                        burden to health care systems. It is estimated to affect over 15                                                                                        899-918 (1999).
                                                                        million adults in the United States alone. See Boh L. E.                                                                                                    However, the skin is a significant barrier to drug perme-
                                                                        Osteoarthritis. In: DiPiro J. T., Talbert R. L., Yee G. C., et al .,                                                                                    ation, and despite nearly four decades of extensive research,
                                                                        editors. Pharmacotherapy: a pathophysiological approach.                                                                                        JO      the success of transdermal drug delivery in general remains
                                                                        4th ed. Norwalk (CT): Appleton & Lange, pp. 1441-59                                                                                                     fairly limited with only a small number of transdermal drug
                                                                        (1999).                                                                                                                                                 products commercially available.
                                                                           Oral non-steroidal anti-inflammatory drugs (NSAlDs) are                                                                                                  Jn connection with topical dosage forms applied to the
                                                                        a mainstay in the management ofOA. They have analgesic,                                                                                                 skin, a number of interactions can occur including vehicle-
                                                                        anti-inllammatory and anlipyretic effects a nd are useful in                                                                                    35      skin, vehicle-drug, and drug-skin. Each can affect the release
                                                                        reducing pain and inflammation. NSAJDS a.re however asso-                                                                                               ofan active agent from a topical dosage form (Roberts, M. S.:
                                                                        ciated with. serious potential side effects including nausea,                                                                                           Structure-permeability considerations in percutaneous
                                                                        vom.iting, peptic ulcer disease, GI. b.aemorrhage, and cardio-                                                                                          absorption. In Prediction ofPercutaneous Penetration, ed. by
                                                                        vascular events.                                                                                                                                        R. C. Scon et al., vol. 2, pp. 210-228, IBC Technical Services,
                                                                           Topical NSAlDs offer the possibility of acb.ieving local                                                                                     40      London, 1991). Thus various factors can affect absorption
                                                                        therapeutic benefit while redocing or elim.inating the risk of                                                                                          rates and penetration depth including the active ingredient,
                                                                        system.ic side effects. There has been widespread interest in                                                                                           the vehicle, the pH, and the relative solubility of the active in
                                                                        tlus approach to treating OA, but data in support of the effi-                                                                                          the vehicle versus the skin (Ostrenga J. et al., Significance of
                                                                        cacy of topical NSAJDs in the treatrnenl ofOA is limited. For                                                                                           vehicle composition I: relationsh.ip between topical vehicle
                                                                        instance, a study of 13 randomized placebo controlled trials                                                                                    45      composition, skin penetrability, and clin.ical efficacy, Journal
                                                                        (RCT's) of various topical NSAJDs tested specifically foruse                                                                                            ofPhannaceutica/ Sciences, 60: 1175-1179 (1971)). More
                                                                        in the treatment ofOAconcludcd that they were not generally                                                                                             specifically, drug attributes such as solubility, size and charge,
                                                                        efficacious for chronic use in OA. (Lin et al., Efficacy of                                                                                             as well as, vehicle attributes such as the drug dissolution rate,
                                                                        topical non-steroidal anti-inflammatory drugs in the treat-                                                                                             spreading-ability, adhesion, and ability to alter membrane
                                                                        ment of osteoarthritis: meta-analysis of randomized con-                                                                                        50      permeability can b.ave significant effects on permeability.
                                                                        trolled trials, BMJ, doi:10.! 136/bmj.38!59.639028.7C                                                                                                       There is significant variability observed from seemingly
                                                                        (2004)).                                                                                                                                                m.inor variations in formulations. For instance, Naito demon-
                                                                           There are generally three outcomes used to measure the                                                                                               strates significant variability in penetration among topical
                                                                        efficacy of an OA treatment: pain, physical function, and a                                                                                             NSAID formulations simply by changing the gelling agent
~·!                                                                     patient global assessment. See Bellamy N., Kirwan J., Boers                                                                                     55      used in the compositions (Naito ct al., Percutaneous absorp-
··l                                                                     M., Brooks P., Strand V., Tugwell P., et al. Recommendations                                                                                            tion ofd.iclofenac sodium ointment, Int. Jour. ofPhannaceu-
                                                                        for a core set ofoutcome measures for future phase lll clinical                                                                                         tics, 24: 115-124 (1985)). Similarly, Ho noted sign.ificant
                                                                        trials in knee, hip and hand osteoarthritis. Consensus devel-                                                                                           variability in penetration by changing the proportions ofalco-
                                                                        opment at OMERACT Ill., J Rheumatol, 24:799-802 (1997).                                                                                                 hol, propylene glycol, and water (Ho et al., Tue influence of
                                                                        To be suitable for chronic use, a therapy must generally show                                                                                   60      cosolvents on the in-vitro per<:utaneous penetration of
                                                                        efficacy on these three variables over a sus"tained period of                                                                                           diclofenac sodium from a gel system, J. Phann. Pharmacol.,
                                                                        time. In the U.S. for instance, the Food and Drug Adminis-                                                                                              46:636-642 (1994)). It was noted th.at the changes affected
                                                                        tration (FDA) requires OA therapies to show superiority over                                                                                            three distinct variables: (i) the ·solubility of the drng in the
                                                                        placebo over a 12 week period. Nutwithsta,nding the signifi-                                                                                            vehicle, (ii) Uie partiliou coelliciem, and (iii) clfoc1s 011 11l1cr-
                                                                        cant potential for topical NSAIDs in the treatment ofOA, as                                                                                      65     ation of skin structure.
                                                                        of the time of filing this application, none have been approved                                                                                             Ho et al. (1994) also noted that (i) the pH of the vehicle, (ii)
                                                                        for such treatment in the U.S.                                                                                                                          the drug solubility, and (iii) the viscosity of a gel matrix can




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                                                             us 8,563,613 82
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influence penetration from a gel dosage fonn. The pH value                      invention are designed to accomplish the opposite, namely
affects    the balance   between   ionized   and  non-ionized    fom1s  of      prolonged action and anti-inflammatory action io the d~er
lbe drug,     which   have  different  penetration   propcnies    (Oba ta,      tissues.
International Journal of Pltarmace11tics, 89: 191-198                                2. Gel Formulations ofOiclofenac
(1993)). Theviscositycanaffectdiffusion of the drug through 5                        None of the previous references disclose the compositions
tbegel matrix and release ofthe drug from the vehicle into the                  of the invention or their use in the treatment of OA. Rather,
skin. The solubility of the drug in the vehicle will affect the                 these references highlight the significant unmet need with
panirion coefficient oftbe drug between the formulation and                     respect to topical OA treatments for chronic use and the
the recipient membrJne/tissue (Ho et al. 1994).                                 complexity of transdennal transport in gener.i.1 where signifi-
                                                                             10
      Olemical     peoelr.ltion enhancers     are one  means  for  revers-       cant variability in permeation is observed by changing com-
 ibly lowering      the skin  barrier.  Other   methods   include   ionto-       position elements or their relative proponions.
 phoresis, ultrasound, electroporatioo, heat, and micron-                            In light of the foregoing, there is a considerable oced for
 cedlcs. At least 250 chemicals have been identified as                          improvement ia the development ofa topical NSAID suitable
                                                                                                                                          challenge bas
 enhancers that can increase sl<lo permeability. General car- 15 for long tenn use in the treatment ofOA. The
 egories include pynolidones, fatty acids, esters and alcohols,                  been to develop an optimal formulation which will deliver the
 sulfoxidcs, essential oils, teqieoes, oxazoldines, swfactants,                  active agent to the underlying tissue in sufficient concentra-
  polyols, a1.0ne and derivatives, and epidermal enzymes.                        tion to treat OA on a long term basis, while reducing or
      The mechanisms by which penetration enhancers reduce                       minimizing the incidence of intolerable skin irritation caused
  the skin barrier     function   are  not  well  understood   (see   Will-  20  by disrupting the skin barrier and while providing a formula-
  ialll.S and Bany "Penetration          Enhancers"     Advanced     Drug        tion and dosage that leads to and encourages patient compli-
  Delivery Reviews 56: 603-618 (2004)) although it has been                       ance. The present invention satisfies these aud other needs.
  proposed that tbe mechanisms can be grouped into three
  broad categories: lipid disruption, incceasing corneocyte per-                              BRIEF SUMMARY OF THE INVENTION
  meability, and promoting plll1itioning of the drug into the 25
  tissue.                                                                             The present invention over1:omes the disadvantages of the
       'The challenge with use of chemical pen-etration enhancers                 prior an by providing diclofenac sodium gel formulations for
   is that few seem to induce a significant or therapeutic                        the treatment of osteoanhritis that display a better drying
   enhancement of drug lr.lnspon at tolerable levels. This is                     time,higherviscosity,incrcasedtransdennalflux,aodgrcater
                                                                                                                          vivo when compared to pre-
   because the act of disrupting tbc skin barrier will have the JO pharmacokinctic absorption in
   potential ofcausing skin irrication. With inc:re:isoddisruptioo,               viously described compositions. Funhermore, the preferred
   skin initation will become a greater issue. This is panicularly                 diclofenac sodium gel _formulations of the present invention
   problematic with topical OA treatments where the goal is to                     provide other advantages including favorable stability at six
   have tbe active penetrate into joint tissue and where the drug                  (6) months as reflected in lbe lack of any substantial changes
                                                                                                                             separation and crystalliza-
   must be \llilizcd on a long-term basis due to the nature of the JS in viscosity, the absence of phase
               The   inventors  have  developed     methods   and   compo-         tion   at low  temperatures   , aod a low   level of impurities. Morc-
    disease.
             th.at deliver  more  active  ingredient   per  unit dose  than        over,    the  present   gel formulations     adhere well to the skin,
    sitioos
                   known   compositions    , a.od this would  be  expected         spread     easily,  dry quicker,  and  show greater in vivo absorp-
    previously
    to lead to a lower iocideoce of skin irritation.                               tion in comparison to previously described compositions.
        The compositions      of the  invention    use diclofenac   sodium    40   Thus,     the gel formulations of the present invention provide
    which is a commonly        used  NSAID.      Oiclofenac   has  four dif-        superior    means for delivery ofdiclofenac sodium through the
    ferent salts that   show   significant   variability  in the  degree of         sl<ln  for !be  treatment of osteoanhritis, as compared to previ-
    permeation in solutions using        different   solvents.   Minghetti,        ously     described   formulations.
     for insUIOCe, teaches that a diclofeoac salt with an organic                       As such, in one embodiment, the present invention pro-
                                                                                                                                 consisting essentially of,
     base is best for topical applications (Mingbcni el al., Ex vivo 45 vides a gel formulation comprising,
    study of trandermal permeation of four diclofeoac salts from                    or consisting of:
    different vehicles, Jour. of Pharm. Sci, 001 I 0.1002/                              (i) diclofenae sodium;
    jps.20770 (2007)).                                                                  (ii) DMSO;
         Other research points to microemulsion formulations as a                       (ii) ethanol;
     means for delivery of diclofenac sodium (Kaotarci et al ., ln so (iii) propylene glycol;
     vitro permeation of diclofeoac sodium from novel micro-                            (v) a thickening agent;
     emulsion formulations through rabbit skin, Drog Develop-                           (vi) optionally glycerol; and
     ment Research, 65:l 7-25(2005);and Sarigullu I.et al., Trans-                      (vii) water.
     dermal delivery of diclofeoac sodium through rat skin from                          lo another embodiment, the present invention provides a
                                                                                                                              in a subject suffering from
      various formulations, APS PharmSciTech, 1(4) Aniclc 88, 55 method oftreatiog osteoat1britis
      El-E7 (2006)).                                                                 articular pain, the method comprising the topical admio.istra-
         Olbcr topical diclofenac compositions arc disclosed in a                    tion to an afflicted joint orea of a subject a therapeutically
      number of patents including U.S. Pat. No. 4,543,251, U.S.                      effective amount of a gel formulation comprising, consisting
      Pat. No. 4,670,254, U.S. Pat No. 5,374,661, U.S. Pat. No.                      essentially of, or consisting of:
      5,738,869, U.S, Pat. No. 6,399,093 and U.S. Pat. No. 6,004, 60                     (i) diclofenae sodium;
      566. United States Patent Application No. 20050158348                              (ii) OMSO;
      points out that various solvents are widely used forge! prepa-                     (ii) ethanol;
      rations, but notes that they aie limited in potential due to sl<lo                 (iii) propylene glycol:
      1rritouo11. This reforence also notes that gel compositions are                     (v) a tb.ickcnwg agent;
      associated with fast ternunation of action as the active pre- 6S (vi) optionally glycerol; and
      cipitates from solution in the upper skio Jayers, limiting anti-                    (vi) water,
      i.ofiammato.ry action in deeper tissues. Toe gels ofthe present                 thereby treating osteoanbritis.




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                                                                 us 8,563,6 13 82
                                        5                                                                        6
          A further embodiment provides for the use of diclofenac                 formulations arc applied topically. In various aspects, the gel
        sodium in the preparation of a medicament for the treatment               formulations are applied twice daily and the pain can be due
        of pain, the medicament comprising a gel fonnulation com-                 to osteoanbritis.
        prising, consisting essentially of, or consisting of:                          These and other objects, embodiments, and advantages
             (i) diclofenac sodium;                                            s will become more apparent when read with the figures and
             (ii)DMSO;                                                            detailed description wb.ich follow.
             (ii) ethanol;
             (iii) propylene glycol;                                                        BRIEF DESCRIPTION OF THE DRAWINGS
             (v) a thickening agent;
             (vi) optionally glycerol; and                                    10 FIG. I shows a bargraphoffluxraleofHECand PVPgels.
             (vii) water.                                                          Franz diffusion cells were dosed at 15 mg per Franz cell.
             In yet a further embodiment, lbe present invention provides               FIG. 2 shows a bar graph of flux rate of gels made with
        a gel fonnulation comprising, consisting essentially of, or                Carbopol 981 and Ultrez 10. Franz diffusion gels were dosed
        consisting of: a diclofenac sodium solution and at least one               with 200 µI per Franz cell.
         thickening agent, which can be selected from cellulose poly- 1s               FIG. 3 shows a bar graph of flux rate of carbopol 971 and
         mer, a carbomer polymer, a carbomer derivative, a cellulos.e              carbopol    981 gels. Franz diffusion cells were dosed at 50 µl
         derivative, polyvinyl alcohol, poloxamers, polysaccharides,               per cell.
         and mixtures thereof.                                                         PIG. 4 shows a bar graph of flux rate of various gels ai1d a
              In an aspect of this embodiment, the diclofenac sodium               comparative liquid fonnulatioo. Franz cells were dosed at 10
::
.        solution comprises, consists essentially of, or consists of:
              (i) diclofenac sodium;
                                                                              20 mg per Franz cell .
                                                                                       FIG. 5 shows a bar graph illustrating tbeelfectofthepH of
              (ii)DMSO;                                                            various gels and a comparative liquid fonnulation on flux
              (ii) ethanol;                                                        rate. Franz diffusion cells were dosed at 7 mg per cell.
              (iii) propylene glycol;                                                   FIG. 6 shows a bar graph offlux rates of various gels. Franz
              (iv) optionally glycerol; and                                    25 cells were dosed al 7 mg per Franz cell.
              (v)water.                                                                 PIG. 7 shows a bar graph of flux rates ofvarious diclofenac
              In an aspect of the above embodiments, the thickening                 formulations. The comparative liquid fonnulation (1.5%
         agents can be selected from cellulose polymers, carbomer                  diclofeoac sodium) was dosed at 20 mg per Franz cell,
          polymers, a carbomer deriva1.ive, a cellulose derivative, poly-           Solaraze® (a comm.ercially available 3% diclofenac sodium
         vinyl alcohol, poloxamers, polysaccharides, and mixtures 30 gel) was dosed at l O mg per Franz cell, and a formulation of
         thereof.                                                                   the inventioa, 1'14/21 was dosed al 15 mg per Franz diffusion
              In an aspect of the above gel embodiments, diclofenac                 cell. At this dosing, all cells were dosed with equivalent
          sodium is present at J-5%w/w,suchas I, 2, 3,4, or 5%w/w;                  amounts of diclofcnai: sodium.
          DMSO is present at 30-60% w/w; ethanol is present at 1-50%                    FIG. 8 shows a bar graph of flux rates in muhidosing
          w/w; propylene glycol is present at 1-15% w/w; glycerol is 3S experiments. The comparative liquid fonnulation was dosed
          present at 0-15% w/w, a thickening agent is present such that             al 0.9 mg per Franz cell at 0, 4, 8, and 12 hrs. A fonnulation
          the end viscosity of the gel is between JO and 50000 ceoti-               of the invention, FJ4/2, was dosed al 1.5 mg per Franz cell at
    i     poise; and waler is added to make I 00% w/w. In other aspects,
          glycerol is present at 0-4% w/w. In further aspects, no glyc-
                                                                                    0 and 6 hrs.
                                                                                        FIG. 9 shows a bar graph ofllux rates of various diclofenac
    I
    l
          erol is present.
               In another aspect of the above embodiments, diclofenac
                                                                                40 formulations. Frdnz cells were dosed at 20 mg per cell.
                                                                                        FJG. 10 shows a bar graph of data on diclofenac flux rates
          sodium is present at 2% w/w; DMSO is present at 45.5% w/w;                 from gels disclosed in Baboota et al. and gels of this inven-
::J       ethanol is present at 23-29% w/w; propylene glycol is present              tion. Franz cells were dosed at 4 mg per cell.
.-~       at I 0-12% w/w; hydroxypropylcellulose (HY 119) is present                    FIG. 11 shows the diyiog profile over time of three gel
          at 0-6% w/w; glycerol is present at 0.4%, and water is added 45            fonnulations    and one liquid fonnulatioo of diclofenac
          to make 100%w/w. Inother aspects, there is ooglycerol in the               sodium.
          gel formulation. In further aspects, the end viscosity of the gel             FIG.12 shows the in vivo steady state plasma concentra-
           is 500-5000 centipoise.                                                   tions of diclofenac sodium after administration of either a
               A feature of the above gel fonnulalions is that when such             liquid or gel fonnulalion.
           formulations are applied to the skin, the diyiog rate is quicker so
           and transdermal flux is higher than previously described com-                   DETAILED DESCR1PTION OF THE INVENTION
           positions, such as those in U.S. Pat. Nos. 4,575,515 and
           4,652,557. Additional features of the preferred formulations                                        1. Definitions
           include decreased degradation of diclofenac sodium, which
           degrades by less than 0.04% ovec the course of 6 months and ss                The term "traosdennal" is used herein to generally include
           a pH of 6.0-10.0, for example around pH 9.0.                              a process that occurs through the skin. 11le terms "transder-
                ln certain embodiments, the gel fonnulations of the inven-            mal" and "percutaneous" are used interchangeably through-
           tion comprise 1-5% glycerol, wherein the gel formulation                  out this specification.
           when applied to the skin bas a diying rate and transdennal                    The tenn "topical formulation" is used herein lo generally
            flux greater than a comparative liquid formulation. In some 60 include a formulation that can be applied to skin or a mucosa.
            aspects, the diyiog rate results in a residue of at most 50% of           Topical fonnulations may, for example, be used 10 confer
            a starting amount after 24 hour.; and the transdermal flux is             therapeutic benefit to a patient or cosmetic benefits to a con-
            1.S or more greater than -a comparative liquid formulation as             sumer. Topical formulations can be used for both topical and
            d<.:tcrminc<l by Frnnzcell procedure at linil-<!or inlinite.dosing        traus<l,mnal administration of substances.
            or both.                                                             6S      ·!be term "topical administration" is used herein 10 geoer-
                Inother embodiments, the gel formulations and methods of              ally include the delivery of a substance, such as a therapeuti-
.:!         their use provide a reduction of pain over n2 weeks when the              cally active agent, to the skin ora localized region of the body.




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                                                                                                                                                                        US 8,563,613 B2
                                                                                                                            7                                                                                                                                          8
                                                                    The tcnn "transdermal admirustration" is used herein to          w/w, such as 41, 42, 43, 44,45, 46, 47,48,49 and 50%andall
                                                                generally include adminislration through the skin. Transder-         fractions in between such as 44, 44.5, 45, 45.5, 46, 46.5%,and
                                                                ma! administration is often applied where systemic delivery          the like.
                                                                of an active is desired, although it may also be useful for              In certain embodiments, the present invention includes a
                                                                delivering an active to tissues underlying the skin with mini-       lower alkanol, such as methanol, ethanol, propanol, butanol
                                                                mal systemic absorption.                                             or mixtures thereof. lo certain embodiments, the alkanol is
                                                                    Toe term "penetration enhancer" is used herein to gcner-         present at about I to about 50% w/w. Preferably, ethanol is
                                                                ally include an agent that improves the l!11nSportof molecules       used al about l-50%w/w, such as I, 5, 10, 15, 20, 25, 30, 35,
                                                                such as an active agent (e.g., a medicine) into or through. the      40, 45, or 50% w/w, and all fractions in between.
                                                                sk.in. Various conditions may occur at different sites in the to         In certain embodiments, the present invention includes a
                                                                body either in the skin or below the skin creating a need lo         polyhydric alcohol, such as a glycol. Suitable glycols include
                                                                target delivery of compounds. For example, in a treatment for        ethylene glycol, propylene glycol, butylene glycol, dipropy-
                                                                osteoanhritis, the delivery oftbe active agent into relatively       lene glycol, b.exanelriol and a combination thereof. Prefer-
                                                                deep underlying joint tissue may be necessary to achieve             ably, propylene glycol is uscda1about al J. 15% w/w, such as
                                                                therapeutic benefit. "!bus, a "penelration enhancer" may be 1s I, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, or 15% w/w, and al l
                                                                used to assist in the delivery of an active agent directly to the    fractions in between.
                                                                sk.inorunderlyingtissueorindirectlytothesiteofthedisease                 In certain embodiments, the present invention includes
                                                                through systemic distribution.A peoelration enhancer may be          glycerol (also referred to herein as glycerine) at a conccntra-
:,                                                              a pure substance or may comprise a mixture of different              tionof0-12% w/w. Preferably, glycerol is used al 0-4% w/w,
-.,                                                             chemical entities.                                                20 such as 0, I, 2, 3, or 4% w/w, and all fractions in between. lo
                                                                    The term "finite dosing" is used herein to generally include      some embodimeo1s, no glycerol is used in the formulation.
                                                                an application of a limited reservoir of an. active agent. The           lo a preferred embodiment, the present invention provides
                                                                reservoir of the active agent is depicted with time leading to a      a formulation comprising a diclofenac solution and at least
                                                                tapering off of the active absorption rate after a maximum            one tbickeruog agent to make a gel. Toe at least one thicken-
                                                                absorption rate is reached.                                       2s ing agent of the present invention may be an acrylic polymer
                                                                    The term "infinite dosing» is used herein to generally            (for example, Carbopol polymers, Noveon polycarbophils
                                                                include an application of a laige reservoir-ofan active agent.        and Pemulen polymeric emulsifiers available commercially
                                                                The reservoir is not significantly depleted with time, thereby        from Novcon Inc. of Cleveland, Ohio), an acrylic polymer
                                                                 providing a long term, continuous steady state of active             derivative, a cellulose polymer, a cellulose polymer deriva-
                                                                absorptioo.                                                       JO tive, polyvinyl alcohol, poloxamers, polysaccharides or mix-
                                                                     As used herein, the term "comparative liquid formation" or       turcs thereof. Preferably the at least one thickening agent is
                                                                "comparative" refers to a formulation such as that described          hydroxypropylcellulose (HPC) used such that the end viscos-
                                                                 in U.S. Pat. Nos. ~.575,515aod4,652,S57 consistingofl.5%             ityis between 10and50000centipoise(cps). More preferably
                                                                diclofenac sodium, 45.5% dimethylsulfoxidc, 11.79% etha-              the end viscosity is between 500 and 20000 cps.
                                                                 nol, 11.2% propylene glycol, 11.2% glycerine, and water.         JS      lbe present gel formulation may optionally include at least
                                                                                                                                      one antioxidant and/or one chelating agent.
                                                                                       II. Gel Formulations                               Preferred antioxidants for use in the present invention may
                                                                                                                                      be selected from the group consisting of butylared hydroxy-
                                                                     I. Components of the Gel Formulatioos                            toluene (BHT), butylated hydroxyarusole (BHA), ascorbyl
                                                                     In order to provide a diclofonac sodium gel formulation 40 linoleate, ascorbyl dipalmitate, ascorbyl tocopherol malcate,
                                                                 having improved properties of drying time, increased trans-          calcium ascorbate, caroteooids, kojic acid, lhiog)ycolic acid,
                                                                 dermal flux and greater pbarmacokinetic absorption in vivo,          tocopherol, tocopherol acetate, tocoph.ereth-5, tocophcreth-
                                                                 higher viscosity, good adherence to the skin, and ready               12, tocophereth-18, tocophereth-80, and mixtures thereof.
                                                                 spreadability, while maintaining stability over time, the                Preferred chelating agents may be selected from the group
                                                                 inventors have discovered that a surprisingly advantageous 45 consisting ofethylcn.cdiamine tetraacetic acid (EDTA), diam-
                                                                 combination of the following componeots can be used in the            mooium EDTA, dipotassium EDTA, calcium disodium
                                                                 preparation of the gel compositions of the present invention.         EDTA, HEDTA, TEA-EDTA, tetrasodium EDTA, tripotas-
                                                                     The present invention provides gel formulations compris-          sium EDTA, trisodium phosphate, diammooium citrate,
                                                                  ing an active agent, preferably a non-steroidal anti-inflamma-       galactaric acid, galacturoruc acid, g)uconic acid, glucurooic
                                                                  tory drug or pharmaceutically acceptable salts thereof. More so acid, humic acid, cyclodextrin, potassium citrate, potassium
                                                                  preferably, the non-steroidal anti-inflammatory is diclofenac,       EDTMP, sodium citrate, sodium EDTMP, and mixtures
                                                                  which can exist in a variety of salt forms, including sodium,        thereof.
                                                                  potassium, and diethylamine forms. lo a preferred embodi-               In addition, the topical formulations of the present inven-

'.:i'
                                                                  ment, the sodium salt of diclofenac is used. Diclofenac              tion can also comprise a pH adjusting agent. In ooe panicular
                                                                  sodium may be present in a range of approximately 0.1% to ss embodiment, the pH adjusting agent is a base. Suitable pH
:.'·!                                                              10%,suchas 1, 2,3, 4, or 5%w/w. Useofthesodiumsalthas               adjusting bases include bicarbonates, carbonates, aod
                                                                  been known to create a challenge with respect to stability of        hydroxides such as alkali or alkaline earth metal hydroxide as
                                                                  ao aqueous gel in that b.igher sail concentrations can cause a       well as 1raosition metal hydroxides. Alternatively, the pH
                                                                  br:eakdowo in the gel matrix through interaction with certain        adjusting agent can also be an acid, an acid salt, or mixtures
                                                                  thickening agents.                                               60 thereof. Further, the pH adjusting agent can also be a buffer.
                                                                     In another embodiment, the present" invention includes a          Suitable buffers include citrate/citric acid buffers, acetate/
                                                                  penetration enhancer. The penetration enhancer may be dim-           acetic acid buffers, phosphate/phosphoric acid buffers, for-
                                                                  ethyl sulfoxide ("DMSO") or derivatives thereof The DMSO             mate/formic acid buffers. propionatc/propionic acid buffers,
                                                                  may be prcsenl in an amowu by weight of I% lo 70%, and               lactate/lactic acid butlers, carbonate/carbonic acid buffers,
                                                                  more preferably, between 25% and 60%, such as 25, 30, 40, 65 ammooiwn/ammonia buffers, and the like. The pH adjusting
                                                                  45, 50, 55, or 60% w/w. Preferably, DMSO is used in the              agent is present in an amount sufficient to adjust the pH of the
                                                                  present invention at a concentration of about 40 to about 50%        compositioo to between about pH 4.0 to about 10.0, more




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                                                                                Case: 17-2149                                                                        Document: 36                                                                  Page: 315                                                      Filed: 08/16/2017
:_,:::.:.-::cl·.........~.·~·· ·......_. ....... '·'"''· ...... \. :-;:, .. --..y..-..-.·.-~..·-:~· ·.:-· ·••• :· •••• •.• _..o ... ... ·..•).•,·..:.·~-;.;.. -!);:-.. .: ·~-· ·:'Z·..·.:--.·.·-:-.· ....,.. r,,":" .-..--..;.....(..'".·..:.-:.;.:,:;.::-::-:-:. -:-~:.-=-~~;;-,:,;--..··:   ........... -_.-. -.......-...,... •.t,.; ::.:.:..:..: -:¢:. .."',.;,,""~~-...• ~-·..:.: ·:,:.: ·•• ·•·l :· .•.   __ .,. • ..1..•.:-.. ~::-.."':;, •.:--·..•.....:.:..;,:-.;.'   0 -~...:
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                                                                                                                                                     9                                                                                                                                                                 10
                                                                             preferably about pH 7.0 to about9.5. lncertain embodiments,            lion. 1b.is can be particularly important in compositions that
                                                                             the unadjusted pH of the admixed components is between 8               are designed to increase skin permeability.
                                                                             and 10, such as 9, without the need fortheadditionofany pH                  Thus, in some embodiments, the present invention pro-
                                                                             adjusting agents.                                                      vides a diclofenac sodium gel fom:iulatioo that degrades by
                                                                                  2. Characteristics oftbe Gel Formulation                       s less than I% over the course of 6 months al room temperature.
:,
                                                                                  a) Transdermal Flux                                               More preferably, the rate of degradation is less than 0.9, 0.8,
                                                                                  As shown below in the Examples, the present invention             0.7, 0.6, 0.5, 0 .4, 0.3, 0.2, orless than 0.1 %, and all fractions
                                                                             provides diclofeoac sodium gel formulation.s that display s1u-         in between, over the course of 6 months at room temperature.
                                                                             prisiogly effective rates of transdennal flux when compared                 d) Drying Time
                                                                             to previously described formulations.                               10      Relative to previously disclosed compositions, such as
                                                                                  Accordingly, in one embodiment, the present gel formula-          those in U.S. Pat. Nos. 4,575,5 I 5 and 4,652,557 (termed
                                                                             tion comprises a non-steroidal anti-inflammatory and at least          herein as "comparative liquid formulation" or "compara-
                                                                             one thickening agent and having a flux, as determined by a             tive"), the compositions of the invention dry quicker while
                                                                             finite dose Franz cell procedure, equal to or greater than the         achieving higher transdennal flux of the drug. It is surprising
                                                                              flux of a comparative liquid formulation. Preferably, the flux 1s that higher flult rate and quicker drying can be achieved
                                                                              is greater than the flux ofthecomparatiye liquid formulation.          together as skin hydration is known to increase traosdermal
                                                                              More preferably, the flux is at least I .5 times greater than the      flux or penetration. The drying of the skin caused by rapid
                                                                              flux of the comparative liquid formulation. In other words, the       evaporation would tend to reduce the transdermal transport of
                                                                              ratio of: {i) the flux of the gel formulation comprising the           drug remaining on the skin. The drying time difference is
                                                                              non-steroidal anti-inflammatoiy and at least one thickening 20 evident when equal amountsofthe two products are tested on
                                                                              agent to (ii) the flu>t of the comparative liquid formulation is       opposite limbs. Within thirty (30) minutes the compositions
                                                                              preferably greaterthan 1.0, and more preferably at least about         of the invention are almost completely dry whereas a signifi-
                                                                              1.5.                                                                   cant amount of U1e previously described liquid fonnulatioo
                                                                                   lo a further embodiment, the present invention further pro-       remams.
                                                                              vides a diclofenac sodium gel formulation comprising a 25                  To compare the drying times more quantitatively, side-by-
                                                                              diclofenac solution and at least one thickening agent and              side comparisons were conducted. To accomplish this, the
                                                                              having a flux as determined by the finite Franz cell procedure          inventors measured the residual weight of formulations by
                                                                              at least equivalent to the flux of the diclofenac solution alone.      placing equal amounts ( I00 mg) ofa prior art formulation and
                                                                               Preferably, the diclofeoac sodium gel formulation has a aux           compositioosoftbe invention in weighing dishes over 10cm2
                                                                               U1at is at least 2.0 times gieatcr compared 10 the flult of the 30 areas and weighing lhe amount remaining over time. Using
                                                                              diclofenac sodium solution alone. More preferably, the                  this methodology, a difference is immediately noticeable, and
                                                                               present invention-provides a diclofcoac sodium gel formula-            becomes dramatically different by 4 hours {Table I I and FIG.
                                                                               tion having a flux that isat least 4.0 times greater compared to       10).
                                                                               the flux of the diclofenac sodium solution alone. 1n other                 e) Pbarmacokinetics
                                                                               words, the ratio of: (i) the flux of the diclofenac sodium gel 35          A comparison of the absorption of diclofenac sodium of
                                                                               formulation to (ii) the nult of the diclofenac sodium solution         compositions of the invention and a comparable composition
                                                                               is at least about I .0, preferably at least about 2.0, more pref-      from U.S. Pat. Nos. 4 ,575,515 and 4,652,557 was conducted
                                                                               erably at least about 4.0.                                             in animals. The gels of the invention were shown to have
                                                                                   Io a yet further embodiment, the present invention provides        improved absorption on a per dose basis than the comparative
                                                                               a diclofenac sodium gel formulation comprising diclofeoac 40 liquid compositions of these patents. In absolute terms, the
                                                                               sodium and at least one thickening agent and having a flux as          clinical dose of the gels ofthe invention delivered a ma>timum
                                                                               determined by the multiple finite dosing Franz cell procedure          observed plasma concentration (Cm..J at steady state of 81
                                                                               (dosing at 2.5 mg/cm2 at O and 6 hours) of at least 0.1 µg/hr/         ng/ml and an area under the curve (AUC) of 584 nglml. This
                                                                               cm2 at 24 hours, preferably at least 0.2 µg/hr/cm 2 at 24 hours.       compared to 12 ng/ml and 106 ng/ml for the comparator
                                                                                    b) Viscosity                                                  45 compositions.
                                                                                    In another embodiment, the present invention provides a               These results speak to the properties of the vehicle in
                                                                               gel formulation comprising a non-steroidal anti-inflamma-              delivering the active agent. The higher numbers for gel were
                                                                                tory drug (NSAID) and at least one thickening agent, the gel          seen even though the solution composition was dosed four (4)
                                                                                formulation having a viscosity of at least l 00 cP. Preferably,        times per day (total 5.2 ml) compared to twice (2) per clay
                                                                                the gel formulation has a viscosity of at !.east 500 cP. More so (total 4.0 ml) for the gels.
                                                                                preferably, the gel formulation has a viscosity of at least 1000
                                                                                cP. In olher embodiments, the viscosity is 5000-10,000,                              Ill Preparation of Gel Fonnulations
                                                                                10,000-15,000, or 15,000-20,000 cP.
                                                                                    Jo a further embodiment, the present invention provides a              In another embodiment, the present invention provides a
                                                                                diclofenac gel formulation comprising a diclofenac solution ss method for making gel formulations of diclofenac sodium.
                                                                                and at least one thickening agent, the gel formulation having          Tue gel formulations of the present invention are preferably
                                                                                a viscosity of around I 000 cP and a ft11.1x of at least 0.2           made by cariying out the following steps: {i) dispersmg the
                                                                                         2
                                                                                µg/cm /hr as determined by the multiple finite dose Franz cell         thickener, derivative thereof and/or m.ixtuce thereof in dim-
                                                                                                         2
                                                                                procedure (2.5 mg/cm at O and 6 hours) a t 24 hours.                   ethyl sulfoxide and stirring for I hour; (ii) dissolving
                                                                                    c) Stability                                                  60 diclofeoac sodium in an aqueous alcohol mixture (e.g., an
                                                                                    The stability of a drug product composition can have a             ethanol/water mixture); (iii) dispersing propylene glycol and
                                                                                significa.n t impact on lhe length and cost of drug develop-           glycerol into the NSAID solution from (ii); and (iv) mixing
                                                                                ment, the nanircofthc studies required to support regulatory           the resultin!_! NSAII) so lution into the thickener/dimethyl
                                                                                subm.issillas, aml the ultimate safoty and approvability.              sulfoxide bkud aud s tirring for I hllur a t ambient tempera-
                                                                                     It is important for instance to minimize the amount of 65 ture. Alternatively, the gel formulations of the present inven-
                                                                                 impurities or degradation products that form over time due to         tion may be made by carrying out the following steps: (i)
                                                                                 interactions between the various ingredients in a composi-            dissolving the NSAJD (e.g., diclofenac sodium) in an alcohol




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                                                                                                                                                                                                                                                                                                                                                                                         HZNPENN_00000139
                                                                                                                                                                                                               APPX220
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:~
                                                                    US 8,563,613 B2
                                         11                                                                            12
          solution ofDMSO (e.g., an ethanol/dimethyl sulfoxide mix-                     manufacture, use or Sllle of pharmaceuticals, which notice
          ture); (ii) dispersing    the thickener,    derivative    lhereof and/or      indicates approval by the agency oflhe form oftbe composi-
          mixture   lhercof in  a solution   of water/propy      lene glycol/glyc  -    tions for human or vcterioa,y administration. Such notice, for
          erol and  stirring  for  I hour,  (iii) mixing    the   NSAlD    solution     example, may be oflabcling approved by lhc U.S. Food and
          from (i) into   the  thickener   blend    from   (ii) and  stirring for  I 5  Drug Administration for prescription drug,s, orofan approved
          hour at ambient    temperature    . Heating   can   also  be used  durlug     product insert. Compositions comprising a preparation oftbe
          these mixing processes       to help   facilitate  lhe  gel formation.         invention formulated in a compatible pharmaceutical carrier
             Diclofeoac sodium        may  be  present    in a  range  of  approxi-     may   also be prepared, placed in an appropriate container, and
           mmely-0.J % to     10%    w/w, such    as 0.5,  1.0,  1.5, 2.0, 2.5, 3.0,     labeled  for treatment of nn indicated condition.
           3.5, 4.0, 5.0, 6.0, 7.0, 8.0, and 9.0% w/w.                               10    The following examples arc offered lo illustrate, but not to
                                                                                         limit, the claimed invention.
                                    rv Methods of Use
                                                                                                         VExamplcs
             Compositions of the invention arc particularly suited for
           use in treating osteoarthritis (OA) cbronically . They may  also 1 s
...        be useful for lh.e treatment of olber chronic joint diseases                                   Example 1
·:~        cba.racte,i7.ed by joint pain, degeneration of nrticular carti-
           lage, impaired movement, and stiffness. Suitable joints                                Materials and Methods
           include the knee, elbow, band, wrist and hip.
.,
',t           Due to the properties of higher     flux and  g,eater in vivo
           absorption, it is believed lhat the formulations oflbe present
                                                                            20
                                                                                  Table I provides a list oflhe materials used in the examples
     I     invention can be administered at lower dosing than previously        provided below:
                                                                                              TABLE I


                                                                                                  FW

                                                                                                           -                  ¼:J>dor#         CAS




                                                                                                           --
                                                                                                  180.24 Sigmo                01253            2SOU-16·S
                                        BHA        Butyl>tcd bydroxy111isolo
                                                                                                  220.36 Spectrum             BHI 10-07        128-37•0
                                        BHT        Butyl&ted bydroxytolucoe                                                                    900)-01-4
                                        Carl,940                                                           Novcoo             Ca:1,opol940
                                                   ~!>40                                                                                       9003-01-4
                                                                                                                              c.,t,opol 971
                                        C&M71     Ca,t,q,ol VI I                                                                               9003-01-4
                                                                                                           1\0\-COD           Cart,opol 974
                                        C&rl,974 CIJbct)ol g-i4                                                                                900)-01-4
                                                  Caroopol 981                                             N<M:On             c..rbopol 981
                                        Carb98I                                                                                                9003-0H
                                        Carl,1)42 Carl,opol I )4 2                                         Novcon             Carbopol 13-42
                                                                                                   JIU     Labochim                             15307-19-6
                                        Di<lo     Di<:lofcmc Sodium                                                                            61-6H
                                                  l);mdbyl Sul(oxide (USP)                          7U     Gaylord            EM-29S1
                                        DMSO                                                                                                   6381 -92-6
                                                  Disodium Etbylened.iunuicteuaacctatc                     VWR                MKJ39504
                                        EDTA
                                                  Dibyc!r110
                                                                                                    46.1   Speclrum           GIOl5            64-17·5
                                         OOH        Ethanol (USP)                                                                              56-81-S
                                         Gly        GlyccM (USP)                                    92.1   Prootor & Gamble   Supc,olV
                                                                                                           Spccwm             GI044            900().)0-0
                                         Ciuar      Guugwn
                                                    l!ydroxycl.byl <ellulo,e-Na tnsol 250 M                l!ezculcs           Nwa.sol 2SO M 9004-62·0
                                         HEC
                                                                                                           Dow Chemical        Methoccl !:AM 9004·65·3
                                         HPMC       llydroxypropyl methyl ~llulosc
                                                    llydtoxpropyl cellulose                     9S.OOO     SpcctNm             HY117         9004-64-2
                                         HYll7                                                                                               90()4.6.<.2
                                                    Hydroxp,opyl a:IMoso                        )70,000    Sp<caum             HY119
                                         HY119                                                                                                 900().4().2
                                                    LccustOcua,.am                                         Speclrum            Lt!JS
                                         Loeu                                                                                                   2SJ22-6'-3
                                                    Poly(ethylcne glywl) 300 (USP)                ~100     Spectrum            POl08
                                         Pcg)OO
                                                                                                    76.1   DowCbcnuCll                          S7•55•6
                                         PG         Propyl.,,.,01ycol (USP)                                                                     9002-89-S
                                         PVA        Polyvi,,yl alcobol                              44.1    Sigma              81386
                                                                                                360,000     Sisim              81440            9003.39-1
:::                                      PVP        Polyviqyl pynolidone
                                                    PobatMr407                                              SpcctNm            P1126            9003·11·6
                                         P407                                                                                                   900)-01·4
                                                    Ula« 10                                                 Novoon             UltR'ZtO
                                         Ult=IO


                                                                                     so
             described fom10lations. In particular, it is expected thot the            The general methodology for preparation of each example
             compositions of the invention can be used al twice a day               provided is as follows, unless otherwise indicated.
             dosing or once a day dosing in the treatment of OA. This                  Final weight for each fonnulation was 25 g prepared in
             would represent a significant improvement as lower dosing is           50-mL glass vials. Vortexing or magnetic stir bars were used
 ..
·:
:1
             associated with better patient compliance, an important factor 55 to mix
                                                                                             the gels.
                                                                                       Viscosity was measured at 22° C. using Brookfield OV-IJI
             in treating chronic conditions.
     •I
                 Suitable amounts per administration will generally depend          Ultra, progrnnmable Rhoomcter with LV Spindle #31 at 10
             on the size   of lhe joint, which   varies per individual  and  per    rpm. For stability testing, gels were stored at ambient tem-
             joint,   however a suitable  amount   may   range from  0.5 µJ/cm 2
                                                                                    perature or in an incubator at 50° C. Discoloration or chaoses
                           1
              to 4.0 µl/cm • Preferably    the amount   ranges  from  2.0 to 3.0 60 in appearance including phase separation over time were
             µJ/cm2.                                                                evaluated.
                  Compositions of the present invention may, if desired, be             The concentration of the DMSO was consistent in all ofthe
              presented in ti bottle or jar or other container approved   by the    experiment    s (45.5% w/w). Propylene glycc,I was at either 11
                                                  or  more  urut  dosage  forms      or  I 1.2%  w/w.   Ethanol couccntrauoo varied from 11% to
              l'OA, which may cont.1in one
                                                        pack  or dispeoscr  may  65  30"/4  w/w.  Glycerol   concentrations were varied from O to
              containing the active ingredient. The
                                                              with the contniner     11.2%    w/w.   The  diclofenac sodium concentration was at
              also be accompanied by o notice associated
               in a form prescribed by a governmental agency regulating the          eilher 1.5% (w/w) or 2% (w/w). Water was adjusted to com-




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                                                                                                                                                                                                                                                                                    . ·; .,,;:, _.:...•-:.:-:.:.:.::~ -~-:-:. ,; .-::-.·."':-.'!. . ... -·-- - -.. .-.... ;:;. •· ..-:...·
                                                              · · .._. ...• ,.• .··r. ....... .. ·.. · . ..... · ;,..•.:._\• •. ..,...;::,-::;. .,,,,.,;. -·: .•.• •.:.:.:..: ..... .....·.,~-: • .......... ··- ~..... ~. _-. , .·.,.. , ...... _................,. ··.•-:-.--..·.";
                                                             ·_
..-~- · -· ...• ..·......... · .......... _.,.~ ..........




                                                                                                                                                                us 8,563,613 82
                                                                                                                 13                                                                                                                                     14
                                                     pensate for the amouol of inactives, thickening agents, and                The specifics of gel formulation for each thickener arc
                                                     diclofenac sodiwn present in solution.                                  provided below:
                                                                                                                                HEC Thickening Agents:
                                                         Franz diffusion cell experiments were used to analyze
                                                                                                                                A lower weight molecular weight hydroxyethyl cellulose
                                                     diclofenac sodium flux rates or varying gel formulations
                                                                                                                          s (specifically Hydroxyethyl Cellulose (HEC) Type 250 M
                                                     across a substrate membrane.Franz diffusion cells arc a com-
                                                                                                                             Phann {Natrosol®)) was dispersed in lbe mixture ofdimethyl
                                                     mon a.ad well known method for measuring lransdermal flux
                                                                                               is described  in Franz,       sulfoxide, propylene glycol, glycerine and water and allowed
                                                     rates. ·nie general Franz cell procedure
                                                                                                                             to swell for about I hour. Diclofeoac sodium was dissolved in
                                                     T. J., Percutaneous absorption: on the relevance of in vitro
                                                                                                                                        aod added lo the HEC/solvenl bleod to obtain a final
                                                     data. J ln~st Derm, 64: 190-195 {I 975). The following was 10 ethanol
                                                                                                                             formulation. Ntbougb HEC gels rorm relatively easily and
                                                     the methodology used in the present EX3111ples.
                                                                                                                             demonstrate a good flux profile, the gels are yellowish in color
                                                         Franz cells with a 3 ml receptor well volume were used in           and are susceptible to phase scpai:ation over extended periods
                                                     conjwiction with split tbickness cadaver skin (0.015"-0.018",           of storage. Table 2 shows the compositions oftbcsc formula-
                                                                                                            2 • Recep-
                                                     NloSouree). The donor well had an area of--0.5 cm                    1s tions, and the resulting Oux values of these compositions as
                                                     tor wells were filled with isotonic phosphate buffered saline           compared with a comparative liquid formulation arc shown io
                                                     (PBS) doped with 0.01% sodium azide. The flanges of the                  FIG. I .
                                                      Franz cells were coated wilh vacuum grease to ensure a                     PVP Thickening Agents:
                                                     complete seal and were clamped together with unifoan pres-                  PVP was added at up to 8% w/v afler all other components
                                                      sure using a pinch clamp (SS II 18 VW\l. 80073-350). After 20 or the compararive liquid base formulation were mixed. PVP
:;                                                                                                                            gels are clear in nature, but suffer from an undesirable tacky
                                                      Franz cells were assembled, the skin was allowed to pre-
                                                      hydrate for45 minutes wilh P13S. PBS was then removed and               feel when drying. Table 2 and FIG. l shows the composition
                                                      an appropriate amount of formulation is added to the skin.              and Ouxdata for this gel. In Ibis example, Franzdiffusioocells
                                                                                           2
                                                      Dosing levels varied from 2 mg/cm (considered finite dose)              were dosed at 15 mg per Franz cell. As can be seen in FIG. l ,
                                                                                                                                                                                    but their undesirable
.j                                                    to 200 mg/cm2 (considered infinite dose). The dooor well was 25 PVP gels performed reasonably well,
                                                      then capped to prevent evaporation. Receptor wells of the               aesthetic qualities do not make them ideal for a commercial
'i                                                    Franz cells were maintained at 37° C. (temperature on the               embodiment.
                                                      surface of the skin is -3 I O C.) in a stirring dry block with
                                                      continual agitatioo via a stir bar. Samples were drawn from                                           TABLE2
                                                      the receptor wells at varying time points. Measurements were JO                      Componccu of HEC and PVP gel• used to sene,.,o
                                                      made in six-fold replicates. Toe concentration of diclofenac                               the ftux rate d."l.ta Jhown io FIG. 1.
                                                       in the samples was analyzed usin,g b.igh pcrfonnance liquid
                                                                                                       performed    bet-


                                                                                                                                                                                                                                                                                                               -
                                                      chromatography. The inventive formulations                                                                         f2tID!i,!JAtion name

                                                       ter than the comparator at the limits or finite dosing-finite                                                                             Comp,r-
                                                      dosing being a much bener predictor ofthe performa.ace of a lS                                ltoelb Heclb PVPlb                     PPS4
                                                       formulation in an in vivo siruation as opposed       to   infinite      Perce.ctages in     Wwt% ..Vwt% Wllwl% wt/v.1 % wt/wt%
                                                       dosing.                                                                                       18.81 IS.SI IA.SI                     IS.JI   18.SI
                                                                                                                                                                                                W1.tcr
                                                                                                                                                                                                Dimethyl S\Jlroxide                     4S.S            4S.S            45.S              45.S                 45.S
                                                                                                                                                                                                Propyi<nc glyool                        11.2             ll.2            11.2              11.2                ll.2
                                                                   A) Gel Fonnulations Derived from a Comparative                                                                                                                       11.79            11.79           11.79             11.19               ll.79
                                                                                                                                                                                         40 EOw,ol
                                                                                Liquid Base Solution                                                                                        Olyeerine                                   11.2             ll.2            11.2              11.2                ll.2
                                                                                                                                                                                            Diclofe•ac Sodium                            l.S              I.S             t.S               2                    1.5

   ,
...~!                                                                                                       Example2
                                                                                                                                                                                            Thickener                                    HEC             HOC              PVP           Camopol
                                                                                                                                                                                                                                                                                          971
                                                                                                                                                                                                                                                                                                                none

..,
,\•
                                                                                                                                                                                                w/vol %- tblc:kcner                        l.l             l.)             8                 l
                                                                                                                                                                                                added ro solution
                                                                                                                                                                                         4S
                                                                     Gel Formulations Using Various Tltickencrs in a
                                                                     Comparative Liquid Formulatio.n Base Solution           Carbopol Thickening Agents:
                                                                                                                             Carbopol gels were fonned by: ( I) dispersing an acrylic
                                                           Initially, several thickeners including ca.rbomers, polyvinyl  polymer into a mixture or water, glycerol, and propylene
                                                        pyrrolidone, locust gum, cell\1lose polymers and polyvinyl SO glycol followed by stirring for I hour; (2) preparing a second
                                                        alcohol were tested for their effectiveness at forming a          solution of 1.5% diclofenac sodium dissolved in ethanol and
                                                        diclofenac sodium gel using the comparative liquid formula-       DMSO; (3) mixing the diclofenac solution into the carbopol
                                                        tion as a base solution. In the gel fonnulations of this          phase. An alternate method for formiog carbopol gels is as
                                                        Example, a c:omparative liquid formulation solution was pro-      follows: (I) dispersing the carbopol into dimethyl sulfoxide
                                                        duced and a thickener was then added directly to tbis base. Jo ss and stirring for l hour; {2) dissolving diclofcnac sodium inan
....                                                    order to facilitate the incorporation of the thickener, sonica-   ethanol/water/propylene glycol miltture; (3) dispersing glyc-
                                                        tion and heating (at 60" C.), along with vigorous vortexing/      erol into the diclofenac solution; and (4) mixing the
                                                        homogenization were performed.                                    diclofcaac solution into the polymer/dimethyl sulfoxide
                                                            Some thickeners, specifically guar gum, locust bean gum,      blend, and stirring for I hour at ambient temperature. These
                                                        methocel (HPMC), polyvinyl alcohol, and poloxamer 407 60 methods or mixing can be carried out at room temperature,or
                                                         failed to form stable gels. In particular, immediate separation, elevated temperature if desired. Varying carbopols were used
                                                         inefficient tbickening, and insolubility of the tbickcners was   to make gels including: Carbopol 1342, 941,971,981,97 4
                                                         noted. Gels were formed that showed initial stability with        and Ultrez 10 {Novcon, Inc.) All carbopol gels were clear,
                                                         several cellulose polymers including hydruxyc:tbyl cellulose      proved stable to both freez.e-ihaw cycling and incubation a1
                                                         {Natrosol HHX) and hydroxyproPYlcellulose (HYJ19). 6S elevated temperature (SO" C.) for one month, and bad good
                                                        Otbcrthickcners that showed an initially stable gel were PVP,      flow characteristics. Tables 2, 3, and 4 show the c-omposition
                                                         and acrylic polymer thickeners.                                  of these gels, and FIGS. l , 2, and 3 show their relative flux. A




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                                                                                                                                                                                                                                                                                                               HZNPENN_00000141
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                                                                        us 8,563,613 82
                                             15                                                                       16
          stable and clear gel could be formed at carbopol concentra-                            n. Comparative Examples
          tions of ->0.3% w/w when making gels with I .5% w/w
          diclofenac: sodium. For gels with 2% w/w diclofcnac sodium,                                   Example3
          - >0.9% w/w carbopol was needed to make a stable gel. The
          exact amount of carbopol needed to from a gel depended on s              Comparison ofTransdennal Flux of Various DMSO
          the type of carbopol used                                                  Gel Formulatioos Versus a Comparative Liquid
              For the fonnulntions of Table 3, Franz diffusion gels were                                Formula1ioo
          dosed with 200 µI per Franz cell. Carbopol gels unifonnly
          showed increased Hux rates over the comparative formulation            A series ofdiclofcnac ge.l formulations were made wherein
           (see FIG. l). Thicker gels (i.e. gels with higher weight percent 10 the base solution was changed from the comparative base
          carbopols) tended to have less Hux than a composition with a         formulation. In particular, the weight percent of propylene
           lower weight percentage of the same carbopol.                       glycol, ethanol, glycerine, water, and diclofenac were varied.
                                                            TABLB3
                           CompoOCJllS of gels made .,;th Cubopol 981 and UIIICt. lOusedco gca<n.1ethc
                                                  Oux. rat~ &ra stiowp, io FIO 2~
                                                                      Formul1lio1:1 name

                                         PUA     PUB   PUC             P9814       P98 1b     P98lc      Co1~ua1ive
          Pcrecniages in                wt/"t % wt/~% wt/~ %         wl/wt%       wt/wt%     "'I/wt%      wt/wt%

          Wattr                           18.&I    18.81     18.11     IUI         18.8 1     JUI          IS.SI
                                          4S.S     4S.S      4S.S      4_$.S       4S.S       4.S.S        4S.S
          D.mctbyl Sulfoocide
          Propykoe gl)':01                11.2     11.2      11.2.     11.2        11.l       11.2          11.2
                                          11.79    11.79     11.79     lt.79       11.79      11.79         11.79
           Ethanol
           Olyceri.ac                     11.2     11.2      11.2      11.2        11.2       11.2          11.2
           Oiclofenac Sodium               1.5      J.S       LS        I.S         t.S        t.S           I.S
           Thickener                      Uhrc,    Ult=      Ult=<   C.,b981      Cut,981    C.,b98l        none
           w/vol % lhlcluoct added to      0.90     I .OJ     1.16        .90        1.06      1.22
           -,Mioo

                                                                                       30

              Ant ioxidants and chelating agents can also be added to the                   In these new formulations, the weight percent oftheeonstitu-
           carbopol, HEC, or PVP gels. The oddition of EDTA to car-                         ent chemicals was as follows: 45.5% DMSO, 20-30% etha-
           bopol gels by itself leads to a slightly cloudy gel. BHA gels                    nol, 10-12% propylene glycol, 0-4% glycerine, 2%
           turned color with incubation al higher temperature. The mix- 35 diclofenac: sodium, thickener and water added to IOOo/4
                                                                                                                                                       w/w.
           ture of BHT and EDTA lo earbopol gels did not show aoy                               Several thickeners were tested in this new base solution. A
           discoloration ~nd remained clear. For the fonnulations of                        number of lbese thickeners failed 10 fonn smble gels; in
           Table 4, Frani diffusion cells were dosed at 50 µI per cell.                      particular, carbopol gels did not remain stable. I lowever,
           FIG. 3 shows flux rates from these gels. Ad<li1ions of cbela1-                    cellulose gels were uniformly effective at forming gels. Toe
           ing agents and preservatives had no e.lfecl on flux rates.                    40 most
                                                                                                    aesthetically pleasing of these gels was formed with
                                                                                             bydroxypropylcellulose (HYI 17, HY! 19, HY121). These
                                           TABLE4                                            gels spread easily, were unifonn in nature, dried quickly, and
Si·,·;                                                                                       dcmoosuated good flow characteristics.
                   Componeo11ofgetrmadewithcarocpol97l sncJca,1,opol98I                          Hydroxypropylcellulose gels were formed by mixing all
                      gets used to sc••"'" the flux rate d.u& sbcrNn in FIO. ) . ___ 4S the       constituent paru aod tben adding the thickener at the end
                                                                                             followed by agitation. The gel can also be foaned by dispers-
....
           _ _ .......;_ _.......;:..__ ________
                                                                                             ing the hydroxypropylcellulose in the aqueous phase prior to
                                                      Formulation mme
                                                                                             solvent addition. Heat can be used to facilimte gel fonIU1tion.
                                                                                              Hydroxypropylcellulose gels were clear and Howed easily.
                                                                                Compar,
                                                                                         so 1bey remain stable for at least six months demonstrating: no
                                       PPS!            PPS2          PPSJ       Ative 2%     phase separation, ocgligible shift in pH, and low amounts of
            ,.'"""'.. in              ,w~%          ,.'!/,rt %     wt/wt %      wt/<,t%      degradation products (<0.04%). The data in PIGS. 4-9,
                                                                                             derived from the fonnulatiollSofTables 5-10, indicate that the
                                         qs             qs             q,         18.JI       hydroxypropylccllulose gel fonnulations of diclofeoac
..-...j
            WtJ.er
            Dimethyl Sulfoxidc         45.S           4S.S           45.S        4S.S     ss sodium of the present invention also provide a tr.tosdermal
            Propylcoc glycol           11.2            11.2          tl.2         11.2        flux rate that is as much as 4-fold higher than a comparative
            Ethanol                     11.79          11.79         11.8         11.79       liquid formulation.
                                        ll.2           ll.2          11.2         ll.2           Studies were performed lO determine the relative tronsder-
            Olyceriae
                                                                       2            2
                                                                                              roal Bux of various diclofenac gel fonnulations of the present
            Dic:lot.nac Sodiwn           2
                                                                                          60 invention when compared with a comparative liquid formu-
            OHT                          0.1                          0. 1
                                                                                              lation of U.S. Pat. Nos. 4,575,515 and 4,652,557 ("Compara-
            EOTA                         o.os                         o.os                    tive'' in Tables 5-10). Accordingly, lhe Franz cell procedure
            Thickener                 Catbopol       Ca,bopol Cubopol              aonc       described above was used.to compare diclofennc Rux mies of
                                         971            y7l           9¥1                     var10us dicloienac gd fom1ula1Jons ,,,111 compar~1i,c liquid
            -1%<Aiclo:a«                                 I             0.9                6S fonnulations.
                                                                                                  For the formulations of Table 5, Franz cells were dosed at
..                                                                                             10 mg per Frani cell. A new gel (F14/2) has an altered base




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                                                                                      us 8,563,613 82
                                                     17                                                                                                18
         solution over the comparative liquid fonnulatioo and demon-                                                                   TABLE ?-continued
         strates both faster drying times and belier Oux kinetics (see
         FIG. 4). The flux rates for these gels is oot as high as the                                                        Components of varfous gels used to generate
                                                                                                                                the nux r:ue data 1hown in FIG. 6.
         carbopol gels (F97 l ), but the drying rate is substantially
         faster.                                                                                                                                       FonnuJation name
                                             TABLB5                                                                                            Fl412                                        Ft4/2
                                                                                                                                Contpv·         gel                                          gel
               C.ompon.enll of various gels ands. compantivc liq::uid fonnulation                                                 a.live       2.5%         H,Clll         HaC.        pH S.3
                     used to ~nerat·e the flux r.!le data shown in FIG. 4.                                 PetCCntagct in       wt/wt%        wt/wt%        wt/wt%        ~1%          wt/wt%
                                                                                                     10
                                                           fomutla.Lion 41mc                               Propylene              ll,2          11           11.2          11.2             11
                                                                                                           glycol
                                         Comp:,,.         F1412         Fl412                              Ethanol                (1.79         26.S         12            12               26.5
                                          ative          gel2.S¾       gcl4.0%            F971             Glycerine              ll.2                        6             2
         Pcrccotages in                  wtfwt%          wt/wt%         wt/wt%          Wt/'"'1.%          Diclofcnac.             l.S                        2             2
         Water                            18.81             12.5            12.S          17.16      IS Sodium                                                                         .... Added
                                                                                                        coccent.ratcd
         Dimethyl Sulfoxide               45.S             45.5             4S.5         45.5        HCL                                                                               to pH S.3
         Propylene glycol                 11.2             II               II           11.2        pH                            9            9.43    6.8                  6.71        5.3
         Etltanol                         11.79            26.5             25           11.79       Tbick.ener                   oone.        HY119 Caroopol             Ca,bopol      HYll9
         Glycerine                        11.2                                           11.2                                                          971                  971
:j       Diclofe= Sodium                   I.S             2             2                2          wt/wt%                                     2.S     l                                    2.S
 ·11     Tluekeoer                        none            HYll9         RYll9          C..t>o,,ol 20 thjc.kcner
   I                                                                                      971
   I     wt/wt % thjci.cner                                  2.5             4             us
   !                                                                            For the formulations of Table 8, the comparative liquid
           For the formulations of Table 6, Franz diffusion cells were       formulation (1.5% diclofenac sodium) was dosed at 20 mg
         dosed at 7 mg per cell. Lowering the pH shows a marked 25 per Franz cell. Solarazc® (a commercially available 3%
                                                                             diclofcnac sodium gel) was dosed at 10 mg per Franzccll,and
         increase in flux rates (see FIG. 5).
                                                                             Fl4/2 was dosed al 15 mg per Franz diffusion cell. At this
                                      TABLE6                                 dosing, all cells were dosed with equivalent amounts of
             Components of various geb and acompuative Jjquid rom1ulation
                                                                             diclofenac sodium. F l4/2 continued to show increased per-
                    used 10 gencmte the flux ratcd&ta shown in AG. 5.     30 formance over other formulations (see FIG. 7).

                                                        FormuJ.ation nam,e                                                                      TABLES
                                             Fl4/2         Fl412                        F1412                            Componenu of variousdictofcnsc fonnulations used
                              Comp.lJ'-       gel           gel                       gcl2.5%+                             to geneu.te the flux nte d.a.ta ll,O',l,"n in FIG. 7.
                               Alive         2.5%          4.0%        f971             HCL          35
         Pcrccntagc.s in      wt/wt%        wt/wt¾ wt/wt %            wt/wt%           \IN'wt%                                                              Formylatign n:ime
         Ws.ter                18.Sl          12.5         12.S        17.16             12.S                                              CotnP311.tivc       Solanu®            Fl412 gel 2.5%
         Dimethyl              45.S          45.S          4S.S        4S.S              45.S
         Sulfoxidc
                                                                                                           Percentages in                    Wt/Wt%               WI/wt%             W1Jwt.%
         Propylene             11.2           11           11          I l.2             11                Wr.ter                              18.81                                   12.S
         glycol                                                                                      40
                                                                                                           Dimethyl Sulfoxide                  45.5                                    45.S
         Elhllllol             11.79         26.S          2S          ll.79             26.S              Propylene glycol                    11.2                                    11
  .I     Glycerine             ll.2                                    ll.2                                Ethanol                             11.79                                   26.S
··:I     Oitlofenac:             I.S             2          2           2                                  Glycerine                           l 1.2
··t      Sodium                                                                                         Diclorenac Sodium                        l.S                                    2
    I                                                                                 ,.. ,. added
    I    concent.n.tcd                                                                                  Thickcc.er                             none                                   HY119
         HCL                                                                           to pFl S.3    45 "1/wt % thickener
                                                                                                                                                                                            2.S
         pH                     9             9.43  9.61                6.11             5.3
, ...•   Thickener              oonc         HY119 HYll9              Carl,971         HY119
         wt/wt¾                               2.S   4                   us               2..s
                                                                               For the formulations of Table 9, the comparative liquid
         thickenc,
                                                                            formulation was dosed at 0.9 mg per Franz cell at 0, 4, 8, and
                                                                         so 12hrs. Fl4/2 was dosed at 1.5 mgpcrFranzcellatOand6lus.
            For the formulations of Table 7, Franz cells were dosed at      The accumulated dose from the gel was considerably higher
         7 mg per Franz cell. Tue resulting flux rates for each of these    in comparison to the comparative solution, providing a -1.5
         formulations is shown in FIG. 6.                                   fold increase in flux (see FIG. 8).

                                              TABLE?                                                 ss                                         TABLE9
                           Components of various gels used to generate
                              the Rux rate dttA shown in FIG. 6_
                                                                                                           -----------------------
                                                                                                                               Components of fonnufatiOl.lS u.sed in lhe
                                                                                                                                 multidosiag experiments o(FIG. 8.

                                                        Fonm.dation name                                                                                    Formul&tion name
                                                                                                     <,Q
                                              F1412                                      Fl4/2                                             Companth·e Fl412 gel 2.5% fl412°gel pH 8.S
                              Comps,-            gel                                      gel              PercentAgcs in                   wt/wt%            'M/wt%                 wt/wl.%
                                ative.        2.5%          1-1,a.z         HaCa        pH S.3
         ?erccntagct~n        \\·tlwt·% wt/wt%             'Wt/wt%      ...,.t/wt %     wt/wt%             WAter                              18.81               12.S                45.S
                                                                                                           O,mclbyl S1Mt•x"k                  •JS.5               45.:i                II
         Water                 18.81             12.5        22.3           26.3          12.S          Propycleoc glycol                     11.2                ll                  265
         Dimeu,yl              45.S           45.S           45.S           45.S          4S.S       65 Etlw!ol                               11.79               26.S                12.S
         Sulfoxide                                                                                         Olycerioc                          11.2
 .,
 .. !




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:, :· ... -. . ............,. ........ ·.........,-...... ·..·· .·..........: .... .,.: ..... ...........• . .... x.·: " -::":: .: . ,. . ·... __ ,• ..· . ..... .......... ........,•.. ~"\"t • ·........... ....,-...... , .- . ........... ............................................. ~......... , ....... - .... .. . . ...... ....... ;   • -· •• •• ••• ~- ·,•• : :... • . ......:..·: • ..... . .....
.,
                          --------------- --------- ------------~~-~~=~~-~---..,..,


                                                                                                                                                                               US 8,563,613 B2
                                                                                                                              19                                                                                                                                           20
                                                                                                            TABLE 9-<:ontinued                 invention provides a sigoificamly greater flux rate. After 12
                                                                                                                                               hours, the gel of the present invention provides an accumu-
                                                                                   Components of formulac.ioos used in I.be                    lated doseof26.8 µg/cm 2 versus 8.9 m/cm 2 for Baboota' s best
                                                                                     muttidosing experiments of FIG. 8.
                                                                                                                                               performing gel. "!bus, the gel of the present invention bas a
                                                                                                          FormuJa1ion JUUllC                   nearly 3-fold greater rate of flux and accumulation of
                                                                                                                                               diclofenac than a similar gel, as described by Baboota. Note
                                                                                           Comparaa.ivc F!4/2 gel 2.S% F!412 gel pH 8.S
                                                                 Percentages in               wt/Wt%         wt/wt%             wt/wt%         Iha! these experiments were conducted at finite dosing which
                                                                                                                                               is more representative of clinical dosing of a ooo-occluded
                                                                 Dielofcnac Sodium               1.5            2                  2           composition tbat is applied periodically but which is not
                                                                 co=ntrot<XI HCL                                               ••• odd<XI   10
                                                                                                                               1opH8.S         meant 10 be in coo1iouous contact with the skio. Additiooally,
                                                                 Thickener                     none           HYll9             HY119          the Baboota gels also contained a higher percentage of the
                                                                 wt % thickener                                 2.S              412.S         active ageol, 3.4% w/w as compared to 2% w/w for the
                                                                                                                                               compositions using the vehicle of the invention.
                                                                    For the formulations ofTable 10, Franz cells were dosed at I s                Other advantages were also observed, including the con-
                                                                 20 mg per cell. The resulting flux rates for these formulations               sistency and stability of the gel of the present invention when
                                                                                                                                               compared with the Baboota gel. lo contrast to the smooth and
                                                                 is shown in FIG. 9.
                                                                                                                                               uniform consistency of the present gel, the Baboota gel for-
                                                                                                                                               mulations were cloudy aod lumpy, thus, unable 10 maintain a
                                                                                                 TABLE 10                                      gel-like consistency. For this reason, the Baboota composi-
                                                                              Flux rew.lts (rom vazyi.ngdiclofenae rormul&tions.            20 tions would be expected to have some stability issues and a
                                                                                  fTMZ cells were dosed at 20 mg per cc.IL                     short shelflife.
                                                                                                                                                  Thus, despite both being gel formulations, when a hcad-
                                                                                                        Formulation name
                                                                                                                                               to-head comparison is performed, using a finite dosing pro-
                                                                                      Fl<V2       fl412               Compa,· Compar-          tocol, the formulation of the present invention is significantly
                                                                                     gel J.S% solution       F?71                           25
                                                                                                                      ativo2%         ative    more effective al the traosdermal delivery of a diclofeoac
                                                                 Percentages in      wt/wt% wt/Wf. % wt/wt%            wt/wt%       v.1Jwt%    active agent, when compared with another gel formulation,
                                                                 Water                  12.S       12.5     17.16       18.31         18.81    that described by Baboota ct al. Furthermore, as shown in
                                                                 Dimethyl              4S.S        4S.S     4S.S        4S.S         4S.S      FIG. 7, the formulation of lbe present invention also per-
                                                                 Sulfoxide                                                                     formed remarkably better when compared to a diclofcnac gel,
                                                                 Propylene              II         II       11.2        11 .2         I l.2 JO Solaraze®, a product currenlly sold on the market. 11ms, the
                                                                 glycol
                                                                 Ethanol               25.S        29       11.79       11 .79        11.19    present invention provides a diclofeoac sodium gel formula-
                                                                 Glycerine                                  11.2        11.2          11.2     tion that has unexpectedly superior properties (e.g., with
                                                                 Dfotofene.c                                  2           2             I.S    respect to parameters such as transdermal 0ux rates, favorable
                                                                 Sod.Lum                                                                       composition consistency, and greater stability aod self life)
                                                                 Thjck.cner           HY119        none   Cub971         OCUlC        nooe: 35
                                                                 "'1/Wt%                 J.S                  I.I                              when compared to the previously disclosed diclofcnac
                                                                 thickener                                                                     diethylamine gel formulation described by Baboota or the
                                                                                                                                               diclofenac sodium formulation embodied by the Solaraze®
                                                                                                                                                                                                              gel.
                                                                                                                       Example4                                                                        40
                                                                                                                                                                                                                                                                   TABLE 11
                                                                            Comparative Data on Traosdcrmal Flux of Various                                                                                             Compooents of didofca.a.e diclhylamine gels used to generate the
                                                                                           Oiclofcnac Gels                                                                                                              ftux rate data showo in FIG. 10. for the fonnulations ort&bJe 11,
                                                                                                                                                                                                                              FrMZ diffusion cells were Mite dosed al 4 mg per cell.
                                                                     Studies were performed to determine the relative traosder-                                                                        4S
                                                                                                                                                                                                                                                                                 Formu!a.tigg nttrne
                                                                  mal flux of the diclofenac gel formulations of the present
                                                                  invention when compared with previously disclosed formu-                                                                                                                                                                                                     Compar·
                                                                  lations, such as the diclofenac diethylamine gel formulation                                                                                                                       FYI                FY2             FYJ   Gl4/2.ft1                         ativc_m
                                                                                                                                                                                                               Percentages in                    wt/wt%             wt/Wt%             W1/wt% wt/wt%                            wt/wt¾
                                                                  described by Baboota (Baboota et al., Methods Find Exp.
                                                                  Clin. Pharmacol., 28: 109-114 (2006)). Accotdingly, the                                                                              so      Dimethyl                              10                 10                 10                 4S.S                4S.S
                                                                  Franz cell procedure described above was used to compare                                                                                     Sulfoxidc
                                                                                                                                                                                                               Ethanol                               2S                 2S                 25                 26.S                11.79
                                                                  flux rates of three ofthediclofcnac formulations described by                                                                           PEG400                                     IS                 lS                 IS
                                                                  Baboota with a gel vehicle of the present invention. The                                                                                Propylene                                  IS                 15                 IS                 II                   11.2
                                                                  dicthylami.ue fonn of diclofeuac was used as the active agent,                                                                          glycol
                                                                  as that is the form used by Baboota. The ex,act compositions                                                                         S5 trietbaaota.mlAe                             o.s                o.s                o.s
                                                                                                                                                                                                          DMSO
                                                                  of the formulations used io this study are shown in Table 11                                                                            W11tcr                                       qs                 qs                 qs               12.S                 18.81
                                                                  below. The Baboota formulations are labeled FYI, FY2, and                                                                               Sodium                                                                             6
                                                                  FY3, while a gel formulation usi.ug the vehicle of the present                                                                          ca,boxymcb1yl •
                                                                  invention with diclofeoac diethylamine as the active is                                                                                      cellulose
                                                                                                                                                                                                               Glyc:crine                                                                                                          11.2
                                                                  labeled G 14/2_m. A comparative liquid formulation was also                                                                          60
                                                                                                                                                                                                               Thickener                             Cub                PVA                Cub              HYl19                  none
                                                                  included in this study ("Comparative"). Among the primary                                                                                                                          940                                   940
                                                                  differences between the composition of Ba.b oota's formula-                                                                                  wt% Thickener                          I                 20                   o.s                2.S
                                                                  tion and that disclosed in the present inventi<m is the higher                                                                               Active:                                  )A                 J.4               J .4               2                    1.5
                                                                                                                                                                                                               ri,,foli.:11,;1.,;
                                                                  IJMSO concentrations in l11c present formulations (45.5%                                                                                     diethyla.rnioe
                                                                  w/w versus 10% w/w).                                                                                                                  6S wt%
                                                                     As is apparentfromthedatashownin FIG.10,although the
                                                                  Baboota formulation is also a gel, the vehicle of the present




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                                                                                                                                                                                                                                                                                                                                     HZNPENN_00000144
                                                                                                                                                                                    APPX225
                                                                      Case: 17-2149                                                               Document: 36                                                          Page: 321                                               Filed: 08/16/2017
                                                                                                                                                                                                                                                                                        :•;::.-~·~·~ ......., .. :-.· .-... ... ,_ ·- ........,.......• . ..•..· .•.•t.·.!'.......·,•............ .   ......... _._ ••..•
                     _ ' -.~ .... ~-. z-"'\· ....·-·-
• :·· -·. !' ....... ...                                -·~··,----·~-· •' ·:.::: .· .....· •.. •... ·.~··:t" .............._. . . . ·~.-..···.~....-.~.~ ...•,7.:.:-~ ..·; .:.-~~ ..·;-::::..·:....:-~. ~ ..- ......... ·-...•.•,,,; •,.·,: ...-~ .·:..,:.·.....:...(..:..:.O.\'::~.::~




                                                                                                                                                                                 US 8,563,613 B2
                                                                                                                               21                                                                                                                                                22
                                                                                                                       Example 5                                                                                                                             TAl3LE 12-<:ontinucd
                                                                                                                                                                                                                        Oryi.Dg dmes for gets and a compuativc liquid forn:iutation soJuttOtL
                                                                         Comparison of Drying Time/Residual Weight ofa                                                                                                 EquaJ wei8,ht1 of ca.ch fonnul1tion were rncuuro:t a,,nd spread on weigh
                                                                        Comparative Liquid Fonnulation Solution Versus the                                                                                              d.irhd. The weight of l'tch rcrn&i.ai.ng fonnut11.0o was then followed
                                                                                       Corresponding Gel                                                                                                               wilb time. The g,cJsoftbisin,.'t:ntica.s!iov.ed faatcrd.ryi.D&kincl.ic. t.hu
                                                                                                                                                                                                                         the ~ liquid fom,u!Mioo, with Fl 412 11:owu:g the fast ca
                                                                      In order to evaluate the drying time of a com parative liquid                                                                                   drying rak. The$c gels alto had impro,-cd "$prtadal>ility" dlaraacnstics.
                                                                 formulation solution as compared to the corresponding gel,                                                                                               which mCll likely coatributed to lhi$ improvement in <!tying tiles.
'!                                                                                                                                                                                     Oiyiogtimcs
                                                                 the study described in this example was performed. Equal
                                                                 weight amounts (100 mg) of either the comparative liquid 10 P"'Pycleoe alycol                                 11.2           11         II          112
                                                                 fonnulation solution or diclofeoac sodium gel formulations                           Elhaaol                   11 .79       26.$        2S           11.79
                                                                 were     measured     on  to plastic weigh  dishes  and  spread    over   a  I 0     GlyceriJ>o                11.2                                  11.2
                                                                                                                                                      OicJo(ct1ac SocLum         1.$           2          2            2
                                                                 cm2 area, and then left exposed to ambient oonwtions. At                             Thickener                 none        lfYll9    ffYll9      c.ubopol 971
                                                                 selected time points, the plastic weighing dishes were again                         wt/wt%1hlckA:ner           J.S           2.S                     1.15
                                                                 weighed to determine the mass oft he composition remaining
                                                                                                                                                  I
                                                                 on the weighing dish. As shown by the data in Table 12 below s
                                                                 and in FIG. t t , it was surprisingly found that even after a 24
                                                                                                                                                         Tunc(lu)     Comparative F1"2 gel 2.$% Fl4/2 get 4.0% 1'971
                                                                 hour drying period, almost all (nearly 90%} of the weight of
                                                                  the initially applied comparative liquid fomiulation compo-                              0.000         100                100             100           100
                                                                  sition remained on the wcighingdisb. Thus, the weight of the                             0.083          98.1               93              92.6         100.3
                                                                 comparative liquid formulation changed very little                  over    the  20       0.167          96.7               92.9            91.8         lOOJ
                                                                  time points measured, indicating that the           drying    of  the liquid             0.))3          9S.7               92.7            93           100.2
                                                                  formulation occumxl very slowly.                                                          o.soo         9S.6               92.7            9).3         100
                                                                                                                                                            0.7SO          95.S              92.1            92.3          99.8
                                                                       la contrast, even within the firs! five minutes, the three gel                       l.000          95.9              92              91 .S         99.7
                                                                  formulations        displayed    more    rapid   drying   than   the   liquid             4.000          9)                71              70,7          86.8
                                                                   formulation.      70%ofthe      weight   of the two gels   that  contained     2 s     24.000           88.7              32.4            2).$           SU
                                                                  2% oc4% RPCremained ,as compared 10 theover90%o fthe
                                                                   liquid formulation which remained, after 4 hours of drying
                                                                  time. By 24 hours, this difference was even more pronounced,
                                                                                                                                                                                       ex.ample 6
                                                                  as slightly over 20% and 30% of the weight of the two gel
                                                                   formulations containing 2% and 4% HPC, respectively, 30
                                                                   remained, and slightly under 60% of the weight of the F97 I                                   Comparison of Stability Characteristics of a
                                                                   gel remained, as compared 10 the almost 90% of the liquid                                 Comparative Liquid Fo1U1ulation Versus Diclofeoac
                                                                   formulation which remained. ·rus is a surprising result, as                                              Sodium Gel Formulations
                                                                   one would have expected the liquid formula1io11 to lose
                                                                   weight more quickly, and thus have a shorter drying time, as                           This example provides a comparison oftbe stability of the
                                                                                                                                                   3                                                 tested against reference
                                                                   compared to a semi-solid gel fonnulation. Thus, this example s compositions ofthe presenl invention
                                                                   demoastr.ues that the gel compositions of the present invea-                        formulations at room temperature over a six month period. It
                                                                    tion display superior drying characteristics as compared to a                      was unexpectedly found that while the compositions of the
                                                                   comparable liquid fonnula t ion.                                                    invention contain a higher conceniration of active agent, they
                                                                        Thus, ia certain embodiments, the present iavention pro-                       in fact resulted in a lower concentration of a degradation
                                                                                                                                                                                                        It was also unexpect-
                                                                    vidcs a formulation which bas a drying time such that, at 40 impurity as compared 10 the reference.
                                                                    most, a 500/4 weight of the starting amount remains as a                                                                   using hydroxypropyl     ccllulose
                                                                    residue after 24 boUIS of drying time, prefen,bly 3 3 0-4 oo/4 or                  edly    found  that  compositions
                                                                    less weight of the starting amount remains as a residue after                      (HPC) as the gelling agent had a significantly lower quantity
                                                                    24 hours of drying time.                                                           of this impurity as compared to compositioas made using
                                                                        The improved dryiag time of the gel fonnulations of the 45 carbomer gelling agents.
                                                                    present invention provides improved ease of use and is                                 In this study, samples of the lest compositions were placed
                                                                    expected to lead to belier patieat compliance. Thus, this                           into plastic screw cap bottles which were scaled and held al
                                                                     inventioa provides a gel fonnulation with improved drying                          25° C. at 60% humidity for 6 months. After the 6 month
                                                                    characteristics while also providing improved drug delivery,                        storage period, the samples were tested for impurities by high
                                                                     as evidenced by the advantageous transdcrmal flux data                             performance liquid cbrowatograph y (HPLC). The active
                                                                     shown ia the examples above.                                                   so agent, diclofenac sodium, was found 10 elute by HPLC with
                                                                                                     TABLE! 12                                          an elution time of about I I minutes. It was fouad that upoa 6
                                                                                                                                                        months of storage, an impurity, termed .. impurity A", was
                                                                          0,yiog times for gclJ &nd swmptntive liquid formul•ioa 10tutioo.              seen to elute at about 6.6 miautcs in varying amounts for the
                                                                        llqu.\l weights of euh formulation we,e nlCUW"Cd a.nd spn:114 on weigh      ss various compositions as showa ia Table 13 below.
. :-.
                                                                            disbcl. The weigbt of cech ,emaia.na fonnulatioa wu then followed
                                                                           with time. The gets or lais iii>=<ioo &bowed faster dzyiag kioctics lbu
                                                                           the c:ompantive 1,qu;.s fonnulalioe, with Ft412 sllowiaa w. wtcst
                                                                                                                                                                                                                                                                              TABLE 13
                                                                        dryu,g rate.~ gels also hod improved "1preod>bilit)"• cbanderitti<as,                                                                                                                                                                 Pcroent "impuril)' A• a&r
                                                                               whic:h most likely cootributod to this improvement in d,ying rates.
                                                                                                          Dcyi.agtimcs                                                                                                 Composition                                                                          6 months of storage (..Vwi)
                                                                                                                                                                                                                60                                                                                                            0.0)4%
                                                                                                                                            Formuw.ioa .urnc                                                           l.5%didof...csod ium u a compontivc
                                                                                                                                               =---- --- --                                                            liquid fonmiJ>tion so!utioa
                                                                                                                                                                                                                                                                                                                                o.~
                                                                                                                c..mp.r.               fl4/l                fl4/2                                                      2.0% dielofeu<: sodium in 0.9% c.,t,opol
                                                                                                                   atn'e              gel 2.S¾             gcl<l.0%                      F971                          get
                                                                      Ptrc..-11t:,kl:S Ul                        \\Lwt•o              \\ 1. \\1   '°•       w1:w1•11                   \\'1,\\1 .,.                     2 C~o ,ti1.::t,f\·1tu.: sodium 111 ).)'ty I111<.: gd                                                    tJ,(1~:-


                                                                                                                                          12.S                  12.5                      17.16                 6S
                                                                      Water                                         18.81
                                                                      Dimetliyl Sulfoxide                          4S.S                   45.$                 4S.S                      45.S                             Thus, as indicated by the data in Table 13, while having a
                                                                                                                                                                                                                        higher concentration ofthe active agent, diclofenac sodium, a




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                                                                                                                                                                                                                                                                                                                                               HZNPENN_00000145
                                                                                                                                                                                        APPX226
                                                                            Case: 17-2149                                                                   Document: 36                                                              Page: 322                                                 Filed: 08/16/2017
-;_:: · : :·· :·...•....•••·• :,.. ............. . ~........,.s:.......";.;., ..,:-•. ',•: ..: ..... _....,,._"\~....... . ... .. ......... •..... ,••••• ····-· ••• ·- "~ •·::; •••. ,,..".........,.,, .... •· .. ,... ., ·:--_, ..... ..... -~-. :--... ...._............. -··- .. " . ...·.: ......-.......-(. .... ·--~~ ............... ......... ......~ ......:.......,....·.•...... .....·•• ·;-,¢,·::.•.:-..:..·..:..·.·;.~-=.~.!.::.::.-::·:-




                                                                                                                                                                                                  US 8,563,613 B2
                                                                                                                                            23                                                                                                                                                        24
                                                                         gel fonnulation of the present invention containing 3.5%                                                                                                                                                TABLE 14-continued
                                                                         HPC shows a higher degree of stability, as reflected in the
                                                                         appearance of a tower percentage of "impurity A" as com-                                                                                                                                                  Blood sampling schedule
                                                                         pared to a comparable liquid fonnation. The data shown in
                                                                         Table t 3 also shows that the HPC gel formation is more stable                                                                                     s                Test                                                                                              No.or No.of
                                                                         than a comparable gel formation containing 0.9% Carbopol,                                                                                                         Da)'(s)             S.ampling times                                                                samples allquots
=-.i                                                                     as the HPC gel formation demonstrates an at least 4-fotd
'.'\
                                                                         reduction in the level ofimpurity A. Thus, a gel fonnation of                                                                                                       8-13              O(pre-dose), 4, 8, 12, 24, 48, 72, 96,                                             216                432
                                                                         the present invention provides improved stalbililyoftbeactive                                                                                                                         and 120 hr pos·t administn.lfon
                                                                                                                                                                                                                           10
                                                                         agent as compared to the reference formulations as evidenced
                                                                         in a formulation which degrades by less than 0.03<1% or                                                                                                            To"'1                                                                                                 432
                                                                         0.09%, over 6 months, as was observed for the reference                                                                                                        ownber or
                                                                         formulations. Furthermore, the amount of "impurity A"                                                                                                       samples
                                                                         found in the gel formulation ofthe present invention after a 6                                                                                            _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                                                                                                           15
                                                                         month storage period would result in an exposure level well
                                                                         below limits that would require additional nonclinical testing                                                                                          Pbarmacolcinetic evaluation of the plasma data was per-
                                                                         testing of the impurity.                                                                                                                             formed using TopFit 2.1 1. A non-compartment model was
                                                                                                                                                                                                                              used for the calculation of the terminal hatflife and area under
                                                                                                                                    Example?                                                                               20 the curve {AUC). Elimination rate constants (KO and plasma
                                                                                                                                                                                                                              elimination half-lives {1112) were calculated by linear regres-
                                                                                                                                                                                                                              sion analysis of the log/linear ponion of the individual plasma
                                                                                    Comparison of lo Vivo Epicutaneous Absorption of                                                                                          conceotratioo-time curves (c"'Conccntralion, t=timc). HaJf.
                                                                                            Liquid Versus Gel Formulations
                                                                                                                                                                                                                           25 life was determined using the formulae:

                                                                             A study was conducted to compare systemic absorption
                                                                          after topical application (also referred to as epicutaneous
                                                                          absorption) ofa comparative solution with.a gel of the inven-
                                                                                                                                                                                                                                                 do'dr-{K, 1)(<)1bJ.
                                                                          tion.A parallel desigowas employedwith6 Landrace pigs per
                                                                                                                                                                                                                           30
                                                                          arm. Drug was applied for 7 days with an additional dose on                                                                                                     Area under the curve (AUC) values were calculated usjng
                                                                          Day 8. Blood was sampled on Day I to derermine a baseline;            the linear trapezoidal method and extrapolated to infinite time
                                                                          Day 6, Day 7 and Day 8 samples were taken lo confirm steady
                                                                                                                                                by dividing the last measurable plasma concentration by the
                                                                          state, and additional samples were taken at Ohr, 2 hr, 5 hr, 7 hr,
                                                                                                                                                terminal elimination rate constant. Plasma concentrations at
                                                                          12 hr, 15 hr, and 24 hr on Day 7 to determine a 24 hour steady
                                                                                                                                                time zero were taken to be those at the pre-<iose blood sam-
                                                                          state profile; samples taken from Days 8-13 were used to 35
                                                                          determine an elimination profile.                                     pling time on Test Day 8. Area under the curve (AUC) was
                                                                                                                                                calculated using the formula:
                                                                             Tbedoses used in this study were as follows: The compara-
                                                                          tive solution group received 3.85 mg diclofenac sodium per                      AUC• (fcdtJ(ng/mL)(h), int,gntcd from zero to inful•
                                                                          administration and animal 4 times daily; the gel Group 40                           ity.
                                                                          received 8.08 mg diclofenac sodium per administration and
                                                                          animal 2 times daily; the administration area was 5 cmx!0                 The following pbarmacokinetic parameters for diclofenac
::l                                                                       cm/animal.111ese amounts represent tbe scaled human cHni-             sodium were calculated:
                                                                          cal doses.                                                            AUCo.,. (fest Day 7)
                                                                             Sufficient blood was collected from each animal per sam- 45
                                                                                                                                                AUCo.r (fest Day 8)
                                                                          pHog time and p=essed for at least2 mL Li-Heparin plasma/
                                                                          sample, which were split into two aliquots of I mL each.              AUCo.,,,1 (Iest Day 8)
                                                                          Blood was withdrawn from all animals as shown in Table 14.            T ,,, ... (Test Days 7, 8) (time to reach C.,,.,)
                                                                                                                                                C,,,._. (fest Days 7, 8) (maximum observed plasma concen-
                                                                                                    TABLE 14                                 50
                                                                                                                                                tration)
                                                                                                Blood s.a.rnpling schedule                      C,.,. (Test Days 7, 8) (minimal observed plasma concentra-
                                                                               Test                                        No.of No.of
                                                                                                                                                tion)
                                                                                  D•y(•)              Ssmpling limes                                                                  sa.rnples aliquots                       Cc,,.,_,,> (Test Days 6, 7, aod8) (trough plasma concentration)
                                                                                                                                                                                                                            55
                                                                                                      0 (prior 10 first administration)                                                     24                48               K.,(elimioatioo half-l ife)
                                                                                                      0 (prior to fint tdminis-tta1ion),                                                    24                48
                                                                                                      0 (prior to fust administrar.ion),                                                  168               336                T112 (plasma elimioation half-life).
                                                                                                      2 hr post first dosing,                                                                                                    The achievement of steady state was assessed by using
                                                                                                      S hr post first dosing (prior to swood
                                                                                                      admlniSlration for Group I),                                                                                             repeated measures ANOVA with log-transformed trough coo-
                                                                                                      7 hr post first dosing,                                                                                               60 ceotrations on Test Days 6, 7, and 8 as.the dependent variable,
                                                                                                      IO hr post Ml dosing (prior 10 lhird                                                                                     lime as the independent variable, subject as a random effect,
                                                                                                      administration for Group I a.nd prior to
                                                                                                      second ndrnini$1ntion for Gmups 2. J.                                                                                    and ~y as a fixe~ effect.
                                                                                                      :1.1:H 4 .)
                                                                                                                                                                                                                                 The data is shown in Fl(j. 12 an<l Tables i l• urn.I 17. Com-
                                                                                                      12 hr post Ml oosillg
                                                                                                      IS hr post fint dosing (prior lo fourth                                                                               6S positions ofthe invention show significantly more absorption
                                                                                                      admittiSIJatioo for Gmu;, I)                                                                                             of diclofenac sodium as measured by the mean AUC. This
                                                                                                                                                                                                                               result holds even when adjusting for dose.




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                                                                                                                                                                     l
                                                                    US 8,563,613 B2
                                         25                                                                           26
                                            TABLE 15
                                            0ocll1.&IQPigs

                                                 Dose of Ille Diclo(coac;
                      O,clo(e.i:w:  "'"or        product per   Sod,um 1''umbc:r l>,clo(,_
                                                                           of do,cs   per day
                       Sod,um      application   opplicalion   per close
                      %(w/w)         (cm2)          (mL)        (m8)       per day     (m8)

        Ckl              2.0           so           0 .40        8-08        bid       16.2
        Comparative       I.S          so           0.24         3.&S        qid       ISA
        Solutioo



                                     TABLE16                                                      More specifically, the efficacy of diclofenac gel on knee
                                                                                              OA symptoms will be measured by the subjective response of
                               pK prQfile.at steady   nate.oa Day 1
                                                 =--===~                    ---- - 1S subject$ as determined by an efficacy variables questionoaire
                                                TrNJ<         Cmu           AUC0-24           which iocludes the WOMAC LIO. I OA Index (pain, physical
                                  subjo:t         (II)       (p&'mJ)       (pg • 1,1ml)       function, and stiffness dimensions), a Patient Overall Health
                                                                                              Assessment, and a Patient Global Assessment. (Soc Bellamy,
             Gel                      l3           12          15379          2398   18
:j                                    14           10           &510           I 75862        N., WOMAC Ostcoarthrilis Index Usu 's Gulde IV, Queen-
                                                                                          20
 ::                                   IS            s           6014           104122         sland, Australia (2003)).
                                      16             s          4$27             6)842             The WOMAC LK3.l, Patient Overall Health Assessment
                                      17           IS        434529          2689765
                                      IS           24          144$4           2)1494         and    Patieot Global Assessment ques1ionnaires will be based
                                    Mean           12          80684          SS41SI          on lbe five-point Likert scale. Numerical values will be
                                     SD              1        173549         10))866
                                                                                          25 assigned
                                                                                                          to WOMAC LIO.I scores, Patient Global Assess-
                                        I          10            8302          107122
             Compannive
             Solution                   2          10          24709           133521         ment scores and Patient Overall Health Assessment scores, as
                                       3           IS          14743           160294          follows:
                                       4             0           4350            4-4267       Patient Overall Health Assessment and
                                       s           24            9SS2          112460
                                                                                               WOMAC LIO.I Patient Global Assessment
                                       6           11            862&            77$81
                                    Mean            ll          11714           105924    30       None=0 Very Good,:()
                                      SD             8           7185            40865             Mild=! Good• !
                                                                                                   Moderate=2 Pair=2
                                                                                                   Severe=3 Poor-"3
                                                                                                   Extreme'-'! Very Poor=4.
                                           TABLE 17                                                The WOMAC LK3.! OA Index is a segregated, multidi-
                                                                                           JS
           Rt.lativt bioava.ilability aad exp,oswc to a comp&.11.ti\-c ltquid formulation      mensional, self-administered index wilb lbree independent
                      in compuien to the conegmnrling gel at steady .-1110                     dimensions: pain, stiJToess and physical function and will be
                                                                                               used as an efficacy variable in this study.
                                               ltatio Ckl/Compsntive Solution %
                                                                                                   In a preferred embodiment of the invention, application of
              c_                                                161.1                      40 the gel formulatioos of the invention when applied topically
              C_/l)ole                                          t61.S                           will result in a roduction of pain or physical function on the
              AUC0-24                                           241.1
                                                                232.2
                                                                                                WOMACseale ofat least I Likert scale unit over a 12 week
              AUC 0-24/0ooe
                                                                                                period. Even more preferably, a reduction of 2, 3, or 4 Likert
.-:,!                                                                                           scale units will result. Most preferably, application of the gel
                                                                                           4S formulations of the invention will result in complete reUef of
                                            Examples                                            pain and complete or nearly complete restoration of physical
                                                                                                function.
              Clinical Trials ofDiclofen:1c Gel in lbc Treatment of                                 To assess safety, lbe frequency of adverse effcclS will be
                                          Osteoarthritis                                        tabulated, the worst skin irritation score will be documented,
                                                                                            so and change in vital signs and laboratory parameters will be
             A clinical trial will be perfonnoo to evaluate lbe safety and                      assessed.
         efficacy of a gel formulation of the present invention in sub·                             The foregoing discussion of lbe invention has been pre·
         jccts with symptoms of primary osteoa11britis (OA) of lbe                              scnted for purposes of illustr3tion and description. The fore.
         knee. Specifically, a 2-arm, double-blinded, placebo-con-                              going is not intended to limit the invention to the form or
                                                                                                                                                          inven-
          trolled, randomized, 12-week Phase 111 clinical trial will be ss forms disclosed herein.Although the description of the
:..1     perfonncd in 300 subjects randomized to receive either a                                tion has included description of one or more embodiments
         diclofenac gel formulation, placebo gel (the gel carrier con-                           and certain variations and modifications, other variations and
          taining no diclofenac). Subjects will apply 2 ml, of study gel                         modifications are within the scope of lbe invention, e.g., as
          to their OA knee per application.                                                      maybe within lbeskill and knowledge ofthose in lbe art,after
             The primary variables for assessment of efficacy will be lbe 60 understanding the present disclosure. It is intended 10 obtain
          WOMAC LK3. I pain and physical function and Patient                                    rights which include alternative embodiments to the extent
          Overall Health Assessment. Secondary variables will be the                             permitted, including alternate, interchangeable, and/or
          WOMAC stiffness ~nd Patient Global Assessment. "The pri-                               equivalent s1nic1ures. functions. rnnp.es. or ~teps to those
          mary efficacy analyses will be the comparison of the change                            claimed, wb.:ther or not such alternate, interchangeable, and/
          from baseline to final assessment of the primary efficacy 6S or equivalent structures, functions, ranges, or steps are dis-
          variables forsubjeclS in tbediclofcnacsodium gel arm versus                            closed herein, and without intending to publicly dedicate any
          lbe placebo gel arm.                                                                    patentable subject matter.




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                                                                      US 8,563,613 B2
                                         27                                                                                28
                                                                                                    12. The topical fonnulatioo of claim 11 wherein the coo-
          All publications, patents and pal cot applicalions referred to                                     n of diclofcnac sodium is a me~ber seleclcd from
                                      by  reference      io  their   enlirety     to  the       c:entratio
      herein are incorporated                                                                                  c:onsistiog of I .5% and 2% w/w, and all fractions in
                                               l publica1i    on., patent    or  patent         the   group
      same extent as if each individua                                                 be       between     .
      applic:ation was     spec:ifica  lly  and   individu    ally  indicated      10
                                                                                                    13. The topical formulation of claim U wherein the coo-
      incorporated by reference in its entirety.
                                                                                                centratio     o of DMSO is a member select~d from the group
          What is claimed is:
                                                                                                consistin     g of 40%,, 41%, 42%, 43%, 44%, 45%, 46%, 47%,
          1. A topical formulation comprising:                                                  4                and 50% w/w, and all fractions in between.
                                                           w/w    and   all   fractions           8"/o, 49%
          (i) 1.5, 2.0, 2.S, 3.0, 3.5, 4.0, or 5.0%                                                              topical fonnulation of claim 11, wherein the con-
                                                                                                    14.  Tbe
              in between , diclofenac sodium;                                                                 o of ethanol is present at 26.5% wlw.
                                                                                            10  centratio
          (ii) 30-60% w/w OMSO;
                                                                                                    15. A_method for treating pain in a subject suffering from
          (iii) 1-15% w/w propylene glycol;
                                                                                                pam,    srud method comprising the topical administration of a
          (iv) 1-30% w/w ethanol;                                                                             ion CQmprising:
                                                                                                 formulat
          (v) oplionally glycerine;
                                                                                                    (i) diclofcnac: sodium present at 1.5, 2.0, 2.5, 3.0, 3.5, 4.0,
          (vi) water;
                                                                                            1s          or 5.0% w/w and all fractions in between·
          (vii) at least one thic:keniogagent selected from the group                                                                                   '
                                                                                                    (ii) DMSO present at 30-60% w/w;
              consisting of a                                                                                                 at  1-30%  w/w·
                                                                                                    (iii)  Clhaool    present
          cellulose polymer, a carbomerpolymer,a carbomerderiva-                                                                       i
                                                                                                    (iv) propylene glycol present at 1• 5% w/w;
              live, a cellulose deri\'ative, and mixtures thereof;
                                                                                                    (v) optionally glyc:erioe;
              wherein the topical fonnulation bas a viscosity of SOO-
                                                                                                     (vi) a 1hickening agent, wherein said tbic:keoing agent is
               5000 ceotipoisc; and wherein the formulation degrades 20
                                                                                                        selected from the group c:oosisting of cellulose poly-
               by less lban I% over 6 months.
                            formulat    ion  of  c:laim   1, wherein     lhccooc:      en-              mers, carbomer polymers, a carbomer derivative, a cel-
           2. The   topical
                                                                                                        lulosc derivative and mixtures thereof; and
       tration of diclofenac sodium is a member selected from the
                           g  of 1%,   J.5%    and   2%    w/w,    and  all    frac1ions             (vii) water; wherein the formulation has a viscosity of
       group     consistin
                                                                                            is          500-5000 centipoise; and
       in between.
                             formulat   ion  of  claim    1,  wherein    the    cooc:co-             wherein the formulation degrades by less than 1% over 6
           3. The   topical
                                                                                                        months.
       tralion of DMSO is about 40% to about 50% w/w.
                                                                                                     16. The method of c:laim 15, wherein the concentration of
           4. The topical formulation of claim 3, wherein tbeconc eo-
                                                                                                 d.ic~feoac sodium is a member selected from the group coo-
       tration of DMSO is a member selected from the group coo-                                                                                                      .
                               %, 42%,    43%,     44%,   45%,     46%,    47%,     48%,    JO    mtmg of l %, 1.5% and 2% w/w, and a II fractions in between
       sisling of 40%, 41                                                                                         method of claim IS, wherein the c:oncentrationof
                                 and                     in  between    .                             17. 1be
       49% and 50% w/w,                all  fractions
           S. Toe topical formulation ofc:laim t, wberein the concen-
                                                                                                  DMSO is about 40% to about 50% w/w.
                                                            w/w.                                      18. The method of claim 17, wherein the cooceotrJlion of
        tration of ethanol is present at 23-29%
                                                           1,  wherein      1he  at  least        DMSO        is a member selected from I.be group consisting of
           6. The topical fonnulation of claim
                                                          the  group    consistin      g of  JS   40%,    41  %, 42%, 43%, 44%, 45%, 46%, 47%, 48%, 49% and
        one thickening age111 is selected from                                                                    and all fractions in between.
 l      a carbomcr po.lymcr, a carbome
        thereof.
                                                     r derivativ    e  and     mixtures           50%    w/w,
                                                                                                      19. Toe method of claim IS, wherein the concentration of
 i         7. The topical fommlatioo of claim 6, wherein the at least
        one thickening agent is sclec:ted from the group consisting
                                                                                         of
                                                                                                  ethanol is present at 23-29% w/w.
                                                                                                     .20. '.11e metho_d of claim 15, wherein the at least one
 l                                                                           l  1342   and   40   thickeru     ng agent IS selected from the group consisting of a
        carbopol 971, carbopol 981, carbopol 941, carbopo                                         carbomcr polymer, a carbomer derivative and mixtures
 i
 ,;     ultrez 10.
                                                                                                  thereof.
·i          8. The topical formulation of c:laim 6, wherein glycerine is
,_,                                                                                                   21. The med1od of claim 20, wherein glycerine is present.
        present.
                                                                                                      22. The method of claim lS, wherein the at least one
            9. The topical formulation of claim l , wherein the at least                                                                                        g of a
                                                                                         of ~s thickening agent is selec:ted from tbe group consistin
        one thickening agent is selected Crom the group consisting                                                polymer  , a   cellulos e derivative,   and mixtures
                                                                                                  cellulose
        a cellulose polymer, a cellulose derivative, and mixtures                                 thereof.
        thereof.
                      topical  fonnulat    ioo  of  c:laim  9, wherein       tbeat    least           23. 'The method of claim 22, wherein the at least one
            10.  The
 ':                     og  agent   is hydroxy     propyl    cellulose    .                        thickening agent is hydroxypropyl cellulose.
        one    thickeni
                                                                                              so      24. The formulation of c:laim 1, wherein the fonnulatioo
  '         11. The topical formulation of claim 10, wherein the for-                             degrades by less than 0.5% over 6 months.
         mulatioo CQmpriscs:
                                                                                                       25. The formulation of claim 1, wherein the formulation
            (i) 1.5, 2.0, 2.5, 3.0, 3.5, 4.0or 5.0% w/w, and all fractions                                     s by less than 0.2% over 6 months.
                             , of diclofco   ac  sodium;                                          degrade
                in betwc:co
                           w/w    of  DMSO;                                                            26. The formulation of claim l, wherein the fonnulatioo
            (ii) 40-50%                                                                                                                                           ure.
                                                                                              ss degrades by less than 1% ovcr6 months at room tcm~rat
.,,
 '•         (iii) 23-29% w/w of ethanol; and
            (iv) 10-12% wlw of propylene glycol.
                                                                                                                               •   •   • • •




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                  Addendum 10

                U.S. Patent No. 9,066,913

                       A230-A261
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           UNITED STATES DEPARTMENT OF COMMERCE
               United States Patent and Trademark Office


                                       August 11, 2015

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U.S. PATENT: 9,066,913
ISSUE DATE: June 30, 2015




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                 and Director of the United States Patent and Trademark Office




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                                       Certifying Officer




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                                   APPX230
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                             dlclofenac plasma concentrations (pg/ml)




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                                                               US 9,066,913 B2
                                    1                                                                              2
       DICLOFENAC TOPICAL FORMULATION                                              To besuilable fur chronic use, a lhernpy must generally show
                                                                                   efficacy on these three variables over a SIISlaioed period of
           CROSS-RBFERENCBS TO RnLATED                                             1ime. ln the U.S. for instance, the- Food and Drug Adminis-
                          Al'Pf.lCATIONS                                           tration (FDA) requires OA therapies lo show superiority over
                                                                               s -placebo over o J 2 week period. Notwithstanding the signiJi-
    'Jiuy 11pplic~Hon is u v0u:uuun1fou <JI U.S. opp1ico1ion Ser                   c.inr potential for topical NSAIDs in the 1reatment of OA, as
                                                                                   of the timeoffiliog lhis upplication, none have been approved
N,;i, 14/025,781, fili.<d Sep. l2, 20 I,, wltlcti oppliwtioo 15 :l
                                                                                   for 6\lch treatment in the LI .S.
cortliouatlon o(U.S. llpplkation ~er. No. 1'\/564,li&ll, Uled
                                                                                       U.S. Pat. Nos, 4,575,515 aud 4,652,557 disclose tor ical
All«:. I 2012, 11tJWU S, Pill.NO, K.SG~',6 1'.\, wbicli111ipJicoriun           10 NSAID compositions, one nf whi,•h, oonsisting of 1.5%
;;; ; ~llllnvat.iu11 nl' U.S. :,pp!i~-uJ.iou Sl>r, N(•. 12/134,121,                dicloforu,c sodium, 45.5%dimcthylsnlphoxide, J l.79%clha-
filed Jun S 2008, ,,ow LI.S.J)nl Nn. S,252.83tl, wbi,.ih appli-                    nol, 11.2% propylene glycol, 11.2% glyceriue, and wmJOr, h~s
t:utioJJ b o ·~.,nliJJuilli1>11 nrJ;CT/TTS2007/0R I<>74, CilL..J ~_L               been ~bown hl he el'fc.:tive in chl\)llic OA trcalmet1l. See
 J7. :2007, which ~pplic;1liOD .:l11int~ priority «1 U.S. Pl'\lVt·
                                                                                   Towheed,JormuilofRheumatalogy'33:3 567-573 (2006) and
~loual Aprlicor,on No. (i0hl29,75f., filed ()Q~ 17, 2()0(,, 11)o
                                                                               15 also Oregon Bvidence Based Practice Center entilled "Com-
lODchins•n111 rtwbiol1111I! wevrpornted hcrolo by tufcrcocc Ill
                                                                                   parative Sa foty and E.ffcclivenc,;s of Analgesics for Osteoar-
lh~ir .intli·.rues wr uU j'!Lupo;.;:.~.                                            thritis", AHRQ Pub. No. 06-EFIC009-EF, This particular
                                                                                   composition is referred lo herein as "comparative liquid for-
                                                                                   mulation" or "comparative" in the Examples section. How-
                                                                               21> ever, the coinpo~itiotlS of ll1cse prior iuvcotions have draw-
                  FIELD OP 11-IE JNVENTION                                         bncksin Uuit they are slow lo dry and runny. They also require
                                                                                   freqllcnt dosing of three to four times a day to acb.ieve efllc3(.-y
  Tue r,ccsenl inventiJ.lJ'I rclules- gw erally lo compositions                    iu OA, which incrcases<-'xposure to potential skin irri!llnts and
   n1¢lllllU& foc lle!Jting CISICOU'IUritis
ao(J                                                                               !ocreases the risk of skln irritation.
                                                                               25     1n general, the failure of topical NSAIDs lo fulfill lheu
                                                                                   promise in OA may be due in part To the difficulty associated
                                                                                   with clcl ivcrmg a molecule through the skin insufficient quan-
           BACKGROUND OP THE INVENTION                                             tities ro exert a therapeutic cffec1 and in:, moon,:r ,hat makes
                                                                                   the t.ceatrueo1 itself toltm,blc. Tl is genl.ll"J.l).y believed that
1, OMteoarthrilis                                                              JO clinicalefficacyinOA.tequiresabsorptionoflheactiveingre-
    Osteoarthrlti8 (OA) is a chrouicjoinl disease characterized                    dlent and its penetcnlion in suffieieol quantities into underly-
by prOgr~sive dcgc11cration of articular car1ilage. Symptoms                       lug inflamed iis~ues including the sym,wium and synovial
include j1,in1 pain and impaircd.111\l~e,n~m. OA is one of the                     fluid ofjoints. See R11senstein, Topical agents in the treatment
leading canscs of disability worldwicll: and a major financial                     of rheumatic ,nsntdcrs, Rheum, DI.,. C/111 North Am.• 25:
burden to hcalU, cureswtems. II is estimuled ro affect ovcr15                  )5 899-918 (l 999).
million adults 111 the ·united States alone. Sec lloh L. 8.                            However, the skin is a significant bonier 10 drug perme-
Osteoanhritis. ln: DiPiroJ. T,, Talbert R. L., Yee G. C., ctal.,                   ation, and despite nearly four decades of extensive resenrch,
edltoIS. Pharmacotherapy; a pat/,ophyslologica/ approach.                          the success of transdermal drug delivery in general temains
4th ed. Norwalk (CT): Appleton & Lange. pp. 1441-59                                fairly limited with only a scoall number of transdermal drug
(1999).                                                                        40 products commercially available.
    Oral non-s1eroidal ami-inilummatory dn1gs (NSAJDs) are                             [n oonnection with topical dosage forms applied 10 the
a mainstay in the lllJUlllgemenl of OA. They hove analgesic,                       skin, a oumher of 1nteractions can occur including vehidc-
anu-lnllu111matory nod 001ipyrctic clTl,ctJ oud ~rt- u,;cfnl in                    skln, vehicle-drug, and drug-skin. Each can affect the release
m.hiciug pain and iJtftnmmnlion. NSJ\ ID$11ftl hnw!l'/1:r u.sso-                   of an activeagentfrtim ntopical dosage form (Roberts, M. S.:
cia1,'d With Rl!rlous potential side mfects U10lucling 11mu1ea.                45 Structure-permeability considerations in per1,'lll>UJeous
vomlcing, fl(,"fllle ulccrduii:,ase, QJ lwemorr.ru,g,.-, !Jlld ~'l.lnlhi-          absorption. ln Prediction o/Percuttmecus Pe11e1ra/ioN, ed. by
vasculnr t.·venll&,                                                                R. C.Scott c.1 nl., vol.2,pp. 210-228, IRCTechJlical Services,
      tbp,cnJ NSJ\ID~ \'lfl'Cf tl1~ .[llmibllhy of uonlevlng local                 Loridoo, 1991). Thus variou~ facto.rs cau a.llect absorption
t!\cmpeuti~ beool1t while reducln& or ellntlnoting tit~ risk nr                    rotes and penetration depth. including the active ingredient,
~sb:!nlk sitll! cffe~&. Thun: hus l)ccn widel(l)ro1tl intcrc.st 111            ;o Ibo vehicle, thepR, and the relative solubility ofthe.ictive in
thl. uppmauh 1n lrct11L11g OA, b111 ,J,ito in ~11pport ,'\'I r.lle elh-            lhe vehicle vcrsns the skin (Oirtrenga J. et al., Significance of
eacy,u rtopfoo I NS A ILJ~ lll the ti-eatmen1 of(JA i, Lim It,,d (/or              vehicle composition I; rclutio1iship between topical vehicle
instance•, n study OJ 13 riuxlowizetl placebo c11n1r1,lki.i lriul,                 composition, skin penctrabilily, and clinical efficacy, Jr,umol
(RCT's) C>J''lano11.. Lopfotll NSA10~ lusted ijpt.'Ci.fie11lly forns~              of P/wrmac~utical Sl'ie11ce9, 60: 1175-Jl 79 {1971)), More
m llu!1~ea1mtnt11.rOAco11cluckd U1111 they Wlll'l.>llOI genemlly               5S specifically, drug attributes such as solubillLy, siz.c and charge,
ern~Q1ous lbr uhro11lc use in OA. (I .in ct al., Effit!acy t1f                     as well as, vchiclenttributcs sut'h as the drug dissolution rate,
lll)ltcal JI011•st1:ml,lol anti•in8nrl'.l.lllnto1-y dmgs in tbo Lrcpl·             spreadillg-ability, adhesion, and ability to alter membrane
mcnL .:.r os1eoartllri1i1. meh1-aruilysis or rmw:k•tlllZW ~on-                      permeability can have significant elfN:t. on penoeability.
t(roOOlled uicls, OMJ, d11i: IO. I 13Glb:nJ.3l:l l!i!l.63V028.7C'                      There is significant variability observed from seemingly
  2 4)).                                                                       bO minor variations in formulations. For in~tance, Naito demon-
    '.'11.:1-c are l!,eounilly l.hrw nutll111nes u.ecl lu 1iwusuN 1hc              strates sll!,Qificrutt variability In penetration among topical
ctliciu;y of,tu OA trootment: p11l11, ph;ysico1 1'1.molioh, anti 11                 NSAID formulations -Simply by changing the gelling agent
p~t,~lll lJlo~ul ut:sossmunl, ~ Uclltnuy N., KirwtJo )., BOCJ'll                    used in the compositions (Naito et al., Percutaneous aqsorp-
~ .. Bn,nks P~ Stmn,I v., 'l'ngwcll P.. 1:1 nl.n~ommendntiol15                      tioo ofdiclofenac sodium oiIJ101unt, Tnt Jour. ofPharmaceu-
t%f     00 re•et or~1.11tt1r11emeasurMf\1r lirtiu-e f!l1<-u;cm clitlical       M tics. 24: 115-124 (1985)). Sirollarly, Ho noted significant
       • 111 kno,c, kip and himd Cl91~"\>0rt.itrll.u;, f';io..~n.,11s dcveJ-        vuriability inpenel..1lioo by changing theprorortlons ofalco-
l>ptnc,1t at OMlll<.A("I 111 .. J Ulre11111utol. 24.79')-002 (l 997)                hol, propylene glycol, and water (Ho et at .. The influence of




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                                                             US 9,066,913 B2
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QQttctlve<1B "" l~e lu·'llllrn paroulun~,u.s penotralion of                    566. United States Patent Application No. 20050158348
d\clo l~uc sodfum fruw a gel sysunu, J Pharm. P/iarmacol.,                     points oul that various solvenUI are widely used for gel prcpa-
46:t,36-M~ l 1994)). If wa, n,,tcd th~1. Llle changes a~ected                  rations, but notes that they are limited in potential due lo skin
\J\l'Ce ctiiLim:I v3riJ1bles: (l) Ill? _,oluhihty.~f the drug m the            irritation. This reference also notes Iha! gel COID])Ositions are
vehi<Jle, (ii) Umpurtitiou ~1.1e~1co1, and (111) effects on niter-          5 associated with fast teonina1ion of action as lhe nctive pre-
otlun of 6k.in 31J1Jd\Urc.                                     •       ••      cipltolos Imm.solution in !he upper skin layers, limiting onti-
    Oo e1 ol,(1994) also outeJ Ulill !i) l~pll ofl11c vol11clo, (,,}           inl1Mimntary ec1ion in deeper tissues. The gels of the present
ilie druasulubility, 1111J (ill) l!Je vJr;cQ!LI\}' e>l u W;l m11lal< can       inventilln ure desigucd to accomplish the opposite, nno1ely
ii:,flueuco peaotmlion from~ g~I d08llgc roan. ~ be pll vnloe.                 pml1111ged ocLion:tod anti-i.oilaoomatory action in tho deeper
lltlil<:is Lhe 1lnlun<1e burwoon ,om:t.cd nmJ nun-1oruzea fmms o!           10 tis~lles,
tuodfllg, whiehh2wdilTe!'enr pencJrntu,o pro1,ortiD11 (Obara,                  2. Gel F11mwl~!101lt ofOiclofenaa
1111,711a1(01111/ Jnuntal "1' P/ir,nn_aC;lllfc.!J, 89: I gJ-1 9S                   Nono of li:le previous references disclose the compositions
( 1993)). fbevi$:061t}' Cilll ulfecl tllll us,Qll of1.betlntglht\lugb          O I' 1l1e inv,'lllilln 1w their use in the 1rea1J11.eot of OA. Rather,
tlseg.:hu~trixllllllrcleill<'-IOllhJ.'c.lrug.ftuw tbc,vol~io.Je i~tc, thc      U1.:i;;: .rdi.!rem:es llighlight the significrutt unmc1 need with
skin. The !IOIUbllity of tlJetlru~ I.Cl lh,, velucle will.u~ectlhe          1
                                                                             ~ res~ to top,Ml OA lre,illllcnts for chronic use and the
l)IU'tiJ.loll coeffi~1cnl oflh.c tlrug between ~foamd11Uoo and
 Uie reclpicol mel'ubrtinclrlsfiuo (Ho cl al. J 9114).                         cc,mplcxity of lrdJlsdemml tmlllfJJOd 1u !1<:Dl!nll whi.w ,-igi1ili-
     CbemiC11l _p~o~tratiun enllllllc.-t'S uremic u10011s for revers-          C!1D1 vaciubllity in penncatilID b ob,~rved by cllllllgltli;cCll.ll-
 lbly lowcr111g Ute ~kill bamcr lltltlll' methods include lon10-               po~ition elements or their relative proportions,
 phot'c~is, ultrat10uod. <1leclJl.lfl011llillrl, heat, ~nd ~cron-           20    to light of the roregoing, there is a considerable need for
ee(iles. Al \e1111t 250 ch~mlcals huvc been identified as                      improvement ht tbcdevelopmentofatopicalNSAlD&uitable
 enhanceis that can increuse skin permeability. Oene.ro.J cat-                 for Jong tenn use ln the tre.t(ment ofOA. The challenge has
 ,,sones i.nclud~ pym,Jkltme:;, fatly acids. ~sti,n; DDdnko.lmls,              bc41o 1,, develop an 11_ptiawl lbmntlal.ion whicb will ddlverlllc
 sul.fuxi,le.. e,;sc11t.ial ulls, terpenes, o~,ttoldioJ.'S, suanmonts,         active ~genl to 1be underlying tissue In suffiolent oom:eatrr.t·
polyols, ozo1t.e nod d11ri1111tives, a~,J u11l~~m;u1I cn•,eynics.           is Lion Lo 'lrull OA 011. a lung t0r111 ba,is. wbile I e().utiug o~
     Toe ma-.lHmlsms by M1icl1 pooetr.:,bon ellhancers 1educe                  minrmi?.ing the lncltl11rtce oflntoJeml:>le skin irri1:11Joo~uu~ed
 the skin. barrier function are nor well a11de.~lood (see WiJJ ·               by ,lis.rt)]lliTII', the sld11 hnn'ior and wbi!e rrm•idlng n lhrmulfl·
 iam~ DDd Barty "Penetration Hnbaocers" AJvu~efl Drug                          tion aruJ do~:tl!" i:hal 11-'U<ls lu nod eucourng,.-s patient compli-
De/,ve,y Re,,/ews 56; 603-618 (2004)) allltuu&[J 11~ bt!Uu                     once.. Thll [>r0!11lnlinwnlinn su11~fics chcsc tmd other noodg.
 proposed that the mechanisws c,m be grouped into lllre\l                   JO
 broad categories: lipid disruption. incre.is!ngcomeocyte pl?!'·
 meability, nod promoting partitioo.ing of the drug into the
ti5l>'1JC.
    Toe challenge with use of chemical penetration enhancers                             B\Uf!F SUMMARY OF THE 1NVENTION
is th.at few seem 10 induce a significant or thenuicutic 35
enhancement of drug transport al tolemble levels. 'lllir. is                      The present invention overcomes the disadvantages of the
because 1he act of disruptiug the skin hurrier will have the                  prior art by providing diclofenac sodiom gel formulations for
potential ofcausingskinuritation. Wjth increased disruption,                  lhe treatment of osteoarthritis that display a better drying
skin irritntioo will become a grealer issue. This is particularly             time, highi,r viscosity, increased transdermal flmc, and greater
problematic with topical OA treatment.~ where the goal is to 40 pbarmacoki.netic absorption in vivo when compared 10 pre-
have tbe active penetrate into joint tissue and where the drug                vfously described compositions. Furthermore, the proforrcd
tn11s1 h<J lllll=d on a I01l1,1,•l1:trn basis-dJJe to Ute 111iure ol't)1e     iliclo.lcuru: K<Jdinm ~I fotIDu)irUtlllli ofthe pm,f.llnl iuvi.,nlfon
di$c;,~e. 'n1~ iav~111oo; huvu dt.,vclOJ11ld methods nud compo•               pl'tlvide otlllil' .adVWiial!es iru:ludiug fuwmb]u ~l'Ahllily ut si>c
Jllioll$ Uw1deliver mom ocrivo lngrcdlcnl per uult dn:;e ll1/lh               (G) mOmM ris rcflecicd in tbe lnck of nny sub~wn1inJ clmnges
previou,;ly known 1:omposili,1t1s, llnd llu,, would be expected 45 in viscosity, the absence of phase separation and orystalli7.a·
hl J~u Lil n lower incidence or skin irritation.                              lion at tow temperatures, and a low level of impurities. More-
    1b.e oompositiom of the invention use diclofensc sodium                   over, the present gel formulations udbere well to the ,kin,
which hi a C()mJl111uly u~ed NSAIO, Di1.iofenac bas four di:!~                spread easiJ y, dry quicker, and show g,catcr in vivo absorp-
r~1'-'l1i salL, thal l!hvw slguilklunt variability in the degree of           lion iu compari~on to previously descrjbed compositions.
Pll~ICtitfo11 iii .olutk,nij using di Fferool solvents. Mlnghetti, so Thu~, the gel foonulations of the preseol invention provide
fll~ 1~>l,wc-e,. tcacbcr. 1buc o diclu)cnna snit with an organic              superior means for delivery of diclofeoac sodium through the
bMe 1, bl:sl lur topical O('pJ;cntiuus {Ming.betti et al., Ex vivo            skin for 1he trca1mentofosteoarthritis, as compm-ed lo previ-
st~dy nClruutl1111Un1 ,,crm~llll.ll or R,unllclofeoac salts from              ously described formulations.
thtti.-11:111 v\11.ticlc., • •/r,ur. vi' Plwrw. Sci, OOJ 10.1002/                 As such, in one embodiment, the present invenlloo pro-
jp~.2ono (2007)).                                                          ss vides a gel formulation comprising, cmisis1iog essentially of,
    Olhllr rcs~h.poims la wicrcwmulsion formulations as a                     or consisting of:
~~ for dclh,ccy ol diclolimnc sodltuu (Kaniarci cl al., 1n                        (i) diclolenac sodlwn;
vuro ~er~11ti11n .,, diclofol'lllc Slldluni Ii-om novel mien,-                    (ii) OMSO;
l'Dl\ihuuu lurm111illlons tltmagb ml>blt skin, Drug Develop-                      (ii) ethanol;
~>c11I lie~<'ll_r.:.lt, G5: 17-25 (2005): und Sarlgullu I. Cl al., TrJllS· c,o (iii) propykne glycol;
  ~ I dehVl.'ry of diclulenu<: KO<WJJJJ Uuough rat skin .from                     ( v) a thickening agent;
 ~t~ltlu~    formttl,1lious. .-/J'S 1'/wm1ScTJbch, 7(4) Article 88,               (vi) oplionally glycerol; nod
     ·E7 (2006),,                                                                 (vii) waler,
     O~t;r 1opicul dlcluJcnac c11mposili011J1 are disclosed in "                  ln unutwr embodiment, the pre;,ent iovenlion 11rovideJ a
;~um       r 0 1'r ~tl;DL~ including tl.S l.'ul No, 4,543,251, U.S. 65 method of treating osteoarthritis In a 8Ubject ~uffering from
 , n.:;No. 4,670,2~4, U.S. P111, No. 5.3741661, U.S. Pal No,                  articular pain, the method comprising lbe lorical odministra-
   ' • &,R69, IJ.S 1'111... Nl1l. G.3!1\1,093 and U.S. Pot No. 6,004,          lion to an atllicted juint area of a suhjtlCt a tberapeutically




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                                                          US 9,066,913 B2
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  lfoi:-I y.,1,unmu,t ofii F)!l Jba:nolatiou comprising, consisting      lncertt1in embodiments, tbc gel fnrrm,Ju1io1u; oflhcinvcu-
e        ,                 . in f                                    tion coillpdse 1-5% p,lyceml, wberei.Ll the J!el fob:mll;sliou
cascntillJl.y or, ~r con,,m go :
                                                                     when applied to the skmhus c, rnyin!!, cal~ and lroll!idern:lllJ
   (i) diclolenac sodhun;                                            flux greater thao a comparative liquid formulation. ln so(Jle
   (il)DMSO;                                                         aspects, the drying rate results in a residue of at most 50% of
   [ll) etJwnol;                                                     a starting amounl after 24 bouts and the transderrnal flux is
   mu    proi,ylLID.' g1y~",:                                        1.5 or more greafer lban a comparative liquid formulation as
   (v) a Lb.ickelll/lS egesil.                                       determined by Franz cell procedure at finite or infinite dosing
   (VD optionallyglywrol; ;uid                                       or both.
   (vi) WIiiet,                •                                  10     lnotber erubodimems, tbe gel fon:nulatious and methods of
tbercby tre.11ini;n~1ooorttmt1>,.            •                .      dteiruse provide a reduction of pain over 12 weeks when the
   A ,l\utlll,r <11µbodJmClll pmv1tlo:. lor the use of diclofenac
                                                                     f()l'll1ul1~i,,us ,in, npt>lleJ topic~lly. lu v11t'ious aspecls, the J!.cl
~otlh,m In the prep:u:ulibo of a ~:'Uc11men1 _ror !.he w-1ume111                       Ill"'-' applied twire duily arul Ibo p.iui cun be due
or pulu. u," ~lcrunctii c1>mrn•111l'" gel l~nnuJ_nilno onm- tofornmlnlioru;
                                                                         t•&Ll.'Qarthrhis.
pcit<ini;, colll'istlng c«sanlial ly of, l'U' lu11,1sLing ot:     lS
                                                                        ·1 uu,;e uud other obja:u.. embodi111ems. and odvamuges
   (i) dl<:lofcnuc -"'ilium:
                                                                     will become more appruonL \\ hon root! with tho ligmcs untl
    (li)DMSO;                                                        detailed.descriptio11 which follow.
   (ii) t:ll1a110!;
    (ill) ~r,,pyleoe glyool;
    (v) ,1 tluc!renin1,1 og.mt.                                        10
     (vi) op(i,,aalzy e,lyto1,1J; ~nd
    (vii} WECCr.                                                                    BRIEF DF.$CRJPTTONOFTHE DRA\1/JNGS
    in ye! 11 rurther emboclimeut, lltopreseot ioventioaprovides
a 11~1 fcumt1lotin11 "omprising, consMing ..;:;scoH,tlly of; ur
tousisting of: mJlclo:!imnc sudiulll solution Wld uLlen~L unc 25              fTIG. I .slu1ws a hnrgmph offluK rateo fl fl!C 11ml i•VI' gals.
thickening agenl, which can be i;electeLI (him celhill/Se puly-           Frdut tlll.fa~iuu cells we"' i.loSCll at 15 ml', rer l'raM, ,<!.II.
mer, a carbomer polymer, a corbomer derivative, o cellulose                   FIG. 2 shows a bur grn!Jh ur llux ru1a or 1,\elS muJu wilh
derivative, polyvinyl alcohol, polmramers, polysaccharides,               Carbopol 981 and Uhrcz 10. Fra1.12. dilll1sion gels were dosed
and mixtures thereof.                                                     with 200 µl per Franz cell.
     In ao aspect of this embodiment, the diclofenac sodium JO                PJG. 3 shows a bar graph of flux rate of carbopol 97 l and
solution comprises, consists essentially of, or consists of:              carbopol 981 gels. l'mnz diffusion cells were dosed al 50 µI
     (i) diclofeuac sodium;                                               per cell.
     (ii)DMSO;
                                                                              PlG. 4 shows a bar graph of flux rate of various gels and a
     (ii) "1Jumol;
                                                                       JS crimpamtlve liquid formulation. Fruoz cells were dosed al 10
     (iii) propylene glyco~
     (iv) optionally glycerol: and                                        Ill& pee franz celL
     (v)water.                                                                PIG, 5 shows a bar graphiJJustrntiog the effec1ofthepHof
     ln an aspect of the above embodimcois, tbe thickening                various gels and a comparlllive liquid formulation on l111x
agent~ tian be selected from cellulose polym~rs, ca.rbomer                one. FrallZ diffus.ion cells were dosed at 7 mg per cell.
polymers, a carbomer derivative, a cellulose derivative, poly· 40             FlO, 6 show~a bargraphoftlux rates of various gels. Franz
vinyl alcohol, poloxamers, polysaccharides, and mixtures                  cells were dosed at 7 mg per Franz cell,
lhert<of.
                                                                              FIG 1~howsa hargmphoffluxratcsofvarious diclofenac
     In m, oupec:I of the abow g~I ..."tlibodimeui,,, tlick1fellllc
                                                                          funuulntlon.s, The comparative liquid formulaliou (1 .5%
.odium ,, present at 1-5% ,v/w.suc:has J ,2. 3, 4, or 5% wlw;
                                                                          .JicloJerwc s,1,llunt) was dosed at 20 mg per Franz cell,
DMI\Oi.sp=1nat3()..(i0"/4w/w;eUu111<1I issire&:ntat 1-50% ~j
                                                                          S11farui,c® (u c:onu:nercially available 3% diclofcnac sodimu
wlw; P[l)r>.Yl"-'1~,glyool h; pr..-sc111 ot l-15% wlw: g1yu.,rol fo       ge1)wa!i d1.mid at 10 mg per Franz cell, and a formulation of
[>L\liumt al 0-15% wlw, 11 tbiokeuing ogonl is preaent ~ueh llla1
                                                                          the invcntlun, 17'14/2, was dosed at 15 mg per Franz diffusion
ll\e end visca~i1y of the e,cl 1s hctwt:cJ1 IO and 5COOO ccnti~
                                                                          cell, At tlti, dosing, all cells were dosed with equivalent
po1~e. amlw11lcr ls11dded remake J 00%w/w. Ln otlJeraspec~.
                                                                          amow1ts of diclo(enac sodium,
glyc~l is present a1 0-4% wlw. In further a~pects. no gJyc- w
cro1 ,s present.                                                              PIO 8 sbowK a bar grap,h of flux rales in multidosing
     lo another n5pecc ur lhe abovtJ embodiu11,11l,;1 cliclofcnac         1a:XJ1"rit111:111s. Tue oompUJ:.Uiw liq1tid Jimulnaliou ww, do6ed
,odium_is pn.,ll(..•fll al 2% w/w; 11MSO is prcscnltll 45.5¾ w/w;         ni O.l) mg pl.'r l'.rtlill'. cell al 0, 4, 8, and 12 bn;, A 1'oru1ulntluu
eUtnnol lB prosinl ut 2:¼-29"/., w/wj {>r<>pylcnc 11ly~t>I 1< prei;ent    of tb.e lnveotJon, I' 14i2, W!IS dosed Ill I .S mgp~rPnmt c:.clt nl
Ot 10-12% wlw-, hy<lrm<yrriir,yloelhllosc(TTYI 19) is present " 0aod(ib.~.
nt 0-6% w/w; glycc1'0I I, p-nt at 1)-4%, and water ii; added                   FIG. 9 s_bows a bargrapl1 <1fJlux r:1lesof v-dl'loutclicl,1Ji.'lwe
to nu1ke iOO'Yu '1/1,v 1n olheruspecls, I.here is no glycerolin lhe        formulations. Fr= cells were dosed at 20 mg per cell.
ge1Iom1uln1Jt1i1. Jo Jurt.ber aspecis, theuud vi,cosiiy oftbe gel             PIG. 10 shows a bar graph of clataoo diclofenac flux rates
1• S00-~000 ceulipolsc,
                                                                          from gel1 ilisdo.~ed in Uaboota et nL and gels of this invcn-
r A feat~re oflhe 1LboVc gcl fonnuloUon~ Is chat when aucb oo liun. Fr-J1lz cell$ were dosed al 4 mg per cell.
 0
    1lnUla11uusen'lbJJplled ro u,e~kia, tbcdJ)'lngnm ls q11iekcr
ijlld_~dconal Oux i~ liighe:rthnn pte\/lQ1.Ullyduscdbcu ~o,n-                 \IIG. JJ sho,~,; lhe rnying profile over time of three gel
~llll11Joni:., $Uch '" Us,i,,d io U,S, C•aL Nm. 4 ,575,5 15 and            r,,r.mulntinn• ,1mi one liquid formulation uf diclofeoac
                                                                          sodium,
r/W"n "'=••'Cl
. ,652,5S7 Additlmllll ie~lutes of the rrefcm,d (nnuu1'111ions
      111de               degn,dtillon of diclofenac sodium. which 65
       _ des by lt.>S; 1'111110,04% nver lllt>COtlfSe of6 molllhs and
                                                                               fllG. 12 shows tbe in vivo steady state plasma coocenua-
                                                                           tious of diclofonac sodium after adminislTation of either a
   111i 11rIi 0-H}.{J, !hr example uround pl'l 9.0.                        liquid or gel fonuulstioo.




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                                                                                                                                            HZNPENN_00035355

                                                                    APPX249
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                                                                US 9,066,913 B2
                                    7                                                                                  8
    DBTAILED D£SCRIP17ON OP THE INVENTION                                             The present i11vontion provi.des gel fonnulations compris-
                                                                                 ing an active agent, preferably a non-steroidal anti-inflamma-
                               1. Definitions                                    tory drug or pharmaceutically acceptable salts thereof. Moro
                                                                                 preferably, the non-steroidal auti-inflll,l)lmatory is diclofenac,
                                    11           •                ll • 1 1 s whi<ili 1:1iu e11ut in II variety of,.wt f,m1is, uu;lud,op,sodium,
     'tll1,1 term "trruisdennul" i.s ~1:tl Llcrem lCI gcoew Yme ut e             pmassiullL and d:ie11lylamioc form~ . In u prcfo1wd embmli-
n process that occurs through tbe s~IIL The tcnnll "l11tlll;dcr-                 moot, 1bo sodlum snh of cliclofcnoc J.S w;ei.L Dicloferu1c
mnl" ;inti ••percutan\Ollu•" nrc uRcd miarol!ung,:,ably roligll·    th           ,;odium may bo pro$Cot in u rallgc oF opproxilmm:ly ll,1% It,
ou1 this ,pecifieotlou.                                     .                     IU%,51.1oh 11., I, 2, 3, 4, or 5%w/w. Usaof1hesodiumS11IJ ba~
     'rh I n:u ~iorie11I fo1T11ululion" is U¥C<l l'll.lICUJ ta (l,Ctte rd Uy 1u beeu .kil11,~o tu cr~te a challenge with respect to stability of
lllclu:~: formDilllion OW can be upplicd In skin tJr i ruuCQ~tl,                 .urnqueous gel in that higher salt concentrations can cause n
'lbplca.l fotnmlvtions ,m,y'. ror eit11m_ple,_be u~l tu oontcr                   bnl:1lu:!11wa iu U1e gel matrix through interaction wi1bceCUlin
1hcrupcu1ic beni:Jil IOtl pntnlDL tll'rusml!lic bom;hl~ t? eon·        8         thlc lnming ugcnt~.
srnm:r. Topical fpi,mululions c~o hi, n,;ed ror boLb iop,ca.l and                      lh noolbcr ,m,bodimcnr, the present iuveotiou includes a
\r11,tl5dermlll adotlni0Jm1i.oo of ~11bst11ncc~.                .            t ~ r,cn~lration cuhnric-0r. The penetration enhancer may be dim-
     The reno ·'topical ndministmlloo"' is usll<l ll'dcui ti> 11enct-            ethyl sulfoxide ("DMSO")orderivativesthercof. The DMSO
ally include ili-= deli\'cry nf u ~ubsumcc, $uch as ~ lhenipeutl·                may be pres.,n! in_ an amount by weight of 1% to 700/4, and
cal.ly nctiveag~"OLto ~,e sl1 in Qr? ~tlCaU~ed".t:1¥ou11f t11u ~(ly.             rnorc prcl'orably, between 25% aod 60%, such as 25, 30, 40,
     'The icon "lllltllid=al m.lm1111atrul1t1n 1~ Dl!Bd hc:rc1n lu               45, 50, 55, o_r, 60% w/w. Preferably, DMSO is used in lbe
 gl'nerully inc:luoo adouniBtmtlon Uirough the ikin. ['rnusdcr- 21,1 pre$1!111 1n\lCll!ion eta cooceatration of about40 to about 50%
m1114dmlru.<crodun 1$ nllen 'lflpUoo whern systemic deliv<'.ry                   w/w, 111cb.ss 41, 4'2, 43, 44, 45, 46, 47. 48, 49 and 50% and all
of 811 active is desired, although it n:iay also ~e -.i~ul _Jot                   fral.'Lillnsin hetweonsuchas44,44.5, 45,45.5,46, 46.5%,and
 deli\'ering art active to tissues underlymg the skin with mtru-                  lhc like.
 mu! systemic l).blmrplilln.                                                           [o certnin ernbodirncru.s 1 Lhe pruscaJ invcnllon includes a
     Toe term "penetration enhancer" isuscl'l heroin 10 gcncr- 2s lower nllarnol, sutb nq motrumol. ethanol, llmpt1ll\'II, buloaol
aJlv io~lud,•nuagijJlt llint w111i:ovc~ the Lr:u:isportofm,Jlc<lules             or mbal!JT.S thereof: 1n certain cmbodimco1s, lb\! aJlr.mol ls
 l(11c11 llli 11n ~diveagept (c.g,, n mi:dicinci it1111 nr lhrough the           pre);Cnl a1 ,1boul l 10 abn,1t 50'l'o, w/w. P1-ufct,thly, ethnuol is
skin. Various coodirioos may occur al dirreronl site.< in the                     u~...d .it abQut l-50% w/w, ,uc:b ai; l, 5, LO, 15, 20, 25,:10, 35,
 hlldy cllh~r Ill lhe akin or ool,;iw thr slilll c:r~~ a Jleed ro                 40, 45, or SO'M, w/w, and ulJ .lia~tioog in bet-ween.
 mrget. dclivcrY of ooropo!lOdR, l'or c!Qllllpk.; in u 1rci,1.meat lilr 10 1n certain emhodiments, the present invention includes a
 osteoarthritis, the delivery of the active ~<'Ill 11110 rulatlvely               pt1iyhydrlc olcohol. such as a glycol. Suitable glycols include
 deep underlying joint tissue may be necessary lO acl1icv1?                      cfhyli!ne J!,lyco~ propylene glycol, butylene &lycol, dipropy-
 lherapeutic benefit. 111us, a "penetration cnh~" may he                          lene glyool, h.:xnn~,triol and a combination thereof. E>cefer-
 used to assist in the delivery ofan activcag~nl diccclly lo the                  nbly, propyl,.,.ot: glycol is used al about at 1-15% w/w,suchas
 skinoronderlyingtlssucoriudircctly loU1-,,,1cuJ thedlSllasc 11 1,2. 3. 4,S, 6, 7, ll, 9, 10, 11, 12, 13, 14, or 15% wlw,andall
 through systernicdistribuiion. A penein11it10 c11lwncer tIIB)' be                rrncllons in b~tw~en.
 a -pllre substance or may =prise a mixture of diftcrent                               lo certain embodiments, !he present invention inoludes
chemirol untit1cs .                                                               11,lycerol (also referred to herein as glycerine) at a concentra-
      Thu term "Onlle dosing" is usedbereio lo generally include                  tiol1 of0-12% w/w, Preferably, glycc.rol is used at0-4% w/w,
 an application c,f a limited rese(V(lir ol' ru, oc:fr,c. ugcmr. Tue 40 sueh asO l 2 3. or 4% \v/w ~nd nil Cnic1jci0s Lil between In
 reserrolrof~lll ~ctjvi,ll_gonl isdepl~\edwith time l~dj~ tO 8                    S<)rue embodt.;,entS,     Rr> g))'C~ttll j~ usod Ill lheformuJii\JJ)Q
                ur
 lllpoonll, aft th.- jl(lLiW absorption rok after a maximum                            In 3 pref=oo erubod ,uienl, lbe p1"Bent inve111Jon pcov1dcs
 ab11('rp11ouroteluc,,a(ll!d.                                                     8 formulation comprising a diclofenac solution and at least
  , °TTI<' tern1 ".infinite dullinif iG t.u:cd lwreii.t tu l!,eueru1Jy            one 1Meki!niog agent lo mnke a 11,cl. TI1c. at lrost nnll 1hicken-
  111cJiJd1: an •p~lkmliQn o'.n Jnrg.: ro.~crv11lrn~ an ?Clive ogi:r,t. 4s lug ugWI\ of u,c present lnvco.llon may bean ocrylic polymer
 1'be ~~ervo1r 1~ uni ~1grullcruilly depicted w,tll tune, lhcr<:bY                (for exrunple, outopol polymers, Nov<X111 poJyc;1rbophilK
 pl.\W11li~ ~ IOJJg Term, cc,n.uuuous stei,dy sr.ue of Ective                     alld l'timtll<:u polyuh,d.:: cmulsif.im irva ilable1..-ommerci,illy
 ObSl>rptiun,                                                                      from Noveon Inc. llf Cleveland, Oblu), an ltllr)'lk l)OLYJIU!r
      Ats1u;t:d hcrcin, die teuu "lll.111111ara(iv,;, Ji(luid furmatioo~(,r       t.k•,rlvaiiv", u ceUult1,e !)l'Jlyru.,1, u ,;t1lluiOli<' 11\'IYJJllll' dariva-
 "comparnt1ve" refers 10 a fcmmilotion such ns thn1 uQ;;cribcd so 1iva, polyvinyl ;,lcohol, poloxnmer.i. polysncclmridc,; ur mill-
  ~ IL<; Pnl. No•. <1,S75,S15 lllld -t,G52,5S7 ctlQlU6tillg of 1.5%               11wes thereof. T're1erobly the 111 lcast one tl!fckcnln& ag.l'nt in
 diclofc,,ac socliU1U. 4S ..5.% di1.t1,;thyls111roxido, 11.79%, elha-             ltvdrox:ypropylcellnlose(JU'C) usod Hllt.~b ibnJ thceotl vbr:o~-
 nol, I I .2')~ propylonc glycol. I J.2.% jllyccrino, und water.                  lty ,s between JOllJ!d !\O(IOO centlr,olse(cps). Moreprefcrnbly
                                                                                   the end viscosity is b~-twe.:u 500 OJ1d 20000 cps.
                                                                              ss       The present gel fornmlation may optionally include at least
                                                                                  one antioxidant and/or one chelating agent.
                           Il. Gel Foonulations                                        Preferred antioxidants for use in the present invention may
                                                                                   be selected from the group consisting of butylated hydroxy-
   I. t ,1rnoal]j)nts oflhe Gel Fbnnullitious                                      10lueoe (BH1), bulylated hydroxyanisole (BHA), ascorbyl
      ~· o,'?"r ro r,rovlJe II diciol't,nnc sodlrtm gel formulation 60 linolcate, ~corbyl dipalmillltc, ascorbyl tocopherol maleute,
  hovius 1n111mved prul)<lrties l>I' drying time, increased tmns-                  calciwnascorbate, carotenoids, kojic acid, tbioglycolic ac id,
  ~~al O!JJt nod 11,reaierplnnmaook.iwitlc absorption in vivo,                     tocopherol, tocopbcrol acetate, tocophcreth-5, tocophereth-
    Wier V1Seu•i1y, good ndh.:rC11cc tl'> the skin, and ready                      12, tocophered1-!8, tocoplleretb-80, and mixtures t!K1reo[
  ~Pre:rdtthility, wWle mofo1nining mobility over time, !he                             Preferred chelating agents may be selected from the group
  uwelllor,; buve dfacovcrod Ihm a surpriRingly advantageous ~s consisting ofethylenediamine tetrnacetic acid (EDTA), diam-
  COrnhhinlion oflhe JbJl,,winl', crunponeot,; can be used in the                  monium EDTA, dipotassilllll BDTA, calcium disodium
  l•rc1iun1rkiu ofllic ll,eJ comp,;isit:ioos of Ute present invention.             EDTA, HEDTA, 1'EA-BDTA, tetrasodium EDTA. triputus·




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                                                                                                                                                         HZNPENN_00035356

                                                                          APPX250
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                                                              US 9,066,913 B2
                                   9                                                                                10
,Ju,u 8 0·1:o\. ui~adium pllll~~balc, dl/l~lllo.mum :ittnl~'.                       l,) VJsco,1ty
 •ahlctuno acitl. J!lllaCll,lnmk ~1;1d, glµ ?ol'llC _a~i.1, glu,uromc               li1 illlOlher cmbo(lltneUl, 1be ['(t!SC{JI invention prO\lldc.!I a
!! ., h • nc'id ~•chx.le11.trio paiassmin c1trflle, ~ou1ssl11m                   l!t)I lhrruuln1foJ1 comptilling a .oon•steroklal aotl-iollumma-
tte1u. uunc                                                                                                                           ~                   J
JJIJTMl>, i(>diimt''"'Jcltnlle, sodluoi
                                   '            ,
                                          f!DTMP,     .nod m1xlritt'$             tory tlmj! (N''    ·l        d I          , L! •-
                                                                                                  ;;,,\ IJ) fin Ill cas1 OM =c.:emng agent, ,ne go
                                                                                                                                                  ....

                                                                               s forlll1ilnliu11 bw:ing. 11 vi~rosi Ly uf ul le.isl l 00 c:P. P111ftr1ibly,
 lli~:~iilon, llic toplciu fol'111ulntions uJ' ille 1ires11n1 !oven-              thQ gel formulation bas a viscosity of at least 500 cP. More
 (ion can..ul~o ,:mmprl1te u plJ ml_rus1ing ~&u111. ln.on_e parti~-ular           preferably, lhe gel follllulation has a viscosity of at least I 000
(.'luhOdirueot. tlte pI111djusliu11, ugeru.1s a bllse.:,;wmblc p~f                cP. In other embodiments, th<' viS()OSity is 500().10,000,
  ,dju.tmg bascr 1Dclud~ biaar},WJ11lei;, carb111U1.tes,. aod                     J0,000-15,000.or 15,000-20,000cP
1bydroiticles sitl'b l\S 11lk!.lli or ulknl'.n"clirth mctu( l1yllrol(.ldeo,   iO      111 ,1 lurtber embUdlruen.l, tlle present invention provides a
 well 116 ,r:111ShiW1 mu111I bydrmude~. t\Ll~llllVoly, ~Jc pl r                   <liclofenac gel formulation comprising a diclofeoac solution
;:idj~slillg fl gent ,;uiL also 1,e an ac,cl, an m:1d salt, m D11xU1ce~           and at least one thickening agent, the gel formulation having
 illerw.f. E'uclber. the pH :,Jj~•tlng ngcnl cnn ~lsn hea bulfer.                 a viscosity of around 1000 cP aod II flu,c of at least 0.2
                                                                                            1
 l>lJirable butlers Include cllmtt!/cilLic aoid bulTc<>, acowtc/              11 J.tg/cm /llusdetconined         by the muhlplcflnitc closcPn:mzcell
 acenr 11eld bun'ers, pbusplmic/phosphorlc noid bu!Ten;, lor·                     pruwdurc (2.5 wl!,lc1n1 m Olllld 6 boun;) at 24 h0111-,;.
 lll.ilc/fow,iCIJctd hullers. prupi9oatc/llft!Pionic 11okl bufle.13,                  c) Stability
 loctate/lir-tic ocitl bu ffcn;. C'Jrbouate/,:urbo.uic nc,d bn:Jfcrs,                 The stability of a drug product composiiion can have a
 atnrunnlom/onurumin l'mffers, ell(l lho like. 'lbe pRaJjusting                   sigoifkant impact on the length and cost of drug develop·
 ugei,tJs prescnl In an omuuol .1111iclet11 Ill ndju~t lbe pll of lhe         !O mcnt, !he DBture of the sruclies required oo support regulatory
 compm;illon m b~twcc.n abt\ul pA 4.0 lo about ID.O. ruorc                        submissions, aod the ul1ima1c safety and approvability.
  prefemblynboutp8 7,0 lnahout 9 5. lncertninambodimen.Ui,                            It is important for instance to min.lmiic lhe amount of
 the 1u:a.1 djusled rA of lhe admixed e1imp1Iuo1Is is heiween 8                    impurities or degradation products that follll over time due to
 and IO, ~uch 01 11, witl\out lhe nCL'Cl lbr ili1< adil.i1101rnf any pTI           iJ1teractions between lbe wrious ingredients in a COIDposl·
 11djusrl~1,111goots.                                                         2S tioo.1'his onn bo ponicularly important io compositions that
 l . Cl1tlrll111eru;tics of the Oel Formulation                                   o~ designed to increase skin pcrmonhility.
     a) T.ransdermal Plmc                                                             Thus, in some embodiments, die ptcilllll invention pro-
      As shown below in the Examples, the present invention                        vidcs a diclofcnac sodium gel formulation. lhnl degrades by
  provttlcsdiclur1:11uc socbum geU"t>rn,ulatl<Jns that d.i,;pJay bur-             Jes$ than I% (WCf the coun,c or 6 month.sat roonuempetnntrc.
  pl'isJnsly ettcc1ivu rmcs of1rnnsdermnl llu,- when l'<lmpared               30 Mote pNfcrubly, the rate of uC{!flldnfioo ls f;:ss tbun 0$. ().1!,
  to previously described formulations.                                            0.7, 0.6, 0.5, 0.4. 0.3, 0.2, or less tluul 0.1%, and all frac1ioDS
      Accordingly, in one embodiment, the present gel formula·                    1n between, ovCI' I.be course of 6 months al room lemperatnre.
  !ioncomprises a non-steroidal anti-inflammatory and at least                        d) Drying Time
  unc thicki:a11Dg ag_cul and having a llnx, as <lcteonioaJ by a              35
                                                                                       l'tc:~live to prevlmisly disc1Qsed composiliorul, •mch Ill!
  Uoii.e d11,;e Franz cell procecJUre, e..1ual 10 orsreoM wan the                  lhuse in U.S. Pa1. N<>s. 4,5'75,SJS oud 4,652,557 (l=ed
  flux of a comparative liquid fon'Dulalion. Preferably, the flux                  herein as "comparative liquid formulation" or "compe.ra-
  is gmtter than lhe flux of the comparative liquid formulation.                   live"), the compositions of the invention dry qtticker while
  More prefernbly, the flux is at least J.5 limes greater than the                 achievingllighcr trnosdermal flux of tl\e drug. Jt is surprising
  lluxofthecomparativeliquidfomutl~tion..ln.olberwords,thc                     40 that higher flux rate and quicker drying cwi be achieved
  ratio of: (i) the fl.u,c of the gel formulation compri,1og the                   together as skin hydration is known lo increase traosdennal
 noo-steroidm anti-inllammntory and at least one thickenillg                       flux or penetration. The drying of the skin caused by rapid
  agent to (ii} the flmc. of the comparative liquid formulation is                 evaporation would lend to reduce the transdennal transport of
  preferablygreatcrtbanJ.O,andmorcpreferablyatlcaslabout                           dnig remaining on the skin. The dryin& time difference is
 1.5.                                                                          45 evident when equal lllllOUllts of tl)etwo products are tesh,xl on
     1li ~ further•~nbocliment, Ll,e present 111vention furtl!f'rpro-              opposite limbs. Within thirty (30) minutes the compositions
 vlde~ o dh:!ofo11<1c sodium gel lbrmulalion 1:owprising a                         of the invention are almost completely dry wbcreas a sigoifi·
 l!lolof=c sullllion uod 01 lcosl ono !Llickmtlng ngcnr nnd                        cant amount of the previously described liquid fonnulatioo
 bavl111.4 Uilmcnsde1ennlns-J by LheJiollC' Fr.iw. cdl procedure                   remains.
 et least ,:,quivaleot ta the flux nfrhe diclofunno solmion nlon1>.           50       To compare1he drying times more quaotit,atively, slde-by-
 Prcf<_:rnbly, lhe dial11fumo !11.>dium gel formulaLiM 113, n tlt11t               side comparisons were conducled. To accomplish this, lbe
 ~I IS at llllL~t 2.1) times gr~'lltcr ~omp.ireJ lo lbe Jlnx of lbe                iovl.'nt(lCS measured the residual weight of foCOJulatioos by
 dielaiennc sodium soluLlun alone More ~refllrllbly, the                           placingcqualamounts(lOOmg)ofaprioranformulationand
 prc,.,;,,nt uiveaticn pruvides ~ diclnt'cnac wclium gel ln mnll~·                 c(!l11J1!1~ilions oftbe invention in weighing diN11es over1OCUJ 1
                                                                              55
 Lio11-baving 11 llux lhlll Is iii leas\ 4.0 limes ~lerC!'lWjlartu tg              a~s :111J weighing the 1J111oun1 rcmNtning nv,,r lime. U$lug
 lhe llux oJ tb., clicloflimao ~Drllwn ~ lutitm alone. htotbei·                     thi~metbodology,adifl'ereoceisimmed.ialelyooliceablc,and
 ':0 ttls, the ratio ul': (i) the tlux of t.bc dicln1e:nac ,odium gel               bccomcsdmmatically different by 4 honr.!!(Thble l L011d FIG.
 ! 0rmnlatfon 10 (ll) lbe ll1.111 ortbedlck,Jens,sodiUJll soluliou                111),
 is ul least ,.br,ut 1,0, ~rt:fon\bly 111 te.11,1 nht1a1 2.0, rnurc pref- 60 e} l'lw.m:iu~'llkioe1ic;s
 crnb1y al least nhout 4.0.                                                          A compnrilmo (If 1.br. absorption ot' diclnlhnac s11dinm of
      ~ H)IOffurth•rcmbodiruent, l11epreswit iJlveoLion provi1ks                  compositions oft.he invention and a comparable composition
 11
    dielofcnn,.. 1<Udium gel formtJlhLion rorupd~l.ng dicl.,fonoc                 from U.S. Pat. Nos. 4,575,515 and 4,652,557 was conducted
 ::ilum_~lid l1l lcust ooc1 h,cl;,:nlng 11gcr11,mc.l having~ llllX a~             lo animals, Tho gels of the invention were shown 10 have
   J't~~Rllti•-d hy the muJt, ple flnitedoSJ.1'& J'.:rll.llZ ,;ell pmce.dnt"l! 65 improved absorption on a per dose basis than the comparative
 1 0
 ' ruiat 2.;i tull/cll? .it Oun,16 heu.rs) c,fat 1-10.1 µIJllicl                  liquid compositions of these patents. In absolule term5, the
 cni ~t 24 honrs, prefurubly 111 leusl 0.2 ~1g/llr/c111~ al '24 lmufl.            clinical dose ofthe gels ofthe ioveotioo delivered a mnximum




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                                                                         APPX251
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                                                           lJS 9,066,913 B2
                               11                                                                                12
uLsct'\·Cd pla.:mll conaantrl1jjtlll (Cm-l Ol olwdy i;tatl.' of ti I         be useful for lhe lreatment of other chronic joint cliscases
u!!/ml nod nu ans under lh~Qurve (AllC) or5S4 ntml. luls                     charncierized by joint pain, degeneration of articular carti-
                                                                             lage, impair!ld movement, and stiffness. Snitablc joints
ClllflpAA,-d to 12 111?/llll nod J06 uwmJ for fub c~mpn.ruror
                                                                             include the kll<-'C, elbow, band, wrist and hip.
oompo~itiuos.                                ,              l    ·               Due to t.lie properties of higher flux and greo1er in vivo
    '11teso rcsuJI$ s11mk lo the propart1os (if the 'llelJ de Ill            abso.rp1iou, it ls believed thal tbe foJD1u lations of the present
d I' cdng, tbe uctive 1igo111.1]1c hisben,ombo~ for gal were                 invention can bclldministercd u1 lower dosing than previously
~ :even tlloul!,lt !hi.' si;,lutiort composi1luu wu~ dosed luur (4)          described fonnulatim1s, lh part1cular, it ls <)Xpected that lhe
tu\ies l'"r Jay ~olnl 5.2 111.I) mrnpnred to lw1ce (2) per Joy               compositions of the invention can be used al Lwice a day
((oh,I 4,o ml) fi,r ll1e gels.                                       10      doslllg or once ~ day dosing in the rrcaunen1 of OJ\. Uiis
                                                                             would represent a significant improvement as lower dosinJ¾ is
                                                                             nssociated with bellerpatienlcompllance, 11D important lbctor
                                                                             in trealing chronic conditions.
             ill Prepuroiiun of Gel formulations                                 S11i1ubleamoun1s per adminislration will generally depend
                                                                          11
                                                                             on the siw of the joint, which vw:ies per individual untl per
    lll unolhcr crrtbodlrnunl, Ll1e pr~eul iuvefllinn JlfO)lilJi,s .n        joint, however a s1ritnble umou.nl OJJly moge -f'mm 0.5 µI/cm'
method fur wulriug gel forn1ulolioas of uicloFcu~c ~!idiuro.                 to 4.0 µVcm 2 • Preferably the =ouot ranges from 2,0 tu 3.0
The got ronnuhtions oJ tlie r rn~n1 inveoriu,n ure rrcferably                ftl/cm 2 ,
rn,iQ" bv corryll:l!, Qui the followang steps: (1) diijrMllng Lbe                Compositions of the pres.:nl invention may, lf desired, be
thlckeuor. derlvallve tbe.reof aod/nr mixture ll1ureol"ln dim·               rrescnlcd iu u buttlo orjnr or other co111ain~r appmv1.'Cl by the
                                                                          20
c1hyl i;t,iraxklo and ~tlrriug f<1r I hour, (ii) dl~olving                   FDA, which may conlllln one or moro. unit dosage ronns
,1iclolliu.1e sodium 111 ao aqueo\.lS alct1bol tllixture (e,g., an           containing Lhe nctive ingredient. The pack or dispenser m11y
etbanol/W'dtcrmiJcture): (iii) dispen;iog propylene glycol and               also be accompanied by a noliceassociotecl with !he container
g lyot.>r11l )/ilo the NSAJD solution from (ii); and civ) mhting              in a form prescribed by a govemmenl;il agency rL-gnlating the
tbe resuliln11, NSAID solution iJ1to die thickeno!!'tlimethyl             ~1 rrumufac1t1re, use or sale of [!hurm.1()euticuls, whicb 110111,:e
suUl>llide blend and stirring for 1 hour 111 umbient tempcra-                 intlicmcs approval by th<? agencr or the tbnn of lhe composi-
twe, Alternatively, the gel formulations of the presenL inven-                tions for human or veterinary admioistrntipn, ::luch notice, for
tiol\ may be made by C81T}'ing_ uut the following slcp&: (i)                  cX11mple, may be of labeling approved by the U.S. f-ood and
dlssolving lhe NSAJD (e.g., diclofonac sodium) in an alcohol                  Dn1gJ\.dminis1 ra Lion for prescription dnigs, orofan approved
solu1ion ofOMSO (e.g., ao etlllmol/dimethyl sulfoxidc mix-                30 product insert. Compusiti.lllS com.pm1ing n prerarni ion oft.he
 ture); (ii) dispersing the thickener, derivative lhereof and/or             loveutiuu fonuul~led in o com;palible pb,mnaccubl.!ll.l au:rier
miicture U1creof in a solution of w~ter/propylcne glycol/glyc-               may also be prL'f)aretl, placed in an appmprialc cootniner, and
 erol and stirring for 1 hour; (iii) mixing the NSAID solution                labeled for trcnlJJlcnt of an indicated condilion.
.from (1) into the Lhickeuer blend from (ii) and stirring for l                  ·n1efollowin11, i:irnmples are offered to illustrale, bul not 10
 hour Ill amblelll temp.,nnuru. Heating can also be used during           n 1imi1. the claimed invention,
the$e mlxfog processes to help facilitate the gel format iun,
     D1clofell1lc sodium may be present in a mnge of nrpro~i-
 mately 0.1% lo 10% wlw, such as 0.5, 1.0, 1.5, 2.0, 2.5, 3,0,
 3.5, 4,0, 5.0, 6.0, 7,0, ll.0. and 9,0% w/w.                                                               V l.ixrunple$

                                                                                                             Example I

                       IV Mcth1)c.l,; of Use                                                         Meterlals and Methods

  Compositions of the invention arc pnrt,cularly suited fc,r                     Table I provides a list ufthe material• used intbe examples
use iu trcn1iog uste011Jihrili1, (OA) chmnielllly. They may also               provide<! bt1low:
                                                                                        TABLE !
                                                                                          MA1cn1ur

                                      Ahnt       ChcmicAI                                FW      Source                Vcuoorll           (.A~

                                      H IV ,     au1yt.ta! hydro,y..msole               )80.1~   S•sma                 9 12B              1:Mll3·1i;-<
                                      n, 11      Butyla!cd hytlro>.yloluene.            Wl.36    Spcclrum              mu IQ-07           1211-17..()
                                      Carb!l4U   COJbopol 9411                                   Novticlh              C.unopol 940       9003 0 1-4
                                      Carb011    COJtiopOl 971                                   No-vcun               a,,1..,pol 971     \1001-ut~l
                                      Cllfb974   C4tbopol974                                     No~ou                 au1><,pol Y)4      900J 01·~
                                      Ca,bV8l    Gubop01981                                      Now.,-wJ              c,irtxo,-ol 9g 1   9<)QJ-(fl-4
                                      CwblJ42    Cllrbopol 1342                                  NOVt"OII              Du-bopol L142 9001 OI..\
                                      Olclo       J) lclofonllC Sod.tum                 118 I    ~bodum                                   15307-79 ~
                                      DY.SO      Dimolhyl SUlloxide (USP/                78.     Oa:ylonl              FM·l9SI            67-08-S
                                      r,DTA      DiJOdi11m                                       VWR                   MK13~              olk l-92-6
                                                 Etbytr.oc'.1iamlncl.elraaethl!c
                                                 Olhyrl,•tc
                                      E,OH        llthonol ( llSI')                      46.!    SJ,.'C'Oll\UD         OJlltS             64-17,S
                                      Gly        Gly<:enn{USP)                           92.l    Pzoctor &. Gamt1J~    S11pcrol V         !6,SI-S
                                      Gnsr       0Ull!"Jitlm                                     sree1rutn             GI044              90tlll-11H>




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                                                     1:ABLI! l-con1inued
                                                            l\'laceriluil

    Abbr       Cb.mucaJ                                    11W         Sour-;c           \'cmd(>r •      CAS

    FJIJC'     liydro,ye:byl ccllulo,c -                               Her.:uJ.-.        N•lmllol 250 M i>tl04-62•0
               N•t,..ol~OM
    Bl'MC      Hyd•>X)llltt>l'Yl mcth,Vl cellul0<a                     IJowChcmi<lll     Motboccl 84M 9004-6$,J
    11)'117    HyJroxprcpyl cclluloR                     ~S.OU()       Spcclrnm          ll)';J7      9004-64-2
    f!Y119     HydroxptOj!yt cellu!o,c                  370,00U        .Spc,cl.rtUQ      HYI I~       9004-64-2
    Loc11      Locuslll""'lgUrn                                        Spectrum          l1 135       'IOII0-40•2
    Peg.JOO    Poly(c~'iyioOJIO glycol) JOO [USP)         -JOO         Spc;cmun          POIO~        15311-68-3
    ro         Propylene C,i,wl (USP)                        76.t      DQwCheuucAI                    .17-55-6
    PVA        PolVYih)II al~ohot                            44.l      Sign1n            Ml386        ?002-89-5
    PVI'       Polyvinyl pyr.rofit.lohu                 )OIJ,000       Sil!m>            81,440       lX)'n.J9-8
    J'.lll?    ,,~J\illllet 407                                        ~f'C¢tl'\lUI      PIJ26        90l1J.11 ,,
    Ulau.W     IJllh:210                                               Naveot            Utt,,,,10    9tl\)) 01-4




        The general methodology for preparation of each example              mode in six-fold replicates. The concunlratioo of dfolofcn~c
     pmvid<ld is as follows, 1.tnless othurwise indicated,                   in 1he ;;amples wM mw lyro:d 11,'iug 11 igll pcr 01rmanco liquid
        Pinal wcigh1 for each formulation wa~ 25 g prepared in zo chromnlogmphy. Thi!. inventive fonm1Ja11oru performed bet-
     S0-111L glass vials. Vortexing or magnetic stir bars were used          ter lhlm lhe t'C)JDpatl'lllH' Ol lhe limi~ of fioile doslng- linit~
     lo mix the gels,                                                        dosing being u ruut h b.i11erpr001c!Qr of the pC'rfortmmce c:,fa
        Viscosity was measured at22° C. using Brookfield DY-Ill              fonnnlutioa in ao in vivo sim11tion as oppo,;ed to infinite
    Ultra, prugrammahlc Rheomctcr wilh LV Spindle #31 ai 10 .1.s dosing.
     rpm. for stability tes1ing, gels were stured al wnbicnt rcm-
     pcratiire or in an incubator al 50° C. Discoloration or changes
     in appearance Jncludiog phase .separnlion over time were
     evaluated.                                                                    A) Gel Forrnulalions Derived frum n Comparative
                                                                         10                         Li<1uid Base Solution
        n,e coucentratioa of(hc DMSO w~s consistent io all o rt11e
     expcdmenls (45.5% w/w). Propylene glycol was at either 11
     or 11.2% w/w. Uthruml concenu-ution varioo from IJ% LO
                                                                                                           Example 2
    30% w/w. Glycerol concentrations were varied from O to
     11,2% w/w. The djclo!enac sodium concentration wus at ;,
    either 1.5% (wiwl or 2% (w/w), Water was adjusted.II) com-
                                                                                    Gel Formulations Using V~rious Thickener., in a
    pcnsme for the runount of innctives, thickening ~gomts, ond                     Comparative l .iquid Pommlntion Base Solution
    diclofcnac sodittm present in solution.
        Franz dlJJusion cell cxpetimen1s were used lo analyze                  lniti ally,.several thickeners including carbomers,polyviny!
                                                                         40
    dlclofcnac sodium flux rates of varying gel formulations                 pyrrolidone. locust gum, ccllnlose polymers and polyvrnyl
    across a substrate membrane, l"r-,mz.diffi1sinn cells area com-         alcohol were tested for lheir effectiveness al fonning a
    mon and well known method for measuring lransdcrmol flux                didofonac socli11m gel using the comparJtive liquid formula-
    r:ites. The general Franz cell procedure is described in Franz.         lion as b base solution. In the gel formulatious of this
    T. .I., Percutaneous absorption: on the rcleV',lllCe of in vitro 45 Example, a comparative liquid formulation solulion was pro-
    data, J Invest Dem,, 64: I 90-195 (J 975). 'The following was           d\Jccd and a thickener was !hen ac.kled directly lo this base. la
    the methodology used in the present Examples.                           urd<.-r 10 focilitAte lhc mcorpomtion of the 1bickener, sooica-
        Franz cells with a 3 rnJ receplor well volume were used in          lion aod heating (al 60° C.), along wlth vigorous vurtc,Gng/
    conjunction with split thickness cadaver skin (0.015"-0.018",           homogenization were performed.
    AUoSonn::t!), The donor well had ,marea of-0.5 cm'. Rccep- 50 Some 1hlckeaers, specifically guar gum, locust beaJ1 J:\Ulll,
    tor wells were filled with isorouic phosphate buflcrod saline           methocc! (HPMC), polyvinyl alcohol, and poloxamer ~07
    (PBS) doped with 0.!ll % sodium audc. The flanges of lhe                failed In fonn slablc gels. Jn particular, immediatosepamtion,
    FrallZ cells were coaled with vacuwn grease to etisure ~                inefficient U,ic.kening. and insolubility of the thickeners was
    complete seal and were clamped together with um form pres- ss not-cd.. Gels were formed lbal s_howcd initial stability wi1J1
    sure using a pinch c:lrunp (SS I/ JS V\VR 80073-l:50). After            sevc;dl cellulose polymers jnclucling hydroxycrhyl cellulose
    [•nm·~ collR were nsstmbled, lw: skin Wlb ull11,ved 111 pr.:-           (Natrosol HHX) and hy<lroxypropylcellulose (HY I 19).
    bydr-Jlt- for45 wiumes with PnS. J>BS wn, lhcn.removcd aOil             Olhert11kkcners that showed an 1nitially stable gd werePVP,
    an appropria1c amount of formulalion is added tt, tile ,;kin,           and ocrylic p0lymer thickeners.
    Do~i,ig l<:'vuJs vuricd iml!I 2 Olglctri' (considered l:inito dose) 611 The specifl~ of gel fonnulation for each thickener are pro-
                    1
    lo ~00 lllg/t m (cousidered JJ11.wltedosc) ,l'he donor well was         vided below:
    ~ C.ppe<l 10 flrcVt:,1}1 eviiporatltw.. R~ceptor ,veils or u,c             HJ.le thickening agc111s: A lower weight molecular wdgbt
    frrur,: cells were 11111iul11Ln~>d ot 3?" C:. (t<l!Opur:ltuN on dill    hydroxyc1hyl ccll 11ld11C (~pcofncally Hydruxyelhyl Cell)1Josc
    surf~~" ,,r Ille skin Is -31" C.) in a ~tini11g city blndc with 65 ([ !EC) TyJJ'· 250 M Pllltrm (NalrosaJu11)) was dispersed JO '.},c
    COQtiuuol agl1nU,1u vi.i a stir bar. S!U)'1p!1!8 w1;1re t.lrawn lrmn    mlxrure ill' dimethyl ~u llhKiclc, p.rupylcuo gl}'l;(II, glyoonne
    lbe ra-ept<irwcl13 nt varyingtlme poinls. Mcasu~meot. were:             uod w a ler ttud. al lowed to swell lbr nboul I huur. [)iclvfcrulc




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                                                                        us 9,066,913 82
                                           15                                                                                    16
   -IOdium wa1 dis,,olved in otl1nnol and oddcd tu !ht- m CJ            glyoc,I mnttun:i (3) JiiJ"'rslng W)'C<'f'l'I ;ru,, th~ J.clorenllC
  ~olsw,1 blend- to l'bmin n l1n.1l roamululk•n. Allbougb I me
                                                                        ,1111111011; aud (4) ml)(ing lilt' d1clofenm; solulion lnr.1lhupoly•
  2el., form relatively e:1sily und ctcrnous1ru100 good aux pro-
  m", I.he gels ere ycllowi~1 in colur and Ul'\! s-JSccptibJ-, t..1 llJer/dlru.:l!Jybuffmude blend, and >llirrmg fClt I 00111 nl nmb1-
  plvm: separal 1t1n uwr ~ended periods of slorage. Table 2 5 em 1empcratw-e. These methods of mixing can be earned out
 ~bows the compo'11i,Jus oru,~•.,. formuJ111lons, 1111d lhto result-    utmom tempcmture, orcJ()Vllted temperature ifdc~ircd. Vary-
  ing flux values of these compositions as cornpared with 11            ing carbopols were uH,d 10 rruike gels including Co.rbopol
 con1p.1ra1ive liquid formulahon are shown iu rJG J .                   1342, 941. 971. 1181, 974 and IJ!trez 10 (NoveorL Inc.) All
      PVP thickening agcnJs: P\ P "as addod ul 1ip t,, 8~. w/v
                                                                     In curbopol gel~ w,1re clear, proved stable 10 both. fn:c1.e-thaw
 aller nil oilier components <>f lh..: compum1ivo li,1111d l)n~e
 formulalion were mixed. PVP Jl,clS ore ,,!cur in nature, but           oyclu1i; am.I Incubation ul elevated temperature (50° C.) for
 suaer from an undesir.iblo tacky feel when Jl)ing. wblo 2              one ru.iulh,11ndhndgoodilowcbaracteris1ics Tabk-s 2, 1,and
 and flG. I show~ 1hccomp01,i1.ionandlllllCd:tlnfor1hisgcl 1n           ~ ;J.,w lbc ui ,mposition of d1ese gels, nnd FIGS l , 2, and J
 this ,•xumple, Fraru diffusion cells were dl)$ed 111 I !i lllB per l~ '!how thclrl'lllnlive Ou>1.A ijlableand•·k wgelcouldbe formed
 Franz cell. A,, con be seen in PIG. 1, PVP gels performed              o! catbopol cmJCentmtions of->0.3% w/w when making gels
 reasonably well. but their undesirable ~estbctic qualities do          wi1h J .5% w/w diclofennc sodium for gels with 2% w/w
 001 make them idC11l for a commercial cmhodimenl.                      diclofcnac sodium, ->0,9% w/w carbopol was aeeded to
                                   TABLE2

                        c..npo0<n!S or 18(" &lid i'Vl' pl, """" to ge!lCnlO
                                tho 0,,. raio daba ,h.,,.n on l'IG. J.

                                                        FcnnuJIUOJI !UUllo

                                   lio:lb    Heclb      PVPlb          PPJ4        Compult.a\o'e
 Pcrcant\8,CI ID                  Wl/~1¾ ,.V,.1~ w~'wt%               wu...,.,.      wtt-..,•,..
W111or                                       18.xJ
01111<(t,y1Su1£ox.J,·
                                   18.RI
                                   "5.S      4S.S
                                                        JUI
                                                        4<5            .,_j
                                                                       IR.JI           IUI
                                                                                      4$.}
l'n>py.ei:t g.1<0I                 IU           ll.2    11 l           11.2            11.2
F..tllanol                         1179         ll.7Q   11.79          11.79           lt,79
GJyann~                            11.2         11.2    11 .2          11.2            ll.2
Oi<lof<n"" Sodium                   15           IS      I.S           2                  l.l
Th1cktt11.1                        IIEC         imc-    ,vr      c.rt,,z,ol 971       DOIIO
W '1'011'. tluc.kcntr .idtd ID
li()JUUOII
                                    l I          I.J
                                                        •               I




   Carbopol thickening ageotS, Carbopol gels were formed 4 0 lllllke n stnblc gel The OllU!CI amounl
                                                                                                              of carbopol need.."'<! In
by: (1) dispcrsinsnn acrylic polymeriom II mixture ofwnler,          from a gel dep~m!ed on th!.' lype of c11rbopQI used.
glycerol, ~d propylene glycol fullowed.by~tirringfor1 b~uri              Por the formulations of Tobie 3, Fran, diffusion gel~ were
(~) rrcp~ng a second solution of 1.5,~ d1clofcna~ sodnun            dosed with 200 µJ per Franz cell C.arbopol gels uniformly
dissolved m ethanol illld Dt.lSO: (3) n111on11 the didufi:m,c 45               •
solurinn into the c:arbopol _plume. An :illllfflnte aicihncl for                                                     .             .
                                                                    sbowedrncrooscd tluxratc~nverthe~o01~llve~on11ulallo11
(01,nltJl! carbopul gels is os followi: ( I ) di~pcr.ing llJe i:ar- ($'-'C PIG. 2). Thicker gels (1.c gelsw1th h1gherwc,gh1 percent
b<1pol i.mo dimethyl .u.Umu~ and stimng fnr 1 hour, (21             carbopols) tended to have less flu,c 1han a compos1tino with 11
d~~h 1118 diclofannc sodium 111 nn ellwnol/wale.-fpropylune         lower weigh1 percentag.i of the .amc carbopol
                                                                                                             !:ABLE 3
                                                                                  Compo!l<IIIS•fll"lrma<lowizhC&rt><r<>l93l w!UI1ra 10
                                                                                     uffd to germ•s thtJ ftux mi! da,• fhtMa in tJG l
                                                                                                                    ltm11ujgJlq•l u.ffl)q


                                                          l'ua:ebi,,• Ill

                                                          Wuu
                                                          r>im<thyl SUlfo,odc
                                                                                    l'UA

                                                                                   IUI
                                                                                   45.5
                                                                                                   l'lJB
                                                                                  .,:;,,,,•~wc/,,;t 'K~l ...

                                                                                                   18.81
                                                                                                45.S
                                                                                                            PUC


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                                                                                                           ~s.s
                                                                                                                    -%
                                                                                                                     PIISI•


                                                                                                                     IUI
                                                                                                                     4S \
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                                                                                                                                 .. t,;,,-.
                                                                                                                                   111.81
                                                                                                                                   45.S
                                                                                                                                               1'981~
                                                                                                                                              wl/V,1,

                                                                                                                                               18.81
                                                                                                                                               45.S
                                                                                                                                                        Ccrapv.tivc.
                                                                                                                                                          ..,,.,.,%
                                                                                                                                                           18,81
                                                                                                                                                           4$.5
                                                          Propyi<&< 1lycol         11.2         t 1.2      11,2      JU            !l.2        11.2        I t.2
                                                          IUWIOI                   ll 79        11.1V      11.79     11.79         IL79        11.79       11.79
                                                          O:y<e:inc                112          11.l       11.2      11.2          11.2        11.2        11.2
                                                         O.clofc-oac. Sodium        I.S            I.S      I.S       J.S           1,5         u           I.S
                                                         Thick.eJlcr-              Ul1rc1.      lJIU'CZ    Ultn,z   Cvb9Rt       C'am98I      Cub981       DObt-
                                                         wNol % tbicktncr           o.90           LOJ      1.16       .90          t.06        1.n
                                                         ilddcdtoaoiution




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                                                                                                                                                              HZNPEN N_00035360

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                                                                           US 9,066,9 13 B2
                                          17                                                                                             18
    Antioxidants and chclaung agenls can :ilso beadd..-'d lu t)1c.-    I lyJroxy1,.-opylrellulosc gels wcia formed by mixing all
 crubopol, HEC, or PVP gels. The addiliun 111' ffi)'fA 10 cur-      Ilic Ulln!'ihtuem rarts and 11\cn adding the t~ckl11er al '!1e end
 hopol gels by i1solf ]e8ds to a slightly cloudy gel. nl-lA gel,    follc,wr.d by ~gitulion, The gel can also be Jnnncd by d1Spers-
 Lurned color with incub111ion al hlghur ll~np;irrnure ·1nc 111b,.  ing 1btc hydroxyprupykellulose in the uquc11us phu, e pnor to
 111tt of 13HT and EIJJ'.A. to carbopoJ gel, did Ml show uny s .ol~ent ruldiuon.
                                                                                          Bear cuo he used \0 f:tciHlitle gel fcrmaLion
 dibculorauon and telllllined ckar. !'or 111<, tonnula1iou.. uf     Hydroxyprupylcc)lulo~e gels were clelil' and Bowed easily
 Table 4, Pranz diffu.ion cclls were dosed al SO µI !)<!I' tell.     111")' n,nllJin titable for at least six month!, demonslratlng: no
 FIG. 3 Allows flux rates fl\,m 1hese gcls.J\tklitilll.lS nfchclo1- pha,c ,cl.)nn,1ion. negligible shill rn pH, und low amounts of
 ing ugellls and J)n..'SCMllive,, had no effect un l1u,r rates.     lk-grndruiM 111roucts (<0.04%). The 1lmo in FIGS. 4-9,
                                     TABl.1!'4
                 c:.impoa.n-.of1c1..,m1ew1th ~ 971 wwti.rol ~I.
                     p:;t, Httrt [" S:IILr-!c lhc fl!Jx ,,.... ,, la ..ilcwi,: m I to. l

                                                          J otmnialton MID£

                               rPSl                  PP5l                PP5J           c·ompo.ri,r1"C 2-...
 Putct.t..snln               "'1/wl Vii           w t/'W\~             WWI%                 W-./v.t¾
 W11<1                          q<                                        qs
 Oimclb)I Solfoi.,,,,
 ~vpyl,ne f!ly,ol
                              ~ss
                              I 1,2
                                                    4B"'
                                                     111
                                                                        45.5
                                                                        11.2
                                                                                                18.31
                                                                                                -u.,
                                                                                                11.2
 1l1hnol                      J 1,79                 11 79              )1.8                    ll.79
 Glyurino                     l l.2                  11.l               11.2                    11.J
D10Jofe11ao Sodium          2                         2                  2                       2




                                                                                                -
DEIT                       0.1                                           !:U
 EITTA                     0.0S                                          0.0,
Tti1dcu.o.r               ~'Ill                C&J',,......   •)11   c,ubopol 911
v..1/Ytt % ft,ckQc,         I                         I                  0.9



                        B . C'ompurutive ExamplCN                                               derived frum lbe fonnuJations ofTahles 5-10, indica1etha1 the
                                                                                           lO   hydroxypropylccllulose gel formulation.• of diclofonue
                                  Exumple'l
                                                                                                sodium of the present mvcnuou al!iO provide a 1111nsdo,nnaJ
     Compariron ofl ransd,•nnal Flux ofVnriou~ DMSO                                             flux mhl that ls as much as 4-fold higher limn o compara1ivc
      Gel f'onnula1ions Versus a Compunitive Liquid                                             liquid fonnulation.
                                 Formulation                                              lS
                                                                            Studic§ were performed ro 1lcterminc the rcla1ive trallSdcr-
    A ~ties ofdiclofcnuc gel fororulaliun, were made -.herein           mal tlu,, ofvarious diclofcnac gel formulatiuos oftbc presclll
 lhu ba.i: solotiun w,ui changed from the rnn1l'ar:11ive ha<e            inveolfon when com~'4l'Cd wnh n compamuvc liquid formu-
 fonuulaliun. III pnrtk11lar, the welgh1 1-crttrm tor rn,rylcn,..        lation of U.S. P.JI. Nos. 4,.57.5,51 S utld 4.652,557 ("Comparu-
 glycul. ~tlmuu'., i.;)ycl'finc, wntct, and diclufcnuc were varl.:u. 40 tivc" lo Tables 5-10).
                                                                                                 Accordingly, !he 1-ruttZ cell proccdllr<'
 lo these new fonnulallons, the weigh! pcrcen1 of the cotl!ltitu•
                                                                        described nbove wasus<'<I to compare diclnlenac tlux rules or
em chemicals wa~ as follows· 45.5% DMSO, 20-30%
 ethanol, 10.12% propyleoo glycol, 0-4% glycerine, 2¾                   various d1clofenac gel forrnula11on;; with compamtive liquid
diclofonac sodium, thickener and waler ..dded 10 I00'¾, w/w             tonnula111>ns.
    Several lhickcncr, \\'l!re tested in thi• new base .elution. A •s       For 1hc fommlntions of Table 5, FrJntcell> \\ere dosc<l at
11umhdr of thes!! lhlcl<cnm n,llcd lo form ~tablf gelir, In             10 mg iwr Pr:ruz ,-ell. A Dl'\V l!;lll {F l4/2) bas 1111 ,ihcred base
 po.rliuu lnr, corhorul gel~ did 01,1 1'tl111un st.ible llaw1..-Wr,
ccllt1losc gels We~ \llllfoauly ciu:e!Jve JI fonu iug g~b,;, '1'1e      solution t.lvcr the comparative liquid formulmion and demon-
mo,t ac'l!lhetically plco5ing of lhe&e gels was formed wilh             SlrJles both foster drying tune~ ond better flux kmetics (sec
hydroxypropylcellulose (liYI 17, HYJ 19 HYl21). These s, FIG. ~ ). The flux rntc,. for lhesc gels 1, nol llS high as the
gel. HprC".1d easily, w~n, uniI= inuuture, dried quickly, and           carbopol gels (F97 l), but 1he drying rate is substaruially
,1emon"1mK-d !llll•d llow ch11m~lerlRtic~.                              faster.


                                                                                            Componr,u uh.,..... SC" .r.d • COffll'IIIIJ\~ !"lu.d I n n ~
                                                                                                lf!Fd to tffCl!ft the 0111 w ~ Wm •t:wtm mFJC, .a


                                                                                                           ('Omp,uative 1, 1412 Fl i.w, Pld/211<1•.&1.,
                                                                           i'nttnugd IA                        wt/wt'4.    ..,,..,l,..        'Nt/wr'li
                                                                                                                                                            ~'971

                                                                                                                                                           """""'
                                                                            Nat~
                                                                           Our.ethyl S•lfox, d•
                                                                           J>rof))'h:ne g,ya,I
                                                                                                                18kt
                                                                                                               ·~->
                                                                                                                11.2
                                                                                                                             .,.,
                                                                                                                             12.1

                                                                                                                             11
                                                                                                                                                •?~
                                                                                                                                                4<_!,
                                                                                                                                                ll
                                                                                                                                                            17.16
                                                                                                                                                           45 \
                                                                                                                                                            11.2
                                                                           llthanol                             11 19        16.5               25          11,19
                                                                           Glycerl.ue                           11.l                                        11.2
                                                                           DiclofetlAc Sodium                    l.!i                            2




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                                                                                       us 9,066,913 8 2
                                                     19                                                                                      20
                                             lABLE 5-contlnued
                     Comf'('ncms of\VKIUA«cti a.oJ a compuar,...,: liq'-4..:1 f0ff""          -tth.:!l
                           1184 "O gt k' ' ] '6 ttl-e Ou. n~c- d@ ,hows, 10 FlCt 4,


                                  C<lmp11111vc Fl412 gel 2.$¾ fl412 gel 4,0""-
                                      •1.""'-·1 '6             .,.!!wt.          "1.._,,.
   l~ti:e:ier
  wt/wt¾ thickener
                                         ....                  BYHV
                                                                2.)
                                                                                    HY!l9
                                                                                       4
                                                                                                   Ca,bopol 911
                                                                                                             I.IS



     l"octhe formulations of Table 6, Fraiu diffusion c.,lls were                                               rur 1h.: founulallons of Table 8, the compilllltM: liqUJd
  dosed at 7 mg per ceU, Lo\\cring the pH shows a markod                                                      fonimlation (1 5% dJClofeMc :rodmm) w:.1~ doeMI at 20 rug
  increase in nux mtes (sec PIC,. S).                                                                         per l'm117 ""''· SoJnwt:el!\l (a w 11umm:w1ly uvullohlc 3%
                                                                   u\BLF6

                             CJJOlJ)QDcntl o(vu1ous g,cl1 and• C(lfflpanti\e 1Jqu1d form:ulauan
                                       u&cd to gene/tile lhc £lox ra:e da.t& lhown tn HO. 5.


                                                                           Foll!1\lloboa1111ao


                               Compllll1V( f 1412gol2.5¼ Fl 412 gd 4.0%                          F971           P1412 l!CI 2.5¾ + HCI
  Porun~ges in                   wt/wt%                   w1/"'1%            wt/w1%          wtlwt%                       wt/wt%

 \\'ate                            IUI                     12.5                IZ..S             11.16                       ,2.5
 01~1 Sulfoxid,:                  45.S                     45.S                4S.S           4\.$                          45-'
 Propylene gly<><>I                ll.2                    11                  11                11.~                        11
 f..tbanol                         II 79                   265                 2S                11.79                      16.S
 Otycerin<                        JJ.1                                                           ti 1
 :o:dok.u.c Sodium                  JS                      2                   2                 l                           2
 CODCCJJIJ'llod HCI                                                                                                 ... a,icled to pH .S.3
 pH                                9                       9.4J                 9.67              6,77                        S.J
 Tb,cb:w                          none                    HYll9               t!Yl.9        <.:ub97!                      f!Yll9
 ,..,.., ,. tht.:koll<r                                    2.S                  4                 1.15                        2.S



    For the formulations of Table 7, Fmnzcclls were drued Ol                                                 didufurmc socliwn gel)was doscclal lO mg~r l·.r,,nzcell,and
 7 rogper Franz cell The resulting lluJt rdteJ for each of these                                             F 1412 wus dosc<I 11t I 5 ms r,:r Fron7 di:lfuSIOO cell At this
 formulations 1• ,mown in                 flG 6.                                                             do;,ing, all cells wen: dosed wilh eqwvalent amounts of
                                                                   TARLB 7




rcrce1tt1gc1 IA
                                _,.
                              CornpfflltVt F!41!gcl 2.S%
                                                      ,.tJwt,.
                                                                           FormtJlaHoo Allli,c


                                                                             EfaCal
                                                                            wllwt,.
                                                                                                  HaCa
                                                                                                 ,.-.1,,..1-¾
                                                                                                                         Fl4/2 gclpll S.3
                                                                                                                             _, ...
Watcr                            18.81                    12.s                2l.l                26.J                            12.5
o,m..hyl &111,,.ldc              4S.S                     45.S                45.S                ~s.s                            •s.s
Propylollc sly,;ol               11.2                     11                   11,2                11,l                           II
1;,iw.,1                         11.79                    26.S                12                  12                              16.S
Cllyccru,e                       11.2                                           6                     2
lJ.iclofeo,o So,d;uni              1.5                     2
conoentmled 11\ I,                                                                                                     ••• added lo pH ~.,


                                 --
pH                                V                        9.41                6.8                    6.71                        5.3
Tlucn'""                                              KYll9               Ccrbos>ol 971     Carbcpol 911                      HY119
.. ~'11.--t 'M.ril1d:ead'                                 1.S                                                                  2.S




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                                                                                             US 9,066,913 B2
                                                  21                                                                                              22
    diclofcnac oodium 1'1412 continued to ,how incrcas...-J per-
                                                                                                                                              flxample4
    fonnanceovcrothcr formulo1ions (see FIG. 7).
                                                                                                                        Comparouve Dala on TransdcfflUII Flux ofVurious
                                            TABLES                                                                                    Diclofcnl!c Gels
                     CM.iponrots ofvanOUf d1eJofenac iom:vJ!at•ooa rtsed
                       ~o 8<'U\"1"•tp the fl·!ll mtadnta. (hOWQ ,e 1110 7                                              Studies were performed to determine the relative lrnnsder-
                                                                                                                   0101 ITilX or 1he Jicl\lJeu:,c gt:I formulotfons or tbc present
                                                                                                                   mvcn1ioo wlim compw,!J wi1b I)f\.'Viro•ly disd,,s~ Jhmu-
                                    Cbr,q,11thc             Set,.u.~                fl••&-~ l l'M>                 lalions. ~-uch a~ lhe diclofc:MC diethy1allllll1' 11,el fmnulotion
   Pcrcentager rn                       ....-vw, ~                                                           10
                                                               -vfl/'wt I'-,             w11wt%                    deRcribcd by l)al,uoln (Babuolo Ill al., Methmb: ITnrl, l:;xp,
   W.u~                                                                                                            C:/in, P/lur,11"cal., 28: 109- 114 (21106)). A.ccvnlwl!ly, the
   Dlnie1~,1Sillaxi<le
   p...,y1..,.g1)WI
                                         4,
                                         18.KI
                                              ~
                                                                                             J ~j
                                                                                             45.$                  l'rn111 cell fll'OC~rc dec;crib..:l ab1:1vc was used to oomparc
                                         11.2                                                11                    flu~ ,,.,...,.,r Um_..: oflheditk)fc mc rcv01utaU011Jdcscnt.xl by
  1.:.1.lmol                             11.19                                               26.5
  GI Yecnt,e                             11.2                                                               I)
                                                                                                                  Baboolll "1lb a gel vclpclc nf the proscnt inveolkm. Ute
   D101ore.:,ac Sodhun                    1.5                                                                     cl 101l1ylamir1c form of cJJclofonttc wa$ uietlas 11J~ J<liw ng<loL
   Th,ck.c.nor
  ..,Wrt r.l 1llctcncr
                                         DODO
                                                                                             '
                                                                                          HY119
                                                                                             2.5
                                                                                                                  us !hat ,,. lbe fc,nn nsed by l'labtiola 11t~ =ct cow_p116itioa~
                                                                                                                  of lhc fom111ln1ions u,,.,.J m thh study 11re ,hown in Table 11
                                                                                                                  J,clnw_ Tbc Unboota li.>uuulotiuru, arc Libeled t/y J, r.-Y2, and
     I or th<.' focmululiu11~ nf Tahle 9, lhc cnm))Mlliw liquid                                            2U J1Y3, .-blle 1111,cl fomrulutllln usinl! 11111 voblolc of the prc~WJ.L
  fonuulauon "'"Ja .!used al 0.9 ms per l'rwu. cell •l 0, .J. 8, .md                                              tn\/Wll!Oo w t1J1 diclofun,ic cUethylllnilne a. Ille ni::tive ls
  12 hr.,. F1412wn~tlos..'<lnl I.S miperl nurtceUatO Wld fi ~                                                     labcl<d G I 412 111. ,\ oomJ)Mltivc liq111d fonnulation ,~-.,_~ ulllll
  Tull occontul,ltcd dose from the g,:l '-u• 1:1.m,klcmhly higher                                                 wclud.:ll in lltis midy ("(. 'ompamlive"). Among the (lrimaiy
  in cx>nirnrisoo 10 Ille com_piuoli~.: bOUlliun, pNYitling n -1.5                                               differences hct\VC\,_"n ihle composltk•n 11fBabno1a's fomml~-
  fold u,=sc IU Dull (see FIG. I!),                                                                        :at uo11 nud thlll <liscl,;,sed in th" prwclll lnvc:nllon jq lhe llil,l.licr
                                                                                                                 l)MSO Qlllu:nlt-Jlioas m Uw pre..:nt fc,rm11lations (45-..5%
                                           JAO[ E 9                                                              w/w VetSII~ Ioo, W/W ).
                                                                                                                      tu is i!JlJmr~m from the du1n sbow11 in PIG. J II, wlhuugh Utu
                          (\m1pone.tlb; of rormula1Jons u$Cll ln Ute                                             U11boutu lbnnulation ,~ ol!l<l n gel, I.he ~lucle M tilt.' present
                            m11l1lJo,,t.1w eagemnentsn.(TTO             8,
                                                                                                           11, invwtion pmvldcs o ~igtuoomlly !!f""lo..'f llwl rate. After 12
                                                                                                                 ltllll1'q, lbc g~I nf the pt'C!il. 111 inv<!ntk'II pruvidcs nn occomu-
                                                                                                                                              0


                                                                                                                lo1od do,.!' ,,1 26.8 itsfcm • VlllSUII 119 11s/t-m ~ for llabo,.,te'•
  Perr.c-.nlltg~, I.a
                                 Cau1pU&tivo F l.VJ tel 25'1i                   F14/211cl pll 8 S               best pecfimuing 1,1~1. TitU!,, the gal nJ Ow pn.'$ent i1m:11llouJ1:1s
                                   wtlwl'i.              w(/wt %                    wt/Wt'11                    11 n~.irly 3-folu 1,1re.utcr mtc of i1u.)( and occumulutiou uf
  Wow                                1811                  12.S                          4,S               1< dlclufl/ru!C limn o similar gd , as cl..--oo..nbw by &b,•t11J1, N,1h!
 Du...-hyl Slllfost<k                45.5                  4S.l                          11                     !hut ihcsc cxpcrimcnl~ were c:o111JU<=ll:u al liuilc c.losing \\ hicb
 Propyt,ICJie f\l)'COI               11.2                  11                            26.S
 Ethanol                             IJ.79
                                                                                                                ls more rerrcscnt~tive ul cliuiC11l clo.ing of o 11111!«:e:luded
                                                           26.S                          12,S                   00111posidoo that is appliuu peciodlonlly h111 which ;,, n t,1
 Glycerine                           11.2
 Oido:Cnac Sodium                       IS                                                                      nM:11nt to be 111 root , nuou~ o..-011iac1 with the ~IUIL Adtlllu:maJIV,
 <0-n1n1<'dHC L                                                                   ••• added to                  the Babout.s l(cl& lllso COJ114illl!d a higher percc:uwge tlf tlw
                                                                                                            0
                                                                                        pll I.S                 actJw a_gcut, 3.4'¼ w/W ns oompurcd to 2"/4 w/\\ fo1 tl.t~
 Th.i~trtl."'.f                      .nooc               HYt;~                         HYl1 9
 wt% tl,;ck.cncr                                            2..1
                                                                                                                composilions using the vehicle of the iuvention .
                                                                                       412.S
                                                                                                                     Otbi!J' :Jd,1111togcs were also l)b1crvutl, inoludlog the c.,n-
     For the formulations ofTable 10. Fnuv cells were dOlled at
 20 ros per cell, The resuhins flux rates for tbcse formulotions
 is sl11)wn in FIG. 9.
                                                                                                          ·~   St'lency Md ~1nbility oflhc gel nl'lb.: pr~clll im,.:ntlon when
                                                                                                               c-<1mparedw1thlll,: l:labuut11gcl. J.nconl1tlS1 to lhesmroiha nd
                                                                                                                uni fonn cmu.lst(l[\cy of U1c pni;ii:nl gill, the Bnboor1 i;el fot-
                                                                                                               mu.lntioru. 1Vur1111lt1udy om! lnmpy, 1hu8, un;ibl~ tu uwiulfiln n
                                                         TABLE JO
         FIUJ< :c,ults from ''"'Ylll8 J!clor'"111C fi>nnuta~ons. Fraaz              ..,u, wore dosod "'20 rr111 pcrc,cli

                              F 14/2 i;el J.S%       FJ4i'2 s(llut.on           F971              Co1r,pa.r11.ti,•c 2,o/., Compant.iYo
Pt'!'Wlll.d!(CI ID               wt/wt%                 wt/wl %                wt./wl •,1t            \\ot/\\t~          ..v..,¾
Wa.ltr                             12.S                   12.S                  17.16                   18.31              ls.RI
Pu,1dllyJ Sulfo>udc
PropyJcne. glycol
                                   455                    455                   4'-'                   45.5                .,.s
                                   It                     11                    11 .2                   11.2               IJ.2
Cthaoo!                            25.S                   29                    1119                    11.711             11.19
G,.)'Crf\,..                                                                    11.2                   11.2                11.2
Dt\: lo!en.ID Sccfurrn              2                      2                     2                                          u
Thickcntor                       ltYt 19                 llOllt                Cath971                 1100C
wl/Wf '4 tblcli:oncr               J.5                                           I.I                                       """"




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                                                                             us 9,066,913 8 2
                                           23                                                                                             24
   gcl-lik.: «:>USISlc-ocy, I1ot the, lt!Di;rtn, the 0.ihoCllll ro!lll}l>hi•                           fummlntino. 70''. ul'U1ewo:1gl:U of du, 1wn golt tluil con~,,n:o.!
   Lion~ Wl)llld be expoctud 1,, rove snrne ~wblUty is~,1e~ uud u                                       2% ,1r 4¾ 1-Jl>C ro11111lncll. l••=ru•~-d tu Lbuovuri>O".i ,,tlhe
   ~t,;,n 'lhelf Idu.                                                                                   liquid formulnt,nn which n:maim,J. 11fler 4 buurs nf d,YUJ8
       1bu1,., dl!f(lilu halh being gel f,,auutahollS, wbeu o head                                      time. lly 24.boun., 11Iisd1fforcncewa,even morepn>titlUUced,
   lo-bcud oonil)llrism1 is pc,formet.l, 11,ing J Oni1c uo~ing pm·                              ~      as &hl,!hlly uw r 20"/o on!I 30"/4 of tJ,c weiilJI of the 1wo gel
   ro~-ol, the rormuln!lon ofll1e p1<11ci11 invcutioo inlgniflcanlly                                   fl•tllllllJt.lons cnntalnlntr 2% n11d 4% ill-'C. mp..-cllvely.
   mnn: elfectlvc nt th<: transd,mool dclivCJ')I al a d1cl11!cnac:                                     rcUl:IUlOO, :rudsli&hlly ull<kr 60~ uf 1he wolgbl of the F971
  ncti~e :igent, wbe11 comr,arcd with n0c1lhc-r gel formulation,                                       g.:I r.:11t:1111'1<1, os conrpllNd 10 the alruo~l 90% of 1lJC liquid
  111111 ,!cscri bw by Bubooro ,'I ul. rurthcono,,.,, w. tib,1w11 lu                                   li1n11ul1,1 iou whicl1 rerrwlnod. 'I lu~ ,s a surprising rL'tlUh, its
  £i!C,. 7, lhil forrnulllti,,n <>f the prcso,ol invenlion nlsn (l<ll'·                         111
                                                                                                      0111: woulJ u.iv.i expected the liquid fonoula1ico lu
                                                                                                                                                                              lose
  farmed rem11tknhly b<.-ttcr wheJJ comrnn,d10 o dict,,1cnacgcl                                       w,,igbl mull? 11u1ckly, and thu.• llll\'C ft ~hurter iltyi1 g time, :i,
  So lar111,e1(11, ,, product curremly sold on tbc mnrkol. I hus, the                                 eorun•red to11 s.•mJ-solid gcl fom1nl&1iou, I hus, lhi.uxiunplc
  prc,cm inveulion pnwidcs o did11fcnnc soJ111m gel lonnula•                                          drtunnsll'U!~~ lbot Lbc gel composllin,u o( Ille present uwco·
  1,00 1lw1 tw. uoexpec.edly SUJICflllr prorcrtir~ (e I!·• w,lh                                       tioo 1faplay ,upomur <by.ing ehnr...:tcristtcA ,o COl1J!ldfW to a
  rcsre,:,t 10 pnsmo-,1o:n. such :1• tmmdcrmal Dux rut\:.11, li1~01'Ublc                              comr,arabh: l1qu1d fornmlation.
  oo,upo$1Ll,1J1 consisre11~-y, uod l!rc11let st.11>ility and self life]                        I~        Tims, 10 c"r'ldi!l ewlllldu:ru,nlb, the r rescnt ioveotiou p,v.
  wh1.,i comr lfCd to the pttviou.ly ui.iclvsuJ JJclt1fCl'lllt                                        ,·ides A forumlution whi~b bas a urying tJme suth tual, al
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  dic1hylnnunc pel formulauon J~cribro by lbbootn or the
                                                                                                      re,idue 11Jler 14 11111.ln ofd ~ Lime, lltefcmhly n 30-4()<),{, ,1r
  di0lnfcnac sodium fo.anuloliou cmhnrlicd by the $oh,m:te<8'
                                                                                                      less wctl?,hl 111'tbc sllll1u11! ,l.(llC11JOl l'Qt11:rio~ o~ o rusiduc all"f
  B'-'I                                                                                               24   lli'lll"' ofdrviug lime
                                                   TABLL II
                      Componenl.l ordklofcM< d..'lhylaml~ gds UIICd toll'"""'° the
                       l'al.K rs·c: Cl.tta cbov.D ,n F!O 10 fot Ile fomnd.at.Lot.S of fah,e
                          lL Frnnz dJffi!1tin!) £$:ltl~[c Ollit~ 1la.1£!ti Jll ~ ma,oer t.:S:11
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                                                                    r'OrYlL!1,]1!±!!! na(N!

                                            FYI          FYZ          FYJ         Gt41.?_m            C-O-IYlU tt
  rucCJilt~es in                          V,t/Wl1'     wVw1%       wt/wt~1        wVw\%                    wr/wr %
  OiJ:11tLbyl SU1fo,odo                     10           10           10             4H                     cs'
  Etw ...                                   2i           2S           25             16.5                   11.79
  Ph0400                                    t)           15           u
 Propytcno gJyi:ol                          IS           IS           15              IL                    11.l
 trlclhanolatttu.e                           0.$          0.5          Oj
  DMSO
 w...,
                                             'I"          <I•         <I.•           i2    ~                IHI
 Sodium cari,o,ymchtyfcxllulo,c
                                                                       6
 Glycentto
                                                                                                            It 2
 n.-                                     ('.a,b~        pv,,      Caz1>1),t()      HY119                    -.,ne
 wt .. ~cw:c                                 I          20            0.5             2.S
 Active:                                     M            J.4
 diclofCrW-C diethylamine wt%
                                                                      34              2                      1.5



                                   l:!Xlll1lj1)U   S                           lbe improved dcying time of the gel fonnulations of the
        O>mpamoo oftltylll§1·une/R~iclunl Wcib),1 <1J ;i                   present invention provides improved case of use and i,
      r11mpan11 ive L,qu,d 1'011uulu.Lit.in Sol11111111 Vcr,,11!1 Liu:~s exl)l.'CtOO to lmrl hl h~ncr r ntienl cuwplinn.::e. Thu~, 1his
                        C.',;,ITC>l)Ol ldJUQ, Gel
                                                                           invention pro\'idt'li ~ !!,el formulation with lrnpl'O'led Js;mJl
                                                                          charu,ICntiUC\ while also providini unproved drug Jclivcry.
     lnmdei-t,> r:vuluulc Lhcdzyu:r11 L11rnlofo compnm1ivc liquid         ;111 l!viJcr.cod hy tho iK!Vllllldl?,COI.IS lr-Jll.S(Wn11nl rn"
                                                                                                                                                                       durn
 formulnllun 1o0lu11012 w, compurot.1111 1he 011rre!!r1,11dfnJ), gel, sa shown in th~ exnmples :ibovo.
 tht! smtty ct~ribed w Ll:iis ex:in1ple w:h perfonncd Equal
 wcigh1 IIJJIOlllll• (100 mg) of either the ,·t'mpamll\c liquid                                                          TABLEl 2
 furrnululion Nll)IJlion or d1olofo110c sodium 11,cl foanulalit1n~
 WUN IUC!JSU!Vd ,10 topln~tlc: Wi!iJ!h Jiw..-.~ricl spreodov                    Oryl•II tlm .. !bf 9<13 .ind• ooon!'IJ!'l vc 1..,ua1 Ji>nuul,u,,., "'lJllo•
                                                              t-rn 10         El.I ;,a.I Yte.i~c(u ,t, ("1mut.., •• - tt"CmCUUlt:li&fidQc.ld !'it ._.~,&f.i
cm' ,mas, :md then lull c~posed tu :wsblclll CQttditlons, .\1 5~ d, kl                   ,,.,. ...C!.~11 "-J 4lftQ.'t "'1il.:1uu~ 1omu,i.1tn~ w ,-111~ rou ,.....,, . . . ,~
sclucl~d timo ~<11t11$, lite plastic wciglliu1,; dishes wr.rc ng111 n          •lmo rh• 11."lr ol 1hi5 1n,-c,.r1Joo •il,o,<•J f-. dl)'!ni\ tu1<~"' ll.lul 1hc
w cij!hcii t<' tlutemuru: lhclllllss of 1bc oonipusitlon rc.nutlniug          ,,.11r     ,rnlwe tlquifl r,,.,,.,1,1,0,., wllb Pt<(r. idta11,iilK 1i..IMh:&111ty111t1
un Lhc\\eiglun)I. Jisb.Aubown by lhedotn in Table 12 belo"                        ,..,.., thc.cirl• •l<o b•J 111111ro\la l""J'l~~ty"c llu.1<labd.. .,
nod 10 rJG 11, it W'J, bUl"l'l;ain&ly lilund thnl C\<U ufu.-r 11 24
                                                                                 v.hld, ,r,OQ ~lcly """'11bul<A 101111, Ull;m"'<II Ou! II IU)'Uljl , _,
                                                                                                                         DIY"'t lllw.,.
buur ,lrying period, olmosl all (ncndy IJ0%) ur thll weight "' m
th~ iulliuJJy u11plicd eumpar.ih~-e- lt'l',lid fonnult11ion comp1>-                                                                Formuwion a&me
sition remulnw ou the we1glung dish. ·nw,, lhinwight oflhi!
                                                                                                             Compu•             Fl412       Pl•f.l
~ompurotiv.: liquid liirruul11tiuu chaugi:d very Utllo over the

                                                                                                                                                   -··
                                                                                                                 Alivu        l!,dH'I !1"14~..             F97l
1lruu points mcnsu.n:d, indicaUJ:'l!, 1ha1 iru, w-ylng ol'thc Liquid     PerccntA&• in                       '1\14/Wt•l,
fonnulntion nc:rural wry slowl),
   In ct11lil'O<l, cwn w1llun th~ fust live mi nut~ 1he thrc,,., sel     Wa,,,r
                                                                                           ,.                   18.81
                                                                                                                               WiJWI ~l

                                                                                                                                 12.5        IU
                                                                                                                                                          wt/wt%

                                                                                                                                                           17.Lo
                                                                         Dtmc:.1hyJ Sut.roxidc                  45.5            45.5        45.5           4}5
rormnlntiou, cJispleyl!ll more n1pld dlyl nt1 lhllu Ilic liquid




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                                                                                             c;
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                                                                                    us 9,066,913 82
                                              25                                                                                                 26
                              TABLli 12-continued                                                             Thus, n• indic.itcd by the dn111111 Tnhlc 13 whlle 1mv,og a
         IJryu\il t!mt.o re,, ..1,•rn • "'"''P""'tl" l~1111d feunubmm ..,hlhou
                                                                                                            bigh~cconccotrutloo of the OCIMJ u1,1.c111, dici~rctrn1c S(l(IJUm, a
       f"I" IJ ~ <1.-x~ liln'llul"""" ....,., """""'""' •'Ill •p....i """' i\d                             gel formulation of the pro!>l'Tll iovcq11110 cunw inin;l 3.5%
     ,,.. ~ ... ,..~ ...,,~,of .uclt '""""'"' t\,m ,,littl.io .... Wdl r.,u..,,d ...                       ln'C &hnw:,i a higher Jegrce of 'it~blli1y, us ,._,nccteJ in the
                                                                                    ~h
        urno. l'lio,l!<IHf 1hi, ,n..,n1>011 ,h""""'J !u1rr tltym~ kln«lts ,~." 1~•
                                                                                                           ~rperu11U~" of a lnwcr pcrcun1ng<· ol' "impurity A'' as corn·
       """ P""ll""ll,pii-1lhnnul,U.D, "'"" fl.I/~ ,t,awiusth• '"""" ,t.)111j1
        Alo TlM'l'<c!lf1 1lbo"1""!'. ,,..,i•\l"""'l ii,l,1r·ctw..nr-.t11CA1,                               pared lo o comparable liquid roDIU1uo11. Jbc data shown rn
         .,.L,.b m.,.1 ltktl)- ,..-n1,a..<'d 10 lWl< 11r,,,.,.-.,_, •• d~,og ,.,,.                         Table 13 also shows tha1 lhe I !PC gel fonnation is more stable
                                          D:i,ln11.llm<>                                                   th~na ~mnparub lc get forrnotl1111 ~01t1.0inlng 0.9% C'uibi>pol,
   Prop1<l..< ~'Y<•l           ll 2              11               II                11.2
                                                                                                          us the I IPC gel foannhun dcwwts1r:1tc$ an 01 lerut 4-fold
   Ellaoo1                     ll.79             255             1'                 11.1 1,            IO n:du..-uun iu the IL'Yd ol'impurity A. lbus, n gel forma1i~m of
   GlyC<Mo                     11.1                                                 11 2                  U1cpn::sen1 invention provides improvcds1,.bilhy oflbeaclive
   01clor..m1cS-Odiw11
   Thicktncr
                                  u               2                2                 2
                                                                                                          agent as compared to the reference formulatk,ns as evidenced
                               00111!          HY119           f!YI 19          Ca,!,opal 'Yll
   _,.,,.\bJcl .eat,              l..S            2.S                                                     m a fonnulation which d.)g,ades by less than 0.034% or
                                                                                     I.IS
                                                                                                      15 0.09%, over 6 mnnlhs, as was t1bsel'Vl.-d for 1be reference



                            -
                                                      1J.. Rtmunii1Yi
                                                                                                          formult\llCIUS. l'urll:1<1crnore. 1bc amntmt of "Impurity A"
        Trmc()irj
                          c..,,""'.             l'J412                  Fl'-2                             fnuml m Ult!~l lhnnullllion o(lhe p(\.-sent invlllllillll alll?f'a 6
                                               gel 2.5¾            gcl4,0<,           t971                momb •1nmge penad wouh.l result in an exposure level well
          (l,IJO(l          100                  100
                                                                                                          below limits that would require additional nonclinical Ies ting
                                                                        100           100
          0.083              9 8.1                91                    92.6                          20 testing of the impurity.
                                                                                      11•\3
          0.167              96.1                 92.9                  91.8          100.l
          0.333              95.7                 92.7                  9,1           100.2
          o.soo              9S.6                 n:,                                                                                     Example 7
                                                                        93.l          100
          U.750              95.S                 92.1                  •)2.l          991
         I 000               95.9                 92                    >11.8          9?.7                   Comparison of In Vivo Cpicutancous Absorption ol
         4.000               93                   71                    70,7                      2~
        24,000
                                                                                       86.8                           Liquid Versus Gel Formulations
                            MS.7                  32A                   2J.S           S8.R
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                                                                                                      alter l c,p,c:J arplication (nl~n refcrr<.-d to 3> epi~'UUUloour,
                                         Llxamplc6                                                    ubsorptio1t) ofa compor11tivll ~olutiu11 with~ !!cl orthc rnwn ·
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          Compamon of Siability Characteristics of a                                                  unu. Dmg wit! .lp(lhed far7 Ju)S wilb 1.UJ additlnMI d,;,se ou
       Comparative Liquid Pllnnulati on Versu~ Diclofonuc                                             IJRy R Bluoclwas ~11111pkd ua. l>ay I 10 delcrmin'-' 11bu1~fo1e:
                  Sodiwn Gel Formulations                                                             lmy 6. LJay 7 and 0Jy S samples were 1nkcn ll.l co111ian 11c,Kly
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      111,1 L')lamplc 1xovjdc, a com('ltrii.on orthc ~1•billl:y of the                                12 hr. IS hr,ond24 hron 0 8y? 1odekmu uea 24 l.tourstc11rly
                                                                                                 JJ
  compuwitillllS uru1epnist!n1 t11V1!ntiau 1c~teda11ainsl reli.'!Uncc                                11tut-, pmnlc; , 111t1plt.:s taken from D;;ys 8-1'.I were u~cd to
  rormuh11io111 &1 ll)Oin 1t.:u1pernturc c,wr n ~11t 111Mth pcritxi It                               dctcnninc 8J\ ehmU1ationpr,,lile.
 wa, une'<rccteuly found lh~t white rho comp<1Si11C'ns ul rhe                                            lncdm"" "~ ,u lhi»1udy Wl'ICDS follows I hccomrara·
  iuVllllltou wnluw u higltcrconoo,ttr11t1onorucllvu Ul!,etll, they                                  th~8olutm111c1,rouJ1 receiv~'tl 3.85 mg 11ialntc1111c sod.iu111 po!t
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 in fact re,;i1llcd in n lower •'OOC<.'UlraLion of a deynd:,tron                                                                                 daily; the g<:1 Oivup
 impuriiy as compared 10 tlic rcfonmcc Tt wii, 3lso un1:.1tp<>CI·                                    received K.OR m3 dicloknac <Odium per ,1W1111U>tnition ond
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 t:dly folllld thnt comp0slti ons uSJ.tlJ! h.ydroxypropylc~IJ11l11sc
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 (I IP( } ns the gcllins agcur lwJ a .1ig11illcently lower q11Jnhty
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                                                                   lbllll! •~    Sufficlcr1t blood was colli.'cic<l fmm cacn nnimal per ..am-
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     In th!! study, bilmplcs ,,l' lhe test ~11rnposhions were plnccd          JMlJ)IC. whlcb "1!111 split 1nro '""" rth'luob uf I wL wch.
into pl11:1tlc sen.~ cap boul,.,. which                  "=
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pcrtnrin.U1Cc liquid clu-uuunogrorhy (BP[ CJ The ucliw
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an i:l111io11 limo oro\10111 I I ntin111e~ J1 w:is Ii.Jund 1lllll upnn 6
monlru. lU 6lorugo, en impurity, tcnned "impurity ,\", wos                         Td
s~ to cllllc el ahoul 6.6 minnteS in v:uying Wll'lUO'~ lf\r 1!\e U - -            0.y(•'
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vnrimt~ C<l1Df'1'11111 lllll-' ;J> dlOWQ in Tublc IJ below                                   0                  1                         24         48
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                                     TABLE 13
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                                                                                                                     S hr pofl tlrn oorlntt (pr,or to
                                                           Peretti I "1mp01.u y A " 1ftOi        60                  seoond 1tlbninis1.tal:ion fo r Group lJ,
                                                           6 moDlh,Qfil ""'V (..Vwt)                                 7 .hr p,.lll llnt dos ine.
1-'% ,bol•"'-- lum ... _.,.,,_,.                                                                                     10 ht po,c ll,sr doug /pnot II>
lia111i t lhmml11tk•11 afutian
                                                                        0.0)4"'                                      third. adnuol,ffl'l.ooa ror Group J
2.0% dlclofcno,: sou,""' in 0.9% Camopol                                                                             and pt,01 to scconJ 1dm,n1&1nt1on
                                                                       0.09%                                         fo r Giouprr 2, J, ind 4.)
&d
2.0% d'.:lofcoae sodiu1n i,, 1.~,. RPC gel                                                                           12 ht poll r~-.t dou,
                                                                                                 6S                  IS ht ix•• rrrst Jvs.a3 IJ>rlor 'n
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                                                                                 us 9,066,913 82
                                                  27                                                                                           28
                                   TABLE 14-continucd
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             ddd,o(KJ.,) [b1                                                                                                           TABLE! 17
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       ,\rea uml~r 01c curve (A U!') VII1ut:o Wl·re i::1lc~il11lctl usmg.                             Relah\'C bioa't't1l11---'l1 hty ud cxpcmre r(1 a compu,ulvt'i liqwd fonnut&t.lon
  1ill' li111..'1il' ll'IIP<)lOiwi metJJodn11dextr11po la!cJ.1!1inJloilotl11ll: ll                              in corncrri<M '" Y,• Mf!!!!paadltth'[I .. -re.dv<I...
  b)• dividing tlie La t = =blc r lasm« c1, oc:aiu-. .11olD by the
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  lime wru were takeJJ tu 1w lhnRc at lhc pcc-do~e bt110<t 1m111-                                                                                            167.7
  p lin11 Limo on Test LJay 8. J\rcu ullllcr 1he curve (AUC} w:i,                                                                                            161 5
  calculated usmg lh., formula;                                                 ,u                                                                           241.1
                                                                                                                                                             232.2
             AUC•(f,·d1J(nwmL)(h),wlqµ,ilcd f,on, tcm lo "1Jlo.
                k).
       l'hc followlngpbnrruacokioetic parameters for diclofonac                                               Example 8
  sod ium were t-alcu.lt11c:d:
  AUCo.,.. [!'est Day 7)                                                             Clinical Trials of DiclofCOllc Gel in thc TJ'ellllllffll of
  AUC.,_, (fest Day 8)
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 uut 1111)                                                                11
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         Case: 17-2149                           Document: 36                            Page: 357                  Filed: 08/16/2017




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      More specifically, the efficacy of diclofonac er'      ,wJ on knee
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                                                                       What is claimed is;
   The WOMACLK3.l, Patienl Overall Health i\ssessmeu1                  l.A topical lbrl11Ulolion comprising:
and Patient Global Assessment questionouires wlll he based 10 dielofeMc soffiuiu pt'!lSllOL 111 2% w/w;
oo the five-point Likl'rt scale. Numerical values will be             DMSO pre!ient nt about 4fl ll> about 50% w/w·
assigned lo WOMAC LK3. l scores, Patient Global Assess-               ethanol prcsenl ut 23-29% W/w;                       '
mcnt scores and Patient Overall Health Assessment scores as           propylene glyc-ol presenr at I 0-12% w/w;
follows:                                                   '          bydtollyt1mpyl cellulose; and
                                                               15
Paticill Overall Bealth Assessment and WOMAC LK3. I                   wmcr In m~ke IOO"A, w/w,
Patienl Glob3l Assessment                                             wherein the formulation has a viscosity of 500-5000 cen-
None'"() Very Good=O                                                      1ipoise.
Mild=] Good=l                                                         2. '111e topical fonm~ation of claim J, wherein the formu-
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Scvcrc.=3 Poor-3                                               20 J. ·11,i, Wpronl formnlullon nr clo.im 1, wherein lbe pmpy-
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  fo,:mnlatiol!S Qf Ille m~au,1,1 will result in ~•implete i•1:J!ofof-              7- i'hc 01eihoc.l '1 I' c.lt11m 5, wherein too 81l1crun1 of
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 f1J11ct10u.                                                                     dolly.
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      lb assess sufety, lhe frequency ,, r adverse. c.fl'ec1;1 will be ~           B. The topical for11111Jn1ion ofclaim 1 wuerein the DMSO
 tabulated, the worst skin irrirutiou score will bedocumentoo,                   Js present ar 45.5% w/w.
 and change in vital signs and laboratory paramctCt"S will be                       9. The lopical fonnul:1Liun uJ'11lailll 8, wherein the hydrox-
 assessed.                                                                       yprqpyl c-eUulose is present at 2~% wrw.
     rho (bregoinl!, discussion ,;, r 1be iovcut:ioo ha, bee.a pre-                 J ll. fb(: lopJcal formolaLion ofclaim 1, wherein the hydrox-
scntod tor 11111110,es of illusJr:itiou and dest.--iiplinn. 'l1u:t fore- 4Q      ypropyl collult.>Se is pn.,scm ni 2.5% w/w.
going is not irucudoo to limit tb.e invention lo the fonn or                         l 1. A method for !rearing pain d11e to osteoarthrilis of a
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Case: 17-2149   Document: 36   Page: 358    Filed: 08/16/2017




                  Addendum 11

                U.S. Patent No. 9,101,591

                       A262-A292
   Case: 17-2149         Document: 36       Page: 359         Filed: 08/16/2017




           UNITED STATES DEPARTMENT OF COMMERCE
               United States Patent and Trademark Office


                                       August 13, 2015

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THE RECORDS OF THIS OFFlCE OF:




U.S. PATENT: 9,101,591
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                                       P. SWATN




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                                                                      e.nies, which moy be used for tl1c topical rrcaiment of poin,
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      1bpica.J NSA.D. oJfw th\' ilOS•ibili\)' oJ auluevmg lr,a;I                R , C.Scotletal., vol.2, pp. 210-228, lBCTechnical Services,
  lhcropcn1 le 1ieu~t1t while red11~!111:1 or eli11uuittlr11:1 o,e risk o.l df London, 1991). Thus various factors cnn aJTect nbso.rption
                   0

 sy~temfo side et!!l(.1J1. 'J'bcre. hRB been wldosrrmd il\tereat In              rates and penetration depth inclading lhe active ingredient,
  ~118 ~pproucb lo ,reoting OA. bm dn1a in s1111pnrt nr the l'ffi.               the vehicle, the pH, and ihc relative solnbility of 1he active in
 cacy ol'topicul NSJ\lDs i11 the r.reatmeot ,~l'OA.is llmiltld. For              lbc vehicle versus the skm (Ostreoga J. et al., Significance of
  la.s1auoe, :1 :11.udy 1Jf131;1ruiomizod placebo ,;on1rol1dd tnal•              vehicle compositioo I: relationship between topical vehicle
          ur
 ( RCl"s) vnnous tupi,;al NSAlDs testcd~n~11ic11fly for use w composition, skin pent'.lrnbility, and clinical efficacy, Journal
 1n lb~L~-caunentofOi\cooclu,le;J lb;ii llicywercnol (><!llC:mlly               of Phum,aceutlcnl Sciences, 60: 1175-1179 (1971)). More
 efli;"'ct<>Lls for chrvolc Lllle in 0/\, (L.in ~I al., lillil-acy or           specifi\:3.lly,drugauributessuchnssolubility,sizeandchargc,
  top,cnl 1,1on-8tet~iwil Jill.1-tnOummntory drup In Ille ll'l!lil·             as well as, vehicleattributes such as the drug dissollllion nne,
  mell,I nl 1,s1e1.Hu1hriti~: mc1n-11Mly.is  or       ronrlomir.cd oon-         spN<iding-ability, adbes.ion, uud :ibifity 10 alter membrane
 ~2   ~t)) lnillh, B,',,f./, (loi: l 0. I I36/bmj.38159,639b28,7C , s permeabilily can bave significant effcc1s on permeability.
                                                                                    l11et0 is signiflcanl variability observed from seemingly
       Titere ~e gc11e111lly Ulll..'c outcomes uaed 111 ll\elUil.llc tlit       minorvnriationsinformulations.Poriustance,Naitodemoo-
 .:fli_cacy 11f an 0..\ tn.."11l111co1; p.un. pby~1,;,d ti.u,ctiu,~ und.,       snares signHicant variability in penetration among topical
 ~ientgl\ih~hi;,;e.-,,:mcm.SeeBellum)• N".,KitwauJ., 1311e.ts                    NSA!D fonnuJations simply by changing the gelling agent
  I' • Dr.iul,sr" S1r~11dV., Tugwell P., ct nl. RcCilmmmdlltinnG &O used in the compositions (Naito et al., Percutaneous absoip-
   ~r n•:ire 11et ofoutcome mciisurei! fnT lhturc r,l1J1Se mclinical             lion of cliclofenac sodium oinwent, /,,~ lour. ofPhamwceu-
  lt oh ,n knee. hlti uutl lntnd QSteom1lll'ili:;. C11nscr1K\15 ll~I-            lies, 24: 115-124 (198S)). Similarly, Ho noted significaot
~·~=~tj'        OM~Q/\(T II L,,/ H/:e11111aM/, 2A:7!;1!1-Xll2 ( 1Jl97).          variability inpcnetrotioa bycbangin2, tbe proportions ofalco-
  c.ll:1e; su 1'lhle lor ohranie 11se, 11 lhempy Dl!ISI gei;icrnlly sbow         hol, propylene glycol, aud water (Ho et nL, ·1bc influence of
  ( ~l.'Y Pn 11:ies~ U1t't!e vanahlew nvi:r 11 5UAUt.ln8d peric,d. ol 6s cosolvcnt9 on the in-vitro percutaneou~ peuell'lltion of
   JUJ~, lh,lh.: \J',S. for fo•luncc. lhe Food and Drug Atlrniuis-               dielofeonc sodium from a gel system, J. Pharm. Pharn,acol,,
  l11thun (l•1)AJ rcqlfireb OA 1bu.mpies lO llllilW supe1iQrilyuvef              46:636-642 (1994)). It was noted 1hnt llJe changes affected




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                                                               US 9,101,591 B2
                                    3                                                                                4
iw= clidLioct variublw: (i) the «•lu~llity of 1hr, tlrng in 1l1c                   iai1!11luu. l1tis rororemre ulJlo nole$ tlml gel CQ1t11loi.i11ollll ure
veli.i.:le, (li) wepanition coeJJioient, 1111d Ciii)elTect~ 1111 nlter-            UBsucinlcd wltb Iasl ~nuitUUiuu uf aotioo as the aclM" pte·
Blirn1 of skin ~LrU~t ure.                                                         c:iplrati=~ from solution in tha uppur skin lll)',:rs. llinitin~ ru11l-
     no ~I al, ( 1\)(14) atso110kd 1l mt (i) the pH or1ue veWclo, {11)              inllammatory uefionin deeper tissues. The gel!; of the present
the drul!. soh1bili1Y, an() (iii) di.: visc,1Jiily ufa gel rtalrix cn11        i invention are designed to accomplish the opposite, namely
Influence rcnetrrttlou fmlll n geJ dosair,..fonu. 1lu, pH value                     prolonged action and anti-inllut11111BlDJY action in the deeper
allcclll Ille b,ilancc het\vro11 i,mir~<luncl non-ionl./.,.,d lbrms t1f             tissues.
the dmg, whielllJBve dirrcrc111 pcnctrat1un ri•)J)ortio.~ (Oboto ,                     2. Gel Formulations of Diclofenac
111rermttlorml Joumul u/ l'lum11rrce1Jfic.f, 8\); 191-198                              None of lhe previous references disclose the L-ompositions
(\\193}). Tb.evill\:,i~ily cat1i1Hi:ct t..lilTOSiun ol'thc ~11l\ •!1mugh       I O of lhe invention or their use io tl1e treatment of OA. Rather,
tbegel 1]1J3Lrfxund.rol~ofllt~drug fro1111bevclucle !ulolhe                         these roforCJJces llighligb1 the significant unmet need with
~kin. th" solublll~y ,,fLlteiln1glntl1.,vcl1iclewi11 oilcct tbe                     respect to topical OA tre.itmeu!s Jor chronic use and the
plll'lilion 001,,llickut 11rthe drt1g l,111wacn Uu,fonnuJulion nnd                  complexity ofttansdermal tronsport io general whore signi6-
lhc reclp1col n1en1brone/tissue-(J lo 01 til. IW4).                                 ca111 variability ill permeation is observed by changins com-
     r hcmlcul pl:J)etrouon cllhl1uccr~ u.re 11nc mc1Ulll fur reveu;.          ts posl1ion elements or their relative proponions.
 ibly lowurin111l1u skin Jmrrier. other method~ incl ode ion1o-                        1n ligbt of the foregoing, there is a L'Onsiderable need for
 ph!lrc;ds. ultnis~uotl. ,:lecunp,.,mlion, heat, ;rod tuicron,                      imp.rovement iJJ the developmcntofa topical NSAID suitable
 ~.....ues. AL least 250 clle1111cull; hav" bc:cu, Mealiticd as                     for long term use 10 tbe treatment ofOA. The challenge has
 enhancers Iha\ cWl increase skin _pemieabllity. General cal-                       been to develop an optimlll formuunion whlcb w1il deliver lhe
 egories i.lluludepyrrolidooQs, funy acids, esi.er:; and nlcohals,             20 active ugunt to lhc undcclyiag tissue ln su11iden1 comw111m-
 ~ulJbx.idlll', e~St?l'11ial ulls, 10rpll.Flas, oxa1.0ldlncs, 1>urfocrnu1 s,       1fon lo treat OA on ti long term b.1Bis, wbilo reducing or
 polyols, umo~ ,wtl ctcrivu~ vc,,--, and eplclbrrual eozym.11,.                     minimi'lillS 1he iMitlcnec ofiololor.ible skin irrm11loo ca1t-1l'tl
      Toe mt'Clltlui$mS by whidi re11elrt1t'.i.in cnhnnc.irs reduce                 by disn1J1tiJJg lh'-' skin barrier au(! wlliJe pmvidiog II fomrulo-
 tbe skin barri'er function arc not well understood (sec Wll1-                      tion and d(lsage that leads to and eooo1m1ges patieol co.wpli-
 iam$ and Barry "Penetmtioo S:ahanoors•· Advanced Drug                         25 ance. To.c present invention satisfies tbeso and olher noods.
Delivery Reviews 56; 603-618 (2004)) allhougb i1 has been
 proposed that lhe mechanisms can be grouped into three                                     BR.l8F SUMMARY OF TFIF. lNVENTION
 b.road categories: lipid disruption, increasing comeocyte per-
 meability, :md promoting partitioning of the drug lo1o die                            The preseut invention overcomes the tlisadvan1ages of the
 tissue.                                                                       30 prior art by providing diclofenac sodium gel formulations for
     Toe.challenge with ll,e of chemical pl,nem1tion eohuncers                     the ~tment of osteoarthritis that display a better drying
  iR 11,at fow seew to induce a significaru or th"rapeutic                         time, higher viscosity, increased transdermlll flux, and greate.r
 enhancement of drug traospon at tole.(Bble levels. lbis is                        phannacokinetic absorption in vivo wbeo compared to pn.:-
 because the act of disrupting the skin barrier will have the                      viously described compositions. Furthermore, the preferred
 potential ofcausing skin irritation. With increased disruption,               3S diclofenac sodiwn gel fonnulatioos of tho present invention
 skin irritation will become a greatL-r issue,. Thls is particularly               provide other advantages including Javorable slability al six
 probletMlic witb topical OA trc11tmcn1s where [be goal is to                      (6) months as rcflecled in the lack of any substantial changes
 haverhe active pcncr.m1c into joi111 tiss\1C and where the drug                   in viscosity, the absence of phase sL-parauoo and crystallita-
 must be utilized on a long-term basis due to the nature of the                    t:ion 01 lowterupCl'Btures, and a low level of impurities. More-
 tlisca.~e. The inventors have developed methods aud comp\l·                   40 over, the present gel formulatioos adhere well to the skin,
 sitions thut deliver more active ingredient per uoi1 dose than                    spread easily, dry 4uicla:r, and sbow g,ce11tcr in vivo absorp-
  previously known compositions, and this would be expected                        tion in comparison 10 previously described compositions.
 lo lead to a lower incidence of skin irdto1ion.                                   Thus, the gel formula1ions of the presen1 Invention provide
      The compositions of the invention use dielo feouc sodium                     superior means for delivo,y ofdiclofenac sodium through the
  wWch in a CG>lllllA11lly us~d NSAID. OicloJeuac has 1bor dlr-                115 skin for lbe treatment of osteounbrilis. us compared to previ-
  fo.rent •lll1s lhat ,lww signlfionnt v-J.riahility 1n. the d~~e u1               oasly described formulations.
 pe~1caho11 it1 s~lotioru; 11sing dlffurom solwnm. l\llnl!,b.eni,                      As such, in one embodiment, the presem ioveotion pro-
 fot ~lruK:e, 1e11~t1cs ltuil n dic:lofoonc :,all wllh on llQ!,l!Uit!              vidcs a gel fonnulation L'Olllprising, consisting essentially of,
 bMeu lx:st I'{)( tup,cnl 1tppli.C(lti,ms (Mingl\erti l'l aJ. Ex vivo              or consisting of:
 otutly o( lrarulcrmal pem1~-ulim1 nf four diclof~c ro!U. frUDl                ,o (i) dlclofcruic sodium;
  tltffc1,:u1 vuhicles, ./Q,lr. uj Plum11• &i, DOI I0.1002/                            (ii) DMSO:
 Jps.20770 (2007 /).                                                                   (H) ethanol;
      Ollie~ rc.ean;b ruin1& m mictull111ulaio11 fuunuluLiQIIN ~s ~                    (iii) propylene glycol;
  ~eaus lnr di:llvcry ol' diolofonaa ~odium (Kanum:l .:L ~I •• lil                     (v) o t.hicl<ening agent;
  vitro ]lCnt1<.mtiun or diclolanac ,;odium rrom oovol m1cm.                   H       (vi) optionally glycerol; and
 e-mnl~i<Jn fMnulOtl<><•~ th tou(l,h rabbit sku:t, /)ru_,;; Develop-                   (vii) water.
  ~,ui,t n~:e~r;,J,, 65; 17 25 ('2005),<1nd Sarig1JiJuJ.etEl., I r~n,-                 1n another embodiment, the present invention provides a
    e~I df Itvccy ,1 r,fa:.ln IClll;I~ suclium 1hrousb-rnl lkin lron1               method of treating ostcoartbrilis in a subject suffering from
  ~~r•otl~ lhn11ulmio11s, APS f'h11r111Sul1ecll, 7(4) Artie!~ !!!I,                articular paio, the ruetbod comprising the topical adm.inislnl·
   1 ·1!7 (2t)UG)).                                                            oo tion to an afflicted joint area of a subjec1 a therapeutically
      Ollwr tnp,cal dlclofonac eompn~ltlons att: dlsc!J.,scd in II                 eJJectiveamountofu gel formulation comprising.consisting
;!:,tm~r     ,;>f patC111S intltldinl!, U.S. PaL No. 4.S43,25 t , (J S.            esseotially of, or consisting of:
   ~ "· 4.670,.2~4. U.S. l'al. N,1. 5,374,66 1, LJ.S. PIii. No.                        (i) diclofenac sodium;
5 38
S~r, .Rfi!I, U.S. PaL J'ltl. 6,'.Wll,093 1111tl U.S. l'nL No. 6,00~,                   (ii) DMSO;
   '.'· Un,1ec1 Sll!tes Pntunl ApplioaUoo No. 20050 1511}48                    os (il)etb.anol;
 r,•~lll• ou\ that variulll< ~olvenl3 ~II: Widely used for gel rrepn-                  (iii) propylene glycol;
 rnu,,ns, hui t1Qti:, lhai tbuy :ire li1uiW<l in r uLeutial d,te tt1 sk111             (v) a thickening age-nt:




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                                                           US 9,101,591 B2
                                 5                                                                            6
                                                                           1.5 or more l!rt.'lltl'f tl1t1n a comparative liquid foan11laue11 as
   (vi) optionally glycerol; nod                                           d~"ll:tntiued by J+ronzwll pmccdtwul 6nilc orinnrutedo11ng
   (vi) w11t..:r,
                                                                           or both.
1her,:by lrt:1Jlinl!- 1,11e,;,~r1hn1i~.
    A l1111Lcr cmbotlim.:nr provides fo1 the ui;c of clk:lul111wc              Tnothercmbodimeots, lhc got formulations and methods of
                                                                       ' their u,c provid~11n.'C!uctiun ol'poin over J 2 wcukl wbl,u the
-odium io th" l'~rnan ion l'f J m'-'<h•'8llle?PI forlho, 1r~a11ncn1
                                                                           lb.nnulotiom , iro .ippLed klpicaJly. In vnri01Js n.~pl-.:11. th.- gel!
ul pam, lhe meilicamcur C(lmprisin& o gcl fom1ulalioo ccum-
                                                        11f:               fol'lllllln1ions ure applied lwu:c d.illy 1111d I~ P"in c:nn be due
J!rl~i ng, •-Olls1st iDi o.swtfollv of. 11r con,i•hng                      to osteoarthritis.
    (i} dlch1fcn:,c ,wdium;                                                    The:;e und otlu:r t)bjccu;, omb1xlimcn1,, and advantage~
    (i!)OMSO;                                                          10 will hecomii more npporcnl when ~d with tile l.li;ure~ uoo
    (ii) .'lluJ,ol.                                                        ckotDUeddci,c,1plioo which follow
    (iii) pmpyk:m, glycol,
    (Y) o thid:cnillg nacnt.                                                         B(UJ,.t, OESCR.ll'TION OP TRF. Olt.\WINGS
    (vi) 11f11io1wlly 11Jyccrol; and
     (\lll)wuk•r.                                                      1•1      PIO. h huwn bargrupll ol011:r mre oflll:.C' an,I PVl'1iels.
     !Jlye1 ri further tmbodin1N1r, lhe prcscn1 lnvenlion pruv1dco          Vrulll'i di ni1skm C!!Us were !JaJ~ll at 15 .mg per flrnnz c:cU
 0 gol t,u:muliUK>n c<llllf'ri,~ con,.ialiog l!!o",Cllriolly of,
                                                                    or          FLG 2 ~J,nw~ a bar SJ'llpb 1,1 nux rote of sc:h maclc: with
 e1,ns1:1d11g uf: a cVdnfcnJic ,ooiwn ,a/ulioo 1111J ~I kiast t>ne          Onbopol !IA I and Uln,:, IO Pnm.L dt.lTWiion ~,. were d:>s.:d
 1bickcn1ng n11coL whi,ii OUl be ~lt,ciaJ fmm o:cllulu:ie poly-            wilb 200 111 p:r l'ra117 cell
 m,1r, u ~,1rbowar rolymcr, u c11rbolller 1k,nvaw.c, 11 ccllulnsu 10 FIG.:! sbo1u ~ bar graph \II' lltnt rmc: of Cllthopol 971 and
 denv11Llw, ,11ulyvinyl nloohol, poJo:,wmcrn, poly1,m:clwmk~.               cnrbOJ)ol CJ8J 1!-'k Fnu11 (lilli:lNi,1n cell~ were dn<;ed at 50 µI
 ond mlltllll'C~ thcr;or.                                                   Jl(ll'CcJ)
      In un Mp1..-cl of ibis 1:.,nbciilimeot. the dicloh.-n:1c :;odium          PIG. 4 ~hOws u Dill' ll]'IJJ)h oflll1x C3le of V11rl<lus flPJ and a
 sohi1i<ln c<'Olpast$, wo,im c,,scruiaUy of, or cow.'l.',U.-of              cumpan111vc liquid romrullllion. l•muz. cellll wen, do~t:d 111 10

   (i} d11Cli•lcnoi: SJdimn.                                            mg pee Fr.uu 1:eU.
                                                                        ZS
   (ii)DMSO;                                                               FfG. Ssh=• n bar grapb illu~traling the effect of the pH of
   (ii) ethanol;                                                        vario11s gels and a compamll\'C liquid r,mnnlu11on on flux
                                                                        rate. Frnnz diffusion cell, Wal'f! do~ctl .nl 7 mg purucll.
   (iii) propylene glycol;
                                                                           FIG. 6 showsa bar graph ofOux rates ofwrious gels. Franz
   (iv) optionally glycerol; und
                                                                     lo cells were dolll!d at 7 mg per PrlllLt cclL
    (Y) W31CJ,                                                              FlG. 7$huwsa bargrnphofll1rx mtesofwnousdiclofeaac
    In nn u,p,:ct of the ab\,w embodiment., lhc thicl:cn,ng             Coanulat,on~. Tile CQIJlpnrntr,c liquid fonnulntinn (1.5%
 4l!etml cnn b~ 31:lectcd rmm celluluse polym~lli, carbum~r             ,liolofonac ~,Khum) was dosed OI 20 mg par 11r:uu. ,:;:JI,
 ei>lym~n.. u ~nrbomer d~nvut ive, u ccllnlollll 1ll'rlvntl-ve, poly    Snlam,a® (u .:ow.merci~lly i1vnllnb le :1% diclolimnc: N1.1dh1m
 vinyl nloohol, poloxrtmun;, pi.!l)'~cduuiJc~. 11ru.l .ni~lulCfl J, gel) wos cfo:.cd m 10 m& per h,mz cell. w11J a lCltlll11lntion of
 thereof                                                                      tlle.111YCDtion Fl 412, was  do.w       ut 1S mg pee Frau-' dilb$1on
      In an ll!>pec:I of lhc above gel embotl1111cn1s 1 diclofe:nac           cell Al llus ,1c:>s1ns, all ccl(q Wc:TC dosed with cquh:ilcnl
 sodium is present at 1-5% w/v., such as I, 2, 3, 4. or 5% w/w;               amo\1015 of diclofcnac sodium
 DMSO , prc,,c:ntnr 311-liO'iil w/w;ethnnul is p,,.,,,.:uL•t 1-50%                 171V. 8 ~huw, 11 l>/lr l!r.if\11 nf 0u-x rates In 1m1hit1J!iiug
 wlw; Pl'lll'Yl~ne &lycol iF pn."lienl .11 1-1S% w/w; glyocml is 40 uxperimou1•. I II.: ,;c.,mpamrlvc llqn1d form11lnlltm wu.s do,ed
 rruScnt lll Cl-15% w/\t , u thickwtli:tg agent is p,..,,.cnl i;11cb 1h111    .it O.Q mg p;.•r rnmz c.cll .,1 0, 4, 8, aod 12 hn. !\ formu'nrion
 rhe ~nd vi1,cmi1y of the ll,CI i1 hetwccn IO onJ 500')() wnli-               ullhc mvcntion. 1114/2, wu.Jo.t:d ul l.Smgpcrl•runn cllol
 poise; aod wa1cr is added to make I 00% w/w. In other asp«ls,                 ()and 6 hrs.
 glycerol is present at 0.4% w/w. In further aspects. no glyc-                     FIG. 9 sbow~:i bargmrh ornux rruesofv:uwus cliclufenac
 erol is present.                                                          cs foanuluhl.l1l!I Fran;, cell~ wore do.sc.,d al 20 m~ per coll.
       ~ umither aspect c1V the 11l11we cmbodlmcuis, dkloleuJc                     FJG. 10 shows a bar graph of dala on diclolcnac 1luxrates
 sodium la pres~ot at 2% w/w; nMSo is prcscnlol 45.5% w/w;                     from gels disclO!led u1 t:.1al1011\a Ill nl allf.1 gels of I.his inven-
  ethanol is present at 23-29% w/w; propylene glycol is present                lion Pn1111: cells were t.losed nl 4 mg per cell.
  at IO.P•• wt,,., bydro~propykcllulose {I IYJ IQJ is prcsc.lllt                    FIG. 11 shows the drymg profile over time of three gel
  nt 0..(i~ w/w; 1,1()cerol is ~n:..:nl at 0-4%. Mnd water is adJcd ~ fonnulations and ooe liquid fonnulauon of diclofenac
  1<i m~kc IOOo/,, w,v,_ lo 01hcru1p~cl$, there II no jl.lyccrol in th~        sodium.
  ~cl formulullun. lo r11nh~riwruc1.S, the cml vl,CU!i lly of tile gel              FIG. 12 shows the in vivo steady 1,1ate plasmn concentra-
  L'l 50tf-50()0 C<.111ip1.1J,.,,,                                              tions of diclofenac sodium a ncr admirus1rarion of either a
       A k 1111rc of 1be al>D\C i;cl fonnulntions 111 that "llw ~uolt           liquid or sci fonnulalion.
  foc:mulati.>IU an:appJiw to the ,lcin, the cJ,yang r111c s quicker ss
  act1_~1al Jux illh1g)terUldllprev,m1tlyde;cn1x:dc:om-                              DETATLED DESCRIPTION OF THE INVBITTlON
  p11s1t1,1n1, u1.:h as t.!Jos~ in U.S. Pat. NO$ . 4,575,S 15 und
 1,652,557, Aclili1io1111I ro.:mircs uJlhe prufcrruJ l1m11uJ.1u0nJ                                            J. Dcllnilions
   lllcludc dcoroosul dcgri1dn1inn oftlklo.liilluc oodium, whid,
   degrades by le'<$ Ulan 0.04% OVCI' Ille l'OIINC of 6 m.1~ awl 60                 The tenn ·~ronsdennal" irused herein to gcncrolly include
   0 pl.I of 6.0- 10.0, fur e~rullplc lltound pl I ') .0.                      a proce,~ trot OCC\lal thmugh dlC .kin. 1lle lijnus "lr.insder·
       In CC1141a embodi.nx-nts. U11: gd £onnulalimis offhe mvm-                mal., uod "pen.,uaneous" arc =d mtcrchangt-:ibly wroug,b.-
   1100 camr11se 1-5% ~eml, where,n the get tilrmuJation                        oul this sp,..-.:Jr......1,vn
   Wb<:n 11ppli"'1 lo the li.klu b~Ka drying 11110 nod trcnsdo:rrnn l               The tenu ''topical fonnulation'' Is used herein to gen.etally
    tlux src:it.,r tliao II cumpamlivo li,1ui,I rom1ulotic:m. In some 6S include a formulation th.at can be applied to skin ur a mucosa.
   n,J'l!m1, U1cdrying mw rusults in a r~1ducut ut.m0$t50%of                     lilpiail ronnurutiuns may, t.1r .,,t.w1ple, be u,cd to conrcr
   a ~lllrtu1g amount after 24 hc,11n; and th-, trJW>clemial llux 11            lhempcutic hcnc1i1 tu o p:,Ll~~1l un-osme11c b<:nel.118 to a con-




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                                                                   us 9,101,591 82
                                      7                                                                                  8
swnt::r. ·li)_pical l<rn1uwLluns """ be u$Cd for h111 h ~1pical nm.t                    In 110other embodiment, the present Jnvcntioo iocludes a
in1JJ$dcrmnl 11d.t11uus1.ro11uu "J' sub~llluces.                                     pe.o.elr.ltion enhancer. The penetration enhancer may be dim-
    1lie t..um"'lopla!l:J llllil1inisrr-,1tion'' is \111U\J h(.-re,11 10 11,~er-     ctbyl sulfuxide ("OMSO") or derivatives thereof. fbe DMSO
a!Jy fou.luclc I.Iii: tleLivcry crf11 ~ul1rn1nce, suchJtS " th~mpemi,                may bu present iD an amount by weight of I% to 70%, und
colly uolive &go111, totlt;, ,kin om h,1,uli11.cdregiot1 of'.he-body,              ~ mo,:e preferably, between 25% and 600/o, such as 25. 30, 40,
    The ll111ll ·~rmLsdormal adminislrullon~ ls u,;ed ~/\lw In                       45, 50, 55, or (,00/o w/w. Preferahly, OMSO is used in the
                                                                                     present invention at a concentrntion ofabout 40 to about 50%
go1erull)' include a~1inisl;rntio~ tb.rougb the ski11:Trnn,Jcr-
                                                                                     w/w. suclu1s4J, 42, 43, 44, 4.S. 46, 47. 48, 49 l'.llld50"/2mid aU
allll atlminittr.itlon 111 orion applied where S)'itemJ1.: ,ldlvery                  rrocllou.s iu bctw~,t~ uch ru. 44. 44,5. 45, 45.5, 46, 46.5¾. a11u
pf an octiw i.1 w:sired, olllloul!h i1 muy als.i be useful Jbr                     10   tbe like.
cli,lw1ng llD 111:rive lu tinut!S underlying 1he sl<ln with mini-                         In ccl'inm cmhndimunt~, the rtc!lcnt iawn1il1n inctud<?!l .a
m1.1.I sy8te,nlc 11b~roti=                                                             lower 11lknnol, t uch 1\:1 mouw,nl, ethanol, propllnDl, bl'll:nnol
    ·1bc tcrru "penerruuo.n enhancer.. is usoo he.rein lo geocr-                        oL mixtures     lhQrcQf. Jn certuio 1:;JJ1bodlwems, lbc nlknnol is
ull}' lUC)UQ(l Wl 8&"Dl lhill l lliiJC\JVQ> th~ lrilttSfo<>r1 Of nt,,Jc,:UICI~         pn,i;,:nl at about 1 lo about 50% w/w. Preferably, ethanol is
jjllel\ as iln active agent {e.g•. 11 m,-dlcine) 1nto (lr1bn;itll!,~ lhc           is ui;ed ut aooul l-5<1'~ wfw. such ~s J, 5, J0, 15, 20, 25, 30, 35,
skin, Vanous conditions may occur at different sites in lb.e                           40, 45, or .5{1% w/w, lllld all fractions in between.
t,nci}I ei1hi:r in the skin or below I.Ile skio cren1ing e need to                         ln ceni,ln wnbodlrrumu., thc_pret;ll!ll inv1ml10JJ !JlcluJes a
tm11el deliver)' <'lfcompuuuds, Pcir ~,;ample, iu n trealownl (i.Jr                    polyhyclric nkohul, such nsn glycol Suitoble glycl.lls iJJo lucfo
o~1oourllirih,;, the delivery o.f1hel!Ollve ugenl 11\lo roln~vcly                      eU1ylune g\yc"I , propyleoi: l!clycol, btlLyl~ne gly~ol, tlipt\1py-
deep und.irlylng jolnt tissue illllY be u~"cssa.ry ro ocluevc                      20 lune 11,lycul, h1>X1111clriol uud 11,c;ombiuuti,!O ll\efl..'<lf, P/\!Jet-
 tlteru(l('IJ'tlc bent:'fit. Thus, a "pcm,trmlon enll:mcer" inuy be                    obly, prupylene j!.lyc(JI is us-.,d uluboul ul 1-15% w/w H,c;h llS
usedto ~ssist in lhc delivery of an active agent directly to the                        1,2. 3, 4, 5, <i, 7, 8; I), 10, I I, I:!, 13, 14,or 15% w/w, Wld aU
skin.or underlying tissue or imilrecuy to rhcsite ofthe disease                         fractions lu between.
 through systemic distn'bulion. A penetration enhancer may be                              fn certain embodimenis, the prei:ent invention includes
 a pure substance or may comprise a miKture of different                           2s glycerol (also referred ro herein a8 glyceri11e) at a conccntl'a-
 chemical entities.                                                                    lioo of0-12% w/w. Preferably, glycerol is used at 0-4% w/w,
     The term "firute dosing" is used herein to geoerally include                      such as 0, 1, 2, 3, or 4% w/w, and nil frnclions in between. In
 un applicalioo of a limited reservoir of wi active agent, The                         some embodiments, no glycerol is used in the formulation.
 rcservoiroftheacliveagentis depletedwilh timelwding to a                                  In a preforred embowmen,, the present invention provides
 uipering tltr of the active absorption rnle after a roaxiwwn                      30 a focmulation comprising a diclofeoac solution and al least
 absorption rote is reached.                                                           one thickening agenr to make a gel, The at least one thicken-
     The rerm "iofinite closing" is used herein to generally                            ing agen1 of the presem invention may be an acl)'lic polymer
 include an application of n large reservoir of an active agenl.                        (for example, Carbopol polymers, Noveon polycarbophils
 The reservoir is not signlficanfly depleted wilb. time, thereby                        and l'emuleo. polymeric emulsifiers available commercially
 providing a loog tcmi, cootinnous sleedy state of active                          JS from Novcon Inc. of Cleveland, Ohio), an acrylic polymer
 absorption.                                                                            derivative, a cellulose polymer, a cellulose polymer deriva-
     As used herein, the term "comparative liquid formation'' or                        tive, polyvinyl alcohol, poloxamc,rs, polysacchariclcs or mix-
 "compurative'' refers lo a form11la1ion such as tluit described                        mres thereof. Preferably the al le~sr one thickeniug, agent is
 in U.S. P.at. Nos. 4,575,515 and 4,652,557 consisting of 1.5%                          hydrmcypropylccllulose (HPC) used such that the end viscos-
 diclofonac sodium, 45.5% dlmethylsulfoxide, 11.79"/4 etha-                        40 ityisbetweeo. lOand 50000centipoisc(cps).Morepreforahly
 nol, 11.2% propylene glycol, 11.2% glycerine, and water.                               Uie {Ind viscosity is between 500 and 20000 cps.
                                                                                           The present gel formulation may optionally indudeatleast
                          TI. Gel fonnulations                                          une antioxidant and/or one chelating agent.
                                                                                           Preferred antioxldrum for use in thepresent invention may
              I. Components of the Gel Pon:nulations                               45 be selected from the group consisting ofbutylated hydroi<y·
                                                                                        toluene (BflT), butylated bydroxyonisole (BHA), ascorbyl
    In ord.Jr to provide e d1clofc11ac .!lotlium ~I fom1ul01ion                         lino Iemu, uscorbyl tlipalm.italu, ru;curbyl 1ocOJ)bun\l malealc,
lmviug it11p1'\lvcd propecti.e,~ of (lrying rime; i.J,crcusctl min.,-                   cnt.:iur11 nilc<irt1a1e, cnmtcnoids, kojfo ucltl, thicyglyuolic acid.
~'tlnal ll~it and y.,atet plwmacolcinetic ~b~orrtlno in vivo,                           tocopberol, tooophcml ecerate, 1ocoph~ruth-S, to1m11hm1h-
higher V1stosity, 1l,O<Jt.l m.lher~nm: ta UJc .kin. and re11(fy                    30 12. IO<)OphereUJ-18, toceplmreth-80, and miJctures ll.u:rttlf.
~preadability, while maintaining stability over time, the                                   Preferred chelating agents may be selected from the group
mventors have discovered tbal u surprisingly advantageous                               consislingofethylcocdiaminetetraaceticacid(.80TA),diam-
combinatioo of the following componeots cao be used in U1e                              monium EDTA, dipotassium EDTA, calcium disodium
preparation ofthcg,cl compo~irinns of the prcaeot invcmlon.                             El)1'.-\., 1-IBDTI\, TBA-IIDTA, fetrasodill!Jl W)'D\, lopol~s-
. Toe pr~seatinventicm rrovidc:ii gel for1nvllllionsc11cnpriR-                     .ss sium BOT.I\, lriA(}tHum phospbulto, dirunmuuiwn ci.Lrlllll,
wg 1111 octiVI! qgent, preferobly a o\'111->lcn•idul 1wli -in~'l'Ul1a•                  golnctaric acid. g\llncmroruc ocld. gl1101.1niu acid, _gloc1u"Cmic
lory drug .ir pl1rumMceu.ti.c.1Uy amept11blc ,1;11ls ther<.'Of. Mor«                    ~dd, hunuc oc1tl, tyclocleictdn, potas-sium ciu:ati,, JIQID>lllum
ltfC[cmb ly, ll1e uun-s1eroidul W1!l· iuO.llJUW1tury is ill:: lofenac.                  EDTMJ', sodium cn.12ue, ,odium l!IJT[IIIP, ,uid mrxtures
wl110h can exist In a vnrl01y of sah fu!llls, iuclucfull! ;;udiuw.      tbcreor.
potassium, and dietbylamine fom1s. ln a prefemicl embodi- 60 In addition, the topical formulations of the preseru inven-
D!~t, the sodium salt of diclofenac is u:red. Dlclofooac                tioncanalsocompriseapHudjustiJJg~gent. Tuooeparticolar
3odwm mtty bo present LO n roo~"r 1111pru1tirUQIJ!ly O 1% to            cmho<limcrtl, the pH t1tljU$lilll1, agent ls a bli!,o. Sultubh., pH
 IQtJ/o,sucnM I, 2, 3, 4,arS~l;wlw. Useot t.hesOCliUm .~all has         udjli~nng bnsei. lnclulle- blcnrbon,n.es, c;urbouu1es, un<I
beco known to create:, a c:hollenp,e wjtb J'Clircat 10.,1:Jbility of    hydrmddcs sL1cb os nllnill ontll<Jiliticennb meml hydmxidcus
!~  -~neous gel itt ili~Lbi!!,lier sall cont.:ot1111l11ns canc,mse a 6S well as lrru,otitmn ntL'IIIJ hytlroxidcs. Alternnlivcly, the rll
"'""Kd<:J1Yn.ln lhe iel ,ualrix Uiroul!fl iniertJctlon with Certll1 n.  acijusting tlgelll c;~n also he un aeid, HO 11c1d salt, or mi~tt1N..-s
tluckeoingagcnli ,                                                      ilien:of..b\mher, Uu: pll adjusting li!etll C!l1I all,(> bea hu11'er.




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                                                                                                                                                          HZNPENN_00038520

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                                                             US 9,101,591 B2
                                  9                                                                             10
::snil;lhl~ l,111f-.,,s Include cilr;1te/citrie ac1(l buffet!<, ncet11\c/      µg/cm 2 1hras determined hy tb.e multiple finite dose Frunz cel l
acetic acid llllffct~. pllospl111twphgsphtllic aciJ hi1ff=, lor·               procedure (2.5 1og/cm2 al o nntl 6 ltours) at 24 hours.
malc/ftlrmlc ock1 buffer~. pm'f'iooatn/pro{liunic ~aid bullcrs,                     c) Stability
laaiate/luetk ucld bu.lfets. cutbouo1e/carhnt1ie ndd buffers,                       lbe stability of n drug product composition can have a
·ittunoniumtnmrr11wo buftcrs, 000 the 11ke. l'h; .PH wi11slilll; '             signific:mt irr,pacl on the lcngtll and co&t of drug develop·
~gent i• pttlSlml Ir W1~111oon1sufficianl modj1m thc-pR c,fthu                 meat, th.: nature ofthe studies requin,<l to support regulnlory
compPsith>Jl ID lic.;iwcull ~boul _pH 14.0 to about I 0.0. more                submissions, and the nhhllllle safety and upp,ovabilily.
ptdlimhly.oboo1pl 17.0 u, 11 hnul 9.5, tn cerWu emboilim\!.nl!l,                    11 is importaut for instance to minimize the nrnounl of
                                                                               impurities or degradation products thal form overtime du~ lo
tbe unAdJusrecl _pB \ir llte aclmixed componenl~ Is bt1waiu 8 HI
                                                                               iuteractions between the various mgrediento in a composi-
uod JO. sU\lll 11> 9, wiltmu1 theneed!orlh.eadilltlunofnny pl)
                                                                               tion. this can be particularly importanl in ~'Ompositions that
adjmrung i,gcnt•.                                                              are deslined to increase skin penneability.
                                                                                    Tbus, in some embodiments, the present invention pro-
              2. Chat'lltlerislics of tbe Gel l'om1ulalio.u
                                                                               vides ll iliclofen11e sodium gel fom:tulation that dcgrndes by
                                                                            I) less than !%over lheoourseof6monthsatrooru temperature.
    a) Jnu,IJC.lermlll Flux                                                     More preferably, the rate of degro(l;irion jg Jess than 0.9, 0.8,
     AS sh.own beluw in the Examples, the pn.-i;cnl invtlfltion                0.7, 0.6, 0.5, 0.4. 0.3, 0.2, or less than 0.1%, :,od all fractions
provides dielofcillll so<liurttgel formulatlom thal lilsrl"'Y •o.tr·            in heiwecn. over tbe co\ll'lil.' 01'Ii monihs ut room 1e111pe111luru.
~rillinl!,ly ~JJcct:ive rat1'ii nftmnsdcmnnl f!UJ< wben compared                    d) Dryins ·11me
to prl)Vicrusly 1w,;i;wlb.:d fuan11h1tio,rs.                                20      L(elalive to rreviously disclosed can:tjiosi1icms 1 sucb os
    Ac~-ordlngly, it1 one 11mbo1limcu1, Jhe pn':lcol gel fonnulu-               th.lse in U.S. l:'.it. Nus. 4.575.515 und 4,6$2,557 (1rrni..>d
tioncompriscs a non-stc-roidal a11ti-inflamm111ory and at least                 herein as "comp~rative liquid formulation" or ~compard·
(Ille thickening agent and having a flux, as detenninl'4-I by a                 live"), the compositioll6 of tb~ luvention dry quicker while
finite dose Franz cell proc\ldure, equul to or greater than tlle                achieving higher transdermal llux of the drug. It is surprising
flux ofa comparallvc liquid formulntitm. Preferably, the flux 25 that higher tlux rate and quicker clryiag can be achieved
is pier 1l1BO the .flux of llie c,1mpnrotive liquid fonnulafioo.                togcth~r ,1s- skin hyd!.i 1ion is known 11, ittore:,se tronsdl.!l'fflul
Morcorcfombly,the 011~ is'lll len.Gl 1.StUIJ"" l!l'':ilct1ha1u!Je               llnx or 1ienelrntio11. ·m~ llt}lln& cu the skill eau.~w hy 111pitl
 tlnx<lfthocom'f'nmtlve llgui1Ui.mnult1llon, lo other words, th<=               t.iV11poratfou woultl ~ IQ rcduccU1e trjusdeo:ru,I ITMll!iporl ot·
rati(> of: (i) the Oux of the gel foanulatio.u c,.1ruprising the                drug remaining on lhe sklu. The drying time tliffcrence is
 nen-s\eroidal anli-infiammntory and ar least oae lhick~ni.ug Jn evident when equal 11,nountsofthe lwo products arc tested on
ap,em 10 (ii) U1e flux of the cu111paJativt: liquid funnulatioo is              oppoRite !hubs, Within thirty (30) minutes the compo~itions
 rrefe.rably l!,l'Cater than l .O, and more prc1erably at leastaboul            of the invention are almo~t coroplctely city whereas u $ignifl-
  t.5.                                                                          cant amount of the previllusly described liquid fonnufatiott
     In a further cmbodimcnl, lhe present invention further pro-                 re~ius.
 vides o diciofo,mc sodium gel Jbanulat.io11 comprising a 35                         To compare tile drying 1i111es more quantitallvely, sid1.,'-by-
 cliclofeoae solu1 i1111 and at least one thickening agent and                   side comparisons were conducted, ')o accomplish this, the
 having a Hux as determined by the Ji11itc Franz cell ptoccdure                  inventors measured the residual weight of formulatfons by
 ul t.-11ir eq,1ivnle,i110 il:J..-ll,,. 0 1111,,,lic lule1w:,olution nlone.      plee,~g "'llhtl au1,1unt"-{ ttlO tl1g)ofa priot nrl l'om1ll l11tiou .ind
                                                                                                                                                        2
 l'refcrably, the diclofenuc sodium gt•I formuMico ha& 11 flux                   cum111,~1\UM1S nfllie IJ1w011on in weigbiJ1g tli$h~ ,wet IO cm
 that is at leas1 2.0 tinte.S gr<,-atcr compnr<.'CI 10 the flux of the 40 areas and weighing th~ amount remaining over time. Using
 diclole.nuc sodium solution alone. More prefcrubly, the                         this methodology, adilli.:renceis immediately noticeahle,and
 pretienl invention provi.tes a diclofenaa sodium 11el formula-                  becomes dramaticaJJy differeul by 4 hours (Tablel J aod F1G.
 lion having a tlux 1ha1 i~ at least 4.0 times grwtercompared to                  IO).
 the llux of tJ.ie diclofenac sod1111n S<.>luti111:i II.lone. lo other               e) £lhnnJl~Cok1Qetics
 words, tile ratio of: (i) the t)u,i. of ilie dldofennc ~\'luiUlll ~I '45            A cw.uparlson of the absorption of dicJofeoac sodium of
 fonnul~tion to (ii) the flux of the die lo fenac sodium solution                crnnpusitions of the Invention and • coroparablo oot11positl1~0
  is at least abou1 1.0, prefenibly al least about 2.0, more pref-               from IJ,S, PaL Nus. 4,575,5 1S Hnil 4,652,557 w~s conduuted
 embly iit least about 4.0.                                                      in animals. TI1e gels of the inveaLion were shown lo have
      In a yetfurtherezttbodiment, tile presem invention provides                i01proved absorption on a per dose basis lbao the comparative
 a diclofenac sodium gel fonimlatioo comprising cliolofenae so liquid compositions of these patents. tn absolute: tcr1ns, tlte
  sodiLtmand a1 least one lhickcning agent and buviug a flux as                  clinlcal dose oflhe gels ofthe invemion delivered a maximum
  di,terminedbythemulti!llefinitedosiogl'ranzcellprocedurc                       obserVed plasma coaccnlration (C.,,...) a! steady stale of8I
  (,losiag a\ 2.5 mg/~w~ ul Oaud 6 hm.1!11) of.1l l0usl OJ tJ,g'htl               ul?/rul and an area underthe curve (AU(') of 584 ng/ml . This
      1
 <'ltl al24 hour..,pr.ilbmblya11i.mst0.2 JlJ:YIJtlcui1-at24h,1111'11             comparetl 10 12 ug/ml and 106 nglml for the comparator
      b) Viscosity                                                           >) compn~hions.

      lo ano1her embodiment, the present invention provides a                        Tuesc re,,-ults !lpeak t,1 the properties of the whicle in
  gel fon11ulu1ion ~ompnsing a non-steroidal aoti-inflarnm~-                     deliverin1,1 the active agent. The ltlgher numbers for gel w~re
  tmy drog (NSAID) and at least o~ ib.lckeau1g 11gcot, lhe gel                   ,;een,cveu thoul!,b t l1e sol11li110 compnsttiouwas dt1sedfour (4)
  t(luuuJatiou huvwg a viscosity ufol k:,si I00 cl~ IYefombly,                    hmes plir day (tt11,1l 5.2 cnl) t:1'J1'1 rnn:d to twice (2) per day
  the gel formulation bas a visoosny of at least 500 cl'. More 611 (totul 4.0 ml) for the gels.
  preforably, the gel formulation has u vi~cosity ofat toast 1000
  cP. In otner embodiments, the viscosity is 5000-10,000.                                       UI Preparation of Gel l!ormulations
   10,000.15,000, <1r is,000-20.000 cP.
      lo a further embodim~nt, the present invention provides a                       la anoth~r embodiment. the present invention provides a
  diclofooac gel formulati11n comprisiug u dicJofcnac solution 65 metbtld for making gel formulations of diclufeoac sodium.
  aud al le-dst one thickening agent, the gel formulntion !laving                 The gel fonnula11ons of the prese111 inveulioa arc preferably
  n Viscosity of arountl 1000 cl' aad a flUl'. of at least O2                      m:ule by canymg t1u1 the ronowin& steps: (i) <lispen;ing the




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                                                                                                                                                   HZNPENN _ 00038521

                                                                        APPX283
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                                                                          US 9, 10 1,591 B2
                                        11                                                                                                 12
  dllckenL-r, derivative thereof and/or m1x1un: ther~'Ofin dim-                                      Suitoblc .:,n,onn:ts rer ..ttm1n.u.lnlmn wll I Hi!<,.·mll)' Jt.i>cllti
  ethyl 1ulfhxide amt ~tJJTilJ!I, for I buur, (ii} dJllll(llvlng                                 on Ibo ~i1c or the joint, which ~11ries pc:r ,udividual md per
  uiclufonu1: sodium In JJl aqueous nloohol mixrore (e.g,, nn                                    joinl , bow1,-vor n ,ulmhlc on1oun1 lllDJI ra1111,c frtim O.S )11/cin•
 ethRrJoVwuler mixture); (i.ii ) <Lsp"1'illll! prrip}'ll!lltlsJ)'col ond                          hl -1,0;tl/cml, Prcfcmbly the omounl rruJgc~ [mm 2.0 lo3.0
 glycerlll 1nto I.be NSAII) llUlulioo fmru (ii), and (iv) mixing                           ,     µVcm
  the Millhing NSAJD l('llauon Ullo th1, llJJckelkt/diruethyl                                        Con1J1(lc'llliuru. <'r the rrcsCJ1t invrntl<lo !Da)', if d.,,.,rcd, be
 sulfox,de h!Clld aad illltmg for I huur ~t 1u11bierJ 1co1p.,m-                                  plCl,Clltod in o ro1llcnriaror nlhcrwnlaine, :q>pnl\ed by lite
  tw-c. Al h.mativ~ly. Lhe gol fonnu.lmions ,1rthe preienl inven-                                PDA, which 1n.'l)' 1:<11\lnin one or mnrc urut d.i,ugu form~
                                                                                                 ,;,ootoinlng Liao active ing,rcdlcm. Tho pm:k or di.1pe11!er may
 tion mny be m.1de by cu1ryln~ out the foll1llVin& Sleps: (I)                                    uio<1 be ~~c11m[11111i.:d by A 001lcc1L~!ID.:i111L'CI w,1h Lilr Clllllllin~
 dissolving the NSAID (e.g .• tllclofenac sodium) !nnnalcohol                              10
                                                                                                 in II Conn pre<:eribed by o govcmmeni#l •11cucy regul~tiogt:hc
 sohniun of DMSO (t.g.. an cthanoJ/uimcthyl ~ulfoxide mix-                                       JlliUlllfaclun:, u..c or 30.(c ol r twmm:eJJLlcab, which notice
 ture); (ii) dispersing the thickener, derivative thereof and/or                                 iodka1e. upprovnl by the ngcncy or the form nf the C<mposi-
 lllll<lun. 11,.,rwrina oolu1i<>11 nfwi:1lcr/propyh:oc g.-y""lltl)) ~·                           tiaw. for huUlfin orvct.crln1,ry odmi111&trotion. b11cb TIOln:<:, ror
 crol 11ml stirring for 1 hour; (iii) ooix-iug lull NSAID ~olull,m                               exau1pli.\ may bi: of labciing up~mvecl by the l/ S r,oo ~1J
 from (l} into the thl~k1mcr bkmd frmn ( ll) 11111.l stirring lbr I                        J'    DrogAt.hoini~t1111ion fo1•pruscriptic,n tlm~ . or tl rnn upproveJ
 hotlr~lambioo11cmp.:1111ur-i . IJcatingcan also beosaldurU1g                                    product in~~rt.t'ompu!!iliun:.cumprii;in.l!,n r rcrarntion e1 l th.,
 lhesc mixing pto«S.sc, to hc!lp fat llililt~ the gel fl!Jtllal.ion.                             invenuou lurmululcd la u comp,,tiblc pharm:i.:cu1ical came.
                                                                                                 msy al'lO l,,: pn:pllt"-'11. ploced ln un nJ11'«'rn.otc rontnirer, 80d
     D,clofonac sodium moy he presenl in a mnge of approxi-
                                                                                                 labeled forw.1men1 ol 1111 illdicah.•de.mdi1iun.
 m,,tely 0.1% to 10% w/w, such as 0.5. 1.0, 1.5, 2.0, 2.5. 3.0,                            20        The following examples ~re o fli.,red to i!lustrnte, but nol to
 1.5, 4.0, 5.0, 6.0, 7.0. 8.0. and 9.C)O/o w/w.                                                  limit, lhe claimed iuventi011.
                           IV Methods ofUt.C

    t 'umposiliuru or 1hc inlll)Qtk,n dl'e r1111icular.ly suited lur H                                 e xample 1
 uso lo uealin11, 051ll0llr'lhnh~ (OA} chmni.:ally. Jhey ruay alli\l
 be O.~Ofill  r.,rIlle lrdltmcnl nf c,tlJ.c:r C)Wl'Ut' JOUJI llJii!:'J•Qij                     Materials an,1 Methods
 clulructcrrl!ld b)' jo,01 pnin, tlcgcoernliuu ul urllcular uunl
 lagc, impaired moveml!lll, and stiilitcss. Suitable joint,                   r11bl~ I prov,Jc, a lis1 ol'the ma1erial8 used in the s-xamples
 includ~ lb<, kne,; e.lbuw. lu1nd, wrist and hip.                          Jffl'(iJN below;

                                                                                                       TAHLE I


                                 Abbr             Oi.eJUIC:ill                                               rW           s.,,,_                 Veador#                    CAS
                                 1111,            1!u,yl11"1 hy.ito,Y14oolc                                   Jfltl')"4   S,gnu                  81:bl                  b(H3-lf>.S
                                 llllT            Buty:.IOd bydr,;x)lnh:<r,e                                  220.36 Sp,ccaum                    BIH10-07                1211-370
                                 (....rt,\).:(!   c, "'1 .,J 'J4.(t                                                       '-"Y\-eJJO             C--\l"bopol   •J.i11    i)\1DJ •1-4
                                1·,,t,m           Ca,bupol 971                                                            No\con                 C>llbop<'I Y7I         900)-ul-4
                                 C,ub974          Cuhopol ?14                                                             Noveon
                                 C.t.1Wkl         c.,1,op., ,,.,                                                          Novcon
                                                                                                                                                 c.,boP<•l 974
                                                                                                                                                 ("a,bopol 9RI
                                                                                                                                                                        900.i-Ol-'1
                                                                                                                                                                        9003-0l-4
                                C•rh\142          Caroopol I J42                                                          N O\'t:Oli             C~boj,ol 1141          !JOOJ-01,4
                                OtiCl:l           Oi11,k,fen.1c &-dlum                                       1111 1.abccl,.,,                                           15;()7-79,(,
                                l)MSO             D,mte'lyl ~oifuxiJe (U.~P)                                   ,u c..y1ord                       hM-4\oSl                67-68-S
                                EfHA              DIIOdullt'I ElbykneJW,wtctctruc.er.1.•e                                 V\V;l                  MKll!r.-Clol           6381-!n-6
                                                  D,b)'d!11•
                                l tOH             l•.:b4n,>I CUSP)                                             4i, I      Spectrum               010 1~                  1,4-17.5
                                C11y              Olycc,,n (USl'I                                             92 l        Proctor &    Onmhlc    SupcJ'ol V               16-81-S
                                c;u11             Gunrl(um                                                                SpcctrUm               0 1044                 !XXJ0-30-0
                                IIEC              Hyrlro,ytthyl _,..llulc,;e - N ,lr,uol   lSo M                          Bcn:ulcs               NJl!...012.SOM         ?C04-6?-0
                                IIPMC             Hydto)o.)rropyl mc,hyl celloltl"le!                                     Dow Cum."'"·"          M<lbo<d i,4\1          9004-65-3
                                t1Ylt7            .Fiydroxptnp)'l ~1111.:ose                             •s~              Sp<dnlm                RYl17                  90CH4-2
                                liYIIY            ll)Jro"l'"'Pl'' <dlukl<c                              110...,           Si,tr.nun              RYll9                  9:JU4-64-2
                                Loe,,,            l,o<WlkAn;,um                                                           SpccFJlJm              L1135                  !)IA)O..lltl-2
                                Po;,")()          l'oly(,tl,y,cne • lycol) 3(10 (USP\                      -lOti          S(»CbUm                POJ0~                  21i322 68·3
                                ro                Propv1,,.., Olyool (tJSP)                                   76. 1       Dow Clu::mjcAI                                 51-55-6
                                PVA               P0Jyv111yl akohbf                                          441          Sigll14                81386                  9C'J2-S9-I
                                PVP               P0/)¥111)'1 p)'nolulODC                               )"1),t)<kl        ~jg(O!I                8l44u                  •.;r.o}-19-8
                                P4o7              Pola ,u 4•fl                                                            Specuuru               Pll26                  !l<JlH1·6
                                U;,m:10           U1t,ol0                                                                 So\'COQ                Ur.n,,to               Q00')-01·4



   IJn~ lo Ille p111pc1fa"t>   or lll&bcr nux on,1 gNllltt in vlv1.1                              TI1e gcnernl methodololl,)I for preparation of each example
abwrpliua. il 111 bt'Ucvcll 1h11Llbc rorin11lol Xlm ilf Lhe [>1"S<!OI 60                        pmvideJ 1• a, follows, unless othcrwi-;c indicated
inVL1tlio11 c,tn helldtwni,1='<111l lo"''W'tlmi.ogthan previou~l)I
dcscnbetl fonnu.atiu.a:.. 1n pon1c11.lllr, it i~ l!lC(ICClCd !bar tli,,                            Final weight tor each formulation "'"" 25 ll prepared m
cc.wf.lOltillon~ ur I.he tnvc11Uo11 cau be u'Cd al twice • d.iy                                 50-mL j!lu,, vials. Vot1cx1n11- or magnetic stir bar.r were used
du,iuil u1· once a dny do1i11g in lho 1ren111.Lt'11t o l OA. rw~                                to mix die l!Cls.
would l'C(1l'Cilllnt • sign, fictml UllJll'VWl'n<.'111 illl luwerdo,in1c1 i~ 65                    Visco,ily was rucasureda1 22• c_ using Hrookficld DV-111
11S."l,cj111ad with bd11er r~t1w1eo111pl1'locc. WI in1 purl Jlll fnc 1or                        Ul!ra, programmable Rh~-omclcr wilb LV Spindlt! #31 at 10
m lren1i11s cbron:e LllnJillum,.                                                                rpm. For siability testiog, geb were stored 111 ambicnl tern·




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                                                                                                                                                                                  HZNPENN_00038522

                                                                                    APPX28 4
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                                                          US 9,101,591 B2
                                 B                                                                                     14
pcrature or in au incubator al 50° C. Discoloration or changes                noted. Gels were funned that showed initial smbility witl,
iu appearance including phllse separation over time were                      sever.>I cellulose polymer~ includln~ hydroxycthyl cellulose
evaluated.                                                                    (Natro~ol RHX) and hydroxypropylccllulosc (HY l 19).
   1l1ec11nceOlrntionoftheDMSOwasconsistentin all oflhe                       Other Lhlckeners that sl1owecl an initially stuble gel were PVP,
experime.ius (45.5% w/w). l'ropylene glycol was at either I J            5    ruid acrylic pulyrner thickeners.
or 11.2% wlw 1Wuu1ol cMcenlmtion vnricd from JI% to                           Tue specifics ol' gel lormulatloo for each tb.ickener are pro•
30% wrw. Ol~ceml ci>ucemcalions Were vnricd from O to                         vl<lcd below:
11,2% w/w, lhe <liclokm,c sodiuw couccntraliou wus ut                             HP.C Thickening Agents:
0hhu1 1.5% (wlw) or 2% (w!w). Wnter 1\f'Jii il<IJns:cd lCl com-                   /\ lower weight m1;1k.'<:ulnr weight hydroKyctJ1yl cellulose
p~nl!8le fnr Ute amount uf inuorivcs, lhjckooing. ~g<'llts, unJ          JO   (sp<,aitically 11ydtoxyethyl CeJ.ti,Jose (JfilC) fype 250 M
diclofonac ~minim present ln 'lO!utlon.                                       Plwrm (N:ilmwl®)) was disperseJ ln the mixture ofdimethyl
   fomi diffusion c..ill cxperimrots were usc,I IQ lllllllY7.c
                                                                              sulfoxidc, pmpylcnc glycol, glycerine and water and allowed
diclofenac sodium tlux rates of varying gel formuluiious
                                                                              lo 1weU lhr11b.,u1 I hour. Diclofcnac sodium was dissolved in
ac-ross a subslratemembraoe. Franz diffusiun cell!: are a com-
                                                                         15   c1bu110l 1!1ld added to the llEC/solveol blend to obtain a fin.al
mon 110d well known method for measuring tr.11i1,lenulll ilux
                                                                              lur1nuh,1i,:,11. Allhuugh HBC gel~ form relatively easily and
rates. 11Je general Pran7. cell procedure is described in Pnuv. 1
                                                                              JeDJuruolratua gmid flux profile, lhe gels are yellowish in color
1: J., Percutaneous absorption; on the relevnncc of 111 vitl.'ll
data. J invest Denn, 64:190-195 (1975). n,c following WM
                                                                              und 11rc:os11scep1ihleto phase separation over extended periods
                                                                              ol' stnrnge, '[:-,ble 2 shows thecompositio.ns ofthesc, formula-
the J1Jc1hodology used in the present RlUlntples.
                                                                         m    tlo1.L~, lJilU the ,re!;u]ting flux values of these compositions 36
   Franz cells with a 3 ml receptor well volluue v.w,: m;eu w
                                                                              C\llllflliiud will1:1compnrotive liqotid foan11lo1ionareshown in
conjunction with split rblcknesscadaver,kln (O.OJ 5"-0.013",
                                                                              FTO. l ,
AlJoSouroe). ~donorweU had an 3fe;IOl'- 0.5 cm1 , R,iccp-
tor w~JL~ were filled with isotonic phosphn1c buffered sal!ne
                                                                                  PVI' Thickc:ning Agents:
                                                                                  PVP wm~ u/!Jo<l at lrp tel 8% W/v after all othercomp<Hlenls
lPBS) rJnped with !I.OJ% ~o,!lum 82ide. 1i1t'. Oantcs nf tht
                                                                         ?S   of the compnrolive liquid baso formulation were mixed. PVP
l7rnnz i;ells were coated widi vncuu111 gw11~~ 1,1 <.1u;ur.., n
                                                                              gel~ ate clear i1UJature, but suffer from an undesirable tacky
complete seal and were clamped together with uuifoau pres-
                                                                              feel wl1Cll drying. Table 2 and FIG. 1 ~hows the composi1ion
sure using a pinch clamp (SS /118 VWR 80073-3.SO), Af\er
Franz cells were aBsemblcd, the skin wus :i.ltoww tu pre-
                                                                              ood l:lux ,Mu .rw l!Jjij gel, la Ibis example, Pranz diffusion cells
                                                                              weret!Lu,ednl 'l 51ng per Franz cell.As can best:enin flJG, 1,
hydrate for45 minutes wifu PBS. PDS wns then n:mnvcdoml
                                                                         30   [•VP gels performed reasonably well, but 1beir undeiriroble
011 approprintc amouol of formulation is adtlccl.!n Ille slo'n.
                                                                              ne&1hetic qaali\Jc:,, do not make them ideal for a commercial
Dosiog levels vllJ'ied from 2 mg/cul (c<1n.,klercd finite.do,c)
                                                                              e-mbodhw:,ut.
to 200mg/cm2 (considered inlinitedose).T hcdonorwc:11 wu,
then capped to prevent evaporarion Receptor wells of the
Prnn7. cells were maintained at 37° C. (temperature oo the                                                        TA2LR2
surface of lhe slcin is -31° C.) in a stirring dry block with            JS                 Coml"'ll<Jll.<of JlliC :uo<l l'Vl' gelsuwl to a,,nemro
continual ugitatioo vla u stir bar. Sltmplc:; were drawn from                                         the rtux rn-lc dnU1 ~hOWlllo t-'IG. l.
11,c receptor wells atvaryu11;1 liruc poiols. l\lk".a.surem<.-oLS were
                                                                                                                             f·l'.'rnn.Lhthnu , ::an.u
nwde in ,i~-fo hl replici,le~. Tht! co11cen1rmio11 of tlicl11fenac
in tile s:imples was aoalyLed using high performnoce liquid                                                                                                 Compaz-.
chromatography. Tbe invenlivc formulations performed.bet-                40                              Roolb    l-fc:c.2b PVP!b               :PP54         ot.lV.
ter than the comparator al the limits of finite dosiog- finile                Pc«.enta.gttt,n           wEtVr ~, ..,vwi ¾ wt/v-•r %            wt'Wl Iii    Wllwt¾
dosing being a much better prediclor oftbeperfnrmanc.:ofa                     WaJl:1-                    18.tl!      JS.SJ        Ju·t           111..l I    I UI
formulation _in an in vivo si111otion. ns opposed to infinite                 Dimeihyl SUUb,utle         45,S       45.5         45.5            .,~.)       45.~
dosing.                                                                     rl'Oflylon• glpl             11.l       11,2          n.2            n.i         11.2
                                                                         45 lllliwmt                     l L79      11.79         JJ.79          11.79       .t.79
                                                                            Oly<crl<u:                   11.2        ll.2         11.2           11,l        11.2
      A) Gel [,onnulations Derived frtlm a C.omp3r~1ivc                     DidofOllll<l $0,!iam           LS         1.5           l.S         i             1.,
                   Li.tuitl Base Solutiim                                     Thlc.ka,cr                  IIEC       Aile          PVl'       Casbopal       Oabc
                                                                                                                                                971
                            lixnmple2                                         wlvol 'l4 •li,<),-po,        Ll         t.J                        I
                                                                         SO Addod m soJuUon
      Gel Formulations Using Various Thickeners io a
      ComparativeLiquidformulalion Base Solution                      Carbo pol Thickening Agents:
                                                                      Carbopol gels were fonned by: (1) dispcn;in1,1 an ocryli<:
   lnitinlly, several thickeners includiogcarbomcrs,polyvinyl      polymer into a mixture of water, glycerol. and propylene.,
pyrrolidone, locust gnm, cclh1los0 _p0lymers and pnlyvioyl ss glycol followed by sti rriag for I hour, (2) preparing a second
alcohol were tested (or their effectiveness al fomtlog a           solution of 1.5% diclofenac sodium dissolvoo io ethanol and
diclofennc sodium.gel using the <.-omparative liquid fonuula-      DMSO; (3) mixing the diclofcmacsolation into the carbopol
tioo a. " base solution. Jn tht1 gel f'ommlotions ol' Lhis         pMSt;:. An tllt<1rnu1c mc1hod for forming carbopol gels is ~$
Example, a comparalive liquid fonnulalionsolution was pro-         follows: (1) dispersing the carbopol into dimethyl sulfoxide
duced aml a thickener was thtUJ added directly to this base. In 60 andstirringfor I hour; (2)dissolvingdiclofeoocsodiuminun
order to facilitate the incorporation of the thlckeoer, sonica-    elhanoVwater/propylcnc glycol auxture; (3) disJ)ersing glyc-
tioa ond heating lat 60" C.), along with vigorous vortexing/       erol iruo (he diclofonac solution; Wld (4) mixing the
homogenization were performed.                                     diclofeoac solution into the polymer/dimctbyl suJfo,.ido
   Sorn" thickeners, speci!iciilly suar gum, locust bean gum,      blend, and stirring for l !:tour ;it ambient teruperaturi,. These
mcthoccl (llPMC), polyvinyl alcohol, and poloxamcr 407 as methods of mixing can be carried out ot room temperature, or
failed 10 foan smblegels. In paniculnr, immcdia1e se_par:,tion,    elcwled temperature ifdeaited. Varying ct1tho_p-0ls were used
inellicieut thickening, aod insolubility of the thickeners was     to mak!! gels iocluding: Carbopol 1342, 941,971,981,974




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                                                                                          us 9,101,591 82
                                                           15                                                                                            16
               and Uhrcz IO (Noveon, Inc.). All carbopol geig were clear.                                 B. Compa.rouve Excamples
               proved ~table to bolh freezc-lhnw cycling and incubation at
               elevated tempernture (50" C.) for one month, and had good                                          El<ample 3
               flow cburacterislics. Tabl(:S 2, 3, and 4 show the composition
               of these gels, and FIGS. 1, 2, lllld 3 show their relative aux. A s        ComparisonorTronsdennal Fllll( ofVariou:, DMSO
              stable aAd clear gel could be formed 01 carbopol concentra-                   Gel Fonnulation,, VC\'S-u\ a Coll'lparot1''C Liquid
              tions of - >0.3% w/w when makmg gels with 1.5% w/w                                                 fnrmt1lation
              diclofenac sodium. For gds with 2% w/w diclofenacsodiuru,
              ->-0.9% w/w carbopol was needed lo make a stable gel. The                A \Crle:. uf diclofonac gcJ lonnulnltou.• 1>, ere lllllde wherein
              ~ amount of carbopol needed lo from n gel depended on                 the b.r.it' o;olulion w3s clmnJ!..'d from the ~omp.unti, e base
              the type of catbopol usoo.                                         to formululion. 1n ponicular, lhc we1gbL pm·enl uf pmpylcnc
                  l'or the formulations of Table 3, Fran1:diffusioo gels were       glyrol, c1b,u111l, 1,1lycerino, wntur, nnd diclofeum; wuru v11doo.
              dosed with 200 µI per Fran7 cell Corlio(l<il geb umfomtly             la the$e Dl!W formulation.,, the weight _(l<'rc:ent uJ'tbc c11ostilu-
                                                                                    ffll c,hcmicrus """ 01 follO',\ :1. 4S,So/4 llM.SO, 20-30-A. etha-
              showed iocrcased flux rates over lhe c001pl1.l'-lt vcformulation
                                                                                    nol, 10-ll'J,u propylo'llle glycol, 0-4,,_ gly~oine, 2%
              (f'CieFIG. 2). Thicker gel~ (i.c.J!els with bigberweight percent tl tliclofcnnc
                                                                                                  S!Jtlium, tbiok.uu:r nnd w:,t~r uctdod t.1 too% wlw,
              carbopols) lcmtlctl lo ha\'c lcs.1 011xc than o composolion with a       Several thickcncn were tc ~cd in this new ba!<: solnlio1L A
              lo\\-eI weight percemage of the same carbopol.                        nwnber of these thickeners railed to form stable gels; m
                                                                       TABL83
                    Co111ponoa:, or eel> mak w,lll Catt,oi,.,19&1 and Utt= 10 uwlrog<11<1.ielhc.llu.s Bio
                                                                                                                               <Wamow
                                                                           IG.   ~




                                                   PUA          i'UD    l'VC          P98la        1'98lb          1'981<        U,-m,
                                                                                       PezttZDPf.llQ

                                                  wt/wt% wtJwt ¾ Wt/Wt%              wt/wto/11    wVw1%           wvwt%             wt,'W,%
             War
             Dim<dlyl Sslfmode
             Prcpyj<.00 gty,,ol
                                                   is.kl
                                                  •s.s
                                                   11.2
                                                             l&.81
                                                             .,.s
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                                                                                      1811
                                                                                      45.<
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                                                                                                                   l~JI
                                                                                                                   us
                                                                                                                   11.2
                                                                                                                                     .,.,
                                                                                                                                     18KI

                                                                                                                                     l 1.2
             Ethanol                               ll.79     11.19      I 1.79        ll,711       lt.79           11 1V             11 .79
             otyccrinc                             11.1      11 l       11,2          II 2         11.2            IU                11.2
             Diclokluc Sodiwn
             ,.,.,clt...,
             ~·1""1 ·~ 1bJrkdler adde&i m
             •ohJtion
                                                    u
                                                  Ultmo
                                                   0.90
                                                                I.S
                                                             Uhlt2
                                                              1.03
                                                                         IJ
                                                                       IJl!Jn
                                                                         1,16
                                                                                       1.5
                                                                                     Catll"tl
                                                                                         90
                                                                                                     ls
                                                                                                  C'.an>9'1
                                                                                                     I 1/6
                                                                                                                 cam~,,
                                                                                                                    l.S

                                                                                                                    1.22
                                                                                                                                     ....
                                                                                                                                      IJ




                Antfoxidanls and chelaling agents cnn ulsn b" eclJL-d 10 the                                  r ar11.11lni,     cui 1,.,11.,1   icl~ did DIJ' rcm111n ,qrohl~ " '"~'"'"r
             carbopnl, l!EC, or l'VP gels. l'hc addition ofED'JA lo car-                                tcllulosc gel, Ytcre unilbnnly ;:J'foctlvu ot fort:runp gels 1 be
            bo!l"'I gcb by il5ell' lc:idb l<l u olightlyelnudy gel Ul IA gel. 4•J most .,e,,tbetic-Jlly pleasing of lltasc gel~
                                                                                                                                                            was lorm~-d with
            lnmcu1:olurwi1h lncublllionat higher h:tnpcratu1&J. 11lll mix-                               llydroxyprop)'lt.:llulose (HY! 17, IIYJJ9, ffi'lll). ~
            mre of or rr ond 1!011\ lo curb11p.ol 1!uls did 001 qhow flny                               sel~ ~p1\llld cnsily, wor~ unilon11 ill n.it11re, Llried quiekly. :mil
            d.iscoh1r,11Juu aod r.:ornined clcur. l'or the formut..1,ons ur                             tlemon:;1m1cd good flow cW1111C1cristic"'
            T;ihle 4, Frnrrz dlllit,inn cell, wero: do...-d ut 50 µI re, cell                               Rydnucypropylcellolose 11,cl, v. en: fum1ed by -nixing nil
            f'IG. l shows flux 1111.c> Imm lh~-.c gels J\ridilioas ofcoolal• ~, th~ cons1i1ne.n1 ('drts o.nd Hoen .Kldin.ll tltu thickener m the i.'nd
            ing ngenls and prcs.-rvalives hnd no ctfccl on flux notes.                                  fo llowc,l hy ngli11ticu1 n,e f¢l Cllll an.o bl.l foo:acd 1,y disper8·
                                                                                                        ing Ille hydroxypnirylt.-eUulo$e tn lhe ~4ueous pltllSC rrior 11,
                                                      TAilLF 4                                          sllh-.'llt oddition. I lcnt an be used Ill f.iciht:ne gel iormn1ion
                                                                                                        Hydro,cypmpyk.cllnlose e,cls were "11:ar aud Awed easily
                   Co111pn,1- nr~•I• 11uule wll~ urtiopol 971 and c..tv,r-11 QHl                    ~<, 1'bey   rumaln sinhie for at lea.st siic m1i11lhs ucnrunlitn1tlJ1g: nn
                      et.I,~ t11t1J tu IJ.t"IIC.f!lO. tb"? ttlffi 111.lod..u4 ,!t9wn !, QO l            rb.:osc ¥cp:,rJliou, ul!gliglhl~ 3h10 in pll aod low amot1016
                                                                                                        deyadu11on pl'OOU\,U (<0.04%) Tb.c dab in 11US. 4-11,
                                                                                                                                                                                     or
                                                                     FatmJk,J,ftpf'IJJli                derived from the 1i1nnul.u1!orn. orTabl01 S-10, ondlc2lc thaJ tlw
                                                                                                        hydro~ypropylccllulo6~ gel fnrmulo1inn~ of didofouuc

            ~           ....           _,.     PPSt
                                                                        _,.
                                                                     PPS2
                                                                  wt1,.. %
                                                                                    PPS3
                                                                                             CQ;m~
                                                                                             &r:Ye~
                                                                                             wt/wt%
                                                                                                        <odium c,I' the prt..i,CU1 invcminn also provide a lnnsdemuJI
                                                                                                    ,, flux 01tc that 1> ;i, much ai; 4-fold higher 1b:tn u co;np;ttl)livt
                                                                                                             liquid fonnulatmtL
            WaJcJ                        'li                 q.                           18.31
            Dimethyl S.lifox,Jo         45.S                45.5
                                                                          q•                               Stud ins were 1=foaned to tlu1cm1lnc lhc re.lntivc rr11nsJi,1-
                                                                         45.S             4S.S          111nJ llux ,, I' variou11 dicluJ,:0:11: gul lbnnul111ion.s ol'lllc r~senl
            Pcopyt..c 9lycol            11::                11.2         11.2             tl.2
            l:llw,ol                    11.711              11.19         11.8            11.79
                                                                                                        lnvt,ntion when tooip,m., J witb u oompurottvc liquid funnu-
           0,y,,cr,ue                   11.2                11.2          11.2                       "" laLion nl'U.S. 1'111 Nits. 4,S?S,SlSund.J,t,52.557 (''Cnmparn-
                                                                                          11.2
            O,dofe.na._: SoJ,um          l                   2             2               l            tivo'' 1n 1 ~hies :,.1 OJ. Ac-curuingly, lltu J1rJnz cell pmccdurc
            BIIT                            0.1                           0l                            d~-cribcJ ubov.: w~s u,ed l<> cump:uv diclofcnoc lfo11 rnles n I'
           llDTA                            o.os                          0,05                          va..-wu• diclofcMc gel formulnt,ons with comparuti,t: liquid
           Tbl-                       C&rlx>p.·1           ~I           ~                ?:One
                                            971            971            9&1                           li:mnulutions.
           .,,/wt~ 1hlckencr                I               I             0.9                        65    For rile formululions of Tub le S, Franz cells were dosed at
                                                                                                        JO mg per Franz cell. A new gel (Fl412) has an altered base
                                                                                                        solubon over tile comparative liquid formula lion and demo a·




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                                                                                              APPX286
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                                                                                        US9,I0 I,59! B2
                                                17                                                                                                               18
   ,u-Jlci. bolb foster drying times 01"1 better llux krno!lca ($4.-.:
                                                                                                                        For the fonnulations of Table 8, the comparative liquid
   FIG 4), The [ox r.Uc:, lor W<'l,e gels is m,1 ns b11!,h ~• 1hc
                                                                                                                   fomiulatino (1.5% dicloknac so<hum) ~as do.-cd al 20 mg
   caroopol i;cls (F971), but tho dryiul\ rate lb iubstllntlnll y                                                  J)<.-r Fmn, cell Solnmt,t-00 (a com1ncrc1ully aV!;11luble 3%
    fnstcr.                                                                                                        <l1clofonac 11(\Jj;ungcl)wns oo;edn1J O~pcr Fmnzc~ll. nlld
                                                                                                                   ~ 14/2 wa, Jo-i ;it 15 mg pcr frnnz di1Tus1nn cell. At lhi•
                                             TABLflS                                                               do,;iog, aU wlls wen, do..ed whh equivalent amonnti ur
                                                                                                                   diclofonac sudiurn F J4/2 conili1ued to ,hnw inc:rcasoo (l(.'r-
           Conq,oncntl of va.nuld gcl11 and a camp111tlve l1quM IOJ'mulu1on
                                                                                                                   forrnancc ovcrritbcr fonnolntiaf\lj (sec ~·tu 7).
                     l~~d k\ r:;:icr.1•r rlk· t"u1. nh, data ..l.own I[    flG... 4
                               _ _ __ _ .,t(i.,CDW.JJLIIYIC!,1iM,iuCat11N
                                                              L!l         D1!1£i-----                         to   - - - - - - - - - ~ : : . ; TABl,ES
                                                                                                                                               . ; : _ ; __ _ _ _ _ _ __


   l'uta&aga ..,
                                    .....
                                 Compitr-

                                 W'./Wt~
                                                 Fl4/1
                                                gol2.S%
                                                ..;. .. t•,\
                                                                   fl412
                                                                 ecl4~
                                                                 -%
                                                                                         f97I
                                                                                      ,-..:.,.., ~
                                                                                                                                   C'cu1por.en.l.l 0C-various diclofcn.4C tCl"rtDL1lattOn1 U.Sed
                                                                                                                   - - - - - " urrYHFtbeCNsccN;afhov.A 11t10. 1.

   Waior                                                                                                                                                              f9ttnt1JaJreq UND0
                                   18.81          12.S             m                    l?.l6                Jl,
                                                                   ,s.s
                                                                                                                   , ~..
   Dlm•lhyl Sul(o,.do
   l',opyltn., gl)<Ol
   blhaoal
                                   4.'1.$
                                   1 •
                                   ll.'l'J
                                                  4S.S
                                                  ll
                                                  26.S
                                                                    11
                                                                    2S
                                                                                        45.S
                                                                                        ll.2
                                                                                        11,79
                                                                                                                                                              ..,~
                                                                                                                                                    C'ompanln'o
                                                                                                                                                      .,,.,              Sofanzc 1t
                                                                                                                                                                           wt."'1'!o
                                                                                                                                                                                           Ft41lgelU- .
                                                                                                                                                                                               wti11trl%
  Gf)"Ct:fUI.C                                                                                                     Water

                                   ....
                                   11.2                                                 11.2                                                            IR.81                                      tU
   nictalnlk1 SodJum                   i.,          2                2                2                            0.molbyl1'uifoxl,I<                  4S.5                                       4S,I
  lblclenc:,                                    HY119             f1Yl19          Cubopol971                       P,.rybc gly..-.,1                    11.l                                       ll
  .,~.,.~ %tb,cke,ocr                                                                                        l\1
                                                 2.5                 4                JU                           lh.,ul                               11.79                                      26.S
                                                                                                                   01)'\.-ericC                         11.2
                                                                                                                   .T>klofeD&C SOLhum                    1.5                                      2
     For the formulations of Table 6, Fmnz dilli1sioo cells were                                                   Thlclccner                           uone                                   f!VI 19
  dosed at 7 mg ~ cell. Lowering lhe pH shows 11 uwrkcd                                                            '*u•·t %1h,ck"ocr                                                              2.S
  increase in Oux rates (sec PIG. 5).
                                                                TAl3Lfl6
                              CWlpo,,clll, ofv.,...,. gtlo oDd • «>mpam,ve lic\uid fcmnlllal<Co
                                   ll£1f1iHS'Jlflj1C ,iw: fl.11,: nts: ~W~!QWJI is fJQ \

                                                                         Pnrm•1!Mit'IU(J:.'Jmt•

                               CD<r,p....ih-c 1'14/1gd2.5... Fl"'2 ,.iao,c,                            f97J          F1412gcl2~'ol.+HCL
  Pcruntllgca 1.u                W1""1%          Wl/wl 'I,      wll,.t,.                             9rf/Wlll,_              w1/Wl1fi,
 W11\e:r                           1881                 12.S                 12.5                     17.l6                       12.1
  0:melhyl Su!JO>iJc               4S.5                 41.l
 Pl'Ol')'l>R< gl)'«>I              111
                                                                             4S.S                     •s.s                        4S.5
                                                        II                   ll                       11.2                        II
 1'lh&nol                          11.79                165                  2S                       11,79
 Clly1.:e1wc
                                                                                                                                  26.'
                                   11 I                                                               11 ,2
 Oicloknac Sod.I.um                    1.,                                                             2
 tollC<'lltlat..J   HC'L                                                                                              ••• addcJ to pH~-"'
 pH                                    'I                9>)
 Tlui;icbC:r
                                                                              9.67                     6.n                    S.)
                                   notttt               KYll9               FIY119                   c.vt>?7I               HYll9
 Wt/wt % tlUcka:Ad'                                       l.S                     4                     1.15                      2.l


    F!lr the fonnulations of'li1ble 7, Franz cells were dos~'CI at ~s !•or I.he fo1osula1 10111
                                                                                                  or T8blc U, t.be OQlll()omti~c 'ic111id
 7 mg per fn1111.ccll. The resulting flux rates !breach oflllese     lbrmulatlM wus dQ~cd ol 0.9 mg per Frruv cell nl 0, .I, I, uud
 formulations is shown 1n nG. 6.                                     12 hr.i. V1 412 wa.• do~ccl or 1.5 mg per Frnuz~-ell at Oond II hrs
                                                                TABI,E7
                      ComocrMtac'YWN"'¥!:"! 1 1~.toa;;,as-Qle Wk wr&z,.,,"'*·• in rtu. 6


                              Cw.npiu--..tllvc 1'1411 !1"12.5,.            H&Ctl                        HACa               FW2&tlpJJ5 .J
Pe1,.;cot1ge1 IA                wt,-.,,\~          wt"wr '°'               Wt/WI~                     •t/,,,c'!o                  ~(/,l(~

WtJ<r                             II 81              12.5                    22.3                      26.3                            12.}
D1rnffllyl SoUoxirlc              45.5               •S.S                    45.S                      45.l                            4S,l
Propylcte glycol                  11 l               ll                      11.2.                     11.2                            ll
J:lhAool
Glyc.noc
                                  II 79
                                  11.2
                                                     16..\                   12                        u                               26.S
                                                                              6                          2
011:!o(er.iw Sa4lum                I.S                                        2                          ]                         2
t:OllCC.'nlri'lled HCL
                                                                                                                         • •• o<ldcd to pll S.1
pll
Thicl:cr.e,
v.1/wt9iillu~.nu
                                  .....
                                   y                    04]
                                                   11Yll9
                                                    2S
                                                                              6.8
                                                                      Ca,t,oFOI 1171
                                                                              l
                                                                                                        6.71
                                                                                                Carooi><-1971
                                                                                                                                    5.J
                                                                                                                                  IIYll9
                                                                                                      l                             2.5




                             Couv nrnvitlPtf h\,             l l ~ P Tn ,.,.. .... ,.,.,. 0 1cc , _            __ n .-•-L--~ ·- ,.. .... ,~- - - · -
                                                                                                                                                                                                          HZNPENN_00038525

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                                                                           us 9,101,591 82
                                                19                                                                                            20
          r huSCl.."UJILU)Olod 0061! li\1m lhl' p:cJ Wa• co~id<m1bly higher                           differences between the composi1ion ofBaboo1a's fonnula-
          io romp.am<'" to lite campot11IJV<: soluti.oo. pro, idioi!, a -I 5                          tioo om! lbor disclo.cJ in lhe rrcs.."111 im-eo1ion ,s 1he higher
          fnld inc~w iu 1111~ (.a: I l(i, 8).                                                         DMSO c:onccotrnt10115 in the r~scnr formnlotions (4S.5%
                                                                                                      w/w 11en,1is 10% w/w}.
                                                 'Ii\BLil9                                       s        A.isopp~n1Jhu111bcdl!li1Bl11iwn111JTIC1. 10,ulllm'll;h ltu!
                                                                                                      Hah,.J1.1U1 formulation i, nl.o a gel, lbe vehicle ul the prt!SeDI
                               Comp;,ocnt, Pt (wmu.J.ab0n1 uttd io 1bc
                                   mciridoww,.,.r1.=:x .n·0.1.                                        lnvcouon pmv1dc, n ~gnilicaull) gn..-;iler Oux ra1e.AJlcr 12
                                                                                                      bou", 111t, gel <>I the rn:.;eru invention prov1Jcs nn occumu,


                                                     -~
                                                                                                      !med tl,1.;eof26.8 µg/cm"vctl<us !I.I) µg/cm l for Elabooi,,',
                                                                                                10 be>I f'(!rfotlllUig)!el.1'11us, the gel ofthl' present 1nw11Lioo bai
                                      Comp&r1hVC' [, 14/2 scJ 1.5%        1'14/2 £!=l pH 8 S          a nearly 3· fold grealer rate of llux and accumulation of
         Pc.n:eot.1gesa.a               Wllwl,.                                ..'f/wt,.
                                                                                                     lliclolcnnc Utan 8 ;hnll,,r gel,~ llc;,cribe;I. by Babootu. 'Joie
         ..........                       1a.,1             12.S                  4.B                1h111 1h..-.t" t'Y]leru:J'ICll1' were couiluclad ~I ficitu dnJiog which
         Dimet..'-yJ Sulf°"idc            ~l.S              4S.S                   II                is ruo"' rcpreSQTltnlivc nf cliruC/11dl•,wg uf u oon-occludw
         Propyclene gl)'\iol              11.2               II                   26.5
         hthanul                          11.79                                                 IS componi1ino 1h01 is nr,plie<l pcrimJkally bul whlcl! ls not
                                                            26..1                  12.5              meant 10 he in «intlnuous con1e~1 w1rl1 lhc,l<lu.A<lw1iu0.11Uy,
         Oiyccnnc                         ll.2
         O,cJofeaa.: So<li.,,m             1.5                                      2                thl! 13nbooia gels al"" c<>ntailled I\ lughc,· p:n:co1ai;I! of Ille
        concer.aotcd RU.                                                 ... .ddc<I to pll a.s       uc11w ar,t.-01, 1,4•'. w/w as rompaied tu 2",o w/v. for the
        Th,ck<uc,
         W1 % tbickl'JJC/
                                          DODO            RYll9                HY119                compo,ilu•ns u<ing rhc vehicle of1he wvcn!Jon.
                                                              2,S                412.5                   0 1111.'r odvwiwgos wcretllsn ob,en-ed. im: ludl ni; tb,o cpo
                                                                                                20
                                                                                                     !lis11.1ncy aud s1.11bl lily oftbc gel ofll1r p1·cseut invcnlw11 when
              For the fonnulationsof1ablc 10, Fraw cells were dosed at                               <Xllllp.itcJ wllh Lla, llubooto gel In cunlrnsl IO lh!, i.wJotlrnnd
        20 mg~ cell. The n:sulung flux rates fonhcse formulations                                    llllUIJnn ~'\lJJsi!.1cncy of the prcscnl gel, tile Baboota gel lor-
        1s shown in PIG. 9.                                                                          mulali<Ull> wo:i-e cluudy nod lumry. tbu,. UJ111hle hl 111Jiutuu. J
                                                                                                    g,:1-likc cun:tl&l~u~y. for this .reu<,011, lhe BnbD\lt,, oompo~i-
                                                                                               25 tiunM would be .-xp1.1C1,,d 10 hove ~omc stobdity i.~~ucs and n
                                              TABLE JO
                                                                                                    ~horl shell tifo:.
                       Flwi n:,ul:. from ..,,,,c~d-=lobac k,m,uhtioas.                                   Thu•. despite both being gel fom1u\a1ions, \\he11 n lu:,d-
                             ,. .. "7 ct11•'1W'fP.t~...t e:.JO!!!SeeccJI.                           10-li.ead compari,ou "' perrotlll.ell, u:.ing n rtnl1c d<l,;ing pru,
                                                                                                    1000I, 1J1e formulnu(lJl of1he p=~~ll inYention is algnillcnnlly
                                                      Foru1ulatjan "'"m,                       10 more ellcctive at U,c lr,msdunrJQJ dcliv<ll')' of o dlc.lofon.lc

                                 Fl412         1'1412                 Cunopor- Comrar·
                                                                                                   nellvc agent, when cOU1pru,,d with ;umlhl!r gel fom,11l111ioo.
        Pc:.:cr.tagcs .n
                               '*'*"'~""- Wt/'<,,._,,.
                               aei 1.s,o. ,t1hdion f971
                                                                           ...,......
                                                                      u.ve2¾
                                                                      w11•t '6
                                                                                      &f1\l'e
                                                                                                    1ho1 dc..:rihcd by l3ul>uul.l et ,tl. Furthermore, nR ~hown in
                                                                                                    FJG 7 1hc fonnulouon of the f'l\!lWIII in\'cnlit.Jn nlsn llC"
        Wurr
                                                                                                    formed rcmsrknbly bct1er wh.c11 rotnpar.:d too diclofonne gt:l,
                                  12.5         12 S        17.16       18.31          JUI
        Ounc'tbyl                 45.S         45.S       4$.5         45.5           45.S     JS Sotnrovo.ID. a product currently ,.:,Id on the murlM, Thu,, the
        S'ulfoxide                                                                                 prc,u111 lnvant.io11 rrnvide. a diclnli..~1uc so<lluw i:ul lormuln-
        Pro)))'lene               II           II          11.2        11 2           l 1.2        tiJ.>11 1h111 hlls uncxrcc1cdly suJK.'rior prop<:ni~s (e,&, whh
        g)y.~
        c,J...w,
                                                                                             ""'(>O<:I l--'   rdlOm~ s'l'll •lK:h M lr~1,,J.., 11ktl llu~ rnlL..., r "°"1hh1
                             2'.S        :!9         11.79      11.79        l!.79          ~u111po~11rno l.'UIW!lh!Jl<:Y. and u,::>lcr ,lnbtlily anJ .,..11 likJ
        01~""1110                                    11.2       IU           ll 1
        D1cJoicnac                                    2
                                                                                        4(1 \I llell S'()IJlrared 10 the prcvio11~l)I disclo"'d di,lofetrnC
                                                                 2            l.l            di~th_yhunin~ g~I run:uula1lun tlc.~crlbcd by IJoho('lt:. or lb~
        Sodium
       Thicker.er          llY119       DOliC    C<tb 971       noru,        ocnc            ilicluf~113~ sodium fonnululi{Jn t!lnhodictl by lhc Solnruv.c{Js
       \\t'w,'4               3.5                    I.I                                     gd
       lltocl:=:r

                                                                                        45
                                                                                                                                  TAl:ILE 11
                                                                                                   Comramru, of dlOlotC1w:.rllctbyliUtiit"'° ~ I• uftd tu ganmcethe
                                       Bxample4                                                     lluxodtll.ta:!aslll1~11111 l'fG.10, 'f'C!tthe fQmlllltHo.uorTublc
                                                                                                      I l, MWUdlth•,ancell!W!NfiP.O!d,uedr4m , r, ccll
             Comparative T>a1a on Transdcrmal Plux of½riou,
                             Dicfor~,1ac Gels                                           5Q

            Stucifos were r,erfilnn~d M detcnnin<: the 11:iatiw LntnRdcr-                                                                                            Compar-
                                                                                                                         FY\       FYl                     014/l m
        111al Ilrut  or 1hc cliclofc.roc gel forffl1JJaL1.,os uf 01>! pro~111   Pcrccrttaan lft.                    wt/wl ,-     W:,...! ,.        IYl               4L'Vt m

        wwntioo when ,:omporcJ with p1wio111ily Ji--=lim-d furmu-
        1.itiuns, itK:U ilS 1he diclo lc:noc dietbylanune ~..-1 fo1lllula1lor1  Oimr,,yl                                 10         10
                                                                                                                                               "'""""'
                                                                                                                                                   10
                                                                                                                                                           ..,1w,%

                                                                                                                                                            HS
                                                                                                                                                                     wt/wt:%

                                                                                                                                                                      45.S
                                                                               Slllf'bx•dlt
       describ.-J by &bnorn (Bnhoo\n e1 al., M~thllr/.~ f';ml. Exp. 55 P.lh.lno1                                         H         25              2S       16.S      11.79
        (1/n. Ph11rm11m/,, 28: 109-1 14 (2006)) Accon:liugly, th~               !'1!(1400                                I\        I.!,            15
        Franz cell pi,Xlt'tlurc do'ICrlbcd uhovc WO\ uS<:ll IJ co1upuro         Jropyltm.c   1
                                                                                                                         u         1$              u        t:        l 1.2
        IIIJJI mk-. oJ lhn,eort.hcdiclofcnac f,,nn11ln1ion,desmb,-<I by        gly«>I
        lbboota With • Jll:I vehicle of lhc ptt">Clll inve.itJon. Tb<'         tr~taminc                                 U.\         O..!          (\..!
                                                                               D"IS'O
       d1elhylamlne f,rm ofdiclofcnoc wns u~,,c1 n~ theactiveu1.4~01, 60 Wnlot                                                      qa
                                                                                                                         q•                        qa       12.5      IR.81
       "5 I.hat is lit~ lhrm used by Dnhonm. The C)(nct co111p0,1tiun,         Soduun                                                              6
       n r the form.uuulvns used iu 1hi:; swdy ore ~hnwri in T:ible l 1        c01boi<y1neb,yl-
       bclll\\, The O~h"Olll foanol~tioru; are wbwoo FY J FY2, 1100            ,,,u..i -
       l'Y3, \\'hrlc.11 gcl formul;,tiun U>lll!! the ~chicle of lhc prcscsll   Oly,:.....                                                                            111
       invention wilh diclnfcnnc d1e1hyforu.1.UI.' u• the acli\'C ll 65 wt%    n.:lt.cr                            Cllb'J4Q        ?VA        Cam~         HYll~
       lttbeled CIM/2.;n.A comp~rllli\'e liq_lliil fonnulnlinu warnlsc,        lhtckencr
                                                                                                                         l         20           0.\          B        """"
       iuclutletl lu this Rrutly (''C'omrlll':rliw ") Arnoog U1c prlmory




..J.                          Coov oravldM h v ll~PTn             r,n.m tho D10C: ,_,_.,. n.,.,__.__             __.,.   no,.,nr"""'r--
                                                                                                                                                                        HZNPENN_00038526

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                                                                                 US 9, 10 l,591 B2
                                                        21
                                     'J.ABLP 11-continued
                                                                                                                                               22
                                                                                                    cllarac11,rlsrics wliile Ml;l() rnwid10g nnrrovcd drug .21ivCI'
                                                                                                                                                                   )',
             C'omponc.v, C'lf J10 l1!e.itac d1e-thylM1inf't gclw uaed h.1 ~c.r:atc-                 :tS ev,deneal by lhl: adYllnragt.~m,
                                                                                                                                              tmn~demml llux datll
              lit" ralo  ,~,Ll
                            1howo il> 1·10, 10, fot uuo f"'"tuWJonJo(Tol-1•
                                                                                    Iha
                                                                                                    shown in the examples obove_
                tt Frw t·Td•N'4«111i ~~l:!/Bme@,c,f d 4 mtrec9E                  U
                                                                                               s                                        TABLE 12
                                                             FMm.MiP, nrwre
                                                                                                     O~Jll ti J1e1 hf~ .s.ni1 I GOmpo.rlH'WC hq1ud -tt-ma11la
                                                                                                                                                                      llun •oluhcii Cqlilll
                               FYI                                                                   wai.}JhIJ (lr ~'4:JJ. IOlmtlaJ'ktu Wo,e IUei:tEUn::d
                                                                                                                                                          iwd.irptc;d Ott WC4P, J.i,f,q
                                                                                                      T'.JC v.oc,ati, o(Cloi:h n::.:ia1ung.Iorrmdil,0A~tb

     .Active:
                           """' ..                                                            10
                                                                                                                                                             c...1 (t,Ucra.tt.lw_.u rj
                                                                                                           i ••eelo oflh>Yinv«1110ll ,hl,w«l r..1.,dryui. r;la•.-kl
                                                                                                       wo1rflU11t,ve l!q1ijd for11mhtia11. wltll FloU':? lhowrna tire 111111 ,1.. '""·
                                                 .l.4             1A                l.S                                                                                   Jiuitcsr Jry\na
     ,Jic:\(\fCQM                                                                                    mtr Tor"" p ,ltc, Ju.I ~.,,,,....i - ~ 'rty" chor-..o
     J,d,hylN!Une                                                                                             iu, AIJmly
                                                                                                                                                                            na .,., "'~•••
                                                                                                                           CCQIIJbumi ta U1cs m1pl\WQ))e.nr         la Jlyu,1 ,.,.~
     wr%                                                                                                                                T\11h,a:Um..

                                                                                                                                                   Formolatioo narno
                                                                                              IS
                                              nxamp le5                                                                    Comru-             FW2             r· ,-112
                                                                                                                              at.J\·C       r,cl   :..s"4o   g,:l~.0%           1971
                                                                                                   Pen::cntap,1,,.-a: in    'Nc/wr%         wtJv.11~         wt,·'w-t%        Wt/'ftt~
          Comparison of Drying 'fim~Rcs1duol V.'L'tght nf a
         Comparotivc Liquid Forrnulatlou Solution Versus                                           Waler                      IUI              12.5           12,5
                                                         the                                       1).-J,yl                                                                     17.16
                        Corresponding Gel                                                    20 s1111oic.i.
                                                                                                                              4\S              us             45.5              45..S
                                                                                                f,op)'l:lcne                  11.l             11                               11 ,
                                                                                                                                                               II
         In order to uvalua1c the drying time of a comparatJVC liqtud                       ~Jycol
                                                                                            Etlw>ol                       ll Iv           26.5
      formulation solu11on as compa.n:d to tho corresponding                                Olyoerin<
                                                                                                                                                        H                 11 '9
                                                                                gel,                    >                 IU
      the study described in this example wns perfonncd.                                    t>,cJofcnte                                                                   ll 2
                                                                            Equal 25 Sadil..'ll                            1.5                            2                l
     weight amounts ( I 00 mg) or either the comparative
                                                                            liquid          Thieunc r                    nO-'C':        lfVll 1)      H'Yll9
     formulmioo i,olution or diclofellllc sodium gel formul                                                                                                         <.:o.rbopo  l 971
     were measured on lo plastic weigh dishcslllldspreadove
                                                                           ations
                                                                             ra JO
                                                                                            v.tA.t 'lo
                                                                                           l~k:-
                                                                                                                           1.5             2.5
                                                                                                                                                               •           I l5
     cm2 arcn, and then lef1 exposed 10 ambient oon<li1i
                                                                        o11s. Al
     selected time point>, the plastic weighillg dishes were                                                                                 %bwu11 1ug
                                                                            again 30
     weighed 10 dcrennine the mBSS of the composit,oo remain                                                        ComJ>IU'
                                                                                ing                                                        tl41l            FIJ/2
    on lhu weighing dish. As shown by the data in fable                                          Tin" ffirJ             aJ1"e            11<12.~~          ~•14(11
                                                                       12 below                                                                                              F97l
    and in l'JG. JI , it wiu swprising.ly found that even after
                                                                              a 24                   0.000            l•>                  100              11)\)            JO</
    hour drying period, utmost aU (ncru-ly 90%) of the weight                                        Q.0113             ~~. I
                                                                                 of                                                         93                92.6           100.3
    the iruually applied comparative liquid foanul
                                                              alion compo- 35                        016'7             9G.7                 92.9             91.t            J00.3
    sition remained on die weighing dish-1lll1s, the weighl                                          0,l3)             95 7                 92.?
                                                                           of the                    0.1,10                                                  91             100.1
    comparative hquid rormulntion changed very little                                                 '75~
                                                                                                                       95.o                 921              9)3             ,w
                                                                       o,-er the                                       9H                   9?.I             91.J             99.8
    111ne Jl<)ints ,u(.-asured, irul1(.11ting thul the dry mg ofll1c                                 l 00<             •J< 9
                                                                                                                                            ''l
                                                                          liqmd                                                                              •>LIS            997
    formulauon occuae d ,ery slowly
        In rontrast, even w11h.in the first five minutes, the                        40
                                                                                                    J
                                                                                                  _,l()l)(l  °''"      9J
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                                                                                                                                            J:A
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                                                                                                                                                             23.S
                                                                                                                                                                              ¥6.a
                                                                                                                                                                              \M
                                                                      three gel
   formulations displJyed mO!'e rapid drying tblln Ute
                                                                          liquid
   fonnulalioo. 70% or the weigln ofthe two gels that contain
                                                                               i.-d
   2% or 4% !fPC remuinccl, us compared to the over 900/4                                                                        Examplc6
                                                                          of the
   liquid ronnuhihon which rem.aioccl, after 4 hours of
                                                                        d,ymg 4s                       Compurison ofSrnbility Charactcristi(."1 ofa
  time. By 24 hours, this di Ocrcnce was even more pronou
                                                                          nced.                 Comparutivc Liquid Fonnolation Versus Diclorenoc
  os slightly over 20% and 300/4 of the weight of the h,\O
                                                                              gel                                  Sod1wn Gel Fonnulations
  fonnulations conrnining 2% and 4% HPC, respect
                                                                         ively,
  remained, and slightly under 60% of the weight of
                                                                     the
  gel remainccl, as compared 10 the almo,t 90% of die P97 I                                   fb11 ClUUllplc rrovides u compa rifQll ufthc
                                                                         liquid so ,ompusi1ions orrhe present Invention 1--,ulad ,111hi)jty ot th~
 formulation whlch remained- This is a !11.lrprisiug                                                                                                       ngomst rclcrcuce
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 one would bllvc expected the liquid fonnulation                                                                                                                      pcnod, It
                                                                       to lose           wu& uncxpectet1ly found lh:,1 \\hllu the compositiom
  weight more quickly, and 1hus have a shorter drying                                                                                                                      nftlio
                                                                      time. as           invcnllon conlain a liigh.:rcunce11 ttotio11 OJ ac\J," agmt.
 compared tu o SetllMolid gel formulation. Thus, Ulis                                                                                                                          .h<..-y
                                                                     exnruple            in  feel    resulte  d   in  .,   lower     ,'Oni.:Cn  tratlun   of
 t.lemonrual~'S that the gel cotnpositiom, of the present                                                                                                     u <lc.,in1d~ion
                                                                        invcn- 5S lmpunly a, c11mpa rw 1n the: rel~u. -... Jt
 tion display superior drying chanlCleristics as compa                                                                                                was ul~u unt'XJ'<'Ct-
                                                                      red 10 a          l!<lly lull!Kl llwt coropo;;ilion~ using bydroxyJW[')
 comparable liquid formulation.                                                                                                                                    'lccllulos~
      ·1bus. rn wrtolu ctnbotllml'nts. the prosent lnvcnric>n                           (Hl'C)     a~    the galling     ~fl,tltll l1Ud u 1,lg1111ic.a111 ly k>Wl't'(jurmuty
                                                                           pru-        llf   this    Impuri   ty  as   c<Jmpatcd to onmr<1<1liol1> nWtlc u~ing
 v1~ " foanuL1tioo w ruch b1'S ii dryiui;
                                                      lime ~ch 1ha1, 11t               curbomor (?.clhng ap.cn1s.
 mo$1, rr 5~'. weliJ,t uf lhc slut1idg umnunt relllllln
                                                                       ~ a5 u 60            In  this   5tod)',  saUJple     i. or1hc test compo,ilions were ploccd
rc~idu~ottcr 24 ~ of drying lime. prcfcmhly o 3(l.40'Y
Ji,sg Y.ci£)>1 u fthe starting amount rcmnin
                                                                             oor       Into pLi <t,c "''-" cap bllnlc~ which wc,c scak.'<.I ruid
                                                     5 ;1; • rt.'!llduu nft,;,r                                                                                          held 111
24 hours of drying lilllc.                                                             2s~     c    .sL   60%    huwlully for b mnnlll,, Aller we 6 mnnl11
     1be improved drying time of the gel fonnulation~
                                                                                       stomgc       p<:nod,    th.:SiilTlplc:s were 1eite'<l for im('Uri1ie,; hy high
                                                                        of the         perfurtUt1n~o liquid cbromntognq)by (llPLC
present invention providc,c iDlJ)roveJ e~se of use                                                                                                           ) Tho actiw
                                                                      and is 65 N1<COI. diclofcn11c sodium, was Jound
expected to lead to belier pat1cn1 compliance. Thus,                                                                                             tu elute by r JPLC 1,-1th
inven1io11 providei; o gel fhnnulouou with improved                        this       ao l.1uliun time of abont 11 utluutub, h W;Js found tluu
                                                                      dry111g                                                                                           UJ1'1U. 6
                                                                                       UlUtul1, of s1m11ge, ,111 un11urily. tetmt-d "impurily
                                                                                                                                                                     A" wa,,




                          r-.. ...............i..1 ... ...   .__ _ · · - - - •
                                                                                                                                                                                        HZNPENN_00038527

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                                                                        US 9,1 01 ,591 B2
                                          23                                                                                        24
   seen to elute al about 6.6 minut~ in vtirying amounts for tbe
   various comrosit ions as shown in Table 13 below.                                                                          TABLE 14
                                                                                                                       Bktt 4 umchnv..!'.cllnluln
                                     TABLE 13                                                      Tes!                                                      M.Of No.~J
                                                                                                  Day(1)     Swnpllllg llll1<•                              '"AWPk• llrquots
                                                    rmcnt "impuril}' A'' 1ftc-r
   Ccml)(*rio»                                                                                               0 (pnor ro !irFl ldmlJlli.1Ja11on)               24       4~
                                                    6 man1h,r of S'Dfll!O' (wr/Wl)                           0 (pnor to llnt ..im. ais!Jll~oo)
                                                                                                             O(prior to iint ,ollTUlhJO>l>oa
                                                                                                                                                              24       •s
                                                                                                                                                             16~      336
   l .5~ d;ctofenac socl.iw,-, as a colD+)UU1¥C:              0034%                                          2 ~, post fil'II dooo,,:g,
   hq_ui I formuJat~on ,olu1ion                                                       JO                     i hr post 6tM JC\11ng (pnor h.., 1CCCnd
                                                                                                             Adnlint.lrltra.1.lon ro,Oroup 1),
  2.<1% .hcloftllllC sodium ,n 0.9'¼ C..oopul                 o.oot,                                         7 brpa,t ~dOllllt,
  gel                                                                                                        10 !l.: poll fi111 rto<.og (prior' lb llu,-1
  1.0,. cl,dofClllC""'1wm 1ll 3.5"- IIPC seJ                                                                 &Mlinitrrlhcu :o:- Groi.:p l u,d pn,..,.r
                                                              0.02\io                                        lO 1«ond Adn1111latra1t011 fc,r Cir0Lp1
                                                                                      IS                     2,l,an~4.J
                                                                                                             12 hrpr,.st fill< do<lng
        J'hu-, as iruicnkd by the <111111 in Tobie 13, while bav10,. u                                       IS a, poet lll>t do,ing (p110t lv fourth
   highC1"concen1rouc>n ot the pchv,: ai;eot, lliclofooac wdlum, ,1                                         ..-nini""'"'" f0<Gro'.J:> !)
                                                                                                  1-13      O(pze·.losc),4, 11.12.24,48, 72,96,                      432
   gel formulation uf lbc pr.:i,co1 iovllfltlon cnnlllining l.5%                                            .ad 120hrpotta(UJ'U11i,t.-a.tion
   1::1.PC Hhows o higher dei!l'CC or NlnbUlly, 1i. ref.ec1ed In Lil.: 20
  appenrnncc of o lower percentage of uimp11rity A" us com-                                                                                                  4J]

  pared to n comparable liquid fonnatioo. The data shown in
  Table 13 also shows tbol lhe I !PC gel fonnotio11 is more stable
  Ihm, 11 comparable 11••1furmmi1111 conlai ning 0.1>% <"'orbopnl,                             Ph1inuo1:oklncik cV1Jluatiori of the pluhl.lltl Juto wns pe,r..
  a:, u., IIPC gel formotiol\ domonstnaies nn at IC>lbl 4-lold 2l
                                                                                           fonruxl u~ln1o loplli1 2.11 A no11-cumportmcnt model was
                                                                                           u;i.:d fortha,1lcul.11ioo oflhct.:rminal hnll'lifcllJ!<l 11100 nndcr
 reduction in~ ICVt?f of impurity"- Thus, a gd formation of
                                                                                           U1e c11rve (AUC}. Elimi11a11onmtc am.,11101s (K, ) ru,d pLunu,
  th<- present ill\'l'Dtion pmvidc. improved L'Ulbilityofthenctive                                                                               1
                                                                                           c:l1111mallou ltall'-Uvcs (1112 ) wcmi aik11l11tcd by llne'..r n:grC!i·
 agent us compared to the refcronce formulations as evidenced
                                                                                           sion unaly~.u10r1hu losflincorportio11 of the Uldlvidusl pliisnm
 in a formulation which degmdes by less thnn 0.034% or
                                                                                           cum:cmrntinn-llmc L'llr\lC< (c ~uccnlrJtio a, t-lime). Hntf•
 0.09"/4. o,•er 6 months. as was observed for the reference .lO                            lifowos d.. tcrmiru.-d usmg the formul~e;
 fommlatioru.. I onhcrmon:, the amoUJJt of "cnpurity A"
 found in 11te 11el formulation l.)f Ih,e pre!!UI 1t invwuinn 11Iler a 6                          11.,=ln l/KJIII
 mt>uth storage puriu<l w,mld result in an cirp<1~uf<! 1..-v~I well
 bJ)ow limits thm would require :iddiuonw noocli:tical 1a.1ing lS
 li?j;ting of lh<'. unpunty.
                                                                                             .>\n:3 under th~ curve (AVC) vnlucJ wt!l"e calc11Jnh•d.. using
                                                                                           lbu Hucar trnpamidal mc1 h11d and exlh1polall:d lo inll11ltu ti me
                                   Fxampl" 7                                               by 1.1.ividfllS 1hi: Ills! JUc.•m11'!bk pl;1><1u1 ,uui:c111r:1tiu11 by the
                                                                                        tcmuonl climin.11ion rate con,talll. t>lalitllll conccotmtilllli 111
                                                                                     •o time ~m w~-rc tn4'11 h,1 be th<>5C at till! pri!-d,'I.'!<' blood ..am·
        Comparison offn Vivo Bptcutaneous Absorption ol                                 phng tiruo un l~l Duy !I. Art.•a under lhe curve (AUC) wa,
                Liquid Vers11s Ocl Poanulations                                            ,·olculalet.l usl11g 1..bo fom1ulo ·

     ,\ study 1.a, oon<luctcd lo culllp!lre ,;yMcmic ob~rptino                       AUC=:fcdr' tnglmL)(l;). ,otcgnta! from zr"' 10 mfw·
                                                                                          ily.
 all.it topical opplicatlon (nlan rcforreu to us epi~ntnoeQus ~s
 ubSOl'flltOn) oftl 1:omp:m1tiw, KolutioJ1 with 11 ~el of tlto lm•llll-          The   tbllowiag  pbnrmacl'lkinelic pll!!lmc1ers lor diclofenuc
  tion.A pumllddc.i!l,ll wa.~rnployt,dwilh 61.nmlncc Ml,'l'll                sodnun were ~-ulcu.lat~d:
 arm Drui was opplictl for 7 ~ with an nddit 1ooal 1111,c: on                AUC.,..  24 (fest Day 7)
 Duy 8. l'.llood waHnmpled 011 IJ~y I 10 1fot~mtlno a bol<Cli nr; , AUCo., (fest Day 8)
 U oy 6, l>ily7 aod lmy t:lfilllllplc~ wuru talu:m to confirm stcndy 0 AUCo..,,(fest Day 8)
 ;late, nnJ udditionnl sump le, wen: taken 1110 hr. 21.u:, S hr. 1 hr,      T,.,..-(rcs, nay$ 7, S)(tllllc lu read1 C• .,)
 12 hr. IS hr, ond 24 hron Day 7 1otk1o.nniuu~24 boorncody                  c_, (TCil IJays 7, 8) (w.,;,c,imow o~-rvcd plasmu coocen-
                                                                            tr:11 ion)
 i,~ue pc'O@o:; urupl<.-s 1ukw from Days It- I:\ well' 1,-ed to
                                                                            L""" (lest Days 7, 8) {mlnunal observed plasmo conccnua-
 detllrmine an elimination ptolile.                                     55 l1(1)l)
     Tbt' dow,; <l!i.-d III lhis stOO)' were ns lbllows: 11,e compru;,-     C,,_~1(Tcst [),Jy~6. 7,andi\)(troushpbswoe1>ogCllltl1lion)
 IJ~e hOIUlioo ttrollfl received .3.115 mg diclofcnac wdiuw per             K, 1 (eliminauon half-life)
odrninis1.ra1iru1 111111 animal 4 limes dally, tbc gel (imur               ·1 112 (plnsm~ elim1nallo11 lmU~llfe).
rcce1wd 8.08 wg c..liclofuooc 60tlfu01 _per od111lnis1.n111011 Jll(,I ,J T he ;iclucv<:u-ienl of ijl'-'l/1.I)' slllw wm1 1L,scs.,uicl hy using
animal 2 times daily; the administration area was 5 L'tllX 10 6 ~pealed llll!ll~ures ANOV."1 wl th log-1r01ufomu:d Lroug,h CUD·
cm/animal. These amounts neprcsent the scaled hwrum clini-                 ccntrntionwou Tost D:iys 6, 7, nod 8 • ~thcdep.:ud.:nt vanabk:.
cal ®'"5.                                                                   timil Hll Oie indcDendt!nl vtiri~bJ.,, subJC'Cl ~• .i nw.Juir, vffilCI.
                                                                           011d day a~ u lbccd eflcct,
    Sufficient blond wns colled.ecl from uJch 11nimDI pl!I' Nam·
                                                                                Tlw dma Is shown in Flu, J2 nrul lhhles 1611J1d 17 Ctim-
piing time and rrocc,,sed fo1 ul IL'llt.t2ml.. Li-Rcpnrin plm1111nJ 6.l po:1itions
saui,,1~, whkh wen: bpllt lntn two aliquol• of 1 ml ~acb.
                                                                                         or the 1nveoliuu llikh., sigrutic:uuily lll01I! obS(11J!tion
                                                                           of dicluf.coac <Od~ru ,., ,m.'115\U'W by the mean l\llf This
Blood was withdrown from all onimals o• '11ow11 in Table 14.               re,11lt lwlds even when U!IJUStlug for do'lC.




                         Coov orovlrlArl hv I 1c:;P Tn frnm '"• 0 1ac:- 1-......... n ... .__._
                                                                                                                                                                   HZNPEN N_00038528

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                                                                                 US 9,101,591 B2
                                                  25
                                                                                                                                    26
                                                       TABLE 1.5


                                                          Oose,,rthc. Oiclofeoac
                     Oi~toronec   Atuaf                  proo"",, .,     ~um         N.unhct O.do1cn,11;.
                      So.Lum    ,ppi.cation              appheAIIQO      perdo<o     o(tbt.?:Jt
                      %(wlw)      (c:m')                                                             J'Otd.it
                                                            (rnL)         (ma)        perd.<ly        1111111
    0                      2.0               50             OAO           8.08          b.:            16.Z
    Comps.rat1\'C          1.1               50             0.24          us            qid            IM
    Solution




                                            Ti\I3LE 16                                               Mure spcc1th:ally. the effica~-y or d1clofcn.,c gel 011 knee
                            ..-Kem Ok tU lffidy ah$ on n1                                         O!\ b')llllptorns wtllbc mt;asun.-tl by 1bc subjective ~pua.1.1 0!
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                                                  r,nu       t.mu         AIJC"0-24                whlcb in.:lude., 1hc WOMAC" 1 .!0.1 n., lndc>. (rain. r hyi;ical
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                                   IJ             12          1Sl79         239111&               Asse~sment, and a Patient Glob:il Asse~menl. (See Bellamy
                                   14              Ill
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                                                                                                  N., WOMAC Osr•onnhritis Jnde:c User's Guide JV. Qucea-
                                   LS               ~          6014         104121
                                   16
                                                                                                  sla,i<l, A11sln1ll~ (2003)),
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                                   17             II        4:Wl29         26&976S                   The WOMA C LK3.1, Pat,em Overall Health ~;cs5m ent
                                   18             2"          14484        2)1494                 and P:UiL>ol Global Assessment queslionnaires will b~ ba.~ild
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        Solu1iot1
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                                   J              15         14743         16029'1                follm,s:
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                                   s              24          9$52         112460
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                                SD                 &          71 85         ~65                  Mild l Good I
                                                                                                     Modernte~2 l'oir-2
                                                                                                     Sevcr~3 Poor-3
                                           TABLl3 17                                                 P.xtreJ.nc,.-4 Very Poor-4,
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                                                                           1»bulmed. the worst skin irritnlion .core will be documented,
      A clirucal trial will be pcrfo1111cd to evaluate the safety and ~ and dunge in vital ,ii:;os and laboratory parume tcn will be
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  cllicacy ofa g_el fonnul111ioa of the prcs~-nt invcn1iooin sub-
                                                                              Tl\<! foregoing discussion uf tile iuH:tnlon has bCC11 rn,-
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 taining no diclofcnac). Subjects will opply 2 mL of study gel
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 II> tbeir OA knee per application.
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Overall Health A~essm ent. Secondary variables will be
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the placebo ~ nan.
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         6 umc ox tent as il'enoh itt(lividnul pijbLiClltiC!Jl, ~at~ot or paicru                 J0-12¾ w/w pmrylen,: gly.'<11,
        appliculion wa&S(ll?Cifli:atly nod iodivid1111lly tndtl~1tea rube                       Ill le11.~1 Olli! 1h kkeAitrg ogenl, and
         i0<.-orporotcd by relerc= i11i1s ~11lirely.                                            water,
             Wb.ul is cluimlld. is:                                                             wbercjn thct11piai I formulminn JI vigcosltyoi 500-?00(h:p.
             J. A Lopic~I formulmio11 comp1isiug:                                               D. ·111e ro11ical futmuJutfo" of alallil J z, wherem the al
             diclofotwc sodium pru.osent. at 2% w/w;                                        leaKI one lhickcnirig aiicru curnprist-,;; hydtoxypt.ipyl ccl1u.
             dimethyl sulfoxjde present n1.40% lO 50% w/w;                                  1060.
             ethauul present al 23% u, 29% w)w,
             prupylwe glycol present 111 JO¾ l<J 12% wlw; i111d                         10 1.4. Ilw !opicul formul"li,m of cl~im lJ, whorcln lhe
                                                                                            hydroxyprnpyl relIulo~ l, pcesent,u unmnounwl'2 ..5¾ wlv:,
             water lo /ll11k~ 100% w/w,
                                                                                                15. J ho topit:.i l.tbt11llllatlo11 nl"clnlm 12, whareia thu pEI IB
             wll.,ruiu the 1cpiuttl focmuh,1100 has a viscui;!ty of 500 lo                  4 ll) IO,
                 5000 co11li11ow"' und wfl.:n,in the foamJlation has" pH
                of4 to 10.                                           .                         16, The tu11icnl rc,nnulation11fclalni 12, wtrcrcin pml'ylene
            2. 1111.> topical for.mulotlon nf ~'laim I, wber~ia lhe coocco- 15 aJycut !$ pr1!lle111 1n 11n ijlllQ1111.1 uf J0% w/w.
        trnti,in oflhti tli111cU1yl sulfpxido i~ 45.:1% w/W._                    ,              l 7 The 1opfcul roou1ilutiou llfolnim U, whoroJn propyleue
            j _ The rnpical f<>anulatioo of clllirn I, whel"Cl11l 1b" topical              glycol i~ pre;cul i11 ,m aioounL of 11% w/w.
       fonm1lutlo11cruupristl$ at l~ust nnclhickcnJn-g 11ger,1.                                18,The.topical liJClllUJ01io1t orclai.rn.U, whureln propylene
            4. TI1e10pical lbrmulaliou of claim I, wherein tbe ~nnceo.-                    ~lycul 1s preseuL in on omoum or 12% 1v/w.
       ltDLion ofthe prupyl=g!y,•ul 1~ 10% w/w. ,                                              19 '111c topical fonnalHlion ut'clllilll J2, wbett:in the lor-
            S. The tnpic~l lo,mul!ltiC)D (1fc.laitnl, whcretn lha concen- lO muln~on dcpmdcs al Jes.<, U1r1u 1% over 6 n1011ths,
       trulion oruw dimuU:t.yl sulfoxidois 45.5% w/w.                                          211. A method for l.reittiug lhu palo 111'11steoarthriciN of 1be
            6. The topica l fonnulntl(111 nr claim 2, wherein propylene                    kneeiu J pallenJ lo 11CCd lhercofcc.1napri!ring t<:>plcuUy admin-
      glycol is prescrrl in nu amouut oJ I~% w/w.                                          istering lo tl1a ktJ(>l oflbc patient n fonmdwJcw o.Cclalm 1.
           7. The 111pical formulalloa nl clwm 2, whereon rropylenc 25 l l. The mt'1Jmd or claim 10, wh.-rdo Ille fonnuJaifou ls
      glyc11l is t:11\?~enr in.1U1 .imuuut of 1_2% w/w. .                   .     .       !upically admlnistorcd to tl1e l::nec 2 lim..'l; per d(Jy.
           8. Thctoplcal IQr.mulationofcla!III l, wherein the V1Scos1ty                       .22. A motho<l for treatlng I.he pai11 ol' osteoarthritis. of lhe
      is ut least I 000 cp,                                                               k.nec f,t o r,aliont in need lhereof<.-omprl8ing topically adlllio-
           y_ fhetopiC11I fonnolaliounJ'c[aill) 2, wllen.-in lheviscosity                 li,11.:rin& tu •he knee ol lhe palieut u lilrn:i1ual inn of th,";I' 2 ..
      is al lea~I I000 cp,                                                            JO      ZJ, Tbt" melhoi.l of claim 22, Wherein lhc: rormuillllOll IS
           10. 11,e topiu;u ronnub11'io11of c-l11itn1, whelciu Ule fonnu-                 1oplcally ndministeJ(.'<i tt\ the kacc 2 lin,,,_., pen1ry.
      latiou dcg:rncli:,<. at less 11ian ! % ov"'. 6 DlU/lths• .                              24. /\ Jll.ethad for trca1ing 1he pain urusteoarUJritJg oflho
           11. Tbo1011icaJformuluti1111 ofcla1m2. whercm thefoonu-                        kooe iruJ pntia111 la need lhel'Ctl/ corn priKinll, topically edolin-
      Jation tlcgnides al 1"8• lh:lu I% o~e~ 6 montt,s                                    isroriug 1n lhc knee ofthe p:1Lieo1 a fottnullllion of cht~ 1~.
           12. A ropica.J formulalion (·ons1stmg essentially of:                      3       25. ·11te melb,,d of claim 24. whQroio the Jbrmulat1on 1s
           2% wlw diclofennc soditun,                                                  ~ topically aclminiswred to the kt100 l limes per day.
           45.5% w/w DMSO,                                                                                              • * * • •




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Case: 17-2149   Document: 36   Page: 390    Filed: 08/16/2017




                  Addendum 12

                U.S. Patent No. 9,132,110

                       A293-A374
Case: 17-2149      Document: 36           Page: 391               Filed: 08/16/2017




            UNITED STATES DEPARTMENT OF COMMERCE
                United States Patent and Trademark Office

                                         October 01, 2015

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 U.S. PATENT: 9,132,110
 ISSUE DATE: September 15, 2015




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                      Singh et al.                                                                Date of Patent:
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      U.S. Patent                Sep.15,2015               Sheet 10 of 10                    US 9,132,110 B2




               FIG. JOA




             Figure 1. Dispense 10 drops of PENNSAID~ at a time


              FIG. JOB




             Figure 2. Spread PENNSAID® evenly on the front, and sides of your knee

              FIG.Joe




             Figure 3. Spread PENNSAID® evenly on the back of your knee




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,io!t,t mvhility l•r j1>mt :,rd.,iM:tm:<: JMY also b~ .!$S<X;i,Jtt,I                     ~cil.i-,w epidermal peneu·atiou by usir.g a skin peuetr.i!iou
 Vllth Uf\iJt.:scJ bY ;1 '-«rte!\' o!in:un.cs ~md cQn<hi1on$- ?-,lU..' H(1~, 6s enhancing whicle.
 1~ l:'X:llllf-ie, 1n~h~h<di:.' ,iiSt1rd;·1~, isdt~o1h. inicry t<l join1,.                    "fopic:il NSAlDs present a safer poter.tfo l ultcrnatiH: to om!
 capsule, boo.-, c::irtilage, t,~ndon, lig;,ment or muscle, Irac-                        i.hcrapy, with dccrct=seit sy~tcmjc cx1,c~ur-:; to the active




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                                                                                                                                                          HZNPENN_ 00038554


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                                                                 US 9,!32, l l 0 B2
                                     3                                                                                 4
  NSA1D molecule. While J)covious reviews (Muson ! ,. ct al ..                             There remain~ a need in the art for methods of dosing
  BMC Muscu/cs~/et /Jisord. 2004: S:2S) have SU&g<:$100 that                            topical diclofonoc fomn,Jations, and providing users and p1c-
  topical NSAIDs arc etf(-cti-1e for c,steoarthritis, Lin et a.I.                       ~cribers wi,b iuformt1tim1 regarding d,-ug 1mxlm:t at:ributes
  (BlvlJ, 2004: 329:324-6) in thc--ir met,1-tmalys,s of the sr.me                      and desired therapeutic effects as weil as instn:ctiom on uses
  sLttdie:. stressed tliaL !l,e various prodncr,; showed symptom                        in conjunction wifu mher topica.l agems. Snch needs are lllet
  roJief at l or 2 weeks but loss of h~11cfit at 4 weeks, and                           by th~ inventions and discoveries provided herein.
  rejec,ed them as there was insut&ient ~vlt1cocc to justify a
  re<:ommeudation ofloog-term use.                                                                              BRJ.EF SUM'!vL'\RY
        Subsequently published raudomizro eontrulled sluciies
  haw described a penetrating topical diclofotiac sol u,ion in a ;o The inventions describ,·d and claimed herdn have mz:1y
  dimethyl sulfoxide (DMSO)·-..cnntai11ing vcl1iclc n; effirn-                         attributt"S .md embodiment> incl11di11g, but not Hmitlltl to,
  cions and safo in relieving 1.h,, symptoms of pr',mary osteoar-                      those set forth or deoctibed or referenced in this BriefSum-
  thritis of the k."1ee over 4-, 6-, and 12-wcck 11-eaunent periods                    mary. It is not intended to be all-inclusive and the inve.ntion~
  (Baer P A, ct al. BMC M11scufoske!et Dison/. 2005; 6:44;                             described and claimed herein are Ml limited to or by the
  Booi«lmn A /1., ¢( al. CMA.i. 2004; 171 :333-!i: RoLii S H, 15 fentwes c>r nonliml,ing t<mbcc.liments idcn1ified in this Brief
 Shainhcm$C .T 1.. Arch !ntr,rn Med. i.004; l64:2017-23; Tu~-                          Summary. which is h:1.clu<fod for purposes ofillustrution only
  well P S. et al. J !/hcumatGl. 2004; 31 :2002-12). Recent                            ?.nd not restriction.
  topicgJ NSAID reviews and meta-ur.alyse;; (Bunning M.,BrJ                                Disclosed herein are methods of treatment and mcrh<.•ds of
  Ccmmunity Nurs 2006; l l:487-92; BaJ.uuog M., Expert Opill                           marmfacmringnnd 11,ingn topical dlclofo,.,c phannaceutkal
  l'!tarmacotlrnr 2008: 9:2921-9; Biswnl S, et nl,, .IRlt<•u11wt1JI. :?O prudu,;l and related ar.ides and kits. Also disclosed hcreina:e
 ?.006; 33:1841-4; Haynes S, (ktnm('ll H., Clinical Chir<>-                            me1hods of preveming or tr<"nting pain. including joint pain,
 proaic 2007: 10:126-38: Moore RA, et al., Rheum Dis Clin                              and artbi:iis, incinding osteoarthritis.
 N Am 2008; 34:415-32; Ozguney l,ExpertOpin ?hannac,:,.                                    In one nnnlimiling embof,jmeot, a method of using topical
 t~r 2008; 9:H<05-l6; Towbccd TR, .l Rheuma10!. 2006;                                  djcJofor:nc. and n:lr,100 methods or treatment, comprises
 33:567-73; 7..acl~cr J. et al., C:,mml Medical Research and 25 iuforming a user of certain in.formation regarding topical
  Opinions 2008; 24(4j:925-9.SO) lmve evalua,e<J toe data frc:n                        diclofeuac, for example. a mpicai diclofe11ac solution com-
  these te>1>icnl dictofeuac solution studies, sod sub,iequenliy                       prising or cons isling csseu; ially of 1.5% diclofen.ac sooium
 published 113tiona1 guidelines (Ch.ou R, et a!. O:,mpar~!ive                          (2-f(2,6-tlichlorcphenyl)"mir.o)benzc11cncetic acid, mo1mso-
 Bffoctiver.e:;s hl;d. &,fety ,,f Analgesics for Oste:>arllu1tis.                      dium sah), 45.5% DMSO. e:.lJonol, propylene glycoi, glyc.:.-r-
 C.1mpanni.-c Effectiveness Review No. 4. Rockville. Md.: ;o iue, and water (sometimes referred 10 bcn:iu as "Pcnnsaid'),
 ~ency for Healihcare Research and Qunlity. Sepl¢tnbcr                                 said iafonnation comprising one or 11'1()fe of the following· (1)
 2006. Available at: www.cffc~tivehealthcarc.ahrq.gov/re-                              clillicnl effects of lupic~I diclofom,c dosing, including, for
 !'Or'.sltinal.cfm; N,uional (',ollali.')rar.ing (:C;urc for Cbro,nc                   example, (a) the effects of pi;nicular four 1imes pet day
 Cou<litic:ms. Os1-,uar1hritis: l\'atio!llll clink-al guideEn~ for                     (..QilY') closing; (b) ,htl <Jffects of QlD dosing in one or more
 c.~re and mana1,crt1M£ in adults. London: Royal College l'hy- JS clinical trials; {c) rC$ults from i, 12-wcck, double-blind con-
 sicians. 2008. Tm\ncnbnum H, et a)., J Rhcumatol. 2006;                               trolled trial or 1opic3i diclofenac in " ,olution conlai.nicg
 33:140-57; Zhaug W, et al. 2007, supra; Zhang W. ct al. 2008                          di.methyl sulluxiw.- iu subj~>cls with osteoa11b.-ilis of the knee
 supra) have cited tl1ese ,studies A, evidence for lhe use of                          wh.ich compared ;he perform,111cc of s,,id topi.cal diclofonac
 lopical NSA1Dsas fi.~l line therapy foro,,c,.1arthritis. Topical                     solution ag:,uist a vehicle solu1 ion contnining 45 .5% dimcthyi
 diclofcnec solution is used for the treatment of ostooar'.briiis 40 suJfuxidc ond a p!nccbo solution conrnining 2.3% dimethyl
 and is Clll'It'nil}' appr,wed for sale in Canada ao<l s,'\'cral                       stilfoxide; (d) pha:macoki.tit:tic1\.'>uhs from llll<.: or more stud-
 Europe.'!ll countries.                                                               ies in which singJcaod muiliple doses ofa topi;;al dic!ofcn~c
       1lie efficacy oflu11icul NSAJDs, #ucli ns topictl dicloferu,c                   in a solution cont.1in.i11& dimethyl sulfoxide w~s applied topi -
 soluti<m, is thought to be due to local action of the active                         ~.ally to llealihy hum.in volunteers; (2) ru1 adverse cv~! pm-
 NSAID mokcuJc following its penetr:ltionthrough ihcskin to ~, file of a topkal didofon&c, including, for example {n) lhat
 th.c tissne site,; cfinilrirnmation and ,pain. DlclofoMc st>diUlll                   concc,mitant use of oral NS/>JDs with 10;,ical diclole:::iic
 is a member of the arylacanoit· add grot,p of NSA1Ds with                            result~d ins lugher rateofr,-ctal hillnotroage, more frequent
 lip.'JJ)r..ihc properties that linut iis pemrrnneous penctrmiun                      nbmmnal crcatinine, urea ;iud hemoglobin: (b) that in a C<ln-
 (Nishihara T. et al .• C/:em. /'/:arm. t"Jult 1987; 35:3807-12).                     trolled trial. a higher nne of contact dermatiti, wilh vcsides
 The biological property of DMSO to rohane<: skin pme;ra.. so was observd aftt·r treatment of J 52 subji,cts with !h<: com-
 ,ion or boll, hydmphjlic and lipoJ>hilic molecules i$ knriwu                         bimttion of :opicnl diclofonac and oral didofenac; (c} the
 (WilliamsAC, Barry !3 W ,AdvDr11gDe!ieR.!v200t.: 56:603-                             results cf a clinical study dcmonstrmins that the nc!ditior. of
  18), with reccm rc,carcb focusing on the mechnnism of                               topical diclofounc to orai didofcuac did not cause an clevo-
 CJ".bancement (Gurtovenl<o A A, Anwar J, J Plrys Clum: B                             ticn of! ivcr transamirnt$CS in osteon11hrilis patit';t11-s over u~e
 2007; ii l :l0453-60j. Tile pcrcmancous absorption of ss of nrnl ,lidofen.sc aionc; (3) prt:Cliuical study t"i.>sulis with
 diclofe-n,:c fulivwit1g (t 1:i..o.tl1:dnse rc~mi:.n of a topical                     tupical tliclofeuac, lnciudi11g, fur example, tile r<-sult.s of an
 diclt>fcnac ~olution (based on u DMSO-couminfog v,,l,ick)                            nuimal smdy ia which no adverse ocular effect, were
 was sigai!lcamly enlllluced compa..'t'Cl to au aqueous                               obs~rved nftcrmultiplc-daily dermal application to rats for 26
 uiclofonx formulation witl!ont DMSO (Hewiu. PG, ct al.,                              weeks and minipig.s foe 52 weeh of DMSO nt twice the
Phonnacol Res. 1998; 15:988-92). Within th&t>XlensiVsl Ji\. 60 cnncentrn:juu fouotl in a tupiecU diclofonac solution (~.g..
 erat1,rc on Dl\iSO an· un,ui»tantiatoo claims of thcrapeu_;ic                        Pe1>11S.l:d®); and (4) a statement that, once dry, suoscr<.X:n,
 effica~y in ihe treatment of tisteoa."thritis, but uo c!licacy of                    iuscc1 rcpelhmt, lotion,, moisturizer, rosmet:cs, and/or other
 DMSO vehicle WO$ shown i.n2 previous, 4~wook ra11domj.tcd                            topic.ti pmducts can be applied lo an area previously treated
 Ci'mroHcd sladynf.. t<>pical dickif~r.,c solm!on (lkt:kJ_na~1,'\                     with ,1 to1,k,1I diclufon:ic-si;lmi<•n (e.1,:.. l'cn11saidc~~-
..-.'\, t f· al. 1i.fft:c:t (,fa topk:,f did!)tC:...~.rc ~'>h.dtt·:o .h~r reh(.wmg ss     {11 arn){Jwr m,nljmitiu):t ;;:mb,,dim:.--nt:, ;., rn~;hod <lf' tt~ing
 ~,m;11<lj):1s llf;>l'imary o,lL~ ~,rt'h-rit i~of Ib1.: k1mc•:" r:ut,k>mii:(.><I      lo()i<:~! tlidoft•mt<: for the lro$tut,~ll <>.f ost,1'1<Jrllwifr;, uml
 ~timr,Jfa._l tial . CMAJ, 2()0,~: l '71 ,:,:,:;~'I).                                 reinte,J m,1hf,d~ vftrCiilll\CW. l"<impsi::,,;; J'l\Widins II pntit"fll




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                                       5                                                                                 6
 with ,;aid topic;iJ diclofenac and providing c,;,ttain ioforn1n-                      c~tay to healthy lmman volnnrcen; (2) un ~~dve1se event pro--
 tiou to the patient n:garding Silid topical dklofe,mc. for                            fiie of topical tlidofo:1ac, including, for example (a) !hat
 examples a iopica1 dit~loft~unc soJutio.:1 comprisingorconslsr.                       coucomltaut usia, of oral NSAlDs with lop:cni diclofenac
 ing esst!l1tially u;' i.5% diclofenac sodium (2-[(2,6--dichlo-                       resulted in a higher mtc of rccta! hemorrhage, oore lh,quent
 rophcnyi)amiuolbcnzeneacctic 3Cid, monos,·xfaun sait),                               abnonr.al creatinine, urea and hemogtohtn; (b) that jn a cou-
 45.5% OMSO. c!hailol. propylcnc glyc.~l, glycerine. and                              tmlk.-J u,nl, a higher r~!e or conJacl dermatitis with vesicles
  wt1tcr (:;omctlmes reforTed ro herein AS ··Pcnnsai<f'), Said                         was observed afl<l?' trc~lment of 152 su~iects wilh the com-
   ir.forrr.l!)tion <'Omprising one or more of 1be followinp,: (I)                     bintitioG of a topic.ii ditlofenac ur:d om! diclofcaac; (c) tlte
  clinical effects of topical diclofenac dosing, irn,iuding. for
  <.'XM'.lple. (a) !he effocts of particular four tiwcs
  ("QID") dosing; (b) the efle<:ts of QlD d~ing in one nr more
                                                                   ,~r                rcsuits of a clinical study dcmons;ratiug t'lal lhc addi1im1 of
                                                                              day 10 lopical <lick>fenoc to oral rliclo.fonac did not cause an e!1..,va,
                                                                                      tiua of liver transaminas<!l; in cslcoarthrilis 'O!\ti~n;s uvt>r use
  clinical !rials; (c) re,nlts from a 12-wwk.. double-blind co::1-                    ::if o~al diclofeuac alone; {3) preclinicuJ :audy results wim
  trnlleu trial of topi~J diclofonac in a soiutiou comnir.ing                         topical diclcfcnac, ir.cludi.ng, for example. thi> re.,ults of ao.
  dimclilyl sulfoxide in subjl-cls with o,!.!<lnrthritis ofll,c kut,e                 ar,iurnl study in which no adverse ocular -,ffcxts were
  which compared the petfonnance of' said topic.ii diclofenac ,5 obs<1rved ,incrmulliple-da,lydenml :ipplicmion to rats for 26
  Rolution against a ,·ehiclesolutioucontainini; 45,5%dimethyl                        wea:ks ~Jld minipigs for 52 weeks of D.M.SO at twice the
  sulfo1<idc al.id a pfacebo solution conuiiniug 2.3% dimethyl                        COllCl!lll~alion fmmd in u topical diclofcuac solution (e.g.,
  sulfoxide; (d) ph~rmact>kineticresulls from one or more stud-                       Pennsaid®); and {4) a statt:n:.tmt that, once dry. su.uscre~Jl,
  ies in which tiinglc and multip!,~ doses of a topkal diclofonac                     insect rcpcilant. iot!nu, molstw.izcr> cosmctics1 and/or 0U1t:r
  iu a solution containing dimethyl sulfo,ide was ap1llicd lopi- 2~ :opical pnxl\:cts <..-.m be applied to an are.1 previously trearcd
  ca!ly iO healthy humm1 voluutc,,rs; (2) an advetsl' l' WIU p,:c,.                   wi1ll a topical didofenac solution (e.g., l'cnnsuid®).
  filt> of a topical dicJofon:ic, including, for cXample (a) thnt                         ln still yet another non!imiting emhc,dimen1, " method of
  concomilnnt use of on,I NSAlDs with topical diclofonac                              u.sit1l', mpic,il diclofonac, for example, a topical tliclofensc
  re.,ulted in a higJJ.er rare of r~lal hemorrhage, more frequcm                      s,,Julion comprising or comistiug essi:mially of 1.5%
  ab11on11al creatiuine, ureu and hcmo2,lohiu; (b) rhf,1 in a con- 2s diclofenac S<-><liunt. 45.5% DM.SO, eth,1nol, propylclJ!.· glycol.
  lNlted trivl, a higher ra;e of comact dermatitis with vesicles                      glycerine. m::d water. and related methods ofireatmen,, ,:,;m-
  W3S observed nfte.r rrcu1mc111 of 152 subjcds with the com-                         prjses 1,rovidjngts u~,~·wlfh topical diciofenHc. aud informing
  biwtian of topical <liclofennc and oml diclofoooe; (c) th,,                         me u,,cr of one er mure oflbe follms ing: ( J) clinical effects of
  results of a clinical study d.:monstmling that the adt!itfon of                     topicn! diclofon?.c dosing, i11ducling, for e~umple, (a) !he
  top;cal diclofciiac to uru1 <lidofenac did noi cause an cleva.. 30 cll;.cis of particularQm dosin!l; (b) thoeffccls ofQlD ua5ing
  lion of livci trans:lmiuases i:l ostro!U1h.-ilis patients over ..se                 in one or ffilll'C dinic:il trials; (c) reS'.ilt.< Ii-nm a 12-w,,ck,
 of ornl dfolofonac alone; (3) pnx:linic<1l study results with                        t!onble-blind contmlk>rl tri11l of topical diclolc11:ic in a solu-
  topical diclofon~c, incindinp, for example; the results of lilt                     tion couiainillg dimethyl sulCoxide in su~jccls witb omx•ar-
 animal study iu which r:o aJve~e ocular effects were                                thritl6 of ilic knee which compared the perfomrnc.cc of said
 obs<:rved a!ier nmltiplc-d:lily dennai application to ra;s for 26 JS lopical diclofonac solulinn ng.qinsl nvchiclcsolutioncont2iJt-
  wt,c,ks and minipigi; for 52 weeks of DlY,.SO or twice the                          ing 45.5%dim~thyl sul foxide and n plncel-.1 ~olution oont>,in-
 con.ccnlratiou found iu a topkal diclofenac solution (e.s.,                          ing 23% du.n~tbyl sulfoxide-; (d) phamiacoldnetic resulL,
  l'cllllS3id-®); nnd (4) a ~tatemeut lhAt, oocc dry, sw;screeu,                      from one or mere studies in which sio1il¢ ~nd m11!1ip1" doses
  i1,stx:t repe;-ilm1t, lotion~ moisturizer, cosmetjcs: and/or other                 of a topical dicloli.-uac inn solution containing dimcihyl sul-
  topical pr!>.iucts C!ln I>'<' applied lo an are3 pr~vim,sly treated 40 foxidc was appli,-x! topically 10 hc.1,thy human volunlcers; (2)
 wiili a lllpical diclofenac solution (e.g., l:'Cllll$ald®). Ju occ                  an adverse event profile ofa 1opical didofonac, iududwg, for
 nonlimiling cru.bod,mem the method is used to treat os1e.1ar-                       exau11,lc(11) Ihm cooc.omit,mt u,eofoml NSAJDs with topical
 ;hritis in patients witb ost,,-~lrluritis <>f th.: l<J.t~,:. l.<1 a1mther           dicloferu,c resulted in a high.er rato cf r~x:tai hemorrhage,
 11011-limiting embcdim~nt the patient is fiirther informed of                       more frequent abnormal creatininc, ll.l'Cll and hcmcglohin; (b)
 tbe re~uhs of phannucokinetic studies of said topical •5 ,hnt in a cor.!rc!lcd !rial, a 1-.ighcr rate of contact dennati;i~
 diclofenzc solution in hcnJthy hullllln voh11liecrs 1u which the                    with ve.'<ide:; was observed after tr,~lmcnt of 152 subj~,:ts
 mcnsurcd plaslllll hall' lifo ol' diclofenac following;; single                     witl, tl,e c:ombim,tiou of tooical diclo!'..!n,ic and oral
 dose applicatio,, wa, short.<,r I.mill said tltc m-,;;s=l plasma                    dic!ofcllacj (c) !he rc~ults of a clinical smdy dmmnstraling
 l18lf Jjfc ol'dic!ofonac following a mulli-dose upplic-Jtion.                       that !he 3ddition of topical diclofenac 10 om! <iiclofcnac did
      In nnother nonliuliting t>mbodimcnt, a method of using ic not ~r,usc an devat:ou ofliver transaminases in os1eoarthritis
 ,opka! diclofon~c. for example, a topical dicloformc solution                       palients over use of oral diclofoswc aloue; (3) preclinical
 compnsing or wnsisting essenliatly of 1.5% diclcfenac                               s1udy 1-csul!s v..ilh topical dic!ofenac, including, for example,
 ~odium, 45.5% DMSO, cthanoi, p.l\lpyle.\e glycol, i;fycerine,                       the results of Bn ~r.imal studv in wllich ntl a<lver..e ocular
 aod "'-lier, and re!aied methods cf ,reMmi,nt, comprises                            effects wereobser,oo aJlermii°Jtiplc--daily dermal applie111ion
 obtaining topicnl diclofonnc froru a conrnil1cr1>1,1viding info:- ss to rats for 26 weeks and mini pig,, for 52 weeks ofDMSO t.t
 ination rcsarding ( 1) ..:Hnical cffo~ts of to?ical dicJoft.·nt1~                   twice lhe concemraticn. found iu a 1opical dkluft:nac soJution,
 dosing, including, for exampie, (a) the eftects of pruti<:ular                      (e.1:1., Pc~-~said®); and (4) a S'lalement that, or.cc dry, sun-
 QJD dosi11i; (h) !he t;,!focts of QlD ,~~ir.g in lltll> <,r 1m,,.,_,                s,¥~~,... j,,~~c;t rcpeliant, lo1fo11..1:ritth,turiur,cosn.1ctii-is. an.o/nr
 c!iuical trials; (c) resalt~ fn,m a 12-w.,~l. drsui•k·blind ~<,u-                  t°)tlwt !t1 pi¢;1l products cau be 11r~r,Hed to an tmt~ r,rt'\<i1Jt.1~ly
 !rollt'tl ~r!tl! of tooical dkil'tfosm~ in a sohujon c:outniuin~ 60 lrc.11ed with 11 tQpic,1! did,1fonuc $,>luriot, (e.g., t·,,~®n,~To).
 dirl\e,lr:,,1 su!foxid; mst1hj.?Cls wiih os:cr,m·r,u·iti~ 01"1111, ku~,·                 In anoU-;,)l' nonUmi,lr.t ,:mbc<llm<.:m. a me1Jr;id ,;,f,,si.o~
 which co:np:tMl the P"rfonnm1e<: of ~aid lapical diclofonac                         topical diclofo02.c, for e~:unple, a topic:il diclofeooc solution
 solution agair.st a \'d\i.cic so!ution containlllg 45.53/.,.di.mcthyi              comprising or ctmsisling essentially of l.5% d:clofonnc
 sulfoxidc aud a placebo solution couti,iuin,~ 2.'1% dimethyl                       sodium, 45.5% DMSO, e,hnnol, propylene glycol, glyc,:rine,
 ~-ulfo.~idc; (d)ph:,,m:i,~isiul"i;c result$ frvm ofi<l <'t m1.,rc ;;t1;,J. 1s (uul w~,l#J', and ,-~1~\1(:d 11wd:,,:1,. ,;r ,~~\lment e<~;)\pti:;c~
 ,e,, 111 wJ1ich sin!tl,rnud mu1tirJ,,-k"'cs1)f:, tv1•i-~•l <ht1"Jen;,c              ndlnit\:.Sfering 11 101,ka! <li~l<•fo-n.~c l)MSU fofmuJa•i,,n 1') :,
 In 3-1><)lt1ti1>1,<"l.>l\f3irti1lg t!111)"lhtl S\tlf,>Xicie W:lS HJlpJ.ied ta;,i-  !);ll.i1:11t. ,vbor,,i11 th<' a•.lm,ui~l.ruti,n, pt\wul~ a llicn11><·utic




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diclofer:r:c concentration by application (oJ; for exrunpk               net c-..ause an ek:v11tioo oflivttr transami!').'lscs in O!':troar+Juitis
about 40 drops) to one or both knees to a subject hav,ng                 patient~ over    Uie   of oral diclofeuac aione; (3) 1~rccJinical
osteoai1hritfa or the knees, and tht user is inform,d v,,ith             st\1dy resull~ i~ith topical diclolen:1<:, including, for exam11lc.
regard to one or more of the: following: (l) clinical effect, cf         !he resu!ts of an anirr:f:1 smdy to Vrhich n.o udvcrse oc1.:j$J
t0pkal d.iclofon3e in DMSO dosing, including, for example.               c !!bets were observed after multiple-,faily dermai applicat,on
(a) the effects cf psmicular QID dosix,g; (b) the effects ofQlD          it> raL~ for 26 wed~ and minipigs for 52 weeks of OMSO al
dosing in one or more cUnlcaJ t1ials; (c) results fn)m a                 twice the co1,ce.:.,tration fo-...u,d in u t"pj1;~J dicl" l<!nac solution
 12-week, double-blind controlled t.-ial of mpica! <licloft.'Uac         {e.g.. Pcrni,;ai<l®): a:"ld (4) a statement :hat, occe d.-y. Sllll·
in a solution containing DMSO iu subjects witu o,teoarthritis            sc(e(•n. it)StCt tepd!nnl, fotion,, moistu.-i~r, eo:itr:ctics, andlcr
of the knee which compared tb.e performaucc of said topical IC           o.hcr lcpical piuducts can b,: applied to an a,-ca pr,,-viously
diclofenac snlulion against a vehicle solution rontaining                1re:1ted with a topical diclofomtc mlu:ion (e.g., PeWJSaid®).
45.5% dimethyl sulfoxid-,,.nd a placebo solution concainint'                ln or...e nonHmitir,1g cmOC:din1en1, :in article cf mnnu facture
2.3% dimethyl sulfoxide; (d} pharmacol<iuetic re,uils from               c11m1)rise.s n c<>nleiner oon:lliuiug e dosage form of !<>pica)
one er more studies in which single and mu!,iplc doses of o              <l:c!ofooac, for example, a topical d.iclofcnac solutin11 com-
topicaldictofollllc in a sotulioncon1aining dimethyl snlfoxicle 15       prising or con~isting ~si,illially of 1.5% diclofemu: sodium,
wn; ap1>lied topit-.,illy to he;,lthy humau volunteers; (2) HD           45.5% DMSO, t:thano!, pn)pylene glycol, glycerine, 2nd
udver.c event profile of a topical diclofenac io OMSO,                   water, wherein the comninet is s;;.,;ociatcld wtth jJublishcd
including, for example (3) that concomitant use of oroJ                  ir..aterrnl providing some or ail of the following information:
NSAJD.; with topical diclofonnc rcsult~"tl III a higher rate of          (1) clir.Jc.al eflccts oftopical diclofc,:ac dosing, inc!t.,cliug, for
r<.-c!al hemorrhage, more -&eque,t abnonnal c,-eatioim,, urea w          cxmnpie, (a} the em,cts of pac,icula;: QJD <losing: (b) the
and h<.".ruoglol>in; (b) that in a t,on1rolled trial, a h.igh~r rak of   effects ofQlD dosing i:i one or more clinical trials: (c) resulw
contsc1 dermatiti$ with vesicles was observed after trestmeut             from n 12-wcdc, <ionbl<:-blind co11!rol1¢d inal of topical
of I 52 subjecll; with the combinntion of topicnl dic!ofrJ1ac            diciofonac u1 a soluti(ln c,):,taining dimethyl sulfoxid,1 in
and ornl diclofonac; (c) the results ofaclinical smdy de.mon·            ,nhjec1s with osrooertb.ritis of ihe knee which cou1pared the
srrnring tliat ihe addil iou of topical <liclofor.,,c to ornl 2s         P"'fonnance of snid topical diclcfona<1 ,olutiou a».ail.1s, a
didofenac did ooicause an eleva1iono!livc,· 1ransaminasc~ io             vehicle solution ~-ottmining 45.S¾ dimelh.yl su!foxide nn<i a
ostcoarthritfa patiems over use of oral diclofenac olone; (3)            i>laccbo solution oonroiai.ug 2.3% dimethyl sulfoxicc; (d)
preclinicnl study rc~uhs with t(lpicnl diclofonac, including,            ptwm:.acokinetic results fa1m one or more ~tlldi~ in which
for example, the results of an ao.imnl study in which no                 sing!._,. aocl multiple t~Jses of a t1;-pical diclofomic in a solulior:
adverseocularcffccls wcn,observed a1kt multiple-daily der- 30            cont:liaing dime:hyl sulfoxi:fo was AppHoo top:cally to
nuil applicalion 10 rats for 26 weeks and minipigs for 52                healthy bunwn volu:iwcm; (2) an ndvcrsc evrot profile of .i
wt:eks of DMSO al 1wicc the concemmtion found ;n a topical               topwnl didofc.-uac, ir.cludingl .for example (a} that ccnco.mi~
dickifonac solution (e.g., Pcnnsaid~); and (4) a statement               ta.nt use of oJ'al ~5i\ 1ns with tor-k~l djcit,fo.n&c re-.suhed in a
that, once dry, sunscreen, insect repel1nnt, lotion, rnoi~tt1rizcr,      hig,L'<'r rate cf rectal h~mor.-h,ge, mote frequent ;,br.orrnal
cosmetics, amVor otlier topie2l p1odue1s c:m be ap;;,li~d to ao JS       crent;ninc, nrca ind 1leruoglobi11; (b) th.~I in a controllt'tl trial.
a.-ea previously trcateci with a topical diclofcrwc solution             a hig_her rare of conmct de.mrnti"ti~ with vc,;icl,~ wos obscr..-cd
(e.g., Pennsaid®).                                                       alkr tn.-,itmcnt of 152 subjects with the comoinr:tion of topi-
    ln yet ao:c,thcr noalimh.ing cmbod.iment, a method ofmanu-           cal ciclofcr..acMd ornl did<)fonoc; (c) tlw results ofa dinical
fac1uri11s a topical d.ick,fenac pham;;J~'f!utical product com-          ~,t:dy :lcmonstrating ,hat the addition oitcpical diclofonac to
pris,.-s pa<:kagins a ropi<-al diclofonac dosage fonn, for •O            or3t d!cfofcnac cHd net cause M ckvatic!l cf Hve-r trunsaml-
example, n lopical d.iclofenac rolu1io1} ~-omprising or con,ist-         nnscs in osteoarthdtls Dt1tieuts over t:sc of oral cii-.~!ofcuac
ing cssenti3l ly of 1.5% dicloJenuc sodium (2-[{2,6--dichlo-             ak,nc; (3) prc.;iinic:,l ~iudy results wiU1 topical dicloler.ac,
r,,phenyl).uuint,]bc,m.-ncacct.ic acid, ,uooosodiuru salt),              ii1cluding, for ex.ru.u1,!c, the ,esuits of an «uitual study iu
45.5% DMSO, ethanol, propyleoc glycol. glyceiioe, and                    which n:i adverse ocalar effects Wi!!'C obS-~l"\·ed aft.:rmull:plc·
wa1er, with some or all of the following :nfoi:maiio:i, in writ· r.s     daily deont.l applica1ion ro :a1s for 26 weeks and minipig:; fer
ten or electronic fonn: (I) clinical effects of topicHI                  52 weeks of OMSO m twice the -:onecntration found in a
dicl()fonac dosing, including, for exampk, (a) the effects of            1op1cal diclofo03c solution (e.g., Pennsaid®): ~mi (4) ~ stal<>·
particular QJD <losing; (b) tlll.'eflects uf QlD cio,ing in cne <>r      ment :hat, ,,m·t~ dry .s:.1nscre,.m, llUia:t n..,x:Haut., lotion; moi, .
wore clinical trials; (c) re,mlis fl\Jm z 12-wcck, double-blind          t~ri~cr1 cvsmetks, and/or other topicaj p1oducts can be
comrolled trinl of topical diclofonac in a sollltiou wntaining ~         applied 10 an area pnwiousiy treat«! with a topical dic~lfennc
dimc!hyl sulfoxi<lc in subjcc1s w,U1 os:eoa1thritis of the knee          solution (e.g., l'mosaid®).
which compare.I lhe pcrformance of S3id topical diclofer.ac                 ln <)ne nonlim.iting embc>diment, infrwmat;on regnrdil!g 1J1e
sc,lu!ion agaimt a vehicle soluliun ~-ontainiJlg 45.5%dimelhyl           cli:ikal etT<:<:is of tlosiug of a topical diclofe:::ac solution
sulfoxidc and a placebo solution oonrainiug 2.3% dimethyl                ioclutlt,s the effcci.s of 40-drop Qrn dosinr, of Mid ropkal
sutfcxidc: (d) phnrrr.zcokiue1ic rest1lts from 0J1eor1norestud- ;s       diclofoo:1c solu1io.u, and/or the effccls of 40-drop QIDdosing
ic=> jJl whid1 singic~n<l 1ualtiplc doses of o topical dicJofemu:        or s2.!cl t~picnl rt?clofcnac soJuUon in one or .:not"C ciin:C.:ll
io a vehicle solution containing dim-,thyl sulfoxidi.' w11;         tr:nls.
applied topically to healthy humaa volunteers; (2) au 1Jdvcrse         1n one 11ouli1nitrug t1mbvdi1ru:n!, the ar1icle of manufacture
event profile of a toDicaJ dic!ofc,:,ac, indticling, for c:xample   is a kit. Tims, one aspect of,he invention provides a novel kit
(a) that amccmitn~t us,, of oral NSAJDs with iopical 6-0 of parts comprising topical dic!ofenac (for eXllmplc. a topical
<!iclofollllc rcS\lltcd in a higher rnte of rectal hemorrhage,      cticlofenac soluHon or gc.l ss dc,:crihcc, or rcforcr.ced, he.rein)
more frequent abnomwl cre3tinine, uri!a and hemoglobin; (b)         nnd .infbrrn2·tion informing a ~scr or prei;criber of nnvel
that in a controlled tri~l, a higher '1ite cf cc,ntnct d;:imatilis  result,; fronl preclfoictt1 and clinka1 stud.k~.
with vesicles wes observed after tn:atruent 0f l ~2 subjects           !u <JD~ nonlimiting embo<l:m1:m.. <)r in any cf the mc1ftod$
with th,, oombination C1f topkal (ljcJofooac r.nd oral 65 described h,,roin, tile us,'.I' or rrescriber is informed ,;f the
dklofonac; (c) l!J<: re~ulrs of a cliufoi<l s1udy di.-m<1U$tf.ating reS1Jhs of or mere preclinic:11 srudies in wbicft cC111comitru1t
thm th<' ~ddilion nfmi,ical <liclo1;,w"· to oral dick>fo!l:ic did   use oftopicaJ diclofo~c witl,othcr topic1,J ptoduct6, includ ·




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                                                             APPX311
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                                                                                    ·- ----,_,,.,._, ........
r
                                                                     US 9,132,110 B2
                                         9                                                                                 11}
      ing DEl:T (activ~ ingredient i.!1 ilist'Ctr,-pellcnt), 2,4-0 (•ctive               the addition of topical diclo1eooc io oral ciiclofor,.ac did 1101
      ingredient in commonly u~ed pesticides) and oxybenwnc                              inc:-casc the incidc.oce of cenain systemic adverse events in
     (actwc ingri.xl:ent in snr.screens), was inv~ti~tcd.. In one                       ostc-?arthritis r,aticnts. In one aspect of this embodhr.cnt, the
     asp<:ct vf this embcdimem. ml! mer or pre,cribel' is informed                       ust';t or prescriber is further jnfo.nncd 1hat th¢ combination of
     U1a1 repealed application of 10;,>foal diclofollilc did not                        topical diclofemc und oral diclO!°eJlllc did uot incr,'llsc the
     c:i.>iarJcc the sy,temic ab,;or,,tionofthcseproducts. In aootoor                    incidence of dig,estive syst"m ~-vents over oral cliclolenac
     11spcct of this emhe"!t1Iment: the user or pre-scribe:r .:s infonncd               r.loue. !u another nou!i:nhing embodilller.t, the U$f:r or p:-c-
     (h:11 befor<! applying sm,~Cle,~n. insect r~'!)Cllant, lotion, mois.               srxiber is infoimoo of a study showing \bat administration of
     mri7er, cosmet(cs, or otlter mpical medication to too s111nt,
                                                                                        t"t,k:it d:C:o.kmu: t<-~~; h~ in it·ss frt,qnent b~lv,use c"'t'ms asso-
     skin su.rfoce l>f tlw ku,10 trt·a,,'tl with t,)pical dicJo'f~mic. Olli, 1o
     should wnit tm1il ll»: iNr.ted ar<:t1 i~     iliy,  whkli oc~1,r:, m(,st           <:ii,wdwiih lll<l NS/\1J)dass than 11r:1I diclofotw.: i,k•n,· ruiclfor
     ofi<!il withlnlroniabou, l0-J5orabout30mimllcs. [nonot~r
                                                                                        the resuhs of a clinical smdy de:nnnstroting Iha; the ~ddiLicn
     aspect ofth!s crnbodlmem, iriclutling in ony of the method~                        of topical dJc!ofenac 10 oral diclofouac did ilOt cau.e an. eleva-
     descn'bcd herein. the user or pre,;c, ibcr is informed that con-                   tion oflive.r transarnlnascs in ostcoa.rthritis patients over use
     comitant use of topical diclof.,.,ac iu1d sm1scrccn., acd imect Is o f mal diclofona" alone.
     repellanls is safo. Tu aoother asp<.'Ct uf this embodiment,                            In ano;hcr noulimiling cmb<,'<ilment, the useror prescriber
     ic.c!uding many of the me:hcds ccscrfood herein, the user or                       is infonnedofthe res-ults ofa clinical trial in which 011e lw•~
     pres~ribar is inthnned that esc oflo!licaJ d.iclofo,;ac doe. 1101                  was sw.s<XSsfully tr.imed with t,1pical diclofcnac cvea tbot:gh
    J'cducc the ctfkacy cf a ~w1Screet1. ln another aspect of this                      mosi subjects hod bilaleraJ ostcoru-&J.ritis of the knec:;. ln one
     emhoriimen,, including iu any of li.1t· mctlio<ls <lc,nibed 20 aspect of th.is embodiment, the use: o: p:escriber i, funbe:
    h.crdn, th~· usr:-c or prescriber i~ informed that use of topl~l                    informed tha, topical diclofonac may be appiic<l \o only one
    diciofonac does not r.xluce the elfi=y ofan inSttl rcpellant.                       kr.-ce dC$p11c the exi$tcnce of bilaler-dl osteoarthritis.
         In one :>0nlimi1ing emli-'>dimeut, or any of the mel!K>ds                          1n at1other oon1i1:nitins ei.nbodin1t.m:, tltt· user orprcscribe-r
    described herein, a ':!Ser mav also be informed of the effh,~~ of                   is inJi.lrm,xl thnt ;1 rcgiml'n (lf topirul didofonr:c and om!
    use of u!hcr topical prod~crs in conju.o.ction with topicai ,~ diclofcnac is llS<~ful for tr..ating an imlividuai with pcrsisti!nl
    didofenac in DMSO, including, for exampl¢. lb.at ccccomi-                          i>r brcakthrcugh knee pain des)'ite 11sing aa cr~l NSAlf>
    tant topical ui;e of diclofenoc in DMSO by n.i)Catc.-1 ni,p!ica-                        Ju auolhcr uonlimiting L·mbodlment, th;, ,~se,· or pr,:scribcr
    tio11 with otl1ertnpic3l pmtli;c.~, including DEET, 2,4-0 and/                      is informt:'d lhat topical d,clofenac, or a regimen of topics!
    or oxybenzone (ac!ivc ingredient iu s;mscn,ens) did not                            diclofcnac nnd oral did,fonac, is useful when topical
    enlmnce the systemic absoqitiou of these productt; and/or {b) )O diclofonoc is appU~d lo only one knee of a subject with
    the effset oflhc 11seoftopical diclofonac in OMSO on 3bsc:p-                       osteonrthriti$ even !hough both kiwcs ofan indivjdual may he
    lion of cnviroruuentnl toxin,, inchidin,~, for example, the                        atft:cted.
    re,;nhs ,,f n stndy sbowiug that repeated !<)pica! application of                       ln yet anmh.cr nonlimiting embodiment, tbt' cser i,; pm-
    tliclcfcnac illDMSOdid norlncreasc systemic e;iviroamcotal                         vid~ with some or all of the iopicoi diclofoMc clitu,,ai uoo
    toxin cxposu.-e.                                                               ~s prc-cliti.ic,11 infoonation described herein for puri,~es of
         In o.ue ucn!ll.uitiug cmbodimc.-nt, or in any or the mctlmds                  enh~nci1'g the saf<;-ty 1>mfik o/'(npic,11 didofc.>.JJac
    Cesc-ribed he:'l'!'in>the U!-et or prr;scrH·,e-1 .is in.foruwd t.,f the                ·n.._. topical diclolenac composiricr, will comprise
    re.,nlts of a tmn,.,pide:m«I water loss study in which no                          dich1feuac and at least one ttaasdenllill ,:,wJ.Ct.-atior: enhancer
    altcrati:m in skin bMricr f=rion following chronic use of                          in an amow1t ~ufficicnt to rud in the delivery of a therap.:-uti-
    !Qpic,11 dicicfonac was found. ln one aspec! of tiiis cmbodi- r.e, caHy effoctivc mnount of diclofonac to ;i desired area. The
    mcllt, inclm\u\g in any of i.hc metltods described herein, the                     topiC3J dick,fo.mocmay als,1 include one ur ruore plwrmzoec-
    userorpn:scriher is informed tlun tlle 5<'udy was perfo,·mro ou                    ti<-a!ly zccq,rz!)f..., carriers, thickening agcms. ,nh1bilizlng
    hnmiu1 volt:nte~rs· skin.                                                          agents, dispcrsan~. etc.
        ln 011c nonliroi1ing cmi.>c<!:mem. or in ::ny of the methods                       .In certain embodim.ems, the diclofonec :s in Lhe fo11n of o
    describl'd heroin, the u:aer or r,re:1eriber is informed of the ~ pfwma<.:e:.1tic21Jy acceptable sal; or free acid. ExampJ,_.,. of
    ph3Imfcokiuetic results from smdjes in which s:ngle and                            ph>1rm,t1.·,,utic,,lly11cc,wrnbk,salts inc!uo~ m...,rnJ s~lts, ir,c1nd-
    mllhiple do;cs of a topical tlidofer..a.c in a vehicle solution                    iltg alk.lli metal, alkaline earth.metal, and uitrogcu-b~sod salts
    C<.>nt,uniug dimethyl rulfoxide was applied :opically 10                           Shch ,,~ auunouium salts. Sodium) potn:isiutn, cpoJar.uine nnd
    healthy human vohult~rs;                                                           dicthylmnine s111!s are pt-cfcm:.-d, ln ""c preforroo ,wbodi ·
        ln one non!irni!ing embodiment, nr in any of ihe mcth,·o<ls so meet the dicloli:nac is diclofenac mor.o;c<lium salt.
    dc-'1.~ribcd herttin. the \!Ser er prescriber is inlbnued that in                      fool!<' uonlilllitiIJ,& embodiment, t!Ji, topical dk:lc1fonac i; a
    clinical trials tbe combin~tion of topic1!l <licfofcn.isc and orol                 solution.
    dic!ofo!l<KO. <.'-Omparod to oral diclofom,: alone, re:ml!ed in a                      1u ru1othcr ncnlimiting embodiment, the topicnl dJclofenr,c
    higher m!c of rectaJ hcinorrhage G\% V$. Jes~ than l %), and                       is a gel.
    mere fn.,'<juent abnnm,al crcatinine (12% vs. 7%). urea (20% 1~                        !s, urn, nonlimiling =bcdimcnt, the :opicflJ die k>follaC !s;,
    V!!. 12%)1 and hc.rrJogJobj,u(l~~'C v~. 9<;1') 1 ix.111m djffcrt::JO.<..'C jsl    solution thnt com.prises or consists cssenliaJly c;f diciofenuc
    cle..-ation of liver irru1S11minn$es.                                             Md betwem nhout 40% :ind ~bout 85% DMSO by weight of
        In ouo nonllmiting embodirricn~ or in any of the methods                      ,he solution, prderably belween about 400/4 and aho\lt (,0%
    described hcrci,10 ll.K, user or -prt"Scriber is informed that the                DJ\,{S() by we)ght of the solution, mo;-c p1nt"c:ably b:;tw...-n
    diclcfon:ic halflifo and elimination constil!'lt K.,; for a topical &.> about 40'% aod about 50% DMSO by weight oft.ue Golution,
    dk~lnfemu.~ soh.:tic.)H wrnpiiSit,l\ nr consislini\ essentialiy of                stiil more prefomhly betw,)cn nhout 42.5% Md about 48.5%
    1.5¾ tliclofonnc se>dicm. t5.5% DMSO, cthar.nl, J>mpyl-,uc                        DMSO by weight of the solution. und most prefcn1b!y about
    glycol. giycerilll\ and w~ter i~ statistically sit1,11ificruttly dil~             45.5% DMSO by W<>ighr oft'~c soJ11tio11: a polyalcohol, prd~
    for<)nl.d;;pc,11ding nr, w}K11ic, 1i;c ,11luticm iSl\l>f,ikxln~ .< ~ingk          timbJy having 3..; ~aJb<m m.c.)m~. 1(,r th~ mt:;minn o!' mu!stu;~~
    dw.c Qt US- .un1hiptl: doses.                                                  H .i.a the ~kh,, which in ,;:..,rtaiu l.'mbodim~!ll$ i~ ~ly<:::1'>1 ,u
        fo one m.mlimitiHg cmb,xtiment, tln.~ u:,t~r or pt'<'$~1·ih(~r i$             g,ty,-.,rlM; o ,u~i"-'1''->llt for >1S,1i,,1in~ 1-, di~p<.)r:>c the r,)lllp(1·
    i"fonncd o( Jh..- J'\!<\uh~ <.\f :1,·iiaic;,l ,m1<1y d<J1m1ns1r::ling th"l        11.~1)1s in solutfou to provitl;: ll h.t.)mOP.,(mt"tm:, :inh.ainn v.ih(~n




    ·--------~c-,-;-7,;_;
              pro vided   :;,; :;:_from
                        U$PTO
                           Copy    -;:-: :::-:===,...·=-:::--,-,......---,-,==:-::---
                                            the PlflS
                                               by        O"tllb'1$0- on 09129i201S
                                                                                 Image--------------
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                                                                        APPX312
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                                                         US 9,132,110 B2
                                11                                                                      12
  applied to the skill ..nd when P"'mratiug lhe skin, which in           above-described topic.qi dicloienac gel formulations will
 one embodiment is propylene glycol; an<l wfttcr.                        haves pH c,f abou: 6.0 to about 10.0.
      ln one non.limiting embodiment. Llic topical dicloicuu,, is o          In another noniimiting cobodimcn!. the iopk.»Idiclofenac
  solol.km comprising c,r consisting ess-,r.!wlly of 1.5% w/w            is a gel lt>rmlll11tion co.rn1,rising diclofoMc (e.g., ditlofauac
 diclofenac- sodium (2-1(2,6-c.ichloropb,i;iyl)amino]heuzenc.~           sodium), elhanol, dimethyl sulfox.ide, propyle;1e glycol,
 ace ti<.: acid, aiono,;o;lium ,ah) a.1<l 45.5% wiw dimethyl sul-        hydroxypropykeUulos<) and water. ln one nspect of this
  foxide.                                                                embodiment, the hyd.l'oxypropykt,ilulosc is suhstitu:.c,J with
      lnnnother rninlimiting embodiment, the :opica! diclofcnsc          a!klyccilulc:;e. hydl\1xyalkylceliu1,);;e, cr,rhc.,xyalkylcdlu-
 is a solution that compnscs ,ir e-0r.sist, essentially of J .5%         lose-, or sodium carboxyalklycl'llulose, where si.kyl is methyl,
 diclofeooc M1'1ium (2-[(2,6-dicllloro11henyl)ami1,0Jbenzene- 10 elhyl or pro_pyl, or a mixmrc thE-1·oof.
 acctit acid, monow<.lium snh), 45.5% DMSO, ethanol, pro-                   lnanolheraspoc1ofthe prcscu:iuventiou, someorallofthc
  pylene glycol, glycerine, and water.                                   u~r information described herein i.s provided and r.ain is
      1nenotiler nonlimiiing cmbodimcnl, the topical c.iclofor..ac       reduced in a ;mppo:1iug body structure ofa subje<.:t, including
  is a gel fonnula!ion accordinp, 10 PCT/US2007/0Sl 674 (!ti-           joints, musclt:S, teud,ms, ligmnents, cartilage nnd skin, by
 lerualional Publication :-lo. WO 200&/049020 A2), the con- ts topic:1lly 9Clminl.steriug lo• subject in ncod thereof a r,hnnun-
  umts ofwhich are inc,1rporoied llet\.'t.'l in their ootirety b}· this centical composition comprising a lhcrapcuhczjly cfl:OCtive
  refe.,wce. Tne topicnl d.iclofennc moy be any of rb.e fonnula-         ,1mount of diclolenac in dimethyl sulfoxide, p,efctabiy
  tions described or cla.imc,d tlwrcio. ln a~,<>ther nonlimjting        4.S.5% w!w dimethyl sulfoxide, or a pham1aceuticaJ oompo·
 cmbodimeat, the topical dicloft-.J.li!C i~ u gel formnMim1              silion comp11sing a 1.herep,~tkally elfec.1ive M101mt of
 according !o US Patent Application No . .2008030031 I (p1:b- 20 dklofenac inn &el formulotion, us described hcrciu, ill ['<.Tl
 lishcd 0cc. 4, 2006), the cements cf which are inco11mroted             US200710l!l674, or in US Patent Applic.ition No.
 herein ill ;heir cmtircty by 11;.i~ rttl'crcacc. ·1110 top:cai         2008000031 J. l!! anoth,ll' Mniimiting ewb(.'\lim,,nt, pain in
 diclofcnac may he any of the fom1uJations ,fo,C!'ibcd or                lhcmus.:uloskelctalsystemofa~nbjectisreduced.lnano!her
 claimoo !herein.                                                        nnnlhni1iug embo<liu1ent, pain iu a supporting botl>' sln1et1.1rc
     In another non.linutiup, embodiment, the topical diclofenaic 1.1 of n subject and/or in the .rnuscuio,kelcml svstcm of a subiect
 is u gel fonnulution comprising diclofenac (e.g., diclofcunc           is room'<XI.                                     •               •
 so<iiu:n). dimethyl su!lo-xide, ethar.ol, pmpylene glycol, o,tc            Vririous \t~es of the infonru,tion provided herein following
 or more thickening ae,e.--.1~ and wAt~r. ln on~ a,p<.-ct or this       m,w ciinic3.! and prcclinkr:l srudics include uses for ,rc.~t-
 embodimeni, the topical diclofcnac gel fommlotio1t furtlwr             mcnl, or in th~ manufacture or prcpnra:ion of fommlr,tions,
 compris.;;s glycerol. In R?JOthcr aspect, the thickening ageot is JO comr,ositions, articles of manuliwture and k'il!..
 selected from the grou;, consisting of cellulose polymer,;,                The i::ivention also include,; methods employing to1,ical
 carbo01erpolymers,acarbomerderiva,ive,aceUulornd,,1ivA-                diclofonac, kits and artideS ofmanuiactw:c useful for 1,ain
 tivc, polyvinyl ~lcohol, pofo:<a.mcrs, polysac:diaridcs, and           relief or prevemion in the treatment of~ sul\icct, including in
 mixt::n-'S thereof.                                                    fue treatment of' a S\lbjcct fol!owing an invasive mcdiCft! pro-
      ln ru1otherncnlimitii;g euibodim~nt, the topical iliclofctmc .;.s codurc or swiery, iu;:luding all orthopedic rroccdure or snr-
 i~ a gel formulation comprising or comis ting c.<Sentially of          gery, or a subjeci predisposed t1) or otherwise •i d$k for pain,
  !-5% w/w diclofen.ac (prcforah!y di.clofenP.c mono,odiwn);            whcrein $aid method-;, kits und ~rticle,; of manufzcn1re corn.-
30-6-0% wlw dimethyl s11lfoxide; I -S-0% w/w elhanoi: 1-l 5¾            prise some ornll oftheuseriofonuotiondcscribro herein. The
 w/w propylcoo glycol; a thickcnar; ond water (added to m:1kc           topical ciclnfonac de,cribed herein is adminis1cred to s ~i!c nf
 i00%w/w). lna p:1.,fomxlai.'J)cctofthisembodimen.t, thi,gel        "°  pain (ac:.ult, or chro~.ic, for cx~mplc) au,Vor proximally
 formulati,)n has a visc~ity of 10-50,0C.lO ccntipt,i,e.                lhei'e!o (inclu<.ling. for c,x~mpie, arnas of t~Jlectcd or sccond-
     11 ru,oL!Jer noulimiting embodimeJ1t, !he lopical didofcruJc       ary paiu). Thus. for e-xample, some or all ofthe user informa-
 is a gci fo.nmilalion comprising or consisting osseatia!ly of          ticn described lmrcm is provided nnd the topical diclofonac i,
about 2% w/w diclof€0llc (prcfembly dick•fonac monoso-                  administered to \he $kin nt a site c,f pai" and/orto skin!,=·
dium); about 45.5% w/w dimethyl ,u!fo~idc; about 23-29'% 45 lions prl)i<imal lh.:relo in a suppcrti11e, body strnmm, of"
w/w <:lhanol; about 11% w/W Pt>'.'. pylcnc glyrnl; about 0-6%           suhject, including joints, muscles, rcudom. Egam~m;, carti-
 w/w hydroxypropykellulose (HYl 19); and wuter (added to                lage:u1d skin (iucltlding ooy one or more of th~e, together, or
make l OO'Vo w/w). lu a prclerred aspect of this embodin1cnt.           i11 any combination), a.ad/or in the muS<:u!oskekL~I system,
the gel formulation bas o viseosity of 500-5,000 ccntipoi~c.            by topicaj 3dministration as provided herein, wh<'r,ihy paiu is
     in anolb.ernonlimitingemhodimem, lb.e lopic:al ciiclcfonac .,o «'Xlue<>.1.
is a gd formulation comprising or consisting cssc11tially of                In one ~.spc~t, the p:<-escnl iuvemion is dir-.-ctoo to 3 method
<lidofonac (preforably diclofennc nmnosodium) at a conceu-              for reducing pain in o sup1><1rting body stmctur;; of a s,1bjcct,
lrntion selected from the group c-0IBi>ting of l , 1.5, 2 :md 3%        com;,risiug topically administering to said subject need  ,n
w/w; dimethyl sulfoxidc ,1t a concentration selected from the           thereofa pharmaa:utica Ioompasiti<ln c,-,.mprising a therapeu-
Sl'()up cc,isisting of 42, 43, 44, 45, 45,5 46, 47, 48 and 49% .,5 tic;,U~ cffoc.tive ~mount of a tronsdermai diclofcMC solution
 w/w untl franhJr1s in ~twct.·u; i:1.W:Cuol d 23·'29~ii w/w._. pm~      or gel nunmlmlon con11,rising DMSOt wbc:eby '!)'Un ic,;
pylene glycol at a concemm1ion selcctt-d !rum the group                 redueed,andprovidingtoauscrsom.e orellofthec!inicaland
consisting of 9, 10, l l, 12, 13% wiwaudfr11ctic11s in between:         prediukal iufo:mijliuu described herein. Acco1·d:.ng to one
hydroxyprop:,-Jccllulosc (HY! l 9) al 0-6% w/w; and 11rJter             nonlimiting ~mhrnJiment, the supp011ing body $U'llcluro is s
(inciuded in an amount sufl1cicot 10 make !O(J0/4 wiw). Inn ,;o jni.n1.A,,.wdiug to unothcr:lonlimiting embodiment, the s1Jp·
preferred as-:x-ct of this ert1bodimen1, th" gel fo:mt,lation has       J,'Orling body s,rnctmc is selected. from tila g!'Oup cofJSi$ling
            of
a viscosity about 500-5000 c~mipoisc.                                   ot' nl\,s,,Jcs, bones, tendons, lig.iments und cat1ilagc. These
     .bl ,~ert~iu embodiments. the above-described topie<1l             methods ore suitable for trcllling a subject suffering l'rom
diclofonnc gel fonm:laticns include l-5% glyC<.'r'Ol. 1n ;uch           arthritis. Conditions which may he ~-eated in.elude ,1,tc.i,,r-
emh.xtim,mw, lbe "cl thrumbt:<m will liave a~fryin1; rm.z1md 6S thriti,, rhemnatoid arthl1lh, aod Mk1y,;sing spondylitis.
;. tran,d:::nm1I ll.u,:·i1w1 ai,1 ~;oat1,..1han u coi:nr«~llivv liquid      rn a further nonlimiling embodint<'llt 1h.i;; method is suit-
topical diclolena<." ibruml:~ti<Jn. ln other emborumen?s. !he           able for tr<:<ltini' a subject su.ffering from acuio puin. Suilnblc




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                                                                                                                                       HZNPENN_ 00038559


                                                             APPX313
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                                                                  US 9,132,110 B2
                                     l3                                                                                  14
 p?Jn cocdi.ions for treatment by lb.is method include back                            foxide was applied topically to healthy lu:mnn volunit.-a,;; (h)
 pain, knee pain. hip pain, shoulder pain, ankle or leg pain,                          ~n ~dwr~c tlVetii profile for a topical diclofonac ~-olutiou
 har,d pnin or finger pain, in which a user is also provided with                      comprisit!s 1.5% w/w diclofcnac sodium. and 45.5% w/w
some or all of the cliuical and predi11i~ai u1.fonnalio11                              dimethyl snlfoxidc, including, (i) ooncomittnt use of o.:al
descrihedht·rci11. Inaualtcmatenonlimiting embodiment, the                             NSAIDs whh !opical ,lick>fcnac n.-sullcd in a higher rate of
subject is suffering from clu\l.nic pain, which may include                            rectal hemorrhage, more frequent abn•Jmwl crcu!inioc, urea
 back pain, knee pain. hip pam, shoulder parn, ankle or leg                            and hemoglobin; (ii) that in a CO!limlled trinl, a hii?.ht,r rate of
 p-Oin, hP.nd pain or finger pain. In another .noolimitins L'l.llbooi-                 contact ci<.'rmatitis with vesicles was ob$etved nfter trcatmcJ1t
 ment, tlte subject is sufferi,:g fMn poS1operative p11in.
                                                                                      of l 52 subjo-c!s wilb the ,·,~11b.ltmtion of li>~•k,d dklvfcMc-
    In al\oth,~r ,;~pcct. the p.-~,1 in,~,n1i,m i~ t1ir<'<.\t~,J to a to
 ml'th(>(] fi,r ilJlplying multi11Jc mpic81 aiicots 10 ,m su!,j,;,.,twith              nncl oral did1fom,u; und (iii) rc;\1lts of a diuirnl i;tmly dcm-·
 paia comprising topk-ally administering a rhannaceutical                             onst.·min,1, that the addi1io11 of said topicai diclofer.ac solutiiln
composition comprisir.g a thcrapeuticu lly .::ITcctiv.:, a.moum of                     to oral diclc>fonac d:d not ci,usca;, dc,aticn ofliver lransami-
a topical dic!ofcnac compri,iug tiiclofonac in DMSO. waiting                          nascs over use of orai dic!ofonac ulone: (c) preclinical smdy
 for the treated l\rca :o dry (the tirne for which cM be- depen- 15                   results for a topical formulation comprising dimethyl ~ulfox-
den1 on individual skin charllt'tcristics, cr.vironmental condi-                       ide, includiog for example, the resul:s of ao animal study in
 tions 6llCb as temp..:rature alld humidity, and surface ur<:a,                        which no udverse ocular effccrn were ob,iervcd after mul1ipl<>-
 bdag often Rbm1t 5-30 minutes, or about 5-20 minutes, for                            daily dem1r:l application lo rats for21i w,:,cks and minipigs for
example, or typjcal!y about 10 minutes or less for a topical                           52 weeks of DMSO at twice the concentration found in a
d1clofom1c preparation. including a topi<:al dic!ofenac soln- 20                      topicnl diclof~·1u;c solution (c._g., Pcnnsaid®); and (d) a state-
 tion as described in the Examples), &nd applycog another                             ment IJ1at, once rlry, s1iascreen, imect repcllaul, lotion. mcis-
topical age11t{;). l11 ooo noo.limiling embodiment. the su~j<lt!t                     t\!rizer, cos.m.etic·s, and/or other topical prnducis can be
 hns osicoorthiitis. In another nonlimiting embodimem, the                            applie-J to an area previously :rented with a topic,,! dic!ofouac
subject ha; ostooa,1Jtrnis of the k11e;:1. ln one embodiment, the                     solution (e.g., Pen.'lSaid®).
 topical ager,: ndmir:istered roller the topical dick,fonac is a 2~                       In another aspect," method of treating ostcoa:'ihritis of the
sur,gcreen or an iui,ect rcpcllam.                                                    knee is provi~~ which com1>rises supplying a topica l
    Jn ,mother nonlimitiug ro1bodimc11t, the invention inciud.l's                     diclofcnac preparation and the Attachment to the patient.
a method of protecting a subject with 0::K'<lllr'J1ritis from !JV                         Also provide.:! in a method of obtaining marl..-..:tiug autho-
°"'posure aud nlkviuting the signs and symptoms of osleoar-                           riwlit1n from a n.-g11la1my authority for a topical diclofounc
lhritis in 1he subject compri$ir.g the steps of >.>pplying a thcrn- JJ                produ;;t comprising refe:-oncing the kit of ir,Jonuntion.
peutic,,lly ~ffective ammm! ofa trnru;demml dic!tlle!lnc solu-                            1n eoothor cmoodim~m, 11 m~thod for <listri~ution of' a
tion or gel formulaticn comprising diclofem1c in DMSO;
waiting for the trente<im:ea to dry (the time fer which cru1 h¢
                                                                                                                    ,s
                                                                                      topical dic!ofe11ac product provided, co•nprising 1hc- steps
                                                                                      r,f (a) obroinh,g marketing auihcrization fmm a regulatory
dc<>crulcnl on individual skin ch;;ractecistics, environmeatal                        authority for a topical dic!ofenac product comprisiug r<>Ji:r-
co~ditiom; sw:h n; tempcratun: and lnuuid,ty, and surfo~e H                           encing the ki, of information; 11nd providing mid topicai
area, beingolleo about 5-30 minutes, or ah-Out 5-20 minu:es,                          dick,femt<: prodm·t to one or more distributors.
for example, ortypicaily ah~-ut 10minu1es or less fora topicJJ                            TI1ese aod orb.er r,spects of the prcs,':tl! inventions, which
dk:lofcn3c preparation, including o to;,icaJ d,clofonac solu-                         :-tre no11imjred lo or by the in.forn.i.ation in this Brief Summary.
tion us ucscribed in the Examples). and applying sumcreen m                           nrc pi-ovjded below.
all or n portion of the s.sme area of tJ-eatmcul.                                .o
    L1 a fun.her a~pcct, provided is an Ut1ide of manufacture                                BRIEF DESCRJPT!ON OF nm DRAWfNGS
comprisiug a topical diclofen:ic preparation (e.g., a solution
or gel formulation for trausdt-Jmol ndmiuimatiou as                                      HG. 1. shows mean ll:W[, scores for Rctrn-AGO by Oay-
ctcs,·ribcd herein) and a 11ackaging nrnteri.il. wherein ,:;,ltl                      iTT.
topical <lidofomic preparation ~-ompri~es r, pain reiief cifoc- 4S                       FIG. 2 shows mcau TEWL Scores for Peunsaid® by Day-
tiv,; a.m<Jw1t nf diclt,feuac in DMSO, wherein said packaging                         m·.
material comprise, u lab,,i or imert that indicate, that ~aid                            FIG. 3 shows mean plasma coucemrotion-timc profile for
com1,osition moy he l>s..-<l for redu~i.ag porn iu a supporting                       dicloJcm;c sodium (ng/mL).
structure, and wherein a user is also provided with some or all                          FIG. 4 shows mean plus111a concentralion·fune profile for
ofthl, dinical and p=liuical information described herein. ~o                         <limethyi sulfoxidc (µg/mL).
    In another n~pt!Ct, a kil of i11formatio11 concerning a top,cal                      FIG. 5 $hows mt!im plasma concentr11tion-1ime profile for
<liclofenac pniduct comprising didofenac and ditnethyl sul-                           diclofonnc sodium (ng/mL).
foxide is provided, said kit oom;,dsici>, iofom1otion about (a)                          FIG. 6 shows mcrut 1~!nsmP. ooncen11n?in11-ri.mc profile for
clinical erfects of dosing of a t'Opical diclofcuat solution                          dim,,thyl sulfoxidc ()-lg/ml.).
comprising 1.5% w/w iliclofcilA<' sodium and 45.5% wlw ss                                PIO. 7 show~ mean plasma concentration-lime profill! for
<liinC'lhyl sulfox!de, including (i) Ute' effects of (for example,                    dimcu1yl suHone (ug/mL).
40-dtt,p) QiD dosing cf said 1opieal diclofcnac soluiim1; (ii)                           FIG. 8 shows iog diciofcnac plasma concentration verms
the effects of (for cxtmplc, AO-w:op) QlD dosing of suid                              time alter singfe and niulti;,le dose 3j>plicntion of~ topical
topical didolettac solution in one or mc,rc clinical trials; (iii)                    ~nlutico cornalning 1.5% \V/ w dicloft:nuc -sudium aud 45.5!}~
resulis from~ J 2-weel<., do11\,h:-blind. e<introllcd ttial of said oo                DMSO.
topical didofenac solution iu subjeer~ wi 1h csteo.,arthtit;, of                         FIG. 9 shows au analysi5 oi' elimination rmecon~tnnt (K,,)
the knee wb.ich compared th<) perfonm,r.cc of said topical                            sl\er single ~ud mull: d<•sc application of 11 lt•pical solution
diclo!enr.-c solution ngnir..st a vehicle solmioo comai.:iing                         c,1maining J.5% w/w diclolcnac ,.-odium and 45.5% OM.SO.
45 5°/4 d.Unt.!thvJ su.l thx.id1.: <1ml~~ ,pliu.:.-t:i'l\1 ~tuti~,i, ctm1at1,ing         PIG I0A $l;ows di:,i::rmn olTJG. 1. Di;;p1.:11~c JO dro1is of
2.'.l¾ <lim~'lh;! suli;ll,lclo: ,mt! (iv) (>!"""'~.:.,kiu,-ik ""'"]ts ~s              1'£NNS,AlD<l\i ut t> ti;n-,.
fror,1<)tl¢ .:)rt;tOfi! !$lU~lk~ ·111 whh.:h ~inWe :.md um1tiplcd<)St\~                  FIG. l OB toows di:,g-ru11i•>fl'IG. 2. ~pr,,a;t l'liNNSi\!l.-»i:-
of~ topical <liclofcnac iu a sclu1ion rontainin_g dimethyl sui-                       cv.:nly on the front. and side~ of your knee.



                                                                                                                                                                   l
                                                                                                                                                                   ~
                        Copy JITOVi<fod by USPTO fn,m lho PIRS hnngto Oafoba."'° on 00i29}2015
                                                                                                                                                                   ~
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                                                                      APPX314
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______        ..,...............................................................................




                                                                                     US 9,132,110 B2
                                               15                                                                              16
     FlG. lOC show$ d13gram of FIG. 3. Spread PENNSAlf)g,                                 supermarke1s, !he V<·tcran~ Administration, or foreign hu,i-
   evenly on ihe back of your kr.ec.                                                      ucsst""S or individtml~ impon·jn.g topicul dicloienac hito the
                                                                                          United States.
                       DETAILED DESCRIPTJON                                                   ru used htreio, ·•prevenhng" or "prevention" means pre-
                                                                                          venting in whc1e or in pa.rt, or ameliorating, reducing or
       Ai; uS<'<i bcrdn, a "'disorder" i9 any disonk•r, di~easc, or                       conr,-olling.
  condition involl•iug pain that would benefit from topicul                                   A ..pmduct" or "rtiam1nccmic:,1 prod:.l(C," recans a dos:ige
  diclofcnac.                                                                             furm of topicil dlc.lofen:ic plus ;>ublisht-d mW:riul am.I
      "&hancing lhc safely profile'" of topical djclofe_aa~ means                         optionally poc!rogiug.
   implenletlling actlcms ox m1icles designed or intended to hclp !O                          uProvirling'i n\t":Un$ Stving, adruiuisteriug, sclliug. distrib-
   reduce th1.~ indd1.~ncc of adverse events asSf.•dutOO with                             uting, transforring (for p1'0flt nr 1101), mrun,facturiug, com-
  adrninistrntiou of topical diclofom1c, including adve.-se                               pounding, or dispensing.
  elfocts associated with patient-related fo~tms (e.g., age, g,m-                             "Published mofcr,el" mcaus s mcdiump:oviding informa-
  <l<lr, ctluiidty, rnce, targ~I il.lu,...,,. nh111)ftn,1liii,,s ofo«rrliov:.s-           iion, including pdnted, nnrlto} vi~unl, o;· ,~bclmnic mt-:dium,
                                                                                     I~ for cx~m)'k ~ lly~1·, an a(lwt•rtisemer,t., a f,,'11tluc1 insefl. pdmt'<I
   1.nfar, ~;1:.m,.,im~tfoill, re.-s;d t~( h,':"fltrtk fut~lion,. ,.-c..~--morbi,.j
                                                                                          iab~liOG> au h':h~rni'-t v,,d~ slh:: n: 1 lntcrm:t wt>l) pagc: 1 :\Jl ittt£.•r..
   iHuesses. characteristic$ such as pref!).v).ucy or t~wiro.;.uncnt>
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  tors (e.g., dose, plasma k-vcl, ciuraticm of expnsu:e, or con-                          or electronic m~~diunt.
  oor.o.hant med.icatiun).                                                                             0
                                                                                              '"'Safety mean:; the 1ncide.:.\ce or severity of advl~J'$C ave.ms
      "Informing" means referring to or providing, p11blishcd                             as~ociatcd with s<lminis1ra1ion oftooical dictofcnnc. i.xlud-
  material including in electronic form. for example, prnviding                                                                                                                   :!
                                                                                          i.ng advel'se effects ass,~c!~ted ·wjti; patit!nt-reb:.ted faclors,
   published materirJ ma user: orpresen.ting informmioo orally,                           including as noted above, .!nd topical dick)fe!JP.C-rela,cd fac-
  for cx111nple, by prescu!nt.ion a: a scmioar, confotencc, or                            tors, iuclt1dills .ts noted above.
  other ed,,c,;iional }ll'ascnl;,tiou, by conven;ation between 3 i.s                          As used herein, "subjec1" rdi..'l'S to ony mnwma!, inciuding
  phannxeutical ~le;; reproscn~nive and a medical care                                    humar.s, domestic nnd form animals, and 7-00, sports. or pet
  worker, or by conver~tion betw~n e mcdlcei care wct'kcr                                 an.i1uu!s, ~n<::h as <logs. ho.rse!i, cats, sheep, plg$1 c0w~, etc.
  and a pctieot; or detl.ltm:-tmthtB the infen,forl infonrz.ation to tt                   Nou-li,niting prcfom'O marnrr..i:ls arc a hnman, iucludi.ug
  ~set for the pu..-poseoJ'evmprehcn,inn "Published" m!lt~.rfol                           adu!rs, childr...,1, Md the elderly. Non.Jimiting pr.,tcrrcd
  r..wy be in any fon."1, including pdnte,! aad eiectrouic fonns. JO sports auimnl~ nre horses ami dogs. !'-on-limiting prcli:rrcd
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  data s!or-dgc format or medium (e.g., rr..emory stick, en,                                  A6 usctl hc:ein, "supporting body structure of a subjecl'·
  DVD,"' '"bcr m:schi.ue ro.'<fable form), as weli as mt1lerials                         refers to skeletnl elements, joints, muscl<."\l, t~ndons, liga-
  a,·a.ilahle or accessible via the Internet oronlinedntabase~, fur                      ments, cartilage, a.a<l skin ofthot suoject. Porticnlarly i:scful
  CX8fill>lc.                                                                        1,; npplicoti.ol\S ofthc prc..ml invention include L'ic prove.ntion er
      A "medical cm-cwo1kc.r"mc1\ns u workcr,n t!K- hc&lll.1 care                         treatment cf pajn in :ind m·cu:.td jclnt:;, jududinf; shr..1uldcrs,
  field who may need or ufilii.c i"f<>rmnlion rel.',airling topkal                       hip,, l<H~l'S, dhows, hands and lbgers. Other particularly
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  nmtio.u O;l safety, eftlcacy, dosi,lg, admiuistratio;i, orphuma-                       vention or irentme111 of psinin the knee, inclndl.,g pain 1esul1-
  cokinetic,;. Bxamp!es ofmedkal worke:-s include physicinnr.. ·MJ ing from cs,CQnrtil;Jlil; of Ilic kuc,;. Each of these may he
  phim:isc,srs, J)hysicillll's ~ssisnu:.ts, muses, ~.i<ics, ca.-etakcr.,                 treated scr.Jtrotdy! n~ m;Jy C-<lch of jotnts: 11msc.·Jes. tc.udous,
  (which can include family memhers or guardians), en1~·-                                ligatlM!l$, ,ar.ilage. aud ,kin be the subject of st;,ar,llc ireat·
  gr,m.jl mc<lkal wo:dw~. Rnd veterin,1rians.                                            mer..: for p?.in.
      A~ nsed herein. "muscu!oskc1ctaJ sys1cm" (also known as                                As used herein, n "U1erapeutically effective amcu:-,t'' or
  the lt><.-OlllOtc,rsystcm) ...:fors to the system that gives animQls -1s "dlcc!rve amount" ;n reference to the compounds or compo-
  the &bility to physically mow~ us,ng the nmscles and 1he                               sitions of the instant iuvcnt-:ou n::fct> to s11 t.moun.t sufikienl
  sk~iet.,l system. The mnsculoskelernl system includes Ult>                             ro induce a dt-sirt'<l biological, pb:annHcentical, or therapeutic
  sks,k,on, made by bonc-s ar;a,:hoo to other bones witll,ioints
  and lignmcm:s1 nnd ~kclctn! musc1cattochcd to thcsk.e1etoc by
                                                                                         result. Tlwt 1-.:snlt  =     be aUcvi<ltion of the signs. symptoms.
                                                                                         or causes of a wsease er disorder r,r crn1di:iM, ""&ny other
  tendons. i'articularly useful appli~tion. oi'the present invc,1- Su desi.ml alteration of a biological sy~tem. fo the pre~eut inven-
  tion inclml" 1ue preveuticn r.>r trnatmem of mu,cllloskeletal                          tion, the result will involw preventing pain.
  pain, i.admli~ pa.Ul that a{focts 1he j<iiuts, muscles. ligmnen:s                          The tenu "lOpicu!'", us used herei11. means ,he cpicutanoous
  ,,ad tendons. along wilh bones.                                                        nppHcatioo of an sgcn! 10 fuc skin.
      As uc.cd bcreiu, "pa.in" i.aclud.is acute pain and chronic                             'lOpic.ai Wc!ofenac Roh1tic:ms h'!dnde ar:y of 1he didofeuac
  pniu.                                                                             .~, soh:tious de>cribed or \:h:hnt:d herein {or dl.-scribOO or
      /\ ••polic.nr+ tnntus n Sltbjct.:? Jn 1let-(l(!f1lu:dit..<tl 1J·eatmc:11.          cla.i nt~d in U.S. Pa,. No. 4,:;7~,~D or 4,6~2,557), which are
  Mr:di:..·.11 lteatment can i?'1clude trc.itmcnl of 3ll fxh:ticg 1.:on-                 useful for the transdcrm,11 adminis:rmiou ,,f diclofcnx to ~
  dition. ,mch us a disease or dis<>rc.er, prophylactic or prewn-                        subjc~t. aiciudb.g, for example, a fOrmuiation comninins
  tat.ive !?'eotm~u. lo some cmoodimen!s the pstient is 2 human                          !.5% w/w/didofennc ,ndium (2·((2,6-dicbloroph~.IJyl)
  pmiem.                                                                            6'' ami,1ojlwl!Z<'J1e.«:t"ti-: acici, mocoscdium salt)and 45.5% w/w
      A pl1;Jn"J'J.it¢C~1th.~ supp1icrHmeans a person (other lhan a
        11
                                                                                         D~1S,O, nnd a fonnufat.ion con1ainjng i .Stl> w/w/diclo1¢.ooe
  m,~<lic.."\I car~ wc.'frk~tt busim..~~, ¢he-rit;.lhM,~~i·a,ttno, gov-                  ,,ldimn (2·[(2 ,6-<lich!on,phenylJ;Jmi,-.·,Jl>t·11·1:-,u,'<1w1i,, ad,l,
  "rnm.~rnai Of2-lllliJ1.;11ion, Or Olhet· ,1r.fit}• in.c>lw.d lll lhc fnins-            tnl)u<1S<><.lium ;;alt}, 4'.i.'.l"I., w/w DMl;.0 ts!h.a'1<:>l. pt1.~(>yl~tw
  for •!f wpi<'al did,,f.-,,:.:c, i1,el1.><lil111 " ,lo:i!\!'•.: .fonn 11.t~i,:of.       J?l)'e<)!, ~lyccrii,~. nnd w;1w,:;
  hclwwu ~ntilit·s, for pruJ1t :•n1,,,. Exm1iplc~ .,r1•l1wn»11~c-utl- ~s                     ·1opkal dkl,rfonttc- $¢1 l\•1111-il:uiu,w inclmlc imy ntl~ "'
  za.l snppJi,>1-. iudndc pl."1:'-l~l'Utku1 dls1ribnk>r,, plJ,jf.mt,,-:y                 n'1{1r-¢1,:tlh~ diL~!,sfomu; ~~f t;,rmul;ttion:: d~sc,iJ),~1 ~r tlain1..xt
  ~f,,1i1J~. 1•h1,ri:11ad,$ (ouli!Je or ph~;;iml), 1111:<.11,1,,1,, HM(k                 lM·cin /or d~ccih<:d c,r eh1iui,~l i1; l'C11l lS2007i(J81(,'J,I <.•r




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                                                                                                                                                                    HZNPENN_ 00038561


                                                                                            APPX315
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                                           ....   ························-- - ------




                                                                 US 9.132,110 B2
                                    17                                                                                    18
 US P-dlelll Application No. 2008030031 i), wbch 11re use lit!                                  abnorm:11 creatinine (i2% vs. 7%), mca (20%, vs.
  for 1.h., trno,;cl"m1n, ad111iufatra1ion ol' dicl,:,f<;n;,c 11• a suhj,,(,t                    l 2"/4!1 Mk1 he!m~J<ibin ( t:\'r<' v~. 9t1l)):
    ·.me t<)l'.llt "tr;tOJ;<fcrm:iT", u,l!s~'tl h<?r<~ln, 111,iima ()1<; ddcvc,-v           b. !hat in « cQmroU~ll tflnl. t1 hlt.tJu:-r rnti~ or t.'onttct
 of tlll lll?,<11lt lnm andi,1nt1r,)ugh ti«: ~ki;; for tii<:,.,,!)y,            •               dc:rmati1is wit.h vc:;iclc.-i wa~ vhs.~Jvt~t! ~rfk-s· tr<.-11,mt.~nt
    'llic l•mns "treating" and "tre:!lrnent" mean iruplcmcnta-                                  of 152 s~j,,c~s with the combination of 1opir.al
 tiou of therapy with ;l;e inte:llion of reducing the St'verity or                              diclofouac and ora1diclofen"";
 frequency or S)'Jl'lptmr...s. As used .b.e.reu.1, the terms 0 treatin1f'                  ,:. llml iu dinical ufals, (d) 1he results ofa clinical study
 and "treatment" :-efer to both therapeutic trcutmcm ,md pro-                                  demcmstrnting ,bat the ,1dditioo oftopicnl ciiclofcnac
 phylactic or preventative mc~surcs.                                                            to or.ll dklofcnac did nOI cmm: an elevation of liver
    A "user.. mesns a patient, a medi<:al ~:arc worker, or s ill                                trans!tmina~es in osteoarthritis palicr:ts ()Ve.~ use of
 ph:mnacemicul supplii:r.                                                                      oml didofeMc ,,Jone;
    l)i5clo~cd heiein an, methods of using topical diclofonac                           3. A prnclinical study profile for tnpical diclofellllC, includ-
 formulations, nrticli!S of manufactum inccrpomtiug top:cal                                ing. for cx~mple. the results of an auimnl study in whicb
diclofcnac fornmlations, and kits. S_peci-ficnlly disclosed are                            uo udvcrsc ocular effects were obs~rved after inu!,ipte-
 methods of using topical diclofouac und informing osc,s of 15                             daity den:r.al ;;ppii::arion to ,,-,.,, for 26 weeks and
 certain preclinical nnd/or clinical mform.aiion.                                          minipigs for ~2 weeks of DMSO at 1wice the concemrn -
    ln oue nonlimiling ~mbodiment, a methcd is provided iu                                 tion found in n topic,al diclofcnac snlut;on (e.g.,
 which a subject is ltt.Ual for a disorder with a trans<lcrmally                           Pennsujdlll>);
delivered thernpcutiealiy effective amo\lltt cf topical                                 4. J\ statement tha!, once dry, ,unscreen, insect t'<:;ieli.<JJI,
diclofent\C and a user is provided with some or all of ,be user 20                         lotion, 1noiitnri7.t-r, co~mchcs, aut.Vorotllertopicnl pmd·
inforllll.l.tion described hertin. In annthcr nonlimiting                                  ucts c"l>.a b" applied 10 nn area ,,reviou,iy tt,-ated with a
embodiment, il rnctbod is p!(>~idG-d ir, whkb a supporting                                 topicru diclofon3c sohrlion (e.g.. Pcnns.si'J:®)
 ix><ly st:,,.m,re vr tht- muscu!oskeletal sys:em of" subject is                    1lus information, wb.ich mny relate, for t','(l!mp!e, to a topical
treated for ?. dioordcr with topical diclo!en!lC and n user is                      diclofon&e con~aining 1.5% ciclofe11ac >'<Xli,im (2-[(2,6-
provided with some or all oft he user information described 1\                      dichloroph~~•yl)amii10Ju;,iue11"a,se1ic acid, monoscdiuru
hcrein. Ju anoth~r nonlimiting emhoclinient, the s11ppt.u1iag                       s:•11), 45.5% DMSO, e1ba11ot, propyt.:ne glycol, glyceri:1c,
hr,iy ,rmcturc is s~l.-c:,xl from joints, muscli,s, tendons, !iga-                  and w:ucr, is sometimes referred !O l1oroin as the "l!lfoana-
lllCll1S, cartilage aod skin, and include$ tr<?.'ltslleut of p:,in in               tion."
and around joints, including shoulders. hips, knees, elbows,                        Other ad\'crsc evem infomiatio1111rny iudude that adm.in-
hruids nnd fingers, as well as lhe back, particularly the !(>wer 10             istrntion oftopic,11 diclofomic dccs uot increase the incidci1c,1
back. !none r.nnlimiting embodinl~nt ti~ pain is !\cute paiu.                       or
                                                                                    systemic ;1dverse cvcrus over tt$e of oral diclofcn:ic n!onc;
lo on.- aoulimi1ing embodiment the pain is chronic paiu. lo                     that 1be mld.ition of topical diclofc.mc :o oral didoJimac docs
orw noolimjting embodiment me ;>8in i~ treated. In :motoor                      not increase the ,ucldencc of systemic adva-sc events in
noulimiiing embodiment the pain is prevemcd. ln one pre-                        os1coarthrili$ paticn.18; tho rcs11hs of a diuical study demon-
ferred r.onlimiting cmbodiJncnt, the pain results from J~                       st.mting that the ~dtillion or mpicai diclofcnnc to orol
osteoarthritis of the lmc.::. Prefor~l>ly, lhe subj<Xt is a Jmnian              diclofenac did noi increase 1110 incidence of sys1em.ic odvc..~c
subitx·1                                                                        events in os1ct1nrthritis pmicnts; and, tbc results of a clinical
   I~ o~e nontimiling embodiment, information provided to                       sn1dy showing 1hat no eye lens abnormalitie; were obs<.",-..u.i
the uirer rnnsiots 01: co.1sists c-ssenliaUy of or oomptise:;                   with OMSO-vehide or tc,pical di,:lofomtl' solu,ia>n treatmen:;
   !. A clinical prolilc for topical diclofenoc inclllding, for 40 tlia1 adru.inilr!ration of topical diclofenac results in fe_i;s fre-
      exam1)lc                                                                  qur.nt adverse events ,mxx:ia!i'd wilh the NS,\ID class than
      n. !!Jc -,fi\,cts of particular QID dosing of diclofeuac;                 oral diclofenuc alone; nnd, the results of a clinical study
      b. the cl'fects ofQJD dosins in uneor more clinicnl trinJs;               demonstrating tlmt 1he addilinn oftopic.11 diclofc,13c to oral
      c. re,;ult.s from n 12-weclc, double-blind coulrOlled trial               dicJofot\nc dltl not cm1se 1111 d<..-valion ufJivertransumfo.3sc:: in.
         oftopical <liclcfenac :n a solution containing dimcth)'l 4S ustWllrtb.ritis patients over use cf or;1I diclofc.uac alone.
         sulfoxkk, in $ubjec::ts whh usltH.Jarthrilis of the knc,e                 Other prccliuical profile inf<>nnation may include the
          whkh compared the perfomw!lCe of said topic:il                        effect of the use of topical diclotl-.tac on absorption of envi-
         diclofonac st•lution agµinst a vehicle solutinn cont1Jia-              rowm:nta! toxins. including, for example, tht- awulls of a
          ing 45.5% dimethyl .sulfoxidc and.a placebo solution                  study shnwing thaa at.'J)Ciltc-d appliwttion oftcpical diclofeJ1ac
         COltlaining 2.3% dimethyl sulfoxid" (for e,wrnr,lc, a ,o solution d i::i not increase systemic cnvironm.eurnl toxin expo-
         12-wee.1', doul>ie-bJiud, <loubh.-~dum.my, randomized                  s11re; and the effects of use cf other ,opical prod11cts in cou-
         cont relied trial of iopic31 die lof-enac in 3 vchlck solu-           junction with topical diclofcuac, indudiog, for example, !.hat
         tion ,,ontaiuing dim~thyl sulfoxide in 775 subjects);                 ctmcomi:ant use llf diclofonac topical solattion by repeated
     d. phnrmncokio.ciic results from one or more studies in                   applic.1tio.11 with mh,i· topkai products, iucluding DP.ET (ac-
         which single and multiple dos~ of a topical ;, tiv,.. iugredienl in insect repcHcill), 2,4-1) (active ingredient in.
         diclofewc ln P. vebick s0Ju1in11 containing dimethyl                  commcnly U$e<l p<"-&ticides) tIDd oxyben7.one (nctivc ingrcdi·
         rnlfoxidcw:is applied topic,illy \0 in>«lthy human vnJ.               em in sunscrocns) did uot enhance the srternic :1bsorpti.1n nf
         unteers;                                                              :hesc product,.
  2. An m!versc cvt,ntprofile for a topic:ll dicJofon3c. includ-                   O1her iafociuat;on ptovidcd to lhe user muy indudc tile
     ing, for example                                                       oO pl~nmtookiuelic results: from on,;; or .more studies in which
     a. that c011,~,,mitm1t 11;;:: of o,jl ~SAIDs with topical                 single nnd multiple doses (>fa topkal diclofcrutc io o vehicle
         <lic io(¢,wc w,ml!e.1 in II hiJ!bt,r nit., <J.f rt-C1;i.t lwm,tr,     ROlutlon comr,iu.ing ,!imt·1hyl sulfoxidc w9s applied topically
         rhmu: mid more ftt't1m~11t ub.nor.at:11 ~~:-t::11injJl:¢, nrei1       to henlihv huma:11 v11Iuut,'(.<fi:
         and"" h,m10-.a1k,hiii (iJJ.clu<li11\', tl11,i « c<mthiu;;ti.-,N or        Other information r,rovined to the 11;,,rmay :udude that the
         tPJ•k,I) didofuna~ aml Pml di~·Jufcm>C, ,ompa,:>..'11 <ll 65 dklofomJc h11iJ !ifc :tad <;1iminmi,m.co11$Um: 1\. ii•r" tc111ie1,I
                                                                                                                                          1
        dralt.th;k,t~-,m.<.:r:tt>J\~~ tesu!t<:d Jn::btgher rml!ol r\.-e!af     dit.~!<)ft~·n.-tt: M.'Jludon t~nmpshing nr \::.\)!)~h,tiug ¢;~ntin1Jy r,f
         hCJJ)(>trhai;.c p% ,-s. l.:~s 1hm1 1%), aml 111,JJ.1• frt-(Jw,.'IH    1.5¾ ciiclol~-r,m: S<'cliWD . ,\!i.5% [)M;;1), ~1li;l1».>I, pt<ll?)'!Ct\t'




---------:-~T:".";";;;;,.t'n";;;:;:::-;t::-;:;.;:;;,:-;:-c,...-,,-----,-..,~=----------------
           Copy provided by USPTO fron\ U,e, PIRS Image O:,tat,ai;o on 09!'2912015
                                                                                                                                                                           i
                                                                                                                                                            HZNPENN_ 00038562


                                                                    APPX316
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                                                            ............_ , _________                         ........




                                                                us 9,132,110 '82
                                    19                                                                                20
  ivycol, l,llyccrin<', 3lXl wmcr l$ ~l:!,ti~ti,:;Jll>• ~ignilka111ly dif-              ins J1r1,<;!i11k·ul st\:dy re,ull~ with topkHl did.-,foncte, 11.s
  forc(1tdepeo.<.Ht1gett\.,,b'":the.rtiJt.~soluUo:-t:st11,rHed~,~ aslng.lc             <i~~crih!,I lwctt,, wn~rei.n th.: topiml J,cl<J!~'tl3C tountains
 d,,se or as nmlti!)lil dos,i,.                                                         1.5% didnfom:c scxlil;m (~-((2,(, ,d,ici,k,mph,:nyl)mniun]
      Ill oueooulwi.iti.ng embodiroeal, u user is prov:ded with ,he                     b<.'tlZCCCH<OCtic ocid, Ul<lOOSodium salt), 45.5% OMSO, el)J,8-
 Informalion, or with some or all of ll1e foformntior., er witii                        noi, propylc.'le glycol, styca-inc, nnd Wfttr:1
 some or all <lflhe topical diclofeuac clinical and preclinjcaJ                            lo one nuulim.iti,,g roibodiment, lhi, diclnfcmtc is in tho
  into:mntion dcscnbed herein an<! in the Examples, lor pur-                            form of a topical diclofonac solmiou formulation. 1n another
 posc,~ of en,uu,cii,g lhc safety profile uf topical diclofenac                        nonlimiting embodiment, the dlclcfcnac is in the form of a
 um.Vor eohaociog il, upplication 1<1 or by a subject in need                          lopicnl didofcuac gel formulation.
 thereof.                                                                         10        Diclofenac. sodium is~ bew:er.te-;,-·~ic acid cleriva,ivc 1hat
     In one noulimiting cmbotliment, information providlld lo                          is a nomtm,idal an1i-inflan1matory drug, de~ig,n:ncd chemi-
 the user l-omprise~ infonnnti(ln regruding llic cllnit-al .-ffects                    cally as 2-[(2,6-dichlornpbenyl)amir:o]oenzeucucctic ocid,
 of do~iug a topical <liclofenac co;itai~ing 1.5% diclofec3c                           rnonosodium snit, and may be pr~-pared by means known in
 sodium. (2-[(2,6-dich!orophenyl)aminojbenzencacetic acid,                             ilic art. Sec, for example. U.S. ?nf No. 4,.575,515.
 rnor,osodium sal!), 45.5% DMSO, ethanol, propylene glycol, u                              Ft">Jk>wing syntl.1..,'"Sis a topkal diciofenac sojutfon nrny be
 glycerin<\ and water, including, for example, (l) th,, effects of                     formula,<>:! by method~ known iu rhe art us LS¾ w/w
 particular QJD dosing of didofe:izc; (2) the effects of Q!D                           diclofon3c sodium in OMSO (45.5% wlw). It,:; a clear, col-
 dosing in oneor more cliniCP.l rrial~ including tli~ r,mJts from                      orless to faintly pink-oTM.ge solmion for topical a1•plic21ion.
 a 12-w~k, doubll'-blind, double-dummy, rnndomi7.cd con-                               Hach 1 mL of ~lntinn may contaiu 16.05 mg of <licloieimc
 trolled trial cf topical c!iclofccac in a vehicle solution c;)n- 20 sodium. In autlition, the topical diclofen!!C solution <will prol~
 taining dimethyl sulfoxide i11775 snbjccts ,~itu mdiologically                        crably COnt3iu the foJkm:ing ilii!ctive ingredients: propylene
cortf1tm,.,1, symptomatic primary osteoarthritis of the knee;                          glycol. u!coh.ol, glyccric end pllriilcd weter.
 (3) the effect of treating osteoa1'1britis ol'll,e knee in one or                         Ju ti1is discio,ure, examples rela1ingto n~w proclw.icalaud
 moxe clinical trials, inchlding the cffcxt of treating one knee                       clinical discove-,fos rcgartling tcpical diclofo,mc are pm-
 when both knees are nll:Xted with o,r:eoarthritis; MidA,r (4) i; vi<lt'<i.
 rei:uli, of a humfill >'t>ltintecr study Oil lr.ins-cpid,,rmal water                      While topical non-ste.roidn! anti-inlfamrno!01y drug, arc
 !os~ in which 110 nllcration iu skin barrie-r fw1<·tion was                           considcrcds~fc. 1h,•ir long-term eJficacy for ost<!'-1:irlhritis h:3s
observed.                                                                              been auapecL Example 1 describe,; !he 1'clSlllts of a 12-w«k.
     in ano.her noulimiting embodiment, infonnation provided                          douhle-t,liuu, dcubl~-<lurruny, r.i1.1d<1mhed cnuu-olled trial of
compdses inionnatjnn regarding the a1lve1"Se event profile of JO a topical dictofenac solution containing 1.5% diclofenoc
• topical diclofo,mc cootaiJJit.g 1.5% dicloli..'!lae sodium (2·                       ~odiuru (2 ·[(2,6-dichlorophenyl)nmioo j b~uzt,nC<l<,etic a-:id,
[(2,6-dichlorophenyl)amino]b,!117.ene~ce,ic acid, n:.onoso-                            monosodium Sll!t). 45.5% ])MS(), efaanol, pmpylcne gly<:ol,
Jium sal1), 45.5% DMSO, ethacot, propylene p,lycol, gl)'C-C:-                         glycerine, and \l.atec was cm1ducted it1 775 $Ubje:.:ls with
inc, Md water, including, for t!Xample (I) that adrn inistmtinn                       tadiol<.>gically confirmed, symptomntic primary osteoarthri-
of topical dicloteuac doe1' not il>Cl't~se the incidt-us:"' of sys- JS tis of the knee. !bis 5-arm smdy compared tb.e topical
temic a<h'l-n;c cv<!l1ti. owr us~ of oral ciiclofonnc alone; (2)                      d,clotcnsc solu:icm with n placebo solution, JJMSO whiclc,
faat1hc addition of:opioal diclofenac to orol didofeooc docs                          oriil t!icJoforuic and a ccmbination of the lnpi.cal diclofo,1,,c
1101 ilwrease lhe incidence of systemic ad,·,,n;e cvems in                            solutionK,ral diclofcnac for n:JJeviJJg the signs and symp-
osteourtluitis patient~; (3) the results of a clinical srucly ,km-                   !oms of knw osleoarthriti,. Sui.>iects n1>plied smdy to!u1ion,
onslrating 1h,1t the r,ddition of topical diclofocac to orJ! 40 40 drops QJD (four 11rut-s daily), and took one study tahlel
diclofon~c did not increase the incidence of sy~;emic adve:.e                         daily for 12 week~. Co-primnry cffi~acy s·m-iablcs were W~t-
<-'Vt!n!S in osteoarthritis patients; ruidlor (4) the resutts of 11                   ~m Ontmic McMnster Univer;ilies Ostenarth,1tis lndC>I
clinical siudy showir.g tbol 1:0 eye !ens abuormalit,cs were                          (''WOMAC") r,,,n e.r,d physiccl IU!tclion scun..os aud a palicnt
obsclYCd with DMSO·vchicle or topical dit!,,fenac ~·olutiou                           over.ill heallh assessrncm. Scconda:v variables were
treiitment.                                                                      <5 WOMAC stiffucss aud patient global assessment ("PGA'') of
    ln yet another nonlimiling embodiment. information pm-                            the knee oslc.)nrthritis. ·nu.: topical didofenac ,oluti:,11 was
vided comi•riscs ,11.ibrma,ion rege:-ding preclinkttl study                           supcriortopla~,ebo forpcin(-6.0~. - 4.7, P·····O 015), puysical
res,~ts with n topicn! diciofcMc containitig I .5% diclofeuac                         fonction(-1 5.8 vs -l 2.3, P--0.034), ove:all bcalth(-0.95 vs.
sodium(2-[(2,6-dichlorophenyl)an1in0Jbenienc.1cetic tleid,                            -0.37, P,-0.000! ), and PGA (- 1.36 vs. - i.01, P.a-0.016), ,wd
mono~odium ~11), 45.5% DMSO, eth,>ncl, propylcn~ s lyrn!, w was superior to DMSO vehicle for ;ill eftiCt?cy vnriabka. The
glycerine, and water, including, for example, (1) the effect of                       mos. common sdwrse ~'Vent was dry sl:in (J 8.2%). Surpris-
\lie use of !he topical diclotenac on ebsorption of ec.viron-                         ingly, uo ~igni fie an! dif:lei-ence w;is obse1v,:d hclwoon D)l-1$O
mcnwl t<Jxim:, w~Judiug, for <:wu111>!e. the r<,~nlt, of n study                      vchlc.le mtd pla<'l't>o or betwcco th~ topkal diclofenac soiu-
sl11.,wi11g 1hat repe,iled applicati(,11 ol' tbe topkal diclofei1a<:                 tiou and ural diclofen.,c, yet fewer digestive s~~tem and 13bo-
did nnt inCfe-..asesy.ste..tll!c envlroamcntal toxin expo~r1t·t; autl. s.s ratocy abnormalities were observed with topical diclofou3c
(2) the effoas of use of other topical p:odncts in ccnjunction                       Uiao oral d1cloi~nn¢. l-\>rthcr, addition t>f the topical
wilh Um lt~pical di;,,Jofenac, including, for example, that cou ..                   diclofc:iac solution lo 1wal diclofonac did not iuGcase the
cclllitant u~c ofdic!ofonac topicn! solmion by rt.'l)emcd nppli-                     incklence <>f systemic adwi:><> '-"'<!llts.Addi!Jonally, P.dminj~.
cat ,mi with other 101,ic1J pni,lucls, inclttdmi; TlEET (a,:tive                     :rnti,,n of Ulpical diclofenac 1-c!'u!tcd in less lrequem adverse
iuiµ-c(lieni in J.nsc,,t r~pcllro(), 2.4-D (l!<'!ive il~g,,~.!iom ia si1 events associ3ted with the NSAID class thM oral didofcm1c
commonly us..:! pesticidt'S) amt oxyben,.one (acli,-c inp,tl.'tii-                   aloue, :md the addition of topicnl diclofcnr.cto -:ral didofenac
cnt in sun.s~rct!ns) did not euhancc the systcrok: :lbscrptio:.i of                  ,lid not ..:.uu~e 3.C. elevation of li\.1:1· m1~:i.mnil~~s in Cl!-llft~r-
th~ OtO,C.htt~tS.                                                                    thrl,is p:iti<rnJ, over use ofc,rnl di~lofcum, ~ !oue. USi.!rs moy be
    in ;tilt un..>\Mt mm1imjti11~ t"fllhodil:ucnr. i11f~nmUio)l l'lr1·               apprised 0{1he "have w.for1.mttiml .,~~<,tthnf.~ lo ,h~~ invention.
viifc!'U ~omr,ti$~':t i11focm:1tjou .n'g.cirdiof; ~h..-:<;lihic:d i:ffo,:I;; 11! 6, A f,u11wr ur:t:<fK'tlt:ll Jiscovcry of tt,c $lt1,ly. 1.lu• rt'!<Y11L, fr>,
topical dklol~!~I~ t'u;:;-hu.1. {mhrm~i,!on n~g;,nlirig lh.:' H£h1crso               which ;.>4.-c JHYsvJ<.lt\l 11~ f:-X:u1,p!~ !, i.1> lh::I iu Hu: smdy the
ever:tpmf'Je of topical di(:'Jofomic, and'or infonnalion reg~rd-                     lopicol dick:fcnac solulion was 11J)plicd to only one lm~.c.




                                                                                                                                                                      I
                                                                                                                                                        HZNPENN_ 00038563


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                                                                           us 9,132,[ 10 82
                                              21                                                                                 22
          Most patients s:1Ilcr from osteoorthdtis egualiy in beth knees,                     molo;vci,! abnotma!ities were detected in f:ny animal during

          kuccs. U$ers or pr-,,cribers =y he              furtl:1, r
          yet single knee application yielded e clinic.1J be11e!-i1 in both
                                                           apprised of ,his
          acklilit•llal informution accordJ.ng !o the invention.
                                                                                              lhe pretesl, tc:-minal, a1td f(."(;O\.'ety nphthalmoscopk CX8Jl.\i·
                                                                                             nations.
                                                                                                 P,xa:nplcs 7 and 8 dl!Scribe smdies lO cVP.luate tl);, pharnw-
             1bpical dicloienoc in a DMSO vcbicie is a,-, cffectivetn'>>i-                   cokim,,ics ,:,fdiciofenac sodium, dimcthyl sul fox.i:lc (DMSO}
          ment option for ostcoarHu·it ls uf the Jme.- wiili efficacy similar                and dimethyl sulfone (the m,tjor mct~hoJitc ofDMSO) after a
          to, buttolernhili;ybcnerthan,oral didofenac. DMSO vd•..:cl~                        single- Rnd muitiplc-d0seapplications ofa lor>iCBJ dicloferu,c
          wa.~ oo more efficacious than placebo Accoxding to the wnm-                        preparation cxmlaiaing J.5% diclofonac sodium {2-[(2.,6 -
                                                                                             dichlorophcnyl}amill<l ]benzeneiicetic acid, mouosod.ium
          :':1~:: ~~:z;Ji~i>~:.:~~::~:~:i: : :1·~~~::,;,:;~~~,;::~~ 10
            a topical didofcw,c ;o!utioo compri~iug 1.5% w/w
                                                                                             salt), 45.5% DMSO, <:thu111•l, pmpylcne 11Jy..,.,I. t)yccrin'I.
                                                                                             aJ1<I wntcr. ·nwsz dllta pnwide C<>l!ljl<.>.lling cvid{>;,cC th.'lt ihe
            dicloJenac sodium and 45.5% wiw OMSO, which also                                 systemic exposure to diclofensc caw;cd by use of the topic-Ji
                                                                                             di<:lofonac :o t:i,i,t ostc,)Mthritis of the ime? (40 dwp~ INT
            op1i.-,1111l:, ~"uluins prnpylcrn: gly::ol. alcohol, g\y,r.-lr.in Md
                                                                                             kr,e,i (.}II)) is much lower lh.~o tlmt c:mscd by a l)11icnl om!
            puril\~I wmcr a..~ i11ac1iw mgr;.,>,lients.
                                                                                        15 do,eof diclofonnc used in lr¢.11lllent ofostcm,rthritis (e.g., SO
                l.!Y.;,mpiC$ 2 and 3 dc;.crihe the l\t.,--...lts of rnwim11mc111:1I          mg tltrce times per d.ty <•r "TID"). TI1e fuct 1.ha: !he t1Jpi~11J
            toxin studies. Surprisingly in light tlflhe cffic;i;:y ofDMSO iu                 dicl,)fenac can be shown ,o he corop~r.tble to orol ciclofer..ac
            facilil>!lii.1g ilie sk.in penetration of didofonnc, these studies               sodium for trca1me11t ofos100.wthritis (see Bx,unpla I) is very
           show ,hut concom.iumt, repeated use er a topical diclotb,ac                       surprising in view of me,e facts, ~'Specially as it is widely
           solution cOJ.1taini.1p, J .5% diclofonac ~odium (2-[(2,6-dichln- ,,) believed Iha! NSAJD3, such es diclofona<; exert thek no~!s~
            rophenyl)amirmlh~zc;.1eoc.etic acid. mcnosodium fiul,),                         sic eifocts bmh loc:ally and rentrolly. Prom the claw :n
           45.5% DMSO, t,thanol, propylene glycol. giycerine, and                            B:,rnmple 8 it aho   ~=      be computed I.ha: C,,,.,. of orally admin-
           wakr, with olher topical products, i!lCllJdi!;g DHET (active                      istered didofeuac is more than one b.1.UJ,lred fold higher timn
           illgredicnt lo. inscc! repellent), 2.4-D (active !Jlgl'Cdicnt in                 c.,.. for the topical diclofcnac.
           t'Olll mtuily used pesticides) ami oxyhcnwnc (a-':ivc wgn.x!i • 15                   Example 9 d,-scribes a study to as.~~ss the d.-yiug time of a
           <'ill mtiUl.IBCte<'t1s), did not enhance the systemic 8bsot"jltionof              torical diclofer..ac soluti,)u 0011tai11ing 1.5% dklofenac
           !hese products. 1\e<:ctding to the ioveutiou, users may be                       sodium, 45.5% OMSO, ethanol, r,mpyle,w glycol, glyce-rine,
           apprised of this infommtiou wit!, ""!:i•rd to use of topical                     and water when applied lopicaHy to ,he skin surfocc of the
           diclolcnoc, p11rik-1l»riy with r,:gur<t to the use of a topical                  b\Ce f<>llowi~t3 ~ingk .!ol>C upplit:~l.inn, th'lll whkJiil cmi.he
           diclofco,,c solut\(,11 ,,,,nwinillll, 1.5% ditl,!leill!le sodium. (2· JO ,~c.mrJcsdt:d 1h;u Ute:: mt.•an drying Jhnc fut th<: tnp'i.t1,I
           1(2,6-dichluru;,Leuyl)2..-nin<l]bl'nzencacetic acid, monoso-                     t.Hdotbm:.: s\tltrtii.,n J~,now!n~ ~t tlttl.,ll~ d<>$~ a:pplk.di,.:.a Y..n$
           dium salt), 45. 5% DMSO, elhar.ol, propylene gi'Jcol, glycer-                    approximately 15 minutes, with cousicierablc ,·mfability
                                                                                            R!llOll(! subject$ aud dryness occmring :,.~ early ts l Omimncs
           i::ic, and water.
                                                                                            in most subjects. A 30 mim,tc dry;.ng time prior 10 !he oppli-
               Example 4 oo,;rhh<'s the msnlt~ ofa 11w~~c-pid,>1mat wm;:r
                                                                                        35 cati,m (!!" <:>lh.:r to(li, ii!s is consi,kml<J ,rnf,,. The n,s,,J~ <>f lhe
           loss (-·rnv.,'L") s:mly 1Jcrforn1<.1<J Oll hum:,r, voluntc.-1:r•' *kin.
                                                                                            srutly. h>rllit·r iutii,·~11,, th.:t ii is :,pr,mpri3te to io:;1r1,~1 a user
           TEWL is a pammeler n~efol for w.~.asuring ~haHg,e~ ,<) sua-                      that a palier,.l using a topical diclofo:,ac ~olution slmu ld w,1it
          1\:m corneum bartierfW1ction. Unexpectedly given tb.ero!eof                       at Je~st 30 minutes ulter putting the topical diclofcnac solu-
           DMSO in p,,nnc.,biHzing llie skill for diclofonac cptakc, the                    lior1 on the kllec(8) before, for example, taking a shower or
           results sr.J)w no ailt'l'llliuu in ski.ti barrier fonction following 40 bal.h or o!heiwi;;e welling ilie knee(s}.
          chronic use of:opkal diclofenac. Acco1-din1rto !he invention,                         Example 10 d.,,;cifoes 2 srudy comparing !he elimiuation
           ur.crs may be apprised of this information with regard to use                   constant after single and mnltipledose applkation ofo topical
          oft<)pkal diclofona,·, p,nticularly with reg;ird to ti1c use of a                solution containing 1.5% diclofc:icc "Odium ,md 45.5%                                t
           Lopical diclcfonac solution comprisir.g I .5% w/w di.elofonnc
          sodium and 4S.5% wlw DMSO, which a!so op1iooaliy con- •s
                                                                                            DMSO.                                                                               i
           tair.s propylene gfy-,ol, a1c,)hol. glycerin and purified watern~
                                                                                                n'Xample 11 desc:ribes a.muJfr.._i~,s~. oomps1a::ivc, ~xpo:ture
                                                                                           study unlkr muxiruum use condition.~ r-or 1nb¢ling of both                           ~
           inacth.-e !ng;:cdients. U::.et·~ mny ~1!so be L'il<lr.tutxl that1 before        Per,.nsaid® Topical Solution (Dicloforuic Sodium topical                             ;
          ap;>lying st1n$creen, jnsect repeHant, iotion, moismrizer, cos-                  so!ullon 1.5% w/w Md 45.5% wiw DMSOj and Sclaraze®
          metics, or otb.er topical medica1ion to too same skin surfoce.                   Gel (Diclofcnac Sodium 3%).
           for e.~11mp.le, a knee, that has brcn trc:itcc. with topical so In one nonlin1iting embodir!Y::tst, the: i:scr is prov!ded with
                                                                                                                                                                                j
          dic!ofeoac, the user should W3it unlil !he lt'Cilloo area is rl,;,
          Which O\..""C!US most o1h~ within 10 !Jlitm:es.
               Hi.,:u::iple 5 describes th,2 results or a s.udy to cv:iluate the
                                                                                           iuform.;!ion in tlw fom1 of(orsubstamiaily in tho fotm cf} tho
                                                                                           AUach.'Tlent. lo an.o:her 11onlliniting cmboilimem. the infor-
                                                                                           mation in the Attachment is p11.widcd in a form that has been
                                                                                                                                                                                I
                                                                                                                                                                                ~
          01,bthatm,1logie effects of topicaHy spplicd DMSO in a                           Jl'lodificd where appropriate to n:for m the subject pmduct as
          .52-week non-0cclodro dcrmnl tc,dcity ~tudy in Gi5ttingcn ss a topical diclnfcnac e,cl or nther formulatiou mt.her kian a
          rofoiJ)ig>. it pmvides L~foltlllllionaoout H,coc.,:fars.,feiy pro-               l\1pic;iJ solmio.a Tu aru.Hbcr nonlimiling cmbod1mcn1, the user
                                                                                                                                                                                i~
          file of <l<'rmally i;,plk;J fvr:nuh,;,oo, o.,,m,in,~K l'llrilkd                  is provich,d with in.formatic,, ccmp:isiug or consisting essen-                      !
          DMSO. R.-stlit~ shm,isl 11,;,J 111<-;re w:as no in,:rc,l~,I risk for             tially of in tho Altoehmenl. ln nuothcr ucnliiuiting emb(J<li-                       !
          dev~k,pm.ent oflcns opsci?ies or chnngcs in refrnc,ivc ir..d.ices                me.nt. l!lc user is provided wiU1 information consi~tirtg e,;sen-
          nsso,,iatoo with.DMSO. Jn fuct no test artick--rcla,ed opht.'wl- f.ll lrn!ly of rhe Artachmenl.
                                                                                                                                                                                ~
          mosccpic abnormalities were d,~t.'!Cted during the study.
                                                     or
               l;x;impl,, & ,k~rib<•i 1h,, r,,,.t1ll1 a rn,<ly t<.> ,.w•;hmte 1h,•
          t(•Xichy ;.if 11,st m1i.::le,. t(!J!!l!inmi; 9, 455, m1<l f>£1;<. v.;'w
                                                                                                Mml)I cruboJiim.•nts iire suit~bie fur lremmem of subjects
                                                                                           ~i!hes i'\~ n pn-:.vcnth,'ft rm.-a~nr~ (~.g. let :tY>Jid paiu) vr as ~,
                                                                                           U1"m1'(:i>IV.' ,'<:>nlJltl!iiti<m 10 tre:t! whj~.;;g wl,o m;,, ;;utf<:rini
                                                                                                                                                                                !
                                                                                                                                                                                ~
          DMS(>nfh:t dermal -.~}mf1:ii-;lm1io)>.. fi,r 26,v~~k~: thr~ 1ia1<:~              frnul <leut,! orc·lmmi<: pu.iH. Ju ,:lol;.(-: nonlimiting ¢'4llt,odll.m."":nt.
          ~,-<l;,y. tmd "' ~:-vu11mtc rcv~rs.ibitity ~·,f;w..yohse:/\-,~~t dmt\'\'CS ss f<•r ~x11mplc, h 11n·llw;l uf l~am1,ml nt. 1m,v,'11!\N1 ol' pain.
          10,JJowiJH.~.:J J2 ..,vcck ;>nsk11.'JSC ._,b:.ervalinfJ1~rlud ir1 rr1:,k· :md    indu,i;us 1xw1 as~t'l:im1:J with im Mtb.ritic \, llld11i<m, ~,~1
                                                                                                                                                                                !
                                                                                                                                                                                ~

                                                                                                                                                                                !!
          f(-,,11:,k, ~prnr.o,i-D;,wky .-~"- N•.> t.?St 1,r1,c1c.-,vebtcd opliiJ.v<}.      c,·llll~'<i kits w.,<l mJ·,d<lS d mom1fach~. cwnpmcs using a


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                                                                                                                                                                                ~
                                 Copy provid"d f1y l/SPTO lrcm lhe PIRS Imago Oaf~baru, on 09i29/2015
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                                             23                                                                                  24
           t11pical lliclofonac solution or to11ical gei fonnulntiou                       mem, such r.onliiniting infonnation pro,·i<fod tu a. user
          described herein together with some or all of th., clinic.l                      includes the infonnatjoa JescrjbOO in two or mvre or ail of
          and/or preclinical iufomu11ion descrih.,d il<'rein. A11hritk                     Examples 1-1 l.
          co.ndil;o.ns include the vsnious forms of arthritis, includmg                        fa ye1 .1nother noniimiting embodimcm, ,rnchnonlimitiug
          rhcmr..itoid att!u·itis, O$!eoarthritis, and ankylo,ini.; ,ponuyli- ! informntion provided to a user is the ,nfomiation in the
          tis                                                                              Attachmc:-n(.
               (:>isdoge<I herein a.--e topi<:al diclofenoc formulations, kiL~,                In one embodimc,11, such auulimiting information pro-
          and methods of usiug topical diclofenr.c Md .~-pica!                             vidc<l 10 a user is or c.1mprisc., the inforn;..ticn in one or moxc
          diciofeuac formulations. Specificnlly disclosed arc method;                      or all ofS-1ctions 6 (''.'\dverse Rcactionsw), 7.8 ("Oral Non-
          of using top:col diclofennc and iofomli:ig the l!S(.'f of cct1ah1 10 steroi(l.nl .'\mi-inflammatory Orugs"), 7.9 ("Topical T1eat-
          informatir,n as provided berein. Wiw !h<" kr,owl~.lgc of the                     mcnts'"), 12.3 t'l'hMmn~okiu.etic,), 13.2 ("Animal Toxicot-
          Jl<1rticular i.nfonnntion, the administration of topical                         osrandiorPh,.rurnoology")and 14 ("Cliaicat S!Udic.")of;he
                                                                                           Attachment.
          d,clofonac lo lhc iialicnl .:an beopiimi7.ed to prov)d:· safon,ml
                                                                                              1opicat i.!iclofer...ac cnn t,c formul,itcd for ~dministration
          mvse cm.~th·a tt~c of lt.\pic;il l!k·lc>h?1:ac, akm.c m· togctlter 1J.
          with ,m,l diclofonac. A,; n.s.,I he,.,[11. topical did<lfctK,c [;ir-
                                                                                          wru.--n, tbc formuln,icm gcn,m,.lty oo,mins DMSO and 1>nc or
                                                                                           mori? plmnx1<,c·(·:..ti~1!!y ft,~:c<.:ptf:ble ~~ipient:: ,-"'\S H!otdf\<.:rdn,
          ir..ulations inch::de topic.1l rliclofocac soiut:ollS ar.d topical              "pham1aceutically accepwble exc!-picm" means any otltcr
          diclofena<., gel formullltions, ir,ciuding" topical diclofennc                  ccunponem adtled to the phmmnccuticnl formuiation other
          prcparntion containing 1.5% diclofonac so<lium (2-[(2,6-                        than the diclofcn~~ nnd the DMSO. Excipients may be added
         dichlorr,ph.,ny l),u.nino.Jbcnzecc"cc1ic acid, mm1osodium 20 to facilitate manufacture, t"nhnuoo :;tability, c:outro1 rel•.?~!se,
          salt), 4.5.5¾ DMSO, etimnoi, ?(()pyie.:i.e glycol. glycerine.                   enhance produ,:t diarncteri,1ics. enhance bio~va!!&bility,
         :mdw;n,,~·-                                                                      .-nhMee t)r11km e1ccq•11.1bili,y. rw:. Phat·m;iooul.icsl -,xdpie,.,~
              To1,k;I did,lfa.1ac !11(:rapy can b" ,·on,id~roo C!t)!imal                  hi~hsdc:-, l\)~ ~..~mnplc. 1o.<1tri,~1s, fillers> Mndtr,1 disjntei;rmH1'.
         wh<lll ,(•mi\im~! with the new clinical, 1•rcdinknl. 11dv11r:,c:                 lubricants. gJidants, colors, preservativcsl ~u~pe.ndiu~p,g,':.tl:.s,
         evem in.formatioa provided :111d described herein. Disclosed 25 dis;_,eri:ing ageras, film forJntrs, buffer agents, ;>H ndjus1ers,
         herein are methnds of U$ing topical <lk!ofenac loo lransder-                     p!escrvaiives cu:.
         mal edmini~tmtion, which r.wy pmvide ~n wcr.-asc in !he                              11, CCJ1aiu C'.J.Ubodimccts 1 the dicJofennc is j11 tile forrn of~
         s3fory or el!ica<'y of topica; diclofonac tr~tment. P.xtensiv.,                  pharmace-Jtic~Hy nccc1,ti11'lc saii or free acid. Example~ of
         re,i:arch ha, bcei1 performed on ,1dm.inis1ering topical                         ph1111nac,~1ticaily m:,:eplnhie salts include UJt>tal >all~, induc-
         diclofc11ac th.ar now rweat sevc.--al cievcloprncnts rck1tiug to 30 ing alkali metai, ~.ilwlUlt earth mct.tl, ,md nitrog,m-b~scd
         imprcwe.mcnts in safe aud (;ffective trc:it."llent usin& lopical                 salts, such us it:-nn1m1ium s.<:!ts. Sodium, potassium.. epnfa.
         diclnfenac. Jn .:.:,1;iiu J>rei\.,m:tl \'111\:o<limcnf.~, l::W ~11ii:.,1         wJnc am\ die.J1ylamine ~nil~ are prcfcrrcrl. hl one 9i<.,forrcu
         t!iclof,m,-.c for tr.:il,tl~ri:nal admi.ni,:ttmi<>n l,; in 1lv.• form or n       embodi:.nen1 t.he diclofcna,.. is d:CJofonac mouosodic.m sa!t.
         solutiou or 3 g¢l,                                                                   In one nonlim.iting emh,><iiment, the topical diclofon:ic h u
              Jn one uonlimiling embodim.ei,t, 31lCb uonlimiling infor- J) snlution.
         motion nrovidcd to a user includes lhe infom1atirm described                         in another nonlimiting embodiment, the rorical diclofenac
         in lb:ar,;j,1t~ l , or~ sumrua1y tlit!roof.                                      i. a gel.
              In 3llOtli..'1' mmUmiling cmJ.m,ltmt'IH. such non!imiting                       In C:ifW ~mhudimcot, the 1opii:.al cHchlftu\u! i!i 1.5·~, w/ v,-
         inforrua1.i<.1n previ(kd io a user i,i.c lutfos the infumml!oH                   dicfc,fe.1.11:c smlium. in a v~Jlid..-, ~olmk,u con1aitw1g J)MSO
        ciescribetl in Example$ 2 nnd/or 3, or a siunmary thcN<,f.                  ,ir, 45.5~'1twlwandotherexdpfonts. locr:ea~pectofthjscmbodj ..
              bi mmlhcr nonlim.ttini1 ~.mb,><lim,1nr, such r.onlim.ifillg                 menl, the other cr.ci1>ients comprise propylene g)ycol. alco-
        iii fotHmti<w. ;,mvidetl tv " u,-..-i- iuducl<l.5 ,Ile infonn111ion               hol, glyceri.,i au(i puriiled water.
        dt:scribed in Example 4, nr 4'I smnmury thernof.                                      l none nouEmi!ing c::nbocirnem, the topical dicJofonf:\~ is a
             'ln .inmlK•r mmlimi,ing "mlxxlime,iJ. sud1 Muli.mi,ios                       gci fommhlfr>n ncc,mlingto PCf/lJS2007/08J674 (lntcma-
        lnfo,mn1ion pr:.ividcd 10 ,1 11scr inclt(<k:s !he information "~ Mnal Publ iw1tion No. WO 2008i049020 A2), the cont~ms of
        dcscnbcd in Exnmple 5, or o st.:mmnry tl1erco1.
             lo "'"'ih~r mmlimitiog cmhn,lim,'flt. such t1<>lllim,1ing
                                                                                          which are incorpo:ated herein :n their cnli:-cty by ibis refor-
                                                                                         vuce. The topicnl did,>fo1uoc 1n-0y be mw ,if the gel fonnn13-
                                                                                                                                                                                  ~

                                                                                                                                                                                  I
         infom:i.a.tfoo. _pri1qJdtx\ lo a tt;:l"t :nclud~s die inforo1rttjon             tknu; descri~xl or dointl~I tl1~rein..ht another nonhmi1ing
        de:;cribed in l:lx=p!e 6. or ,1 su=. fae.:eof.                                   embodiment, lhc t,-,pi~.l!l didofm;;c is a gel formulation
              !n Sit->th~r M11iimitiug ,·ml)Qdimt-,ll, such nonJimicing I<> as.-cordiug to US P.~te.'lt Application No. 20()8030031 I (pub-
        infonnmic« prvvidr..l to a :1«~ i.udndc:,; the ,nfom1ation                        timcd Dec. 4, 2008), tbc contems of which arc incorporated                              !
        u<;.-scribed ln Exampks 7 2n,l'or 8, ur 2 SllmJ.l.liil)' du,reof.                herein in lbeir e11iirc1y by ihis reforen.cc. The topical                                ~
                                                                                                                                                                                  )
             Jo an~J!l!.i.1: wmlimit!ng t~mbodiml'.fol, such oonlimitins                 (lklufo= nmy be auy c f the gel fornmlr,;inus described or
        informn!1ctt p.r(wid.c d tu ;1 nser includes the infonnatiou                     dniroo,l tkr',,in.                                                                       ~
        described ill P.xmr,pic ~- or a oULlllnar; thcrcof.
             l.u. ~m.ott~~r th1UJ tmiling. emoo(fimec!, :ai~h nonHrniting
        0Jfor'lll<1tim> pr<>vidc<l to a u~cr lnclutlr."l< dtt, i11fnnna1ion
        d~rih~·I iJt Ex.simpk: 10, ~tr~ !'\l:w1ti\t'Y ihc:t,-:·n f
                                                                                             !n ano:Jter nonlimilinl! em.bo.-Jimcm, the iOpical diclofonac
                                                                                         is :, J,<?1 fi1mi1:b1ion ,~>mpli,;ini;<ltd,ifonac oodium, dim.rth)•l
                                                                                         stJJ.fi•xidc, ~lmnr:l, J>t\>f>)'l<·m, gJyc,,t. 4'1l<lllr1mrrc thid:..:cr.iug
                                                                                                                                                                                  I
                                                                                                                                                                                  ~
                                                                                         ,1a,1nt$, :md wa!e~. 1n ,,o<.\ '"l"'"t t:·J !lti~ cmb<.-.Jm1rn1 , the
             hi ;111n1her nonlim.iting cr11b<•<li111~u;, ~1:d1 oonliruiti11g             lilp:cai <J.i,·lnfouac g~l ll•nnul.JllQII lilrth1:r cmn(lri~.~ t,ly<:·
        inf<.•imlllk,u pnwi,.fod It! n us,s· lJicludes ti!.! iitforr.m1io11 o0 ero1. In ;1noth~-rH~l)t~f>1.h<" lhf,~k<miu11>~,g..~nt i!' s~1ccted.Irom
                                                                                                                                                                                  ~
                                                                                                                                                                                  I
        <k<S.:rihc.$ in l!.immplc n. or~ s1i.:x111~ll)' 1lkret>f                         the group ~,;s.,ill;iui,, 01".:dluk,:;..- 1:s.•lymers, ~,u'honR,r J·"-•ly-               !
        . ln !u\otlwr wnl.iruiling ,•mhndi.J.ltcnt, stJcl1 1mnllm11ini                   mcrs . ~ carhom(..>j' dt'r;v:,th-e. a (;~lhth.):i.\~ d~'1·ivttlii.-·~ pi.)Jy~:inyJ       '
        mf0 r;iuui<,n fJrtwtdc,d, to ,1 nset" iuchtcJc-s du~ in.forrnntjun               uk(1hQ4 11<.ilolWBR'rs, p<•ly~acchari<Jc,;.•md n1i~1ux,~ lh~,...,or.
        •li,~crlbc<l in two or mo.re •Jr ;iii of i;xampk~ I ·i.>, In ,.,.._,thcr

                                                                                                                                                                                  I
                                                                                             ln ar.oth<Jr nonl;miting em.bodim.ent, the topi~al cliclofeuac
        llt.•r:Ji,uiiing ":rr1b<~timcrn, sta.:J.\ u~mHm.idng iuform~tfnu r~to· 6S ,,; • 11cl fotmufaticm 0<>1,rpri~,1111 or <:•)Asis1i.iit 13$$k~t1iall;,- ()f
        V~d~i to a t1;Wr iudude:; the iu.thruuuinn dc~~.::ribt-d in h,\, t;r             {-S,t> ·w:vv t~k lofonm.· ,m.iinm; :10-6010 V-t/w dimc!hvl J.ullbx-
        niore oratl nfBxt!mples 1-8. Iu nno1l:ernonlilll.itit1g embodi-                  l,fo: l -Stl<Yo w/ w clh,m,J): 1- l 5% wt'>. jlff·{lylw«.· ·gly-:t:iJ; ti                1
                                                                                                                                                                                  1
                                                                                                                                                                                  ~




                               Copy provMod by IJ!>PTO Imm the PtRS lrnnge Oatn!,<1~ on 09~!1:2015
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                                                                                                                                                                   HZNPENN_ 00038565


                                                                              APPX319
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                                                                                                                                                                .l
                                                              US 9,132,l lO B2                                                                                  .:
                                                                                                                                                                 !
                                   25                                                                            26
   lll.ickener; and woter (added to make 100'/2 w/w). lJl il pns-                  pri.-Jcr~bly, betw'-'t'u 25% ~nd 60%, su~h as 25, 30, 40, 45, 50,
   f~rcd flspcct of this cnllx>diment, lhe gel formulation has a                  55, or 60"/2 w/w. Preferably, DMSO is used iu ?he present
   vim.,sity ,~f I0.50,000 centipoisc.                                            invention ut 3 concentr-Jtiou of :ib<>ut 40 to nboi;t ~0% w/w,
       In unotherncnlimitiiig mnbodiment, ;ho topical dic!cfonac                  such as 41, 42. 43, 44, 45, 46, 47, 48, 49 and 50% Md nil
  is a gel formulallon comprising or consisting essentially of                    fractions in between sL>cha~44, 44.5, 45, 45.5, 46, 46.5%, antl
  about 2<;.·0 w/w dfoJof""--nac so<liuro~ about 45.5% w/w diml·thy l             the like. [u c~rwin e.mboclimenrs, the gelfonnulatioi:: iacludes
  sulfoxide; about 23-29% wlw t,tl'dln,)I; ul'-Out 11% w/w pro-                   a lower alkanol, such asmetbaool, ~hanol, pmp3r.ol, bll!llnol
  pylene glycol; abou, 0-6% w/w hydroxyp1opylcclluloso                            or mixture, then-of. ln c<'.rtnln embodiments, the alkanol is
  (HY1.l9); a;id water (added to make JOO% wlw). ln n pre-                        prescm at about I to about 50"/4 w/w. Preferably, c1l.w,;~,I ;~
  ferred aspect of this embodiment, Ille gel formulation has a IO u:;ed at about 1-50%,wlw, such~s l , 5, IO, 15, 20, 25, 30, 35,
  viscosity of 500-5,(){)(J ce11tipoii:e.                                         40, 45. or 50% w/w, and nll fractions in between. In ceruiin
       Iuanotlier ,1oulim.iting cmbodiw..-111, lhe topkal diclo:f<.'!l!lC         embodiments, the gel formulation includes a 1>0tybydr,c alco-
  is n gel formulation comprising or consisting essentially of                    hol. such as a glycol . Suitable glycols incluclee!hylcneglycul,
  diclofeua:: sodium ul a c<mcct11.ra1ion~clre1cd from the group                  r,ropylene glycol, butylenc glyc<,!, dipropyleue gly<'OI, hex-
  cousisti.ug of l, 1.5, 2 and 3% w/w; dimethyl sulfoxide nt 8 1s ,morriol and a combinotiou ihereol: Preferably, propylene
  concerttrntio!\ selee1ed from the group consis1i11g of 42, 43,                  glycol is used at ahont at l -15%w/w, such i,s l, 2, 3. 4, 5, (,,
  44, 45, 45.5 46, 47. 48 and 49% w/w an.cl fm<:!iOJ1s in ~wce.u;                 7, 8, 9, 10, l l, 12. 13, 14, or 15% w/w, and all lr-dclions in
  clhmlol a, 23-29% w/w; propylen~ glycol ma conoeutrntion                        between. !u ocrlain embodimen!:$, the gel fonnulation
  seicctod from thegrou11conmting or 9, JO, I l, 12, l3%wiw                       includes glycerol (also .n,fc.rrcd to as glycerine) at a concen-
 and fra~tions in between: l:iydmxypropyk.ellui<,se (HYl 19) 20 tration of Q.J 2% w/w. Prefetnbly, glycerol is ,1sed ot 0-4%
  M 0-6% wlw; a.xi water (included in an amolll)t su flicient to                  wlw. such as 0, l, 2, 3. or 4% w/w, nod nli frootions iu
  m3ke JO<Y'/o w/w). In 3 prcfem:d Mpcct oithis cmbodi.."tlcnt,                   between. !n some eml><xliments, no gJycerol is used in the
  the gel formulation bas a viscosity of about 500-5000 centi-                    formulation. In a nNtcrred emhodlmem, ti1c gel formulatio::,
 11oi~e.                                                                          provides comprise~ ,1 diclofonac solutio!\ and at least 0JJc
       lo certain i.-ml:odimems, the abov~s-dcscribe<l 1opical 2s thickening ageu! to make ;i gel. The at lctlst one thickening
 diclofon~c gtal formukllions include 1-5% glycerol. !11 such                     ~!\CU! of the prcs~'!11im•cnlion may be an acrylic r,olymcr (for
 cmlx>dimems, the gel futmul!i!ion will have a dtyiog mte and                     example, C1rbopol poiymers, Nowon po!ycarbophils ar1ri
 a iransdenn31 flux that are !;l\~tcr thnn a compar,,ti"e li,1uid                 P&uulen polymeric emulsifiers nvailnbfa commercially from
  tcpic11l diciofonac foomtlation. ln other cmbodimen,s, the                      Noveon Inc. of Cleveland, Ohio). an acrylic polyGJ<srdetiva-
 above-de;;crib<.."<i !Opie;,! dic!ofonac gel fonnu.lations will JO tivc, 3 oellulo;;e polymer, n cdlulosc polymer derivative,
 b8ve a pl! ofaboul 6.0 to about 10.0.                                           po:yviny! alcohol, poloxamcr,, r,olys;,ccJ111ridcs er mixtures
       Jn a@ther uonlimiling embodiment, the topical diclofonac                  ,hereof. Prefombly th" al least on" thickcninf, agc111 is
 is a ge} ·fhmmlntjnn rompdsinf; didoftmac so<linru, ethanol,                    hydn>xypropyke!lu.iose {HPC) used such that thct!rui v:scos-
 DMSO, propylt:nc glycol, hydroxypropylccllulosc Md water.                       ity is between to and 50000 centipoisc (cps). More prcfr..ibly
 In one nspecl of thls embodiment, the hy<.l"~~ypmpylceHu- 3S ih.c i:f!d viscosity is between 500 and 200(10 cps. TI1e gel
 lose is 1rubstiiuted wi,h r,lkiy.,el!ulosc, bydroxyalkyloellu-                  formulation may oplionaliy include ,11 ka~t one 2.ntioxiuaa1
 !osc, carboxyal1.-ylcelinlose, or sodium carhoxyalkly,,dlu-                     aucVor ou~ chelating agent. Prefem.'<1 amioxidnnts may be
 lose, whi,re alk-yl is methyl, erhyl ur ?"'PYl, or a mixture                    seloctc<l fmm the r,roup co11sistingofbmylatt..cJ hydroxytolu-
 tuereoi: ln u further aspect of ll'Js einhodimcnt, the said alk-                cne (BHT). bmylatcd iwdroxynnisole (BHA), asoo.rbyl
 lycei hi lose, hydrnxy~Jkyloollulose, carboxyaikylcellulose. or ,,0 linolc.ite, ascorbyl <iipa!mitatc, a,ct>rbyl tm:cpheml m.aleate,
 sodium cnrboxyalklyccllutosc i~ .replaced wwhole or in part                     calcium ascorl,.,te, r.an,tenoids, kajic acid, tlriogiy,"<llic ocid,
 by an 2cryiic polymer (for cx;imple, Carhopol pnlyme.a-s,                       to~ophetul, IJ..J<.~'pheroJ icetate, ioccphcr!.?ih.. S! toccphc1etl1-
 Novoon polyc:,,rbcphifa au<l l'.,mulen polymeric emulsifiers                     12, tocophcrcd1-l8, t<)COphereth-80, au<l mixmrcs t.>icrcof.
 available commercially frou1 Novoon Jue. of Cleveland,                          Preferred chclming agents may be sdec,ro from the group
 Ohl<>), an ,icrylic polymer derivative, a cellulos-a 110lymc1· -is ccusisung ofcthylcncdiarnine t,-traacetic acid (EDTA), diam-
 derivative, polyvinyl ii.kohol ("!''(""), polyvrnylpyrroiidone                  mmi.ium EOTA, dipouis•ium liDl:A, t·akium disodium.
 {"'PVP''), 3 pc lox;1mer1 a polysacchadde, ora n1ixt11re foerei.Jf,             BDTA, HED'iA, TEA-EDTA, tetrnsodium EDT/\, tripotas-
      In auolbcr aspect, l:s"I forrnulalioos 11s«fol in the invenrion            sium BDTA, t.risodiu:n phosphate. diammonium cilmte,
 Me NSAID gel formulations, such as a topicol diclofori.~c gel                   g.ilactoric ocid, gnlacturo:iic r.cid, glucooic acid, glucuronic
 fo.rmulntio11, nn<l comixments of the formulorior,s arc r., foj. 50 Ncid. humic acid, cydod<.'Xtrin, potassimn citmtc, potassium
 lows: ntc gcJ formulations comprise n:1 active age-at. pr~fer.                  cll1)·leneiliaminewrrnmcthyknephosphonic                          Acid
 ebJy a con-steroidal anti-inflanunatory cl.rug or phar.:1u,ct'mt\.              ("EDTlvW"), sodium citrnle, sodhm1 EDTMP, .llld mixmrcs
cally acccptEble salts U1t>reof More preferably, t.be 11011-                     thereof. Ju addition, Uhl l<Jpica1 gel formu!ntiom CM also
 steroidt!l anti-inflammat(U-y i~ diclofenac in tht> form of a                   compriiwz pll ndju:;ti11gagem. lnoocparticularcmbotiiment,
 pharm.~ccutically voecptable sail or       me      acid. Examples of ss the pil adjusting ager.! is a base. Sui1able pH adjusting bases
 phtu·nu:ccutjCf:Uy t1c1;.,:plab,k ;;di":, include 1nctt1l salts, h.t;.;Jm1·     include bicarbonmes, c.,rbonates, and llydroxi<1es such as
 ing ullrali me,al, nlk~Jine earlh metil, antl nitrogen-based                    alkali <Jr alkali.~e eanh meml hyd.-oxide as wd.l as irMsition
 salts, such as ammonium salw. Sodium, 11otassiuru, cpoia-                       metal hyd10xides. Afl<;1m3tively, the pH ndjUllting agem cau
 mi,._. and dic1hylamine sails are preforre<l. lu one prefom,d                   aiso be an acid, nn acid snit, or mixtnrcs th~rcot Further, the
embodiment \he diclofor.ac :s d:clofunnc mooosodium suit. ~n pH a.qjnstiog agenl ,·a11 ,u,-o be a buffer. Sui!Rble buffers
      lrrn prefor~dembodimcnt, ,be ,;cdinm snit ofdiclofcnac is
                                                                                                                                                                i!
 ll"'1i!, Didofonuc may be p!CS<:'nl inn rru:11,• <>r npproxim•.Hdy
                                                                                 mdud.: citralclci1ric acid hullers, acetate/acetic acid buffers,               t

                                                                                                                                                                I
                                                                                 phosphlll~fpfJflsphm-ic .,.-~l buffers. fo1111t11,:iformic11dd h,1ff.
0.1% to 10%, such as t, 2, 3, 4, or$% w/w. Jn nt!l.llb.er                        crs, iU't1pin.tmh,Yptttp1cmh.~ acid boflel~. l(1Ctatt!ili:i'.:!ic ~~·ld
crubodiment, 1hc present i.'lvcr,1ion inclt:dcs a pcnetrntion                    butTurs, carbonate/carbonic acid bnffers. anm1oniumiarumo-                      .
'.'"h.tt!"R':<1t. The pcn.11\oaicn c:>hm,<;er muy !,-, <lirrw_1,1~vl ~ul:,,~, 65 c.ia buffers, and the like. 'Il,c pH Mljusting agent is present in




                                                                                                                                                                l
 ul~ {"l)MSO") 01: ,kri~,ilivc·s th,:,,~of. 111~ Dl\fa<.) mey he                 an smom.11 suflicient 10 r.dj1n;t the pH of th~ composition ro
 ?resent in an •moum by weight of l % to 70"/.,. and amre                        between about pll 4.0 to ~bom J0.0, more pr~forably nbout




                                                                                                                                                                i'
._ _,_ _ _ _  p_y-ri ovldr;<l by USPTO from the PIRS ln,ege Unlubns& on 0912-9J2tl15
            Co_                                                                                                                                                 ~:
                                                                                                                                                                il
                                                                                                                                                  HZNPENN_ 00038566


                                                                   APPX320
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                                                                            US 9,132,110B2
                                             27                                                                                      28
      pl-I 7.0 to Hh.1111 \).~. b, ccrtain,•ml)o(limcirts, the un:-:djustcd                              fu :u1:,1h,'.t 11<>ulilrii1.i11~ m1lx,dimc1nt. 1u1 srticle of ani1mlh,--
      pfl of the: admixed cOmf><>JKuts ,, !x,t w,,.-.1 8 mid 10, such a~                            mJ1C cCJmprhw$ n ,-.mt:.1,ucr<:<llllaitti»$ z do;;.1!;\~ form ~11'1api-
      9, witllom ihe n~d for the addition of any pH adjusting                                       cal diclofouac, wheruit, Llic c;,n\ainer is msocimcd with pub-
        agent!i.
                                                                                                    lish~d material informing the user of ~~11.ic cf all of the
             ·ru1.:" p,·c~m h1ventfon i~Jrn.h.~ :1 m~thud for ttppJying mt1I.                        ln:for.mati<1n. Alld.iti,mal infommtlfln "'"' ind ml., the inforr.n~-
        <i1)!C:t1>pk:il~gc111.,to-0 ~ubJc..1 wi1b p:,iu,,c,mpri1:i11g 11);1icaily                   ti¢o disCl()sc,d. .s11naunrit.<:.xi 01· t')H1~rwi~t~ ·_rrnvick~i bt>.JE'ln.
        a<.t."o! n};nerlng n phnr,rn.11."t......,ttlt~~,1 1.'J.\Jl.\pCtstlis)J:J c,,m}lTit:ing a
                                                                                                    in,\Judiug l.h.- iufo,..,rwl i1,n prnvJdcd in any e>i' ExomJ>l,,:; l -4.
        tti~r.;pcutic:alfy ,.,tlh:1ive .ll'l1<>unt <1f :i t<>pkt-! d.icl,,fornic m
        DMSO, wniti.ng for the treated area to dry (tile liW<· ofwhich                                  )11on:•1><.>11limilir,gcml,mlim«1Hofthemellu1d~,.,,t<l ;ul icl"~
        cnn be lli.T,,'tl,f<lll' vn :in,!ivi<.l\&l] iki.nc.hamctm·i~fa·,, ,:uvimo, 10 uf uumufucl.tu·.: provided herei11. 11 l<lj)iC:,.l .ti~!ofo1~1,: <losag"
        m~Jl!lii condi1ion:i r.u,:h ns 1<:"tnpcr:!!!1m: ,md h,.wiiJii;,<. :u1d                      f.,on rnn t't!mpci~e ,1bout 40 dr.-,p, Jl<'r !we:;:, QII). In one
        1'~lrli,c.~-nt'{Z:, tJftcn about 5-10 mi11.utt~>. .a~.mt 5-20 tniJ)Ull"S:                   3.-;pectoflUisemboJimem, adiclofouacomldosage form may
        for example, r,nd typically abou-t 10 minniei o, h:,s for "                                 also be prcv:ded or rcco.mnctH,k'>J or included within !he
        ,opical diclofenac prep.ir~ticm, iucludioi; a tc,picai diclo.fonnc                          methods and artick~ of m.umfac1ur-~ provided herein. lr.
        .vlutio111,~<1c,c,ribcd in the Examples). ;Jll\l .1ppl)iugmh1tllfil' 1s another nonlimifa1g crr:bodim!:.nt o!'the mciho<l< and a;tick:s
        tor,ical a,;c.1u:. Jn <m"' nco!imitio~ emh,xlim,,rn, the ,,,t,j,-c1                         of mamifilcrul'c ptovidcd li"1'ein, a to;,ical diclofonnc dosage
        has ci1ooarthritis. In 11noU1cr m>olim.iti.ug emhodin,cn1, the                              fom1 ca11 comprise application of n lopicnl dick>foruic gel
        subject has osteoarthritis ofl~,c.kn,"?e. tn one cmlxxliment. the                           for.mulatioa twice dai,y.
       1opic3 l ngent r:dmi,usler'.:<l «!ttr the topical diclofo~.ac is a                               lu !l.!K•ther r.o.nlimiting emb<.,dimem of lhe melhods ,md
        ~utlSC.l.'t!tt llr rm ;,,..x-1 repelk,m. In ,mo1h<'! uo~limitillt•, 20 mtk!t:!< (•fn,,m11foc1m·,,pmvi<l<:ci h<:<cin, a kif <>finformuiiou
       e111lw>fli1.R'llt, tlw i1w.-mion in,hlfle:." m,1h"'l c>! ,>st>l<,d:ni; H                    ,,cnccmiug ~ ro1,ie<1l did,>fosll!" 1•r0<f,1~t .:mnpri~n!!-
        subject wlth cs!t1c,~ssthdtls ff(.~m UV e>'.:.1,~~urct1!1<l i:fk·vi;tfro&                  <iiclofo,,~c Mc! dim~tbyl ,rnlfc•xidc is prepared ar><l/nr pi,,-
       !tr" i:g_u, en:J i,·ymptom~ o( ostc'<i;11.1h1it,s ,u th,, ,uh,iNI con,,                     vi<lt~!, ~aid kl~ compri~ing i1di1r,n«tirm ;i\>t:\1t (n) c!inictil
        prising rile: sa,ps cf applying a th,mipe:.nically effective                               effec1s of dosiQg of a topfoal diclofon3c solution comprisiu~
       amount of a lopical diclofonac in OM.SO; wnifa1p, for fue is 15~~ wlw did~1H:'.l~t\· ~vdhm, aJJJ 45.5% w/w dimetityl &OJ·
       !teated arru to dry (the lime of which can Ix: dependent nn                                 foxidc, i1icl1klin!_1 (i) tbe-efrc~, o.f 40,-lmj! QJD ll<>$il1i;,of $ale!
       individu;,I ~!Ju ~,cK'tistics, cnv,,,.,mr,c:111:tl co1«1it.i011$                            '"'Pkt1I <.lidnfi,mc ~ol\lti@; Oil tlw effect~ or 4U-da,p QlO
       sud; a$ t~mp<:,mrnn· ,wd 1mmidity, snd ~ur.fo~i· :m,i, olh,n                                tl1>:;int; oJ Mid t<ip1~<1l ,iiclvfona, ~oiuti(m ,11 une ,1r mor<:
       .1l:><-lt11 5..J/) mhruws, ;,h.-,ut S·W minut~-s. for cx~mplc, am!                          diniz,sJ tri;i1s; (iH) r!-'Suhs {\-om• 12-wc,;t_, ,loul.,lc--1,li,id, C<).LI·
       1ypicriH_v :ibmn Hl 111inull:~ ,ir lc:ss for a lopk,1I didvft~;.IL· 30 twll<:d lri,ii o.fs.li<l il~•ical dicloll~rn~ solmionilt ;;ubjecv,; w,tb
       preparation. including a topical dicloli:nac solnlie>a 3•                                   cstooarthritis of the kne-!whichcom;.•ared the pcrforrnmi;:eof
      ~,,nbcd in lhe Examples), Ojljl1ying suu~crren tv O,e same                                   said :cpical diciot'cnac $olution r:gr:inst r, v¢h:clc wiution
      area of tre..,t;uent.                                                                       conwinlng 45.5% dam,thyi sulfoxiJe and a placebo solnrion
            Ai.s<, incl.udl'il he.-cin arc phi,xm;1<1l'Ulic"-1 pro,iucls (kitS)                    c(m(aini1111, 2)¼ dim~1hyl ;.n!fo,i(l1,<; 11t1d {is) pru.rmm:oki-
      w.cfol, for t'Xample, for 1ba tr~11mes,t or pr~cc,timi ,>l'pain, JS 001i~- rt-suli:.1 from oJtc or ntcre smC.ies in whh:·h ~fogle t:nd
      including pnin CllUScd by ar'J'.rilis, such as osteoarthritis, for                           multiple <lose, ofn topical diciofomr. in a i;olution containing
      ~~;}mp.le. whicb «m,rrt~<:- out· t.u~n:11,rc c,)t.lal1,,.!rs '-."\lnl~1infr,J;              ,l\m~thy! sulfoxidi, w:ss 1.1p11h:.l to;,iciilly 1,, hC<l!tliy ;1um:m
      "t<>1,1cn! d1d<•fonm:: fonm)btion nnd intbnn:,l.i,m,rr~u!>lb;l!'1d                           vulnf!U"'rs; (b) an <itl~crs.: ,<'\!!11 pf(1,lle for ,, !1.1pi,~1l
      mat<!rial, e.g., as produ~t inserts or product labels. The infor-                           diclofcnac solution .:nm,wi~inv., 1.5% w/w <lic,olcn!lc sodium
      lll}Jtioc can indicate qu:mtilie.q of the corupooc:nls to be •o ar,d 45.5% w/w dimethyl sullbxide, including, (i) concorcti-
      :.dm.iniitcrcd, guidcliues for ad:::ninislration, ,;,,foty issues.                          t.ml use of oral N.5AIDs wlili topi<,al diciofo!ltlc resulted inn
      a1id the like. all a$ disc;oscd ar..d prnvidt.xl herein.                                    higher ra,c of recl3J hemorrhage. more froquent ebaomwl
            ll~c kits way fortilE:'r comprise nne er more couveutk>oal                            creatininc, m~lllilld ilcmog!obin; (ii) thr.t i11 a contmHcd ufal ,
      pharmaceutical kit compo11en1s, such as. for example, one or                                a higher rate nfc(l11ta,,t dermatitis with vesicl'-'S was oh,~'l'Ved
      more conwin.its t<> uitl in r,i~:litmh::g complJancc wiilu:. 1,,u, ,:5 nftcr tret<tmcnt of 152 subjecls with the comhina1ion of!opi-
      ;iculurdosuiic rc11,U11,,;, c.1.:, llxlllll;>lnry ki :., can he i:i tl1<: fo1111            cal di<:Jofcuac aud oyaJ <liclofonac; and (iii) results ofa cliai-
      of a p.1ck:lgc. Suitable packages and packaging=- known ill                                 c~! s:ody doo:onstr.lling that the addition of said iopkal
      the a,1 or ~Mily asc;,rtaked by one ofordiruuy s.kill iu the art.                           diclofonac solution to oral diclnferuic did nt1t c.tnJ~c cm dc.·va ..
            In one oonlimitingcmboriime:rr, the topical diclofcnac for-                           tiou of liver lransamina,es nv;,n1sc oJ'orol didofena:: ~lone;
      mulation is packaged with ,nforma1ioo informing the u,e1· sn (1.:) procltnicaJ s1udy ~"J.lts fi,r a topical fom.ml:Hioucomp-ri:;-
      !hat the: topi(,al dieJoie mu: solution will not causcM uptalro of                          ing dimethyl sulfoxide. includins for example, tlle results of
     ouc or mere envh-oo.t-l1entP.1 toxins fa another nou..Hmitin~                               ~o :m.ima.l study in which no ndv,,!S(; ocular effects were
     e,uhodi11,ci11, U1<: topical ,hcl,,fo11«c frir1m1!~1Jo1\ is \'l."ICk:>.gcd                  ohs(!rved allermultiplc-dnilydennttlr:pplir.at!,,n to ra;s for 26
     with inl.·,nmttim1 thw. inc!'Ucles r,•fon•w.'IO ta s lack ,)f ,;n1jci-                       ,K'l.,k, end minipip,s for .52. w,-cks of DMSO 111 twice the
      1~~11c;:d ot ~-~p<:(!t~! :uln~"SJ..' ~V<:HIA ut ,~dv(~rst~ r<....1-¢:lit~11s tt': ss ~,11R·,:11imti<:n thmi<l in ,, !<ipi,c:,i! tlidnfbm<: solu;i,¼l (c.p.,.
     p~1tfcsnts ilnm exposure «r <>n.c: ot· ,norc cnvjr,-01m1enud lox.in$                         l'L~lnsi>1k!<k•), 011(1 (<I) a Stl;!~ntL•m If~,,, tl!1CC d..-y, ""'-~en",,
     !hl!c,wfog 1J,c, u,·u1.- m1(l/-ir cbr<111ic 11«· or» mpu::·:J dklnfonx                       ins~--ct tt'j)ellant, lotion, mois:Urizcr, cc;sru~1ics, and/or other
     ,;..,lu1im1, for c1xa..~11!" ~ h'lpic:d dick•full«e prcpnr:.1i,1n cuu-                      1;ipi~~J 1>roi.lo,,1~ ,',El ll<! appli,;,d lv m, nrc::: prt,viouily treated
     tni.o.ing 1.1'% di::Jr>fen:,c '10<1iLllll r~•l.(2,(•"<·li<;J;J<1n.'/dl>.?ll)'l_)            ,vi1h o topic;l! didnR>mic soh1l,<m (c,g., }\,m~~~i<W).
     ami:\<>]oon2:e,1e:i<:1i1,c ~cid. mi.'>nr;rodium Mlt), 415,1% 6<i
     DMSO, ct1lli.nol, propylene glycol. glycerine. nnd water.
                                                                                                       Ycl anothernoolimiting embodiment          i,"       m.Nhod ofobtain-
                                                                                                 in3 marketing au:horiz~non from a regufatcry autho.dty for a
           In enc oonllmiliur, .:mb<>dime111, a mcllH)<I of m.mufocmr-                           t,>pk,JI ,!iclofenac product compris(ng referenciug the kit of
     ing a to_p,e11l d,cletfoMe r!llHl'.l'IU(;(.1lli¢.1.I r,n>duct ,:-m,J>rises                  i;1fr,rm:Jl.ior:.
     l)ackagin11, a topicul ,lick,fest'lC dosage form with the lnior-                                 Jn m1othcr cmbodimc11t, a me1hoc for dis1ribu1lon of a
     rnatkm. AdJitlt,o;d inform;ilhm ntn mt1mk lhc infonna?·ion ss l<>;,knl diL'hlfcn.'lC p:.·oduct i$ provided, C<m~pri~ing til'i ~m;i,
     '1i11.d~d, m,f»J.mtriy,1.-d (.lf l)tll~n\!i~:;c pr1..wiffml Ja11t.~-in, foc111d ..          d (a) ohtoi11h11, m-'r!(,}li,ur, ;lllih,1riza1inrr fmm ,1 n1>611l:i1,.,,y
     a,g 11!-, iAfbr.tt1111il)S:q,rovidL~I in ;my ,,ffoa,mrl-l!l l·4,                            authority for 3 IC•pi<:nl didnfoimc prc,d.11~1compri,ing refor,
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                                                                                APPX321
       Case: 17-2149                                      Document: 36                                    Page: 420                         Filed: 08/16/2017




                                                                           us 9,132,110 82
                                          29                                                                                          30
cru:ing snid kil of the invention; and provid:.ng said topical                                    mal radiologic.~! ,~xam.inmfou in ,he non-study kn._-e), and
diclofciw; product ro or;.e or rnorc di~1ributors.                                                then rauclom.ir.ed into tile trial by rtt.civins lho ,s.extnumbere<l
   fu followmg examples forthcr illustrate the icveo.tion but,                                   study kit ii? thet clinic for that stratum. Each ~!Udy kit con-
of counie, ar~ noi to he conslrul'Cl tl5 in any way limiting its                                 tained topkai solution and oral tablew for one of the five
scope.                                                                                      s treatment regimens: (i) Topic3i .Diclofc~Ulc s,,h,tion
                                                                                                 fPenn.said·~ 1opkai &,lution, Nuvo Resea.,ch Inc., Missis-
                                  EXA,'11PLES                                                    sauga, Canada] plus orni pl~c'«b<> ta\lkts, (ii) 'DMSO
                                                                                                 vehicle': vd\icle ~olution ph:$ oral piaccbo mblets (vehicle
                                    E"ample I                                                    soiufon WM the complete ci>rrier, iuclud.ing 45.5% J)MSO
                                                                                            Iii and other excipienB, witb nn dic!ofouac), (ii,) 'placebo';
          !2-Weeic, l)oub)e-81ir..c',., Dmthle-Dnmmy,                                            placebo :;olutioo plus oral placebo tablets (placebo solution
      R8ndomi7.00 CoulroUcd Trial ofTopit1'1 Dicloforn,c                                         wns a mcdillcd v<?blcl<' solution with ocJy 2.3% DMSO, for
                           Solmion                                                               blindingr,urpcr.es, ~ud no diclofcllilc), (,v) 'ota l diclofennc';
                                                                                                 placdxi solution plus ornl diclcfenac tablets (l(lt) mg slow
    Tb.is Example describe:$ novel clinical information Im:                                 1s rel,,asc), ot (v) ·topical didcfewc-+<1T3l dicl<Jfenac'; Toplelll
may, for cxnmple, be pmvid<XI tc a user ~=n.iing to the                                          Dicluiim:ic Soluiion plus ornl diclofenac t&bleis. Subjects
prcs:mt invention, comprising safety aud effic?.cy resuhs fron:,                                 ~pplid 40 drop, of solution (01,proxiir.ately i .2 ml,) around
s 12-weel<, doubie-blind, double-dummy. randomize:! con-                                         the entire circuwfo:roce of the stt:dy kr,ee, withootma,sage,
trolled trial of fl ropicaJ diclcfeaac pteparatiou containing                                    4 time., daily, ~nd tnok one srudy tablet daily for up to 12
 1.5% dicJofonac sodium (2-[(2,G-dicJ,fon:,pl..-.uyl)amiuoJ                                ;o wccl<s.
bt~t~N~~,k ""'-~id, ruonosodiwn ~It), 45.So/(> DMSO, etk-,-                                          Concomim.nt analgesic am1 Mti-iullummatnry medico-
ool, pmpylcJle glycol, ~Jyccrim,, :md w~ter ("Topicol                                            tions, including over tm: counter NSA1Ds aml othet" anal;,e·
DicloJenec Solution") in 775 subjects with radiologically                                       sics, were prdllbi,cd. Continuatir;n of stable ti:ca!m.eJll w;11i
confu-md, syr.,ptom2tic primru)' csteoarthritis of the knee.                                    gh1cosamioe, cl:ondroitfo, MJ.i-<lcp=sa::i!s or u proton pump
Tiie S!Udy i1!clrnl1,,:I a placebo ~.rru ;o eotablish ell'lcacy, .i                        is inhibitor (previous 90 days), or low-close (::325 mgfd.!y} ooe-
DMSO whid<: a:m to nddress possible DMSO efficacy, an                                           tylsaiicybc scid (previous 30 cays) wus permitted. Acctmnl·
ornl dicfofeoac an:n fo: compnri,on with the topicnl                                             nophen was J)l\Wided, WJd pcm.utted (up to four 325-ms
diclofcc.3c solution . nud ncombination of1imicnl Diclofonac                                    caplets pt'r day) except during the3 days be.foie ~cl,dfa·acy
Soiution plus orai diclolenac to assess c.-,mhinoo L't!lltment.                                 ~Jkicssmeut. Other ?opir."<ii procluc,s on the knee, fo.clud!ng
    Stud)' Suhj~!s:                                                                        JO skin emoilienls, were r,rohibit<](!.A pa:icnt wrth a gastrointes-
    Thi; mndornizoo, douhfo-blind, double-dummy, J>laccbo-,                                     tinal advme evcut was ul!ow,-d to sta,~ a J>rotcn pump inhibi·
velJ.iclc-· an<l activc-ccn!l'lllloci study was conducte,.1 nt 40                               tor. Compli&n:.:e witb the ll'C$tmeni re3imen was asse;:sed by
cutpnticm centers in Cnnada imd 21 ccnt,'n< iu th.- United                                      we ighing the soh1tior: bot:les and couuting Slll<-o/ mblcts at
St:ites following rrppr.ova! by lite ~p_pr<lj):i:tt<: imlih1!io.ll<ll                           r:~ch clinic visit.
review boo.nk Eligible subjects. aJt::: wrin"'n informexl COD··                            35        All stttdy solutions app<>ru-oo as identical ck-ar, t'(l!or/e$s
sen:, included mcnnndnoo-preguruirwomcnegcd 40-85 with                                          liquids. lt was expected !hzt so.me i;uhjcct~ applying Topic:,!
primary OA of the knee based on (i) ~tar;da,d radiologic,,!                                     Oicloftmac Solutiou or DMSO vehbl~ would r,:p<lrt n gnrlic
critet-j3 forOA (Altman, Rn, ,!t al.,;Jtkrs ofimiividmr! radio,                                 taste orocim from cxlmii11gdimethyl sulfide, a vulatlle DMS()
graphic fea:ures Jn Qs-teoarthriti.c Osreoorthritfs Canilax~                                    metabolite; therefore, a token amount of DMSO (2.3%) wus
J 995; 3 (SupplA):3 -70)c,na recent(witbin3 rnor.fus)cl<al!!i-                             40 included ill the ploccbo wh.1tion P:evio\\S ,riais wilh toplcal
nution, tii) pain. witl1 i-cit1wr use of au NSAID or miler                                      diclofor.ac con!irn\ed the succc~ of this hlinding procedure
nn,ilgcsic mt'!licalion (at least :3 days a wc,ik for lb.c previous                             as the tncidt":n.:e of ·1~stc p~.1:version, mJve.rse events \.\'::SS 1:..0
month)~n.r.l(iii)a fl;,reofp.1b ,md miuimum Likrt pain score                                    diffei-,mt with placebo S·Jlution from topical diclofena<:. 0T3l
uf8 (40 on a Reale n.orm.lllized m 0-100; t:oo below, Effica<:y                                 dklofcuac and p,acebo tablets appemed idcatic?.J (Novop-
Mease.res) at baseline. following washout of th.st medication.                             45 hnrm® ln.c.). Bnch study kit was 8ssernb,cd according to n
A flare wi;s dcfinoo es an in,,roase in tuta i {,ikert pain score of                            v.>mpmer-generoted rn11cl.omiwtioo sc~iulc rruated by au
25% and a! least 2, and a score of ;,t le.:ist moderAtc Mt one or                               t:i<tcrnai statistician for t:tch sttmum using ,1 bloc.k size of 5.
mon, l>fth<? five i1em,/questions dthe W01'/,.AC LK3.J pain                                     The rnndomi7.ation sequence was cOLK't'ale<l from investigll-
subs<::alc {Bellamy, N, et al., Valid~!iou Study of WOMAC: a                                    ton;, subjects and the spOll,~or's clinical 1-cscarch pcrsotlllCl
health statu, inst:rmnen! for measuring clinically impot~ont                               50 uruil ilfkr data lock.
-patient rek.-vant outcouh::o to ,.mHrheumatic <lrug therapy in                                     E fficacy Measures:
pr::ic:uts with OJ;teo,irthrilis of 1he hip nr knee. J Rh,:w,wtol.                                  Each subjcc! complettxl a fall e1Ucacy ar,.<;essmcm qucs-
19$8 lkcemb'.'r; 15(12):1833 -,10). All kru:e !ilim were                                        tiomuiro ~fter rnndom.ization at baselioe and nt 4, 8 ond l2
mviewcd by n single rndiolo&ist and eaz.h compartment wns                                       weeks, or at drop out. TI;o co-prima.iy ,11:kacy variables
S<¥,r,.,rJ (rn:ne·.·. I, miJ.<l·-·-?.. mode/$le~3, sevete<"4). 01.1ly enc                  5$ {l)<.>t1l<n-.an A A. ,1 al ., tiffcct Ill' 3 to11kd ,lic!;1for,:«:: sel~til!J\
kw.:cwt1.,~ 1ru;1h:;d. 'WJK.•r-c both t<o-.'t.-:, me.? un t"tttr_y (.;.01.i."fiu, the           tbi- reil.:-<.·ln& xym11:om; or1u-itl;ll1y osteoonllri1i.111f th~ k1i,~:
more J).!infu! knee (ordominru1t knee if they s--oredthe same)                                  a rnm!om.ized <'Ontrolloo trial. CMAJ. 2004; 171:333-8) were
wa~ sclccred. StWldard exclusion ,,ril<"ri* w,:rc o,;.npfoy"'-1, :ts                            defir,ed nJ>tfod n~ W01V:J>.C pa;:,. :me! physical functiot1, t\1ca·
described in Roth SH, Sbai.ahome J Z. Efficacy and safety of                                    $llrcd by the 5-point Likcrt scale {Biswal S, et al., 1-,c>!lstcrm
a 1:;'!jl~\~:l! d\duf.ct11a<:: :-x)lul!<n~(Pc.>ml.:;..ih.tstl) in thr; 1J\~rt1lll(:Ul 9f   ~ Cifl k.icy or tt~pi¢JJl lhll);Hcr<>idaJ a1111-infl:l.:nm,,1f,ry ,.irui;o ii•
;,rinl3Jy 11>(.:it,:lrlhriti~ Qf the knct>'. i, tnml,>.miz,<i. tl,mbt.-.                                                      ~\t~tammly!(i ~ c)t° t'mtd1mfr~<:d pktL'Cbo \,\}ll•
                                                                                                };l)s.,~ b:,h..~',t.tforitiS! S
bliJ.1d 1 vehid~·<v.nttt~l!t.~ti ctinkat 1rh,1. A!',-". 1; ln-:c>·t, ,tJ.,,J.,                  tmllcd diulcal trials. J 1(};;11,matol. 2006; 33: 1841-4), a!)(!
?.004; 164:2017-23.                                                                             p~tiem overall hc.illh as,essmeot ("POH!\"). The POHA
   Study Design:                                                                                asked the qu;:,,tion, «considc,ing ull the ways your os1<~1»r-
,. EJ_i~1bk, sub~-<:!i W<W sw,tif'i<,in\y ;he lnv.:~1i~~tw m bn«;-                         65 1hr.i1ic (~tt.Kiy) Ju,,,;: au1l its tr<:m.1n,,n1 :1fll:ct y0\1, iach1,li1•l\
:ir:,c mto $tn!lum l (n<) pnitl :md nPm1:.d ri'h'hf~l~iic;d c..-xann ·                          both pt1!:itiv~ 300 tK..-Y,Wive et1i'1:l!,, l)l 1w wo~iltl you rsHc ynur
nad-c:.1 in tl1e lh)slNt1fCiy kn~~)~, ~tr;.nu,n Z (p:,m M~d111r:lb:,or..                       overall ~tl!!e o.fhealth in tile p.1:rt 4S hours?" Scconda..--y effi-




                          Co py provideiby USPTO from lhe PIRS lma!JC Database on 00!2!JJ:W15                                            ------·-




                                                                                    APPX322
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       Ct>.."'fvaribl>les "ere WOMAC $lifincss 31ld patietit global                              £<WCC,Jn1'!,1 l01"'1irdnlldh'llplllOOJI~ liru,I st·ore r·no<'I-"') "'
       :,,~<-.smcnt {"!'(,A'') nfk11,1" ,,.100,'\rll1ri1k           n,.,
                                                                      f>(;,\ ask.xi             1~>11 ,-onipl<:le~ by M1-Son ofMad\·,~"" ,-ve:ru or ;ad: ,ifen~,,,
        di': -1ucs1;on. ··fl,iw lias lh<' ,-e;1,.-,.nthrjtis ill yn,u· stutiy joint             i!JlJ for subjects excluckd frum ruJ'IT
       h,'ila ,w.-r tho ln,t ~8 !mtt.-,c?" '11u• l"Olt,\ <1nd f>Q:\ w~,"                            ~tdrwy c<1111r,mw1>,. Htclu:.k.,I t<>1•k,1t ,licl<li,:,,ar. vs.
       liC<,red or: n 5-point L,ken s-·ulc. There was 1\0 A;scs.•ment of ~                      pJaccbt• Ji,,. rite $<'<','lldnt_v 1-ari:1blcs. Jjl111 tu11i,~,1 dil'lof,,uw
       tbc ncn~-b\');lfcd l,.nee. Safoty M.ii1sur;;,s: At all visits, vital                     V$. DMSO 1'<.i1id.: 1111d DMSO vchfol<• v,, pl,.~cb..1 for 1111
       iiJ!lci w;:rc lnc:l$111o'<L demmt;ili>j!ku l ,,.,~1lm11iou ofu,,, ~,mly                  •11ri~~!c;. :\ p.::s1 Jmc c1Jlc;?c,r ma,l,v<IY t!•mpM°d IIJf'•cal
       knee wa, dune 1,cc.,rdi11Y, 10 ~ ~,~,.<I.ml nw1:,1!'ic:.i (O• I) sc:ilc                 dil'lok1m:: 1·s. oml 1lick,forn,c nrl<l k1pk:>I Jiclc•1c.11cw1.,I
      (S!lirley B H, <1 a!. F.ffic>tcyaoossfclyofo tropiaild,c!ofott1c
                                                                                               diclnfcnac \'$. on1I d,l"lolcuac. !'-Or il mis-.iJlB, lio.11
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      solution (Pcll.llS3id®) in till- Loeatmcnt ofpnmary osto.iarthri- to                     W<:tc: pcrfotmt'lj ,,u ,, 11 i11\l;,·c1s -..bo :-<ll.·,•1, ,ed \"\'m, •11,.• d1>,c or'
      ti; of !he knre· a randomi1.e<l, dot1blt'rbliml, vchkle-ccn-                             dther~tm\y m,~Hra1i<m.11w..: was no imputationofmi,, ing
      1r,1Uccl di..-,kt,I r,fol. A,-.,Ji, [11/em. :\t.-J 2004! !,14:,017-23)                   ,at,~y d:,tJ. R~iult&wct·e ,i; follows
      ruld ndvcn;c cwntl! w,.~,c ...,h~1!cd u:nn5 open-end,'(! ,,,,..,..                           Sl\idy Subject~·
      li<>113, \dv-= c,,~nt• were 1:.11•'1',l•fi't<•I a<-..·,,i-ding 10 r"-1;11p ,S                or 13')(. subJ,'l.'t< ~cmmt-d, TIS \VCrl: r.. n,lomlzdl (c, (J/)/( ,,r
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                                                                                               lhc S lfl:':llnx:nt :,rm1 ai,d ~Z'I ~ul~.-..:1, ,-..m>pkf.,>,l lJ\!.11mem.
       1AKI"') lll<loo tuul nrir.<? ;::i,.11rk:~ wcrt" obu1incd for n»J111JC                  o,cr 953/. of p.11i.-,11, l;;id ~il:::t~ml ,i;~_,,,~,· \!"•"l t•I 30001,nat
      l:.,b:,r:;io,y ,m~iy~i,; .ii b;1~clmll, 4 1111,1 12 w~-e~s. Oc1,J;;r                    ,a,holt•ii,c~I ex,1111i11~1~m:,Jso i11111m &t1,dy k~) with puinin
      cxmulna1i•>u (virnrtl u~llit)' tcsl, ~Iii l,1mp c>:;,rni1111f1m1 $0:I                   th.-"'"' ,~i.,,_,r~l ktM.!ll in !)()%. A t<>Wl r,f 88% <>fsubj,-ct~ 111,,1
      ICl\$!.$$CS~m,'111)W::,.,.:;,nrlu~l<'Ual thd),1S<:l.u.W :md (\11111111;:i?.             the, 1'11,JiJit'.:l (llnchl>l'Tg M (·, er ,ti., U1;kl,•111"-'$. !ortl,c Mooi-
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          Stut:sti.:al Arwty~is Plmi;                                                         <'Jl MJr~,2,emcr,1 uf<1<1wmtl.nri, f~lll I I. 1>s1r<.iunlu·11i., ol'lh~
          All i-hnlllCd ,m~l~ -.-cro 'l'ttilicd :i prk>ri :\J).1lys1s of                      Kr,.,..,. •frthriris & R/;t>11m-.,;ism 19'>5; 38(1r.l.541 i.546)
      11..- l i~,·rt -,fljc:,c:)' da1,1 wt~ by m0di1i.,l iu1,-n1 10 t1<"Jl                    Am,·rican (\•1!,~c ol'Rlk!ll/ll!ltl•lo2r (Al10 co!c.:-ia (Altmml
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       ,lill3 ur did m>t ;idmihi~wr "' kJ,; ,me d<>s'1' of 1_.,,fl, <tml)'


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       fin.~1 ~~~~nlC.nt, w1th ..lmse!rnc ,cx,n" :ts tfk.: O'IV,1rintt-· Sub~
       j,..--ts m bmh r:,r,cJ,~nii;.-itio:1 >1r.i1, "''""' w111oim:d for ull
                                                                                              l'<'JX>1'U11v, .,,f (1Stcomihrili$· d,,s,ilir.u1,rn1 <'f ,,st,>.>311hrifis 111'
       'iol ut1on antl wbk·t~. St3ti~,h:tll t~·'>v;wcn: IWP·Sidc<I mU~ .:,-.{. 25 the kocc. Ariit,•iri.,· l{h<-11111. l :1K6; 2!): 1019-10-19)
       1,..,,.-1 <•f ,ii.n,li<';,111:,:.All dlic:1.:y nMlys,·\; w~r,· l>y wmlyi;i~ <>I'
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                                                                                             citli.;r _i,11111 $]):I<~ :a'lrro\\'i,1g or 8ubd11.1n,lr,1l sc!ctW1$ Svl>-
                                                                                            jccu in .!.....-h 1i-.,a1111,'llt ~,rm had ~imilar ,1,:mo.,_r.:pJ;i<- a1KI
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       mialvst.-s.                                                                      30
                                                                                             t'•lll.)% <11 <:xpect<'d 11<,· for lopkal ,,,h11i<111 .,~il nml wl!krn).
            Tli<: !'rim:<ry c(H,~1cy 001,1,pnl'ir,;111 ,.,,1,• t,,pical :lkl<1fo11m·          Wirhdmwul~ 1;,r:i11 r.lvcrwevcm were iimiw·mn<m,. lr,~11·
       vs, pl!lccl>c 1t-r the i,nnwry cll\cncy <.-ari~hlc1. will, n,, cot-                   ment groups. Withdrmvals for lrid: of effocr were similllr
      iwt,t•n Jor ;,;~,lys,, ,1fnm!liJ>k rnm u-y <'8r:3bk~ (ny.111.,1.,,y                   among topical diclofcnac, placebo ond DMSO ,·chide arms,
      ,1,,.;~n m1ui11,.,J 311pc1iui1y li,r ,·<11·h pnm.oty ,-arfab:c,. n.e \~ but t..."w~r ,-. ith the! oml didoft'"lttK.· am.)..
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      •mr.plc si1-" f<'<I'"'"° 1,, blmw the Slll>i'llmity ,11 l<)pkal                             "llicrc w.;-re 772 ~uhjC<-1S iuclu,1,,l 111 Ill<' mTIT !1,Jl"1j>.
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      m1 e~1imn1" fo•,m pr.-vi<>us trial:, or the dilfomir~ (!ttn"clnul                     both topical and ordl m~dicmion. or hnd 110 da!o. lndividu.11
      1~vimio1il b.?1weei, ~,:11,s for the di.mgc in s,:.,ro .,fl 5 (4.5)                   ~ul\j<1~;~ ,~h,,, t•m,ncd b;,,~linc a:l!'Cll!menl for a 1pecilic effi.
      forpai11. 5.0(15)furphysjc.11Jun.·t,m.1a11dO,.J (1.2')for l'<i,\, ,o c:,c:y ,1crfab!e ,,<:I\! exdud,1<1 fi~,m th II analysis.
      powcrnfii~~~11<11)'J'C l<ll'Otr.JIC1tfa- O.tl~, .••,;,.,(13:i.-rP ,\.                        hlb-,1l'Y
      1'1 al , T""'!n)CIJI ,1t" <r..l<:0.1MbTili, <lf th<: kt;.,\! WHh n ,-,p:e<t:                Tile pr{;i,,.ry efficacy anaiyses, 3S shown in lhi? below "fob le
      did,in,1u~, wluuM: u roru~imiS<ld ,,m,t,\>lktl. <--wed, 1ri,,i                        '.'. ("Et}lc:,cy Variublc/icor,1~'·). ~f!,,\, !h<.lbur~rioril yol m11ic.,!
      ll~RCTN.5J.IM,8l<61, JJMC: M11~1·11/t>sk.d"r fli.wm/, 2003:                          dict.1lhrnc ,,wr plurcbn fot the lhmc ,•11-i•nm,uy V<\ri11hk~----
      1;,411, 1'.!11vkmu11 A A, t::t at.. t:Jfo,,1 ,,r :1 t<>;,ici,t dkt.ir.~,"c            ;,11i11 (P--0.0l~ phy,1<'>11 liuict1M (I' 0.0"\4j, amt f'OH.\
      ~1 1i1lli<>n fo1• a•f1(ivi1-g ~ymp:1~11> uf pr(m:<ry \lSl\'\t:lrthrifis cf ,If (l'<-0 000 IJ. $upcti<>riry 11;,,, <1h¼-tw<.l ;1lxn for tbc ,.,.,m,L1ry
      dw knw., rJlldmni7.t~I -'lllf,-.,~led tnal C.lJ.1J. 201).1: I'll:                     ouru1ok l'<.t,\ (P.,n tll6). 1,111 r,ot f,,r ~ifli1ec,;. 'Jli<:tl! w,1~
      3"H,8; R,>th S II, Sb.,inhtMlM, J /,. Hlkacy ~d ,11f,11y of n                        l!rc.ttcr im('1<lW1>1t'l\f with topic;,! dM,•f.:niic (l'<'.0.0:5) ~~•m·
     'l(,pk,11 Di.:lofc'fi;,c ~1hltitm (l'-~M ~,i<Hl>l ir, tJ,<· 1rc.11m,'1ll ,,!          l'an:.I t-> DMSO wh.k:lc for :ill (iw "mi.ii!!,\, {11,l)lc .~;. A
      pr.imory o~tl.'omtbdhs ,,r th.: knll<': " mudomi1.ul, ,t,,ut>l,~ ,,,, 1X>Sl·l~.1.; IIOCI' ,~'ll$ilivi1y aoaly;;i~ .,r lhe Jlfimnry ,:llk,1,·y
      ~li11d, ,-,,J,id,·-001111,>llcd diuici,1       1;,~,.   Arch h1tem M1>d.             1l~o ofoll 715 p3ticlli~ d,d 11<)l ci1,m11c uny vl'tht1.:,1nclU,~jo11,
     200!: 164:2017-11).                                                                         ,,r
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           A J'<>:!l hoc "'-~1~i1i\·iiy :im,lysis t•f 100 prim:iry ,·llicacy <lfila        (.i>.1in, r --O.0'.IJ. r,b;-.k~J ;i~ocii.>n. f>d1.o,i1. JJOllA.
     was penormc.l by imputing oo imrn><-.~n~: Ii~, bo,d,n.:                               l'- o(IIX)JJ.

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                                                                                   APPX323
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                                                                            TABLE 2--1,011tiuu..)t)
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                                                                                                            "(JJ1.:!C'I +   TD:.;frln          'tl)..:!cw, 1'])11:k \~,
                                       11,"1il         p!cli.:bo"           O!,lSO~         OUkllo'          0:);LI,/'       {4AC~..->           OMS(,\      OtJi.:J:>
        \\',>MN.'                    (1'1 • J S41     (~ .. ;~ll           (r,• lt.l)      (•• LSI )       (~ .... !~C~
        ?"J\..S..~
        F1,lI1ci.•m:
        :l.Mf'!,r,t,,-;::rc,            •1.1                4! i             .C! A            .t.~   I        41.·.
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                                       IU.I)            (!4.7)              (14,\'I)         114.,)          (t4Q)
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                                        2.34                 1.22             7-;r-
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                                        -:'J.'r}            --0.'7           ··•!.u~S         -M~               O?S            ~.roe,            oi,16          -.:.~SG
                                        (i.)OJ          tU"')                 {1.12)          \1.11)           ~l.71/
                                     {~ '4    J S4•   (•s l )J)            (,t ... )tl)    (••ISH          (l1 .... 1SC)
                                         :1:2                3-.04               ·u1           ).e4            JC$
                                        (01l1               \JU}              {C.1',}        (O.:r.j          :o.bJ)
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                                        (1.19}              tj.?JJJ           \l.10)          t\,27'.•          :.:n,
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       ·m11,·J.,J, 1~,~! L'i~»Jf>11u Sol:it;;1n pk!'$ ..:!,I pbN~
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       :.>~t¼>,k-t~"''ie" 'i:,:t,l•lr"~~-~n,.: ,d:ir.lk,-.a,.:ipl,,@ .
       u!>.c.lC\ttM~t.~ rt.a..,,. --..dl,t«!'bo,
       l';.l.clo+O~~"'- 1(4)1,..IU ...-kA•~ !,..>~•x-a:p:fifffl.:~lcu: rK,
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       OOHA. P'l1C 1• ,>Vei::,!I J;c4-J:I, >'-...;-l,:-u;-,:;
       PC:.\ . ro:tc:tl ~:.,iti'. t liKWt:t•II c,f~h ,-1)).fyX«-•
       'l\tw«~rt,..«~«:          ~~:(~l)J \<..,.,.,1M111 ...       tt<:,
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       1'fl,c:.....:1 "C1Ct~;,r.~(.~'- lfbl~~:\.c;..t(),..~ "\lk.;:>1...,c1'f'l.t,,-l~Jf',-6.S lldSll'tW'•lllll~~~
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        uilkm11 ctncacy ;alv,,n1;,:1,._. ,,f1ht- l)MSO which• v\'i:r pla- 40            ~kl.a :m\.tt't'$,: l~'-·ms prt\1';m10.,.h:d wi1h h>f11l1,l dklt>f,~n.\C.
       cello WM <;bsen<.-J for 1.he primMy ot !.<.-.X>11<farv varia~les.            m,1,,1 o.,in~ dry <~in. The uwr•il ii,·,:i,1,-ace of ,;kin .1,lrn1w
       except f,,r 1!:.c i'OI IA. Furthermore. a compAtisun ,,r o:-•I               t,,cc,1~ ""s sirmlnr iu 1up,col d1ck1fon:ic wn1I did<:fei,ac, sr•\
       diclofenoc vs topical cliC:ofenac found no stahsticol differ-                k,w.::r in p~1t·t·h1, nnd w:,I <iwk•lcA."l<: ~nr.i l he rote with
       ence for any oflhc 5 ellicncy varinblcs. 111c comb inalir,n of               DMS(l whit!-· wiw i.nt<:rrn,~li;llc belw,,.•n wr,il·;.I ui<:Jofo11.1c
       to pi col d,c!ofonac+oral diclofcnnc w..s no bclttt lhao oral <1 :md !'bc,>b<>. n,uy S 0-2'"•) ,;uhjcch ;~ t.ipi<',,I Jid•if,~ll,c
       <licl.,formc a!uce for all v:uk•hic< (pai1~ P~o .\O; plty,i~,I              withdtL-.¥ due: I•· ;:n apµlitnt,11il i,il~ ronctwn. !mpun,m1ly, 3,
                                                                                    ,b,wn ia tlic hc:.-.,vTnM~ .\ {-ln<:id,-i<:c: of <\,Iv~:: J;wnti.")
       fml<.11011, p-Q.33, POHA. l~·OA.\; ~1iffne$S, I' 0.16; l'<iA,
                                                                                    th,• 1ocidt•11,-.: ,if:,dv,.-r,.., c-..•n!, .-,r the ctii.-,1iv.: ,~ s:,:m wilb
       P,·,O.Sll),                                                                 !upi,·a} tlick>l,~lihl W US U(J 1,11·~a11r U~HI 11lntd'<1 un,1 n111~h
           :l,k~u f~tl:>"1 1«::c1.:iminvpi1.-a us.• with lt•rk;il ,tidu(<.·ua,·    i<>wcr thau 011,l ,l,cJoti:rn,c 1mJ topkul .!id1•f..:i1;1<:+cm1 I
       !(J.M {O.!l.JI c:i;,1..,,, pt-r <foy} w;,~ kn,cr dt.111 with rl,,c.::lxi SO d1Cl(•fct'..l:C With<ll':1"'<>1 thl(: 10 :, diS,e>liw ~)""ION! .ldwr.;c
       ('l.lJS 11.J-lJ, J'·-0.00'i) 300 l)M'i() ,chiJ.: {0 119 [l.llf,             ~ ·cl\l wa,, lnt1h~.,. m ,1ml ci,ct,,fCSJa<; (11 17 1¾1) 'JS. t1,ric.,I
       l' · O<I02). und ·. ,,~ 1101d,ff<:rem 1h.1n tl~u furor.I! ,lick,(<-tiru:    tl,cl:,1¢0:IC \4 11.6~1) anJ 1>!,1<.'\chu \ .l JI .9'~)). A<lciti,111,'llly,
                                                                                   M ,,h~,wo in !lu, hdow ·1;,hk ·.1. ;J,., ~1mb.i.11mirm 10111\;<1I
       (0.55 [0.82], j>>-.{/.4 l) or topical diclotenac+nral diclofr.,,,..,
                                                                                   dicl<.'~ml(:-1<1rnl d iclo:fonh,· did Jt.11 iu<T<"I~~ 1hc it1cid.~1c,1 r,J




.I.'
       (0.46 [O 70]; l'..Q 10)                                                     ditcStiYI! S!,'tc:,·m CVCJ:ts O\'Croral dick;fon:..lC t\lone .




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     Sl\)•l'·   'lltc incidence <lf h:•'1'Ct't<'1i,i011 wa~ similar f.ir ell
     1!-"'Ut>, (l,~% l'.Jr 'fo1;ic.1l U,d,1 fon:1,: Sclution, oral                                                    (pos•"·rmlyp«tomy lo"cr &,1,aroiu,c,1111;,f hl.x.'<!, S wy,; u1icr
     clkhifooic 3'\d Tupic:1J rJi,:lofom1;.o Solcui.iru<m,I di<:lofonhc;                                              with,lrnwrJ of study medicminn)and 3 m topical diclofer~c •
     l .2% l'o< ()MSO veh,cl<-; 0.6% fo, pbccoo). 'lben: was oo                                                       o,~1 dic!ol.-;i;.;.· ( ! leg cellulitis, I ~"::.ulc ~118, I 1mr.sicnt
     difl~reAC¢ 3t.nti-ng th~ ~:t~:p;i ;n f\.~ff1$ nf ar al,nonn,ll bstc                                      o!.C    :s~·l'k·m:t: alta-k).
     -.s~tion or cxk~r. confomii,g 1h,, ,u~-.:,Y c:,f the blin.1ia;i
     prr,,..iure for 1\MSO.                                                                                              c.1,.,ag,.,, in k.iy NSAli)-rc!at~ !::bomc:y par.um:!~!':", arc
         1bcu, wa~ no ~,·1u1U~ id\'CO«.' ev.int in th~ lopical                                                        sw,..,,110 th" b<:klw Taok· 4 ("An~l)'8i& oi'Q1nnge in Looo1~1-
     Dic.:tP t\"JlaC Sclucion arm~ 4 iJi pln"'"·bc (1 uncmia. I -.~t"rc ..                                            to,y l':lrameiers")
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                                                                                            US 9,132,110 B2
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                                                                TADr B 4-cot1tiuu~-d


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                                                     TD,c1o                                       DMSO                   00..:io                  i)U:,:o
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 lfl,m:bo. ti>rical illctt&o rlt.K utt! p,:aub):
 l)~~ic...l!,·br,v1,iyt,w! t\-icM•;:.)~J:i,,g\tbxlcp ;"-°"1t!•«-t»:
 ®tt~ cc-,J hbkc,,.. ptir11CfJ(at :,,i.tub,;.

 Atl'.   ~--r.,-~...
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                          -rr.~
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 'Mt~~t1Hi> ,-:1kC\>i'°JKi,\t-;Y lfld~~:! ,;,,.*>, .fK,«:~ ,._.'"tb,.--t:1 • her:~• •:cJ l.i;•J ~cb ~1tict ¾Ce~ f',Sjlflr-.tr t(~ ,Ct)~H,
 ~.":1j11J!:< jf~~;,md :41.i-.,4:•li~ =<· :,t»,v,e 1,rq~:1 lfft"1~1 f!•imi•tilx .,(I,.\ 1;,.~.,_ (.St.'..tb:<«,« ht...t«.j(iw,:r hrnitd:~'<:t-:tl f~I htn,ogl~•bi:"
 CJ\!~cl)* ~!bl(NC~.
 ~lJl.kvl;tti:d,, ;lt>tCotlw1of DWtlXiGo.iJltMW,l':Ydr.u ,--Jft,)!'etu:.ne)&do,11,~ti cc,'k:.&:.;d'ell.CVX:,Nq/h '&.•:;1.~ lii
                                                                                                                                                       l '•41



 0\'t:rnll, lh.- 111<,~1 dJ.l!1ge in 1ho l.,h<lml<),Y ,;alu,' mid ilie                                             erd J.m..- <><'~'<lrrin.i in )()•<, r,f lac smdy i"-'l'lllMmu) :uul (.h·)
 number or ,ul~,·N~ :k'<'l.'11,pi,:r,; :ul nh1,onn;,ti1:,, sl~•w,~l nn                                             th<! blo.'><I t,-,,,d~ <>I did,ifona,.; r,rod11~,1,1 by llll! 10111~.11
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;,lmwmalhyoeCllm.'<.lwithtoo<'l1,l<licl••fcn.."lCam1$.W1lho.<111                                                   1-cp,nrckd a; n«,'1:331)' to ~uievc :1 i)'stcmic efftc1 (£Ci,
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gn,atcr mean ch311gc i:i hemoglob,<t, alanine wnino!rans-                                                          cal diff~TC:lce b::twe"n iopicru d,clofcroc M1lution treatm,·•11
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:t.itC ~nim..~riut.<ltfa~), then· ~ ..i$ no ·»-tti~fo:lHy .;i~rtdi.:un!                                            d,r,i!'-,">, n,m1el)·. prmi!IJ)o ,),!~"a,1ld1d oftt-.c Im-,., "'•'h rr-,in
clia.11",e ,u mrun V3luc, bc1v..,.,1 1llc (>r~I <lkklli•1i.!1: ,m,l <mil 15                                        a111I ~b,~•rmal rnd,c,~ e,,caJ 1i1Jdi11y,, Aill~•u11,'l n~i,;1 ~UhJC."CIG
plu~ l!lpk;il did<lf,•tmc 1rc.-tm,m1 arms. D,•,<:k>1>nwn1 or                                                      hatl hil;,icml t,<ll"<><trthrHi~, 01,ly vn.e p11i11fol kn"" w«s 11\!ah~I
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nny !h,e, ~11q111e 10 1hree time1 the U;>;>er fun:! of normal +i
.iccurrcd i.n I subjt-<:I with platd~. I with DMSO vch;elc, '.!
with oral diclofrn;,c 8lld 3 with tooit'21 <li<-1,•fcs.,;,c-k>r!ll
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change in visu.il ucuity (data notslmwn) a::d no difforet1ce in 4 S                                               1opic11l t•.ltllpamtor nrms, imposbl> d yet higher burlico to
the 1k,·.-t1)llJXl;:U1 ,1fl,~1; nhnnmmhty {c~tn:-.x'.1) wuh p!S(.'IJOO                                            pl\N: c;lli,:.1<:y -0f'fopicttl Dic~•fcn...- S••lminn O\"C: rl:..:cbo
(4 ll 6%} ,ui-:1('<.)t,;) v,. wp,c,1! iliclot.:n.le.. (2 fl '1%1) or


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                                                                                                                  Ik,ri1" 1h,'$<:el~m.•ms in tri:il dc$i~ th,i dfo,,...._v l>fn.p,c-Jl
DMSO \'cll:~k (6 l.\,8%)).                                                                                        Dkk>i~~1;1<· So1111i-0i1 '""' i,1bus1ly .:,luhli,!1<!,L
    ('(mclU8:(JflB:                                                                                                   Thc i,·~p<.'<t:•:t11'pa11<)1lliin th~M1l<liclnlbm<'2,r-0up iu 1his
   il)e re,ull> of!hi, di,1kal sl"<1dy ck-.,rly show lhe dfo,;1iw,- ;o                                            study (~0-4!>% ,mpnwl!rr11:m in v:ui.tble ,ccwej was the t~ll!le


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Jk"<< 1,l''fo;,kiit l)iclol.!11<1c ~,J11t,u111,1,1•lk<1 topically to tre:il                                       ns ~•xn iu oil:~..- vr:.ll ~SAiO !rials (Bdlamy N. Du.:honnn iV
Uw symp,,11n. oh>s:com-llmtLs ,,fth!: Im,...,_                                                                    W l'I al., i\ mlllliccnter <nkly ol'tenoxicom n!ld ci.icloleuac in
    T..rp,cal Diclolco.-.c Sc,lution ,VB, sup..,ior 10 both topical                                               patkmls wi1h <lSl<Xi.1<lh1i1is cf the lw."C J Hhwm 19')'.\;
compami,1r 2,1\)Ups (placeiio and DMSO ,aiicle) for :Jl 3                                                         20:l)<><I.J0:>4; Y.ic11m l), cl al., Safe!~ ,m,I ,:ffl<:lll)' 1.fi:r11.·l<',i·
fltl11131), cffic:.c)• e.u o<blr:s, p31n, fo11cti,m and plili~nt 01-eml! 55
lwahh. 13·!1km:y wi,; S:<lnflniwd by II con,..,.-vaU-,el\OCI' 'l!,o-
si1jvhy onaly,js,
                                                                                                                  cam in th,· t:eatmu111 ,\f o,.te<>Mhrhi, An·h Int M<>«. '.?(l<IO;
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p<1hen1; "' :s,.'t•rc pt,y;i1.~,1 faocti,m 111 .ir,:;l~ i<ieh ;.$ ditlk,liy                                       lorkul Dk-iufcn.,c SaJ111i.ir: wa1 fouml to bi· ;1; "ff~.:ttH· '"
d.-.ccn-iini ,!ain. diflicol<y ~,~-..~.<111,x <t.:ir.1. ditT'udty ri~iug 6C                                      ~·rot ifacl,1fro.1c ~I reli...,.rni; th;: symp;.,,.1,,,flm<"<:'0>1ooarthri·
f.ron, sining. diilirnlty ;1:mdini_:. UJKI diffkul,)' walkini 1,n :,                                              hs w11l1 lc;ss N[l,\11)-rcl~te<l ,vsl1'11>"' 11.1.~id1v 1b:111 llwl
ll1d. surr..,.,..,. ·111~· wpork,ri;y 11f topicr,t <lielnfo•J'IC ~.itu1i.m                                       did1 ,fo,1;": "t"h,"i<.' o'h~,"t-.,,li<•n, ~11pptt11 1!1<, ,-,J,:ty aud cOl,
o.,'I' pkt<-..-l1<1 was <urpri~ii>~. l!ih·n th-~1 (i) d1,~pt~v~lcal fu,1c-
t1or:$ sl\i~UtN in the WOM,\C pl,y~1~al (11.ucii1m (jl._,,;tion-
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r:~m, are f.t't1<'r,1IJ:,- i:,-.:rn11 pti,bcd. w,1h 1he\>.-.c uf1,,.11h knees, 6S                                     Clnims of ilu.'f'J_l)(,Utk dlicxy Ji>< DM!--0 it~lfin <>~1\1\>M·
(ii) cl!IY enc ~, <.T \<lIS lrt,ilc<l in tbi, study. (1111 9S% of                                                Uvitii l\'<.'1\' di~"lllltCd 111 r,u i.'!lrhct, 4,u.c.;I. !ria! wi1h h>picvl          I:

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                               Copy providild by l/SPTO from tho PlBS Image Database o n 09/29.'2015
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                                                                                                 APPX326
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                                                                           us 9,132,110 8 2
                                          39                                                                                            40
 solution for rdiwiug symptoms of primary o,tcoM!hrilis cf                               nie ~kill permeation enhancement cf Rug~ine is associa1e<.1                                               ;

 the knee: a randomiY..ed coutrollccl trio!. CMAJ. 2.004; 171:                                        i,,
                                                                                        witil l1igb content ofpropylene 1:11yool (50%), ,1 known skin                                           -~
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 Lnclol.:ii;1,1 :foh.:1mn+ornl d,d.-.fimu(: ~h<>w,~l u,• i11Cr.);1s<> in 10 trealment grnnr,s wjth 3 fomale animals per group. Animal~
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edverse events relt.tivc to Topi,,ai Diclofona,, Solution or om!                       w,m: .."n,~cntccl .:mrlo>'"'l.l a p:a!!.Rlr,,,·;md,v,n body wdght
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 lupi~:d 2ppik11fio11 as 1hplc,il D.idofom«: Solntiou it oal~
 ~bou, 12 n;pml, Md the inc,cmcoi;,J incr<:"&s<' with foe t<>l!1•                        • ·n1¢'fos1 Item i,nd d1,, nm1,:,1s w,,n, ,!!pplk-:l r-.v,;dy-11;, use.                               !I
 hfoatiou '':.'mld be tici~li.l\i~l" '"-'lUl'W"'xi wiL½ th<> p:edi<>t.:tl 1.~ 1m:mN,.,. t (sumcn-e.n)w~,;1111r:!fod~ilut;c<l.lbx1,i,;N11:,.2
 level of I )Ii!! 111,N1I, thill ts lll}\Otll>-1 wim oml diclofo,i:,c,
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,w<!t <>ml <liclofon:1,, ul<lll<l, t!JJJ; rc1\411.:11 ,,.1uld b¢ a rea~orn1l>lr:       were used on test day ! , 21, 28 aml 35. lktwll<!ll Ute admin-                                          !!
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 through ku;l.l p:Ji.u ;lc;,pii.: using M 11ml NSAJD.                               20                                                                                                         ~
     1n ccnclu~ion, this E.xam;:,leshow~ that Topical Oiclcfeaac
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tlw. l)Mf\0-,·arrier. B:lli,~,ey ,>.l..{<>1>it:<>l Didof~m,~ i.ohnic~
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pmi~nt iai1i_:3ting i>i~1mu.co1ogi,~,J lli~m;:,y l1.1r n:licf oJ1-,u1p-
1o.a1~ M~i<:1111e<J with o!<tce,,r;lni;h; oftlw koo.: ha.cd ,,,., clir-
f'-'!il trentment guidelines, Tooical Diclofewc Solutioi. is a                           Jhxlr,, 1\ c:Nc-
                                                                                                                  S..<<,J:g'J>e!'
                                                                                                                 !t.:!':v? (';w,xt
                                                                                                                  :.:: ~::»x::1
                                                                                                                                     ~xp,m::e
                                                                                                                                     <•f f.W\'(
                                                                                                                                     cai:'d to
                                                                                                                                                              {')fd,:ut~
                                                                                                                                                               io,du.~
                                                                                                                                                  :JH.1ti•:-U bt-a~p::~!
                                                                                                                                                   on,, k- ,~c••l;
                                                                                                                                                                                               II
viable, evict.mcc-basoo treatment tiptfor:.                                               ~. QCt~~t>:"::;m:                        !SOC!llf]i:-;j lvY.fo         fnq
                                                                                                                                                                                               r
                                                                                                                                                                                               I
                                                                                         30                                    6%          ;'-(Y,,.,i)'.;;')
                                    Ex3mple2                                                                                  ?.i%              67.?J
                                                                                                                           7.S7%                   lJ.3.S
         lnflucuce of a Topical Diclofcnae Solw.ion on                                                                                                                                         t.
          Percutaneous AbsoCJ')tion ofT)l{ee Dif.foront                                                                                                                                      '®
                                                                                                                                                                                             ,·
                                                                                                                                                                                              r,.,
                                                                                             Toxin wns l\!"l'Jlicd by cpicut;,ocous ooministratinn vi:,

                                                                                                                                                                                             .,'i.
                                                                                                                                                                                             ::;
      Environ..•u.::r,l:lJ lhi,1!1 olkr Rcpe:,tcd EpicutanL-ous                      1s ~.Yrin.gt: oJJ!=,:t fbc hr:ck n.~lfu1. Tl1(,~P was a sinsle admiulstr;1 ...                          .,
                      .--\du,iiw,tr~tion to Minipil!,~
                                                                                        tlC!l vrrn,~td?.y I (bcforc,1<lmini,1ra1icmol'1neTes1 lwm.v.rrn<:
     '[1iis Exomplc describes novel pre;;Jinical informati<>n tl;at                     (..-0.ntrOL") a.mi sin~~ ;11:hnln-i~U;J;j\nn mt ,~vs 2 l 28 ;u;;.l 3,5
Jl\{~'. Jh: (.'X~mtplc. b~ prOYidt.Xl to a l.sac( r:C(:ordbl-t, lo tilt·
                                                                                        folkr ~tlminirnmfo11 oftltt: 'for.1 lu,m M the, c,,;,tmls). Tb¢
                                                                                                                                                                                               f
                                                                                                                                                                                             :I~
 pr.:r..:111 m~,iJt:m;, which ret11cs to the ;,..u,.,c,icc oJ' n t<>pi,·:il             ndmlJ\istmrjo.n arr.1't \Vn~ 1sn \;m3!:,ninm1. ·nR· i!ibni11i;:t!"iltic>1:
didt~·JOmtC': ~\lnt:it:n cuuhlinil~1• l.;'f;i dl.d oJ~~im,: Si)dium <'2- 4r> site wa~ ;;ti11a1etl on the animal's hfa';k OOl-wt't'Jl tht: iOre and
T~Z.6-tlk1h.i<>t\lpbe,,yl)MtiMjll<-m.e.m~..-ii<' ~cid, mm1<»0-                          1h~ hhtd t,;tn,·1:uitic~. 'TI\'-: :rndht':f ar~:~ or\hc: appH<..~mkm site                            . ..
dmm sa!L).45.5% DM~O. c1h,n1<Jl, prQpylt•m• wycol, g!ycer-                              WM $el<"''•~! !,) pmvid1: a b)gh tc,~in -.,xpo:;ure thin would
mc, and WM<lf ('.l'opic:il f)idn:fo:i.r.c $c:,lu0o:l'') on the                          e.r.umre   m,:£r.-.ttrnble ~ys!emic h..'"Veis cf Ule roxins.

                                                                                                                                                                                               ".,
pl"iX.1lJ:j,rw<m~ nh~<Mt'tior1 c.'Yf dtrc.~tli1:lCr~ni ~ts'.Vfrrm,11t.:'Jl~\} l\.lX.         Prior to ,h,_,, ~tf.lt of llit' s!utly, the ,~1ministration ,i!cs w,"\1·c
m;,. ii'f4 i:~:·nlu:,h.•d in a ~tudy im'olvin§ r.Jp(~itOO ej>i,'U~IWtlU~ ,.) d:a1t):! ';'1' bcislf.es, if pn?:Scni. The: rcm:1H1.ill!J: hiir!i were



                                                                                                                                                                                              I
admiui.tmti(•n lo mini1>ig&                                                             cl!pp<u. fl1e !mun was ;;1rre;,() omo the ad111i11i,1r:,tiPn are3
     The Tc.~t ltein WHS Topkal DjcJofonac Solution                                     usiup, a syringe. The ad.minis;rationt:rea w~s uOI <'<>vered with
(P,,ru;:;9idJlli 'fl>picnl Schuicn, Nuvo Rc~ear~h inc., Missis-·                        any dri$Sing. f'oilowing admiciss.r~tion the animals were
$3i1g;.1, C«uatlaJ. The l'twironmcmai rcxjns sckcted for use in                         ~~lra~ed for f.f l~1s1 l ho~r~u_mi! 1llll tox111 l1ad rompie:cly
th.<.~ snKi,Y ,.,,(~i·c oxyhi1ffl~<: (in th~ form o! Equalhtc SPF 23 ~ ,m.,,!}111 sh11gs wl.ucl, all<>w,>G frl<e m!N~mMt ,1f 1hc head but
~11.:ts sunsCr\.~n.; ~1;·ti~·c c:omr"nod 6¾ oAylX'tlZvn~); DEJXJ,
1.e.. N, N'-ilictllyl-m-totumuide (in 1lle fo11n                ,,f
                                                                D~l' W<><)<1S
fll'!'!,Ji, p11.1.11p s-pmy: ~ctivc 1:ompo,m:t 25% N,N-c!ie1.hyl-in-
~,Juami,fo), um! 2,4-D, i.e., 2,4-D, dum,ihyhimiri.,~alt (it; ,he
for;u ol'i,p.;'<."tr,i.·ide \Vili-1l1.<;u,11 2X F,1r l ,f1w1J!. Co111.;.,.,u:,tc;
HCt:w~ <.~()J1'l('h)Ulld 7.~'f¾. 2,4-0 1 ..l1n:t<tthytwni;w ~~,fl}. 'J1J~ j
                                                                                     5
                                                                                        pt<:1,'{•n,'('tl  a cowp:ete bmlv l\:m in order to pte·,em access bv
                                                                                        ti~ .-nirmds le ;he 1oxiit1.'
                                                                                            Tlie six trootment groups were nssigncd to receive toxins.
                                                                                        Tc.~! items and Comro!s as sc1 forth in th<, following table. ·
                                                                                                                                                                                     •

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                                                                                                                                                                                                  I/;
                                                                                                                                                                                                  f.
comrol iuam, used in the study were Retin-A IU% (tmiuoiuj
                                                                                                                                                                                                  f.
~l'=:tm, Me.ti's Rt)y,>1inc'li> lixtr.1 Str~ugth R>pk:11 St•lu1in,\
\m um.~i<.til .;~:> wtv). hot.it <>f whi:.:h :,rt' nJ\f>tt.W<~l :md .:11~~1'-·
                                                                                                        '! (<>x:-11-~,:(.:1:•j
                                                                                                       ltCEE':)
                                                                                                                                'r't'):c::t Df;,;k,{~.s.;;Sv:u!:-m, (!~ lU:ml
                                                                                                                                 i.q>!C.fi .:l:::;~:·a:i(~ S:,iutt,}l: IT-~ I~T.)                 I
h,1<)<i 1n <11,, U11i1ro !liatw;. I!•ith ct•nirol prn<lm:ts ti~~c skin
pcrmemion cnhanciug ¢npnbifoics ~.ml were sdccttx! fot Gil
                                                                                                       J/2,+D1
                                                                                                        1 ({\Y.yt-t:-.':Cr'-4'1      ~;;~.~!~tf~!~:t:;~~;t,n~          ('}~t l::-»1)
                                                                                                                                                                                                  i:
                                                                                                                                                                                              I
                                                                                                       1tPEE'T }                R.:.~~s.:i!'-~ 1.::nwNJ r..:i.. 2J
Nlll{t:lli~<)(l t<' th<l 'fop.i<:~1 l)id(>foll*' S,llUt,k>(t in lh,,
                                                                                                       J(.u:.m                  R~;.u,: e co.,~~"OJ :-A 2j
¢fdt<nuwtl)~\t o( ~nvh.'tmmcn.tal tn~in~. Rt1\n .._,\ (t~ih~l'>i1fi
siin1ulatc;; n,in;tk :lctivity imd i11rre,»i.'\I 1unK>W1 vt'fol :icutu·                       ---·-··-··········--···~·-······- - - - - - - - ~                                                    .

~pstiwlial ,~lk re~u!fa1t1 in !limT~ti,1i1 d the- ,!du u.ini~-r
h1oc1lo11 wiih co11S<'G_u,,,,1 ~,1h,m,,'!11,,11t o,· wm~<:pitl<.'mll,l                  ,-s
                                                                                                On tcs; day 21, Topicai Diclofonac Sol11tirn1 (fr,l lte.:n) o:                                 I

                                                                                                                                                                                              I
                                                                                              Ro!!'?ine 'fopi7al Solulio11 (C'm1!rnl Nt'.. 2), resp~ctivciy, was
wt:tc.r }¢:;~. Co.1.l1}')"ur:t!,mg. skin 1Ja.tri~1· fimcth,,r: ,~3n c~\tSe-                   ap1>acd 30 ,niuu\e; before :m un admmiSlr.ation based on a
c.uJ~mc1n\1t:111 in p,•rn·1<~11i1>u -:,f mek"'11J<.-s 1.hm:i;,,h th<' ski:;1.                 pr~.,.;pcci:fo,1 s~hlldulc. N~ admini,ll'(ltion c,fRetin-A (Con-                                     .

                                                                                                                                                                                              I.
                                                                                                                                                                                                   .



                          Copy prt1vid<,d by IJSPTO from 11-m t'll'lS Image Oat n!>m~e on OMl.9/2015
                                                                                                                                                                                              I
                                                                                                                                                                                HZNPENN_ 00038573


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                                                                      US 9,132,110 B2
                                       41                                                                                     42
   1rol N1>, {) wn~ scl1'-"<iul~l forn:st day 2.1. On test dr,y 21 ,he                       cpicinJJuoous adininh1.n1tiou of 0.22 mL Topical DiclelC!'.ac
   1oxin ,1,imiuistratio.a was ,~1rricd m11 after the "Jc-,;t ItcmiCon-                      Soluticn!auimal (approx. 3.5 nig diclofcJJac sodium/nnimnl)
   frol admlnisfrotiou ~•:ortling 1,r tit1: fo!im~inr. :)l,}lc,h,k-:                          3.ud m1y ,·,t' 1h,, 'foxia No~. 1, 2 01· :<. /\<ld.i1i,m;,liy, 110 1igns c>f
   (mnms I, Zam! :1: ~O 111im,1,'* aftct 'fo., , lt"'111C\ mlml ndmin,                       !0<:~t illt(>l.:!r;lf.l.Cj) l\.~i.·ti<mr. "'''"' obS<:f\',:d "' ~\\)' or !ht·
   is(r~!im1; Grtmp •i: al\e.n m ,,wmigh1 bm.i~; Ornup;, 5 a:u! r,:                          mi11lp,gs ~lfh:r f\.1'>'e:.?t<..-d cpkumn ...~,n~ tk!mjui~U'11lic-n ofeither
   3(> mJmH~~ ~,o(?r°lbst ltt~:n!Controi Hdmi.t.ihtrr:tfon.                                  Conrrol No. 1 or Co1.mul No. 2.
        b\>um,Tc.~, !te;.nt<.:.,m,:<>l ;,ppli..,'lllkm wa, i:.s tbllr·w~o·n,;,i-                  A,tr,,thm,i:Jly, oo S!!lf.\>: nf ,;y,h.,mi. iol!!l.mu,c" r.,acf'i,~1\S
  cn\ f.)i~lvfo.:mc S,ilulion f l<.>~t hem), 022 mU«dminislri!iii>1,                         wi:n, e'h.,c,v.::d in miy of 1he mioipi\~• ijJkt n.-,,::-atcd Cjli,:m,1-
   si1efo11rrime,dailyfh.l!'.'J testduys 6to20(7:30, 12:30, 17·30,                           11e1..ms admll\i~1mtfo1.1 '°'!' 0,22 mL 'lC)pi~~il lJit.:lnfa··mJC s,,lua
   22:30) nod 1m:l ,;inl)k ,m~i ,w day 21 (i':30); Rctin,:\ U.1% 1~ tio.n/animal (ak'i"\1X. J.S fl.!\ di<.:l..,fonac :;;i<lium.l:mimnl) <ind
  cn-mn (C(lf11ro1 Ne,. n, 112~ ,.u,\f;,druin:$tmti.Jo ;i1c once                             a;,y of tbi.: tlm.'.!t-: toxins. No ~t1;1.ua of systt1ui~ imo.t~r:mc,:
  ,!.li1~ fmn110.it ,l~ys6 ,41 20 (22:JO): Roininc !'J:\ (C,)s~n,l No.                       ce:,ct~rns werc, <;blierv~'<.t ill :my ol' ,he minipij/,s P.Jkrrc1<1:ul~ti
  2), 0.lS mt/:i<luiiuihlrnrion ~i,~· 1wicc dait~· !r<>m 1e;t dnys 6 !o                      ~i1:uwncm1s aclmin.is1rn1ic.:iwr~ilbcr 1125.mg Ret;n-A 0 .1'¾,
  20 (7.:\0, 17:'.\0) mtd (>ct<> ~i1111l<i <.t,1~ 011 <fay 21 (7:3()). The                   (u,i1ii.10i1\) <:t<'.1111/mlimai (COlllt"I 110. 1) or ().8 ml: Men's
  adn,i,1i.irntlou ~ite :•l'll;,: 'fo;,1 lt,1m or Coutmls was exactiv ts RogaineW Extra Sircnj!lh '(bpicul Solminu/anlrual (control
  llw ,:l!11-,11s for the roxlo~. I.e. JSl)qn' on the animAl's back                         oo. 2) aml any of!he thr(;I) T<.»~ir:s.
  between the fore and hind cxlr<:·J.n1fies. ~~s uott:d abov"·· Toxin                            The o..'1<1y weight was in tbc .11:>rmat tan.gc !}tmughout the
  do~ Jo,...,ls were ~elttted bast'C! upon.available hurnan euvi-                           c<)1.a1'C o ( lhi: Rtl•d)' ill all ,mimals a!k~· rnp,si,tcd cpie1:ti,u~tms
   roomeolal and occupAtioWJl exposure datti. Dose levels for                               ~,lrnini,tr.1:tim1 (,lfT/.22 tTIL 'fopic,al Diciofcm,c Sohui,·,ni:.Jli-
  1h,, '11'sl llcm or Controls \>.,r<l bawd QI\ ,he R'<:Olll.m~nfi,id 10 mtil (,,ppmx. 3.S rug dicfofrai,c sodlunJ/ac.irual) or the two
  d(1$ei ilfthe p,,,duc~ in lmxnau~.                                                        ccuurol" and any of th~ three b.>Xins.
      '.i'h,e 1ht ller.i ,;r (.\>lltml w,is ,11rc3d 01110 th,· admfoi,tm•                        N,, i1ulu1:1;.:c on the food.c.)Of<l.1111ptiou was n,)!cdfornny of
  tion t:r(.'a nsi.l'."~ n sy.rin,ee. The :fdm..ini"101~km area we.ts not                   lhe nui.im,l< ;;t\cr rt.-p<,ated c-pic:\t!Ut!,~ms ml1ni11blrnliou of
  ~,l¼:,..,ci with .mr <lr-,~,-sing. Following ;idu:,ir,i~:ratio!l tilt• lllli-             <).22 mL "fopical Diclofo,m.: Sol\,tion!Mimr.l (:;_pp,v,x .'.) 5 mg
  H1al• W<'rc:r<..•,;;n,in,:d t<•r~, least l.hm1r(umil thetestittmH>ud is 1li,:!,>fi..11i1~ ,«,dh1J1",Janim:sl} ,,, !lie two 1:<;nln1l~ um! ilny or the
  <:!J1lll'<>l6 llw.l comrl<.>.teJy dri<."()) i!l ~ting, which aHr-w•:d fr.-.:              lhtte loxin~.
  movemer:! vfthc k-,,d but prevecied a complete b<>dy rum io                                    The vi:;u;,lupprnirni ,;fthctJtinki.np. w::wrcc,n$umption did
  order w prev~nt access by 1he an.im.a!s to the Test Item or                               nO! rcv~,l :1nv '.It-st hem,retatM hllu,,n,,,,,
  O•ntcul~.                                                                                      PMu·mr,~;kiP.<:t,c data rt'S'Jlts imlicli!eo. tbm systemic
      .l\uy co,:·,.(.a~t of th~ 1..~st an:.~s witl, water was tfvojdOO ~o didof~m,~ $lcady stau, ,~as ,\l.icht.:d by day .l 9.
  tlirvughr,11t· th~ whot,, 1,1<perim,~t1.                                                       Due to limitation in the se11sitivjty of the analy,ical meth-
      Oi•~vtv,11\<,ns:
      Ot\Serv~ttlosLi tdatt.'tt to it1{lividw1I at½       .inu.a!:' mu,Jc flu-01)~h~
                                                                                            ods cmplvy,~J it1 tbe study, ll<J DliET (fo.><111       n,,      2) or 2.-1-D
                                                                                            (foxin Ill'- .t) could he <tt!Mtilk.1 in pla;;ni;i for imy ,:f1h.-i
 o,1t lhi.' ,tmly indn,k'>1 ctitii<1::l ~igus, l)ody w,:igh1 Md fo<,,V                      ai>imnls u\,i1tc<l with tht• "fopical Diclofonac .Solution or the
 wnte; r.onsum1>1ion.                                                                  3$ Rogi,im: so ru1 li.:m conch;sions couhl be dmwn fmm the
      For cv2iuntion of lo..--:nl tolt~run~, skin re2ctions ww.e                           srudy concerning tile enhnnccmcut of systemic absorption of
 •~lllliwt"J one~ daily througllout the stndy, prior 10 eoch                               !hes" t<>xiw,. A S\•l>"'-"<)1Jc.1.1t slll<.ly ,dcsc.ibcd in {i.~alllf>le 3
 admin.istrmioJl (end of the ro:.11cc1ive exposure period), if                             b.:-Jow) u,int,. },j~l:...-r 0011cmu·;,1~1111~ ,:f DEET t1rnl 2,4-D wns
 ~pplicuble. Renciious, namely. 1:rythema, c,char and oedema                               therefore ~.<>J!du<:tW.
 form.stioa were scored based ,in Drai1,, J H, Appraisal of !lie 40 1n mnt.-nst, fhc cxpoS1tro ro oxybenzon~ could be wcU
 Sslety of Chemical, in Fo0<i, Drugs and Cosmetics, Associa-                               quantified on nil upplicstion days. '!lie coUtSes of the r1ln~mn
 th,n ofFoou and Dmg Olllcials cf the l.lni1ed S!att'S, Austin,                            concentrations of oxybe:uoue were summarized oosH.:ortt·
 Tex., 1959. Any othet lesions were nlso recorded, if auy                                  partmenta!ly by me,,ns of C,..u (1n2ximum observed pla;ma
 occurred.                                                                                 oouceulr"tiou), 1max (time cf Cm-.-u- after 2ppJiCc.1tion of 1hc
      Blood sampling for pharmaookinctic., w,:s undenakcn for 4) toxin), and the AUC,.48 (the tmpewicW orca under the time
 <-.ich m1i1t\;;l-at pt~~l<·Jl.lrmined.s.m!plir,g rima: and f>l'<>ccsscd                   c;inrsc ,yf the tilr,~m« rnoe<..·ntrJ!io.os up t-:, 4!\ hon.- ~ner
 1;,,. :,t l~Mt 2 mt 1..i-He,1•.ai,11 pl,liim,J/sum1•le. which were split                  app!1'::-:!ivn).
 lnt.) 1\1'<> aliqum; ilf J mL ...,,sh.                                                         i3asei! ,m lln,.,\NOv,\ of!l1,, hil,l•tr:JJl:lform,-<IAUC~.,,, tlJe
      1ll.9nr¢11 u11d,:r Utt': ,;1..m<..~:ntn1tiun--1in1<? curve t~~<\l.JC») f.h,m         arwJ C)('(X>rur,• u, oxyh<1n:./JlJJe for the ;ii»m:,b trem~! wllb
 tim,- r~ru ti:, 4llh. ,\lJC,;.,.,>J,, for ei,d, l<>~ir,=~          cakuht«xl li!r 50 'l<lJ>it:at Vkk1ih1<1,, S,>hui<>ll W "J$ ~tnti~ic,,liy ~ignillt1mfly
 <"£It 1niuipig ;illo, ,m,:h ta~in administm1fo,1 "n 1e,;1 tiny~ 1.                        lllwcr (1i:s0.05) ,m lfay,- 21. 2R :md '.\5 c,>1t1r,M,,J with th<.,
 2·1. 21! ,m,t '.\S ,isia~, a lirl(s~r f'r'dp~rvid mc;ll(id. l:k,cripdw                   :mimals U"Ct1tcd. Vli'ith the control (R-0th1-A)1 whtn:;i~ tu(.tro W!:S
~;mjMii:s (urJthmcnc m~~m. ~tnndord dt":\'iuti<Ja) ofnon,tnHts..                          no sratistica!ly s]gu:ifit-w! lli1frrence be:ween the treatm.eius
 fomx'\'! At.IC,,..,.,,. .,,;,.t u.itm'i:l !og-trm;,;form,":tlAl,11'.;,, 4 ..., w.:rc     smups on day I (b~fo:-e the start <>f rh~ trchtmems with the !es,
calt\11tt1(:d l(ll· ~h tr<.\t::111-.."J.tl ,li~Hup for t!u~ mhr,J,il~(ndiun -;. ~ antl c::in1ro! itcmsj. No !ilil,islicoily sig11ifica111 diflercnces
<-fay.s-,);).1~.., d,l)".'- JI2l: 2aand .,\ ~. l.(ig•·lfn).)~IWmed 1\ U('~(-~~·            wcrn UO\W !or the Topl<:lll lJiclol.:nac Solulion or coatroJ
wen.· t'Ump;)J~tf using 1iJ:¢ r~pt?!lU:d ,tt~~t41Jr'x·mc.~n1~ ~~m.pivjicg                 {lktin-,\) tr~m,1l anim1:J, of r,roups I aml ~. NSJX.'Cliwly, for
~ ,gt.'ti"r~fij~\.Xi li.'lt.·~mc<~et of vMtam!~ usi.1~ trV.'.l'lln~~,c ~,\mp              C,..0 ,2t1,t AliC-vuh1<;s <.iftc,1 day I comp11red to t.<J$1 d.1ys 21,
;,_i"l HtimJ.uhtrnllon dny ~ «·w~ltim(;o;.. The a1.:Jii~-"'~m¢.f\t or                     ?.cl :md'\5
steady state of diclofenac wn~ assessed by usiug repeated 6"                                   Conclusions:
lll~;sw:,:"il<':nl~ t'lltpl(>)lilli m1alysi, 1>h'l'lri:.u1.-.- ("A!l/0\~<\"'i                  ll?icut:111-lll\Jt. ;ippiicn1km <>J'Tllpi,:~I Oid,1ft'1U:¢ Solutim,
With h,g-traos:fomu,d 1mnl:llcouc't:1>lr:1li(~l~ !>n testd,,ys 19.                        four tum~ daily fr,>ni t..-.it cay I] 1c., 20 with II si~!.- d<,se
2f) ml<i lJ. AU )-~mis1ical waal\;:t.-s w«?si! 1,v,,..sid~,d $l~H1 1tl ~11                ~P.l'licd (Ill the s)l<)min:;>, 11!,fay 2 f, '"hiii; tC.>llltlfi!s lt1 n~b'ant
~r,nJy,i.,, the Type l (olplw) error was fixed at t!)o 5% levci.                          :;y,.tctui•: wq111su«, hl ,llcJol::m,-·. did ni>t i.iid11oc relcv,mt lc,~al
     l{c,;ults:                                                                       is ,1r 1>ysteu.tk ~ltriwt\r!l ch:·ing<.-~. ~fr•.1u.un~)t "'"·ith "lCpit:nl
     \Vi,h reg,ir<I to cJiuica1 ,igns. no signs of local intolerance                      t)li!Jofoti;t<.~ S{~Jutiott. bo,,·cvc.~ did !mt mu1tHf.y tbt' cxpn-~m-e
tC.<tctJons "-'\:re observed in any of the minipig~ after rer,,c~!:xl                    ufo:cyli.:r.~.-m<", m! <1.>wnt.w,,,w.,IJI .i1•plicd toxiu.




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                                                                      US 9,132,110 B2
                                       43                                                                                    44
    To.at syslel\1lc t.!id,•fo:.oc $1<:a,ly $11!1<' """ m<:h<>.I by ,foy                      Sln!(lt· ck»>:. oftllt- 1oxi,is w,.,,..,. adm,nisl('fcl on the mom•
 19 imlicm~ thfl! 3 rru,ximu.:n de:p.r<!t:ul\l.iu j>U1Y1<:,,bili1ati..u1                  ius 0''11.1ys I. 21, 28. ;mll 35. Gro\1rs no. l {1<!:<i Item) :md .i
 fordicloknac by lhf! Tr,pical Dic!of..,:ii,c s,_,;ut;on \'l!hicle b:ls                    (Contml itl)Oj were inves1iga?ed with Toxin no. I (l>ccl),
 IR,"tl n-;id,,,I mlor 14 days of trcaunen1 wi1h 'forical                                 whcrcas 1hc animals of sro.ip~ 2 (fos1 ilem) and 4 (Coctrul
 Dkldi..~wc S-,l111iun.                                                                    l!cm) were in~eshg.ttlrd wilh 'foxin no. 2 (2.,4-D). The volume
    Res'Jlls als•> show,,,! thni tbcrc W3S no qunniil\.tblo sys-                           ••fth,i hlxi11 fomml.11\011 "Jllllic<l w:,s I ml.. ondny J or,d I 5
Mnic nbs,1rpt1on uf OtmT ur 2,4-r) ar bim,linc (pr,or to                                   ml, 1tn ~ul>.t-q~,~u <kl!:t•s st:;nin;i 011 cl:,y 21. Ir; c,lnlrnst t,t
trc3l.C-<lt'111 with 'fopk:,l Il:ck1fon.1c s.,ltJ1.i01, Qr Rog.-unc) or                   l'.X\lm(ll•· .!. th~ I .S ml- toi<iti v.,Jum.: t<-;,tilt,-d in M :,dminis •
 foUo,~;og a 15,<l.,y rrc-1n:a1:iu-111 w,11: ·n,pical DicJ<,:a-.:                         t<!n:d d::>s,:; ,lf Dl:l~l' ('Joxin Nn. l) ,,1 37~.000 J•J; .11,tl ft'1
Sotuti,>r, or Roga,nc (rrc~1m!"1tt nn,ups 2, 3, 5 and 6).                            tc i:llmiuis!.-.cc! do;c or ~,4-1) ffoxi•1 No. 21 nf I 13,S~u ng.
    ,'\c1'.,,~di1\g 111 the rc,,nJu,;, •)'•lc:mi~ absorption of c-xybeo-                      1i1t• ·1,-.1 lt.::m, Comrol lt~.:n 3..'ld 1i)XiM w~n· ;,dm,n,~tcred
1J'llc <l<-<:llrr<~I pr.iur 10 fa,,;1hr,c111 with lbp!cnl f.)ir;J\,1tmsc                  ~$ 1,,llows. '1110 Tc,a h.:111 w.s, udmiA131CMI fot1r tmws d:,il,v

Solu1i0<\ ,md Rclin•,\ n,ntr,11 t,l,1yc1 1-.\J Mel 1h1$ Jcv-;! thus                        frorn 1c1rt d«y~ 6 to ~() (7:~(), 1?,:30, 17:;I(), 22:30): ,,nc •1ll!J)"'
rcr,rese,,1> h.1:,.-lwc ~Y";U."lnic uh,<>rpti<'!I of r.>.yli.1r~;nie.                     dtk:i.• oo doy 21 ("/ ..\0). Th: <'omrol lt~m "'"" atlmmim'l'<X!
                                                                                     15 once daily from test 1L,>s 6 to 20 \22:30). Toxin Nos. I aud 2
There w,u oo sign11ican1 dilfcrcnc~ m base!i;,c oxy~nmoe
                                                                                          were ;.dminisiered once on 1es; day l (before atlmiiustrntion
sysl!ffiiic lc\'cls and sysu-.111i.. kvels 001aine<l follc!w!ng & 14
                                                                                         oft.he 'TO!il 11cm m lbi• CoAtrufaJ and on,:c (ltJ test day~ 21
tluy pre-o,;,atm.:m r•'l'iod with fop1cal Didof,~wic Stilulion
                                                                                          (~lkr admin.isu,11,011 nl the ·i..::;t Item), 28 ~rld )5.
ruid it is thcr.:fo1\lccmchi!k>d Tc,pic,11 Dicl()foiJ;l¢ Svluricm did                         Rcsul()I:
nol e11..l1ance lhe :.yslemic <tbsorption of oxybew.,ne. How-                       in    n~,,.,..11,..     ,o nmr1 could be wcll·q!rnntitied on oil 11p1>!i·
evl'!', lhc-re was a ,;ignifi;:anl ditT1.-n:ncc in baseljne oxykn-                       "~hun wyi;. ln thc'fl>r,ical Diciok1i.,~ Solution arm, the d(ll'(!-
1.ine ,'.)'St-,ai,i<:, ,,.,..,,:1~m1J:<}'s1co.,k 1.-.-..1, ,,i,,,u=! foli,iwwi: :t        no,m:,lil-<"ll~F•'<ICX'p('~\l~ t.l l)l'E l (!\1 'C,, .••)Ollda)1'21 , 28,
14 ,1..y fl""lr,-.11mcn1 p~'fi,xl wiU1 l{c1in-.\ C<>ntrol. ·n1~re.l<'re,                 :;rnHSwa,,1n1M:r.1g,·: 18. l.6J.m1.l 1.44timeshit:I',~ th~J'
R-,,in-A c~hvucci th~ S}'$IC.tu,· nh~>rr,lim1 or <>J1yt-c11z1100.                        v,i ,fay J. resp<.-cliwl~, btu w,,~ ,-..:.11,111tistk~1lly si11nifs::mtly
   .h c;m ho w11,,)1,dc:d tbM :1 IS-<J;;y lql<'m <l<'l'C trcalltt-"11               t> difR·nmt. I lmk,r th<: lletin·A ConlMl U<:otm,•n!. Ilic dosu n,,r•
with '!bp,c3l l)jd,,lc~lllC Sofol!On. Qm. while ri:.-.uhiug i,1 ,1                       malirJed urea '-'>-fl'"ll'-' 011 tht-se llays was on ~""t~J!.-' 1.56,
um~imom , . c or skir, \"'1'JJt~1bilc1.:-,tit•n for :lidofon,-.:.                         1.83, and 1.3(} rim~ higr.er 1fr~1 <>11 day I and weft• 1rn1i$ti·
docs not c,ih.111c'\: I,.,.. sy.r.nuk ;1!-,'0rplit-n o.r ,l~)ilx·111~111~.               <:ally sign,F.~n!ly different on test d:.y 211.
                                                                                             El<r•»tire to ·tA,lh"ukl bcwcll-quhlltified ,•nall opplica-
                                   Example:)                                        )O liou ,1.~yi.. ll11dcr rh,·T~.t tre:i1111<!nl, 1Ji.- :lc,1<C nc1mi.·dir.cd artn
                                                                                         expomireto 2,4-Dondnys 21, 2!!, and.35 wn~ on av.-J~~u 2.04,
              luJlucac~ or :1 To1,ical Didt•foruic Solution on                            ! .2i, 1uid l.16iimc$ IC1w<1rthanonday l,respect.i,•ely,bo1was
                Pc!\:utanoous Absorp!ion ofTwo Diff<.'.n:nt                             not stntisti<:l'tly sigl\llM.antly differ..'01. Under the Coo1ro!
          Environmental lbx,r13 alt~ Rcpcatec r,r,icutnnrous                             ln!atment, ,be dose 110011:iliZcd are;i .:i.posi.:;--, on lh= Ja)'s
                        Admiciroation to M,,tirig.-;                                3~ "3S oaa,-erag<.! 10.84, 8.86. and ?.~!>htm:sbJgbcrlh:mcnday
                                                                                         I nn<l ,,.,,.: ~t;t:i$lic:lll)' sig.n.iikanlly 1hlfo"C11,. .<\<'.<'<)J'l)iusly,
      'llli3 H'<Mtpll)de,cribcs w<"CI proclin;,,,! in(i,rwuti,)n tlla,                  there is u di,ri,.~t ,un1~!ifkat'ion rJf the 2.4-fl cxpo~ui., iJ1 the
 may, for (;').!tfl111le. bu provkkd 111 " 1:i.cr ,t(;(:OtdiJ1g 10 the                  conuni group (Rctiu-A), but not in th,, nnimals m,at.--tl with
 pr.~1 i,ive,ni,,n, which n:lat,-s h) lbe inJlut'lll'<' i•f u i-,p,cal                  I.he Test treatment (1i.-,,ical l)iclofen.ic Solutio:1).
 ,tidofor. .'lc; prcP3tulion contaimng 1.~~'-- dic:Jot ..111~ soo.ium 4,,                    No &ilOJs of k:-cal illm!crna~e rc.ici,ous w-...-c obsct\·ed for
 (2-((1.6-dwhlo,cph<.'11yl°Jm,in,,Jt•c:-trtA'11,:;1""1ic ;ici<I. mom•><>·               ,m~ of rhr.: 11ll11ipiS,i :10cr rcr-!!11.:,I <'9i\·ut.mc,,us a:lmi11,str;1
 Ilium salt). -15.5":. l>MSO, e:haMI, Pl')Jl)'li!ttc t:tyml,ply.i.,r-                   1iun -,ro.u mt ·t.,pk::I Dido1<·11,1<.•S<llu1i.illiauim:1J (>1111w~.
 l.nc, w,-1 "'"'or r·fopi~al Diel<, fon,11· Suh,;it>n') on lhe pl:l-.:u-                3.5 n'lg didofi.'mtr so<lllullhmim;;J'l t11Kl 'foxili No. l . A11im.al
 t.1neous 11bsorp11ou of lwo envimnmem»t wxius from                                     no. 4 (!\t-:lu;i 2) 1rea1w wilb 0 .22 ml . TopiciiJ Diclofcnac
 C";impk: 2, t~1,ht11lc<l ;a hi!!ht,!r ck'l$c.':;-; m >l s~udy in"ulvtl1t\ 4.5 Solu1ioo:m,1mal (DPfl""'· 3.5 mg dlcfo!;..1111c sodiumltmim:iD
 "-'fl"->kd crncum1H.~·11~ a<kmn,~1iat1on 10 .1uinip1~ in                               ond Toxin No. 2 n-..-~led ., very ~ligl11 to well t.!c!in~,I
 l'xampl~ 2 1he w,11 k"·"Js f:•r lh~· mx,rn wen• .ck:c1nl b.i't-d                      c:ydieru.a t>\I t,~: 1b)~ 7 lo I -l AllllMI 11,,,.. 7 ,,nd !I (!'""P :I)
 .in lhc ll'-atllihlc human c1wm:,1111k'lltll ami <XCllJ."'tinml                        \N:lil'llwit.h 112.5 mi Rt.:1111·.<\ O. lo/o\ll'l:tinoin 1c::re.1mlun,mal
,·~11,,,ure d11w bul 1hc results <litl ,~,l prr,·,•id,• ~y.i,·mic cxpc,.               11n.rlhxii, Nt>. I r.:voaloo n well ,follm'\I ,·,y11 ... m,w111~s1 d11ys
 iun~ ,,bo"'..'-' the! Hmh of tttmmi1uti,,n. 11m:,. •~ inct<ts1~~ lht~ 10 2) 11nr:I 2:l .,/'id~ w,y ~light t<, wdl ddhrnd tl~'lhem:i •m 1~$l
 !l(llcntial ~ywt~mic citp<>S,u'<! ,1f 1he 1011m. the n>,:».imum l!cr-                 ,fay ~~ - :\.n.iuwl n,, l 2 (gn,up 4) tfi.':11t-tl wit!\ I U.!I m~,                    ):
 ,naJ <'Xp<l\!m, 10 1he10.~ia ,,cs s~kx:l<XI for rhi• •ludy /\< iJ>
 I· >:,~up.le 2. 1bc I,·~I 11cm "'"~ ·niric,11 Dick,fer..ac Suh1tiu11.
     ·111~ t"<> cr,vm,nnienml 1oxi1,, UH;-f, '·" ·· N.N•ukthyl-m-
                                                                                       R.:1in•:\ (l.1%( 1r.-1inoi11) ,r=,,'m1im.,I :1.1\<l toxi,1 no. 2 <g,rour
                                                                                       ,1) r<-,.,1,i..~1" m<Xi('nll<- to $<!,.:re cry1hcnm on 1<!111 duy l I ~nJ
                                                                                       a \wll ooii1100 cl')'lh<!ll'l!l "" ;,~.t d:,y .35
                                                                                                                                                                              I
!olmmitl.: (ill 1l1<· <.mn vi' Owp «11t'tl:1 OFF!;);) pnm11 sl'r.-y: , ..
Uttwc «nut~Ycrnd,2:--~ N,N·dielt\_Yl-.m~1vlu:1rni<lt~) unrl 2>4·Df
                                                                                             N11 signs ofsy,tcniii:intol,:,·ru1c.c w,:«1 "''""' for any uflln.,
                                                                                       min\p1r,s "fl('f rcp~al,-<I cpi.·,mr,111"''-'" a1l111ini>trmicn ort:hh~,
                                                                                                                                                                              i
                                                                                                                                                                              ~
i.<?.. 2.4-1>. dlm"lhyhmiiu" ,s;,h tin fhe fot1n nf :-.pc-.:irnd,lc                    0.22 111l,'fo11i,·:il Dio1<,l;,1l!l· S-Oluti<11.11,111imal (uppr<J~ 1.;1 mg
 Weed ~;op 2X h1r Ln,,.n-, Co11<'\''tlr.1l~; ::c:11~,.- c<1mpocnd
7.5'/% 2,4·U. dimcitl)'l,!m;_n;; s:iJu. the si~h: <.\,nlml lh'.!<11
                                                                                       di,k)l~na~ S<,dfoml:iuim:il) .Jf tho (tl(llrol ltem a;.11.l tlic tW\l
                                                                                       111100-1. Addit:orotly. nN1'! of ll1<• oo,m,11~ ,lied rn:o!lltnrcl>•:                 I
US-<tl •n tile <rudy was Rc1iu-A O : % (tretincin) ,·rc.iro.
     M,:sh,x.t..
                                                                                   ro L.'ic bt>,ly wciithl wM in the 1Mmn:11 ran~..- iu 11II ::n111nl<
                                                                                       1hrt>ll)V10UI ;he ,·,•ur$C 11f the olu<ly. 1t11<l rn.> inflm.,1~ WI\$
                                                                                             ,m
                                                                                                                                                                              I
      llt..- smdy w:,, ,·;,rri<-d t>\11 ;k; d<:ic.rib<.-tl in F~amr,lc 2 \lSi.o.l'     n.otc.l the fc,<Jd 1111,J driuki11y, Wttlcr <.'Onsump1ion for Ml'J of                  t
 12 mhiii•ig~ (fo11r llltllln~ of lh11!<> li.11m1<, miJ:1i1•ig:; "ucll).
,\uirual< of gmllp$ I uni: 2 ,•~n.· tro11l<:<I wttlJ th.: 1i...;I lta1,
                                                                                       lhe iu1im*?S.
                                                                                            llpicutaneon,: npplicarion of Topi~I Diclofcnoc !i-O!ution                        r
                                                                                                                                                                             lI
lioa11h,anc,mii1;i-o( d;,y I' 1m?il 1be-m,,ffiin2. oi' d11y :!I: l!R1t1r.,: o< l,111r times d.!ily lnll.ll tesl day 6 10 lU w,lh s ~m11l1·
                                                                                                                                                               close
'\ ~11:1 4 "'"'" 11.-:11<.•d wiih !t,1in--\ 0.1•,. lib<: <.,1ulml lu,m)                ~pplied ou the mommi:.of dsy 21 l'C"l.l]lcd in n:b~un ,nkmic
fmni th<, c,...,1Ji.u1, uf tla) 6 111,:il 11,i: cvcn111g of day !O                     exposure lo dic!ofenac.


                                                                                                                                                                              !:
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                                                                             us 9,132,110 82
                                            45                                                                                             46
        Conclusions·                                                                            Mtklc< h l ,fry t,.-r.1:-e C(l\.'l'tul(. the IC~! ~ill·~ with du, lnnr, 311()
        l:pil:ul:u10o.,us nprlica1km        ,,r      lt1p1c:il l)idof~r:.1,· ~1hniou            ,tvni<J,-,j .iuul,i'lit ""'l'•"><•m· lo    ti,.,  ll'St :iJl<.'ui-.lrit~ the :llllJ)' ..\1
  r.,ut      tirne:1 ,laily fmrn 1cs1 d;iy I\ ti! W whh B ~in-~11: dl.>se                        Pcri<-,1 n,n.-e tR'~"""•YJ, iub.JCC!S W\1J.•r.v~1 ,1 rt.'C<>Wty
    3Jl('li<:d ,:,u ,1;., m=ini; l>f d:.y 21. wb.Je r,:;.1,!1iJ1s in ,,·tclli1m                 p,'O<,d ,1f ,,.,l wccl.s (i)tfr,wii:g 1h1· ;n.-:itm,,11 pe,iud Tb WI.
    s)'$lt:mic: ,11q>11su~lt• <lidoli•nuc. di,! nnl i1·.<JtK-.: relevant lo,,:sl s w;,s ,n,'!.'l~m\':d l'm ,~a~h nfiht:tcst ~tic.,~ on tl'M.~ lt\Of13iAg orl.>Hy~
    or 1:y,:i.-ir,ic unrowm,t ,-imngc,. l'he ad1i\';\''\:t11cn1 of ~lc~dy                       ,IS, 47. SO, :w(! 5~. J\l l'-,d11tl !'our (RcU11,Atli>(.'hnl!~rtl!l'J OJl
    >lUtc l~i,1i: ot' dlcl(l(cm,c hy d:,y 2 J indk~1t·• Uwt th:d 11                             l.>ltyi< 58·7l, fk1i11 -A,8· wns upJllk-d undw· 1•,::dnsiou to 11>1:
    maximum ;fow,,e ofslcio p..=abi!Jzation for diclof;!llllC hn,1                              same 11!>1 ~ite t!, "'luch R~tin-A<l!· li.1<l bttn .:;>pli.!J dhrh'S
    b<.'Cll .-,,,dk-d. ln cofltr.1lil ro l(ct:n,A. tr<l:',!ul<'!;I with torkul                  l',Yi.,d 1wc. A d:.':li£,Jwkd mrn,hcr oi' th<: study :,1,1fi arpl:<.'tl
    T.>,clvfonac &•lotion di<I no: ~mplif>' tlk.' toici,: n<k 11f t1•ie1:- 10 l\%<hl:,br. fohom24m11)ofRc1in,,\J;,1111h,• R(.'lill··,\-;J/h~l~1t1:.
   1nn~~11;,!r upr,hod IOXit1$ .o.uch J~ ),4-Tl 3!)(J l)l:J;J'                                 HI'-'.'-' driil~ 1,,r 14 <1.~'* , :u appnlximntcly OS:lit) hm1r,;, Tlie
                                                                                               J.{c1111-N(v t1.,;:1 sitewa~<1,,d,11k-<l wu11! p1,lyethyk,1c film ($.1,
                                          Ex.ampl.:4                                           rnu WmJ,$/) l11r IS hmm li,ilowil:g ccch ~prlie,11io11 't'RWL
                                                                                               Wll.'J measured nn tJ)(' Rctiu-A® site and the unt.~llcd coctroi
              Effcc; o:, Stratmn OlcT:i!llm Ro1Ticr Fwmism of                            1, ,i:,·ol 1bcsamearm cm !ht tl!O:'llicgol Days.59-72.
            Mcltiplc 0o$CS ofTopk&I U1cloiemc Solutii>n 11s                                          ThWI.
                    Mc:isurcd by Tram,t>ri,Jc,m.,l Waler-1.ou                                        TEW!.. mml)'s1s wts carried 01H ru1 the tla1a of the inlent-
                                                                                              !<>•1r,-..l ("ITI") anoly:<1~ .:~"lllP- The lIT nnalysls 11.1\11111
       'llii, Bx3mplc .lc,cribes oovel preclinicr:J informnhon that                            in¢lud,'\I nH curulk'<l ~1,~i,...:1~ ,~ho 1~,~olved at le11st one dim·
   may. for ~WTirlc. he provi,k."<I to a ,l:(:r acc<•r.ll1111 1,, th.:: ;c of 1c.,1 uticle. Ti.\Wf . '''ll3 qu,m1ill~,1 using a \':lp()Mc<,·r.
                                                                                                                                                                                        A
   pt1,-s.mt inv<'f1ti,,11. whkh co.:nrri5e it1f<mn11tit•n n:g.,r<lins an                     ck1wdd1ai_ul:.:rcv:1J)O.-i1~tc;. C1t,m11,c- in l'F.W,, 1x~"'"111~.e
   ill-~C.l-:it'!h!llt o..f th~ cfk"(.1 t)ll$lnlt\J/l'1 C'OrflCU:U harri('t' ruu,:tic»a,       11,MI~ ~nJ :mtrc.H..x! !,ice~ wai ox.,mrore,l U\'Cl'timc. flt':).4.·t ,v~
  11~ m(':,stin'li by 1rans.:pi<krm"J \l, 1lCJ l= ("TEW) "), <•fmul-                           twc s1111is1ics (an1h1111•11l~ nic.,n, s11,n,J,111l J.-vi.,11,,11. c0t•1ll-
   tiple rl00<:5 11f ;i lr>J•ical !lic!ol'cnn~ r•r.1•amti•~1 .,,nuinin&                       1.'ict1t <,l'Ynriarion, mi:dinn, mir,unml\, a11d 1n;1ximm,,) lt;l'lh"
    1.5% tlld<>l<t1111• ,,oduuu {2·1 (2,(i-dich.k>1·ophs,ny l)llmiiwj J~ Th WI . dM" .-;,~ ~11111111iiri1..·cl for c.·~ch lt'C'~Uu~nl. lntlivi,1ttnl
   oool"u!'l>e<:lic ac.i,1, m<>mi,,,diu;n ~!tit), ,l.S.5% l)Ml'iO, t!!ha-                     ;uid 111.:.111 TEWL Hm.t p1ofilc.s were plollt".! by 1m1auen1 vnd
   ~<1J, f''°l'Yl,10.: µly~J. !llyc.•ru11-. m1<l wa!lY ("T,ipical                             pc.'1 k~l ,m a Ji,,ca.- scale
   l>iclo-fotlik. Soht11(1tf"l «>11111~«.-d wit?, .t p.~,iliw <'<tn!r,1l.                           ·1<• " ~ 111" v;iliJ1ty <lf 11:e sw:ly 1n mc:isun:: cl1,a1e~.,, in
   Rc1ln·A ¥:. and an ,1 mn~t..,t )ih' ns ;,.i ?tt-gittl\·c coiurot.                          ·1liWL. thc !"':'f-1.n~tmem f\..'<lllls 1;,, ,he J""'i'""' ,"lltr.il,
       ~n:dy f)..-,i11-11:                                                               30 Rctin•A,w. we,,~ C.HllpM·il )O tl-, , IJJIIJ'C':llCd s ill! ,)IJ 1111' ~nm<:
       111c ~ml!y w,,~ r.c,,1d,;c,,,I ;,~ t1 f<>ur..pcri(ld. l)!lcn l~h~I,                    :1rm usi<1,,", n,p,~u,xl m,•,1,111'<-'l- ;lsl3l~·~is of ''"'AJri11m.,• {'i\N,
  lllti Nld t:Qn1J'IIMSl)ll in a Sillp.l(• i>,rnur,. j>~r,,Ki (lnc (n c1!".'lir.<:,)         COVA"J with dw ,,v,:r:,g,· pn··fl"~llm,mt Tf,WI . mfll,~\11\: ,b
  wus a pcriNl ,)t\,u,, w.:t,k 11ri"r t,, Iii.- t)1sl:1pplkut 1<;,1 nn r.>ay                  dlQ <.,will,:.!('. l)urin1t1 cMd11-1 ,,f the M1Kiv and rnelimh1:11r
   l. ,\f f><:riod T\lt> ( lrwtms1llJ. subj~-CL\ al'pfjcd t C>J :,ruck:s                      r..."'icw,,fli.,ed.,1a. ,1 ~!'f)Cati.,l th.111h<:p.,-.1jwoou1rvlw:i,; 111•1
  (n,picatD'clof,:uw.: !St•lut«mN R,'lill·A~) for a pcri-x!cfsi.x. JS c."1,mi ,km imw1i,)n 10 th,• c.<p..~'UXI <k'j!,n.>e. ln
                                                                                                                                                                            cr,kr 111
  wt,.i(s. At Period Three (Ri?<:Ol1/ty), subjects und~IWClll a                              ·w,l:dm" 1hc ,10,ly. a (tclin·A(-v Oi:,llc:111,c P,,rit>il wes a,M,"1
 N1.,0Y,)ry r,'t';(>d O(lW<•WOOk~ l1•1lOWlllilcth,• lrc~hll<"III pc:ri,xl.                   v::t H prnH3'?nJ "m4m<frm.'nt° as d.:~J'ihul ;lltnv<.":. ~lnd 1h~
  /\I f\·riod F,):I( lll<'IH•·-":tl><1~,Ue1 ,lll') stol\i•~.,,~ uppJi..,-<f Iktin-           ANCOV/\ :m:\lyiis WM rc;tts;t,•,1 for tl1,• Cb11l1.i11gr, l'crind
  /\!19 umk't' ,ic.:lusion l<t th-, !>:lflll.' !c~t ~i1.:11s d1Jii1lP, l',r, i.,d 'J\q,      usin11 l>:.y 5tl TEW! Jl)C:tStll\' ru11h.- hol-.•!iiw cofll:i.tti1. Th~
  fo· n v---n,xit•fup I<> 1"1' Ws'l'\:;.. ·n111.. ., th.:, !<,i.ll uudy ,IU:71li<1c ,c¢ ·1bWL respo::se fort he Topiral Didofen;1<· Solu1icnsilccur-
  w~i ;;pp,uximntcly 12 weeks. with e:g.hi trcaun.::i\t wccl..s                              ing far Trea:mcn! l'enoo was compa~ 10 the untr~,ti!d sire
 ,prc:id l~lwecn P,•riod T\\o {$,,-w,~k 1rci1lmcnl peri<'d) aad                              un the ,wmw Htm 11si111). 1'1:p<-:>Wd 111~11:u~ A."il 'OV;\ w,tt 1he
  J>crk,d Four (two•wt:ck 1rca~.11t•111pc1111<lJ                                            :,w.,~J/-1' jll'¢ ·lrot:lm.tnl ·1f'WI , Jll<~l:illl'C ,ti< the C<lv;111.ll,~. s~-c-
       Pr\1tocol:                                                                           eml1uy ,m,1ly:«:~ i1w l111l~~l o-,mp,:rist>fl~ b~,w.:iin 'fopi,·al
       Al r•,,1i<1<1 Or.c (1ti,diuc), b:,~iiw.• nw~swvmcnl.s :,f 4$ r>,cl<•l<:11.'JC Soh11i<Jn '""' R,·11"-<\®
                                                                                                                                                     ci•ml',,· in Tnwr. (ditlt....
 T(•WI \Wte p,:-rl11mK.'Cl on l>ayi ••,. -:-. ond -3 1•r.c,c to 1he                         Nll'l' fmm mtn.'3kd .ilcl ,~,, the Tre:11m,,,m l 'l'tiod, n11<l wr-
 f.i.~t ~?;>li.:111ion on l>ay l. Al Pvd-id J'wo {1'n-.a11r,,ml). ~u!>-                      1d.,1iou :nn,ly.«-.. b<.-1.-,,·nTlsWl,ar,,I ti"' v:,ti<11:Jcs: ;kin w.i-
 i.x-t, "l'rlicd ?est ,,rticl<?,; f;,r i1 l""",dof ~iot wi&h. fl'WL w11~                    1.,ti,111 s,•mc, tcrr.peroturc nndlmmitlity.
 111,~1>11rc<l tm ,·urh ul' the t.::st sih:s (ll c,nx4 t:111 I imN11.'<liu:dy                      ~\ufot;··
 t,cl;m-«pplk llli(ln ,,1· l:W murnin// ,J,is,1 \)ftest llP1.i~(N: ,lll D,rys :x,                  f~ttf~'t'/ wa..i tt,,i~cs,~~'1.l thtt\Ugb. t'\'a.luu1km. (,f th~ .;:)fi..·ty v.1ri,
  l, ,,S, 8, l5.22.2Q,:J6 :md4,. r~'!<!h$t1~j""1:,pplii:tl 11nc.lro1,                       .10k·"· ;KIYcn<.~ ~~nh. :.km irtit:ui" u .:-tore, J:.001-:M,,y Jn:tly-
 lapproxima1cly .\ 0 11L) «f 1opwol J t,ielo!<.'IJ;tc !:>,lh.,t1t\n "~ a                    ~i~1u11l ,irai iil!I"'· ~l<.'iY :m.al)'s.iS w,i.,·J1ri,"1n111 o:i !ht•dlu,1
 l<'Sl $ilt' on 1heri1,h1 ('r left volar lt>t\!<tnll (as li-11\lomir,1! I K•ur             of C\<<!I)' S'.!bject who l\.'Cciscd a; le.bl one :t"'1lmcnt with
 lin>.:>$ :, ,fay fot· 1i~ w,-,,1.~. ai ,•rrm~im:Jlcly OttO<l. 1.\:0.J.                    study article.
 18:00 nud 2.'\:(i.') b<>rnc<. Tl.tt·,t,.,,., vi l"J»c:,1Okl<>fon~c S,•Jt,. ~~                    TBWL Resul!s:
 111,0 ntiliA~t iu thi~ study {a11p1,, >.iuhHC}y 30 pL iJJ \I ~i1rfucc-                            fh<: 1~"8ults f;ir t.-c,11mt::i11 wi11, r.. pk,11 Uic!ofon;1e Sohu,on
a1>r.1 of J6 Ct.ll'} was :.;:d,ul:11<,d ll.• approxi1m11<, 1l1c ·n,fl,<>ll
l)kl.ift·,i~ ~ol\llion ,lo~.c 1h;,1 UJ'Plicd Ql1.l h) 11«: lvwe i$
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-<J~,,..o i!1 l'"11rr,pk I 101,.- .:llceli\'e I,,, Jl'l);llt111:m •lf 1he p:.ia            tb..n 'IJ)J•lioo Q}f) 1.i thee k.n<c'«, 1; ~h<,..u Ill Hxa:n~!c l to h<!
.a~ S)•mpton,s of ~,IC<: vst<..,.;itl,1 .ti,, 11&mcly 40 drn;,~ (i'J'- ~o clfo,·tivc for tre.'ili•1<'11I cf tl1t: pain
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>l(){l r.n,'. 1.il,c-11n,hj,~<.'1 :,ppli<-,1i1 <lt>h (;11:oul I?. m~.) ol'R..,fi1l·        Soh11i,1n ,m,1 Rctiu,Nl<' wi,$ m•ld Jurm;i, the 1'r~~llttL11t1
,•\<P.: ,,•• u t--t'pm·~lto rest site cm 1h~ ,,ppr,t.iJC" -.;ohtr forc.::.rm orn::c        l'\:d,i,1 (n<:illrer CQU$<.'4 on itiCl\:ns1• in Tli\VL dta·,o~ Om
!X'• d.ty fot· six w,wk~. a, ;1r,p:<1x1m:,1eiy 03:00 hu11is The                            (>l:Ti,•d ot'rhe- ~!udy).
stlhj<:c1 u'$i.,I his.11er lir,ger to sptt,~d tb,· test ar1ick, o,w 1h1,,~r E•                    D,1ring1he Chtlllcnsc Pericd with Rctin-A<P.. skin unraticn
'~i-.ia, !t:SI site,. l:'.ach foJeYm bud a test .uca Iha! ,..-<1s leil                     w,is not.et! (see Safely Results) M.d u s1gnificam iccruise in
lonu-eateo a~ 8 ll<"'t;•tive con1rol. 1bc i;ubjoots allowed th(' l<!Sl                     TBWL rclatiN io 1hc unlr..,.a,.id site wns c>l,serv,.-d. l lici<"
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          n•sult~ f.ir lh" t·.h.'\ll.,1gc 1'.-1100 vati,~ne 1he study dcsi1m by
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          sh,,wiag tlu,1 th,1 'll-'b,ic.:ls ,-ere responsive 10 lhis p11,;i1ivc
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          aml rl<l '2 ~Topi<-al Dlctofo,1,1c S<.>lution). R,•vi,-., ,,rr10, 1
          ihows an u1crc.,,._, iu l l· WI, fo;· the Ile-tin-A·.- ,~,tcd sate                                       in Gt•:tingl•u Mi11ipi11~
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          rn, J,ffor~-n~,- l><~lW<.>e.O ln:.111,l ,mt1 umn,0.ted •ii\.~ for'fopi,·~I
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          l>irlok~tm: S.1lu1ion :iml lk1ia-:\1l(, during I.ti" Tm,m!Cl\t
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          111 th~ te,:1 ru1iclu O:! ~\11.'llb). TIJC: rr,a~•rity oft~ u,hcrsc             15 1<,nriro11r~ "rQi>t;ini;cn Min,pig> (~ for ~Z W<-'11.,ut <.::unccn,
          ,•1·11111, .-,:i,orl~'t.l ,~m11~1e<I <>f skin in-ifati,m n:,rwnsos ri.c.              trmhms    ,,f' 0, in:,, 45.$% 1is1<J 90%        (w/w) 1»1<1 m ,w;iht:ilc
          c1~11:11:; tlcmmtili$, d,y skiu. ,,,.,,,,u,) 'J1wsc "''''C o~'t'<I ar              t~'\,'t•ibil,1_,., rrowcs,ion. ,ir <!cla,1-d aw<e.<rtll~ or IIOY




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          IIK" R,•1ill-A* rrr,pli,·d;.ion ICSI ~ for ~!I SUI\J~t~ <"-'-'<'JII h•r            ,ib..:r.<'-1 ;:b;n;s,is fotl,;wm~ .1 1-munUt l"""tl<>«.' ,ll)s-,rv.,1iuo
         u1J,·who1..-,,-.:,1,1I theu,lvc:n;::,c-.'l!nl 'dry ~1:m'thm ,1o..'\."11!'J\!dllt    1><-rrtiu. 'fa'-' ad,htit•Jaal gt1111~ ,1fn,•nin1•,.m M,niri~R> wcr..:
          tile 'fo11iclll f)icl1)fona* ~,lrn,on trcnted :c:$1 ~i(t'.                      ~,;ctoS¢<1 mpi~all:,, for'39 wock~ 81 '1% ~nd !Xl'½ followc,l hy ~
              '111<· li'cque1wy uf w<,m skin \r1i11,!iun Jc:,rc du1ing th,:                  1·Ut<•nll\ rc:.:mcry p.>$1 dMe vhs<1v.11ic,11 ~ri(•,I.
         ·11<.'l'sln1<1ll Peri,><! fo,·'fopk~l l)iclufotlilcSolntit~ltcVC.11.xl 14               hlllf g,,.•llps coos,.stiu~ uf $ix 1,11i>i~1l'l/s..>:<!gn,11p 1~'<1
         ,,! LS su~iel.'!< ,.,11, a w11r.1l ,;oi,ru ,,1 r.i,n,, iu,lici11i.ii oo ~km        DMSO:it rcsp«1 iw c,,-c kvt•ls1i(O. 9, 45-5, ur')O¾ (wiw) b~
         lm11,ti,m. 01w subj"'" h~d 3 s,~;rE> orn.5 (d!j'tl<l'!s '"' lb.kins)
         1;;, 11,e 'fopii:ul Dicluf,·,~,c S<,hn;ou h••»t."-l ~ii,·. for k.l'lin- 25
                                                                                            dt11MI ~;,phc,11ku1 Httt:r. tim..,, 3 d:,y for :'IM Nll~<'l.:1l1ivo
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         A 8>. thl~kin ,m1a1ion w:i, obro.voo J,,1firo. U1e fo::itnu.~11 :nld
         R,x,,,vcry J"eti<J<l~ During tile C11,s!l.-1~..:-P,•riod. i $ul;j.:cts
         hn,t ,, s.1>1:,:t ~cmenf:3 (crylh<,;tM ,~ith llld,11riti1>n iu1d ves1c11-
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                                                                                            ~-\\Wk l\."'\:<,vcry p«\C'{I T"'" a,k.!ition,11 #'(>Up., ..,msl~ting <•I°
                                                                                            ~i~ nllimnl="$~~/vrn1p n'l',·i,..-;I 01c .:,)nu-ol v,· !>(1r., (wt.vi
                                                                                            l)MSO l;y ,tenn,,I ..ppii<-111101, ibrcc times,, ,fay for 17.~ OOH·
         1aDOfl) 8(ld one subjc,ct h«d a s~'Ol'll of I (cryilwum) for !he
                                                                                            "'1>'Utsvc days rofo,wiHJI, ,:, wa-k, 1>i u,!mini·-1ro1inn. two
         R<:ta>·A·~m.~;.,Jsitc. Tlt.-,'IC¢lltl'CJl<-enfskin 11rit.1thlnfor the 11,
                                                                                           ttm!'l~,1!,J!;c;x .11 0 :md 'JO% dHe ie,,;·t• Wl'f"¢ m.:l.UIU1111'lt.l fvr ,1 ,I
         iktin-.'\tb ~it,-s was exi-...c1,u for thi~ 1~,,;i1iv.: conuot.                    m1111th t(c~(',,,.·y pc:rfod. The ~llllU\,l er 1,,s1 articl~ w&s ndrnin•
               11,11 $1J.bj,-cl~ c:<pc.ri~nci:.l ,•h,\n~~ in clink"l lnoora,01,y            i,1~r~·d tn illi J>.!'l>Uli:; ill n <l<,so wh1t1Jl• nf 45 1u1Jd,m:'/t1ppli,
          e:-.·:tl11atto1t\ (j!]1...:\l',<·. :\TT m:d ,\!\ I ,-lcv.itio11S} th~t WCC'I'    cati<,,1 ,;ilc {O 013 .nt:cu12: J(l(I cm' ~pplb,tu'lu ~11<:) unril
          <k,umefllrd .i~ cd,.-:r,;..- c-,'\?llll All 1bn-c ad,~ ,-.·,.,nh were             W..x-k :xi. ll,1tinnilt!l, W<.'\:k 7.0 the ~ntrol ,ir h~l .in idc w~,
          rot1,idcred mild ,md not related 10 tho test article~.                        Ji :1dmi111stcretl to Qil 1tr<>Vl'~ :.1 .i dt>,u •,olumt: ~.(, ml/do!;c;./
              'l h,,i·u wcr.1 no cli11i,.:ully si~1iflc~u1 fimlingi; n-la1....:J 10        »pplirn1is:,n $)te ((Wlj mlJcm"'; :l7S cm' :sppli~ation sih!)
          bl.100 pte:ll<t11·c, pulse or n~pir.,1i<1n r:,ll-..
             Couciwioiu:
               l'he ohjcch,e of lhi~ study waG to cvalunte th<' cffoc1 on
          s1r11tum comcum barri"r li1ncli::,n, m: measured by TRWL, llf '°
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          chronic application ofTop,C31 Uiclolcna;: S<>lulion ~s oom-
          p:ltt'tl with a pos,ti,·e conuol, Retin-A·~- and an untrea;e-1 site
          as a rn,,gativc control
           ·n,c      dose of Topical Didofcnac Sohnion uulized in this
         slU<ly (approAi11u1lely 30 µI too surface nrea of 16 cm') was 4S
         c,ilculated 10 approximate thi:t shown in l'x3,np!e i tu be
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         effocti\ie for l1ti<11mcnt of the pa,n and symptoms of kuec
         0$1~.-,11thrili$ when a1•plicd Ql1' to 1hc kn,~ {40 dL'op& (till·
         Pl'lllim111c!y I '2 mL) 10a XJt<l! s,,,rfacc :.m 11( .appr,,:thw ,Jy
         80lfr,n'). Fol!O'l\in~ d:ro:n~ ,!Q~i~ wm1 fopi,'lll Dicl.t1f<1J1,1e
         Sc!ut,011 fo.r 1, 1,wk~ in \hi$ study. oo Mg!lifte~l\( ini;n•aso in
         TF..WI. wns observed. As measul\.mcnt ofTF.WL lias been
                                                                                               ComposihnP~ oi che C\mi :"\JI u..."d T~ ~\rti<:les were :1
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         •bown to be n vaiid.1ted mt'tho<l for asSl'Ssinit skin barrier
         function (Pluhr J W, Pcinijuld KR, Elia~ PM. fr.,nsepidrnru,l
        watc-r !.-,;, ndl<-c,~ penn,,nhility status: v.;lidution in human ,,
        ai,J m,J,,m lt, "'"" amt c~ VJ<~ nmdcl1. "xp D~1ma1ol 21~16,
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         lS:48.\,192) . (1,,-.e rN1JhS ,n:oca1c that for-iall D:c!oi<-1i:1c
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                                                                                                            E!.?:>,,010::~~ .....,               Ii .79'. ""' '.t
        Solu11011 did um :llt,-rlhe stm,w11 "" necm barrier liloc1i,}11.                                    Pl"'p'/!<>e Cl:y«I                   tll.A. ..-,.~
            Tr->11tmc11t \\ it!; R"li,i-A,f.;, u1o<..•d as a positive co111rol in this                      Ol)"oCt,O                           11.1::1,wt',\
        ~1udy, in 1h,• <.':h:,Uimg.i P,·ri1n1 «infirmed sl<iu irritation fol- 6-0                          l'u:lf!t'JWnt~                       6$.S!~.; w,'w                      i-
        ln\\1n<,1 Re1in-A·l' 1n::iln!l!lll :,1td a r.isulling iucrcas~ m
           lWl- ,IJ:1~ q,li1L1ui1g tlJC:~hidy.                                                9%f)MSO                                                                              ~
            In c,1nclusmn. the results of this study dcmonstrall: 1lw1
        folh,wiur, ch.roi:.ic 1fo,ing wi1h 'h>1>i,:al Dicl,,fc11ric Solution,                                                                                                      ~
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                           0\130                                     ,5s~w,v,                                                                                                          th_.
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             90%DM SO
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                                                                                                         "'•"-i:ly b, gi,itip b:i.'11~1ontbt-111.,w, b<•dyweivht fctt.,al'hb~x.
                       lilb•••I (?5% Y/vj                                                                 l".lll(l\\ lflg 1$2 ,l:iy• ,,r1,<l111iJ)i,1r,1li!'tl, ~ MJinml.,;/,,\~!;H)
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                       ~.vpy,<,.. Chywl                            ?.l'(ll$wlw                            we,si u.w.iut:1<0e>J forn 12·\\o,.'\:kro<.""lllYP.'l'i<.>J.
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                       l)MSO                                      90~w/ v,                                                                                                               ,
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                                                                                                         111,1,,,1 ''" ull n11i111,1J, :,~d prior ro th~ l'."l'l11innl and wco¥,·•y
                                                                                                         n.-cn•p~,~~ "n,,ll m:,i11 ,:tuJ)' .mim:il, byd!1<·1t•rs.il ,~1,•11,~1ry
       ;,bilil)' ,,f foo.ttl :ind wntc,- >HT¢ curul:<elt'Cl \W:¢<: tl.lily fo:
                                                                                   ,Ill                 rr:,-clkiu<t with Dir,lr,mmc. Amcrir1111 t:oll,~: ·•f VctNim
       ""imnls. (liuil'al ,,b,l't'\'ali,tt>¥ we,,, c1111du,1,·d Wll<~kly. ,\t                                                                                                         ,ry
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                                                                                >l>~V                        Om• fem.ii~ :!l ~ DMSI) (I .<tw ck»C'). '"'' male,; ouci one
       cx.sinina:ioll~ wcw rcrfonm....i, OJ1tau .. d;,111s wc·r<i r<.-c~•nl<X!,
       ml.d sck,.:tl~l 1issn,,> W<'J·c mkn,~,:<>pic;llly ,'><nmm,~1.                                    fomit!1• ni 90'Vo DMSO (Hi11h ,1oS<l) di~d. amt h,•c,
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           Or.t•   fcm,u.: a; 9(f' ;, l)~{Sfl "-lls<"ll ha:.titc.l in CXIN:lll.iH>ll                    ~s 5% l)MSO CM11l doic}. uml <>11<' f.-.n.llc lit 90''•·               DM}:0
       D;1y 151 "" the ~mdy. 'lh,, l-au s,:, of Ilic mo1-h1dl                                           w~-n: c111hanin,l in CJ1m:1ui~ duriu,! ll•t ~Indy. N.,n,,•,o
       auim:,lwi:.s deknni,,.,,,J l.J Ix: f<.'Sp1tat<>,j.!i1!r-'SII nn<1U,i$
       cn.-t,idt-t'Od mdll<!!ilal tl'lrc~lm,111 nr.d not t.'SI l'il1i:ilc,r
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                                                                                       APPX332
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                HJCH UGll 'I'S OF l'HESCIUIHNG INFORMA
                                                                  TION
                'fbesc highli ghts 1fo not inclu de nU the
                                                            information neede d to use PENN'SAID®
                'fopk. al Solutim1 imftly a.ud effectively.
                                                               See full presc ribing information for
                PF.NNSAID Topical Solulion.
                PENNSAlD Topical Solution (diclofcnac sodiu
                                                                 m topical solution) 1.5% w/w is for
                topka l u se only.
                Initia l U.S. Appro val: 1988
                WAR NING : CARDIOVASCULAR AND GAST
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                Cnrdi ovasc ular Risk
                            Non steroitl:il anri-h1flammstor  y drng~ (N~AID~) m~y cause a11 i11c1·cny1•cl
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                cardiovascuh11· dise11se lllll.Y be at great er risk
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                        PENNSAlD Topic al Solution is ,·011u·aindic
                                                                            afcd for fhc 11·,~1.iu1e11t of peri-
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                                                                         ion, cause an increa sed risk of
             st:dou.~ gnslro intt$t innl 1Hlvl!rse event.~
                                                               incl11dlog bleed ing, ulcera tion, and
             perfo nitiou of tlu~s11n11acb or intesfo,cs, wbi<:h
                                                                   can be fatal. These events can occur
             llf !my tin.it durin g mm a11d witho ut w:,rn
                                                              ing symp toms. Elder ly patien ts arc at
            great er risk ror serious gastro infest inul event
                                                               s. (5.2)
            - - -- - - I NDICATIONS AND USA
                                                                      GE-- - -
            l'lI NN'SAID Topic al Solut ion is a nonst eroid
                                                                  al anti-intlsmunatot-y drug (NSAID)
            i1ulka tt.d for the treatm ent of signs and
                                                           symptoms of o~l(!o.artltritis of the knee{s).
            (1)
            - ---- --D OS AG E AND ADMINJST
                                                                   RATrON ---- --- -
            For Hu: nilid or lite sign:1 a11d symptoms
                                                                  of osleoar1hritis of tbc knce( s), the
            recon1111tmcfocl <lose i~ 40 drop!! <m cacb 1111i,1
                                                               ful knee, 4 times a day. (2)
                    A11ply PJ,: N'NSAID Topic al Solu1io11 to clnn,
                                                                        dry skin. (2.1)
            •              Oispcm,c Pl.:NNSAlD ·ropic .il Solul ion 10
                                                                       d_rops at
                                                                           lime dlher direct ly onto
                                                                                   II
            the k.o11e or first iot-o the hand and (ben onlO
                                                             the knc<-. Spren d l'~: ~'NSA ID Topk lll
            Solut ion evenly nrnun d fr<mt, bi\c.k and
                                                         sides flf thi- knci:. Rcp.ia t tbi.~ p,·ucc dure
            until 40 <11,ops bnvc betn appli ed Rnd th.i
                                                          kncie i~ comp letely covtir ed wilh solu1iol'l.
            (2.1)
                           Wash hands comp letely after Rdmi nister ing
                                                                        the produ ct.
                           Wait until the area is comp letely dry befor
                                                                           e covering
                                                                               with clothing or
           apply ing sunsc reen, insect repell eof,
                                                    cosme tics, topica l medic ation~ , or other
           5ubst      am:t:$.
··<-                    Do not get Penns aid in your eyes, nose or nioulh
                                                                          .
                 -     -   ----D OSA GE FORMS AND STRENGTH
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                        1.5% w/w     lupica l soluti on (3)




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                                  CONTR AINDIC ATION S--
                  Known hypcr.ie nsitivity to diclofeonc sodinn:,. (4)
                  History of asthma, urticari a, or allergic-type ruction s after
                                                                                  faking aspirin or
           other NSAIDs. (4)
                  Use in the perioper.itive period of coronar y art.cry bypa11s graft
                                                                                          (CABG)
           surgery. (4)

            -  ----W ARN IN'G S AND PRECA UTION S ----- -
                                                                                      -
                    Serious anll potentially fatal cardiov ascular tbromho tic events,
                                                                                           ruyoea1'dtal
           infarcti on, and stroke can occur with NSAJl> treatme nt. Use
                                                                                 the lowest effective
           dose of PEN NSAlD Topical Solution in patients with known
                                                                                 CV disease or ri~k
           factors for CV disease. (S.1)
                    NSAll)s can cause serious g.a~tl'Ointestinal (Cl) 11dverse events
                                                                                             indudin11;
          inOamm.11tion, hleeding, ulcer11tion. 11nd pc.rforat ion. J'.-escribc
                                                                                PENNSAIU Topkal
          /Soluti,111 with caution in tb11sc- ,vi lh n prior history
                                                                              of ulcer disease or
          gastroin testinal bleeding. (5.2)
                   Elevation of nne or more liver tests mny occur during therapy
                                                                                       wi!b NSAJDs .
          Discont inue PENNSAID Topical Solution imn1edi11tcly if abnorm
                                                                                 al liver tests persist
          or worsen.     (S.3)
                     Hypertension can occur with NSAIO treatme nt. Monitor
                                                                                       blood pressure
           closely with PENNSAID Topical Solution t.-utme nt. (5.4)
                     Use PENNSAID Topical Soluti.on with cnutioo in p:11ieots
                                                                                              with nuiJ
           retention or heart faillll'e, (S.S)
                     Long-te rm administration of NSAIDs can result in renal pnpillar
                                                                                              y necrnsis
          and other r cual Injury. Use PENNSAJD Topic:.! Solution with
                                                                                caution in p11tients at
          greatf's t rid;. of this r eaction, includin g the elderl)', those
                                                                                with impaire d renal
          function, hcarl fa ilure, liver dys(irn ction, nod those taking
                                                                                  diuretic s and ACfi:
          inhibitors. (S.6)
                    Anapbylactoid reaction s may occur in patients with the aspirin
                                                                                             triad or in
          patients without prioi· exposur e to PENNS AJD Tnpic11I Solution
                                                                                 .E (5.7)
                    N:-iAl l>s cau cause serious skin adverse events such u exfoliat
                                                                                        ive dermati tis,
          S1r.vc11~·-Jobn$() D Syndrom e (SJS), and to:x.ic epiderm al necrolys
                                                                                 is (fEN), which ca n
          bi! fut 111. (~.8)
                    Not for use during pregnan cy (5.9)
                    Do not adminis ter to p:1tients witJ1 aspilin scusitivc asthma
                                                                                         and use with
         caution in patients with preexist ing asthma. (5.10)
                    Avoid exposure of treated knee(s) to natu ral or artificinl sunligh
                                                                                         t (S.11)
                    Avoid contact of PE'N NSAJO Topical Solution with eyes and
                                                                                     mucosu (5.12)
                   Avoid concurr ent use with oral NSAIDs (5.13)
         ------- ------ -ADV ERSE REACTIONS- - - - - -
                                                                             --
         The roosl common adverse events with PENNSAID Topical
                                                                            Solution are application
         site reaction s. (6.1)




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                    5.J Car dio v:u eula r Tlmm1h
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                    5.2 Gas trni llte- stin nl lUfocls
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                    S.3 llep :itic Effect~                                              edin g, and Per fora tion
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             ADVERSE REACTIONS
             6.1 Clini cal Stud ies .l!>11.pcricnce
             6.2 Poshna1·keting Expe rienc e
             DRUG lN"lERA<'."TlONS
              7.1 Aspi rin
              7.2 Aoti coag ulan b
              7.3 ACE -Inhi bitor s
              7.4 Diur eti~
              7.5 Lithi um
              7.6 Methotrex:ate
             7.7 Cycl ospo rinc
             7.8 Oral Nons teroi dal Anti -infl amm atory
                                                              Drug s
             7.9 Topi cal Trea tmen ts
             USE IN SPEC IFIC POP ULA TION S
             8. 1 PregJJancy
             R.2 Labo r and Deliv ery
             8.3 Nurs ing Moth ers
            8.4 Pedi atric Use
            8.5 Geri atric Use
            10.      OVE RDO SAG E
            1 t.     DES CRIP TION
            12.      CUN lCA L PHA RMA COL OGY
            12.1 Mech anism of Actio n
            12.2 Phar maco dyna mics
            12.3 Phn.rmacokinetics
           12.4 Plate lets
           NON CLIN ICAL TOX ICOL OGY
           13.1 Carcinogenesis, Mutn gcne sis, hl1J1
                                                         airmcnt of Ferti lity
           13.2 Anim al Toxicology and/or Ph:m11114'0
                                                           l1>gy
           14.      CLIN ICAi , STU DfES
           14.1 Pivo tal Stud ies in Oste oarth ritis
                                                      or the Knee
           16.      now SUPPLIED/&'TORAGE AND HAN DLIN G
          17.      PAT IENT COU NSE LING ~FO RMA
                                                               TIO N
          17.1 Med icati on Guid e
          17.2 Card iova scula r Effec ts
          17.3 Gast roint estin al Effects
         17.4 Hcpa totox icity
          l7.S Adve rse Skin Reac tions
         17.6 Weig ht Gain ant! Edem u
         17.7 Ana1> bylactoid Reactions
         17.8 Effec ts durin g l'reg uanc y
                                                                                                                          I
         17.9 Eye Expo sure
         Sections or subs ections omit ted from
                                                      the full presc ribin.g infor mati   on are not listed.
                                                                                                                        I
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                 FULL PRESCRJDING INFORMATION

                 WAR:'<I NG: C'ARDI OVASC ULAR AND GA·STRO·lNTESTJ
                                                                  N'AL RISK                                       ....
           CardloV89CUlat Risk
           • Nonslllroldal <1ntl-lnflammalmy drugs (NSAIDs) 1n.iy cm19e an increaso
                                                                                             d ri.sk of snriots
              <:ardiowscular thrombotic even~. myocardial l11f.in:Uon, and
                                                                                    stroke, which can be
              fatal This risk may lncroose with duration of use. Patii!nts with

       I'
       1,.   •
              or risk facto,s for ca rdiovascula r disease may be at greater
              Preuutl ous  (S.J)/.
              PENNSAID Topic:al So!Utlon is contralndica1t'd In the pori-ope
                                                                                    cardiovoocular dise.1!l0
                                                                                  risk [see Warnilll{S 11nd

                                                                                           rative setting of i
              ooronary artery bypass graft (CABG) surgety #ee <..omr11in,licn1ion
                                                                                       .f (,(}j.
          GastrointE=stinal Risk
          • NSAIDs cau~e an increased rl~k of serious gast rointe~ti
                                                                             nal adverse events Including
              bleeding, ulceration, and pc1·foration of the stoma~b or intestine
                                                                                    s, which e1111 be fat:al.
              These events c11n occur at any time during use and without warning
                                                                                        syn1ptom1. F.lderly
              patients are st greater rbk for serious gastrointestinal event,
                                                                                      {see W11rnlngs and .
       l .. Preclluli01(1_(?."':...1JL__ ...,.,.._ _ ...............___ .... ... ----.                           ...- ... _            ......!
             1.          INDICA TIONS AN}) USAGE

                     PENNSArD Topical Solution is a nonsteroidal nnti·inflammatory
                                                                                                  drug (NSAID)
                     indicated for the t.reatmcnt of signs and symptoms of osteoarthritis of
                                                                                             the knee(s).
             2.          DOSAGE ANI> ADMINISTRATION

                        l,1       Genen1I Instruct ion•
                              For the relief of the signs and symptoms of osteoarthritis of the
                                                                                                knee(s), the
                              rccornmcoded dose is 40 drops per knee, 4 times a day.

                              Apply PENNSAID Topic-al Solution to clean, dry skin.

                              To avoid spillage, dispense PENNSAfD IO drops al a lime either directly
                                                                                                       onto tlu:
                              knee or first into the hand and then onto tbe knee. Spread PENNSA
                                                                                                    [I) Topical
                              Solution evenly around front, back and sides of the knee. Repe111 this
                                                                                                     procedure
                              until 40 drops have been applied and the knee is completely
                                                                                                 covered with
                              solution.

                              To treat the other knee, if symptomatic, repeat the procedure.

                              Application of PENNS/\JO Topical Solution in en amount e:<ceedin
                                                                                                  g or less than
                              the recommended dose bu., not been studied Wld is therefore not recomme
                                                                                                       nded.




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                       2.2        Special Precautions

                            Avoid 3howcringtbathiug for at leas1 30 minures after the appl ica1ion of
                             •
                           PENNSAID Topicnl Solution to the treated kn~e.
                         • We.sh and dry hands after use.
                         • Do not apply PENNSAJD Topical Solution lO open wounds.
                         • Avoid contact of PENNSAID Topical Solution with eyes and mucous
                            membranes.
                         • Do not apply exlernnl hear and/or occlusive dressings to treated knees.
                         • Avoid wearing clothing over the PENNSAJO Topical So!u:ion-ueated knee
                           until the treated knee is dry.
                         • Protect the treated lmcc(s) from sunlight.
                         • Wait unti l the treated area is dry before applying sunscreen, insect rcpellant,
                           lotion, moisrun1-er, cosmetics, or other ;,opical medication to the same knee
                           you have jus1 treated with PE:1-<"NSAID Topical Solubon.
             3.       DOSAGJ<: FORMS AN O STRENGTHS

                   1.5% w/w topical solution

             4.       CONTRAINOICATJONS

                   PENNSAID Topicnl Solution i~ contraindicated in pati~uts with a known hypersensitivity
                   to diclofcnac sodium or any other compum:nt of PEN>ISAID Topical Solution.

                   PENNSAID Topical Solution is contraindicntcd in patients who have experien~ed
                   astbm11, urticaria, or allergic-type reactions after taking aspirin or oth1:r NSAIDs. Severe,
                   rarely fatal, anophylactic-likc rcacrions to NSA!Ds have be,m reponed in such patients
                   [see Warnings and Preca11tio11s (5. 7, 5.10)].

                   P.1:iNNSAID Topical Solution Is conll".iin<licated in the setting of coronary artery bypass
                   gra.l\ (CABG) surgery [see Warnings Qlld Precautions (5. !)}.

             S.      WAR.'llNGS AND PRECAlITJONS
                     S.l         Cardiovascul ar Thrombotic Events

                           Clinical trials of several oral COX-2 selective and nonselective 1':SAlDs of up to
                           1hrec )"C,IT$ duration ha.'/c sh<,wn an ine1-cased 1!$k of serious cardiovao;cuJar (CV)
                           thrombotic events, my1>1:m,hal ,nfarction (Ml), and stroke, which can be fatal. All
                           NSAID~, including PENNSAID ,uid COX-2 sclCGlive and nonsclective orally
                           administered NSAIDS, may have ,1 ~imilar nsk. Patients with known CV disease
                           or risk factors for CV diseose may be at greater risk. To minimize the potential




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           risk for an adverse CV event in patients treated with an NSAID,
                                                                              use the lowest
           eflective dose for the shortest duration possible. Physiciruu and
                                                                             pati~11t.s should
           remain alert for the development of such events, even in the absence
                                                                                  of previous
           CV symptoms. lnfom1 patients about the signs and/or symptom
                                                                            s of serious CV
           events and the steps to talce if they occur.

           Two large, controlled, clinical trials of an orally administered COX-2
                                                                                     selective
           NS AID for the treatment of pain in the first I 0-14 days following
                                                                               CABG surgerf
           found an increased incidence of myocardial infarction and
                                                                                 stroke [see
           Contraindications (4)).

          There is no consistent evidence that concurrent use of aspirin
                                                                             mitigates the
          increased risk of serious CV thrombotic events associated with NSAID
                                                                                 use. The
          concurrent use of aspirin and NSAIDs, such as cliclofenac, does increase
                                                                                   the risk
          of serious GI events [see Warnings and Precautions (5. 2)).

    S.2      Gastrointestinal Effects - Risk of GI Ulceration, Bleeding, and
                                                                             Perforation
           NSAIDs, including diclofenac, can cause serious gastrointestinal
                                                                                  (GI) adverse
           events including bleeding, ulceration, and perforation of the
                                                                               stomach, small
           intestine, or large intestine, which can be fatal. These serious adverse
                                                                                     events can
           occur at any time, with or without warning symptoms, in patients
                                                                                   treated with
          NSAIDs. Only one in five patients who develop a serious upper GI
                                                                                 adverse event
           on NSAID thernpy is symptomatic. Upper GI ulcers, gross
                                                                                  bleeding, or
          perforation caused by NSAIDs occur in approximately I% of patients
                                                                                     treated for
          3-6 months, and in about 2-4% of patients treated for one year.
                                                                                 These trends
          continue with longer duration of use, increasing the likelihood
                                                                              of developing a
          serious 01 event at some time during the course of therapy. Howeve
                                                                                 r, even short-
          term therapy is not without risk.

       Prescribt: NSAIDs, including Pennsaid, with t:x1reme caution in those
                                                                                with a prior
       history of ulcer disease or gastrointestinal bleeding. Patil:nts with
                                                                             a prior history
      of peptic ulcer disease and/or gastrointestinal bleeding who use
                                                                           NSA!Ds have n
      greater than I 0-fold increased risk for developing a GI bleed compar
                                                                              ed to patients
       with neither of these risk factors. Other factors that increase
                                                                            the risk of Gt
      bleeding in patients treated with NSAIDs include concomitant
                                                                               use of oral
      corticosteroids or anticoagulants, lunger duration of N~Aill therapy,
                                                                                  smoking,
      use of alcohol, older age, and poor general health status. Most
                                                                               spontaneous
      reports of fatal GI events are in elderly or debilitated patients and
                                                                             therefore, use
      special care when treating this population.




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           To minimize the potential risk
                                               for an adverse GI event, use
           dose for the shortest possibl                                       the lowest effective
                                           e duration. Remain alert for
           GI ulceration and bleeding                                      signs and symptoms of
                                            during diclofenac therapy
           additional evaluation and trea                                   and promptly initiate
                                          tment if a serious Gl adverse
           high-risk patients, consider alte                              event is suspected. For
                                             rnate therapies that do not invo
                                                                              lve NSAIDs.
       5.3    Hepatic Effects

            Borderline elevations (less
                                         than 3 times the upper lim
           range) or greater elevations                                  it of the normal [ULN]
                                           of trnnsaminases occurred
\          diclofenac-treated patients in                                  in about 15% of oral
                                          clinical trials of indications ol"i

l          the markers of hepatic function
           ofli ver injury.
                                            , AL T (SGPT) is recommend
                                                                             er than acute pain. Of
                                                                             ed for the monitoring



I
           ln clinical trials of a oral
                                           diclofenac · misoprostol com
          meaningful elevations (i.e., mor                                bination product,
                                           e than 3 times the ULN) of AST
          in about 2% of approximately                                     (SGOT) occurred



l
                                            5,700 patients at som e tim
          treatment (ALT was not mea                                    e dur ing diclofcnac
                                       sured in aJI stud i~).
            In an open-label, con Irolled tria
                                               l of 3,700 patients treated for
           with oral diclofenac were mon                                        2-6 months, patients
                                                itored first at 8 weeks and
           monitored again at 24 weeks.                                          1,200 patients were
                                             Meaningful elevations of AL
           in about 4% of the 3,700 pati                                     T  and /or AST occurred
                                              ents and included marked elev
          ULN) in about I% of the                                               atio ns (>8 times the
                                            3,700 patients. In this open-la
          incidence of borderline (les                                          bel   study, a higher
                                          s than J times the ULN), mod
          ULN), and marked (>8 times                                           erat e  (3-8 times the
                                             the ULN) elevations of ALT
          in patients receiving diclofen                                     or   AS  T was observed
                                            ac when compared to other
         transarninases were seen mo                                       NSAIDs. Elevations in
                                           re freq uently in patients with
         those with rheumatoid arthritis                                      osteoarthritis than in
                                            . Almost all meaningful elevatio
         were detected before patients                                           ns in transarninases
                                           became symptomatic.
        Abnormal tests occurred dur
                                        ing the first 2 months of ther
        in 42 of the 51 patients                                         apy with oral diclofenac
                                         in all trials who developed
       elevations. In postmarkcting                                         marked transaminase
                                           reports, cases of drug-induc
       been reported in the first mon                                     ed   hepatotoxic ity have
                                          th, and in som e cases, the firs
       therapy .                                                           t  2  months ofN SA ID

       Postmarketing surveillance
                                      has reported cases of sev
       including liver necrosis, jaun                                ere hepalic reactions,
                                      dice, fulminant hepatitis v.ith
                                                                      and without jaundice,




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                    and liver failure. Some of thes
                                                   e reported ~~c s resultt-d in fata
                    transplnntution.                                                 lities                  01·   live:


     I             In a fa1roptlJn retrosvec1ivc pop
                   oral diclofouac a~sociated drug-irn.
                   with no11-t1se c>f dich,fona<· wer<
                                                        uJation-!>11:;ed, casc-wn:rt\llt:d stud
                                                          luc~'<l liver injury \"'1th currem
                                                                                                y, JO cases of
                                                                                                us~ com1me<I

     i            adjust~\ odds ratio of liver injm
                  uumber <if 10 ("USe.5 of liver inju
                  ratio increa~ed forlher wi'lh fomalc
                                                      .- nssociated wiih ..1 statistically
                                                         y l!1 this particular study, base
                                                       i-y a.ssoeiated with diclofcn:ic, 1he
                                                          gender, dose.i v! 150 mg OT mo.re.
                                                                                            sign
                                                                                              d
                                                                                                i1icant 4-fold
                                                                                                on
                                                                                                m~ju
                                                                                                    ru1 ov.:~11
                                                                                                     stild odds
                  of use for more th>.111 9() doys.                                              and  dumtion
 I                 Mcasu~ tra11saminnses (ALT and
                                                             AST) periodically in patien~ rt.~e

I                  term therapy with diclofena\~, beca
                  a pl\ldrome of distinguisliing sym
                  and subsequent tnmsaminasc: mea
                                                           us.: sev<.-rc hepa(otoxicity may dev
                                                         1>toms. The <1p1imurn times for
                                                                                                        iving h.mg•
                                                                                                     elop   without
                                                                                                making the first

I                 duta and po~-tmarkeling e.~paicm
                  after initiating treatmi:nt with diclo
                                                        sure111en1s are nol know11. Ba~cd
                                                        :c~. monitt>I' !cansmninnses with
                                                            -fenac. Ho\vevcr. severe hepatic
                                                                                               in
                                                                                                 on clin ical 1riul
                                                                                                   -1 lo 8 weeks


I                .x;cur at any 1ime during 1rcntmcn                                                rea1  ,1ions c.-u1
                                                         t with dicl<lfenuc. If abnomial live
                 or ,.,.orsen, if clinical signs and/or                                            r  tesr.s persist
                                                         sympto1m oonsisteut with liver dise
                 or if sy:c1tem;c m:.u1ifcsta1ior,s                                                 ase   dev elop,
                                                     CKcur (e.g., eosinopbilia, rash,
                 diarrhea. darl< urine, clc.). discoati                                       ,1bdominal pain,
                                                       1me PENNSAID immediately.
                 To miniruii.e- the possibility that
                                                           i1cputic injury will hcrnmc seve
                transaminase me3i>urenicnts. info                                                    re hctwcco
                                                      rm p11tiems of the wum ing ~ign
                of hcpalOtO)(icity (e.g., nau:,e.a, fa1ig                                    s and symptoms
                                                          u..:, le1hargy, dian:hc.:a. pntritus, Jnu
                upper qua<lraut tcndcm.css, a11el "flu                                               ndkc, rigbl
                                                          like" symp1oms), und the appropr
                lake if these sigJ.'I~ anrl symptom                                               iate acti on to
                                                    s appear,
                To minimi;,e the potential risk. for
                                                     nn adv erse Jivc r-rdated event in
               with l'ENNSAID. use U1c lowe~I                                           patients trl.'aled
                                                    effective dose for the shortest dura
               Exci·cisc caution when prescrib                                            tioi> po:;sible.
                                                  ing PENNSt\lD with com:omitun
               known to be potentially hcpa1.oto                                       t dnigs 1ha1 arc
;.                                                     xic (e.g. ucc1mninophe11, cc.afa.in
               antfopi1cpli cs). Caution patients                                            antibintics..
                                                     to uvoid taldng tmp.it~l·rihcd
               while u:-ing Pcnnsnid.                                                  acctuminophcn

         5.4      Hyp urtcn.1ior1

               NSAlDs, inclmling diclofc1rnc.
                                              can lead to :iew onse1 nr worseni
               hype11ension, either of which m.ty                              ng of prcc:,.isfo1g
                                                   contribute to the incrcnscd inci
               events. Osc NSAlDs, includin                                        dcn.:e of CV
                                                g Pennsaid, with c:autkm in
                                                                                  p:itienl.S with




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            I                 hypertension. Monitor blood pres
                                                              sure (DP) closely during the initiation
                              trcaumml and thrcmghou( lhe course                                      ofNSAID
                                                                                                                                                                            I
                                                                 of therapy.
                             Patients talcing ACE inhibitors,
                                                               thiazides or loop diuretics may
                             response to these therapies when                                  have impaired
                                                              taking NSAIDs.


         I               5.5    Congestive Hea rt Failure and Ede

                             Fluid retention and edema have
                             NSA1Ds, including PENNSAlD
                                                                    ma

                                                                been observed in some patients
                                                                                                      treated with
                                                                Topical Solution. Use PENNSA
         \                   Solution with caution in patients
                                                               with fluid retention or heart failure.
                                                                                                       ID Topical

                     S.6        Renal Effects

        I                   Use caution when initiating treatme
                            dehydration.
                                                               nt with Pennsaid in patients with
                                                                                                 considerable

                             J,<mg-term administration of NSA
                                                                    IDs has rns11lterl in reual papillary
                            other renal injury. Renal toxicity                                                necr()sis and
                                                                     has nls<> btx!u :;een in patients in
                            prostaghu1dins have a c.ompens.'l.tor                                             whom renal
                                                                     y role in the m:ii111c-na1,ce of' rem,!
        l                   these pa!icnts, 11dml11istralfo11 of an
                            in prostaglandin formation and,
                           precipitate overt renal dccompensat
                                                                     NSAH) m.<1y cau ~ n close-dependent
                                                                   seconda rily, in renal hlood How
                                                                                                             perfusion. [n
                                                                                                                 reduction
                                                                                                            , which mny
                                                                      ion. Pi!.ticntS 111 gi-ca1c~1 risk of thi~

        I                  are lhi)~o with impain:d renal fw1c
                           t11ki11g diuretics nnd ACE ,nhibito
                           therapy is usuall y followed by reco
                                                                       tion, heart failure, liver dysfunct
                                                                   rs, and the elderly. Discontinuation
                                                                   very to the pretreaonent state.
                                                                                                                  re:.tction
                                                                                                                ion, those
                                                                                                               of NSAID

                          No informacio11 is uv:,!ilab k from
                                                                  coutrolled clinical studies regardin
                          l'fN NSA lD Topica.l Sollllion in                                                  g the use of
                                                                 patients with advanced renal dise
                                                                                                         ase. Therefore,
        \                 treatment with Pl:."NNSAID Topical
                          udvanced re11al disease. lf PEt-:NS
                                                                     S<llution is not recommended in patie
                                                                                                                  ms with


    l
                                                                  AU) Topical Solution therapy is initi
                          monitoring of the patient's renal func                                              ated, close
                                                                     tion is advisable,
                   5.7       Anaphy lactoid Reactions

    l                     As with other NSAIDs, anaphyla
                                                           ctoid reactions may occur in pati
                                                                                             ents without


   i
                         prior exposure to PEt<NSAlD Top
                                                             ical Solution. Do not prescribe
                         Topical Solution to palients with                                    PENNSATD
                                                              the aspirin triad. This symptom
                         typically occurs in asthmatic patie                                      complex
                                                            nts who experience rh_initis with
                         nasal polyps, or who exhibit seve                                     or \.\,ithout
                                                          re, potentially fatal bronchospasm

  :;!l                   aspirin or other NSAIDs [see                                         afte r taking
                                                            <.:ontraindicatio11s (4) and War
                                                                                               nings and




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                                                                                                                                                                            I
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                   Precautions (5.1 O)J. Seek emergency help
                                                             in cases where an anaphylactoid
                   reaction occurs.

           5.8        Skin Reactions

                   Do not apply PENNSAID Topical Solu
                                                           tion to open skin wounds, infections,
                   inflammations, or exfol iative dermatitis
                                                            , as it may affect absorption and
                   toler-c\bility of the drug.

                  NSAIDs, including PENNSAJD Topical
                                                             Solution, can cause serious skin adverse
                  events such as exfoliative dermatitis, Steve
                                                              ns-Johnson Syndrome (SJS), and toxic
                  epidennal necrolysis (TEN), which can be
                                                               fatal. These serious events may occur
                  without warning. (nform patients about
                                                            the signs and symptoms of serious skin
                  manifestations, and discontinue use of the
                                                             drug at the first appearance of skin rash
                  or any other signs of hypersensitivity.

         5.9         Pregnancy

                 PENNSAID Topical Solution should not
                                                        be used by pregnant or nursing women
                 or those intending to become pregnant.

         5.10       Preexisting Asthma

                 Patients with asthma may have aspirin-se
                                                              nsitive asthma. Tbe use of aspirin in
                 patients with aspirin-sensitive asthm
                                                           a has been as~ociated with severe
                bronchospasm, which can be fatal.
                                                                Since cross-reactivity, including
                bronchospasm, between aspirin and other
                                                              nonstcroidal anti-inflarn.rnatory drugs
                has been reported in such aspirin-se
                                                            nsitive patients, do not administer
                PENNSAID Topical Solution to patients
                                                            with this form of aspirin sensitivity and
                use with caution in patients with preexisting
                                                              asthma.
        S. 11      Sun Exposure

                lnstn1ct patients to avoid exposure to
                                                             natural or artificial sunlight on treated
                knce(s) because studies in animals indicated
                                                                 topical diclofenac treatment resulted
                in an earlier onset of ultraviolet light-induc
                                                              ed skin tumors. The potential effects of
                PENNSAID Topical Solution on skin respo
                                                                nse to ultraviolet damage in humans
                are not known.




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      5.12        Eye Exposure

              ,-'\void contact of PENNSAJJ) Topical
                                                           Sc>JutiNl with e)·<~'i and mucosa. Adv
              p:iticm~ that if eye c-onlil~t occu r.\ imm                                         ise
                                                           ediately wash out the eye with water
              solinc nt1d consult a physician if irritation                                        or
                                                            persi5t;; for more than an J1our.
      5.13       Ora l Non stero idal Anti-infl ammator
                                                        y Drug s
             Concomitant use of oral NSAIDs with
                                                    PENNSAID Topical Solution resulted
             higher .rate of re~tai hemorrh11ge. more                                        in a
                                                       frequcl)1 ab110:mal creaunine, u1-ctt und
             hemoglobin. Therefore, do not use comb
                                                     iuntion thc111py with Pf.'.';'NSAlD 1 opica
             Solution and nn oral NSA ID unless the                                             l
                                                      benefit outwci&hs the risk and conduce
             periodic laboratory evaluations.

     5.14       Cort icosteroid treatm ent

            PENNSAID Topical Solution cann ot be
                                                       expected to substitute for corticosteroids
            or to treat corticosteroid insufficiency,
                                                      Abrupt discontinuation of corticosteroids
            may lead to exacert1ntion of corticoste
                                                        roid-response illness. For patie nts on
            prolonged corticosteroid therapy, taper
                                                     slowly if a decision is made to discontinu
            cortico~teroids.                                                                    e

     5.15      lo0a mm ntion

           The ph:irmnco!ogical ;\Ct;vity of l'ENN
                                                         SAIT.) fopical Solution iu rooucing
           inflammation, unJ p1)ssibly fovel', may
                                                        dimini~h the utility of th...-se di!lgnoHi
           5igns in clc!<'ctinp. comp!icntion, ofpre::u.m                                          c
                                                         ed nmiinfoctious, ;.i,1jofol 1:ondirions.
    S.16      Hem ntological Effects

        The effects of PENNSAID Topical Solu
                                                   tion on platelt:t function were studied
        10 healthy subjects administered 80 drops                                          in
                                                     four times a day for 7 days. There was
        no significant change in platelet aggregation
                                                       following one week of treatment {see
        Clin ical Pharmaco        logy (12. 4)).

        Anemia is sometimes seen in patients recei
                                                      ving NSAIDs. This may be due to fluid
        retention, occult or gross rn bloo d toss,
                                                    or an 11,oomple t.cly described tffec1 upon
        erythropoiesis. Check hemoglobin or
                                                    hematocrtt of patie nts on PE1'.'NSA
       Topical Solu tion if they exhib it any signs                                          ID
                                                     or symptoms of anemia or blood loss.
       NSAIDs inhib it platulet oggregation
                                                and have been shown to prolong bleed
       time in some i•atient.s. Unlike aspir                                                ing
                                                  in, their effect on platelet function
                                                                                              is




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                                    quantitatively less, of shorter dura
                                                                        tion and reversible. Carefully mon
                                    receiving PENNSATO Top kal                                             itor patients
                                                                       Solution who may be adversely
                                    alteration s in platelet function                                      affected by
                                                                     , such as those with couguliu
                                    patients receiving anticoagulants.                                ion disordt:rs or

                           5.17          Monitoring

                                  Because serious GI tract ulce
                                                                    rations and bleeding can occu
                                  symptom s in patients taking NSA                                    r will!l)ut wurn ing
                                                                       !Ds, monitor patients for signs
                                  GI bleeding. Check CBC and a chem                                      or &ymp!Nns of
                                                                          istry profile periodically in pati
                                  term treatment with NSAIDs.                                               ents on long-
                                                                      Discontinue PENNSAID Top
                                  abnormal liver tests or renal tests                                   ical  Solution if
                                                                      persist or worsen.
           6.            ADVERSE REACTIONS
                         6.1           Clin ical Stu dies Experience

                                  Because clinical trials are cond
                                                                       ucted under widely varying con
                                  reaction mt:.-.s observed in the c-.lin                                  ditions, adverse
                                                                         ical trials of a drug cannot be dire
                                 to ra1<'~ in !he clinical trials of au01                                    ctly compared
                                                                          Jicr drug and may not reflect the rates
                                 in practlce.                                                                      c•b<:ervcd

                                The data described below reflect
                                                                   exposure to PENNSAJD Topical
                                patients treated between 4 and                                        Solution of91 I
                                                                  12 weeks (mean duration of 49
                                Phase 3 controlled trials, as well                                     days) in seven
                                                                    as exposure of 793 patients trea
                               label study, including 463 patients                                    ted in an open-
                                                                     treated for at least 6 months, and
                               treated for at leas t 12 months.                                          144 patients
                                                                The population mean age was
                               years, 89% of patients were Cau                                    approximately 60
                                                                  casians, 64% were females, and
                              primary osteoarthritis. The mos                                        all patients had
                                                                    t common adverse events with
                              Topical Solu tion were applicati                                           PENNSAID
                                                               on site skin reactions. These even
                              common reason for withdrawing                                         ts were the most
                                                                 from the studies.
                             ±Jlll1£..itlOJIE.l.!]!qC(fons:

                             In controlh:d trials, the most com
                                                                mon trea tment-related adverse
                            rece iving PENNSAID Topical                                           events in patients
                                                               Solution were application site
                            Application site reactions were                                         skin reactions.
                                                               characterized by one or more
                            dryness, erythema, induration,                                        of the following:
                                                              vesicles , paresthcsia, pruritus,
                            and urticaria. The most frequent                                    vaso dilation , acne,
                                                               of these reactions w ere dry skin
                            dermatitis characterized by skin                                        (32%), contact
                                                              erythema and induration (9%),
                            with vesicles (2%) and pruritus                                      contact dcm1atitis
                                                                (<1%). In one controlled trial
                                                                                                , a higher rate of



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                  - op_y_ p_r_
                            o:--;vi-,<Jc:-:.t~b'.:'.'V:.U;;$;;PT;:;O:-;:
                                                               ;:; lr:::11:;:m~1~t,:"";;-,,,;;:n;;;;.--.,.: --- ---
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                    contacl dermatitis with vesicles
                                                     (4%) was observed afler lreatme
                    with the combination of PEN NSA                                   nt of I 52 subjcclS
                                                        JD Topical Solution and oral dicl
                   ope n label uncontrolled long -ten                                      ofenac. In the
                                                       n safety study, contact dcn nati
                    13% and contact den nati tis with vesi                               tis occurred in
                                                           cles in TO% of patients, general
                   first 6 mon ths of exposure, lead                                        ly within the
                                                      ing to a wir.hcirawal rate for an
                   event of 14%.                                                        application site

        <          Adverse events con.!ll!Qn l<i 1heNS,1f
                                                         l)           class:

    I             In controlled trials, subjects
                  experienced som e adverse even
                  frequently than subjects using
                                                      treated with PENNSAID Top
                                                       ts associated with the NSA
                                                  placebo (constipation, diarrhea
                                                                                  ,
                                                                                      ID
                                                                                    dysp
                                                                                         ical Solution
                                                                                            class mor e
                 flatulence, abdominal pain, edem                                        epsi a, nausea,
                                                    a; see Tab le 1). The combination
                 Topical Solution and oral diclofen                                    of  PEN  NSATD
    \            in a high er rate of rectal hem
                                                      ac, compared to oral diclofenac
                                                 orrhage (3% vs. less than 1%)
                                                                                       alone, resu lted
                 abnormal crcatinine ( 12% vs. 7%)                               , and mor e frequent
                                                     , urea (20% vs. 12%), and hem
                 9%), but no difference in elevatio                                  oglobin (13% vs.
                                                    n of liver transaminases.
                 Tab le I lists all adverse reac
                                                      tions occurring in ~l % of

    I            PEN NSA ID Topical Solution,
                 group exc eed ed placebo, from
                                                    whe re the rate in the PENNSA
                                                   seve n controlled studies conduc
                                                                                      patkmts rece1v1ng
                                                                                    ID Toplcnl Solution
                                                                                     ted in patients with

    I
                 osteoarthritis. Since these trial
                                                   s wer e of different durations,
                 not capture cum ulat ive rates of                                 thes e percentages do
                                                    occurrence.
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                                                                                                        90

                   Tnb k 1: Adv ol'sc Reactions occu
                                                  rrin g in ~l % of patients trea ted
                   PENNS AJD~ Topk:al Solu tion                                         with
                                                in placebo anti ora l dicl ofen :ic-c
                   trials.                                                            ontr olle d
     I              ·-· ··- ···-Tre----·-
                                        en t -- -- -, .- -- -- -- --
                                    atm          Gro up:           PEN NS! \lD "             ~ -- -- -- --
                                                                                                T opical Placebo
                                                                T opic al Solution                     N=332
                                                                       Noa91J
                __ _A_dverse Rea ction ,·__ ..
                                                              .... - · N__{Uf<J......... ......- ..... N
                 l?.!1.§.k_j n {A~e!.i.~.Q.00 Site)                                                      (o/.1
                                                                                                             ____ _ _
     \                                                 .         ... -12W.?L ....... ....... . _...!.!.(~
                C~ntact Dennatitis (Application                                                          ).... - .....
                                                                       83 (9)                      6 (2)
                S1t eL..- ....-          - -..- · -
               J2y s~p sia .....- ..·- ·- · -
                Abdominal Pain._ ............._ ... - -... n1sL
                                                                    ··-·- .             I ...
                                                                                            .... . . . .-.. . . . .. .
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                                                                                 =r1=.__
                                                       _ --·- _5 ~_ __                            13 .C4L ..... - ...
     !        . flalulrn~ - ..- ..- ...... - ......._                                     .       l.Q.Q) ·--........                   1
               .P~ ~s j~\P..1?.l.\ca1 io11 Si~ L.... _ .. - ..- 3SJ iL...                     ic ~..---··-                             t
     I                                                                                                                                 '
                                                          .. _ ..... 34 {~ L... _
                Oiarrht:a ___...... _ .... ___ ___
                Nausea ___ _,._., ____ __ ., __..
                                                            ______ _ 33.J.1l.. _ _  r·-
                                                      _ · -.... 33 (4L....·-· r·- ...
                                                                                              ·- 77 (2)
                                                                                                     J&...- ...
                                                                                                                _..                     :,:




              ~!~;t!1~J.1~ .                                                                    1Jl )_ __
               C(!~~.F.!!!!!2~!_..,.._ __ _        .4Ql1) _.....-~......_
                                                    . ......- _
                                            _ _ __~9...0...                               ..!1.0:L_.. ___
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                                                   ......_ ....12.Jn _____ ·_.. __I_
              _l~Ski11 (Non-Aj2£!i       ca1io11Site)__ ..                          {'.:!). ______ ..
                                                                    19_(~.....-      .. --- -~( <! )
     l        Conta~l ~erm~titis, vesicles
              (A~ caM n Site} - - -·· ·-·-
               Parc~tl11?1;ia (Noo-AppUcntion              _
                                                                    18 (2)
                                                                  - - -..- - ... ·-- -..····- ---..
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                                                                                                           --
               Site)                                                   14 (2)                       3 (< I)
             . Accidental_ Injury- .....- ....._
              Pruritus _(Ncn-~J.llication Si~
                                                      ....     ... 22 (2) __ _ ~- :-- -1
                                                       L .. _ ... _ l2._(?-}_.._                   (2L.~=
                                                                                            ..... 2J< l) _ ___ ..
             Sinusitis _ .._ .... - ......... ·-·· ·-··-
              l~~itosiJ__ __ __ __ ...... ....... .....- ........ 10{ !.l....._ ....- .. 2J.<l) ..... -
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 \           Applic?tion Sit_e_Re_action (not
                                                                      11 (I)                       3 (<I)
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             6.2      Pos tmarkcting Exp erience
                                                        STA R'(..- ...... _ ,_....        ·- -··· -·..··-· ····..




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                    lit non-US l)<)St ·matketing surveilla
                    reported <luri1ig post-apµr,>val ~c
                   rco,:tions 11rc tcpo ned volunlud
                                                           nce, th,:; following advers1: rca.Ciions
                                                         of PENNSAIO Topical Solution
                                                      ly from a population of unce
                                                                                                    huvc been
                                                                                              . B(:cause these
                   always possible to reliably                                           rtain size,, 1t is not
                                                     esti mate their frequency or
                   relationship to drug exposure.                                        esta blish a causal



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                            Body as a whole: abdominal pain
                                                                , accidental injury, alle rgic reac
                            back pain, body odor, chest pain                                       tion , asthenia,
                                                             , edema, face edema, halitosis, head
                            drug effect, neck rigidity, pain                                         ache, lack of

                            Cardiovascular: palpitation, card
                                                             iovascular disorder
                            Digestive: diarrhea, dry mouth,
                                                               dyspepsia, gastroenteritis, decr
                            mouth ulceration, nausea, rectal                                   eased appetite,
                                                             hemorrhage, ulcerative stomatiti
                                                                                             s
                           Metabolic and Nutrlfional: creatinio
                                                               e increased
                           Musculoskeletal: leg cramps, mya
                                                           lgia
                           Nervo11s : depression, dizziness,
                                                             drowsiness, lethargy, paresthesia,
                           application site                                                     paresthesia al

                          Respira/ory: asthma, dyspnca, lary
                                                            ngismus,    laryngit is, pharyngitis
                          Skin and Appendages: At the
                                                             Application Site: contact derm


      I
                          dermatitis with vesicles, dry skin                                      atitis, contact
                                                             , pruritus, rash; Other Skin and
                         Adverse Reactions: eczema, rash                                            Appendages
                                                          , pruritus, skin discoloration, unic
                                                                                                aria
                         Special senses: abnonnal vision,
                                                            blurred vision, cataract, ear pain
                         eye pain, taste perversion                                              , eye disorder,



      '
           7.      DRUG INTERACTIONS

                Drug interactions wilb the use of
                                                   PE:-.'NSAID Topical Solution have
                The following drug interactions                                           not been studied.
      \                                         [sections 7.1 to 7.7] are noted for
                                                                                    oml diclofena1.: sodium.

      i           7.J       Asp irin


      I                  When dielofoMc is ndrninis1cred
                        is reduced, although the cl~mm:e
                                                               with aspirin, the bind ing of dielofen
                                                                                                       ac to protein


  I
                                                                 of free d1clofcnac is not allert:d.
                        signiiic-:iuc.e of th.is interaction                                           The clinical
                                                             is n<1t known; howcv¢1, a.s with
                        co11comitMi adm iuis1ta1io n of                                             other NSAIDs,
                                                                diclvfc11.ic and aspirin is not
      !                 nicomrnun<led buca.1se <>f the                                                    genernlly
                                                          potential ofionea&cd udversc effe


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                 7.2           Anti coag ulan ts

                         The effects of anticoagulants such
                                                               us wnrfori11 and NSA!Ds on GI ble~d
                         synergistic, such that users of both                                          H\g are
                                                                 drug.-s ((>getber have a risk of slitio
                         bleeding higher than users of either                                           us Gl
                                                              drug alone.
                 7.3          ACE-Inhibito rs

                        NSAlDs may diminish the antih
                                                         ypertcnsive effect of angiotensin
                        enzyme (ACE) inhibitors. Consider                                    co1Jverting
                                                           this interaction in patients taking NSA
                        concomitantly with ACE-inhibitors.                                          lDs

               7.4           Diuretics

                        Clinical studies, as well as post-mar
                                                                   keting observations, have sho,,11 that
                       can reduce the nauiuretic effect of                                                NSAlDs
                                                                 furosemidc and thiaz.ides in some patie
                       rcs:pilns~ ha~ !l>":cti a1trib1tt~d to inhil                                        nts. The
                                                                   ntion of renal prostaglandin synthesis
                       co1>conmw1t lheropy with NSATDs,                                                   . During
                                                                    Ob$crve the patieni closely for sign
                       failure [..w•e Wamings aud Prra                                                  s of renal
                                                                 Mio ns (5.6)}. as well as to assu
                       efficacy.                                                                       re diuretic

             7.5           Lith ium
 I~            NSATTJs have produced an elevation
                                                          of plasma li1hium levels and a redu
 '             remtl lithium clearance. The mean mini                                         ction in


 i
                                                           mum lilhiwn concentration increased
               and 1he renal clearance was decr~uscd                                              IS¾
                                                           by approximately 20¾. These effe<
               been .ntdhutcd 10 inhibition ofr.:rml                                          :IS have
                                                       pro:i1aglundin syntl1esis by 1hc NSA
 ;             v.rhcn NSt\lDs, i11cluui:1r, diclcifena                                     H). Thus,
                                                      c, and li1bi1im MC' ndininiswr::d couc
 !             obsen:c _patients carefully for signs of'liU                                 ,irr-ently,
                                                            1ium ,oxicit)'.



 l         7.6    Mcthotrexate

                   NSI\IDs lt<1W bwn rcJ)()tted ta cu11
                                                         1pclitive!y inhibit nl<'thotrexnu: 11cc
                   ,11 rnbbit kidMy s!ic-es. This m3y indh:                                     mnulation


 I
                                                           a.tc 1.hut the-y ccmlJ enhance the toxic
                   me1.ho1n:xute-, Use cou1io11 when NS/\                                          ity of
                                                          JDs, including diclofonac 11re aJmlnist
                   concomitantly with methotrcxate.                                                 ered
 ¾
           7.7         Cyclosporin·c



 I                Diclofenac, like other NSAJDs, may
                  toxicity of certain drugii. Therefore
                                                         affect renal prostaglandins and incre
                                                       , concomitant therapy with diclo
                                                                                               ase the
                                                                                          fenac may


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                                                   increase cyclosporine 's nephrotox
                                                                                      icity.     Use C2.ut ion whe n diclofenac
                                                   administered concomitantly with                                              is
                                                                                   cycl ospe rine.
                                            7.8       Oral Non stero idal Anti -infl amm
                                                                                         ator               y Dru gs
                                                   Concom itant use of oral NSAIDs
                                                                                         with PEN NSA lD Topical Solution
                                                  evaluated in one Phase 3 controlle                                            has been
                                                                                       d trial and in combination with oral
                                                  compared to oral diclo fenac alon                                           diclofcnac,
                                                                                     e, resulted in a higher rate of recta
                                                  (3% vs. less than I¾), and mor e                                         l hemorrhage
                                                                                     frequent abnormal creatinin e (12%
                                                  (20% vs. 12%) and hem oglobin                                           vs. 7%), urea
                                                                                    (13% vs. 9%). Therefore, do not
                                                  therapy with PENNSAID Topical                                        use combination
                                                                                       Solution and an oral NSA ID unle
                                                  outweighs the ri sk and cond uct perio                                  ss the benefit
                                                                                         dic laboratory cvnluations.
                                           7.9       Top ical Treatments

                                                  lnsU'\lct patients that bcCorc
                                                                                     applying suns creen, insect repeU
                                                                                                                           ant, lotion.


    '
                                                  moisturizer, cosmetics, or othe r topic
                                                  knee treated with PENNSAJD Topi
                                                                                          al medication to                 the
                                                                                                             sam e skin surface of the
                                                                                        cal Solution, they mus t wait until
                                                  area is completely dry.                                                   the treated


     \,:                   8.             USE IN SPEClFIC POPULATIONS



    l
                                         8.J        P regn oncy

                                                 Pregnancy Category C prior to 30
                                                                                  weeks gestation; Category D start
                                                 gestation.                                                         ing 30 weeks
     '
                                                 Te.rorogenic Effects:

                                               Ther e are no adeq uate and well
                                                                                   -controlled studies of PE~ SAJ
                                               Solu tion m pregnant women. PEN                                          n Topical
                                                                                  NSAID Topical Solution shou ld
                                               pregnant women as its safe use has                                   not be used by
                                                                                  nol been adequately de1ennined
                                               30 weeks gestation, diclofcnac and                                   and starting at
                                                                                   o ther NSA !Ds should be avoid<'d
                                               wom en as premature closure of                                         by pregnant
                                                                                 the ductus nrteriosus in 1he fetus
                                              Developmental stud ies in unim                                          may occu r.
                                                                                  als demonstrated that diclo fenac
                                              administration did nol produce                                               sodium
                                                                               teratogenicity despite the induction
                                              toxicity and fetal 1oxicily in mice                                     of mate rnal                                 i
                                                                                    at doses up to 2 0 mg/kg/day (0.6-
                                             max imum rcc.ommended humllll
                                             surface area comparison), 11nd in
                                                                                dose [MRHD] of 154 mg/day
                                                                                 ruts and rabbits at doses up to
                                                                                                                         fold the
                                                                                                                 based on body                                     I
                                             (approximately 0.6-fold 11nd
                                                                              1.3-fold the MRHD, respective
                                                                                                                   IO mg/kg,'day                                   f
                                                                                                                                                                   ~
                                             reproducti ve iUld developmental                                    ly). Published
                                                                                 studies of dimethyl sulfo xide
                                                                                                                    (DM SO, the

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                                             solvcu1 used in PENNSAlD Topical
                                                                              Solution) are equivocal as to potentinl
                                             1emh>gcnicity.

                                             NonteraJogenic effects

                                            In rats, maternally toxic doses of diclo
                                                                                       fenac were associated with dystocia,
                                            prolonged gestation, reduced fetal weig
                                                                                   hts and growth, and reduced fetal survival.
                                  8.2             Lab or and Delivery

                                     The effects of PENNSAID Topical Solu
                                                                                  tion on labor and delivery in pregnant
                                     women are unknown. In rat studies
                                                                              maternal exposure to diclofenac, as with
                                     other NSAID drugs, known to inhib
                                                                              it prostaglandin synthesis, increased
                                     incidence of dystocia, delayed parturitio                                       the
                                                                               n, and decreased offspring survival.
                                 8.3    Nursing Mothers

                                          It is not known whether this drug is excr
                                                                                    eted in human milk; however, there is
                                          c-ase ruport in th~· !Mrn ture indicating                                           a
                                                                                    that <liclofcna
                                                                                              c can be dc.tccted al low levels
                                         in breast milk. Bcciaus..: many drugs an:-
                                                                                    cx~reted in human milk and hc:cause
                                         the potemial for serious advers¢ react                                             of
                                                                                ion:-: in OUrtting infants from PENNSA
                                         Topical Solution, a decision should be                                            lD
                                                                                 made whether to discontinue nursing or
                                         discontinue the drug, taking into acco                                             to
                                                                                  unt the importance of the drug to the
                                         mother.

                               8.4            Pediatric Use

                                        Safety and effectiveness in pediatric patie
                                                                                   nts                                        have not been established,
                              8.S             Geriatric Use


 I                                     Of the 91l patients treated with PENNSA
                                      Phase 3 clinical irials, 444 subjects were
                                                                                 ID Topical Solution in seven controlled,
                                                                                 65 years of age and over. There was no


 l
                                      age-related difference in the incidence
                                                                                of adverse events. Of the 793 patients
                                      treated with PENNSAJD Topical Solu
                                                                              tion in one open-labeled safety trial, 334
                                      subjects were 65 years of age and over
                                                                              including 107 subjects 75 and over. Ther

 II                                   was no difference in the incidence of adve                                        e
                                                                                   rse evenls with long-tenn exposure to
                                     PENNSAID Topical Solution for this
                                                                              elderly population. As with any NSA
                                     use caution in treating the elderly (65                                          ID,
                                                                              years and older) and it may be useful
                                     monitor renal function since they are more                                        to
                                                                                  likely to have decreased baseline renal
                                     function.
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                               to.     OVE RDO SAG g

                                               There have been no known experienc
                                                                                 es of overdose with PENNSAJI) Topi
                                               Solution.                                                           cal

                                              Symptoms follo,~ing acute NSA
                                                                                ID ov~rdosc m~ usually limited 10
            i                                 drowsiness, ruiusca, vomiting, and cpig                                        tcthar~y,
                                                                                       astric pn:.n, wltich arc gem::ral!y rcver


            lI
                                              with supportive care. Gastrointestin                                               sH,Je
                                                                                  al bli:.:ding Mu occ>.1r. Hypcrte?1sion.
                                              renal failure, r~,spir::Mry depressio                                              ac,ite
                                                                                   n ond 1:orna may <•c..--ut, lltit arc
                                              Anaphy!actoid r,:acuon;i have bcc.n                                                 rari:.
                                                                                      rcjlorl<.'d with therap.:utic ingestion
                                              NSAIDs. and may occur following an                                                     of
                                                                                    ov,m.1<~~11.
                                              Manage patient~ using symptomatic
                                                                                      and supportive care following an
                                              overdose. There nre no specific antid                                          '.'lSAID
                                                                                      otes. Emcsis ls net recommended due
                                             possibility of aspir:llit-n and subs                                                  ro a
                                                                                 equent respinnory irritation by DMS
                                             in Pl;NNSAID Topicttl Solution. Activ                                     O contained
                                                                                       ated charcoal (60 to 100 gin aduhs,
                                             g/kg in children} and/or osmotic catb1                                              l 10 2
                                                                                    1tt1c may be indicated in ratients
                                             4 houl'll or iugc.~uon with symptoms                                       seen within
                                                                                    or following II laigc ov\:1oosc (5 to
                                             lhc usual dose), for<:tA.I <liuix-sis,                                        10 times
                                                                                     alk11li11i1.ntion vi' mine. bemodidly
                                            hcmopcrhlsk,n mny n(H he u:.t:ful du(·                                           sis, or
                                                                                     to 1,igh pro!cin hirafa,g.
            \                               For additior.al information about overd
                                                                                      o!ll: treatment, call a poison oontrol
                                            (J -800-7.22-1222).                                                               center



       I                   11.       Dl!:SCRIPTION

                                           PHNNSATO 1'opicai Solution is a clear
                                           for topical <1pplic11,icn.
                                                                                , co!orless to faintly pink-omngc solut
                                                                                                                       ion

                                            PENNSAH> l'opi,~~i Soh1tk11 r.cntains
                                                                                           1..5¾ w/w dicloft':nac sodinm. 11 he112
                                           acc1ic. ai:icl ikrivath:c th.11 is n nons                                              c11c-
                                                                                        ier~Mal ant i•inllainm~tory 1lrug (N'SA
                                           designated chemically ,1.-1 ~-l(2                                                      IO',,
                                                                                 .6-<l ichlo1ophe11yl) amin o] heoi~nc:ic
                                           tnOtlll$,>d ium sail. 'I'll.: molec:ifar                                         ftic ad(!,
                                                                                     weight i• ,lll. i4. In molecular iOrm
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                                       C14H10CliNNa02 anJ it has the follo
                                                                          wing structural                                         fonnula :


                                      Each l ml, of :;olu:,.,11 con?airs 16.05
                                                                           mi: of didofomc ~iiu m. ln nddit
                                      PENNSAJI) Topi.:al Solution                                            i•>n.
                                                                  co11:ai11, 1hc following imi..tivc
                                     dimNh;ol S\1lfo"ide lJSI' (l)MSO. 45.5%                         iogredicm ~:
                                                                             wiw). pr<>pytcnc glycol, ilcoh:l1, glyre
                                     and purifi¢d w~1er.                                                             rin
              12.    CLI NICAL PHARMACOLOGY

                     12.1             Mccbanbm or Action

                                   ·nie mechanism of action of diclo
                                                                        fenac is simi lar to that of other nons
                                   aiiU-inl\am.nulor)' dr,1gs. Diclofeuuc                                           teroidal
                                                                          in.hibit~ the e.11z}'mc, cyclo<)J<ygenas
                                   an ~:IJ'l)' comp<.1net1t of the arawidcn                                       e (COX ).
                                                                            ic at.id ca.~ c, r~--i1llin(( in the 1'Cdn
                                   fhnmmoo .if pm.~a~!amfols, thromb:>xo                                                ced
                                                                              nes and pmstacylin. It is not complete
                                   umkrMood how reduced synthesis                                                         ly
                                                                          of these c-0mpounds results in them
                                   cflkncy.                                                                          peutic

                    12.2          PharmacodyUBmics

                                  Diulolcnac, the 11tii11c componen
                                                                   t or £'£:NNSAIO Topical Solution
       j                          infla11w1a1·ocy, anti•                                            has anti-
                                                                          nocicep1imi, and antipyrctic effuus.
   l                12..3          Pbannacokineti<:3

                                After topical administrmion lo b..:ah
                                                                     hy humw.1 vo,11111<.-cr~ ()f sin~.: a.1d
                                nmximum doses of Pi:Nl'<Si\U> Tilpi.,                                         mnlliplc
                                                                       _'11 Soh1ticm, 40 drop• (upproxinm!cl
                                mt} to c.1ch knee (80 Jrop~ Mal dO:!l:                                            y I.'.!

  I                             parameters were obtained: (see Table
                                                                       ). the following dkl< 'fnuc p!umna~·o
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                                                                  103
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                                      'Table 2: Single-dose (80 drops) and
                                                                           :11ultiplc Dose {80 drops four time
                                      Pt:NNSA Tl) Topical Solution Phar
                                                                         maco kintr ic Pur"mcte.1'11
                                                                                                              s daily for 7 days)
                                                                         . ...-- -.-- ·-··
                                                                                                   Dlclofcnac sodi um
                                      Pbnrnmcokinclic
                                                                                           ··-- ·····
                                                                                 Normal Adults [N=l 8j·--· ···
                                                                                   (Age: 18-SS ytar s)
                                                                                                                  l\orm                 al Adults IN.. 19J
                                                                                                                                                             . . :J:
                                      Para mete rs                                                                                  (Age: 18-55 yean )



     l
                                                                                                                                  Multiple Dose
                                  ~.-..-.~~'Ti
                                                               ~;"A'
                                                                                       Single Oose                          four times daily for 7 days
                                                                                                          ..
                                      AUCo,                                       J77.S J: 72.6 ng.h/rnl. "                                ii-      ~

                                                                                                                              695.4 :1: 348.9 ng.h/mL
     t                            AUCIMof                                                                            · · --- --- --- --- -
                                 f    -·o o • · -·- •••••

                                  PlasmaC"""
                                                                                  1963 :t: 68.5 ng.rJ mL
                                                                                     8.l         5.9 ng/mL
                                                                                                                                         ____
                                                                                                                             745.2..+,, 374.7 ng.h/m L
                                 ~--··                                                     :I:
                                                                                                                                    19.4 ::r: 9.3 ng/mL
                                  l'lasme T,... (h)                                        I 1.0 :t 6.4                    ·-·


    I'
                                                                                                                                        4.0t 6.5
                                  Plasma t;12 (h)                                                                    -,   ......--- ---·--···
                                                     ··- --                            36.7 :c 20.8
                                                                                                                                      79.0 ±38 .l
                                  K.,,(h-1)
                                i,.-.....- -..

                                  CLJF (L/h)
                                                                                     0.024 :t 0.010            ··-
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                                                                                                                                     0.011 :1: 0.004
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                                  1 --··-··
                                 App aren t total body
                                                                                     244.7 :1; 84.7 1
                                                                                                                              ...          -              ....._ i
                                                                       clea ran ce
                                                             Abs-orption

                                                             Diclof('nt\c systtll\i.: cx1~>Sll/'\. f!om
                                                                                                         Pb'"NNS!\Hl application (4 times dnily
                                                             we.:k.J wa~ 11pproxi,m,tcly J/3 of                                                 for I
                                                                                                        the dlckifcnac systemic exposure
                                                             Solm-;a.c (<bclofonac to1ijc.1I stl) appli                                     from the
                                                                                                          cation (twice daily for 4 weeks).
                                                             DistribL1tion                                                                                                          I
                                                            Diclofenac is more than 99% boun
                                                                                            d to human serum proteins, p1im
                                                            albumin.                                                       arily to

                                                             Dielofcnae diffuses into and out of
                                                                                                  the synovial fluid . Diffusion into
                                                            occurs when plasn,.a levels ace highe                                       the joint
                                                                                                 1 than those in the synovia! fluid, after
                                                            tbc process reverses 1md synovial fluid                                        which
                                                                                                     levels are higher than plasma levels,
                                                            net known whether diffusion into                                                 It is
                                                                                                the joint plu.ys a role in the cITcctiven


  I                                                         diclofennc.                                                                   cs.5 of

                                                        Metabolism



  I                                                     Five diclofenac metabolites hnve been
                                                        rneuibolilc• include '1'-hydroxr-, 5-hy
                                                        hydr,>xy--r-me thoxy didofcn11.:. Tlni
                                                                                                identified in human plasma nnd 11rinc
                                                                                               droxy-, 3'-hydroxy-, 4',S-.llhydl'(ll<.y
                                                                                                 major diclofenac metaboii1e, ~'-hy
                                                                                                                                            . The
                                                                                                                                       - ,ind l·
                                                                                                                                         droxy·




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                                     diclofenac, bas very weak pharrnacnlogic
                                                                              activity. The formation of 4 '-hydroxy
                                    diclofenac is primurily medialcd by CPY
                                                                             2C9. Both cliclofenac and its oxida
                                    metabolites undergo glucuronidation or                                       tive
                                                                             sulfation followed by biliary excretion.
                                    Aeylglucuronidation mediated by UGT
                                                                           2B7 and oxidanon mediated by CPY2C8
                                    may also play a role in diclofcnae meta
                                                                            bolism. CYP3A4 is responsible for the
                                    formation of minor metabolites, 5-hydroxy
                                                                              and 3 •-hydroxy- diclofenac.
                                   Excretion

                                   Dielofennc is eliminated through metabolis
                                                                                m and subsequent urinnry and biliary
                                   excretion oftl1e glucuronide and the sulfa
                                                                             te conjugates of the metabolites.
                                   Little or no free unchanged diclofcna.c is
                                                                                                     excreted in the urine .
                                 Special Pop11/ations

                                 Pediatric· The pharmoeokinctics of PENN
                                                                        SAID has not been investigated in
                                 pediatric patients.

                                Race: Phannacokinetic differences due to
                                                                         race                                 have not been studied.
                        12.4    Platelets

                            1be effect of PENNSAID Topical Solut
                                                                    ion on platelet function was evaluated
                            10 healthy human volunteers as a sub-s                                          in
                                                                    tudy of a multiple-dose pharmacokinetic
                            study (see Pharmacokinetics (12.3)f. Aver
                                                                       age (range) platelet aggregation time
                           foilowing stimulation with adenosine
                                                                    diphospbate, collagen. epinephrine and
                           arachidonic acid was 101.3% (73.3- 128.1
                                                                      ), 99.8% (69.6-112.9), 109.9% (66.2 -
                            178.1) and 99.0% (15.5-126.6) of basel
                                                                      ine value, respectively. Th\:SC results
                           indicate that there wns no effect on plate
                                                                     let aggregation after application of the
                           maximum c!inical dose for 7 dnys [s,:e
                                                                  Pharmacokinerlcs (11. 3)].
                 13.   NONCLIN ICAL TOXICOLOGY

                       13.l    Carc inogenesis, Mutugencsis, lmpairDJe
                                                                      nt of Fertility.
                               Carcinogenicity studies in mice and
                                                                     rats administered diclofenac sodi11m
                               dietary consti tuent for 2 years result                                    as R
                                                                      ed in no significant increases in tumo
                               incidence at docs up to 2 mg/kg/day                                            r
                                                                     corresponding to approximately 0.35-
                               0.7-fold (mouse and rat, respectively)                                      and
                                                                       of the maximum recommended huma
                                                                                                             n


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                                                 topical dose (MRHD) of Pf..NNSA
                                                                                         ID Topical Solution (based on appa
                                                 bioavai!ability and body sc.rface ~rca                                    rent
                                                                                        comparison).
                                                 In a dermal carcinogenicity study
                                                                                                    conducted in albino mice, daily topic
                                                 appli cations of diclo fenac sodium for                                                          al
                                                                                                     two y<-ars at conccutr,1tiOll~ 11p 10--0.03
                                                diclo fenac sodium (a 43-fold lower dido                                                         5%
                                                                                                       fenac ~'Xlh1m um.:cntrnuon than prese
                                                in PENNSAID Topical Solution) did                                                                 nt
                                                                                                   nut inc,easc ncop(ru;m incidence.
                                                In a ph:,toc1>1.-ar<"inog,micity ~tudy cond
                                                                                                     ucted in hairlcs.~ mice, topical applicatio
                                                of di.:lofcn:1<: sodh1m at doses up t<• 0.03                                                      n
                                                                                                        5% diclofenn::: sodium (a 43-fold lowe
                                                cliclofonac S<¼lium conccn1mtio11 than                                                             r
                                                                                                     present in PEN!liSAID Topical Solu
           i                                   !"~'>ult<J<.1iri :m e-arh<.:r rnc<liau limi'.' oft>11sel
                                                                                                        of tumors.
                                                                                                                                              tion)

                                               Mut:1gcncsk Diclofot~('. wa~ not mut:
                                                                                          igcmc or cllll,togr.nic in a battery
           \                                   gcnot.oxicity tests that iMludcd the
                                                                                     ba,·tcrfal reverse mutatiou assay, in
                                                                                                                                of
                                               mou~'II lymphom a point mul11.tion                                            vilro
                                                                                   11:1say, chromosomal aberration studi
                                               Chinese hamster ovarian cells in vitro                                       es in
                                                                                      , and In vivo rat chromosomal
       \                                       assay of bone marrow cells.                                             aberration


       I                                      Impainnenl of Fertility: Fertility studi
                                              Topical Solu tion. Diclo fenac sodiu
                                                                                         es have not been conducted with Penn
                                                                                       m administered to male and female
                                                                                                                                said
                                              doses up 10 4 mg/kg/day (1.4-fold of                                           rats  at
                                                                                       the M"RJID of PENNSAID Topical Solu

       i                                      based on apparent bioavailnbility and                                             tion
                                                                                          body surface area comparison) did
                                              affect fertility. Stud ies have not been                                           not
                                                                                       conducted to detem1ine the safety of DMS
                                              on fertility.                                                                       O


       I                           13,2      Animal Toxi cology and/ or Pbarm;ic

                                             Ocular Effects
                                                                                ology


                                            No t1dvcrse efke 1s WCI'1l observed using
                                                                                           indirect nphthalmoscopy after multiplc-
                                            dllily dermal application to rats for 26
                                                                                      weeks and t11lnipigs for 52 wecki; of L)MS
                                            at twice the conce11tration rNmd                                                                    O
                                                                                  in PENNSAJD Topical Solution. Publ
                                            studies of dermal or oral adrninistr                                                          ished
                                                                                    ntion of TJMSO 10 rabhits, doei: a11d
                                                                                                                                             pigs
       i                                    described refractive changes of lens
                                                                                      <:.urv,1t:11re and cortic.nl fi!><..-n; 11:i<li<:11tive
                                                                                                                                               of
       !                                    myopic chan ges and/or incid t:nce s of
                                            usiug slit-lamp biomicroscopy exam
                                                                                    h:u.i op:1c i1y or dis.:olorat ion when cva.l
                                                                                                                                          ua~d
       i                                                                             ination, idtlwugh 111) ocular abnormul
                                            were observed in rhesu s monkeys durin                                                          itics
                                                                                           g daily oral or dcm1a1 ln:allll(:111 with
                                            DMSO for 9 to 18 months.


  I                    14.       CLfNICAL STUDIES


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                                 109                                                                        110

                   14.1       Plvotal Studies in O:«coarthritis of lhe Knee

                              The use of PE'NNSAin Topical Solution for the trentmcm of the sign:;
                                                                                                             and
                               symp1oms of ostcoanhritis of the knee was evaluated in rwo double-bl
                                                                                                             ind
                               controlled trials conducted in the US and Canada, involving patients 1rea100
                                                                                                            with
                              PEN;IISAJD Topical Solution at a dose of 40 drops four times a day for 12
                                                                                                         weeks.
                              PENNSAIL> Topical Solution was compared to topical placebo (2.3% DMSO
                              with olher excipients) and/or topical vehicle solution (45.5% w/w OMSO
                                                                                                            with
                              other excipients), applied directly 10 the study knee. In both trials, P~SA!
                                                                                                              D
                              Topical Solution treatment resulted in statistically significant clinical
                              improvement compared to placebo and/or vehicle, in all three primary efficacy
                              variables-pain, physical function (Western Ontario and Mc:vlastcr Universiti
                                                                                                              es
                              LJ<J.I OA Index (WOMAC) pain and physical fllnction dimensions) and Patient
                              Overall Health Assessment (POHA)IJ>atient Global Assessment (PGA).
                              N11mcrical results are summarized in Tables 3 and 4.
        Tuile 3: Cbunttc in treatment outcomes a!ttr 12 wnks oftrcatnu!nt in one study
                                                                                                                of efficacy of
       Yri'l~!~1.C1.111c,1 s,i!~.ti!l!'__                 __ .... ___ _ ..___ __ ..........-. - ........... _____,


                                                                                  r·~"l
                                                                                Study I
                                     MHn baseline store and mean change In efficacy \'llrl:1ble$ after 12 weeks
                                                                                                                or
                                                                               troatmc11t
                                         Mean: i
                                               · .,,"'8Aiii' .
                                     Da.seliM score                                            p1;<0bo      "T,Oi<0l wwa,' .
                                                                  N~1S4                     N>-ISS                    N•l61
        Cr:fic:ac Varfablc
       WOMAC pain score              ·    IT
                                         ..                 ...   -6.0           · - - --_ 4)... .......... ·          -4T..

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       ~~A         ··-····"_j            -~:~..=r.......
        p!au,b<> forn:ui111iun ir:<lltd~ 2.3% DMSO
                                                                  -1.0    ..                -0.~----··- -'- - ...-0.~            =J.
      [ l\'eh,ctefo:mat,nio•: included 45.5¾ OMSO         ..,_ _ _ _ _ _ _ __ _ ,_ _ _ __




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                         Tabl e 4: Cbuu&e in frtat men t outc
                                                              ome s after 12 wcck8 of trear men




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                     l'F,NNSAID To_e!£a;
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                                                     So::   basnline scor un1I mean.ch:~ ;i.rn~f
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                                                                                                t in one stud y of efficacy of

                                                                                                ficacy ,•arlables nfter 12 wed<S of      i
                                                 I   Mettn Ba;ellitc    l            treat ment
                                                                                    PENNSAI» ·- ······ · r·-·- -Toplcai~~hlcl~y· I
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                    .!.~~~ .~.-.~,.9-·2~L... _ ...... _ .···-- -..
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                                                                       Jj . . . . .--·----IS.3·------_I ______                   ··-··-··
                     funcuon (L1kert 3, l,
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                    0- -6 ~1 --- ·- ·····--·--·                                                              l
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                    ~~'.~~12i.~_
                               «.1.~·i~iocl'.~~:~~~-=--~···-.:.H... .... ...l..... _,· -··· -·-1.Q___-·····
                                                                                                     ...____                              I
                    16.        HOW SUPPLIED/STORAGE ANO
                                                                              lIANDLJNG
                               P.hJ,NSA ID Topical Solution is
                                                                 supplic:d ns 3 c!c;i.r, .:.110:lcss to faint
                               solution containing 16.05 mil of diclo                                        ly pink-ora.oie
                                                                     fenuc ~,1dium per roL uf solution,
                              density polyethylene bottle with a white                                      in a         white hii;h
                                                                               low·d.;i1sily drupper c;ap.
                              16.1     NDC Number & Siu

                                       IS mL boLLlt: (physicinn sample)
                                                                                      NOC# 23635-310-11
                                      60 mL bottle
                                                                                      NOC II 23635-310-60
                                      1.50 mL bottl e                                 NOC 1123635-310-1 S
                             16.2     Storage

                                      Ston: at 25°C (77° F); excursion
                                                                       s pcrminod to IS-30°C (59-86°1')
                                      Controlled Room Temperature).                                     (Sec USP

                   17.       PATIENT COUNSELING INFORMA
                                                       TION
                         See Medication Guide.
                             17. l   Medication Gulde

                                      Inform patients of lbe following infor
                                                                                  mation before initiating 1hcrapy with
                                     NSJ\ ll) nnd periodically cluring the                                                  an
                                                                           cour~c or    ,mgviug ther:tj)y. Emow,1i;e pa;ic1
                                     to reiu.\ the t--SA ITJ MQd kation                                                    11s
                                                                            Ouillc 1ha, .1cc()n1panie:. c.ich
                                     diSi!Cnsc-.d prior to using PENt-iSA)I)                                    pccscripuo!l
                                                                             ·l'<,pical ~olu tii>n.




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                                          17.2         Cardiovascular effects

                                                       PENNSAID Topical Solution, like other NSAI
                                                                                                        Ds, may cause serious CV side
                                                      effects, such as Ml or slroke, which may result
                                                                                                       in hospitali7.ation and even death .
                                                       Although serious CV events can occur witho
                                                                                                        ut warning symptoms, instruct
                                                      patients to be alert for the signs and symptoms
                                                                                                      of cht~t rain. slwitness of br<:-ath,
                                                      weakness, slurring of speech, and to a:.k for
                                                                                                    m:idic:il atlv1ce when obSi?rvin1~ any
                                                      indicative sign or symptoms. Inform patienls
                                                                                                    of th.: importance of this follow-up
                                                      [see Warnings arul Precautions (5. lj}
                                         17.3         Gastrointestinal effects

                                                     f'ENNSAH) Topical Solution, like o1hcr NSAIDs.
                                                                                                                 lll3j' cnus:- GJ discomfo11 nnd,
                                                     rarely , St:!fou~ GI sicle effects, s\lch as iilccr
                                                                                                         s and bll:eding, which may re~ult in
                                                    hosri toliu tion and even death. Altho\
                                                                                                     1~tb scrioui; Ul tmct ,1!cemt1011s nnd
                                                    bleeding can occ.tu· without w._1rning symptoms,
                                                                                                             infonn patients to be alert for the
                                                    :;1gn,1 and sympion1s ~f ulceration and bleed
                                                                                                          ing, and to ask for medical advice

       l
                                                    when observing any indica!i\'C sign or symp
                                                                                                             tom~ including epi&m;tric p,vn,
                                                    dys1••:psia, mc:lcna, and hematcmcsis. Instruct
                                                                                                            patients of the importance of this
                                                    follow-up {see Warnings and Precau(ions (S.2)]
                                       17.4         Hepatoxicity

                                                   Inform patients of the warning signs and
                                                                                                    symptoms of hepal <1 1oxidt y (e.g.,
                                                   nausea, fat.guc. lethi1rgy, prwitus, jaundice,
                                                                                                  right upper quadrant 1er.deme:1S, and
                                                   "flu-like" synipivms). If lhcsc occur , instru
                                                                                                    ct patients lo ~\op therapy with
                                                   PENNSAID Topical Solution and seek imme
                                                                                                  diate medical therapy [m• Warnings
                                                   and Precautions (5. 3j].
                                      17,5         Adverse Skin Reactions

                                                  PENNSAlD Topical Solution, like other NSA
                                                                                                        IDs, can cause serious systemic skin
                                                  side effecL~ such as exfotiative dermatitis, SJS,
                                                                                                              and TEN, which may result in
                                                  h.:>5pitali,..it.ions and t:v<:-.n de.1th . Ahhough ~eriou
                                                                                                               s systemic ~k.111 re:1cnons may
                                                  O«-UI without warning, instruct patien1s to
                                                                                                      be alert for the signs ,Uld symptoms- of
       l                                          Hkin rosh ond blisters, fover, nr n1her .signs ofhyp
                                                                                                           <,'l'SCusii1v ity such as itehing, and
      •                                           10 ask for medical advice when
                                                                                           observing ony imlfoatiw :iigns or symptoms.

      l                                           Warnings tmd Prl!caurions (S.8)].                                                          [see


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                                                    Advise patients to stop PENNSAID Topic
                                                                                               al Solution immediately if they
                                                    develop any type of generalized rash and
                                                                                             contact their phy$i ciru1s as soon as
                                                    possible.

                                                    PENNSArD Topical Soluti on can cause
                                                                                                   a localized skin reaction at the
                                                    application site. Advise patients to contact
                                                                                                 their physicians as soon as possible if
                                                    they develop any type of localized application
                                                                                                   site rash.
                                                   Instruct patients not to apply PENNSArD Topic
                                                                                                   al Solution to open skin wounds,
                                                   infections, inflammations, or exfolialive denna
                                                                                                  tilis, as it may affec: absorption
                                                   and reduce tolerability of the drug.

                                                  [nstruct patients to wait until the area treate
                                                                                                  d with Pennsaid topical solution is
                                                  completely dry before applying sunscreen,
                                                                                                 insect repellant, lotion, moisturizer,
                                                  cosmetics, or other topical medication.

                                                  lnst.ruct patients to minimize or avoid expos
                                                                                               ure of treated knee(s) to natura l or
                                                  artificial sunlight.

                                      17.6        Weig.ht gain and edem a

                                                 Instruct patients to promptly report to their
                                                                                                physi cian signs or symptoms of
                                                 unexp lained weight gain or edema following
                                                                                              treatment with PENNSAID Topical
                                                 Solution [see Warnings and Precautions (5.5))
                                                                                              .
                                     17.7        Anap hylac toid reactions

                                                Infonn patients of the signs of an anaph
                                                                                                 ylacwid re:icl.ivn (<".g., difficulty
                                                breathing, swelling of 1he face or throat). 11'
                                                                                                dwsc ocwr. in$trnct patients to seek
                                                immediate emergency help [see Warnings and
                                                                                                 Precautions (5. 7)].
                                    17.8        Eff~cts during pregnancy

                                               Instruct patients who are pregnant or intend
                                                                                            ing to become pregnant not to use
                                               Pennsaid Topical Solution. (see Use
                                                                                          in Specific Populations (lL!) and
                                               Impairment of Fertility (13. l))

                                   17.9        Eye Exposure

                                               Instruct patients to avoid contact of PENNSAID
                                                                                                 Topical Solution with the eye;;
                                               and mucosa. Advise patients that if eye conta
                                                                                            ct occurs, immediatel y wash out the




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                              eye with water or saline and consult a physician if irritation persists for more than
                              an hour.

               Revised -021'.2009r
               Manufactured for:
               Mallinckrodt Brand Pharmaceuti~ls, Inc.
               Hazelwood, MO 63042 USA


              Manufactured By:
              Nuvo Manufacnuing (a division ofNuvo Research Inc.)
              Varennes, Quebec, C1111ada JJX IP7




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                                                                                                                   Med~ tiou Guide
                                                                                                             For
                                                                                    Non-stcroid•I Anli-InOtllll11111tory Druga
                                                                                                                                          (NSAIDS)
                                                              (See lhe end of this Medication Guide for a list
                                                                                                                                of prc~cription NSAfD mcdic,nes.)

                                                 Wlt:11 is the most impor tant inf11111mtim1
                                                                                             I ahoul d know abo11t medicine., called
                                                 Steroidal Anti-laiflammatory DJ"u~ {NSA U)s)?                                       Non•

                                                             NSAIO mrdi~u,es m~)' h1cna,e tbe chanc
                                                                                                   e of a h eart attack or stroke that can lead
                                                             lo dcuth. This cll()nCO m.:rc-M~s:

                                                                        with lon11er use ofl'<"SAII) 11wtlicincs
                                                                        in 1=,>l t who h3vc hea11 Ji.sc.1,e

                                                            NSAI O medic ines ~honhl aevrr be used
                                                                                                        right before or after a heart 11111:iry called
                                                            "l'.Oronury nt~11· h-ypass ,:.i·afl (CABG).''                                              11


                                                            NSAJ D mtdic b1c, ,·:111 uu~~ ulceu nnd
                                                                                                    bltt-dlng in tbe dom1ch and lntest tnu 11 a.ny
                                                            time during          tl'\':11111cnl. lltccr j a11l'I blrcdiug:

                                                                       cnn haptlCn wi!IK•ut warnin g symptoms
                                                                       may .:~u~c d"alh

                                                           The chanc e of a penoa gettin g llll ulcer
                                                                                                      or bletdl ni: lncl'Cllses with:
                                                                      taking medicines called "corticosteroids" and "antico
                                                                      longer use
                                                                                                                           agulants"
                                                                                                                                                                                    I
                                                                      smoking
                                                                      drinking aleohol
                                                                      older age
                                                                      having poor hetllll

                                                          NSAID medic ine, ahould only be ucd:

                                                                     exactl y u prescr ibed
                                                                     at the lowest dose possible for your ll'Catment
                                                                     for the shortest lime needed

                                                         Wb1t are Non-Steroidal Antf.l nfiam mator
                                                                                                                         y Drugs (NSAJDs)?
                                                         NSA!D mc,.1kincs 111e useJ to lrellt pain and rednes
                                                                                                             s. swelling, and heat (Inflammation) from
                                                         medic al c1md:liM, such a,:




  x
  ~
J ':-------------,C,:-o-p-y'"'.pr-.,:::,-:;,i'j'd11:::d;-.::by:-:-;;U;:;;S;;P;;:-ro;::;;1::rcim=-::,h::,_:--;p;;
                                                                                                               :1-::g"::Q-:-,.-.---
                                                                                                                               .. -,,.._-·.- . - - - - - - - - -
                                                                                                                                                                       HZNPENN_00038613


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                                                different 1ypes of arthritis
                                                menstrual cramps and other types of short•term pain

                                       Wl10 should not take a Non-Steroldol Anti-In flamm
                                                                                          atory Drug °'SAT O)?
                                       Do not take an NSAID medicine:


                                               if you had an asthma anack, hives, or other allergic
                                                                                                    reaction with aspirin or any other
                                               NSAID medicine
                                               for pain righ1 before or after heart bypass surgery

                          Tell your healtbcan: provid er:

                                              about all of your medical conditions.
                                              about al! of tile medicines }'vu take. NSAlDs and <:<,inc
                                                                                                        ether nwdicine$ con interact
                                              with each other and cause ~riotiS side effects. Kec11
                                                                                                    u list of your mcdieinc8 to
                                              show to you r bulthc nre prcwider nud pha rni:1ds
                                                                                                   l.
                                              if you are prcgnanL NSAin nce.Jici11e, i.l1ould not
                                                                                                  be used by pregna nt ~·omen late
                                              in 1heir pregnancy.
                                              if you are breastfeeding. Talk to your doctor.

                         What are tbe possible side effects of Noa-Steroida
                                                                                    l Anli·J nflamm atory Drues (NSAlDs)'!
                         Strlous ,lde effecrs lllcludc:
                                                                                       Other side effeds include:
                         • bean att3clc
                         • $troke
                                                                                       • s1omach pain
                         • high blood pr,:uurc                                         • conS1ipation
                                                                                       • diarrhea
                        • hCt\1' fAiiure Imm l)o;ly ~wdlmt (fluitl retention)
                                                                                       • gas
                        • kidi,ey J"Ub1ems inc'.udil1l! k!rlr,¢)1 tlllll!te
                        • bleeding and ulcers in lhe atomnch and im~ine                • heartburn
                        • low red blood cells (anemia)                                 • nnusca
                        • lifc-thrtttening $kin reactions                              • vomiting
                        • fite-1hrt~1e11in~ nlicrik •"<'tttliu?t~                      • dizziness
                        • li"¢r ;>Mb!~ms inch:di, ,~ livtr futlurc
                        • :mhma e1tsck~ ,n pcop!e who lm-e asthma

                        Get emergency help right away if yon have any of
                                                                         the foUowing 3ymptoms:
                                    sho:tness or breath or trouble breathing         • slurred spee<:11
                                    chcsi pMN                                        • swell in& of lhc face or tltroat
                                    Wttklle$s in one pan or side of yoor body

                       Stop your NSAID medicine and call your health
                                                                     care provider righl away if you bave any of the
                       following symptom,:




.A:""
   · ___ ___ ___ _C_o_p_y_p-ro-v""id""e_d.,..b"'y-,llS.PTO
                                                                ftoin the PIRS. rm~= n~,.~.•.     - ... hw, .. . . . . . .
                                                                                                                                          HZNPENN_ 00038614


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                      nause!
                                                                                                  • !ltcre 1s blood in your bowel
                      more tired or weaker th3JI usual
                                                                                                  mo-.men t or it is ',lack and
                      itchir.g
                      your ~kin vt t:ye!i look yellow
                                                                                                  Sticky hke tw-
                                                                                                  • unusual weight pin
                      stomach pain
                                                                                                  • slcin rash or blister, with fev..-
                      llu-hlte ,ymptoms
                                                                                                  • swcll,n& of the arms •nd legs, hands and feet
                      vomit blood

          These are not all the side effects with NSAfD mcckinc~. Talk
                                                                       to your heahhca rc provider or
          ph11JT11ncist for more infonnation about NSAll) medtemi:s.

          Other information about Non-Ste roidal Anti-lnOammoto
                                                                                                        ry Drug~ (NSArDs):
                      .\>1p1rin is ~n NSAID medicine but it d,?C!l 1lot increase the chance
                                                                                            of n hc~rt ntlack. Awirin
                     cun ~aw;c hleed11~ in the l.,rain, stomnch. nnd itHes,ines. Aspirin
                                                                                          can also {:imsc ulccr1 i>1 the
                     stomnch anJ ioteiline s.
                     $<-me \If the~ 1'SAID mecicines are w.>ld in lower doses without
                                                                                           :, pr-0scrlptk1n (<,ver-th,··
                     e<>untet) Tulk to your healthcare pt\),•iderbcforc using over-lhc·
                                                                                         c-:>untcr N~AII)~ for more
                     th.1r, IO days.




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               11niul
       · £0.°~(~~......._ _.......
                                          Fl~t(•l. c.i;;n;;m, Vo!Ulre;;, Allhrotc<'" (ec,mhY,i:lwTih......
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                                        , Dolobkl
                                                                   IO Tb~:c,il Sok.ri<;i, .. --···- _ __

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       j--f~;pr~fcn
                    ·. ·----.. . . . . ._i;r;;~·.Nnlf!m,00 . . . . . .__. . . . . ___. . .. .- =·.:.1
                                                  , Mn?r 11. Tab•P:ofcn , Vicoprofen• (combined with                               t.y,l<OC<l<loo71
                                       _ _ _ _ _ _.,_Co_,n_1bUl'OXTM (combtned with
                                                                                    O))""A~k>II:)
       tr,;;iom<llh;ll:itl                .... ___.,     lndo\'iu. {ndOC;;;s,f,°indo·:L<,mmonTH, in<l<l1"Cdlfi$.<lllri,i......_
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       i Kt«>profcn                                    • Oru,11.t
       hc.;""'LK.            .....
       ~'!!!! .~.~ ~ ..............
       · MeloxtClm
                                              --.1     1 Tondol
                                                         l'on.11\'I
                                                       . Mob,c
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      l. ._..._,____
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                                                                  Anaprox, i\naproxDS, E!.',N•p<>xy,•. N'.\>tcl,IJ'•. ' ~j
                                     .. ____ ......- j~'1~'P.p-:_(C"1>+.¢Kf1arJ widt..1.~.·~~lc!......___........
                                  +~!~~:~: . . .--- ---.. .--............ . .                                                                   . ...
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      ·--~:
           1
                                                                        Tolcclin I>$. Tolectfn600                   ....._ ........--....- - - ~
       •Vicopro'fe~ contains the same dose of ibuprofe~·as- o;er-the
       used for less than IOdays to trcnt pain. The OTC NSAID label
                                                                     ~unter (OTC) NSAID,        is ~sually
                                                                      warns that long term continuous use
                                                                                                                                          anl
       may increase the risk of heart snack or stroke.




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                                                                     " nn                                   ,,,..,.,..,-,,n-, ,;
                                                                                                                                                            HZNPENN_00038615


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      1111s Mtdicalw,i OtdtM hM b11e11 approved hy the U.S. Food and Drug Administrotfon.
      Revi:1ed: Mor.th Year




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                                                                                                                                                                                 128


                                                                                                Patien t Instructions for Use
                                                                                                    PENNSAID [pen/s ed]
                                                                                                     (dictofunac sodium )
                                                                                                       Topica l Solution

                                           Your doc.tor has prescribed PENNSAID-* Top1cal Solution to
                                                                                                      treat your pain from
                                           osteoarthritis in your l<nee(s) and Mlp you milnage your
                                                                                                    daily activities better.

                                          Before you use PENNSAID~ Topical Solution:
                                                 •           Apply Pl::NNSAmt: Topical Solution exactly as your doctor
                                                                                                                       tells you. Do not
                                                             apply PENNSAII)~ Topical Solution anywhere on your body
                                                                                                                        other than where
                                                             your doctor te!ls you.

                                                •            Apply PENNSAlD&Topical Solution on clean, dry skin that
                                                                                                                     does not have any
                                                             cuts, infections or rashes.
                                                •            Use PENNSAID4' Topical Solution 4 times each day on your
                                                                                                                      knee(s).
                                                •           Do not get f>ENNSAIO'~ Toplca! Solution In your ~e!;, nose or
                                                                                                                               mouth. Only
                                                            use PENNSAID• Topical Solution on your skin (topk:al use).
                                                                                                                            lf yc,u get
                                                            PENNSAID,; lopical Solution In your eyes, rinse your eyes
                                                                                                                          right away with
                                                            water or saline. Call your doctor if your eyes are Irritated for nmrc    than one
                                                            hOur.

                                        Steps for using PENNSAID9 Topical Solutio n:
                                        Step 1.            W,\Sh your han<ls with soap and water before and after applytn
                                                                                                                         g PENNSAIDe
                                                           Topleal Solution.
                                       Step 2.             Your total dose for euch knee is 40 drops of PENNSAJO"
                                                                                                                  Topical S{;lution. You
                                                           will use 10 drops at a time. Put 10 drops or PENNSAm~
                                                                                                                 Tcpical Solulicm
                                                           either on your har:<.I or directly on your knee.
                                                          see Figure l0A.




~   ------- ---,c: ::::op :::y:- -:p:-=:ro;:;:v;;;idc;:d:..;;by;;U"'SrapmTOM-fro::m;:-;;:!h:::-0.:Pl;-;:
                                                                                                        ;R~~-;:1..,"'."'.n:"-:,,:-,.;,;n,..:-:,.:-:,-:-::       ..-;;,.;:;,.,:;;~,,;:::
                                                                                                                                                    •••"'."'.M~~:-::               .~;;;,, .:;-;,r ;------ --   :-:
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                      Flgu~ I. 01.!ptnse 10 droPJ of PENNSAID* ~ta time


                      Step 3.     Spread PENNSAto® Topical Solution evenly on the front, back and sides of
                                  your knee. Repeat this i;tep 4 times so that your knee is completely covered
                                  with a total of 40 drops of PENNSAJD$Toptcal Solution.
                                  See Figures 10B & lOC.

                      Fi111re 2, Spread PENNSAlD<» evenly on the front, and sides of your knee


                      Figure 3, Spread PENNSAID• ennly on the back of your knee


                      Step 4. Repeat steps 2 and 3 for the other knee If needed.


                     After you use PENNSAJD®Topical Solution:
                     Do not
                         •        cover your knee with clothing until your knee Is completely dry
                         •       put sunscreen, insect repellant, lotion, moisturizer, cosmetics, or other topical
                                 medicines on your knee until It Is c:ompletl:!ly dry
                         •       take a shower or a bath for at least 30 minutes after you put PENNSAIO*
                                 Topical Solution on your knee(s).
                         •       use ht>.i.lting pc;1ds or apply bandages to the skin where you have applied
                                 PENNSAID*' Toplr.al Solution.
                         •       expose your skin to sunlight or artificial light (tanning booths) where you
                                 have put PENNSAID® Topical Solution.


                     How should I store PENNSAID® Topical Solution?:

                         •   Store PENNSAID~ Topical Solution between 59°F to 86°F (15°C to 30°C).


                     Keep PENNSAIDfll Topical Solution and all medicines out of the reach of children •



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                     All {'t.h.-nls, ruhli<:a1il,as, s~h-ir,tific .11ticltl~. web sit;,s, :,ml
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               the s;,111..:c~tcnla~ irit had b.'<;'ll inc<>.,,.-,r..11,).I by rcfom1.:
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              ri;, i~ ord(l(;t11t1m11;;.
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              d 3itt1>. fllffil(;ml.Qt\!, ull cl~im, includic~ ..,11 r,rill,i:1(11
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              1u, wdl osn11 cl,11mt lrcun ,my ottd ull prlt1rity do<:urrr,.
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              writtm d,.,,.,1ip!im1 p,)((i<>n 11f tho ,11e<'ificalh,n, mid Apflll·
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             ern,t. rl.<$"Cl'.\'C the riJl..!lt 10 1•hysk,11Jy im'\>rJ••r:t•c imu
                                                                                      lhe writ-                in3s falti!\gwithir. lhcg<."IRTic dil!Ck~<urc«Lln (,,m, p.111,;J
              t,"llt'.-<!;,·,iplicno:31\)1Pllicrpoi~irnu1f1hc~J)()li,-a:loo,:,nya                                                                                                                     1J1..-
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             1111 ~llch clmrris. 'T11us, ·r..1 cJtmn11I,~. 1111,J.:r M ci,'\.'l\m~::a,1
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             wriil<eu <l~'$<'.rir1i(ln f,)( odaim 011 l.11<· ,,u.?nil,r, 1tia1 :h,· pr,!<!I~.-                                                                                                        th,,
             w,11'11i111j. •>f lhc claim i~ 11,1t s~'I ft,rth in lm<'I: verbn ill                              ~x<"i,-..:d    m;ne,fal      i~  $p,,e:11, 'ally rccii,'<11,ctcill.
                                                                                        wri1lc11                    It i; .,,_., LO be u,Kl,·-s1ood tl~,1 0$ used h,•r,·in Md
             J.,,;cs1pti1•11 J)()tl~'n cf 1hc p.11m1.                                                                                                                                            m the
                                                                                                              UJ'l'COO<-<l ~l~ims, U:,- ;i;~11!Ar fo,ms "a." ":u,.- ;,ud "th,i'
                  Th.,1:taim,1 will re ioi.·rpM,-.! a.",,tdin!:\ 1,, k:w. l!ow<"w1·.
            u11tl ,~itwilh~t:,~lil1g 1hc .ill-01,1<ld pr ,,.,,~:l.'iv,~! ,,,.,•. ,,r                     c~   indu~:e         plllml     1-·l.:n:11c,,, w1k•~ 1t-<: ,»nu:xt ct~i,rly <lk;;n~,
                                                                                            ,lifli.           01h~•rwlsc.. ;he t;:rrn "X unJ!or y~ m,'llns ·x- ,w .., .., N
            culty of inlcs,,tt-tir.g ,my cl3ini r,r rm1i,~~ •lt<>r:,o(. u11<'..:r                                                                                                                  l">th
            c,r.~mlJl•~11ees muy n11y n,'!ju~tmcnt or mnc:11h11c,n1 11f :1 claim
                                                                                                 t)c>         ·-x:·    a.ad    "Y'.    nncl    the h,11i,r ..... foU,.,wing 11 1~1uu ,l,,-;i,yi;11<.>,
                                                                                                              r,"h th<: 1•!1~ m-..1 siu11,nl.1r f1.>f(.'lS or Uiat o<1u•1. In
            or::s1yp<>11i<>1Hhcx..-of1h1ri"gpl\l<t.:11ti1»wf1)).)lJrl'lirnlio1l,>1                                                                                                          r•kliLoo.
            bfllllg;:itiu,,.- k;,du11; to lhis f'-l1t.,n1 lxl im>1t1wi.~l a~ bltdng                           wl,.,.-c fo.:lur,s or a.'l'(:Ct$ uftt,e im·Mtinn m-e tl,>scfibe
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                                                                                                         ,,, 1~1111s of Mni1i11,h gro:11», ii i, im.:nd,'<.I. ,u1d tho,,• ~killed
            tor kited ,my riv-,t Ill :uiy :ind all t!,1uiv.ik11~, IJt<."ru, r tbal                                                                                                                     in
                                                                                                ,lo          1hc !If\ w,11 tc.."1,ww_.~ 1hat t.!w inv~nti<-11 .,;nbztl<.'t.\< w1<l i<
            r,ot fonn a 1•1111 11f th.! rri<>r JM.                                                                                                                                                 :.:l•o
                 ,\ll uf !l.w fcatm~~ <.fi~clt -~~-d 111 (his ~Jw(·Hk,11ion may
                                                                                                             llierol>)      ,!,•,c1ibc    d  i11tcl'lll~ of  M)'  iulliv  idua1mc-rnl•.-rnud auy
                                                                                                he           ~11bi:;10,1r ,lf nwrul:...-r,; 1>f the M:.:kush f!t,:)UJ>,
                                                                                                                                                                                  ..i.,: ,,,•plic:mis
           ~1,mbio;,,l ,11 uuy o.irubir.a!i<"I. Thu,.. u11h.-.s expr~-ssly suusd
           ,l1.hc1wise, .z.,c-h fr:,turc ,li,d,,~crl i,; 1,nly un <1XJlllJ>k                                 re~"~          the    n!).hl  t<•  r.•\i~   th.- "l'l'li,'1tit>11 nr dainu; tu rekr
                                                                                            nf :1 ;; •1-:c:itk>:1Jly 10 any indi\•i,h1al mett\ll<:r vr uny
           j/~11cfic ..-rJcs <)I' "'lui,·ull'l!l ,Jr ~i111ilar ll~,ture~.                                                                                                             "ul•w,•up n.C
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                 lt is "' he und;;:n;tM,I tlmt while 1hc inv.."r.?ion h,il< been
          descril><.<tl i.n e<m1111wti,i11 with the <lt•t<nlcd d,•script                                          Oth,~r n..>nlimitini~ <'JnbodinN'IHf :ire willm, th<e f<>ll<,win1
                                                                                             iPn             dm,u~. fhcP11lr:t11 may 1iu1 l'<l intcrpn•t<)t1 ,,, t,c liNli1t•!I to .1
          thereof, lhc fot1.-i,1J1~ ,k'5,-riptinn i, lntcnd".I ,., il111s1ro:                                                                                                                       tltc
                                                                                          c :i,141           sjl('cilk o:1<an,pk~ nr nonltmitin!; .:inbodi11.,·u1s or ntd?\v<b
          n<)t llmit lbc SOOi"-' ,)f1he itM·Jnion. "11kh is <!clin,:rl
                                                                                       by the ,I(> >1""-'i!lt"!llly :111d/,1r i-xr,re$sly di,d<>s.'\I l':0:1,in.
          SC.1f><.' ti! the .tpp<:ri<led daim,, Tlm~. (i'!lm tit<.' Jci~oiu                                                                                                         U:1<kr uo ~If·
                                                                                           t,. ii           t11rr,st:J..UC<:S!W1ylhitfl<tt.:.11hcin11.•rpMc<1to1x:limil<'<lby
          will h.1 nppr.•,:iat<.'lll llt:11. uhllOUj>.h •rttific 1M1·1lim                                                                                                                          ml)'
                                                                                              i1~           ~bt1:1nc       nt mad.. h)' ,my Ex;1m:au '" llll}' ":l,.:f 1•f!icial or
         tmnr>t.limcnts of the ,n\"1t1Hl>t )ww l1C,·n d<'<crib<.-v 11<·,,~r,
                                                                                              lbr           cmpl•))'<      X' .-,J 1h,~ l"dt~r,1 nnd Tr11,le11,;1T'..; Olli,-c unlc-1, -~1d1
          th~ p!lfl><.>S'-' of lll!l8!rU(ion. ,a.-i,,u, m,><ii.tl.:mbm. u1>1y
                                                                                               he           <!,tt,~rncut i, s,,....-illc:illy a1.1<1 w,tlmnl qu.-,_lilila1io:1,.u tCS<'r<'J
         1Ji:1dl: witbcut dt-viafo~ fmm lh: ,'J'irita:.K
                                                                   l i;cor-•of lhc 1,r.-cn.· ,s •ion c,.11r.:s~ly ad,:p:~'1.I in,\ rcsp<11w                                                             ·
         tiou. 01.!:lertl>'J•t<:1~, miw11,!11i;L-s. nnJ n\<11!iJic,11i,1Jl.$IIN wi1h,o                                                                             h-.- writing by ,\('r,lic:int~
         1ii.:sc(l1,.:~,f1t,.- fol1o-' i•11! tl~im.1111>,I tlw rr.::l<'nl ,mcmi-11
                                                                                            1 i>                Wcclaim:
         1101 limited t"<4't')'t as b} lh,• uppcnded .-lain,~.
                                                                                                                .I. /1 ww1!:o,l for 11p11lyint1, mpic;.I) HJWtilS '" a kn~-t:
               Th'-' ,f><."!:ilic mcthrxi• amt COmf'(1~i1i,m~ de...::tib<ld herein                                                                                                               ,>I':,
                                                                                                            p:ilict:! witb ;,uln. !lie Ul<'lh<.><1..:t,mJ•risinj>.:
        :m.• r.-pc.?smtatiwo; p<'\"k'"'"' 110nlim' tinj::emM."1imt'nt
        ~,~ .-xcmpl3.cy 1111d WI inleod,.,_I "$ fimiU<tk
                                                                                         :IM,I        "'       !.:'! a pat,cnt (ll,t:u11i11s 3 mp,c;,J tlio:l<•i~Mc: prqmr.it
                                                                     ,n,- on u,.,. s,,r,pc of                                                                                                 iM,
        the io,,~11i<•11 O,h.,, ,•l\fC-Cts. ~sr,c..:1~. :I.(>({ .:mlx"lm1cu1;                                  (h, 111,• (l:,li,~11 l:>cit\l' rnfomi<~l lo:
                                                                                          will                      i) npplv ,, Iii~! nu-:li...llio;i ,·,lll.Si.a;Jlll of the l<>p,c~I
        t><.'\Cnt to 11:m:<, ,kilfod ia lh· ort \JJlllll c.;,,n~i,lerr:1;..,n <1f
                                                                                           this                          clh.·lore1i. \ pu:p;.tr.1tion mm, m~•• ,,.f !hu kn~ c>f :.uhl
                                                                                                                                    4

       spxi!i,•;ition. ru:,d ai<' cnc<,mr,.i,~cd wi1hin 11"' 5pili1
                                                                                      of the                             r~tiem ,~. !ri,m ,JM<?ll:lllMIJ~ of 1J1c knl'l' u( ~:,id
       111<'t.'(lt~'" n, dc1iocc.l hy 1!1e ~f'I"' vf lhc d tims. II will
                                                                                             be 5~                       ,~tti!!nt. \\.~rein ihc lot,'N..:<tl Jfok,f~11;K 1'1\!p;3J'3
       '"'"!Hv :1p;,:mint ,<> one skilk:.J in th" ttrt that va1:,,inp. ~ul»li·                                                                                                                   t1un
       tmio11~ (u;\l tn(~lific~1i.,n, (UUY 00 fl~llW ll) 111,, UIWUli<lA                                                 C<Ul'lf"i~,-s a U1cn,p<..-u1ic11lly cfftX:la'C :u1101Tnl of
                                                                                          di•-                           didofc =-. ,,, :1 ph,,m,."'-"-'ulically a<i:er:11Mc .cah
       ck,m h~r~;,, ,. •tl••nl <k-1xtrti;11<, fMo.t the ~"3pc tUl,,I <tr:ri1
                                                                                             or                          th.:r,,,f, 1.a,! 40-'10% w,w ,luu~1hyJ $ulfoxidc;
       the ;11.,.,nt11111. Inc inwn!;on illn,t:mli"-'IY ,f.:s-,ribc<l t,,~-,,,u
                                                                                                                    ii) wait fo, th,: ircal~>d :n\!ll \o d1y;
      s.uii.1hl)' mcy I~ p111,.1kc d in 1\i., al:~·m:c of an>" flcm:mt
                                                                                             <>r ••                 iii) ,1ihk'lucs:.tly ~w!y a •Wl.,...ts>..'n. a11 usse..'1 r,'ll'?ilaut
      dc=ill\< . (If limiM,1111 oc lm1iw1i,111,, whicl.1 •~ nut Sp.."t·1(i-
      <·,!ily (.!i~ckw1.<d lt~1-oi11 us •~sCJlti11l. Th11s, for c::xampl(:. ,11 c;u:h                                   ur a s~CJmltn,'<li.:.itmn ooo~i'.1i11~ \>I ii 1<>1'1ct1l m~lli·
      i11s1>m<·c 11<.'A·m. iu ~nlimh it1t 1:mlx><lutlL'lits .u ,~~a!lljllt'                                             c;,tkm, which ,s t11hcr llvu, s:>kl /it,;t m...,1Jc:1lfon. 1,,
      th~,:,,.,-•.,,., ir,v,-ntim1, !hc terms ~«·mfm$1ny'', ··uu.lmliQ
                                                                                        !>    ,,r                       ~,ii.I  tr\'Ct,·,1 ii""-' nficr <-•iJ ta.'l\t,,I :rr"a is <lry, "bcrtm
                                                                                          j>".                          •mid sttb,<¢<il\t'1\t :'lt)f)lic.1!1(11) !.l\'ClltS durt(tj/. II ~O\lfM •• ,
      "'~'f.ltit1inin!!-··, tt<:. 3.~ th he i\.., ~I Qp.3.o.sivclY cmd with..:ut
                                                                                                    1:,                 tr,:;,lsm~u ol .;:,i,l r~11imt witb ,3:d ;,iri<:._i <lick>fon.ic
      hmiu,1i,,.,_      ·uw          mcth<•m tt1td         rn...-=         illu>1r.itiwly                               ~"-'rar.,1.J<1r,, ,,orJ then
     ,lc.;..:rilMI hcrem ~ui111bly muy l>t' 111-:1,;1,cc<.i i11 di(li-ti!ll( onkt·,
                                                                                                              (c) the patient carrying-out steps i iii 03 informed




.J                               Copy provide<! bV USPTO fro1-n !ho PIRS lmaci• 03.lnb.as
                                                                                         ~ an (19J?!l'?D15
                                                                                                                                                                                                 HZNPENN_ 000386 9


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                                                                                              us 9,132,] 10 82
                                                             133                                                                                         134
                           2. Tli<! m<:lll!i,j l!,'t:,;rdit,r, to claim 1, wh.:rcin ,:iid                                     (c) ,ldmini,1l>J11\f! th,du,-1 ,11c1fa·,11ico. (-, thaknee conduct-
                      diclofomi<· 1m,psrotiou ~,,mpi:i;es r:bout 45.5% wJw lliu11.~hy;
                      sulli~~ide.                                                                                                  iuv; st<:;,:1 i-11i itt ,i=·,rd,mc._., with a m,v.liwn providing
                                                                                                                                   h,form:~.it1 n.
                          :l. 'i-li~ mcth,KI >.><x:urding to ,,k,im :I, whc~b $!lid 1hcm-
                      J!linic,lll)' -~rr',,c1iYc .Jl!lm,or <>f did\lknuc, nr a pm1rm,te.~1fi-                                 13. The mdi->.fo~>ortling;to ciaitn.U, wh.ir<.'iA SS<icJ iliel';)-
                      c:flly .!l't.'-'[l!nble s,,lt 1berei,(, i$ 2%w/w <licl:1fon:,c ~odiull\.                            peuticaily cl'ft.-cciv~ umc,um of diclofoo3<> is 2% w/w
                          4 . Th<: CIMrstl•i m:<;<)r<lin,r t,;, <:l!lllll 1, whctci,l ;.,fr<l
                                                                                                                          dic)ofemu: sodilUTL
                      ,li<:l<>!brta.;, rm.,p,im!ion fonhd wmp,·i~cs ethanol, l'~•pyl~n.:                                      14. A nmthod for ~1,plying lt•p.ical r,g,!l',IS .._, a knee of a
                      glyc<>I. m;;l wM~r                                                                                  pati<)fll wilf, p~ill, t'1e nic!l,od ,·@>pl'hiu~:
                           !\. llu:- lli<!ih,xl :l.~-c,,r-iin{l m clnim l. wh;.,rciu s:iid 10                                 Upf,ly.ing ;i first mc<li,'<ftion c,msistfol', of Lie h>Jlic~l
                     <iiclufou~.:. PY :l phl\tlll:l(;(:lili,·ally :lCC<ip!~l>k, <uit 1J::,,r1-o(,                                 dklofcni,c prcp~rnli.iJJ. to an 11rea t,f tlw knee i;f ~ ,id
                     <'<.lll'f'ri.~~ ~ ph,,wJ,l<'<.·uiie,iily occ,1,1,,hk· ~;1h .,f dick>fon~c                                    ;,.~tiem to fre>:! 1JK, sig!ls and symp;oms cf cskoartJ,ritis
                     $<?k~i--.l lhim:, ,w,cli"m :;.;l!,.:l poms:.iwn ~I!, a di0thyl;m,il1,,                                       <,f !he kl\% vf ,:;;;id. p;iti.,nt, whcNi11 lit,• l<>nic&I
                     suit, m :su otl)<>lamin~ ~i,!i.                                                                              dicl,ifomc, ftrcpamtion. <:<>tnpri~i'l: a thCl"&J>i'llii~1Hv
                            (\. Th~ meihoo ~cco:.li,l,l to claim S, wh-,1"Ci(1 s:iid , )                                          cl'!i1>:1ive :mwum :,( rliclllfon:'IC, m n ;,hurm:i;,-cmk,,lly
                     t!ick•1cr,ic, or 11 j\hmm.1,;~\1Hcaily t~cei,tehl~ salt there.of.                                            ao,:,'!)tal,l'-l ~1111 U1<:rcoJ: aiJd 4{j. SU% w/v, dim~'liiYI sul-
                     ,·c';mpti~~ diclofonn~":-;:.~dtum.                                                        ·                 k>xidc:                                                        ·
                           7. lhe fn,'th(1(i ucc<ird.,ui',. ,o ciaun 1, wherein said second                                  w~itiu8 for the t=tcd areu to dry; aud
                    medi,:,ni<m is nn NSAll),                                                                                subn·qu"1ntly ~ppJyit:g_a suci,ud 1m'Wc;1fl0u com,h•dnt; vfu
                           8._Th'.' m1,dil)d flcoordi,111, to c)3.i.m l, wlwrdn th-., ~,·mnd 10                                  topicuJ;,m~Hc.,tlrni. which i~ otlter limn ml?.:! lirst t;t\?lJj ..
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Case: 17-2149   Document: 36   Page: 473    Filed: 08/16/2017




                  Addendum 13

                U.S. Patent No. 9,168,304

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Case: 17-2149      Document: 36          Page: 474      Filed: 08/16/2017




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              United States Patent and Trademark Office

                                        November 09, 2015

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U.S. PATENT: 9,168,304
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 Lirnited. Re: Nolificatio~ l'uIJUAnl lo the r-~..teral Food, Drug, ruid     No. 8,217,078 issuedJt~ 10,2012; Exhibit 8 \I.S. Pal, No, R,252,83~
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       by progrci;sive tlegencrotlonofnrticulnrcertilnge. Syu1pt1>m~             dk-ni ond its pcnetrotion in sufficient qumtitics lnro underly-
      include joinI pain ontl irnpai~'CI movcmeut. OA is 1>00 of the             ing inflruned tisslX."S including the• ,;ynm·lum ur11J S)'lloviul
       lending cause, of disnbilily worldwide and a mr~or fu1ancial JO           Oujdofjoinlli. See Ros..-ru.1cin, TopicuJ u1,1e1ls in lhe trc111mcnt
      burden to hc.illb care 8)'S1Cms. ll ill cs1i11111too to otTec1 over 15     of rheumatic disorders, Rhew11. /)is. Clir, North 11111., 25:
      million adult$ in tho United S1otes alone. Se" Boh L. E.                    899-918 (1999).
      Osteoarthritis. In: DiPiru J. r., lolbcn R. L., Yee 0, C.. 1:1111..            I lowcwr, the skio is a signiflcom harrier to drug pcn11e-
      cdi11>n.. I'hon11<1r01hcropy: a patl,uphpiofogico/ appl'(J(JC/t.           111ioo, nnd despite: oearly four dccotlc,, ofe,m:nsive n:se-.irch.
      4th ed. Norwalk (<OWL): Appleton & Lange, pp, 1441·59 JS tJ1c 111«1'$S oftrruu.dermnl drug delivery in gencml re1ru\Ulli
      (I 999).                                                                    fairly limited with only u slllllll number oi traosdeanal drug
          0ml non-storoidlll onti-infllilllllmtory drugs (NSAIDs) tu-e           products commercially avai~1ble.
      a m11ins1ay in ilte u11111~1,1ernenl o fOA. 'ln"'Y hove ~11Blgesic,            In connection wilh ropi,ml doa11ge fonus applit-d to lhi:
      anti-inflllll1rno1ory ond antipyretic effects and nro useful in            slcio, u numbi!r of interaciionJ can occur including, vehicle-
      reducing pain and infl.l:nmalion. NSNDS aro however asso- '!O skin, vehicle-drug, and drug-skin. cnch can a!Tcct llic rele:u;e
     ciated with serious po:enli31 side effects including nausea,                ofa.n octivcagen1 rroma topical do11age form (Robens, M. S.:
     vomiting, peptic ulcer disease, GI baemonhage. and cardio-                  Slrocl\lrc-permcohility consideration.• in pert'.ulllncous
     vascular events.                                                            absorption, 111 Prcdictio,i o/Perr.u1n111w11s Penotratio11, i.:tl, by
         1iJpical NSAfDs olTer the p,mibilily of acbi1.-viug l,icnl              It. C Scon clal., vol. 2, pp. 210-221!, lBCTc:cMical Services,
     therapeutic benefit while reducing or eliminating tllc risk of ,,s Lontloa, 1991). Tims various rac1on ctu1 uJTc"C\ absorption
     S)'ilcmic side effects. There bas been wid<.'!ipn:ad la1crest in            rote, ruxl pcnctmtlon tlc:ptb including the active ingN(liem,
      this appl'Olll::h to treating OA, but data in suppon of the cffi-          the vehicle, lbc pn, mid the rela1ivc solubility oftll<.' oc1ive in
     t:.IC)' oflopical NSAIDs ia the lrCalmcol ofOA is limited. For             lhc vehiclev~-r.rus the skin (Oswlll,la J. et sl., SigniAt'llnce of
     instuncc, a snldy of 13 mndomiZl.>d placebo cruttrollcd trials              vehicle comJlO!iillun l: rclulioosb1p be1wceu topicul vehicle
     (RCf's) ofvarious topical NSAIDs tested spcc.i6cally forusc s~ composition, skiu punetmbility, and clinical dficacy,Jo11rm1/
     in tbetrcaunent ofOAroncluded 1ha1 they wcreootgtmorally                   a/ Ph11rm0Ct111tlraf SrfonreI, 60: I t75-l 179 (1971 )) More
     efficncious for chronic use in OJ\. (Lin ct al., finicocy of               SJX-'Cilically,dnigounhutc:ssucbassolubillty,si1.eondchorgc,
     lopical non-s1eroidnl anti-inflammatory drugs in the 1rea1-                as well as, vehicleottribme:s such ns tltc dn!g Jissolu1io0 mle,
     ment of ostCQ;irthri1is: meta-analysis of randontized con-                 spreading-ability, adhesion, and ability to alter membrane
     !rolled tri11ls, JJMJ, doi: IO. I IJ(,/bmj.38 159,(iJ902ll. 7C ss pl-rmcubiUty con Lum: s,gnilic:wl olfcc.:U; on perml'llbillly.
    (2004)).                                                                        There is sil!,JJ illcunl VllriubTiity observed from seemingly
         111cm, arc gl1tcrolly lhre.. outcomes U54.'<i 10 ml'OSUl'O the         minor o;:iriatious iu formulations. for ins1ruice, Naitu demon-
    clllcu"'Y of nn OA lreltlmcnr: paiu. phy$icnl ruaction. and a               s1ra1cs •igruncaol vuriability in pcoelrution among 1opic.:ul
    p:nic,u global 11SSCSll1JlilllL See Bellamy N., KiMan J., 8()ers            NSAID rormuln1inn, simply hy clwnging the selling agcot
    M., Bl'O()ks P., Strand V., Tugwell P., .:t al. Recommcndntions 60 used in lbe compo-hions (Naim et ol., t•cremai1cou~ nbsotp·
    for n ~'ON st:t ofoutcomo l11l-US11n;:s for I\J1urc rhasc Ill eliuical      tion ofdiclote1111c ~odium ointment, /111. Jo11r. t1{P/11,rmoet111•
    1r\ol~ in knee, hip uud Jamil u~t,-011rtl1ritis. Consensus dcvcl-           t/Q, 24: J 15-124 (198.5)). Similarly, Ho norctl signlficnnt
    or mllnt ot OMBRA(-r m .,.I. R111mmu1of, 24:799-802 (I 997).                vnriobility in penetroiion by changing lhcproportioosofnko-
    To besi1illlbleforchroo c use, a thcrary must genernlly show                hol, propylene glycol, and water (Ho et al., The influence of
    efficacy oo these three variables over a susiaincd period of 6S cosotvcuts on 1be in-vitro pcrcuumoou; penetration of
    time. In the U.S. for inltant'c, 1be Food and DrugAdminis-                  diclofcnae sodium from a gels)'litcm,J. l'hann.Pharmocol,
    lrnlion(FDA) l'c(1uires OA therapil-s lo Rhow superiority ovet              46:636-642 (1994)). 1t WllS noted Ihat the change$ ofTccted




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                                                               us 9,168,304 82
                                      3                                                                          4
       three distinct variobh:s: (i) the solubility of the clrog in the            with folil termination ofaction as the active precipitates from
       vehicle, (ii) the parlltlon cocfficienl, and (iii) effects-on niter-        solntion io rhe upper skin layers, limiting nnti-inflamtt\atory
       11tion of skin stn1cture,                                                   action in ilceper Lissues. The gels of tl1e present invention arll
            Hoer al. ( 1994) also noted tllllt(i} the pH of the vehicle, (ii)      designoo to Olleomplish the opposite, namely prolonged
       the lirug solubility, und (iii) the vis<.'Osity ofa gel matrix can .1 ac~jon and anti-innamruntory octiun in the deeper tissues,
       i.nfiueoco. penetration from a gel dosage form. ·n1e pH value                   2. Gel Formulations ofDiclofonac
       11ffocls the btllnnce between ionized .ind non-ionized forms of                 None of the previous rcfurenc1.:s disclose tho compositions
       the drug, which hnve different penetration properties (Obata,               of the invention or their use in the trcaimet11 of OA. Rather,
      l,11ernatio110/ Journot of Pharmaceutics, 89: 191 -198                       these references highlight the sil!,lliJic!ll1l unmet need with
       (1993)). 'rite viscosilycao affec1diO'usion ordiedrog through 10 respect lo topical OA 1reatmen1S for clrrouic use and the
       the gel matrix and n:ICDse ofl11edrus from the vehicle into the             complexity o/'tmn~en.nal lrallsport 1n gt:n.er.tl, wlterosignili-
      skiu. The solubility of the drug ill the vehicle will affect the             cant variability in peitoelltion i~ t1b~crvt-d by d1angi11g com-
      partition coefficient of the dnig between the fonnulation and                position elements or their relative Jlr(lp6rtimis.
       the recipient mcrobrane/tissue (Ila et oJ. 1994),                               In light or the foregoing, there is a considcrdble need for
           Cbemknl peoet.rutiou euhaocers are one means for rever.;- ts impmvC!Oleot ill the development of a topiaol NSAID suitable
      ibly lnwcring the skin barrier. Other 1111-1hods include ionto·              for long lenn use in the treouncmt o(OA. 'llte cluillengc- has
       phoresis, ultrn~ound, clectrop11ro1ion, ht:11t, and micron-                 been to devclnp un optimul tormulalion whicl.t wilJ deliver the
      eedk'ii. At least 250 ohemicols have been identified as                     nctive agent to the undt:rlyiug tissue in ~idlicicnt concentra-
      cnboncers lrult can increase gkin penneobility. General cat-                 tion to treat OA on a Tong tenn basjis, while reducing or
      egoriei; lnciude pyrrolidones, fs1ty·acids, esters and alcohols 20 minimizing the incidence of intolur;,ble skin irritation caused
      sulfoxides, eslientia l o~s, terpcnes, oxazoldines, b'llrfaott111ts'.        by di&mpting the skin barrier and while providing a fommla-
      polyols, a1.one and detivatives, and epidermal enzymes,                     tloo and dosage that leads to and encourages patieo1 compli-
           Thc mechanisms by which pene1ration enhancers _reduce                  ance, The prcsl.'Ot invention satisfies these and other oc.:d~.
      the skin barrier filnctioo are uoL well understood (sec Will-
      l~ms 11nd Barry "Pem,-tmtion IJnhnncers'' Ar/i,r,,ri:ed Dr11g 2s                        13Rl[J(l SUMMARY OF Tl 113 lNVliNTJON
     IJeJh11ry Hevi~w.r 56: 603-618 t2004)) although h bas been
      proposed that the mechanisms can be grouped inJo three                          The prescnL lo.ventiou uvercomes the disatlv:mwges oflhe
      broad cnlegorie;;: lipiddisnlptioo, increasing comeocyte per·               prior art by provid.Jns diclofl!!lnG sodium gel formu lations for
      meability, und pmmoting pnrtitioning or the drug into the                   the lreulmenl ilf osteoanluitl~ that tli~play u better drying
      tissue.                                                                 JO limo, higher viscosity, incrc;ised lmmdcnnul tluX'. am! wcmcr
           The 0hilllenge with use of chemicul penctrution cnhanoen<              pharmocokinetic absorption in vivo when compar<:d lo pre-
                                                                                  viously described compositions. Fnrtllermore. the prcforred
      is that few •Wm to induce 11 •i8J.lific>t.11~ or therapeutic                diclofcnac sodium gel fonnula1iolIB of the prcsem lnvcuiiou
     enhancement of drug transpon at tolenible levels. This is                    prov.ide otbor udviintugc;; including fuvornble smbility al six
     because the act of disrupting the skin b11rriet will h)Jve the               (6) month;; us rctlcclcd lll tl1e lack of any substantial changes
     potentia l ofcausiugs_kin irril:Jiion. With increllsod di~n1ption, 3 s in viscosity, the absence oJ' plmse separation aod crystalli1.n-
     skin irritnlion wiU becm11co gre111er issue, [his is purticulady             tion atlow temperatures; and a low level ofimpuritlcs.More-
     problematic with top.ical. OJ\ treatments wbcre \he goa1 is to               ovcr, !lie present gel fom1ulotioos !ldhere well lo the skin,
     have the active pe®trale into joint tissue and wbere the drug                spread Ul!Sily, di)' q\lickcr; amt show gceale_r in vivo nb~orp-
     must be utiJi~:d on a lon~-term basis due to 1he 1Utture oftb.e              tiorl in comparisoo to previously dcsoribed ce>111positfons.
     disease. 11te invet1tors have developed JJ1cth1xllt and llomJ><)- 4 v 1bus, the gel fonnulution~ of the pl'\."se/11 lnvantinn pmvide
     sltions thul dcliv<.'r more active ingn:dient per unl l Jose than            S\l)Wrior means fordcliv.:ry ofdiclofunac sodium through the
     previously known \iOmpositioos, and this would be expected                   skin fotthe lreatmc"lll 11fosteoartlu:itii;, os compared In previ-
     to lead to a lower incidence of skin irritation.                             ously described formula lion$,
          'lhe cowpositions of the inveJJtioo use diclofenac sodium                   As such. in one embod.Jment, the prcscm invention pro-
     whlch. is a commonly 11.s ed NSAJD. DicJofcnac has fuur dlf- 4S vides n g.il formulation comprising, consisting essentially of,
     lerent sallli that show significant variability in the degree of            or consisting of:
     permeation in sohniom using different solvents. Mingb.elli,                      (i) tliaJofornKJ sodium;
     for im,tsoce, \<:aches that a diclofenoc sa It wjth an org,unic                  (ii) Dt,,tSO;
     base is best for topical appllcatioos (Minghetti ct al., Ex vivo                 (ii) etbl!nol;
     study of trandemui.l pcaneation of fou; diclofenac salts fi:om so                (iii) r ropylene glycol;
     diiforeni vehicles, Jo11r. of Pharm. Sci, D01 10.1002/                           (v) a thickening agent;
    Jps,20770 (2()()7)),                                                             (vi) optionally glycerol; and
         Other research points to microeinulsion formulations as a                   ( vii) wntcr.
     means for delivery of diclofenac sodium (J<antarci el al., In                    1n another embodiment, Uie present invention provides a
     vitro permeation of dicJofenac sodium from novel micro- 5S method of treatlng osteoarthritis in a subject suffering fiom
     emul,ion formulations through rabbit skin, Dntg Develop-                    articular pain, themethod comprisiog the topical administra,
     ment Research, 65: 17-25 (2005); andSarigul lu I, el al., Trans-            1ioo to an afflicted joint mea t1f n subject a therapeutically
    dermal delivery of diclofounc sodium through rn.t s\cin from                 effective amount of a gel formulation comprising, consisting
     various foanulations, APS Pharm&iTech, 7(4) Article 88,                     ~-sscntially of, or coosistin~ of;
     Gl-E7 (2006)).                                                           60     (i) diclofenac sodium;
         Other mpical dic.lofenac compositions are disclos~-d in a                   (ij)DMSO;
    number of patt1nls including U,S. Pnl. Nos. 4,543.2~1, 4,670,                    (ii) ethanol;
    254, 5,374,661, 5,738,869, 6,399,093 and 6,004,566. United                       (iii) propylene glycol:
    Suites l'atent Appllc.i1ion No. ~50158:\4R poiol:1 mll that                      (v) a Uticktmin~ !!gent;
    various solv<ml5 nre widcily u.~~>d for 3cl prupul'tltions, but os               (vi) optiow.llly glycerol; aod
    uotcs tllrti they arc llmit,'CI in Pt)teoti/JI due 10 skin irritation.           (vi) water,
    "llrls referenoe also nt1tes 1hat gel compositions are associated            thereby treating osteoarthritis.




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                                                                                                                                        HZNPENN_00043856
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                                                         us 9,168,304 82
                                 5                                                                       6
    A further cmbodim.ent provides for lhe use of diclofcnac           fonnulntlons arc applied topic-ally. ID vnrious aspccts, the gel
 sodium io the preparation of a medicament for the trcatmem            formulations ore gp1,lied rwico daj)y Wld the poio con lie due-
 of pnin, the medicament comprising o gel fonnulatioo com-             to osleoartlu:it is.
  prising, consisting essentially ot; or coob-isting of:                  These and oilier objects. cmhodiwe,ns, and advuntage,
      (i) didofennc ,odium;                                          ' will become more upp;,n!nt when Nllcl with the figures and
      (il)DMSO;                                                        detailed description which follow.
      (ii) ethanol;
      (iii) propylene glycol;                                                     BRIEi' DESC[UPTION OFTHB DRAWINGS
      {v) a thickening agent;
      (vi) optionally glycx:rol: and                                 10 FIG. J shows a bar Ql'8Jlh ofllux nucotl lUC and PVJ> gcls
      (vii) water.                                                       l'ronzdiffusfoo cells were do><.-d at I 5 ml per Fnuv cell.
      lny1.'ll\ funhcrembodim.:nl , tbcpresent iovcotiouprovides             PIG. 2 sbowi. n bar graph of llux mtc of gels mndc witb
  a gel fonnulation comprising. oonsi~tiog CSSl--OlinUy of, or           Curbopol 981 nnd Ultrez IO, Fnulh dilTu$1on gels were dosctl
  consisting of": u diclofe1iac sodium solution and at least one         whh 2()() 111 p.:r Pnm:t: cell.
  thickening ageol, which can be selected from cellulose poly- ts            PIO. 3 shows a her graph ofOux rale of carbopol 971 and
  mer, a carbomcr polymer, a C11Ibomer derivative, a cellulose           carbopol 981 gels. Franz diffusion cells ,vere dosed at 50 µI
  derivative, polyvinyl alcohol, poloxnmers, poJysaccltarides,           per cell.
  and mixtures thereof.                                                      flG . 4 shows a bnr gmph of Ou)( l"Jleofvarious gel:. ond a
      ln oo aspect of 1hi1 embodiment, the diclofo1wo sodium            compnmtlve liquid fonoufatioo. l'mnz cells were dosed at 10
  solution compris~. consists csscntiolly of, or 1.1011si~rs of:    ?O mg per Pran7. cell.
     (I) dicl.ofenac sodium;                                                 PIG. S shows a bar gmph illustruti~ 1hc cJT~t or tltc pl I of
     (ii) DMSO;                                                          vurioui gels ood 11 compnmtivc liquid formuwlioo on fillll
     (ii) ethanol,                                                       cote. Frruridiffui<ion cells were dosed at 7 mg per cell.
     (iii) propylene glycol;                                                 FJG. 6 ,bow~ a bar graph ofOux rates ofvarious gcls. Fran;,
     (iv) optionally glycerol; 1111d                                2s cells were dosed nt 7 mg per Franz cell.
     (v) waiet.                                                              PIO. 7 shows a bnrgmpb offlux rmesorvariousdiclofcnac
     In 110 Dipect of the nbovt., embodiments, tho thickening            formulations. 111e comparative liquid rom1ululion (1.5%
  ogouts cau be selected from cellulose polymcn, carhomcr               dick,fenac sodium) was dosed at 20 rng Jl(!I' !lninz ceU,
  polymers, a carbomcr deriwtive, 11 celluloscderivativc, poly-         SolarJze® (a commercially avrulablc 3% diclofeoac sodium
  vinyl olcohol, poloxruners, polysaochorides, and mixtures JO gcl) was dosed at 10 mg per Fnmz cell, end a formulation of
 lhel\.'Of.                                                             llu!ioveotion, I' 14/2, was dosed al 15 mg per E'ran:r.dilTusion
     In "" aspecl of tll<! abovl! gcl embodimculA, uiclofuuac           cell. At this dosJug, all ceUa wcru dos,'CI with cqulvnlcnt
 sodium is preseut at 1-5% w/w, such as I, 2, 3, 4, or 5% w/w;          aroounls of diclofeoac sodium.
  DMSO is pnllll'.111111 J().60% w/w, ethanol is prc:<eut ut 1-50%           PlG. 8 shows a bor gmph of flux rotes in muhidosing
  wlw; propylcn4: glycol ,s J)l'\!Sall at J-15% w/w: [tlyccrol is JS e'l(pcriments. The compamtivc liquid fo1D1ulation wa, dosed
  prescnlat0-15%w/W,o thiclwningnym is prc:;enl such that               at 0.9 mg perFl'811Zccll at O, 4, 8, and 12 hr.I.A formulRtion
 the cod viscosity of the gel is between 10 and 50000 centi-            of the invention, FI 4/2, was dosed at 1.5 mg per Fr.wz cell ol
 poise;oodwatefisaddedtomake I0()0/4w/w.It101horaspccts1                0 und 6 ltrs.
 glyaerol is present al 0-4% w/w. In further osrx,-c1s, no glyc-            PIG. 9 shows a bar graph.efflux rntes ofVllrious diclofonae
 erol is present.                                                   •o lormulations. Fruoz cells were dosed at 20 mg per cell.
     lo another aspect of the above 1.'!Dbodimcots, diclofenac              FIG. 10 shows o bar graph of data on d:clofenac Oux ra1es
 sodium is present 01 2% w/w; DMSO is prescut at 45.5% w/w;             froro gels disc.l os~ in Baboota et ol. nod gels of lhfa inven-
 i:tbanol is present 11123-29% w/w; propylene glycol l~ present         lion. Prom: cells were dosed 111 4 mg por cell.
 et 10-l 2% w/w; bytb'OKypro11ylcelluloRc (HYJ J 9) is present              J'llG. 11 shows tho drying prnlilc over 1im~ of lhrce 11,cl
 et 0-6% w/w; glycerol is prcscat al 0-4%, and watc.-r is added 4S formulalions and one liquid fom1uwtion of uicloleuac
 10 make 100% w/w. In other aspects, there is no glycerol in the        sodium.
 gel fonnuJatioo lo furtJternspccts, lhcend viscosity oflhc gel             PIG. 12 shows !be In vivo s1eady stale plasma conccotrn-
 is 500-5000 ceotipoisc.                                               lions o( dic.lofc:nac sodium after odminiruation of either a.
    A feature of the above gel fonnulatio11s is that when such         liquid or gel formulotiou,
 lormu lations areopplicd to Oicskin, thedrylng ra1e is quicker so
and transdermal flux is nigberll1unpn."'Viouslydescribcdcom-                  DBTAfLBD DESCRIPTION OF THB INVBNTION
positions, such os those in U.S. Pal. Nos. 4,575,515 and
 4,652,557. Additional fearurcs of the preferred formulations                                       I. Definitions
 include decreased degradation of du:lofctl3c 1J<1dlum, wwch
degrades by less than C).04% ov\ll' the course of 6 mombs and 55 The teon "1rarudernml" is used heroin to generally include
a pH of G.0-JO.O, lbr example ntound pll 9.0.                          a process thal occurs tbrou.sb tbe skin. The tenns "ttunsder-
    In certain embodiments, the gd fonnulatioll!I of the inven_-       mal" and "percu!llnoous'' are ust.-d iotcn:hangeably througb-
tion comprise 1-5% glycerol, wherein lbe gel fonnulation               ou1 lhis specification.
whl!ll opplled to l11c &kio bns a drying rnie and 1ronsdcrmol              The ll!rtll "lopicnl formulation" is 11s..'d herein 10 generally
Owt gNaler than o comparative liquid fonnulnlion. In wme 60 iocluden fom1ul11tio11 1h01 can be applied 10 skin ora mucosa.
aspL-cts, the drying rate results in a rllSidueornt mo~, 51l"/4o!      'lbpical fonnulution$ mny, for example, be used lo confer
a 11!:irting amouo1 i1flcr 24 hours ond tJ,e tro11sdomu1I flux i:t     themp<."Utic ba.ielit 10 a patient or <aus111e1ic bcuefits ro o COD·
 1.5 or more greater than a compurotlve liq_uid formulation as         sumer. Topical foanulations can be used for botb topical nod
determined by Fra.o:z cell procedure at finite or infinite dosing      traosdcrmal administrotino of substances.
or both.                                                           65      Tbc term "topitol ndmlnis11111lon" is usoo hctcin to gener-
    In otherembodi111ct1ts, tho gel fommlations:md mctliods of         ally include the ddivcry or o s11bstunc;e, sucb os II lhemp,:uti-
thi;iru&eprvvitlo a r..-ductionofpain over 12 wouks when the           cully ucliveagent. to Oteskinoro loc"lin,cl region of tho body.




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                                                                                                                              HZNPENN_00043857
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                                                              US 9,168,304 B2
                                    7                                                                           8
     Tue tean "tmnsdennal administration" is Ulled herein to                     w/w,sucbus4J,42,43, 44,45,46,47.48,49ond50%8!1dall
  p,cner.tlly incl ode ndminisltlltiou throusJ, the •kin. Tronsd«-                fr.tetion.q In bctween5UCh.s.,44, 44.S, 4S, 45.5, 46, 46 ..5%, aod
    mal odn1inistmtioll is ofic:n applied where systemic dt'livt:ry               !Ju., like.
    of an :101ivc is dcslral, ollhoul!,h it mny nlso be \1soful for                   lo cenain cmllodfo1onts, the prcsc111 uwcntion inclucfos u
    delivcrinj! on 1wtivll to tissues uudcrlying the $kin with mini- s lower alkauol, such os methanol. ethonnl, p1'0panc,J
                                                                                                                                            1 h1uaool
    mal $)'Slcmic obsorpti>n.                                                    or mixtures then:of lo ccl'Ulio cmbodimunts, the alknool is
        The tet:m "peoetrut10n enhnocer" is used herein to gener-                present at about I to obout 50% w/w. 1'11:fernbly. ethanol is
    oily include an ogent thal improves tho tronspurt 1•fmolecules               w;.;d at.about l -50% w/w, sueb 11s 11 5 1 I(), I 5, 20, 25, 10, JS.
    such us un l!Ctivc ogcm (e.g., a medicine) im\l or through the               40, 45, ur 50¾ w/w, ond nit lroctioas in between.
    skin. Vurious condilillns may occur 01 di!furcnl sites in tho 10 In ccrtnin embodiments, 1he prt.-scot l11ventinn
                                                                                                                                          includt'S n
    body either in tlu, skin or below lbc skin creating II need tu               p.ilyhydric ulcobol. such us n I\J)'eol. Suitable glycols include
   10,get delivery of compouwls. For e,wmplc, in :i trcauncm for                ethylene glycol. propytcoc slycol, butyl,:oc glycol. dipropy-
    ostcoarthritis, Uic dclivciy (lfthe actjvc agent into relatiV1:ly            IL'lle glycol, be1mne1riol and a oombinotiou lhen.-or J>rofcr-
   dec11 UJl(k:rlyiog joint tissue 1noy be necessary to nchicvc                 obly, propylene glycol is used at about al 1-15% w/w, such as
   thempentic: l)cotfit. 1llus, a "pcnc1rotio11 cnhnoacr•· may be u I, 2, 3. 4. 5, 6, 7, 8, 9, 10, I l. 12, 13, 14, or 15%
                                                                                                                                       w/w,nndall
   used to 11ssist in lhe tlctiwry of un active a~ent directly to the            frnc:llons in between.
   1kinoruude:rlying ti~,11eorinclirec1ly to thesiteofthcdiseasc                     In cenoiu embodiments, the presem invention includes
   through systcroicdislributlon.A pcnetrut ion cnhnnccr may be                 glycerol (olso rofem!d to herein as iuyc:crine) 01 a co11<:cn1ra-
   n pure n1bstnoce or may cumprise n mjx:tuN of di1Terc111                     liun of0-12% w/w, Prcforobly.glycuml i• u~wnt 0-4% w/w,
   chcmicul entities.                                                      20 such as 0, I. 2, :I, or 4% wlw, and ull fractions in bclwccn. lo
       Tue tL'llD "finitedosing'' is used herein to generally include           hOme emb<idimmt:;, no glycerol is used ID the fonnulation.
   1111 applicati.oo o! u limited reservoir of 8Jl active ngum. 1be                  lo a prclcrrod cmbolhmcot, the pn:.-scnt inveiuioo provides
   rcscrvoiroftbc active1"ent is depicted with time lllllding to a              a formulnlloo comprisjvg a dictofcnue soluliou and 111 loast
  1apcrios olT of 1hc uc1ivc ubsotplion nnc atlcr II mnximum                    one lhicke11ing11gem 10 make a i:;el. 'ntc 111 lenst ouc thicken·
  absorption rate is reucbed.                                              2s ingogent of the present tnvcotlon may berm nccylic polymer
       The tcnn "inliuitc dosing" is used herein 10 gcuerolly                   (for example, Cnroopot polymers, Noveoo polycarbophils
  include an appliciition of u large =rvoir ol' 1111 octive agent.              uud Pemulen polymeric emulsifiers ovnilabh: corumcrciulty
  The reservoir is not Ril!)'lillCl!lllly tlcplcted with time, tlv.,reby        from Novoon Im:. of C"lcvclnnd, Obiu), au ncrylic rolymer
  p1-nviding u long tcnn, c:uuliuuous steady sloto uf uc:tiv1i                 clcrivativl', 11 cellulose polymer, a cellulose polymer dcdvn-
  ubsorp1ion.                                                             'JO live, polyvinyl nlcOhol, poloxamcrs, potysocch1.iridcs or mi1.-
      As usedherein, the tCffll "comp.1rotivctiq11id fomwtioo" or               tu~ thereof. Prefernbly tile at least one thickening ugenl is
  "comparntive" refcrs to o foouul.utioo such as tllill dCS('ribed              hychuxypmpyh :ellulosc (I ll'C} used such that the eotl visoos-
  in U,S. Pat. Nos. 4,575,5 I5 aod 4,652,557 consis1ingof 1.5%                 ity is between I Oand 500tl0 centipoisc (cps). M11reprcfot11bly
  dlcJoli::unc No<liiun, 45.5¾ dirnctbytsulfoxide, l 1.79% etha-               the end vi!ieL~~ity is bctwccn 500 :1nd 20000 cps.
  not, J 1.2% rropylcnc glycol, t 1.2% sJyccrinc, nod wuter.              15        TI1eprcsco1 gel fonnulotion mayoptionallyiocluLkot lcust
                                                                               ooe antioxidant and/or one chelating agent.
                          11. Gel Formulations                                      Prcfum.--d ontioxidruits for use iu tbc pro.cot in\cntion may
                                                                               be scleclcd l'roln the group c.,nsistiog or butyl.uloo hydroxy-
      l. Components of the Get Pormulntions                                    1ol11ene (HI IT), t,u1yl;it1,-d hydroxyunisnlc (DI IA), oscorbyl
      In order lo provide o dicluf1mnc sotli111n gel (onnulntlM ~o linoleate, usourbyl dipolmitolc, escori>yt tocophcrol
                                                                                                                                           malcnle,
 having improved prop1nies or drying time, illcrc:i.cd tr.ms-                  e&lcium osc11rbrue. cat0tcnoid.~, kojic acid, thioglycolic uoid,
 dermal Oux and greater phrumocokinetic abso1p1iun in viVI>,                  1ocopbcml, tocopbt:nJI 01.-.:tole, 1000pbl.'reth-S. toc0phcn.1h-
 ltighcr vi,;cosity, suod udhercnco 10 tbc skin. und ready                     12. tO(.'Ophcrclh-18 , tocoph~rclh-flO, anti mixnircs 1bcR."1.1l:
 ~prl.!!ldubility, wl!il.e inaintoining stobilily cw1.,. time, the                  Preform! eltclatingof!,CJ11$ may be scl.:c1ed from the group
 invcnturs have dlsc.ovcrcd lbat a surprisingly odvnntogcous 45 consistiugofctbyleu<.>tliorninetenaoc.:ticncid (W'li\}.
                                                                                                                                              diam-
 combination of the following componCUls c:an be used in the                  rnonium 1-.DTA. dipot:issium ll.DTA, colcium dJSOdimn
 rreJlMII Kln of the gel c:xnpositions of the present invention.              BDTA. HED fA, TEA-£!0TA, 1c1roso<li11m I.IDTA, tri pot.1s-
     Thc prcsunt invcntion pn,widcs gel romn1lutions compris-                 sium 8DTA, trisodium phospllllr.:, dfammonium ci1rn1c,
 lugt111 active agent, prull!ntbly a noo-s1eruidill ru1ti-io flarnma-         i:;ul.uctaric ncid, galacluronic acid. gluconla aclct. glucun)J)ic
 wry drng or philrmaccl\llicolly occep1able snlts thereof More ~o acid, ltumic ncid, cyctodextrin, potussium ci1ratc, potossium
 pr.:forubly, the 0011~1cniidnl anti-inllomrnlltory is dielofauic,            EDTMP, sodium citrntc, sodiom liDTMJ), and mixtu=
wruch can exist in a vt11ie1y of salt fonns. including sodium,                thereof.
potassium, nntl dic1bytnminc forms. In a prefcm.'<l emhodi-                        In addition, the lopicnt lt1rmulolions of 1he prescul iuvun-
lncm, the sod ium suit of diclofennc ls USt.'<1. Oich,lcDUc                   tion cu1111Jsu comptise11 pll ncljus1ingogc111, lo onep.1rtic11l~r
sodium may be prcseorin a range ofoppmxlmntcly 0.1% to ~.s cmboditnenl. tbe pH adjusting 38l.'l'll is J base.
                                                                                                                                      Suitable pll
 10%, such as I, 2, 3, 4, or 5% w/w. Use of the sodium salt has              adjusting bases include bi1.-arbonolcs, cnrb.mot~. and
been known u, create a clwllensc with respect lo stability of                llydroxidcs such asnlkati or Jlkaline c:1rtb metal hydrox,deas
an uqucous gel in llmt higher s:tlt conccutrotions co11 J:lJusea             woll as traw;iliuu nwlal hydrox.idt..-s. All~'llllltivcty, 1h.: pl I
breakdown In tbe gel matrix through iotetBction wiUt cenain                  adjusting ogcm can also b.: on acid, un acid salt, or 111ixt11Ns
thickening agents.                                                       6ll tbercu! Funl1Ct. the pH adjusting ogent ctn lllso be a bu1Ter:
    In another embodiment, the present invention includes a                  Suilllble bum:111 include citrate/citric acid buO"crs. llt'<.1ah:.I
~u1rn1ion 1:nh,mccr. 1nc pcnctratioo cuhonco:r mHy l><! dim-                 acetic acid hllffcnc, phl•,ph11te/pbosphoric ticid bu.lI'ers. for-
ethyl ,ulfox 1de 1,"DMS0'1 or dcrivolive~ 11tereofTI1e DMSO                  mnte/fonnic 11cid bu m.:rs. propionnte.lpropionic acid bu ITcrs,
m.uy be prusem in on nmouol by weight of 1% to 70%, and                      lu.:tole/luct.ic ncitl buffcn1. cerlmnutc/carbouic acid buOeD.
more prefernbly. betwc<n 25% omd 60"/4. suc:.b ns 25, 30, 40, 65 ammooi1llll/11mmonw bolTur.<, w1d the !Ike. Ille pl:I
                                                                                                                                         udjtL~tins
45, 50, 55, Of' 60% w/v.•. rrcfeml>ly, IJMSO is used io the                  agcru is presc,11 in 1U1 omount •-ulTJCicllJ 10 ndjust the pl Iof the
present inventiona1aconcentrationofabou140toabout 50%                        composition to between nb.lut pH 4.0 lo ijboUI 10.0, mo!\!




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                                                                                                                                       HZNPENN_00043858
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                                                                 US 9,168,3 04 B2
                                      9                                                                            10
   preferably aboUI pH 7 .0 to oboul 9.5, In certain cmbQdimt.'I\IS,                  lioo. l11is au, be panicularly importout io compositions lhllt
   the uruuijustl!d rH oftlm admixed cot11poUW'.llll ir. bc1wcco
                                                                 8                   IUC U"8i1.1,11ro (() iUCMlSI! S~'lll pcnneability.
      and to, such M 9, willx1u1 thu Jl(.'\.'tl for theacklilion or My pl I
      .adjusting agcnt5,                                                                 11ms. in some embodiments, the pn.'S<.'flf inwntiun pro-
                                                                                     vides a diclofcnac: sc~ium gel rormulntir,n tha1 dt-g;.idcs by
          2, Cbarac1cristics of the Gel Formulation
                                                                               5 lcssUioo l%ovcrtbecourscorli rnoolhso1 room
          a) Transdconal Flux                                                                                                                tcmpera1urc.
                                                                                     More preforobly, thcrJleofdegrn<btion is less 1han OJ>, 0.8.
          As shown bcklw io the Exwnples, the pre!icnl im'Clltina
      provides diclofcll8csodium gel funnulations that display sur-
                                                                                    0.7. 0.6. 0.5, 0.4, 0.3, 0.2, ur less th1111 O.1',i,, and all fmctions
     prisingly cllectiw rata1 ol'tmnsdcl'llllll nux when compared                    in bctwllCII, <IYCr lhc c:oursc ofIi cuuulhs at mulll 1cmperon1re.
     l(l previously dC$i:nl>cd fonnulntions.
                                                                                         d) Drying lime
                                                                              iu         Rcwtivc to previously disclosed composition,. such ns
          Ai:c..~,rdingly, in om:embo<liment, die llfCSClll gel fonnula-
     tio11 comprises o non-!llcro idal unli-inllnnuruttorr and ot lcim              U10sc in U.S. l'ot, Nos. 4,575,S 15 1111d 4,652,S57 (tcnncd
                                                                                    herein ns "comparmivc liquid fonnuhuion" or "corupura-
     one thickening agent and having a flux. as detcanincd by a
     finite dose Fmnz cell pnx:1.-durc, cqlAl I to ur grc;ller than lhc             tive"}, the compositions of Ilic invention dry quicker while
                                                                                    uchievingWghl!l'trnnadcnnal Dux 11fthe drug. It ill ~urprising
     nux of o compomtive Lquid ron11ulatlo1L Pceferubly, lbe nux u
                                                                                    lhal higller Dux rate and quicker drying cwi be nchrcved
     is ~1erth: in the nux: of1hc compMnivc liquJd runnulolion.
     More preferably, lhc nux Is 3l lcast l.5 limes gNalcr than 1hc                 logethcr as skin hydration is known to incnl8sc tronsdcnnol
                                                                                    nux or pcnetrutiou. The drying or the skin cuuMXI by rnpid
     nux oftliecompar.uiveliquid font1ulation. In Olhcrwortis, lhc
     mtio of: (i) the Dux of the gel formullltioo cumpriSiug the                    c:vapomtiun would tcnJ to reduce Ille tronscknrutl t:rnnsport of
                                                                                    drug rCl11llinlng un the skin. ·nie drying time di!Terencll is
     nM-Slcroidnl nnli-infulnuruttory 1111d nt least one diiokening 20
    ngent to (ii) tile aux ufUu: c.,mpamtivc liquid fom1ula1ion is                  cvidcut whwi cquol arwunts of l he two producl~ ore ll.'Stl.'<l on
                                                                                    opposite limbs. Within thirty 00) minutC$ the compositions
     preferably g1U1lcrlh.'lo 1.O,und more rrcfernbly m leustabout
                                                                                   of the invcntion arc nlmnst eomplctcly dry wbe!Wll a signifi-
     1.5.
                                                                                   cant amnunt of lbe pn..-vlously descrlhcd liquid fonnulu1io11
         In o further embodirrenl, lhc present invention further pro-
    vides o diclofcnac sodium gel Foanulo1ion comprising a as rewaios.
                                                                                        l"o comrare the drying limes more qun111illltivcly. sidc-by-
    lliolofcrmc oolution :mt! nl least one lhickening :ig1:n1 :uid
    havi1111 u flux as determined by the tinito fruuzecll proc<.-dure
                                                                                   ~ide compllri!.Oos \Vl!l'll conducted. ro occompllsh lbis. iii..,
                                                                                   iavenlors measured lhe rcsiduol weighl of foam1latioos hy
    at least equivnlcn110 the nux oft.lM: dklofonoc solution alonc.                placing equal umonnts ( 100 mg) ofn priom1 rormulml<>n nod
    P.rofomb ly, ll1e diclofonuc sodium e,c.l formulution bas II nuK
    that is at lea~, 2.11 times iveatcr co01pi1red 10 tbc Oux or lh<! )<t
                                                                                   compositions oftheinvunlion in wcigliingdishcsover 10cm'
                                                                                   a?'CllS nod weiglting die :unou1tt remaining over
   diclofcllllC sodium ,;olutiun olone. MO!\: preferably, the                                                                                time. UsiJ18
    present invo,111011 provides n lllolof~'tlnc sodiuu, gc:J ronnula-             this m<.'lh()(iolog,y, a di ffcn:nce is ir11medi111dy m>liceablc, ond
                                                                                   bllc:omcsdrunuuicallydiO'crem by 4 hours (Table I I and FIG.
   tion having o nui< that isut least 4.0 tirucs 81'!3lcr compmetl tn              10),
   the flux of \he diclo{CJ1ac sodiwu .solution olonc. lu olher
                                                                                       e) PhnDllaCOkioetics
   words, the rutio of: (i) the OttK of lhe diclofon:ic sodium gel 1s
                                                                                       A comparison or the absnrpliou of diclofen.oc r.oolum of
   fonnulation to (ii) the fklx QfUwdidolenac sodium oolutilln
                                                                                  compositions oflhc invention ond a coo1J'11Pblc c:omp.,sit1011
   is al lrost about 1.0, prcfcrnbly DI least about 2 0, IOOre prcf-
                                                                                  Ii-om U.S. Pnt. Nos. 4,575,515 and 4,(,52,557 wa~ conducted
   ill!lbly m lellit oboul 4.0.                                                   in ,mlmals. The gels of 11tc invention were shown 10 hove
         hi II yel further embodiment, the present invctuion proviJcs             improved absorption on II perdoscbasis than the comparative
   u diclofeunc sodium gel fonnulotion compriSUll! dlclofcnac 411 liquid
                                                                                            compositions 01' these p111cius. In absolute tcnns, 1h1:
  sodium nnd nt lcaSt one lliiakcniog ugent and hnvi ng a nux us
  determined by the multiple f111i1edosing Frantccll pmccdun ,                   clluical dose oftbe gels ofthe invention delivered o moxlmum
  (dosing at 2.5 mg/cm2 at Ound 6 hour.;) of at least O, I 11iyhr/               observed plosmu concentration (C.,.,.) al stc:idy swtc of IS 1
                                                                                 ns'mJ nnd an Orea undcr the curv., (AUC) of584 np,/ml, ·111is
  cm2 ot 24 bClurs, prefembly ~l lllll.'it 0.2 /l!!/hrlc:1111 at 24 hours.       compari.'Cl to 12 ng/ml wuJ 106 ng/rul ror the c:omparJlcu·
        b) Viscosi1y                                                        4j compotitioos.
        In ,mother c-mhodirneru, the present invention pmvitlcs a
                                                                                      These results ~peak to tbe properties uf 1he vehlclc in
 gel formulation comprMng a non-steroidal untl-lrulnmma-                         delivering the active agt'llt. 'l11c higher n1mibers for gel were
  tory dn1g (NSND) nnd mt least oue thickening a gen 1, lltc gel
  formulation having o villCOsily of 111 least I00 cl'. Prcfor.ibly,            s<.'ell1.'\IC11.llu1ugh the ~olution comrosuion wasJosed four(4)
                                                                                 timei. per day (lotn l 5.2 ml) compru,;d to twice (2) per dny
 the gel fonnu lution bos o viswsily of nt l1!8St 500 cP. More so
                                                                                (total 4,0 ml) li:lr the gels.
 prefurnbly, the gel fonnulation has a viscosi1y of at lca.t I000
 cP. ln otber 1-mhodimcnL~. lhc visc(lsily is 5000-10.000.                                        JJ.I Prcparurion of Oel Pom1ula1ioos
  I0,000-15,000, Or t 5,000-20,000 cP.
       ID o further embodiment. lhe present invention provicfos a                     In another crnhodimcot, the pteSl!III mvcntion 11rovidcs a
 diclof,,nuc gel form11l11tion comprising o diclofcno.: soh11ion H mcll:\ud for
                                                                                                  uwking gel tormulntions of dkloli:Jrnc sodium.
 nod ot least one thickening ugcnl, the &cl tbnnulotioo lwving                  Tlte gel formulotions of the prll.'ICnt invcotion 11l'C prcfcrnbly
 a viscosity of around 1000 cP and a nnx or at lcust 0.2                        mocle by carrying oul the fullowin11, sl,'l)~'. (i) dlsJll!rSilll! the
 ~1g/cm2/hrt1sdctermincd l!y lhc mulliplii ti11ltcdosc E'mrvcclll               lhickc11er, dcriv111ivc thereof Oll(Vor mixtu.re lhun.'<lf lo dim-
 procedure (2.5 mg/cm' at Oand 6 boun) ul 24 hours.                            ethyl iiulfoxide und stirnn& for l hour; (Ii) dissolving
     c) Stability                                                          60 diclolenac sodium in 1111 aqueous alcohol 01ixrure (e.g.,
     l11c st11bili1y of a drug pn1dnc:1 comrosition Cl'ln have a                                                                                     un
                                                                               clhllJloJ/wator mixlurc); (iii) dixperning ~rtlpylc,1 11 i lycol ond
siguificont impact on lit<' lc:,111t11 and COS\ of drug dwclnp-                glycerol into the NSAID soluluin frum (ii): ond (iv) mixing
mcnt, Ille n;,wreoflhc gtudio rcquiffll 10 suppo,t regulntnry                  the ,esullilig NSAID sulution imo die thickencddimcthyl
submissions, and thii uhinia1c ..11fety nnd appmvability.                      sull"ox:idll blcud oil(! s1irri1111 for L h,111r 111ambient lcmpem-
     II is impon:mt for itUtru100 to utli\imiu the ao1oum of ~~ lurc. /\ltcmati
                                                                                                   vdy. the gel formulnliuns ol'the prcsenl inven-
lmpnrilics ordcgraclntion product< tlutl fonn overtime due to                  tion muy be nll!dc by c;irrying out tlte following ~, ..,,s: (i)
iu1cruc1ior1s b1.-:twooo the vurious iowcdiCJltll in o cmnp(ISi·               disso lving the NSAJD (e.g., diclolcrulcsndhm) in nn alcohol




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                                                                                      15
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                                                                 us 9, l68,3 04 82
                                     11                                                                                12
  8olutinn ol'OMSO (e.g.. un 1.'illllllol/dimeili)'I sulfox_
  ture); (ii) cfupcrsing lh" thickener, dcri\'ativ.: !hereoide mix-               joint, boweverasuitablc Blllount may mnt,e frn1t1 O.S ,w'cm
                                                                                                                                                   1to
                                                             f dlld/or             4.0 µl/cm 2• Preferably the atnount roages from 2.0
 mixture lhen.'Ofiu II solution of wmer/prnpylene ll,lycoV                                                                                    to 3,0
 crol wJ.d stimng for I hour, (iii) mixing lhf.' NSAlD 10lutio   slyc-            µVcm 2 •
 from (i) into the thickener blend from (iil amt stirring            n               Compositions or the present invention moy, ifdc.sire<
 hour at umbicn1 l.:mpi.:ralurc. Healing CM also be used fnr I                s prcscnt.:<l in u boulc orjar or other comaincr upprnv           l. be
                                                              during                                                                      cd by the
 these ruixfag proces~cs to help focilitatc lhc gel fommtl                        17DA, which mny contoin one or more unit dosnl!,e
                                                                on.                                                                           fonns
     Diclofen110 sodjum mny be pm;cm in a m11sc of opprox                         containing lhe nclivc inllfl)dlenL The ~k or dispen
                                                                    i-                                                                     ser may
 motely 0. lo/o to IO"A. w/w, ,11Ch as 0.5, I.II, I.S, 2.0, 2.5,                 nlso be :icoompauicd by o mltice as=iut cd with lhecon
                                                                 3.0,                                                                         taim:r
 3.5, 4.0, 5.0, 6.0, 7 .0, 8.0, and .9,0% w/w.                                    In u limn pl'l!Scrilx:d by II govcmmentul ngcncy ll:l!,Ulu
                                                                             10                                                             ting lhe
                                                                                 rnnn11foc:1ure, 1BC or S11lc of pbannnccuticuls, which
                        rv Methods ofU~e                                                                                                     nlllice
                                                                                 indiC11tcs npprovnJ by tbu ugcncy of the fOllll of tho compo
                                                                                                                                                   si-
     Compositions or the Invention are pnniculurly suited                        tions forhumnn or veterinary adminiStrntian Such notice,
                                                                                                                                                  for
  uiw in I!\eating oBIOOOrthri lls (OA) chrcmically TI1uy mny for               .ixamph:, mny be of lnhcllng n11prowd by the U.S. Food
                                                                                                                                                und
                                                                 ol$o        IS Urugl\dmini,1mtion forp~ riplio n
                                                                                                                         drugs. oroftu1upprovoo
 be useful for tht: trc:ilmeot of other chro.nic joio1
                                                           du;cai.cs            product insert. Compnsltious comprising o pn:parnliou
 charactlllfaed by joint puin, tk."gencrution of 11rtlcul                                                                                    orthe
                                                            or carti·           invculion formulated in a corupa1ible phannaceutica
 lngll. imp.iil'\.'ll movement, and sli!Tue.--s. Suit:thle                                                                                l carrier
                                                               joints           mny olso be prepured, pla01.-tl in un up11ropria1ccontoi1wr,
 inoludo the knee. elbow, Imm~ wrist and 1\lp.                                                                                                  nod
                                                                                labeled for ll'Calmenl of an indicolt.-d condition.
                            or
    Due to lhc properties higher Dux and greater in
 11bsorption, it is believed llmt lbc fonnulolions of1hc vivo               zo The following oxomplcs are olrered to i111L~trolc,
                                                             prct,e,ll                                                                   but not to
 invent ion can be ndministen.'ll at lower do,ing than pl'\.-vio                limiL, t~cl11imed invention.
                                                                 usly
ll~no ed formulations. 1n particular, it is Cl(J)tlCt~-d
                                                            thm the                              VExmnples
compositi011s ol' the iuve111iun cun be used ot twice
                                                              ;s day
dosing or once a day dosing in the 1rca1mc11t of
                                                        OA. This ts                               Bxample 1
would repN:sc111 o si8flif1Ctull improvement as lower dosinl!
11ssocimed with better p;lie111 tampli:incc, WI important          is
                                                              factor                     Materials and Methods
in 1rea1ing chrouic oondilJous.
    Suitableamounts peradmlnistrJtion will ge11erally depend
on the siu of the joint, which varies per individuul                     Table l provides a list of the moteriolsuscd in the examples
                                                          nnd per      provided below:
                                                                                       TABLB l

                                                                                        Mllenala

                            Abtr           Chtmical                                        FW        Source                 Yonder#       CAS
                            BRA            Bulyla!<d bydro><ytnloole
                                                                                           ll!0.24 Slsma                    81253         lSOll·16 ·S
                            BHT       Bu1yl1ted hydn>,ytolHCJlC                            220.36 Speclnlnl                 BHII0-07      128-37-0
                           Qul,9,40   Cazl>c,pol940
                                                                                                   Noveon                 Oubopol,40 9003-01-4
                           Clrl,971   Clrl>oi,01971
                                                                                                   Noveon                 Caztopol 97 L 9003-0l·'
                           Carl,974 Clll,opol974
                                                                                                    No...,.               C&l1>opot 974 9003-01--'I
                           C.ub981    C&rbopol91H
                                                                                                    Novcon                Carbopot.81 9003-0l-4
                           Carl>L."12 C.,t,opol 1342
                                                                                                    Naveon                C&n>opot t:M2 9003-01-4
                           Dlclo      Diclofonac Sodlwn                                    316.1    uboc:111111                         JSJ07-79·6
                           OMSO           Ouutlhyl Slllfoxidc (USP)                         71.1    Gaylonl              l:M-2951       6HS-5
                           BDTA           Dlsodlwn llel1ylencd,amu,etettw,et11•
                                                                                                    VWR                  MKIJ9500       638 1-92-6
                                          Dibydnt e
                          E'tOH           Euia1.1ol (USP)                                  46.t     Speebum              OIOIS          6'1-17-S
                          Oty             Gly..,.;,,(IJSl')                                91,l     p_,., ct. Gamble     Suporot V      56-ll•S
                          Ouu             Ciuat gwn
                                                                                                   Spect,um             01044           90()().)0-0
                          HF.C        Hydrol<)'clhyl ccllulc,o - Nwuol 2SO M
                                                                                                   Hrrwla               Nauuol lS)M ~ 2 - 0
                          Rl'MC       Hydm"Yl'fOpyl methyl ceUulo,c                                Dow Chern1cal        Mrlhoccl flAM 9004-65-3
                           IIYll 7    Byu,oxpropyl ecJlulatc                           95,000      Spectrum             HY1l7         ~ -64-2
                          HY119       Bydroxpmp)II ccUulo•c                           370,000      Spcwum               HY119          9004-64-2
                          Loco        LocuaBeaaaum                                                 Spccwm               LIIJS          9000-41>-2
                          Peg.100     l'<tly(elJiyloao glycol) JOO (USP)
                                                                                        -JOO       Spccwm               POtOS          25)22-68-3
                          PQ          l'lopylcnr. Olycol (USP)
                                                                                           76.1    r>ow Cbcm.Lcal                      S7-5s-6
                          PVA         Pol)IVUl)II aloobol                                  ~ .1    SiWR4                Rl186          9001-419-5
                          l'VP        PolyvU1yl pynolldone                            160.000      Sigma                81440          9003.39-g
                         Po407        Pol"""" '407                                                 Spcct:rum            Pll26          9003-11-4
                         Ull!UlO      Cltlnl7. tO                                                  Nov=,                Ul1r<2IO       9()()) .()1 ...




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                                                                   US 9, 168,304 B2
                                       13                                                                                  14
       Tho general methodology for prcpam1ion of each examp
                                                           le                      A) Gel Formulatioll$ Derived from a Comparnlive
     provided is as follows, unless otherwise in<lia1tcd.                                                                          Liquid
                                                                                   Bru;c Solu1iun

        Final weight for each fonuulotion wos 25 g prepured
                                                                in
     50-mL glass vials. Vortexiog or msgoelic stir bars were
                                                             used                                                       Bxample2
     to mix the geJs.
           Viscosity was measured at 22° C. using Brookfield DY-Ill
       Ultra, programmable Rheome1er with LV Spindle
                                                               #31 at JO 10                Gel Pormulatioos Using Various Thickeners in a
       rpm. For stability testing, gels were stored ut nmbien                              Compa.111tiw Lictuid Formulation Base Solu1ion
                                                                     t tem-
       peralllre or in on incubator at 50" C. Discoloraiion or
                                                                  changes
       in appearanoo including phose 8l-parJ1ioo over time                             Ioi1ially, several thickeners inclt1diJ1gt;arbomers, polyvin
                                                                      were                                                                               yl
      evalU31ed.                                                             15 py1TOlidone, locust gum, cellulose polymers and polyvinyl
                                                                                   nlcohol were tested for their effectiveness al formin
          Toe conceulrlnion oflhcDMSO was cunsistcn1 in ull                                                                                           g a
                                                                     ofthe        diclofonac sodium gel using the ~-omparativc liquid fotmul
      experimeius (45.5% w1w). Propylene glycol wns at either                                                                                           a-
                                                                         II        tion ns a base solution. In the gel fonnulatioos
      or 11.2% w/w. Bthnncl CQncentmtion varied from                                                                                              of this
                                                                  11% to          Examplc,ac:omporativc!Jquidformulntionsolutionwa~p
      30% w/w. Glycerol concentrations were varied                          20                                                                         ro-
                                                             fmm O to             dl!C(:(j nnd a thickener was iheo added diredly to U1is
      l l ,2% w/w. The diclofeoac sodium concentrorion                                                                                           base. In
                                                                   was al        order 10 fucili1a1e ibe incorporntion of tho thickener,
      ei1l1er 1.5% (w/W) or 2% (w/w). Water was adjusted                                                                                         sonica-
                                                                 to com-          lion nnd healing (et 60" C.), along with vigorous vortexi
      pcnsate for tho! BJDOUDt of inactives, thickeoing agents                                                                                        n!!/
                                                                     , and       homogewzallon were performed.
     diclofonac sodilllll present in solution.                              25
                                                                                      Some lhickcncrs, specifically guar gum, locust bcnn
         Franz diffusion cell experiments were used to aualy1,                                                                                      gum,
                                                                          e      metbuccl (J-IPMC), polyvinyl (tlaohol, and poloxnmer
     diclofeMc sodium flux rates of varying gel fonnula                                                                                              407
                                                                    tioo.~       foiled 10 fonn stable gels. In partic:ular, im.ml.-diate sqiarat
     across II rubsllltte membrane. Franz diffusion cells nro                                                                                        ion,
                                                                  a com- 30 inefficient thickening, and insolubility of
     moo and well known method for measuring tronsdcrmal                                                                          the thickeners was
                                                                      Hull      not..xl. Gels wa,:, fonuod lhot Al10wcd i.ni1inl •111bilil
     131.,... The gcne,al rrnnzcell p~~-d
                                            ure Is described in Franz,                                                                           y with
                                                                                several cel1ulose polymers iocluding hydroxyethyl cellulo
     T. J.. Percutaneous absorption: on lbc relevance of                                                                                               se
                                                                in vitro        (Natro~ol HHX) ao.d hyclroxypropylcellulose (HYI
     dAta. J lllvest Dem,, 64:190-195 (1975). The follow                                                                                             19).
                                                               ing w11s is Other thickcnlll'S that show~-d an 1nitially
    !he methodology used in the present Examples.                                                                              s1:i!>lt!gcl were PVP,
                                                                                and utryllc polymer lhickuner...
        flranz cells with u 3 ml receptor well volume were ~,Jin
                                                                                     1 he specifics of gel formulation for each thickener are
    conjunction with spli1 thickness cadaver 8ki 11(0.015"-0.018
                                                                        ",      provided below;
    AlloSourcc). Thcdono1 well had en Bl'Cllof--0.5 cm1 •
                                                                Rec:li>- -Ill
    tor wells were Ailed with isotonic phosphnte bull1:rll                           J113CThickcniogAgenis: A lower weight 010lcculnrwoi
                                                              tl saline                                                                              ght
   (PBS) doped with 0.01% sodium azid~ Toe Oangei.                             llydroxyelhyl cellulose (specilically HydroJ1yetbyl Cellulo
                                                                  of Ibo                                                                              se
   flrnnz cells were coated wlth vacuum grease 10 ensure                       (1 mC) Type 250 M Phann (Natrusol®)) was di~pers
                                                                         u                                                                   cd ill the
   complete seal and were clamped together with 11nifom                        miX1urc of dimethyl sulfollklc, propylene glycol, glyceri
                                                                1 pn,s- •3                                                                            ne
   sure using a pinch clamp (SS #18 VWR 80073-.350).                           alld wutor and allowed to swell for about l hour. Diolofe
                                                                  Afl.:r                                                                            nac
   Franz cells were aS$emblecl, Uie skin was allowed                           Mldiwn was dissolved in ethanol and added 10 1he
                                                               to [ll'C•                                                                         HUC/
   hydrnte for 45 minu1cs with PBS. PBS was !hen remuvt                        ~olvcnt blend to obtain u final formulation. Although
                                                                 'd und                                                                           1IEC
  an appropriate amounr of formulation is added to the                         gels fonn relatively easily and demonstrate a good fiuJ1
                                                                   skin. so                                                                        pro-
  Dosing levels varied from 2 01g/cD1 2 (considered finite                    file, the gels are yellowish in color aocl are :mM:ep
                                                                 doic.:)                                                                      tible to
                   1
  to 200mg/cm (considercd lnfutitcdose). The donor well                       phase sepnrotion over extended periods of storoge.
                                                                    was                                                                      Table 2
  then capped to prevent evaporation. Receptor wells                          shows lhecoD1positioni of these formulations, and the
                                                                of the                                                                         re&Ult-
  Pmnz coils were maintainlld al 37° C. (temperntuN                           iog flux values of these compositions as eomp11red
                                                               on I.he ss                                                                     with a
 surface of the skin is -31° C.) io a stirring dry block                      comparative liquid [Qm,ul,11ion are shown in FIG. I.
                                                                   with
 oonllnuol agitation via a itlr bar. Samples were drown                           PVP Tbickeniug Agents: PVP was lldded at up to 8%
                                                                  Crom                                                                             w/v
 the m:cptorwclls at wryillg time points. Measurement                         after all other cowponems of the oomparative liquid
                                                               s were                                                                            base
 made in six-rold replica tes. The concentration of dlc!ofe
                                                                   ruic 60 formulation were mixed. PVP gels arc clear io nnture, but
in the samples was analyzed 113ing bigb perfonuame
                                                                liquid       suffer from an undesirable tacky feel when d,ying.
chromotogrnpby. !"he inventive formulations perform                                                                                         Table 2
                                                              ed bet-        a.nd l'(G.1 shows tbecompositioo and llux data forthis
ter than lbe compararor al the limitq of finite dosing                                                                                        gel.1n
                                                            - finite         this example, Franz dlfllt~ion cells were do..icd at 15
dosing bdnJ?, o much belle predictor ofthe perfoCIIIIIMe                                                                                     mg per
                                                                   of a 65 Franz cell. As can be seen in FIG. 1, PVP gels
formulation in an in vivo situntion as opposed 10                                                                                        perfonued
                                                             infinite        rcaoonnbly well, but their undesimble aes1he1ic qualilil
dosing .                                                                                                                                        's do
                                                                             not IDllke them ideal for a commcn:ial embodimen1.




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                                                                          us 9,168,304 82
                                         15                                                                                          16
                                          TABL E2
       Compooclltl ofHEC and l'VP Reis w,,d &o ge11cmtc the
                                                            Hux role          d.ttJL abnwo"' FIO. t

                                                          Forrnulatiun nJlmc.

                                  ""''b       ltc:c:lb    PVPlb            PPS4
                                                              Pen:cntAJIOI IA
                                                                                        Comp411tivc


                                 wt/wt% wt/wt% wt/wt%                   wJ/wi %               wt/wt%
    W11er                         18.81       IS.St       18.at          18,)1                18.8J
    Dimethyl Sulfooudt            45.S        4S.S        45.S           4S.S                 4S.S
   Propytne A)yool                11 ,2       11.2        IL2            11.2                 lU
   lllhaool                       11,79       11 ,79      11.79          11 .79               11.79
   Oly,,cw,e                      ll 2     11.2           11.2          11.l                  11.2
   Dlclofenac Sodium               l.S         IS          u              l                    1.5
   11uciaenu                     me           wee         PVl'      Ccrl,opol 971             IIOM
   w/vol % Uuckcncr &dded to       I.I         l.'3       8               I
   tolutlon



      Carbopnl 'Thickening Agents: Carbopol gels were formed
                                                                                                4 &how the composHioo of tJ1c:sc gels, WKI FIGS. 1,
    by: (I) dispersing an acrylic polymer into a JllJXture of                                                                                             1, and 3
                                                               water,                          soow ll1cir rellltive flux. A stable ond clear gel could he
   glycerol, and propylene glycol followed by stirring for                                                                                                  ronncd
                                                              I bour: "                        at curbo1Xll uoncC11lrJtion~ of->0.3°A w/wwhcnnwl.
   (2) preparing o second solution of 1.5% diclofenac                                                                                                     .iu~gels
                                                             sodiwn                            with 1.5% w/w dichifenac- sodium. For gels wiU1
   dissolved in etlumol Olld DMSO; (3) mixing the diclofe                                                                                                2% w/w
                                                                 noc                           diclofenac KOdium, -:>0.9% w/w c:orbopol was needed
   solution into the carbopol pbnse. An alternate method                                                                                                          lO
                                                                  for                          make a stable gl!I. The CltUCI nn1ou1t1 ofcnrbopu l needed
   formiog carbopol gels is as follows.: (I) dispersing                                                                                                           10
                                                            the car- .1o                       from o gel depeod1--d on the ty(IC or carborol used.
   bopol into dimethyl rulfoicido ood stirriog for J bour;
                                                                  (2)                              For lh11 rommlotions of Tobie 3, Frunt dlffusiou gels
  dissolving diclofenac sodium in an ethrulOVwnt.,r/propyl                                                                                                    111cre
                                                                 enc                          doS<.-d with 200 µI rer r-mnz cell. Carhnpol gels uniform
  glycol mixruro ; (3) dispersing glycerol into the diclofe                                                                                                      ly
                                                                 nnc                          sh0W'--<l im;rcus'-'() nuxr~1cs,w1:rthe~'Ornpn11ttiv1?fonnul
  solution; nnd (4) mixing the diclofeoac solution into the                                                                                                  i11ioo
                                                               poly· Jl                       ($4.'C FIG, 2), !hickcrgcls (i .c. gels with
                                                                                                                                           higher wcl11hl percent
  mer/dimethyl sulfoxi deolcnd, and stirrlogfor I hour
                                                           at ambi-                           carbopols) tended t,) have less flux 1hw1 a compo sition
  cot temperature. These methods of mixing aui be carried                                                                                                   with A
                                                                 out                          lower weight pt!l'CCDtagc o f tho same curbop(ll.
                                                                                                              TAOLE3
                                                                                     Componeola of gels made with C&tbopcl 981 and UUr<>
                                                                                                                                         IO
                                                                                         11<cdto15t110n1e1bou,!Wkd&t.•bovfD111ftO l.

                                                                                                                      formulllioooome

                                                                                        PUA           PUB    PUC       1'9Ma  P98lb            P93I c    Compan !M
                                                                                                                        P~oo ia

                                                                                    ,...,,.,% wt/wt% """''"           .,..,...,%   -%        ..,,.,, %    -%
                                                          W.10,                       IUl         18.81     18.81      18.81         l&.81     l&.ltl      18.11
                                                          Dimethyl Sulfo~!d•                                •s.s
                                                          P,opylcoo 9lycol
                                                                                      4S.S        45.S                 4S.S         ~s.s      •s.s         ~.s
                                                                                      11.2        11,2      11.2       11.2         11.2
                                                          Ellw,ol
                                                                                                                                              11.2         11.2
                                                                                      11.79       11 .79    11.79      11.19        11.79     IL79
                                                         Olyccrin,                                                                                         11.79
                                                                                      11.2        11.2      11.2       11.2         11.2      11.2
                                                          DlclofCWlo Sodium                                                                                11.l
                                                         lbl~
                                                                                        t.S        I.S       I.S        u            t..s      IJ           I.S
                                                                                     Ult,a        UI=       Ul=      c:..t>981     C&lb911   Carl,951      nooe
                                                         WMJJ % thickener             0,90         I.OJ      1.10        .90         1.06      1.22
                                                         lidded to tolutioA


                                                                                   60
01 room 1empem1tll'C, orcll!Vllted 1C111J".,'t'lllurc
                                                ifdesin.-d. Vary•        A111ioxi<.lli11ts 11ntl chclntl t,g agcotll cun 11bu be
wg c:arbopuls were used 111 rnnki! gelll including: Corl><i                                                                      udded lu 11:w
                                                               pol   carbopol, l lOC ur PVP &els. 'J11c addition of BDTA
1342, 941 , 971 , 9111, 974 ond Uhre1: 10 (Novl'On, Inc.).                                                                            to C'IIT·
                                                              All     bopal gels by itself knds 10 a sllgbUy cloudy gel. BHi\
cw-bopol gels were clear, proved stable 10 bolh frt.-cze-                                                                                gels
                                                            th:iw 65 turned color will, incuba1ioo ot higher tcmpcmltuc,
c:y1:ling ttnd incubation 01 elevated 1e111pcm1ure (50"                                                                            The mix-
                                                         C",) for    11.lrc of ijl IT and EDTA to curbopol gels did nol show
one mnnth. and ha<l i;ood flow choructcri.iics. Tables 2.                                                                                ony
                                                          3, and     discl\lornuon and rema1ot.-d ckw. Por tho fomrn!ations
                                                                                                                                           of




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                                                                          US 9,168,304 B2
                                         17                                                                           18
   Table 4, Franz dl.ffilsioo cells were dosed at SO µI per cel l.
                                                                                          described 11bovcwos used to compare diclofonuc flux rates of
   PIG. 3 show~ Oux rotes fmm these gels. Additionij ufcbelat-                            vorious diclofeoac gel formulations with comparative liquid
   iDg agen1s ond preser,atives bad no effect on fluK rates.                              fomllllaliOnf.
                                           TABLE 4
               Compo.!ICIIII rf gcls rn.dr- with ....t>opcl 971 l!ld earbopol 981 &d•
                       H-110 KCOC£6.l9 tkc 011x l'JIIC 1lAtA alpwn In FJO, !.




                              PPSI              PP52                PP£!       Comp,.raiivi,2%
                                                        PC:rccn!!IJ!!in

                            -t%               ..tJv,~%            ..,,,., %           wf/vn%
  Winer                        qs                                    q1
                                                 'I.'                                   IR.Jl
  Dimethyl SulfG.'<~         45.S              4S.S                4.5.S                •S.S
  Propy.- glycol             11.2              Ill                  11.2                11.2
  Ethanol                    11.79             11 .79               11.8                11.19
  OlycttU1e                  ll.2              11.2                 ll.2                11.l
  Diclofenac Sodium           2                 2                   2                    1
  BIIT                        Q.I                                   0.1
  Ii.OTA                      0.05                                  o.os
  Thickener              C&Jt.opol 971     Catbopol 97 1       C,ubopol9HI              11000
  wl/wt ~ lhict.inu           I                 t                  0.9



  B. Comp:11ative Bxamples                                                       lS    For lhe formulations of Table 5. Froozcells were dosed al
                                  Example3                                           10 mg per Fram: cell. A 01.-.v gt-I (P J 4/2) bas an altered base
                                                                                    solution over the compara1ive liquid fonnulnlion and demon-
      Comparison ofTrnnsdermal Flux of Various DMSO                                 ,uates botb faster <ll}'iog hmes and better fluJt kinetics (see
        Gel Fonnula1ions Versus a Compnrntive Liquid
                                                                                 JO FIG. 4). The Hux rtltCS for these gels is not as high as the
                        Formulation
                                                                                    carbopol gel~ (F97 l ), but the drying role i1 subS'lrultially
      A $Cl'iC$ or diclofcnac,geJ formulu1ions WL't'C mude wh<:rcin     faJtcr.
   the bw;c solution wos c!Jaugcd rmm the 1.-ompnmlive husc
  formulation In paniculnr, the weil!ht pcn:cnl of propylene 35
  glycul. ctlulnol, glycerine, woter, Md tliclofcnoc Wl!l'C vuried.                                       TABLES
   lo thc.o;e new foanulatiOUB, tlto weight pcn:eo1 of the corunitu•
  cut cbc.-miculs w11s 11s follows: 45.5¾ DMSO, 20-3()('/4 etha-              Co,nponents o( vuiour gel1 and• compua1m l quid fonnuLwoa
  nol, 10-12% propylene &lycol, 0-4% glycerine. 2%                                   UliCd 10 gellOlte tho !\Ill nw, d&ll ahown la FIO, 4.
  diclofenac i.odium, thic:ken~r ond water ,ldd1.-d 10 l 00% w/w. 411
      Scvcml thickcncrs w~l'l' lusted in lh.is ucw bu!lll solution A
  number of these tbickenl.?l'll foiled tu form ~ltlble gels; m                                                    Fomn1J.iJon IWDC
  particular, carbopol gets did nol rcmoiu ~1t1blc. 1lowc.'Yi:r,
  cellulose gel~ were wtlfomlly effi:ctivc at Conning g.cls. The                                                 Fl4/2
  mo,t acstbelicnlly plcaiing of these gels was fonned with 45                                Corup&Dtiv,, gel 2.S,.
 bydroxypropylcellulosc (IIYl 17, HYl 19, 11Yl21). These
 gels sprettdeosily, wereunifom1 in rwturc, dried quickly, 011d
 1kmonstrotud go<,d no" ch.,nicr.:ri~,ics.
     l lydroxypropylcclluloSI! gels were fonncd by mixing all
 thu constilt1C11L pllflS ntid then ndding tho thickener at lho end
 followed by agi1DLio1L The gel cno also be fonned by disi,cnt-                                  18.81           12.5         12.S         17.16
 lng lhe hydroxypropyleellulose in the 11queous pliase prior to                                  45.5            45.S        ~S.5          -4B
 solvent add,lion. l-lcut can b<:\Jsed to facilitate sci fommlion.     SulfoxJdc
 I lydroxypn,pylcellt d~ gels were clear and 0owcd cosily.
                                                                       P"'Pytenc g1ya,1          u.a             11           II           11.2
 Thi.')' =in 5table for :ll lcusl six monlhs dt'O.JOlliilrating: no H E!hnot
 phase scpar:ition, neglisible shift [npll, und low nmou11t~ of                                 11.19            M.5         25            11.79
 degtt1dotlon product~ (<0.O4%). The datu in PIGS. 4·1>,               Olycctin•                 11.Z                                      11.2
clcrivcd rrom the fannulutious oITablcs S- l O, indicate Ihm the       Dlctofen•G                 1.5             2
hydroxypr()('tylcellulosc gel Jonttulnlions of diclofcnac              Sodium
sodium of the pre;;cul invention ulso provide a rruosdcruml 60 Thlek..,..
Oux rJtc tlu11 i$ 0¥ much as 4-fold higher lhan u wrupamti vc                                                 1JY1l9        IW1 19 Cad!opol 97t
                                                                      """"t'-tltidc.:a<r
liquid font1ulalion.                                                                                              2-5                       1.15
    Studies wereperformed to delennmc lhe relative tran~der-
wul ftux ol various diclofcnuc gel fom111 lotions of the pn.•,M,t
invaltion wllcn companld with o comi,;1mrivc liquid Com1u- 65            For the formulations ofTable 6, Franz di lfu.sion cell, were
ln1it1n ofll.S. Pat. Noi., 4,575,Sl S onJ 4,652.557 ("'Comp:1m-       dosed al 7 mg per cell. Lowering the pH ,bows a marked
1ivc" io Tublcs 5-IO). Aa:ortling ly. the Franz cell pnlCL-clure      incre,ise in nux mte5 (see FIG. 5).




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                                                                                  US 9,168,3 04 B2
                                           19                                                                                                         20
                                              TABLE6
                 CO<l111ono1UJ1 of various gel, LOd • camparuivc liquid fonnuJ>tlon
                          ,....s
                               lg@dlcrak lho Qwt l'll•fl•U shown icFlQ.},

                                                           J'onmllAliCIJI hp.fllC

                                              F1"'2             Fl4.12                                FUl2gcl
                             Conp1n:tM:      g,,l2.S%        gcl4.0%       F971                      2.S¾•llC I.
                                                            Pe.rccgmgcr in

                               wt'w1%        WI/wt%           ..1h>,%            Mlwt%                Wllwt%
   Waler                           ls.Bl      12.S              12.S              J7.16                 12.S
   Dim,,thyl SUlfOlCkle            41.S       4S.S              45.S              4S.S                  4S.S
   Propylcllc gly<x>I              11.l       II                II                11.2                  II
   Emaoct                          11.79      26.S              H                 11.79
   Oiyccrinc                                                                                            26.5
                                   11.2                                           11.l
   Di<iof<II.IC Sodium              l.S                                             l                    2
   CCOC,,QtJ a~HCL                                                                                   • •• &ddod
  pH
  Thici:CJJU
  wt/w\% ~c,
                                   ....,        9.43
                                             BYl19
                                               2.S
                                                                9.61
                                                              HY1l9
                                                                 4
                                                                                    6.n
                                                                                C&tb971
                                                                                  I.IS
                                                                                                     lo pH 5.J
                                                                                                         S.3
                                                                                                      HY119
                                                                                                        2.S


     For thl.' fnmrnlatiotu ofTnble 7, Franz cells were dosed at
  7 mg p<.'r Pnu~cell. rlic n:sulting flux mtes forcacb of these
  formul3tions is shown ,n FIG. 6.

                                                        TABLE 7
                  Comror;enr, )f\.tn(J1J' sc:'- uacJ ro pmc;tJto•"'-'flu"" t!!C daL&,bczwn 19 FJO                    61
                                                                     FumruJ,djoa tL1ffiC

                           Compuativ o Fl~ gel 2.5%                    l11C'u                 HaC•                 Fl4/2 gel pH S.3
                                                                       rrsn1w, in
                             ~%               .,..,,.. %                  .
                                                                      ,.,,, ,,.             wt/wt%                        wt/Wt%
  Waror                        U.Rt            12.S                      22.J                26.3                          12•.S
 Ptmethyl SUlfoxidc            4.S.S           45.S                     4$.S
 Propylene gl)'COI                                                                           4S.S                          45.S
                               11.2            11                        11.2                I t.2
 Ethanol                                                                                                                   II
                               11.19           26•.S                     12                  12
 Gly,,erloc                    11.l                                                                                        26.S
                                                                          6                   2
 Dic!ofuac Sodium                IJ             2                         2
 ~ BCJ
                                                                                              2                             2
 pH                                                                                                              • .. odd<d 10 pH S.J
                                   9            9.43                     6.8                   6,71
 Tblclwior                                                                                                                S.3
                               aote           HYll9              c.rbopol 971            c.rt,opol 97 I
 0111w1%1Jucwer                                                                                                           HY119
                                               2.5                       I                       I                         l.S


    ror the fonnulations of Table 8, th!! CQIIIJ'!lmtivc liquid 41
lbnnulm:ion (1.5% diclnfeunc i;odium) was dnscd 01 2() mg                                                                             TABLE 8-cnntinued
pl'!' f'r.mz cell. So!Mu.cl.lb (u commercially avoilablc                                                       COlllpODClll[I or,..,..... dio!ofcuac: fonmlollo,,. 1llCG
                                                               3%                                                                                                          IO   gcacme
diclClfonacwdium gel) \1asdOSt.'<I ot 10 rng per f'ran:t cell, ond                                                                 the llug nicdata1hm11,11 Ul FIO. 7.
F14/2 was dos~-<l al IS n1g p.:r flrotV diffusion ccll.1\1 tllis
dosing, all cell• WCfC clu~-d with 1.>quiv:ilcnt amounts of 511                                                                                       fom11 Jsw,n n,nw
diclofonac sodium. f'l-1/2 cootinucd tn show incrc,m..'\'I pcr-                                                                       Camparstl,·o       So!Atau ~      F1412 goJ l.5%
fonoonce uvcr other fonnulmio11.~ (sec PIG. 7).                                                                                                         "Pczce.ulASE!ln
                                                                                                                                        wt/f,l%           ..1/wl.%              Wlll"l%
                                       TABLES                                               ss       8ttw,ol                             ll,'19
      C01Uponeouur....,..,...dclofal..: fon1n1lal&0,.l-11011<nct•"'                                                                                                              26.S
                                                                                                     Glycuino                            11.2
                t11eQ11•-<lfUAII""'.• YI FIG. 7.                                                     Oictofe.1111c Sodiwn                 1.s                J                    2
                                                                                                     Tbic:Ju:ncr                         oone                                   HY119
                                           formulo1l..u ""'"'                                        ..11w1 % lhiclt,,,.r
                                                                                                                                                                                 2.5
                                             So..,uc: ~                                     60
                                                                     FJ4/2 gel 2.S%
                                            Pm9(0[Akt~ U1
                                                                                                         For lbc fonmilalion~ ofTublc 9, the compar.nive li'luid
                                                                                                      formulation wns dosed at 0.9 mg per Franz cell at 0, 4, 8, and
Wo.ter                        18,81                                       12.5
                                                                                                      12 hrs. f. 14/2 was dosed at 1.5 mg per Pronzcel l otOand 6 hrs.
O,med1yl Sulfoxl~            45.S                                         45.)              6S       'lbeoccumulated dose from the gel was ccuuidcrnbly higher
PropylCl!e gly«>I            11.1                                         II                         in comparison to the comparnlivc solution, rroviding a-1 .5
                                                                                                     fold increo&c in flux (sec r1a. 8),




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                                                                               A nn 111n4,on<c
                                                                                                                                                                                  HZNPENN_00043864

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                                                                            US 9,168,304 B2
                                            21                                                                                        22
                                        TABLB9                                                           flux ratesofthrceorthcdiclofenac forrmllulion~ described
                                                                                                                                                                              by
                  Componcnla offonnul&tioo, llftd ,a Ill< mllltidotiag                                   Bubootll with a gel vcb1cJe nf the pres~nl inventio
                                                                                                                                                                       n. 1be
                                     9PS{111W11!9(FJO M.                                                tliethylamioc furm ofdiclofcrwc-was used as the active age
                                                                                                                                                                              Ill,
                                                                      1                                 ns  that ls the funn used by 8:ibnol3.1hc<:xocl composiliollll
                               _ _ _ _ _,.,r•:.mu=d"='d,._a"'   ""= '---- -                      5
                                                                                                        of the fonnulatiow ul!C(i in tl1is study ore Ghowu in Tnble
                                                                                                                                                                              11
                                  Ccmparato"" Fr 4t2 gel 2,l¾ r-1412 s<t pH 8.5
                                                        Pc.rcenfAps 19                                  below.   The Baboota formulo tions arc lab;:led PY I, FY2, and
                                    wtiwt o/•             wVwt %
                                                                                                       FY3, while a gel fonnulation using the vehicle of the present
                                                                              w<lw1%
     Wilel                                                                                       10     invention with diclofcnoc diethylamine as the active
                                      l&.81                  12.5               4S.S                                                                                           is
     Dim.U.yl Sulfux•lo              4S.S                    4S.S               It                     labeled G 1412..JJI. A compnrntive liquid formulatiou was
     Propyelcno glycal                11.2
                                                                                                                                                                           also
                                                             II                 16.5                   included in this study ("Comparative"). Among the primary
     EUw10J                          11.79                  26.5                12.S
     Glycerine                       11.2                                                              differences butween the composition of Babootn's fom1ula
     DiclorCll.C Sodium                I.S
                                                                                                                                                                                -
                                                              2                   2             u tion and that disclosed iu the present UMOtion is the higher
     <0-,itn1 ed IICt.
                                                                          ••• addcdtopfl
                                                                                8.S                    DMSO concentration., in 1h11 prcseut fonnulalinos (45.5%
     ThlckellOr                      DOM                  HYll9               HY!l9
     "'' %1blcnucr                                            2.S
                                                                                                       w/w versus I0"low/w).
                                                                               4\2.S
                                                                                                           Asisoppa.reot from tbcdatoshown in FIG. 10, although the
                                                                                               20 Baboota formulatiou is also a gel, the vehicle oflbe present
                                                                                                      invention provides a Nignilicamly gre11rer flux rule. Aller
         For the fonnulotioos of Table I0, frtlll'l cells were dosed                                                                                                         12
                                                                                          at          hours, the gel of lbe present ioventioo provides an accumu
    20 mg per cell. The resulting flux rates for these formula                                                                                                                 -
                                                                                       tions          lated doso of 26.8 µg/cm 2 versus 8.9 µ!!/i:m 2 for Baboor
    is shown in FIG. 9.                                                                                                                                                     a's
                                                                                               25 best perfonning gel. 1'bus, the gel of the present invention has
                                                                                                     o nearly 3-fold gn:nter rJIC of flux and eccwuulation
                                                                                                                                                                             of
                                                                                                     iliclofeD.llC than a ~ill1ilsr gel, as described by Babooia. Nole
    _ _ _ _ _ _ _ __T_AB                                                                             that those CJtperiments were conducted at finite dosing which
                                            _ LE__   10_ _ _ _ _ _ __                                ii more representative of clinical dosing of o non-occluded
                                                                                              10
                 Flwc rcrulnr en.,, v,uyu,g dlclorenoc fomwJ&tlons.
                                                                                                    composition tbnt is applied periodically but which is
                      F.,otJbf r;dl6.W£tt th"'-!'f Al 20 mg pn "*II                                                                                                       not
                                                                                                    I™.':1111 to be in continw us t.·0111l1c1 with the
                                                                                                                                                       ,IJn. Adclitionnlly.
                                                  fflffllUlf!ltPf\ PlfJJY                           the Boboow gels nL~o cvnuiined (1 llighcr perc<:111uge of
                                                                                                                                                                          the
                               P14/2
                                                                                              35 uctivc agent, 3.4% w/w as compared to 2% w/w !or the
                                gel        F!4/2                   C'oinplll' Compa,-
                               J,5% soludon F97 l                  ttivc l%
                                                                                                   compositions using the vehicle of the invention.
                                                                                   atiw,
                                                    Jlt:tttl\1-'P '"                                     Other advantages were also observed, iochiding the coo-
                             wttwc'llt w<lwt% wuw1% wt/WI%                     wt/wt%              slstcncy und stability of the gel ofthe presoot invention when
   W11a                        u.s 12.S 17.16 11 ll                                          40 compared with the Baboom gel. Jn contra~! ro the smooth and
   Olmclhy) Sulro,ldo                                                            11.81
   Propyteno gly<e>I
                               45.S       4-S.5       -.s.s          45.5        45.5              unifonn consistency of the present gel. the Bubooro gel
                                                                                                                                                                        for-
                               11          It          ll.2          11.2        11.2
   6d,uol                      25.5        29         11,79                                        mulaboos were cloudy and lumpy, thus, un1ble to maintai
  Olyc<rin•
                                                                     11.79       11.79                                                                                   na
  Olctoknac Sodium
                                                       11 ,2        11.2        11.2               gel-like consisreucy, For llus reason. the Bnbooto compus
                                2           2           2             2            l.S                                                                                     i-
  lblct.,,. ,               RY!l9 DOile                                                      45 lions would be expected to have some
                                                       Cillt>        ooae        IIDOCI                                                            slDbillty issue, and a
                                                       971                                        short shelf life.
  wt/wt % lhick<!na             3.S                     LI
                                                                                                       Thus, despite both bcing gel fom1ulatioos, when a bend·
                                                                                                  to-head comparison is perfonnetl. usin~ u finite dosing
                                                                                                                                                                      pru-
                                                                                            50 tocol. the formulation of the present invent
                                                                                                                                                      loo is signillcontly
                                     llxumplc 4                                                   111ore ufll.-ctive ol the trarudcrm.11 delivery of a dlalofcu
                                                                                                                                                                         :ic
                                                                                                 :ictive agent. when cQ111pan.-d with uuother gel rormulu
                                                                                                                                                                     tion,
                                                                                                 that described by Bnboora ct al. Funbcrmorc. a~ shown
         O>mparative Daill oo Tr:in.'<dennol Flux of½rio us                                                                                                               in
                                                                                           -5S PIG. 7, the ronnulo1ioo or the present
                                 Diclofonac (rcls                                                                                                   inwntion n.Jso p<lf-
                                                                                                 formcd rcmarlwbly bctlcrwbcn cumparcd 100 dicloleimc
                                                                                                                                                                      gel,
                                                                                                 Solar;11,.<1i, o pll)(luct currently sold on the murkct. Thus,
                                                                                                                                                                       the
                                                                                                 present invention pruvidC:!I a diclofc:nac sodium gel ronuula
    Studies ,~-rep.!rfonnw to dc1C11nmu the rclntiw tr.msdCT                                                                                                               -
                                                                                         - 60 lion that has IUICXJ><.'Cledly superior properties
 mal nux of the diclo!cuac gel lbnnulntinllll or lhe prcsunt                                                                                                  (e.g., with
                                                                                                respect to parameters such as t.ransdurmal 11111 rotes, favorob
 inv.:utiuu when compared with pn:viously disclosed fom1u-                                                                                                               l;,
                                                                                                composition consistency, and grcal<)r slObil~y aod self
li11ioru1, such n.~ the dicJ0~1u1e diclhyl11mi1iu gel fonnuhtl                                                                                                       lifo)
                                                                                    lt\11       when compared to lhe pn.'Viou.<ly dil;closed diclofcn
tlescrib<:d by Bab<,.,,ta (lilbooln et al., Mttthods nnd.                                                                                                               ac
                                                                                   Exp.         dtclh)'lwnine gel rom1ul11bon described by llntx101a or
Cli11. Pliormllcul" 21!: 109-JJ.4 (.2006)), /\ccortliogly,                                 65                                                                         the
                                                                                      the       tliclofcnoc sodium fc>nn11lotiu11 embodied by the Solaro'l
fronz Cllll procedure tlwcribed obove was used In compar                                                                                                              dt!I
                                                                                        e       gd.




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                                                                            "" " "                              111nA1-,n. i:
                                                                                                                                                                 HZNPENN_00043865

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                                                                         US 9,168,304 B2
                                        23                                                                                           24
                                                   TAllLB 11
          Co<tlfll)0<111Sord1do!i:J11C ,toctllyi..n,... ll't, llsedlo gCIOrllelhc n..~ -d&ia,_
     FIG. 10. For IM fonn111., ..,.. •CT•M• 11, rmm: dlffoljon qlla ...,. n.;,.
                                                                                               ,, ,.
                                                                                       d....t At 4 ,ns ,.,., ••lb
                                                               for111J1l1tlop Q!'lff)C

                                          FYI        FY2         FYJ          01412Jll        Comparui•cun
                                                                 fcrccnt•gg Jn
                                        wt/wt¾     ..v.""     ..-vwt%          wt/wt%             wtlwt'li
  o,melbyl Sulr®dc                        lO         10         10               45,S               45.5
  Elllanol                               25          2S         2S               16.S               11.79
  reo400                                 IS          IS         IS
 P,opylcnc: glycol                       IS          IS         IS               ll                 11.l
 uJclhanol.lJnlno                         o.s         0,5          o.s
 DMSO
 WIJ.cl                                   qi          qs         <t•             12.5               IS.Bl
 Socl!wn cwo~cc llume
 Olycerinc                                                         6
 Thick.,,.,                                                                                         11.l
                                       Cart, 940    PVA      Ca,t,940          HYll9                IIOIIO
 wt%Thiclococr                            I         lO           o.s
 Acllvc:                                                                         2.S
                                          JA         J.A         3.4             2                   1.S
 diclofeoac dlclllylaminc WI 'K



                                  &amplo!i                                                  2% or 4% I !PC n:11111 inecl. 11s compared t,11he over 90% of the
                                                                                       :u liquid formulation which rcmi:iinllfl, o0cr4 hours of drying
      Compnrisoa of0rying1ime/Rl'Sillual Wdw11 of u                     time. Oy 24 hours, this diffen:ncewos evcumore pnlnO\Jnccd,
     Compomtivc Liquid Pom1ulaLio.u Solu1ion Versus lhe                 PS ~ligh1ly uwr 20% nnd 30"/,, of the weight of Lbe two gel
                   Correspooding Gel                                    fornmlntiollll contnlning 2% and 4% I.IPC, resix-ctively,
                                                                        remained, and ~lightly under 60% ol'the weight or the 11971
     lnordcr1oeval114tC!lbedrying limcofo 1.vmpnrntivc liquid JO gel rcmnlncd, as crimpaN<I 10 the olrnust 11()% of llw li11uid
 formulatlou SQluUoo as compared to the cu.m:spimcling gel,             fonnulotion which rcmalocd. 11,is is II surprising result, os
 the •tudy de.crib<...J in !his ~·,mmplc wos J"'Cfonued. equal         one Wuuld have cJCpectcd the liquid fonnulnrlon tn lose
 weight amounts (100 mg) nf either the compamtive liquid               weight more quickly, and 1lms have o shoner drycng time. os
                                                                       camparctl to uscmi-solid gel fonnulolio n.11ms, 1hi~cxnm pk
 lbrm11Ja1ion solu1ino Qr diclofcnnc s<idinm gel tbr11111latlo11s      dl'Jllonstr..11es thlll tltc gel compositions oflhe pteSl.!lll invcn-
 weremeasurcdontoplmticwcighdishc•OIK!ipreadovern IO lS tiou displ.ly
     2                                                                                 superior drying ch:iractcriSlics as c:omparod too
 cm area, and then Jell expnsctl to 11mbie111 c:ondilium1. At          comparable liquid forwulution.
 sekcted time points, the plas1i0 weighing dish<Js were ugain
                                                                           Thus, in certain crnbodim1111ts1 lhl• pn.>scvt invention pro-
 w1,.;gh<ld to dctennine the ruais of the composltion remnining        vides a fonnulallon which has a drying tim~ sucb that, at
on the wcighiflS dish. M shown by lhe da1a in Tnblc 12 below
and iri PJG. 11, it wn~ surprisingly found !hat l'VCII afteru 24 411
                                                                       mosl, n 50'¾. weight                              ur
                                                                                                       th<! starting nmount remairu; us a
                                                                       n.'liidue oiler 24 hnurs ofwying limo, 1>rufcrably a 30-40"/o or
hour drying period, 11lmost oU (nearly 90%) uf the weiA!J.1 or
                                                                      k-u wciwit of lhe smningamount re11111insas II residue oner
the initially applied coruparoLive liquid fonnulmion compo-           24 hours ol' dryiug time.
sition remnlncd on lhc weig11ingdlsb. 11ms, the weigh! oftlu:             The Improved drying lime of the gel fonnulutioos of lbe
<.'(llitpi,mtivo llqnld formulJltion changed very liule over the      pn:senl invention pmvidcs improved case of use und is
fonoulation occurred vciy slowly.
                                                              or
lime points m=cd. indic:atlug Uuu the tlrying the liquid 45 expected to
                                                                                       IC3<1 lo bcner patient compl;11ncll. Thus, this
                                                                      Invention providt11 11 gel fom111lntio11 with improved drying
    In co111rnNt. even within tl1u llrst fivll minutes. 1hc Uu\:c sci
                                                                      chnmcleri stics wl1llc olsu pmviding Improved drug delivery,
fommlation.1 displayed more rapid drying than the liquid              B5 evidenced by lhc odVD010~eo115 lnlnsdemml aux
fonnntatiun. 70% c•fthcweight uftlte two gels Ihm contained                                                                            dma
                                                                      ~howu in the examples above.

                                                                                                               TADLB 12
                                                                           r,;y,.l! «nm, for got, ....1. comp&BJ!w, bqulll fonnullllnn 1"111uon. llqual wdgbi. or
                                                                             ...,i. fun1111l11k>o wm mcasurtd •nJ lll)nuul an wc,t;11 Jlolw, 111• weight or ...,h
                                                                               lffllllNOI (ormuJ.ulo11 ,.., lllrn Colla..'C!d ,.,llo tlm<- Tbc 1"11 0C1b;. lov<1Uk>n
                                                                             11,c,wed   r..,., dry,;q bucclco&IWI 1Mca,q,at111YC liqu,d fM!lllla'.- "'l\h Pt<l/2
                                                                                obowtinA lbG futeol tllyulg Ille. t hmc &<"-I• also Lad ltlq,tO\'Od ''IJ,-11b11i,y"
                                                                             cli.tra..1crirtlcs, wblclt 111M likely co,nrit,,11,,I 10 •hi• m1pru..,rncul ,n dl)'mg a.tee.
                                                                                                                    O,ylaghmos

                                                                                                                               NmnU.latia.nnamo
                                                                                                    Compa,a,iv•     Fl</2 gol 2.S% F14/2 gol 4.0%                F971
                                                                                                                             Pcrccnbp u,
                                                                                                      wt/wt%            wt/w1%              Wt/Wt%             wllwt¾
                                                                                W&IA!r                  ls.Bl             12.S                ll.S               17.16
                                                                         Dunotllyl Sulfawido           •s.s               4S.S                4S.S               4S.S
                                                                         Propych:.oc ,Jyool             11.2              II                  JI                 11,2




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                                                                                                                                                                   HZNPENN_00043866
                                                                             APPX403
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                                                                            US 9, l68,304 B2
                                        25
                                      TABLE 12-oonlinucd
                                                                                                                            26
       Ol)llng tln,.. ror gi,ts '"'1 • """Q"m""' Hqu,4 fom1ul&1;an ,..1u1iou
         oa:h fomoul.lll.oa ...,., mu,urc,d and """"'1 oo >'ciJ• ,1..._ TM ""PEq..1"'"Jdlm of
                                                                                     of .,l,
          """"'""'II ilnmlal<>a...,. 11,e,, l'oll(,'4-.J,.,Ila
                                                           limo. Tho g,la orth" ,n,...llllan
        al,ov;cd (Al1orrlryi»g.ku1cli<allw10., COll\l"'nhv• liquid ll)nnul•llon,
                                                                                  wlU\ fl412
           ,howu13 th• r..,..a drying-..... Thcoo ~cir ai.o hid 1n,r'°""" "1pr<lld&hi
                                                                                       lity"
        cbano:tet,11la,, whldi ,,_ ltkefy colllriNlod to llur "11'"""""1: ld •• dl)l,11......
                                                                                             _
                                            O!y,nghmc,o
           l!!Jwiol             11.79             26.S                     2S
          OJ)a,rino
                                                                                      11.79
                                11.l                                                  11.2
     Diclof<IIIC Sodium          l.S                l                      2
         Thlola,.oor                                                                   2
                                llOOC           iiYll9               HY119        Co,bapol 911
     Wf/v,,t % thictcuer         J.S               2.S                 4                 l ,U

                                                         %R.ot11.1lnln11
         Y-une(b,)         C<rnpualiVC>     F14l2gt12.$% Fl412 gel 4»1'                1'911
           0.000              100                100                  lOO           100
           0.0&3               98.l               93                   92.6          l00.3
           0.16"1              96.1              !12.9                 91.8         100.3
           0.HJ                9S.7              92.7                  9)
           0.500                                                                    100.2
                               95.6              92.7                  93.3         100
           0,750               95.S              92.I                  92.l            99.8
           1.00)               95.9              92                    91JI            99.7
           4.000               9)                71                    W.7
          24.000                                                                       86.8
                               88,7              32.4                  2J.S            SB.8



                                 Exumple6
                                                                                                               TABLE 13-continued
         Comp11riso11 ofSIUbilily Clum,c1cris1ics ofu
                                                                                                                                    Porctot ''hnrurtry A"' tller
       Compara tive lJqlid Formulation Vcn.'Us Diclofcuac                               Comp<)J1tio•                               6 maathsoflltO,.go (wt/wt)
                                                                                  10
                   Sodium Gel Fonnulnlions
                                                                                        2.0% diclofClltC l<ldlum,110.9% Carbopal             0.09%
                                                                                        SCI
                                                                                        2.0% diclofenaolCdhun ia J.$,. Hl'C get              0.0~
     lllis example provides a CODJJ)llrison of lbc slability of the
  compositions oftbc present iuvention tested agninst refcn:nce JS
                                                                                          Thus, as indicated by !he claw in Tobie 13, while having a
  fonnolalions ot room temperature over a six month period. 11
                                                                                        higher concentration of the active ageot, diclofe1111c sodium, a
 was unCXJX-'Cledly foWld tbal while the compositions of the
                                                                            gel formulation of the present invention containing 3.5%
 invention contain a higherconccntnilion ,1f oc1iveugcnl, they
                                                                            HPC ,hows a higher degree of stabiliiy. as reflected in the
 in foci resulled in a lnwer conccoU1ition                  or
                                                     a degmdution lltl      nppearance of a lower percenrage of ~impurl1y A" 3~ com-
 irupuri1y ns compared to 1he refcren~-c It wus nlso uncxpcct-
                                                                           pared to a comparable liquid formation. The dal8 shown in
 edly fouud tbal oom~it iom using hydtoxypropylccllulosc
                                                                           Table 13 also shows lhnt lbe HPC gel fonnotioo is more ~table
 (I ll'C) us the gelling agent hod n sig1tiftaan1ly lower quumily
 of 1his impurity as t11111pruoo 10 corupositio11s madi! usil\& ~~         than a cowp318ble gel formation conluining 0.9o/o Carbopol,
 carbomer gelling agcoli.                                                 as   the HPC gel formation dcmonstnlte.~ an at least 4-fold
    In Ibis study, samr,lc. of I.be l1.'St <.'Otll[lOs.ilions wen! placed reduction in the level of impurity A. "[bus, o gel lbrmotion of
 into plastic IICT\.--W cap bonles which were seal~ and beld at            the present invention provides improved smbility of the active
 25° C. et 60% humidity for 6 months. After the 6 month ,o agent as compared lo the reference formulations as evidenced
storage period, the Sllmples were h!Stcd for impurilies by nigh           in a fonnulotion which degrades by less than 0.034% or
pcrfonnnnce liquid chromat<>gr,,pby (HPLC). The active                    0.09%, over 6 months, ns was observed for !he reference
agent, dic:lofenec sodillDl, wus found to elute by HPLC with              formulations. FurtJ1ermore. the an1ow11 Clf "impurity A"
an elution time of11buu1 11 minu1es. II was found tbal upon 6             found in lhegcl formulution of1he present mvcntio11 aflcr a 6
months of IIIOrJge, 1111 impurity, 1enncd "jmpurity A", was 55 month storage period would result in 110 exposure le\lcl well
seen lo elute et nbout 6.6 minutes in varying amounls for the             below limits 1h01 wouldrequireodwtional oonclinicaJ testing
various compositions as shown in Table 13 below.                          of the impurity.

                                                                                                                   l!xnmplc 7
                              TADLE 13
                                                                                              Com pm i•vu or in Vivo 8picUl1UICl)US Ab!IOrpllO O Of
                                               P=e:it •impur.ty A• &hr                                 liquid Versus Gel floonulotious
Coo1pot1IUOJ1                                 6 m,mth.t ohtonige (,.I/wt)
1.5'14 J.:lof<..~ 1odlum u • ctmparalive                   0.0)4%                      A study wus conducted IO compare systemic ubsoq11ion
liquid fonnul1lloa rolUt.Oll                                                        nllo:r lopicul opplica1ion (ulMl rcfcm:d to iu epicu1an1.~,us
                                                                                    11bsorp1ion) ofn compnra tivuNolutioo with u ~ul oftlic ioven-




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                                                                           11HM1?n111;
                                                                                                                                                   HZNPE NN_00 043867

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                                                                          US 9,168,304 B2
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   lion. A purullcl design wns employed with 6 Lru1droce
                                                             pig., per
                                                                                                           28
  orm. Ontg W11$ upplic:tl Tor7 days with on additional                         Pharm.9cokinetic ewluntiorr of the_ pl11Ymu dt11J1 wa~
                                                             dose on                                                                        I"',._
   Doy 8. 13lood was smnplcd 011 Day I to determine a halielin               fom1cd using TopFlt 2,J l. A non-cni:Upnnmcnt model
                                                                                                                                            w:u,
                                                                     c:      used forthuc:alculntioo of the tcnninnl h~ mre and lll'CII
  Day 6. Day 7 n.od Day ll sum pies were tuken 10 c0n1in11 ~,eutly                                                                       urider
                                                                             the curve (AUC). llliminntion rate c0ns11111lll (l(,i) undplu
  s1n1e. ontl add it ionul samples were tnkcn 01 Ohr. 2
                                                        hr, S hr, 7 hr,                                                                    smu
                                                                            elimination half.Jives (I,~ were Clllcullltcd by linear
   12 hr, ISbr, and24 hron Doy7 todeh.!nnine n 24 hourstC                                                                              rcgres-
                                                                  /ldy      iionmmlysis ofthu log/linl!lu- paniuu oflbcindividual
  slllte profile: sample$ token from Days 8· I3 wm:                                                                                    plosma
                                                             used to        cooccntro1ioo-timc curves (C"COOcemra11on, Mime)
 determine nn elimination profile.                                                                                                     . l lolf-
                                                                            li{c 1111is determined usiug the fonnulnc:
     The doses used in this study were .is follows : 01e<X1             10
                                                               mpnra·
 live solution Kroup recuiwcl 3.8S mg diclofouuc sodium                            t,r,'11l21K,t[li}
                                                                   per
 odnunisttntion and 111imnl -I times dnily; 1he gel
                                                              Gruup                d ~.,(c)(hJ.
 rcceivc<l 8.08 mg diclofc11n0 sodium JlCr atlministr11tlo1
                                                               1 oml           Arca under the curve (AUq values were colculul,'Cl
nnimal 2 tiuw..-s doily; the atlministmtioo areu was S cmxl                                                                             u,ing
                                                                     O IS the lin.mrtmpc-midol m1..1hod
cm/animal. 1besc omouulll n::pn.:scnt the scok-d human                                                     nod extmpolotcd to infinlto time
                                                               ell ni-     by dividing the last m,:osurablc plnllna ronc:entration
C8l doses.                                                                                                                             by tbc
                                                                           1cm1Jnnl elimination m1c coos111111. Plusmo concenltiltions
     Sul1Tcrien1blood was colh:olcd from coch aniruol
                                                           per som-                                                                          at
                                                                           lime tcro were !Oken 10 be tlinsc at lhe pre-dose blood
pliog time end processed forat lcasl 2 mL Li-Heparin                                                                                    sam-
                                                            plnsma/ 20 plin11 timl.l on Test Day !!. /\Jen
sample, which were splil into two aliquots or I ml.                                                           under tltc curve (AUC) wn~
                                                               each.       CBlculntcd using the fonnulll:
nloo<l was v. ithdrawn from nil onimsls os shown in
                                                         Table 14.
                                                                                                     AUC•[fcdt] {lta/mL)(h), imtpled !tom-.. roto
                                                                                                        lllllDily,
                                                                                        25
                                                                                             The following pbaanncokinetic parameters for diclofc
                                                                                                                                                         uac
                                 TABLB 14                                                sodium were calculated:
                                                                                         AU½-24 (fest Day 7)
                           Rkod tl!J'!rlinM shcdule                                      AU½- • (Test Day 8)
 Test lloy(a)
                                                                 No. of    No. of JO AV½- ,..f(fest Doy 8)
                 Sampliag Ii...-                             111mplcs     aliQIIO,.      T .,.., (Test 0a)'11 7, 8) (llmt: tu reach C.,.,J
      I          O(priot w lb1 at~lllOi>tnlioa)                    24                    C.,., (fest Days 7, 8) (maximum observed plasma concea
                                                                              48
      6          O(j,nw 10 lb1 ..1iru•1t111Hoa),                   24         4S                                                                            -
      7          0 (pnor 10 filSI ,.llninlllUllllau).             168       JJ6
                                                                                            tration)
                 l he p,lll Ant do>int!.                                             35 c..,. (fest Days 7, 8) (minimol observ
                 S hr poll rn do>tQJ (),nor 10 .....,.i                                                                               ed plasma coacentra·
                 admlni11111lion (or 0,0111, I~                                             tion)
                 7 lu:pool fu, olnouig.                                                 Cc,-...1('1\:st Days 6, 7, and8) (trough plasma concentrotion)
                 10 ht pool fim dooit!I!
                 (prior to lhW lldmilllatntlon                                          K., (cliruina1l011 half-life)
                for Group I &Dd prior ID
                ,ecood admiallllrotlon for                                          40 T 112 (plasma elimination half-life).
                Oroup, 2, 3, ,ad 4,)                                                       Thu aoWcvcmual of steady $law was o<scsst'il by
                 12 br pcMl full dolu,g
                                                                                                                                                      using
                                                                                        repcatedmcosmesANOVA with 1011-mmsfonncd tmue,h
                 IS hrpo,r f\ntcl0liff3(rnorto                                                                                                         cou-
                fOunb Mlroirustr11inn Ji>, Orvup I)                                     ceoirJtiollson TcstDnyti G, 7, nod llas tbedl-pendcnt
   &·IJ         O (pn>dooo). c, I. 12, 2A.•S,
                                                                                                                                                  Vilrinblc,
                                                                 116       432      AS time os the independent varinblc, subJCC't
                72, 9G, a,id LZO hr                                                                                                     os o random efTCC1,
                pool adminlstotio,,                                                    and day us u lix~-.1 effect
                                                                                          TI1edata is showo io FIG. il and Tables 16 nod 17. Com-
                                                                 432      16'1            positions of the iuvcnlion show significant!) more ubSOJp
                                                                                                                                                   lioo
                                                                                          of tliolofcn.,c sodium as measured by the mcau AUC.
                                                                                                                                                  This
                                                                                          result holds even when adjusting for dose.
                                                                                                            TABL8 15

                                                                                                            Do.log in pip

                                                                            Dlelafo,w:        An>&of           0-, of the         Dictorcrw:   !lumber Didorcnae
                                                                                 Sodium      lj)pUabo n        product pct         Sod,wn      •fd_,    per day
                                                                             ¾(w/w)            (cm')        8j)l>lidllD,, (mL)   P"'don (mg)   puday     (ma)
                                                          (lei
                                                                                  2.0           so                0.40              8.08        bkl
                                                          Comparatm               1.S           so                0,2'!             3.85        qid
                                                          Solutlon




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                                                                n ~•- '---- -                                  .,,_. __ __
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                                                                           us 9,168,304 82
                                              29
                                          TABLBJ6
                                                                                                                           30
                                                                                             nssil!,lllld to WOMAC LK3. I soores, Patient Global A•~es.s-
                            J'IK mame III EndY s1Jt1C OH P;w 7
                                                                                             ment scores aud Pallc111Overall Health Assessmenl scores, as
                                                                                             follows:
                                             'rmu       emu                                 Patien1 Overall Health Assessment and
            IICAlmClU         ,.,,;..,.       (h)      (pl'/ml)
                                                                      AUC0-,4
                                                                     (pg • lt/rnl)      s WOMAC LK3.1 Patient Global Ass~ssment
            Ocl                  13            12       lSJ'IY
                                                                                            Noru....0 Ver, Good~0
                                                                       239818
                                14             10        8S70           175862              Milc.1• 1 Good~I
                                IS             s         6014          104122               Modura1e=2 Fair:2
                                16             s         -1827           631142             Sellcre~3 Poor-3
                                17            15       4)4ffl         268976S
                                .8                                                     10 Bxtrcmeac4 Very Poor4.
                                              24        144114         231494
                               Mean           12        806114         5841'1                  11111 WOMAC LK3.1 OA fnc.li.-x iN :i lll.'gl'\!l!llkJ. muhidi-
                                so             1       11JS49         1033866               mC11Sional, sclf-udmi11is1ereJ index wilh lhrcc iodcpcndcnt
                                 I            10         8302          107122              dimensions: pain, stitTncss and physical function anc.l will be
                                 2            10        24709          Jl)S21
                                 3            I~        14743
                                                                                            used us an cfllcncy vntiable .In !his smtly.
                                                                       160294
                                 4             0         4)50           -4-4~67        1s      In a preferred ~'ltlbodime111 of the invention, application or
                                 s            lJ         9SS2          112460              the gel ronnuln1ioos ufthc iiM,-ntion when applied 1opic;1lly
                                 6            12         8628           17~8I              will result in II reduction or poin or physical function on 1he
                              Mean            12       11714           10S924
                               so              8        71&5
                                                                                           WOMACscaJcofo1 least I Likcrl sculeuni tavcro 12 week
                                                                        4086$
                                                                                          pcriud. l!ven more prcfe!1lbly, 11reductioo of2, 3, or-4 Likcn
                                                                                      w scale units will result. Mosi prcrcrably, oppli~11(ion of the gel
                                                                                           fonnul.ltions of the uwcntion "ill resull in complelc Nlii:fuf
                                      TAl.lLE J7                                          pain Md ...-omplete or nearly comple1e tC$IOrnlion of physiC1JI
              R<ilahvc, bl.,.VAilab IIIY ud •,q,o,un: 10 a campar.u,w 1"11,IJ             function.
           (orpwbhO? Y! COfflN~ to de conaPtu•iitt gd .,t .-tQty jf!lfe                       To assess saleiy, Uw freq11cncy or ochets1! clTects will be
                                                                                      2S tnbulnted, lhewms1 skin irritmiouscorcwtll hc doeumc111cd,
                                          IL,110 Gd/Co111p<m1ivo Solullou It              anc.l change 111 vilnl signs and lohomtory parameters will be
           c_                                                                             nsscsscd.
                                                        167.7
           c.._;oa..                                    161,S                               The foregoing discussion of the invention hns boon pre-
          AUC0-24                                      141.1                              sented for purpu~~ of illl.CAAltion ond de.-criptloo. "lbc fore-
          AUC0-24/Dase                                 23U                             m going is not intcnc.lcd to limil the invcrnk:111 to the fonn QI'
                                                                                          fonns discloscdJ1erein. Althou11h the d~crip1inn oflhc invcn-
                                                                                          tiOJJ bns includcd dcircrip1ion of ouc or nlOnl cmbodimenlll
                                      Examples                                            and cer1aiu vnrlmions and moditica1iollli, 0lhet wri.iw11.~ und

          Clinical Trials ofDiclufcru1c Gel in the Treatment Of
                                                                                                                                 or
                                                                                          modificntions ore withio the scope the inl'cntion, e.g., as
                                                                                      J~ 111ay bewilhln 1beskill nll<l lmvwlcdgeofthosc in the:m,
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                              Osteoori1hritis                                             undc:r.itanding the pn:seut disclosure. It is illtcoded to obwin
                                                                                          righls whieh include oltcmw1ivo cmbotlimcm, to ll1c cx1ea1
           A cliniool 1risl will be perfonnt!d tu l.'Yllluotc the 511foty and             permi11e<l, iooluding alternalc, imen:hangt·ablc, 1111,Vor
       elftalC)I of a gel ronnuln1 ion or the present invention in si1b-                 equivnleo1 slnlerures, functivns, mngcs, or steps 10 those
                                                                                     -40 claimed, whether
       jl!Cts wllh ,-yfnptoms ,,r p1iJimry os1evnrthri1is (OA) of lb~                                         or ooc 8uch ol1cmatc, mtcn:hongcablo, 1111d/
       knee. Specilically, 11 2-ann. double-blinded, pl;1ccbo-coo·                       or cquivulcnt strucn,rcs, funclloos. mngcs. or steps ru-c c.lis-
       1rotlcd. randomi7.Cd, 12-week Phos<, 111 clinical trial will be                   closed bcn::in, end wilh001 intending to publicly tledica1c any
       performed in 300 subject, mndl>miwd to receive either n
                                                                                         putcntnble 2,-ulijccl mnttcr.
       tliclofenac gcl foanulalion. placebo gel (the gel carri1..T coo-                      AJI publiClllions. patcntsond p111cn111pplicu1ions rcfmcd 10
                                                                                     41 herein are iocorpormctl by rcfm:occ m lhl:ir t:ntirety
      111ini11g no dicloferuic). Suhj1..-cts will :,pply 2 ml, of study gel                                                                            to the
                                                                                         saruc cx1e1H us if caob individua l publi,-ution, pat.int ur 11mc111
      lo lbuir OA knee per applicatinn.                                                  opplico1i,,n was spccifii:ally nnd individually indica1e<l 10 be
          The primary variables tor asscssmco1 of clllcocy will II.: the                 incorpomtcd by n:fcrence in its entirely.
      WOMAC' LK3. i pain Wld rhysical function 11nd Pntieo1
      011cmll Health Assc11Sme111. Secondary variables will be the ~ 1 Whet is claimed is:
      WOMAC stllTne:ss nod Pnticnt Global ASSC11smco1. nic pri-                    I. A 1opical foDDulation comprising; diclo lc1U1c wtlium
      umry effici1cy noalysus will be the ooruparisuo of the crucnge          present Al 2% w/w; DMSO prt'S~'IIL ut 25% 10 60% w/w;
                                                                                                                                               nod
      lrnm baseline to final USSCS'lment o f the primary elTlc.icy            a viscosity o l 500-5000 ccntipoise, wherein the li,nnululion is
      v-,1riublcs for subjects In the diclvfenoc sodium gd ann vcrsus
     lhc placebo gel urrn.
                                                                                     s,
                                                                              ndm.inlstcnxl twice daily. to 1hcrchy elfe<:1ively lrotll pain.
                                                                                  2. 111u topicul fbm1ulo1iou c,,fulaim I, Wbercin the forruu-
          Mnrc SpL-cilically, Iii.! efficacy of diclnfc1111c gel on knee      lJltioo coru.-ists 1.-ssentilllly of:
     OA ~)'roptotru1 will be measured bytllc subjcctil'c respvnscof              30-60"/4 w/w of OM.SO;
     ~objects ns dctcrminec:l by an efficacy vurioblCJI qutstio111wirc            1-15% w/w of prorylcne glycol;
    which iocludcs 1be WOMAC I 1<3.1 OA Index (pnin, phy$ical 6CI                 1-30% w/v. of etlucnul:
     fuoc11011, aod stiffi1css dimcn,ions), n l'u1ic111 011<.'fllll I lcallh     optiooally glycerine;
    Asscs,;incnl , and u J>11lk'tlt Olnt,nl Ancssincnt, (Sc:e Bcllumy,           wuter: nod
    N., WOMAC O.m,ouriltritls J11do User's Guide II', Quee11-                    at least 0110 1hickclli11g agent sclec:tod ltom the group con-
    •l1111d, Austrolia (2003)).                                                      sistiug or u cellulusc polymer, a carllomcr polymer, :1
         TI1c WOMAC LK.,.I, P-.itiet11 Over11IJ Hc:1ltb Asscssmetll 6S              carho111ccdcriv111i11c, a cellulose dLJrivauvc. und mix LU res
                                                                                     lhen.'Of.
    and Pntient Global Assessment questionnaires will be based
                                                                                3. The topic:11 fonnulntionof claim 2, wherom lb.! concco-
    on the five-point Likt:11 scnlc. Niuuurical volues will he
                                                                              ~tion of DMSO is 11h0u1 40% to about SO% w/w.




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                                                                           """"                           ~1 1n.1,.,n<c
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                                                                               APPX406
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                                                        US 9,168,304 B2
                               31                                                                       32
    4. lbe topical formulation orclaim 3, wherein thcconc
 tralion of DMSO is n m~u,bo r r,olcctc,t from th e l',fOUP wcn-        9. The tnp1c.1I lonnuln1inn nf cluim 8, wht-reln 1be nl
                                                                            thickening ugcnl 1s llydroxypmpyl cellulose.        lcrutt
                                                                u-   OIM:
 sisling of400/o, 4 1%, 42%, 43%, 44%, 45%, 46'1-, 47%. 48Yo,             lO. The 1opic:nl fnmmlalion ofclaim 2, whcruin th!: fomm-
 49% and 50% w/w, and ull fmctioos in between.                        la1ion oonsislNcssen1i11Uy of:
    S. ·n,c topicut fonnuln 1ion of cloim 2, wherein theconcen-          2% w/w tliclofenac sodium;
                                                                   5
1m110n or ethanol is prcs~ll at 23-290,.(, w/w.                          40-50% w/w ofOMSO;
    6. 'Ilic 1opical lbrmuJo1iou of claim 2, wherein 1hcut               23-29% w/w ofc1Jumol:
                                                           h.'ll¥1       llydroxypropyl ccltulnse:
uuc thickening ogcut is i;elcc:tod from 1hc g,oup consisting
                                                               uf       water: and I 0-12¾ w/w of propylene glycol.
11 corbc.>111er polymer. a carbomer dcrlvnti vc and mlxmro
thel\!Of.                                                        s       11. 'Ill<! 1opicaJ fom1ulation of claim 10, wherein the con-
                                                                  10 ccntrntion of DMSO is
    7. The topical fommlation ol'claim 6. wtwrein 11Jont least
                                                                                                 o member selected from 1hc 1,1roup
                                                                     aonsisti ug of 40".-fl, 41%, 42%. 43%. 44'/4. 45%, 46%, 47%,
 one lhickt'llingugcnt is selected rrnm the group c:onsisti1         48%, 49% anti 50% w/w, anti all fmc:lions in bc!weeiL
                                                            1g of
Cllrbopol 971, caibopol 981, cru-bnpol 94 1, corbopnl 1342              12. l11C topical fomlllla1ion of claim I, wberein the fonnu·
                                                             nnd
 uhrci 10.                                                           lo1im1 blls improved :lbsorpiion oo a per dose bosis compor
   8. lbe lopic:nl focrwl111ion of claim 2. wherein 1hc el lea~, 15 10 n compnrnlivc liquid romposi1io11.                          ed
one thickening ugcot is selec1ed from the gmup consisting               l.l . The topicitl fommlalion ofclnim J, wherein lbcpain is
                                                               of
11 cellulose polymer, a cellulose dcriva1i                           due to nsu:oanhnlis.
                                             vc, nnd mixtures
1heroof.
                                                                                             •      •   • * •




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                  Addendum 14

                U.S. Patent No. 9,168,305

                       A408-A438
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          UNITED STATES DEPARTMENT OF COMMERC E
              United States Patent and Trademark Office

                                      November 05, 2015

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THE RECORDS OF TIDS Ofli' ICE OF:




U.S. PATENT: 9,168,305
ISSUE DATE: October 27, 2015




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                  Under Secretary of Commerce for Intellectual Property
                  and Director of the United States Patent and Trademark Office
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                                      Certifying Officer




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                               APPX408
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 <12)    United States Patent                                                  {10)   Patent No.:                    US 9,168,305 B2
         Kisak et al,                                                          (45)   Date of Patent:                         *Oct. 27, 2015

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 (72)     Inventors: Ed Kbak, San Dieg,1, CA (US): J11gat                       4,707,354 A           I 1/1987    Garten ct Al,
                     Singh, ]bronto (CA)                                        4,855,294 A             8/1989    Patel er al .
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(73) Assignee: ll ZNP L lMl'fED, Pembroke (BM)                                  5,2lS,7:l9 A            6M93      Kamis)\it.Ht ol.
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                    diclofenac plasma concentrations (pg/ml)




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      Case: 17-2149                         Document: 36                       Page: 525                  Filed: 08/16/2017




                                                          US 9,168,305 B2
                                  1                                                                         2
       DICLOFENAC TOPICAL FORMUl,>U'lON                                       cant ix>tcntial for topicol NSAIDs io tbe trealruent of OA, as
                                                                              ofthe time of filing this application, nono nave boon opprovoo
     Tiiis appliClltion Is a contim1Rtiuu of U.S. applict1tion Ser.           for such ttealrnenl in rhe U.S.
  No. 14/497,096, filed Sep. 25,2014 which is a continuation of                   U.S. Pat. Nos. 4,575,515 and 4,652,557 disclose 10pical
  U.S. application Ser. Nn. 14/025.781, filed Sep. 12, 2013, s NSAID composition~, one of which, consisting of 1.5%
  which appl ication is Ii cooti111Jation of U.S. application Ser.            diclofenacsod.ium, 45.5%dimethylsulpboxide, 11.79% etha-
  No.13/564.688, filed :\.ug. l, 2012, now U.S. Pat. No. 8,563,               nol. 11 .2% propylene glycol, l 1.2% glycerine, and water, ha,
  6 13 which appllcntion is a contiouationofU.S. application                  been shown to be effective in chronic OA treatment. See
  Ser.' No. 12/134, 121. llkd Juu. 5, 2008, now U.S. Pat. No.                Towhced, Jo11rr111l ofRhoum11tology33:3 567-573 (2006) and
  8 25.2 838, whicll appliuation is a cnntiouotion of PCT/ td also Oregu11 Bvidence Bused Prnclice O!ntcr entitled "Com,-
  US20071(181674, Ole1I Oei. 17, 2007, which applica1ioo                      p11rative Safety und Effectiveness of Anlllge~ics for Osteoar-
 claims priority to U.S. Provlsion~l Appl,cation No. 60/829,                  thritis", Al !RQ Pub. No. 06-EHC009-8F. This particular
 756, liled Oci. I7, 2006, the.teachings all of which are inror-             composition is reforrc.~ to herein as ''comparative liquid for-
  poratcd l!ereio by referer1ce in tluiironlireties for ull pmposcs. t~ mulation" or "comparative" io the Examples section. How-
                                                                             ever, the compositions of these 111ior iJMllllions have draw-
                     Fl m,o OF TI-IB rNVEN'MON                               backs in that they nres1ow lo dry and f\lDny. They also require
                                                                             frequent dosing of threcio foLtr lililes a day to achieve efficacy
     lltc present invention relates genctally lo composi1ion6                io OA, which i11treases exposure lO potential skin irritants and
 and met hot!$ for treating osleoarthrilis.                              10 !J1ereases the risk of ~lcin irrita1ion.

              BACKGROUND OF Tllu JNVENTION
                                                                                 mgenurni, llte fuilure uf topical NSMDs to fulfill their
                                                                             promi6e in OA may be due in part to the difficulty associated
                                                                             with delivering n mok.-culc thtough the skin.in sufficiem quan-
     1. Osteoarthritis                                                       ti lies to exel1 a ther.ipt?Ulic effect and in arnanoer that makes
     Osteoarthritis (OA) is a chrou.icjoim disease clmractcrized 25 the ttealrucul itself tolerable. Jt is generally bel ic..-vcd lhot
 by progressive degeneration ofarticular cartllnse. Sympto1111,              clinical efficacy io OA requires absorption of the active ingre-
 include joint pain and impaired rnoveme11l. OA i~ ooe uf the                dicnt aod its p0autr.ition in sufficient quaotities into underly-
 leading causes or dis"Sbility worldwide aud O major 6rumeial                [ng inJJa,nec.l ti•'Sltes including the synovium and synovial
 burden to heelih care systems. It is e:;tim:r,t!IJ to affect over 15        Owd ofjoints. See lloseostein, Topical agcn1s in thetrca1ment
million utlults in the United Stales alm,e. See Doh I .. I!. JO of rhcumntie di~ordors, Rlteum. Dis. C/i11 North ,-Im., 25:
 O:llflllllrtbriti~. In: DiPiro J. T., Thlbcn R. L.,Yee G. C., L'I al.,      l!99-911l (L9CJ9).
 L-dilorn. Phurmurnllu:mpy: a 1,othr1phJ•siologica/ approach,                    1low..-vet, lbe skin is a signiflcru1t barrier to drug p..,nne-
 4tl1 ed. Norwalk (Conn.): Appleton & umge. pp. 1441-59                     ahbn. nnd despite nearly four decodes of exteosive n=;earch,
 ( 19'!9).                             ·                                     the success of LrMSOOtmal drug deBvery in ge-11eral remain,
                                                                         35
     Ont! uon•steraldal anti-in0orumatory drugs (NSI\JD.;) 1,re             fairly limited with only 8 small uumbcr or tnuwdeanuJ drug
 lt mairu;tny int~ mao~11,en1cnt ofOA. They l1uve analgesic,                 pro<.luct:s commercially avalli,ble-
 anti•inllammatory nod onripyretlc ellects and are useful in                     In cuu,JecUoo with tupicul dosnge rorms appllcd 1u ""'
 rwucing pain and in&mmalion. NSAlDS a.re however a~so-                     skin, a numb..'!' or intcro~lion~ c:an occur includin~ v.:hicle-
ciatcd with serious potential side effects in~ludlllg nousell, ~0 skin, vehicle-drug, un<.I tln1g-~kin. &icb cmiaJroot 1burelen.se
 vonuting, peptic ulcer di$case, Gl hacmorrhugc, and card in-               of an notive ngent from u mpiCtil <lusllgc form (Rl)bcrts, M. S.:
 vnsculur cv'c11ts.                                                         Stn1cu1rc-pcrmenbility considerations In percutaneous
    Topical NSAll)s o!fer the possibility of ac:hic.-vinl!, local           absorp1lon. tnPr«diction ofPercuto11eo11s Pe1,etratio1z, ed. by
 therapeutic benefit while roduciog or eliroinuting tl1e ri~k o f            R. C-. Scali ct oL, vol. 2, pp.210-228, IDC Technical Services,
systemjc side effects. There bas been widi.,i;prClld intc~l in ~i Lundou, 1991), Thus various factors CllJl affect absorption
this ojlp«,ucb to treating OA, but data in Sllpputt of the eJli-            rotes and penetrJ(ion depth including the active ingredient,
cacy of topica l NSAJDs in the lrea1Jnent ofO/\ i1o limited. For            the vehicle, the pl I, nnd the relative solubility of the active in
instance, u t tudy of 13 randomized plm:cho controlled trial~               the vehicle versus the skin (Ostrenga J. .:t al.. Significance of
(RCr's)ol'vorioustopicul NSI\ID!lte.,1edspecillcallyforu~e                  veWcie composition I: relationship bc..-twecn topiCIIL vehicle
ln 11\c treatment ofOA e<•n~Juded lhut they were not generally 50 composltion, skin penetrability, and clinical efficacy, Jo11rnal
effi<:!lcious for chroou: use in OA, (Lin et aJ., Eflic11cy of              of Pl10rmace111ical Sciences, 60: I 175-J 179 (1971)). More
 topical !lun-steroidul anti-ioflammutory drugs io the 1rcat-               spccificalJy,drugotlributessuehassolubility, size and charge,
 mcnt or osteonnllritis: 1neu1-111Utl)'lii~ of randomized coo-              os well es, veliicleattributes such as tbcru:ugdissuluiion ra!e,
 lrolled triuts, DMJ. doi:10.l 1Jli(bruj,38159.(i39028.7C                   sprcauing-nbility, atlhesion, and ability to alter membrane
(2004)).                                                                 ss pc;nnCllbillty Cilll huve significant effect,; Qn pcrmeabillty.
     11,cre ure g1111er:illy three outcomus used Lo mc-.isure the                There is significanl variabillty observed Imm sc<Jmingly
          or
clfi~cy un OA trc.;uueut: pain, phy~ical .function, and a                   minor variations in formulotions. For iostancc, Naito demon-
p,,t,eut glob:(I assc,;i;men1. SooOcllumy N., Kirwan~ .• Doers              slrntes significant variability in pcnetrallon among topical
M., llruokl; I)., Stmnd V,. Tugwell P., ct nl. Rccommendalioos              NSAID foanu l~tions simply by changing the gelling ugent
for a core set of ouicorre ruc-J.Sures for future phase 111 clinical r,o used io the compositions (Naito el 8.1., Percutaneous absorp-
lrinls in knee, hip 11nd llnntl ostenm1hri1is. Consensus devel-             lion of diclofenac sodium oint.ment, /111. Jour. ofPltannacf!u-
?Pmenr~t OMERAC-r!tl.,J Rl,eumatol, 24:799-802 (1997).                      tic.,, 24: 115-124 (1985)). Similarly, Ho nukd ~iisnilicunl
 fo be sunnble for ~hruui~ use, o thcropy roust generally show              variubility in penetration by ohnnging the proportions ofaico-
~llic:acy on lltesc fl\roe variables over a $Ustained period of             hol, prt>pylene glycol, and water (Ho e1 al., Tue Influence or
tun~. In tbu lJ.S. for i11staocc, the F!ltld ond Drug Admiois- 65 cosoJvenL~ on the in-vitro pllJ'<."lttane()us penetration or
trnt100 (JlDI\) l'l-'<,lUil'!ll; OA lhcropies ll'J sbow superiority over    <.liclofenac sodium from a gel sy~tem, J. Pitarm. Pharmacol.,
plnccoo over n 12 week reriod. Notwithstonding th,: si_gnifi-               46:636-642 (1994)). It was nottc'd thut the changes sflccted




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                                                                                                                                   HZNPENN_00043888
                                                               APPX425
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                                                         US 9,168,305 B2
                                 3                                                                         4
  three distinL't v~riablcs: (l) the solubility of the drug io the           with fast termination of action as the active precipitates from
  vehiel0, (ii) the partition coefficien.1, >tnd (iii) effec1s on Allcr-     solnlion in the upper Akio JR)'e:n;, limiting anti-inllammatory
  atioo of skin structure.                                                   action in deeper tissues. The geJs of the present invention are
       Ho ~'I al. (l 994) nl~notod that (i) the pH ofU1e vehiele, (ii)       <l.csigm:d LO ucaomplish tbe opposite> namely proloogod
  the drug solubility, a.ml (iii) the viscosity c,ra gel matrix can          action and anti-infimrun.itory actiort in the deeper tissues.
  influooce peneu-arion From a gel dosage foan. 'Inc pH vulue                    2. Gcl Forlltulatio.ns ofDjcJofonac
  affects the balance between ionized and 11on-Joni1,ed foans of                 None of the pn.-viou.~ references disclose the compositions
  (lie drug, which have different pen.etrution propcrtic.~ (Ob111a,         of tile h1v.:,11ion or thelt use in the treatment of OA. Rather.
  fnterr,(lti<mal Jo11rnol of Phormacewies, 119: 191- 198                    these rcl~ccs highligllt the signilican1 unmet need with
  ( l 993)). The viscosity Cl.Ill o.ffect diftusion of11Jedttig through 11, respect to topical OA treatments for chronic use ond the
  o,e gel nw1rix and ll!l<lllscor1lwdn1g l'tt1m 1hewwclc in10 thl'           complcllity llftmnsdcrmal transport io general, where sigoifi-
  ~kin. The wlubilll)' of !he tlrug iu we vehicle will offcct the            calll voripbility in pen:oeatiou is observed by changing com-
                                                                             posit inn clcmcuts or their relative proportion.q.
  rnrti1lon coe1Ticie11t of the drug between Ultl fonuulatiou end                Lo lisht of the foregoing, there is a considerable need lb.r
  1he rccipienl membrane/tissue (Ho el al. J994).                           jJnprovemeat in tlledevelopmenrofa topical NSA!D suitable
      Qiemicol penetration enhancers areoni: 1ncii11s for revers- IS for long tenn ul>tt in the treatment of QA. The <lhollenge bas
  ibly lowering the skin banier. Other methods include ionio-                be-en 10 develop an optimal formulation.whlcb will deliver the
  phoresis, ulU'ilsouncl, eleclroporatioo, bi:at, and migron-               ac1ivc agent ro the underlying tissue in sufficient oonceotrd-
  eedlcs, At least 250 chemicals have been identified us                     tion to trcol OA on a Ion$ torm busis, while reducing ar
  enhmiccrs that tlln increase skin pennc11bll11y. Generill cal·             niliuroizing the incideuce of i1110Jcrable skin irritnlion caused
  egorlcs i ncludc pyrrulldones, Ia tty acid~, e-sters and alcohols, 2(1 by dlsrup1i1\g the: ski11 barrier and while providing a fonnuln-
 j ulfuxides, usseruiol oils, terpeocs, oxazolilin.es, surlilclunts,         tion und dosoge thnt leads to and enCOUfllSCS pulicnt oomrU-
 polyols, owne and dcrivntivcs, nnd epidemUJI enzymes.                       IU!Ce. lbc: pre~ut iuventiou :S.itislics !hc;,;e am1 other noods.
      111e mechoulsou; by which peneu,uion cnhane1m; reduce
  thu skin barrier fuoction oro not well u11dcrstood (see Will-                         BRIDF SUMMARY OF THE lNVilNTION
  iams and Barry "Penetration Enb110cers" Advanced Dnig 2s
 Delivery Review,, 56: 603-618 (2004)) although ii has been                     Too pres,,nt invention overcomes the disadvantages oft be
 proposed Iha! the mechanisms can be grouped into three                     prior an by providing diclofenac sodium gel formulations for
  broad categories: lipid disruption, incrcasingcorneoC}'te per-             the treatment of osteoarthritis that display a bener drying
  meabliity, and promo:iog partitioning of the drug into the                 time, higher viscosity, increased traosdcnm;l_Oux.and greater
  tissue.                                                                JO pbrumacolductic absorption in vivo when compared to pre•
      'The c.hallcoge wi1h u,e of chemical penetration enhancers             vlously described composilion.s. Furthermore, the preferred
 is tbnt few seem ro induce a signiflc.wt or therapeutic                    diclofenoc sodium gel formulation:, of the prcscal invention
 erihanccment of drug traoSjl<lrt at tolerable leve)s, To.is is              provide 11ther advantages including fuvorabh~, stability at six
 because the act of disrupting the skin barrier will have th~               (6) months as reflected in the look of any substnntiol changes
 potential of causing skin irritation. With inari::1sed disruption, JS 1n viscosity, tfu: absence of phase sepa(lltion and CrYStalliza •
 skin irritation wlll become a grea1er issue. This is pnrticulnrly           tion ot low tcmperntures, and a low level ofimpurities. Mo·re-
 prob lematic with. topical OA treatments where the goal is lo              over, the present gel fonnulatio.n.~ odnere well to the skin,
 have the active penetrate into joint tissue and where the drug             spread easily, dry quicker, and show greater in vivo absorp·
 must be: utilized oo a Jong-term bosis due to the nature of the            lion in comparison to previously described compositioru;.
disease. The inventors have developed methods and compo- 40 Tims, the gel fonnulatinns of the preseUJ illvenlion provide
sitions that deliver more active Ingredient per unit dose lhaa              superiormeaasfor delivery ofdiclofenoc sodium thmugll the
 pn.-viously koown compositions, and th.is would bo expected                skin for the treatment of osteoarthritis, as compared to previ-
 to lead to a lower incidence of skin irritation.                           ously described formulations.
      The oompositioas oftbe invention use cliclofcnac sodium                   As such, in one embodiment, the present invention pro·
 which is a commonly used NSAID. Diclofenac bas four dif· 4s vides a gel formulntioo comprising, consisting essentially of,
ferent salts that show significant variability io the degree of             or consisting of:
 pcrm..-utioo in sulu!i.ons usmg tliffcre111 solvents. Minghoni,                (i) <liclofcnec sodium;
 for insinuai:. reaches that o diclofoaaa sail wilJl an organic                 (ii) DMSO;
 base is b.lsi lur lopioal upplic11l ions (Mingbeni et ol., E)< vivo            (ii) etlt11nc,l:
 Jtudy 11r1r1111dcn11ol pcr:m~tiou of fourdicllllennc saltsfa1m sel (iii) propylene glycol;
 diffcrunt vcWCIC!i, J1>ur. qf Phar,11. &r, DOI 10.1002/                        (v) u thickening agent;
jps.20770 (2007)).                                                              (vi) optionally glyccrol~and
     Other research points to microemulsioo formulntions as n                   (vli) water.
 ~cans for delivery of diclofcnac sodi= (KanlM.,; et 111., In                   In unothcr embodiment, the present inve11tio11 provides a
 vitro p(lnneutfon of diclofenac sodium &om novel mic.ro- S5 method vf !te;lting ustooacthritis in a subject suffering from
emulsion formulatlans lb.rough rabbi~ skin, Drug Develop·                   nrticu1ur pain, the method comprising the topical ad.min.istra-
 11111111 ResCIQn,/i, 65: 17-25 (2005); MdSarigullu 1. cl11I., Trans.       tion 10 on nffiicK'<I joint urea of 11 subject a therapeutically
d~al <lulivery of diclnfena,; sodium through nn skin from                   clfcotlve umount of.ll gel lormu lation com[lri.'!ing, c:onslstlug
 van.ous lbnnuh\lion~. APS Pl111r111lMTech, 7(4) Miele l\!l,                esse.11tlally ot; orconsiRtlftl¼ i:1J;
 llJ ,87 (2006)),                                                        60     (i) diclofonac sodium;
     Other topic:11 cliclQ(eooc COJuposi1ions are disclosed in. a               (ii) DMSO;
nlunbi:r of patooU; including U.S. Pat. No•. 4,543,251, 4,67.0,                 (H) elhaool;
2S4. 5,374166 I, 5,738.869, 6,199,(193 and 6,004,566. United                    (iii) propylene glycol;
Sllltes Pa1e01 J\pplicu1ion No. 20050158348 points oul tbat                     (v) a thickening agent;
various $Olv..:nts are widi,ly used for gel preparations, but 6! (vi) optioiw.lly glycerol; aod
notes that tlley nre litmtcil in potential due lo skill irritation.             (vi) water,
This refereoecsl:;cJ not(!S that gel compositions are associated            thereby treating osteoarthritis.




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                                                                                                                                 HZNPENN_00043889
                                                              APPX426
      Case: 17-2149                          Document: 36                         Page: 527                   Filed: 08/16/2017




                                                            US 9,168,305 B2
                                  s                                                                             6
   A further embodiment provides fur 1bc lJse of dJclofenac                   formulations are applied topically. In various aspects, !he gel
sodium in the preparution of a medicruneol for the treatmenl                  formulations are, applied twieo daily uod the poin con be due
 or·pain, the medit:amc,u comprising a gcl foOT1ulntion com-                  to osteoarthritis.
 prising, coni;isting es5cnlially of, or consisting of:                          These and other objects, cmbodimCOIS, and advautng<l!!
  · (i) l:llclofona<" ~odium;                                                 will become more apparent when read with the figures and
     (ii) DMSO;                                                               detailed dcscriptiOA wWch follow.
     (ii) ethanol;
     (iii) ptopylene g)ycol;                                                         BRlBP DESCRJlYJ'lON OF THE DRAWlNGS
     (v) a thickening agent;
     (vi) optionaJly glycerol; and                                       10       FIG. I show$ n bur graph offluuateofHilC and PVP gels.
     (vii) water.                                                              Praoz diffusion cells were dosed at 15 mg per Franz cell.
     In yc1 a lilrthercmbocliment, the preseatinvention provides
                                                                                  FJG. 2 shows a bar graph of flux rate of gels made with
 a gel formulQtion comprising, consisting essentiaUy of, or
 consist.ins of: o diclnfenac sodium solution and ul leasi one                Carbopol 981 and Ulttez 10. PranzdiJn,siou gels weredosed
 thickening agent, which con be sr:,Jected from cellulose poly- 15             with 200 µI per Franz cell.
 mer, u curbomcr polymer, 11 carbomer derivative, a cellulose                     PIG. 3 shows a bar graph of flux rate of carbopol !n 1 and
 derivativei polyvinyl alcohol, poloxamers, polysaccbru:ides,                 Clllbopol 981 gels. Franz c!IB'uslon cells wcre dosed at 50 µJ
 and mixtures thereof.                                                        per cell,
     In an aspect of lhl! embodimenl, the diclofonac sodiwn                      FlO, 4 shows a bar graph of'!lt11C mle orvarious gels lllld a
 solution comprises, consists essentially of, or consists of:           20    comparative liquid formulation. Franz cells wore dosed at l 0
     (i) diclofonac sodlum;                                                   mg per Frwv: cell.
     (Ji)DMSO;                                                                    FIG. 5 shows a bat graph illuslrntin_g the effect oflhe pH of
     (ii) ethanol;                                                            various gels and a comparative liquid formulation on fhix.
     (iii) propylene glycol;                                                  rate. Franz diffusion cells were closed at 7 mg per cell.
     (iv) optioaally glycerol; and                                      2.1       FlG, 6 shows a bar graph of flux rates of various gels. fll'.llllZ
     (¥) water,                                                               cells were dosed at 7 ms per Franz cell.
     In an aspect of the above embodiments, the thickening                        FIG. 7 shows a bar graph ofllox rotes of various diclofenac
a_gents crui be selected from cellulose polymers, cnrbomer                     forroulmions. The comparative Jlquid lonuulation ( LS%
 polymers, a carbomer derivative, a oellulo:1ededvative, poly-                dicJofeaac sodium) was dosed at 20 mg per Franz cell,
 vinyl alcohol, poloxamers, polysaccharides, and mixtures JO                  Solaraze® (a commt:rcblly available 3% diclofen8c sodlllm
 tbereot:                                                                     g_el) was dosed at l 0 mg per Fran:>. cell, 1111d a formulation of
    1n nn capcct of the nbovc gel embodiments, diclofouoc                     tLt>u,vt:.u liou, F \4/2, wustlusedal 15mgperFranzdilTusion
sodnim is preseu1111 J-S% w/w, such as l, 2, 3, 4, or 5% w/w;                 cell. At this dosing, all cells were dosed with equivalent
DMSO is pre.seut al 30-60"/4 wtw ;ethanol is present at 1-50%                 .imounts of diclofonac sodium.
w/w; propylene glycoi is pre:.e.nt at 1-1.5% w/w; glycerol is 3~                 FIG. 8 shows a bar g_raph of flux rotes ia mul1idosing
 pr~nf at .O· I 5% w/w, a thickening agent is present such th111              experiments. The comparative liquid fonnulation was dosed
the end viscosity of the gel Is bl;twccn 10 11nd 50000 centi-                 ot 0.9 mg per Franz cell at 0, 4, 8, and 12 hrs. A fonuulation
polse; aodwaterisaddedtomake 100%w/w.lnotherui;pect~,                         of the invention, Pl4/2, was dosed at 1.5 mg per lltan2cell at
glycerol is present at 0-4% w/w. Jo further aspects, no glyc-                 Oand 6 hrs.
crol is present.                                                        40        FJG.9sboW$a bargrapboffiux mtesofvariousdiclofenac
    In another aspect of the above embodiments, diolofeaac                    forrouloiions. Fro.oz cells were dosed at 20 11\8 per-cell.
slldium is present at2o/, w/w; DMSO is present at 45.5%w/w;                      FIG. 10 shows a bar grapl\ of data on diclofcODC flux rates
elllanot is presimt at 23-29% w/ w; propylene glycol is present               from gels dlsclosed in Baboota et al. and gets of this invcn,
at IO-l2% w/w; hydroxypropylccllulose (HYJ 19) is present                     tion. Frnnz cells were dosed at 4 mg per ooll.
at 0-6% w/w; glycerol is present at 0.4%, and water is added 45                  FIG-. U shows the drying profile ovcc lime of rhree gel
1o make I 0()0/4 w/w. lo other aspects, there is no glycerol in the           formulutions wid one liquid formulation of diclofe11,t1c
gel fom1ulation. [n furtb.er aspects, the end viscosity of the gel            sodium.
.ia 500-5000 ceotlpoise.                                                         P}G. J'2 shows the in vivo steady sra1e plasma conoentra-
    A feature of the ab<iw gel fomulatio.as ls thul when such                 lions of diclofenac sodium ofter administration of either a
 formulations 81\l 11pplicd to tbeskiu, thedryiogJ'lllo is11uicker .so        liquid or gel formulation.
and transdermal Oux is!Jighertbonprevlouslydeseribedcom-
positions, such as those in U.S. Pat. Nos. 4,575,515 and                          DETAJLED DESCRil'TlON OE' THE fNVBNTIO:N
4,652,557, Additiun1.1I featuJ'C!/ of IJ1e pruft:tred fonnulatiuns
inclui.le de.."T..-.iSt~I d1,'gTlldation of diclofo1111c soclium, which       I. Definitions
d'egm(lcs by less than 0.04% over 1be course of 6 months and .s.s                The tcon "transdermal" is used herein to geuerally include
:i pH of 6.0• l 0,0, [or llXllOlph: nivuud pH 9.0.                            a process that cx.-curs through the skin. The terms "traasder-
    ln ccrlllin cmbocliweots, 1hc icl t'ormulatious of the invcn-             ma!" and "percutaneous" are used interoha.ageably through-
1iun c,,mpri~e 1- 5% glyc:crol, wherein th,: 1:1d fotiilulution               out this specification.
when applied to the skin lms a drying rJte null tnmwemtnl                        The teau ''topical fonnuiation" is used herein to gene.rnl)y
Jlux gl\'81..:.r tb!ln a comr:i.rotive liquid formu!Ation, In some 60         includeaformull!Hoo th11t can be applied to skin or II mucosa.
aspects, !he drying rate results in a residue of at most 50% of               Topical formulotioru; lll,l)', for C1tample, be \l.sed to confer
~ •1amng amount a.fie, 24 hotm, Md1be tr110sden:w,l flux is                   Lherapeu1ic benefit 10 11 patiem or cosnu,-tie benefits to a con-
1.Sor mow grea1er Uum a comramtive liquid Jomiulatioo us                      sumer. Topical fonnulations can be used for both topical and
de1ermihcd by Pmnz cell pm<.'«lurc 01 finite or iu<inilednsing                l.nlilsdermal ndmlnistration of substances.
ur holli.                                                               65       The term "topical administration" is used herein to gener-
    ln othet~mbodin1(:ll1s, tlie gel fom11Jlntions and methods of             ally include the delivery of a b1lbstanoe, such as a thw-apcuri-
thefruae p1uvldll:t reduotlon ol'pttin owr 12 weeks when the                  cally active agent, 101heskinora localizedregionofthebody,




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                                7                                                                        8
    The 1enn ''tmnsdermal administration" is used herein to                wlw, suchas41,42, 43, 44, 45, 46, 47, 48,49 ettd 50%andall
generally iool udu aclmini~tration ihruue,h the skin_ Tu,nsdcr-           fr.,ctions in be.tween suoh a;; 44, 44.5, 45, 45.5, 46, 46.5%, and
mal ndmioiRlr.ltion is often applied where sy~temicclolivery               the like.
of lll1 active is desired, al1hough it may nlso be useful for                 1n cc,rtain embodiments, the presoot invention inc lodes a
delivering un uctivc to lissuesuaderlying the skin with mini- s lower alknnol, such as melhanol, ethanol, propanol, butanol
 mat systemic: ub-•o'l'tion.                                               or mixtures thereof. To certain cmbodimWJls, the alkanol is
    The term "J!Cnetration enhoncer" is used herein to gener-              prese"t et about 1 10 about 50% w/w. Preferably, ethanol is
ally include anage!ll tbut improves the lmnsportofmolecules               used at about 1-50% w/w, sucllas 1,5, 10, 15, 20, 25, 30, 35,
such as an activeogcnt (e.g., 0 medicine) intn or thJ:ousJt the           40, 45, or 50% w/w, and all fractions in between.
                   condlt1·00s 01ay occur at different sites in lhe 10        Io certain embodiments, the present invention includes a
Skin. "•,.;ous
         v .... ,                                                          polybydric alcohol, such as a glycol. Suitable glycols include
                                                          8
 body either io the skin or below 1h!l skin creating need to              ethylene glycol, propylene glycol, butylcne glycol, dipropy-
lI!rget delivery of compounds. Fur example, in 8 treatment for             Jene glycol, hexan.etr:iol and a combination lhereof Prefer-
osleoarthriti&, the delivery of the active agent into relatively           ubly, propylene glyco l is used at about ai J.J 5% w/w1 sucb as
deep underlying joint tissue may be necessary to achieve LS 1, 2, 3, 4, 5, 4, 7, 8, 9, 10, JJ, 12, 13, 14, or 15% wlw, nod all
therapeutic benefit. Thus, a "penetration enhancer" may be                 fractions In between.
used to ass isl in the delivezy of Wlnctive agent di.rt.."<llly to the        In certain embodiments, the present invention includes
skin ot underlying tissue or indirectly to the site of the disease        glycerol (also referred to herein as glycetioe) at a concentro-
thJ:ough sys1emJcdJstribution. A pene1ration cohancer may be              iionof0-12% w/w. Preferably, glycerol is used at 0-4% w/w,
u pw·e substance or may comprise a mixture of di:lfereot 20 such as 0, J, 2, 31 or 4% w/w, and all fractions in between. 1n
chemical entities.                                                        some embodiments, no glycerol is used i.o the formulatioo.
   The term "finite dosing" is used herein 10 generally include               Jo a preferred cmbodimen1, the present invention provides
an applill2tion of a limited reservoir of ll,Q uctjvc agent. The          a formulation comprising a diclofenac solution t1od at least
reservoir of the active agent is.depleted with time lcadiog to a          one thick<ming agent to lilllke a gel. The al least one thickeo-
tnperlng off of the active abso!Jltlon rote after a maximu01 2s ing agent of the present invention awy be an acrylic polymer
absorption role i9 reached.                                               (for example, Corbopol polymers, Noveon polycru:boplrils
   The term ''infinite ~osrog" is used herein to geoer11lly               and Pemulen polymeric emulsifiers available commercially
include an application ofu large reservoir ofan active agent.             from Noveon Inc. of Cleveland, OWo), an acrylic polymer
Tiie reservoir is not significantly depicted with time, thereby           derivative, a cellulose polymer, a celluJosc polymer dcriva-
providiag 3 long term, continuous steady state of uctive 30 live, polyvinyl alcohol, poloxamers, polysaocbarides or mix-
abl!Orption,                                                              rorcs thereof. Preferably the at least one lhicken.ing agent is
    As used herein, lhe tenn "comparative liquid forrmltion" or           hydro><ypropylcellulosc (HPC) used such that the end visco•-
                                                                          ity is between I0and 50000centipoise(cps). MorepreferabJy
"comparative'' refers IO a formlllation sucb as ihar described            the end vi~oosity Is between 500 and 20000 cps.
in U.S. Pat. Nos. 4,575,515 and 4,652, 557 oonsistingof 1.5% )~               Tile p,:esentgel formulation may option.ally includeatleast
diclofenac sodivm, 45.5% dimethylsu lfoxide, 11.79% aha-                  one antioxidant and/or one chelating agent.
nol, l J .2% propylene glycol_. I l.2% glycetine, and waler.                  Preferred antioxidants foruse in the present invc.otioo may
JJ. Gel Fonnulations                                                      be selected from lhe group consisting of bu\ylnted hydroxy-
    l. Components of Che Gel Fonnulatioos                                 1oluene (BHT), butylated hydroxyanisole (BHA), ascorbyl
    la order to provide a d.iclofenec sodium gel fonnulation 40 linoleate, ascorbyl dlpalmltate, ascorbyt tocopberol maleate,
having improved properties of drying time, increased trans-               calcium asoorbatc, cnrotenoids, kojic acld, thioi;!ycolic acid,
dermal flux and greater pbarmacokinctic absorption in vivo,               tocopherol, lOi..-opherol ac:etate, tocophereth-S, tocophereth-
lilghcr viscosity, good adhCl"l.'fl~'C to tile skin, and ready            12, tocopheteth-18, tocophereth-80, andmixrures thereof.
sprt.'Sdability, while maiutuining stability over tltne. the                  Preferred chelating agents may be selected from the group
lnvct11ors bavc dlsrovcrccl that o ~urprib:iogly advuntn~eou~ 45 consistingofethylenediaminctolmacclic acid (EDTA),diam-
too1blnminn ortbe lbllowingcompo11eol.5 C!lll be lt~ed in the             monium BDTA, dipomssium BDTA, calcium disodium
prcparu1ioo ofthe gel compositions of the present iovonlion.              BDTA, HFDTA, TE!A-BDD\, letnlsodium EDTA, tripotas-
   1110 pr,;seu1 lnwnth"\11 pf'llvidt:11 gel fommlations compris-         sium EDTA, trisodium phosphate, diammooium citrate,
h1gou nctlvea1;eu1, ptcfcrably a non-steroidal anti-infln111m11-          galactaric acid, gnlucturonic acid, gJuconic ueid. glucuronic
lory_ dnig or phanuaceulit:ally t,aceptnble sails thereof More so acid, humk acid, cyclodextrin, potassium citrate, potassium
PJ'OJ<m1bly, lbc non-meniiclal 11n1i-in0omma1ocy is dlclofcntt<:,         EDTMP, sodium citrate, sodium E!DTMP, and mb,tures
which _cnn exist i.11 a v-.iricty or salt Ionns, including 110dium,       thereof.
pOIOssmm, oud dk'lltylamine forms. l,n a prcfenecl. embodi-                   In addition. tbe topical fomrn l11l1ons of the p.rcsent iuvca-
m~~I, the ~ium ~alt of diclofonac is used. Ditlolbnuc:                    tion cnnalsocomprlse11pHl1tljus1u\g,nl!el\t.li1011t1particul11r
sod,um may bu pn:sent in a range ofapproximately 0.1 % to 55 embodiment, the pH odjustin,g agent is a base. Suitable pH
10%,suchas I , 2,3,4,or5%w/w. Uscof1hosodlumsultlw~                       adjusting bases iuclude bicarbonates, carbonates, and
been known lo create a challenge wi1h ~))001to slllbility or              hydro:ltides such as alkali or alkaline earth metal hydroxide as
an aqueoui gel in lba1 higher sall-conccn1rn1ions Clln 0111.m: a          well as transition metal hydroxides. Alternatively, lhe pH
breakdown in the gel m,urix 1l1rougb inlcl'ilttion with certain           adjusting agent can also beun. acid, an acid salt, or mlxtute.'i
lhlckening U!!(!l11$.                                                  60 thereof Further, the pH adjusting c1gen1 can also be a buff«.
    ln 11nother eu1bodin1e111, ihe preslll.lt invuntion includes n        SLtitabJe buffers include citrate/citric acid buffers, acc1ate/
pcoetrnH?n ~nhl.uK-cr. 11,., penc1ro1ion.cnluwce,· nwy b1.< dllll·        aretic acid buffers, pbosphatc,/puusphoric acid bulTcn;, for-
ethyl sulloxtde("'DMSO") or derivative,; t11crt.'Of. The DMSU             lllllte/foanic acid buffers, propiooale/propioruc acid buffen.,
rruiy ~ present In Pn lllllount by weight of l% tCI 70-A,, and            lactate/loctic add buffers, carbonnle/carbonic acid butlers,
ruore prefornbly, be1wc.:n 25% nnd (10%, such as 25, 30, 40, 65 ammonium/ammonia buffers, and the like. The pH ndjusliog
45, 5o, _55, 0 ~ GO% w/w_ rn:fcrably, OMSO is used in the                 agent is present in an amouot sufficient 10 adjust the pH oftbe
JUl'!iCl111 nv1:11t101\ 010 conccn1mfro11 of11b(lut 4010 about 50%        composition to berween about _p H 4.0 to about l 0.0, more




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                                                          US 9,168,305 B2
                                  9                                                                        10
  preJe.rably about pH 7.01011bout 9.5. tn ccrloin embodiments,            1ion. ·mis c.m be particularly imponant in compositions that
 1hc unndjusted pH oftheu<l11ti~ccl mror,onent• ,~ h<-Jw,.,.m 8           are<lesigned lo increase skin permenblUty.
  nod Jo, b'llchas 9, wit!Jom !he need for the eddltion of any pH             Thus, in some embodiments, the present Invention pro-
 adjusting ,1gcnis.                                                       vides a diclofenac sodium gel fommlatloo that degrades by
      '2. Chttr:ictcristics of !he Gel Foonulation                     ~ less than J % over1he course of 6 monlhs at room temperature.
      a) Ttnnsdemull Plux                                                 More prdcmbly, the rate of dcgratlntion js less tl1:111 0.9, 0.8,
      As shown bc(ow in the Examples, the prcscut invention               0,7, 0.6, 0.5, 0.4, 0.3, 0,2, or less than 0.1 %, nnd 11U fl'!lctions
  proviclCii diclolcnncsodium gel fonnulntions thnt di~pl11y s11r-        ln berween, over t be cc:iurse of 6 monlhs ut room tN11pemh1te.
  prisingly eli,-ctive :Jte. ~1( l.ran~crmai nux when compared                tl) Drying Tune
  to proviously descnbCll lonnulahon.s,                               10       Relu1ive in previously disclosed compositions, such as
      Accordingly, in om;e111bodimen1, the present gel fonnula-           those in U.S. Put. Nos. 4,575,S IS ond 4,652,557 {lt:rmed
  lion comprises a non-steroidal an.ti-inflammatory andat least           here.in as "comparative liqujd formulntion" or "compara-
 one thickening agent and having a nux, as determined by a                live"), the compositions of the mveutioo dry quicker wbile
 finjti, dose Franz cell prooedurc, equal10 or greater than the           aoh ieving hlgher tmnsdermal flux of the drug. It is surprising
  fluxofacompamtive1iq1ddformulation. Preferably,theflux JS that rugher flux rnte and quicker drying can be achieved
 is greater than the flux ofthe compar11tive liquid formulation.          together as skin hydration is known 10 increase trnnsdennal
 More preferably, the flux is at least LS tim.es greater than the        .flux or pcnetrntion. 1be drying of lb.e skin caused by rnpid
 .tluxofthecompu.ratjve liquid formulation. lo other words, the           evuporotlon would tend 10 reduce !he transdcnnal transport of
 Mi.o of. (i) the flux of the gel formulation comprising the              dn1g remainiog on the skin. The drying time difference is
 noo-stemldal anti-io.tlammatory and at least one thickening 20 evident wbencqu11l amounts of the two products nro tested on
 agent to (ii) the flux oftbe comparative liquid formulation is           oppositl.! limbs. Within. thlrty (30) minutes lhc compositions
  pfeferably greatettbao 1.0, and morepreferablyatleastabout              of the Invention are almost 1.,-ompleteJy dry whereas a signifi-
 1.5.                                                                     cant a.mount of tho previously desoribed liquid fonnulatioo
     In u further embodimtinl,1he present invention further pro-          remains.
 vides a diclofenac sodium gel formulation comprising a lS                    To compare the drying times more q1.13otitatively, side-by-
 diclofonac solution and a1 least one thlcJc.ening- agent and             side comparisons were conducted, To aoc?mplish this, 1he
 haviog a nux os dctennined by the finileFmnzceU procedure                inventors measured the residual weight of fonnulatioos by
 at least eq_ujvalent to the tlux of the diclofonac solution alone.      placing equal amounts (l 00 mg) ofu prior art fonnulation and
 Preferably, the diclofenac 1mdium gel fom1u1otion luis a flux            oompositionsofthc invention in weighing disbes ove.r: 10 cm2
 that is at least 2.0 times greater compared ro the flux of !he JO ureas and weighing the amoUJ1t remaining ovcc time. Using
 diclofenac sodium solution alone. More preferably, the                   lb.is metho<lology, ad.ilfereoce is immediately ooticeablc, ood
 present invention provides a diclofenac sodium gel fom1ulu-              becomes dtol118ticully dl ffcrept by4 houn1 Clable I l and PlG .
 tionbavinga flux that ii 111)east 4.0times grcate.ccQmparedto            10).
 !be flux. of !he diclofeoac sodium solution alone, 1n other                  e) Pbarmacokineti<:$
 words, the rutio of. (i) the llux of the d.iolofeMc sodium gel 35            A comparison oflhe absorption of diclofenac ~dium of
 formulation to (ii) the flux of the diolofunac sodium solution          compositions oJtbemvention and ll comparable composition
 is at least about 1,0, preferably at least about 2.0, more pref-        from U.S. Pal, Nos. 41575,515 and 4,652,557 was cooduc1ed
 embly at least about 4.0,                                               in animals. The gel~ of the invention were shown to have
     li;i ayet further embodimeot, tbc present invention provide$        improved absorption ona per dose basis than the comparative
 a dicJofenac sodium gel fonnulation comprising diclofooac 40 liquid composilions of these patents. In absolute terms, the
 sodium and at least one thickening agent and having a flux as           cJinjcal dose ofl.be gels oftlie invention delivered a maximum
 detennined by the multiple finite dosing Pranl7. cell proc.."'<lure     observed plasma concentration (C.,.,) ot steady state of 81
                           1
 (dosing 01 2.Smglcm ct Oand 6 hours) or at least 0.1 µglhr/             ng/ml UJJtl an area und~r tbe curve (AUC) of 584 ng/ml. This
 cm1 at 24 hnurs, prelen1bly at least 0.211g/hr/c:m 2 ot 24 hours.       com11Ul'Cl.l to 12 og/ml ilnd 106 ng/roJ for the L-ompamtor
     b) Viscosity                                                    45 compositions.
    lo another embodiment, the pr,>Seot invention prnvides a                 These result~ •-peak to the properties of the vehicle i.a
 gel formulation comprising a non-steroidal llI!ti-inflamma-             delivering !he active agent, The hi~er atunbers for gel were
 lory dnig (NSAID) and a t Jcai;J onu-thickenfog ugcnt. the gel          ~wn even though thes-olu1ioo composition was dosed four(4)
 forruuJalion haviog a viscosity ofol least 100 cP. Prcforobly,          limes per da)' (total 5.2 ml) compared lo twice (2) per day
 1h11 !!.Cl formul11tion ba! a vist'<lsity of nl lcust 500 ell. More so (10ml 4,0 ml) rorthcgels.
 prufornbly, (he gul fommlntionhas u visi.-oshy of at least I 000        ID Preparation C)f gel omnllalions
cP. In other <ITTtbodiments, the viscosity is 5000-10,0UO,                    lo another eu1budlml.!llt, the pn:sl.'llt irwemion pl'()vi1[es u
 10,000-15",000, or 15,000-20,000 cP.                                    metll«I for making.gel formulations of diclofennc ~odium.
     ru II further t.mbotlimeut, lhu prcswt invcutiun pl'Qvides u        The gel i'ormul:i1ions nf the present ioves1ho11 (tr~ preferably
dlcli:ilenac gel formuh,Goo comprisiug a diclofun~c ~olutiou ss mmle by carrying out the foUowing steps: (i) dispen;ing the
1uld nt least oue U1il1kening ngeat, 1hc gel form11llltioo having        thiclooier, derivatlvu lhel'l.'Of und/or mixture thereof in dim-
n visco~i1y ol' IIJ'OUttd 1000 oP end a nux of at least 0.2              ethyl sulfoxide a1itl ~tirri11g fur I buur: (ii) dfasolving
µg/cin.2/hr as deteanined by the multiple finite dose Fran7. cell        diolofenac sodiwn u1 an aqueous olcoho l .ll1ixtu.re- (e.g., au
procedure (2.5 ml!,lcro1 et Oond 6 bours-) at 24 hours.                  ethanoVwatcrmixture); (iii) dispersing propylene glycol and
    c) Stability                                                     60 glycerol into the NSA!D solution from (ii}; and (iv) mixing
    Tim ,ifabiliry or a dl\13 product <.-ompo$iliou ciu1 have u          the re~ultin11, NSAJO solution into !he thickeoer/dimelhyl
&ignllie,,nJ imp11Ct on the lcugth oud co51 of dmg develop·              rulfoxi~ bleud and siirriug fur I hour at ambient lempern-
lTl"nt, the nmuro of' t.l:ie rtutlics required to ~uppon rcgnlutory      ture. Altematively, the gel furmuJetions of the present inven-
JCubmlssiuns, oud the ultimate swet.y and appl'Qv3bilily,                tion may be made by carrying out the foUowing steps: (i)
    It is impuctun1 for in.qtnncc to minimize die amounl nJ' 63 ilissolving1heNSAlD (e.g., diclofeuacsodium) in an alcohol
irnp11rlties ord.:w-adatioo products thut   ram,    overtime due 10      solution of DMSO (e.g., lln ethanol/dimethyl sulfoxide mix-
h1lemctions bctWL'Cn the llltri<nL~ iuycdicnt~ lJ, u cornposi-           mre); (ii) dispersing the lhfokeoer, derivative thereof and/o.r




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                                                                 US 9, l68,305 B2
                                    Jl                                                                               12
   miluun- lhcrcofin a 10lution of ,Y111cr/propyleuc glycoVgl)'C-
   etol Md stirring for I hour; (iii) mixing lhu NSAlD :K>luuon           eiwmple, ~~y be ~rlabelit,g approved by lh1.1 U.S. Food ond
                                                                          DrugA~1 1,.1111t1uu ro~~rcscr1p1iou dntw,, , urnonpprovro
    from (i) illlo the lhfokcnc, blend from (ii) oml .tirriug fo.r I                                                      0
                                                                          ~rodu~t U1Sert. Com~s1 nom 1.-om)1ri$ins a prupurJtion oflh1;
   hour al wnbi<!tlt tcmpcr.rtun:. neating can also be used during        mvcnuoo fom1ulaled 10 a compatiblu ~lamiac:eutical cnrrillr
   lhC$C mixing pn1cest1.-;; tu help facili1a1e the gel fomu,uon
                                                                    . s may also be rrepared, pluce~ ·~ an apprnprin11; 1X>nta incr, rulll
       IJiclofeWJc liOdium may be prcs<.'lll in a rouge of approlli-      lllbeled Cot u-eat,ncnl of an 11Jd1cate<1 condition.
  lll:llCly 0.1% to 10-A w/w, such as 0.5. 10, 1.5. 2.0, 2.5. 3.0.
                                                                             The followmg examples arc offen!d to illustrate but not to
  3.5, 4.0, 5.0, 6.0, 7.0, 8.0, tlnd 9.0% w/w.                           litnit, the claimed invention.
   IV Methods oflJse                                                                                                           '
      Compositions or the invention are particulnrly suited for 10 v ExllIDples
  use in Lreal ing os100:,rtluit is (OA) cluvnicully. They 11,ay also
  be usefu l lilr the trc:itmenl of other chro11ic joint diseases                                    Example 1
  charactemod by joint pain, degeneration of' lltticular coni-
  lage. impaired rnov,m1e111 1 »nd sti ITncss. Suitable joints                                Materials ond Mclluxls
  include lhe knee. dbow, hand, wrist nml hip.                         u
      Due lO the pm(ICl1ies of higher Oux and greater in vivo                roblc I provides o listoftbcmaterialsused in thcexnmples
  absorption, it is bclil.-vcd that the fon11ulu1io111J of the present   provid~'II below;
                                                                                       TABLE I


                                                                                            fW        Source               Vt,ndcr~       CAS
                              81-!A       l!utylat<d hydmxyilll...,lc                       180.24 S1gm&
                              llHT        11\llylaial bydrml;y\oluciie
                                                                                                                           012.Sl        2.SOJ3-l(>.S
                                                                                            210.36 SpccltWD                llHI 10-07     12S-J7.()
                              Clrl>9-0    Cait>opol 940                                            NDYoon                 C...bopol9'11J !lOOl·OH
                              Cub971     Carbopul 97 l
                              c.u1,974                                                               Nmaon                Cubopol97l     ~OOJ·OH
                                         Carl>opot974
                              Ctut,9&1   C11bcpoJ QIJ                                                No•-
                                                                                                     No,,con
                                                                                                                          Clrllopol 974 900,HIJ-4
                              CublJ42 (' o,l,opol 1342                                                                    Carl>opol 981 9003·01.J
                                                                                                     Novcon               Corbopol I 342 9003-01 4
                              Dlcln      Dtclof<ll.lD S<Klturu                              )18.t    ubochim                             ISJ0179·6
                              OMSO       Oliti<lhyt Slllfoxldc (USP)                         711.J   O•y!otd
                              JllYTA                                                                                      llM·2~SI       67-EI-.S
                                         OL"3d,..nEllly~l !lffllltuO Cllle
                                         D1!rydl>Le
                                                                                                     VWJ.                 MKIJ~~04       6351-9H
                             !!\OH       lillunot (USP)                                      46.1    Sprttnlll>           01015          64-17-5
                             Gly         01)(:Ujn(IISP)                                      92.1
                             Gui,
                                                                                                     l'todOr & Gamble     Sl.pm,IV       56-lt·S
                                         Cluati;um
                                                                                                     Sp<cinrm             0 10-44        POOO·J0-0
                             IIEC         Jtydroxy<illyl a,,U1J/04r - Ntlmrol 250 M                  Hco:ulcs
                             IIPMC        Uydroxypropyl methyl ,-.,Uulosc                                                 N•t"5ol 250 M 900'-62-0
                             HY l l7
                                                                                                     Dow Chroucal         Mdllocd ll4M !XJ04.6S-l
                                         Uy11r1>,q,ropyl coll<tl-                       9$,000
                             HYt19                                                                   SJ>'lCl1UID          JIYll1       901)4,64,.2
                                         HydroX11topyl colhilo,c                       370.000       Spc:ctnJm
                             Locu
                                                                                                                          lfYl19       9004.c,4.2
                                         LoouJt lkan l!ll'"                                          Spci:llllm
                             Pq;JOO      Poly(cthylcnc gjywl) JOO (USP)                                                   LtlJS          ~2
                             p(l
                                                                                         -J-00       Spccuum              l'OIOI         1SJ2l-61·l
                                         P"'l')'lou Otycal (USP)                            76.1     Dow Chcuucat                        51-5s-6
                             l?VA        l'<lu,vinyl •l«ihol                                4'1.1    SlgmA                81386          9002,H<J-S
                             PVl'        Polyvu,yl pyrrolidonc                         360,000       SJpa
                             N07                                                                                          81"40          900.l-.l!H
                                         Pobtam<r"477                                                Spccuwn
                             UIIICZIO                                                                                     Pt126          !IOOJ.11·6
                                         Ulttt>.10                                                   Navcon               UhrczJO        9003.()t-4

                                                                          45
   invcnti\lllCllll bcadministerod III low,-rdosingthan prcvio1tsly
                                                                            Thcgeooral methodology forpro)lunilion ol'each exrunpl~
   d~cribed formulotious. lu parliculnr, ii is expected 1h01 1hc        provided is ns follows, unlc~s otherwise indicn1ed.
  compositioos of the invcot,on can be used ot twice a day                 Final weight for each formulation WllS 25 g prepared in
   dosing or once a day dosing in 1he treatim:ot of OA. This            50-mL gloss via Is. Vortuxing or mngnetic stir bors were used
   wQUld represcnl a significnot improvement as lower dosing is SO 10
                                                                            ll!ix the gels.
  usociated with better rntic111compliaocc, an impo11ant fac1or            Visco$ily was mllllntred ot 22° C. using Orookfield DV-111
  in treating chronic ooaditi\ln,.                                      llllnl, progrnmnwhlc Rhcomclllr with LV SpimUe 1131 at 10
       Suitable omOWlls p.r udminiruotion wil I gcul'rally depend       rpm f'OI" stability 1c:,1ing. gels were stortd al umbicn1 tem-
  ..,,, the isi1.e of the join1, which vori1.-s per individual and per  perature or in on incub11tora1 SO" t:. Ois(.-olonition or changes
 joinl, however a s11it11blo amount llll•Y rmi&c from O.S 111/cm¾o 55 i.u
                                                                            uppearnncc including phnsc ~..,,urution over titm: were
 •4.0 itl/cm 2• Pn:fcrubl~ lbc llnlOWII rlll\ges from 2.0 10 3.0       evaluated.
 µI/cm' .
                                                                           Thcconcc111nllion ofthe DMSO was 1.-onsis1c111 in all of the
       C<1mposi tions of the present invention may, if desired, be     experiments (45.5% w/w}. Propylene glycol was at either I I
 presented in a bottle or jar or olhcr t.-olllaioer op proved by the   or 11.2% w/w. 11tho.nol concemration varied from l 1% 10
 FDA, which may con:aii1 one or more unit dosage forms 60 30%
                                                                                wfw, Glycerol con<:cnlrations were varied from O to
 cuntoining lhe ~etivc- ingredient. ·n,c pnck or Jispcns~T may         11.2% w/w. 'll'IC dickiwnat· sodium cor.cCJ1tration wns al
 also be accompanied b) a no1icea;socin1ed with the cootaincr          cither 1.5% (w/w} or 2"/o (w/w). Wnlcr was odjusred lo com-
in o fonu prescribed by u govemmcntul agency reguloting the            pe11~111e for the amount or inuutives, lhic~eniog agenls, and
wanufacturc, use ur Slllt: <>f pbarm11c:uu1icals. which nolic" 65 diclofenac sodium
indicote,i ur,prov:11 by the agency of the fonn of the composi-                             present in solution.
                                                                          Prnnz diffusiun cell experiments were \lSl.-d ro aualy.te
lioDJ forbuman orvelcrillllry admittis1rod<>n. Such notice, for        diclofenac aodium fluic rute.~ of varying gel foonulntions




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                                                               US 9, 168,305 B2
                                     13                                                                           14
     across II rubstratc membrane. Frenz diffusion cells are a CQm·          gels ronn relatively =lly and tle1noo.11ro1e a good Oux pro-
     moo and well known methnd for me»•nring tninsdenn:il 6ux                file, the gclB uit ydlowi,b ia tolor aad ure swsceptiblc II>
    rmcs. The general Prauz cell procedure is dc:;crlbcd in FmnY.            phase scparalion over c1t1cndc..-<l pcrillds of st11rogc. Ts1hlc 2
    T. J., Pcrcutlm~-ous abi;orption: on the relewnc:c o( iu vi!tO
    oola. J ltrvrst IJ.Jrm, 64:190-1% (1975). 'Ilic following was s shows             thecompositiou1 oftlll!SC fomumlions, and lbercsuh·
                                                                            ing llux vnhies of tJ1esc c:ompo.itious as compal(.-d with "
    the methodology lilied in the present Examples.
                                                                            curupamtive liquid formulation ore shown in Pl<i, I.
         Franz cells with n 3 ml receptor well volume were used in
                                                                                l'VP tbickuning :agents: PVI' wn~ lidded at up 10 ti% w/v
    e-0njuncLinn with split thickness C!Jdavcrskin (0.015"-0.018".
                                                                            on~-r all other L'Ompont'llls of the compnrn1ivc liquid base
    AlloSourcc), Tht!donorwell lUld on nrca oC-0.5 tll\ 2 • Rcc:q,-
                                                                            formululioo were mixed. PVP gels aro elem in lllllurc, but
    IOr wells were lllled witJ1 isotonic phosr,IIULC buffered snlim.1 IO
                                                                           suffer from on undesirable 1acky feel when drying. Tobie 2
   (P13S) dupc.-d with 0.0 I o/o sodium nzide. the 11.onges or the
                                                                           uod FIG. J shows lhccomposilioo nnrlnux dntu for this gel. In
   Fron, cells were cooled with vacuwn grrosc to ensure a
                                                                            1hi.\ exwnplc, rron.t di!Tusinn cells w~ dosed at IS mg per
  c:omplcte scoJ and were clamped t0gc1her with unifoan recs-
                                                                            Pmm>. cell, As can be Sten in PIG. I, PVP gels performed
  SUN UBing 3 pinch clomp (SS ff lll VWR 80073-350). Aller
                                                                           rcusom1bl)' woll, but tl1cir 11ndC11irubl~ aos1hcli0 quuli1ies do
   l1mn1 cells were nsscmbled, lhc skin was olluwed to pre- 1.s
                                                                           nol malcc them ideal for o comnu:reial cmbcxlinwnL
   bydnne lo1 45 minute;; with 1'13S. POS was then rc1110wd ond
  an appropriate amount of fonnnlntion is added to the skin.
   Dosiug levclsvuried from 2 mg/cm1 (con~ider1:tl 6nitl.l do,c)                                          TADLE2
  to 200ml!/cm1 (considcrcd infiuitedose). The donor Well WU$                     Comi,oll•mo n!l!C ....t PVI' i,ell UIC<lm ('Oll<OJet&, lluu.,e
  then capped to rrcwnl Cl'IIJlllrllLion. Receplnr wells or lhe :?ti _ _ _ _ __ _
                                                                                                  _.i_.,_.altcN._~8~ 1-D1-19-·L
                                                                                                                              ~ - -- - --
  Fmm: cells were maiotuined at 37n <.:. (tcmpemlure on the
  »ttrfoco of 1J10 skin is -31° C.) in o stin:ing dry block with                                                Fonnul111lon amc
  cootimuil agilation via a stir b<lr. S:unpl1lS were drawu from
 lbc r~q11or wells at >azying lime po1111S. MeasurenlCtlll were
 mocJc iu 11ix-fold replicutes. Tbc conccntmtiou of diclofc1111c 2} Wai,,,
                                                                          Pcrcc&Ag..
                                                                          ID
                                                                                           llcclb Ela:2b _pv1'1b
                                                                                          """"" WI/wt% wi,...1%
                                                                                                                                 PP54
                                                                                                                               ,.tfwl %     ..-.....,~
                                                                                                                                           Compom...,


  in the samples was; Ulllll)'J,cd using high pcrformnuce liquid                            18.81  18.81 IS.St                   18.31        l8,8l
 ohromntogrophy. 1k inventive formulations perJbancd bel-
                                                                          Dimethyl         ~5.S    •s.s 45.S                    o.s          4S..!
                                                                          Sulto, ldc
 le..'!' llwn the comporaior ut the limits nf finite dusing- flnite       l'lopy!CDe       11.2    ll .l        ll.2             11.2        11,7
                                                                          glyool
 (losi11g being o much belier pn.'llictor O r111e pcr(ormnn~c <'I I'O     Ethanol          11,79   l I 79       I 1.79          .1.79        l 1.79
 lon11ulo1ion in nn in viv,, situation as op))l)';cd to infinite JO Olycttioe              11.2    11.2         11.2            ; 1.2        ll.l
 dosing.                                                                  D.clof._           IS     1.5           1,S             1            1.5
 A) Gel Formulntio m Derived from o CompW11tivc LlquiJ                   SoJlum
 Hase Solution                                                           'fh1o:k.:not      HEC     HEC          PVl'       Cait,op<,I 97 l   none
                                                                               w/\-ol'"'        1.1      I.J      8            I
                                                                               dll<:kcacr
                               8xample2                                       add<Jto
                                                                              IK>IUtloo
        Gel Fonnulntioas Using VarioU5 Tnickcmun in a
        Comparn1ive Liquid Pormulation Base Solution                            C-arlx>rol 11tickc11iug agents: Cari>(>f'C)I gc.ls were fomied
                                                                             by: ( I) disper..in& an IICl)'lic polymer inllJ a mixture ofwaicr,
      lnhlully, several thickeners inoludinge;m,omcrs, p<)lyvlnyl 40 glyccn1l,ru1dpropylcn
                                                                                                        cgl)'cnl lbllowedby9rirriug for I hcur;
  r,yrrulidouc. locust gum. cellulose polymers and polyvinyl                (2) ['l\.1)aring o sc:concJ solu1ioo or 1.5% diclofcnoc sodium
  nloohol weru tested for their efr1,c1iw11ess nt fomting o                 dissolved in cllwool ond DMSO. (3) mixing lhe diclofcnac
  diclofonac sodium gel using the compumtive liquid fonnulu-                solution into the c11rbopol phn~c. /\n nhcmatc method for
  lion us o boJio ~olution. ht the gel fonnulotloos Ill' this               lbr111ing corb<>pol gels is os foUO\!f~; ( I ) dispersi11g the car·
  HlUllllple, a ~-ompllmtivc liquid formulo1ioo solullun wns pn)- .u bopol into
                                                                                           dime1hyl sullbxid.- oud stimnp, for 1 hour; {2)
 duccd and a thickener was \hi,n acJdcd dil'l.'Clly 1n 1his base. In        dissolving diclofcnac liodium in an ctbanoVwater/r,ropylene
  order to faciliw1e the inc..'Orporation of lhe tltic:k~-ner, snnica-      p,ly;.-ol mixtun:; (3) dispersing 1:1lyccrol imo the diclofcnac
 1inn nod heating (nl 6 ()• C.), along with vigorous vunexing/              solution; and (4) mixing thcdlclofonac soluti<lllillto the poly-
 hom()gcnizaliuu wcrer,crfonned                                            mcrldimcthyl sulfnxidc blend.nod stirring for I bourot nmbi-
     Some thickeners, specilicully gw,r gum, locust beau gum, 50 ent temperature. Thc.-se
                                                                                                        methods of mixing con be carried out
 methoccl (I IPMC), polyvinyl aloobol, amt polo1tnnier 407                 OI room lc.'111pcrnture, or elevated 1empcmt11re i!'desired, V.1ry-
 failed 10 form s111blc gels. Jn particu lar, immediolc scparn1lon,
                                                                           ing caroopols were usc.-d to mnke gels including: Carbopol
 iocfficicnJ thickening, nncJ insolubility of the tbickl.'Ocrs was          I 342, 94 I, 97 I. !.JR I, 974 nnt1 Uhrez 10 {Novcon, Inc:.). All
 notod. tiels were fOllllod th.it sh.owed inilinl st11bility wiU1          cnrbopnl 11,els were ck'llr, proved stable tn both frew.c-thow
 scM:rnl tcll11lose JlOlywcrs iocludin~ hydruxyc1l1yl cellulose ss c.-ycling and incubation
                                                                                                         ot clt.'Vlttc.'ll tc.'01pc;mture (So• C.J for
 (Nn1rosol HIIX) and hydmxypropykelluloi.e (IIYI 19).                      one month. ond hlJd good flow c:hllmcteri~lics. Tobi es 2, 3, nod
Othcrtltickem.'111 thnl showed an inilinlly ililblc gel were PVI'.         4 show IW.. composil iun or lhcsc gels, and FIGS. 1, 2, and 3
Md acrylic Jllllymer tbickenlll'S.                                         show their rc~11ive llux.A swblca11d clcar11cl could bu formed
    1l1e specifics of gel fonnulation for each tbick.:11er nre             ut cnrborol cmacClltrotions of ->0.3¼ w/w when n111king P,clil
provided below;                                                        &> with 1.5% w/w diclofende sodium. For gels with 2¾ w/w
    Hl<C thickening agents. A lower weil!,ht molecular wcigJu             diclofunnc sodium, ->0.9% w/w cJll'bopol wru. nl!l!ded to
hydmxy~"lhyl c.iltulosc (11J1uc:Uically I lydn:ntyclhyl Cellulose          mul.-e ~, ~tublc gol. The exaci umou111 of co rbopol needed 1u
(J Il!C) Type 250 M Pbarm (Nurmsol®)) WU3 dispersed in the                 from o gel dt-pcndccl nn tb.: type ur carbopol used.
mixture of dlmcth)'I sulfO!Cidc., pn>J!)'lcne glycol. glycerine                For the fonnul.ilions ofTablc 3, 11rJIV dilfminn gets were
aod water WJd allowed 10 swell ror obout I hour. PicJof..,mc &S
                                                                          dosed with 200 111 per rrruu. cell. Crutc,pol gels uniformly
socJium was dissulvcd in ethonol ond alldcd to thi! I IHC/                showed incrcnsed Oux rn1csovcrtl1ecoanpanative fuOI1uloliun
solvent blend 10 obtain a linal formulation. Although llEC                (St.'C lfJG. 2). 'lllickcrgcls (i.e. 3elswitb hil!l1cr-wciib1 pt.'l'CCDI




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                                                                    US 9,168,305 B2
                                      15                                                                         16
  carbopols) telllled tl, huvc IL-ss flllx thuu a composition with a               pani~-ular, corbopul ~Ii. dJd not remain stable. Jlo,vcver,
  lower wei!!ht pen:cnt.11¢ of lhc same corbol)Ol.                                 t~·ll•oo..c ~l, were unifomlly eflective at Conning g~ls. In..-
                                                  TABLE3
                       Con1PO••... or gel• mado with Clttlopol 981 and UI= lO
                          •""1    to.,...,,.,.
                                           tho Rux rate da1• fhaw11 in FIG. l-



                          Pl/A    fUB      PUC            P981J     J>98lb    1'98lc      CootpamUvo
  Petee11t..gct ln      o,1/wt ¾ wt/wt'W, wt/wt%         wt/wt%     wr/wt%   wt/ wt%        wllwt 'A
  Wtkr                   18.111     18.81        II.ii    II.St      lUl      II.SI         tUI
 Dimcll,yl Sutroxlde     4S.5                    4S.S                ~.s
 Propylene glycol
                                    45.S
                                    11.2
                                                          45.l                4S.S          •s.s
                         llJ                     11.2     11.2       11.2     11.2          IJ.2
 Ethanol                 11.7P      U.79         11.79    ll.79      11.79    11.79         U ,79
 GtycO!'\llt             IIJ        11.2         11,2     11.2       11.2     11.2          11.l
 Oiclofcnac Sochum       1.5         l.S          1.5       IJ        I.S      1.S           I.S
 thlckeacr              Ull-n       Uh=          Ultra   Catt,981   Cam981   C..rb98I       DGIIC
 wlYol ~ thicl,am         OJQ        I.OJ         1.16       .90      1.06        1 22
 added to aoludoa

                                                                             20
     Antioxidnnts and c:belating agents can ol,io be ooded to lhc              most aesthetically pleasing of ~ gels was formed with
 ctvbopol. HEC, or PVI' gels. l"be oddition of [!0 l'A to car-                 hydroxypropylcellulosc (IIYI 17, llYI 19. HY121). Th.!sc
 bopol gels by itsclf'lcjl(Js 1n a slightly cloudy sd. llllA gels              gel's spread costly, wcro unifor,n in nnturc, dried quickly, aotl
 turned color with incubation al J1ighl.ll' 11:mpcruturc, ·1ho mix-
 ture of 01 n· nud OD'IJ\ to carhof!Ol gc.,ls did not shnw any 25 dl.llllons11rucd g()Od now clu1ruc1oris1io• .
 dis00lora1iou and rcowi11ed clear For lhe formulntioos or                         Hydroxypropylcellulot!C gels were formed by mixing all
 Tuble 4, Pmn:r. dilfl19l)O cells were dnsed at 50 µI per cell.                the c:aos1ilut-n1 parts and then adding lhc tltid,'COcr RI the end
 FIG. 3 shows flllll mww frum tbesc gels. Additions of chel111-                followed by ogitatioo. The gel con also be formed by disp<!rs-
 ing agents aud prcso"·otivc~ hnd 110 clTccl on nux mtes.                      ing the hydn)xypmpylccllulo~-e In the 111111'--0U~ phase 11rior tu
                                                                          Ml solvent addition. Uetll can l)e used to fucilita1e gel fum1a1ian
                                TABL84                                         I !ydruJCypropylccllulose gcli. were clcar ond flowed easily.
                                                                              1'h'-'Y n:=in slablc for ot lcos1 six monllu dcmon.strohng: 11n
        Compo.ocmaorgcltlll6d6wi1h CArilopol971 ml c:att,opol981               phnsescparolion, uc..-gligiblc ihifl in pl I, end lnw amounts-of
            yelsuood to SCM"'R UM, Dux riucrt,,n m,wn In flO. l ,             dcgrndlltion producls (<0.04%). 1110 darn in 1110S. 4-11,
                                         fomJI~.,.,. npmo                JS derived from the tbnnulalions
                       -----'-= =.::==" "----- ~dmJtYJ!ropykellukisc gel onitbks                                             5.10, lnd!c:iile that 1bu
                                                                                                                  lbrmullllicns ol' diclofenac
                                                            Campcol.....      sodiwn or llte present invcnlioo al.o fll'O\',cle a uan.dclllUII
 p.,.,.,,,.,.. ;,,        PPSI
                         "1/wl%
                                        PP52
                                       -I"
                                                     PP53
                                                   Miwt%
                                                                    2%
                                                                wt/wt%
                                                                               DWI rote 1hn1 ls as much uw 4-fold higher lhllll a compnralivc
                                                                              liquid fonnu lntion.
 w~                                      qs           qs                          S1udie~ wen.1 plll'fonncd to dcterroJnc tho rcl111i11c tnmsdcr·
 Dimcl.byt SW roaide
Piopyfcao gl)'COI
                          "'
                          4S.S
                          11.2
                                       45.S
                                        11.2
                                                    4S,S
                                                     Ll.l
                                                                  18.Jl
                                                                  4$.5
                                                                  11.2
                                                                         411
                                                                              !lllll flux nfvurious diclofcn;ic gd fonnuli,tioos ul'thc presenl
Edw>ol                    11.79        11 ,7P       11.8          11.79       inV1.'lllion when compared with a c:ompnrn1Ive liquid ro1mu·
Oly,;cnno                 IIJ          J 1.2        ll.l          11.2        l111ion nftl.S. Pn1. Nos. 4,575,515 uod 4,652,557 ("Compom•
 Oictorou.. So~lwo         2             2           i             2          tive" in Toblcs 5- 10). Ac1.'11rdingly, tile flmnz cell procedure
BHT
EDTA
lluckeott

Wllwt%U,1ckcou
                           OJ
                           OJ)S
                        C&ttlopol
                           9,1
                                     Carbopol
                                        971
                                                     0,J
                                                     0.05
                                                  Ca,l,opol
                                                     9Sl
                                                                  ..,.   4s described ubove was used 10 comruredicJ..ifenac Oux mies or
                                                                             various didofo:noc gel fonnulutions with comparative liquid
                                                                              romrula1io1is.
                           I             I           0.9                          Por the fonnulatioos of Table 5, Pranzcells were dosed at
                                                                              10 mg per Pmnz cell, A new gel {Pl 4/2) hos nn nltcrcd base
B. Compamtive Examples                                                   ~ 110lutioo over 1bccompnro1iv.., liquid fom1ula1ion and demon-
                                                                             liUUK>S bolh fas1er dtyin~ times and butler Ou,c kioctic5 (1>ee
                               Example3                                      PIG. 4). l11e flt111: rau.-s rnr 1hest.- gol11 Is 001 as high n11 lhe
                                                                             curbotxil gels (f-971 ), b111 lhe dcying l'lic i~ subslnlltiolly
     Comparison Of'l'runstlemJal Flux Of Various DMSO                        r11sier.
        Gel FormulaUoos Ven.us a Comparaiivc Liquid
                              Folllllllaaiou                                                              TABLE-5
                                                                        Compon•Dl• or YltlOWI gclr lltd • c:<>mJllllliM liquid fonnulation
   A series ofdiclofer111c gel formulations weremude wherein
                                                                                111£4 It} gcneml£ tho HM5 pt[C data shnwn fl FlO, 4
the buse solution wu~ clu1o~d from the compomtivc base
foo:nulation. In pnrtlculnr, lbe wcil!hl peroenl of 111opylenc 60
glycol, cthonol, glyci.Tioc. water, and diclorenac wen:: v:1ri\Xl.
In 1hese llt'\V formulatlon.o, lbe weight percent oflhe consti1u-                                         Fl-412       F1412
                                                                                          t;ompant,VO gcll.5,.        gel I.CM       ~'971
en1 chemicals was as follows: 45.5% DMSO, 20-30% i:.tho-
ool, 10-12% propylene glycol, 0-4% glycerine, 2%
                                                                   Porcentagtc ln
                                                                   Water
                                                                                             wt/wt%

                                                                                              18.81        u.s
                                                                                                               "'""",.wr/9t%        Wt/w1'1f,

diclofenac sodium, thickener and waler added lo I 00"/4 w/w. 6S Duncthyl                                                12.S         17.16
                                                                                              45,5        <155          45.5         45,S
   Several lb.ickencrs were tested in this new base solution. A    Sulloxide
number of these lb.ickeners foiled 10 fonn stuble gels; in




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                                                                                           us 9, 168,305 82
                                                     17                                                                                                               18
                                     TABLE 5-continued                                                                                                 1ADLB 7-<Jontirmcd
             CompoDCntl of • .,,.,,.. gels IOAI a c:ompltlWVC liqu,d fanru,i,,uon                                                   C«nro,xci. of vlrima gels used to goncau tlie l\o; me
                  used to_1<Cneta1c the tlux IOlo.d&ta shown la MO. 4,
                                                                                                                                                   dau 1bown in FIG. 6.

                                                        Faaulllation name




      Propylene gl)'OOI
                                                      F14/2           Fl4/2
                                                                                           F971
                                                                                          wr/wt11.
                                                                                                               10
                                                                                                                     -
                                                                                                                     Pct<xct·

                                                                                                                     '"                  ........,,.
                                                                                                                                       Compi111"" '
                                                                                                                                                              F1412

                                                                                                                                                                   ..,,..,,. .."""'
                                                                                                                                                            gel 2.S,.

                                                                                                                                                            ""'"""
                                                                                                                                                                               n.ea
                                                                                                                                                                            HaCal
                                                                                                                                                                                   ,.
                                                                                                                                                                                                           F14/2 gel
                                                                                                                                                                                                            pH SJ
                                                                                                                                                                                                           wt1..,,.




                                                                                                                     --
                                   11.l                II              IL                  11.2                      Diclofcn11e            I.S                 1                                               1
      r~Jiaool                     11 .19              26.5            2S                  11.79                     Sodinm                                                                               ••• added
     lilyc<:ri,ie                  11.2                                                    11.2                                                                                                            topl!SJ
     Oiclofenac                      l.l                                    2                                     ll'ttCd
     Sodlwn                                                                                                       HCl.
                                                                                                               IS pH
     n..w..,                                         IIYl19          IIYJ 19           Carl>opol 971
                                                                                                                                           9                 9.4J             6.1         G.71              SJ
     wt/wt% tbicl<oncr                                                                                            Tl:,ckc:iu              none              HYl19         C&Jt>opal
                                                       25               4                   I.IS                                                                                        C4tbopcl           HYll9
                                                                                                                                                                             971              971
                                                                                                                    wt/wt%                                      2-1           I               I                 2.5
                                                                                                                    tllic:k>:ncr
        Por the lonnula1ions of'labl~ 6, Franz diffusion cells were 211
     dosed at 7 mg pur cull. Lowering tbc pH shows a marked
     Increase in flux rJ\es (see FIG. S).                                                                        For rb.: fom1uln1ions of Table 8, the comparative liquid
                                                                                                              fommln1ion (1.5% diclofenac sodium) was dosed as 20 mg
                                             TABLE6                                                           per Ft!U17. cell. Solorazc.'® (a commcrciaJJy uvniloblc 3%
           Compooc:At• ofvlMIII get. alld a CO<llj>&l&IJ>C uqu,d fom,u!.1JC11                              lS diclofonocsodiumgcJ)wasdoscdot I0mgperFronzcell,nod
                U!Fd to FDSA!S the ftu3 ffll~ dAtf !bawn in fJQ. S.                                           F14/2 wus dosed n1 IS mg per Fmnz di1fusion cell Al this
                                                                                                              dosing, oll cells were dosed ,vith equiva lent amouucs of
                                                  Fomrul:t.t~ou 11!lllle:
                                                                                                              diclofenoc sodium. F14/2 coolioued to sbow increased per-
                                                                                          fl<l/2 gel
                                                                                                              formance overolhur fonnulations (soo £11(;. 7).
     Porcc.Dl·                          Fl4/2            fl4r.?                            2.5% +          30
  IJ!.S               Cooip.uativc    g,12.5%           K<l~JW,              F971            HCL
 ••                     •riwl""        ..u,.,, ..        wt/wl'II,      ¥ot/wt"            ...-11..1,.
                                                                                                                                                                TABLES
 Waa                      18.81            lU              12.s
                                                                                                                                    Compoll<Jl!J oh'Ariour dicloft:IUIC fonno!alju ut used
                                                                            11. 16           12,S
  Dlntolliyl             45.S              45.5           45.S              45,S                                                      lu gtmq[l!IC tho thus ,,ucdala •hnwn In FlO. 7.
                                                                                             45.5
 SUlfO'<ido                                                                                                )5
 PmP)'lenc               11.2              II              II                11.1            II
 glycol
 l!Ouu,ol                11.79             26.S           2S                11.79                                                                  Compuatiw                                   P14/2 gul 2.~%
                                                                                             26.5                                                      ..11w1 '1,
 Olyceruic               11.2                                               II 2                                                                                                                    wt/wt%
 Diclofctw:               1.5               2              2                 l                  2                   WtlCI                               18.81
 Scxhum                                                                                  , •• w.ickd AO Dime!ltyl                                                                                    12.s
 conc:cn·                                                                                                         SUlfoxid•                             •S..5                                        45.S
                                                                                          10 pl!    S.3          Propylc:uc &(yea!                      11.2
 lr&l<-d                                                                                                                                                                                             JI
 l!CL                                                                                                            Elbanol                                ll.79                                        26.S
 pH                                                                                                              017«rin•                               Jl.2
 1 b,ckoner
                          9             9AJ                9.67                 li.n            s.1              Dictafcnac Sodil.Ull                     1.5                     l                   2
                         .DDD,C        RYll9             lfYIIQ        Clllb911           IIY119             i'ltlCk<Acr
 Wllwl¾                                                                                                                                                 UCICC                                       HY119
                                           2.5             4              1 IS              l.$
 thlCWl<r                                                                                                 4S W11wt%tl lic~r                                                                           2.5



   for the fonnnlationsofTable 7, Frnnzcells were dosed at            For the fo!lll1llations of Table 9, lhe comparative liquid
7 mg per Franz cell. The resulting flux rotes for ench uf lhcse    fonnulation wasdos..'<ial 0.9 mg per Pranzccll ac 0, 4, 8. and
formulalioos is shown ir1 FlG. 6.                               50 12hrs. Fl 4/2 WH~dtlsedat t.5 mgpcrFranzccll at Oand 6 hrs.
                                                                   The accumulated dose from the.gel was cmsidcrably higher
                                                                   in comparison to the comparative i;olurion, providing a -1.5
                         TABLR7
                                                                   !old increase in flux (see FIG. 8).
                 Co111po11oni. or vuic:u, gel• """d lo gcnU&tc the IIWI rote
                                   d.s!l 1br'!I ,o fIO 6,                                                                                                   TABLH9
                                                                                                                                   Compomcll\l orfonnul•t10M used in the multJ{lnsmg
                                                                                                                                                 •xpetjmen11affjO. 8-



                                                                                                                                                                                                    _
P•n:ut·                               Fl412                                              Fl4/2 gel
ager                Ccmp&rllJV•      gr,12~             luC&l           Ir.Ca             pU S.J
In                    wt/wl,:.       ..11... %                                                                                                                         f:m11ufatiOll!DlJ!tt
                                                       WI/WI~         -..t/wt'111        o.•t/w(%
                                                                                                          60
W1tcr
0.m"'1iyl
                       l&.Sl
                       45.5
                                       12.5
                                       "S.5
                                                         22.3
                                                         4S.5
                                                                        26.l
                                                                        ..,.5
                                                                                           12..5
                                                                                           4J,
                                                                                                                Pt:tQ:Ltl.Q:CIS UI                 _,,.
                                                                                                                                                  ConqlUll"'c          F14/2 gel 2.5% F14'2 gc.l plU..S
                                                                                                                                                                          Wllwt%
                                                                                                                                                                                                          ...
SulfOJ<idc
Pmpyle11a.
                                                                                                                Wmr                                    18.81                12.S                    45.5
                        11.2           II                11 2               11.2           II
glycol
                                                                                                                Dimethyl Sulfo,i<k                     AH                   <ij..S                  II
                                                                                                                Propyeknc !11)'<01                     11.2                 II                      26.S
Elhuol                  11.79          26.5              ll                 IZ            2~              65 E!lw,o!
Olyocnne               lt.2                                                                                                                            IJ.79                llS.S                   !2,J
                                                          6                  2                               Oly«Ilno                                  11.2




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                                                                                                  5
                                                                                                                                                                                                     HZNPENN_00043896
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                                                                       US 9, 168,305 B2
                                          19                                                                                    20
                              TABLE 9-continued                                         lated dose of 26,1! 111!f'cul vcmis 8.9 µg/c:m 1 for Babootn's
                                                                                       he.JI performing &=-I, Thus. 11.Jo, 1,..:I of!he pn:scm lnven11on ha~
               Components offoanul,ll<>M u...i in the rnnlbdoti.og
                                                                                       u 11c11rJy 3-fold grenlcr rote of nmt and occumululion o t'
                                ""W"i<lll[O ( l'J(l. 8.
                                                                                       diclofonac 1luin u similar gel, as dc.<cribed by l'luboou1. Note
                                                                                  .s lhnt lhesc <.-xpcriments were condu.:tcd al finite dllsing which
                                                                                       is more rcrrLi;cntativc of clinicnl dosing af a nqn-ooc:luded
                             0""1poratlvc Fl412 gel 2.5"' F1412gefpl1 8J               composi1io11 thot is applied pcriodicully but whioh ls not
    Pcrecnuge, tn              ,ii/wt "          wU,.,%              wt/wt,.
                                                                                       m<.'IUll to be in continuous contnc1 wilh thcskin.Addition.'llly,
   Oidof<Dac Scdium               LS               2                    2              the 1Joboo1u gels also con1nincd a higher (ICtCCOl.lJ!ll or lhc
   COOCCIW'&IM IIC!.                                             ••• added to pH JI/ oe1ive agwll. 3.4% w/w ns compen.-d to 2% w/w
                                                                                                                                                     for the
   TbJwncr                       ..,..,          f!Yll9
                                                                       11.5
                                                                     HY119
                                                                                       camposltions using tho vehh:Jc l>f lhe in~llntion.
   wt'14llickencr                                  2.S                4\2.S               011JCr advanlllges \\I~ aloo ob:,,crved, including lhc am-
                                                                                      sistcncy 1111d s1obili1y al'tlic gel of1hc pre$CUI invention when
       For the formulntions ofTable 10, Fmnz cells were dosed ai tl compnrt.-d whb the Dabo,1111 gel. llJ l,;(lnl.rUsl In the smooth 11nd
   20 mg perceU, The resulting aux rates for these formulations                       uniform l.'OOsisteacy oflhe pr<!!icnt l!CI, the Dohoota g..:I f11r-
   isshown in FIG. ll.                                                                mula1mas wen: cloudy and lumpy, thu:1, uMblc 10 mruotnin e
                                                                                      gcl-hl<e cousis1cncy. For this roadon, the Ouoooh, compo;1i-
                                   TABLE10                                            tio11s would be1nepec1cd lohaveromestAhility issues and a
                                                                                      MIOrt shelflifc.
               Flwc J'CIUJhl fnm u,yms d,clofcllM: fnrmolati.,...                lO
                     frow cstbwsrcdet1t 20 mansrsu.                                       Thus, despite both beiog gel formulations, wheu a head~
                                                                                      to-bend comparison i¥ pcrform1.-d. u~in~ a finite dasing pro-
                                        lyonUla.UO(' f\.UDc                           tocol, 1he formulaliou 11fl11epresent iov\!tltion i, sigmficnnlly
                  fl4/2       Fl-412                Compl!al,vc
                                                                                      omre effectiv..: ot the tm1111dennal deljvcry <>f o cilcloli:nll(;
                gef 3,,% solutiao                          1%       Comparatiw_ 2S ue1lve agent. when camporc.-d witJ1 DIIOthor sci fon11uln1ion,
                wt/wt ¾ wt/wt%                          wtll.~ %      wt/,,,1 %      llwt dL-:;cribcd by Buboota el nl. Purtl1em1nro, a~ sh,,wn in
  W.n:r            12.S        JU          17.16         1&.31          18-81
                                                                                     FlO. 7, Lhc fom1ulaliun of the prcsc:ot invention nlso per-
  Dimethyl         •S.S       ~.s          4S.S          45.S          45.S           ronncd remorkobly bencrwbencomparudto o diclofoMcp,d ,


  ~·
  Su If oxide
  Propytcnt
                                                                                     Solura;icclli, a proJuct currently :,old on the nwrlM. 'fbus, the
                   11          II          11.2          11.2           11.2     w pn.>scm iaven1ion provides o diclofcnoc soo1wn gel fonnula-
  l:Jhuol         2).S        2J          11.79          11.79         11.79         tioo tllal ha~ unexpeciL-dly superior ()l()pcrt.les (e.g.. with
 QJyccrtne                                 I 1.2         11.2
  Dictollonoc
                                                                       11,2          re11pecl to parameters such as trBDSdermal ffuxrates, favorable
                    2                       2              2             t.S
 Sodium
 Tblcka>cr
 W1/w\'!4,
 thickener
                l!Yll9
                    )J
                              .....     Catb971
                                            I.I
                                                         llClllC        ....        composition cousistcncy, ond Sf\.':lh:r stability und self lifo)
                                                                                    when compared to the previously dil:clol'<!d diclofC1111c
                                                                                 Jl dic1hylemiuc gel form11la1ion described by 011boota or 1he
                                                                                    diclnleuac sodium fom1ulntiun cmb,ldic.od by tllc Solun11.ctl0
                                                                                    !!Cl.
                                  Bxample4                                         Ao ___ _ __ _ _TAB
                                                                                                  __L_s_ 11_ _ _ _ _ _ __
       Compnrotive Data on Transdennal Flux of¼rious                                                  Compoaa,11 of d,ctor.-; duUylmuiltcg,II U<icl
                      Diclofenac ~Is                                                                   u, ecn<m•lbe     nux
                                                                                                                        rs1edalaahown iA FIG, 10.
                                                                                                       for lhe formuJa1loos ofTAhlo 11, Fr1Jl2 dlflbli011
     S1udfos wen: pcrfom1ed 10 determine the rel111ivu trans<lcr- ~s ------="":::1:::"..:""""'=.::fill:::11
                                                                                                          :::•..:d:::01e:::d::.;•::•..:.~:::m,.aif'C'=""=ll"-.- - - - -
  ma! Rux of lhc diclofcnnc gel ronnulaljoos of 1bc pn:..cut
  invention when compaied ~vilh previously dii:eln!;ed lom1u-                                                         fommJIUon nu,c
  lations, sud.1 ns the diclofonnc diethylumioe gel hlrmulatiun
 described by Dnbooln (Oabooia cl nl., McthuJ.r I-ind. F:Xp.
  Cli11. Ph11r111aeol., 28: 109-114 (2006)). Aa:ordiO!PY, the
  Fnuv cell proc1.'<111rc dcscribt.-d above w1,1s used lo oompure
  flux rotes ofthrc,u11'tht'diclofenac formulations described by
  Babooln with o gel vehicle of lhll present invcntion. The             Dlmcd>JII        10              to                       10                    4S.S       45.s
                                                                       Sulfoxlde
 dk'lhylamioe form or diclofcnacw.is used as the OL1ive agent,
                                                                        Elli&ool         lS            Jj                        l.S                    26.S       11 ,79
 u 1h01 is lhc fnnn used by Oaboo1a. 11ic exact c:ompo9itiMS            PB0400           LS               IS                     I.S
 of tJlll rr>nnulotlons u~ed in this slJJdy 111e show11 in Table 11 ,s Propylc.nc        15              IS                       IS                    II         11.2
 below. The Oubc)olO fonnulntions nrc.lllbeled f7Y l. PY2. t111d       al)COI
 l'Y3, wbik a gel formula1 ioo usfog the vehicle of 1hc prcsciu        triolbuolsmia e    o.s              o.s                     0.5
 invc111.iot1 with <liclofcruic di<.-thylruuine as the active is       OMSO
 lobclod Cl J4/2_111. A campumlive liquid fomiulntion wns also         Watar              q,                                       q•·                  12.S
                                                                                                          'Ill                                                    18.l l
 included in 1bi1 sludy ("C111nparati~c"). Among lhc primnry           Sod,um                                                      6
di!fcn:nces between the composition nrBaooota's fonnul11- 60 catbOl<)'•
tion ond lhnt disclosed io lhc pre.'iClll lnvenlio11 is the hip.her    mt:ltyf·
DMSO concc111m1ions 111 UJu pn.-scnl formululious (45.5%               <~lluh-
WM vcr..u.s 10% w/w),                                                  Glycerine                                                                                  11.2
    Asisuppan!lll fromtbedat11shl'IWn in FIG.10. ollhough 1hc          Tblc:bner       Cu1>940        rvA Cul,940 l!Y\19                                          llOIIC
l)nboolll fonnuln1ion is also II gel, the w.hiclu of 1he pre:.eot 6S                                                              o.s
ir!VL'11lian provides n signinc1111tly grco1cr llux ro1u. After 12
hoW'I!, 1bc gel of U1e pn:senl invention provides an occumu-
                                                                       Thlc:kcner     """             20                                                 l.S




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..,




                                                                                us 9,168,305 8 2
                                                    21                                                                                      22
                                       TABLB I I-continued                                          0l111roc1cristics wltlle ttl~o pnividing improved drug delivery,
                        O,mpoDC1>11 cf diclof,-c d,ethylamiac gel, um!
                                                                                                    os <.-viclcm:c:J by 1hc lillVlto111gco11s 1rnnsdcnnol nux dnlil
                           to g"'"1ate dte flu.rote data ahown in FIG. JO.
                                                                                                    sbuw11 in the examples abo\'e
                          For the (oontlatlorut of1'able I I, Fr&n< diJTh,ian                          Drying ·nmcs
                               .,.11, ""JElln,~daja t4 tDMlk!""II·
                                                                                                                                       TABLB 12
                                                                                                              O,yiog timellfor s•Lr &nd 1 00,1,p•nul,·e l1qll1,t fom11~1ilc,11
                                                                                Compu-                       •olut,an. Bc;uol weigb11 of •-.h fonuuL11w• .,.,. 11,<Uln<l
                                 FYI          FY1         FYJ     Gl~.m         all'YC_JTI                    aa.t "l'iaut llll •••All JaoJ,a. Thc ,m[jl:I ofCJda tana1n1•11
         PerccJttagcs-m        '4-\f"'"t "                         ..wt'>
                                             WI/wt"      wtlwl"                 ..11w1 'II,   10              (onnularian .... th•• (oJIUW<J wbll umc Th• ,...i. ofthJ.,
         Active:                                                                                                   IDY<UrtlOII IWlW<d WlotdJ')llllll kalidkli lhftll tlu,
                                  J,\         J.4         3.4          2           1.S
         dtclaf....,                                                                                          0Clfll""'3"""1"\uul ro.mui.t,oo,wlih M<Vlt1-1q 1l,o
         datlhyl&muie                                                                                             wl<:il<lrJl!lil rate Thea: ft<lo .... bodUllj!RM'd
         WI '11                                                                                                   ",p"*4bfht y" thlac:10Nl la, wlalcll m01t lilrcly
                                                                                                                   <0111nb11tcd 101tu. 11nprov<Jnc111 lu tli,h,K '""'·
                                                                                              LS

                                             Bxnmple 5                                                                                         l'14/1          F1412
                                                                                                                            C-.ompAllUlvc     gel2.5%        g,:J~.0%         1'971
                                                                                                   P=i.g. . in                W!h.f%
              Com1>11rison of Drying Tune/Residual Weight u(il
             Compunttive Liquid Fun1111lntion Solution Vcn;us the                                  WIIJIJr                      !UL
                                                                                                                                              '"""""
                                                                                                                                                12.S
                                                                                                                                                             Mlwt"
                                                                                                                                                                12.S
                                                                                                                                                                             ..11w1%

                                                                                                                                                                              17.16
                             Con:esponding Gel                                                     Dimethyl Sulroxidc           45.S            4S,S            4.5.S         4.5.S
                                                                                                   PtopyclcM aiycal             11,2            II              II            11.2
                                                                                                   EUw,ol       11.79                           26 S
               In onfor to cvalua11, lhedrying time ofll comparative liquid                                                                           11 ,79    2S
                                                                                     Olycerilto                 11.2                                  11.2
          tbrmul111lo11 solution os c:ompured lo thu corresponding l!cl,             Dlclo!'enac Sodlnm          l.S          2            2            2
          the study dcscribt.'<l in lllis CXIIIDpll' wo.~ pcrfom1ed, Equal 25 Thickfflu                         none       HY119       HY119        c.,t,opol
          weighs all)oun1s (100 mg) of either the co1111,ar:1tiw liquid              "'1/wt % thlcl<bncr
                                                                                                                                                       911
                                                                                                                 3.5          l,S          4            I.IS
          lbrnwlalion Sl'll111i11n or diclofci:wc sodium gel formu la1ions
          were measured on topfoslic wcil!,h dishes and spread over a 10                                                  %!'.<ctdn ~
          cm2 area, and theo left cxp.>scd 10 urnbicot 0<1nditions. At 30 Ttt110 (hr)
                                                                                                       Compuauve 1'1.4/'l gell.S"1o Fl •12 i;el 4.0% F971
         selected timu points, the plastic weighing tlishu~ were t1gui11
         weighed to <ktcrminc lbc ""'" ur,1,., comro•itfoo n:m11ininM                     0.l)()I)        100            ,oo             100           100
         c,11 the weighing dish. As shQWII by 0ic duta in Table 12 below                  o.ou             98.1           93              92 6         100.3
                                                                                         0.167             96.7           92.~            91.8
         llnd in J11Ci, 11 . i1 was surprisingly fbund that cwn ofter o 24                                                                             IOOJ
                                                                                         03)1              95.1           92.7            93           100.2
         hour dryiol\ f)(.'riod, 11lmost oU (nc.irly 90%) ot'1bc wcil4111 of JS          o.soo             9S.6           92,1            9J.J         100
         lhc initially npplicd cumpanuivc liquid fonnulatiun corup0-                     0.7.50            9S.~           92.1            91.J          99.S
                                                                                          1.000            9S.9           92
         sitiun remninc.'<1 on tltc welghint1 dish, '11111s, the welgbt of1he                                                             91.8          09.7
                                                                                         4.000             93             71              70,7          86.8
         comparative liquid tonnulotion changed V'Cr/ Huie owr the                      24.000             8H.7           32.4                          ,u
                                                                                                                                          2J.S
         lime poin1s mea."Ured, indicating shat the dryint1 of the liquid
         fomtulmion nccum.'d very ~Jowly.                                       ~o
             In coulnisl. even wilhin lltc first five 11\inutt:s, Lhc three gel
         formulations db-plnyed more mpid d,ying tbun the liquid                                                   example 6
        forruull.ltion. 700/4oftbeweight of1hc two gels thm co,11aiaed                           Comparison ofSlability Chnracterih'tics ofu
         2%or 4% HP(' remoioro, uscomp11rcd 10 lhc(wcr 9o%ul'the                         Comparative Liquid f'ormulatiun Versws Diclofenac
        liquitl formulation which l'Clllllfoed, oner -I houns (lf drying 4.S
                                                                                                          Sodium Oel f'oanulutioos
        1ime. By24 hours, this d:ffcrcoccwnscvcn.more pronouncoo.
        as slightly over 2()0,(i und 30% of the wci&hl of lhu two i.cl                 'This example provides a comparison oflhe stability ofth11
        fonnubuiuns containi03 2% and 4% MPC. rCl>J>L-clivcly,                     compositions oftbe present invention teskdagoinst reference
        remainet.~ ond slightly under 60% or the weight of the F97 I               formulations at
        gel l'l'mainod, ns c:nmp,tred h> the olmost 90% of the liquid 50 wos un~'Xpccte mom tempern1ure over a six month penod. lt
                                                                                                        dly lbuod tha1 while the composi1ions of the
        fnrmulil1ion which remained This is a :,urprising l'CJUll, us              invention contaio. a higher concentrotion ofactive agent, they
       one would bavc cxpec1ed the ljquid loanula1iuo to lo&e                      in fact l'Ctiulled in a lower ooncentrn tion of u degradation
       wcigh1 mon: quickly, ond 1hus b11vca hhoner drying time, ns                 Impurity us compnrcd to the reference. It ms v l~o unexpect-
       compun.-d to a ~cmi-solidgcl fonnulntion. Thu~, tllis cxumplc               edly found that compositi
       '"'"'lllonstn11cs that the ~d compositions of the rrcsen1 inv.m- ss (HPC) as the gelling agentons using hydroxypropylcellulose
                                                                                                                     had a significan
       liun display su~-riurdrying chnrnc1cris1ics as compared to a
       comparnblc liquid fonnulotion.
                                                                                  or this impurity as compared 10 composititlyonslower             quantity
                                                                                                                                               roade using
                                                                                  Clll'bomcr gelling agents.
           Thus. in cenain embcdiments, the present invemioo pro-                      lnlhis study, S81Dples of the test compositions were placed
       vides a formulmioo wrucb hos a drying time wch that, at                    into plastic screw cap bonlL-s which were sealed and bcld at
       most, a 50% wcigllt or the stllrting amount remuins as a 60 25° C. at 60%,
      residucallcr 24 hours of drying time, preferably o 30-40"/4 or                                     humidity for 6 monllL'I. After U1e 6 moolh
                                                                                  storage period, the samples ,wre tested for impurities by high
      )l!u weigh! of the suirting amount ccmains as D r~idue
                                                                         after    pcrfomIDnce liquid cbroma!Ojlraphy (HPLC) The active
      24 hours of drying 1101e.                                                   ngent, diclofcnac sodiwn, wns found to elute by RPLC with
           TI,e improved drying time of the gel fonnulatious of the               an elution time of about 11 miouttll. It wns found that upon 6
      present invention provides improved ease of use and is 6S months of
                                                                                                   storage, an impurity, tenncd "'impurity A'', was
      expected 10 lead lo belier palient complfa.nce. Thus, this                  ¥eeo to elute at ebou1 6.6 minutes in varying amounts for the
      invention provides II gel fom1ul11tion with lmproved drying                 various compo~-itlons as shown in Tobie 13 below.




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                                                                                                                                                                            HZNPENN_00043898
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                                                          US 9, 168,305 B2
                                 23                                                                                24
                             TABLE 13                                       12 hr, 15hr, aud 24 hron l'3y710 dctermineo 24 hour steady
                                                                            stoic pmfile, s.implcs tnl.-co fnnn Day~ 8-13 were used 10
                                              l'wccDt "impurity A" &flo,
   Con1pot1hon                               6 ICQJlthS of f!O!I~< (WIIWI)  dctenninc ao climluo1lo11 llf'Ofile.
   l.5% d«t<-r- todnlll\ ... comp...,,..,                                      'lbedosesus.:d in tbisstudywen:ns lollows Tbccompora-
                                                       o.o~
  li1Jnid r..rmu1.,... 11>1utioo                                           tive solution group rcceiv<ld 3,85 mg diclofcnac sodium per
  2.0% dlclofon.,c sodium In 0.9% Ciubopol              0.09'Hi            mlminlstrotion oml onimul 4 LirollS doily: the gel Group
  s,J
  2.0'!4, didof°""" l<ldium '"l.5¾ lll'C &•I
                                                                            recc.ved 8.08 mg di.:lofclUIC sodiwn per administ.ralion and
                                                        0.0~
                                                                           animal 2 times daily: the administrntion orea was 5 cmx I 0
      111uH, ns indic:11tcd by the cla1a in 1bblo I 3, while hliving n 10 cm/animal. These amounts repreS1:nl lhe scaled huruno clini-
  higher concentmlion of lhc 11cilvuugeu1, dlclolcouc sadium, 11           cal doses.
  11el fom1ulation of the pn:scol invention couioining 3.5%                   Sufficient blood was collected fmtn each nnillllll per llllm•
  HPC shows o higher dcgrcu of stability, as rcn1.-c1cd in 1hc             piing timeand processed roral le.isl 2 mJ..Li-Hcpwin plosmn/
                                       or
  appcarnuce ofa lower perccntngc ''impurit,y A" us com-
  pared to o com1um1ble liquid forma1ion, The <law shown in
                                                                           samphi, which were split ln10 IW(J uliquou of I mL ,mclL
                                                                           Ulood w~ withdrawn from all wiimols as shown io Table 14
                                                                                                      TABLB 14
                                                                                               ntoat• nnmllna 11ehbhUs:
                                                            TCICI O&y(r)
                                                                                                                                        No.of    'No.of
                                                                              ~m,µling tirn,-                                           rampi•• 1ll4uw
                                                                              (J (prior to n,. idrnlnlstntloa)                            24       48
                                                                              0 (poor 10 flnl admiatsuabOA),                              24       4g
                                                                              O(prio, IQ fln<t adminuauatioa),                           168      JJ6
                                                                              2 h, po<l fu11 do,lng.
                                                                              5 hr pool finlt dosing (prinr10 11COOad iMJinlrnMJation
                                                                             fat Oroop I),
                                                                             7 hr pOII l!m do11ng.
                                                                             10 htpott flnt d01ing (p:nor to l.blrd admlnllltratloo
                                                                             for Oroup l and prior to scoood admioia1r&1lon for
                                                                             OrouPI 2, 3, &lld 4,)
                                                                             u 11, poor 1111t doolaa
                                                                             IS hr post ftm d011na (prior io f"'1llh
                                                                             arlmln,&trt.tian for Oroup I)
                                                               8·13          0 (pre.-dO!le). 4, &, 12, 2A, 48, 11. 96, &nd 120 hr        216     ,i.12
                                                                             postidminiltr&ll<II

                                                          Total number of                                                                432      864
                                                             ••rnplo,


Table 13 also shows tha1 the HPCgel fonnation is more stnble A                  Phannacokin,1ic cvnlua1iuo of the plasm.11 duta was per-
 than o L'Omparabk gel Jomwtlon co111ninlos 0.9% Carborul, 0               fomu.-d using 'LbpFh 2.11 A 11on..._-omp..~r1men1 model was
us the IIPC' gel funnalion demonstrolcs an 01 le=isl 4--fold               u...."'tlf1)r1hccnlculationurthetermiuolhalflifc:i11darcaunder
 reduC1i1111 in the lcvi:1 nrimpwily ,\ . 111115, a gcl furmotion of       lhecurvc(AUC), l:1imi11,1lion m1eco1U tan ts (K.,)andplosma
thcprctiCnt invent Inn provides improved slablli1y f)fthe11e1ivc           olimlnation lwlf-lives {1 11. ) wcrl.l co l.:uto1eJ by linear l\.'1!,l'l-'S"·
a~nt Dli compared to then: fcren~-c fom1ulationt ns cvideuccd AS           sinn nnalyi;is 1>rthe lu!!/lincar portiou ofthe indlviduol plasuw
in n fonnuln1ion wbiett d..v.ides by less Lhan 0.034% nr                   concentration-time curves (l:""concen1111tion, t=tirue) I lalf-
0.09"/4, over 6 mnnths, as was observed for the reference                  Ille wns de1crm111ed using the fonnuloe:
fornmwtioM. f'ul'lhLTlllore, the amow11 uf' "impurity A"
l'ound in the gd lom,ulntinn oflhe pr<lliCnt invention anero 6                    1,,,•la:VK.,[h)
monlh storage period would rcsull in en ~-xposure level well
hclow limits llwl woulclrequlre aduiliurml nonclinical testing 50                 dclrJJ,,,(K,1)(<) \hJ.
tcslins of the impurity,
                                                                             Area under lbt1 curve tAUq vulut!S were calculated using
                                                                       1he II near 1,-.ipe-1.0idal m1..1hod and cxtrnpolaled to infmite time
                           Example7                                    by dividing lhe lrun mcu~urablc plasma conccnlration by the
                                                                   s.s 1cnnu1ol uU111inuli0n rote c;oru;tunt. Pio= cooCCt1trn1i011s ut
     Comparison of in vivo EpiC\113111/0U> Ab:10rptioa of              time :r.em were taken to be those al lhe pN-<losc blood sam-
             Liquid %rsus Gel Fonnulatio!Ui
                                                                       pling lime on 'l'cs1 Oay 8. Arca under lhc curve (AUC) was
                                                                       coltula1ed using the li>m111la:
  A study w. s conduclCd tu compare sys1cmk ob801T1liun 60                       AUC•lfcdr) (og/mL) (h), .a:tgrat«I fl'DID..,,, •o
oft1.,- topul npplication (1100 rcfcm.'<i 1t1 ns L-picuUUtoous                         inlla11y
nbsorplion )ofn comporativesolu1lun with II gel nfllte inVl.'JJ·             The li>JJowi111111h11nnucokioctic parameters for diclofcoao
 Lion.A purnllcl dcsi&n woscmploy1,.-d with 6 Lnndmce rigs per    sodium were calcula1.ed:
arm. Drug was applied for 7 dllys with llll atldit ional dose on  AUC,,. (Test Day 7)
L>ay 8. Olood wos sampl:,d on D-~y I m detcnninc II b:udlne, 6s Aue;,.,24(fest Day 8)
D,ry 6, Day 7 timl Day 8 sum pies were taken 10 confirm ll1l'lldy AUCo.,111 (fest Day 8)
st11t.c,unduddllionol samplcswen:lokennLOht, 2 hr, 5 hr, 7 hr,    T.,.. (Test Days 7, 8) (time Lo reach C.,,..)




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                                                                                                                                               HZNPEN N_00043 899
                                                             APPX436
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                                                                                 us 9,168,305 82
                                             25                                                                                    26
 c.,.., (Test Days 7. I\) (maximum observed plasma concc:n-
                                                                                                     Examples
    ln!lion)
Cm,. (Tes1 D:iys 71 8) (minimal obsc"'ed plosnis concentrn-                   Clinical Triuts of Diolofonac Oct in the Treatment of
    tion)
                                                                                                   Osu:.-oa.rilhritls
C1- . , .1 (Tcst Days 6, 7, nnd8)(trooshplasmaconcentratioo) 5
 K., (olirnin.alioo half-life)                                              A clillical uiul will be pcrfooru.><l 1O cvalun10 the safely anti
T 112 (plasma climinolion half-life).                                   cJJici1cy of u glll fonnulu6ou of Ibo present invention iu sub-
   The achicvcmu111 or s1cady state wos IISS<.'!i'l(.-d by using       j1..-c1s with symplnms nf primwy om.,wtbritis (OA) of 1he
repeated 111C3S\ltcS /\NOVA with log-trnnsformcd trough con-           knee. Specillcally, n 2--arm.
~uutions on Test Days 6, 7, and Sa, thcdepeude111 varinblc, 10 trolk-<l, randomized, 12-week ooubte-bli!lded, plBCCbo-ron-
                                                                                                            Phusc Ill cli11icol trial will be
1lnic 11s the i11dc[)(!lldcnl variable. subject as a nmtl,,m olll.'Cl, rcrfonned in 300 subjects nuidomi1cd 10 rcccivc either u
and dny tis a lilted c!J'cc1.                                          diclofcoac gel fonnulo1ion, placebo gel (the &cl c:irricr c:on-
   ThedataisshowninPIG. 12and Tables l6nnd t7.Com-                     tainin11 no dick,fcnac). Subject, will apply l mL or study gel
11(1sitions of1hc mvcntion shmv significuo1ty mun· oh!!Orpli()n        lo their OA knoo per upplicntinn.
of dlclofonac sndium as measured by 1he mean AUG. !bis 1s The primary \'llrioblc:s
resuh holds cvai when adJWlillg for dose.                                                           fur a~:;cssmeru of ctlicaL)' will h.: the
                                                                       WOMAC I.JO.I pain and physi1:ol fiulClion and Puticor
                                         T."BLE 15
                                                    P9!JGlinPIP
                   DtclofCJIIG A,,:aof                 Ooscnl'lho              Diclolcn6C      Number Diclofcnac.
                     SodJwn appllca~on                 p1oducl1)Ct              -Sudiwn       orrlorea p;:,diy
                    '11,(o,lw) tern')               •ppli<ation (/11.L)       perdo,c(mfll     pcrdoy   (mg)
Gel                   l.O               so                 0.-10                   8.03            btd     16.2
Co!!lj).1111tn,c      IS                so                 0.24                   3.MS             qid     15.4
Solution



                                      TABLE 16                                                   Ovcmll IJculth Asscimm.inl, Secomhu:y variublcs wiJJ be the
                                                                                             JO  WOMAC stiffrll!Sl; 1111d Patfonl Glnbal .'\ssc:smicnl. The pri-
                         PKp,olil< al 11...ty •toit:   °" Day 7                                  mmy efficacy unnlyses will be the comparison of the change
                                                                                                 from baS<:linc to f.inal ossess11Jcn1 or the primary c0lcn1,-y
                                             Tmu          Cmax              AUC0-14              v~bles for subjects in ll1e didofcmtc SO<lium g~Iann VO!llU$
      ~                       M j«t          (11)        (l>&fml)          (PJ • hlrnl)         !he plnceb11 gel onn.
                                                                                             lS
                                                                                                    More SJ)C\,;fically, the cffico~ of diclcifcnnc gel on knee
      Oct                        .l          12            15319             239118             OA symptoms will be measut\ld y thc subjec1ive response of
                                 14          10             9570             17SU2              subJoe IS ns d<)lcrmintod by llll t:lficas;i vari.Dblcs ques1ionna ire
                                 I)            s            601~            l04l22
                                                                                                wluch includes tile WOMAC LIO I OJ\ Index (pain, physical
                                16                          4327
                                                                                                function, and stiffness dimc:lll>ions), 11 l'i11i~nt Ovimill Jleulth
                                                                             63842
                                 17          IS         •ll4M29            ~689765
                                                                                                Assessment, nnd a l'-Jticnt Olobul A~~essrnc111. (St:e Ucllomy,
                                                                                            •u N.. WOMAC Osteo11rthrltls hul«r
                               18            24           1441-1             13)494
                                                                                                                                         U~·er's 011iJe Ill, Queen-
                              Mcia
                                                                                                slnnd, Austrnlia (2003)).
                                             12          i06ll4             Sll4151
                                                                                                   Tb1: WOMAC LK3.l, Patient Ovcmll llcaltJ1 Asscssmc.n1
                                SD            1         17J549             1033866              ood P::iticnt Ulobal As.~t:tiHmcnl qucstrono11ircs will be bused
      Contpantivc                            to           8102               107121             on 1hc five-point Liken sc:ole. Numerical volU<.-s will be
      Sol1111Qn                              10          24700               13352]         45 Olllignetl to WOMAC LfO. l scores, Patient
                                                                                                                                                     Global ~sess-
                                             15           l474J              160294             mcnt scores and Patient Overo11 Health Assessment score.s, as
                                              0            4)50               44267             follows:
                                             24            9S52             1121160             Patlcul Overall Health Asscssmcnr Md WOMAC LK3.l
                                             12            1628               77831             Patient Global A5SCSS111col
                              M<an           12           11714             105924          so NoneaaO Very Good=O
                               Sr>            ti           118S              40865              Mild: l Good<- I
                                                                                                Moder-Jte-2 Pllir-2
                                                                                                  Scvere,=3 Poor-3
                                                                                              Extreme~ Vc.ry Poor4.
                                      fABill 17                                            ss Tbi: WOMAC LK3. l OA Index is a Scgrcgp.ted, muhidi-
            k•l:IIM' 111...,..,,.i.1<11 ul· - 11> • """1p,1'1111••                           mcnsiounl. sclf-odrnini.5tcred index with d1rce inclL-pendcnt
            liquid ronnullhoa .ft -,p,aa<IO "'iJw, corrco,-lt"tl                             dimensions: pnin, s1iffiicss and physical fum."lio11 and will he
                                   rd at er·ldx@I<                                           used as on cnicm..-y vmiublc in this study.
                                                                                                  In u (ll't'furrod cmbodimCttt or the inwn1io11, upplication or
                                                        !WioO.V
                                                                                          9) the gel fonnulations nftbe invention when
                                                       C"..omplJ'lti'\'O                                                                      applied tnrically
                                                       SC>luliotl¾                           will rcsull in o rcduL"tiun of potn or physical fuact,on on th~
            c_                                                                               WOMAC !«:lllcofnt leasr I Liki:n liCllle llilil ovcr3 12 week
                                                           m .1                              pi:riod. l!ven more prefembly, o rcd11c1iun of 2. 3, or 4 Liken
            C"..,(Dotc                                     l61.5
            AlJC ().24                                     ?41.l                             scale units will rcsu!L Mcnt prefcr-Jbly, appliClltion of the gel
            AlJC ().241°"6<                                232.1                          4S formulolions of the invention wlll resnll io 00mple1e rolicfor
                                                                                             ('llin nnd complete or ncurly complete reslomtlno or physical
                                                                                             funt.1ion.




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                                                           US 9,168,3 05 B2
                                  27                                                                        28
      To assess safety, the frt,'<JUOllC)' of odverne elfoots will be             at least one thickening ngont sekctcd fm111 tlto l!,l'OUP ,;on-
   tabulated, the worst skin irritm ion score will bo doc:uw-,nted,                  sis1ing of o cc:llulosc vulymi:r, 11 airbotUt:r polymer. o
   and chllnge in vital sigos and laboratory par.uncters will be                     carbomcrdL'tivative, ocdlulOSc!dcivalivo, Rndmixtures
   assessed.                                                                         thereof.
      The foregoing discussion of the invention has been pre· s                   J. The method of claim 2, wben:in lbe co11cen1m1i<111 OI
  sented for purposes of illust.ration and description. The fore-             DMSO is about 40% lo about 50"/4 w/,;,.
  going is not intended 10 limit I.he invention to the form or
   forms disclosed hcrcio.Allhough the dll8criplionofthe ln11uo-
                                                                                                or
                                                                                  4. The method claim J, Wherein lhe conccn1m1ion            or
                                                                              DMSO i9 a member selected lh>111 1hc gmur consisting of
  1lon has ioclodw dc>1.'t:iption of one or more cmbodimen1s                  40"/4, 4 J%, 42%, 4:\%, 44%, 45%. 4Mil, ~7%, 48%, 49% and
  nnd certain vnriationsaod 111c:,dlficalions, other \lllrialion,, end 10 50% w/w, and all fraction, in between.
  m<>dili011tinns arc within the score nf the invon1iun, e.g., us                5 . Tue method of claim 2, wherein the coocenlrlllion of
  may bcwilhm tbe&kill uu<l knowlcdgcuflbose in lhcatt, after                 ctbllllOI is present al 23-29% w/w.
  unden.1,Ulding the pnscm disclosure II is intcuilcd to ob1aio                  6. Tbc mclb(KI of claim 2, wherein the al lcost one lhick-
  rights wbicJ1 includo ahemmive emhodimcllls to the cxtcm                   c.-ning ogcu1 i~ selected from 1hc group con~isHng uf II cur-
  pcr1nl1t.:d , including ulkroatc, interchangcoblc, uud/or 1, ho,uer pulyml'r, 11 curbomcrdccivmivc and mixtures lhcreol.
  ~'quiv-Jlenl Slnletures , f11Uc:tit1n~. rouges, or s ll'fl'i lo those          7. The mclhod of cl!lim 6. wbcn:in th~ al lcm,1 one lhick-
 cloimed, whelh.1:ror 110l such alt=to, intcr<;hllllgcable, ~nd/             cning oscnl is Scluc:tcd fmm the group co:isisting ofcurbopol
                                                                             97 1, cnrhopol 98 1, cnrhopol 941, 1:nrbopol 13421111d uJtrc7 10
 or ~'<{11ivnlc111 smtcmres; limctio1L,, rru,s~-s, or steps uro dis-
 closed herein, and wilhout intending lo publicly dedicate any
                                                                                 8. The method of claim 7, wherein glycerine is present.
 f18lcnl3bki 6Ubjcc1 OIDIICr                                             20      9. Tue method of claim 2, wherein the at least one thick-
      All publicm ions, pntentsand patenlnppllc:ationsrefen-ed to            ening :tl!,Ullt is sclccled from the group cousisli1111, of o celJu.
 bcrcin are mcorpomtcd by rercrence in their entirety to the                 lose polymer, a cellult~e derivn1jye, and :nixllll\...,_ thereof.
 some i:xtenl as ifeach 111div1dnal publication. potent or patent               10. Tho method ol'c:loim 9, whcrcm 1J1~ 111 least ooo thick-
 QppUc111ion was specifically Jnd individually intl ienled to be             ening 011,cnl is hydroxypropyl cellulose.
 incorporalc<I by refe=c in its ensirely                                        11 . Tbc melho<l uf da11n LO, wbcNin lbe fomutlation con-
                                                                             sists essentially of comprises:
     Whal is claimed is:                                                        2% w/w diclofcnpc sodium;
     1. A mclhu<l for lrClltinl! pain. said mell101I co111prMng;                40·5~ w/w oflJMSO;
     adminish:rin11 on o long tenn basis a fom1utm ion, Inc for-                23-29'11 ,v/w uf ethanol;
        mulalloo Cilmprising: diclufe1111c 5<.Klium presct11 ot 2% 30           hydmxypropyl cellulose;
        w/w; DMSO prc~1110125% tn 60% w/w; und u v~ily                          wawr: uml 1(H 2%w/w of propylcol." glycol.
        of 500-5000 ccnlipois.:, wherein tile ndministrauon of                  l2. ·n.e method ofclalw 11 , wherein tbe coocentn1t1on of
        tbefonnulation is twice doily,to thereby clTectivdy lrcm            DMSO b 8 mlllnbi:r selected from the group co11.~isli113 of
       pain.                                                                40"/4, 4 l %, 42%, 4'.1%, 44%, 45%, 46%, 47%, 48%, 49% and
    2.1hemct bod of cJaUD 1, wherein tbe fonnulolion consists JS 50"/4 w/w, and all fnictions in between.
essentially of;                                                                 13. Toe method of claim 1, wherein the fonnulation has
    30-60% w/w orDMSO;                                                      improved 11bsorp1ion on o per dose basis compnred to u com-
    1-J5% w/w of propylene glycol;                                          parative liquid composition.
    1-30% w/w of cthan.il:                                                     14. Tbc method of claim 1, wherein the pain is due to

                                                                                                  . . .. .
    optionally glycerine;                                               40 osteoarthritis.
    water: and




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                                                                                                                                   HZNPENN_00043901
                                                              APPX438
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                  Addendum 15

                U.S. Patent No. 9,220,784

                       A439-A471
     Case: 17-2149     Document: 36       Page: 540         Filed: 08/16/2017




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                                         January 21, 2016

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     U.S. PATENT: 9,220,784
     ISSUE DATE: December 29, 2015




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                      Under Secretary of Commerce for       llectual Property
                      and Di,ector o f ~ : ate t:radomark Office




--                               APPX439
                                                                            HZNPENN_00166901
        Case: 17-2149                          Document: 36                    Page: 541                      Filed: 08/16/2017




                                                                    I111111111111111111111 IUI    IH 11111111UIIIIHIlllll 11111111111111101
                                                                                                  US009220784 B2


c12)   United States Patent                                                  (10)   Patent No.:     US 9,220,784 B2
       Kisak et al.                                                          (45)   Date of Patent:    *Dec. 29, 201 5

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(72) Inventors: Ed Klsnk. San Diego. CA (lJS); Jagat                           4,855,294 A          8/1989  Patel ct al.
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(73)    Assignee: HZNP LIMITED, Pembroke (BM)                                  5.350,769 A          9/1994  Kasai eta!.
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        DICLOFENAC TOPICAL FORMULATION                                    placebo over a 12 week period. Notwitbstam!iJig the signifi-
                                                                          cant potential for topical NSAlf)s in the, treatment of OA, as
                CROSS-REFERBNCF.S TO RELATl1D                             ofthe timeoffiling this application, none have been approved
                            APPLJC.KIIONS                                 for sucb trcatmeJ.11 in the U.S.
                                                                             U.S. Pat. Nos. 4,575,5 I 5 and 4,652,557 disclose topical
      This application is a ~-ontinuation of U.S. application Ser.        NSAID compositions, one of which, consisting of 1.5%
   No. 14/497,096, filed Sep. 25, 2014 which is a confo1uation of        diciofenac sodium, 45.5%dimethylsulphoxide, 11.79% etha-
   U.S. application Ser. No. 14/025,781, filed Sep. 12, 2013,             nol, 11.2% propylene glycol, 11.2% glycerine, and watl'J', has
   which application is a continuation of U.S. applic11tion Ser.          been shown to be effective in chronic OA treatment. See
   No. 13/564,688, filed Aug. I, 2012, now U.S. Pat. No. 8,563, IQ Towheed, Journal ofRheumatology 33 :3 567-573 (2006) and
  613, which application is a continuation of U.S. application           also Oregon Evideuce Based Practice Cent(..'!' entitled "Com-
   Ser. No. 12/134,121, filed Jun. 5, 2008, now U.S. Pat. No.             parative Safety and Effectiveness of Analgesics for Osteoar-
   8,252,838, which application is a continuation of PCT/
                                                                          thritis", AHRQ Pub. No. 06-EHC009-EF. This particular
   US2(l07i081674, flied Oct. 17, 2007, which application
  claims priority to U.S. Provision.al Application No. 60/829, 15 composition is referred to herein as "comparative liquid for-
  756, filed Oct. 17. 20()6, the teachings all of which are incor·        mulatio11" or "comparativctt io the Examples section. How-
  porated herein by reforencein their entireties for all purposes.       ever, the compositions of these prior inventions have draw-
                                                                          backs in that tl1t.-y are slow to dry and mnny. They also require
                     FJELD OP THE INVENTION                              frequent dosing ofthree to four times a day to achieve efficacy
                                                                      2Q iu OA, whkh increases exposure to potential skin irritants and
      l11e present invention relates generally to compositions            increases the risk of skin irritation.
  and methods for treating osteoarthritis.                                   In general, the failure of topical NSA!Ds to fulfill their
                                                                          promise in QA may be due iu part to the difficulty associated
               BACKGROUND OF THE lNVEN:nON                                with delivering a molecule throagh the skin insufficient quan-
                                                                      2; tities to exert a therapeutic elle~'I and in a manner that makes
       l. Osteoarthritis                                                  the treatment itself tolerable. lt is generally believed that
      Osteoarthritis (OA) is a chronic joint disea.sechamctcrized        clinical efficacy in OA requires absorption of the active ingre-
  by progressive degeneration of articular cartilage. Symptoms           dient and its penetration in sufficient quantities into underly-
  include joint pain and impaired movement. OA is one of the             ing inflamed tissues including die synovium and synovial
  leading causes of1faability worldwide and a major financial JO fluidofjoints. See Rosenstein, Topical agents in the treatment
  burden m health care systems. It is estimated io affect over I5        of rheumatic disorders, Rheum. Dis. Clin North Am., 25:
  million aduhs in the Uu.ired State~ alone. See Bob L. E.               899-918 (J 999).
  Osteoartliritis. In: DiPiroJ. T., Talbert R. L., Yee G. C., et al.,        However, the skin is a significant barrier to dnig perm\:·
  editors. Pharmacotherapy: " pathophysiologica/ approach.               afion, and despite nearly four d~-cades of extensive rese.,rch,
  4th ed. Norwalk (Conn.): Appleton & Lange, pp. 1441-59 JS the sue<:ess of tran,~(kmnul drug delivery in general rewOillll
  (1999).                                                                foirly limited with only u small number of 1rousde.tnml ,!tug
      Oral non-steroidal anti-inflammatory drugs (NSA.lDs) arc           prod11cts ~mmercially available.
  a m.airu,tay iu the management of OA, They have an.algesic,                Jo connection with topical dosage forms applied to the
  ruiti-ln1l.'Ulllt1atoty and anijpyrotic effects and nre uset\Jl in     skin, a number of interactions can occur including vehicle-
· redQ.ci11g pRin nnd inflammation. NSAIDS are however asso- 40 skin, vehicle-drug, and drug-skin. &ch can affect the release
  ciated with serious potential side effects including nausea,           of an active agent from a topical dosagefomi (Roberts, M. S.:
  vomiting, peptic ulcer disci,sc, Gl haemorrhage, and ca1'Clio-         Structure-perrn~bility considerations in percutaneous
  vascular events.                                                       absorption. lnPn,diction ofPercutaueous Penetration, ed. by
     Topical NSAlDs offer the possibility of achieving local             R. C. Scon ct al., vol. 2, pp. 210-228, IBCTechnical Services,
  therapeutic benefit while reducing or eliminating !lie risk of 45 London, 1991). Thu.5 various factors can affect absol'ption
  systemic side effects. 'Jliere has been wldt-spread interest in        rates and penetration depth including the active ingredient,
  this approach to treating OA, but data in support of the effi-         the vehicle, the pH, and the relative solubility of the active in
  <:at,'}' oftopical NSAfDs in the treatment ofOA is limited. For        the vehicle versus tlie skin (Ostrenga J. et al., Significance of
  instance, a study <if l3 randomized placebo controlled trials          vehicle composition I: relationship between topical vehicle
  (RCI''s) of various topical NSAJDs tested specificaily for use so composition, skin penetrability, and clinical efficacy, Journal
  in the treannent ofOA concluded that I.hey werenotgener.illy           of Phannaceutical Sciences, 60: ll75-J 179 (1971)). More
  efficacious for chronic use in OA. (Lin t.'f al., Efficacy of          specifically, dn1g attributes such as solubility, si7.e and charge,
  topical non-steroidal anti-inflanunatory dn1gs in the treat·           as wcU as, vehicle attributes such as the drug dissolution rate,
  ment of osteoarthritis: meta-analysis of randomii.(,-d con·            spreading-ability, adhesion, and ability to alter membrane
  trolled trials, BMJ, doi:l0.J l36/bmj.38l59.639028.7C ss permt'.ability can have sig.nificant clfocts on pcm1eability.
  (2004)).                                                                  There is significant variabili1y observed from seemingly
     11ierc arc generally lhree outcomes used to measure the             minor v-Jriations in formulations. For irrntance, Naito dL,:non-
  efficacy of an OA trcatnrnnt: pain, physical function, and a           strates significant variability in penetration among topical
  patient global assessment. Sec Bellamy N., Kirwan J., Boers            NSAlD formulations simply by changing the gelling agent
  M., Brooks P., St:randV., Tugwell P., etal. Recommendations 60 used in the compositions (Naito ct al., Percutaneous absorp-
  for a core set ofoutcome measures for future phase IU clinical         tion of diclofenac sodium ointmc,11, Im. Jour. ofPhannaceu-
  trials in knee, hip :u1d hrutd osteoarthritis. Collsensus dcvcl        tics, 24: 115-124 (1985)). Similarly, !lo noted •ignificant
  opment at OMilRACT III.,JRheumatol, 24:799-802 ( 1997).                variability in penetration by changing the proportions ofalco-
 To be suitable for chronic nsc, a therapy must generally show           hol, propylene glycol, and wnter (Ho et al., lbe influeucc of
  efficacy on thei;c three variables over a sustained period of 6S cosolvents on the in-vitro percutaneous penetration of
 time. In the U.S. for instance, the Food and Dnig Adminis-              diclofenac sodium from a gel system, J. Pharm. Pharmacol.,
  tration (FDA) requires OA therapies to show superiority over           46:636-642 (l 994)). It was noted that the changes affected




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  thrct' distinct vruiabl..-s: (i) tlie solubility of the dmg in the             This refc,rence also notes tbutgel cou1po~i1ionsnre associated
 vi:h.iclc. (ii) the pon it ion coefficii•nt, 11nd (iii) effe,.•t., on Rltcr-    with fm,t t"1mirunio11 nf11c1ion oo the uctivc prccipit.1t~J from
 ~tion of skin stn1eloro.                                                       solu1io11 in the up1wr skin layers, limiting anti-in0ummatory
     lln et al. (1994) alro tlOted thtll (i) the pH ofthe vehicle, (ii)         oetion 1u deeper tis~m::s, fbu gels of the present invent ion are
 the dmg 5olubility, nod (iii) the vL'IC(lsity of a gel nUJtrix c.-an           d~i1111ed to acwmplish the oppo~ite. namely prol()nged
 influence pcneir.ition from a gel do><lgc fonn. The pl r value                 action and anti-inllommatory action in the deeper tis,'llcs.
affc.·ts lhe balauce bclwcen ionized and non-io11i:,1;,'tl fonn.~ of                 2. Gel Ponnula11ons or Diclofooue
 rho dnig. which lmvc different penctraiion properties (Obnta,                       None of tho previous rcfo=ccs disclose the vompositio11s
 lt1wma//p11t1l Jo11r11al of Phar11u,c,mtics, 89: 191-198                       of the i,woothm or their use ill lhc t.realment ofOA, Rflthcr,
 (1993)). The viscosity can aftectdi!Tus.ion ofthctlrug through to               th..:se rcfcrcuc~~ highlight llJc sig1.1Hk1mt t1nmc1 need w11h
 the gel matrix and n:lc:iseorthednag from the W)hiclc imothe                   respect to topical 01\ treaunents for chrooic use and the
tikiu. The solubility ofthe drug in lbe vehicle will effect the                 complexityofuan..dcm10I transpon in geDCr.11 where signifi,
p8l1ition coefficient of the drug between the formulation aad                   cnnt variability in p.mnrolion i~ ob~'l'Vcd by changing com-
the recipient membrane/tissue (Ho et al. 1994).                                 po~ition clements or their relative pmponions.
     Chemical penetration enhancers arc <ine means for revers- is                   In light of the fol\.-goi11g, the.re is o <.-onside.mblc nt'\.-J for
                                                                                improvement in the clcvclopnicnt of n topical NSAIO suitnblc
ibly lowering lhc skin barrier. Other methods incli:de iooto-                   for long l<!rtll use in the ll'Cll.tmcnt or OA. Tlie chaUcngc luis
pboresis, ullr.lSouod, electroporation, heat. and micron-                       b,;co to develop ou optim31 fonnulation which will deliver the
ccdles. At least 250 chemicals have been identified es                          active ngent to the underlying ti~sue in ..uffidcnl conccnlr.l-
euh:1neers that can increase skin p.:m1cability. Ocnero I cat-                  1ion lo treat OA on II long term basis, while reducing or
egories ii1clude pyrmlidones, limy acids, esters and alcohols, 20               mi11ir.ni1Jng the i11cidcnccofi11tolcrublc ~kin irritation c1111$cd
sulfoxidcs, csscntinl oilb, terpCU(.'S, oxn-.GOldi11cs. s11rfoctnots,           by disnipfuig lllJ.! ~kin barrier and whil,: prcwiding a ronnula-
ixilyols. 0ZDne and 1.l<!rivatives, itnd epidermal c::,vymcs .                  tiou and Jo,.;ige that leads to and encourages patient compli-
    "lbc mechnnisms by which pcoclmtion cohall(!t.-r., reduce                   ance. The present irM.'ution satisfies the.SC and other needs.
the skin barrier Jiioction are 1K•I ~ell understood (liCC Will-
iam, and Uan-y "Penetration Enhancers~ A,Jvm=,1 Drug 2s                                  BRIEF SUMMARY OF 11 IB INVENTION
/)el/wry llevicwy 56: 603-6 lll (20().l )) although jt hos ooc1t
proposed tbm the mccl~,nism.s cun be grouped into throo                           'l11c present invention overcomes lhc dis11dva111~gcs of'tbe
hro~d categorie:1; lipid disruption, iucrcasing corncocyle fH:T"                prior on by providing diclofo.n11e sooium gel focmul(llioos for
mcability. and promoting n.r1;tioning of the drun into the                      the trt-atmetll of l'Stcolll'lhritis that display a belier dr),ing
                                  ,--.. "                       "           time, higher visco~1ty, increased tran~cm1al flux. and grcntcr
Ussue.                                                                 JO phnnn11cokinetic absorption ia vivo when eomp:ircd to pre·
      The challenge wiih use of cbemicol penetration enhMcers              vlotl~ly dcscrib~-<l cnmpositi.ons. Fw,hermore, the prcforred
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 cuhaooeml/UI o( drug tm1~port at tolerable levels. This is                provide other :idvontagcs including fovoroblc stability al six
  because the act of disrupt.ing the skin blfrier will have the            (6) mouths as rdlccted in the lack of any substantial chnngus
 potential ofcausing skin irrillllion. Wilh mcrea.,oo disruption, 1s in vl900Sity. the obscn(;(: or prose separation and ery1>1al lii,.a-
 skin irritation will bc..v1nc a greater is.sue.1'his is patticularly      tion al low temperatures, a!ld a low level ofoupuritics. Mm-e-
 pn1blcmatie with topic:111 OA trel-1U11outs whL"tC the w,;.I is tu        over, tho prcs.uit gel fonnulations udllcrc well to tho skin,
 have the active ponetr,M foto jui111 tissue 011d wbcro thu drug           spr,'ild en~ily, dry quicker, and show gr,,;1tcr in vivo ub!lorp-
 must be urili7,1.,J ou o lune,-1erm basij due to thenmure of the          tio11 in comp:irisoo tn pn,-vklusly tlc.cribed ,vmpositions.
 disl>ase. The inventors h.wc developed rnetlulds and <a)lllpo· , o 'Miu,, th.) gel fonnulations of the present iavenlion provide
 sitions that deliver more activ\! inl[nxiien1 per unit do.e than         superior means fordcliveryofdielofenoc k.'WllID through lite
 prcviou,ly known cou1posilioas, and ti.tis would be expected             skin for 1l1<: treatment of usteoat1hritis, :is compared 10 previ-
 to 1,•00 to a lower incidence of skin irritation.                        ous ly described formu lntinns,
     The composilion.s of rhc inven1io,1usediclofon11C ;;odi111n               A~ such, in oiic crnbndirucm. 1bc pn,>seut invention pro-
 wbich is a commonly uSt.•d NSAlD. Diclofo1wc has lhur dif- 4s vidci; a gel ronmllution 1:omprising. consisting essentilllly of,
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 pcrmClllion iu solu11ons us.lug different solvents. Minghctti,                (i) diclofenac sodium:
 for iu~tnnce. tead1J..'$ lhat a diclofcnnc suit with an uqmnic                (ii) l>MSO;
 hast' is best for lop,c;,I11pplicatillns (Mingbct!i ct al., Flx vivo          (ii) ellianol;
 study oftra11dermal pcnneation of four diclofeo.11c sails frorn so (iii) propylene glycol;
different vehicles, Jour. of Phann. Sci, 001 I0.1002/                         (v) a thickening agent;
jps.20770 (2007)).                                                            (\<i) optionally glycerol; and
     Other research points to microemuliion formulations as a                 (vii) water.
 means for delivery of diclofennc sodium (Kanterei ct al., In                  In another embodiment, the present inve.ntion pr\)\lidcs 3
vitro penncatioa of diclofenac S(ldium from novel micro- s:s 111clhlld of treating oste1i11rlhritis in :i ~object sulll.-ri113 from
emulsion fo.rmul111ions throus)1 mbhit skill, /Jrug IJewlup-             articular pain, the mctllod compri!iinp. the 10pical admitlistrn-
111c11/ Re.u:ard,, 65: 17-25 (2005); undSurisullul. et :il., Tr.ms·       lion to 1111 allli~lc<l jolm an,a of a st1bjcct a thempcutieally
dermal delivery of diclofenac sodiwn through rat skin from               elJ'cictivc umount of o gel fonnulaliou oomprising, cunsi$ting
va.rio11s roanuloliou., A l>S PharmSriTech. 7 ( 4) Article 88,           CSS<.'l'.llial ly of, or ronsi,ting of:
El-1:.7 (2006)).                                                      60      (i) diclofeoac sodium;
     Other topical diclofenec compoNitions are disclosed in a                 (ii) DMSO;
number of potents including U.S. Put. No. 4,543,251, U.S.                     (ii) t:llumul;
Put. No. 4,670,254, U.S. Pat. No. 5,374,661, U.S. Pat. No.                    (iii) propylene glycol;
5,738,869, U.S. !'at. No. 6,399,093 and U.S. Pat. No. 6,004,                  (v) a thickening agent;
566, US. Potent Application No. 20050158348 points out 6S                     (vi) oplio.oally glycerol: and
that vurious solvents arc widely used for gel prcp.lrat,on~, but              (vi) woter,
notes that they are limited in potentinJ due to skin i1rit111ion.        thereby treating osteoarthritis.




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                                                                                                                                            HZNPENN_00166920
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                                                                  US 9,220,784 B2
                                        5
            A fi1r1hct cmbodimcnl provioofi fur the use of diclofon:                                                 6
                                                                        1c         formulations are applied topicafly. In variou~ usp,:cls, !he ~I
       sodium In the l'"'l'"rat ion <.>f ~ medicament for the trca1111e111
       of pain, the mediC11ment comprising a gel fonnulation com-                  formulations arc applied twice daily and the pain c:;m be due
       posing, ,'<>n$hrtins essentially o1; or consisting of:                      to ost<.'oa1tbritis.
           (i) di<;fofcnac sodium;                                                    "lbc;;c and other object1, cmbodimc111s, and odv11111a
                                                                                                                                                         11es
           {ii)DMSO;                                                               will become more apJll<rent when read with the ligures and
           (ii) ethanol:                                                           deuuloo   de.,cript ion which  follow.
           (iii) propylene glycol;
           (v) a thickening agCrJI;                                                        BRIEF DESCRIPTION OF THE DRAWINGS
           (vi) optionally glycerol; and                                     10       FIG. I ,;bowsa bargraphoflluxr.iteofl !EC and PVP gels.
          (vii) water.
                                                                                   Franz diffusion cells were dosed ul 15 mg per FmrtY. cell.
          lJi yet a further embodimenl, the present invcotion provides
                                                                                      FIG. 2 shows :, b:ir graph of flux rate of gels mode wilh
      a grl funnulatk>n compri.,ing. ,"OllSisling essco1iaUy of, or
                                                                                   Carl>opol 981 and Ultrcz IO. Franz diffusion gels were dosed
      con,i$ting of: a diclofcm,c sodium soluliou aod ut least one
                                                                                   with 200 µI per Fronz cell.
      lh.ickening agent, which c.in be selcclcd from ccllubse poly-
                                                                            1s FIG. :l shows a bar gropb ofllu,c raleof carbopol 971 and
      mer, a carbomcr polymer, a carbomcr dcrilllltive, a cellulose
                                                                                  carbopol 981 gels. rr.uiz diffusion t:e:lls Wl."re d(>Sed at 50 µI
      derivative, polyvinyl alcohol, poloxarnen., polysaccharides,
                                                                                  pLT cell.
      and mixtures thereof.
                                                                                     FIG. 4 shows a bar graph off!ux rate of various gels and a
         lo an aspect of this (.•tnbodimcnl, the diclofcoae sodium
                                                                                  comp11rativc liquid fom1.ulatioo. Franz cells were dosed nt JO
     solu1ion comprises, consists essentially of, or consisis of:           20 mg per Franz cell.
         (i) diclofeoac sodium;
                                                                                     FIG. S shuws a bar gn,ph ii lustmtin g the effect of the pH of
         (ii) DMSO;
                                                                                  various gds and a comparntive li()uid formulation on flux
        (ii) cthllllol;
                                                                                  rate. Franz diffusion cells were dosed at 7 rn~ per cell.
        (iii) propylene glycol;
        (iv) optionally glycerol; and
                                                                                     flG. 6 shQwi: a bar gropltufflux rotes of various gels. Franz
                                                                           2s cell$ w~ro dosed at 7 nJg per Pr.mz cell.
        (v) waler.
                                                                                     FIG. 7 shows a bargroph of flux rotes of various diclofenac
        lo an aspect of the above embodiJ11cms, the lhickcni
                                                                      ns         foonuh1tions. The co,np11rntive liquid formulatiun (I .5%
     agents can bi!' sclcct(.'Ci lrom ccllulu.sc poly.men1, all'bomcr
                                                                                 dk:lofcll<IC sodium) was d<1~L-d 01 20 mg per Franz cell,
    polymeri, a airbomc rdcrivnt ive, a cellulose dcri.-ati~e. poly•
                                                                                 Solaroz c® (u commercially allllilable 3% diclofowc 5tidium
     viuyl alcohol, poloxamt·rs, polysaccharides, uud mixtures
                                                                           JO gel) was do11t.'d ~I JO msJNT Franz cell, aud II formula
    1hcreof.                                                                                                                                     tion of
        In an aspect of the above gc:1 cmbo<.lirue-111s. dictofcnac
                                                                                 the in"Clltion. Ft4/2, was dosed at 15 ,ng per Fran, diffusion
                                                                                 cell. At this dosing, all cells were dosed with equivdlcnt
    sodium is presCJll 111 .1-So/o w/w, such as I, 2, 3, 4, or 5% w/w;
                                                                                 amounts of diclofcuac sodium.
    DMSOisprescnt11t30-60%w/w;llUlall01ispresent~ 1-50%
    w/w; propylene glycol is prescul at 1-15% wtw; glycerol is                      FIG. 8 s!¥>"s a bar gn,ph of Hux rnll!ll in multiJosing
                                                                          JS expcri mcn1~. l ho comparative liquid formulation was dosed
    prei;ent a 1 0-1!>% wiw, a thickcni1.1g agent is pr.:;ent $lCh that
                                                                                at 0.1> mg per 1-'nmz cell al 0. 4, 8, W1d 12 hrs. A formulation
    the end viscosity of the gel is between 10 and 50000 centi-
    poi~e; 1utd WllllT is odded to make I 00% w/w. tu olhcrasp ects,            ofthe invention, Pl4/2, was dosed a1 I .5 mg perPranzcell al
                                                                                Oand 6 hrs.
   glycerol is preseut at 0-4% w/w. ln further aspects, no glyc-
   erol is present.                                                                 FIG.9shows:i bargraphofiluxra1esoh11riousdiclofcnac
                                                                         -40 fonnulations. l'rnr11: cells wor_- d<Js1-~I at 20 mg
       ln another aspect of the above embodiments, diclofC1l8c                                                                         po.r cell.
                                                                                    F[O. l(I shows u bar groph of oota on diclofenoc flux rote.~
   sodium is present at 2% w/w; DMSO is present al 45.5% w/w;
                                                                                from ~Is discl~- d in &boota Cl 111. and gels or this inven-
   etbauol is present at 23-29"/o w/w; propyl.ioo glycol is present
                                                                                lion. Fro 01, c:dJs w<•ro dosed 111 4 mg per coll.
   at 10-12% w/w; hydmxypropykellultl$C (HYl 19) is present
  at 0-6¾ w/w; glyccrul is prcseol ot 0-4%, 11nd waler iuddcd
                                                                                    PIG. U ~bows the drying profllc over time of lht\.-c gel
                                                                         • 1 formulatioog lind oue liquid formulation of diclofcw
   to make I00% w/w. In otbcrnspecls, thero isno glycerol ,n the                                                                                         c
                                                                               ~odium.
  gel fonnulotion In furth<1r11Sp(.'CI:!, the end vi=siiy oflhc gel
                                                                                   FIG. 12 ~oows the in vivo steady state plasma cooccntra-
  is 500-5-000 ceutipoiS<!.
                                                                              1ioos of diclofenac sodium after administr.nioo of either
       A foatnre <Jftbo i,bovc gel fonnulations is that whell such                                                                                      n
                                                                               liquid or gel formulation.
  formula tions areoppli<xl to the skin, the drying rote is quicker
                                                                         50
  ilod trmisdermal flux is bigherthun previouslydescrioolcom-
                                                                                     DETAILED DESCRIPTION OF THri INVEN"ITON
  positions, such as those in U.S. Pat. Nos. 4,575,515 and
 4,652,557. Additional features of lhe preferred formulations
 include <k:crcas~'d dcgrodarfon of dielofonnc sodhnn. which                                               I. Delioitions
 degrade s by lt:ilS th.in 0.04% over the course of6 monlht
                                                                  and S$ The tenn '"1ronsderma1" is used herein to gcooral ly
                                                                                                              0

 a p(J of6.0-IO.O. for example around pll 9.0.                                                                                                include
                                                                              a proocss lhnt occun through tile skin, The tcnns ··1ransdt:r·
      In oo.rrnio ~mbodimllnts, the 11,cl fonuultttions of tbe inwn-
                                                                              ow l'' nnd "pcrcuiaocous" arc uS<.>d interchange-.ibly through-
 tion comprise 1·5% glycerol. wherein tho! gel fomulnl
                                                                  ion         out lltis spocificatwn.
 when applied to U1c skiu hlls a drying rote and tronsdcnnal                      The tem1 "topical formulation" is used lu:rei11 lO gem:rully
 flux greater than a comparative liquid formulation. In some
                                                                        60 include n formulation that can be applied to rJdn or a mucosa.
aspects, lbe drying rate results in a residue of at most SO% of
a s111rting ainounl ofter 24 houn, imd the tJ:allSdcrmal flux is              Topical fonnulation.~ may. for example, be used tn ~-oufor-
                                                                             1hen1p,:u1ic benefit to a patii:-111or c.1\s111ctic bcn(.1:lts to it <.'Oll·
 l.S or more grt.>atcr thuu a comp11rative li,11Jid furmulatiuo as           sumer.1bpical fonnulations can be used for bolb topical and
dt."lcnnincd by !'raw cell procedure at finite or infinite dosing
                                                                             traosdermal administration of subslances.
M~
                                                                        ~         Titc tc:nn "fopicul :1dminls1rntio11" is used herein 10 s~ncr-
     ln oth<:rcmbodiments. the gd fonnulations aud ructtods of               ally include the delivery orII substance, su.:h as II tltcrapcoli-
their use provide n r.:duclionof 113inow r 12 v.ccks ,,.hen
                                                                  the        cally nc1ivcngenl, h> 1.he~ki11 ora loc~fo:ed rcsion uftltebody.




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                                                                                          an on 01r,nnn1A
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                                                                        APPX459
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                                                                                  US 9,220,784 B2
                                                  7                                                                                             8
            'f11e tcnn "lrJ11StlcrmaJ utlmioislration'' is used herein
         gcocrally inclucw ndministmtion 1hmugh 1he slun. Trnnsd 111                          pn.:senl iuvcmion al a conccnlr:Uion ohhn•1401011buu1
                                                                                                                                                                                          SO¾
                                                                                er-          wlw, siicb as 41,42, 43. 44. 4S, 46, 47, 48, 49 und 50% and
         m11I udminislralitlft is oOeo opplicd where sys11:nucdtiliv                                                                                                                         ull
                                                                                cry           fruction     s  in hctwee       nsucbu        s44,   44,S,4  S.4~.S
        or an nctivc is dcsinxl, ahhougb ii may olsn he useful                                                                                                        , -16,46.S%, :md
        delivering on ucliw 10 tissues nndcrlying l/1eskin with                 for          the     like.
                                                                            mini- s               In ccrtnin embodiment~ , lbe present lm'Clllion include
        mnl syst<.'lnk ohsorplion.                                                                                                                                                          sn
            The term "r,cnctration enhancer" i~ used herein 10 gencr-                        lower olklluo l, such os mclhnnol, elbimol, pmp:mol,
                                                                                                                                                                                     hutonul
        ally include an ugcnl 11!:11 improves tbe transpO(I o.f 010leeu                     or    mixtur      es   thereof     .  In certain cmbotlimeuls, the ~lkannl is
        such as nn 11ctiw llgent (e.g., a modicine) into or 1!1roug lcs                      present DI uhout I to about 50% w/w Prekmbly, <.'lhano
                                                                                                                                                                                           l 1s
                                                                            h the           used       ot uboul       I-SO% w/w, ,-ucb AS l. S, I 0, 15, 20, 25, 30, 35,
        skin. Vruio11s c<u1ditions mny occur 01 diOerent sites
                                                                           in lhc 10 40, 45, or 50"<. w/w, :ind 1111 froctlons in b<.-twce
        body either in the skin or below lhe skin CJ'Cllling o                                                                                                            n.
                                                                         need to                 Tn ccnllin embodiments, the presl!lll invemion includt,g o
        mrgc.'t delivery (l rcompmnds. flor example.
                                                          in o 1it:uto1cnt for              potyhydric olcobol. such II~,, glycol. Suitab le glycols
       ostcourt.brnis, tbc delivery or the active agcm into rclntivc                                                                                                                include
       dccp underlying jolnl 1i1m1c may be ncccssury 10                         ly          ethylen.: glyool, propylene glycol, bllt)'lt:ne glycol, (liprop
                                                                       ucbic:ve             lune                                                                                             y-
       thcrnpcutic beneliL ·1111.s. o "pcnelrolion enhanc er"                                         ):!lycol,    lw1mnc     1riol     uud   a  combiu    atioa     tbcn:of. Pn?f.!r-
                                                                       moy be IS obly, propyl1:110 g)y.."01 is used at obo111 at
       usedtoas~istinthedcli\'cryoronnc1ivengcn1direc1ly10                                                                                                     l-15¾ w/w, such as
                                                                             1hu            1,2,3, 4,5,6, 7,8,9. 10, II, 12, 13, l4,orl S%w/w,aud
       skin or undcrlyioglissueorindii:ectly to lhcsitc of(hcdiS                                                                                                                           nll
                                                                          C'.1.S.:         rmcrio         ~ in   bc1wee      n,
       lhl\)Ugbsystemicdi~triblltion. A penctmtmn eohwlcerrnay
       a pure subsu111cc <>r moy comprise u mixture of di!Tcnm                 be               In    certain       cmb,.-idimC11ts, the presunl invention ittcludu
      chcmical eoti1ics.                                                         l         IPYcerol (also referred to bcrcin as glycerine) a l a concen s
                                                                                     w 1ioo of0-12% wtw. lln:fcr;ibly, glyocml is used 111                                                lm-
          1l1e term ''llnite dosi11i( is used herein III gcncrully i11clude                                                                                                  0-4% w/w,
      an oppliCllCiou or a limited reservoir of an uctivc agcnl.                           such      os 0, I, 2. 3, or -I% w/w, and all fm.:tio~ in bctwccn.
                                                                            The                                                                                                             lo
      rescrvoiroflbc oc1ive ogeut ls c!epletcd with timu h.:ading                         some embodiments, no glyccml is us<.-d in lhc formuln
                                                                             to  u                                                                                                   tioo.
      tapering off of tbe active absorption rate nOcr o maxim                                  In    o  proforrC     II  embod      iment,     the  present    invcnti    ,, n providt-s
                                                                             um           o formulation comprising o dlclufcnnc soluiion nod
      absorption r.uc 1s reached .                                                                                                                                                 at least
                                                                                    2S one lhickcni ng ngcnt tu mukc a gill. 'Iba ot
           lna term "lnlioitc dosing" is 11&al hcn:in to genera                                                                                                  l,·usl one 1hickc11-
                                                                              lly         ing    agent      oflhe      present       Inventi   on may bean:icrylic polymer
      include nil oppllcutioo ofa large l\$Cl'VOirof an nctive
                                                                         ogenL            {for cxomplc, Clll'bopol polymers, Nnvoon polycal
     111c reservoir is not signiflco111ly dcplc1ed with time,                                                                                                                    'bophll;,
                                                                      tbcrcby             und     Ptmulu       n   polyme       ric cmulsificlli awimblc comm =i:illy
      providing o long llTln, cu111inuou~ stc:i<ly state uf
                                                                         ocuvc            from        N'ovllQo      Inc. of Clwcloncl, Ohio). on 11<.:rylic polymer
     11b~orp1ion.
          As used hetein, the term "comparative hquid formotion"                    3n clerivatlvc. a c~llulosc polymer, o cellulose polyme
                                                                              or                                                                                               r derivu-
    "co111pnrmive" n:J'ers 10 a fonnul11t11)u such as 1h01                               1ivc,     polyvin      yl alcohol. poloi<;illK'N, p0ly~accharidcs or mix·
                                                                 llcscribed              litres      thereof. Prefcrnbly 1bc 01 least une thkkcning agent
     in U.S. P111. Nos. 4,575,515 aud 4,652,557 consis1ingor                                                                                                                               is
                                                                          J.3¾           hydroxypropylcelluk>se On>c) usc.'11 such 1ba1lhe end
    dicklfo1111C sodit1111, 4S.5% dimc1bylsulfoxidc. l 1.79¾                                                                                                                      viscos-
                                                                          etlw-          ily   is  hctwcc      i1  IOeod      SOOOO       ccntip11   isc(1.-ps
    nol. 11 .2% propylcoo gly~ol, 11 .2% glycerine, und wntcr.                                                                                                 ). Moreprcfcrnbly
                                                                                    H the end viscosity is bciwe.:n 500 and 20000 cps.
                                                                                             The present gel f11n11ulntinn may np1innally incluw al
                              II. Gel Funnulotious                                                                                                                                    lt.-ust
                                                                                         one ootiollidant ond/or one chcloling a~eaL
                  l . Components of the Gel Formulations                                     Prcferr      od   antioxi     doots      for  u~c in lbc present invcolicm mny
                                                                                        be select~'<! rn,m the group <-'Oosis11ug ofbu1yl111cd
                                                                                                                                                                             hydroxy-
                                                                                   40 10Juenc (OUT). butylnu.,d hydroxyanisole (DllA)
         In order tn rrovi<lc a diclofllJlllo sodium gel formul                                                                                                            , ascorbyl
    having improv,'11 propenics of dryiug time, incr,:ased               ution          li111llcn     lc, ascorby       l tli11almllute. ascorbyl tocopherol 11U1lcnte,
                                                                        tm115 -        calcium IISt'Orbate, caroteuuids, kojic acid, lhloglyculic
   dermal fluK ond greater phormncokinelic obsorptiou                                                                                                                                acid,
                                                                    in vivo,            tocorhc        rol. tocopht:r0I occ1111e , tucoph.:rcth-5, 1ocopherol11-
    Wghcr viscosity, good ndllereuce to the skin, ontl
                                                                       ready            l 2, 1ocorbcrclh-lR, 1ocopbcrclh.SO. ond mixtures thereof
   sprcadobilil)', while 1mintniniog 6tability over time,                                                                                                                               .
   inwntors hove cliscovcr~'II 111111 a surpri1lnsly udvanlo the 4S                         Preferred chclat ing ngcots ll1ll)' be wk-cted from 1hu
                                                                                                                                                                                  gmup
                                                                       goous           consistingoft:thylencdiomine tetrollCetic oci<l (C!.O'u
   cornbin.ition n(lhe followklg camponcnts can be usdd                                                                                                                       \), diam-
                                                                       in
   prcponatit'n oflhc gel campo~hiuns oftbc pr,:scm invcuti the                        nK>nium UOTA, clipnmnium l!DTA, calc,um di~odit
                                                                                                                                                                                        tm
                                                                           o11.        UOTA,           I !EOTA      ,  Tl?J.\-1    :il)TA,    tctmsod
       11,e present invention _providel> gel fomwlillJom compri                                                                                          ium El)TA, tripolllS·
                                                                            s-         sium        eJ)TA,         trisodiu    m       pho~ph     :ilc. dlummonium citrotc,
   ing au ao1!veosc111. preferably n non-stt:roidnJ nn•l·inl1
                                                                  11mm11- s1, golnctaric acid, galuctumnlc ;,cld,
  lory drug or pbz.1,ma~'lltiatlly 11cccpl11blc salts !hereof                                                                                      glucnnic add, glucuronic
                                                                     . More           acid,      btunic      ui.:id.   i;yclod     cxtrio, potJssium ci11111e, pota.-sium
  prcfcrobly, thenon-sl~'l'Oidal nnti·inllnmmotory is diclofo
                                                                         nac,         HDTM          P,    sodium         0itmtc1 sodium llDTMP, uod millture;i
  ,vhicb C:llll .:xi61 in a v:1rlcty or snit forms. including
                                                                 ;;odium,             lhe~,r
  po1a-ssiu111, and dicthylamine fonns. In a prcfcrml
                                                                 embodi-                   In   additio     n, lhe l()pi01I fom,ulotions of the presci11 invcu-
  ment, the sodium ma.It of diclofcrmc is used. Oiclole
 sodium O\J\Y be prcscn1 in a range orappn>lutnu tely                     oac s, lion can nlso <.'()Jnrrisco pl I utljru.'lingagen
                                                                                                                                                            t. lnooc pi1rticu
  J 0"/4, such ns l,2, 3, 4, (u 5%w/w. lJse of1he sndiw1
                                                                  0.1'¾, to           embodiment, the pll adju111in1:1 ugc:nt is o baso. Sullnb lnr
                                                                                      mljus1ing bases include bicntbonlltcs, can>OW1tcs, pH
                                                                1 suit has                                                                                                       le
  b<.'.:n known to create o chalhmgc wilh n:specl 10 slllbilit                                                                                                                       aud
                                                                         y o.f        hydroxKl«s sucb as alkali ornlkulinccruth mc1nl bytlrox
 an aq11«1us gel in !hut higher salt concenlrotinos can                                                                                                                           idcus
                                                                  cousu a             wull      :1s   transiti   on      111e1al    hydrox     ides.
 bn:akdown 111 t11e gcl ruulrii. lhrough intcnJL'lioo with                                                                                             Allemulivcly, tbc pll
                                                                   t:\!l'toin 60 udjusting o~I can also be on acid,
 thickening agents.                                                                                                                                 an acid ~It, or mixtul\.'S
      In a110!11cr cmbodlmcm, the presenl invention include                          t11creof      .  further    ,  t11 e  pn    odjusti     ug oscnt" '"' olso be a bu Our.
                                                                          sn         Sutt.able huff'cn include citmtc/cilric ocid buffi.~,
 pcnc1ro1ion enl111nccr. The pm:u-alion enhauccr may                                                                                                                         occllltc/
                                                                 bu dim-             acetic       ucid     bulTcn      ,  phospll     lltC!.lphosphoric ooicl bulTcrs , for-
 ethyl sul!uxide ("DMSO") orucrivntivcs thcreof. 1110
                                                                  DMSO               mote/f'u       rmio     11Citl   buffers    ,  propion     ntc/pl\tpionic acid buffm ,
 may be pn:scnt in an amount by weight of 1% to 70".4,
                                                                         and 65 loctate/loctic 11<.-id huffm . curlxirm
mnrc ptcforably, between 2S% and (,OU/4, iUCh ns 25,                                                                                              t"let1rbonic acid bulTors,
                                                                  30, 40.            ommon       i11ni/uin     111onlo      buffers , aucl the like. 'l1ic pl I odjustio~
'IS, SO, SS. or C,00/4 w/w. 11,-cfcmbly, DMSO is used
                                                                    in the           og<.-nt ,s pres<:1\1 in nn 01nuun1 ~-ullicicnt tu utljust tbc pl
                                                                                                                                                                             I of the




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                                                                               ..,,.., __ -- n. - - - - - -
                                                                                                                                                                                 HZNP ENN_00166922

                                                                                         APPX460
               Case: 17-2149                                Document: 36                              Page: 562                       Filed: 08/16/2017




                                                                            us 9,220,784 8 2
                                              9
      composition to bclw = about rll 4.0 10 nboul
                                                           I0.0. more
                                                                                                                                      10
      prefemhly obou1pl I 7.0 to obout 9,5. In co:rtuio                                      mil.Ill. the nmuro uftltc, ~1t,diC11 rc<Juln,d 10 suppor
                                                        emb<ldhncnlS,                                                                                            t rc.ogul11100-
      the Ulllldjustctl pU of1he odmixo:d componcms is                                      submissions , :ind tl1e ultillllltc-~fe1y lllld oppmv
                                                           between 8                                                                                            ability.
      und lO,.such ns 9, without tbcneed for the ndditi                                        JI iN i.ruportanl for instmu:e to minimize the
                                                         ouof any pl I                                                                                             amo11n1 o(
      adjusting ogent'°'.                                                                   impnrilics nr degmdntioo rmc1uc:ts thllt funn over
                                                                                                                                                                  time due to
                                                                                            i111eractiom, betwcc,1 tl1u wrious ingrcdicnlS in
                     2. Chamcterislics of the Gel Formulation                                                                                                    a co111p11si-
                                                                                            1ion. This cau be p31'1icul:irly important in comro
                                                                                                                                                                 silions tbm
                                                                                           are desisn,'tl 11, lncn:as.: ski11 pcnncnbilily.
                                a) Tulnsdcrmal Flux                                           Thus, in wme embodiments, U1e presau in\enti
                                                                                                                                                                       un pro-
                                                                                           vides II diclofcnuc sodium gel forrnul11tloo tho1
           As shown helow in lhc l!xnmpl~. lh1t prosClll inventi 10 less                                                                                       dq~rmles by
       rrovidcsi.liclufonacsadium gel fonnulatiOI\S that                     llll                tlu1n   l ¾  over   1hecour.1c of 6 months ul room tcmperntun:..
       prislngly e/Tcctivc rnte11 or tninsdcrmal aux whcudispl11y S11r-                    More prefombly, 1hem1oofdc1:1mdntio11 is less than
                                                                                                                                                                      tl.9, OJI,
                                                                  compan.-d               0.7,   0.6,   O.S, 0.4. 0.3. 0.2. or lcs9 than 0.1%, and all fme1io
       to pn.-viously descri bed fommlations.                                                                                                                                  n.1
           Accord.iogly, in one cmbodirlli!ut, ll!c present                                in botwocn, over lhc course of6 months ut mom tcmpcm
                                                                                                                                                                            tuN.
       tioncompriscs a non-S1<TOidnl unli•iuflommatorygel fnnnuln-
                                                                ani.l
      tlne thickt.i1ini:1 ugcnl und hoving n Oux, os de1crm Bt lca.t IS                                                    d) Drying lime
                                                                   incd by u
       finite dose Franz cell fll'(ICOOltrc, equal to or greate
                                                                   r than the                 Relative 1a pn.-viously i.lisclos<.'<I cumposltious
      Oux ofa t.-omparmivc 1ic1uid formulmion. l'refur.ibly,                                                                                                       , such us
      1s 8fCJJlW' thlln tlic Oux of thcQQmp:1nllivc liquid roanul     the Omt             those in U.S. Pm. No,. 4,575,515 and 4,652,5
                                                                                                                                                               57
      Murc rrefornbly, theflu11 is ut least 1.5 limes greate            ation.           h.:n.in os "comparo1ivc liquid rormulation" or (l<'l'tllcd
                                                                                                                                                                ·•corupnru-
      Oux oflbecumpnrotive liquid locmulotion. In olhcrwr lhnn the 10 tive"), 1be compusilioM of lbc invClllion dry quic.ker while
                                                                    ords, Ilic           ll<'bicving higher trJusdcrmal flux of Ille dru~. 11
      rnlio of: (i) 1he flux of the gel funnulo1ion compr                                                                                                     is surprising
                                                                   isiug 1hc             tbut higher flux rate Will quick r drying coo be
      non•ijllTOidnl nnli•iJ1ll11mmatory nnd al ICll51 one                                                                                                          11Chievcd
                                                                tbiukcnillg             IOgcth      er as  skin    byc!ml  ion  is kn<>wn
     agent 10 (ii) I.he flmc of the comp:1m1ive liquid fonnuln                                                                                 111  Increas e tmnsdemiel
     p1'!!for:lbly greater thou 1.0. und more preferably m 1io11 is                      flux or pcnctrallou. The dryiog nf lhc                    skin cutl$C<l by rupitl
                                                                k'IISI obuut i ~ cvnpor:i1ion would lend lo n.'\luc:e
      I .S~ 11 fiirtbcr l!lnbodimcnt, the present inventi
                                                         on furthQf JUU·
                                                                                                                                         the trllnOOc:1111.11 trnnspon      ,,f
     vidcs O diclnfellllC sodium gel funnulotiOn compr                                  tlrug rcmoining on tbc skin. The drying time i.liflcrc
     diclofcnnc solution nod nt least une thlckeolng ising a                            cvi<kmt wb<.c'll equnl lllllOUOts oflhc lwo prudilC IS are ncc is
                                                                                                                                                                   ll'h"ll'tl on
     bovingn fluit as dc10:rmincd by 1be fmhe Franz cell 011en1 nntl                   opposite limbs. Within thirty (30) nUUJJtC!> the compu
                                                                                                                                                                       sitions
                                                                procedure              ofthe      inven1    ion   ure  olmost  complclcly dry whereas a signi!i-
     M )CllSI cquivul.:ntto lliuOux of1hcdiclofen
                                                      ac solution alone. JO cant amount of the pn:viou
     Prcfcrflbly, the dielofennc sodium gel fomml                                                                              &ly described liquid fom111lntlo11
    111~1 is al least 2.0 times gn:,iler compunld toation        hus a nux
                                                         1hc Oux of 1hc
                                                                                       reniftins.
    dicJofC0£1t: sodium oolution 1l1011c. More prefera                                       To  compn     re  1hc   drying  times moro qullntita tivcly, sldc.hy-
                                                                   bly, lhe            side cnmparisoos were COJlductt.-d. 1lJ o~mp lish
    present invention provid.s a diclofcna<: sodium gel                                                                                                             this, the
                                                                  ronnuln-             invent     ors   menstt   rod tl)c residual weight M fonnulutions by
    Lion hnvlnJ! o llwc thol is 111 lcust4.0 times grro11.irco111p
    I.he nux of the diclofenac soi.lium solution ak>nc.               ured 10    l5    placi11    1,1,~u1  1lamow11s( 1001Dg)of11 prior art r(lnnul31iunund
                                                                   In other           COJ11J1Qsitionsoflhe invention In we1s~ <lish, 'llovc
    words , lhe ratio or: (i) the Oux uf the diclnfcnnc                                                                                                            r 10am'
                                                              sodium gel              l1l'Clls   anti   wcil!,blng the amouu1 remaining owr 1ime. Using
    fom111ln1ion to (ii) the nu" nr lhc diclofcmic $Odium
                                                                  lllOlution          this    mcdm     tlology, ndiJfcrenc11 is immooiotelyoo1iccable, und
   is at lcas1 about 1.0, 11rcfembly nt least ubou1
   erohly 111 )t.-usl ubou1 4.0.                        2.0, more rrcf-               bccomesJrnmnticallydiifcrc111 by4 hburs(1ilblc
                                                                                .o    J  0).                                                                 l I nnd HG.
         In a ycl funhercmbodimcnl, the present invention
   n dii;lufen1Jc sodium gel tom1uhnion a,mprisiug               pruvii.l  cs
                                                               diclofonac
   sodium an<I 01 lcas1 nnc thickening ngent nod having                                                               e) Pluu:mncokinetics
   d1:tcrn1ioed by 1hc multiple noitc dosing Franz cell u nux as
                              1                                procedure
   (dQsingal 2.5 m@lcm ot Oand 6 hours) ofol lcaSI                                         A c:owp;iriS<,o or 1hc ubsorpliun of 01clofc1111c oodiw
   cm2 11l 24 hours, prcfon,hly at least 0.2 µg/hrfcm 2 0.1 iawhrl 4s compollilions of the invention aod                                                                n of
                                                             11124 b<iul'll,                                                           e comflllmblc COlll(Xlsilion
                                                                                     from ll.S. Pa1. Nu:,. 4,575,S IS nnd 4,652,557 1vus
                                 b) Viscosity                                                                                                                 conduc1cd
                                                                                     io animals. "Ille gel~ or the invention were shown
                                                                                                                                                                   lO hllvc
                                                                                    llllprovcd absorption011:1 pcr<b c basis than thccom
       lo another embodiment, lhc rrc:.cnt invcntion provid                                                                                                      panitivu
                                                                       es a         liquid      aompn      silions \if 1h,,,,~c potents. In obsohu
  gel fonnulo1ioo comprising a non.steroidal uati-inll                         w clinical tlosc oftbc gels uflhc invention d;:Jiven c 1ei·ms, lbc
  tory drug (NSJ\J[')) aod 01 leus1 ooe thickening ogt:nl,am11111-                                                                                      .-d a mullimum
  ronmtlo1ion huving a vi~~-oshy of at h:ust I 00 cl'              the  gel         ub:.eM       .~ plnsmo concc11tm1ion (C' ,., ,,) 01 s11Uw.ly stnte of
                                                           . Preferably.            og/ml ond on are.i undor the curve (AUC) of SS4       0                               81
 1hc gel fonnulatinn bus n 11iswsity of at lcasl 500                                                                                                        11g/ml. This
 prelim1bly, the gel funnulatiun lms u visc1~~i1y ofal .:P. More                    compared to 12 11l!/ml and 106 ns,'ml fur the
                                                                                                                                                            C0111PDm1or
                                                              least I (J(J(I        00111p11siliu11s.
 cP. Jo olbcr cmbodimenl•, I.he vi&eosi1y is 5000-1
 10,000-15,000, or 15,000-20,<X)() cP.                              0,000,    S$         These       results    speak     10 lhc   pn.i(l<.'ftillS of Iha vehicle in
      In a f'urtbc:r embodiment I.be prescnl invention provid                      delivering the uctivc agt.'IU. l'hc higher oumbets
                                                                       es o                                                                                (or gel wt!re
                                                                                   110CUCVL11 lhougb 1hcsolu1ioocompo~
 diclofcnuc )bul fonnula1lon cumpribllll!, o i.liolorc                                                                                      i1ionwasdu,.id four(4)
                                                         noc solutio n             times       per   cloy   (101 .11 5.2 ml) comp0red 10 twice (2) (l<.'f cloy
 nnd 111 least one 1hicla:oing ag\!lll, the gel focmulntion
 a viscosity of lll'OUlld I 000 c? and o flux of                  having           (101111 4.0 ml) fnr the gch..
            1                                             nl lcust 0.2 60
µg/cm / br asdctcnn.inl-d hytllo multiple finite dose
                                                              l'mazccll                                 Ill P~1i onof Gel Fonnularioc,i
l'roccdure (2.S mivcm~ at Ound 6 houn) at 24 hours.
                                                                                        In noolhlT embodiment, the pmscnt inveruion providt
                                c) Stability                                                                                                                           =, 11
                                                                                  111uU1od for making gel funnulntions of diclofe
                                                                                                                                                          uac !IOdium.
                                                                             6S Th11 gel formulo1iuns of the rresem
    The stability of a drug producr composition can                                                                                      invention tre i,refcrn
significant impact on tbe lmglh and cosl of drug have u                           made by canying out the lhlluwl ug :Heps: (i) dispers hly
                                                               develop-           thickener, clcrivntivc thereof n11d/or 1nix111re then.'O ing the
                                                                                                                                                              f in dim·




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                                                                         . . n _,_..., __ · - -~- -
                                                                                                                                                                    HZNPENN_001 66923

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                                                                      us 9,220,784 82
                                        11
      e11Jyl ~ulfoxiue nnd Slirring for I hour;
                                                (ii) dissol  ving
                                                                                                                          u
                                                                                     joint, bowCV\:J' a su,,~hle nmounl tru1y rongc
      Jiclof onoc sodium in un uqueous nlcoho                                                                                              from O.S i11/cro,
                                             l mlJ1t11ro (e.g., un                    lu 4.0 µl/cm 1 • PrelcrJbly rJ1c 11111011111 rn11ges
       ellmuoVwater mixture): (iii) 1lispcrsing pmpyl                                                                                       from 2.0 to 3.0
                                                              en1: glycol and         µVcro 2•
       glycerol mto !he NSAID 1,olution from (ii); nod                                    Compositions of rJ1e prc.'ICni invenliou may, if
                                                                   (iv) mixiug                                                                   d~'Si.n.'<i, be
       the resulting NSAJD solution into the 1hickc
                                                                 11erfuiineillyl s ~Le d in a bottle orjar orolhl'l' contnincr approved by the
       sulfoxi1.fo. blcn<l and stirring lbr I hour 111nmbie                           f-DA, wltich omy oon1oit1 one or more unit
                                                                   nt tcmperd-                                                               dosase fonns
      curc. Altemalively, the gel formu18tio11S of the                               contuiniog the a.ctivc i.ngrcdic:211. l'hc pad: or
                                                               pn:sent inYcn-                                                               dispenser moy
      tion mi:1y be made by airrying our the lbllow                                   also heocc  ompo  nicd by o nmi.:c  ossooinrcd wi1b 1heco111nincr
                                                                iug steps: (i)
      di$SOLving the NSAI D (e.g., dicll'lfeooc sodium
                                                               ) in an alcohol IO i11 :i form rn."'4Cribcd by a gnvenuneotlll agency rcgulnting th~
     solution ofDM SO (1!.g,, nn e1.hnnul/dimcthyl
                                                              sulfoxlde mix-                                         or
                                                                                     mauufocmrc, use or sulc pharnuK:eulicals,
                                                                                     indicate. appro\'al by 1hc og<:ocy of the fonn
                                                                                                                                              which ooticc
      ture); (ii) di•11etsing lhe thickener, deriv-Jtiw
     mh<111ru thcr~11'in a solu1ion ofwat<!r/propyll!ne
                                                              thr:rcof 1J11d/or      tions forhumanorwtcrinory udministrnliOn. ofrhc              llOmposi-
                                                                                                                                          Such nolicc, for
                                                                 glyt.'01
     eml and ~tirring for I hour; (iii) miidng lite NSAlO /glyc-                     ei.nmple, may be orlobcl111g appro"cd by the
                                                                                                                                            U.S. Food and
                                                                      solution       DrugAdminislrnriun forpl'l:Scription drugs, ororun
     from (i) inro the thickener blend from (ii) and
    hour at nmbi.."llt temperature.1 lrotiug can nlsn
                                                                ~timng for l        product ins<.-rt. Compositions comprising a rrcpnt approvt.'d
                                                              be used during I\ lnVl!lltjnu lom111la1cd ion compa                              lltioo oftlk.!
     these mixing processes 10 help f11cilita1e rhc gel                                                                   tible pl\ummcou1icnl CllJ'Ticr
                                                                 tonnolilln.        may    also be prepar ed, pln~-d
         Diclofonac sodium =Y be prcsenr in a mngc                                                                    in WI :lpproprime L'Ont:iincr, and
    mi:11cly 0. 1% rn 10% w/w, sucb as 0.5,
                                                                  ofuppmxl-         labeled for rrcu1menr of :tn laJicalcd coodilion.
                                                     1.0, 1.5, 2.0, 2,5, 3.0,           ·
                                                                                        n ,c (oll<>w
    3.5, 4.0, 5.(1, 6.0, 7.0, 8.0, and ~,0% w/w.                                                    ing c,crunrlc,i are oJTcred 10 illusrnllc, but not 11,
                                                                                    limil, rhc claiml'<I invuulion.
                                                                                20
                              IV Methods of Use
                                                                                                              Vnx.A MPU.iS
        Compositions of the inven11011 are punicularly
    use ill lrc.tl iug OSl(,'Qllrtbritl~ (OJ\) ehrooieully. They   sulrcd   for                                 Eimmple I
   be w;eful fur rhe 1.m11n1cnr of oilier chronic JOml
                                                                    may alsu
   olu1rncu:rizcd by jolnr puin, ck.>gcncrntion of'                  di~c:is cs ~s                       Marcrmls 8Jld Methods
                                                            :irticuhlr
   lagc, impaired muvem~111. nnJ s11ITness. Suiwb eunl-
   includu l11e knee, e lbow, l:ruld, wrisr oml blp.                lc  Join!$         Tobie I provides n list of the materials used in
                                                                                                                                            the examples
                                                                                   provided below:
                                                                                       TABLE! I: Materials
                                           Abbr        Cl,c.m,ca.l
                                                                                                   FW           Source        VClldor~             CAS
                                           BRA     &tyl&ttd byd:o>l)'anloolc
                                           IUIT                                                    1ao,2~       Sigm.         Bl2SJ
                                                    Bulyllled hydro,ytolucne                       :U0.36
                                                                                                                                               2S013·16-S
                                           ~                                                                   Spoctn.m       BHII0-07
                                                   Ca,t,ope,1940                                                                                  128·JHI
                                          Carb97l  Catbopol 971                                                Novcan         Cazbopolll..o      900)-0 J.4
                                          Carb974 Cubopof 9?4                                                  °NOY -         Cubop ol97t       9003-01-4
                                          c..t,981 Casbopol 98 t                                               'NoW01l        Qllbopol 974      <>OOJ-01·•
                                          Cubll4 1 Cubopol t342                                                Noveon         Cubopol 98l       9003-0l"I
                                          O,clo
                                          DM~O
                                                   Oiolofer,a,: Sodiun,
                                                   On11olbyl Sulf<il<lrtc {USP)
                                                                                                   )1 8.J
                                                                                                    78.1
                                                                                                               "'""""·
                                                                                                              l.•boohlm
                                                                                                               01ylord
                                                                                                                              Cubopo! IJ41      !lOOJ-01"'
                                                                                                                                               15307•79•6
                                          EDTA     OllocLwn hll1YlcncdwrunetdJucl:'.. tc                                      EM-1951              6HS.S
                                                   Dlll)',lmtc                                                   VWR.         MK.ll95C)4        6381-92-6
                                          EtOR     Ethanol (USP)
                                          Gly         Glya,rin (VSP)
                                                                                                   46.t     SpcclND       OIOIS                   64-!7-l
                                          Ouar                                                     92.l Proc1or ,t Oamblo Superol V
                                                      Ouwgum                                                                                      S6·81-5
                                          HEC         Ry,tro•,.U.)l •-dlu r- l'<•~ l 2SO M                  Spectrum      OJI),~               9<11C).JO.O
                                          HPMC                                                               H<m11..      Nwuo l 250M          9004·62-0
                                                      HyJroxY)il0JJ.l'I m'114YI ctllulos<
                                          l:IYll7     U)\ho~pn,py1 c,,Jlwo,a,
                                                                                                         l>ow<.:hemlcal M<thoc:clll4w.         9©HS .3
                                                                                              9S,000        Spoclnlnl     HYl17
                                          llY119      l:lydroxpn,pyl celhJ01t                                                                  90()4.64-2
                                          Loc:tJ                                             370,000        Spectrum      HYl19
                                                      Lacto1I 8""" l!Jlffl                                                                     9004-6'1-2
                                          Pe&)OO                                                            SpoctnJn     LIIJS                 900040-2
                                                     Pol1(""'1lcno R)yool) JOO (USP/            -300
                                          PO          l'IOp)'looc Olyaot (USP)                             Spc,otrum     POIOS                25322·68·3
                                          PVA                                                     76)    DowChcmial
                                                     l'olyv1117I okol,yl                                                                         57-SS.6
                                         !'VP        l'olY••'lYl fll'm>lldonc
                                                                                                  ,14,)      Sism•       !1386                 900H9 -5
                                         P407                                                360,000         Si(!lll&    81440
                                                      l'olxan.cr407                                                                            9003·3~8
                                         uruezro     Uit=J O                                               Sf*IIWll      P1126                 900l•l1•6
                                                                                                            Nove.op      UIIIOtl 0            9003.0[,4

    Due lo the properties of'biglter Oux and greate
                                                            r in vl\'o 55 ·nie general ructhodfllog
 absorptioo, ii is believed that the formulations                                                          y li>r pn:pnmlion of each cxrunpl1:
                                                     of the present        prc:,vitled I, as follows, unless orhcrwise indicott
 invcnrioucan bcaclniinist~-ro.i 111 lower dosing                                                                               .'C.I.
                                                   Chon previously            Final WLight for eacb fomwlation was 25 g
 destrib..'<I ronnulotions. In particular, it is expecr                   50-mL                                                    prepared 111
                                                       t..-J lhur the               gl11ss  viols, ¼lrtexing or  magnelic slir bars ,vt.-re u~etl
 compositions of the invcmfon can ~ used at                               10 mix_lhc gels.
                                                      twice a dey 60         Viscosily Wlu; mcasurud 111 22" C. using 13rool
dosing or oncu o day dosing in llte treatment
wouldn.-preseut a significant improvcment as
                                                     of 0A. Titis         Uhm, J'lt'0g.t'IUJU1111blc Rbctlmcler with LV SpinduicJd l>V-111
                                                   lower dosing is        rpm. For Sli1bih1y !<.-sting, gels wcro s1un:d ul le /13 t at I0
assocfo1ed with better pnlieotcompliance, unimp                           p<:rJllll'.eor in Wt i11cubnrora1 so• C. lJiscolorarioombient tam-
                                                      ortant factor                                                              n
io treating chronic conditions.                                          in appe:1rnnec includlna pbl1,o scraration ova- orchaoKcs
                                                                      6S t.'WllWled.
                                                                                                                                    time were
   Suitoblc amounlJI per administration will g1:ocr
                                                       olly depend           l11cooncc111rotin.nofrhc lJMSO wi,s c,011slS1cnr
on the si1.e of the J0lnt, which varies per mdivid                                                                                 ia nll ot'lbc
                                                      ool and pt:r       cxpc.rimcnts (4S.S% w/w). Prupylune glycol
                                                                                                                             wus at cil11cr 11




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                                                                 US 9,220,784 B2
                                    13
     or 11.2% w/w. Eclumol cunccmnition voried ftolU I I% to                                                       14
     30¾ w/w. G!y<.'t.'tOI COllC4'1UrJlions wac \'lll"icd from                     olcohol were test1.-d I.or tl1eir cffc<:tivcness ul forming a
                                                                       O lo
     11.2¾ w/w. !be diclofounc ~(ldium co11cc11tmtion was at                       dic:lufenac sodium gel using the con1pa{lltivc liquid formula-
    ei1l1cr J .5% (w/w) or 2% (w/w). Wntcr wns adjusloo tu com-                   tion as a bnse tolutioo. Lu ibu gel formull!rions of thi8
    pcn!illlc for the amount of innctivc,;, tl1icki!nini ageolS, ond
                                                                             5 Example, a C<)mpur.nive Lit1uid formulutmn ~olution
    diclofonao $odium pn...><;ciJI in solution.                                                                                              was pm·
       Prooz diflusiu11 cell experiments wcrc used lo aoolyze                     duccdand ~ th1cke11crw1J;1 thcnm:kkddircctly LO this base. ln
    diclofeo11e sodium flux rates of varying gel forniulations                    onler to facilitate tbc incorporation oflhc thickener, sonica-
    ncros~ a substrJLc 1nembraoe. Fra11.1,dl1Tusionwlls aren com-
    mon and well known method for measuring ltnnsd«mal !lux                       tion nud heating (at GO• C::.J. aloug with vigorous wrtexing/
    rates. Thc gcocrol I' ram. cell procedu re is described in Prunz, 10 horuogcoi1.auon were perfonncd.
   1'. J.. Pcrcutancou~ ubsorpliou: 011 the rclc.-vanC<) uf in vitro                 Some 1h1cki:uet:i, ~pecifk:ally guor guo1, locust bean gum,
   dull,. J lnVf!st I:krm, 64: l'Xl-195 (l !>75). The following was
   the methodology used in the prc:Jent Hxnmplc$,                                mclhoccl (IIPMC), polyvinyl ak.-ohul, and poloxumer 407
       Frau:r. cells witb u 3 ml receptor well voll1rnc we.re 11$1.-d in         foil...'<I u1 form ~table gck Ju pm1icular, inJ1m.:diat~ sepan1lion,
   conjunction witb~plit thickucs, c11d.M.!rskin (0.015•.o.018",                 inefficient lhickening. and iruolubilily ofthc thicl.cners wo~
                                                                            •~ noted. Gels
   AlloSoute<:). Til¢ oonor wl.'!I had an arc;, of-0.5 cml. Recep-                                 were fonned th11t ~bowed i11ili11J stability with
   tor wells were filli..-d with isotonic pbosplmte buOered s~liu<:              several cellulose polymurs including li;ydruxyethyl cellulose
   (POS) doped with O.ot o/o sodium a7jde lbc nnJl&t?S of th¢                    (Nutrusol 111 IX) and hydroxyrrorylcellulosc (I IYl19).
   Prau7. cclls were coated with v-.icuum gre.ise to ensure u                    Other thickeners th.u showed 1111 uu liJ1lly sr-.iblc gel were f>VJ>,
  complctc&cal aud wure clnmP<,>d logctlwrwilb uniform pres-
                                                                            20 aud 11crylic polymer thick,:ncrs.
  sure using II pinch clamp (SS #18 VWR 8007'\-350). After
  Prnnz cells wcr.: imernblcd, the skin wns allowed 10 pre-                      The specifics of gel formulotion for each thickener are
                                                                                                                                                 pro-
  bydrme for4.5 minutes wi1b PBS. PBS         w,~    1llc11 rcmo\i\XI and
  an sppropri;itc amount of fonnulatinn i• added to :he skin.
                                                                                 vided below:
                                                                                    HOC ThickenilJS Agents:
  Dosing levels varil-d from 2 mg/cm; (.:onsiderro finite dose) is
 t<> 200mglcm1 (Cfmsid.irro inlinitc \h,c). The donor well was                      A    lower wdght molecular weight hydroxycthyl cellulose
  then cop!)\,'<! to prevent L'VllJ'Ol"Jtioo. R=i,to r wells of the             (specifically I lydroxyetbyl Cellulose (llflC) Type 250 M
  Pnmz cells were niui.nmincd at 37° C. (h:tnpt•rot11re Of\ the                 Pharm(Nntrosol®)) was di~pcr:sed in 1he mixture ofdimc1hy l
 surface of the skin is -31 • C.) in a stirring wy bkx:k with                   s\llfoxi(le, rropylen.: J!lycol, glyclcnu<:arnl wnlcrMd allo~ctl
 continual agitation via a stir bar. Samples were <lmwu ft\ml                   to s,~cll foraboui I hour. Oiclofenac sodium was dissolved in
 lhe n.'<.-cptor wells .11 varying time 11<1i1ils. Mc11~un•mcuts were 30 ethanol nnd uddcd 10 the Hl~C/solvent blend to obtain a final
 made in six-fold l'l!plic.i!Cl.. The cooccnlmuon of iliclofon:ic              formulation. Although f]}1C gels lorm rt:l11ti>-cly easily and
 io 1he sumplc.s was analy,,.,--d UliiOg bigh pcrfom1;mcc liquid               d~'lllOn,umt<: a good flux pm file, the gels are yellowish in color
 chroroutograpby. The illventivc formufotions performed INt·                   1111d ure ~usccpt,hle to phnsc sepanuion owr extcoded periods
 tcr th.an the compnrator nt !hi! limits of finite do.ins finite               ofst0ragc. Tuble2 ~l'°""s thccompositio111> oft~c formuL'i-
 dosing bcuig o mucb better pn.,.lictor ofthe perform.moo of a
 fonuu!a1i011 in 1111 iu vivo sitw11ion 11.~ opposed to infinite
                                                                           is 1ioos. and the res\llllng flux values or !hcse compo~ilions 11s
                                                                               compared with a complll'lltivc liquid ronnulotion:1re~bown in
dosins-                                                                        FlG. I.
        A) Gel Ponoulalion.~ Derived P!1'>m 11 Comparative                         PVJ> 1bickcning Agents:
                           l...iquid Hase Solution                                 PVP ~clS ucklcd al up 10 8% w!v ufier all llther compo11ci11i
                                                                          40
                                                                              of tho cou,1purativ.i liquid base fonnulmiQn were mixed l'VP
                                   Example2                                   gels un: dear io n.11urc, bu1 suff..'1" fmm an undc-smihlc ta<:ky
                                                                              feel wbt'n drymg. Table 2 nnd PlG. l show~ th.: Ct'\111posil1011
         Gel 1rom111lations lJsing Various TI1ickcncrs io a                   and fluxda!Jl fort11is gel. Jn this ex.imple, Franz tliffus ion cells
         Compar-,uiw Liquid foa1111l:1tio11 Dase Solution
                                                                              wcrodo>C((llt IS msperF111nzccll.Asc.,o 1-cseeu inPlG. L,
                                                                          •s PVJl gds pcrfor1m-d rc;isonably well, but their um!c:;in1blc
     Initially, Sl.-vcrol 1hickcncrs i11cluding1:<1rbonicn;, polyvinyl
                                                                              o<.>stb<.'lic qualities do not mokc them idc,al lbr a couuncrcial
pyrrolidone. loe11s1 gum, cellulo~e polymers and polyvinyl
                                                                              cmboduncnl.
                                                                                                         1ABL8 2
                                                              C'on'i""'!otts   or HOC and PVJ> Stir u.'l'OJ 10 !"'."''"'" 1he fl1u, r•!e :!&II tlmwn ill Fl<J. I.
                                                                                                                    Fonnutstion name

                                                                                         ltcclb        Hec2b        PVPlb             PPS4           c.,m~o\ 'e
                                                         Pc:¢1:DU~es;.u                 <WM'i        wtlw1'4.      WI/wt%           wi,'y,1%            Wt/wt •~
                                                         Water                           18.81         18.81        18.SI             18.31              18.81
                                                         Dimdltyl Sulfo•ode              45.5          4S.S         4$.~             45.S                4S.5
                                                         Prop)lcoe g)yool                11.2          11.2          ll.2            11.2                11.2
                                                         Etlianol                        11.'9         U.79          11.19           11.79               11.19
                                                        Otytabic                         11.2          11.2          11.2            11 -7.              11.2
                                                         Dicloi,aac Sodium                lj            LS            1.5             2                   1.5
                                                        Thiclc:ner                       REC           !!EC          pVp        Cllltlopol 971           nooc
                                                        w,\i:>J % t.hieb.nu               1.1           1.)           8                I
                                                        iddcd to 10Jutiou




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                                                                        " ... n                         n;"'""'"'"                                           HZNPE NN_00166925

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                                                                       US 9,220,784 B2
                                          15                                                                                16
         C.urbopol 'rbickeuiit11,:Ast..'llts:                                                                          TABLE4
        Carborol g<'li """"" fon11-,,l by: (1) dispersing an acrylic
      polymer into a mixture of water, glycerol, and propylene                               Componenlll or gel, mado with carbopol 971 sod ca.1,opol 981 gel,
                                                                                                   usod t9 generate the flux A!C ci11t.11. 11:hown U\ l<'JG, 3.
      glycol followed by stirring1hr 1 hour; (2) prc1:,mi!J!¼ u second
       solution.of 1.5% diclofou,ic sodium dissolved in ethanol and                                                       .fcxmul~ti('ln M.'lte
       DMSO; (3) mixing the diclofonac solution into the carbopol
                                                                                                                                                Comp:\rtti"'c.
       phase. An alternate method for forming carhopo! gels is as                                          PP5!          PPS2            PP53        !~\
       follows: (1) dispersing the carbopol into dimethyl s1J!foxide          _Pe:_re_•_"1..;'S;.""_in   WV\\•t
                                                                                                    ___________  %     wt/l.\lt%           ____
                                                                                                                                        wt/wt%       __
                                                                                                                                                  wt/wt%
      andstirrit1g.for l hour; (2)dfa~~)lviJ1gdiclofe11.Ac sodium inon 1o Wau,,                              <t•           <t'             CJ.•    18.31
      clhanol/wa1cr/propyle1)1)' glycol mixture; (3) dispersing glyi.,-       Dimethyl                     45.5         4S.5             45.3      45.5
      erol into the diclofenac solution; and (4) mixing the                   SuJfoxide
                                                                              l'r<>pylenc
                                                                                                           ll.2         11.2             11.2      11.1
      dic)ofenac solu1jou into Ille polyrnec/dimethyl snlfoxidc               glycol
      blcn(I, and stirring for J hour 111 01nbieut t1impcraturo. Th<.'l:e     Etl,anol                     11.79        11.79            11.8      11.79
                                                                              (;ly=ino                     11.2         11.2             11.2      11.2
      methods ofmixing can l:>ccarriedout at room teinper.iture, or fj Diclofon.'IC                         2             2               2          2
      elevated temperature if desired. Varying carbopols were used            Sodium
      to mak(: gels iucluding: Carbopol l.342, 941, 971,981,974               ~A                            0.1                           0.1
                                                                                                            0.05                          0.05
     and Ulrrez IO (Nov.xin, lnc.j. All carhop(JI gels were clear,           Thick<nor
                                                                                                       Carlx~,ol 971 C&rbopol 971 Carbopol 981     JlOOC
      proved stable to both frc.rce-!baw cycling and incubntiou at           w~wt %                                       l               0.9
                                                                          20 th
     elevated tcmpernturc (SQQ C.) for one m,inth, and h11d good.            _ _'•_xe_•_•,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     !low cb:1racteris1ic~. Tables 2, 3, and 4 show the composition
     of these gels, and FIGS. t, 2, and 3 show their relat:ve flux. A
     $table and cleat set c.mld be fom1ed al carbopol ,;:oix:cnira·                                       B. C'.omparative Examples
     ti()ns of -.l>0.3% w/w when 1n.1king gels with 1.5% w/w 25
     diclt,feMc sodiu11J. For gels with 2% w/w dick•fonnc sodium,                                                   Examplc3
     ->0.9% w/w carbop(l) WU$ needed to make 11 stable gl'I. Tltc
     exact atnou.n1 of Cllrbopol needed to from u gel depended on                    Comparison ofTransdennal Flux of Various DMSO
     the type of carbopol used.                                                            Gel Formullltions Versus a Comparative Liquid
         For tbe lbrmola1ions of Table 3, Fr;u1z diffusion ~<:ls were 30                                           Formulation
     dtJsed '\\,1th 200 µl per Frao~ cell. Cau-bopol gcls 1mifor.mly
     showed increased !luxnues over the comp:utllivc fonnul~1ion              A series ofdiclofenac gel formulations were made wherein
     (soo FIG. 2 ), Thicker gels (i.e. gels-with higher weight percent     lhc base :ro hiti11n WIIS cbaugc>d from tl1u c(JnJparutive basu
                                                                           formulation. IJ1 panicular. lbc weigl11 pcrec-nt of p{()pyle1Je
     carbopo!s) tench.>d 10 have loss Oux than a uruup01<it;o11 with 11 3S glycol, ctJ1an<JI, gly«'.tiue, Willer, and diclQfotll.lC w~re vw-fod.
     lower weight percentage of the same carbopol.                         In these n«w fomlllfotious, U1c weight pcreeut of the t'01isti1u-
                                                  TABLE3
            Comronent.of gel• rr.adc w11h C!lrl,o,,,~ 981 a.nd Ui::ez 10 "std to gonerntothe nu, ,,u,
                                           d.J.t:ct ~ia£wn i11P!G, 2s

                                                          Fo.rmuta1k-n ruune

                             PUA      PU!)       PUC       1'981•      P981b        1'981c    Compwtivc
                                                            Pc,ccnta"cs ln

                            w1/wt % wo'wt % wt/wt%        v,t/w1%     wtfv.1%      Wl,\vt%       wt/wt%
    Water                    18.81    18.81     18.81      18.81        18.KI       IS.Bl         18.81
    Dimethyl Sulfoxide       45.5     4S.S      4$,$       45.5        45.5         45.5          4$.S
    Ptopylene glycol         11.2     11.2      ll.2       11.2        I t.2        11.2          11.2
    lltilMOI                 11.79    11.19     11.79      I 1.79      11.79        11.79         11.1'}
    Otyce.rine              11.2      11.2      11.2       11.2        11.2         ll.2          11.2
    Dicloll:nac Sodi1JJll    1.5       1.5       1.5        l.S          LS          LS            1.5
    Tiliclce:..r            Ult=     Uh;cz      Ullr<Z   Catb 981    Oub98l       Catb9Sl         noi:c
    w/vot % thitkr:ner       0.90      1.03      l.16        .90       1.06          1.22
    added to 1/0lution



       Antioxidauts and chelating agents can also be added to the     .e.111 cbornicals WHS as lhllllws: 45.5% DMS<), 20-30% etha-
    carbopol, HEC, or PVP gels. 'lhe addition of EDTA to car-         .nol, 10-12% pro1>ylcoc glycol, 0-4% glyC<lfinc, 2%
    bopol gels by itself le.ids to a slightly cloudy gel. BHA gels    diclofonll<: .ocli11ro, thickener and waler :idde<l to l00% w/w.
                                                                   60      Several thicken.ers wem tc~1cd i11 this m:w base ~<ilulion. A
    turned color with incubation at higher temperature. 'J11e mix-     uumbcr of rhese thickeners fuil~J 10 fomt ilable gels; in
    ture of BHT nod BDTI\ to carbopol &<'ls did oot show any          p;trticular, c,•rbopol gels did not ~llain Shible. However.
    discokiration and remained clear. F(ir the formulations of        ccllnlose gels were nnifonu.Jy cffocti\'o :it lom1ing gels. Tbo
    Table 4, Fra111. diffusion cells were dosed at 50 µl per cell.    most aeslheticnlly pleasing, of thc-~e gels w11s fc.nned with
                                                                   os hydroxypropykellulosc (HY1 17, HYJ19, DYl2l). ·nl<ls<:
    FIG. 3 shows flux rates from these gels. Additions of chelat-     sol11 Sp('(.-ad C'.t$ily; were ouifcmn itt.nafl.lre.. dried t1,uickly,.11nd
    ing agents 11nd preservatives bad no cflect on flux r-.ucs.       ck.~Mnstm1cd good now eh:11'0ctC1is!ic~.




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                                                                            APPX464
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                                                                     US 9,220,784 B2
                                       17                                                                                       18
            Hydroxypropylccltuloi-, gds were fonned by n1bting all
        the con~tthll'nl parts nod then adding 1be thickener SI the end
                                                                                                                              TABLES
        '.ollowoo by 11gitm1on. The p.cl can iilto 1w fomu.xl hy dilifl(,'ftl•              Component• afvo,i<>us (!Cb and a comp1uti.., liqul,J rormul•Uon
        111g the hy~xypro pykcllulos e in the aqut-ous ph.is<! prior to                          u-.d to f•""'~'t Lhc flux,.,.,. d.lbl lllown ,n fiO. 4.
       SOlvt,nt ftdditmu. Uca1 can be used 10 facilitate S'-'I foarniti<m. S
       HydroxypropylccUulii:;c gels were cl..:ar and flowc:d easily.                                                              Formulation .Mmd
       They remain Stdblc for at least six momhs dem()11~1nuiug: no
                                                                                                                                 Fl4'2 gel      Ft4/l ,t<l
       phase separ.ilion, negligible shin in pl I. and low :m<,llllls of
                                                                                                                                  2.S3/+          4.Cl'\                F971
       degradation products (<0.04%). Ute data in FIGS. 4-9,                          Pc1ccnugu "'
      derived from the fonnulations ofTables 5-1 O, indicate that the l 0
       hydroxypropylccllukisc gel formulations of dicloferuic                                                       18.81            12.S         12 S                   17.16
                                                                                      ~~ISulfox ;do
       sodium of the present invention also provide a uansdermal                                                    45.5                          4S.S                 4S.S
                                                                                      i'n,pylrnc i;lycol            tl.l             11            11
       tlux r11te that is as much as 4-fold higher than a oomparative                                                                                                    II 2
                                                                                      Ethanol                       11.79          26.S
      liquid formulation.                                                                                                                          2S                    11.79
                                                                                      01y«m1e                       11.2
           Studies were performed IO detcnnioc the relative transder- 15                                                                                                 11.2
      ma! llui. of variou, didofCWIC gel formulations of the pre!l(.'111
                                                                                      o.::of<uo Sodiom                u
                                                                                                                     none        HY119           HYll 9          Ca.rbopo! 97l
      iovi!!lli<in wl1cn comi,ared with a c-ompnrotivc Hqtiicl formu-
                                                                                                                                  2.5                 4                1.1.5
      lation of U.S. Pat. Nos. 4,575,515 nnd 4,652,557 ("C.001p,m1-
      tive" _in Tnbles 5-10). Al:con!i.n~ly. thc_Franz cell rroccdure
                                                                                                                .                                 .        .
      descnbed above w"s used to comP3rc d1clofenac flox ratl.'S of 20                  For the fonnulations of Table 6, Fmuz diffusion cells were
      various diclofe,mc gel formulations with comparative liquid                     dosed at 7 mg per cell. Lowering the pH shows a marked
      formulations.                                                                   inc~e in tlux rales (see FIG. 5).
                                                                                                           TABl..86
                                                       Ccmpon,n:. of\'l.tiou•gcJM lltlda «-mpa!llti•oliquid fo"uula1100 uml W
                                                                                                     "'"'" u,F!O.,
                                                                                                                                          ......,...\ht   llu•   =do••
                                                                                                                Formuhltion nuuc

                                                  Pc.~~ Ul
                                                                         Compe.,ativ,, fW2p,IU~ • fHl2id4.0' 6
                                                                           wt;...,%      w'./wt'<>  ,.v,.,'4                      _.,.
                                                                                                                                     1'971       rt412 t;d 2Slo + !!CL
                                                                                                                                                        wt.'wt ~
                                                  Water                    18.81                J:?S                12.S             17.16                     12.S
                                                  Dimethyl Sulf>xide       45.S                 45.S                4S,5             4S.S                      45.5
                                                 P"'P)llcoc &l)'rol        11.2                 II                  II               11.2                      II
                                                 Edlanol                   11.79                2S.5                2S               11.79
                                                 Olycorino                                                                                                     26.5
                                                                           ll .2                                                     11.2
                                                 Dic:lofen"' Sodjum         I.S                  2                                    l                   2
                                                 eo?tc::enuated hCL


                                                                           -·
                                                                                                                                                  ••• added to pH 5.3
                                                 pit                        9                    9.43                9.67             6.n
                                                 Thickener                                                                                                S.3
                                                                                                HY!I?               RY\19        C>.,1)971                 RYl\9
                                                 wuwt % lb,ckcner                                2.S                 4                1.15                       ~



       For the formulations of Tobie 5, Frunz cells were dost.-d at                    For the formulations of Table 7, Pmnz cells were dosed at
     JO.mg per FrollY. cell, A n.,,w gel {Fl4/2) has an altered bosc                7 mg per Frunz cell. Toe resulting flux rates for each of these
     solution over the cc:,mparutivc liquid formulation and dctnon·                 foramlatioos is shown in FIG. 6.
                                                                                                           TABLB7



                                                                          Compa,.dvo FW2i;clB%                      11&('&2          H•Ca
                                                   h-rctota.gQI in         111t/..t%   wt!..t'I\
                                                                                                                                                      F1412 g<! pH S.J
                                                                                                                    ..liwt%       WV'-"t%                  1t,t/""1~
                                                   W~tcr                    18.81                12.5                22.)            26.3                      12.S
                                                   Duucdlyt Sulfoxide       45.S                 45,5                4S.S            45.S                      4S.S
                                                   Propylene Jlt!'cof       lt.2                 11                   11 .2          l 1.2                     II
                                                   F..tlwlol                ll.79                26.S                 l2             12                        26.S
                                                   GlycenJIII               112                                        6              2
                                                  Oielofcnoc Sodium             !.S                                    2              2                          2
                                                  wnoentr•tcd HCL                                                                                •u addedc.o pH SJ
                                                  pl!                           9                    9.•1             6.8             6.7!                       S.3
                                                  Thlcwcr                   Aw,0                HYl19          ~1971 Cvbopoi911                            HYl\9
                                                   \\"tl\\1%1hlcl:tncr                               2.S                 1            I                     2.S


    ~tl'llles both faster drying times oud b..-ttcr Oux kinetics (,;cc    ror the rurroubtioos or Table B, U1e c<,mJ111rn1ivc liquid
    FIG. 4). ·n1c flux rates for these gels i, not :is higll as Lhe 65 focroula1ioo (l.5% diclofc1111c
                                                                                                       SU<lium) wa~ <loscd M 20 mg
    carbopul gels (1'971), bui the dryia1g rule ls ~ubstllntinlly                   per Frnnz cell, Sol3m:,.i.•~ (n commercially 11vailabfo '.\%
    tllsh:r.                                                                        diclofenac sodiumgel)wn.~ dos-edo1 lOmgper Fmnzccll,ruxl




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                                                                         APPX465
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                                                                                 US 9,220,784 B2
                                                19                                                                               20
      r 14/2 wus dose.'<! at IS m& per Jlranz diffusiou cell. A1 ibis
      clMlng, all ""llij were tloscd with equiwleol omowi                                                                   8xamp lr4
                                                                ts ol
      diclofo11110 sodium. F 1412 et1nti11m.'d to show incrcns
                                                              cd pcr-                                      Comparative Data on Tnmsdcnnol Flux ofVanous
      formnncc 0\1\:t other fl)nnulUlium, (Ks-e FIG. 7)
                                                                                                                         Diclofenac Gels
                                          TABL E!\                                                       Studies were pcrfonnell to dc1cnui11111hc n:lulivc tnmsdc
                                                                                                                                                                    r-
                   CampollCJllo of V>Jious lllclo"1,Je fommLltlo• uo«llo                              mal nux of the diclufl.lll:tc gel fonnulo ticns of the
                                                                                                                                                              pn.-,cnt
                       III"5f!l< lho ftu,. I;)'< elm,,.,.,,,
                                                          ID fill. l                                  inV\Olltion when compared with previously disclo~ed
                                                                                                      lotion~. SUQh os the diclofcnnc dlcthyl:itni® gel fonuul
                                                                                                                                                              fo1mu·
                                 _ _ _ _......1,;[l'!IW.,.....,1..,91,.Pl),.u..,"'""TJ""'•'------ 111 dcscnl,                                                   ation
                                                                                                               cd by llaboow (lloboolll et al., Mu/,ods


    WM<r
                                  Co=~~ 13.81
                                                          s:::~~           l'l~.! ~I~
                                                                                 1.2_,
                                                                                                      Cli11. /J/,armocoJ., 28: 109-114 (2006)). AccordHnd.
                                                                                                   ~~~ ~r=~ ftb!% :~~~ ;~1: :1i:: d~~: ;~~;
                                                                                               llnbooto with o gel vchioh: or the preseiu inventi
                                                                                                                                                                Fsp.
                                                                                                                                                          ingly, the


        Ulm<lh)'I sutrOll!Jo        -IB                                                                                                                          nn. 1lte
                                                                          '!SJ           IS diuthylamine fom1 of cliclnfen:ic was used as 1hebcl
       ~'.?.~,  ogl)'COI            ll .l                                  II
                                                                                               os that
                                                                                                                                                               ivc ugcn1,
       """""'
      01~..,,...,                   11.79                                 16.)                           is the  loon    u~ed   by  lloboot a. lbc ex.ic1 compositions
                                    11.2
      Dlclorcn111:Sot~um                                                                      uf the form11Jo1ioos used in this ~ludy nrc shown in Tublc
                                     1.5              J                     ?                  below.    111c                                                            11
      11llckM<r                                                                                                Bobool    ll formul111ions ore lnbcled IIYI, 17Y2, wxl
                                    W1J:                                Rv11    9
     .._,,_...
           _ ~_m_ lck_....,
                       ___ ___ ___ ___ ___2_J _ _ zu lnvcoti                                  PY3.     while   a gel  fonnul    ution usin& the vehicle of the present
                                                                                                         nn with diclofoo11c diu1hyl:sm.inc as the i,ctivc
                                                                                                                                                                         is
           Por the fonnulatious of li1blc 9, the compamtivc liquid                            labeled     G l 4/2_m. A comparative liquid fnnaulaunn was alStl
                                                                                              incl11dl.-<l in this study ("( ·ompanitive''). Among the
     formulation w11s do~-..-d 1110.9 mg per vroni cell a, 0, 4,                                                                                                primary
                                                                             1:1, and        dlJTerences bl.'lwccn the composition ofOaboo1o's formul
     I 2 hrs. P 1412 w..s dosed ti U mg per Praozccll nl Ow1d                                                                                                           a-
                                                                              6 hrs. ll tion and thol discle)l;cd in !he present invention i~ tho higher
    The nccum ulmcd clo~e lium the gel wns coosidcrubty                                      DMSO co11cco1m11oos in the prcsen1 lilmwlationi
                                                                            higher                                                                               (45.5%
    111 o.1mpnrison to the compamlive solution, providing                                    w/w versos I 00..-1> w/w).
                                                                            o - t .S             As   i~ appuru
     fold incrcnsc in Oux (soc PlG. 8).                                                                           nl from    thetlma   shown in f'IG. IU, although the
                                                                                             Oabooiu fnmrnlntion is also a gol , the vehicle oflhc
                                                                                                                                                                present
                                                                                             invention pmvl(les o ~igniflcunl ly greotcr nux rate.
                                                                                                                                                               Alh.:r
                                     TA8LB9                                            3u
                                                                                             hours. the gel of the present invention prov-.des au oc:cwn112
                                                                                            ln1ed dosu vf2(>.tl Jlg{CIJ1 2 versus 8,9 11wem• for Bul>no 1-
                                                                                            m.'l!L pcrlbnniQg gill. Thus, Ille gel ofthe pl'CS('III
                                                                                                                                                                      tu's
                                                                                                                                                          invention hns
                                            fenr1ultriPn UNJ19:                             n nearly 3.fnld greater m1c of flux nntl nccumu
                                                                                                                                                              lHtiou
                                                                                            dlctorcoac tltun u similar gel, os clcscri~'!I by Babool:l. of
                             C<1up,l1ilA..,  H<lf.!gd u-. Floll2111'1J1llli.~ 35 that tlu:scc1tp1.-rimcn1s:wc                                                       Now
   l'<:r<cliloJICflft         wrJwl')4'          WIN/I •,I,                                                                       recondu e1cd   nl liuimdosing which
                                                                     "11"'' ..              Is more repn:S1:111u1ivc of clinical dosing ufu non-oc
                                                                                                                                                                 cluded
  w...,                         JUI                                                         composition that is 11ppli1.'d {K-Tiodicall)' but which
                                                  LU                    ,U,j
                                                                                                                                                                  is not
  Dtrnethyl S1ilfo••1'         ...s.,             ~SJ                   II                  mcMl      lo  be  in con1 inuous     con1ac1
  J'ru11ycltnc 111~1            11.J              II
                                                                                                                                          with the ~kin. Additionally,
  Ellwiol                                                              26J                 the    Bubool    ll gels  also    con1oin  ed a higher perceuiagc of the
                                11.19             26.S
  Ol)UIJP C                    11.1
                                                                        llJ           ~ n.:tivc 11geJ11, J.4% w/w ns compared lo 2¾
  Dklof<JlftC Sodlwn                                                                                                                                      w/w for the
                                 I~                1                                       compo      sitions   m;iog   1hc vehicle of Ute i11vemio1L
 ..,....,,,,.led HCL                                                     2
                                                                ... ..i.1o.iior11               Other odvontagcs were ;doo observed, inducting the
                                                                         1.5               sisrc.uc..-y and stobili1y of the gel of the 11rescLU mvenli
                                                                                                                                                                    con-
 Thicke. .,                                                                                                                                                   oo when
                               . .II<           lrYll~               IIY119
 '"'"'lllkto,er                                    l.5                                    compnrod with the Bnboolo &cl. In coo1ros1 111 the smootl1
                                                                      '{12.S          4
                                                                                        s unifonn comistw,cy of the pre.-u:01 gel. the nubooi                       nnd
                                                                                                                                                             u gel for-
        For Ilic fonnuh11ions ofTablc t 0, Prnnz cells were do~oo                         mnlalio      ns  were   cloudy     and  lumpy.  thus,  unable  10 maiutain n
 20 mg pcrceJI. l1ie resulting aux r81Cll Cur th= fonnul                          11t     g.,1-likc consls1cncy. Fo1• this nms11n, lhu 8uboolll \.-Ompo
                                                                          ations          tioos                                                                       sl-
 is shown in FIG. 9.                                                                               would     be   CXJll.'Cl ed 10  have  ~me    stability issues ond :i
                                                                                          short shelf lire.
                                             TABLE tO
     flux 1¢!!1h1 fm111 v.uy,t!e ,llel:,(~uo.c fnrmu1atlnm1. Fr.a.i11
                                                                        c.·dLt 'Nr"m do!s'!i at.10 mB pg tell

                                                            Form1datW DNl1$i
                                                                                  Compal>tive
                           Fl4/2 gol J,S'llo    rl<\12 •ohJIU>ll     1'971
.Pc,ccntages 1.n                                                                         2%      Compu&tivc
                              ..Vwt 1'             w,/wt'II,

Wafer                            12.5                12,S
                                                                    wllwt%

                                                                     L7.16
                                                                                    ,.I/wt%

                                                                                     l8.Jl
                                                                                                    -"
                                                                                                     l8.8l
Dlmclhyl Sulfoxido                                                   ,s.s
Plopyl<AC glycol
                                4S.5                 •s.s                            ,U.5            4S.S
                                II                   11              11.2            11.2            11,2
(It_hanol                       25,5                 29              11.19           11.79
Glyct"J'Ulc                                                                                          11.79
                                                                     11.2            11.2            ILl
0,clofbiac Sodrum                2                    l              2                2                I.S
Thlcteocz
Wl/wl '11, lhlcullg
                              l!Yll.ll
                                lJ
                                                    AO.ne          Casb 971
                                                                                     "°""            ..,..,
                                                                      I.I




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                                                                       n., ·'-- •
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                                                                            us 9,220,784 82
                                           21                                                                                 22
       Thus. de!<pitc both being sci formulutioru.. whoo o bc:u.l-                            the i11i1ially nppln.'C! comp.irlllivc Hquid fonnula1inn oomr•'-
    10-hcud .:outparis.>n is ~rformctl, using " finite do~mg                                  sition rcmain<:don the weighing dish. Thus, the "eight oftlw
                                                             pm·
   tocol, th~ fo~ulntiou oftbcprei.ent invention is~ignjticantly                             compllrative liquid formulation changed very liulc over the
   muro clkcuve ot the trnnsdcrntal dchl'l.'ry of u diclofooac                                time points measured, indicating that the drying of the liquid
   nctive ngent, when <00mpnr<.•d with nnmher gcl formulation,                               fonnulation occum>d very slowly.
   1h111 de~ribL"<I by 13aboo1u et nl. Fur1hcrmorc, os shown in                                  Jn contras!, e\-'en within the r~t five minutes. the throe gel
   FIG. 7, the formul:uion of the prcseul invention ulw per·                                 formulations displayed more rJpid drying than the liquid
   formcclrcmarkably belier when ,,,mpared to a dicl<>fcnuc gel,                             tonuul:.tion 70%oftoo weigb1 of the two gels that contained
   Solarnwtl, a product cum:ruly sole! oo the marlcct. Thus,                            10
                                                                 1he                         2%or4% 1IPC renminod, ~scompared IO the over90''/4 of 1ltc
  prcs<?nt inve.111ion pmvidcs o diclofom1c ,odium gel fommla-                               liquid formulation which remained. after 4 hours of drying
  tion !bat has utteK,P«lcdlY superior pmp1.-itics (e.g., with                               time. By24 hours, thisdilferencewasevenmoreprunoun~-ed,
  NSpect topar.1mctcrssuchas tnul.!ldcrnl!ll flux ,~11c,;,
                                                           favoroblc                        as slil,4hlly over 2<1'/4 and 300/4 of the weight of 1hc two gel
  composition consistency, Md greater st11biJity nnd self lire)                         1 ' fonnub.t
                                                                                                       ions coo~1ining 2% nnd -1% 1IJ>C, rcspectively,
  when. ~ompared 10 1hi= pr<..-viously dii;clos<?d dicJotc:nac
                                                                                            remuiu~'d, and sligb1ly under 60% of the weight of the F97 J
  dicthylaroinc gel fommlution d<.'SCl'ibe<l by Uaboota or the
                                                                                            gel remained, as compared 10 the almost 90% of the liquid
  dielofcnnc ;;odium fom1ulation ~mhodicxl by 1hc Solanii.t."®
                                                                                            formulation which remained. This is a surprising result, as
  gcl.
                                                                                            one would have expected the liquid formulation to lose
                                                   TABLE ll
      Componcrus ofcl1cJufcmc dk:th.Y,aminr get,,~ to gtneratetb
                                                                          e flu>. r.,te data shown in f10. I().
         for the forruul11tionsof1'8blc 1t, FrtJti d1n11.1ioncc.ll6' wett.
                                                                           fln1tcd01cd •t.; mg pcrccH.

                                                                   l•onnulation name

                                           FYI           FY2          FY)        GlA/2.JJI     C',a,mp&~\·o_m
  Pcrconi.g.. ,.,,                       wr/wt%        ~,/wt%       Wli"'t%      wt/Wt %            wtl-wt%,
  Dimethyl s orrnx.te                      10            10           JO           4'\.,             4S.5
  f.lhMol                                  2S            25           25           26.S              1,.79
   Pb0400                                  IS            ll           ll
  P"'l')'!enegl~col                        IS            IS           I!           11                11.2
  tne1Juuiol111,inc                                       o.s
                                            0~                         c.s
  DMSO
 w,iu                                       q•            qt           q,          12.S             18.81
 Sodium cwoxymcluylce1h.lotc
                                                                       ~
 Olyceru,c
                                                                                             1..2
 Thickener                              Ottb940         PYA        Carb940       HYll9              uono
 wt ¾ Th.id.e.,er
                                            I           20            0.S         2.5
 Ac:tive:                                  3,4
 diololenao di•thyl,un l~ wt%
                                                          3.4         3.4                            u



                                  ll"<ample5                                            weight more 4uickJy, and lhlb have J lll~ner drying time, n~
                                                                                        compore<l tu a semi-solid gel l'on.nulnti(ln.·nmN, 11\iij t.'X31llJ1lc
      Comp;iri~on of Drying 1imclllesidunl Wdgh1 of 11
     Comparative Liquid Pol1llula1ion Solution Vcrsll:I the                         50 d,.·•monstr:ito!S lb.11 100 gel l-OlllJl<)S1tiC1ns ol'lhe present iown-
                                                                                       tion <liNplay superior dcyi..ug cb.aroc1cris1ics II$ c,,mpa.rcd to n
                    Corresponding Gel
                                                                                       compar.iblc liquid lc.moulat.iM.
    Io order to evaluate the drying Lime of a compar:it.ivc liquid                          Thus, in certain embodiments, the prc~nt invention pro-
 formulation solulioo as ~-ompare<l to the com:sP\,nding gel,                          vicks 11 forrnulalion which hus a drying time such llmt, nt
 the study described in Ibis example wns performed. llqual                         ss ~ . a 50% wcil!bt of the st:ir1ing «1M1uu remains a~
                                                                                                                                                             a
weight amoums (100 mg) of either lhc comparative liquid                                re~idue after 24 hours of drying time. preferably IJ 30-40% or
formulation solution or diclofcnac sodium gel formulniions                             less weight or 1he starting amount remains as a residue after
were measured on toplas1icweighdishes andspreadovern 10                                24 hours of drying lime.
cm2 aret1, and then left exposed to ambie111 con<lilinr1,1. At                     60      ·111e improved drying time of the gel fonnuJatioos of 11te
                                                                                       prescnl invcnlin n rmvide• imprn,'\.-d 01m, of \18C hod
sc:locted 1tme points. the pla~1ic weighir.1g dishes were again                                                                                             is
                                                                                      expected to lead to better patient complium:c. Thus, this
weiglK"1 to determine lhe mass of the composi1ion remaining
                                                                                      invention provides a gcl formulation with improved drying
on the weighing dish. As shown by the              ™'ta
                                               in Table 12 below
                                                                                   6
                                                                                    , charncteristics while also providing improved dn1g delivery
                                                                                                                                                             ,
and in FIG. 11, it was surprisingly found that 1,-ven aflcr a 24
                                                                                      as evidencoo by tbe advantageous ttunsdennal flu" data
hour drying ~od, almoM all (nearly 90%) of the weight of
                                                                                      shown in the examples above.




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                                                                      t ni...... ~,.                              Ml'"""n•"                          HZNPE NN_00166929

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                                                                              us 9,220,784 8 2
                                              23
                                     Drying Times                                                                                24
                                                              TABLE 12
                     D,ylog ""''" fet gels aoJ a compu ati,o l,qaud
                                                                          lom11Jlilo0n 10lnt10L Equ:al ~ t s of ..ch
          li>ml\ll11t1oa W<re fflCl&llred IJld rp,t,ad on wcl&h
                                                                 dlrlocs Tho weight or °"'b rcrn1folng furmula
             followed with time. T_oc gels or tht. 1ft\<1111o11 .i,,,,.cd                                         llon wu then
                                                                           wttl d,yu,g loD<'ltcr lhatl the cornp. ..,,~ loquid

                         clwa<e•ris·oa,,.bich     a-
              fnrmulauon. w,th Fl4/2 <bowing tho fa.,tcst drying
                                                                        ran:. Th<1c sel• •IIIO bad Improved "&prc1dAbillty"
                                                        likdy """'™""eel lo thi. unpm\'<fflCGt m d,ylng
                                                                                                            n\U.

                                                                           Fomwl•~o• 11111\e

                                      Cot,,pt.rali,·c         Fl<112 gel 2.S"4o
     p.,...,u gcs In                                                                     Fl4'2gc:J 4.0%            F971
                                         y,,j/ v,.t~
                                                                 wt/wt%                     wt/wt%               wt/wt~
     Wikt
                                           18.81                    11.S                        12.5
     Dimethyl SulfaJ(i~                   '4S.5
                                                                                                                   17.16
                                                                    4S..S                      4H
     Pmpyclooe gl)'OOI                                                                                            '4S.S
                                           ll.2                     11
    fuhanol                                                                                    11                 11.2
                                           11,7!1                   ?6.S
    Olyccnno                                                                                   25                 I 1,79
                                           11.2
    O<ctofcruw: Sodium                                                                                            11.2
                                            I.S
    Tbicencr                                                                                    2                2
                                          no•c                   I-IY119                     HYl19
    v,t/wt ,. thicw11:r                                                                                      Cubopo l'J71
                                            l.S                        u                        •                  I.IS

                                                                            % Reuuuilii&

            ·nmc(hrJ                 Compa all~             Fl<l/2 gd l.5%              F!-112 jp:) 4.11%        F97I
               0.000                    100                      100                         100
               0.081                                                                                            100
                                         98. 1                    9J                          926
               0.167                                                                                            100.3
                                         %.7                      92.9                        9!.8
               0.111                     ?S.7
                                                                                                                IOOJ
                                                                  vz:1                        9J                100.2
               0.500                     9S.6                     92.7                       9).J               100
               0.750                    ~s.s                      92.l                       \r.!J
               l.000                                                                                             99.8
                                        9S~                       92                         91.K                99.7
              4,000                     93                        11                         10.1
             2.4.IIOO                                                                                            86.1
                                        88.7                      l2.4                       235                58.8



                                   Exnmple6
                                                                                                                            fABLE 13
          CompMison of Stability Charac1eris1ics of a
       Comparative Liquid Formulution Versus Diclof                                                                                    p.,.,.nt "lmp1uity 11• tftor 6
                                                    onau                                      Compo1itloo
                                                                                                                                        monrl-.sof 11-ae (-•)
                  Sodium Gel Fonnulations
                                                                                         4 ) t.S¾ dictoreD4C todlwn as acompamd\'e              0.034%
      This e:otample provides a comparison of the stabili                            liqui,! Connulwoa tohlt,on
                                                                    ty of lhe        l.Q¾ didor..,.., <odium In 0.9'/4 Cllbapol
  comp0Nitio11s •lfthu prcscn l invention te1tcd.tgnins1                                                                                      0.09%
                                                                  reforence          gal
  fonnulotions nt room tcm}l<:nllure over a six mnutb                                2.0,.
  WIiii uneicpectedly follnd tbal while
                                                                  period  . It              dodor.. ..., IOdrnm  10 3.5% Hl'C gel.
                                                 the compositwns of the
  invention contnin a highen.vncentroli.on ofae1ive                            50
                                                                :1gent, limy
  in fact resulted in n lowl.1' C()OC~~1trotion of                                      Thus, as indicated by 1be d.ita in !able 13. while
                                                           II dcv,itl:ilioo                                                                         havlnij a
  impurity as comparerl to the reference. It w;,s                                   hi@.bcrconcentm1ion llfthc.tctivcog~,11. diclofc
                                                          also une>tpt.'<.ll·                                                                 uuc !lO<liuru, u
 edly found ihar compositions using hyclm>typl\)                                    gel fom11ilation of the presenl invcntloo cantui
                                                               pylceU
 (HPC) os the gelling ag~,11 hrt<t a signiliconlly lower ulosc                                                                                   ning 3.5%
                                                                   qua11tity ss I JI'(' shnws II higher d..igrcc nf siubility, ns rclkcted iu th;:
 of l11ii; impurity ns comp.rod to com(lllsitiom                                   appc:lr    ',mce  nf       lower
                                                              1t111de using                                II         pen;cn tagc of "impurity A"
 cnrbomcr gdlin11, ogun1s .                                                         rnred to a comporohlc liqui<i fom111liou. '111e doln us c.:om-
     In U1is stlllly. Sj}Jll(IIC$ oftlie tesl compositions                                                                                        ~lwwn in
                                                             were placed           lnblc:    I 3 also sho"'atbat 1he I Jl'C gel forruutlon is more
 inio i,lnstic liCrow cop hnll.kis which were scaled                               llUtn   II eompnmble gel fommlion con1a.ining
                                                                                                                                                      stnblc
 25• C 01 60'l1o humidity kir G months. After
                                                               and held at                                                                O9% Carbopol,
                                                            the 6 month 60 as the IJPC gel fonnn tion dcmonstratCll un al least
s1omgo f)Cricx1,.1 ho110mplcswcre tested for impur                                 rcdUC1fo11 in lhe lc.,yef nfimp urily A. ·11tu11,                 4-fold
pcrformnncc hqu1d chromutogn,plty (I IPLC) ities hy hish                          l11eprcsem invention pro~idl:$ impmvcdstability
                                                                                                                                        u gel lormu1iou of
                                                           . Tho nctive                                                                        of1heoc1ivc
agent, rliclofemic sodium, wus found 10 <:lul<l
                                                         by I ll'LC wilh          o&Cul us compared h) tho: rclercncc rormuhulons
llll elution time of llhoul 11 minllll
                                            :$. h was found that upon 6                                                                       os evidcucetl
months of Slnr'Jl!C, an impurity. 1cm1e d "impu                                   in   o   ronnu   lnlton which degmdes by less than 0.034%
                                                            rity                                                                                          or
seen to elute nt nbvu1 6.6 minutes in \11J')ling amaun A '', was 6.S 0.09"/4, over 6 months, ns wa5 observed for the rcfen: occ
variou~ compositions us shown in Table 13 below                  ts (or the       fonnul111ioos. 17urtli.:rmure, 1he tJmoun1 of
                                                              .                                                                             ·[m11uri1y
                                                                                  found ln Ilic gel fonnulotion ofthe present inv"u
                                                                                                                                              ion oiler n 6



                        Copv otovide.d h v          t lADTn   ,P'~ - ....__ nu..,.. .
                                                                                                                                                           HZNPENN_00166930

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...   - ------------------- --- ---------··-·- -

                                                                  US 9,220,784 B2
                                       25                                                                                        26
       month stomge perfod would result in au expo~ure level well
       below Ii mils lrull wm11rl require additfonnl nonc.lini<:al ksii11s
                                                                                                                   TABLE 14-cont.inued
       testing of tlw imp1.11i1y.                                                                                      U,o-odsamofinh'~"'"'Jd=ul,,.._ _ _ _ _ __

                                                                                                                                                         No.or No.of
                                   Example7                                              Tc,t Day(s)       Sampling timi,:$                             se:mpic:1 llliquots
                                                                                             g.13           0 (pre,dose), 4, 8, 12, 24, 48, 72, 96,       216       432
                                                                                                           $tlii l.20 hr po4t 11dmin1strahon.
           Comparison of in Vivo l!picutaneous Absorption of
                   Liquid Versus Gel Fo,mulations                                       Tot11.J mnnbt.:                                                  432        864
                                                                                 10      0($&11lple.1

           A study wi1s conducted to i:ompate systemic a·b~--orpti<>n
      ;iOer topical al!plication (nlso referred to a.~ cpict1truieo\1S                   P1.tannac,1kint1ic <.'Valuation of the plasma data was J>Cr-
      ab~orpLi\Jn) o'f II cnnipam1ive iolution with a gcl of the .invlll!-            furmed using Top Pit 2: 11 . A no1i-compann1eu1 model was
       tion.A0parol!el de~ign wns emplllyed with 6 [.,.'lndn,cc pigs p<.'r            used fortlID cnlcuJutkm o-Cthe terminal twlflifc andorwi 11rtde.r
      :1m1. rug wus applk,:J for 7 <lily$ with an additicmt1i dose on 15              rhe carve (AUC). Elitninution tate(l(1mtan~ (K,1) ,\ttd plasm11
      Day S. Blood was sampled on Day I to 1lctenniuc a basclille;                    clirnination hall~Jivcs (t 111 ) were c:alculmcd by Uneiir n.1J,r~-s-
      Day 6, Dny7 and Day 8 samples w~ takcnl(l l!OI1flrm.s1eody                      sion:11uilysisot'1he lo&'HlleafpOrlion oflheindividuol plasma
      sntle,anda(klitional sampleswcretakeu:itObr, 2hr, 5hr, 7 hr,                    conccntration-1ime .:urvei; (1:~oncentmtion, '"'time). Flslf-
       12hr, 15 ltr,and 24 hron 1'.>ny 7 to dct<:rminea 24 hour steady                lifu wr,s dctei:mint-d using the foru1ulac:
                                                                                             , 111,   1n2:K,,fhl
      smtc profile; s;unples 1ukcu liurn l)nys 8-13 were u~ed to 20
      determine an elimination profile.                                                      dcld,..(K.,Xc)[hJ.
          'Ilic doses u~edin this study were as follows: i11eCl'.1111paro•
      rive 1mlu1ioo group Cl)(;Civ1.,-d 3.85 mg diclofunoc ~odium J>Cr
      admiuistr.itioa aud animal 4 1imcs doily; the !!,cl Group 25
      received 8.08 mg didofonm: sodium pi::r admiuistmion nntl
      animal 2 limes <.I.lily; tl1c admjuistn.uion areu wws 5 cmxJO
      cm/animal. These amounts represent the scaled human clini-
      cal doses.
         Sufiicicnt blood was c,1Jl(l(;ted from t!llch a.nimol per sam- 30
      pling time aod p~scd foral kast 2 mL Li-Ucparinplasm11/
      sample, which were •plh into two aliquots         or l mr, each.
      Blood wns withdrawn from all animals as shown in 'fuble J4.

                                  TABLE 14


                                                         No. of    No. or
        TeOI Day(<}   S•mpling times                    iampl~..s aliqu<>r.s

                                                           24         48
                                                           24         48
                                                          168        )J6




                                                                                                           TABLE JS

                                                                                                           Dosing in pi.s,

                                                                                                    Dose
                                                                           Diclofe°"' Area or ofdie product                   Dielofer-.Jae                 Dic:lofrn.ac
                                                                            Sodium apphc:ation per application                Sodiumptr        Numbe, or     P"'<hy
                                                                               ¾(w/w)       (cm2)             (mL)            dosc(mg)        dosu p<rd•y       (mg)

                                                              Gel               2.0          50               0 ,4{)             8.08             bid           16.2
                                                          Cornpuat:ve           1.5          so               0.24               3.8)             qid           15.4
                                                           S<>luti0J1




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                                                                       US 9,220,784 B2
                                          27
                                                                                                                            28
                                    TABLB 16                                            oS!lignt.od 10 WOMAC I.K3.J sco,o:s, Pm1cot
                                                                                        utllnl scores nnd Putieul Overull Hwltb
                                                                                                                                     lllobttl ,\sscss-
                           Pk ernnlear ,1e,ty rutsra PnJ                                                                      Atr.cssfi\Cnt scores. ns

                              .ab,IOCI
                                          ,..,,..      em...       AUC~ 24
                                                                                        folJows;
                                            (II)      (pg/ml)                                  Patient Overall Health Asscssmcm1 and WOM
                                                                   (pg•hJml,                                                             AC
      Gel                                                                                              LK3. I PaH.,01 Global J\SScsmtcnl
                                J)          12         15379
                                u           10          8570
                                                                     239818
                                u            5          6014
                                                                     l7SR62
                                                                     104122            Nortt!"'O Very Good=O
                                16           s          4!27          631142           Mild= I Good= I
                                17          IS       ~14829
                                  u          24       144M
                                                                       2689765
                                                                         231494
                                                                                  10 ModerJte=2 Fair 2
                                 Mcu         12       806!14                           SevCJ'Ci'"3 PouF 3
                                  SD                                    S841SI
                                              7      1735<19                           Extreme"<! Very PooF4.
                                                                       10llS6 6
                                             10        8l02             107122           The WOMAC I K.l. I OA lndux is II scgreguted,
                                                                                                                                                        01ullidi-
                                   2         10        24700                          mcn.1innal, sclf--0dminis1ercd index with 1111\.'
                                                                        lll52l                                                                 C indcpcmlen1
                                   J         15        147-43           l 60294  1s   dime11  11ions: poin, Ktiffi1css a11d phys)t;1l flmc1ion amt
                                   ~          0         4JSO                          used as 11n dlicucy v-Jrinble in thi, study.                       wlll be
                                                                         44267
                                   5        24          9SS2
                                   6        12
                                                                        112460           In  a prefer  red  cmbm  li1nen1 of 1htl invention, upplic
                                Mui         12
                                                        8628
                                                      11714
                                                                         17861        the get fom1ulalion.• of the iovo.:ntion when bpplie olion of
                                                                       105924                                                                      u topicully
    _ _ _ _ ____                 SD __ __    8          7185
                                                   __ __ ___ _ w WOl\llAC scnte of m
                                                                         408<,S       will .«..osuh in  o re<lu~lion  of pnin or  phy~ic nl li1ncli11
                                                                                                                le:ssl I Llkert scale unit over o1112on      1be
                                                                                                                                                          \\edc
                                                                                     period. Evc_u 1110n: prefcmbly, 11 ~'tl11ctio11 of2.
                                                                                                                                               3. or 4 Liker!
                                                                                     sc:olc 1111ils will result. Most rn:fcmbly, oprlic
                                        TABLH 17                                                                                            otiun
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 subjects as detetmincd by 811 efficacy vurinblcs                                                       10
                                                               ,1oc:stlo111u1irc   ccnllpoi~e, wherein lhc odministmtion or lh.
 which includ ~ the WOMN::. LK3. I QA Index                                                                                               e formulntion is
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 function, and stiffness dimensio_us), o Potien                                                               y cfl'cc1ively 1re111 pnin.
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N.. W()Mi/C Os1co11rl/1ri1fr Index User's G11id1t Bellomy,                        c,;sen1ially of:
                                                                  JV, Q11t.'Clt·      30-60    % w/w of DMSO;
sl:ind, Australia (2003)).
     'lue WOMAC LK3.1, 11itiCtlt Overnll lleullh                                      1-15% w/w ofpropylcnegl)'Col;
                                                                A'iScslllnent 65      1-30% w/w or ethanol;
and PJticu1 Global Asscssmcut q11cs1io1u11li
                                                          re¥ will be based          optionally glycerine;
oo tbe five-point Like.rt ~ale. Numerical
                                                            values will be           water; and




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                                                                US 9,220,784 B2
                                     29                                                                 30
        at J1:3s1 one thickening agrot ~elected from tbc e,roup ron·             10. The mctllOdofclaim 9, Wh<:rcln the at Jeastono thick-
          8rnt111g of 11 <:<>llulo~c polyme-r, a c..irbnritcr flQl}-mCr, ll  ening ;,gent is Jiyclroxypropyl ccUulo~e.
           c1.1tlx,merd,•nvative,uccll1.lloscdcrivntive,andmixlun,'S
           1hel\/<lL                                                             u. ·111e mciltod ofclaim 10, wherein the fomrnlation con-
                                                                             sists <.>ssentially of:
        3. Tiic method nf efoim 2 wherein ihe conceotralio11 of 5
     DMSO is abom 40% lo about 50o/o w/w,                                        2% w/w diclofenac sodium;
        4. The m<-·d'IOd of claim l , wherein the <--onceutration of            40-50% w/w ofDMSO;
     DMSO is a mc-ml>cr ~clccl'.L>d from the group C(lnsisling of               23-29% w/w of ethanol;
     40%, 41 %. 42%, 43%, 44%, 45%, 46%, 47%, 48%, 49% l!lld
     50% w/w, mid all frocli()us ill between.                                   hydroxypropyl cellulose;
        5. The method of claim 2, wbcrcin tl1c concentration of 10 water; llll.d
     erhaool is present at 23-29"-/4 wiw.                                        I 0-12% w/w of propykne glycol.
        6. The method of chtim '2, wberciu the at least one thick•              12. Tue melhod of <:!aim 11, wherein the concctnnttion of
    ening agcn1 is selected fmm the group consisiirig of a car-              OM.SO is a member ~tofocrt.•d from the group consisting of
     homer polymli:r, a curbomer derivmivc iind llli)(turo.s thcl'C<.,f.    <J(J"/4, 41%, 42%, 43%, 44%, 45%, 46%, 47%, 48%, 49% and
       7. 'The method of clafa1 6, wltetl.'iu the at lea~t 011e thick- :s 50% w!w, and ull fractious in between.
    eoing.agent is s.clli!\,'tcdJh1m the group consisting ofcarbr,pol
    971, carbopol 981.earbopol 941, cncbopoJ 1342titKl nltrez                  13. The method of claim 1, wherein the formulation bas
    10.                                                                     improvctb1bsorp1iou 011 a ix:r dose basis compared to a com-
       8.11tc method of claim 7, wherein gly\~riuc i~pn.-,;cnl.             p;irative liquid composition.
       9. The 111clhod of claiJll 2, wli<:rei11. lbc at least one thick- 20     l4. The method of claim 1, wherein lhe pain is due to
    ening 11genr-is scfoc(ed from tbc gnn1p consisting of a eel lu-         OSt¢1litrlb.riti.s.
    losc ,P()ly111cr; a ceUulosc dClfiw.tivc, und mixtures thereof.
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CERTIFICATE OF SERVICE
          Case: 17-2149    Document: 36        Page: 574   Filed: 08/16/2017




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Attorneys for Defendant-Cross-Appellant Actavis Laboratories UT, Inc.


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                                               Counsel for Plaintiffs-Appellants
                                               Horizon Pharma Ireland Limited,
                                               HZNP Limited and Horizon
                                               Pharma USA, Inc.




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CERTIFICATE OF COMPLIANCE
           Case: 17-2149      Document: 36     Page: 576   Filed: 08/16/2017




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 D  % LLL DQG)HGHUDO&LUFXLW5XOH E 

     7KLVEULHIFRPSOLHVZLWKWKHW\SHIDFHUHTXLUHPHQWVRI)HGHUDO5XOHRI

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$SSHOODWH3URFHGXUH D  EHFDXVHWKLVEULHIKDVEHHQSUHSDUHGLQ

SURSRUWLRQDOO\VSDFHGW\SHIDFHXVLQJ0LFURVRIW:RUGSRLQW7LPHV1HZ5RPDQ

IRQW$VSHUPLWWHGE\)HGHUDO5XOHRI$SSHOODWH3URFHGXUH D  & L WKH

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FORM: 31. Certificate of Compliance With Rules 27m, 28d                                      Form 31
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      UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

      CERTIFICATE OF COMPLIANCE MOTIONS OR BRIEFS CONTAINING
              MATERIAL SUBJECT TO A PROTECTIVE ORDER

Motion / Response / Reply Containing Material Subject to a Protective Order

     D        This motion, response, reply complies with the limitations set forth in
              Fed. Cir. R. 27(m) and contains [state the number of] _ _ __
              words (including numbers) marked as confidential, or

     D        This motion, response, reply does not comply with the word count
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              maximum word count limitation is being filed contemporaneous ly with
              the filing of this brief.




                                 (Signat ure o~       n ey)
                                 Jessica M. Tyrus
                                   (Name of Attorney)
                           Plaintiffs-App ellants
                  (State whether representing appellant, appellee, etc.)

                                  August 14, 201 7
                                          (Date)
